Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1 of 1274 PageID #: 8307




                  JOINT APPENDIX 45
                                                                            uiiI IIMII 111111111111111111uii
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 2 of 1274 PageID #: 8308
                                                                                              US006734171B1

      (12) United States Patent                                              (lo) Patent No.:     US 6,734,171 B1
             Saravolac et al.                                                (45) Date of Patent:    *May 11, 2004


      (54) METHODS FOR ENCAPSULATING                                          5,631,237 A • 5/1997 Dzau et al.                   514/44
           NUCLEIC ACIDS IN LIPID BILAYERS                                    5,705,385 A     1/1998 Bally et al.
                                                                              5,708,385 A * 1/1998 Shou et al.                435/320.1
      (75) Inventors: Edward George Saravolac, Vancouver                      5,753,262 A * 5/1998 Wyse et al.                  424/450
                      (CA); Yuan-Peng Zhang, Mountain                         5,820,873 A • 10/1998 Choi et al.               424/283.1
                                                                              5,827,703 A • 10/1998 Debs et al.                 435/455
                      View, CA (US); Jeffery J. Wheeler,                       5,885,613 A * 3/1999 Holland et al.              424/450
                      Surrey (CA); Pieter R. Cullis,                          5,976,567 A ' 11/1999 Wheeler et al.              424/450
                      Vancouver (CA); Peter Scherrer,                         5,981,501 A    11/1999 Wheeler et al.
                      Vancouver (CA); Ljillona D. Kojic,                   2002/0192651 Al • 12/2002 Wheeler                      435/6
                      Vancouver (CA); Olga Ludlcovski, Port
                      Coquitlam (CA)                                                 FOREIGN PATENT DOCUMENTS
                                                                          CA              067133           6/1990
      (73) Assignee: Inex Pharmaceuticals Corp., Burnaby                  CA             2067133           4/1991
                     (CA)                                                 CA             2067178           7
                                                                                                           4/1992
                                                                                                              991
                                                                          CA             1305054
      (* )    Notice:       Subject to any disclaimer, the term of this   EP           0 118 316          3/1983
                            patent is extended or adjusted under 35       EP           0 072 111         10/1985
                            U.S.C. 154(h) by 0 days.                      EP           0 220 797          5/1987
                                                                          EP           0 370 491          5/1990
                                                                          EP           0 422 543          4/1991
                            This patent is subject to a terminal dis-     EP           0 482 860          4/1992
                            claimer.                                      EP              526700          2/1993
                                                                          EP              546951          6/1993
      (21) Appl. No.: 09/169,573                                          EP              572049         12/1993
                                                                          EP           0 445 131          4/1994
      (22) Filed:           Oct. 9, 1998                                  EP           0 354 855         12/1994
                                                                          EP           0 496 813         12/1994
                     Related U.S. Application Data                        EP           0 496 835          5/1995
      (60)    Provisional application No. 60/063,473, filed on Oct. 10,   GB             2185397          7/1987
              1997.                                                       WO         WO 88/04924          7/1988
                                                                          WO         WO 90/04384          5/1990
      (51) Int. C1.7                                    A61K 48/00        WO         WO 91/05545          5/1991
      (52) U.S. Cl.                      514/44; 424/450; 435/320.1;      WO         WO 91/05546          5/1991
                                                   435/455; 435/458       WO         WO 93/19738         10/1993
      (58) Field of Search                        424/450; 435/325,       WO         WO 94/07466          4/1994
                                         435/320.1, 455, 458; 514/44      WO         WO 94!21281          9/1994
                                                                          WO         WO 94/22429         10/1994
                                                                          WO         WO 94/26251         11/1994
      (56)                    References Cited                            WO         WO 94/27580         12/1994
                                                                          WO         WO 95/31183         11/1995
                        U.S. PATENT DOCUMENTS                             WO         WO 96/34598         11/1996
             4,089,801 A    5/1978 Schneider                   252/316    WO         W096/37194          11/1996
             4,460,560 A    7/1984 Tokes et al.                424/1.1    WO         W096/40964          12/1996
             4,501,728 A    2/1985 Geho et al.                  424/38
             4,544,545     10/1985 Ryan et al.                 424/1.1                     OTHER PUBLICATIONS
             4,617,186 A   10/1986 Schafer et al.               424178
                                                                          Zelphati et al., Liposomes as a carrier for intracellular
                        D




             4,650,909 A    3/1987 Yoakum                     568/621
             4,728,575 A    3/1988 Gamble et al.             428/402.2    delivery of antisense oligonucicotidcs: a real magic bullet?,
             4,737,323 A    4/1988 Marlin et al.               264/43     1996, Journal of Controlled Release, vol. 41, pp. 99-119.*
             4,752,425 A    6/1988 Martin et al.               264/4.6
             4,837,028 A • 6/1989 Allen                        424/450                  (List continued on next page.)
             4,861,521 A    8/1989 Suzuki et al.               260/403
             4,920,016 A    4/1990 Allen et al.                424/450    Primary Examiner—Dave T. Nguyen
             4,925,661 A    5/1990 Huang                     424/85.91    (74) Attorney; Agent, or Firm—Townsend & Townsend &
             4,943,624 A    7/1990 Regen                      528/301     Crew LLP
             4,944,948 A    7/1990 Uster et al.                424/450
             4,963,367 A   10/1990 Ecanow                      424/485    (57)                   ABSTRACT
             5,008,109 A    4/1991 Tin                         424/422
             5,013,556 A    5/1991 Woodle et al.               424/450    The present invention relates to lipid-based formulations for
             5,064,655 A   11/1991 Uster et al.                424/450    nucleic acid delivery to cells, methods for the preparation of
             5,153,000 A   10/1992 Chikawa et al.              424/450    such formulations and, in particular, to lipid encapsulated
             5,185,154 A    2/1993 Lasic et al.                424/450    plasmids. The compositions are safe and practical for clini-
             5,206,027 A    4/1993 Kitaguchi                   424/450    cal use. In addition, the present invention provides methods
             5,288,499 A    2/1994 Janoff et al.               424/450    for introducing nucleic acids into cells and for inhibiting
             5,356,633 A   10/1994 Woodle et al.               424/450    tumor growth in cells using such lipid-nucleic acid formu-
             5,395,619 A    3/1995 Zalipsky et al.             424/450
                                                                          lations.
             5,527,528 A    6/1996 Allen et al.              424/178.1
             5,552,155 A    9/1996 Bailey et al.               424/450
             5,593,622 A    1/1997 Yoshioka et al.            264/4.32                 19 Claims, 31 Drawing Sheets-




                                                                                                                           JA001352
                                                                                                                    MRNA-GEN-00222371
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 3 of 1274 PageID #: 8309


                                                           US 6,734,171 B1
                                                                    Page 2



                       OTHER PUBLICATIONS                                Liu, et al., "Role of liposome size and RES blockade in
                                                                         controlling biodistribution and tumor uptake of
      Filion et al., Major limitations in the use of cationic lipo-      GM,—containing liposomes," 1992, Biochimica et Bio-
      somes for DNA delivery, 1998, International Journal of             physica Acta., 1104:95-101.
      Pharmaceutics, vol. 192, pp. 159-170.*                             Mori, et al., "Influence of the steric barrier activity of
      Branch, A good antisense molecule is hard to find, Feb.            amphipathic poly(ethyleneglycol) and ganglioside GM, on
      1998, TIBS, vol. 23, pp. 45-50.*                                   the circulation time of liposomes and on the target binding
      Anderson, Human gene therpy, Apr. 30,1998, Nature, vol.            of immunoliposomes in vivo," 1991, FEBS Letters,
      392, pp. 25-30.*                                                   284(2):263-266.
      Verma et al. Gene therapy —promises, problems and prope-           Nicolaou, et al., "A Practical and Enantioselective Synthesis
      spects, Sep. 18,1997, Nature, vol. 389, pp. 239-242.*              of Glycosphingolipids and Related Compounds. Total Syn-
      Abuchowski, ct al., "Treatment of 15178Y Tumor—Bearing             thesis of Globotriaosykeramide (Gb3)," 1988,J. Am. Chem.
      BDF Mice With a Nonimmunogenic L—Gutaminase—L—As-                  Soc., 110:7910-7912.
      parginase," Cancer Treatment Reports, 63(6):1127-1132              Oikawa, et al., "Selective hydrogenolysis of the benzyl
      (1979).                                                            protecting group for hydroxy function with Raney nickel in
      Abuchowski, et al., "Immunosuppressive Properties and              the presence of the MPM (4—methoxyhenzyl) and DMPM
      Circulating Life of Achromobacter Glutaminase—Asparagi-            (3,4—dimethoxybenzyl) protecting groups," 1984, Tetrahe-
      nase Covalently Attached to Polyethylene Glycol in Man,"           dron Letters, 25(47):5397-5400.
      Cancer Research Reports, 65(11-12):1077-1081 (1981).               Parr, et al., "Factors influencing the retention and chemical
      Berger, Jr., et al., "Preparation of Polyethylene Glycol—t-        stability of poly(ethylene glycol)—lipid conjugates incorpo-
      issue Plasminogen Activator Adducts That Retain Func-              rated into large unilamellar vesicles," Jun. 19-22, 1994,
      tional Activity: Characteristics and Behavior in Three Ani-        Liposome Research Days Conference--Liposomes: The
      mal Species," Blood, 71(6):1641-1647 (1988).                       Next Generation, University of British Columbia.
      Blume, et al., "Specific targeting with poly(ethylene gly-         Parr, et al., "Factors influencing the retention and chemical
      cop—modified liposomcs: coupling of homing devices to the          stability of poly(ethylene glycol)—lipid conjugates incorpo-
      ends of the polymeric chains combines effective target             rated into large unilamellar vesicles," 1994, Biochimica et
      binding with long circulation times," 1993, Biochimica et          Biophysica Acta, 1195:21-30.
      Biophysica Acta., 1149:180-184.                                    Reed, et al., "Generation of targets for alloreactive CTL
      Chonn, et al., "Ganglioside Gm, and hydrophilic polymers           using purified H-2Kk in liposomes and polyethylene gly-
      increases liposome circulation times by inhibiting the asso-       col," 1986, Molecular Immunology, 23(12):1339-1347.
      ciation of blood proteins," 1992, J. Liposome Res.,                Schmidt, et al., "Lactosylceramides with Unsaturated Fatty
      2(3):397-410.                                                      Acids—Synthesis and Use in the Generation of Bilayer
      Danishefsky, et al., "Total Synthesis of Zincophorin," 1988,       Membranes," 1987, Angew. Chem. but. Ed. Engl.,
      J. Am. Chem. Soc., 1988, 110:4368-4378.                            26(8):793-794.
      Gregoriadis, et al., "Coupling of ligands to liposomes inde-       Torchilin, et al., "Targeted accumulation of polyethylene
      pendently of solute entrapment; observations on the formed         glycol—coated immunoliposomes in infarcted rabbit myo-
      vesicles," 1993, Biochimica et Biophysica Acta.,                   cardium," 1992, The FASEB Journal , 6:2716-2719.
      1147:185-193.                                                      Wang, et al., "pH—sensitive immunoliposomes mediate tar-
      Huang, et al., "Extravasation and Transcytosis of Liposomes        get—cell—specific delivery and controlled expression of a
      in Kaposi's Sarcom—Like Dermal Lesions Transgenic Mice             foreign gene in mouse," 1987, Proc. Natl. Acad. Sci. USA,
      Bearing the HIV Tat Gene," 1993, American Journal of               84:7851-5855.
      Pathology, 143(1):10-14.                                           Allen, T., Journal of Liposome Research, 2(3):289-305
      Hyde, et al., "Correction of the ion transport defect in cycstic   (1992).
      fibrosis transgenic mice by gene therapy," 1993, Nature,           Chu et al., Journal of Liposome Research, 4(1):361-395
      362:250-255.                                                       (1994).
      Kiso, et al., "A Convenient Synthesis of Sphingosine and           Gao, et al., Journal of Liposome Research, 3(1):17-30
      Ceramide from D—Xylose or D—Glactose," 1986,J. Carbo-              (1993).
      hydrate Chemistry, 5(2):335-340.                                   Klibanov, et al., Journal of Liposome Research,
      Klibanov, et al., "Activity of amphipathic poly(ethylene           2(3):321-334 (1992).
      glycol) 5000 to prolong the circulation time of liposomes          Soehnlein, et al., Seifen, Ole, Fette, Wachse, 115(3):85-86
      depends on the liposome size and is unfavorable for immu-          (1989).
      noliposome binding to traget," 1991, Biochimica et Bio-
      physica Acta., 1062:142-148.                                       * cited by examiner




                                                                                                                         JA001353
                                                                                                                 MRNA-GEN-00222372
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 4 of 1274 PageID #: 8310


       U.S. Patent        May 11, 2004     Sheet 1 of 31          US 6,734,171 B1




                                                      MICELLE




                                          gliggni>gatigAgg
          LIPID                                     BILAYER
         MOLECULE




                                                  HEXAGONAL H11




                                    F/G




                                                                          JA001354
                                                                     MRNA-GEN-00222373
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 5 of 1274 PageID #: 8311


      U.S. Patent         May 11, 2004   Sheet 2 of 31       US 6,734,171 B1




                                                         I             t\i

                                                                       •(6
                                                                        k.




                                         2E

                                         Z
                                         •CC
                                         =
                                         C..›
                                         LAJ
                                         3E




                                                                      JA001355
                                                                 MRNA-GEN-00222374
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 6 of 1274 PageID #: 8312


      U.S. Patent         May 11, 2004   Sheet 3 of 31       US 6,734,171 B1



                                         I




                                  LaJ
                                                                  hi
                                  C.D


                                  LaJ
                                                                  C.1
                                  O




                                                                        JA001356
                                                                 MRNA-GEN-00222375
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 7 of 1274 PageID #: 8313


      U.S. Patent                                May 11, 2004   Sheet 4 of 31                 US 6,734,171 B1




               0 -4- CH2CH2O -}-i-1 CH3
                                          c0

                                          CC
                                          LA.1
                                          C.,

                                           8O
                                            -


                                                                      W         W
                                                                                ta,..   cr,
                                                                     =          =,
                                                                     ar         =       ca
                                                                     =          z       z
                                                                                        CV
                                                                      —         O       CV
                                                                      V




                                                                                                      JA001357
                                                                                                 MRNA-GEN-00222376
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 8 of 1274 PageID #: 8314


      U.S. Patent         May 11, 2004             Sheet 5 of 31                      US 6,734,171 B1




                                      zX'Al1S113610A10d --0---

          CV       co            Oa           CO               .4'




                                                                                                 ki




               •   I       I             1    '        I   '          I    I    I     1
                          CZ                                         CZ        C
                                                                               IV,i
                          P..-           CO        S                 `Cr




                                      NO1110111Sdli3N3 —4,--




                                                                                               JA001358
                                                                                          MRNA-GEN-00222377
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 9 of 1274 PageID #: 8315


      U.S. Patent         May 11, 2004   Sheet 6 of 31       US 6,734,171 B1




                         (Nu) NOWHIN30NO0 31Vd1I3




                                                                      JA001359
                                                                 MRNA-GEN-00222378
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 10 of 1274 PageID #: 8316


       U.S. Patent         May 11, 2004     Sheet 7 of 31      US 6,734,171 B1




                                                                     POOL % DODAC




                       (001- N01181 +/-) NOIIVIISOON3 INnind




                                                                               JA001360
                                                                  MRNA-GEN-00222379
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 11 of 1274 PageID #: 8317


       U.S. Patent                                                       May 11, 2004         Sheet 8 of 31             US 6,734,171 B1




                                                                                                                                 -



                                                   29,75 MOL% DODAC
                                 3825 MOL% DODO
                                 34i0 MOL% DODAC




                                                                                                                             1- S
           42.5 MOL% DODAC




                                                                                                                                     r=i
                                                                                                                                     O

                                                    fir
                                                                                                                                            cj
                                                                                                                                     O




                             t                r       r                                   i    t         r               i
                                                                        C:r                                   C=.   0        0
                                    0)             CO                              ur)             re)




                                                                      (00I-X N01181 +1—) NOIIV1ASOI3N3 1N33113d




                                                                                                                                           JA001361
                                                                                                                                     MRNA-GEN-00222380
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 12 of 1274 PageID #: 8318


       U.S. Patent                        May 11, 2004     Sheet 9 of 31     US 6,734,171 B1




                                                                                      O
                                                                                      1.4—)
                                                                              CA
                   I0 MGAIL LIPID




             3E
             C.,
                                                                                               0
             2E
             to


            11 Ei                                                             O
                                                                              tr."3

                                                               \\N\\\\
                                                                              CZI




                                                                              O

                                                                                       C:s




                                    (OOI-X NO1181.1)NOI1V111SOON3 1N301111




                                                                                              JA001362
                                                                                      MRNA-GEN-00222381
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 13 of 1274 PageID #: 8319


       U.S. Patent         May 11, 2004      Sheet 10 of 31     US 6,734,171 B1




                       I     1      I
                      CI           4=1
           8          CO           CO


                   (001-X N011til +I-) NOILTIIISOON3 1N30213d




                                                                        JA001363
                                                                   MRNA-GEN-00222382
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 14 of 1274 PageID #: 8320


       U.S. Patent                           May 11, 2004                  Sheet 11 of 31                      US 6,734,171 B1




                                                                                                                AG PLASMID/ML




                  .     I    '     I     '    l    '    i    '   1   '    1     .    1      I   1     v   i
            4=)       4:=1        _C",       e=i       1=3               cn         t=>         e=o       CD
            cs,       co          g—         et)       in                1.r,       c...)


                                 1001-X N011ill+/-) NOI1V111SOON3 IN3OH3d




                                                                                                                                     JA001364
                                                                                                                                MRNA-GEN-00222383
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 15 of 1274 PageID #: 8321


       U.S. Patent        May 11, 2004   Sheet 12 of 31      US 6,734,171 B1




                FIG. I2A.            FIG. /28.            FIG. 12C.




                                                                      JA001365
                                                                 MRNA-GEN-00222384
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 16 of 1274 PageID #: 8322


       U.S. Patent                           May 11, 2004        Sheet 13 of 31       US 6,734,171 B1




                                                                                        0.0%
                                                                                        1.0%
            FRACTION NUMBER




                              3-                                                        5.0%



                              5
                                                                                         10%
                              6 Ti
                                                  I          I              I

                                              5000       10000       15000       20000         25000
                                                                       3
                                               FRACTION RATIOACTIVITY ( H-ONA, DPW



                                                                                        0.0%
                                                                                        1.0%
           FRACTION NUMBER




                              2

                              3                                                         5.0%
                              4

                              5
                                                                                         10%
                                        .    I
                                  0.0       0.5        lb      1.5     2.0    2.5        3.0    3.5
                                                      LIPID CONCENTRATION 04910LE/D

                                                       F/G /3.




                                                                                               JA001366
                                                                                          MRNA-GEN-00222385
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 17 of 1274 PageID #: 8323


       U.S. Patent        May 11, 2004   Sheet 14 of 31         US 6,734,171 B1




                     FIG 144.                             Fa. /48.




                                                                          JA001367
                                                                     MRNA-GEN-00222386
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 18 of 1274 PageID #: 8324


       U.S. Patent          May 11, 2004     Sheet 15 of 31        US 6,734,171 B1


                  1200
                              14.2%
                                                                        A
                                  FREE ONA REMOVED INEX32I
                   800                     PURE DNA

                   600

                   400

                   200

                     O
                      a       5          10      15           20   25       30
                                      FRACTION NUMBER



                  1400

             ftcaLr 1200                                                B
                               84%
              i 1000              ISOLATED INEX321
              ze,
            ....„
              ...... 800-
              ).
              .—
                 rn. 600-
              ,—
              c..,
              •e
              a 400-
              ce
                     200-

                      0
                                         10      15           20   25        30
                                      FRACTION NUMBER

                                  F/G.      /5



                                                                             JA001368
                                                                        MRNA-GEN-00222387
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 19 of 1274 PageID #: 8325


       U.S. Patent            May 11, 2004       Sheet 16 of 31            US 6,734,171 B1




             LANE     I   2    3    4        5   6   7   8        9   10 11       12

           SERUM      —   +    _   _         —   + —     _        —   4.    —    —

            DNA' se   —   —    +   +         —   —   +   +        —   —     + +
            CARRIER +     _    —   +         +   —   — +          +   —     — +




                                         FIG. /6.




                                                                                       JA001369
                                                                                MRNA-GEN-00222388
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 20 of 1274 PageID #: 8326


       U.S. Patent            May 11, 2004        Sheet 17 of 31     US 6,734,171 B1




                                                                         CO
                                                                         04




                                                                                ....I
                                                                         N      0
                                                                                3E
                                                                                V
                                                                         0      .er
                                                                         C.-I   0
                                                                                0
                                                                                c=g




                                                                         C.0



                                                                         CO




                                                                         Q.




                          1
                         4:=,
                         0
                         00             F,          8            E   0




                              0001/(118 A111111.011 3SVH3J1001




                                                                                        JA001370
                                                                                MRNA-GEN-00222389
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 21 of 1274 PageID #: 8327


       U.S. Patent        May 11, 2004     Sheet 18 of 31    US 6,734,171 B1




                                                                It-d0




                                                                ti
                                                                CO




                                                                st
                                                                Cs..J




                                                                C"..J



                                                                          am.
                                                                          J
                                                                          Q

                                                                a t!
                                                                          q1C
                                                                C:3
                                                                          O
                                                                          t=1


                                                                00




                                                                r---


                                                               c'001x3NI


                     1         1                       1
                     0         C=I        0           (:)
                     00        CO         oct




                              AllA11311 3SVI331301




                                                                                JA001371
                                                                        MRNA-GEN-00222390
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 22 of 1274 PageID #: 8328


       U.S. Patent               May 11, 2004       Sheet 19 of 31               US 6,734,171 B1



                  300
                           C1 0.05 uG/ WELL                                                A
                  250-     imam 0.3 gG/WELL
                           Ma 0.7 gG/WELL
           -      200-

           c.) 150-

                  100-          .7j

           a
            •      50-

                    0                                 EN/
                           INEX ICE       7%          16%            21%         *   26%
                                                DODAC NOM




                  300
                            - INEXice
           3 250-           -0- INEX30I
                            - INEX317
           55 200-          -9- 1NEX323
           P--
                                1NEX332
           C.-]- 150-
           Age
           w
                   100-

                   50-

                    0
                     0.0              0.2              0.4                 0.6                  0.8
                                                ONA DOSE (uG/WELL)


                                               F/2 /9.



                                                                                               JA001372
                                                                                     MRNA-GEN-00222391
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 23 of 1274 PageID #: 8329


       U.S. Patent                  May 11, 2004                            Sheet 20 of 31                US 6,734,171 B1




                                                         -+ % VIABILITY
                                                           att


                  1---h\\\                 \. \\\\\\\                               \N\          sr To




                                                                                               ► Off 500 (5£/59) £LZ S3




                                                                                                                           (\,1
                                                                                                 911 900(0t/09)ZLZ S3

                                                                                 \\\\\\X         911 g




                                                                                           1--k OR 50.0 (gt/SVILZ 33

                                                 '--I\N\\\\\\\\                                  vi so
                                                                                             1- 511 ro
                                                                                               {on gov t05ios)012 S3
                                     C)
                               •     Me     :3
                     •0      4=1     0
                     C:7                   4.5     c=•                    O
              I      00      f•--    GC)                                  1.11


                                    31VSA1 40 In/1118




                                                                                                                          JA001373
                                                                                                                MRNA-GEN-00222392
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 24 of 1274 PageID #: 8330


       U.S. Patent        May 11, 2004     Sheet 21 of 31    US 6,734,171 B1




                                  33N3S3N51111 3A1013t1




                                                                      JA001374
                                                                 MRNA-GEN-00222393
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 25 of 1274 PageID #: 8331


       U.S. Patent                                   may 11, 2004                Sheet 22 of 31          US 6,734,171 B1



                    100000
                     90000- 41- •                               •          •                                  -100
               •    80000 -
               •     70000-                                                                                   -80
                     60000
                    50 000 -                                                                                   60
               •     40000                                                                                    -40
               ▪     30000-
               4;    20000 -                                                                                  -20
                     10000-1
           A             0 42,                                         1—me. I                                -0
                            ci                                  4=i                     ,=$
                            4e
                                                                C•.1




                                                                           FORMULATION/005E




                                                     100000
                                                      90000-                                      -100
                             RLU/I0 111. OF LYSATE




                                                      80000-
                                                      70000-                                      -80
                                                      60000-
                                                                                                  -60
                                                      50000-
                                                      40000-                                      -40
                                                      30000-
                                                      20000-                                      -20
                                                       10000-
           B                                              0            1                           0
                                                                                 4%.4

                                                                           FORMULATION/DOSE

                                                                           Fla 22.



                                                                                                                   JA001375
                                                                                                            MRNA-GEN-00222394
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 26 of 1274 PageID #: 8332


       U.S. Patent          May 11, 2004                Sheet 23 of 31            US 6,734,171 B1




                                               •                                 HII03
                                                                             %3£ 011000




                •   •                                     •                      WI
                                                                             %cz ovaoa




                                                                   •             ifHtl
                                                                             %33 01400




                                           •       I.
                                                                                     81103
                                                                                 %Li Ovaoa




                                                                           • t1H 03 S0d


                                                                       1
                        i                           II
                                                              a
                                                              a
                                                               1
                                                                           C:.




                     HON01/9d AlIMIN 3SYS311001




                                                                                             JA001376
                                                                                      MRNA-GEN-00222395
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 27 of 1274 PageID #: 8333


       U.S. Patent                           May 11, 2004              Sheet 24 of 31                         US 6,734,171 B1




                                                                                                             8HE
                                                                                                           %ttz 30Y00

                                                                                                             NH Ht?
                                                                                                           %0Z 301100


                                                         .                                                  HE
                                                                                                           %OZ 001100




                                                                                                      .1    NH BO
                                                                                                           %gl 00V00


                                                                                                            8Htl
                                                                                                           %gl 00V00



                                                                                                           NH tZ SEW

                  1   '      1    '    1 '    1    1     1     .   I   l    l     y   i   .   1   1
           tej   S.       14fr)       tFi
                                       r     sr,   CI   .1.3       a       .5.2

                          (8OW01/0d) All All0V 398311001




                                                                                                                        JA001377
                                                                                                                   MRNA-GEN-00222396
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 28 of 1274 PageID #: 8334


       U.S. Patent        May 11, 2004       Sheet 25 of 31             US 6,734,171 B1




                                                                                coc X3NI

                                                  •                          !WOG VIZ


                                                              •     •         OVOOG %OZ


                                                       •                     !OV000 %03


                                                                              moo Ix

                            •                                                !TOO %02


                                                                              0V000 %Oi

                                              •                              OW !KS X3NI


                                                                                !Ig£ X3NI


                                                                                 Ict X3NI


                                                                                     S8d


                                         F
                                     g                                  Cs
                   C:3                                        O
                   ILO                                        Y")
                   cv




                                                                                     JA001378
                                                                              MRNA-GEN-00222397
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 29 of 1274 PageID #: 8335


       U.S. Patent        May 11, 2004      Sheet 26 of 31                            US 6,734,171 B1




                                                                                      4.      £0£ X3N1


                                                                                            !OHO° %0Z


                                                                            4+ • •          OV000 %OE

                                                    •           •   •                       !MOO %trl


                                                                              •1•1,         011000 %t,l


                                                                                            !OV000 %0£ (\i
                                                                                                          (do

                                                                         •                  OV000 mi tz
                                                        *   •                  •          ON !NE X3N1

                                                                •          • ID !192 X3N1
                                                                        • II 132 X3N1
                                                                                                   Sad

                                -I              1                       ,
                                                            OJ                        CZ,




                            N331dS 0/3SV83310111 $d




                                                                                                    JA001379
                                                                                             MRNA-GEN-00222398
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 30 of 1274 PageID #: 8336


       U.S. Patent          May 11, 2004       Sheet 27 of 31               US 6,734,171 B1




                                                                •••




                                                                            %IN

                                                                       ("0111) %0Z

                                                                            % OZ

                                                                            % 02

                                                                      (Os) %O£




                                                                                       OODAC CONCENTRATION IN TCS
                                                                            %02
                                                                                                                    t
                                                                            % 0£

                                                                           %RP                                      4.

                                                                      (O'N) %Wt.

                                                                       cm% E
                                                                        (d1) % OZ

                                                                        (d1) % gl

                                                                              Sad
                     w=w           =             C:0
         2           GO


                           113Al1 9/3SV11311301 9d




                                                                                                                    JA001380
                                                                                     MRNA-GEN-00222399
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 31 of 1274 PageID #: 8337


       U.S. Patent                               May 11, 2004                               Sheet 28 of 31                     US 6,734,171 B1




                                                                                  I                                     r




                                                                                                                                        CO
                                                                                                                                        re,




                                                                                                 II        II

                                                                                                                                        C:1
                     --6- FREE DNA REMOVED




                                                                                                                                        C.../




                                                                                                           (
                                                 -*-- ISOLATED TCS




                                                                                                                              ciD
                                                                              I                                 I             OD
                                                                                                                              0—
                     I                       1    1                                    1     •    1    .        I   1     i
             C:,    C=J                          1=0                                  0          0                      00
             C:)    in                                                                CD         6CD        CD
                                                                                                            0           tr,
                                                                                                                                    0
                                                 C:,                                                        -
             .4 -   PeJ                          Pr)                                  0.1




                                                                     ( 1/SIINII) AllAllOV 1SV




                                                                                                                                                JA001381
                                                                                                                                        MRNA-GEN-00222400
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 32 of 1274 PageID #: 8338


       U.S. Patent               May 11, 2004         Sheet 29 of 31      US 6,734,171 B1



                   0.8

           5 0.6-
           u_,
                   0.4 -
           =
           0
           1-,2, 0.2                                            y(
                                                                 (
                     0
                           CONTROL           324 LIPID       324-LUC     324-LACZ

                                                F/O. 29.



               Liu
                           100
               U,
               O
                            80
               orC
               CO
               co           60
                     —J
                  — —J
               C:$ UJ
               UJ
               CO
                     G7
                            40
               wt
               f.m.•
               2C
               UJ           20
               CO


                             0       rt —
                                        J —F- 7 1

                                   324- LUC           324-LACZ          324 - LACZ
                                                      12.5 uG DNA      6.25 AG DNA

                                                    Fia 30.


                                                                                     JA001382
                                                                              MRNA-GEN-00222401
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 33 of 1274 PageID #: 8339


       U.S. Patent           May 11, 2004         Sheet 30 of 31                US 6,734,171 B1




                                                                         0 -
                                                                         C./3




                                                                   •••




                                                                         CD



                                                                   maw




                                                                         U.1
                                                                         —J
                                                                         a -




                                                                         CD

                                                                         —J




                                                                   I     La1
                                                                         UJ
                                                                         0
                                                                   sow   COI


                                                                         CC




                      I    I
                          c=•        I      =I          I      cz
                  O       CD
                                    c;)
                                    0       0
                                                       c3
                                                       0

                  0       C
                          0 0a      CO      qir        CM



                                 Mil0/3SV83J13111 SJ




                                                                                        JA001383
                                                                                   MRNA-GEN-00222402
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 34 of 1274 PageID #: 8340


       U.S. Patent                 May 11, 2004            Sheet 31 of 31       US 6,734,171 B1




             • 120
             L.L.1
             U .1
                     100 "
             Cr3
              ca 80,
              cD
             •w 60-
              cz)
                  40 -
             tLl

             U
                      20-
                              errnilliRrrin



                              DILUENT          324-LIPID          324 -Lac Z    324-L018

                                              F/G 32.


                     100
             -t2
               ▪ 80 -
                      60-
             v


             .c 40-
             tt-- 20-
             U



                       0                        onffrrin                        ll ii
                             HBS CONTROL 324-LIPID               324-Lac Z     3241018

                                              F/G. 33.




                                                                                           JA001384
                                                                                    MRNA-GEN-00222403
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 35 of 1274 PageID #: 8341


                                                           US 6,734,171 B1
                              1                                                                         2
                METHODS KM ENCAPSULATING                                     Detergent dialysis is a method of encapsulation which has
               NUCLEIC ACIDS IN LIPID BILAYERS                            no deleterious effects on the DNA. Wang, et al., Proc. Nail.
                                                                          Acad. Sci. USA, 84:7851-7855 (1987) applied a detergent
                   CROSS-REFERENCE TO RELATED                             dialysis technique followed by extrusion through a 0.2 pm
                                APPLICATION                            5 polycarbonate filter. A 4.6 kb plasmid was entrapped in
          This application claims priority under 119(e) to U.S.           vesicles approximately 200 nm in diameter with a trapping
       Provisional Patent Application Serial No. 60/063,473, filed        efficiency of about 14-17%, giving a DNA to lipid ratio of
       on Oct. 10, 1997, which is hereby incoporated by reference.        about 26 pg DNA to 10 pmole lipid.
                        FIELD OF TILE INVENTION                              Ideally, a delivery vehicle for a nucleic acid or plasmid
                                                                       10 will have the following characteristics: a) small enough and
          This invention relates to lipid-based formulations for          long lived enough to distribute from local injection sites
       nucleic acid delivery to cells, methods for the preparation of     when given intravenously, b) capable of carrying a large
       such formulations and, in particular, to lipid encapsulated        amount of DNA per particle to enable transfection of all
       plasmids. The compositions are safe and practical for clini-       sizes of genes and to reduce the volume of injection, c)
       cal use.                                                        15 homogeneous, d) reproducible, e) protective of DNA from

                  BACKGROUND OF THE INVENTION                             extracellular degradation and f) capable of transfecting
                                                                          target cells in such a way that the DNA is not digested
          Gene therapy is an area of current interest which involves      intracellularly.
       the introduction of genetic material into a cell to facilitate
                                                                             The present invention provides such compositions and
       expression of a deficient protein. Plasmid DNA has been
                                                                       20 methods for their preparation and use.
       encapsulated or complexed with lipid-based carriers by a
       number of methods including reverse phase evaporation                           SUMMARY OF THE INVENTION
       (Fraley, et al., J. Biol. Chem., 255:10431-10435 (1980);
       Soriano, et al., Proc. Natl. Acad. Sci. USA, 80:7128-7131             In one aspect, the present invention provides composi-
       (1983); Nakanishi, et al., Exper. Cell Res., 159:399-409 25 tions which arc nucleic acid (e.g., plasmid)-lipid composi-
       (1985); Nandi, et al., J. BioL Chem., 261:16722-16726              tions. In these compositions, a nucleic acid (e.g., plasmid or
       (1986); and Alin°, et al., Biochem. Biophys. Res. Commun.,         an antisense molecule) is encapsulated in a self-assembling
       192:174-181 (1993)); Cat* EDTA chelation (Szelei, et al.,          lipid vesicle in an amount of from about 20 pg nucleic
       Biochem. J., 259:549-553 (1989)); detergent dialysis               acid/mg   lipid to about 400 pg nucleic acid/mg lipid. The
       (Wang, et al., Proc. Natl. Acad. Sci. USA, 84:7851-7855 30 lipid vesicle will typically be a liposome or lipid particle (a
       (1987)); lipid hydration (Lurquin, Nucleic Acids Res.,             bilayer vehicle coating the plasmid and having little or no
       6:3773-3784 (1979); Yagi, et al., Biochem. Mol. Biol.              aqueous   interior). The lipid vesicle can be prepared from a
       International, 32:167-171 (1994)); ether injection (Fraley,        wide variety of lipids or combinations of lipids. The com-
       et al., Proc. Natl. Acad. Sci., 76:3348-3352 (1979); Nicolau,      positions can also include targeting groups and modified
       et al., Biochem. Biophys. Res. Comm., 108:982-986 (1982)); 35 lipids (e.g., ATTA-lipids, gangliosides, such as ganglioside
       and sonication (Jay, et al., Bioconj. Chem., 6:187-194             GM!), PEG-lipids, such as PEG-ceramides, and lipids hav-
       (1987) and Puyal, et al., Eur. J. Biochem., 228:697-703            ing reactive functional groups for the attachment of targeting
       (1993)).                                                           groups or circulation stabilizers). Preferably, the lipid
                                                                          vesicles will comprise cationic lipids and fusogenic lipids.
          Reverse phase techniques typically encapsulate only
                                                                          Additionally, the nucleic acid (e.g., plasmid)-lipid compo-
       about 10 to 20% of DNA in solution and the final DNA to 40
                                                                          sitions described herein can he prepared having a narrow
       lipid ratio is quite low. For example, Nakanishi, et al. (Exper
       Cell Res., 159:399-409 (1985)) reported a final DNA to lipid       size distribution (typically 50 nm to about 150 nm) without
                                                                          the use of sizing methods, such as extrusion and sonication
       ratio of 1.5 Ng DNA to 2.5 mg lipid, while Soriano, et al.
                                                                          methods.
       (Proc. Natl. Acad. Sci. USA, 80:7128-7131 (1983)) reported
       a DNA to lipid ratio of about 14 pg DNA to 60 µmol of 45              in another aspect, the present invention provides methods
       lipids. The maximum theoretical encapsulation efficiency           for the encapsulation of nucleic acids, antisense, ribozymes
       expected by reverse phase is only about 40%. Other                 and, particularly, plasmids in a lipid bilayer carrier. Such
       methods, such as rehydration of freeze dried vesicles with         methods are related to a detergent dialysis method using
       DNA, have been shown to yield trapping efficiencies                cationic lipids of any desired concentration in combination
       between 30 and 40% (Baru, et al., Gene, 161:143-150 50 with a dialysis buffer of an ionic strength (salt concentration,
       (1995)). Others have sought to increase the entrapment of          type of ions) specific for the given cationic lipid concentra-
       DNA by the inclusion of cationic lipids in the lipid suspen-       tion. With the dialysis buffer of appropriate ionic strength,
       sion (Stavridis, et al., 1986; Puyal, et al., Eur. J. Biochem.,    the methods provide encapsulation of 40-80% of the nucleic
       228:697-703 (1995)), or by rendering the DNA positively            acid solution. The compositions above, and those formed by
       charged by 10 coating it with basic proteins such as 55 the methods described below, exhibit preferably less than
       lysozymes (Jay, et al., Proc. Natl. Acad. Sci. USA,                about 30% degradation, more preferably, less than about
       84:1978-1980 (1987)). Although trapping efficiencies as            15% degradation and, even more preferably, less than about
       high as 50% were achieved by the lysozyme method, the              5% degradation when digested with 0.1 to 10 U and, more
       amount of DNA loaded per mg of lipid was low (5 pg/mg              preferably, 1 U of a nuclease after 30 minutes at 37° C.
       lipid) and the largest DNA molecule tested was only 1 kb. 60          In particular, the invention provides a method for encap-
       Trapping efficiencies as high as 60-90% were achieved by           sulating a nucleic acid in a lipid bilayer carrier, comprising:
       Puyal, et al. (Eur. J. Biochem., 228:697-703 (1995)) with a           (a) combining a nucleic acid with a lipid-detergent mix-
       higher DNA to lipid ratio (13 pg,,,,umole lipid) using a 6.3 kb          ture comprising an aggregation-preventing agent (e.g.,
       ssDNA (M13 phage). The major drawback of this technique                  an ATTA-lipid, a PEG-lipid, such as a PEG-ceramide,
       and the one described by Jay, et al., Bioconj. Chem., 65                 a ganglioside, etc.) in an amount of about 5 mol % to
       6:187-194 (1987)) is that sonication was used. Sonication of             about 20 mol %, cationic lipids in an amount of about
       DNA typically leads to some degradation of the lipid vesicle.            0.5 mol % to about 50 mol % by weight, neutral or




                                                                                                                            JA001385
                                                                                                                   MRNA-GEN-00222404
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 36 of 1274 PageID #: 8342


                                                             US 6,734,171 B1
                                      3                                                                    4
             fusogenic lipids in an amount of from about 30 mol %           between varying the salt concentration on the encapsulation
             to about 70 mol % and a detergent, to provide a nucleic        of plasmid over a range of INEX TCS DODAC concentra-
             acid-lipid-detergent mixture; and                              tions is illustrated. Negative NaCl concentrations indicate
          (b) dialyzing the nucleic acid-lipid-detergent mixture            where the buffer concentration was decreased to an extent
             against a buffered salt solution and to encapsulate the 5 where no NaCI was included in the dialysis buffer, and the
             nucleic acid in a lipid bilayer carrier. In these methods,     phosphate buffer concentration alone was decreased to
             the ionic strength (salt concentration) is adjusted for the    achieve  encapsulation. Formulations were prepared contain-
                                                                            ing 10 mg/mL total lipid, 400 pg/mL plasmid DNA. In each
             cationic lipid concentration used in the lipid mixture
                                                                            1.0 ml formulation, the PEG-C8 concentration was main-
             and when necessary for the polynucleotide selected for         tained at 15 mol %, the DODAC concentration was varied
             encapsulation to entrap from about 40% to about 80% 10
                                                                            as indicated and the balance of the lipid was DOPE. At each
             of the nucleic acid for any given concentration of
                                                                            DODAC concentration, formulations were dialyzed against
             cationic lipid.
                                                                            a range of buffer salt concentrations. This study demon-
          In another aspect, the present invention provides methods
                                                                            strates that a range of encapsulation efficiencies can be
       for introducing nucleic acids into cells and for inhibiting          achieved by adjusting the NaC1 concentration in a phosphate
       tumor growth in cells using the lipid-nucleic acid formula- 15
                                                                            buffer. Thus, the association of the DNA with the lipid
       tions described above.
                                                                            particles can be regulated.
          Other features, objects and advantages of the invention
                                                                               FIG. 9. Encapsulation of pINEXL018. Effect of varying
       and its preferred embodiments will become apparent from
                                                                            NaPO4 and total lipid concentration. The effect of varying
       the detailed description which follows.
                                                                         20 the lipid and phosphate buffer concentration on the encap-
              BRIEF DESCRIPTION OF THE DRAWINGS                             sulation of plasmid over a range of INEX TCS DODAC
                                                                            concentrations is demonstrated. Formulations were prepared
          FIG. 1 provides an illustration of the phase properties of
                                                                            containing either 5 or 10 mg/mL total lipid, 400 pg/mL
       lipids.
                                                                            plasmid DNA. As in FIG. 3, the formulations were prepared
          FIG. 2 illustrates the conical form of one fusogenic lipid        containing 15 mol % PEG-C8, the range of indicated
       and further illustrates how fusion with another membrane          25
                                                                            DODAC concentrations and the balance of lipid made up
       can occur.                                                           with DODAC. In this study, the concentration of the dialysis
          FIG. 3 provides an illustration of the detergent dialysis         phosphate buffer alone could be decreased to achieve encap-
       procedure for entrapping nucleic acids in fusogenic lipid            sulation of a plasmid over this range of DODAC concen-
       vesicles.
                                                                         30 trations.
          FIG. 4 illustrates the structures of three PEG-Ceramide              FIG. 10. Effect of lipid concentration on the encapsulation
       conjugates and also provides half-times for their dissociation       of pINEXP005 in INEX 351. Formulations were prepared in
       from a lipid vesicle.                                                1 mL formulations containing 200 ug/mL plasmid and total
          FIG. 5. Encapsulation of pINEXL018 plasmid using                  lipids ranging from 1.25 mgjmi, to 10 mg/mi.. INEX 351
       DODAC/DOPE/PEG-Cer-C8 (30:55:15 mol %) by deter- 35 indicates a formulation containing 42.5 mol % DODAC,
       gent dialysis in citrate buffer. Effect of varying NaCl con-         42.5 mol % DOPE and 15 mol % PEG-C8. The formulations
       centration with constant citrate concentration (100 mM Na            were dialyzed against 150 mM NaP01, 150 mM NaCl, pH
       citrate, 5 mM HEPES, pH:7.2) is illustrated. The encapsu-            7.4. This study demonstrates that a❑ increase in lipid con-
       lation efficiency and polydispersity, x2 (a measure of for-          centration increases the extent of plasmid concentration.
       mulation homogeneity), of formulations are plotted as func- 40 Thus, sufficient total lipid is required for loading of the
       tions of NaCI. Successful formulations are indicated by the          plasmid into the particles.
       high encapsulation and low x 2.                                         FIG. 11. Effect of plasmid concentration on encapsulation
          FIG. 6. Encapsulation of pINEX L018 plasmid using                 efficiency in INEX 351 particles were prepared in 1 mL
       DODAC/DOPE/PEG-Cer-C8 system by detergent dialysis                   formulations containing 5 mg/mL total lipid and the con-
       in citrate buffer containing constant NaCl concentration (150 45 centration of the plasmids ranged from 100 to 1000 pg/mL.
       mM) and 5 mM HEPES, pH:7.2. The relationship between                 Formulations containing pINEXP005 and pINEXL002 were
       varying DODAC mol % and the optimal citrate concentra-               dialyzed against 150 mM NaPO4, pH 7.4 containing 150
       tion and the effect upon encapsulation efficiency is demon-          mM and 175 mM NaCl, respectively. This study demon-
       strated. Each point represents a formulation of acceptable           strates that with increasing plasmid concentration, there is a
       size and encapsulation efficiency. The optimal range of 50 decrease in the encapsulation efficiency. Thus, as seen in
       citrate and DODAC concentrations are indicated by the solid          FIG. 5, sufficient lipid is required in order to have significant
       line. Typically, those preparations prepared below the opti-         loading of the plasmid into particles.
       mal citrate concentration have large sizes or aggregate, and            FIG. 12. Sucrose density gradient isolation of an INEX
       those formulations prepared above the optimal citrate con-           TCS. Panel A: Separation of TCS formulation loaded with
       centration have low encapsulation efficiencies (0-30%).           55 plasmid (lower band) from empty vesicles (upper bands) on
          FIG. 7. Effect of DODAC concentration on plasmid                  the gradient after 12 hr centrifugation at 36,000 rpm (SW 41
       encapsulation. In this study, the effect of small (1 mol %)          Ti Rotor). Panel B: Removal of empty liposomes (non-DNA
       changes of DODAC concentration were tested at constant               associated). Panel C: Removal of the DNA-loaded TCS
       lipid (10 mg/mL), plasmid (400 Jug/mL) and buffer concen-            from the gradient. Empty vesicles are removed from the
       trations. Encapsulation efficiency dropped significantly with 60 TCS formulation using sucrose gradient isolation after the
       a decrease in DODAC concentration, indicating that care              nonencapsulated plasmids are removed on a column of
       must be taken to precisely deliver DODAC at a given NaC1             DEAE-Sepharose. In this preparation, a formulation con-
       concentration. pINEXL002 was formulated in 150 mM                    taining 24 mol % DODAC (200 pg DNA/10 mg plasmid)
       NaPO4, 175 mM NaCl, pH 7.4, and pINEXP005 was                        was loaded onto a typical sucrose gradient which contained
       formulated in 150 mM               150 mM NaCI pH 7.4.            65 (from bottom to top) 10% (2 mi 5% (4 ml), and 2.5% (3
          HG. 8. Encapsulation of pINEXP005. Effect of varying              mL) sucrose in 20 mM HEPES buffered saline. The gradient
       NaC1 with constant NaPO4 concentration. The relationship             was centrifuged for 14 hr at room temp. In this case, the




                                                                                                                                JA001386
                                                                                                                       MRNA-GEN-00222405
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 37 of 1274 PageID #: 8343


                                                           US 6,734,171 B1
                                     5                                                                  6
       DNA loaded TCS were removed using a syringe; however,                FIG. 20. In vitro transfection study. Effect of the dose and
       fractions can be removed from the top of the gradient.            DODAC concentrations of TCS prepared by phosphate
          FIG. 13. Distribution of lipid and DNA for a typical TCS       buffer dialysis on the transfection and viability of COS-7
       containing 21 mol % DODAC after centrifugation on a               cells in culture. INEX 'WS formulations containing 42.5,
       sucrose density gradient for 5 hrs at 36000 rpm at 20° C. 5 38,34 and 30 mol % DODAC (expressed as DOPE/DODAC
       using a Beckman ultracentrifuge with a SW41 Ti rotor.             ratios 50/50, 55/45, 60/40 and 63/35, respectively) were
       Fractions of 2 mL were removed from top to bottom and             incubated with 35,000 cells/well at doses of 0.05, 0.1, 0.5µg
       assayed for DNA and lipid concentration. Upper panel:             DNA. After 24 hr incubation, the cells were resuspended,
       distribution of 3H-labelled DNA. Lower panel: distribution        lysed and measured for viability and luciferase activity
       of ' 4C-labelled lipid on the sucrose gradient.                m (expressed as relative luminescence units). This study dem-
          FIG. 14. Electron-microscopy (EM) of various INEX              onstrates that decreasing the DODAC concentration in non-
       TCS formulations. (A) Freeze-fracture EM of a formulation         isolated 'ICS increases the transfection activity and
       containing 20 mol % DODAC. (B) Freeze-fracture EM of a            decreases the relative toxicity of the formulation.
       formulation containing 42.5 mol % DODAC formulation.                 FIG. 21. Time course of transfection activity of TCS
          FIG. 15. Serum stability assay of INEX TCS. Sepharose 15 prepared by the phosphate dialysis method. COS-7 cells
       CL-4B gel filtration chromatography after treatment with          were incubated with 0.5 pg non-isolated TCS under the
       80% normal mouse serum at 37° C. for 60 minutes. Upper            conditions described in FIG. 14. After incubation for 24, 48
       panel: free DNA vs. TCS containing 21 mol % DODAC                 and 72 hours, transfection was measured as luciferase activ-
       (unencapsulated DNA removed). Lower panel: TCS con-               ity. This study illustrates that in vitro transfection increases
       taining 21 mol % DODAC after isolation on a sucrose 20 for up to 48 hr and is sustained for well over 72 hr. As
       density gradient. TCS when not incubated with serum, or           observed in FIG. 14, transfection activity increased with
       incubated but protected from serum degradation was eluded         decreasing DODAC concentration.
       at the void volume (fractions 5-8). DNA when degraded by             FIG. 22. Effect of sucrose density gradient isolation of
       serum was eluded in later fractions (fractions #10-20). The       TCS prepared by the phosphate dialysis method on the
                                                                      25
       results showed that DNA was protected 74% and 84% in the          transfection and viability of COS-7 cells in culture. COS-7
       cleaned TCS (by DEAE column) and the isolated TCS                 cells were incubated with both isolated and nonisolated TCS
       respectively.                                                     at 0.05, 0.1, 0.5 and 1.0 pg of DNA. TCS contained DODAC
          FIG. 16. Serum and DNAse stability of plasmid, Free, in        concentrations of 20, 24, 30 and 42.5 mol %. After 24 hours
       complexes (INEX100.3, complexes prepared by mixing 30 the cell viability and luciferase activity was measured. In
       DODAC/DOPE liposomes with pINEXL018) and encapsu-                 total, FIGS. 14-16 demonstrate that TCS mediated trans-
       lated in INEX TCS. Agarose gel electrophoresis of pIN-            fection is dose dependent. Maximal in vitro transfection
       EXL018 phenol-chloroform extracted after treatment with           activity is obtained at 30 mol % DODAC. Decreasing the
       80% normal mouse serum. Lanes 1-4: Free pINEXL018;                TCS DODAC concentration reduces toxicity. Removal of
       Lanes 5-8: pINEXL018 encapsulated 42.5% DODAC con- 35 empty TCS by sucrose density gradient isolation also
       taining TCS; Lanes 9-12: DOPE:DODAC complexed-                    decreases the toxicity of the formulations and increases the
       pINEXL018. This study illustrates that the encapsulated           in vitro transfection activity.
       DNA remains intact after treatment with serum and DNAse,             FIG. 23. In vivo, intraperitoneal transfection study for
       while demonstrating that complexed DNA is not as nuclease         TCS containing various DODAC concentrations in TCS
       stable.                                                           prepared by detergent dialysis in citrate buffer after isolation
                                                                      40
          FIG. 17. Effect of DODAC concentration in TCS on the           on transfection of B16 i.p. tumors. The TCSs were com-
       transfection of COS-7 cells in culture using isolated TCSs        posed of pINEXL018/DODAC/DOPE/PEG-Cer-C8. TCS
       prepared with pINEXL018 and DODAC/DOPE/PEG-Cer-                   (30 pg DNA/500 µl/mouse) formulations were injected i.p.
       C8 by the detergent dialysis method using citrate buffer.         into mice 7 days after tumor seeding. Tumors were removed
       Cells (40,000/well) were seeded in 24 well plates 24 hr 45 from mice 24 hours after treatment and were assayed for
       before transfection. The dose was 1.0 pg/well and the             luciferase activity.
       luciferase activity was assayed at 48 hr time point (n=3).           FIG. 24. Effect of time on the transfection of i.p. B16
       INEX100.3 represents complexes prepared by mixing                 tumors. Isolated TCS (30 pg DNA/500 µ]/mouse) of various
       DODAC/DOPE liposomes with pINEXL018.                              DODAC concentrations prepared by detergent dialysis in
          HG. 18. Effect of DODAC concentration in TCS on the 50 citrate buffer were tested for luciferase transfection activity
       transfection of Hep-G2 cells in culture using isolated TCSs       24 and 48 hours after injection. The TCSs were composed of
       prepared with pINEXL018 and DODAC/DOPE/PEG-Cer-                   pINEXL018/DODAC/DOPE/PEG-Cer-C8.
       C8 by the detergent dialysis method using citrate buffer.            FIG. 25. Comparison of the transfection activity of iso-
       Cells (40,000/well) were seeded in 24 well plates 24 hr           lated vs. non-isolated TCS formulations. TCS containing
       before transfection. The dose was 0.3 pg/well and the 55 DODAC concentrations of 42.5 mol % 30 mol %, 24 mol %
       luciferase activity was assayed at 48 hr time point (n-3).        and 20 mol % DODAC prepared by phosphate dialysis were
       INEX100.3 represents complexes prepared by mixing                 injected i.p. at 30 pg DNA into mice 7 days after tumor
       DODAC/DOPE liposomes with pINEXL018.                              seeding. Tumors removed from mice 24 hours after admin-
          FIG. 19. Effect of dose on the transfection of Hep-G2 cells    istration were assayed for luciferase activity. This study
       in culture in isolated TCS prepared with pINEXL018 and 60 demonstrates that these TCS formulations transfect in vivo
       DODAC/DOPE/PEG-Cer-C8 by the detergent dialysis                   as well as in vitro. in addition, removal of the empty
       method using citrate buffer. Cells (40,000/well) were seeded      liposomes by sucrose density gradient isolation results in
       in 24 well plates 24 hr before transfection. 'Ibe doses were      increased transfection activity.
       0.05, 0.3 & 0.7 pg/well and the luciferase activity was              FIG. 26. The effect of DODAC TCS concentration on the
       assayed at 48 hr time point (n=3). INEXice represents 65 transfection of mouse spleens after i.p. administration. TCS
       complexes prepared by mixing DODAC/DOPE liposomes                 formulations described in FIG. 19 were injected i.p. at 30µg
       with pINEXL018.                                                   DNA into mice 7 days after tumor seeding. Spleens removed




                                                                                                                            JA001387
                                                                                                                   MRNA-GEN-00222406
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 38 of 1274 PageID #: 8344


                                                           US 6,734,171 B1
                                     7                                                                 8
       from the tumor bearing mice 24 hours after administration         (see, Gao, et al., Biochem. Biophys. Res. Comm.,
       were assayed for luciferase activity.                             179:280-285 (1991)); DDAB, N,N-distearyl-N,N-
          FIG. 27. The effect of DODAC TCS concentration on the          dimethylammonium bromide; DMRIE, N-(1,2-
       transfection of mouse liver after i.p. administration. TCS        dimyristyloxyprop-3-y1)-N,N-dimethyl-N-hydroxyethyl
       formulations described in FIG. 19 were injected i.p. at 30pg 5 ammonium bromide; DODAC, N,N-dioleyl-N,N-
       DNA into mice 7 days after tumor seeding. Livers removed          dimethylammonium chloride (see, commonly owned patent
       from the tumor bearing mice 24 hours after administration         application U.S. Ser. No. 08/316,399, incorporated herein by
                                                                         reference); DOGS, diheptadecylamidoglycyl spermidine;
       were assayed for luciferase activity. The studies described in
                                                                         DOPE, 1,2-sn-dioleoylphoshatidyethanolamine; ROSPA,
       FIGS. 21 and 22 demonstrate that it is possible to transfect
       normal organs as well as tumor tissue after i.p. administra- to N-(1-(2,3-dioleyloxy)propy1)-N-(2-(sperminecarboxamido)
                                                                         ethyl)-N,N-dimethylammonium trifluoroacetate; DOTAP,
       tion of TCS formulation.
                                                                         N-(1-(2,3-dioleyloxy)propy1)-N,N,N-trimethylammonium
          FIG. 28. TCS toxicity study was carried out by monitoring      chloride; DOTMA, N-(1-(2,3-dioleyloxy)propyl)-N,N,N-
       the plasma aspartate aminotransferase (AST) levels after i.p.     trimethylammonium chloride; EPC, egg phosphatidylcho-
       administration of TCS containing various concentrations of        line; RT, room temperature; HEPES, 4-(2-hydroxyethyl)-1-
       DODAC. Isolated TCS composed of pINEXL018,1DODAC/ is piperazineethanesulfonic acid; HBS, HEPES buffered saline
       DOPE/PEG-Cer-C8 prepared by detergent dialysis in citrate         (150 mM NaCI and 20 mM HEPES); PEG-Cer-Cm, 1-0-
       buffer were injected i.p. into mice 7 days after tumor            (2'-(cu-methoxypolyethyleneglycol)succinoy1)-2-N-
       seeding. Blood was removed from mice 24 hours after               arachidoyl-sphingosine; PEG-Cer-C14, 1-0-(2'-(m-
       administration and was assayed for AST activity. This study       methoxypolyethy leneglycol)succinoy1)-2-N-myristoyl-
       demonstrates that there is little significant tissue or organ  20
                                                                         sphingosine; PBS, phosphate-buffered saline; EGTA,
       damage associated with TCS formulations administered by           ethylenebis(oxyethylenenitrilo)-tetraacetic acid; OGP,
       the i.p. route.                                                   n-octyl (3-D-glycopyranoside (Sigma Chemical Co., St.
          FIG. 29. Effect of repeated i.v. administration of             Louis, Mo.); POPC, palmitoyl oleoyl phosphatidylcholine
       INEX324-LacZ on serum levels of anti-(3-gal antibodies.
                                                                      25 (Northern Lipids, Vancouver, BC); QELS, quasiclastic light
       Mice received three i.v. injections of INEX324-LacZ and the       scattering; TBE, 89 mM Tris-borate with 2 mM EDTA; and
       level of antibodies against transgene product was measured        EDTA, Ethylenediaminetetraacetic acid (Fisher Scientific,
       using capture ELISA assay.                                        Fair Lawn, NJ.);
          FIG. 30. Effect of DNA concentration on the expression            The term "acyl" refers to a radical produced from an
       of fl-galactosidase by BHK-21 cells in vitro. Cells were 30 organic acid by removal of the hydroxyl group. Examples of
       incubated with either INEX324-luc or INEX324-LacZ for             acyl radicals include acetyl, pentanoyl, palmitoyl, stearoyl,
       24 h and expression of 0-galactosidase was determined by          myristoyl, caproyl and oleoyl.
       FACS using the FDG assay.                                            The term "lipid" refers to any fatty acid derivative which
          FIG. 31. Time course of luciferase expression after i.v.       is capable of forming a bilayer such that a hydrophobic
       administration of 1NEX324-luc formulation. Mice were 35 portion of the lipid material orients toward the bilayer while
       given a single i.v. injection of INEX324-luc (100µg DNA)          a hydrophilic portion orients toward the aqueous phase.
       and the expression of luciferase was determined 12 h and 24       Hydrophilic characteristics derive from the presence of
       h post-injection.                                                 phosphato, carboxylic, sulfato, amino, sulfhydryl, nitro, and
          FIG. 32. Transfection of the spleen after intravenous          other like groups. Hydrophobicity could be conferred by the
       administration of INEX324-Luc formulation. Mice received 40 inclusion of groups that include, but are not limited to, long
       three consecutive injections of INEX324-LacZ or INEX324           chain saturated and unsaturated aliphatic hydrocarbon
       lipid, followed by a single injection of INEX324-Luc.             groups and such groups substituted by one or more aromatic,
       Spleens were harvested 12 h after INEX324-Luc adminis-            cycloaliphatic or heterocyclic group(s). Preferred lipids arc
       tration and the levels of luciferase were assayed.                phosphoglycerides and sphingolipids, representative
          FIG. 33. Transfection of the liver after intravenous admin- as examples of which include phosphatidylcholine,
       istration of INEX324-Luc formulation. Mice received three         phosphatidylethanolamine, phosphatidylserine,
       consecutive injections of INEX324-LacZ or 324 lipid, fol-         phosphatidylinositol, phosphatidic acid, palmitoyloleoyl
       lowed by single injection of INEX324-Luc. Livers were             phosphatidylcholine, lysophosphatidylcholine,
       harvested 12 h after INEX324-Luc administration and the           lysophosphatidyl-ethanolamine,
       levels of luciferase were assayed.                             so dipalmitoylphosphatidylcholine,
                                                                         dioleoylphosphatidylcholine,                    distearoyl-
                   DETAILED DESCRIPTION OF THE                           phosphatidylcholine or dilinoleoylphosphatidylcholine
                                INVENTION                                could be used. Other compounds lacking in phosphorus,
                                                                         such as sphingolipid and glycosphingolipid families are also
                                CONTENTS                              55 within the group designated as lipid. Additionally, the
       T. Glossary                                                       amphipathic lipids described above may be mixed with other
           General—Plasmid-Lipid Compositions                            lipids including triglycerides and sterols.
       Ill. Methods of Forming Plasmid-Lipid Particles                      The term "cationic lipid" refers to any of a number of lipid
       IV. Pharmaceutical Preparations                                   species which carry a net positive charge at physiological pH
       V. Administration of Plasmid-Lipid Particle Formulations 60 or have a protonatable group and are positively charged at
       VI. Example 1                                                     pH lower than the plc. Such lipids include, but are not
       VII. Example 2                                                    limited to, DODAC, DOTMA, DOGS, DDAB, DOTAP,
       VIII. Conclusion                                                  DC-Chol, DMRIE and amino lipids. The term "amino
                                                                         lipids" is meant to include lipids with an amino head group
                                 I. Glossary                          65 (including alkylamino or dialkylamino group) which is
          The following abbreviations are used herein: DC-Chol,          protonated to form a cationic lipid below its plc. Commer-
       3I3-(N-(N'N-di met hyl a m inoelhane)carbamoyl)cholesterol        cial preparations of cationic liposomes prepared from cat-




                                                                                                                           JA001388
                                                                                                                  MRNA-GEN-00222407
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 39 of 1274 PageID #: 8345


                                                           US 6,734,171 B1
                                     9                                                                 10
       ionic lipids are generally not useful unless the liposomes are        "Expression vectors," "cloning vectors," or "vectors" are
       first disrupted to provide lipid mixtures. The compositions        often plasmids or other nucleic acid molecules that are able
       and methods described herein use lipids and lipid mixtures         to replicate in a chosen host cell. Expression vectors may
       in a self-assembling process which occurs in the presence of       replicate autonomously, or they may replicate by being
       a plasmid or other nucleic acid.                                s inserted into the genome of the host cell, by methods well
          The terms "transfection" and "transformation" are used          known in the art. Vectors that replicate autonomously will
       herein interchangeably, and refer to the introduction of           have an origin of replication or autonomous replicating
       polyanionic materials, particularly nucleic acids and              sequence (ARS) that is functional in the chosen host cell(s).
       plasmids, into mils. The term "lipofection" refers to the          Often, it is desirable for a vector to be usable in more than
       introduction of such materials using liposome or lipid-based ro one host cell, e.g., in E. coli for cloning and construction,
       complexes. The polyanionic materials can be in the form of         and in a mammalian cell for expression.
       DNA or RNA which is linked to expression vectors to
       facilitate gene expression after entry into the cell. The                    H. General—Plasmid-Lipid Compositions
       plasmids used in the present invention include DNA having
       coding sequences for structural proteins, receptors and 15            The  present  invention derives from the discovery that
       hormones, as well as transcriptional and translational regu-       nucleic acid (e.g., plasmid) can be encapsulated in lipid
       latory elements (i.e., promoters, enhancers, terminators and       bilayer carriers in an amount significantly above that which
       signal sequences) and vectors. Methods of incorporating            has been previously demonstrated. In particular, the present
       particular nucleic acids into expression vectors are well          invention provides lipid-plasmid compositions in which
       known to those of skill in the art, but are described in detail 20 nucleic acids are encapsulated in self-assembling lipid
       in, for example, Sambrook, et al., Molecular Cloning; A            vesicles in an amount of from about 5 pg to about 800 pg per
       Laboratory Manual (2nd ed.), Vols. 1-3, Cold Spring liar-          milligram of lipid, preferably in an amount of from about 40
       bor Laboratory, (1989) or Current Protocols in Molecular           pg to about 400 ug per milligram of lipid and, more
       Biology, F. Ausubel, et al., ed. Greene Publishing and             preferably, in an amount of from about 100 pg to about 400
       Wiley-Interscience, New York (1987), both of which are 25 pg per milligram of lipid. Additionally, the nucleic acid-lipid
       incorporated herein by reference.                                  compositions which are described herein, form in a self-
          The term "contacting" is used herein interchangeably with       assembling process to yield particles having a narrow dis-
       the following: combined with, added to, mixed with, passed         tribution of sizes (e.g., 50 nm to about 150 nm). The precise
       over, incubated with, flowed over, etc. Moreover, the com-         size of the compositions formed will depend on several
       pounds of present invention can be "administered" by any 30 factors including, for example, the choice of lipids and the
       conventional method such as, for example, parenteral, oral,        size of the nucleic acid that is encapsulated. IIowever, the
       topical and inhalation routes as described herein.                 size distribution is relatively narrow and is achieved without
          "An amount sufficient," "an effective amount," or "thera-       harsh sizing steps such as, for example, extrusion or soni-
       peutically effective amount" refer to an amount of a com-          cation. Still further, the compositions described herein are
       pound or composition effective to depress, suppress or 35 nuclease resistant and can be concentrated in an aqueous
       regress cell growth or result in amelioration of symptoms          solution without the formation of aggregate complexes. As
       associated with cancerous diseases. The desired result can be      used herein, the term "nuclease resistant" when used to
       either a subjective relief of a symptoni(s) or an objectively      describe a nucleic acid-lipid composition refers to a com-
       identifiable improvement in the recipient of the dosage, a         position in which the nucleic acid portion is less than about
       decrease in tumor size, a decrease in the rate of growth of 40     30%    degraded, more preferably, less than about 15%
       cancer cells as noted by the clinician or other qualified          degraded and, even more preferably, less than about 5%
       observer.                                                          degraded when the composition is incubated with 0.1 to 10
                                                                          U and, more preferably, 1 U of a nuclease (e.g., DNAse or
          The terms "treating cancer," "therapy," and the like refer
       generally to any improvement in the mammal having the              normal serum) after 30 minutes at 37° C.
       cancer wherein the improvement can be ascribed to treat- 45           More particularly, it has now been discovered that encap-
       ment with the compounds and compositions of the present            sulation efficiency in detergent dialysis methods is depen-
       invention. The improvement can be either subjective or             dent on the lipid composition as well as the dialysis buffer
       objective. For example, if the mammal is human, the patient        which is used in forming the lipid bilayer carriers. Optimal
       may note improved vigor or vitality or decreased pain as           lipid bilayer carriers can now be constructed depending on
       subjective symptoms of improvement or response to 50 the encapsulate (e.g., plasmid, antisense, ribozyme or other
       therapy. Alternatively, the clinician may notice decrease in       polyanionic therapeutic agent), the environment for trans-
       tumor size or tumor burden based on physical exam, labo-           fection (e.g., diagnostics or in vivo or in vitro transfection)
       ratory parameters, tumor markers or radiographic findings.         and other factors such as desired circulation lifetimes and
       Some laboratory signs that the clinician may observe for           fusogenic properties. Accordingly, particular lipid composi-
       response to therapy include normalization of tests such as 55 tions can now be selected to exhibit certain circulation and
       white blood cell count, red blood cell count, platelet count,      targeting characteristics and formulated by control of salt
       erythrocyte sedimentation rate, and various enzyme levels.         concentrations to increase the amounts of plasmid or other
       Additionally, the clinician may observe a decrease in a            nucleic acid which are encapsulated.
       detectable tumor marker. Alternatively, other tests can be            The unique detergent dialysis method by which the
       used to evaluate objective improvement such as sonograms, 60 present compositions are prepared yields DNA to lipid ratios
       nuclear magnetic resonance testing and positron emissions          in excess of 20µg DNA to 1 mg lipid. in some embodiments,
       testing.                                                           the lipid coated DNA particle will have DNA to lipid ratios
          "Inhibiting the growth of tumor cells" can be evaluated by      in excess of 200 pg DNA to 1 mg lipid.
       any accepted method of measuring whether growth of the                Plasm ids which are useful for the instant compositions are
       tumor cells has been slowed or diminished. This includes 65 typically nucleotide polymers which are to he administered
       direct observation and indirect evaluation such as subjective      to a subject for the purpose of repairing or enhancing the
       symptoms or objective signs as discussed above.                    expression of a cellular protein. Accordingly, the nucleotide




                                                                                                                            JA001389
                                                                                                                   MRNA-GEN-00222408
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 40 of 1274 PageID #: 8346


                                                            US 6,734,171 B1
                                    11                                                                   12
       polymers can be polymers of nucleic acids including                otide Synthesis: A PracticalApproach, Gait (ed.), IRL Press,
       genomic DNA, cDNA, or mRNA. Still further, the plasmids            Washington D.C. (1984); Froehler, et al., Tetrahedron Len.,
       can encode promoter regions, operator regions, structural          27:469-472 (1986); Froehler, et al., Nucleic Acids Res.,
       regions, etc. The plasmids are preferably double-stranded          14:5399-5407 (1986); Sinha, et al. Tetrahedron Lett.,
       DNA or DNA-RNA hybrids. Examples of double-stranded 5 24:5843-5846 (1983); and Sinha, et al., Nucl. Acids Res.,
       DNA include, but are not limited to, structural genes, genes       12:4539-4557 (1984) which are incorporated herein by
       including operator control and termination regions, and            reference.
       self-replicating systems such as plasmid DNA.                         Lipids which are useful in the present invention can be
          Multiple genetic sequences can also be used in the present      any  of a variety of lipids including both neutral lipids and
       compositions. Thus, the sequences for different proteins can 10 charged lipids. Carrier systems having desirable properties
       be located on one strand or plasmid. Promoter, enhancer,           can be prepared using appropriate combinations of lipids,
       stress or chemically-regulated promoters, antibiotic-              targeting groups and circulation enhancers. Additionally, the
       sensitive or nutrient-sensitive regions, as well as therapeutic    compositions provided herein can be in the form of lipo-
       protein encoding sequences, can be included as required.           somes or lipid particles, preferably lipid particles. As used
       Nonencoding sequences can be also be present to the extent 15 herein, the term "lipid particle" refers to a lipid bilayer
       they are necessary to achieve appropriate expression.              carrier which "coats" a nucleic acid and has little or no
                                                                          aqueous interior. More particularly, the term is used to
          Plasmids used in the present method can be isolated from        describe a self-assembling lipid bilayer carrier in which a
       natural sources, obtained from such sources as ATCC or             portion of the interior layer comprises cationic lipids which
       GenBank libraries or prepared by synthetic methods. The 20 form ionic bonds or ion-pairs with negative charges on the
       compositions of the present invention can be prepared from         nucleic acid (e.g., a plasmid phosphodiester backbone). The
       plasmids of essentially any size. In preferred embodiments,        interior layer can also comprise neutral or fusogenic lipids
       the plasmid is from about 2 kilohases to about 15 kilobases,       and, in some embodiments, negatively charged lipids. The
       more preferably from about 4 kilohases to about 10 kilo-           outer layer of the particle will typically comprise mixtures of
       bases.                                                          25 lipids oriented in a tail-to-tail fashion (as its liposomes) with
          In some embodiments, the plasmid will be replaced with          the hydrophobic tails of the interior layer. The polar head
       other nucleic acids (e.g., single-stranded DNA or RNA,             groups present on the lipids of the outer layer will form the
       antisense, rihozymes or nucleic acids). When nucleic acids         external surface of the particle.
       other than plasmids are used, the nucleic acids can contain           Selection of suitable lipids for use with plasmids will
       nucleic acid analogs, for example, the antisense derivatives 30 typically involve consideration of the lipid's bilaycr-
       described in a review by Stein, et al., Science                    forming capabilities, bilayer-stabilizing capabilities and
       261:1004-1011 (1993) and in U.S. Pat. Nos. 5,264,423 and           fusogenic properties. The capabilities, or properties, of a
       5,276,019, the disclosures of which are incorporated herein        lipid can often be estimated based on the physical shape of
       by reference.                                                      the lipid. For example, lipids can be classified according to
          Single-stranded nucleic acids include antisense oligo- 35 the three basic structures which lipids can form (see, FIG. 1).
       nucleotides (complementary to DNA and RNA), ribozymes              Lipids which form micelles typically have large headgroup
       and triplex-forming oligonucleotides. In order to have pro-        cross-sectional areas in relation to that of the lipid tail or
       longed activity, the single-stranded nucleic acids will pref-      hydrophobic region. Examples of these lipids are detergents,
       erably have some or all of the nucleotide linkages substi-         such as n-octyl f3-D-glycopyranoside (OGP), and lysolipids,
       tuted with stable, nonphosphodiester linkages, including, for 40 such as lysophosphatidylcholine (lysoPC). Bilayer-forming
       example, phosphorothioate, phosphorodithioate,                     lipids or bilayer-stabilizing lipids are typically those which
       phophoroselenate, or 0 -alkyl phosphotriester linkages.            are cylindrical in shape (e.g., DOPC, DOPS, and DODAC).
          The nucleic acids used in the present invention will also       Lipids which form an inverted micelle (the precursor to the
       include those nucleic acids in which modifications have            hexagonal II phase) have larger tails than heads (e.g., DOPE,
       been made in one or more sugar moieties and/or in one or 45 see, FIG. 2). Inverted micelles cannot exist in aqueous
       more of the pyrimidine or purine bases. Examples of sugar          solution so they must be solubilized in the membrane and
       modifications include replacement of one or more hydroxyl          form long tube structures called hexagonal 11 phase (H,,,
       groups with halogens, alkyl groups, amines, azido groups or        phase). The H„ phase is thought to be a precursor to fusion
       functionalized as ethers or esters. Additionally, the entire       of two adjacent membranes. For this reason, DOPE is a
       sugar can be replaced with sterically and electronically so powerful membrane fusogen (otherwise referred to as a
       similar structures, including aza-sugars and carbocyclic           fusogenic lipid).
       sugar analogs. Modifications in the puriue or pyrimidine              Fusogenic lipids such as DOPE, lysolipids and free fatty
       base moiety include, for example, alkylated purines and            acids can he accommodated in a bilayer configuration with
       pyrimidines, acylated purines or pyrimidines, or other het-        the appropriate quantities of bilayer-forming lipids. For
       erocyclic substitutes known to those of skill in the art.       55 example, about 20 mol % DOPC will stabilize DOPE in a
          Synthetic nucleic acids can be prepared by a variety of         bilayer. Alternatively, about 30% DODAC (a less effective
       solution or solid phase methods. Generally, solid phase            bilayer-forming lipid) will stabilize DOPE in a bilayer, while
       synthesis is preferred. Detailed descriptions of the proce-        only about 10% or perhaps less of PEG-Ceramide is nec-
       dures for solid phase synthesis of nucleic acids by                essary to stabilize DOPE in a bilayer. Similarly, non-micelle
       phosphite-triester, phosphotriester, and H-phosphonate 60 forming lipids can be stabilized within micelles with the
       chemistries are widely available. See, for example, Itakura,       appropriate quantities of micelle forming lipids such as
       U.S. Pat. No. 4,401,796; Caruthers, et al., U.S. Pat. Nos.         detergents (e.g., OGP). As the detergent is removed by
       4,458,066 and 4,500,707; Beaucage, et al., Tetrahedron             dialysis, the micelle becomes unstable and becomes a
       Lett., 22:1859-1862 (1981); Matteucci, et al., J. Am. Chem.        bilayer if enough bilayer-forming lipid is present (FIG. 3).
       Soc., 103:3185-3191 (1981); Caruthers, et al., Genetic 65 Similarly, a bilayer stabilized by PEG-Ceramide will
       Engineering, 4:1-17 (1982); Jones, chapter 2, Atkinson, et         become unstable once the PEG-Ceramide exchanges out of
       al., chapter 3, and Sproat, et al., chapter 4, in Oligonucle-      the outer monolayer.




                                                                                                                              JA001390
                                                                                                                     MRNA-GEN-00222409
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 41 of 1274 PageID #: 8347


                                                          US 6,734,171 B1
                                   13                                                                 14
          Considering lipid properties, as noted above, the compo-       manner, "programmable" release can be accomplished
       sitions of the present invention are optimized for the deliv-     which results in the control of lipid carrier fusion. For
       ery of nucleic acid (e.g., plasmids) to cells. In particular,     example, PEG-ceramides having C20-acyl groups attached
       lipid-plasmid compositions are provided in which the car-         to the ceramide moiety will diffuse out of a lipid bilayer
       riers (lipid portions) are composed of at least two types of 5 carrier with a half-life of 22 hours (see, FIG. 4). PEG-
       lipids including (i) fusogenic, nonbilayer forming lipids, and    ceramides having C14- and Ciracyl groups will diffuse out of
             bilayer-forming or -stabilizing lipids. Preferably, the     the same carrier with half-lives of 10 minutes and less than
       compositions will further comprise (iii) an aggregation-          1 minute, respectively. As a result, selection of lipid tail
       preventing agent (e.g., PEG -lipids, ATTA-lipids,                 length provides a composition in which the bilayer becomes
       gangliosides, etc.). In particularly preferred embodiments, 10 destabilized (and thus fusogenic) at a known rate. Though
       the compositions will comprise cationic lipids (as the            less preferred, other PEG-lipids or lipid-polyoxyethylene
       bilayer-forming or -stabilizing lipids), fusogenic lipids and     conjugates are useful in the present compositions. Examples
       PEG-lipids.                                                       of suitable PEG-modified lipids include PEG-modified
          Cationic lipids which are useful in the present composi-       phosphatidylethanolamine and phosphatidic acid, PEG-
       tions include, for example, DODAC, DOTMA, DDAB, is modified diacylglycerols and dialkylglycerols, PEG-
       DOTAP, DC-Chol and DMRIE. These lipids and related                modified dialkylamines and PEG-modified 1,2-
       analogs, which are also useful in the present invention, have     diacyloxypropan-3-amines. Particularly preferred are PEG-
       been described in co-pending U.S. Ser. No. 08/316,399; U.S.       ceramide conjugates (e.g., PEG-Cer-C8, PEG-Cer-C14 or
       Pat. Nos. 5,208,036, 5,264,618, 5,279,833 and 5,283,185,          PEG-Cer-C20) which are described in co-pending U.S. Ser.
       the disclosures of which are incorporated herein by refer- 20 No. 08/486,214, now U.S. Pat. No. 5,820,873, incorporated
       ence. Particularly preferred within this group is DODAC.          herein by reference.
          Fusogenic lipids which are useful in the present invention        In one group of particularly preferred embodiments, the
       include, for example, DOPE, lysolipids and free fatty acids.      compositions comprise a nucleic acid (e.g., plasmid),
       Each of these lipids (or lipid groups) can be accommodated        DODAC, DOPE and an aggregation-preventing agent (e.g.,
       in a bilayer configuration with an appropriate quantity of 25 ATTA-lipids, PEG-lipids, such as PEG-Ceramides), more
       bilayer-forming or bilayer-stabilizing lipids (e.g., DOPC,        preferably with the plasmid being encapsulated in an amount
       DODAC, ATTA-lipids, PEG-lipids, such as PEG-                      of from about 30 pg to about 400 pg per milligram of lipid.
       Ceramides, etc.). Preferably, the fusogenic lipid is DOPE, or     Still further preferred are those embodiments in which
       a related phosphatidylethanolamine having two attached            DODAC is present in an amount of from about 5 mol % to
       fatty acyl chains, preferably unsaturated fatty acyl chains. 30 about 50 mol %, DOPE is present in an amount of from
          Preferably, the lipid-nucleic acid compositions of the         about 30 mol % to about 70 mol %, and the aggregation-
       present invention contain an aggregation-preventing agent,        preventing agent (e.g., PEG-Ceramide) is present in an
       i.e., a compound (or mixture of compounds) that prevents          amount of about 5 mol % to about 20 mol %.
       aggregation during formulation of the lipid-nucleic acid             The compositions of the present invention can be pre-
       compositions. In addition, such aggregation-preventing 35 pared by the methods described below to provide composi-
       agents can also serve as cloaking agents, which help to           tions which are about 50 nm to about 100 nm in size. One
       reduce elimination of the lipid-nucleic acid compositions by      of skill in the art will understand that the size of the
       the host immune system. These agents can also be targeting        compositions can be larger or smaller depending of the size
       agents that help the lipid-nucleic acid formulations to accu-     of the plasmid which is encapsulated. Thus, for larger
       mulate in the area of the disease or target site. These agents 40 plasmids, the size distribution will typically be from about
       can also be compounds that improve features of the                80 um to about 180 inn and, more preferably, from about 50
       formulation, such as leakiness, longevity in circulation,         nm to about 150 nm and, more preferably from about 50 nm
       reduction in toxicity, encapsulation efficiency, etc. Examples    to about 90 nm. Additionally, the methods described below
       of suitable aggregation-preventing agents, include but are        result in encapsulation of about 40% to 80% of the plasmids
       not limited to, ATTA-lipid conjugates, such as those dis- as in solution. Surprisingly, compositions having the above
       closed in U.S. patent application Ser. No. 08/996,783, filed      properties can be prepared by a detergent dialysis method
       Dec. 23, 1997, and U.S. patent application Ser. No. 60/073,       via manipulation of the salt concentration present in the
       852, Feb. 2, 1998; PEG-lipid conjugates, such as those            formulation mixture.
       disclosed in U.S. patent application Ser. Nos. 08/486214,         III. Methods of Encapsulating Nucleic Acids in a Lipid
       08/316407, and 08/485608; and gangliosides, e.g., Gmi, so Bilayer Carrier
       such as those disclosed in U.S. Pat. No. 4,837,028, the              In another aspect, the present invention provides methods
       teachings of all of which are incorporated herein by refer-       for the encapsulation of nucleic acids, preferably plasmids,
       ence. Examples of these components and others that can            in a lipid bilayer carrier. The plasmids or nucleic acids
       usefully be included in the formulations of the invention are     present in the compositions formed by these methods exhibit
       known to and used by those skilled in the art.                 55 preferably less than about 30% degradation, more
          In a preferred embodiment, PEG-modified lipids are             preferably, less than about 15% degradation and, even more
       incorporated into the compositions of the present invention       preferably, less than about 5% degradation when subjected
       as the aggregation-preventing agent. The use of a PEG-            to standard nucleases, such as DNase or normal serum
       modified lipid positions bulky PEG groups on the surface of       nuclease.
       the liposome or lipid carrier and prevents binding of DNA to 60      The methods for encapsulating a nucleic acid or plasmid
       the outside of the carrier (thereby inhibiting cross-linking      in a lipid bilayer carrier, comprise:
       and aggregation of the lipid carrier). The use of a PEG-             (a) combining the nucleic acid, i.e., antisense, ribozyme
       ceramide is often preferred and has the additional advan-               or plasmid, with a lipid-detergent mixture, the lipid-
       tages of stabilizing membrane bilayers and lengthening                  detergent mixture comprising a lipid mixture of an
       circulation lifetimes. Additionally, PEG-ceramides can he 65            aggregation-preventing agent (e.g., a PEG-ceramide) in
       prepared with different lipid tail lengths to control the               an amount of about 5 mol % to about 20 mol %,
       lifetime of the PEG-ceramide in the lipid bilayer. In this              cationic lipids in an amount of about 0.5 mol % to about




                                                                                                                          JA001391
                                                                                                                  MRNA-GEN-00222410
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 42 of 1274 PageID #: 8348


                                                          US 6,734,171 B1
                                   15                                                                16
             50 mol %, and neutral or, alternatively, fusogenic lipids     The lipid-detergent mixture and nucleic acids typically be
              in an amount of from about 30 mol % to about 70 mol       combined to produce a charge ratio (+/—) of about 1:1 to
             % and a detergent, to provide a nucleic acid-lipid-        about 20:1, preferably in a ratio of about 3:1 to about 15:1.
             detergent mixture; and                                     Additionally, the overall concentration of nucleic acid in
          (b) dialyzing the nucleic acid-lipid-detergent mixture 5 solution will typically be from about 25 µg/mL to about 1
             against a buffered salt solution to remove the detergent   mgimL, preferably from about 25-500 pg/mL and, more
             and to encapsulate the nucleic acid in a lipid bilayer     preferably, from about 100-300 p/mL. The combination of
             carrier. In these methods, the salt concentration of the   nucleic acids and lipids in detergent solution is kept, typi-
             buffered salt solution is adjusted depending on the        cally at room temperature, for a period of time which is
             cationic lipid concentration in the lipid mixture to to sufficient for complete mixing to occur. While not intending
             encapsulate from about 40% to about 80% of the             to be bound by any particular theory, it is believed that
              nucleic acid.                                             coated complexes form in which the negative charges of the
          In one group of embodiments, the methods further com-         nucleic acid are paired with positively charged lipids. Excess
       prise the following step:                                        lipids complete the formation of a bilayer surrounding and
          (c) removing substantially all of the unencapsulated 15 encapsulating the nucleic acids. In other embodiments, the
              nucleic acids to provide a purified lipid-bilayer-nucleic nucleic acids and lipid-detergent mixture can be combined
             acid composition having from about 20pg to about 400       and warmed to temperatures of up to about 37° C. For those
             ,ug of nucleic acid per about 1 mg of lipid.               embodiments in which temperature-sensitive plasmids are
          The plasmids, antisense, ribozyme or nucleic acids, cat-      used, the mixtures or coated complexes can be formed at
       ionic lipids, fusogenic lipids and aggregation-preventing 20 lower temperatures, typically down to about 4° C.
       agent (e.g., ATTA-lipids, PEG-lipids, etc.) that are useful in      The resulting nucleic acid-lipid-detergent mixture is then
       the present invention are those which have been described        subjected to dialysis against a buffered salt solution to
       above. In preferred embodiments, the amount of cationic          remove the detergent from the mixture. The removal of the
       lipid is from about 5 mol % to about 50 mol % by weight,         detergent results in the completed formation of a lipid-
       more preferably about 10 mol % to about 40 mol % by 25 bilayer which surrounds the nucleic acids or plasmid pro-
       weight, and most preferably about 20 mol % to about 40 mol       viding serum-stable nucleic acid-lipid particles which have
       % by weight. In a preferred embodiment, the amount of            a size of from about 50 nm to about 150 nm. The particles
       cationic lipids is 10 mol %. 11 mol %, 12 mol %, 13 mol %,       thus formed do not aggregate.
       14 mol %, 15 mol %, 16 mol %, 17 mol %, 18 mol %, 19                The buffered salt solution which is used in the dialysis
       cool%, 20 mol %, 21 mol %, 22 mol %, 23 mol %, 24 mol 30 step will typically be a solution of alkali or alkaline earth
       %, 25 mol %, 26 mol %, 27 mol %, 28 mol %, 29 mol %,             halides (e.g., NaCI, KC1, and the like), phosphates (e.g.,
       30 mol %, 31 mol %, 32 mol %, 33 mol %, 34 mol %, 35             sodium or potassium phosphate), citrates (e.g., sodium
       mol %, 36 mol %, 37 mol %, 38 mol %, 39 mol %, 40 mol            citrate) or combinations thereof. The buffer which is used
       %, 41 mol %, 42 mol %, 43 mol %, 44 mol %, 45 mol %,             will typically be HEPES or an equivalent buffer. In particu-
       46 mol %, 47 mol %, 48 mol %, 49 mol % or 50 mol %. 35 larly preferred embodiments, the buffered salt solution is a
          Similarly, the amount of aggregation-preventing agent         HEPES-buffered NaCl solution.
       (e.g., PEG-Lipid) can vary from about 1 mol % to about 25           Changes in the salt concentration of the dialysis buffer
       mol % and, more preferably, from about 5 mol % to about          requires significant changes in the lipid composition for
       20 mol %. For instance, the amount of PEG-ceramide can           efficient encapsulation in the above process. More
       preferably vary from about 5 mol % to about 20 mol %, 40 particularly, the encapsulation efficiency, particle size and
       depending on the nature of the PEG-ceramide (e.g., PEG-          the amount of cationic lipid which is used to achieve
       Cer-C8, PEG-Cer-C1.1 or PEG-Cer-C.20), or the combination        optimum loading is altered upon changing the salt txmcvn-
       of PEG-ceramides used. Selection of the amounts of each          tration in the dialysis buffer.
       can provide compositions in which the fusogenic properties          For example, a dialysis buffer containing 150 mM NaCl
       are programmable (i.e., become fusogenic within a prede- 45 provides optimal loading of a plasmid in compositions of
       termined timeframe, depending on the rate at which the           about 6 mol % DODAC (by weight). By adding citrate to the
       PEG-ceramide diffuses out of the composition).                   dialysis buffer, the amounts of DODAC which are used to
          A nucleic acid-lipid-detergent mixture is formed by com-      achieve optimal encapsulation of a plasmid are increased,
       bining the nucleic acid or plasmid with a lipid-detergent        while maintaining a narrow distribution of particle sizes.
       mixture. The lipid-detergent mixture is a combination of so         Still higher levels of DODAC (or other suitable cationic
       aggregation-preventing agent (e.g., AI lA-moditied lipids,       lipids) can be used and provide high levels of plasmid
       PEG-modified lipids, such as PEG-ceram ides), cationic           encapsulation (typically greater than 30% encapsulation
       lipids, neutral or fusogenic lipids and a detergent. The         with plasmid/lipid ratios of >20 fig plasmid/mg lipid). For
       detergent is preferably an aqueous solution of a neutral         example, a dialysis buffer of 150 mM NaCI and 150 mM
       detergent having a critical micelle concentration of 15-300 55 sodium phosphate is useful for compositions of about 40-45
       mM and, more preferably, 20-50 mM. Examples of suitable          mol % DODAC.
       detergents include, for example, N,N'-((octanoylimino)-bis-         Once the plasmid-lipid compositions have formed
       (trimethylene))-bis-(D-gluconamide) (BIGCIIAP); BRIJ             (typically as particles), any unencapsulated plasmid or
       35; Deoxy-BIGCHAP; dodecylpoly(ethylene glycol) ether;           empty liposomes can be removed by ion-exchange chroma-
       Tween 20; Tween 40; Tween 60; Tween 80; Tween 85; Mega 60 tography or gel filtration, respectively, and any empty lipo-
       8; Mega 9; Zwittergent® 3-08; Zwittergent® 3-10; Triton          somes can be removed by density gradient centrifugation
       X-405; hexyl-, heptyl-, octyl- and nonyl-P-D-                    using techniques which are well known in the art.
       glucopyranoside; and heptylthioglucopyranoside; with octyl
       I3-D-glucopyranoside being the most preferred. The concen-                      IV. Pharmaceutical Preparations
       tration of detergent in the detergent solution is typically 65      The nucleic acid (e.g., plasmid)-lipid compositions of the
       about 100 mM to about 2 M, preferably about 200 mM to            present invention can he administered either alone or in
       about 1.5 M.                                                     mixture with a physiologically-acceptable carrier (such as




                                                                                                                         JA001392
                                                                                                                 MRNA-GEN-00222411
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 43 of 1274 PageID #: 8349


                                                            US 6,734,171 B1
                                    17                                                                  18
       physiological saline or phosphate buffer) selected in accor-           In another example of their use, the nucleic acid-lipid
       dance with the route of administration and standard phar-           particles can be incorporated into a broad range of topical
       maceutical practice.                                                dosage forms including but not limited to gels, oils, emul-
           Pharmaceutical compositions comprising the nucleic acid         sions and the like. For instance, a suspension containing the
       (e.g., plasmid)-lipid compositions (e.g., in particle or lipo- 5 plasm id-lipid particles can be formulated and administered
       some form) of the invention are prepared according to               as topical creams, pastes, ointments, gels, lotions and the
       standard techniques and further comprise a pharmaceuti-             like.
       cally acceptable carrier. Generally, normal saline will be
                                                                              The present invention also provides nucleic acid-lipid
       employed as the pharmaceutically acceptable carrier. Other
                                                                           particles in kit form. The kit will typically be comprised of
       suitable carriers include, e.g., water, buffered water, 0.4%
                                                                        10 a container which is compartmentalized for holding the
       saline, 0.3% glycine, and the like, including glycoproteins
                                                                           various elements of the kit. The kit will contain the com-
       for enhanced stability, such as albumin, lipoprotein,
                                                                           positions of the present inventions, preferably in dehydrated
       globulin, etc. These compositions may be sterilized by
                                                                           form, with instructions for their rehydration and adminis-
       conventional, well known sterilization techniques. The
                                                                           tration. In still other embodiments, the particles and/or
       resulting aqueous solutions may be packaged for use or
                                                                        15 compositions comprising the particles will have a targeting
       filtered under aseptic conditions and lyophilized, the lyo-
                                                                           moiety attached to the surface of the particle. Methods of
       philized preparation being combined with a sterile aqueous
                                                                           attaching targeting moieties (e.g., antibodies, proteins) to
       solution prior to administration. The compositions may
                                                                           lipids (such as those used in the present particles) are known
       contain pharmaceutically acceptable auxiliary substances as
                                                                           to those of skill in the art.
       required to approximate physiological conditions, such as 20
       pH adjusting and buffering agents, tonicity adjusting agents           Dosage for the nucleic acid-lipid particle formulations
       and the like, for example, sodium acetate, sodium lactate,          will depend on the ratio of nucleic acid to lipid and the
       sodium chloride, potassium chloride, calcium chloride, etc.         administrating physician's opinion based on age, weight,
       Additionally, the particle suspension may include lipid-            and condition of the patient.
       protective agents which protect lipids against free-radical 25            V. Administration of Nucleic Acid-Lipid Particle
       and lipid-peroxidative damages on storage. Lipophilic free-                                   Formulations
       radical quenchers, such as alphatocopherol and water-
       soluble iron-specific chelators, such as ferrioxarnine, are            The   serum-stable   nucleic acid-lipid compositions par-
       suitable.                                                           ticles of the present invention are useful for the introduction
           The concentration of particles in the pharmaceutical for- 30 of plasmids into cells. Accordingly, the present invention
       mulations can vary widely, i.e., from less than about 0.05%,        also provides methods for introducing a plasmid into a cell.
       usually at or at least about 2-5% to as much as 10 to 30%           The methods are carried out in vitro or in vivo by first
       by weight and will be selected primarily by fluid volumes,          forming the particles or compositions as described above,
       viscosities, etc., in accordance with the particular mode of        then contacting the particles with the cells for a period of
       administration selected. For example, the concentration may 35 time sufficient for transfection to occur.
       be increased to lower the fluid load associated with treat-            The particles of the present invention can be adsorbed to
       ment. This may be particularly desirable in patients having         almost any cell type. Once adsorbed, the particles can either
       atherosclerosis-associated congestive heart failure or severe       be endocytosed by a portion of the cells, exchange lipids
       hypertension. Alternatively, particles composed of irritating       with cell membranes, or fuse with the cells. Transfer or
       lipids may be diluted to low concentrations to lessen inflam- 40 incorporation of the nucleic acid portion of the particle can
       mation at the site of administration. For diagnosis, the            take place via any one of these pathways. In particular, when
       amount of particles administered will depend upon the               fusion takes place, the particle membrane is integrated into
       particular label used, the disease state being diagnosed and        the cell membrane and the contents of the particle combine
       the judgement of the clinician but will generally be between        with the intracellular fluid. Contact between the cells and the
       about 0.01 and about 50 mg per kilogram of body weight, a5 plasmid-lipid particles, when carried out in vitro, will take
       preferably between about 0.1 and about 5 mg/kg of body              place in a biologically compatible medium. The concentra-
       weight.                                                             tion of particles can vary widely depending on the particular
           As noted above, it is often desirable to include polyeth-       application, but is generally between about 1 pinol and about
       ylene glycol (PEG), PEG-lipids (e.g., PEG-ceramides),               10 mmol. Treatment of the cells with the plasmid-lipid
       ATTA-lipids, or ganglioside Gmi-modified lipids to the 50 particles will generally be carried out at physiological tem-
       particles. Addition of such components prevents particle            peratures (about 37° C.) for periods of time of from about 1
       aggregation and provides a means for increasing circulation         to 6 hours, preferably of from about 2 to 4 hours. For in vitro
       lifetime and increasing the delivery of the plasmid-lipid           applications, the delivery of nucleic acids can be to any cell
       particles to the target tissues. Typically, the concentration of    grown in culture, whether of plant or animal origin, verte-
       the PEG, PEG-lipids (e.g., PEG-ceramide), ATTA-lipids or 55 brate or invertebrate, and of any tissue or type. In preferred
       Gmi-modified lipids in the particle will be about 1-25 mol          embodiments, the cells will be animal cells, more preferably
       %, preferably about 5-20 mol %.                                     mammalian cells, and most preferably human cells.
           Overall particle charge is also an important determinant in        In one group of preferred embodiments, a nucleic acid-
       particle clearance from the blood, with negatively charged          lipid particle suspension is added to 60-80% confluent
       complexes being taken up more rapidly by the reticuloen- 60 plated cells having a cell density of from about 103 to about
       dothelial system (Juliano, Biochem. Biophys. Res. Conunun.          103 cells/mi., more preferably about 2x104 cells/mi.. The
       63:651 (1975)) and thus having shorter half-lives in the            concentration of the suspension added to the cells is pref-
       bloodstream. Particles with prolonged circulation half-lives        erably of from about 0.01 to 0.2 pg/mL, more preferably
       are typically desirable for therapeutic and diagnostic uses.        about 0.1 pg/mL.
       For instance, particles which can he maintained from 8, 12, 65         Typical applications include using well known transfec-
       or up to 24 hours in the bloodstream are particularly pre-          tion procedures to provide intracellular delivery of DNA or
       ferred.                                                             MRNA sequences which code for therapeutically useful




                                                                                                                             JA001393
                                                                                                                    MRNA-GEN-00222412
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 44 of 1274 PageID #: 8350


                                                            US 6,734,171 B1
                                    19                                                                  20
       polypeptides. However, the compositions can also be used           ing of the patient as commonly practiced for spinal anes-
       for the delivery of the expressed gene product or protein          thesia or metrazamide imaging of the spinal cord.
       itself. In this manner, therapy is provided for genetic dis-       Alternatively, the preparations may be administered through
       eases by supplying deficient or absent gene products (i.e., for    endoscopic devices.
       Duchenne's dystrophy, see, Kunkel, et al., Brit. Med. Bull. 5         The nucleic acid-lipid particles can also be administered
       45(3):630-643 (1989), and for cystic fibrosis, see,                in an aerosol inhaled into the lungs (see, Brigham, et al.,Am.
       Goodfellow, Nature, 341:102-103 (1989)). Other uses for            J. Sci., 298(4):278-281 (1989)) or by direct injection at the
       the compositions of the present invention include introduc-        site of disease (Culver, HUMAN GENE THERAPY, Mary-
       don of antisense oligonucleotides in cells (see, Bennett, et       Ann Lieber), Inc., Publishers, New York. pp.70-71 (1994)).
       al., Mol. Pharm., 41:1023-1033 (1992)).                         10    In accordance with the above administration methods, the
          Alternatively, the compositions of the present invention        compositions of the present invention can be used to inhibit
       can also be used for the transfection of cells in vivo, using      tumor cell growth, the method comprising contacting the
       methods which are known to those of skill in the art. In           tumor cell with an effective amount of a lipid-nucleic acid
       particular, Zhu, et al., Science, 261:209-211 (1993), incor-       composition of the present invention. Tumor cells include,
       porated herein by reference, describes the intravenous deliv- 15 but are not limited to, lung, colon, breast, ovarian, prostate
       ery of cytomegalovirus (CMV)-chloramphenicol acetyl-               and hepatic tumor cells as well as squamous cell carcinomas.
       transferase (CAT) expression plasmid using DOTMA-                  In a presently preferred embodiment, the tumor cells are
       DOPE complexes. Hyde, et al., Nature, 362:250-256                  present in a mammalian subject. Mammalian subjects
       (1993), incorporated herein by reference, describes the            include, but are not limited to, humans, laboratory animals,
       delivery of the cystic fibrosis transmembrane conductance 20 domestic pets and farm animals. Preferred hosts include
       regulator (CFTR) gene to epithelia of the airway and to            humans, nonhuman primates, dogs, cats, cattle, horses and
       alveoli in the lung of mice, using liposomes. Brigham, et al.,     sheep. In a further preferred embodiment, the above method
       Am. J. Med. Sci., 298:278-281 (1989), incorporated herein          further comprises the step of observing for a reduction in the
       by reference, describes the in vivo transfection of lungs of       growth of the tumor cells.
       mice with a functioning prokaryotic gene encoding the 25              In another embodiment, the present invention provides a
       intracellular enzyme, chloramphenicol acetyltransferase            method of treating cancer, the method comprising adminis-
       (CAT).                                                             tering to a mammalian subject having cancer a therapeuti-
          For in vivo administration, the pharmaceutical composi-         cally effective amount of a lipid-nucleic acid composition of
       tions are preferably administered parenterally, i.e.,              the present invention. The compositions of the present
       intraarticularly, intravenously, intraperitoneally, 30 invention are useful for treating a wide variety of cancers.
       subcutaneously, or intramuscularly. More preferably, the           Such cancers include, by way of example and not limitation,
       pharmaceutical compositions are administered intrave-              carcinomas such as pharynx, colon, rectal, pancreatic,
       nously or intraperitoneally by a bolus injection. For              stomach, liver, lung, breast, skin, prostate, ovary, cervical,
       example, see, Stadler, et al., U.S. Pat. No. 5,286,634, which      uterine and bladder cancers; leukemias; lymphomas; glio-
       is incorporated herein by reference. Intracellular nucleic 35 mas; retinoblastomas; and sarcomas. Moreover, in accor-
       acid delivery has also been discussed in Straubringer, et al.,     dance with the above method, mammalian subjects include,
       METHODS IN ENZYMOLOGY, Academic Press, New                         but are not limited to, humans, laboratory animals, domestic
       York, 101:512-527 (1983); Mannino, et al., Biotechniques,          pets and farm animals.
       6:682-690 (1988); Nicolau, et al., Crit. Rev. Thee Drug               Lipid-nucleic acid compositions suitable for use in the
       Carrier Syst., 6:239-271(1989), and Behr,Acc. Chem. Res., 40 methods of the present invention can readily be identified
       26:274-278 (1993). Still other methods of administering            using in vitro and in vivo screening assays. Such assays may
       lipid-based therapeutics are described in, for example,            screen for the ability of a particular composition to inhibit
       Rahman, ct al., U.S. Pat. No. 3,993,754; Scars, U.S. Pat. No.      tumor cell growth or to abolish tumorigenicity of malignant
       4,145,410; Papahadjopoulos, et al., U.S. Pat. No. 4,235,871;       cells in vitro or in vivo. For instance, tumor cell lines can be
       Schneider, U.S. Pat. No. 4,224,179; Lenk, et al., U.S. Pat. as exposed to varying concentrations of a composition of
       No. 4,522,803; and Fountain, et al., U.S. Pat. No. 4,588,578.      interest, and the viability of the cells can be measured at set
          In other methods, the pharmaceutical preparations may be        time points using the alamar Blue® assay (commercially
       contacted with the target tissue by direct application of the      available from BioSource, International of Camarillo,
       preparation to the tissue. The application may be made by          Calif.). When alamar Blue dye is added to the culture
       topical, "open" or "closed" procedures. By "topical", it is so medium, the dye is reduced by cellular mitochondria(
       meant the direct application of the pharmaceutical prepara-        enzymes yielding a soluble product with substantially
       tion to a tissue exposed to the environment, such as the skin,     enhanced fluorescence. This fluorescence can be measured
       oropharynx, external auditory canal, and the like. "Open"          with a fluorimeter, whereby the signal is directly propor-
       procedures are those procedures which include incising the         tional to the cell number. Using this information, IC50
       skin of a patient and directly visualizing the underlying 55 (concentration of composition lethal to 50% of a cell culture
       tissue to which the pharmaceutical preparations are applied.       as compared to a control culture) values for the composi-
       This is generally accomplished by a surgical procedure, such       tions of interest can be readily be calculated.
       as a thoracotomy to access the lungs, abdominal laparotomy            As will be appreciated by the skilled artisan, many
       to access abdominal viscera, or other direct surgical              varieties of tumor cell cultures and cell lines can be used to
       approach to the target tissue. "Closed" procedures are inva- 60 screen for activity including, but not limited to, MDA MB
       sive procedures in which the internal target tissues are not       231 (breast), MCF-7 (breast), MDA MB 468 (breast), Siha
       directly visualized, but accessed via inserting instruments        (squamous cell carcinoma), A549 (nonsmall cell lung),
       through small wounds in the skin. For example, the prepa-          HL-60 (leukemia) Ovcar-3 (ovarian), etc. Of course, other in
       rations may be administered to the peritoneum by needle            vitro and/or in vivo assays to screen for anti-tumor and/or
       lavage. I ikewise, the pharmaceutical preparations may he 65 anti-cancer activity known to and used by the skilled artisan
       administered to the meninges or spinal cord by infusion            can also be employed to identify effective compositions
       during a lumbar puncture followed by appropriate position-         useful in the methods of the present invention.




                                                                                                                             JA001394
                                                                                                                    MRNA-GEN-00222413
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 45 of 1274 PageID #: 8351


                                                           US 6,734,171 B1
                                    21                                                                 22
                            VII. EXAMPLE 1                              was dissolved in ethanol or organic solvent (MeOH/CHC13:
                                                                        1/1). The solvent was removed by gas N2 and then dried
             Formulation of Lipid-Nucleic Acid Compositions
                                                                        under vacuum for at least 3 hrs. The lipid mixture is dried to
       A. Materials and Methods
                                                                        a film in a glass tube or flask as described above. The
          1. Materials
          N,N-dioleyl-N,N-dimethyl ammonium chloride 5 detergent suspension is prepared as described above. Where
       (DODAC), monomelhoxy polyethylene2000 glycol                     DODAC concentrations are below 42.5 mol % (and DOPE
       succinate-(C8:0-ceramide) (PEG-Ceram ide-C,), pACN53,            increased   correspondingly), the buffer and buffer salt con-
       pINEXP005, pINEXL002 and pINEX018 plasmids and                   centrations must be adjusted accordingly to allow optimum
       pL002 (luciferase) plasmid were manufactured and supplied        encapsulation and the selection of specific buffer concen-
       by INEX Pharmaceuticals Corp. Dioleyl- io trations is described in the examples below (see, Table 1).
       phosphatidylethanolamine (DOPE) was obtained from                   3. Method of Removing Unencapsulated Plasmid
       Northern Lipids (Vancouver, British Columbia, Canada).              In order to remove unencapsulated plasmid DNA and to
       Picogrcen dsDNA quantitation reagent was obtained from           determine the absolute recovery of encapsulated plasmid the
       Molecular Probes (Eugene, Oreg.). Dialysis buffers were          formulations are *cleaned* by running through a short
       prepared from commercially available reagents (HEPES, 15 column (typically 3 cmxl cm or larger) of DEAE Sepharosc
       Na CI, dibasic sodium phosphate, monobasic sodium                which had been pre-equilibrated in either HBS or the
       phosphate, trisodium citrate) by standard methods. Octyl-l-      respective dialysis buffer for the formulation (i.e., with 150
       D-glucoside (OGP), Spectrapor dialysis tubing and ACS or         mM sodium phosphate (NaPO4), 150 mM NaCl, pH 7.4).
       higher grade reagents were obtained from VWR Scientific,         After running through the column the preparations are
       Fisher Scientific or Sigma Chemical Company.                     normally dialyzed against HBS and concentrated in the
          2. Method of Formulation                                   20 dialysis bag using Aquacide II (Calbiochcm) to a desired
          A variety of formulations were prepared using the proce-      plasmid concentration.
       dures outlined below. In a first method, a formulation of           4. Method of Determining Percent Encapsulation
       plasmid with DOPE:DODAC:PEG-Ceramide-05                             For the determination of percent encapsulation a —1+
       (425:42.5:15 mol %) was prepared. In other methods, the          Triton X-100 method was used. Typically, aliquots of the
       PEG-Ceramide was held constant and formulations were 25 formulation taken directly from dialysis were diluted 1:400
       prepared by altering the amounts of DODAC present.               in HBS and 2µL of Picogreen reagent were added to 1 mL
       a. DOPE:DODAC:PEG-Ceramide-C8 (42.5:42.5:15 mol %)               of the diluted samples. The fluorescence was measured at
          In a preparation containing 5 mg/m1 total lipid, the          495 nm (excitation) and 525 nm (emission), both in the
       concentration of each lipid at the above awl % quantities are    absence and presence of 10 pL, 10% Triton-X100. The
       DOPE (1.69 mg/ml), DODAC (1.315 mg/ml) and PEG- 30 percent encapsulation was calculated as:
       Ceramide-C8 (2.005 mg/ml) based on molecular weights                    1-Fluorescence-Triton/Fluorescence+Triton)x100.
       calculated at 744, 582 and 2515, respectively. Each of these
       can he dissolved stock solutions using absolute ethanol, 2:1        For the determination of absolute plasmid DNA
       chloroform:methanol or 9:1 benzene:methanol. If stock            concentration, aliquots of formulation were measured for
       solutions of >20 mg/ml are required, the latter two solvent 35 fluorescence as above in the presence of Triton X100 and
       mixtures are not suitable. Lipids prepared in benzene:metha-     compared to standard plasmid concentrations identically
       nol have the added advantage that they can be lyophilized        prepared.
       (freeze-dried) to a fluffy powder. A dried film of the above        The following examples are offered solely for the pur-
       lipids are prepared in glass test-tubes (or in round bottomed    poses of illustration, and are intended neither to limit nor to
       flasks when prepared in large scale). The combined lipids are    define the invention. In each of these examples, the term
       dried under a stream of nitrogen (small scale) or in a rotary 40 "DNA" or "plasmid" refers to the plasmid pCMV4-CAT.
       evaporator (large scale) followed by incubation in vacuo            5. Method for Separation of Empty Liposomes from
       (<100 microns Hg) for at least 2 hours at room temperature.      Plasmid Containing Vesicles
       Alternatively, benzene:methanol solutions may be freeze-         a. Sucrose Density Gradient Isolation.
       dried directly. A 1 M solution of OGP (100 01) is added to          Sucrose density gradients are used for the removal of lipid
       each tube containing dried lipid. The plasmid suspension as which is not associated with plasmid. The particular gradient
       (typically 200-300µl at 1 mg/mL in TRIS-EDTA buffer) is          used varies with the DODAC concentration as formulations
       added to the lipid film. The suspension is made up to 1.0 ml     containing the highest DODAC concentrations are the least
       with dialysis buffer, and the suspension is mixed by vortex-     dense. Gradients are formed by layering decreasing concen-
       ing until the lipid film is dissolved and a clear solution is    trations of HBS-sucrose (W!V) solutions in Beckman (13.2
       formed. Alternatively, the plasmid may be added after the so mL) ultraclear ultracentrifuge tubes above one another. This
       lipid film is dissolved, if desired. The tube is allowed to      process is simplified if the solutions are prechilled (at 4° C.)
       stand for approximately 30 minutes at room temperature and       to increase the viscosity of the solutions and using a short
       then the contents are loaded into prepared dialysis bags.        Pasteur pipette where the tip has been bent upward (done
       Dialysis conditions are found to vary slightly with the          under a gentle flame). Two useful gradients have been
       quality and type of the plasmid. However, at this DODAC 55 employed. For INEX 351 formulations (42.5 mol %
       concentration optimum formulations are obtained with 150         DODAC), a gradient of 5% (3 ml):2.5% (5 ml):1% (2 ml)
       mM NaPO4, pH 7.4 with 150 to 175 mM NaCl. The                    sucrose (w/v in 20 mM HBS) has been employed. The
       formulations arc dialyzed against 2 changes of 2 L of the        formulation has been found to settle on the 2.5%-5%
       appropriate buffer (per 1 to 10 ml of formulation).              sucrose interface. For formulations containing 20-30 mol %
       b. Varying DODAC and DOPE amounts                                DODAC, a gradient containing 10% (2 ml): 5% (2 ml):2.5%
          Lipid mixtures of DODAC/DOPE/PEG-Cer-C8 contain- 60 (4 ml):1% (2 ml) sucrose has been employed. The plasmic
       ing 15 mol % of PEG-Cer-C8 were used for all samples. The        containing TCS has been found to settle on the 5%-10%
       amount of DODAC and DOPE were varied to reach desired            interface. With either gradient, the formulations are centri-
       mole % concentrations. For formulations containing greater       fuged at 36,000 rpm in a Beckman SW41 Ti rotor at 25° C.
       than 30 mol % DODAC, the total lipid concentration is            for 7-14 hours. A half deceleration speed has not been found
       typically 5 mg/mL. Formulations containing 30 mol % 65 to disturb the bands which form. In every case, 3-4 diffuse
       DODAC and less are prepared at 10 mg/mI , total lipid. Five      hands are observed in the upper portion of the gradient,
       or ten mg of lipid mixture of DODAC/DOPE/PEG-Cer-C8              while a narrower band is generally observed at the lower




                                                                                                                           JA001395
                                                                                                                  MRNA-GEN-00222414
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 46 of 1274 PageID #: 8352


                                                                     US 6,734,171 B1
                                         23                                                                                24
       interface of each gradient. The lower band normally contains         [ration. Similarly, the phosphate concentration was adjusted
       90% of the applied DNA and is removed by piercing the                to obtain good encapsulation at different DODAC concen-
       centrifuge tube with a needle and removing the band using            trations (see, FIG. 9). An additional effect on the encapsu-
       a syringe (3 ml normally adequate). Excellent separation of          lation efficiency was observed by the lipid and polynucle-
       the desired hand has been accomplished with starting plas- 5 otide concentration, respectively (see, FIGS. 9, 10 and 11).
       mid DNA containing up to 400/ig of plasmid per tube. After              The particles/vesicles containing polynucleotides can be
       removal from the gradient, the formulation is dialyzed               separated from empty vesicles by density gradient centrifu-
       against 2x21 HBS at 4° C., and the resulting preparation is          gation. DNA containing particles accumulate at a higher
       analyzed for DNA content and particle size.                          sucrose concentration (i.e., lower band) than the empty
       B. Experiments                                                       vesicles (i.e., upper two bands) (see, FIGS. 12 and 13). FIG.
                                                                         10 13 shows the results of lipid and DNA analysis of the
          1. Formulation: Detergent Dialysis
          The ionic strength and the counter-ion concentration of           different gradient fractions, with DNA exclusively in the
       the dialysis buffer required for efficient encapsulation of          lower band. The size distribution of the particles/vesicles in
       plasmid DNA arc critical and there is a direct relationship          the lower band is very narrow (small number for
       between the ionic strength and the cationic lipid concentra-         polydispersity, x2) and the mean diameter increases slightly
       tion used in the formulation. Both the ionic strength and the 15 with increasing DODAC concentration from about 65 to 94
       counter-ion concentration can be adjusted by varying the salt        nm (see, Table 2). The particles isolated from formulations
       concentration and/or the type of salt ions in the buffer. The        with different DODAC concentrations had a similar lipid/
       ionic strength/counter-ion concentration necessary for effi-         DNA ratio (see, Table 3). The homogeneous size distribution
       cient encapsulation increases with increasing cationic lipid         of the isolated particles was also seen by electron micros-
       concentration in the formulation. Phosphate and citrate, 20 copy (see, FIG. 14).
       respectively, are used as counter-ions to compete with the
       charges on the polynucleotide for interaction with the cat-                                         TABLE 2
       ionic charge on the lipid headgroup. When the ionic strength
       (salt concentration) is too high, it results in vesicle formation                 Effect of Isolation on Particle Size Parameters
       with little or no encapsulation, and when it is below the 25
                                                                                                              Particle Size Parameters
       optimum concentration, there is formation of lipid/DNA
       complexes and of aggregates. An indication for aggregation                                  Before Isolation               After Isolation
       is a wide size distribution (high polydispersity) of the
       particles/vesicles formed (see, FIG. 5). Therefore, the opti-          Formulation     Mean diameter                  Mean diameter
                                                                                                                                                   52
       mum salt concentration needs to be determined for each                  % DODAC              (nm)                          (nm)
                                                                         30
       desired cationic lipid concentration in the formulation. The              Citrate
       optimum salt concentration required in the buffer for effi-
       cient encapsulation with different concentrations of cationic                 7%          37 t 18            0.92        101 t 11          0.36
       lipid is summarized in Table 1. Examples for two salt                     17.1%           39 t 20            2.7          96x20            0.2
                                                                                 22.2%           43 t 22            2.6          92:25            0.1
       combinations, NaCI with citrate and NaCI with phosphate,                  32.0%           53 t 35           23           114 t 57          1.7
       arc illustrated (FIGS. 5 through 9). FIG. 5 shows the effect 35
       of the  NaCl  concentration in the citrate/NaCI buffer on the           Phosphate
       encapsulation efficiency at a given cationic lipid concentra-
       tion. FIG. 6 shows the relationship between the cationic lipid              20%               178           22.9           64.0            0.3
                                                                                   24%               250           78.6           77.2            0.2
       concentration (DODAC) and the citrate concentration in the
                                                                                   30%               109            1.77          89.3            0.18
       buffer to obtain efficient encapsulation. NaCl/citrate was 40             42.5%               131            2.96          93.8            0.31
       suitable for formulations with DODAC concentration of up
       to 30 mol %, while NaCl/phosphate could be used over the
       entire DODAC concentration range tested.
                                                                                                           TABLE 3
                                  TABLE 1                                45                               Lipid/DNA ratio of TCS atter isolation.
            Characterization of representative large scale TCS formulations.
                                                                                                                        Total Lipid/DNA ratio (maim)
                                                           Encap-     Nicomp
          IX)DAC                                           sulation    particle                                  Bole, Sucrose Gradient         After ,;ttero,e
        concentration                Buffer               efficiency size (nm)'   50       Mol % DODAC

               7%        0.0 mM citrate, 150 mM NaCI.       80.5%      37x18                   Citrate
            17.1%       40.0 mM citrate, 150 mM NaCI,       38.5%      39 t 20
            22.2%       70.0 mM citrate, 150 mM NaCI,       53.5%      43:22                   17.1%                       30.3                      15.9
            32.0%       105 mM citrate, 150 mM NaCI,        51.0%      53 t 35                 22.2%                       45.0                      14.0
                                 Phosphate                                                     23.0%                       56.4                      16.2
             20%              105 mM NaPO4                   63.%        178      55          Phosphate
             24%              130 mM NaPO4                  50.7%        250
             30%              150 mM NaPO4                  56.8%        109                    20                         48.8                     14.8
            42.5%       150 mM NaPO4, 130 mM NaCI            49%         131                    24                         n.d.                     16.6
                                                                                                30                         66.3                     18.5
       "Nicomp analysis of mean particle size, gaussian dist., volume weighting                 42.5                       53.2                     13.5
       before DEAF. cleaning and isolation                                        60
                                                                                       n.d. - not determined
          FIGS. 7 through 11 represent examples where NaCl/
       phosphate buffers are applied. The effect of a small change       The DNA inside the particles was largely protected from
       in DODAC (cationic lipid) concentration on the encapsula-      serum nucleases and DNase (see, 1.1GS. 15 and 16). For-
       tion efficiency is shown in FIG. 7. The % encapsulation as     mulations were incubated in either DNase or serum, and
       a function of NaCl concentration is presented in FIG. 8 for 65 then separated by gel chromatography. FIG. 15 illustrates
       four different DODAC concentrations. The NaCI concen-          the separation profile from Sepharose CL-4B gel filtration
       tration required increased with increasing DODAC concen-       chromatography for free plasmid DNA after serum




                                                                                                                                                    JA001396
                                                                                                                                         MRNA-GEN-00222415
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 47 of 1274 PageID #: 8353


                                                            US 6,734,171 B1
                                    25                                                                  26
       incubation, and for a formulation with 21 mol % DODAC             last LacZ injection, mice were injected with INEX324-Luc
       before sucrose density gradient isolation (see, FIG. 15A) and     (150 pl per injection, 80 pg DNA). To evaluate the immu-
       after the isolation (see, FIG. 15B). DNA cleaved by               nogenicity of INEX324 lipid, Group B received three injec-
       nucleases eluted in fractions >7, while the encapsulated          tions of INEX324 empty vesicles (150 pl per mouse) and
       intact DNA eluted together with the lipids in the exclusion 5 one injection of INEX324-Luc two weeks later. Group C
                                                                         served as a base-line control, mice were given 150 pl of
       volume fractions 4-7. The integrity of the encapsulated           diluent at each time point. Mice from Group D received
       DNA was characterized further by electrophoresis and, as          three diluent injections, followed by a single injection of
       illustrated in FIG. 16, the plasmid remained intact.              INEX324-Luc, and served as a positive control for luciferase
          2. Transfection: In Vitro                                      expression. Three mice from each group were sacrificed at
          The transfection activity and toxicity of formulations 10 18 hours after each injection, or 24 hours prior to the
       containing various concentrations of the cationic lipid           following injection. Blood was collected and the serum
       DODAC were tested in vitro in COS-7 and Hep-G2 cells              samples were analyzed for the presence of antibodies spe-
       (see, FIGS. 17 through 22). Luciferase plasmid was formu-         cific for (3-galactosidase using an ELISA assay. Spleens were
       lated and expression of luciferase was determined at times        harvested and splenocytes were processed for various immu-
       indicated. Cell viability was used as an indication for 15 nological assays: carrier specific, ft-gal, LacZ, or mitogen
       toxicity. The transfection efficiency was determined as a         induced clonal expansion and cytokine (IL-2 and IL-4)
       function of DODAC concentration used in the formulation           release. Splenocytes were monitored for expression, of
       (see, FIGS. 17 through 22). Furthermore, transfection activ-      differentiation (CD4, CD8, CD22, CD11b) and activation
       ity was evaluated as a function of the DNA dose applied           (CD86, MHC-II, Ly-6A/E, CD54 and CD25) markers. The
                                                                         remaining mice from all groups were sacrificed 12 h fol-
       (see, FIGS. 19 and 20) and as a function of time (see, FIG.
                                                                      20 lowing the last injection with INEX324-Luc. At this point,
       21). There is limited transfection activity with formulations     the organs (lung, liver and spleen) were fast frozen in liquid
       containing less than 16-18 mol % DODAC. The best                  nitrogen and assayed for luciferase expression.
       transfection activities are obtained with DODAC concen-
       tration in the range of 20-30 mol % in the formulations. The
       cell viability indicates that toxicity increases significantly                                 TABLE 4
       with preparations containing >30 mol % DODAC. The toxic        25
                                                                                                  Treatment Schedule
       effect of the preparation particularly for formulations with
       high DODAC concentrations can be reduced greatly by                                        day 0      Day 7     day 14     day 28
       removal of the empty vesicles by gradient centrifugation.                                   1st        2nd        3rd        4th
                                                                           Group Formulation injection injection      injection  injection
       Furthermore, these isolated preparations showed a signifi-
       cant increase in the transfection activity (see, FIG. 22).     30     A       324/LacZ   324/LacZ 324/LacZ    324/LacZ    324/Luc
          3. Transfection: In Vivo                                           B       324 lipid  324 lipid 324 lipid   324 lipid  324/Luc
          A murine tumor model was chosen to determine the                            Diluent    Diluent     Diluent   Diluent    Diluent
                                                                             D        Diluent    Diluent     Diluent   Diluent    324/Luc
       transfection activity in vivo. Mice (C57) were injected by
       the intra peritoneal (i.p.) route with 100,000 B16 tumor
       cells. Formulations were administered i.p. on day 7 of B16 35        2. Flow Cytometry Analysis.
       tumor growth. After 24 hours (unless indicated otherwise),           Splenocytes from all groups were analyzed for expression
       the animals were sacrificed and the tumors, liver and spleen      of differentiation and activation markers. Spleen cells
       were analyzed for luciferase expression. The tumor trans-         (1x106) were stained with appropriate PE-conjugated anti-
       fection activity was dependent on the concentration of            bodies (anti-CD22,            T.)4, anti-CD8, anti-CD11b, anti-
       DODAC in the formulation (see, FIGS. 23 and 25). The              CD54, anti-CD86, anti-Ly6A/E and anti-CD25) and pheno-
       highest luciferase activity was observed from formulations 40 typic analysis was performed on a FACSsort flow cytometer
       with 20 to 30 mol % DODAC. Isolated preparations con-             (Becton Dickinson, San Jose, Calif.). Splenocytes were
       sistently showed increased transfection activity when com-        analyzed either after 18 h and 6 days after in vivo treatment.
       pared to nonisolated preparations for the same DNA dose              3. Cell Proliferation Assay.
       (see, FIG. 25). The luciferase expression in tumors was              Unseparated spleen cells were tested in vitro for their
       higher 24 hours after injection than after 48 hours (see, FIG. 45 ability to proliferate upon re-stimulation with the empty
       24). Luciferase activity was also observed in liver (see, FIG.    INEX324 vesicles, INEX324-LacZ formulation, LacZ,
       27) and in spleen (see, FIG. 26). None of the formulations        transgene product (r-ft-galactosidase), or with polyclonal
       with the different DODAC concentrations showed signifi-           activators for T (Concanavalin A, Con A) and (3 cells
       cant liver toxicity following i.p. administration as based on     (Lipopolysaccharide, LPS). Single-cell suspensions of lym-
       the AST levels in the plasma (see, FIG. 28).                   so phocytes were prepared from whole spleens by grinding the
                                                                         spleens using the frosted ends of sterile glass slides in RPMI
                             VII. EXAMPLE 2                              media containing 10% FBS. The suspension was allowed to
                                                                         settle standing on ice in a 15 ml polypropylene culture tube.
              immunological Effect of Repeated injections of             An isolated cell suspension was separated from debris by
                     Lipid-Nucleic Acid Compositions                     removing the supernatant and the cell number was quantified
                                                                      55
       A. Materials and Methods                                          using a Coulter counter (Coulter Instruments, Miami, Fla.).
          A formulation of plasmid with DOPE:DODAC:PEG-                  Aliquots of cell suspensions (100 pl, 5x106/ml) in the above
       Ceramide-C8 (61:24:15 mol %) (INEX324) was prepared               media were placed into 96-well plates along with the equal
       using the methods of Example 1. The formulations were             volumes of various appropriate stimuli. Cells were labeled
       prepared containing pCMV(3 and pINEXL018. They were               with 311-thymidine for 48 h, and after 3 days incubation, they
       isolated and assayed as described in Example 1.                60 were harvested. The levels of incorporated radioactivity
          1. Administration of INEX324 to Balb/c Mice.                   were measured in a scintillation counter. 3H-thymidine
          Mice, 12 per group, were injected intravenously (i.v.) with    incorporation is expressed total 3H-incorporation (DPMs),
       TCS formulations as described below. In this study four           or as a mean percentage (±SD) of media control and plotted
       injections were given at intervals of seven days over a period    versus lipid concentration values.
       of five weeks (Table 4). Group A was injected with INEX324 65        4. Measurement of Cytokine Release.
       expressing T ,acZ reporter gene on day 0, 7 and 14 (1500 per         Splenocytes (1x106 cells/m1) were either nonstimulated
       mouse of INEX324-LacZ, 75 ug DNA). Two weeks after the            or cultured in the presence of various concentrations of




                                                                                                                             JA001397
                                                                                                                    MRNA-GEN-00222416
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 48 of 1274 PageID #: 8354


                                                            US 6,734,171 B1
                                    27                                                                  28
       either empty INEX324 vesicles, or INEX324-LacZ formu-               day, when the cells were 60-70% confluent, the media was
       lation at different times after culture initiation (24 h and 48     aspirated and replaced with 4.8 ml of fresh culture media
       h). The levels of cytokine in the cell culture supernatant          2-3 hours prior to transfection. INEX324-LacZ (12.5, 6.2 or
       (Interleukin-2 and Interleukin-4) were determined by an             3.1 pg of DNA per 1x106 cells) was added to the culture
       ELISA assasy (below).                                            5 media (total volume did not exceeded more than 200 pl) and
          5. Cytokine ELISA Assays.                                        particles were allowed to remain in contact with the cells for
          Cytokine-specific ELISA assays were performed using              the next 24 hours (at 37° C., 5% CO2). Separate flasks for
       the protocol and specific anti-interleukin antibodies pro-          appropriate transfection controls: untreated cells, lipid only,
       vided by reagent mini-kit (Endogen, Woburn MA). Briefly,            plasmid only, and gene unrelated plasmid/particles (i.e.,
       Immuno-module (F8-maxisorb) 96-well plates were coated              INEX324-Luc) were included. The cell viability and gene
       overnight with anti-IL-2, or anti-IL-4 antibody. Plates were 10
       washed with PBS-Tween 20 (0.05%) and blocked with                   expression     assays were performed 24 hours post-
                                                                           transfection.
       PBS-Tween 20-BSA (2%) for 1 hour at room temperature.
       Supernatant samples and standards (diluted in blocking                 9. FACS Assay for in Vitro Detection of Transgene
                                                                           (3-galactosidase.
       buffer) were added and allowed to incubate overnight. Plates
       were washed and biotinylated anti-IL-2 or anti-IL-4 anti-              Single cell suspensions from transfected cell monolaycrs
                                                                        15 were prepared by mechanical dissociation. Dissociated cells
       body was added. After 2 hours incubation, plates were
       washed and HRP-Extravidin, followed by TMB, was added               were transfered into polystyrene tubes, and stained for the
                                                                           presence of the transgene product, fl-galactosidase, using the
       to each well. Plates were read on a plate reader at OD450„„,.
       The amount of released cytokine was determined by com-              FDG assay. In this assay, aliquots containing 106 cells were
                                                                           pelleted and re-suspended in 100µl of staining medium in a
       paring the O.D. of test supernatants to a standard curve of
       serially diluted cytokine standards.                             20 6 ml polystyrene FACS tube and were incubated for 10 min.
                                                                           at 37° C. for 10 minutes. The FDG reagent was diluted into
          6. ELISA for Detection of (3-gal-specific Antibodies.
                                                                           2 ml of distilled water and was pre-warmed to 37° C. for no
          (3-gal specific antibodies in the serum were measured
                                                                           more than 10 minutes. A 100µl aliquot of the FDG solution
       using an ELISA assay. Immuno-module (F8-maxisorb)
       96-well plates were coated overnight with r-(3-gal (10 pg/ml,       was added to each sample. The suspensions were vortexed
                                                                           and incubated an additional minute at 37° C. After
       100 µl/well) diluted in bicarbonate buffer (pH 9.6). Plates 25
       were washed with PBS-Tween 20 (0.05%) and blocked with              incubation, 1.8 ml ice-cold staining medium was added to
                                                                           each tube and the tubes were placed on ice in darkness. Each
       PBS-'1Ween 20-BSA (1%) for 30 minutes. Serum samples
                                                                           sample was read within 5 min. after staining using the
       and standard anti-fi-gal IgM and IgG, diluted in blocking
                                                                           FACSort flow cytometer.
       buffer, were added to the wells and allowed to incubate
       overnight. Plates were washed and biotinylated anti-mouse 30 B. Results and Discussion
       IgG antibody was added. After 2 hours incubation, plates               1. Analysis of Differentiation Markers.
       were washed and HRP-Extravidin, followed by TMB                        Spleen  cells analyzed for the expression of differentiation
       substrate, was added to each well. The development of a             markers were isolated, stained and assayed either 18 h, or six
       colored reaction product was quantified on plate reader at          days following INEX324-LacZ administration. The analysis
       OD450. The amount of IgG was determined by comparing                of differentiation markers 18 h after in vivo treatment shows
       OD of test serums to a standard curve of serially diluted 35 that there are no appreciable differences in the frequency of
       antibodies as standards.                                            cells expressing CD22 (B cells) and CD11b (macrophages)
          7. In Vivo Gene Expression.                                      markers between the groups (Table 5). The percentage of
          Balb/c mice were given 3 intravenous injections of               CD4* cells and CD8+ cells within the spleen cell population
       INEX324-LacZ or empty INEX324 vesicles on days 0, 7                 from INEX324-LacZ treated group was approximately 40%
       and 14. After two additional weeks, mice from all groups 40 higher compared with diluent or lipid treated group,
       (except for the diluent treated group) received one injection       however, alteration in the ratio of CD4' and CD8' was not
       of INEX324-Luc (80 pg of DNA) and 12 h later the organs             observed. Spleen cells were processed for the expression of
       (liver, lung, spleen) were collected and assayed for                the same set of differentiation markers six days following
       luciferase activity. A standard assay for the determination of      last injection. Examination of the spleen cell population
       luciferase from the tissue samples was employed. Tissue 45 from INEX324-LacZ treated group revealed changes in
       homogenization was performed using a FastPrep Instrument            phenotypic profile of spleen cells: a moderate decrease in the
       (FastPrepTM FP120 Instrument, Bio 101) using supplied               percentage of T cells (15%) and a significant 30% decrease
       tubes and beads (FastDNA tubes with MS Matrix). Tissues             of CD22* cells. Furthermore, INEX324-I..acZ treatment
       were homogenized in Cell Culture Lysis Reagent (1xCCLR,             resulted in a five-fold increase of macrophage number as
       Promega) supplemented with BSA (1 mg/m1). FastPrep 50               defined   by expression of CD11b antigen, compared with
       Instrument settings: speed-5; time-8 sec twice. Samples             diluent treated mice and those that received the empty
       were transferred to new microcentrifuge tubes and briefly           liposome. It might be that repeated administration of lipid/
       centrifuged (2 min., 10,000 rpm) to remove debris. The              DNA induces alteration in the pool of spicule cells, evi-
       luciferase assay was performed on luminometer (Dynatech             denced by the decreased number of lymphocytes subsets, T
       Microlite TM ML3000) using a 96-well microlite plate. A set         and B cells, and increased the number of macrophages. On
       of purified luciferase standard solutions was prepared 55 the other hand, it is possible that the number of T and B cells
       (Firefly luciferase) by serially diluting 1 pg,/µ1 luciferase in    is not decreased and these changes are due to the increased
       1xCCLR supplemented with BSA (1 mg/ml). For the stan-               spleen  cellularity in this group (40% increase compared with
       dard curve, luciferase protein was diluted in a control tissue      control groups).
       homogenate to compensate for quenching and 20 pl aliquots              A possible explanation for the observed increased spleen
       (in duplicates) were assayed for each sample/standard. Set- 60 cellularity (also observed as splenomegaly) is an infiltration
       tings for Luminometer: grade—medium; delay time-2 sec;              of monocytes into the spleen. In this case, the promoted
       integrate time-10 sec; substrate-100µI (Luciferase Assay            infiltration of monocytes (and consequently an increased
       System, Promega). The results were converted to pg of               number of CD11b cells), would make the relative contribu-
       luciferase protein/g of tissue.                                     tion of other cell subpopulations within unfractionated
          8. In Vitro Transfection of BHK Cells.                        65 spleen samples appear relatively lower (Table 5). in
          BHK-21 cells were plated at a density of 1x106 cells (in         addition, an increased number of macrophages suggests that
       10 ml media) per 75 cm 2 tissue culture flasks. The following       INEX324 lipid is not toxic. Macrophages have an innate




                                                                                                                             JA001398
                                                                                                                    MRNA-GEN-00222417
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 49 of 1274 PageID #: 8355


                                                                        US 6,734,171 B1
                                           29                                                                           30
       capacity for nonspecific phagocytosis of large quantities of                        LacZ-formulation, LacZ (naked DNA), with transgene prod-
       foreign particles such as liposomes. Following internaliza-                         uct (r-3-galactosidase), or with polyclonal activators for T
       tion and processing of phagocytosed liposomes, their sur-                           (Con A) and B (LPS) cells. The immunogenicity of
       vival depends on the toxicity of the liposomal constituents.                        INEX324 lipid and INEX324-LacZ formulation was evalu-
       In the present study, repeated administration of INEX324 5                          ated using three concentrations of lipid (0.005, 0.01 and 0.02
       lipid is not accompanied with a decrease in CD11b* cells, on                        ng,'ml) and three different encapsulated DNA concentrations
       the contrary, their number is significantly increased and this                      (0.01, 0.05 and 0.1 pg/m1). At the same time, the mitoge-
       strongly indicates that INEX324 lipid and INEX324/DNA                               nicity of the same formulation was determined in vitro using
       are not toxic, even following repeated systemic administra-                         spleen cells from control mice (diluent treated group). If in
       tion.                                                                               vivo treatment with control lipid, or with lipid/DNA

                                               TABLE 5
                   Expression of differentiation markers by spleen cells treated in vivo

                                    After 18 hours                        After 6 days

       Formulation        CD4     CD8       CD22     CD11b     CD4      CD8      CD22      CD1lb

       Diluent       2238          9.47     57.64      6.02    25.76    11.33     57.88      4.19
       INEX324 lipid 19.65         9.32     57.03      5.32    25.57    11.62     57.51      533
       control
       1NEX324-LacZ 30.76         13.51     52.71      6.31    21.85     9.65     42.58    25.10

       Expression of differentiation markers is quantified as the percentage of positive cells in
       the =separated splenic suspension.
                                                                                      25
          2. Expression of Activation Markers.                         formulation, had induced an immune stimulation, than a
          The expression of activation markers was analyzed either     clone of memory cells would be generated, and in vitro
       18 h, or six days after the last injection in vivo. The results restimulation of those cells with the same immunogen would
       show that there was a significant difference in their expres-   result in augmented cell proliferation. The results show that
       sion that was both time and treatment dependent (Table 6). 30 when mice were primed with lipid or with lipid/DNA
       The expression of activation markers was up-regulated in        formulations, secondary responses to the same formulations
       spleen cells front animals injected with INEX324-LacZ           in vitro were practically undetectable, indicative of minimal
       compared with the untreated and control lipid treated groups    immunostimulation (Table 7).
       18 h following treatment. As up-regulated expression of            Similar results were obtained upon in vitro stimulation of
       activation markers is always associated and positively cor- 35 splenocytes from control mice with the same formulations,
       relates with the activation of immune cells, these results      regardless of the concentrations used for stimulation none of
       indicate that only lipid/DNA administration results in acti-    them induced measurable mitogenic response. These results
       vation of spleen cells. However, when splenocytes were          indicate that lipid and lipid/DNA formulations are not
       analyzed six days following the third injection, expression     immunogenic in vivo and are not mitogenic in vitro. Stimu-
       of activation markers in lipid/DNA treated group, returned 40 lalion of splenocytes from lipid/DNA treated group with
       to normal level and there was no difference between the         plasmid DNA (1,acZ) induced minimal, hut detectable
       groups. These results clearly show that activation is not       response that was not significantly different compared to
       induced by the repeated administration of the INEX324           those obtained from control and lipid-treated group in vitro.
       TCS. In addition, activation is only detected as a transient    Stimulation of splenocytes from all experimental groups
       increase in mice injected with INEX324-LacZ and is prob- 45 with r-13-Gal did not induce any differences in proliferative
       ably associated with the inflammatory properties of DODAC       response that would correspond with the treatment in vivo.
       in the INEX324 formulation combined with potential immu-        When splenocytes from all three groups were stimulated in
       nogenicity of plasmid DNA.                                      vitro with polyclonal activator LPS (mitogen for B-cells and

                                               TABLE 6
                     Expression of activation markers by spleen cells treated in vivo

                                  After 18 hours                  After 18 hours After 6 days

       Formulation      CD54      CD86     MHC-II Ly6A/E CD54          CD86                Ly6A/E

       Diluent          40.14      1.27     53.97      1.49    6.18     0.76      53.16     1.20
       324 lipid        39.87      2.14     55.83      2.38    7.06     0.99      53.03     2.13
       324-LacZ         57.53      6.74     62.62     84.96    7.19     1.27      52.85     5.73

       Expression of activation markers is quantified as the percentage of positive cells in the
       unseparated splenic suspension.


          3. Influence of Repeated Administration of INEX324/        macrophages), again there were no measurable differences
       DNA on Cell Proliferation.                                    in the magnitude of proliferative response corresponding to
          Unseparated spleen cells, from all experimental groups, 65 the in vivo treatment (Table 4.). However, repeated admin-
       were tested in vitro for their ability to proliferate upon    istration of INEX324 into Ralh/c mice resulted in a moder-
       re-stimulation with empty INEX324 vesicles, INEX324-          ate (16%) decrease and INEX324/DNA caused a marked




                                                                                                                                            JA001399
                                                                                                                                   MRNA-GEN-00222418
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 50 of 1274 PageID #: 8356


                                                                US 6,734,171 B1
                                      31                                                                       32
       (40%) decrease in ConA-induced proliferation compared                         These results suggest that various subsets of cells of the
       with diluent injected mice. ConA is a T cell mitogen, and this                immune system might be differentially affected by in vivo
       result indicates that repeated administration of INEX324/                     treatment with INEX324 and INEX324/DNA.
       DNA is accompanied by a down-regulation of the splenic T                         5. Effect of Repealed INEX324/DNA Administration on
       cell proliferative response. The factors involved in this 5 Production of (3-gal Specific Antibodies.
       suppression are not completely understood, but are consis-                       Serum samples were assayed for presence of antibodies
       tent with the reported results regarding the ability of                       against the transgene protein (ft-gal) following third injec-
       increased number of CD11b' cells to inhibit the proliferation                 tion of lipid/LacZ formulation. Results indicate that in vivo
       of T cells in unseparated spleen cell population (Ostro MJ,                   treatment with INEX324-LacZ formulations did not elicit
       TomBD/Six HR Liposomes and Immunobiology, Elsevier
                                                                                  to measurable amounts of IgM antibodies, following first
       NH Inc., p225-239,(1980); Jaffe et al., Molecular Medicine
       2, (6) 692-701, (1996)). The INEX324/DNA induced                              injection, and IgG antibodies, after three consecutive i.v.
       splenomegaly, increased spleen cellullarity, and five-fold                    injections (FIG. 29). '112e amount of 1gM and IgG antibodies
       increase of macrophage number observed in this study are                      assayed   on the same level as in a control and lipid treated
       consistent with this mechanism.                                               group. The absence of detectable levels of anti-transgene
                                                                                  15 IgG antibodies suggests that although there is measurable
                                         TABLE 7                                     expression of transgene protein, the immune response
                                                                                     against the expressed transgene protein has not been elicited.
                 Cell proliferation and cytokine release following in vitro             6. Gene Expression in Vitro.
                                 stimulation of spleen cells.                           Transfectability of the INEX324-LacZ formulation was
                                                        3H-
                                                                                  20 tested in vitro. BHK cells were transduced in vitro using
                                                      incorp- Cytokine               various concentrations (3.1, 6.2 and 12.5 pg per 1x106 cells)
                                                      oration    release (0D4so)     of INEX324-LacZ and 24 hours later the expression of (3-gal
       In vivo treatment      In vile,) stimulation    DPMs       IL-2      IL-4     was assayed by FACS. The FDG assay was developed to
       Diluent                                           1674     0.127     0.151    evaluate  the establishement of stable transformed cell lines
       Diluent                324 empty vesicles         9673     0.073     0.097 25 (constititively express (3-gal protein) and to test the quality
       Diluent                324-LacZ                   9051     0.089     0.090    of piNEXI .acZ plasm ids. When complexes (INEX100 series
       Diluent                LacZ                       3352     0.082     0.095
                                                                                     TCS) were used for in vitro transfection of various cell lines,
       Diluent                r-15-gal                 18336      0.059     0.103
       Diluent                ConA                    215542      0.615     0.138    in most cases transduced cells were 60-80% positive for the
       Diluent                LPS                      35676                         expression of ft-gal protein. pINEXLacZ was encapsulated
       324 empty vesicles 324 empty vesicles             2447     0.083     0.099 30 in 302 and 303 vesicles and used for transfection in vitro, but
       324 empty vesicles 324-1aa                        6375     0.089     0.081    the expression of the transgene protein was not detected,
       324 empty vesicles LacZ                           3798     0.116     0.098
       324 empty vesicles                              16401      0.077     0.097    even though expression can be detected in vivo. Using
       324 empty vesicles ConA                        182435      0.569     0.165    INEX324 to encapsulate pINEXLacZ, for the first time we
       324 empty vesicles 1.PS                         33090                         were able to measure gene expression in vitro. INEX324
       324-LacZ                324-LacZ                16959      0.103     0.076 35 lipid and INEX324-Luc formulation were used as negative
       324-1..acZ              324 empty vesicles        9025     0.099     0.082
       324-LacZ               Lac?.                      7520     0.134     0.089    controls. Transfection of BHK cells with INEX324-LacZ
       324-LacZ                pp-gal                  13345      0.125     0.087    was very efficient: 85% of cells transfected with 125 pg of
       324-LacL               ConA                    125450      0350      U.157    DNA and 40% of cells transfected with 6.2 pg of DNA
       324-LacZ               LPS                      41639                         expressed transgene ft-gal protein (FIG. 30.).
                                                                                  40    7. Gene Expression in Vivo
          4. Influence of Repeated Administration of INEX324-                           A small-scale in vivo experiment was performed in order
       DNA on Cytokine Release.                                                      to determine the time course and the magnitude of gene
          Splenocytes were nonstimulated, or cultured in the pres-                   expression following systemic (i.v.) administration of
       ence of either lipid, or various concentrations of lipid/DNA                  INEX324-Luc formulation. Balb/c mice (three per group)
       formulation, DNA, r-(3-Gal, or Con A. Culture supernatants 45 were given a single i.v. injection of INEX324-Luc (100 pg
       were collected at different times after culture initiation (after             of DNA per mouse) and the expression of luciferase was
       24 h or 48 h), and the levels of released cytokines, IL-2 and                 determined either 12 h or 24 h post-injection. The organs
       IL-4, were measured (Table 4). Following in vivo treatment,                   (lung, liver and spleen) from both INEX324-Luc injected
       there was no increased release of Thl and Th2 cytokines                       mice and diluent treated controls, were processed the same
       from splenocytes of INEX324 and INEX324/DNA treated 50 time and luciferase expression was evaluated. The results
       mice. TCS treated splenocytes produced 1L-2 and 1L-4 in                       demonstrate that a single administration of INEX324-Luc
       levels similar to splenocytes from mice that received diluent                 resulted in significant gene expression in the spleen.
       only. Following in vivo treatment, there was also no differ-                  Luciferase expression in the liver was measurable, but at a
       ence in cytokine release pattern between control and lipid                    much lower level. No expression was detected in the lung.
       treated group, compared to group treated with lipid/DNA 55 The time course of transgene expression was highest at 12
       formulation. In addition, the splenocytes from all experi-                    hours post injection and is still measurable at lower levels 24
       mental groups released similar insignificant amounts of IL-2                  hours post-injection (FIG. 31.).
       and IL-4 after in vitro stimulation with LacZ and r-ft-gal. In                   In the next study, Balb/c mice were given 3 intravenous
       response to stimulation with T-cell mitogen (with a sub-                      injections of INEX324-LacZ or empty 324 vesicles on day
       optimal concentration of ConA) however, unfractionated 60 0, 7 and 14. Two weeks later the administration was repeated
       spleen cells obtained from lipid and lipid/DNA treated mice                   with INEX324-Luc (80 pg of DNA per mouse) and 12 h later
       secreted markedly reduced amounts of IL-2. Splenocytes                        the organs (liver, lung and spleen) were collected and
       from lipid treated mice produced 25% less, and from lipid/                    assayed for luciferase activity. The results show that there
       DNA treated mice 40% less IL-2 compared with group of                         was a significant luciferase expression in the spleen from all
       mice receiving diluent only (Table 4). The decreased 65 experimental groups (FIG. 32).
       amounts of IL-2 release correlate with down-regulated abil-                      Previous in vivo treatment with INEX324 empty vesicles
       ity of T cells to proliferate following stimulation with ConA.                or INEX324-LacZ formulation, did not result in decreased




                                                                                                                                      JA001400
                                                                                                                            MRNA-GEN-00222419
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 51 of 1274 PageID #: 8357


                                                            US 6,734,171 B1
                                    33                                                                  34
       gene expression in the spleen, luciferase expression in both          (c) removing substantially all of the unencapsulated
       groups assayed at levels similar to that from control group.             nucleic acids to provide a purified lipid bilayer-nucleic
       Although the level of gene expression in the liver was much              acid composition having from about 20pg to about 400
       lower, it demonstrates the same pattern as in the spleen                 pg of nucleic acid per about 1 mg of lipid.
       confirming that previous in vivo treatment did not compro-      5     3. The method in accordance with claim 1, wherein said
       mise the ability of TCS to deliver gene of interest (FIG. 33.).    nucleic acid is a plasmid.
       There was no measurable gene expression in the lungs from             4. The method in accordance with claim 1, wherein said
       any of the groups tested (results not shown).                      detergent is octylglucoside.
                                                                             5. The method in accordance with claim 1, wherein said
                            VIII. CONCLUSION                              cationic lipid is DODAC.
                                                                       10
                                                                             6. The method in accordance with claim 1, wherein said
          As discussed above, in accordance with one of its aspects,      aggregation-preventing agent is a member selected from the
       the present invention provides compositions and methods            group consisting of gangliosides, ATTA-lipids and PEG-
       for preparing serum-stable nucleic acid (e.g., plasmid)-lipid      lipids.
       particles which are useful for the transfection of cells, both        7. The method in accordance with claim 6, wherein said
                                                                       15
       in vitro and in vivo.                                              aggregation-preventing agent is a PEG-lipid.
          Still further, nucleic acids (e.g., plasmid DNA) can now           8. The method in accordance with claim 7, wherein said
       be formulated using a variety of lipids to provide composi-        PEG-lipid is a PEG-ceratuide.
       tions having extremely high plasmid/lipid ratios. The pro-            9. The method in accordance with claim 8, wherein said
       cess can be performed in a predictable manner, by generat- 20 PEG-ceramidc is selected from the group consisting of
       ing theoretical curves for any set of lipids, whereby accurate     PEG-Cer-C8, PEG-Cer-C 14 and PEG-Cer-C20.
       predictions of the salt concentration necessary to achieve a          10. The method in accordance with claim 1, wherein said
       serum stable formulation can be made.                              buffered salt solution is HEPES-buffered NaCI solution.
          Still further, nucleic acids (e.g., plasmid DNA) can he            11. The method in accordance with claim 1, wherein said
       formulated using a variety of lipids to provide compositions 25 buffered
                                                                             1
                                                                                    salt solution is a citrate solution.
       that can be administered in repeat doses without eliciting an           2. The method in accordance with claim 1, wherein said
       immune response, while still maintaining gene expression.          buffered salt solution contains about 150 mM NaCI.
                                                                             13. The method in accordance with claim 1, wherein
          All publications, patents and patent applications men-          about 50% to about 70% of the initial concentration of said
       tioned in this specification are herein incorporated by ref-       nucleic acid becomes encapsulated.
       erence into the specification to the same extent as if each 30        14. The method in accordance with claim 8, wherein said
       individual publication, patent or patent application was           cationic lipid is DODAC, said PEG-ceramide is selected
       specifically and individually indicated to be incorporated         from the group consisting of PEG-Ccr-C8, PEG-Cer-C14
       herein by reference.                                               and PEG-Cer-C20, said fusogenic lipid comprises DOPE
          Although the foregoing invention has been described in          and said buffered salt solution comprises NaCI and sodium
       some detail by way of illustration and example for purposes 35 phosphate.
       of clarity of understanding, it will be obvious that certain          15. The method in accordance with claim 1, wherein the
       changes and modifications may be practiced within the              lipid bilayer carrier-encapsulated nucleic acid formed has a
       scope of the appended claims.                                      mean particle diameter of from about 50 nm to about 150 nm
          What is claimed is:                                             in the absence of extrusion or sonication.
          1. A method of encapsulating a nucleic acid in a lipid 40          16. The method in accordance with claim 1, wherein the
       bilayer carrier, said method comprising:                           lipid bilayer carrier-encapsulated nucleic acid formed has a
          (a) combining said nucleic acid with a lipid-detergent          mean particle diameter of from about 50 nm to about 90 nm
             mixture, said lipid-detergent mixture comprising a lipid     in the absence of extrusion or sonication.
             mixture of an aggregation-preventing agent in an                17. A method for introducing a nucleic acid into a cell,
                                                                       45
             amount of about 5 mol % to about 20 mol %, a cationic        said method comprising:
             lipid in an amount of about 0.5 mol % to about 50 mol           (a) preparing a lipid-nucleic acid composition according
             %, and a flisogenic lipid and a detergent, to provide a            to claim 1; and
             nucleic acid-lipid detergent mixture; and                       (b) contacting said cell with said lipid-nucleic acid corn-
          (b) dialyzing said nucleic acid-lipid-detergent mixture 50            position for a period of time sufficient to introduce said
             against a buffered salt solution to remove said detergent          nucleic acid into said cell.
             and to encapsulate said nucleic acid in a lipid bilayer         18. The method in accordance with claim 17, wherein said
             carrier and provide a lipid bilayer-nucleic acid             cell is a spleen cell.
             composition, wherein said buffered salt solution has an         19. The method in accordance with claim 17, wherein the
             ionic strength sufficient to encapsulate of from about 55 efficiency of transfection is not diminished by repeat doses
             40% to about 80% of said nucleic acid.                       administered within 2 weeks.
          2. The method in accordance with claim 1, further com-
       prising                                                                                    * *     * * *




                                                                                                                             JA001401
                                                                                                                    MRNA-GEN-00222420
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 52 of 1274 PageID #: 8358




                   JOINT APPENDIX 46
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 53 of 1274 PageID #: 8359
    Gene Therapy (1999) 6, 1438–1447
     1999 Stockton Press All rights reserved 0969-7128/99 $12.00
    http://www.stockton-press.co.uk/gt



    Stabilized plasmid-lipid particles for regional gene
    therapy: formulation and transfection properties
    YP Zhang1, L Sekirov1, EG Saravolac1, JJ Wheeler1, P Tardi1, K Clow1, E Leng1, R Sun1, PR Cullis1,2
    and P Scherrer1,2
    1
     INEX Pharmaceuticals Corporation, Burnaby, BC; and 2Department of Biochemistry and Molecular Biology, University of British
    Columbia, Vancouver, BC, Canada




        Previous work (Wheeler et al, Gene Therapy 1999; 6: 271–         be generated. The SPLP produced could be isolated from
        281) has shown that plasmid DNA can be entrapped in              empty vesicles by sucrose density gradient centrifugation,
        ‘stabilized plasmid-lipid particles’ (SPLP) containing the       and exhibited a narrow size distribution (62 ± 8 nm, as
        fusogenic lipid dioleoylphosphatidylethanolamine (DOPE),         determined by freeze–fracture electron microscopy) and a
        low levels (5–10 mol%) of cationic lipid, and stabilized by      high plasmid-to-lipid ratio of 65 ␮g/␮mol (corresponding to
        a polyethyleneglycol (PEG) coating. The PEG moieties are         one plasmid per particle) regardless of the DODAC con-
        attached to a ceramide anchor containing an arachidoyl           tent. It was found that isolated SPLP containing 20–
        acyl group (PEG-CerC20). These SPLP exhibit low trans-           24 mol% DODAC resulted in optimum transfection of COS-
        fection potencies in vitro, due in part to the long residence    7 and HepG2 cells in vitro, with luciferase expression levels
        time of the PEG-CerC20 on the SPLP surface. In this work         comparable to those achieved for plasmid DNA–cationic
        we employed SPLP stabilized by PEG attached to cera-             lipid complexes. In vivo studies employing an intraperi-
        mide containing an octanoyl acyl group (PEG-CerC8),              toneal B16 tumor model and intraperitoneal administration
        which is able to quickly exchange out of the SPLP, to            of SPLP also demonstrated maximum luciferase
        develop systems that give rise to optimized in vitro and in      expression for DODAC contents of 20–24 mol% and sig-
        vivo (regional) transfection. A particular objective was to      nificantly improved gene expression in tumor tissue as
        achieve cationic lipid contents that give rise to maximum        compared with complexes. We conclude that SPLP stabil-
        transfection levels. It is shown that by performing the dialy-   ized by PEG-CerC8 and containing 20–24 mol% cationic
        sis procedure in the presence of increasing concentrations       lipid are attractive alternatives to plasmid DNA–cationic
        of citrate, SPLP containing up to 30 mol% of the cationic        lipid complexes for regional gene therapy applications.
        lipid dioleoydimethylammonium chloride (DODAC) could

        Keywords: non-viral gene delivery; cationic lipid; detergent dialysis; cancer gene therapy; plasmid encapsulation; lipo-
        somes



    Introduction                                                         intravenous injection, which limits potential transfection
                                                                         sites to ‘first-pass’ organs such as the lung, liver and
    Non-viral gene delivery systems offer many potential                 spleen.8–12 Furthermore, DNA–cationic lipid complexes
    advantages over viral vectors, including avoidance of                can also produce toxic side-effects in vitro13 and in vivo.14
    concerns related to viral immunogenicity and reversion                  Efforts in our laboratory have focused on the develop-
    to the infectious phenotype. In addition, well-defined               ment of small, well-defined lipid-based plasmid carrier
    synthetic gene delivery systems offer possible advantages            systems with general applicability, where the plasmid is
    with respect to vector manufacture and characterization.             fully encapsulated within a lipid envelope. Initial studies
    However, the most commonly employed non-viral sys-                   have shown that plasmid can be entrapped in ‘stabilized
    tems, plasmid DNA–cationic lipid complexes1–3 formed                 plasmid-lipid particles’ (SPLP) through a detergent dialy-
    by adding plasmid to liposomes containing cationic lip-              sis procedure, resulting in particles of approximately
    ids, are not well-defined systems. These complexes are               70 nm in diameter containing one plasmid per particle.15
    often unstable, are susceptible to aggregation and exhibit           These systems contain the fusogenic lipid dioleoylphos-
    transfection potencies that can be sample- and time-                 phatidylethanolamine (DOPE) and a small amount of cat-
    dependent. In addition, complexes do not have general                ionic lipid, and are stabilized in aqueous media by the
    applicability. For example, whereas complexes usually                presence of a polyethylene glycol (PEG) coating. It has
    exhibit reasonable transfection potency in vitro,4–7 these           also been established that the in vitro transfection potency
    large systems are generally cleared rapidly following                of SPLP is dependent on the hydrophobic ceramide (Cer)
                                                                         group anchoring the PEG polymer to the SPLP, where
                                                                         ceramide groups containing shorter acyl groups exhibit
    Correspondence: PR Cullis, INEX Pharmaceuticals Corporation, 100–    improved transfection properties.15 This has been attri-
    8900 Glenlyon Parkway, Burnaby, BC V5J 5J8, Canada                   buted to the ability of PEG-Cer molecules with shorter
    Received 17 November 1998; accepted 15 April 1999                    acyl groups to dissociate from the SPLP, thereby destabil-


                                                                                                              JA001402
   Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 54 of 1274 PageID #: 8360
                                                              SPLP for regional gene therapy
                                                              YP Zhang et al

                                                                                                                              1439
izing the particle and improving association with and         ionic strength of the dialysis medium was raised to shield
uptake into target cells. In this regard, it is well estab-   the surface charge on the lipid structures. Initial experi-
lished that the presence of a PEG coating can inhibit         ments employed higher NaCl concentrations ranging
association and fusion between large unilamellar vesicles     from 0.15 to 1.0 m NaCl (with 10 mm HEPES, pH 7.2).
(LUVs)16,17 and between LUVs and biological mem-              Increasing the NaCl concentration to 0.5 m was sufficient
branes.18                                                     to prevent aggregation for a formulation containing
   This work focuses on the development of SPLP that          10 mol% DODAC (results not shown), but was not effec-
exhibit optimized transfection properties in vitro and that   tive in a formulation containing 20 mol% DODAC, where
have regional application in vivo. This application           aggregation persisted even up to 1 m NaCl. Polyvalent
requires that the PEG coating rapidly dissociates from the    anionic counter-ions such as citrate may be expected to
carrier, therefore, SPLP have been constructed employing      produce stronger shielding effects. A study of plasmid
PEG-Cer molecules containing an octanoyl group (PEG-          encapsulation as a function of citrate concentration was
CerC8). Previous work has shown that PEG-CerC8 mol-           performed for a lipid mixture composed of
ecules exhibit half-times (t1/2) for dissociation from LUV    DODAC/DOPE/PEG-CerC8 (20:65:15; mol:mol:mol) and
(in the presence of ‘acceptor’ LUV) of less than 1.2 min,18   the pCMVLuc plasmid. As shown in Figure 1, at concen-
whereas PEG-CerC14 and PEG-CerC20 exhibit t1/2 values         trations up to 60 mm citrate the dialyzed samples con-
of 1.2 h and greater than 13 days, respectively.15 Parti-     tained large (diameter ⬎150 nm) and polydisperse (␹2
cular attention has been paid to developing SPLP con-         ⬎3.0) particles. However, small, monodisperse particles
taining optimized amounts of cationic lipid. The pre-         (82 ± 40 nm diameter as measured by quasi-elastic light
viously described SPLP protocol was limited to low (5–        scattering; QELS) exhibiting high encapsulation
10 mol%) cationic lipid contents in order to achieve          efficiencies of 50–70% were formed when the dialysis
efficient plasmid encapsulation.15 In this work, it is        medium contained 65–80 mm citrate. Increasing the cit-
shown that SPLP containing up to 30 mol% cationic lipid       rate concentration further also resulted in formation of
can be generated by including increasing amounts of cit-      small particles, but the encapsulation efficiency
rate in the dialysis medium, and that optimum in vitro        decreased dramatically.
transfection potencies are obtained at approximately             The results shown in Figure 1 suggest two criteria for
24 mol% cationic lipid contents. The transfection             determining the optimum citrate concentration for plas-
potencies observed for regional transfection of peritoneal    mid encapsulation: (1) formation of monodisperse (␹2
tumors employing these optimized SPLP are superior to         ⬍3.0) particles with diameter smaller than 100 nm; and
those observed using plasmid DNA–cationic lipid               (2) an encapsulation efficiency greater than 50%. Studies
complexes.                                                    to determine citrate concentrations that satisfy these cri-
                                                              teria over a range of DODAC concentrations were perfor-
                                                              med, and the results are summarized in Figure 2. The
Results                                                       citrate concentration range giving rise to particles with
                                                              a diameter smaller than 100 nm and with encapsulation
Plasmid can be encapsulated in SPLP containing high           efficiencies of 50% or higher is represented by the solid
levels of cationic lipid by employing citrate in the          circles. Higher citrate concentrations give rise to low plas-
dialysis medium                                               mid encapsulation efficiencies of 30% or less, whereas cit-
Previous work has shown that plasmid can be encapsu-          rate concentrations below the optimum levels resulted in
lated in SPLP with the lipid composition DOPE, dioleoyl-      large, polydisperse aggregates (␹2 ⬎5). The plasmid
dimethylammonium chloride (DODAC) and PEG-CerC20              encapsulation efficiencies that could be achieved at opti-
(84:6:10; mol:mol:mol) by a detergent dialysis procedure      mum citrate concentrations for formulations containing
employing octylglucoside.15 Under the conditions used,        up to 30 mol% DODAC are summarized in Table 1.
the cationic lipid content was critical, as plasmid encap-       It was not possible to obtain satisfactory formulations
sulation levels approaching 70% could be achieved for         for preparations containing 30 mol% DODAC by varying
DODAC contents of 6–7 mol%. Little encapsulation was          the citrate concentration. Aggregation persisted in formu-
obtained at lower DODAC levels, however, and at               lations dialyzed in 70–90 mm citrate buffer, while at
DODAC contents above 9% significant aggregation prob-         higher concentrations the plasmid encapsulation was less
lems were encountered. Similar behavior was observed          than 25%. Improved results were achieved, however, by
here for SPLP containing DOPE/DODAC/PEG-CerC8                 leaving the citrate concentration constant at 100 mm and
(78:7:15; mol:mol:mol). Following dialysis against HBS        varying the NaCl concentration. Decreasing the NaCl
(5 mm HEPES, 150 mm NaCl, pH 7.4), small (diameter            concentration from 150 mm to 120–140 mm resulted in an
⬍70 nm) vesicles exhibiting high encapsulation                increase in the plasmid encapsulation efficiency to 55–
efficiencies of 80% were formed (see Table 1). The degree     70% (Figure 3) while the particle size remained small
of plasmid encapsulation was estimated by determining         (⬍100 nm diameter).
the relative accessibility of a DNA interchelating fluor-
escent dye (PicoGreen) to the plasmid in the presence and     Lipid composition, plasmid-to-lipid ratio and size of
absence of Triton ×-100, as described in Materials and        isolated SPLP
methods. DODAC contents above 10 mol% caused aggre-           Previous work has shown that SPLP formulations con-
gation of the formulation during dialysis.                    taining 7 mol% DODAC contain empty vesicles and
   It has been proposed that SPLP form when plasmids          unencapsulated plasmid in addition to SPLP, and that the
interact with lipid structures exhibiting an appropriate      free plasmid can be removed by passage over a DEAE
surface charge during the detergent dialysis process.15       column, whereas the removal of empty vesicles requires
Therefore, it was reasoned that encapsulation into SPLP       an additional density gradient centrifugation step.15 In
with higher cationic lipid content might be possible if the   this study it was found that similar procedures could be


                                                                                                            JA001403
   Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 55 of 1274 PageID #: 8361
                                                      SPLP for regional gene therapy
                                                                        YP Zhang et al

1440
        Table 1 Physical properties of SPLP formulations containing 7–30 mol% DODAC

        DODAC content                                          After detergent dialysis                                             After isolation by density
        (mol%)a                                                                                                                      gradient centrifugation

                                           Diameter                 ␹2 b                 Encapsulation efficiency                    Diameter                ␹2 b
                                            (nm)b                                                 (%)c

         7                                  64 ± 28                 1.0                           80.5                               101 ± 11                0.4
        12                                  68 ± 29                 1.1                           77.5                                91 ± 29                0.6
        16                                  75 ± 34                 2.9                           68.2                                95 ± 21                0.3
        20                                  82 ± 41                 0.6                           65.9                                99 ± 22                0.3
        24                                  97 ± 60                 1.7                           69.4                                94 ± 30                0.9
        28                                 101 ± 59                 1.7                           47.5                                 ND                    ND
        30                                  81 ± 48                 ND                            54.4                               115 ± 57                1.7

        a
          DODAC content in SPLP formulations composed of DODAC/DOPE/PEG-CerC8 (x:85-x:15; mol:mol:mol).
        b
          Mean diameter (± standard deviation) and polydispersity (␹2) of the SPLP formulations after dialysis as measured by QELS using the
        volume-weighted vesicle mode.
        c
          Plasmid encapsulation efficiency determined by the PicoGreen assay.
        ND, not determined.




                                                                                             Figure 2 Determination of the optimal citrate concentration range as a
                                                                                             function of SPLP DODAC content to achieve maximum plasmid encap-
                                                                                             sulation in combination with minimum aggregation. Formulations were
                                                                                             composed of DODAC/DOPE/PEG-CerC8 (x:85-x:15; mol:mol:mol) and
                                                                                             pCMVLuc (10 mg lipid and 100–200 ␮g plasmid per ml) and were pre-
                                                                                             pared by detergent dialysis where the dialysate contained the indicated
                                                                                             sodium citrate concentrations as well as 150 mm NaCl, 10 mm HEPES
       Figure 1 Plasmid DNA can be entrapped in SPLP containing high levels                  (pH 7.2). The solid circles (쎲) indicate formulations that exhibited plasmid
       of DODAC by raising the citrate concentration present during detergent                encapsulation efficiencies greater than 50% and a small, monodisperse size
       dialysis. (a) The effect of varying the citrate concentration on plasmid              distribution as determined by QELS (diameter ⬍100 nm, ␹2 ⬍3). The
       encapsulation efficiency following detergent dialysis, as determined by the           open circles (䊊) indicate formulations that exhibited plasmid encapsul-
       PicoGreen fluorescence assay (see Materials and methods). (b) The effect of           ation efficiencies of less than 40% in combination with a small, monodis-
       citrate on the diameter (쎲) and polydispersity, ␹2 (䊊), of the formulations           perse size distribution (diameter ⬍100 nm, ␹2 ⬍3). The crosses (x) indi-
       following detergent dialysis as measured by QELS (volume-weighted ves-                cate polydisperse formulations with large size distributions (diameter
       icle mode). Formulations were composed of DODAC/DOPE/PEG-CerC8                        ⬎100 nm, ␹2 ⬎3).
       (20:65:15; mol:mol:mol) and pCMVLuc (10 mg lipid and 200 ␮g plasmid
       per ml), and were prepared by detergent dialysis as described under
       Materials and methods.




                                                                                                                                          JA001404
    Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 56 of 1274 PageID #: 8362
                                                                            SPLP for regional gene therapy
                                                                            YP Zhang et al

                                                                                                                                                        1441




                                                                            Figure 4 Freeze–fracture electron micrograph of isolated SPLP. An SPLP
                                                                            formulation composed of DOPE/DODAC/PEG-CerC8 (64:21:15;
Figure 3 Plasmid encapsulation in SPLP at a given DODAC content and         mol:mol:mol) and plasmid (pCMVLuc) was prepared as indicated in the
citrate concentration can be optimized by varying the NaCl concentration.   caption for Figure 1 and non-encapsulated plasmid was removed by DEAE
The formulations were composed of DOPE/DODAC/PEG-CerC8
                                                                            column chromatography. SPLP were separated from empty vesicles on a
(55:30:15; mol:mol:mol) and pCMVLuc (10 mg lipid and 200 ␮g plasmid         discontinuous sucrose density gradient. The gradient consisted of 2 ml
per ml), and were prepared by detergent dialysis where the dialysate con-   10% sucrose, 6 ml 5% sucrose, 1 ml 1% sucrose and was centrifuged at
tained varying amounts of NaCl and 100 mm sodium citrate, 10 mm             160 000 g for 12 h. The bar indicates 200 nm. For details of sample prep-
HEPES (pH 7.2). The closed circles (쎲) indicate the plasmid encapsul-
                                                                            aration and electron microscopy, see Materials and methods.
ation efficiencies determined employing the PicoGreen fluorescence assay.
The open circles (䊊) indicate the mean diameter (± standard deviation)
of the formulations following dialysis, as measured by QELS (volume-
weighted vesicle mode).                                                     were observed for a SPLP formulation containing
                                                                            15 mol% DODAC (data not shown). Freeze–fracture stud-
                                                                            ies on the empty lipid fraction revealed small vesicles less
applied to SPLP formulations containing PEG-CerC8 and                       than 40 nm in diameter.
higher cationic lipid contents. Nearly 90% of the plasmid
loaded on to the gradient was recovered in the fraction                     SPLP containing high cationic lipid contents are stable
containing the SPLP (located at the 5–10% interface of the                  against serum degradation and storage
density gradient), whereas less than 20% of the total lipid                 SPLP stability in serum provides a rigorous test, as serum
was associated with this fraction. The lipid composition                    proteins associate with lipid vesicles,20 resulting in leak-
of purified SPLP was found to be similar to the initial                     age and potential exposure of encapsulated plasmid to
lipid composition, with a slight enrichment (1–3%) in the                   serum nucleases. Isolated SPLP (DODAC/DOPE/PEG-
DODAC content. Importantly, regardless of the initial                       CerC8; 21:64:15, mol:mol:mol) containing 3H-pCMVLuc
plasmid-to-lipid ratio or relative DODAC content, the                       were incubated in 90% serum for 1 h at 37°C and passed
final plasmid-to-lipid ratios in these purified SPLP were                   over a size exclusion chromatography column. Over 85%
consistently in the range of 65 ␮g/␮mol, which corre-                       of the plasmid in SPLP was intact and eluted in the void
sponds to one plasmid per SPLP.15                                           volume (Figure 5). This may be compared to the behavior
   Particle size and morphology were characterized by                       of free plasmid, which was completely degraded in
QELS and by freeze–fracture electron microscopy tech-                       serum and the plasmid fragments eluted in the
niques. The isolated SPLP (Table 1) were highly monodis-                    included volume.
perse (␹2 ⬍1) and had a consistent mean diameter of 90–                       The stability of the isolated SPLP during storage was
110 nm with a narrow size distribution (standard devi-                      assessed by monitoring size and plasmid encapsulation.
ation of approximately 20–30%) as determined by QELS                        No significant changes in size and plasmid encapsulation
(volume-weighted vesicle mode). Note, the mean diam-                        were observed for the two SPLP formulations tested
eter of isolated SPLP detected by QELS in ‘solid-particle’                  (containing 15 mol% and 20 mol% DODAC) during stor-
mode was 70–90 nm. The empty vesicle fraction follow-                       age at 4°C for a period of 5 months (results not shown).
ing density centrifugation contained very small particles
with diameters of 30–60 nm. The morphology and size                         SPLP contain a trapped aqueous volume
distribution of isolated SPLP containing 21 mol%                            The volume of one encapsulated plasmid is not sufficient
DODAC as determined by freeze–fracture electron                             to fill the interior volume of a particle of approximately
microscopy revealed highly uniform spheres of 62 ± 8 nm                     70 nm diameter, suggesting that SPLP contain an interior
in diameter as shown in Figure 4. The morphology of                         aqueous volume.15 It is of interest to measure this
these SPLP is similar to that observed for bilayer LUV                      entrapped volume directly. In this regard, the measure-
systems,19 consistent with an SPLP structure consisting of                  ment of the trapped volume of liposomes usually
plasmid trapped within a lipid bilayer. Similar results                     employs a radiolabeled membrane-impermeable marker,


                                                                                                                                   JA001405
   Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 57 of 1274 PageID #: 8363
                                                     SPLP for regional gene therapy
                                                                       YP Zhang et al

1442




       Figure 5 Plasmid in SPLP containing 21 mol% DODAC is protected
       from serum nuclease degradation. An SPLP formulation composed of
       DOPE/DODAC/PEG-CerC8 (64:21:15; mol:mol:mol) and plasmid
       (pCMVLuc) was prepared as indicated in the caption for Figure 1. The
       non-encapsulated plasmid was removed by DEAE column chromato-
       graphy and the SPLP isolated by sucrose density gradient centrifugation.
       Free plasmid and SPLP-encapsulated plasmid was incubated in 90%
       mouse serum for 1 h at 37°C. The sample was then loaded on to a 5 ml
       Sepharose CL-4B gel filtration column and eluted with HBS. Fractions
       (0.5 ml) were analyzed for 3H-labelled plasmid by scintillation counting.
       The open circles represent the elution profile of the ‘free plasmid’ sample
       and the closed circles the SPLP-encapsulated plasmid preparation.


       such as inulin or sucrose.21,22 Before using sucrose to mea-
       sure the trapped volume of SPLP, it was important to
       show that sucrose would not leak out during the time
                                                                                        Figure 6 Effect of DODAC content in SPLP on transfection activity in
       required to isolate the particles. The release rate of 14C-                      vitro. Transfection activity is shown with SPLP before (a) and after (b)
       sucrose from LUV with the same lipid composition as the                          isolation by density gradient centrifugation. Note the different y-axis
       SPLP was therefore measured as indicated in Materials                            scales for panels a and b. Plasmid (pCMVLuc) was encapsulated in SPLP
       and methods. Two LUV formulations composed of                                    containing 7–30 mol% DODAC, as described in the caption for Figure
       DODAC/DOPE/PEG-CerC8, containing 7:78:15 and                                     2. SPLP isolation by density gradient centrifugation was conducted as
                                                                                        described in the caption for Figure 4. SPLP were added to COS-7 cells
       20:65:15 molar ratios, respectively, were employed. The
                                                                                        (1 ␮g plasmid per well) and then incubated for 24 h. The luciferase activity
       measured half-life for sucrose retention at 20°C was                             was determined as described in Materials and methods. The ‘complex’ bar
       found to be in the range of 300–700 h (results not shown).                       illustrates the transfection activity achieved with complexes of pCMVLuc
       The time required for sucrose density gradient centrifug-                        and DODAC/DOPE (1:1; mol:mol) LUV at a charge ratio of 1.5:1 (+/−).
       ation was 10–20 h, thus allowing 14C-sucrose to be used                          ND, not determined.
       as a membrane-impermeable marker to determine the
       trapped volumes of SPLP. Trapped volumes of 2.2 and                              tion activity was strongly dependent on the DODAC
       2.0 ␮l/␮mol lipid were obtained following the pro-                               content in the SPLP. Luciferase activity was low for iso-
       cedures detailed in Materials and methods for the iso-                           lated SPLP containing 7–8 mol% DODAC but increased
       lated SPLP formulations containing 7 and 20 mol%                                 substantially to reach a plateau value between 20 and
       DODAC, respectively.                                                             24 mol% DODAC. Luciferase expression remained essen-
                                                                                        tially unchanged for further increases in DODAC content.
       Influence of cationic lipid content on the transfection                          Importantly, the luciferase activities detected for isolated
       potency of SPLP in vitro                                                         SPLP containing high DODAC levels are comparable
       The effect of cationic lipid content in the SPLP on in vitro                     with those obtained for the plasmid–lipid complexes for-
       transfection was investigated in COS-7 and HepG2 cell                            med with pCMVLuc and DODAC/DOPE (1:1; mol:mol)
       lines using SPLP formulations that had been purified by                          liposomes. Similar results were also observed for the
       DEAE chromatography only and SPLP isolated by both                               HepG2 cell line (results not shown). The charge ratio of
       DEAE chromatography and sucrose density gradient cen-                            1.5:1 (+/−) used to form plasmid DNA–cationic lipid
       trifugation. The luciferase activities detected in COS-7                         complexes resulted in optimal transfection in these cell
       cells following transfection are shown in Figure 6.                              lines.
       Luciferase expression was dramatically increased in cells                        Influence of cationic lipid content on SPLP transfection
       incubated with the isolated SPLP (Figure 6b), as com-                            potency in vivo
       pared with SPLP that had not undergone density gradi-                            The ability of SPLP containing different levels of DODAC
       ent centrifugation (Figure 6a). In addition, the transfec-                       to transfect a tumor following regional injection in vivo


                                                                                                                                     JA001406
    Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 58 of 1274 PageID #: 8364
                                                                             SPLP for regional gene therapy
                                                                             YP Zhang et al

                                                                                                                                            1443
was evaluated in an intraperitoneal (i.p.) tumor model.                      Discussion
B16BL-6 tumor cells were seeded in the peritoneal cavity
of C57BL/6 mice. After 7 days isolated SPLP containing                       This study demonstrates that SPLP with a dissociable
pCMVLuc were injected intraperitoneally at a dose of                         PEG coating and elevated levels of the cationic lipid
30 ␮g plasmid per mouse. The tumors were collected                           DODAC exhibit improved transfection potency in vitro
after 24 h and assayed for luciferase activity. The mean                     and in vivo. There are three interesting aspects of these
luciferase expression was found to increase with increas-                    results. The first concerns the improved transfection
ing DODAC content in the SPLP (Figure 7) as was                              properties of SPLP containing PEG-CerC8 molecules that
observed in the in vitro studies. The highest levels of                      can rapidly dissociate from the carrier. The second con-
luciferase expression, approximately 1.1 ng/g tumor,                         cerns the mechanism whereby citrate facilitates formation
were observed for SPLP with DODAC concentrations                             of SPLP with higher cationic lipid contents and the in
ranging between 20 and 30 mol%. In this model system,                        vitro and in vivo transfection potency of SPLP with optim-
luciferase expression at 24 h was 10 times higher than                       ized cationic lipid contents. The final point relates to the
that observed with DOPE:DODAC (1:1; mol:mol) LUVs                            small, stable, well defined nature of SPLP. We discuss
complexed with pCMVluc. These complexes were con-                            these aspects in turn.
structed at a 3:1 cationic lipid-to-DNA charge ratio,                           The physical properties of the SPLP described here dif-
which was optimal for in vivo transfection in this model.                    fer significantly from the properties of the SPLP
Also, expression following transfection with complexes                       described previously.15 A major difference concerns the
followed a different time-course than that observed for                      PEG-CerC8 molecule used to stabilize the SPLP. In the
transfection with SPLP, and maximum transfection levels                      previous work SPLP containing PEG-CerC20 were gener-
of 100–200 pg luciferase per gram of tumor were                              ated and it was shown that these SPLP exhibited poor
observed 12 h after injection with the complex system.                       transfection properties in vitro. Improved transfection
For SPLP the highest expression levels were observed                         potency could be achieved by using PEG-CerC14 as the
24 h following transfection as compared with 12 and 48 h.                    stabilizing component. This improvement was attributed
   As an indicator for systemic toxicity of SPLP, aspartate                  to the ability of the PEG-CerC14 to diffuse away from the
aminotransferase (AST) levels in the serum were ana-                         SPLP due to the much faster dissociation rate of PEG-
lyzed 24 h after i.p. injection of the preparations. It was                  CerC14 (t1/2 = 1.2 h) as compared with PEG-CerC20 (t1/2
found that administration of SPLP containing 6 to                            ⭓ 13 days), thus rendering the particle more able to inter-
30 mol% DODAC at a lipid dose of 120 mg/kg did not                           act with target cells. It has been shown elsewhere that
result in significantly elevated enzyme levels (data not                     the presence of a PEG coating can inhibit interaction and
shown).                                                                      fusion between lipid vesicles.16,17 The SPLP employed in
                                                                             the present study contained PEG-CerC8 as the stabilizing
                                                                             agent, which exhibits a considerably faster dissociation
                                                                             rate (t1/2 ⭐1.2 min), thus maximizing the in vitro transfec-
                                                                             tion potency required for the in vitro studies performed
                                                                             here. It should be noted that these systems would not be
                                                                             suitable for intravenous delivery with the aim of reaching
                                                                             sites of disease such as distal tumor sites, as they will
                                                                             be highly unstable following interaction with biological
                                                                             fluids. More stable SPLP containing PEG-CerC20 which
                                                                             diffuses away over much longer times, are better suited
                                                                             to such applications.23
                                                                                With regard to the mechanism whereby citrate facili-
                                                                             tates formation of SPLP with higher cationic lipid con-
                                                                             tents, previous work conducted at a fixed ionic strength
                                                                             showed that the plasmid entrapment efficiency was a
                                                                             sensitive function of the cationic lipid content, with
                                                                             maximum entrapment in the range of 5–10 mol%
                                                                             DODAC.15 It was proposed that plasmid first interacts
                                                                             with macromolecular structures composed of DOPE,
                                                                             DODAC and PEG-Cer that are formed as intermediates
                                                                             during the dialysis process, to produce SPLP. The forma-
                                                                             tion of structures such as cylindrical micelles and lamel-
                                                                             lar sheets during the formation of lipid vesicles by deter-
                                                                             gent dialysis is well established.24–26 The results
                                                                             presented here indicate that by using the appropriate
                                                                             amount of citrate to shield the positive charge on the lipid
Figure 7 Transfection of B16 tumors in vivo following regional (i.p.)        structures containing higher amounts of cationic lipid,
injection of isolated SPLP is dependent on the DODAC concentration in        the affinity of the plasmid for these intermediates can be
SPLP. B16BL-6 cells (100 000) were seeded in C57BL/6 mice i.p 7 days         reduced to levels compatible with good entrapment.
before i.p. administration of the different formulations (30 ␮g plasmid in   Within this model citrate concentrations below the opti-
500 ␮l). Tumors were collected 24 h after transfection and assayed for
luciferase activity (n = 4). The ‘complex’ bar shows the transfection
                                                                             mum range do not result in adequate shielding of the
activity obtained with cationic lipid–plasmid DNA complexes formed with      positively charged lipid structures formed during dialy-
pCMVLuc and DODAC/DOPE (1:1; mol:mol) LUVs at a charge ratio of              sis, resulting in crosslinking by plasmids and aggregate
3:1 (+/−).                                                                   formation. At citrate concentrations above the optimum


                                                                                                                          JA001407
   Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 59 of 1274 PageID #: 8365
                                             SPLP for regional gene therapy
                                                               YP Zhang et al

1444
       range on the other hand, the positive charge on the lipid                tain practical advantages with regard to manufacturing
       structures is shielded to the extent that interaction with               and stability. Due to their small size, SPLP can be readily
       plasmid is inhibited, resulting in little or no entrapment.              sterilized by passage through a 0.22 micron filter.
       At the critical citrate concentrations, the shielded charge              Further, SPLP can be concentrated to plasmid concen-
       on the lipid structure is just sufficient to bind plasmid,               trations greater than 1 mg/ml15 and are also highly stable
       and encapsulation can then proceed as outlined pre-                      during extended storage. The preliminary studies perfor-
       viously.15                                                               med here indicate that SPLP exhibit no significant
          A major finding of this study is that SPLP containing                 changes in size or plasmid encapsulation during storage
       24 mol% DODAC and stabilized by PEG-CerC8 exhibit in                     at 4°C for at least 5 months. Again, it is well recognized
       vitro and in vivo transfection properties that are compara-              that complexes exhibit increased instability at plasmid
       ble to, or better than, those observed for corresponding                 concentrations of 100 ␮g/ml or greater. In our hands,
       plasmid DNA–cationic lipid complexes. There are two                      DODAC-containing complexes prepared at a charge ratio
       factors that contribute to this enhanced activity. The first,            of 3:1 could not be prepared at plasmid concentrations
       as previously discussed, is related to the rapid dis-                    greater than 375 ␮g/ml (L Akhong, unpublished results).
       sociation of the PEG coating. The second factor that                     It should be noted that complexes are generally so
       clearly plays a major role is the elevated cationic lipid                unstable during extended storage that most laboratory
       content. It is possible that higher levels of cationic lipid             and clinical applications employ a ‘two-vial’ approach,
       result in enhanced association with, and uptake into,                    where the plasmid and cationic lipid vesicles are mixed
       nearby cells. In this regard it has been noted that cellular             together immediately before administration.
       uptake of plasmid delivered by SPLP stabilized by PEG-                      In summary, the results presented in this investigation
       CerC8 and containing 6 mol% DODAC is less than 3% of                     illustrate that the SPLP system produced by detergent
       that delivered by DODAC/DOPE (1:1) complexes.27                          dialysis represents a highly flexible platform technology
       Alternatively, it is possible that the higher levels of cat-             for construction of non-viral gene delivery vectors. It is
       ionic lipid contribute to the endosomolytic activity                     demonstrated that SPLP can be stabilized by PEG-Cer
       required to facilitate intracellular delivery of the encapsu-            molecules that freely dissociate, thus reducing or elimin-
       lated plasmid. A feature that is of particular interest con-             ating the inhibitory effects of a PEG coating on cell associ-
       cerns the dramatically enhanced transfection activity of                 ation. It is also shown that SPLP can be constructed to
       SPLP following isolation by density gradient centrifug-                  contain high amounts of cationic lipid if the dialysis
       ation as compared with the SPLP that contain empty ves-                  medium contains high levels of a citrate buffer. SPLP con-
       icles (Figure 6). These results suggest that cells have lim-             taining approximately 24 mol% of the cationic lipid
       ited uptake capacity and that saturation of this uptake by               DODAC, together with the dissociable PEG coating, give
       empty vesicles as compared with SPLP containing plas-                    rise to gene transfer vectors that exhibit in vitro transfec-
       mid seriously compromises transfection activity.                         tion potencies that are comparable to those achieved for
          The final topic of discussion concerns the well-defined               cationic lipid–plasmid DNA complexes. Further, these
       nature of the SPLP system. Aside from the differences                    SPLP give rise to superior tumor transfection levels in a
       arising from the cationic lipid content and the ability of               regional tumor model.
       the PEG-Cer to dissociate, the physical characteristics of
       the SPLP generated here are remarkably similar to the
       SPLP generated employing 6% DODAC and PEG-CerC20.                        Materials and methods
       The high plasmid-to-lipid ratio of 65 ␮g/␮mol lipid,
       which corresponds to one plasmid per SPLP, is main-                      Materials
       tained, as is the size of the SPLP at a diameter of approxi-             Dioleoyldimethylammonium chloride (DODAC) was
       mately 65 nm. The additional finding that SPLP contain                   kindly provided by Dr S Ansell (Inex Pharmaceuticals,
       a trapped volume is consistent with previous work15 indi-                Burnaby, BC, Canada) and 1-O-[2⬘-(␻-methoxypoly-
       cating that the interior volume of an SPLP is considerably               ethyleneglycol) succinoyl]-2-N-octanoylsphingosine (PEG-
       larger than the volume taken up by the entrapped plas-                   CerC8) was synthesized as described elsewhere.28 Diole-
       mid. The measured trapped volumes of 2 ␮l/␮mol lipid                     ylphosphatidylethanolamine (DOPE) was obtained from
       correspond to an SPLP diameter of 66 nm, assuming an                     Northern Lipids (Vancouver, BC, Canada). Dialysis tub-
       area per lipid molecule of 0.6 mm2. This is in good agree-               ing (SpectraPor 5, 12 000–14 000 MWCO) was obtained
       ment with the SPLP diameter measured by freeze–frac-                     from Spectrum Medical Industries (Laguna Hills, CA,
       ture electron microscopy (62 ± 8 nm). The fact that the                  USA). The PicoGreen reagent was purchased from Mol-
       SPLP system has an appreciable interior trapped volume                   ecular Probes (Eugene, OR, USA). Mouse serum was
       clearly offers interesting opportunities for co-encapsulat-              obtained from CelarLane (Mississauga, ON, Canada).
                                                                                14
       ing agents to improve transfection properties along with                   C-cholesteryl hexadecyl ether (14C-CHE) was obtained
       the plasmid DNA.                                                         from Mandel Scientific (Guelph, ON, Canada). Triton X-
          The well-defined structure and stability of SPLP con-                 100, DEAE-Sepharose CL-6B and octyl-␤-d-glucopyrano-
       trasts strongly with the properties of cationic lipid–plas-              side (OGP) was obtained from Sigma (St Louis, MO,
       mid DNA complexes. The purified SPLP exhibit a uni-                      USA). 14C-sucrose was obtained from NEN-Dupont
       form size of approximately 70 nm and contain one                         (Markham, ON, Canada). The luciferase assay kit was
       plasmid per particle, with the plasmid fully encapsulated                obtained from Promega (Madison, WI, USA). The
       within a lipid envelope. As emphasized previously, com-                  pCMVLuc plasmid (5650 bp, coding for the luciferase
       plexes usually exhibit sizes greater than 200 nm diameter,               reporter gene) was provided by Dr P Tam (Inex
       contain an indeterminate number of plasmids per com-                     Pharmaceuticals). The gene was under the control of the
       plex and do not fully protect associated plasmids from                   human CMV immediate–early promoter-enhancer
       the external environment. In addition, SPLP exhibit cer-                 element. The 3H-pCMVLuc plasmid was produced as


                                                                                                                    JA001408
   Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 60 of 1274 PageID #: 8366
                                                                SPLP for regional gene therapy
                                                                YP Zhang et al

                                                                                                                              1445
previously described.29,30 The cell lines COS-7 (African        isolated by pipetting, depending on the purpose of the
green monkey kidney, SV40 transformed, ATCC CRL-                experiment. The lipid and plasmid concentrations of the
1651), HepG2 (human hepatocellular carcinoma, ATCC              fractions were evaluated by HPLC analysis and the Pico-
HB-8065), were obtained from the American Tissue Cul-           Green fluorescent assay, respectively, or by scintillation
ture Collection. The B16BL-6 mouse melanoma cell line           counting when 14C-CHE and/or 3H-plasmid was used.
was obtained from Frederick Cancer Research Center
(Frederick, MD, USA).                                           Measurement of size distribution
                                                                The size distributions were measured by quasi-elastic
Encapsulation of plasmid DNA                                    light scattering (QELS) and freeze–fracture electron
Lipid dispersions were prepared from stock solutions of         microscopy. QELS measurements employed a Nicomp
DODAC, DOPE and PEG-CerC8 in chloroform/methanol                370 Sub-Micron particle sizer (Santa Barbara, CA, USA)
(2/1; vol/vol). Appropriate amounts of lipid were trans-        operated in the volume-weighted vesicle mode. Sample
ferred into a glass test tube and solvent was removed           polydispersity was evaluated by the goodness-of-fit para-
under a stream of N2 gas followed by storage under vac-         meter ␹2, where values of ␹2 ⬍3 indicate monodisperse
uum for 3–5 h. An aqueous solution of OGP (0.2 ml of a          formulations (according to specification by the
1 m solution for 10 mg lipid) was then added to the lipid       manufacturer). Freeze–fracture electron microscopy was
film. The mixture was vortexed until the lipid film was         performed employing a Balzers Freeze-Etching system,
dissolved and the solution became clear. An appropriate         BAF 400D (Balzers, Liechtenstein). Samples were cry-
amount of pCMVLuc plasmid solution (typically 100–              ofixed in the presence of 25% glycerol by plunging them
400 ␮g for 10 mg lipid) and citrate buffer was then added,      into liquid freon 22. The fractured surface was shadowed
to achieve a final lipid concentration of 10 mg/ml and          unidirectionally with platinum/carbon (45°) and coated
a final OGP concentration of 200 mm. The solution was           with carbon (90°) immediately after fracturing. Replicas
normally optically clear at this point; if not, 50–100 ␮l of    were analyzed using a JEOL Model JEM 1200 EX electron
the 1 m OGP solution was added. This mixture was incu-          microscope (Soquelec, Montreal, QC, Canada).
bated at room temperature for 1 h and then dialyzed for
2 days against 4 liter of citrate buffer containing the indi-   HPLC analysis of lipid composition
cated concentration of sodium citrate as well as 5 mm           Lipid compositions were analyzed by HPLC (Beckman
HEPES and 150 mm NaCl (pH 7.2), with two changes of             System Gold 128) using an Ultrasphere cyanopropyl col-
buffer daily. Non-encapsulated plasmid was removed by           umn (2 × 15 mm, 5 ␮m). A ternary mobile phase con-
anion exchange chromatography on a DEAE-Sepharose               sisting of two solvents (solvent A: 99.95% CHCl3 0.05%
column (1 × 5 cm).                                              TFA; solvent B: 90% isopropanol, 9.95% water, 0.05%
                                                                TFA) was employed. Separation was performed at a flow
Evaluation of plasmid encapsulation by the PicoGreen            rate of 0.3 ml/min, and a gradient of 0–90% solvent B
fluorescence assay                                              was applied in 9 min. Elution with 90% solvent B was
Plasmid encapsulation was evaluated by measuring the            maintained for 1 min and then the mobile phase was
accessibility of the DNA-interchelating dye PicoGreen to        cycled back to 100% solvent A.
plasmid at an excitation wavelength of 485 nm and emis-
sion wavelength of 525 nm (Aminco Bowman Series 2               Trapped volume measurements
Luminescence Spectrometer, SLM-Aminco, Urbana, IL,              The trapped volume of isolated SPLP was determined
USA). Typically, 4 ␮l of PicoGreen was added to 1 ml of         using 14C-sucrose as a marker for the internal volume.21,22
sample containing 0.2–0.8 ␮g plasmid. Plasmid encapsul-         A first step was to examine sucrose retention in vesicles
ation was calculated as E(%) = (Io − I)/Io × 100 where I        with the SPLP lipid composition. This study employed
and Io refer to the fluorescence intensities before and after   100 nm diameter LUV prepared by the freeze–thaw
the addition of Triton X-100 (final concentration 0.4%,         extrusion method.19 Briefly, 10 mg of the appropriate
v/v). Fluorescence intensities in the absence of PicoGreen      lipid mixture was hydrated in 1 ml of citrate buffer con-
were used as background references. The plasmid con-            taining 10 ␮Ci of 14C-sucrose and 5% (w/v) sucrose.
tents of formulations after DEAE column chromato-               After five freeze–thaw cycles, the sample was extruded
graphy and after isolation by sucrose density gradient          10 times through a filter of 100 nm pore size using an
centrifugation were determined either by the PicoGreen          Extruder (Lipex, Vancouver, BC, Canada). Untrapped
fluorescent assay and/or by using 3H-labelled plasmid.          14
                                                                  C-sucrose was removed by passing the sample through
                                                                a Sephadex G-50 spin column. The sample was then
Isolation of SPLP by sucrose density gradient                   dialyzed (12–14 000 MWCO) against an HBS solution
centrifugation                                                  containing 5% (w/v) sucrose. Aliquots were removed at
Isolation of SPLP from empty vesicles was carried out by        various time-points and the specific activity determined.
sucrose density gradient centrifugation. The gradient was       The SPLP formulations used for trapped volume determi-
formed with 2 ml of 10% sucrose, 6 ml of 2.5% sucrose           nations were prepared as described above, except that
(for formulations containing 22–30 mol% DODAC) or               20 ␮Ci of 14C-sucrose was included in the detergent
5.0% sucrose (for formulations containing 7–22 mol%             dialysis solution. The solution was then dialyzed in
DODAC) and 1 ml of 1% sucrose in HBS layered consecu-           150 ml of citrate buffer in the presence of 20 g SM-2 Bio-
tively from bottom to top. The gradients were centrifuged       Beads (BioRad, Hercutes, CA, USA). The Bio-Beads were
at 160 000 g for 12–20 h. The lipid-encapsulated plasmid        replaced with fresh ones after 12 h and the sample was
banded tightly at the lower interface of the gradient, and      dialyzed for an additional 12 h. The lipid-plasmid formu-
the empty vesicles formed a broad band near the top of          lations were then purified and isolated using DEAE col-
the gradient. The gradient was either separated into ali-       umn chromatography and sucrose density gradient
quots (1 ml) or the band containing SPLP was carefully          procedures as described above.


                                                                                                            JA001409
   Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 61 of 1274 PageID #: 8367
                                             SPLP for regional gene therapy
                                                               YP Zhang et al

1446
       Assay for serum stability of SPLP                                        References
       A 50 ␮l aliquot of SPLP containing 3H-plasmid and 14C-
       CHE was mixed with 450 ␮l of normal mouse serum.                          1 Felgner PL et al. Lipofection: a highly efficient, lipid-mediated
       After incubation at 37°C for 2 h the mixture was loaded                     DNA-transfection procedure. Proc Natl Acad Sci USA 1987; 84:
       on to a Sepharose CL-4B gel filtration column and eluted                    7413–7417.
       with HBS (pH 7.2). Fractions of 0.5 ml were collected and                 2 Gao X, Huang L. Cationic liposome-mediated gene transfer.
       the lipid and plasmid concentrations assayed by scintil-                    Gene Therapy 1995; 2: 710–722.
       lation counting.                                                          3 Chonn A, Cullis PR. Recent advances in liposome technologies
                                                                                   and their applications for systemic gene delivery. Adv Drug Del
                                                                                   Rev 1998; 30: 73–83.
       In vitro and in vivo transfection                                         4 Hofland HEJ, Shephard L, Sullivan SM. Formation of stable cat-
                                                                                   ionic lipid/DNA complexes for gene transfer. Proc Natl Acad Sci
       One day before transfection, COS-7 cells were plated in
                                                                                   USA 1996; 93: 7305–7309.
       24-well plates at 45 000 cells per well. At the time of trans-            5 Felgner JH et al. Enhanced gene delivery and mechanism studies
       fection, cells were 70% confluent. Formulations of up to                    with a novel series of cationic lipid formulations. J Biol Chem
       50 ␮l containing 0.2–1.0 ␮g plasmid were added to each                      1994; 269: 2550–2561.
       well (in triplicate). After 24 h incubation the cells were                6 Zabner J et al. Cellular and molecular barriers to gene transfer
       lysed in 200 ␮l 0.1% Triton X-100, 250 mm NaH2PO4 pH                        by a cationic lipid. J Biol Chem 1995; 270: 18997–19007.
       7.4 and 20 ␮l of the lysate was assayed for luciferase                    7 Gao X, Huang L. A novel cationic liposome reagent for efficient
       expression as previously described.15 In vivo transfection                  transfection of mammalian cells. Biochem Biophys Res Comm 1991;
       was measured using an intraperitoneal B16BL-6 tumor                         179: 280–285.
       model. Female C57BL/6 mice were injected intraperi-                       8 Hong K, Zheng W, Baker A, Papahadjopoulos D. Stabilization of
       toneally with 100 000 B16BL-6 tumor cells. Seven days fol-                  cationic liposome-plasmid DNA complexes by polyamines and
       lowing tumor seeding, SPLP formulations containing                          poly(ethylene glycol)-phospholipid conjugates for efficient in
                                                                                   vivo gene delivery. FEBS Lett 1997; 400: 233–237.
       30 ␮g plasmid in 500 ␮l were injected into the peritoneal
                                                                                 9 Thierry AR et al. Systemic gene therapy: biodistribution and
       cavity. Tumors were collected after 24 h, fast-frozen in                    long-term expression of a transgene in mice. Proc Natl Acad Sci
       liquid nitrogen and stored at −70°C before being assayed                    USA 1995; 92: 9742–9746.
       for luciferase. Tissue homogenization was performed                      10 Hofland HJ et al. In vivo gene transfer by intravenous adminis-
       with a FastPrep instrument using supplied tubes and                         tration of stable cationic lipid/DNA complex. Pharmaceut Res
       beads. Tissues were homogenized in Cell Culture Lysis                       1997; 14: 742–749.
       Reagent (CCLR; Promega), supplemented with BSA                           11 Templeton NS et al. Improved DNA:liposome complexes for
       (1 mg/ml). Samples were then centrifuged for 2 min at                       increased systemic delivery and gene expression. Nature Biotech
       10 000 g to remove debris.                                                  1997; 15: 647–652.
                                                                                12 Huang L, Li S. Liposomal gene delivery: a complex package.
                                                                                   Nature Biotech 1997; 15: 620–621.
       Luciferase assay                                                         13 Harrison GS et al. Optimization of gene transfer using cationic
       Luciferase assays were performed using the Promega                          lipids in cell lines and primary human CD4+ and CD34+ hemato-
       Luciferase Assay reagent kit (Promega E1501) according                      poietic cells. Biotechniques 1995; 19: 816–823.
       to the manufacturer’s instructions. Cell lysates were                    14 Li S, Huang L. In vivo gene transfer via intravenous adminis-
                                                                                   tration of cationic lipid-protamine–DNA (LPD) complexes. Gene
       assayed for luciferase activity using a 96-well microplate
                                                                                   Therapy 1997; 4: 891–900.
       luminometer (Dynex Technologies ML 3000). Luciferase                     15 Wheeler JJ et al. Stabilized plasmid-lipid particles: construction
       (firefly luciferase, Sigma) standard solutions were pre-                    and characterization. Gene Therapy 1999; 6: 271–281.
       pared by serially diluting 1 ␮g/␮l luciferase in CCLR                    16 Holland JW, Cullis PR, Madden TD. Poly(ethleneglycol)-lipid
       supplemented with BSA (1 mg/ml). To determine the                           conjugates promote bilayer formation in mixtures of non-bilayer
       luciferase activity in tissue, the standard curve employed                  forming lipids. Biochemistry 1996; 35: 2610–2617.
       was obtained by diluting luciferase standard in control                  17 Holland JW, Hui C, Cullis PR, Madden TD. Poly
       tissue homogenate to compensate for quenching.                              (ethyleneglycol)-lipid conjugates regulate the calcium-induced
                                                                                   fusion of liposomes composed of phosphatidylethanolamine
                                                                                   and phosphatidylserine. Biochemistry 1996; 35: 2618–2624.
       Assay for aspartate aminotransferase                                     18 Holland JW et al. Programmable fusion between cationic lipo-
       Plasma from mice was recovered 24 h following injection                     somes and a eucaryotic plasma membrane. J Biol Chem 1999;
       of SPLP into the peritoneal cavity and assayed immedi-                      (submitted).
       ately for aspartate aminotransferase activity using                      19 Hope MJ, Bally MB, Webb G, Cullis PR. Production of large
                                                                                   unilamellar vesicles by a rapid extrusion procedure. Charac-
       commercially available kits (Sigma).
                                                                                   terization of size distribution, trapped volume and ability to
                                                                                   maintain a membrane potential. Biochim Biophys Acta 1985; 812:
                                                                                   55–65.
       Acknowledgements                                                         20 Chonn A, Semple SC, Cullis PR. Association of blood proteins
                                                                                   with large unilamellar liposomes in vivo. Relation to circulation
                                                                                   lifetimes. J Biol Chem 1992; 267: 18759–18765.
       We thank Drs Z Wang and S Ansell (Inex
                                                                                21 Mayer LD, Hope MJ, Cullis PR, Janoff AS. Solute distributions
       Pharmaceuticals) for providing PEG-ceramides and
                                                                                   and trapping efficiencies observed in freeze-thawed multila-
       DODAC, respectively. We also acknowledge Dr K Wong                          mellar vesicles. Biochim Biophys Acta 1985; 817: 193–196.
       (Department of Biochemistry and Molecular Biology,                       22 Mui BLS, Cullis PR, Evans EA, Madden TD. Osmotic properties
       University of British Columbia) for performing the                          of large unilamellar vesicles prepared by extrusion. Biophys J
       freeze–fracture electron microscopy studies and J Thomp-                    1993; 64: 443–453.
       son and C Giesbrecht (Inex Pharmaceuticals) for provid-                  23 Monck M et al. Stabilized plasmid-lipid particles for systemic
       ing plasmid.                                                                gene therapy. Gene Therapy (submitted).



                                                                                                                         JA001410
   Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 62 of 1274 PageID #: 8368
                                                                     SPLP for regional gene therapy
                                                                     YP Zhang et al

                                                                                                                                            1447
24 Ollivon M, Eildelman O, Blumenthal R, Walter A. Micelle–ves-      28 Webb MS et al. Comparison of different hydrophobic anchors
   icle transition of egg phosphatidylcholine and octyl glucoside.      conjugated to poly(ethyleneglycol): effects on the pharmacoki-
   Biochemistry 1988; 27: 1695–1703.                                    netics of liposomal vincristine. Biochim Biophys Acta 1998; 1372:
25 Szoka F Jr, Papahadjopoulos D. Comparative properties and            272–282.
   methods of preparation of lipid vesicles (liposomes). Ann Rev     29 Birnboim HC, Doly J. A rapid alkaline extraction procedure for
   Biophys Bioeng 1980; 9: 467–508.                                     screening recombinant plasmid DNA. Nucleic Acids Res 1979; 7:
26 Vinson PK, Talmon Y, Walter A. Vesicle–micelle transition of         1513–1522.
   phosphatidylcholine and octyl glucoside elucidated by cryo-       30 Sambrook J, Fritsch EF, Maniatis T. Extraction and purification
   transmission electron microscopy. Biophys J 1989; 56: 669–681.       of plasmid DNA. In: Ford N, Nolan C, Ferguson M (eds). Mol-
27 Mok KWC, Lam AMI, Cullis PR. Stabilized plasmid-lipid par-           ecular Cloning, 2nd edn. Cold Spring Harbor Laboratory Press:
   ticles: factors influencing DNA entrapment and transfection          New York, 1989, pp 1.38–1.39.
   properties. Biochim Biophys Acta (in press).




                                                                                                                        JA001411
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 63 of 1274 PageID #: 8369




                   JOINT APPENDIX 47
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 64 of 1274 PageID #: 8370




                                           Journal of Controlled Release 107 (2005) 276 – 287
                                                                                                          www.elsevier.com/locate/jconrel




           Cationic lipid saturation influences intracellular delivery of
                            encapsulated nucleic acids
                     James Heyes 1, Lorne Palmer 1, Kaz Bremner, Ian MacLachlan *
                              Protiva Biotherapeutics Inc., 100-3480 Gilmore Way, Burnaby, B.C., Canada V5G-4Y1
                                                Received 17 January 2005; accepted 15 June 2005
                                                         Available online 28 July 2005



    Abstract

        An analogous series of cationic lipids (1,2-distearyloxy-N,N-dimethyl-3-aminopropane (DSDMA), 1,2-dioleyloxy-N,N-
    dimethyl-3-aminopropane (DODMA), 1,2-dilinoleyloxy-N,N-dimethyl-3-aminopropane (DLinDMA) and 1,2-dilinolenyloxy-
    N,N-dimethyl-3-aminopropane (DLenDMA)) possessing 0, 1, 2 or 3 double bonds per alkyl chain respectively, was synthesized
    to determine the correlation between lipid saturation, fusogenicity and efficiency of intracellular nucleic acid delivery. 31P-NMR
    analysis suggests that as saturation increases, from 2 to 0 double bonds, lamellar (La) to reversed hexagonal (HII) phase
    transition temperature increases, indicating decreasing fusogenicity. This trend is largely reflected by the efficiency of gene
    silencing observed in vitro when the lipids are formulated as Stable Nucleic Acid Lipid Particles (SNALPs) encapsulating small
    inhibitory RNA (siRNA). Uptake experiments suggest that despite their lower gene silencing efficiency, the less fusogenic
    particles are more readily internalized by cells. Microscopic visualization of fluorescently labelled siRNA uptake was supported
    by quantitative data acquired using radiolabelled preparations. Since electrostatic binding is a precursor to uptake, the pKa of
    each cationic lipid was determined. The results support a transfection model in which endosomal release, mediated by fusion
    with the endosomal membrane, results in cytoplasmic translocation of the nucleic acid payload.
    D 2005 Published by Elsevier B.V.

    Keywords: siRNA delivery; RNA interference; Cationic lipid; Phase transition temperature and SNALP



    1. Introduction                                                         presence of endogenous RNA-Induced Silencing
                                                                            Complex (RISC) unwind and bind to specific
       RNA interference (RNAi) is a recently discovered                     sequences of messenger RNA (mRNA) subsequently
    gene-silencing tool. Small interfering RNA (siRNA)                      mediating the destruction of the target mRNA by
    are short, double stranded RNA molecules that, in the                   endogenous cellular machinery. In this way, RNAi
                                                                            has the potential to selectively inhibit the expression
                                                                            of disease-associated genes in humans.
     * Corresponding author. Tel.: +1 604 630 5064.                             Stabilized Plasmid Lipid Particles (SPLP), con-
       E-mail address: ian@protivabio.com (I. MacLachlan).                  sisting of a unilamellar lipid bi-layer encapsulating
     1
       The first two authors contributed equally to this work.              a single copy of plasmid DNA, have been reported
    0168-3659/$ - see front matter D 2005 Published by Elsevier B.V.
    doi:10.1016/j.jconrel.2005.06.014




                                                                                                                  JA001412
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 65 of 1274 PageID #: 8371



                                  J. Heyes et al. / Journal of Controlled Release 107 (2005) 276–287                        277


    as a novel method of systemic nucleic acid delivery               shown, using gold-labeled particles, that upon uptake
    [1–5]. Originally developed using a detergent dial-               via endocytosis the majority of lipoplex remain lo-
    ysis technique, they are now prepared more quickly                calized in the endosome, failing to escape to the
    and uniformly using the spontaneous vesicle forma-                cytoplasm [12]. The incorporation of fusogenic lipids
    tion method of Jeffs et al [6]. This method has been              such as dioleoylphosphatidylethanolamine (DOPE)
    adapted to encapsulate other nucleic acids such as                improves the efficiency of endosomal release by
    duplex siRNA molecules. The resulting particles,                  encouraging fusion events between the liposomal
    referred to as Stabilized Nucleic Acid Lipid Parti-               and endosomal bi-layers [12–14]. The resulting dis-
    cles (SNALP), exhibit the stability, small size                   ruption to the endosomal bi-layer aids in the escape
    (b200 nm) and low surface charge required for                     of the therapeutic nucleic acid to the cytoplasm. In
    systemic delivery [7].                                            the case of a fully encapsulated system, fusion is
        The SNALP bi-layer contains a mixture of cat-                 expected to result in cytoplasmic translocation of the
    ionic and fusogenic lipids that enable the cellular               nucleic acid payload.
    uptake and endosomal release of the particle’s con-                   The fusogenic nature of DOPE-containing bi-
    tents. SNALP also contain a diffusible poly (ethylene             layers is thought to be due to their polymorphic
    glycol)-lipid conjugate (PEG-lipid) that provides a               nature. Upon formulation, most lipids adopt the bi-
    neutral, hydrophilic coating to the particle’s exterior.          layer-forming lamellar phase (La). DOPE however,
    PEG-lipids both stabilize the particle during the for-            has a tendency to form the inverse hexagonal phase
    mulation process and shield the cationic bi-layer,                (HII) [14]. Using video microscopy, Koltover et al.
    preventing rapid systemic clearance. Upon adminis-                studied the interaction of lipoplexes with giant anionic
    tration, the PEG-lipid conjugate dissociates from the             vesicles (G-vesicles), a model for the endosomal
    SNALP at a rate determined by the chemistry of the                membrane [15]. They demonstrated that while lipo-
    PEG-lipid anchor, transforming the particle into a                plex comprised of lipids in the La phase would simply
    transfection-competent entity [1]. Cellular uptake of             attach themselves stably to the surface of the G-vesi-
    non-viral transfection reagents occurs primarily via              cles, HII phase forming lipoplex rapidly fused with
    endocytosis. Escape from the endosome is known to                 model endosomes. Lipids that adopt the HII phase are
    be a limiting step when using lipidic systems to                  therefore regarded as dfusogenicT.
    deliver nucleic acids. Fusogenic systems readily                      Other researchers have noted that the degree of
    overcome this barrier since they promote the break-               saturation of a lipid hydrophobic domain affects its
    down of the endosomal membrane leading to cyto-                   ability to adopt the HII phase [16–19]. All have
    plasmic translocation of their nucleic acid payloads.             reported a trend whereby an increasing number of
    Lipidic systems are most fusogenic when arranged in               double bonds corresponds with an increasing propen-
    the reversed hexagonal phase (HII), as opposed to the             sity to form the non-bi-layer phase. It might therefore
    more stable bi-layer forming lamellar phase (La). A               be possible to increase the tendency of the SNALP bi-
    low phase transition temperature between the two                  layer to form the fusogenic HII phase by decreasing
    states indicates a lower activation energy for the                the degree of saturation in the lipid hydrophobic
    formation of the fusogenic HII phase. Because of                  domain of the cationic lipid component. Using the
    the highly defined nature of the SNALP particle,                  SNALP lipid DODMA (containing a single double
    with its fully encapsulated nucleic acid payload and              bond per lipid chain) as a starting point, we synthe-
    well-characterized mechanism of intracellular deliv-              sized a homologous series of lipids with 0, 1, 2 or 3
    ery, SNALP make an ideal system for examining the                 double bonds and studied the effect of these changes
    role of individual lipid components in the pharma-                on physicochemical properties of bi-layers into which
    cology of non-viral vector systems. In this work we               they were incorporated.
    explore the role of bi-layer fusogenicity in uptake,                  The lipids were incorporated in SNALP containing
    endosomal escape, and gene-silencing efficiency of                anti-luciferase siRNA and assessed for both uptake
    SNALP.                                                            efficiency and their ability to inhibit luciferase expres-
        Fusogenicity is considered to contribute to cyto-             sion in stably transfected Neuro 2A cells. The surface
    plasmic delivery of nucleic acids [8–11]. It has been             pKa was investigated using a toluene nitrosulphonic




                                                                                                          JA001413
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 66 of 1274 PageID #: 8372



    278                          J. Heyes et al. / Journal of Controlled Release 107 (2005) 276–287


    acid (TNS) assay. The relative influence of each lipid           (R f = 0.5) were pooled and concentrated. The prod-
    on phase transition temperature (Tc) was also studied,           uct was decolorized by stirring for 30 min in a
    using 31P-NMR analysis.                                          suspension of activated charcoal (1 g) in ethanol
                                                                     (75 mL) at 60 8C. The charcoal was removed by
                                                                     filtration through Celite, and the ethanol solution
    2. Materials and methods                                         concentrated to typically yield 2.4 g (65%) of
                                                                     pure product. 1H-NMR (DSDMA): yH 3.65 3.32
    2.1. Materials                                                   (m, 7H, OCH, 3  OCH2), 2.45 2.31 (m, 2H,
                                                                     NCH2), 2.27 (s, 6H, 2  NCH3), 1.61 1.45 (m, 4H,
       DPPS, 1,2-Distearoyl-sn-glycero-3-phosphocho-                 OCH2CH 2 ), 1.40 1.17 (m, 60H, Hstearyl), 0.86 (t,
    line (DSPC) and cholesterol were purchased from                  6H, CH2CH 3 ). 1H-NMR (DODMA): yH 5.4 5.27
    Avanti Polar Lipids (Alabaster, AL). TNS was obtained            (m, 4H, 2  CH = CH), 3.65 3.35 (m, 7H, OCH,
    from Sigma-Aldrich Canada (Oakville, ON). Ribo-                  3  OCH2), 2.47 2.33 (m, 2H, NCH2), 2.28 (s, 6H,
    Green was obtained from Molecular Probes (Eugene,                2  NCH3), 2.06 1.94 (m, 8H, 4  CH 2 CH = CH),
    OR). The alkyl mesylates were purchased from Nu-                 1.61 1.50 (m, 4H, OCH2CH 2 ), 1.38 1.20
    Chek Prep, Inc. (Elysian, MN, USA). siRNA (anti-                 (m, 48H, Holeyl), 0.88 (t, 6H, CH2CH 3 ).
    luciferase and mismatch control) was purchased from
    Dharmacon (Lafayette, CO, USA). The anti-luciferase              2.3. Synthesis of DLinDMA and DLenDMA
    sense sequence was 5V-G.A.U.U.A.U.G.U.C.C.G.-
    G.U.U.A.U.G.U.A.U.U-3V. The anti-luciferase anti-                   The DLinDMA and DLenDMA were synthesized
    sense sequence was 5V-U.A.C.A.U.A.A.C.C.G.G.A.                   similarly to the DSDMA and DODMA, but used the
    C.A.U.A.A.U.C.U.U-3V. All other chemicals were pur-              alkyl mesylates instead of alky bromides. The general
    chased from Sigma-Aldrich (Oakville, ON, Canada).                synthetic protocol was identical for those of DSDMA
                                                                     and DODMA, substituting the alkyl mesylates for the
    2.2. Synthesis of DSDMA and DODMA                                bromides in the same molar ratios. The activated
                                                                     charcoal decolorization step was omitted, since the
       DSDMA and DODMA were synthesized using                        products here contain conjugated double bonds and
    the respective alkyl bromides with methodology                   activated charcoal is expected to adsorb compounds
    derived from that of a DOTMA precursor [20]. 3-                  containing such features. Yields were typically 2.0 g
    (Dimethylamino)-1,2-propanediol (714 mg, 6 mmol)                 (55%). 1H-NMR (DLinDMA): yH 5.43 5.27 (m, 8H,
    and 95% sodium hydride (NaH, 1.26 g, 50 mmol)                    4  CH = CH), 3.65 3.35 (m, 7H, OCH, 3  OCH2),
    were stirred in benzene (30 mL) under argon for 30               2.77 (t, 4H, = CHCH 2CH=), 2.47 2.33 (m, 2H,
    min. The correct (either oleyl or stearyl) alkyl bro-            NCH2), 2.28 (s, 6H, 2  NCH3), 2.05 (q, 8H,
    mide (5.0 g, 15 mmol) was added and the reaction                 4  CH2CH 2 CH=), 1.62 1.50(m, 4H, OCH2CH 2 ),
    refluxed under argon for 18 h. The reaction mixture              1.40 1.22 (m, 32H, Hlinoleyl), 0.89 (t, 6H,
    was then cooled in an ice bath while quenching via               CH2CH 3 ). 1H-NMR (DLenDMA): yH 5.44 5.27
    the slow addition of ethanol. Following dilution                 (m, 8H, 4  CH=CH), 3.62 3.48 (m, 7H, OCH,
    with a further 150 mL of benzene, the mixture                    3  OCH2), 2.80 (t, 4H,= CHCH 2 CH=), 2.43 2.32
    was washed with distilled water (2  150 mL) and                 (m, 2H, NCH2), 2.26 (s, 6H, 2  NCH3), 2.12 1.99
    brine (150 mL), using ethanol (~20 mL) to aid                    (m, 8H, 4  CH2/3CH 2 CH=), 1.61 1.51 (m, 4H,
    phase separation if necessary. The organic phase                 OCH2CH 2 ), 1.40 1.22 (m, 20H, Hlinolenyl), 0.98 (t,
    was dried over magnesium sulphate and evaporated.                6H, CH2CH 3 ).
    The crude product was purified on a silica gel
    (Kiesel Gel 60) column eluted with chloroform                    2.4. Synthesis of PEG2000-C-DMA
    containing 0–5% methanol. Column fractions were
    analyzed by thin layer chromatography (TLC) (silica                 PEG-C-DMA was synthesized as follows. In
    gel, chloroform/methanol 9:1 v/v, visualized with                brief, a C14 lipid anchor was prepared by first
    molybdate) and fractions containing pure product                 alkylating the hydroxyl groups of 3-allyloxypro-




                                                                                                      JA001414
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 67 of 1274 PageID #: 8373



                                J. Heyes et al. / Journal of Controlled Release 107 (2005) 276–287                     279


    pane-1,2-diol with myristyl bromide. The allyl group            rescence represents zero charge, and maximum fluo-
    was subsequently removed via palladium catalysis,               rescence represents 100% charge, pKa can be
    resulting in the C14 hydroxyl lipid. The hydroxyl               estimated by measuring the pH at the point exactly
    group was converted to the primary amine by mesy-               half way between the values of minimum and maxi-
    lation and amination to yield 1,2-dimyristyloxypro-             mum charge.
    pyl-3-amine, the lipid anchor. Conjugation with PEG
    was effected by treating monomethoxy poly(ethylene              2.7. 31P Nuclear magnetic resonance spectroscopy
    glycol) (average molecular weight 2000) with an
    excess of diphosgene to form the chloroformate.                     Multilamellar vesicles (MLV) were prepared com-
    Addition of the C14 amine lipid anchor and stirring             prising DPPS and cationic lipid at a molar ratio of
    overnight yielded PEG2000-C-DMA, referred to here               1 : 1. This was accomplished by drying the lipids from
    as PEG-C-DMA.                                                   chloroform solution, transferring to 10 mm NMR
                                                                    tubes, and hydrating in 1.5 mL of 10 mM sodium
    2.5. SNALP Preparation                                          citrate, pH 4. Free induction decays (FIDs)
                                                                    corresponding to 1000 scans were obtained with a
        SNALP with a lipid composition of DSPC:Chol:-               3.0 As, 608 pulse with a 1 s interpulse delay and a
    PEG-C-DMA:Cationic Lipid (20 : 48 : 2 : 30 molar per-           spectral width of 25 000 Hz. A gated two-level proton
    cent) were prepared using the spontaneous vesicle               decoupling was used to ensure sufficient decoupling
    formation by ethanol dilution method [6]. The sam-              with minimum sample heating. An exponential mul-
    ples were diafiltered against 100 mL of PBS (20 wash            tiplication corresponding to 50 Hz of line broadening
    volumes) using a cross flow ultrafiltration cartridge           was applied to the FIDs prior to Fourier transforma-
    (Amersham Biosciences, Piscataway, NJ) and sterile              tion. The sample temperature (+/ 1 8C) was regula-
    filtered through Acrodisc 0.8/0.2 Am syringe filters            ted using a Bruker B-VT1000 variable temperature
    (Pall Corp., Ann Arbor, MI). The siRNA concentra-               unit. Chemical shifts were referenced to 85% phos-
    tion of final samples was determined using the Ribo-            phoric acid as an external standard.
    Green assay and a siRNA standard curve. Particle size
    and polydispersity was determined using a Malvern               2.8. In Vitro Transfection
    Instruments Zetasizer 3000HSA (Malvern, UK).
    Nucleic acid encapsulation was determined using a                  Cells were cultured in MEM (Invitrogen) contain-
    RiboGreen assay, comparing fluorescence in the pres-            ing 10% fetal bovine serum (FBS) (CanSera) and 0.25
    ence and absence of Triton X-100. RiboGreen fluo-               mg/mL G418 (Invitrogen). Neuro2A-G cells (Neu-
    rescence was measured using a Varian Eclipse                    ro2A cells stably transfected to express luciferase
    Spectrofluorometer (Varian Inc) with k ex = 500 nm,             [21]) were plated at a concentration of 4  104 cells
    k em = 525 nm.                                                  per well in 24-well plates and grown overnight. Cells
                                                                    were treated with SNALP at doses of 0.0625 – 1.0 Ag/
    2.6. TNS Assay                                                  mL nucleic acid (AntiLuc Active or Mismatch Con-
                                                                    trol) and incubated for 48 h at 37 8C and 5% CO2.
       20 AM of SNALP lipid and 6 AM of TNS were                    Cells were then washed with PBS and lysed with 200
    mixed in a fluorescence cuvette in 2mL of 20 mM                 AL 250mM sodium phosphate containing 0.1% Triton
    sodium phosphate, 25 mM citrate, 20 mM ammonium                 X-100. The luciferase activity for each well was de-
    acetate and 150 mM NaCl, at a pH that was varied                termined using Luciferase Reagent (Promega) and a
    from 4.5 to 9.5. Fluorescence was determined at each            standard luciferase protein (Roche). The luminescence
    pH using a Varian Eclipse Spectrofluorometer (Varian            for each was measured using a Berthold MicroLumat-
    Inc) with settings of k ex = 322 nm, k em = 431 nm.             Plus LB96V plate luminometer. The resulting lucifer-
    Fluorescence for each system at the various pH values           ase activity was then normalized for the amount of
    was then normalized to the value at pH 4.5. The pKa             protein using the Micro BCA assay kit (Pierce). Lu-
    values are the point at which 50% of the molecules              ciferase knockdown relative to a control was then
    present are charged. By assuming that minimum fluo-             determined for each system.




                                                                                                      JA001415
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 68 of 1274 PageID #: 8374



    280                          J. Heyes et al. / Journal of Controlled Release 107 (2005) 276–287


    2.9. Cellular uptake                                             were viewed using an Olympus BX60 Microscope
                                                                     modified for fluorescence capabilities. Cy3 fluores-
        SNALP were prepared incorporating the non-ex-                cence within the cells was visualized using a rhoda-
    changeable tritium-labeled lipid cholesteryl hexadecyl           mine cube set (Microgen Optics, Redding, CA) and
    ether (3H-CHE) (11.1 ACi/ Amol total lipid) [22].                the DAPI fluorescence was visualized using a DAPI
    Neuro2A cells (ATCC, VA, USA) were plated in 12                  cube set (Carsen Group, Markham, ON). Digital pic-
    well plates at 1.6  105 cells per well in minimal               tures were captured using an Olympus DP70 camera
    essential media. The following day, media was re-                system. Pictures of the cells were taken at exposure
    moved and replaced with media containing radiola-                times of 1 / 4 s when examining Cy3 fluorescence and
    belled SNALP at 0.5 Ag/mL nucleic acid. After 24 h,              1/80 s when examining DAPI fluorescence.
    the media and unincorporated SNALP were removed,
    adherent cells gently washed 4 times with PBS, and
    then lysed with 600 AL Lysis Buffer (250 mM phos-                3. Results
    phate with 0.1% Triton X-100). The resulting cell
    lysate (500 AL) was added to glass scintillation vials           3.1. Formulation characteristics of unsaturated lipids
    containing 5 mL Picofluor 40 (Perkin Elmer) and 3H-              are uniform and reproducible
    CHE was determined using a Beckman LS6500 scin-
    tillation counter (Beckman Instruments). The protein                 SNALP containing the various cationic lipids were
    content of cell lysates was determined using the Micro           prepared as described and encapsulated RNA and
    BCA assay (Pierce). Uptake was expressed as a per-               particle size assessed (Table 1). The three unsaturated
    centage of the total amount of activity applied to the           cationic lipids resulted in formulations that were ap-
    cells per mg of cellular protein.                                proximately the same size (132 – 140 nm). Polydis-
                                                                     persity of all formulations was low, indicating a
    2.10. Uptake of SNALP containing Cy3-labeled                     narrow distribution of particle size. RNA encapsula-
    siRNA                                                            tion in the final particles was 84– 85% of the total.
                                                                     Attempts to encapsulate siRNA in SNALP using the
       SNALP were formulated as previously described,                saturated lipid DSDMA resulted in the formation of
    but using siRNA labelled with the fluorophore Cy3                slightly larger particles (180 nm) with encapsulation
    (Cy3-siRNA was a gift of Sirna Therapeutics Inc,                 of 67%.
    Boulder, CO). The encapsulation, siRNA concentra-
    tion, and particle size were determined as described.            3.2. pKa of cationic lipids is influenced by saturation
       For the uptake study, 8  104 Neuro2A-G cells
    were grown overnight on 4-well chamber slides (BD                  The apparent pKa of the cationic lipids was deter-
    Falcon, Mississauga, ON) in MEM containing 0.25                  mined as described in Materials and Methods. Lipid
    mg/mL G418. DSDMA, DODMA, DLinDMA, and                           pKa correlated with degree of saturation with
    DLenDMA SNALP containing Cy3-siRNA, as well
    as naked Cy3-siRNA and unlabeled DSDMA SNALP                     Table 1
    were placed on the cells at 0.5 Ag/mL siRNA. After a             Physical properties of SNALP formulations
    4 h incubation with the transfection media, the cells            Cationic lipid     Percentage           Diameter       Polydispersity
    were washed with PBS, then with MEM containing                                      Encapsulation        (nm)
    G418 and finally with PBS once more. The cells were              DSDMA              67 F 3               182 F 11       0.15 F 0.03
    then fixed in a 4% paraformaldehyde solution in PBS              DODMA              84 F 1               137 F 4        0.12 F 0.01
    for 10 min at room temperature. The cells were                   DLinDMA            84 F 3               140 F 6        0.11 F 0.02
                                                                     DLenDMA            85 F 1               132 F 7        0.13 F 0.03
    washed with PBS and stained with 300 nM DAPI
    (Molecular Probes, Eugene, OR) in PBS for 5 min.                 dPercentage EncapsulationT is determined using the RiboGreen
                                                                     fluorescence assay to measure the amount of encapsulated nucleic
    The cells were washed with PBS, the mounting media               acid relative to the total nucleic acid present. Particle diameter and
    ProLong Gold Antifade Reagent (Molecular Probes,                 polydispersity was measured using a Malvern Zetasizer. Values are
    Eugene, OR) applied and a cover slip added. The cells            the mean of 3 separate experiments, the error is standard deviation.




                                                                                                               JA001416
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 69 of 1274 PageID #: 8375



                                            J. Heyes et al. / Journal of Controlled Release 107 (2005) 276–287                                 281


                                                                                DSDMA, DODMA, DLinDMA, and DLenDMA
                                                                                exhibiting pKas of 7.6, 7.0, 6.7, and 6.7, respectively
                   1.0                                                          (Fig. 1).
                                                            DSDMA
                   0.8                                      DODMA
                                                            DLinDMA
                                                                                3.3. The bilayer-to-hexagonal phase transition tem-
                                                                                perature increases with alkyl chain saturation
     Relative FI




                                                            DLenDMA
                   0.6
                                                                                    31
                                                                                     P-NMR studies have previously shown that
                   0.4
                                                                                above certain temperatures (the Phase Transition Tem-
                                                                                perature, Tc), lipids may adopt the fusogenic HII phase
                   0.2
                                                                                [23,24]. A higher temperature required to convert a
                                                                                bilayer (La phase) to the HII phase indicates a less
                    0
                         4         5    6     7         8         9
                                                                                fusogenic bilayer. MLV were prepared using the an-
                                            pH                                  ionic lipid DPPS in a 1 : 1 molar ratio with each
                                                                                cationic lipid. The 31P-NMR spectra of the MLV
    Fig. 1. Assay to determine the apparent pKa of the cationic lipid           were measured at various temperatures. As can be
    incorporated in SNALP. An increase in TNS fluorescence correlates
                                                                                seen in Fig. 2A, for the DSDMA/DPPS system, the
    with an increase of positive charge. pKa is defined as the point at
    which 50% of the molecules are charged, halfway between the                 bilayer pattern occurs from temperatures of 30 to 50
    upper (completely charged) and lower (completely uncharged) lim-            8C (a high-field peak with a low-field shoulder).
    its of each curve. Error bars represent standard deviation, n = 3.          Therefore, DSDMA would appear to have very little

                              A. DSDMA                                         B. DODMA
                                                                  50°C                                                    35°C

                                                                                                                          30°C
                                                                  40°C
                                                                                                                          25°C

                                                                  30°C                                                    20°C


                             100       50        0          -50       -100    100          50           0          -50         -100
                                             ppm                                                       ppm


                              C. DLinDMA                                       D. DLenDMA
                                                                  30°C                                                     30°C

                                                                  25°C                                                     25°C

                                                                  20°C                                                     20°C

                                                                  15°C                                                     15°C


                             100       50        0          -50       -100    100          50           0           -50          -100
                                              ppm                                                      ppm
    Fig. 2. 31P-NMR analysis to determine the effect of unsaturation on phase transition temperature. Lipids were incorporated into MLV with
    the negatively charged lipid DPPS, in a 1 : 1 ratios. At lower temperatures, bi-layer patterns are observed (a high-field peak with a low-field
    shoulder). As temperature increases, a low-field peak with a high-field shoulder is observed, indicative of the inverted hexagonal phase
    transition. DSDMA-containing bilayers have a higher phase transition temperature and are accordingly less fusogenic.




                                                                                                                          JA001417
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 70 of 1274 PageID #: 8376



    282                                                  J. Heyes et al. / Journal of Controlled Release 107 (2005) 276–287


    ability to form HII phases in conjunction with the                                                          25
                                                                                                                                       DSDMA            DODMA
    anionic lipid. The cationic lipid with a single double                                                                             DLinDMA          DLenDMA
    bond, DODMA, possesses a transition temperature                                                             20




                                                                                              % Incorporation
    between 30 and 35 8C (Fig. 2B). The DLinDMA (2
    double bonds) and DLenDMA (3 double bonds) sys-                                                             15
    tems exhibit somewhat similar transition temperatures
    between 20 and 25 8C (Fig. 2C, D). It should be noted                                                       10
    that the central, isotropic peak seen in traces 3C and
    3D does not represent the phase transition temperature                                                       5
    but rather results from small phospholipid vesicles
    that are also present in the preparation. The shift in                                                       0
    lineshape asymmetry from a high-field peak/low-field                                                             0.05   0.10       0.25      0.50      1.00
    shoulder (bi-layer phase, lower temperatures) to low-                                                                          siRNA ( g/mL)
    field peak/high-field shoulder (inverted hexagonal                                       Fig. 4. Cellular uptake. Neuro2A cells were treated with SNALP
    phase, higher temperatures) is an indication of phase                                    containing 3H-labeled CHE for 24 h. The cells were washed to
    transition. This is exhibited most clearly in trace 3B                                   remove unincorporated SNALP prior to determination of 3H-
    (DODMA). Based on these results it may be assumed                                        CHE. Uptake is expressed as a percentage of the total activity
    that the fusogenicity of these systems increases in the                                  applied to the cells. Cellular uptake is shown to increase with
                                                                                             increasing cationic lipid saturation. Error bars represent standard
    following order: DSDMA bb DODMA b DLinDMA=                                               deviation, n = 3.
    DLenDMA.

    3.4. SNALP containing unsaturated cationic lipids                                        corresponded to the ability of lipids to form the fuso-
    show increased gene-silencing activity                                                   genic inverted hexagonal phase. Formulations com-
                                                                                             prising the saturated lipid DSDMA demonstrated no
       The ability of SNALP containing each of the four                                      activity. As unsaturation in the lipid’s alkyl chain
    cationic lipids to effect gene silencing in stably trans-                                increased, so did the capacity for RNA interference,
    fected Neuro2A cells was evaluated (Fig. 3). It was                                      with DLinDMA particles yielding an 80% knock-
    found that, as hypothesized, knockdown efficiency                                        down in gene expression. 31P-NMR established
                                                                                             DLinDMA as having the lowest phase transition tem-
                                   140                                                       perature in the series and accordingly, being the most
     % of Mismatch Control SNALP




                                                                        DSDMA
                                   120                                  DODMA                fusogenic lipid. Particles comprising DLenDMA, the
                                                                        DLinDMA              most unsaturated lipid, were slightly less efficient than
                                   100                                  DLenDMA
                                                                                             those containing DLinDMA. All results were found to
                                   80                                                        be significant by t-Test ( P b 0.05 at siRNA concen-
                                                                                             tration of 0.5 Ag/mL, and P b 0.01 at siRNA concen-
                                   60
                                                                                             tration of 1.0 Ag/mL).
                                   40

                                   20
                                                                                             3.5. SNALP uptake is not rate limiting for
                                                                                             gene-silencing efficiency
                                    0
                                         0   0.2   0.4       0.6        0.8         1
                                                                                                The extent to which formulations are taken up by
                                                   siRNA ( g/mL)
                                                                                             cells was measured with SNALP incorporating 3H-
    Fig. 3. SNALP mediated gene-silencing in vitro. Neuro2A cells                            labeled CHE [22]. After exposing cells to SNALP
    stably transfected to express the luciferase were treated with SNALP                     formulations for 24 h, cells were rinsed, lysed and
    containing anti-luciferase siRNA for 48 h. Gene-silencing efficiency                     3
                                                                                               H-CHE uptake determined (Fig. 4). Uptake of each
    was evaluated by comparing the remaining luciferase activity in
    these cells to that remaining in cells treated with control SNALP
                                                                                             individual formulation was independent of SNALP
    containing mismatch siRNA. Error bars represent standard devia-                          concentration, with DSDMA particles exhibiting the
    tion, n = 3.                                                                             greatest degree of uptake. SNALP uptake was ob-




                                                                                                                                              JA001418
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 71 of 1274 PageID #: 8377



                                         J. Heyes et al. / Journal of Controlled Release 107 (2005) 276–287                                        283


    served to decrease with decreasing saturation the                            cells were treated with formulations containing Cy3-
    DLenDMA formulation appearing particularly limited                           labeled siRNA for 4 h. After washing and fixing, cell
    in this respect. These results are contrary to our                           nuclei were stained (blue) with the fluorescent marker
    expectations, based on the gene silencing results,                           DAPI, to more accurately determine the location of
    where the DSDMA formulation is found to be least                             the fluorescently labelled siRNA (Fig. 5). In keeping
    effective. They suggest that cellular uptake does not                        with the results of the 3H-CHE uptake experiment, it
    limit the gene silencing ability of SNALP, but that                          can be seen that the DSDMA formulation is clearly
    endosomal escape, mediated by a fusion event with                            the most efficient at delivering siRNA to cells. The
    the endosomal membrane is critical in SNALP medi-                            Cy3 fluorescence (red) is most intense in cells treated
    ated nucleic acid delivery. Analysis by t-test found all                     with DSDMA containing SNALP. Again, in agree-
    results to be significant ( P b 0.05), apart from the                        ment with the radiolabelled uptake study, as the de-
    difference between DODMA and DLinDMA at con-                                 gree of saturation of the cationic lipid increases,
    centrations of 0.10, 0.50 and 1.00 Ag/mL.                                    cellular uptake of Cy3 labelled siRNA increases.
                                                                                 Again, Cy3 fluorescence is extremely faint for the
    3.6. Visualization of the uptake process                                     DLenDMA formulation, indicating poor uptake. Ne-
                                                                                 gative controls treated with either naked Cy3-labeled
       The uptake process was examined further with the                          siRNA or unlabeled SNALP revealing no cell associa-
    use of fluorescently labelled SNALP. Neuro2A-G                               ted Cy3 fluorescence.


                               A                                              B




                                                               DSDMA                                          DODMA

                               C                                              D




                                                             DLinDMA                                        DLenDMA

                               E                                               F




                                                        Naked siRNA                              Unlabelled SNALP

    Fig. 5. Fluorescent microscopy of SNALP mediated uptake of Cy3 labeled siRNA. SNALP labeled with the fluorophore Cy3 were applied to
    cells and incubated for 4 h. After washing and fixing, fluorescence microscopy indicates that siRNA uptake, as measured by Cy3 fluorescence,
    correlates with cationic lipid saturation. Cell nuclei were stained with the fluorophore DAPI (blue). Unlabeled SNALP and naked Cy3-siRNA
    were used as negative controls. (For interpretation of the references to colour in this figure legend, the reader is referred to the web version of
    this article.)




                                                                                                                             JA001419
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 72 of 1274 PageID #: 8378



    284                            J. Heyes et al. / Journal of Controlled Release 107 (2005) 276–287


    4. Discussion                                                      result is related to the transition temperature/fusogeni-
                                                                       city of the lipids in question, they have not examined
        Several obstacles beset delivery of genetic drugs.             this relationship directly (e.g. with 31P-NMR).
    These include the ability to safely deliver the therapeu-              Our study utilizes a series of four lipids of the
    tic to the target cell population, internalization by the          same alkyl chain length (C18) modified with a sys-
    cell, endosomal escape and protection from nuclease                tematic addition of double bonds. Further, as succes-
    degradation. Stable Nucleic Acid Lipid Particles                   sive double bonds are added across the series, the
    (SNALP) are a nucleic acid delivery platform described             position of existing double bonds within the alkyl
    previously that has shown potential for overcoming                 chain is retained. The position of double bonds with
    these obstacles both in vitro and in vivo [1–5,25]. A              lipid alkyl chains has previously been noted to have
    diffusible outer PEG layer affords the particles an                a dramatic effect on bi-layer transition temperature
    increased half-life in the bloodstream. This, combined             [28,29].
    with the particle’s small, uniform sizes (~130 – 140                   The four lipids examined in this work are
    nm), allows them to accumulate passively in solid                  DSDMA, DODMA, DLinDMA, and DLenDMA
    tumors via the fenestrated epithelia characteristic of             (Fig. 6). These lipids possess a protonatable tertiary
    such disease sites [1,3].                                          amine head group, C18 alkyl chains, ether linkages
        The model for SNALP mediated nucleic acid                      between the head group and alkyl chains, and 0 to 3
    delivery suggests that following the accumulation of               double bonds respectively. DODMA is of interest for
    SNALP in the tumor’s interstitial volume, the PEG                  nucleic acid delivery since it possesses several desir-
    layer slowly diffuses from the particles and the par-              able characteristics [6]. As well as utilizing the more
    ticle is taken up by endocytosis [12]. Following                   stable ether linkages, its head group is pH titratable.
    internalization by the cell, the particle must now                 At physiological pH the lipid is charge neutral, afford-
    either escape the endosome and release its payload                 ing SNALP longer systemic circulation time. Inside
    into the cytoplasm, or face degradation in the lyso-               the endosome however, the more acidic environment
    some. The physico-chemical properties of the lipid                 results in head group protonation, resulting in a cat-
    bi-layer will largely determine how effectively the                ionic charge that facilitates fusion with the anionic
    nucleic acid payload is delivered to the cytoplasm.                lipid containing endosomal bi-layer. We therefore
    Fusion events between the SNALP and endosomal                      used DODMA as a starting point for the design of
    bi-layers will either promote their destabilization or             an analogous series of lipids.
    facilitate direct translocation of the nucleic acid pay-               PEG-C-DMA is a PEG-lipid modeled after the
    load to the cytoplasm.                                             PEG-ceramides and PEG-diacylglycerols described
        Fusion events are more likely to occur when lipids             previously [1,4]. However, unlike these other lipids
    are able to adopt the non-bi-layer, inverted hexagonal             it possesses no ester bonds, making it more stable in
    (HII) phase [14]. Increasing unsaturation in a lipidTs             aqueous media. Based on the observation that PEG-
    alkyl chains has been reported to increase their HII               lipids with smaller anchors are more effective for in
    phase forming ability [16–19]. In this study we show               vitro work [1,2,4], we employed a short (C14) hydro-
    that the transfection efficiency of SNALP can be                   phobic anchor when synthesizing PEG-C-DMA. Used
    improved by increasing the unsaturation of the cat-                in conjunction with the unsaturated cationic lipids
    ionic lipid’s hydrophobic domain and thus, increasing              (DODMA, DLinDMA and DLenDMA), PEG-C-
    the fusogenicity of the system.                                    DMA gave SNALP particles within the desired size
        Other researchers have examined the impact of                  range (130 – 140 nm, Table 1). When combined with
    lipid saturation on transfection efficiency, usually in            the saturated lipid DSDMA, resulting particles were
    the context of other studies examining the effects of              slightly larger (180 nm) and less efficient in their
    lipid chain length on plasmid DNA delivery. Exami-                 nucleic acid encapsulation. The increased size could
    nation of C18 : 0 (oleyl) and C18 : 1 (stearyl) analo-             be due to the larger pKa value observed for this
    gues suggests that the oleyl (C18 : 1) lipids are more             formulation (Fig 1). DSDMA containing particles
    effective when used to deliver plasmid DNA                         with a more pronounced positive charge are more
    [9,26,27]. However, while these works suggest this                 likely to interact with small amounts of negatively




                                                                                                         JA001420
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 73 of 1274 PageID #: 8379



                                        J. Heyes et al. / Journal of Controlled Release 107 (2005) 276–287                                    285


                                 N           O
                                                                                                          DSDMA
                                       O




                                 N           O
                                                                                                          DODMA
                                       O




                                 N           O
                                       O
                                                                                                          DLinDMA




                                 N           O
                                       O
                                                                                                          DLenDMA

    Fig. 6. Chemical structures of the cationic lipids incorporated into SNALP. Lipids were synthesized to study the effect of saturation on SNALP
    potency. The series of C18 lipids has a stepwise increase in the number of double bonds in the alkyl domains.



    charged, unencapsulated nucleic acid present in                           however, generates particles with a higher pKa of
    SNALP preparations, thereby increasing the chance                         approximately 7.6. SNALP particles containing
    of particle aggregation. DSDMA was also observed to                       DSDMA would be expected to possess some charge
    have a much higher phase transition temperature than                      at physiological pH.
    the other lipids described in this study (Fig. 2), which                      The significance of saturation with respect to
    would be expected to result in a more rigid bi-layer.                     phase transition temperature was investigated using
                                                                              31
        Our determination of lipid pKa utilized TNS, a                          P-NMR. Lipid polymorphism in anionic phospho-
    negatively charged indicator of membrane potential                        lipid/cationic lipid mixtures has been examined by
    [30]. TNS is electrostatically attracted to positively                    others using this technique, facilitated by the pres-
    charged membranes. Subsequent adsorption to the                           ence of a phosphate group in the phospholipid
    lipid membrane results in the immediate environment                       [23,24]. The shape of the NMR trace varies depend-
    of the TNS becoming more lipophilic, removing the                         ing on the arrangement of the lipids. A bilayer
    water molecules that otherwise quench TNS fluores-                        structure yields a high field peak with a low field
    cence. Since positively charged membranes more read-                      shoulder. However, above the Phase Transition Tem-
    ily absorb TNS, TNS fluorescence is an indicator of                       perature, (Tc), lipids adopt a fusogenic HII phase,
    positive membrane surface charge. The surface pKa                         indicated by a reversed pattern with the peak appear-
    values of each SNALP formulation were determined                          ing on the low field side. By noting the temperature
    by varying the local pH in the presence of TNS. In Fig.                   at which this occurs (Fig. 2), the relative ease with
    1, it can be seen that formulations containing unsatu-                    which the lipids form the HII phase, their
    rated lipids have similar pKa values (6.7 – 7.0) sug-                     dfusogenicityT, can be determined. MLV containing
    gesting that the particles are charge neutral at                          the saturated lipid DSDMA showed no appreciable
    physiological pH but become positively charged at                         sign of adopting the HII phase, even at temperatures
    endosomal pH. This is desirable as it promotes lipid                      as high as 50 8C. However DODMA (1 double bond
    exchange between the SNALP and the anionic com-                           per alkyl chain) containing MLV exhibit a phase
    ponents of the endosomal membrane. The increased                          transition temperature between 30 and 35 8C. The
    frequency of fusion events destabilizes the endosomal                     presence of a 2nd double bond (DLinDMA) reduced
    bilayer, leading to more effective delivery of siRNA to                   the TC still further to between 20 and 25 8C, while
    the cytoplasm [23,31]. The saturated lipid DSDMA,                         incorporation of a 3rd double bond (DLenDMA) has




                                                                                                                         JA001421
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 74 of 1274 PageID #: 8380



    286                            J. Heyes et al. / Journal of Controlled Release 107 (2005) 276–287


    little further effect. We hypothesized that the fuso-                 These results suggest that endocytosis is not rate-
    genicity and thus potency with respect to nucleic                  limiting in gene-silencing in vitro when using encap-
    acid delivery of the corresponding SNALP would de-                 sulated siRNA. In fact, differences in cellular uptake
    monstrate a similar hierarchy (DSDMA bb DODMA b                    appear to have remarkably little impact on formula-
    DLinDMA= DLenDMA).                                                 tion potency. DLinDMA and DLenDMA formula-
        The results of luciferase silencing experiments,               tions, while similar in their ability to inhibit gene
    using SNALP to deliver siRNA directed against the                  expression, are very different in the extent to which
    luciferase gene, largely supported the 31P-NMR data                they are taken up by cells. Conversely, the DSDMA
    (Fig. 3). Cells were treated with SNALP containing                 formulation has almost no capacity for effecting
    each of the four cationic lipids. After 48 h, SNALP                RNA interference, yet it is clearly taken up by
    containing DSDMA, which was shown to be poorly                     cells quite readily. The data suggest that the events
    fusogenic by NMR, had no effect on luciferase gene                 which have the greatest effect on the efficiency of
    expression. In contrast, the unsaturated lipid formula-            gene-silencing occur once the siRNA has been inter-
    tions, which are more amenable to HII phase forma-                 nalized by the cell.
    tion, resulted in significant silencing of the luciferase
    gene. Further, the extent of silencing corresponds with
    the propensity for each cationic lipid to form the                 5. Conclusion
    fusogenic HII phase. DLinDMA, the most fusogenic
    lipid with the lowest apparent phase transition tem-                  In summary, we have synthesized a homologous
    perature, yielded the greatest knockdown when incor-               series of cationic lipids with incremental degrees of
    porated in SNALP, with luciferase expression only                  saturation. We show that the degree of saturation of
    21% that of the untreated control. This was followed               cationic lipids affects lipid pKa, fusogenicity, cellular
    by the DLenDMA formulation (32%), and DODMA                        uptake and gene silencing ability when used to en-
    (54%). The close correspondence between knock-                     capsulate and deliver siRNA. Remarkably, more fuso-
    down efficiency and the HII phase forming ability of               genic cationic lipids are more potent mediators of
    the cationic lipids observed suggests that the two are             RNAi, in spite of their reduced efficiency at mediating
    intrinsically linked.                                              internalization by the cell. This highlights the relative
        Investigating the efficiency of SNALP uptake by                importance of endosomal release of nucleic acid pay-
    incorporation of radiolabelled markers yields further              loads. This knowledge can be used to enhance the
    interesting observations (Fig. 4). It might be expected            efficacy of other lipidic nucleic acid delivery systems
    that SNALP uptake would be related to the pKa of the               and should be considered in the design of delivery
    cationic lipid component; the more positively charged              systems for small molecule drugs.
    particles having a greater affinity for the negatively
    charged cell surface and subsequently greater uptake.
                                                                       Acknowledgements
    This hypothesis is borne out by the results of this
    study. The DSDMA containing formulation, posses-
                                                                          The authors wish to thank Dr Kim Wong of the
    sing the highest pKa (~7.6) is clearly taken up most
                                                                       University of British Columbia for assistance with and
    readily, followed by the DODMA and DLinDMA
                                                                       discussion of 31P-NMR results. They also wish to
    formulations. Curiously, the uptake of the DLenDMA
                                                                       thank Dr. Lloyd Jeffs for helpful discussions regarding
    formulation is limited when compared to that of the
                                                                       the intracellular delivery process.
    DLinDMA formulation given that the pKa of these
    particles are identical. This suggests that another attri-
    bute of these lipids, other than pKa, affects cellular             References
    uptake. This finding is unlikely to be related to differ-
                                                                        [1] E. Ambegia, S. Ansell, P. Cullis, J. Heyes, L. Palmer, I.
    ences in particle stability, since time-course studies
                                                                            MacLachlan, Stabilized plasmid–lipid particles containing
    confirm that the rate of DLenDMA formulation uptake                     PEG-diacylglycerols exhibit extended circulation lifetimes
    is constant over the 24h period, suggesting that the                    and tumor selective gene expression, Biochim. Biophys.
    formulation remains intact in tissue culture media.                     Acta, Biomembr. 1669 (2005) 155 – 163.




                                                                                                             JA001422
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 75 of 1274 PageID #: 8381



                                         J. Heyes et al. / Journal of Controlled Release 107 (2005) 276–287                                   287


     [2] K.W.C. Mok, A.M.I. Lam, P.R. Cullis, Stabilized plasmid-            [17] J.A. Szule, N.L. Fuller, R.P. Rand, The effects of acyl chain
         lipid particles: factors influencing plasmid entrapment and              length and saturation of diacylglycerols and phosphatidylcho-
         transfection properties, Biochim. Biophys. Acta, Biomembr.               lines on membrane monolayer curvature, Biophys. J. 83
         1419 (1999) 137 – 150.                                                   (2002) 977 – 984.
     [3] P. Tam, M. Monck, D. Lee, O. Ludkovski, E. Leng, K. Clow,           [18] C.J. Dekker, W. Vankessel, J.P.G. Klomp, J. Pieters, B.
         H. Stark, P. Scherrer, R.W. Graham, P.R. Cullis, Stabilized              Dekruijff, Synthesis and polymorphic phase-behavior of
         plasmid lipid particles for systemic gene therapy, Gene Ther. 7          poly-unsaturated phosphatidylcholines and phosphatidyletha-
         (2000) 1867 – 1874.                                                      nolamines, Chem. Phys. Lipids 33 (1983) 93 – 106.
     [4] J.J. Wheeler, L. Palmer, M. Ossanlou, I. MacLachlan, R.W.           [19] R.M. Epand, R.F. Epand, N. Ahmed, R. Chen, Promotion of
         Graham, Y.P. Zhang, M.J. Hope, P. Scherrer, P.R. Cullis,                 hexagonal phase formation and lipid mixing by fatty-acids
         Stabilized plasmid-lipid particles: construction and character-          with varying degrees of unsaturation, Chem. Phys. Lipids 57
         ization, Gene Ther. 6 (1999) 271 – 281.                                  (1991) 75 – 80.
     [5] Y.P. Zhang, L. Sekirov, E.G. Saravolac, J.J. Wheeler, P. Tardi,     [20] P.L. Felgner, T.R. Gadek, M. Holm, R. Roman, H.W. Chan,
         K. Clow, E. Leng, R. Sun, P.R. Cullis, P. Scherrer, Stabilized           M. Wenz, J.P. Northrop, G.M. Ringold, M. Danielsen, Lipo-
         plasmid-lipid particles for regional gene therapy: formulation           fection — a highly efficient, lipid-mediated DNA-transfec-
         and transfection properties, Gene Ther. 6 (1999) 1438 – 1447.            tion procedure, Proc. Natl. Acad. Sci. U. S. A. 84 (1987)
     [6] L.B. Jeffs, L. Palmer, E. Ambegia, C. Giesbrecht, S. Ewanick,            7413 – 7417.
         I. MacLachlan, A scalable, extrusion free method for efficient      [21] R.E. Kingston, Current Protocols in Molecular Biology, vol. 2,
         liposomal encapsulation of plasmid DNA, Pharm. Res. 22                   John Wiley and Sons, Inc., 1997, pp. 9.1.4 – 9.1.9.
         (2005) 362 – 372.                                                   [22] M. Bally, L. Mayer, M. Hope, R. Nayar, Liposome Technol-
     [7] I. MacLachlan, P. Cullis, R.W. Graham, Progress towards a                ogy, vol. III, CRC Press, 1993, pp. 27 – 41.
         synthetic virus for systemic gene therapy, Curr. Opin. Mol.         [23] I.M. Hafez, N. Maurer, P. Cullis, On the mechanism whereby
         Ther. 1 (1999) 252 – 259.                                                cationic lipids promote intracellular delivery of polynucleic
     [8] H. Farhood, R. Bottega, R.M. Epand, L. Huang, Effect of catio-           acids, Gene Ther. 8 (2001) 1188 – 1196.
         nic cholesterol derivatives on gene-transfer and protein-kinase-    [24] J. Gaucheron, T. Wong, E.F. Wong, N. Maurer, P.R. Cullis,
         C activity, Biochim. Biophys. Acta 1111 (1992) 239 – 246.                Synthesis and properties of novel tetraalkyl cationic lipids,
     [9] J.H. Felgner, R. Kumar, C.N. Sridhar, C.J. Wheeler, Y.J. Tsai,           Bioconjug. Chem. 13 (2002) 671 – 675.
         R. Border, P. Ramsey, M. Martin, P.L. Felgner, Enhanced gene        [25] J.S. Choi, J.A. MacKay, F.C. Szoka, Low-pH-sensitive PEG-
         delivery and mechanism studies with a novel series of cationic           stabilized plasmid-lipid nanoparticles: preparation and charac-
         lipid formulations, J. Biol. Chem. 269 (1994) 2550 – 2561.               terization, Bioconjug. Chem. 14 (2003) 420 – 429.
    [10] J.Y. Legendre, F.C. Szoka, Delivery of plasmid DNA into             [26] F. Liu, H. Qi, L. Huang, D. Liu, Factors controlling
         mammalian-cell lines using ph-sensitive liposomes— compar-               the efficiency of cationic lipid-mediated transfection in
         ison with cationic liposomes, Pharm. Res. 9 (1992) 1235 – 1242.          vivo via intravenous administration, Gene Ther. 4 (1997)
    [11] X.H. Zhou, L. Huang, Dna transfection mediated by cationic               517 – 523.
         liposomes containing lipopolylysine- characterization and           [27] J.A. Heyes, D. Niculescu-Duvaz, R.G. Cooper, C.J. Springer,
         mechanism of action, Biochim. Biophys. Acta, Biomembr.                   Synthesis of novel cationic lipids: effect of structural modifi-
         1189 (1994) 195 – 203.                                                   cation on the efficiency of gene transfer, J. Med. Chem. 45
    [12] J. Zabner, A.J. Fasbender, T. Moninger, K.A. Poellinger, M.J.            (2002) 99 – 114.
         Welsh, Cellular and molecular barriers to gene transfer by a        [28] R.M. Epand, N. Fuller, R.P. Rand, Role of the position
         cationic lipid, J. Biol. Chem. 270 (1995) 18997 – 19007.                 of unsaturation on the phase behavior and intrinsic cur-
    [13] H. Farhood, N. Serbina, L. Huang, The role of dioleoyl                   vature of phosphatidylethanolamines, Biophys. J. 71 (1996)
         phosphatidylethanolamine in cationic liposome-mediated                   1806 – 1810.
         gene-transfer, Biochim. Biophys. Acta, Biomembr. 1235               [29] G.Q. Wang, S.S. Li, H.N. Lin, E.E. Brumbaugh, C.H. Huang,
         (1995) 289 – 295.                                                        Effects of various numbers and positions of cis double bonds
    [14] D.C. Litzinger, L. Huang, Phosphatidylethanolamine lipo-                 in the sn-2 acyl chain of phosphatidylethanolamine on the
         somes— drug delivery, gene-transfer and immunodiagnostic                 chain-melting temperature, J. Biol. Chem. 274 (1999)
         applications, Biochim. Biophys. Acta 1113 (1992) 201 – 227.              12289 – 12299.
    [15] I. Koltover, T. Salditt, J.O. Radler, C.R. Safinya, An inverted     [30] A. Bailey, P. Cullis, Modulation of membrane fusion by
         hexagonal phase of cationic liposome-DNA complexes related               asymmetric transbilayer distributions of amino lipids, Bio-
         to DNA release and delivery, Science 281 (1998) 78 – 81.                 chemistry 33 (1994) 12573 – 12580.
    [16] M.B. Sankaram, G.L. Powell, D. Marsh, Effect of acyl chain          [31] Y.H. Xu, F.C. Szoka, Mechanism of DNA release from cat-
         composition on salt-induced lamellar to inverted hexagonal               ionic liposome/DNA complexes used in cell transfection, Bio-
         phase-transitions in cardiolipin, Biochim. Biophys. Acta 980             chemistry 35 (1996) 5616 – 5623.
         (1989) 389 – 392.




                                                                                                                        JA001423
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 76 of 1274 PageID #: 8382




                   JOINT APPENDIX 48
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 77 of 1274 PageID #: 8383




                                                                      JA001424
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 78 of 1274 PageID #: 8384




                                                                      JA001425
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 79 of 1274 PageID #: 8385




                                                                      JA001426
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 80 of 1274 PageID #: 8386




                                                                      JA001427
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 81 of 1274 PageID #: 8387




                                                                      JA001428
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 82 of 1274 PageID #: 8388




                                                                      JA001429
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 83 of 1274 PageID #: 8389




                                                                      JA001430
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 84 of 1274 PageID #: 8390




                                                                      JA001431
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 85 of 1274 PageID #: 8391




                                                                      JA001432
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 86 of 1274 PageID #: 8392




                                                                      JA001433
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 87 of 1274 PageID #: 8393




                                                                      JA001434
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 88 of 1274 PageID #: 8394




                                                                      JA001435
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 89 of 1274 PageID #: 8395




                                                                      JA001436
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 90 of 1274 PageID #: 8396




                                                                      JA001437
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 91 of 1274 PageID #: 8397




                                                                      JA001438
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 92 of 1274 PageID #: 8398




                                                                      JA001439
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 93 of 1274 PageID #: 8399




                                                                      JA001440
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 94 of 1274 PageID #: 8400




                                                                      JA001441
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 95 of 1274 PageID #: 8401




                                                                      JA001442
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 96 of 1274 PageID #: 8402




                                                                      JA001443
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 97 of 1274 PageID #: 8403




                                                                      JA001444
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 98 of 1274 PageID #: 8404




                                                                      JA001445
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 99 of 1274 PageID #: 8405




                                                                      JA001446
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 100 of 1274 PageID #: 8406




                                                                       JA001447
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 101 of 1274 PageID #: 8407




                                                                       JA001448
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 102 of 1274 PageID #: 8408




                                                                       JA001449
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 103 of 1274 PageID #: 8409




                                                                       JA001450
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 104 of 1274 PageID #: 8410




                                                                       JA001451
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 105 of 1274 PageID #: 8411




                                                                       JA001452
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 106 of 1274 PageID #: 8412




                                                                       JA001453
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 107 of 1274 PageID #: 8413




                                                                       JA001454
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 108 of 1274 PageID #: 8414




                                                                       JA001455
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 109 of 1274 PageID #: 8415




                                                                       JA001456
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 110 of 1274 PageID #: 8416




                                                                       JA001457
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 111 of 1274 PageID #: 8417




                                                                       JA001458
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 112 of 1274 PageID #: 8418




                                                                       JA001459
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 113 of 1274 PageID #: 8419




                                                                       JA001460
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 114 of 1274 PageID #: 8420




                                                                       JA001461
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 115 of 1274 PageID #: 8421




                                                                       JA001462
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 116 of 1274 PageID #: 8422




                                                                       JA001463
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 117 of 1274 PageID #: 8423




                                                                       JA001464
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 118 of 1274 PageID #: 8424




                                                                       JA001465
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 119 of 1274 PageID #: 8425




                                                                       JA001466
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 120 of 1274 PageID #: 8426




                                                                       JA001467
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 121 of 1274 PageID #: 8427




                                                                       JA001468
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 122 of 1274 PageID #: 8428




                                                                       JA001469
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 123 of 1274 PageID #: 8429




                                                                       JA001470
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 124 of 1274 PageID #: 8430




                                                                       JA001471
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 125 of 1274 PageID #: 8431




                                                                       JA001472
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 126 of 1274 PageID #: 8432




                                                                       JA001473
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 127 of 1274 PageID #: 8433




                                                                       JA001474
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 128 of 1274 PageID #: 8434




                                                                       JA001475
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 129 of 1274 PageID #: 8435




                                                                       JA001476
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 130 of 1274 PageID #: 8436




                                                                       JA001477
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 131 of 1274 PageID #: 8437




                   JOINT APPENDIX 49
     Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 132 of 1274 PageID #: 8438
                                                                       Gene Therapy (1999) 6, 271–281
                                                                        1999 Stockton Press All rights reserved 0969-7128/99 $12.00
                                                                       http://www.stockton-press.co.uk/gt



Stabilized plasmid-lipid particles: construction and
characterization
JJ Wheeler1,2, L Palmer3, M Ossanlou1, I MacLachlan1, RW Graham1, YP Zhang1, MJ Hope1,
P Scherrer1 and PR Cullis1,3
1
 Inex Pharmaceuticals Corporation, Burnaby; and 3Department of Biochemistry and Molecular Biology, University of British
Columbia, Vancouver, BC, Canada




    A detergent dialysis procedure is described which allows           of up to 70% and permits inclusion of ‘fusigenic’ lipids such
    encapsulation of plasmid DNA within a lipid envelope,              as dioleoylphosphatidylethanolamine (DOPE). The in vitro
    where the resulting particle is stabilized in aqueous media        transfection capabilities of SPLP are demonstrated to be
    by the presence of a poly(ethyleneglycol) (PEG) coating.           strongly dependent on the length of the acyl chain con-
    These ‘stabilized plasmid-lipid particles’ (SPLP) exhibit an       tained in the ceramide group used to anchor the PEG poly-
    average size of 70 nm in diameter, contain one plasmid             mer to the surface of the SPLP. Shorter acyl chain lengths
    per particle and fully protect the encapsulated plasmid from       result in a PEG coating which can dissociate from the
    digestion by serum nucleases and E. coli DNase I. Encap-           SPLP surface, transforming the SPLP from a stable par-
    sulation is a sensitive function of cationic lipid content, with   ticle to a transfection-competent entity. It is suggested that
    maximum entrapment observed at dioleoyldimethylam-                 SPLP may have utility as systemic gene delivery systems
    monium chloride (DODAC) contents of 5 to 10 mol%. The              for gene therapy protocols.
    formulation process results in plasmid-trapping efficiencies

    Keywords: plasmid encapsulation; nonviral gene delivery; intracellular delivery; gene therapy; liposomes



Introduction                                                           following intravenous injection can be achieved by
                                                                       encapsulation of these drugs in large unilamellar vesicles
Currently available gene delivery systems for gene ther-               (LUVs) exhibiting a small size (⬍100 nm diameter) and
apy protocols have limited utility for systemic appli-                 extended circulation lifetimes (circulation half-life in mice
cations. Viral systems, for example, are rapidly cleared               ⬎5 h).7–9 The accumulation of these drug delivery sys-
from the circulation, limiting potential transfection sites            tems at disease sites, which includes sites of infection and
to ‘first-pass’ organs such as the lungs, liver and spleen.            inflammation as well as tumors, has been attributed
In addition, these systems induce immune responses
                                                                       to enhanced permeability of the local vasculature in
which compromise transfection resulting from sub-
                                                                       diseased tissue.10
sequent injections. In the case of nonviral systems such as
                                                                          A gene delivery system containing an encapsulated
plasmid DNA–cationic lipid complexes (lipoplexes), the
                                                                       plasmid for systemic applications should therefore be
large size and positively charged character of these
aggregates also result in rapid clearance, and the highest             small (⬍100 nm diameter) and must exhibit extended cir-
expression levels are again observed in first-pass organs,             culation life-times to achieve enhanced delivery to dis-
particularly the lungs.1–4 Plasmid DNA–cationic lipid                  ease sites. This requires a highly stable, serum-resistant
complexes can also result in toxic side-effects both in                plasmid-containing particle that does not interact with
vitro5 and in vivo.6                                                   cells and other components of the vascular compartment.
   The need for a gene delivery system for treatment of                In order to maximize transfection after arrival at a disease
systemic disease is obvious. For example, for cancer gene              site, however, the particle should interact readily with
therapy there is a vital need to access metastatic disease             cells at the site, and should have the ability to destabilize
sites, as well as primary tumors. Similar considerations               cell membranes to promote intracellular delivery of the
apply to other systemic disorders, such as inflammatory                plasmid. In this work, we show that a straightforward
diseases. The design features for lipid-based delivery sys-            detergent dialysis procedure can produce stabilized plas-
tems that preferentially access such disease sites are                 mid-lipid particles (SPLP) which satisfy the demands of
increasingly clear. It is now generally recognized that                plasmid encapsulation, small size and serum stability.
preferential delivery of anticancer drugs to tumor sites               Furthermore, we show that the transfection properties of
                                                                       these systems can be modulated by employing
                                                                       poly(ethyleneglycol) (PEG) coatings which can dissociate
Correspondence: P Scherrer, Inex Pharmaceuticals, 100–8900 Glenlyon    from the SPLP, transforming the particle from a stable
Parkway, Burnaby, BC, Canada V5J 5J8                                   particle to a transfection-competent entity.
2
  Present address: Kinetek Pharmaceuticals, 1779 West 75th Avenue,
Vancouver, BC, V6P 6P2, Canada
Received 24 April 1998; accepted 22 September 1998



                                                                                                                                       JA001478
  Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 133 of 1274 PageID #: 8439
                                            Stabilized plasmid-lipid particles
                                                              JJ Wheeler et al

272
      Results
      Entrapment of plasmid DNA into lipid particles by
      employing detergent dialysis
      Previous work has shown that incubation of plasmid
      DNA with cationic lipids can result in a hydrophobic par-
      ticle which is soluble in organic solvent.11 It is of interest
      to determine whether this hydrophobic particle can be
      surrounded by an outer monolayer of lipid, which would
      then result in small, plasmid-containing particles stabil-
      ized in an aqueous medium. Detergent dialysis is a logi-
      cal technique for achieving this, as the detergent may be
      expected to solubilize the hydrophobic plasmid DNA-
      cationic lipid particles. The addition of phospholipid and
      subsequent removal of detergent by dialysis could then
      result in the exchange of the solubilizing detergent
      with phospholipid, leaving particles which are stable in
      aqueous suspension.
         Initial experiments employed the cationic lipid
      DODAC, the plasmid pCMVCAT, the non-ionic deter-
      gent octylglucopyranoside (OGP) and the bilayer-for-
      ming lipid palmitoyloleoylphosphatidylcholine (POPC).
      When DODAC was added to plasmid in distilled water,
      the formation of large (⬎1000 nm diameter) precipitates
      was observed. However, the subsequent addition of OGP
      (200 mm) resulted in solubilization of the precipitate, for-
      ming an optically clear suspension consistent with
      entrapment of hydrophobic plasmid DNA-cationic lipid
      particles within detergent micelles. This optically clear
      quality was maintained when POPC solubilized in OGP
      was added. However, during dialysis to substitute the
      detergent associated with the particles for POPC, exten-
      sive precipitation of the suspension was observed. A
      method to stabilize the plasmid-containing particles
      against aggregation and precipitation during the dialysis
      process was therefore required.
         Previous studies have shown that a PEG coating can
      prevent aggregation of LUVs induced by covalent coup-
      ling of protein to the surface of the LUVs,12 and can
      inhibit fusion between LUVs.13 It was therefore of interest
      to determine whether the stabilizing properties of a PEG
      coating could prevent aggregation during dialysis. How-
      ever, the use of the standard PEG-phosphatidylethanola-
      mine (PEG-PE) was contraindicated because the PEG-PE                       Figure 1 Effect of DODAC concentration on the encapsulation efficiency
      molecule bears a net negative charge and could displace                    of plasmid DNA (pCMVCAT) in SPLP. (a) Lipid composition POPC,
                                                                                 DODAC and 10 mol% PEG-CerC20. (b) Lipid composition DOPE,
      the cationic lipid from the plasmid, as has been noted for                 DODAC and 10 mol% PEG-CerC20. Lipid (10 mg/ml total), dissolved in
      other negatively charged lipids.14 As a result, PEG2000 was                octylglucoside (0.2 m), was mixed with plasmid DNA (50 ␮g/ml) in a
      linked to ceramide as the hydrophobic anchor to produce                    total volume of 1 ml to form an optically clear solution. This was then
      a neutral molecule. Two ceramide anchors were synthe-                      placed in a dialysis tube (12–14 000 molecular weight cutoff) and dialyzed
      sized which differed in the length of the ceramide acyl                    against HBS for 36 h at 20°C. Encapsulation efficiency was determined
      chain (CerC14 and CerC20). When 10 mol% PEG-CerC20                         following removal of unencapsulated plasmid by anion exchange chroma-
                                                                                 tography, as outlined in Materials and methods.
      was incorporated in the detergent mixture with POPC,
      DODAC and plasmid DNA, precipitation was not
      observed during detergent dialysis. Further, a proportion                  detergent dialysis employing a POPC/DODAC/PEG-
      of the plasmid was encapsulated, as measured by recov-                     CerC20 (79:11:10; mol:mol:mol) lipid mixture. However, it
      ery of DNA after elution on a DEAE-Sepharose CL-6B                         has been shown that when POPC is employed as a ‘help-
      anion exchange column. As shown in Figure 1a, the                          er’ lipid in plasmid DNA–cationic lipid complexes, very
      encapsulation achieved is a sensitive function of the                      low transfection rates are observed, whereas when
      DODAC content, with encapsulation levels of 30% or                         dioleoylphosphatidylethanolamine (DOPE) is present,
      higher at about 9% to 12% DODAC. It should be noted                        much higher transfection rates are achieved.15 The encap-
      that addition of plasmid to preformed vesicles with the                    sulation properties of DOPE/DODAC/PEG-CerC20 lipid
      same lipid composition, followed by DEAE chromato-                         mixtures were therefore investigated. As shown in
      graphy, resulted in complete plasmid retention on the                      Figure 1b, as the DODAC content was varied, an encap-
      column.                                                                    sulation profile for DOPE-containing systems similar to
         These results suggest that SPLP can be produced by                      that obtained for the POPC-containing systems was


                                                                                                                             JA001479
   Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 134 of 1274 PageID #: 8440
                                                                              Stabilized plasmid-lipid particles
                                                                              JJ Wheeler et al

                                                                                                                                                           273
observed. Significant differences are that maximum                            Plasmid DNA in stabilized plasmid-lipid particles is
encapsulation was greater (approximately 70%) for the                         protected from DNase I and serum nucleases
DOPE-containing system and that optimum encapsul-                             It is important to demonstrate that the ‘encapsulated’
ation was observed at about 6 mol% DODAC, compared                            plasmid in the particles obtained by the detergent dialy-
with approximately 9% DODAC for the POPC-containing                           sis process is, in fact, fully protected from the external
particles. If PEG-CerC14 was substituted for PEG-CerC20                       environment. As a first measure of protection, the ability
very similar plasmid encapsulation behavior was                               of DNase I to digest plasmid DNA in DOPE-containing
observed.                                                                     particles was examined. SPLP were prepared for the
   In subsequent experiments DOPE/DODAC/PEG-Cer                               DOPE/DODAC/PEG-CerC20 (84:6:10; mol:mol:mol) lipid
formulations were employed containing 6 mol%                                  mixture and pCMVLuc (200 ␮g/ml). Protection of plas-
DODAC. For this fixed DODAC content, some batch-to-                           mid in the SPLP was compared to protection of plasmid
batch variability of encapsulation efficiency (typically                      in complexes with DODAC-DOPE (1:1; mol:mol) LUVs
over the range 50–70%) was observed when different                            and to free plasmid. Samples containing 1 ␮g plasmid
batches of plasmid were employed. This variability                            were exposed to 0, 100 and 1000 units of DNase I for
resulted from small changes (up to ±1 mol%) in the                            30 min at 37°C. After incubation the plasmid was isolated
DODAC concentration required for maximum encapsul-                            as described in Materials and methods and characterized
ation efficiency for different plasmid batches. Other fac-                    by agarose gel electrophoresis. As shown in Figure 2, free
tors which may influence encapsulation efficiency                             plasmid is completely digested by incubation with both
include the amount of the plasmid present and the size                        100 and 1000 units of DNase I. The plasmid complexed
of the plasmid. The plasmid (pCMVCAT) concentration                           with cationic LUVs is somewhat protected compared
was varied over the range 25 to 400 ␮g/ml employing the                       with free DNA when exposed to 100 units of DNase I,
DOPE/DODAC/PEG-CerC20 (84:6:10; mol:mol:mol) lipid                            but is almost entirely digested by incubation with
mixture at a fixed total lipid concentration of 10 mg/ml.                     1000 units. In contrast, plasmid DNA in the SPLP is
Encapsulation efficiencies of more than 50% were achi-                        digested only when detergent is added to disrupt the
eved over this range (data not shown). In addition, at                        SPLP before incubation with DNase I.
a plasmid concentration of 400 ␮g/ml, similar levels of                          A rigorous test of SPLP stability and protection of
entrapment were observed for plasmids of 4.49 and 10                          encapsulated plasmid involves incubation in serum.
kbp in length (data not shown).                                               Serum contains a variety of nucleases, and serum pro-
   It is important to show that the detergent dialysis pro-                   teins can rapidly associate with lipid systems,16 resulting
cess does not inhibit the transfection potential of the                       in enhanced leakage and rapid clearance of liposomal
encapsulated plasmid. In order to test this, the plasmid                      systems. The ability of serum nucleases to degrade plas-
was extracted from SPLP as described in Materials and                         mid is illustrated in Figure 3a. Intact pCMVCAT elutes
methods. Characterization of the extracted DNA by aga-                        in the void volume of the Sepharose CL-4B column,
rose gel electrophoresis indicated no DNA degradation                         whereas after incubation with mouse serum (90%) at
or plasmid relaxation relative to the starting material.                      37°C for 30 min the plasmid is degraded into fragments
Furthermore, the luciferase activity measured in cells fol-                   which elute in the included volume. The behavior of the
lowing transfection (mediated by calcium phosphate)                           DOPE/DODAC/PEG-CerC20 (84:6:10; mol:mol:mol)
with plasmid extracted from SPLP was equivalent to the                        SPLP system where non-encapsulated plasmid has not
activity observed for plasmid which had not undergone                         been removed is shown in Figure 3b. In this particular
encapsulation, with activities of 0.44 ± 0.15 ng and                          preparation, 53% of the plasmid DNA elutes with the
0.35 ± 0.2 ng, respectively for 0.5 ␮g plasmid per well.                      lipid in the void volume and 47% of the DNA, which




Figure 2 Stability of free plasmid, plasmid encapsulated in SPLP and plasmid in plasmid DNA–cationic lipid complexes in the presence of DNase I.
Each of the sample types was subjected to six different protocols, giving rise to six lanes for each sample. These protocols consisted of no exposure to
DNase I or detergent (lanes 1, 7, 13), exposure to detergent alone (lanes 2, 8, 14), exposure to 100 and 1000 units of DNase I alone (lanes 3, 9, 15
with 100 units and lanes 5, 11, 17 with 1000 units) and exposure to both detergent and DNase I (lanes 4, 10, 16 with 100 units and lanes 6, 12, 18
with 1000 units). These experiments utilized 1 ␮g of plasmid DNA (pCMVLuc), 1% Triton X-100 and 100 or 1000 units of DNase I. These components
were combined in a total volume of 100 ␮l of 5 mm HBS and 10 mm MgCl2, and incubated for 30 min at 37°C before preparation for gel electrophoresis
as outlined in Materials and methods. The plasmid DNA–cationic lipid complexes were prepared as indicated in Materials and methods and consisted
of DODAC:DOPE (50:50; mol:mol) LUVs (100 nm diameter) complexed to plasmid at a 3:1 charge ratio (positive-to-negative).



                                                                                                                                      JA001480
  Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 135 of 1274 PageID #: 8441
                                                   Stabilized plasmid-lipid particles
                                                                     JJ Wheeler et al

274




                                                                                        Figure 4 Separation of SPLP from empty vesicles by discontinuous
                                                                                        sucrose density gradient centrifugation. The solid circles indicate the
                                                                                        behavior of the 3H-labeled plasmid (pCMVLuc), whereas the open circles
                                                                                        indicate the distribution of lipid as reported by the 14C-labeled CHE lipid
                                                                                        marker. SPLP (DOPE/DODAC/PEG-CerC20; 84:6:10; mol:mol:mol) were
                                                                                        prepared as indicated in the legend to Figure 1, and an aliquot (1.5 ml
                                                                                        containing approximately 50 ␮g of 3H-plasmid DNA) was applied to a
                                                                                        discontinuous sucrose density gradient (3 ml 10% sucrose, 3 ml 2.5%
                                                                                        sucrose, 3 ml 1% sucrose; all in HBS). The gradient was then centrifuged
                                                                                        at 160 000 g for 2 h.


                                                                                          A final test of the stability of the SPLP formulation is
                                                                                        given in Figure 3c, which shows the elution profile of the
                                                                                        DOPE/DODAC/PEG-CerC20 (84:6:10; mol:mol:mol)
                                                                                        SPLP system following removal of the external plasmid
                                                                                        by DEAE chromatography and incubation in 90% mouse
                                                                                        serum (30 min at 37°C). In this case more than 95% of
                                                                                        plasmid applied to the column eluted in the void volume,
                                                                                        demonstrating the stability and the plasmid protection
                                                                                        properties of the SPLP formulation. It should also be
                                                                                        noted that SPLP containing PEG-CerC14, in place of PEG-
                                                                                        CerC20, exhibited similar plasmid protection properties.

                                                                                        Stabilized plasmid-lipid particles can be isolated by
                                                                                        density centrifugation
      Figure 3 Plasmid in SPLP is protected from serum nuclease cleavage. The           The detergent dialysis process clearly results in plasmid-
      stability of plasmid (pCMVCAT) in the free form or encapsulated in SPLP           containing particles where the plasmid is protected from
      was determined in the presence of serum. The SPLP (DOPE/DODAC/                    the external environment. However, it is likely that
      PEG-CerC20; 84:6:10; mol:mol:mol) were prepared as indicated in the leg-
      end to Figure 1 and contained 14C-labeled CHE as a lipid marker. Samples          empty vesicles are also produced, as detergent dialysis
      with 5 ␮g of 3H-labeled plasmid DNA were incubated in the presence of             of lipids (in the absence of plasmid) is well known to
      HBS or 90% mouse serum for 30 min at 37°C and eluted on a Sepharose               result in the formation of small lipid vesicles.17 These
      CL-4B column equilibrated in HBS. (a) Elution profile of nucleic acid             empty vesicles may be expected to be less dense than
      resulting from incubation of free plasmid in HBS (䊉) or 90 % mouse                SPLP.      The     density     gradient     profile     of   a
      serum (䊊). (b) Elution profile of nucleic acid (䊉) and lipid (䊊) following        DOPE/DODAC/PEG-CerC20 (84:6:10; mol:mol:mol)
      incubation of SPLP in 90% mouse serum. (c) Elution profile of nucleic
      acid (䊉) and lipid (䊊) following incubation of SPLP with mouse serum              SPLP preparation (plasmid-to-lipid ratio of 200 ␮g DNA
      where unencapsulated plasmid was removed by anion exchange chromato-              to 10 mg lipid) was therefore examined employing
      graphy before the serum treatment.                                                sucrose density step gradient centrifugation. As shown
                                                                                        in Figure 4, after centrifugation at 160 000 g for 2 h, the
      represents degraded plasmid, elutes in the included vol-                          encapsulated DNA is present as a band which was
      ume. This indicates that 53% of the plasmid is encapsu-                           localized at the 2.5% sucrose-10% sucrose interface in the
      lated and protected from the external environment, in                             step gradient. It is interesting to note that less than 10% of
      good agreement with a 55% trapping efficiency of this                             the total lipid (as assayed by the 3H-CHE lipid marker) is
      sample as determined by DEAE ion exchange chromato-                               associated with the plasmid DNA, which corresponds to
      graphy.                                                                           55% of the total DNA. The plasmid-to-lipid ratio in these


                                                                                                                                    JA001481
   Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 136 of 1274 PageID #: 8442
                                                                           Stabilized plasmid-lipid particles
                                                                           JJ Wheeler et al

                                                                                                                                                      275
purified SPLP was determined (as indicated in Materials
and methods) to be 62.5 ␮g plasmid per ␮mol lipid. It
was found that SPLP generated by detergent dialysis and
purified by density gradient centrifugation may be con-
centrated by dialysis against carboxymethyl cellulose to
achieve plasmid concentrations of 1 mg/ml or higher.

Stabilized plasmid-lipid particles exhibit a narrow size
distribution
The sizes of the empty lipid vesicles in the upper band
and the isolated SPLP in the lower band of the sucrose
density gradient were examined by quasi-elastic light
scattering    (QELS)     and     freeze–fracture   electron
microscopy techniques. As shown in Figure 5, the QELS
analysis indicated that the mean diameter of the empty
vesicles was approximately 44 nm (␹2 = 0.48), whereas the
isolated SPLP were larger, with a mean diameter of
75 nm (␹2 = 0.14). Freeze–fracture electron microscopy
studies gave similar results (Figure 6). A size analysis of
the particles in these micrographs indicated a size of
36 ± 15 nm for the empty vesicles and 64 ± 9 nm for the
isolated SPLP.




                                                                           Figure 6 Freeze–fracture electron microscopy of purified SPLP and empty
                                                                           vesicles. SPLP containing pCMVLuc were prepared as indicated in the
                                                                           legend to Figure 1 and separated into (a) empty vesicles and (b) SPLP
                                                                           employing discontinuous sucrose density gradient centrifugation. The bar
                                                                           indicates 200 nm. For details of sample preparation and electron
                                                                           microscopy, see Materials and methods.


                                                                           In vitro transfection properties of stabilized plasmid-lipid
                                                                           particles
                                                                           SPLP consisting of DOPE/DODAC/PEG-CerC20 (84:6:10)
                                                                           containing pCMVLuc coding for the luciferase reporter
                                                                           gene were prepared for transfection studies. As shown
                                                                           in Figure 7, after incubation of these SPLP with COS-7
                                                                           cells for 24 h, little if any transfection activity was
                                                                           observed. It is probable that the presence of the PEG coat-
                                                                           ing on the SPLP inhibits the association and fusion of the
                                                                           SPLP with cells in the same manner that PEG coatings
                                                                           inhibit fusion between lipid vesicles,13 and thus inhibit
                                                                           intracellular delivery of the encapsulated plasmid. In this
                                                                           regard, previous studies13 on LUVs with PEG coatings
                                                                           attached to phosphatidylethanolamine (PE) anchors have
                                                                           demonstrated that, for PE anchors containing short acyl
                                                                           chains, the PEG-PE can rapidly exchange out of the LUV,
Figure 5 Size distribution of SPLP and empty vesicles as determined by     rendering the LUVs increasingly able to interact and fuse
QELS. SPLP were prepared containing pCMVLuc as indicated in the            with each other. The transfection properties of SPLP con-
legend to Figure 1, and separated from empty vesicles by discontinuous     taining PEG-CerC20 were therefore compared to SPLP
sucrose density gradient centrifugation. (a) Size distribution for empty
vesicles (upper band). (b) Size distribution for SPLP (lower band). The
                                                                           containing PEG-CerC14, which has a shorter acyl chain.
sizes were determined by quasi-elastic light scattering using a Nicomp     As shown in Figure 7, after incubation with COS-7 cells
(Santa Barbara, CA, USA) model 370 sub-micron particle sizer operating     for 24 h, the SPLP containing PEG-CerC14 exhibits sub-
in the solid particle mode.                                                stantially higher levels of transfection compared with the


                                                                                                                                 JA001482
  Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 137 of 1274 PageID #: 8443
                                                    Stabilized plasmid-lipid particles
                                                                      JJ Wheeler et al

276
                                                                                         ases, exhibit high DNA-to-lipid ratios (62.5 ␮g/␮mol)
                                                                                         and can be concentrated to achieve high plasmid DNA
                                                                                         concentrations (1 mg/ml). Furthermore, the detergent
                                                                                         dialysis procedure is a gentle procedure that results in
                                                                                         little, if any, plasmid degradation.
                                                                                            These features of SPLP contrast favorably with pre-
                                                                                         vious plasmid encapsulation procedures. Plasmid DNA
                                                                                         has been encapsulated by a variety of methods, including
                                                                                         reverse phase evaporation,18–20 ether injection,21,22 deter-
                                                                                         gent dialysis in the absence of PEG stabilization,20,21 lipid
                                                                                         hydration and dehydration–rehydration techniques25–27
                                                                                         and sonication,28–30 among others. The characteristics of
                                                                                         these protocols are summarized in Table 1. None of these
                                                                                         procedures yields small, serum-stable particles at high
                                                                                         plasmid concentrations and plasmid-to-lipid ratios
                                                                                         in combination with high plasmid-encapsulation
      Figure 7 Effect of PEG-Cer coating of SPLP on transfection activity in             efficiencies. Trapping efficiencies comparable with the
      vitro.    Plasmid     (pCMVLuc)        was     encapsulated     in    SPLP         SPLP procedure can be achieved employing methods
      (DOPE/DODAC/PEG-Cer; 84:6:10; mol/mol/mol) containing PEG-                         relying on sonication. However, sonication is a harsh
      CerC20 (䊊) or PEG-CerC14 (䊉). Non-encapsulated plasmid was removed
      by anion exchange chromatography, as indicated in Materials and                    technique which can shear nucleic acids.31 Size ranges of
      methods. The SPLP preparation (1 ␮g plasmid) was then added to COS-                100 nm diameter or less can be achieved by reverse phase
      7 cells at a density of 2 x 104 per 24-well plate. The cells were incubated        techniques; however, this requires an extrusion step
      with the SPLP for the times indicated, and luciferase activity was meas-           through filters with 100 nm or smaller pore size which
      ured as indicated in Materials and methods.                                        can often lead to significant loss of plasmid. Finally, it
                                                                                         may be noted that the plasmid DNA-to-lipid ratios that
                                                                                         can be achieved for SPLP are significantly higher than
      system containing PEG-CerC20. This is consistent with the                          those achievable by any other encapsulation procedure.
      ability of the PEG-CerC14 coating to diffuse away from                                With regard to the structure of SPLP, any model must
      the SPLP surface. The SPLP containing either PEG-CerC14                            take into account two important observations. First, SPLP
      or PEG-CerC20 exerted no apparent toxic effects on the                             form only at a critical cationic lipid content of approxi-
      cells as evaluated by monitoring protein content in the                            mately 6 mol%. At higher cationic lipid contents, aggre-
      cell extract.                                                                      gation is observed, whereas lower cationic lipid contents
         In order to determine whether the improved transfec-                            lead to little or no plasmid encapsulation. Second, pur-
      tion properties of SPLP containing PEG-CerC14 as com-                              ified SPLP exhibit a plasmid DNA-to-lipid ratio of
      pared with SPLP containing PEG-CerC20 could be related                             62.5 ␮g/␮mol. For a 4.49 kbp (pCMVCAT) plasmid, this
      to a faster dissociation rate from the SPLP surface, the                           corresponds to a plasmid-to-particle ratio of 0.97 for an
      dissociation rates at 37°C of radiolabeled PEG-CerC14 and                          SPLP diameter of 70 nm (the average of the freeze–frac-
      PEG-CerC20 from 100 nm diameter large unilamellar ves-                             ture electron microscopy and QELS results), assuming a
      icles (LUV) composed of egg phosphatidylcholine (EPC)                              lipid molecular area32 of 0.67 nm2 and an average nucleo-
      were measured as indicated in Materials and methods. It                            tide molecular weight of 330. It may therefore be con-
      should be noted that it is difficult to measure the dis-                           cluded that SPLP contain one plasmid per particle.
      sociation rate of PEG-Cer from the surface of SPLP con-                               The model that guided the construction of SPLP relied
      taining DOPE as the stability of these SPLP is dependent                           on the hypothesis that the plasmid combines with the cat-
      on the presence of the PEG-Cer coating. It was found that                          ionic lipid to form a hydrophobic ‘inverted micellar’
      PEG-CerC20 dissociated very slowly, with more than 90%                             structure that is stabilized in aqueous media by the deter-
      remaining with the SPLP after 48 h incubation, corre-                              gent. In this model the addition of DOPE and PEG-Cer
      sponding to a half-time for dissociation of t1/2 ⬎ 13 days.                        and subsequent dialysis results in deposition of a mono-
      In contrast, PEG-CerC14 rapidly dissociated from the                               layer of DOPE and PEG-Cer around the hydrophobic
      outer monolayer of the LUV with t1/2 = 1.1 ± 0.3 h.                                intermediate, resulting in a stabilized plasmid-lipid par-
                                                                                         ticle. It is instructive to perform some simple calculations
                                                                                         to see whether this model is consistent with experimental
      Discussion                                                                         observations. In particular, if each negative charge on the
      This study presents a new method of encapsulating plas-                            plasmid has a cationic lipid associated with it, the total
      mid DNA in small, stable particulate systems that may                              volume of each hydrophobic plasmid-cationic lipid par-
      find utility as gene delivery vehicles. Of particular inter-                       ticle can be calculated to be approximately 1.35 x 104 nm3
      est are the relationship between properties of SPLP and                            for a 4.49 kbp plasmid. This calculation assumes that
      other lipid-based systems containing plasmids, the struc-                          plasmid DNA has a density of 1.7 g/ml, the molecular
      ture of SPLP and the potential utility of SPLP with                                weight of each base is 330, and that, as an upper limit,
      exchangeable PEG coatings. We discuss these areas in                               the volume per molecule of the cationic lipid is 1.5 nm3,
      turn.                                                                              which is the volume of a liquid crystalline bilayer-
         The SPLP protocol for plasmid entrapment allows trap-                           forming lipid such as dioleoylphosphatidylcholine (lipid
      ping efficiencies of up to 70% and results in stable par-                          length 2.2 nm and area per molecule 0.67 nm2).32 Thus, if
      ticles containing low levels of cationic lipids and high lev-                      each SPLP contained one pCMVCAT plasmid completely
      els of fusigenic lipids, such as DOPE. These particles are                         neutralized by associated cationic lipid and arranged in
      small (⬍100 nm diameter), are resistant to external nucle-                         a spherical conformation, the predicted diameter would


                                                                                                                             JA001483
   Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 138 of 1274 PageID #: 8444
                                                                                  Stabilized plasmid-lipid particles
                                                                                  JJ Wheeler et al

                                                                                                                                                                   277




Figure 8 Model of the formation and possible structure of SPLP. The first stage of dialysis is proposed to result in formation of macromolecular lipid
intermediates, which may be in the form of lamellar sheets, cylindrical micelles or leaky vesicles.33,34 If the cationic lipid content is too low (left panel),
plasmid does not associate with these intermediates as dialysis proceeds, leading to formation of empty vesicles and free plasmid. At higher cationic lipid
contents plasmid associates with the lipid intermediates, drawn here as a bilayer sheet wrapped around the plasmid. If the cationic lipid content is at
a critical level the presence of the plasmid reduces the net positive surface charge of the lipid intermediate to the extent that further association of plasmid
is inhibited. As dialysis proceeds further, additional lipid would be expected to condense on this structure, leading to formation of a vesicle containing
encapsulated plasmid, as indicated. In addition, empty vesicles and free plasmid would be expected. At high cationic lipid contents (right panel), the
surface charge on the lipid intermediate structures is so high that two or more plasmids can associate with a given membrane sheet, leading to the
formation of large aggregates.




be approximately 30 nm. The freeze–fracture electron                              entrapment following detergent dialysis. At high concen-
microscopy results presented here indicate that SPLP                              trations of cationic lipid, intermediate structures may be
containing the pCMVCAT plasmid exhibit a diameter of                              expected to associate with the plasmid and, if the cationic
approximately 70 nm, and are therefore too large to be                            lipid content is too high, plasmid-lipid-plasmid associ-
composed solely of a plasmid-lipid particle with no                               ation could dominate as dialysis proceeds, leading to for-
interior aqueous volume.                                                          mation of aggregates (Figure 8, right panel).
   An alternative working model for SPLP formation and                               If the cationic lipid content is at a critical level (Figure
structure is shown in Figure 8. It is unlikely that plasmid                       8, central panel), the positive surface charge on the plas-
associates directly with the micelles, as the presence of                         mid-associated intermediates will be reduced below that
high levels of detergent may be expected to dilute the                            needed to associate with other plasmids, due to charge
positive surface charge due to the cationic lipid to the                          neutralization. This would mitigate against further aggre-
extent that electrostatic association is reduced. A prob-                         gation. Further dialysis will result in fusion between
able first step of the dialysis process is the formation of                       intermediates eventually to produce empty vesicles or in
macromolecular lipid intermediates, which may include                             fusion between intermediates and the plasmid-lipid par-
cylindrical micelles, lamellar sheets or leaky vesicles that                      ticle. Fusion with the particle will result in the deposition
form as detergent is removed. These structures have been                          of excess bilayer lipid, leading to the formation of an
observed as intermediates in the micelle to vesicle tran-                         associated vesicle in the final SPLP. In the structure
sition undergone by dispersions of egg phosphatidylcho-                           presented, the plasmid is associated with the inner mono-
line as detergent (OGP) is removed by dialysis.33,34 These                        layer of the vesicle that is produced as more lipid is
structures are represented in Figure 8 as lamellar sheets                         deposited in the particle. It should be noted that the
by way of example. As shown in the left panel of Figure                           forces driving a partial removal of the plasmid lipid coat
8, low concentrations of cationic lipid would result in                           are not clear, and it is possible that the plasmid resides
little association of plasmid with these intermediate                             in a hydrophobic domain inside the particle.
structures, which is consistent with little or no plasmid                            The final area of discussion concerns the potential util-


                                                                                                                                             JA001484
                       Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 139 of 1274 PageID #: 8445




                                                                                                                                                                                          278
Table 1 Procedures for encapsulating plasmid in lipid-based systems

Procedure                              Lipid composition                        Length of DNA                        Trapping            DNA-to-lipid-ratioa          Diameter
                                                                                                                         efficiencya

Reverse phase evaporation18            PS or PS:Chol (50:50)                    SV40 DNA                                  30–50%          ⬍4.2 ␮g/␮mol                400 nm
Reverse phase evaporation19            PC:PS:Chol (40:10:50)                    11.9 kbp plasmid                          13–16%          0.23 ␮g/␮mol            100 nm to 1 ␮m
Reverse phase evaporation20            PC:PS:Chol (50:10:40)                    8.3 kbp, 14.2 kbp plasmid                   10%           0.97 ␮g/␮mol                  ND




                                                                                                                                                                                                Stabilized plasmid-lipid particles
Reverse phase evaporation41            EPC:PS:Chol (40:10:50)                   3.9 kbp plasmid                             12%           0.38 ␮g/␮mol                400 nm
Ether injection21                      EPC:EPG (91:9)                           3.9 kbp plasmid                            2–6%             ⬍1 ␮g/␮mol              0.1–1.5 ␮m;
Ether injection22                      PC:PS:Chol (40:10:50)                    3.9 kbp plasmid                             15%             15 ␮g/␮mol                  ND
                                       PC:PG:Chol (40:10:50)
Detergent dialysis23                   EPC:Chol:stearylamine (43.5:5:43.5:13)   sonicated genomic DNA (250 000 mw)          11%            0.26 ␮g/␮mol                  50 nm
Detergent dialysis, extrusion24        DOPC:Chol:oleic acid or                  4.6 kbp plasmid                           14–17%           2.25 ␮g/␮mol            180 nm (DOPC)




                                                                                                                                                                                                                  JJ Wheeler et al
                                       DOPE:Chol:oleic acid (40:40:20)                                                                                              290 nm (DOPE)
Lipid hydration25                      EPC:Chol (65:35) or EPC                  3.9 kbp, 13 kbp plasmid                     ND                  ND                    0.5–7.5 ␮m
Dehydration–rehydration, extrusion     Chol:EPC:PS (50:40:10)                   ND                                          ND         0.83 ␮g/␮mol (200 nm)   142.5 nm (200 nm filter)
(400 or 200 nm filters)26                                                                                                              1.97 ␮g/␮mol (400 nm)    54.6 nm (400 nm filter,
                                                                                                                                                                 ultracentrifugation)
Dehydration–rehydration27              EPC                                      2.96 kbp, 7.25 kbp plasmid                35–40%         2.65–3.0 ␮g/␮mol               1–2 ␮m
Sonication (in the presence of         asolectin (soybean phospholipids)        1.0 kbp linear DNA                         50%             0.08 ␮g/␮mol               100–200 nm
lysozyme)28
Sonication29                           EPC:Chol:lysine-DPPE (55:30:15)          6.3 kb ssDNA                         60–95% ssDNA 13 ␮g/␮mol ssDNA;                  100–150 nm
                                                                                1.0 kb dsRNA                         80–90% dsRNA 14 ␮g/␮mol dsRNA
Spermidine-condensed DNA,              EPC:Chol:PS (40:50:10)                   4.4 kbp, 7.2 kbp plasmid                 46–52%    2.53–2.87 ␮g/␮mol                 400–500 nm
sonication, extrusion30                EPC:Chol:EPA (40:50:10)
                                       or EPC:Chol:CL (50:40:10)
Ca2+-EDTA entrapment of DNA–           PS:Chol (50:50)                          42.1 kbp bacteriophage                    52–59%            22 ␮g/␮mol                   ND
protein complexes42
Freeze–thaw, extrusion43               POPC:DDAB (99:1)                         3.4 kbp linear plasmid                    17–50%                ND                   80–120 nm
SPLP (this work)                       DOPE:PEG-Cer:DODAC (84:10:6)             4.4–10 kbp plasmid                        60–70%           62.5 ␮g/␮mol            75 nm (QELS);
                                                                                                                                                               65 nm (freeze–fracture)

a
    Some values calculated based on presented data.
b
    ND, not determined.




                                                                                                                                                                        JA001485
  Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 140 of 1274 PageID #: 8446
                                                                Stabilized plasmid-lipid particles
                                                                JJ Wheeler et al

                                                                                                                             279
ity of SPLP with exchangeable PEG coatings. As pre-             lipids 1-O-(2′-(␻-methoxypolyethyleneglycol) succinoyl)-
viously indicated, the SPLP system has been designed for        2-N-myristoylsphingosine (PEG-CerC14) and 1-O-(2′-(␻-
systemic (intravenous) gene therapy applications. This          methoxypolyethyleneglycol) succinoyl)-2-N-arachidoyl-
places two potentially conflicting demands on the deliv-        sphingosine (PEG-CerC20) were synthesized as described
ery system. First, the carrier must circulate long enough       elsewhere,37 and dioleoyldimethylammonium chloride
to achieve accumulation at disease sites, such as tumors,       (DODAC) was kindly provided by Dr S Ansell (Inex
by taking advantage of the increased vascular per-              Pharmaceuticals). Octylglucopyranoside (OGP), HEPES
meability in these regions. Second, the carrier must be         and NaCl were obtained from Sigma (St Louis, MO,
able to bind to target cells and to destabilize the plasma      USA). The plasmid pCMVCAT (4490 bp, coding for the
or endosomal membrane after arrival at the disease site         chloramphenicol acyl transferase gene) was originally
in order to facilitate intracellular delivery of the enclosed   obtained from Dr K Brigham (Vanderbilt University,
plasmid. The first requirement implies a very stable car-       Nashville, TN, USA). The plasmid pCMVLuc (5650 bp,
rier that does not interact with cells, whereas the second      coding for the luciferase reporter gene) was provided by
requirement necessitates a particle that can bind to            Dr P Tam (Inex Pharmaceuticals). All reporter genes were
cells and exhibit a membrane-destabilizing ‘fusigenic’          under the control of the human CMV immediate–early
character.                                                      promoter-enhancer element. 3H-cholesteryl hexadecyl
   PEG coatings that can dissociate from a carrier provide      ether (CHE) and 14C-CHE were obtained from Mandel
a potential solution to these demands. First, the presence      Scientific (Guelph, ON, Canada). Mouse serum was
of a PEG coating allows SPLP to be formed with a large          obtained from CedarLane (Mississauga, ON, Canada).
proportion of DOPE in the outer monolayer. Previous             Dialysis tubing (SpectraPor 12 000 to 14 000 mwco) was
work has shown that DOPE prefers the (non-bilayer) hex-         obtained from Fisher Scientific (Ottawa, ON, Canada),
agonal HII phase at temperatures above 10°C,35 and that         DEAE-Sepharose CL-6B column from Sigma, E. coli
PEG lipids can stabilize DOPE in the bilayer organiza-          DNase I from Life Technologies (Mississauga, ON,
tion.36 Thus in the absence of the PEG-Cer the SPLP             Canada) and the luciferase assay kit from Promega
would be expected to be highly unstable and fusigenic.          (Madison, WI, USA).
The detergent dialysis procedure therefore allows an
intrinsically fusigenic plasmid-containing particle to be
                                                                Preparation of plasmids
formed, where the stability of the particle is dependent
                                                                Plasmid DNA was transformed into E. coli strain DH5␣
on the presence of the PEG coating. As demonstrated
                                                                by electroporation. Plasmid DNA was then isolated from
here, these particles are stable in the presence of DNase
                                                                E. coli by alkaline lysis38 followed by anion exchange
I, as well as serum nucleases, consistent with an ability
                                                                chromatography (according to the manufacturer, Qiagen,
to protect encapsulated DNA in the circulation. In
                                                                Santa Clarita, CA, USA) or CsCl gradient centrifug-
addition, the small size and presence of the PEG coating
                                                                ation.39 DNA was precipitated and dissolved in pyrogen-
would be expected to promote the extended circulation
                                                                free water for formulation with lipids.
life-times required to achieve preferential accumulation
                                                                   Radiolabeled 3H-plasmid DNA was isolated from an
at disease sites such as tumors following intravenous
                                                                E. coli JM101 strain bearing pCMV␤, pCMVCAT or
administration.
                                                                pCMVLuc. Briefly, cultures were grown in supplemented
   The stability of the SPLP would, however, be expected
                                                                minimal media (M9 salts with 0.1% thiamine, 1% glucose,
to mitigate against uptake and intracellular delivery of
                                                                100 ␮g/ml ampicillin) to mid log phase. Ten mCi of
the plasmid. The use of PEG coatings that dissociate from
                                                                81.9 mCi/mmol tritiated thymidine (Mandel Scientific)
the SPLP after arrival at a disease site provides a poten-
                                                                was added, then the cultures were allowed to grow for
tial solution to this problem. This is supported by the in
                                                                a further 12–16 h. Plasmid DNA was isolated by alkaline
vitro results presented here, which show that a PEG-
                                                                lysis and anion exchange chromatography, as described
CerC20 coating, which has a long residence time in lipid
                                                                above.
bilayers, exhibits poor transfection properties, whereas
improved transfection is observed for the SPLP contain-
ing a PEG-CerC14 coating, which can dissociate from lipid       Encapsulation of plasmid DNA
bilayers more rapidly.                                          Plasmid DNA (50–400 ␮g) was incubated with DODAC
   In summary, this study presents a method for encapsu-        in 500 ␮l of 0.2 m octylglucoside, 150 mm NaCl, 5 mm
lating plasmid DNA in particulate systems that have the         HEPES pH 7.4 for 30 min at room temperature. The plas-
properties of small size, high plasmid-to-lipid ratio and       mid-DODAC mixture was then added to DOPE and
high content of fusigenic lipid, and that can be concen-        PEG-CerC14 or PEG-CerC20 dissolved in 500 ␮l of 0.2 m
trated to achieve high plasmid concentrations. These            OGP; 150 mm NaCl, 5 mm HEPES pH 7.4. The total lipid
SPLP are stabilized by the presence of a PEG coating that       concentration was either 5 or 10 mg/ml with DOPE:
can be designed to dissociate, thus increasing the trans-       DODAC:PEG-Cer at molar ratios of 84:6:10, unless other-
fection potency of the SPLP. It is expected that these sys-     wise indicated. The plasmid-lipid mixture was dialyzed
tems will find utility as delivery systems for systemic         against 5 mm HEPES in 150 mm NaCl pH 7.4 (HBS) for
gene therapy.                                                   36 to 48 h with two buffer changes. Non-encapsulated
                                                                plasmid was removed by anion exchange chromato-
                                                                graphy on a DEAE-Sepharose CL-6B column (1 × 4 cm).
Materials and methods                                           To determine the encapsulation efficiency, a 50-␮l aliquot
                                                                of each sample was loaded on to a DEAE-Sepharose CL-
Materials                                                       6B column (1 ml) equilibrated with HBS. The column was
Dioleoylphosphatidylethanolamine (DOPE) was obtained            eluted with HBS and the fractions were assessed for 3H-
from Northern Lipids (Vancouver, BC, Canada). The               plasmid and 14C-lipid by scintillation counting.


                                                                                                            JA001486
  Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 141 of 1274 PageID #: 8447
                                          Stabilized plasmid-lipid particles
                                                            JJ Wheeler et al

280
      Isolation of encapsulated plasmid by sucrose density                     pellet was washed twice with 80% ethanol and dried. The
      gradient centrifugation                                                  DNA was dissolved in 30 ␮l of TE buffer and analyzed
      The fractions from the DEAE column containing co-elut-                   by agarose (1.0%) gel electrophoresis in TAE buffer.
      ing lipid and plasmid were pooled and equal volumes
      were applied to the top of a discontinuous sucrose gradi-                In vitro transfection
      ent in 12.5 ml ultracentrifuge tubes. The gradient was for-              COS-7 cells and 293 cells were grown at 37°C, 5% CO2
      med with 3 ml each of 10% sucrose, 2.5% sucrose and 1%                   in complete media consisting of T75 flasks in Dulbecco’s
      sucrose in HBS layered consecutively from bottom to top.                 modified Eagle’s medium (DMEM; Life Technologies)
      The gradients were centrifuged at 160 000 g for 2 h at                   and 10% fetal bovine serum (FBS; Intergen, Purchase,
      20°C and separated into aliquots (250 ␮l) removed from                   MA, USA). Transfections were performed in the presence
      top to bottom. The fractions were assayed for 3H-plas-                   of cell culture media when the cells were 60–70% conflu-
      mid and 14C-CHE by dual-label scintillation counting.                    ent. The plasmid (pCMVLuc) formulations were diluted
      The lipid encapsulated plasmid DNA banded tightly at                     in complete medium to give 0.5 ␮g DNA/ml. The cells
      the interface between 2.5% and 10% sucrose, while the                    were incubated in the presence of the plasmid formu-
      unassociated lipid was present as a smear from the top                   lations for up to 120 h and assayed for luciferase activity.
      of the gradient to the interface between 1% and 2.5%                     Calcium phosphate-mediated transfection with plasmid
      sucrose. It was found that the isolated SPLP could be con-               extracted from SPLP was performed as follows. Plasmid
      centrated by dialysis against 500 000 molecular weight                   (0.1–1 ␮g) in 50 ␮l 0.25 m CaCl2 was slowly added to
      carboxymethyl cellulose (Aquacide II; Calbiochem, San                    50 ␮l HBS, and the resulting precipitate was added to
      Diego, CA, USA) in a 12 000–14 000 molecular weight                      293 cells. Following incubation for 2 days at 37°C, the
      cut-off dialysis tube. When the desired volume was                       luciferase activity was determined.
      reached, the formulation was transferred into a new
      dialysis bag and dialyzed overnight against HBS to adjust                Luciferase assay
      the NaCl concentration to 150 mm.                                        Luciferase assays were performed using the Promega
                                                                               Luciferase Assay System reagent kit (Promega E1501)
      Freeze–fracture electron microscopy                                      according to the manufacturer’s instructions. Cell lysates
      Freeze–fracture was performed on a Balzers Freeze-Etch-                  were assayed for luciferase activity using a Dynex Tech-
      ing system, BAF 400D (Balzers, Lichtenstein). Samples                    nologies ML3000 microplate luminometer (Dynex Tech-
      were cryofixed in the presence of 25% glycerol by plung-                 nologies, Ghentilly, VT, USA). Luminescence readings
      ing them into liquid freon 22. The fractured surface was                 were calibrated according to a standard curve obtained
      shadowed unidirectionally with platinum/carbon (45°)                     using a Photinunus pyralis luciferase standard (Boehringer
      and coated with carbon (90°) immediately after fractur-                  Mannheim, Laval, QC, Canada; 634 409).
      ing. Replicas were analyzed using a Jeol model JEM 1200
      EX electron microscope (Jeol, Montreal, QC, Canada).
                                                                               PEG-Cer dissociation rates
      Serum stability assay                                                    The dissociation rates of 3H-PEG-CerC14 and 3H-PEG-
      SPLP formulations were assayed for serum stability in                    CerC20 from EPC LUV using EPC multilamellar vesicles
      the presence of 90% mouse serum in vitro. A 50 ␮l aliquot                (MLV) as a ‘sink’. The LUV were prepared containing
      was added to 450 ␮l mouse serum and incubated at 37°C                    10 mol% PEG-Cer and a trace of 14C-CHE (3H/14C ratio
      for 30 min. The sample was then loaded on to a                           approximately 5) by detergent dialysis as described
      Sepharose CL-4B column and eluted with HBS, pH 7.4.                      above for SPLP. MLV were prepared by hydration of
      The fractions were analyzed for 3H-plasmid and the lipid                 EPC in HBS (250 mg/ml) at 65°C. The MLV were washed
      label 14C-CHE.                                                           five times in HBS by centrifugation (2 min at 12 000 g) to
                                                                               remove any small vesicles. LUV (1 mg lipid) were mixed
      Determination of DNase I stability                                       with 125 mg MLV to give a final volume of 1.5 ml and
      Three sets of samples were exposed to DNase I digestion,                 incubated at 37°C. At different time intervals, 100 ␮l of
      including naked plasmid DNA, plasmid complexed with                      the mixture were transferred into 0.5 ml ice-cold HBS and
      DOPE:DODAC vesicles and SPLP. Plasmid–cationic lipid                     the MLV pelleted by centrifugation. The LUV in the
      complexes were prepared by mixing 500 ␮l plasmid                         supernatant were analyzed for 3H-PEG-Cer and 14C-
      (pCMVLuc, 0.5 mg/ml) in 5% glucose with 500 ␮l DOD-                      CHE and the 3H/14C ratio plotted as a function of time.
      AC:DOPE (1:1) 100 nm diameter LUVs (0.9 mm lipid)
      prepared by the extrusion method40 in 5% glucose. This                   Acknowledgements
      corresponds to a lipid-to-DNA charge ratio (positive-to-
      negative) of 3. The resulting solution was incubated at                  Studies at UBC were supported by Inex and by the Natu-
      room temperature for 30 min before DNase I treatment.                    ral Sciences and Engineering Research Council of Canada
      For the DNase digestion, samples (free plasmid, plasmid–                 under the Collaborative Research and Development Pro-
      lipid complex, encapsulated plasmid) containing 1 ␮g of                  gram. Ian MacLachlan is a Postdoctoral Fellow of the
      DNA were incubated with 0, 100 or 1000 units of DNase                    Medical Research Council of Canada. We thank A
      I in a total volume of 100 ␮l of 5 mm HEPES, 150 mm                      Annuar, J Thompson and C Giesbrecht (Inex
      NaCl, 10 mm MgCl2 pH 7.4 in the presence or absence of                   Pharmaceuticals) for provision of plasmid and
      1.0% Triton X-100. After incubation at 37°C for 30 min,                  Drs S Ansell and Z Wang (Inex Pharmaceuticals) for pro-
      the DNA was isolated by adding 500 ␮l of DNAzol (Life                    vision of DODAC and PEG-ceramides, respectively. We
      Technologies) followed by 1.0 ml of ethanol. The samples                 also thank Dr K Wong (Department of Biochemistry and
      were centrifuged for 30 min at 20 000 g in a tabletop                    Molecular Biology, UBC) for performing the freeze–frac-
      microfuge. The supernatant was decanted and the DNA                      ture EM studies.


                                                                                                                  JA001487
   Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 142 of 1274 PageID #: 8448
                                                                         Stabilized plasmid-lipid particles
                                                                         JJ Wheeler et al

                                                                                                                                                   281
References                                                                  lated E. coli pBR32 plasmid. Biochem Biophys Res Commun 1982;
                                                                            108: 982–986.
 1 Huang L, Li S. Liposomal gene delivery: a complex package.            23 Stavridis JC et al. Construction of transferrin-coated liposomes
   Nature Biotech 1997; 15: 620–621.                                        for in vivo transport of exogenous DNA to bone marrow erythro-
 2 Templeton NS et al. Improved DNA:liposome complexes for                  blasts in rabbits. Exp Cell Res 1986; 164: 568–572.
   increased systemic delivery and gene expression. Nature Biotech       24 Wang C-Y, Huang L. pH-sensitive immunoliposomes mediate
   1997; 15: 647–652.                                                       target cell-specific delivery and controlled expression of a foreign
 3 Hofland HJ et al. In vivo gene transfer by intravenous adminis-          gene in mouse. Proc Natl Acad Sci USA 1987; 84: 7851–7855.
   tration of stable cationic lipid/DNA complex. Pharmaceut Res          25 Lurquin PF. Entrapment of plasmid DNA by liposomes and
   1997; 14: 742–749.                                                       their interactions with plant protoplasts. Nucleic Acids Res 1979;
 4 Thierry AR et al. Systemic gene therapy: biodistribution and             6: 3773–3784.
   long-term expression of a transgene in mice. Proc Natl Acad Sci       26 Alino SF et al. In vivo delivery of human alpha 1-antitrypsin gene
   USA 1995; 92: 9742–9746.                                                 to mouse hepatocytes by liposomes. Biochem Biophys Res Com-
 5 Harrison GS et al. Optimization of gene transfer using cationic          mun 1993; 192: 174–181.
   lipids in cell lines and primary human CD4+ and CD34+ hemato-         27 Baru M, Axelrod JH, Nur I. Liposome-encapsulated DNA-
   poietic cells. Biotechniques 1995; 19: 816–823.                          mediated gene transfer and synthesis of human factor IX in
 6 Li S, Huang L. In vivo gene transfer via intravenous adminis-            mice. Gene 1995; 161: 143–150.
   tration of cationic lipid-protamine-DNA (LPD) complexes. Gene         28 Jay DG, Gilbert W. Basic protein enhances the incorporation of
   Therapy 1997; 4: 891–900                                                 DNA into lipid vesicles: model for the formation of primordial
 7 Profitt RT et al. Liposomal blockade of the reticuloendothelial          cells. Proc Natl Acad Sci USA 1987; 84: 1978–1980.
   system: improved tumor imaging with small unilamellar ves-            29 Puyal C, Milhaud P, Bienvenue A, Philippot JR. A new cationic
   icles. Science 1983; 220: 502–505.                                       liposome encapsulating genetic material. A potential delivery
 8 Gabizon A, Papahadjopoulos D. Liposome formulations with                 system for polynucleotides. Eur J Biochem 1995; 228: 697–703.
   prolonged circulation time in blood and enhanced uptake by            30 Ibanez M et al. Spermidine-condensed DNA and cone-shaped
   tumors. Proc Natl Acad Sci USA 1988; 85: 6949–6953.                      lipids improve delivery and expression of exogenous DNA
 9 Chonn A, Cullis PR. Recent advances in liposome drug delivery            transfer by liposomes. Biochem Cell Biol 1997; 74: 633–643.
   systems. Curr Opin Biotech 1995; 6: 698–708.                          31 Ausubel F et al (eds). Preparation and analysis of DNA. In: Short
10 Kohn S, Nagy JA, Dvorak HF, Dvorak AM. Pathways of macro-                Protocols in Molecular Biology, 3rd edn. John Wiley: New York,
   molecular tracer transport across venules and small veins. Struc-        1995, pp A1–A58.
   tural basis for the hyperpermeability of tumor blood vessels. Lab     32 King GI, Jacobs RE, White SH. Hexane dissolved in dioleoylleci-
   Invet 1992; 67: 596–607.                                                 thin bilayers has a partial molar volume of approximately zero.
11 Reimer DL et al. Formation of novel hydrophobic complexes                Biochem J 1985; 24: 4637–4645.
   between cationic lipids and plasmid DNA. Biochemistry 1995; 34:       33 Ollivon M, Eidelman O, Blumenthal R, Walter A. Micelle-vesicle
   12877–12883.                                                             transition of egg phosphatidylcholine and octylglucoside.
12 Harasym TO et al. Poly(ethyleneglycol)-modified phospholipids            Biochem J 1988; 27: 1695–1703.
   prevent aggregation during covalent conjugation of proteins to        34 Vinson PK, Talmon Y, Walter A. Vesicle-micelle transition of
   liposomes. Bioconj Chem 1995; 6: 187–194.                                phosphatidylcholine and octylglucoside elucidated by cryo-
13 Holland JW, Hui C, Cullis PR, Madden TD. Poly                            transmission electron microscopy. Biophys J 1989; 56: 669–681.
   (ethyleneglycol)-lipid conjugates regulate the calcium-induced        35 Cullis PR, de Kruijff B. The polymorphic phase behaviour of
   fusion of liposomes composed of phosphatidylethanolamine                 phosphatidylethanolamines of natural and synthetic origin.
   and phosphatidylserine. Biochemistry 1996; 35: 2618–2624.                Biochim Biophys Acta 1978; 513: 31–42.
14 Xu Y, Szoka FC. Mechanism of DNA release from cationic                36 Holland JW, Cullis, PR, Madden TD. Poly(ethyleneglycol)-lipid
   liposome/DNA complexes used in cell transfection. Biochemistry           conjugates promote bilayer formation in mixtures of non-bilayer
   1996; 35: 5616–5623.                                                     forming lipids. Biochemistry 1996; 35: 2610–2617.
15 Farhood H, Serbina N, Huang L. The role of dioleoylphosphati-         37 Webb MS et al. Comparison of different hydrophobic anchors
   dylethanolamine in cationic liposome mediated gene transfer.             conjugated to poly(ethyleneglycol): effects on the pharmacoki-
   Biochim Biophys Acta 1995; 1235: 289–295.                                netics of liposomal vincristine. (submitted).
16 Chonn A, Semple SC, Cullis PR. Association of blood proteins          38 Birnboim HC, Doly J. A rapid alkaline extraction procedure for
   with large unilamellar liposomes in vivo. Relation to circulation        screening recombinant plasmid DNA. Nucleic Acids Res 1979; 7:
   lifetimes. J Biol Chem 1992; 267: 18759–18765.                           1513–1522.
17 Mimms LT et al. Phospholipid vesicle formation and transmem-          39 Sambrook J, Fritsch EF, Maniatis T. Extraction and purification
   brane protein incorporation using octylglycoside. Biochemistry           of plasmid DNA. In: Ford N, Nolan C, Ferguson M (eds). Mol-
   1981; 20: 833–840.                                                       ecular Cloning, 2nd edn. Cold Spring Harbor Laboratory Press:
18 Fraley R, Subramani S, Berg P, Papahadjopoulos D. Introduction           New York, 1989, pp 1.38–1.39.
   of liposome-encapsulated SV40 DNA into cells. J Biol Chem 1980;       40 Hope MJ, Bally MB, Webb G, Cullis PR. Production of large
   255: 10431–10435.                                                        unilamellar vesicles by a rapid extrusion procedure: characteriz-
19 Soriano P et al. Targeted and nontargeted liposomes for in vivo          ation of size, trapped volume and ability to maintain a mem-
   transfer to rat liver cells of a plasmid containing the preproinsu-      brane potential. Biochim Biophys Acta 1985; 812: 55–65.
   lin I gene. Proc Natl Acad Sci USA 1983; 80: 7128–7131.               41 Cudd A, Nicolau C. Intracellular fate of liposome-encapsulated
20 Nakanishi M et al. Efficient introduction of contents of liposomes       DNA in mouse liver. Analysis using electron microscope auto-
   into cells using HVJ (Sendai virus). Exp Cell Res 1985; 159:             radiography and subcellular fractionation. Biochim Biophys Acta
   399–409.                                                                 1985; 845: 477–491.
21 Fraley RT, Fornari CS, Kaplan S. Entrapment of a bacterial plas-      42 Szelei J, Duda E. Entrapment of high molecular mass DNA mol-
   mid in phospholipid vesicles: potential for gene therapy. Proc           ecules in liposomes for the genetic transformation of animal
   Natl Acad Sci USA 1979; 76: 3348–3352.                                   cells. Biochem J 1989; 259: 549–553.
22 Nicolau C, Rottem S. Expression of a ␤-lactamase activity in          43 Monnard P-A, Oberholzer T, Luisi P. Entrapment of nucleic
   Mycoplasma carpicolum transfected with the liposome-encapsu-             acids in liposomes. Biochim Biophy Acta 1997; 1329: 39–50.




                                                                                                                              JA001488
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 143 of 1274 PageID #: 8449




                   JOINT APPENDIX 50
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 144 of 1274 PageID #: 8450




                                                                       JA001489
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 145 of 1274 PageID #: 8451




                                                                       JA001490
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 146 of 1274 PageID #: 8452




                                                                       JA001491
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 147 of 1274 PageID #: 8453




                                                                       JA001492
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 148 of 1274 PageID #: 8454




                                                                       JA001493
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 149 of 1274 PageID #: 8455




                                                                       JA001494
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 150 of 1274 PageID #: 8456




                                                                       JA001495
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 151 of 1274 PageID #: 8457




                                                                       JA001496
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 152 of 1274 PageID #: 8458




                                                                       JA001497
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 153 of 1274 PageID #: 8459




                                                                       JA001498
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 154 of 1274 PageID #: 8460




                                                                       JA001499
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 155 of 1274 PageID #: 8461




                   JOINT APPENDIX 51
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 156 of 1274 PageID #: 8462




                                          Biochimica et Biophysica Acta 1419 (1999) 137^150
                                                                                                             www.elsevier.com/locate/bba




Stabilized plasmid-lipid particles: factors in£uencing plasmid entrapment
                        and transfection properties
                   Kenneth W.C. Mok a , Angela M.I. Lam a , Pieter R. Cullis a;b; *
           a
             Department of Biochemistry and Molecular Biology, University of British Columbia, 2146 Health Sciences Mall,
                                                Vancouver, B.C. V6T 1Z3, Canada
      b
        Inex Pharmaceuticals Corporation, 100-8900 Glenlyon Parkway, Glenlyon Business Park, Burnaby, B.C. V5J 5J8, Canada

                       Received 19 January 1999; received in revised form 9 April 1999; accepted 13 April 1999



Abstract

   Previous work has shown that plasmid DNA can be encapsulated in small `stabilized plasmid-lipid particles' (SPLP)
composed of 1,2-dioleyl-3-phosphatidylethanolamine (DOPE), the cationic lipid N,N-dioleyl-N,N-dimethylammonium
chloride (DODAC) and poly(ethylene glycol) (PEG) conjugated ceramides (PEG-Cer), employing a detergent dialysis
procedure. These SPLP have potential as vectors for in vivo gene therapy. This study is aimed at characterizing the influence
of the cationic lipid and PEG-Cer species on SPLP formation and in vitro transfection properties. It is shown that the
transfection potency of SPLP is sensitive to the cationic lipid species employed, the size of the PEG polymer incorporated in
the PEG-ceramide and the length of the acyl chain contained in the ceramide anchor. With regard to the influence of cationic
lipid, the transfection levels achieved were highest for SPLP containing N-[2,3-(dioleyloxy)propyl]-N,N-dimethyl-N-
cyanomethylammonium chloride (DODMA-AN) and lowest for SPLP containing 3-L-[N-(NP,NP-dimethylaminoethyl)car-
bamoyl]-cholesterol (DC-CHOL), according to the series DODMA-AN s N-[2,3-(dioleyloxy)propyl]-N,N,N-trimethylam-
monium chloride (DOTMA) s DODAC s N,N-distearyl-N,N-dimethylammonium chloride (DSDAC) s DC-CHOL.
Incorporation of short (PEG750 ) PEG polymers in the PEG-ceramide components resulted in modest improvements in
transfection levels over PEG2000 and PEG5000 polymers, however variation of the length of the acyl chain contained in the
hydrophobic ceramide anchor from octanoyl (PEG-CerC8 ) to myristoyl (PEG-CerC14 ) to arachidoyl (PEG-CerC20 ) had the
most dramatic effects. Transfection levels achieved for SPLP containing PEG-CerC8 were substantially larger than observed
for SPLP containing PEG-CerC14 or PEG-CerC20 , consistent with a requirement for the PEG-ceramide to dissociate from
the SPLP surface for maximum transfection potency. It is also shown that the ability of SPLP to be accumulated into cells is


  Abbreviations: L-gal, L-galactosidase; BHK, baby hamster kidney; CAT, chloramphenicol acetyltransferase; 14 C-CHE, 14 C-labeled
cholesteryl hexadecyl ether; CMC, critical micellar concentration; CMV, cytomegalovirus; DC-CHOL, 3-L-[N-(NP,NP-dimethylamino-
ethyl)carbamoyl]-cholesterol ; DEAE-Sepharose, diethylaminoethyl-Sepharose; DODAC, N,N-dioleyl-N,N-dimethylammonium chloride ;
DODMA-AN, N-[2,3-(dioleyloxy)propyl]-N,N-dimethyl-N-cyanomethylammonium chloride; DOPE, 1,2-dioleoyl-3-phosphatidylethanol-
amine; DOTMA, N-[2,3-(dioleyloxy)propyl]-N,N,N-trimethylammonium chloride ; DSDAC, N,N-distearyl-N,N-dimethylammonium
chloride; HEPES, N-(2-hydroxyethyl)piperazine-NP-2-ethanesulfonic acid; 3 H-pCMVCAT, 3 H-labeled pCMVCAT plasmid; LUVs, large
unilamellar vesicle system; OGP, n-octyl-L-D-glucopyranoside ; pCMVLgal, pCMVLgal plasmid; pCMVCAT, pCMVCAT plasmid; PEG-
CerC8 , 1-O-(2P-(g-methoxypolyethyleneglycol 2000 )succinoyl)-2-N-octanoylsphingosine; PEG-CerC14 , 1-O-(2P-(g-methoxypolyethylene-
glycol 2000 )succinoyl)-2-N-myristoylsphingosine; PEG-CerC20 , 1-O-(2P-(g-methoxypolyethyleneglycol 2000 )succinoyl)-2-N-arachidoyl-
sphingosine; PEG750 -CerC14 , 1-O-(2P-(g-methoxypolyethyleneglycol 750 )succinoyl)-2-N-myristoylsphingosine; PEG5000 -CerC14 , 1-O-(2P-
(g-methoxypolyethyleneglycol 5000 )succinoyl)-2-N-myristoylsphingosine; QELS, quasi-elastic light scattering
  * Corresponding author. Fax: +1 (604) 8224843; E-mail: pieterc@interchange.ubc.ca


0005-2736 / 99 / $ ^ see front matter ß 1999 Elsevier Science B.V. All rights reserved.
PII: S 0 0 0 5 - 2 7 3 6 ( 9 9 ) 0 0 0 5 9 - 0


                                                                                                                  JA001500

                                                         BBAMEM 77612 6-7-99
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 157 of 1274 PageID #: 8463



138                           K.W.C. Mok et al. / Biochimica et Biophysica Acta 1419 (1999) 137^150


a dominant factor influencing transfection potency, and that the transfection potency of SPLP that are accumulated is at
least equivalent to that of cationic lipid-plasmid DNA complexes. ß 1999 Elsevier Science B.V. All rights reserved.

Keywords: Cationic lipid; Liposome; Poly(ethylene glycol); Gene therapy




1. Introduction                                                    the formulation and in vitro transfection
                                                                   properties of SPLP. It is shown that whereas the
   Plasmid DNA-cationic liposome complexes have                    SPLP formulation process is relatively independent
considerable utility as non-viral gene transfer systems            of the (monovalent) cationic lipid species employed,
[1,2]. However, complexes are large, charged, hetero-              the highest levels of expression are observed for N-
geneous structures that have limited utility in certain            [2,3-(dioleyloxy)propyl]-N,N-dimethyl-N-cyanometh-
applications. For example, the large size and positive             ylammonium chloride (DODMA-AN). Alternatively,
charge of complexes results in rapid clearance from                incorporation of shorter acyl groups in the ceramide
the circulation following intravenous injection,                   which `anchors' the PEG to the SPLP surface, which
largely limiting transfection to `¢rst pass' organs                results in rapid dissociation of the PEG from the
such as the lung, liver or spleen [1^6]. In this regard            SPLP surface, dramatically improves transfection
recent work employing a detergent dialysis technique               levels. Finally, it is shown that low levels of cellular
[7] has shown that plasmid DNA can be encapsu-                     uptake is a dominant parameter modulating the
lated in `stabilized plasmid-lipid particles' (SPLP)               transfection potential of SPLP, and that the intrinsic
that are stabilized in aqueous media by the presence               transfection potency of SPLP that are taken up is at
of a poly(ethylene glycol) (PEG) coating. These par-               least equivalent to that exhibited by complexes.
ticles are small (diameter approximately 70 nm), con-
tain high ( s 80 mol%) levels of the `fusogenic' lipid
dioleylphosphatidylethanolamine (DOPE), low ( 6 10                 2. Materials and methods
mol%) levels of the cationic lipid N,N-dioleyl-N,N-
dimethylammonium chloride (DODAC), protect en-                     2.1. Lipids and chemicals
capsulated plasmid from degradation by serum nu-
cleases, and are well-de¢ned and stable systems con-                   N,N-Dioleyl-N,N-dimethylammonium           chloride
taining one plasmid per particle [7].                              (DODAC), N-[2,3-(dioleyloxy)propyl]-N,N-dimeth-
   The transfection potency of SPLP as generated by                yl-N-cyanomethylammonium chloride (DODMA-
Wheeler et al. [7] is limited. However, SPLP are £ex-              AN), N,N-distearyl-N,N-dimethylammonium chlo-
ible systems that can potentially be constructed from              ride (DSDAC), 3-L-[N-(NP,NP-dimethylaminoethyl)-
a variety of compounds, the choice of which may                    carbamoyl]-cholesterol (DC-CHOL) were obtained
strongly a¡ect transfection properties. Such com-                  from Dr. S. Ansell (Inex Pharmaceuticals, Burnaby,
pounds include the cationic lipid contained in the                 B.C., Canada). 1-O-(2P-(g-methoxypolyethylenegly-
SPLP and the PEG coating surrounding the SPLP.                     col 2000 )succinoyl)-2-N-octanoylsphingosine (PEG-
For example, plasmid DNA-cationic lipid complexes                  CerC8 ), 1-O-(2P-(g-methoxypolyethyleneglycol 2000 )-
which contain di¡erent cationic lipids can exhibit                 succinoyl)-2-N-myristoylsphingosine (PEG-CerC14 ),
markedly di¡erent transfection properties both in vi-              1 - O - (2P- (g - methoxypolyethyleneglycol 2000 )succi-
tro and in vivo [6,8^12]. Alternatively, it has been               noyl)- 2-N-arachidoylsphingosine (PEG-CerC20 ), 1-O-
shown that the presence of PEG coatings on vesicles                (2P-(g-methoxypolyethyleneglycol 750 )succinoyl)-2-
can dramatically inhibit intervesicular contact and                N-myristoylsphingosine (PEG750 -CerC14 ), 1-O-(2P-
fusion [13]; and the presence of PEG-PE in DNA-                    (g-methoxypolyethyleneglycol 5000 )succinoyl)-2-N-
cationic lipid complexes can dramatically reduce in                myristoylsphingosine (PEG5000 -CerC14 ) were ob-
vivo transfection activity [14].                                   tained from Dr. Z. Wang (Inex), and N-[2,3-(dioleyl-
   In this work we investigate the in£uence of di¡er-              oxy)propyl]-N,N,N-trimethylammonium            chloride
ent species of cationic lipid and PEG coatings on                  (DOTMA) was synthesized as described in previous




                                                                                                        JA001501

                                                     BBAMEM 77612 6-7-99
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 158 of 1274 PageID #: 8464



                          K.W.C. Mok et al. / Biochimica et Biophysica Acta 1419 (1999) 137^150                    139


work [15]. 1,2-Dioleoyl-3-phosphatidylethanolamine             with the selection of resistance to ampicillin, and
(DOPE) was purchased from Avanti Polar Lipids                  were isolated by alkali lysis and puri¢ed by PEG
(Alabaster, AL, USA). 14 C-labeled cholesteryl hexa-           precipitation as described elsewhere [15,16]. The pu-
decyl ether (14 C-CHE) was obtained from DuPont                rity of pCMVCAT and pCMVLgal was con¢rmed by
NEN Products (Boston, MA, USA). Spectra/Por 2                  1% agarose gel electrophoresis with restriction endo-
molecular-porous membrane tubing (MW 12 000^                   nuclease XhoI or HindIII digest, respectively. The
14 000) was purchased from VWR Scienti¢c (Edmon-               plasmid concentration was determined by using
ton, Alta, Canada). Magnesium sulfate, L-mercap-               standard phosphorus assays [17] and was expressed
toethanol, potassium acetate, potassium chloride, so-          as phosphorus concentration of plasmid DNA. 3 H-
dium acetate, sodium phosphate, sodium chloride,               labeled pCMVCAT was obtained from A. Annuar
sodium hydroxide, and sucrose were obtained from               (Inex).
Fisher Scienti¢c (Fair Lawn, NJ, USA). Ampicillin,
bovine serum albumin (BSA), ethylenediaminetetra-              2.3. Preparation of vesicles
acetic acid (EDTA), N-(2-hydroxyethyl)piperazine-
NP-2-ethanesulfonic acid (HEPES), lithium chloride                Mixtures of lipids dispensed in chloroform were
(LiCl),     lysozyme,    n-octyl-L-D-glucopyranoside           dried under a stream of nitrogen gas with continuous
(OGP), poly(ethylene glycol) (PEG8000 ), sodium do-            vortex mixing. The residual solvent was removed
decyl sulfate, tris(hydroxymethyl)aminomethane                 under high vacuum for 2 h. The resulting lipid ¢lms
(Tris), diethylaminoethyl (DEAE) Sepharose CL-6B               were hydrated with 150 mM NaCl, 20 mM HEPES
anion exchanger, and Sepharose CL-4B resins were               (pH 7.4) bu¡er and then freeze-thawed ¢ve times to
obtained from Sigma (St. Louis, MO, USA). Bacto-               produce multilamellar vesicle (MLV) systems. Large
tryptone and bacto-yeast extract were purchased                unilamellar vesicle system (LUVs) were obtained by
from Difco (Detroit, MI, USA). All organic solvents            extruding MLVs 10 times through two 100-nm pore
were purchased from Fisher Scienti¢c (Nepeau, Ont.,            size polycarbonate ¢lters (Costar Nuclepore) under
Canada). Agarose was purchased from Bio-Rad                    nitrogen at a pressure of 300^400 psi [18]. The size
(Richmond, CA, USA). Aquacide II was purchased                 of the LUVs was checked by quasi-elastic light scat-
from Calbiochem (La Jolla, CA, USA). Glycerol and              tering (QELS) employing a Nicomp model 270 sub-
glucose were obtained from BDH (Toronto, Ont.,                 micron particle sizer operating in the vesicle mode.
Canada). Dulbecco's modi¢ed Eagle's medium                     Phosphorus assays were used to quantify phospholi-
(DMEM), fetal bovine serum (FBS) and penicillin-               pid concentration [17].
streptomycin were purchased from Gibco BRL (Bur-
lington, Ont., Canada). Chlorophenol red galacto-              2.4. Preparation of plasmid DNA-cationic lipid
pyranoside (CPRG) was purchased from Boehringer                     complexes
Mannheim (Germany). Scintillation £uid (Ultima
Gold grade) was obtained from Packard Instrument                  Plasmid DNA-cationic lipid complexes were
(Downers Grove, IL, USA). XhoI and HindIII re-                 formed by incubating appropriate amounts of
striction endonuclease and ribonuclease I `A' from             preformed DOTMA/DOPE (1:1) LUVs with
bovine pancreas (RNase) were purchased from Phar-              pCMVLgal to obtain the desired charge ratio (posi-
macia Biotech (Uppsala, Sweden). BHK cells (BHK                tive-to-negative) of 1.0 in 100 Wl distilled water. The
21) were obtained from American Tissue Culture                 resulting mixture was incubated at room temperature
Collection (ATCC CCL-10). Distilled water was pu-              for 20^30 min, and was then mixed with an equal
ri¢ed from Corning Mega-Pure MP-4S system.                     volume of culture media (see below).

2.2. Plasmid                                                   2.5. Preparation of stabilized plasmid-lipid particles
                                                                    (SPLP)
  pCMVCAT plasmid, initially obtained from Inex,
and pCMVLgal plasmid, initially purchased from                  SPLP were prepared employing the method of
Clontech, were ampli¢ed in Escherichia coli (DH5K)             Wheeler et al. [7] with modi¢cations. Brie£y, for




                                                                                                    JA001502

                                                BBAMEM 77612 6-7-99
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 159 of 1274 PageID #: 8465



140                       K.W.C. Mok et al. / Biochimica et Biophysica Acta 1419 (1999) 137^150


each preparation, appropriate amounts of cationic              for 3 H and 14 C radioactivity. The SPLP solution
lipid dissolved in chloroform were dried under a               (100 Wl of the dialysate) was applied to the DEAE-
stream of nitrogen gas. Similarly, appropriate                 Sepharose column (diameter 1.0 cm, height 1.5 cm)
amounts of DOPE, PEG-ceramide and trace                        and eluted using 150 mM NaCl, 20 mM HEPES (pH
amounts of 14 C-CHE (as the lipid marker) were                 7.4) bu¡er. Six fractions of 10 droplets each were
mixed in chloroform and dried. Residual solvent                collected in scintillation vials and were counted for
                                                               3
was removed under high vacuum for 2 h. The result-               H and 14 C radioactivity. The percentage of recovery
ing lipid ¢lms were hydrated separately. n-Octyl-L-D-          was obtained by comparing the total eluant radio-
glucopyranoside (OGP, 50 Wl of a 1.0 M solution)               activity with the reference radioactivity after back-
was added to the dried cationic lipid followed by              ground correction. Thus the 3 H recovery represents
brief vortexing. Subsequently 200 Wl of an aqueous             the fraction of DNA associated with the SPLP and
solution containing appropriate amounts of NaCl,               sequestered from the anion exchanger, whereas the
pCMVCAT and trace amounts of 3 H-pCMVCAT                       14
                                                                  C recovery represents the fraction of lipid in the
was added. Unless indicated otherwise, 25 Wg                   void volume. Free plasmid DNA bound to the col-
pCMVCAT and 5.0 Wmol total lipids in 0.5 ml total              umn could be washed out using 10 ml of a 5.0 M
volume were used for each preparation in the entrap-           NaCl solution. A Beckman LS3801 scintillation
ment studies. After thorough mixing, the clear homo-           counter was used for all radioactivity measurements.
genous mixture was incubated at room temperature
for 30 min. A ¢nal concentration of 200 mM OGP in              2.7. Puri¢cation of SPLP using sucrose density
150 mM NaCl was used for each preparation. The                      gradient centrifugation
lipid-containing medium was made by adding 250 Wl
of 200 mM OGP in 150 mM NaCl to the dried                         All samples of SPLP used for transfection were
DOPE/PEG-Cer/14 C-CHE. After mixing and incu-                  further puri¢ed using sucrose density gradient centri-
bating at room temperature for 30 min, a clear ho-             fugation [7]. SPLP were prepared as outlined above
mogeneous mixture was obtained. The two mixtures               with 400 Wg pCMVLgal and 10 Wmol total lipids in a
were then mixed together and transferred into a 6 cm           total volume of 1.0 ml and free DNA was removed
Spectra/Por 2 molecular-porous membrane tubing                 by passing through a DEAE column. The diluted
(MW 12 000^14 000) for dialysis for 40 h against               eluant (3 ml) was transferred to a dialysis bag and
two changes of a 150 mM NaCl, 5 mM HEPES                       brie£y dried by placing Aquacide II around the bag.
(pH 7.4) bu¡er. The SPLP thus formed were then                 After the desired volume was reached, the contents
puri¢ed by DEAE anion exchange chromatography                  were dialyzed overnight in 150 mM NaCl, 5 mM
and sucrose density gradient centrifugation as indi-           HEPES (pH 7.4) bu¡er. The concentrated eluant
cated below, and characterized with respect to plas-           (800 Wl) was then subjected to sucrose density gra-
mid entrapment and size. All experiments involved              dient centrifugation (160 000Ug for 2.5 h). The gra-
triplicate samples. For the transfection studies, sam-         dient was formed by loading 3.67 ml each of 1.0%,
ples of SPLP containing pCMVLgal were prepared                 2.5%, and 10% sucrose in 150 mM NaCl, 20 mM
similarly with the exception that 400 Wg pCMVLgal,             HEPES, pH 7.4 bu¡er into a centrifuge tube (Beck-
10 Wmol total lipids, and a total volume of 1.0 ml             man Ultra-Clear Tubes) using a drawn out glass pip-
were used initially.                                           ette. The crude SPLP preparation was then applied
                                                               to the top of the gradient and centrifuged using a
2.6. Quanti¢cation of DNA entrapment and lipid                 swinging bucket rotor (SW-41Ti) in an ultracentri-
     recovery using anion exchange column                      fuge (Beckman L2-65B). Following centrifugation,
     chromatography                                            a band of concentrated SPLP with high DNA con-
                                                               tent was observed at the interface between the 2.5%
  A column chromatography procedure employing                  and 10% sucrose gradient levels. The fractionation
DEAE-Sepharose CL-6B to remove free DNA was                    pro¢le was achieved by removing 250 Wl fractions
utilized [7]. The average of two 40 Wl aliquots of the         from the top of the gradient, and these fractions
SPLP dialysate radioactivity was used as a reference           were counted for 3 H and 14 C radioactivity. An ali-




                                                                                                  JA001503

                                                BBAMEM 77612 6-7-99
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 160 of 1274 PageID #: 8466



                           K.W.C. Mok et al. / Biochimica et Biophysica Acta 1419 (1999) 137^150                   141


quot (100 Wl) of the sample before density gradient             tively. For the 4 h transfection studies, the trans-
separation was also counted as a reference. For the             fected media was removed, and 100 Wl of DMEM/
transfection studies, the band corresponding to the             FBS was added. The cells were further incubated for
SPLP with high DNA content was isolated using                   20 h at 37³C, 5% CO2 . After incubation, the incu-
needle suction. The resulting puri¢ed SPLP were                 bated media was removed, and the cells were lysed
concentrated by Aquacide II treatment as outlined               by adding 50 Wl of lysis bu¡er containing 0.1% Tri-
above, and then dialyzed against 150 mM NaCl,                   ton X-100 in 250 mM phosphate bu¡er (pH 8.0) and
5 mM HEPES (pH 7.4) with one change of bu¡er.                   were freeze-thawed (370³C) to ensure complete lysis.
Quanti¢cation of DNA and lipid was performed by                 After thawing, aliquots of 10 Wl of the lysis bu¡er
comparing the 3 H and 14 C radioactivity of the puri-           was transferred to another 96 well plate for protein
¢ed SPLP against the radioactivity of crude SPLP                analysis. The remaining samples were assayed for
before sucrose density gradient. The overall recov-             L-gal activity. Brie£y, 50 Wl of PBS containing 0.5%
eries of DNA and lipid were computed by multiply-               BSA or 50 Wl of appropriate L-gal standard (0^100
ing the recovery from the DEAE column by the re-                mU) was added. Color development was induced by
covery from sucrose density gradient. For size                  adding 150 Wl of the substrate bu¡er containing
analysis, puri¢ed SPLP were transferred into a                  chlorophenol red galactopyranoside (CPRG) (1 mg/
6U50 mm borosilicate glass tube and placed in a                 ml), 60 mM Na2 HPO4 , 1 M MgSO4 , 10 mM KCl,
Nicomp Model 270 submicron particle sizer, using                and 50 mM L-mercaptoethanol. For the protein as-
the particles mode of QELS.                                     say, 50 Wl of BSA standard (0^20 Wg) was prepared
                                                                by serial dilution in lysis bu¡er. An additional 40 Wl
2.8. Transfection studies employing BHK cells                   of lysis bu¡er was added to the 10 Wl sample aliquot.
                                                                The BCA reaction mixture was prepared according
   The transfection protocol of Felgner et al. [11] was         to established protocols from Pierce (Rockford, IL,
employed with certain modi¢cations. Puri¢ed SPLP                USA) prior to the assay, and 100 Wl of this mixture
were prepared as described above. Transfection stud-            was added to each well, including the protein stand-
ies employing SPLP were conducted on samples con-               ards. The plate was incubated at 37³C for 2 h or
taining 2.0 Wg pCMVLgal. This high amount of plas-              until the color was developed. The amounts of
mid could be employed due to the low toxicity of                L-gal and protein were quanti¢ed against the stand-
SPLP. Complexes (charge ratio of 1.0) were formed               ard, after volume adjustment, and the L-gal activity
by incubating DOTMA/DOPE (1:1) vesicles with ap-                was expressed as mU of L-gal per mg of protein. All
propriate amounts of pCMVLgal for 30 min before                 absorbance readings were measured at 540 nm using
transfection, as outlined in previous work [15].                a Microplate Autoreader EL-309 (Bio-Tek Instru-
Transfection studies employing complexes used                   ments). For the transfection of SPLP formed with
0.5 Wg plasmid. All transfection studies were per-              di¡erent PEG-Cer, 1U105 BHK cells were plated
formed in triplicate. Standards of L-galactosidase              in a 24 well plate. Aliquots of 60 Wl and 10 Wl were
(L-gal) were prepared by two-fold serial dilutions of           used for the BSA and BCA assay, respectively.
200 mU L-gal with 0.5% BSA in phosphate bu¡ered
saline (PBS) (pH 8.0). First, BHK 21 cells cultured in          2.9. Cellular uptake studies of plasmid DNA
DMEM with 10% fetal bovine serum (FBS) and
100 units of penicillin and 100 Wg streptomycin                   BHK cells were plated at a density of 5U105 cells
were plated onto a 96 well plate with 2U104 cells               per 25 cm2 T-£ask the day before transfection. For
per well. Wells used for the DNA standards were                 each transfection, complexes containing 2 Wg
not plated with cells. The plate was then incubated             pCMVLgal at a charge ratio of 1.0 were formed by
for 20 h at 37³C with 5% CO2 . For each well con-               incubating DOTMA/DOPE (1:1) LUVs with
taining the cells, appropriate amounts of complexes             pCMVLgal for 20^30 min at room temperature be-
or SPLP were diluted with DMEM/FBS, and ali-                    fore transfection. Puri¢ed SPLP samples (DOPE/
quots of 100 Wl were used for transfection at 37³C,             DOTMA/PEG2000 -CerC8 , 73:7:20) containing 2 Wg
5% CO2 with incubation time of 4 or 24 h, respec-               pCMVLgal were also used for each transfection.




                                                                                                   JA001504

                                                 BBAMEM 77612 6-7-99
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 161 of 1274 PageID #: 8467



142                        K.W.C. Mok et al. / Biochimica et Biophysica Acta 1419 (1999) 137^150


Both plasmid DNA-cationic lipid complexes and                   1 h prior to the hybridization procedure. A 32 P-la-
SPLP samples were made up to a ¢nal volume of                   beled plasmid DNA probe was prepared using the
                                                                T7
2 ml with DMEM containing 10% FBS before apply-                    QuickPrime kit (Pharmacia Biotech) with BamHI
ing to BHK cells. For the cells transfected with com-           cut pCMVLgal. This probe was then added to the
plexes, the transfection medium was replaced with               DNA blot and allowed to hybridize overnight at
complete DMEM after the 4 h incubation time point.              68³C. The blot was washed 3 times with 300 mM
Cells transfected with the SPLP samples were incu-              NaCl, 30 mM sodium citrate (pH 7.0) containing
bated in the transfection medium until the speci¢c              0.1% SDS and once with 30 mM NaCl, 3 mM so-
time point. All transfection studies were performed             dium citrate (pH 7.0) containing 0.1% SDS. The blot
in triplicate. The cellular uptake kinetics of the plas-        was then exposed for 2^4 h on a PhosphoImager
mid DNA were analyzed by terminating the trans-                 screen and subsequently scanned (Molecular Dynam-
fection process at 4, 8, 24, and 48 h. At each time             ics-PhosphoImager SI). The amount of plasmid
point, the transfection medium was removed. The                 DNA taken up into cells was normalized by dividing
cells were washed twice with PBS, and then treated              the total plasmid DNA (pg) recovered by the total
with trypsin-EDTA (0.05% trypsin, 0.53 mM EDTA-                 genomic DNA (Wg).
4Na from Gibco BRL). The cells were then washed
with an isotonic bu¡er (250 mM sucrose, 50 mM
HEPES, pH 7.2, 3 mM MgCl2 ) and were centrifuged                3. Results
at 2000 rpm for 2 min in a Sorvall MC 12 V centri-
fuge. The resulting cell pellets were resuspended in            3.1. In£uence of cationic lipid species on formation of
the isotonic bu¡er, and the number of cells was                      SPLP
counted using a hemacytometer. Then, the cells
were centrifuged at 2000 rpm for 2 min, and the                    Previous work has shown that incubation of plas-
pellets were treated with the lysis bu¡er (10 mM                mid DNA with the lipid mixture DOPE, PEG2000 -
Tris, pH 7.5, 0.5% SDS, 1 mM EDTA) containing                   CerC14 and the cationic lipid DODAC (84:10:6; mo-
Pronase E (1 mg/ml) at 37³C overnight.                          lar ratios) in the presence of OGP followed by dial-
                                                                ysis results in the formation of SPLP that are capable
2.10. Southern blot analysis of delivered plasmid DNA           of low levels of transfection in vitro [7]. It is of in-
                                                                terest to determine whether SPLP can be formed us-
   Genomic DNA was isolated from the BHK cells                  ing other cationic lipids, and whether this in£uences
transfected with DNA-cationic lipid complexes and               transfection potency. Here we characterize SPLP for-
SPLP [16]. Brie£y, the cell lysates were extracted              mation and plasmid entrapment achieved using
twice with phenol/chloroform (1:1), then the DNA                DOTMA, DODMA-AN, DSDAC, DODAC, and
was precipitated with 95% ethanol and resuspended               DC-CHOL (for structures see Fig. 1) using a total
in Tris-EDTA bu¡er (10 mM Tris-HCl, pH 8.0, 1                   of 5.0 Wmol lipid and 25 Wg pCMVCAT plasmid. In
mM EDTA) at 200 Wl per 1U106 cells. The recovery                these systems the PEG-CerC14 content was held con-
of total genomic DNA was determined by measuring                stant at 10 mol% of total lipid, and the cationic lipid
the absorbance at 260 nm of the resuspended sam-                content varied over the 0^20 mol% range. Plasmid
ples. Genomic DNA (5 Wg) from each sample was                   entrapment was assayed employing the DEAE anion
loaded into a 1% agarose gel with a set of plasmid              exchange column procedure detailed Section 2. As
DNA standards (0^5 ng). After size fractionation,               shown in Fig. 2, optimum entrapment levels of ap-
the agarose gel was incubated in a denaturing bu¡er             proximately 60% were achieved for each of the cat-
(1.5 M NaCl, 0.5 N NaOH) for 1 h, and then in a                 ionic lipids used, the only di¡erence being that this
neutralizing solution (1.5 M NaCl, 1 M Tris, pH 7.4)            maximum entrapment was observed at slightly di¡er-
for 45 min. The DNA fragments were transferred to               ent cationic lipid content depending on the cationic
a nylon membrane by capillary blotting overnight                lipid species. The optimal lipid composition (DOPE/
with 3 M NaCl, 0.3 M sodium citrate at pH 7.0.                  cationic lipid/PEG-CerC14 ; molar ratios) for plasmid
The nylon membrane was then baked at 80³C for                   encapsulation was 83:7:10 for DOTMA and DOD-




                                                                                                     JA001505

                                                 BBAMEM 77612 6-7-99
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 162 of 1274 PageID #: 8468



                               K.W.C. Mok et al. / Biochimica et Biophysica Acta 1419 (1999) 137^150                            143




  Fig. 1. Structures of the cationic lipids used in this study.


MA-AN, 82.5:7.5:10 for DSDAC and DODAC, and
81:9:10 for DC-CHOL. These SPLP exhibited par-
ticle sizes of 90 þ 20 nm as measured by QELS.

3.2. In£uence of the PEG polymer anchor on
     formation of SPLP

   The PEG coating of SPLP is likely to inhibit asso-
ciation with cells, thus reducing transfection e¤-
ciency. Previous work has shown that SPLP con-
structed from PEG-CerC20 did not result in
appreciable transfection in vitro, whereas limited
transfection was observed for SPLP containing
PEG-CerC14 [7]. This was attributed to an ability
of the PEG-CerC14 to dissociate from the SPLP sur-
face. Here, we also examine the formulation and
transfection properties of SPLP containing PEG2000
polymers linked to ceramide anchors containing oc-
                                                                    Fig. 2. Plasmid encapsulation e¤ciency for the SPLP detergent
tanoyl acyl groups (PEG-CerC8 ). Results for SPLP
                                                                    dialysis procedure as a function of cationic lipid content for a
containing PEG-CerC14 and PEG-CerC20 are also                       variety of cationic lipids: (A) DOTMA (8), DODMA-AN (*),
presented for comparison (for structures see Fig. 3).               (B) DSDAC (R), DODAC (F), and (C) DC-CHOL (b). SPLP
Preliminary experiments suggested that more than                    were prepared as described in Section 2, employing 25 Wg
10 mol% of the PEG-CerC8 was required to achieve                    pCMVCAT plasmid with 5 Wmol total lipid consisting of 10
optimal plasmid entrapment and, therefore, the en-                  mol% PEG-CerC14 , x mol% cationic lipid, and 903x mol%
                                                                    DOPE. Encapsulation was assayed by measuring DNA recovery
trapment pro¢le was generated as a function of                      after passage of the dialysate through a DEAE Sepharose CL-
PEG-ceramide content rather than cationic lipid con-                6B column (see Section 2). The average and standard deviation
tent. The detergent dialysis protocol was then applied              from three individual experiments are shown.




                                                                                                              JA001506

                                                        BBAMEM 77612 6-7-99
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 163 of 1274 PageID #: 8469



144                        K.W.C. Mok et al. / Biochimica et Biophysica Acta 1419 (1999) 137^150




                      Fig. 3. Structures of poly(ethylene glycol)-ceramides (PEG-Cer) used in this study.



to systems containing 25 Wg pCMVCAT and 5.0                       in Fig. 5B, transfection of BHK cells employing
Wmol total lipids where the cationic lipid content                pCMVLgal-DOTMA/DOPE (1:1) complexes gave
was maintained at 7.5 mol% DODAC. As shown                        transfection levels which are approximately an order
in Fig. 4, maximum entrapment levels are observed                 of magnitude higher than observed for the SPLP
at approximately 20 mol% PEG-CerC8 , whereas the                  preparation. In addition, good transfection activity
maximum plasmid entrapment for the PEG-CerC14                     was observed at low (0.5 Wg pCMVLgal) plasmid
and PEG-CerC20 systems are in the range of 10^12                  levels and at short (4 h) incubation times.
mol% of the PEG-Cer.                                                 In order to characterize the in£uence of the ceram-
                                                                  ide anchor on the transfection properties, SPLP con-
3.3. In£uence of the PEG anchor on transfection                   taining pCMVLgal were generated by using 400 Wg
     properties of SPLP                                           pCMVLgal and 10 Wmol lipid mixtures. Lipid com-
                                                                  positions of DOPE/DOTMA/PEG-Cer (83.5:6.5:10;
   The transfection properties of SPLP were investi-              molar ratios) using the amide chain lengths of C8 ,
gated employing SPLP with entrapped pCMVLgal to                   C14 , and C20 were prepared. These systems were then
allow a convenient assay for transfection. Further,               puri¢ed to remove empty vesicles employing the den-
the transfection protocol involved using puri¢ed                  sity centrifugation protocol, and the transfection
SPLP, where the empty vesicles produced during                    properties of the puri¢ed SPLP containing PEG-
the detergent dialysis procedure were removed by                  CerC8 , PEG-CerC14 and PEG-CerC20 in BHK cells
density gradient centrifugation as detailed in Section            under standard transfection conditions (2 Wg
2. The initial set of experiments was designed to as-             pCMVLgal; 24 h incubation) are illustrated in Fig.
certain appropriate transfection conditions for the               6. A correlation between the transfection activities
SPLP (DOPE/DOTMA/PEG-CerC8 ; 73:7:20; molar                       and the length of the ceramide anchor is observed.
ratios) system. As shown in Fig. 5A, protocols em-                SPLP formed with PEG-CerC8 give rise to 30-fold
ploying SPLP containing 0.5 Wg pCMVLgal gave lit-                 higher transfection activity than systems formed with
tle or no transfection; however signi¢cant transfec-              PEG-CerC14 , which in turn results in 8-fold higher
tion was observed for SPLP containing 1.0 or 2.0 Wg               transfection activity than SPLP formed with PEG-
of plasmid DNA at transfection times of 24 h or                   CerC20 .
longer. Thus, a 24 h incubation time and 2.0 Wg
plasmid DNA was utilized for the standardized                     3.4. In£uence of cationic lipid species on transfection
SPLP transfection protocol in subsequent experi-                       properties of SPLP
ments. It is of interest to compare the transfection
properties of SPLP with that achieved employing                     The transfection properties of SPLP containing the
plasmid DNA-cationic lipid complexes. As shown                    di¡erent cationic lipids with 20% PEG-CerC8 are il-




                                                                                                            JA001507

                                                   BBAMEM 77612 6-7-99
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 164 of 1274 PageID #: 8470



                              K.W.C. Mok et al. / Biochimica et Biophysica Acta 1419 (1999) 137^150                           145


                                                                   lustrated in Fig. 7. The standard SPLP transfection
                                                                   protocol (2.0 Wg pCMVLgal; 24 h incubation time)
                                                                   was utilized. It may be observed that the inclusion of
                                                                   di¡erent cationic lipids in SPLP did lead to di¡erent
                                                                   transfection activity, leading to the transfection po-
                                                                   tency pro¢le of DODMA-AN s DOTMA s DO-
                                                                   DAC s DSDAC s DC-CHOL.




                                                                   Fig. 5. Transfection properties of SPLP and plasmid DNA-cati-
                                                                   onic lipid complexes. (A) L-Gal expression in BHK cells result-
                                                                   ing from incubation with SPLP containing 0.25 Wg pCMVLgal
                                                                   (open bars), 1.0 Wg pCMVLgal (shaded bars), and 2.0 Wg
                                                                   pCMVLgal (solid bars) for 4 and 24 h is shown. (B) L-Gal ex-
Fig. 4. Plasmid encapsulation e¤ciency for the SPLP detergent      pression in BHK cells resulting from incubation with complexes
dialysis procedure utilizing (A) PEG-CerC8 , (B) PEG-CerC14        containing 0.25 Wg pCMVLgal (open bars), 0.50 Wg pCMVLgal
and (C) PEG-CerC20 . SPLP were prepared as described in Sec-       (shaded bars), and 1.0 Wg pCMVLgal (solid bars) for 4 and 24
tion 2 employing 25 Wg pCMVCAT formulated with 5.0 Wmol            h. SPLP (DOPE/DOTMA/PEG-CerC8 ; 73:7:20; molar ratios)
total lipids containing 7.5 mol% DODAC, x mol% PEG-Cer,            and plasmid DNA-cationic lipid complexes (DOTMA/DOPE
and 92.53x mol% DOPE. Encapsulation was assayed by meas-           (1:1)-pCMVLgal; charge ratio of 1.0) were prepared from
uring plasmid recovery after passage of the dialysate through a    pCMVLgal as described in Section 2. SPLP were puri¢ed em-
DEAE Sepharose CL-6B column. The average and standard de-          ploying the discontinuous sucrose density gradient centrifuga-
viations calculated from three individual experiments are          tion protocol. The average and standard deviation from tripli-
shown.                                                             cates are shown.




                                                                                                            JA001508

                                                      BBAMEM 77612 6-7-99
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 165 of 1274 PageID #: 8471



146                           K.W.C. Mok et al. / Biochimica et Biophysica Acta 1419 (1999) 137^150


                                                                   PEG polymer associated with the ceramide anchor.
                                                                   This was investigated for PEG-CerC14 molecules
                                                                   containing PEG750 , PEG2000 and PEG5000 . Relatively
                                                                   poor entrapment levels in the range of 40% were
                                                                   achieved for the PEG750 -CerC14 and PEG5000 -CerC14
                                                                   systems as compared to nearly 60% for the PEG2000 -
                                                                   CerC14 containing system (data not shown).
                                                                      Transfection studies were performed on SPLP
                                                                   formed initially with 400 Wg pCMVLgal and 10
                                                                   Wmol total lipids composed of DOPE, DOTMA,
                                                                   and PEG-CerC14 (83.5:6.5:10; molar ratios) for all
                                                                   the PEG species. These preparations were then puri-
Fig. 6. Transfection properties of SPLP containing PEG-CerC8 ,     ¢ed employing the density centrifugation procedure
PEG-CerC14 and PEG-CerC20 . BHK cells were transfected with        and used to transfect BHK cells according to the
SPLP composed of DOPE/DOTMA/PEG-Cer (83.5:6.5:10; mo-              standard protocol. The transfection properties of
lar ratios) and 2.0 Wg pCMVLgal for 24 h as outlined in Sec-
                                                                   these SPLP containing PEG750 -CerC14 , PEG2000 -
tion 2. SPLP were puri¢ed employing the discontinuous sucrose
density gradient centrifugation protocol. The average and          CerC14 and PEG5000 -CerC14 are illustrated in Fig.
standard deviation from triplicates are shown.                     8. SPLP containing PEG750 have slightly higher in
                                                                   vitro transfection potency than systems formed
                                                                   with PEG2000 or PEG5000 .
3.5. In£uence of PEG polymer length on formation
     and transfection properties of SPLP                           3.6. Comparison of intracellular delivery of plasmid
                                                                        by SPLP and complexes
   An alternative approach to improve the transfec-
tion potency of SPLP is to reduce the length of the                   The results to this point indicate that SPLP con-
                                                                   taining DODMA-AN, PEG anchors with shorter
                                                                   amide chains and PEG coatings composed of shorter




Fig. 7. Transfection properties of SPLP formed with the cati-
onic lipids DODMA-AN, DOTMA, DODAC, DSDAC, and
DC-CHOL and transfection achieved employing DOTMA-                 Fig. 8. Transfection properties of SPLP containing PEG-ceram-
DOPE complexes. SPLP composed of cationic lipid (DODMA-            ides in which the size of the PEG polymer is varied (PEG750 ,
AN and DOTMA, 7.0 mol%; DODAC and DSDAC, 7.5                       PEG2000 and PEG5000 ). L-Gal expression in BHK cells was as-
mol%; DC-CHOL, 9.0 mol%), DOPE, and 20 mol% PEG-                   sayed following incubation with SPLP containing 2.0 Wg
CerC8 containing 2.0 Wg pCMVLgal, and pCMVLgal-DOTMA/              pCMVLgal for 24 h. SPLP (DOPE/DOTMA/PEG-CerC14 ;
DOPE (1:1) complexes (charge ratio of 1.0; 0.5 Wg pCMVLgal)        83.5:6.5:10; molar ratios) containing pCMVLgal were prepared
were incubated with BHK cells and transfection assayed at 24       as indicated in Section 2. SPLP were puri¢ed employing the
h. The average and standard deviation from triplicates are         discontinuous sucrose density gradient centrifugation protocol.
shown.                                                             The average and standard deviation from triplicates are shown.




                                                                                                            JA001509

                                                     BBAMEM 77612 6-7-99
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 166 of 1274 PageID #: 8472



                           K.W.C. Mok et al. / Biochimica et Biophysica Acta 1419 (1999) 137^150                             147


PEG polymers result in improved transfection of
BHK cells in vitro. However, in all cases the trans-
fection levels achieved are substantially lower than
those observed for plasmid DNA-cationic lipid com-
plexes. This may result from a reduced a¤nity of
SPLP for cells due to the presence of the PEG coat-
ing on the SPLP and the much reduced positive
charge on the SPLP as compared to complexes.
Both of these e¡ects may act to substantially reduce
the amount of plasmid that is delivered to the cell. In
order to determine whether this could account for
the reduced transfection potency of SPLP as com-
pared to complexes, the time dependent cellular up-
take of pCMVLgal in both lipid-based DNA carriers
was investigated. SPLP were formed from 400 Wg
pCMVLgal and 10 Wmol total lipids composed of
DOPE/DOTMA/PEG-CerC8 (73:7:20; molar ratios)
and were puri¢ed by density centrifugation. Puri¢ed
SPLP samples (2 Wg pCMVLgal) and DNA-cationic
lipid complexes (DOTMA/DOPE (1:1)-pCMVLgal;
charge ratio of 1.0; 2.0 Wg pCMVLgal) were trans-
fected as outlined in Section 2. Plasmid DNA deliv-
ered by the complexes demonstrate rapid, high cellu-
lar uptake and subsequent degradation with
maximum plasmid levels at 4 h; whereas SPLP yield
maximum plasmid delivery at a 8^24 h incubation
(Fig. 9A). It may be noted that the maximum level
of plasmid delivered by complexes is more than
30 times that delivered by SPLP.
   The integrity of the delivered plasmid DNA over
time is illustrated in Fig. 9B. Although the complexes
delivered much more plasmid, this plasmid was de-
graded more rapidly than that delivered by the SPLP
systems. This is indicated by the smears observed in
the DNA delivered by the complexes as shown in the              Fig. 9. Southern blot analysis of intracellular delivery of plas-
agarose gel electrophoretic pattern (Fig. 9B). This             mid DNA by SPLP and plasmid DNA-cationic lipid complexes.
                                                                SPLP composed of DOPE/DOTMA/PEG-CerC8 (73:7:20; mo-
indicates that plasmid DNA entrapped within the                 lar ratios) and complexes composed of DOTMA/DOPE (1:1)-
particles is not as susceptible to degradation by cel-          pCMVLgal (charge ratio of 1.0) were used. DNA transfection
lular enzymes as compared to plasmid DNA associ-                and cellular uptake studies were performed as described in Sec-
ated with complexes.                                            tion 2. Comparison of the cellular uptake of plasmid DNA us-
                                                                ing DNA-cationic lipid complexes (b) and SPLP (F) is shown
                                                                in panel A. Southern blot analysis of the integrity of the plas-
                                                                mid DNA delivered by the two lipid-based DNA carriers is
4. Discussion                                                   shown in panel B. The average and standard deviation from
                                                                triplicates are shown.
  This work was aimed at characterizing factors that
in£uence the transfection potency of stabilized plas-           can modulate SPLP transfection e¤cacy are the spe-
mid-lipid particles with the aim of improving trans-            cies of cationic lipid employed, the size of the PEG
gene expression. It is shown that three factors that            polymer coating the SPLP and the length of the acyl




                                                                                                           JA001510

                                                 BBAMEM 77612 6-7-99
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 167 of 1274 PageID #: 8473



148                        K.W.C. Mok et al. / Biochimica et Biophysica Acta 1419 (1999) 137^150


chain contained in the ceramide `anchor'. These fac-            1.2 min [19], whereas PEG-CerC14 and PEG-CerC20
tors are discussed in turn, followed by a discussion of         exhibit t1=2 values of 1.2 h and greater than 13 days,
the implications of the observation that the low levels         respectively [7]. It is also consistent with the obser-
of SPLP uptake into cells may be the primary pa-                vation that fusion between LUVs can be inhibited by
rameter limiting transgene expression.                          the presence of a PEG coating anchored to PE mol-
   With regard to the in£uence of di¡erent cationic             ecules, and that fusogenicity could be restored by
lipids, the results presented here demonstrate that             using PE anchors with short acyl chains [13]. Other
plasmid encapsulation employing the detergent dial-             workers have shown that the transfection potency of
ysis process is relatively independent of the species of        plasmid DNA-cationic lipid complexes is signi¢-
monovalent cationic lipid employed. Although it is              cantly reduced by the presence of PEG-PE [14].
di¤cult to discern any de¢nite trends, DODMA-AN                 The ability of the PEG coating on SPLP to inhibit
and DOTMA appear to provide the maximum en-                     transfection can arise due to reduced binding and
trapment at the lowest cationic lipid content (V7%),            therefore reduced uptake into target cells, or reduced
followed by DODAC and DSDAC (V7.5%) and                         e¤ciency in fusing with the endosomal membrane in
DC-CHOL (V9%). Interestingly, SPLP composed                     order to achieve intracellular delivery of the plasmid.
of DODMA-AN and DOTMA exhibit signi¢cantly                         The formulation properties of SPLP containing
higher transfection potencies than SPLP containing              PEG-CerC8 are clearly di¡erent from the properties
DODAC, DSDAC or DC-CHOL (Fig. 7). These re-                     of SPLP containing longer chain ceramides, in that
sults could be taken to suggest that cationic lipids            optimum encapsulation is achieved at V20 mol%
with the greatest a¤nity for plasmid DNA under                  PEG-CerC8 as compared to V10 mol% for SPLP
the conditions of detergent dialysis lead to the most           containing PEG-CerC14 or PEG-CerC20 (Fig. 4). It
potent transfection systems. In any event, it is clear          is possible that the partition coe¤cient of the shorter
that the species of cationic lipid does in£uence the            chain PEG-CerC8 for the SPLP outer monolayer is
transfection capability of the resulting SPLP, with             reduced, resulting in a requirement for a higher con-
DODMA-AN resulting in the highest transfection                  centration of the PEG-CerC8 to achieve adequate
levels and DC-CHOL the lowest, with DODAC                       membrane levels for stabilization.
and DSDAC giving rise to intermediate transfection                 The third parameter, the length of the PEG poly-
levels.                                                         mer, appears to in£uence the formulation properties
   The second factor which clearly plays a major role           of the SPLP more than the transfection potency. The
in modulating the transfection potency of SPLP is               transfection potency of SPLP containing PEG750 ,
the length of the acyl chain contained in the hydro-            PEG2000 and PEG5000 coupled to CerC14 are similar
phobic ceramide group which anchors the PEG coat-               (Fig. 8), however the formulation properties di¡er
ing to the SPLP surface. Previous work has shown                signi¢cantly. In particular, the maximum e¤ciency
that inclusion of PEG-CerC14 in SPLP results in en-             for plasmid encapsulation that could be achieved
hanced expression in vitro as compared to SPLP                  for SPLP containing PEG750 or PEG5000 was
containing PEG-CerC20 , however the levels of gene              V40%, as compared to V60% for the PEG2000 sys-
expression were low in all cases [7]. The results pre-          tem (data not shown). Reduced plasmid entrapment
sented here show that 30-fold higher transfection lev-          for shorter PEG polymers would be expected due to
els can be achieved for SPLP containing PEG-CerC8               the reduced steric stabilizing capacity of the shorter
as compared to PEG-CerC14 (Fig. 6). This improved               PEG polymers. The reason for the poorer entrap-
transfection ability presumably re£ects a faster leav-          ment for the SPLP containing PEG5000 -ceramide is
ing rate for the shorter chain PEG-ceramides from               not currently understood. It may result from a higher
the SPLP surface in the sequence PEG-                           CMC of the PEG5000 -ceramide due to the larger size
CerC8 s PEG-CerC14 s PEG-CerC20 , leaving the                   of the polar region, or to the interference of the
SPLP surface less shielded by PEG for the C8 con-               longer PEG polymer with the association of plasmid
taining system. This e¡ect is fully consistent with             with the lipid intermediates generated during forma-
previous work showing that the half-time (t1=2 ) for            tion of SPLP [7]. The fact that SPLP containing
dissociation of PEG-CerC8 from LUV is less than                 PEG-ceramides with shorter PEG polymers do not




                                                                                                    JA001511

                                                 BBAMEM 77612 6-7-99
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 168 of 1274 PageID #: 8474



                            K.W.C. Mok et al. / Biochimica et Biophysica Acta 1419 (1999) 137^150                             149


exhibit signi¢cantly higher transfection potencies pre-          than plasmid delivered in complexes presumably re-
sumably re£ects the fact that the presence of PEG-               £ects the resistance of the SPLP particle to break-
ceramides which are su¤cient to stabilize formation              down by intracellular factors. It also points out the
of the SPLP during the detergent dialysis process are            potential for more stable particles such as SPLP to
also su¤cient to inhibit uptake into cells.                      extend the duration of transfection resulting from
   The ¢nal area of discussion concerns the observa-             transfection by non-viral gene delivery systems.
tion that SPLP exhibit much lower levels of accumu-                 In summary, this investigation characterizes fac-
lation into target cells as compared to plasmid DNA-             tors that regulate the transfection potency of stabi-
cationic lipid complexes, and that the plasmid deliv-            lized plasmid-lipid particles. It is shown that the
ered by SPLP remains intact in the cell for a longer             transfection potency is sensitive to both the cationic
time following cellular uptake. With regard to the               lipid species and the species of PEG-ceramide em-
¢rst point, when BHK cells are presented with equiv-             ployed to construct the SPLP. Improved transfection
alent amounts of plasmid DNA in either the complex               activity can be achieved by the use of the cationic
form or in SPLP (DOPE/DOTMA/PEG-CerC8 ;                          lipid DODMA-AN, PEG-ceramides incorporating
73:7:20; molar ratios) form, the maximum amount                  smaller PEG polymers and, most importantly, the
of plasmid that is delivered into the cells by the SPLP          use of PEG-ceramides containing shorter acyl groups
is less than 3% of the maximum amount delivered by               in the ceramide anchor. Further, it is shown that the
the plasmid DNA-cationic lipid complexes. Thus                   dominant factor leading to lower levels of transfec-
even though the in vitro transfection potency of the             tion by SPLP is the low level of SPLP accumulation
complexes      (DOTMA/DOPE           (1:1)-pCMVLgal;             by the target cells. These observations point the way
charge ratio of 1.0; 2 Wg pCMVLgal) is at least 10-              to achieve plasmid delivery systems that exhibit en-
fold higher than the SPLP (DOPE/DOTMA/PEG-                       hanced levels of gene expression for in vivo gene
CerC8 ; 73:7:20; 2 Wg pCMVLgal; 24 h transfection),              therapy.
the reduced potency of the SPLP can be attributed to
a 30-fold or more reduction in plasmid uptake as
compared to complexes. This reduced plasmid up-                  Acknowledgements
take likely results from a low a¤nity of the SPLP
particle for the cell membrane as compared to com-                 This work was supported by Inex Pharmaceuticals
plexes, although breakdown of SPLP-associated                    Corporation and the Natural Sciences and Engineer-
plasmid could give similar results. The fact that pre-           ing Research Council of Canada under the Collabo-
vious studies [7] show SPLP plasmid to be highly                 rative Research and Development Program. We
stable and the results presented here showing that               thank L. Palmer from our laboratory and Dr. P.
plasmid delivered to cells in SPLP is broken down                Scherrer from Inex Pharmaceuticals Corporation
more slowly than plasmid in complexes suggests that              for technical consultation on SPLP preparation. We
a low a¤nity of the SPLP for the cell is the dominant            would also like to thank Dr. S. Ansell from Inex for
factor. In any event, the fact that the reduced po-              the generous supply of di¡erent cationic lipids, Dr.
tency of SPLP as compared to complexes can be                    Z. Wang for the supply of di¡erent PEG-Cer, and A.
attributed to low cellular uptake argues strongly                Annuar for the supply of 3 H-pCMVCAT.
that SPLP exhibit an intrinsic ability to transfect cells
following uptake that is at least comparable to com-
plexes. These results also suggest that the most direct          References
way to improve the transfection properties of SPLP
is to enhance cellular uptake. This could be accom-               [1] N. Zhu, D. Liggitt, Y. Liu, R. Debs, Systemic gene expres-
plished in a number of ways, including incorporation                  sion after intravenous DNA delivery into adult mice, Science
                                                                      261 (1993) 209^211.
of external targeting ligands to promote cell associa-            [2] R.I. Mahato, K. Kawabata, T. Nomura, Y. Takakura, M.
tion and uptake.                                                      Hashida, Physicochemical and pharmacokinetic characteris-
   The second observation that plasmid delivered to                   tics of plasmid DNA/cationic liposome complexes, J. Phar-
cells by SPLP is broken down at a much slower rate                    macol. Sci. 84 (1995) 1267^1271.




                                                                                                            JA001512

                                                  BBAMEM 77612 6-7-99
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 169 of 1274 PageID #: 8475



150                              K.W.C. Mok et al. / Biochimica et Biophysica Acta 1419 (1999) 137^150


 [3] I. Solodin, C.S. Brown, M.S. Bruno, C.-Y. Chow, E.-H.                  series of cationic lipid formulations, J. Biol. Chem. 269
     Jang, R.J. Debs, T.D. Heath, A novel series of amphiphilic             (1994) 2550^2561.
     imidazolinium compounds for in vitro and in vivo gene de-         [12] N.K. Egilmez, Y. Iwanuma, R.B. Bankert, Evaluation and
     livery, Biochemistry 34 (1995) 13537^13544.                            optimization of di¡erent cationic liposome formulations for
 [4] D.C. Litzinger, J.M. Brown, I. Wala, S.A. Kaufman, G.Y.                in vivo gene transfer, Biochem. Biophys. Res. Commun. 221
     Van, C.L. Farrell, D. Collins, Fate of cationic liposomes and          (1996) 169^173.
     their complex with oligonucleotide in vivo, Biochim. Bio-         [13] J.W. Holland, C. Hui, P.R. Cullis, T.D. Madden, Poly(ethy-
     phys. Acta 1281 (1996) 139^149.                                        lene glycol)-lipid conjugates regulate the calcium-induced fu-
 [5] Y. Liu, L.C. Mounkes, H.D. Liggit, C.S. Brown, I. Solodin,             sion of liposomes composed of phosphatidylethanolamine
     T.D. Heath, R.J. Debs, Factors in£uencing the e¤ciency of              and phosphatidylserine, Biochemistry 35 (1996) 2618^2624.
     cationic liposome-mediated intravenous gene delivery, Na-         [14] K. Hong, W. Zheng, A. Baker, D. Papahadjopoulos, Stabi-
     ture Biotechnol. 15 (1997) 167^173.                                    lization of cationic liposome-plasmid DNA complexes by
 [6] N.S. Templeton, D.D. Lasic, P.M. Frederik, H.H. Strey,                 polyamines and poly(ethylene glycol)-phospholipid conju-
     D.D. Roberts, G.N. Pavlakis, Improved DNA :liposome                    gates for e¤cient in vivo gene delivery, FEBS Lett. 400
     complexes for increased systemic delivery and gene expres-             (1997) 233^237.
     sion, Nature Biotechnol. 15 (1997) 647^652.                       [15] K.W.C. Mok, P.R. Cullis, Structural and fusogenic proper-
 [7] J.J. Wheeler, L. Palmer, M. Ossanlou, I. MacLachlan, R.                ties of cationic liposomes in the presence of plasmid DNA,
     Graham, P. Scherrer, M.J. Hope, P.R. Cullis, Stabilized                Biophys. J. 73 (1997) 2534^2545.
     plasmid-lipid particles: construction and characterization,       [16] J. Sambrook, E.F. Fritsch, T. Maniatis, Extraction and pu-
     Gene Ther. 6 (1999) 271^281.                                           ri¢cation of plasmid DNA, in: C. Nolan (Ed.), Molecular
 [8] X. Gao, L. Huang, A novel cationic liposome reagent for                Cloning: A Laboratory Manual, Vol. I, Cold Spring Harbor
     e¤cient transfection of mammalian cells, Biochem. Biophys.             Laboratory Press, Cold Spring Harbor, NY, 1989, pp. 1.21^
     Res. Commun. 179 (1991) 280^285.                                       1.52, 5.28^5.32, and 6.3^6.19.
 [9] J.K. Rose, L. Buonocore, M.A. Whitt, A new cationic lip-          [17] C.H. Fiske, Y. Subbarow, The colorimetric determination of
     osome reagent mediating nearly quantitative transfection of            phosphorus, J. Biol. Chem. 66 (1925) 375^379.
     animal cells, BioTechniques 10 (1991) 520^525.                    [18] L.D. Mayer, M.J. Hope, P.R. Cullis, Vesicles of variable
[10] W.R. Jarnagin, R.J. Debs, S.-S. Wang, D.M. Bissell, Cati-              sizes produced by a rapid extrusion procedure, Biochim.
     onic lipid-mediated transfection of liver cells in primary cul-        Biophys. Acta 858 (1986) 161^168.
     ture, Nucleic Acids Res. 20 (1992) 4205^4211.                     [19] J.W. Holland, M.A. Monck, L.S. Choi, P.R. Cullis, T.D.
[11] J.H. Felgner, R. Kumar, C.N. Sridhar, C.J. Wheeler, Y.J.               Madden, Programmable fusion between cationic liposomes
     Tsai, R. Border, P. Ramsey, M. Martin, P.L. Felgner, En-               and a eukaryotic plasma membrane, J. Biol. Chem. (1999)
     hanced gene delivery and mechanism studies with a novel                (submitted).




                                                                                                                   JA001513

                                                          BBAMEM 77612 6-7-99
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 170 of 1274 PageID #: 8476




                   JOINT APPENDIX 52
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 171 of 1274 PageID #: 8477
                                                                                         I 1111111111111111 11111 111111111111111 11111 11111 lllll 111111111111111 11111111
                                                                                                                         US006287591Bl

       (12)     United States Patent                                                                 (rn) Patent No.:     US 6,287,591 Bl
               Semple et al.                                                                         (45) Date of Patent:      Sep.11,2001


       (54)      CHARGED THERAPEUTIC AGENTS                                                                   FOREIGN PATENT DOCUMENTS
                 ENCAPSUIATED IN LIPID PARTICLES
                                                                                               WO 95/27478
                 CONTAINING FOUR LIPID COMPONENTS                                                       Al              10/1995 (WO) .
       (75)      Inventors: Sean C. Semple, Vancouver; Sandra                                                         (List continued on next page.)
                            K. Klinrnk, N. Vancouver; Troy
                            Harasym, Vancouver; Michael J.                                                             OTHER PUBLICATIONS
                            Hope, Vancouver; Steven M. Ansell,                                Needham et al., J. Liposome Res. 2: 411-430 (1992).*
                            Vancouver; Pieter Cullis, Vancouver;
                            Peter Scherrer, Vancouver; Dan                                                            (List continued on next page.)
                            Debeyer, Vancouver, all of (CA)
                                                                                              Primary Examiner-David M. Naff
                                                                                              (74) Attorney, Agent, or Firm-Oppedahl & Larson LLP
        (73)     Assignee: Inex Pharmaceuticals Corp., Burnaby
                           (CA)                                                               (57)                            ABSTRACT

       ( *)      Notice:       Subject to any disclaimer, the term of this                    Lipid-therapeutic agent particles are prepared containing a
                               patent is extended or adjusted under 35                        charged therapeutic agent encapsulated in lipid portion
                               U.S.C. 154(b) by O days.                                       containing at least two lipid components including a proto-
                                                                                              natable or deprotonatable lipid such as an amino lipid and a
                                                                                              lipid that prevents particle aggregation during lipid-
       (21)      Appl. No.: 09/078,954
                                                                                              therapeutic agent particle formation such as a PEG-modified
       (22)      Filed:        May 14, 1998                                                   or polyamide oligomer-modified lipid. Other lipid compo-
                                                                                              nents may also be present and these include a neutral lipid
                           Related U.S. Application Data                                      such as DSPC, POPC, DOPE or SM, and a stern! such as
                                                                                              Chol. The therapeutic agent is encapsulated by combining a
       ( 63)     Continuation-in-part of application No. 08/856,374, filed on                 mixture of the lipids with a buffered aqueous solution of a
                 May 14, 1997, now abandoned.                                                 charged therapeutic agent to form an intermediate mixture
       (51)      Int. Cl.7 .......................... A61K 9/127; A61K 31/70;                 containing lipid-encapsulated therapeutic agent particles,
                                 C12N 11/02; C12N 15/88; C07H 21/00                           and changing the pH of the intermediate mixture to neutral-
                                                                                              ize at least some surface charges on the particles. The
       (52)      U.S. Cl . ....................... 424/450; 428/402.2; 435/177;
                                                                                              method permits high ratios of therapeutic agent to lipid and
                                                      435/458; 514/44; 536/22.1
                                                                                              encapsulation efficiencies in excess of 50%. The method is
       (58)      Field of Search ............................. 424/450; 435/174,              particularly useful for preparing lipid-encapsulated nucleic
                          435/177, 458; 428/402.2; 514/44; 536/22.1,                          acids such as an antisense polyanionic nucleic acid having
                                                                            23.1              exclusively phosphodiester linkages. The encapsulated
                                                                                              nucleic acid can be contacted with a cell to introduce the
       (56)                      References Cited                                             nucleic acid into the cell such as for treatment or prevention
                                                                                              of a disease characterized by aberrant expression of a gene.
                           U.S. PATENT DOCUMENTS                                              A pharmaceutical composition may be prepared containing
                                                                                              the lipid-encapsulated therapeutic agent particles and a
               5,264,618     11/1993   Feigner et al. ....................... 560/224
               5,552,155      9/1996   Bailey et al. ........................ 424/450
                                                                                              carrier.
               5,595,756      1/1997   Bally et al. .......................... 424/450
               5,965,542   * 10/1999   Wasan et al. .......................... 514/44                             72 Claims, 17 Drawing Sheets



                                                                                                         pH 4.0 11\/TERNAL

                                                                                                         pH 4.0 EXTERN AL




                                                             COL.UMN CHROMATOGRAPHY        ~
                                                             i FXCHANGE      4 0 Cl-,-RATE
                                                                FOR pl-I 7.5                         .f RELEASE OF
                                                             2   NEUTRALIZE SURFACE                  5   SURFACE
                                                                 DODAP, ANT1SENSE RELEASE        \       ANTiSENSE.
                                                                 REMOVAL OF tJON-
                                                                 ENCAPSULA'ED ANTISENSE




                                                                                                         pH 4.0 INTERNAL

                                                                                                         pH 75 EXTERNAL




                                                                                                                                                             JA001514
                                                                                                                                                 M RNA-G EN-00203227
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 172 of 1274 PageID #: 8478


                                                            US 6,287,591 Bl
                                                                     Page 2



                   FOREIGN PATENT DOCUMENTS                               Litzinger, D.C., '"Limitations of Cationic Liposomes for
                                                                          Antisense Oligonucleotide Delivery In Vivo", Journal of
        WO 96/10390      4/1996 (WO).
                                                                          Liposome Research 7(1):51-61, 1997.
        WO 96/10391      4/1996 (WO).
        WO 96/18372                                                       Wielbo, D., et al., "Inhibition of Hypertension by Peripheral
                 A2      6/1996 (WO).                                     Administration of Antisense Oligodeoxynucleotides",
        WO 96/40964     12/1996 (WO).                                     Hypertension 28(1): 147-151, Jul. 1996.
        WO 97/07784      3/1997 (WO).                                     Thierry,A.R., el al., "Lipsomal Delivery as a New Approach
        WO 97/46223                                                       to Transport Antisense Oligonucleotides", in Gene Regula-
                 Al     12/1997 (WO).                                     tion:Giology of Antisense RNA and DNA, ed. R.P. Erickson
        WO 97/46671     12/1997 (WO).                                     and J.G. Izant, Raven Press, Ltd. New York, pp. 147-161,
                        OTI-IER PUBLICATIONS                              1992.
                                                                          Akhtar, S. and R.L. Juliano, '"Liposome delivery of antisense
       Li et al., J. Liposome Res. 7: 411-430 (1997).*                    oligonucleotides: adsorption and efflux characteristics of
       Zelphati, 0. and Szoka, F.C., Jr., "'Liposomes as a carrier for    phosphorothioate oligodeoxynucleotides", Journal of Con-
       intracellular delivery of antisense oligonucleotides: a real or    trolled Release 22(1): 47-56, Sep. 1992.
       magic bullet?", Journal of controlled Release 41:99-119,           Zelphali, 0., et al., "Inhibition of HIV-1 Replication in
       1996.                                                              Cultured Cells with Anlisense Oligonucleotides Encapsu-
       Tomita, N. et al. Transient Decrease in High Blood pressure        lated in Immunoliposomes", Antisense Research and Devel-
       by In Vivo Transfer of Antisense Oligodeoxynucleotides             opment, 3:323-338, 1993.
       Against Rat Angiotensinogen', Hypertension 26(1):
       131-136, Jul. 1995.                                                * cited by examiner




                                                                                                                          JA001515
                                                                                                                  M RNA-G EN-00203228
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 173 of 1274 PageID #: 8479


        U.S. Patent        Sep. 11,2001     Sheet 1 of 17       US 6,287,591 Bl




                                                            pH 4.0 INTERNAL

                                                            pH 4.0 EXTERNAL




            COLUMN CHROMATOGRAPHY
            1. EXCHANGE pH 4.0 CITRATE
               FOR pH 7.5 H BS
                                                            RELEASE OF
            2. NEUTRALIZE SURFACE                           SURFACE
               DODAP; ANTISENSE RELEASE                     ANTISENSE
            3. REMOVAL OF NON-
               ENCAPSULATED ANTISENSE




                                                            pH 4.0 INTERNAL

                                                            pH 7.5 EXTERNAL




                                          FIG. 1




                                                                         JA001516
                                                                    M RNA-G EN-00203229
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 174 of 1274 PageID #: 8480


        U.S. Patent        Sep. 11,2001          Sheet 2 of 17            US 6,287,591 Bl




             DODAP: AL-1

                                                                  0
                                                                      l
                                                                      I+ C1-
                                                                 0 o~~,

                                                                          0

             OTHER AMINO LIPIDS:


                                          ....
                                   LOW pH

                                                    R1 ANO/OR R2 ARE H 1
                                                    ALKYL OR FATTY ALKYL GROUPS
                                                    R3 IS H LOWER ALKYL.
                                                            1




                                     LOW pH


              11
             R AN DIOR R12 ARE LOWER ALKYL/ LOWER ACYL I FATTY ALKYL,
             FATTY ACYL.
            (AT LEAST ONE OF R11 OR R12 IS A LONG CHAIN ALKYL OR ACYL
            GROUP)

             R13 AND R14 ARE EACH H1 LOWER ALKYL.



                                          FIG. 2A




                                                                                   JA001517
                                                                              M RNA-G EN-00203230
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 175 of 1274 PageID #: 8481


        U.S. Patent            Sep. 11,2001        Sheet 3 of 17            US 6,287,591 Bl



             RYO                               O

                            II
              oo~ oII ~N-C-PEGMe
         R
             )lO          0-P-0
                            I
                           OH
                      A
                                                               Rl
                                                                   0            0
                                                                    1           11
                                                           R /'---o~O-CPEGMe


             RYO                                                       D

             0 0           0

        R
            )l0
              l ~o-ij-0-PEGMe
                    I
                           OH                                          0
                     B                                     R~          II
                                                                   N-CPEGMe
                                                           R-._/


                                                                       E




                     C




                                              FIG. 28



                                                                                     JA001518
                                                                               M RNA-G EN-00203231
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 176 of 1274 PageID #: 8482


       U.S. Patent                   Sep. 11,2001      Sheet 4 of 17                         US 6,287,591 Bl

                                100
                    .......
                    ~           90       9.9mg TOTAL LIPID
                    ~
                    >-                   2.0 mg ANTISENSE
                    u           80
                    z
                    w           70
                    u
                    LL          60
                    LL
                    w           50
                    z
                    0           40
                    I-
                    <t          30
                    _J
                    ::,
                    (I)         20
                    0..
                    <t           10
                    0
                    z
                    w            0
                                        0      10   20   30   40                            50
                                               ETHANOL CONTENT (%)

                                                    FIG. 3


                                25
                      _J
                      <t
                      I-
                      0         20
                      I-
                                                     ANTI SENSE
                      LL
                      0
                      ~         15
                     ......,,
                      0


                      a::
                      w
                      I-
                      _J        10
                      LL                                                  LIPID
                                                                              '\
                      z                                                               ' ' 'y )J
                      0
                                 5                                                /
                                                                                      ,,
                      (I)
                      (I)                                                .....a
                      0
                      _J
                                                              --~ ....
                                 0
                                        0    10 20 30 40     50 60
                                             ETHANOL CONTENT (%)

                                                    Fl G. 4




                                                                                                       JA001519
                                                                                                  M RNA-G EN-00203232
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 177 of 1274 PageID #: 8483


        U.S. Patent             Sep. 11,2001          Sheet 5 of 17            US 6,287,591 Bl


                      100 - - , - - - - - - - - - - - - ~ 0. 20
                             2 mg ANTI SENSE                                   0.18 _
                             9.8 mg TOTAL LIPID                                         3:
                      80                                                       0.16     3:
               z
               0                                                               0.14
                                                                                        0
               1-
               <l:
               _J
                      60                                                       0.12     ~
               :::,                                                                     0::
               (/)                                                             0.10     0
               0..
                                                                                        (l.
               j      40                                                       0.08     _J
               z                                                                         ..
               w                                                               0.06 (..')
                                                                                        :::,
                                                                                        0::
                       20                                                      0.04 o
                                                                               0.02
                       0 __,___,_-~-~-~-~~-----.--'-- 0.00
                            0  5   10    15    20  25   30
                            MOL% AL-1 (IN 13 mM TOTAL LIPID}

                                               Fl G. 5
               E 1.5 - r - - - - - - - - - - - - - - - - .
               '
               CJ'}          2 mg ANTISENSE
                E
               ._,,
                             9.8 mg TOTAL LIPID
               z
               0
               ~      1.0
               0::
               1-
               z
               w
               u
               z
               0
               u 0.5
               w
               (/)
               z
               w
               (/)

               1-
               z 0.0 - - - . - - - . - - - ~ - ~ - - - r - - - - - - . . - '
               <C
                            0      5     10      15      20      25     30
                            MOL% AL-1 (IN 13 mM TOTAL LIPID)

                                               FIG. 6



                                                                                               JA001520
                                                                                      M RNA-G EN-00203233
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 178 of 1274 PageID #: 8484


       U.S. Patent          Sep. 11,2001               Sheet 6 of 17                     US 6,287,591 Bl


              IMMEDIATELY AFTER REMOVAL OF FREE ANTI SENSE
                            VOLUME-WT GAUSSIAN DISTRIBUTION
                    100                                1-L
                                                       I I
                     80                                    I
                                                           L,
                     60                                        I

                     40                        r               I
                                               I               C.
                                               I                   I
                     20                    I                       l
                      0                r                               L.
                       10    20      30 100                    200           300   1K
                                           (VESICLES)

                   VOLUME WEIGHTING:
                   MEAN DIAMETER= 119.3 nm
                   STD DEVIATION= 32.2 nm (27.0 %)
                   CUMULATIVE RESULTS:
                   25 % OF DISTRIBUTION < 88.60 nm
                   50 % OF DISTRIBUTION < 106.74 nm
                   75 % OF DISTRIBUTION < 127. 93 nm
                   90 % OF DISTRIBUTION < 151.04 nm
                   99 % OF DISTRIBUTION < 199.22 nm


                       AFTER 2 MONTH STORAGE AT 4°C
                            VOLUME-WT GAUSSIAN DISTRIBUTION
                    100                                n
                     80                            -
                     60                                    -
                     40                        r
                                               I               ...,
                     20                        I                   I
                                       ..J                             "'L
                      0
                      10     20      30            100         200           300   1.K
                                               ( VESICLES)

                   VOLUME WEIGHTING:
                   MEAN DIAMETER= 114.2 nm
                   STD DEVIATION= 27.8 nm (24.3%)
                   CUMULATIVE RESULTS:
                   25 % OF DISTRIBUTION <   86.96 nm
                   50 % OF DISTRIBUTION < 102.86 nm
                   75 % OF DISTRIBUTION < 121.31 nm
                   90 % OF DISTRIBUTION < 140.78 nm
                   99 % OF DISTRIBUTION < 183.74 nm
                                                                                         FIG. 7




                                                                                                  JA001521
                                                                                             M RNA-G EN-00203234
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 179 of 1274 PageID #: 8485


       U.S. Patent                        Sep. 11,2001                   Sheet 7 of 17              US 6,287,591 Bl

                              DSPC: CHOL: AL-1: PEG-CerC14                                  EPC: CH
                                        PREPS                                                PREPS
                   100                                                                                   0.30

           t
                                                                                                                   I
                                                                                                                   I
                   90                                                                              0            9I
                                                                        -- --- --
                                                                                    _...o    -0          0.25
           0
            ~
           ..._,
                   80
                                                                ,.o--
                                                                                             (L
                                                                                             _J
                                                                                                   (L
                                                                                                   _J

                                                                                                   _J
                                                                                                                -3:
                                                                                                                   I



                                                                                                                .........
           >-      70                                     p--                                _J
                                                                                                                 ~
           0                                                                                 <(    <(    0.20
           z                                                                                 I-    I-
           w       60                                 I                                      0     0            0
                                                  I                                          I-    I-
           0                                                                                                    I-
           LL      50                         p                                              Q")   Q")

                                                                                                   E
                                                                                                         0.15   <(
                                                                                                                a::
           LL                             I                                                  E
           w       40                 I                                                      0     0            0
           z                      I                                                          IO    IO           (L
                              d                                                                    C\J   0.10
           0       30                                                                                           _J
                                                                                                                   I
           ~
           _J      20
                                                                                                   0            0
                                                                                                                I-
           ::::>                                                                                         0.05      l
           (J)
           (L
           <(
                    10                                9.9 mg TOTAL LIPID                     0     •            (.?
                                                                                                                ::::>
                                                                                                                a::
           0        0                                                                                    0.00   0
           z
           w               0     2    4    6    8   10   20 200
                         INITIAL ANTISENSE CONSENTRATION (mg/ml}
                                                                  FIG. 8
                     100 - - - - - - - - - - - - - - - - - - - ~
                                                                A. DSPC: CHOL: AL-1: PEG-CerC14
                                                                II SM: CHOL: AL-1: PEG-CerC14
                                                                8 POPC:CHOL: AL-1: PEG-CerC14




                         0 ~r----.--..---.------.----.-----,----,r----,----r--.---,--.--------J
                            0        4        8      12       16       20      24
                                                  TIME (h)
                                                                 Fl G. 9



                                                                                                                JA001522
                                                                                                         M RNA-G EN-00203235
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 180 of 1274 PageID #: 8486


        U.S. Patent                   Sep. 11, 2001                 Sheet 8 of 17                         US 6,287,591 Bl

                   so~------------------,
                                                                                    LIVER
                   70
                   60
                   50
                   40
                   30
                   20                                                                  •  POPC
            w                                                                          II SM
            ~ 10                                                                       A. DSPC
            0
            _J      0 -l---.-,---,--,----,-,-.------r-r-.-----r--.--.-----r--.---.----,----,-,-.------,--,--r---,-1
            <t
                                                                                    SPLEEN
            1-     10
            z
            LL
            O       8

                    6
            0
            0...
            _J      4
            LL
            0
                    2
            >-
            0:::
            ~      Q4----,-,-----,-T-r----r--r--r-r-,--,-r-,-r-,---.--.-,----,-~,--,-.---i--7
            0
            0
            w                                                                       KIDNEY
            0:::   4

                   3

                    2


                    1

                   0 ......l._-llP--,~--,--..--.--.-~--.--~---,----.------,-,---,--T""""","-----,--.----,----.--.-,----'
                            0            4              8            12            16             20             24
                                                                 TIME (h}

                                                    FIG. 10



                                                                                                                           JA001523
                                                                                                                 M RNA-G EN-00203236
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 181 of 1274 PageID #: 8487


        U.S. Patent               Sep. 11,2001             Sheet 9 of 17             US 6,287,591 Bl




                                                           9/17

                        -.. . .         1.00
                        w
                        (/)
                        zo
                        ~ ~             0.80
                        i= _J
                        Z LL
                        <[ 0
                        LL >--          0.60
                        0 a::
                        >-- w
                        a:: >
                        ~ 8 0.40
                        ow                         A DSPC: CHOL: AL -1: PEG-CerC14
                        u 0::
                        w~                         111 SM: CHOL: AL-1: PEG-CerC14
                         0
                        0::             0.20
                                                   e POPC:CHOL: AL-1:PEG-CerC14

                                               0       4     8     12   16     20    24
                                                                 TIME (h)

                                                       FIG. 11

                                         100


                                  w
                                  (/)
                                         80
                                  0
                                  0

                                  8
                                  f-
                                         60
                                  u
                                  w
                                  -:>
                                  z      40
                                  LL
                                  0
                                         20



                                                   0   4     8      12    16   20    24
                                                                 TIME (h)

                                                       FIG. 12




                                                                                                JA001524
                                                                                          M RNA-G EN-0020323 7
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 182 of 1274 PageID #: 8488


       U.S. Patent                       Sep.11,2001     Sheet 10 of 17   US 6,287,591 Bl


          ~             120
          0


          en
          (/) 100
          w
          z
          :::.s:::::
          u                 80
          I
          l-
          o::               60
          <!
          w
          2                 40
          w
          CJ)

          ~                 20
          0:::
          u
          z
                                    NORMAL         AS               AS       AS
                                 INFLAMMATION     1000             4100     4200
                                                   TCS             TCS       TCS
                                                  Fl G. 13

                             5-r-----------------------,
                       a:
                       <!
         z w
         0 I-
         I- I                4
         <! <.9
         0::: -
         I- 0:::
         _j            E
         LL 0..
         z~ 3
         0::: 0:::
         <I <I
         _J            w
         ::J 1-
         _j            LL
         _jw 2
         ~ _J
           E
                       0..
                       -0


                                    NORMAL         AS               AS       AS
                                 INFLAMMATION     1000            4100      4200
                                                   TCS             TCS       TCS
                                                  FIG. 14




                                                                                   JA001525
                                                                              M RNA-G EN-00203238
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 183 of 1274 PageID #: 8489


       U.S. Patent                   Sep.11,2001        Sheet 11 of 17              US 6,287,591 Bl



                    l........ 80                           _._ PS-2302
                     >-
                     u                                     -II- P0-2302
                     z
                     w
                     LL
                     LL
                     w
                     6 40
                     I-
                     <(
                     _j
                     ::J
                     CJ)
                     0..
                            20
                     <(
                     0
                     z
                     w
                                0-·~,-r--,-,-~~-y--,-~-r-,--r-,-~-,-,---,-,----r-r--.-r


                                   0       200      400      600      800 1000
                                         CITRATE CONCENTRATION (mM)

                                                 FIG. 15

                         100
                                                                           tzI 1 Hr
                                                                                .
                w
               CJ)
                           80                                              ~ 4 Hr
               0
               0
                _j
                <(
                           60
                -
               I-
               z
                           40
               LL
               0
               ~
               0
                           20



                                       AL -1   DODAP DODMA DODMA DODMA
                                       25%       25%        30%       25%        20%

                                                  FIG. 16



                                                                                              JA001526
                                                                                          MRNA-GEN-00203239
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 184 of 1274 PageID #: 8490


       U.S. Patent                    Sep. 11,2001   Sheet 12 of 17        US 6,287,591 Bl

                                                                                        I'-
                                                                                        ,.....
                                                                                        CJ
                                                                                        LL

                                                                                      0)




                                                                                      co



                                                                                      I'-




                                                                                      <.D




                  ,-N r<)q                                                            LO
                  ~=It:~*
                  zzzz
                  0000
                  ----
                  I- I- I- I-                                                         ,;j
                  uuuu
                  wwww
                  -:,-:,-:,-:,
                  zzzz
                  ----


                  ~ID~                                                                ro



                                                                                      N




                                                                                      ,-


                                                                                      z
                                                                                      0
                                                                                      I-
                                                                                      <!
                                                                                      _J
           0                     0             0                      0           0   :::)
           0                     co            <.D                    N               ~
           ..--                                                                       0::
                                                                                      0
                        ( 7\1111 NI _jO %) 00078 NI Ac:13/\0:)3c:I Oldll              LL




                                                                                      JA001527
                                                                               MRNA-GEN-00203240
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 185 of 1274 PageID #: 8491


        U.S. Patent         Sep. 11, 2001       Sheet 13 of 17   US 6,287,591 Bl




          ..c
                   80
          .,....
          I-
          c::r
          0
          a..
          -
          _j
                   60
          LL
          0
          >-
          0::
          w        40
          >
          0
          u
          w
          0::
          ~
          0
                   20



                    0
                        0                   1                2          3
                                                WEEKS


                            FORMULATION #

                                  •         1

                                  •
                                  A
                                            5 (NO AS)
                                            2
                                  ,,,       4 (NO AS)

                                  •         4

                                  ••     7
                                            6




                                        FIG. 18



                                                                         JA001528
                                                                    MRNA-GEN-00203241
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 186 of 1274 PageID #: 8492


        U.S. Patent                     Sep. 11,2001                     Sheet 14 of 17                US 6,287,591 Bl




                     C\J

            Ol
          ........
           I- 0
           I    .
           <D .-
           w
           5
           0::: 00
           :J 0
           0
           ~
           :J
           I- <.D
           oci
           w                                                                                                        (1)
           (J)                                                                                                      .....
           ~~                                                                                                       0
           wO
                                                                                                                    LL..
                     C\J
                     0



                           (J)
                                 u       u                       C\J
                                                                           u    0:::   C\J   C\J   0      ,;;j"
                           (0    >,              0::     C\J               >,   u      0     co
                                          >,
                                                 u       0       00                                0      0
                           I
                                 E       E       (/)     r<)     0         E    en     r<)   0     C\J    C\J
                                                                           I           C\J   r0    ,:j"   ,:j"
                                  I                      C\J     r0             u
                                 u

                                 0
                                 0
                                        -u
                                           I


                                         ,;;j"
                                         0
                                                  u>,
                                                  E
                                                   I
                                                          I
                                                         (/)
                                                         a..
                                                                 U)
                                                                   I

                                                                 a..
                                                                           u    >.
                                                                                E
                                                                                u
                                                                                 I
                                                                                        I
                                                                                       U)
                                                                                       a..
                                                                                              I
                                                                                             U)
                                                                                             a..
                                                                                                   ..J    ..J



                                 C\J     C\J      u      ,;;j"   ,;;j"
                                 ,:j"    ,;;j"           0       0
                                                 ,:j"            (\J
                                 (J)     (J)             C\J
                                                 0       ,;;j"   ,;;j"
                                 <(      <(
                                                 (\J             U)
                                                         U)
                                                 ,;;j"           <(
                                                         <(
                                                 U)
                                                 <(




                                                                                                                   JA001529
                                                                                                              M RNA-G EN-00203242
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 187 of 1274 PageID #: 8493


       U.S. Patent             Sep.11,2001    Sheet 15 of 17         US 6,287,591 Bl




                100 - . - - - - - - - - - - - - - - - - - - - - - - - - - - ;
                                                  ~ 300 mM CITRATE

         G so
         z
                                                  D 20 mM CITRATE
         w
         u
         tw 60
         z
         0
         ~ 40
         _J
         :::>
         (/)
         0.
         <(
         u 20
         z
         w



                     PS-2302    P0-2302      P0-2302      VEGF-R-1     VEGF-R-1
                                                         RIB0ZYME      RIB0ZYME

                                         FIG. 20




                                                                              JA001530
                                                                         M RNA-G EN-00203243
           Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 188 of 1274 PageID #: 8494




                                                        INCREASE IN EAR THICKNESS (%)                   .crJ'J.
                                               0        20    40      60     80     100           120   .
                                                                                                         ~
                                                                                                         ~
                                                                                                        """"'
                                                                                                        (0
                                    HBS                                                                 =
                                                                                                        """"'
        TOPICAL CORTICOSTEROID (HBP)
                           PS 26 mg/kg                                                                  'JJ.
                                                                                                         el:>
                                                                                                        '?
                           PO 23 mg/kg
                                                                                                         """"
                                                                                                        !""
                                                              EAR SWELLING (n =6/GROUP)                  N
                                                                                                         Q
                                                                                                         Q

                                                                                                         """"
                                                   Fl G. 21
                                                                                                        'JJ.
                                                                                                         =:r-
                                                                                                         el:>

                                                    CELL INFILTRATION ( LEFT EAR/RIGHT EAR)             .....
                                                                                                        el:>


                                                                                                         """"
                                                                                                         O'-
                                           1                     2              3                 4      ~
                                                                                                        """"
                                                                                                        ---l

                                    HBS

        TOPICAL CORTICOSTEROID (HBP)

                          PS 26 mg/kg                                                                   e
                                                                                                        r:JJ.
s:                                                                                                       O"I
;:a                        PO 23 mg/kg                                                                  N
z
)>                                                            CELL INFILTRATION (n=6/GROUP)
                                                                                                         00
                                                                                                         -....l
G)                                                                                                      01
m
z                                                                                                       "°
                                                                                                         ~

b
0
I\)
                                                   FIG. 22                                               t,j
                                                                                                         ~
0
(,.)
I\)
.I>,.
.I>,.




                                                                                                  JA001531
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 189 of 1274 PageID #: 8495


        U.S. Patent              Sep. 11, 2001           Sheet 17 of 17                                 US 6,287,591 Bl



                         I'---
                         0
                         d
                                                                       -
                                                                       CD
                                                                       LL
                                                                       z
                                                                        0
                                                                       ........
                                                                                      U)
                                                                       (/)
                                                                                      a::
                         w
                         0
                         0
                                                                       0:::
                                                                       <t
                                                                       w w
                                                                                      <(
                                                                                             -
                                                                                             0..
                                                                                             ::::>

                   --                                                  I-             I-     0
                   O'                                                                 I      a:::
                                                                       LL             (9
                                                                       w                     (9
                                                                                             ......
                   I-    I.O                                           ....J          0:::
                                                                                             w
                   :c Q
                   (.9
                   w
                   :?:
                         0                                             org                     II
                                                                                               C
                                                                                             ........
                                                                                             Cl)
                                                                                             I-
                   a:: ~                                                                     I
                   <(                                                                        (9
                   w 0                                                                       w
                     d
                                                                                             ~
                                                                                             0:::          rt)
                                                                                             <!            (\J
                         r<)                                                                 w
                         0                                                                                    .
                         0                                                                                 (.!)
                                                                                                           LL
                         N
                         Q
                         0
                                    Cf)      .........        O'
                                    Cl)      0..           ...::s:::              ~
                                              CD
                                    ::r:
                                             --  I         'E
                                                            O'                    'E
                                                                                  O'

                                                 0
                                                           <.O                    r<>
                                                 0         N                      N
                                                 0:::
                                                 w         Cl)                    0
                                                 I-        0..                    0..
                                                 Cl)
                                                 0
                                                 u
                                             I-
                                                 a::
                                                 0
                                                 u
                                                 ....J
                                                 <!
                                              CJ
                                             -0..
                                             0
                                             I-




                                                                                                                  JA001532
                                                                                                           M RNA-G EN-00203245
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 190 of 1274 PageID #: 8496


                                                            US 6,287,591 Bl
                                     1                                                                   2
             CHARGED THERAPEUTIC AGENTS                                   some antisense to cross cellular membranes (see, Vlassov, et
            ENCAPSULATED IN LIPID PARTICLES                               al., Biochim. Biophys. Acta 1197:95-1082 (1994)) and in the
           CONTAINING FOUR LIPID COMPONENTS                               problems associated with systemic toxicity, such as
                                                                          complement-mediated anaphylaxis, altered coagulatory
           This application is a continuation-in-part of U.S. patent 5 properties, and cytopenia (Galbraith, et al., Antisense Nucl.
       application Ser. No. 08/856,374 filed May 14, 1997, now            Acid Drug Des. 4:201-206 (1994)). Further, as disclosed in
       abandoned, which is incorporated herein by reference.              U.S. patent application Ser. No. 08/657,753 and counterpart
                                                                          patent application WO 97/46671, both incorporated herein
                       FIELD OF THE INVENTION                             by reference, modified antisense is still highly charged, and
                                                                       10
                                                                          clearance  from the circulation still lakes place within min-
          This invention relates to compositions comprising a com-        utes.
       bination of a lipid and a therapeutic agent, particularly to          To attempt to improve efficacy, investigators have also
       lipid-nucleic acid compositions, for in vivo therapeutic use.      employed lipid-based carrier systems to deliver chemically
       In these compositions the therapeutic agent is encapsulated        modified or unmodified antisense. In Zelphati, 0 and Szoka,
       and protected from degradation and clearance in serum.
                                                                       15 F. C. (1996) J. Contr. Rel. 41 :99-119, the authors refer to the
       Additionally, the invention provides methods of making the         use of anionic ( conventional) liposomes, pH sensitive
       compositions, as well as methods of introducing the nucleic        liposomes, immunoliposomes, fusogenic liposomes and cat-
       acids into cells using the compositions and treating disease       ionic lipid/antisense aggregates.
       conditions.                                                           None of these compositions successfully deliver phos-
                                                                       20 phodiester antisense for in vivo therapy. In another paper,
                 BACKGROUND OF THE INVENTION
                                                                          Zelphati & Szoka note that antisense phosphodiester oligo-
          Therapeutic oligonucleotides, such as antisense oligo-          nucleotides associated with cationic lipids have not been
       nucleotides or ribozymes, are short segments of DNA that           active in cell culture in vitro; and that only one study has
       have been designed to hybridize to a sequence on a specific        reported the activity of phosphodiester antisense oligonucle-
       mRNA. The resulting complex can down-regulate protein 25 otides complexed to cationic lipids. The authors argue that
       production by several mechanisms, including inhibition of          these findings'· ... necessitate[ ] the use [of-sic] backbone-
       mRNA translation into protein and/or by enhancement of             modified oligonucleotides that are relatively resistant to both
       RNase H degradation of the mRNA transcripts.                       intracellular and extracellular nucleases even if a carrier is
       Consequently, therapeutic oligonucleotides have tremen-            used to deliver the oligonucleotide into the target cell".
       dous potential for specificity of action (i.e. the down- 30 (1997. J. Lip. Res. 7(1):31-49 at 34). This finding is
       regulation of a specific disease-related protein). To date,        corroborated by Bennett, C F. (1995. Intracellular Delivery
       these compounds have shown promise in several in vitro and         of Oligonucleotides with Cationic Liposomes. Chp 14 CRC
       in vivo models, including models of inflammatory disease,          Press) who states at p. 224 that ·'In contrast, we have been
       cancer, and HIV (reviewed in Agrawal, Trends in Biotech.           unable to demonstrate inhibition of gene expression by
       14:376-387 (1996)). Antisense can also effect cellular activ- 35 uniform phosphodiester oligodeoxynucleotides directed
       ity by hybridizing specifically with chromosomal DNA.              towards a number of cellular targets in the presence of
       Advanced human clinical assessments of several antisense           cationic lipids."
       drugs are currently underway. Targets for these drugs                 Prior art lipid formulations of modified antisense are also
       include the genes or RNA products of c-myc, ICAM-1, and            largely ineffective in vivo. They have poor encapsulation
       infectious disease organisms such as cytomegalovirus, and 40 efficiency (15% or less for passive encapsulation systems),
       HIV-1.                                                             poor drug to lipid ratios (3% or less by weight), high
          One well known problem with the use of therapeutic              susceptibility to serum nucleases and rapid clearance from
       oligonucleolides having a phosphodiester internucleotide           circulation (particularly in the case of cationic lipid/
       linkage is its very short half-life in the presence of serum or    antisense aggregates made from DOTMA, trade-name
       within cells. (Zelphati, 0 et al. 1993. Inhibition of HIV-1 45 LIPOFECTIN™), and/or large sized particles (greater than
       Replication in Cultured Cells with Antisense Oligonucle-           100 nm), which make them unsuitable for systemic delivery
       otides Encapsulated in Immunoliposomes. Antisense. Res.            to target sites. No successful in vivo efficacy studies of
       Dev. 3:323-338; and Thierry,AR et al. pp147-161 in Gene            lipid-encapsulated (nuclease-resistant) modified antisense
       Regulation: Biology of Antisense RNA and DNA (Eds.                 are known in the prior art.
       Erickson, RP and Izanl, JG) 1992. Raven Press, NY). No 50             Two references to unique lipid-antisense compositions
       clinical assessment currently employs the basic phosphodi-         that may be significantly nuclease resistant bear consider-
       ester chemistry found in natural nucleic acids, because of         ation. Firstly, the anionic liposome (LPDII) composition of
       these and other known problems.                                    Li, S. and Huang, L (1997. J. Lip. Res. 7(1) 63-75), which
          This problem has been partially overcome by chemical            encapsulates poly-lysine coated antisense, are said to have
       modifications which reduce serum or intracellular degrada- 55 60-70% encapsulation efficiency, but suffer from a large size
       tion. Modifications have been tested at the internucleotide        of around 200 nm and a low drug to lipid ratio of 8% by
       phosphodiester bridge (i.e. using phosphorothioale, meth-          weight. The effect of these particles in vivo is unknown.
       ylphosphonate or phosphoramidate linkages), al the nucle-          Secondly, the Minimal Volume Entrapment (MVE) tech-
       otide base (i.e.5-propynyl-pyrimidines), or at the sugar (i.e.     nique for cardiolipin (anionic) liposomes results in the
       2'-modified sugars) (Uhlmann E., et al. 1997. Antisense: 60 reasonably high encapsulation efficiency of 45-65% but
       Chemical Modifications. Encyclopedia of Cancer Vol. X. pp          again the drug:lipid ratio remains very small, approximately
       64-81 Academic Press Inc.). Others have attempted to               6.5% by weight (see U.S. Pat. No. 5,665,710 to Rahman et
       improve stability using 2'-5' sugar linkages (see U.S. Pat.        al.; Thierry AR, and Takle, G B. 1995, Liposomes as a
       No. 5,532,130). Other changes have been attempted.                 Delivery System for Antisense and Ribozyme Compounds.
       However, none of these solutions have proven entirely 65 in Delivery Strategies for Antisense Oligonucleotide
       satisfactory, and in vivo free antisense still has only limited    Therapeutics, S. Akhtar, ed, CRC Press, Boca Raton, Fla.,
       efficacy. Problems remain, such as in the limited ability of       pp. 199-221; Thierry, AR et al. pp147-l61 in Gene Regn-




                                                                                                                             JA001533
                                                                                                                    M RNA-G EN-00203246
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 191 of 1274 PageID #: 8497


                                                              US 6,287,591 Bl
                                      3                                                                       4
       la lion: Biology of Antisense RNA and DNA (Eds. Erickson,              chemical structure of DODAP. FIG. 2B illustrates groups of
       RP and Izant, JG) 1992. Raven Press, NY). Note that U.S.               PEG-modified lipids.
       Pat. No. 5,665,710 also discloses encapsulation efficiencies               FIG. 3 illustrates the influence of ethanol on the encap-
       of 60-90% for tiny, medically useless amounts of antisense             sulation of antisense oligodeoxynucleotides. The liposomal
       (0.1 ug), where the drug to lipid ratio must be very low.            5 antisense compositions were prepared as described in the
           It is an observation of the inventors that a wide variety of       Examples, with the tlnal concentrations of antisense and
       prior art lipid compositions used for conventional drugs               lipids being 2 mg/mL and 9.9 mg/mL, respectively. The tlnal
       could be tested for efficacy in the antisense field, but the           ethanol concentration in the preparations was varied
       improvement (over free antisense) for in vivo efficacy is not          between O and 60%, vol/vol. Encapsulation was assessed
       known. In this regard, it is noted that although lipid com- 10 either by analyzing the pre-column and post-column ratios
       positions assertedly for use as drug carriers were disclosed           of [3 H]-antisense and [ 14 C]-lipid or by determining the total
       by Bailey and Cullis (U.S. Pat. No. 5,552,155; and (1994)              pre-column and post-column [ 3 H]-antisense and [ 14 C]-lipid
       Biochem. 33(42):12573-12580), they did not disclose for-               radioactivity.
       mulations of any bioactive compounds with these lipids, and                FIG. 4 illustrates the influence of ethanol on lipid and
       did not suggest their utility for high efficiency loading of 15 antisense loss during extrusion. The liposomal antisense
       polyanionic species.                                                   compositions were prepared as described for FIG. 3. The
           What is needed in the art are improved lipid-therapeutic           samples were extruded ten times through three 100 nm
       oligonucleotide compositions which are suitable for thera-             tllters as described in "'Materials and Methods". After
       peutic use. Preferably these compositions would encapsulate            extrusion, the tllters were analyzed for [3 H]-antisense and
       nucleic acids with high-efficiency, have high drug:lipid 20 [ 14 C]-lipid radioactivity by standard scintillation counting
       ratios, be encapsulated and protected from degradation and             techniques. Results were expressed as a percent of the total
       clearance in serum, and/or be suitable for systemic delivery.          initial radioactivity.
       The present invention provides such compositions, methods                  FIG. 5 illustrates the influence of DODAP content on the
       of making the compositions and methods of introducing                  encapsulation of antisense oligodeoxynucleotides. A 0.6 mL
                                                                           25
       nucleic acids into cells using the compositions and methods            aliquot of a [ 3 H]-phosphorothioate antisense oligodeoxy-
       of treating diseases.                                                  nucleotide (in 300 mM citrate buffer, pH 3.80) was mixed
                                                                              with 0.4 mL of a 95% ethanol solution of lipid
                       SUMMARY OF THE INVENTION                               (DSPC:CHOL:DODAP:PEG-CerC14; 100-(55+X)
           In accordance with the invention, charged therapeutic 30 :45:X:lO, molar ratio) at final concentrations of 2 mg/mL
       agents are packaged into lipid-encapsulated therapeutic                and 9.9 mg/mL, respectively. The molar ratio of DODAP
       agent particles using a method comprising the steps of:                was   varied between O and 30%. The molar ratio of DSPC
                                                                              was adjusted to compensate for the changes in DODAP
           (a) combining a mixture of lipids comprising at least a
                                                                              content. Encapsulation was assessed either by analyzing the
               first lipid component and a second lipid component
                                                                              pre-column and post-column ratios of [ 3 H]-anlisense and
              with a buffered aqueous solution of a charged thera- 35 14
                                                                              [   C]-lipid or by determining the total pre-colunn and post-
              peutic agent to form an intermediate mixture containing
                                                                              column [3 H]-antisense and [14C]-lipid radioactivity.
               lipid-encapsulated therapeutic particles, and
                                                                                  FIG. 6 illustrates the influence of DODAP content on the
           (b) changing the pH of the intermediate mixture to                 encapsulation of antisense oligodeoxynucleotides. Samples
               neutralize at least some exterior surface charges on said      were identical to those prepared in FIG. 5. In this instance,
               lipid-nucleic acid particles to provide at least partially- 40 the amount of antisense associated with the lipid was
              surface neutralized lipid-encapsulated therapeutic              assessed by a solvent extraction procedure as described in
               agent particles. The first lipid component is selected         "Material and Methods". Antisense was extracted into a
               from among lipids containing a protonalable or depro-          methanol:water aqueous phase, while the lipid was soluble
               lonatable group that has a pKa such that the lipid is in       in the organic (chloroform) phase. The aqueous phase was
               a charged form at a tlrsl pH and a neutral form al a        45
                                                                              preserved and antisense concentration was determined by
              second pH. The buffered solution has a pH such that the         measuring the absorbance at 260 nm. This confirmed that the
               first lipid component is in its charged form when in the       anlisense was associated with the lipid vesicles, and that the
              buffered solution, and the tlrst lipid component is               3
                                                                              [ H]-label on the antisense had not exchanged to the lipid.
               further selected such that the charged form is cationic
                                                                                  FIG. 7 illustrates the quasi-elastic light scattering analysis
              when the therapeutic agent is anionic in the buffered 50
                                                                              of encapsulated liposomal antisense. The size distribution of
              solution and anionic when the therapeutic agent is
                                                                              a liposomal preparation of antisense was determined by
               cationic in the buffered solution. The second lipid
                                                                              quasi-elastic light scattering (QELS) immediately after
               component being selected from among lipids that pre-
                                                                              removal of the free antisense (A), and after storage of the
              vent particle aggregation during lipid-nucleic acid par-
                                                                              preparation for 2 months at 4° C. (B), using a Nicomp Model
               ticle formation. The method the invention is particu- 55
                                                                              370 sub-micron particle sizer.
               larly useful for preparation of lipid-encapsulated
               nucleic acids, for example antisense nucleic acids or              FIG. 8 illustrates the influence of the initial antisense
               ribozyme.                                                      concentration on antisense loading in DODAP vesicles.
                                                                              Varying final concentrations of a 20mer of [ 3 H]-
                BRIEF DESCRIPTION OF THE DRAWINGS                          60 phosphorothioate antisense oligodeoxynucleotide (in 300
                                                                              mM citrate buffer, pH 3.80) were mixed with an ethanol
           FIG. 1 illustrates a neutralization step which releases            solution of lipid (DSPC:CHOL:DODAP:PEG-CerC14;
       surface-bound antisense from the lipid-nucleic acid compo-             25:45:20:10, molar ratio), 9.9 mg/mL (tlnal concentration).
       sitions according to the present invention.                            Encapsulation was assessed either by analyzing the pre-
           FIGS. 2A and 2B illustrate certain lipid components 65 column and post-column ratios of [3 H]-antisense and [ 14C]-
       which are useful in the present inventive methods. FIG. 2A             lipid or by determining the total pre-column and post-
       illustrates several groups of amino lipids including the               column [ 3 H]-antisense and [ 14 C]-lipid radioactivity.




                                                                                                                                  JA001534
                                                                                                                         M RNA-G EN-0020324 7
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 192 of 1274 PageID #: 8498


                                                            US 6,287,591 Bl
                                     5                                                                    6
       EPC:CHOL liposomes containing encapsulated antisense                  FIG. 13 illustrates the enhanced efficacy of liposomal
       are included for comparison.                                       antisense containing DODAP--ear swelling. Inflamed mice
           FIG. 9 illustrates the plasma clearance of encapsulated        were treated at the time of ear challenge with a 30 mg/kg i.v.
       antisense. Encapsulated liposomal antisense was prepared           dose of either HBS (no oligo), EPC:CHOL liposomes with
       using the ethanol-citrate procedure as described in '"Material 5 entrapped PS 3082 (identified as AS 1000),
       and Methods". Initial lipid and anlisense concentrations           POPC:CHOL:DODAP:PEG-CerC14 with entrapped PS
       were 9.9 and 2 mg/mL, respectively. Liposomal formula-             3082 (identified as 4100), or DSPC:CHOL:DODAP:PEG-
       tions were composed of X:CHOL:DODAP:PEG-CerC14                     CerC14 with entrapped PS 3082 (identitled as 4200). Ear
       (25:45:20:10), where X represents either distearoylphos-           swelling was measured at 24 hours after initiating inflam-
       phatidylcholine (DSPC), sphingomyelin (SM), or palmitoy- 10 mation using an engineer's micrometer.
       loleoylphosphatidylcholine (POPC). The formulations con-
                                                                             FIG. 14 illustrates the enhanced efficacy of liposomal
       tained a lipid label ([ 14 C]-cholesterylhexadecylether) and
        3                                                                 anlisense containing DODAP-cellular infiltration. Mice
       [ H]-antisense and were injected (200 ,uL) intravenously via
                                                                          received 10 ,uCi of [3 H]-methylthymidine, i.p., 24 hours
       the lateral tail vein of female (20-25 g) ICR mice at a lipid
                                                                          before initiating inflammation. Inflamed mice were treated
       dose of 120 mg/kg. Blood was recovered by cardiac punc-
                                                                       15 at the time of ear challenge with a 30 mg;kg i.v. dose of
       ture on anesthetized mice. Lipid and antisense recoveries
                                                                          either BBS (no oligo), EPC:CHOL liposomes with
       were determined by standard scintillation counting tech-
                                                                          entrapped PS 3082 (identified as AS 1000),
       niques.
                                                                          POPC:CHOL:DODAP:PEG-CerC14 with entrapped PS
           FIG. 10 illustrates the biodistribution of encapsulated        3082 (identified as 4100), or DSPC:CHOL:DODAP:PEG-
       antisense. Encapsulated liposomal antisense was prepared 20 CerCl 4 with entrapped PS 3082 (identified as 4200). Cell
       using the ethanol-citrate procedure as described in "Material      infiltration was monitored by measuring the radioactivity in
       and Methods". Initial lipid and antisense concentrations           the "challenged ear" versus the non-treated ear. Results are
       were 9.9 and 2 mg/mL, respectively. Liposomal formula-             expressed as the ratio of radioactivity in the left (challenged
       tions were composed of X:CHOL:DODAP:PEG-CerC14                     ear) versus right ear.
       (25:45:20:10), where X represents either distearoylphos- 25
       phatidylcholine (DSPC), sphingomyelin (SM), or palmitoy-              FIG. 15 shows asymmetric loading of lipid-encapsulated-
       loleoylphosphatidylcholine (POPC). The formulations con-           nucleic acid particles in accordance with the invention.
       tained a lipid label ([ 14 C]-cholesterylhexadecylether) and          FIG. 16 shows clearance of lipid-encapsulated antisense
        3
       [ H]-antisense and were injected (200 µL) intravenously via        particles formulated with several amino lipids at different
       the lateral tail vein of female (20-25 g) ICR mice at a lipid 30 levels.
       dose of 120 mg/kg. Mice were terminated by cervical                   FIG. 17 shows blood levels of antisense-containing par-
       dislocation and the organs were recovered and processed as         ticles after repeat dosages.
       described in ·'Materials and Methods". Lipid and antisense            FIG. 18 shows blood levels of antisense-containing par-
       recoveries were determined by standard scintillation count-        ticles after repeat dosages.
       ing techniques.                                                 35    FIG. 19 illustrates results of a study on the in vivo efficacy
           FIG. 11 illustrates the differential release rates of anti-    of lipid-encapsulated antisense particles in accordance with
       sense in plasma. Encapsulated liposomal antisense was              the invention in a mouse tumor model.
       prepared using the ethanol-citrate procedure as described in
                                                                             FIG. 20 shows encapsulation efficiency results for lipid-
       "Material and Methods". Initial lipid and antisense concen-
                                                                          encapsulated therapeutic agent particles in accordance with
       trations were 9.9 and 2 mg/mL, respectively. Liposomal 40
                                                                          the invention.
       formulations were composed of X:CHOL:DODAP:PEG-
       CerC14 (25:45:20:10), where X represents either dis-                  FIG. 21 shows results for studies on the use of murine
       tearoylphosphatidylcholine (DSPC), sphingomyelin (SM),             ICAMl in an ear inflammation model.
       or palmitoyloleoylphosphatidylcholine (POPC). The formu-              FIG. 22 shows results for studies on the use of murine
       1a tio n s contained a lipid label ([ 14 C]- 4s ICAMl in an ear inflammation model.
       cholesterylhexadecylether) and [3 H]-antisense and were               FIG. 23 shows results for studies on the use of murine
       injected (200 µL) intravenously via the lateral tail vein of       ICAMl in an ear inflammation model.
       female (20-25 g) ICR mice al a lipid dose of 120 mg/kg.
       Blood was recovered by cardiac puncture on anesthetized                        DETAILED DESCRIPTION OF THE
       mice. Lipid and antisense recoveries were determined by 50                                  INVENTION
       standard scintillation counting techniques. Release rates
       were determined by measuring the [3H]/[14C] ratio over                                         Contents
       time.
           FIG. 12 illustrates the influence of PEG-acyl chain               I. Glossary
       lengths on plasma clearance of encapsulated antisense. 55             II. General
       Encapsulated liposomal antisense was prepared using the               III. Methods of Preparing Liposome/Nucleic Acid Com-
       ethanol-citrate procedure as described in "'Material and                 plexes
       Methods". Initial lipid and anlisense concentrations were 9. 9
                                                                             IV. Pharmaceutical Preparations
       and 2 mg/mL, respectively. Liposomal formulations were
       composed of DSPC:CHOL:DODAP:PEG-CerC14 or C20 60                      V. Methods of Introducing the Lipid-Encapsulated Thera-
       (25:45:20:10). The formulation contained a lipid label                   peutic Agents Into Cells
          14                                       3                         VI. Examples
       ([ C]-cholesterylhexadecylether) and [ H]-antisense and
       were injected (200 µL) intravenously via the lateral tail vein        VIL Conclusion
       of female (20-25 g) ICR mice at a lipid dose of 120 mg;kg.         I. Glossary
       Blood was recovered by cardiac puncture on anesthetized 65 Abbreviations and Definitions
       mice. Lipid and antisense recoveries were determined by               The following abbreviations are used herein: ATTA,
       standard scintillation counting techniques.                        N -( rn -N' - ace to xy-o ct a( 1 4' amino -3', 6', 9', 1 2 ' -




                                                                                                                              JA001535
                                                                                                                     M RNA-G EN-00203248
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 193 of 1274 PageID #: 8499


                                                             US 6,287,591 Bl
                                      7                                                                     8
       telraoxatelradecanoyl)); CHE, cholesleryl-hexadecylether;            nucleic acids into expression vectors are well known to
       CHOL, cholesterol; DODAP or AL-1, 1,2-dioleoyloxy-3-                 those of skill in the art, but are described in detail in, for
       dimethylaminopropane ( and its protonated ammonium                   example, Sambrook et al., Molecular Cloning: A Laboratory
       form); DODMA, N-(1-(2,3-Dioleoyloxy) propyl)-N,N,-                   Manual (2nd ed.), Vols. 1-3, Cold Spring Harbor
       dimethyl ammonium chloride; DSPC, distearoylphosphati- 5 Laboratory, (1989) or Current Protocols in Molecular
       dylcholine; EPC, egg phosphatidylcholine; HBS, HEPES-                Biology, F. Ausubel et al., ed. Greene Publishing and Wiley-
       buffered saline; HEPES, N-2-hydroxyelhylpiperazine-N'-2-             Interscience, New York (1987), both of which are incorpo-
       elhanesulphonic acid; MES, 2-(N-morpholino)ethane                    rated herein by reference.
       sulfonic acid; PS 3082, murine ICAM-1 phosphorothioate                  The term "physiological pH" refers to pH levels conven-
       oligodeoxynucleotide having the sequence: TGCATC- 10 tionally encountered in serum or blood. In general, this will
       CCCCAGGCCACCAT (SEQ ID No. l); NaCl, sodium                          be in the range of pH 7.2 to 7.5. Preferred protonatable or
       chloride; OLIGREENTM, a dye that becomes fluorescent                 deprotonatable lipids have a pKa such that they are substan-
       when interacting with an oligonucleotide; PEG-CerC20,                tially neutral at this pH, i.e., a pKa of about 4 to 7 in the case
       polyethylene glycol coupled to a ceramide derivative with            of an amino lipid.
       20 carbon acyl chain; POPC, palmiloyloleoylphophatidyl- 15 II. General
       choline; SM, sphingomyelin; DOPE, 1,2-dioleoyl-sn-3-                    The present invention relates to methods and composi-
       phosphoethanolamine.                                                 tions for producing lipid-encapsulated therapeutic agent
          ·'Lipid-therapeutic agent particle" means a particle com-         particles in which charged therapeutic agents are encapsu-
       prising lipids and a charged ( cationic or anionic) therapeutic      lated within a lipid layer. The invention is applicable to both
       agent. "'Lipid-therapeutic nucleic acid particle" means a 20 anionic and cationic therapeutic agents, including polyan-
       particle comprising a lipid and a therapeutic nucleic acid.          ionic nucleic acids, polyanionic proteins or peptides, cytok-
          '"Lipid-encapsulated therapeutic agent (nucleic acid) par-        ines and heparin, and cationic proteins and peptides. The
       ticle" means a lipid-therapeutic agent particle wherein less         invention is principally demonstrated herein with reference
       than 50% and preferably less than 10% of the therapeutic             to polyanionic nucleic acids as the therapeutic agent, which
       agent (nucleic acid) is detectable on the external surface of 25 is a preferred embodiment, but the same principles can be
       the particle or in the buffer external to the particle. In the       readily extended to other polyanionic or to cationic thera-
       case of nucleic acids, the amount of encapsulated versus             peutic agents.
       unencapsulated nucleic acid can be assayed by fluorescence              To evaluate the quality of a lipid/nucleic acid formulation
       assays or nuclease assays as described herein. Comparable            the following criteria, among others, may be employed:
       assays can be used for other types of therapeutic agents.         30    drug to lipid ratio;
          ·'Therapeutically effective amount" means an amount                  encapsulation efficiency;
       which provides a therapeutic benefit. For antisense oligo-              nuclease resistance/serum stability; and
       nucleotide this means generally 0.5 to 50 mg;kg of body                 particle size.
       weight, but when delivered in a lipid particle formulation, a        High drug to lipid rations, high encapsulation efficiency,
       below-toxic amount of lipid must be used.                         35 good nuclease resistance and serum stability and control-
          '"Lipid exchange out of particle" and the rate of this            lable particle size, generally less than 200 nm in diameter are
       exchange is folly explained in U.S. patent application Ser.          desirable In addition, the nature of the nucleic acid polymer
       No. 08/486,214, filed Jun. 7, 1995, now U.S. Pat. No.                is of significance, since the modification of nucleic acids in
       5,820,873, and U.S. patent application Ser. No. 08/485,608,          an effort to impart nuclease resistance adds to the cost of
       filed Jun. 7, 1995, now U.S. Pat. No. 5,885,613, and PCT 40 therapeutics while in many cases providing only limited
       Patent publications WO 96/10391 and WO 96/10392, which               resistance. The present invention provides lipid-nucleic acid
       are all incorporated herein by reference. Lipid exchange into        particles and methods for preparing lipid-nucleic acid for-
       the surrounding medium is possible for lipids which are              mulations which are far superior to the art according to these
       reversibly associated with the lipid particle membrane. Each         criteria.
       lipid has a characteristic rate at which it will exchange put 45        Unless stated otherwise, these criteria are calculated in
       of a particle which depends on a variety of factors including        this specification as follows:
       acyl chain length, saturation, head group size, buffer com-             drug to lipid ratio: The amount of drug (therapeutic agent)
       position and membrane composition.                                   in a defined volume of preparation divided by the amount of
          '"Disease site" is the site in an organism which demon-           lipid in the same volume. This may be on a mole per mole
       strates or is the source of a pathology. The disease site may 50 basis or on a weight per weight basis, or on a weight per
       be focused, as in a site of neoplasm or inflammation, or may         mole basis. For final, administration-ready formulations, the
       be diffuse as in the case of a non-solid tumor. ·'Administra-        drug:lipid ratio is calculated after dialysis, chromatography
       tion at a site which is distal to the disease site" means that       and/or enzyme (e.g., nuclease) digestion has been employed
       delivery to the disease site will require some kind of               to remove as much of the external therapeutic agent (e.g.,
       systemic delivery, either by blood or lymph circulation, or 55 nucleic acid) as possible. Drug:lipid ratio is a measure of
       other fluid movement inside the organism.                            potency of the formulation, although the highest possible
          The term "'transfeclion" as used herein, refers to the            drug:lipid ratio is not always the most potent formulation;
       introduction of polyanionic materials, particularly nucleic             encapsulation efficiency: the drug lo lipid ratio of the
       acids, into cells. The polyanionic materials can be in the           starting mixture divided by the drug to lipid ratio of the final,
       form of DNA or RNA which is linked to expression vectors 60 administration competent formulation. This is a measure of
       to facilitate gene expression after entry into the cell. Thus the    relative efficiency. For a measure of absolute efficiency, the
       polyanionic material or nucleic acids used in the present            total amount of therapeutic agent (nucleic acid) added to the
       invention is meant lo include DNA having coding sequences            starling mixture that ends up in the administration competent
       for structural proteins, receptors and hormones, as well as          formulation, can also be calculated. The amount of lipid lost
       transcriptional and translational regulatory elements (i.e., 65 during the formulation process may also be calculated.
       promoters, enhancers, terminators and signal sequences) and          Efficiency is a measure of the wastage and expense of the
       vector sequences. Methods of incorporating particular                formulation;




                                                                                                                                 JA001536
                                                                                                                       MRNA-GEN-00203249
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 194 of 1274 PageID #: 8500


                                                            US 6,287,591 Bl
                                     9                                                                  10
          nuclease resistance/serum stability: the ability of the       neutralization of the outside surface charges, such that 50%
       formulation to protect the nucleic acid therapeutic agents       efficiency would be the theoretical upper limit. Through
       from nuclease digestion either in an in vitro assay, or in       some unclear mechanism, however, the invention surpris-
       circulation. Several standard assays are detailed in this        ingly provides an active process whereby the majority of the
       specification. Encapsulated particles have much greater 5 therapeutic agent (nucleic acid) ends up protected on the
       nuclease resistance and serum stability than lipid-antisense     inside of the particles.
       aggregates such as DOTMNDOPE (LIPOFECTIN™) for-
                                                                        III. Methods of Preparing Lipid/Therapeutic Agent (Nucleic
       mulations; and
                                                                        Acid) Formulations
          size: the size of the particles formed. Size distribution
       may be determined using quasi-elastic light scattering 10           In view of the above, the present invention provides
       (QELS) on a Nicomp Model 370 sub-micron particle sizer.          methods of preparing lipid/nucleic acid formulations. In the
       Particles under 200 nm are preferred for distribution to         methods described herein, a mixture of lipids is combined
       neo-vascularized (leaky) tissues, such as neoplasms and          with a buffered aqueous solution of nucleic acid to produce
       sites of inflammation.                                           an intermediate mixture containing nucleic acid encapsu-
          The methods and composition of the invention make use 15 lated in lipid particles wherein the encapsulated nucleic
       of certain lipids which can be present in both a charged and     acids are present in a nucleic acid/lipid ratio of about 10 wt
       an uncharged form. For example, amino lipids which are           % to about 20 wt %. The intermediate mixture may option-
       charged at a pH below the pKa of the amino group and             ally be sized to obtain lipid-encapsulated nucleic acid par-
       substantially neutral at a pH above the pka can be used in a     ticles wherein the lipid portions are large unilamellar
       two-step process. First, lipid vesicles can be formed at the 20 vesicles, preferably having a diameter of 70 to 200 nm, more
       lower pH with (cationic) amino lipids and other vesicle          preferably about 90 to 130 nm. The pH is then raised to
       components in the presence of nucleic acids. In this manner      neutralize at least a portion of the surface charges on the
       the vesicles will encapsulate and entrap the nucleic acids.      lipid-nucleic acid particles, thus providing an at least par-
       Second, the surface charge of the newly formed vesicles can      tially surface-neutralized lipid-encapsulated nucleic acid
       be neutralized by increasing the pH of the medium to a level 25 composition.
       above the pKa of the amino lipids present, i.e., to physi-
       ological pH or higher. Particularly advantageous aspects of         The mixture of lipids includes at least two lipid compo-
       this process include both the facile removal of any surface      nents: a first lipid component that is selected from among
       adsorbed nucleic acid and a resultant nucleic acid delivery      lipids which have a pKa such that the lipid is cationic at pH
       vehicle which has a neutral surface. Liposomes or lipid 30 below the pKa and neutral at pH above the pKa, and a
       particles having a neutral surface are expected to avoid rapid   second lipid component that is selected from among lipids
       clearance from circulation and to avoid certain toxicities       that prevent particle aggregation during lipid-nucleic acid
       which are associated with cationic liposome preparations.        particle formation.
          It is further noted that the vesicles formed in this manner      The first lipid component of is a lipid ( or a mixture of lipid
       provide formulations of uniform vesicle size with high 35 species with similar properties) which has at least one
       content of nucleic acids. Additionally, the vesicles are not     protonatable or deprotonatable group, such that the lipid is
       aggregate complexes, but rather are large unilamellar            charged al a first pH (cationic or anionic, depending on the
       vesicles having a size range of from about 70 to about 200       nature and pKa of the protonalable or deprolonatable group),
       nm, more preferably about 90 to about 130 nm.                    and neutral at a second pH, preferably at physiological pH.
          Without intending to be bound by any particular theory, it 40 It will of course be understood that the addition or removal
       is believed that the very high efficiency of nucleic acid        of protons as a function of pH is an equilibrium process, and
       encapsulation is a result of electrostatic interaction at low    that the reference to a charged or a neutral lipid refers to the
       pH. FIG. 1 provides an illustration of the processes             nature of the predominant species and does not require that
       described herein. More particularly, this figure illustrates a   all of the lipid be present in the charged or neutral form.
       lipid-nucleic acid composition of amino lipids and PEG- 45 Lipids which have more than one protonatable or deprolo-
       modified lipids having encapsulated antisense nucleic acid       natable group, or which are zwiterrionic are not excluded
       and surface-bound antisense nucleic acid. At acidic pH           from use in the invention. Protonatable lipids are particu-
       (shown as pH 4.0), the surface is charged and binds a portion    larly useful as the first lipid component of the invention
       of the anlisense through electrostatic interactions. When the    when the pKa of the protonatable group is in the range of
       external acidic buffer is exchanged for a more neutral (pH so about 4 to about 11. Most preferred is pKa of about 4 to
       7.5, HBS) buffer, the surface of the lipid particle or liposome  about 7, because these lipids will be cationic al the lower pH
       is neutralized, resulting in release of the antisense nucleic    formulation stage, while particles will be largely (though not
       acid.                                                            completely) surface neutralized at physiological pH around
          Encapsulation efficiency results in FIG. 15 show a further    pH 7.5. One of the benefits of this pKa is that at least some
       unexpected benefit of the invention. As shown in the figure, 55 antisense stuck to the outside surface of the particle will lose
       for both phosphorothioale (PS-2302) and phosphodiester           its electrostatic interaction at physiological pH and be
       (PO-2302) formulations it is possible to obtain encapsula-       removed by simple dialysis; thus greatly reducing the par-
       tion efficiencies-i.e., the amount of nucleic acid that ends     ticle's susceptibility to clearance.
       up on the inside of the particle-that are greater than 50%.         Preferred lipids with a protonatable group for use as the
       Phosphodiesters achieve well over 60%, and phosphorothio- 60 first lipid component of the lipid mixture are amino lipids.
       ates can be at least up to 80% encapsulated. The asymmetry       As used herein, the term "amino lipid" is meant to include
       of loading is surprising, given that in the simplest model of    those lipids having one or two fatty acid or fatty alkyl chains
       loading large unilamellar vesicles (LUV's) the therapeutic       and an amino head group (including an alkylamino or
       agent (nucleic acid) would be equally likely to associate        dialkylamino group) which is protonated to form a cationic
       with cationic charges on the inside and outside of the 65 lipid al physiological pH (see FIG. 2A). In one group of
       particle. A 1: 1 distribution (inside to outside) would suggest  embodiments, the amino lipid is a primary, secondary or
       that the 50% on the outside should be removed upon               tertiary amine represented by the formula:




                                                                                                                             JA001537
                                                                                                                    M RNA-G EN-00203250
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 195 of 1274 PageID #: 8501


                                                            US 6,287,591 Bl
                                    11                                                                    12


                                                                                                 Rl                  R2


                                                                                                 1-1                 H
                                                                                    2            H                   CH3
                                                                                    3            CH3                 CH3
                                                                                     4           H                   CH2 CH3
          in which R 1 is a C12 to C::: 4 alkyl group which is branched              5           CH3                 CH2 CH3
             or unbranched, and saturated or unsaturated. R2 is                      6           CH2 CH3             CH2 CH3
             hydrogen or a C1 to C24 alkyl group which is also 10                    7           H                   CH2 CH2 OH
                                                                                     8           CH3                 CH2 CH2 OH
             branched or unbranched, and saturated or unsaturated
                                                                                     9           CH2 CH3             CH2 CH2 OH
             (when three or more carbons are present). R 3 is hydro-                10           CH2 Cl-12 0l-l      Cl-12 Cfl 2 0fl
             gen or a C 1 to C 6 alkyl group. Examples of these amino               11 *         H                   Cf! 2 Cl-12 Nl-12
             lipids include, for example, stearylamine, oleylamine,                 12*          CH3                 Cl-12 Cfl 2 Nfl 2
                                                                                    13*          CH2 CH3             CH2 CH2 NH2
             dioleylamine, N-melhyl-N,N-dioleylamine, and N,N- 15                   14*          CH2 CH2 OH          CH2 CH2 NH2
             dimethyloleylamine.                                                    15*          CH2 CH2 NH2         CH2 CH2 NH2
          In another group of embodiments, the amino lipid is a
       lipid in which the amino head group is attached to one or              In other embodiments, the amino lipid can be a derivative
       more fatty acid or fatty alkyl groups by a scaffold such as,
                                                                        20 of a naturally occurring amino lipid, for example, sphin-
       for example, a glycerol or propanediol moiety. Illustrative of      gosine. Suitable derivatives of sphingosine would include
       these amine lipids is the formula:                                  those having additional fatty acid chains attached to either of
                                                                           the pendent hydroxyl groups, as well as alkyl groups,
                                                                           preferably lower all(yl groups, attached to the amino func-
                                                                           tional group.
                                                                        25
                                                                              Other lipids which may be used as the first lipid compo-
                                                                           nent of the invention include phosphine lipids (although
                                                                           toxicity issues may limit their utility), and carboxylic acid
                                                                           lipid derivative. These generally have a pKa of about 5 and
                                                                           are therefore useful with cationic therapeutic agents.
                                                                        30    The second lipid component is selected to improve the
       wherein at least one and preferably both of R11 and R12 is          formulation process by reducing aggregation of the lipid
       a C12 to C24 alkyl or acyl group which is branched or               particles during formation. This may result from steric
       unbranched, saturated or unsaturated. In those embodiments          stabilization of particles which prevents charge-induced
       in which only one of R 11 or R 12 is a long chain alkyl or acyl     aggregation during formation. Examples of suitable lipids
       group, the other of R 11 or R 1 ::: will be a hydrogen or lower 35 for this purpose include polyethylene glycol (PEG)-
       alkyl or acyl group having from one to six carbon atoms. The        modified lipids, monosialoganglioside Gml, and polyamide
                              13         14                                oligomers ("PAO") such as ATTA (disclosed in U.S. patent
       remaining groups, R and R are typically hydrogen or C1
                                                                           application Ser. No. 60/073,852 assigned to the assignee of
       to C4 alkyl. In this group of embodiments, the amino lipid
                                                                           the instant invention and incorporated herein by reference).
       can be viewed as a derivative of 3-monoalkyl or
                                                                        40 Other compounds with uncharged, hydrophilic, steric-
       dialkylamino-1,2-propanediol. An example of a suitable              barrier moieties, that prevent aggregation during
       amino lipid is DODAP (l,2-dioleoyloxy-3-dimethylamino-              formulation, like PEG, Gml or ATTA, can also be coupled
       propane, see FIG. 2A). Other amino lipids would include             to lipids for use as the second lipid component in the
       those having alternative fatty acid groups and other dialky-        methods and compositions of the invention. Typically, the
       lamino groups, including those in which the alkyl substitu- 45 concentration of the second lipid component is about 1 to
       ents are different (e.g., N-ethyl-N-methylamino-, N-propyl-         15% (by mole percent of lipids).
       N-ethylamino- and the like). For those embodiments in                  Specific examples of PEG-modified lipids ( or lipid-
       which R 11 and R12 are both long chain alkyl or acyl groups,        polyoxyethylene conjugates) that are useful in the present
       they can be the same or different. In general, amino lipids         invention can have a variety of" anchoring" lipid portions lo
       having less saturated acyl chains are more easily sized, 50 secure the PEG portion to the surface of the lipid vesicle.
       particularly when the complexes must be sized below about           Examples of suitable PEG-modified lipids include PEG-
       0.3 microns, for purposes of filter sterilization. Amino lipids     modified phosphatidylethanolamine and phosphatidic acid
       containing unsaturated fatty acids with carbon chain lengths        (see FIG. 2B, structures A and B), PEG-modified diacylg-
       in the range of C14 lo C22 are particularly preferred. Other        lycerols and dialkylglycerols (see FIG. 2B, structures C and
       scaffolds can also be used to separate the amino group and 55 D), PEG-modified dialkylamines (FIG. 2B, structure E) and
       the fatty acid or fatly alkyl portion of the amino lipid.           PEG-modified 1,2-diacyloxypropan-3-amines (FIG. 2B,
       Suitable scaffolds are known to those of skill in the art.          structure F). Particularly preferred are PEG-ceramide con-
                                                                           jugates (e.g., PEG-CerCl 4 or PEG-CerC20) which are
          Compounds that are related to DODAP that may be useful           described in co-pending U.S. Ser. No. 08/486,214, incorpo-
       with this invention include: 1-oleoyl-2-hydroxy-3-N,N- 60 rated herein by reference.
       dimelhylamino propane; 1,2-diacyl-3-N,N-dimelhylamino                  In embodiments where a sterically-large moiety such as
       propane; and 1,2-didecanoyl-1-N,N-dimethylamino pro-                PEG or ATTA are conjugated to a lipid anchor, the selection
       pane. Further, it is proposed that various modifications of the     of the lipid anchor depends on what type of association the
       DODAP or DODMA headgroup, or any compound of the                    conjugate is lo have with the lipid particle. It is well known
       general formula: can be modified to obtain a suitable pKa. 65 t h a t                                    m e P E G ( m w 2 0 0 0) -
       Suitable headgroup modifications that are useful in the             diastearoylphosphatidylethanolamine (PEG-DSPE) will
       instant invention include:                                          remain associated with a liposome until the particle is




                                                                                                                                 JA001538
                                                                                                                    M RNA-G EN-00203251
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 196 of 1274 PageID #: 8502


                                                            US 6,287,591 Bl
                                    13                                                                  14
       cleared from the circulation, possibly a matter of days. Other      embodiments, the first solution consists of the above lipid
       conjugates, such as PEG-CerC20 have similar staying                 mixture in molar ratios of about 10-35% amino
       capacity. PEG-CerCl4, however, rapidly exchanges out of             lipid:25-45% neutral lipid:35-55% cholesterol:0.5-15%
       the formulation upon exposure to serum, with a T 112 less           PEG-ceramnide. In still further preferred embodiments, the
       than 60 mins. in some assays. As illustrated in U.S. patent 5 first solution consists essentially of DODAP, DSPC, Chol
       application Ser. No. 08/486,214 at least three characteristics      and PEG-CerCl 4, more preferably in a molar ratio of about
       influence the rate of exchange: length of acyl chain, satu-         10--35% DODAP:25-45% DSPC:35-55% Chol:0.5-15%
       ration of acyl chain, and size of the steric-barrier head group.    PEG-CerCl 4. In another group of preferred embodiments,
       Compounds having suitable variations of these features may          the neutral lipid in these compositions is replaced with
       be useful for the invention.                                     10 POPC or SM.
          It should be noted that aggregation preventing compounds            In accordance with the invention, the lipid mixture is
       do not necessarily require lipid conjugation to function            combined with a buffered aqueous solution of charged
       properly. Free PEG or free ATTA in solution may be                  therapeutic agent, preferably nucleic acids. The buffered
       sufficient to prevent aggregation. If the particles are stable      aqueous solution of therapeutic agents (nucleic acids) which
       after formulation, the PEG or ATTA can be dialyzed away 15 is combined with the lipid mixture is typically a solution in
       before administration to a patient.                                 which the buffer has a pH of less than the pK of the 0

          In addition to the first and second lipid components, the        protonatable lipid in the lipid mixture. As used herein, the
       lipid mixture may contain additional lipid species. These           term ·'nucleic acid" is meant to include any oligonucleotide
       additional lipids may be, for example, neutral lipids or            or polynucleotide having from 10 to 100,000 nucleotide
       sterols.                                                         20 residues. Antisense and ribozyme oligonucleotides are par-
          Neutral lipids, when present in the lipid mixture, can be        ticularly preferred. The term "antisense oligonucleotide" or
       any of a number of lipid species which exist either in an           simply "antisense" is meant to include oligonucleotides
       uncharged or neutral zwitterionic form at physiological pH.         which are complementary to a targeted nucleic acid and
       Such lipids include, for example diacylphosphatidylcholine,         which contain from about 10 to about 50 nucleotides, more
       diacylphosphatidylethanolamine, ceramide, sphingomyelin, 25 preferably about 15 to about 30 nucleotides. The term also
       cephalin, and cerebrosides. The selection of neutral lipids         encompasses antisense sequences which may not be exactly
       for use in the complexes herein is generally guided by              complementary to the desired target gene. Thus, the inven-
       consideration of, e.g., liposome size and stability of the          tion can be utilized in instances where non-target specific-
       liposomes in the bloodstream. Preferably, the neutral lipid         activities are found with antisense, or where an antisense
       component is a lipid having two acyl groups, (i.e., dia- 30 sequence containing one or more mismatches with the target
       c y l p hosp ha tidy l choline                              and     sequence is the most preferred for a particular use.
       diacylphosphatidylethanolamine). Lipids having a variety of            The nucleic acid that is used in a lipid-nucleic acid
       acyl chain groups of varying chain length and degree of             particle according to this invention includes any form of
       saturation are available or may be isolated or synthesized by       nucleic acid that is known. Thus, the nucleic acid may be a
       well-known techniques. In one group of embodiments, lipids 35 modified nucleic acid of the type used previously to enhance
       containing saturated fatty acids with carbon chain lengths in       nuclease resistance and serum stability. Surprisingly,
       the range of C 14 to C 22 are preferred. In another group of        however, acceptable therapeutic products can also be pre-
       embodiments, lipids with mono or diunsaturated fatty acids          pared using the method of the invention to formulate lipid-
       with carbon chain lengths in the range of C 14 to C22 are used.     nucleic acid particles from nucleic acids which have no
       Additionally, lipids having mixtures of saturated and unsat- 40 modification to the phosphodiester linkages of natural
       urated fatty acid chains can be used. Preferably, the neutral       nucleic acid polymers, and the use of unmodified phos-
       lipids used in the present invention are DOPE, DSPC,                phodiester nucleic acids (i.e., nucleic acids in which all of
       POPC, or any related phosphatidylcholine. The neutral               the linkages are phosphodiester linkages) is a preferred
       lipids useful in the present invention may also be composed         embodiment of the invention. Still other nucleic acids which
       of sphingomyelin or phospholipids with other head groups, 45 are useful in the present invention include, synthetic or
       such as serine and inositol.                                        pre-formed poly-RNA such as poly(IC) IC.
          The sterol component of the lipid mixture, when present,            The nucleic acids used herein can be single-stranded DNA
       can be any of those sterols conventionally used in the field        or RNA, or double-stranded DNA or DNA-RNA hybrids.
       of liposome, lipid vesicle or lipid particle preparation. A         Examples of double-stranded DNA include structural genes,
       preferred stern! is cholesterol.                                 50 genes including control and termination regions, and self-
          The mixture of lipids is typically a solution of lipids in an    replicating systems such as plasmid DNA Single-stranded
       alcoholic solvent. Hydrophilic, low molecular weight water          nucleic acids include antisense oligonucleotides ( discussed
       miscible alcohols with less than 10 carbon atoms, preferably        above and complementary to DNA and RNA), ribozymes
       less than 6 carbon atoms are preferred. Typical alcohols used       and triplex-forming oligonucleotides.
       in this invention are ethanol, methanol, propanol, butanol, 55         In order to increase stability, some single-stranded nucleic
       pentanol and ethylene glycol and propylene glycol. Particu-         acids may have some or all of the nucleotide linkages
       larly preferred is ethanol. In most embodiments, the alcohol        substituted with stable, non-phosphodiester linkages,
       is used in the form in which it is commerciallv available. For      including, for example, phosphorothioate,
       example, ethanol can be used as absolute eth;nol (100%), or         phosphorodithioate, phosphoroselenate, boranophosphate,
       as 95% ethanol, the remainder being water.                       60 methylphosphonate, or O-alkyl phosphotriester linkages.
          In one exemplary embodiment, the mixture of lipids is a          Phosphorothioate nucleic acids (PS-oligos) are those oligo-
       mixture of amino lipids, neutral lipids ( other than an amino       nucleotides or polynucleotides in which one of the non-
       lipid), a stern! (e.g., cholesterol) and a PEG-modified lipid       bridged oxygens of the internucleotide linkage has been
       (e.g., a PEG-ceramide) in an alcohol solvent. In preferred          replaced with sulfur. These PS-oligos are resistant to
       embodiments, the lipid mixture consists essentially of an 65 nuclease degradation, yet retain sequence-specific activity.
       amino lipid, a neutral lipid, cholesterol and a PEG-ceramide        Similarly, phosphorodithioate nucleic acids are those oligo-
       in alcohol, more preferably ethanol. In further preferred           nucleotides or polynucleotides in which each of the non-




                                                                                                                             JA001539
                                                                                                                    M RNA-G EN-00203252
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 197 of 1274 PageID #: 8503


                                                            US 6,287,591 Bl
                                    15                                                                       16
       bridged oxygens of the internucleotide linkage have been          any chemistry, will also be efficacious. Encapsulated par-
       replaced by a sulfur atom. These phosphorodithioate-oligos        ticles may also have a broader range of in vivo utilities,
       have also proven to be more nuclease resistant than the           showing efficacy in conditions and models not known to be
       natural phosphodiester-linked form. Other useful nucleic
                                                                         otherwise responsive to antisense therapy. Those skilled in
       acids derivatives include those nucleic acids molecules in 5
       which the bridging oxygen atoms (those forming the phos-          the art know that applying this invention they may find old
       phoester linkages) have been replaced with-S-, -NH-,              models which now respond to antisense therapy. Further,
       -CH 2 -     and the like. Preferably, the alterations to the      they may revisit discarded antisense sequences or chemis-
       antisense or other nucleic acids used will not completely         tries and find efficacy by employing the invention.
       affect the negative charges associated with the nucleic acids. 10
       Thus, the present invention contemplates the use of anti-            Therapeutic antisense sequences (putatively target
       sense and other nucleic acids in which a portion of the           specific) known to work with this invention include the
       linkages are replaced with, for example, the neutral methyl       following:



                                                 Trivial Name:   Gene Target, Chemistry and Sequence

                                                 PS-3082         murine ICAM-1 (Intracellular Adhesion Molecule-1)
                                                                 (phosphorothioate)
                                                                 TGCATCCCCCAGGCCACCAT                                           (SEQ ID. No 1)
                                                 PO-3082         murine ICAM-1 (phosphodiester)
                                                                 TGCATCCCCCAGGCCACCAT                                           (SEQ ID. No 1)
                                                 PS-2302         human ICAM-1 (phosphorothiote)
                                                                 GCCCAAGCTGGCATCCGTCA                                           (SEQ ID. No 2)
                                                 PO-2302         human ICAM-1 (phosphodiester)
                                                                 GCCCAAGCTGGCATCCGTCA                                           (SEQ ID. No 2)
                                                 PS-8997         human ICAM-1 (phosphorothioate)
                                                                 GCCCAAGCJ'GGCATCCG-TCA                                         (SEQ ID. No 2)
                                                 US3             human erb-B-2 gene (phosphodiester or phosphorothioate)
                                                                 GG-T GCT CAC TGC GGC                                           (SEQ ID. No 3)
                                                 LR-3280         human c-myc gene (phosphorothioate)
                                                                 AACC OTT GAG OGG CAT                                           (SEQ ID. No 4)
                                                 lnx-6298        human c-myc gene (phosphodiesterJ
                                                                 AAC GTT GAG GOG CAT                                            (SEQ ID. No 4)
                                                 lnx-6295        human c-myc gene (phosphodiester or phosphorothioate)
                                                                 T AAC GTT GAG GGG CAT                                          (SEQ ID. No 5)
                                                 LR-3001         human c-myb gene (phosphodiester or phosphorothioateJ
                                                                 TAT GCT GTG CCG GGG TCT TCG GGC                                (SEQ ID. No 6)
                                                 c-myb           human c-myb gene (phosphodiester or phosphorothioate)
                                                                 GTG CCG GGG TCT TCG GGC                                        (SEQ[[)_ No 7)
                                                 IGF-1R          human IGF-1 R (Insulin Growth Factor 1 - Receptor
                                                                 (phosphodiester or phosphorothioate)
                                                                 GOA CCC TCC TCC GGA GCC                                        (SEQ ID. No 8)
                                                 LR-42           human IGF-1R (phosphodiester or phosphorothioate)
                                                                 TCC TCC GOA GCC AGA CTI                                        (SEQ ID. No 9)
                                                 EGFR            human EGFR (Epidermal Growth Factor Receptor)
                                                                 (phosphodiester or phosphorothioate)
                                                                 CCG TGG TCA TGC TCC                                            (SEQ ID. No 10)
                                                 VEGF            human VEGF (Vascular Endothelial Growth Factor) gene
                                                                 (phosphodiester or phosphorothioate)
                                                                 CAG CCT GGC TCA CCG ccr TGG                                    (SEQ[[)_ No 11)
                                                 PS-4189         murine PKC-alpha (Phosphokinase C - alpha) gene
                                                                 (phosphodiester or phosphorothioate)
                                                                 CAG CCA TOG TIC CCC CCA AC                                     (SEQ ID. No 12)
                                                 PS-3521         human PKC-alpha
                                                                 (phosphodiester or phosphorothioate)
                                                                 OTT CTC OCT GOT GAG TTT CA                                     (SEQ ID. No 13)
                                                 Bcl-2           human bcl-2 gene
                                                                 (phosphodiester or phosphorothioate)
                                                                 TCT CCC AgC gTg CgC CAT                                        (SEQ ID. No 14)
                                                 ATG-AS          human c-raf-1 protein kinase
                                                                 (phosphodiester or phosphorothioate)
                                                                 GTG CTC CAT TGA TGC                                            (SEQ ID. No 15)
                                                 VEGF-R1         human VEGF-1 (Vascular Endothelial Growth Factor Receptor 1)
                                                                 ribozyme
                                                                 GAG UU CUG AUG AGG CCG AAA GGC CGAAAG UCU G                    (SEQ ID. No 16)




       phosphonate or phosphoramidate linkages. When neutral 60              Using these sequences, the invention provides a method
       linkages are used, preferably less than 80% of the nucleic         for the treatment of a diseases, including tumors, character-
       acid linkages are so substituted, more preferably less than        ized by aberrant expression of a gene in a mammalian
       50%.                                                               subject. The method comprises the steps of preparing a
          Those skilled in the art will realize that for in vivo utility, lipid-encapsulated therapeutic nucleic acid particle accord-
       such as therapeutic efficacy, a reasonable rule of thumb is 65 ing to the methods as described herein, where the therapeutic
       that if a thioated version of the sequence works in the free       nucleic acid component hybridizes specifically with the
       form, that encapsulated particles of the same sequence, of         aberrantly expressed gene; and administering a therapeuti-




                                                                                                                                    JA001540
                                                                                                                         M RNA-G EN-00203253
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 198 of 1274 PageID #: 8504


                                                            US 6,287,591 Bl
                                     17                                                                  18
       cally effective amount of the resulting particle to the mam-           The nucleic acids used in the present method can be
       malian subject. These sequences are, of course, only repre-         isolated from natural sources, obtained from such sources as
       sentative of the possible therapeutic oligonucleotide               ATCC or GenBank libraries or prepared by synthetic meth-
       compounds that can be delivered using the invention. It is          ods. Synthetic nucleic acids can be prepared by a variety of
       well known that, depending on the target gene, antisense that 5 solution or solid phase methods. Generally, solid phase
       hybridizes to any part of the target gene, such as coding           synthesis is preferred. Detailed descriptions of the proce-
       regions, introns, the 5' untranslated region (5'UTR), start of      dures for solid phase synthesis of nucleic acids by
       translation, or 3'UTR may have therapeutic utility.                 phosphite-triester, phosphotriester, and H-phosphona te
       Therefore, the sequences listed above are only exemplary of         chemistries are widely available. See, for example, Itakura,
       antisense. Furthermore, all the alternative chemistries that
                                                                        10 U.S. Pat. No. 4,401,796; Caruthers, et al., U.S. Pat. Nos.
       have been proposed (i.e. see Background) can be tested with
                                                                           4,458,066 and 4,500,707; Beaucage, et al., Tetrahedron
       the invention to determine efficacy along with all types of
       ribozymes. In short, the compounds listed above represent           Lett., 22:1859-1862 (1981); Matteucci, et al.,J.Am. Chem.
       the broad class of therapeutic 5-50 mer oligonucleolides of         Soc., 103:3185-3191 (1981); Caruthers, et al., Genetic
       various chemistries which are useful with this invention.           Engineering, 4: 1-17 (1982); Jones, chapter 2, Atkinson, et
       Other oligonucleotides which are useful include all those 15 al., chapter 3, and Sproat, et al., chapter 4, in Oligonucle-
       which have previously demonstrated efficacy in the free             otide Synthesis: A Practical Approach, Gait (ed.), IRL Press,
       form.                                                               Washington D.C. (1984); Froehler, et al., Tetrahedron Lett.,
          While the invention is generally described and exempli-          27:469-472 (1986); Froehier, et al., Nucleic Acids Res.,
       fied with regard lo antisense oligonucleotides, other nucleic       14:5399-5407 (1986); Sinha, et al. Tetrahedron Lett.,
       acids can be formulated and administered to a subject for the 20 24:5843-5846 (1983); and Sinha, et al., Nucl. Acids Res.,
       purpose of repairing or enhancing the expression of a               12:4539--4557 (1984) which are incorporated herein by
       cellular protein. Accordingly, the nucleic acid can be an           reference.
       expression vector, cloning vector or the like which is often           As noted above, the solution of therapeutic agent (nucleic
       a plasmid designed to be able to replicate in a chosen host         acids) comprises an aqueous buffer. Preferred buffers (in the
       cell. Expression vectors may replica le autonomously, or they 25 case of anionic therapeutic agents) are those which provide
       may replicate by being inserted into the genome of the host         a pH of less than the pKa of the first lipid component.
       cell, by methods well known in the art. Vectors that replicate      Examples of suitable buffers include citrate, phosphate,
       autonomously will have an origin of replication or autono-          acetate, and MES. A particularly preferred buffer is citrate
       mous replicating sequence (ARS) that is functional in the
                                                                           buffer. Preferred buffers will be in the range of 1-1000 mM
       chosen host cell(s). Often, it is desirable for a vector lo be
                                                                        30 of the anion, depending on the chemistry of the oligonucle-
       usable in more than one host cell, e.g., in E. coli for cloning
       and construction, and in a mammalian cell for expression.           otide being encapsulated, and optimization of buffer con-
          Additionally, the nucleic acid can carry a label (e.g.,          centration may be significant to achieving high loading
       radioactive label, fluorescent label or colorimetric label) for     levels (See. FIGS. 15 and 20). Alternatively, pure water
       the purpose of providing clinical diagnosis relating to the         acidified to pH 5-6 with chloride, sulfate or the like may be
       presence or absence of complementary nucleic acids. 35 useful. In this case, it may be suitable to add 5% glucose, or
       Accordingly, the nucleic acids, or nucleotide polymers, can         another non-ionic solute which will balance the osmotic
       be polymers of nucleic acids including genomic DNA,                 potential across the particle membrane when the particles
       cDNA, mRNA or oligonucleotides containing nucleic acid              are dialyzed to remove ethanol, increase the pH, or mixed
       analogs, for example, the antisense derivatives described in        with a pharmaceutically acceptable carrier such as normal
       a review by Stein, et al., Science 261:1004-1011 (1993) and 40 saline. The amount of therapeutic agent (nucleic acid) in
       in U.S. Pat. Nos. 5,264,423 and 5,276,019, the disclosures of       buffer can vary, but will typically be from about 0.01 mg/mL
       which are incorporated herein by reference. Still further, the      to about 200 mg/mL, more preferably from about 0.5 mg/mL
       nucleic acids may encode transcriptional and translational          to about 50 mg/mL.
       regulatory sequences including promoter sequences and                  The mixture of lipids and the buffered aqueous solution of
       enhancer sequences.                                              45 therapeutic agent (nucleic acids) is combined to provide an
          'Ibe nucleic acids used in the present invention will also       intermediate mixture. The intermediate mixture is typically
       include those nucleic acids in which modifications have             a mixture of lipid particles having encapsulated therapeutic
       been made in one or more sugar moieties and/or in one or            agent (nucleic acids). Additionally, the intermediate mixture
       more of the pyrimidine or purine bases. Examples of sugar           may also contain some portion of therapeutic agent (nucleic
       modifications include replacement of one or more hydroxyl 50 acids) which are attached to the surface of the lipid particles
       groups with halogens, alkyl groups, amines, azido groups or         (liposomes or lipid vesicles) due to the ionic attraction of the
       functionalized as ethers or esters. Additionally, the entire        negatively-charged nucleic acids and positively-charged lip-
       sugar may be replaced with sterically and electronically            ids on the lipid particle surface ( the amino lipids or other
       similar structures, including aza-sugars and carbocyclic            lipid making up the protonatable first lipid component are
       sugar analogs. Modifications in the purine or pyrimidine 55 positively charged in a buffer having a pH of less than the
       base moiety include, for example, alkylated purines and             pKa of the protonatable group on the lipid). In one group of
       pyrimidines, acylated purines or pyrimidines, or other het-         preferred embodiments, the mixture of lipids is an alcohol
       erocyclic substitutes known to those of skill in the art. As        solution of lipids and the volumes of each of the solutions is
       with the modifications to the phosphodiester linkages dis-          adjusted so that upon combination, the resulting alcohol
       cussed above, any modifications to the sugar or the base 60 content is from about 20% by volume to about 45% by
       moieties should also act to preserve at least a portion of the      volume. The method of combining the mixtures can include
       negative charge normally associated with the nucleic acid. In       any of a variety of processes, often depending upon the scale
       particular, modifications will preferably result in retention of    of formulation produced. For example, when the total vol-
       at least 10% of the overall negative charge, more preferably        ume is about 10-20 mL or less, the solutions can be
       over 50% of the negative charge and still more preferably 65 combined in a test tube and stirred together using a vortex
       over 80% of the negative charge associated with the nucleic         mixer. Large-scale processes can be carried out in suitable
       acid.                                                               production scale glassware.




                                                                                                                              JA001541
                                                                                                                     M RNA-G EN-00203254
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 199 of 1274 PageID #: 8505


                                                            US 6,287,591 Bl
                                    19                                                                  20
          Optionally, the lipid-encapsulated therapeutic agent             mixture with a physiologically-acceptable carrier (such as
       (nucleic acid) complexes which are produced by combining            physiological saline or phosphate buffer) selected in accor-
       the lipid mixture and the buffered aqueous solution of              dance with the route of administration and standard phar-
       therapeutic agents (nucleic acids) can be sized to achieve a        maceutical practice.
       desired size range and relatively narrow distribution of lipid 5       Pharmaceutical compositions comprising the lipid-
       particle sizes. Preferably, the compositions provided herein        nucleic acid compositions of the invention are prepared
       will be sized lo a mean diameter of from about 70 lo about          according to standard techniques and further comprise a
       200 nm, more preferably about 90 to about 130 nm. Several           pharmaceutically acceptable carrier. Generally, normal
       techniques are available for sizing liposomes to a desired          saline will be employed as the pharmaceutically acceptable
       size. One sizing method is described in U.S. Pat. No.
                                                                        10 carrier. Other suitable carriers include, e.g., water, buffered
       4,737,323, incorporated herein by reference. Sonicating a
                                                                           water, 0.9% saline, 0.3% glycine, and the like, including
       liposome suspension either by bath or probe sonication
       produces a progressive size reduction down to small unila-          glycoproteins for enhanced stability, such as albumin,
       mellar vesicles (SUVs) less than about 0.05 microns in size.        lipoprotein, globulin, etc. In compositions comprising saline
       Homogenization is another method which relies on shearing           or other salt containing carriers, the carrier is preferably
       energy to fragment large liposomes into smaller ones. In a 15 added following lipid particle formation. Thus, after the
       typical homogenization procedure, multilamellar vesicles            lipid-nucleic acid compositions are formed, the composi-
       are recirculated through a standard emulsion homogenizer            tions can be diluted into pharmaceutically acceptable carri-
       until selected liposome sizes, typically between about 0.1          ers such as normal saline. The resulting pharmaceutical
       and 0.5 microns, are observed. In both methods, the particle        preparations may be sterilized by conventional, well known
       size distribution can be monitored by conventional laser- 20 sterilization techniques. The aqueous solutions can then be
       beam particle size determination. For the methods herein,           packaged for use or filtered under aseptic conditions and
       extrusion is used lo obtain a uniform vesicle size.                 lyophilized, the lyophilized preparation being combined
          Extrusion of liposome compositions through a small-pore          with a sterile aqueous solution prior to administration. The
       polycarbonate membrane or an asymmetric ceramic mem-                compositions may contain pharmaceutically acceptable aux-
       brane results in a relatively well-defined size distribution. 25 iliary substances as required to approximate physiological
       Typically, the suspension is cycled through the membrane            conditions, such as pH adjusting and buffering agents,
       one or more times until the desired liposome complex size           tonicity adjusting agents and the like, for example, sodium
       distribution is achieved. The liposomes may be extruded             acetate, sodium lactate, sodium chloride, potassium
       through successively smaller-pore membranes, lo achieve a           chloride, calcium chloride, etc. Additionally, the lipidic
       gradual reduction in liposome size. In some instances, the 30 suspension may include lipid-protective agents which pro-
       lipid-nucleic acid compositions which are formed can be             tect lipids against free-radical and lipid-peroxidative dam-
       used without any sizing.                                            ages on storage. Lipophilic free-radical quenchers, such as
          The present invention further comprises a step of neu-           a-tocopherol and water-soluble iron-specific chelators, such
       tralizing at least some of the surface charges on the lipid         as ferrioxamine, are suitable.
       portions of the lipid-nucleic acid compositions. By at least 35        The concentration of lipid-nucleic acid complexes in the
       partially neutralizing the surface charges, unencapsulaled          pharmaceutical formulations can vary widely, i.e., from less
       antisense or other nucleic acid is freed from the lipid particle    than about 0.01 %, usually at or at least about 0.05-5% lo as
       surface and can be removed from the composition using               much as 10 to 30% by weight and will be selected primarily
       conventional techniques. Preferably, unencapsulated and             by fluid volumes, viscosities, etc., in accordance with the
       surface adsorbed nucleic acids is removed from the resulting 40 particular mode of administration selected. For example, the
       compositions through exchange of buffer solutions. For              concentration may be increased to lower the fluid load
       example, replacement of a citrate buffer (pH about 4.0, used        associated with treatment. This may be particularly desirable
       for forming the compositions) with a HEPES-buffered saline          in patients having atherosclerosis-associated congestive
       (HBS pH about 7.5) solution, results in the neutralization of       heart failure or severe hypertension. Alternatively, com-
       liposome surface and antisense release from the surface. The 45 plexes composed of irritating lipids may be diluted to low
       released antisense can then be removed via chromatography           concentrations to lessen inflammation at the site of admin-
       using standard methods, and then switched into a buffer with        istration. In one group of embodiments, the nucleic acid will
       a pH above the pKa of the lipid used.                               have an attached label and will be used for diagnosis (by
          In other aspects, the present invention provides lipid-          indicating the presence of complementary nucleic acid). In
       encapsulated nucleic acid compositions, preferably prepared 50 this instance, the amount of complexes administered will
       by the methods recited above. Accordingly, preferred com-           depend upon the particular label used, the disease stale being
       positions are those having the lipid ratios and nucleic acid        diagnosed and the judgement of the clinician but will
       preferences noted above.                                            generally be between about 0.(Jl and about 50 mg per
          In still other aspects, the present invention contemplates       kilogram of body weight, preferably between about 0.1 and
       reversed-charge methods in which the lipid portion of the 55 about 5 mg/kg of body weight.
       complex contains certain anionic lipids and the component              As noted above, the lipid-therapeutic agent (nucleic acid)
       which is encapsulated is a positively charged therapeutic           compositions of the invention include polyethylene glycol
       agent. One example of a positively charged agent is a               (PEG)-modified phospholipids, PEG-ceramide, or ganglio-
       positively charged peptide or protein. In essentially an            side GM1 -modified lipids or other lipids effective to prevent
       identical manner, liposome-encapsulated protein is formed 60 or limit aggregation. Addition of such components does not
       at a pH above the pKa of the anionic lipid, then the surface        merely prevent complex aggregation, however, it may also
       is neutralized by exchanging the buffer with a buffer of            provides a means for increasing circulation lifetime and
       lower pH (which would also release surface-bound peptide            increasing the delivery of the lipid-nucleic acid composition
       or protein).                                                        lo the target tissues.
       IV. Pharmaceutical Preparations                                  65    The present invention also provides lipid-nucleic acid
          The lipid-nucleic acid compositions prepared by the              compositions in kit form. The kit will typically be comprised
       above methods can be administered either alone or in                of a container which is compartmentalized for holding the




                                                                                                                             JA001542
                                                                                                                    M RNA-G EN-00203255
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 200 of 1274 PageID #: 8506


                                                            US 6,287,591 Bl
                                    21                                                                  22
       various elements of the kit. The kit will contain the com-          tion of antisense oligonucleotides in cells (see, Bennett, et
       positions of the present inventions, preferably in dehydrated       al., Mal. Pharm. 41:1023-1033 (1992)).
       or concentrated form, with instructions for their rehydration          Alternatively, the compositions of the present invention
       or dilution and administration. In still other embodiments,         can also be used for the transfection of cells in vivo, using
       the lipid-encapsulated-therapeutic agent (nucleic acid) par- 5 methods which are known to those of skill in the art. In
       ticles will have a targeting moiety attached to the surface of      particular, Zhu, et al., Science 261:209-211 (1993), incor-
        the lipid particle. Methods of attaching targeting moieties        porated herein by reference, describes the intravenous deliv-
       ( e.g., antibodies, proteins, small molecule mime tics,             ery of cytomegalovirus (CMV)-chloramphenicol acetyl-
       vitamins, oligosaccharides and hyaluronic acid) to lipids           transferase (CAT) expression plasmid using DOTMA-
       (such as those used in the present compositions) are known 10 DOPE complexes. Hyde, et al., Nature 362:250-256 (1993),
       to those of skill in the art.                                       incorporated herein by reference, describes the delivery of
           Dosage for the lipid-nucleic acid compositions will             the cystic fibrosis transmembrane conductance regulator
       depend on the ratio of nucleic acid to lipid and the admin-         (CFTR) gene to epithelia of the airway and to alveoli in the
       istrating physician's opinion based on age, weight, and             lung of mice, using liposomes. Brigham, et al., Am. J. Med.
       condition of the patient.                                        15 Sci. 298:278-281 (1989), incorporated herein by reference,
        V. Methods of Introducing Lipid-Encapsulated Therapeutic           describes the in vivo transfection of lungs of mice with a
        Agents into Cells                                                  functioning prokaryotic gene encoding the intracellular
           'Ibe lipid-therapeutic agent compositions of the invention      enzyme, chloramphenicol acetyltransferase (CAI). Thus,
       can be used for introduction of those therapeutic agents into       the compositions of the invention can be used in the treat-
       cells. In the case of nucleic acid-containing compositions, 20 ment of infectious diseases.
        the composition of the invention are useful for the introduc-         For in vivo administration, the pharmaceutical composi-
        tion of nucleic acids, preferably plasmids, antisense and          tions are preferably administered parenterally, i.e.,
       ribozymes into cells. Accordingly, the present invention also       i ntr aarti cularly, intravenously, intra pe ri tone ally,
       provides methods for introducing a therapeutic agent such as        subcutaneously, or intramuscularly. More preferably, the
       a nucleic acid into a cell. The methods are carried out in vitro 25 pharmaceutical compositions are administered intrave-
       or in vivo by first forming the compositions as described           nously or intraperitoneally by a bolus injection. For
       above, then contacting the compositions with the target cells       example, see Stadler, et al., U.S. Pat. No. 5,286,634, which
       for a period of lime sufficient for transfeclion to occur.          is incorporated herein by reference. Intracellular nucleic
           The compositions of the present invention can be                acid delivery has also been discussed in Straubringer, et al.,
       adsorbed to almost any cell type. Once adsorbed, the com- 30 METHODS [N ENZYMOLOGY, Academic Press, New York.
       plexes can either be endocytosed by a portion of the cells,         101 :512-527 (1983); Mannino, et al., Biotechniques
       exchange lipids with cell membranes, or fuse with the cells.        6:682-690 (1988); Nicolau, et al., Crit. Rel'. 1her. Drug
       Transfer or incorporation of the nucleic acid portion of the        Carrier Syst. 6:239-271 (1989), and Behr, Acc. Chem. Res.
       complex can take place via any one of these pathways. In            26:274-278 (1993). Still other methods of administering
       particular, when fusion lakes place, the liposome membrane 35 lipid-based therapeutics are described in, for example, Rah-
       is integrated into the cell membrane and the contents of the        man et al., U.S. Pat. No. 3,993,754; Sears, U.S. Pat. No.
       liposome combine with the intracellular fluid. Contact              4,145,410; Papahadjopoulos et al., U.S. Pat. No. 4,235,871;
       between the cells and the lipid-nucleic acid compositions,          Schneider, U.S. Pat. No. 4,224,179; Lenk et al., U.S. Pat.
       when carried out in vitro, will take place in a biologically        No. 4,522,803; and Fountain et al., U.S. Pat. No. 4,588,578.
       compatible medium. The concentration of compositions can 40            In other methods, the pharmaceutical preparations may be
       vary widely depending on the particular application, but is         contacted with the target tissue by direct application of the
       generally between about 1 ,umol and about 10 mmol. Treat-           preparation to the tissue. The application may be made by
       ment of the cells with the lipid-nucleic acid compositions          topical, "open" or "closed" procedures. By "topical", it is
       will generally be carried out at physiological temperatures         meant the direct application of the pharmaceutical prepara-
       ( about 37° C.) for periods of time of from about l to 6 hours, 45 tion to a tissue exposed to the environment, such as the skin,
       preferably of from about 2 to 4 hours. For in vitro                 oropharynx, external auditory canal, and the like. "Open"
       applications, the delivery of nucleic acids can be to any cell      procedures are those procedures which include incising the
       grown in culture, whether of plant or animal origin, verte-         skin of a patient and directly visualizing the underlying
       brate or invertebrate, and of any tissue or type. In preferred      tissue lo which the pharmaceutical preparations are applied.
       embodiments, the cells will be animal cells, more preferably 50 This is generally accomplished by a surgical procedure, such
       mammalian cells, and most preferably human cells.                   as a thoracotomy to access the lungs, abdominal laparolomy
           In one group of preferred embodiments, a lipid-nucleic          to access abdominal viscera, or other direct surgical
       acid particle suspension is added to 60-80% confluent plated        approach to the target tissue. "Closed" procedures are inva-
       cells having a cell density of from about 103 to about 105          sive procedures in which the internal target tissues are not
       cells/mL, more preferably about 2xl0 4 cells/mL. The con- 55 directly visualized, but accessed via inserting instruments
       centration of the suspension added to the cells is preferably       through small wounds in the skin. For example, the prepa-
       of from about 0.01 to 0.2 µg/mL, more preferably about 0.1          rations may be administered to the peritoneum by needle
       ,ug/mL.                                                             lavage. Likewise, the pharmaceutical preparations may be
           Typical applications include using well known transfec-         administered to the meninges or spinal cord by infusion
       tion procedures to provide intracellular delivery of DNA or 60 during a lumbar puncture followed by appropriate position-
       MRNA sequences which code for therapeutically useful                ing of the patient as commonly practiced for spinal anes-
       polypeptides. In this manner, therapy is provided for genetic       thesia or metrazamide imaging of the spinal cord.
       diseases by supplying deficient or absent gene products (i.e.,      Alternatively, the preparations may be administered through
       for Duchenne's dystrophy, see Kunkel, el al., Brit. Med.            endoscopic devices.
       Bull. 45(3):630-643 (1989), and for cystic fibrosis, see 65            The lipid-nucleic acid compositions can also be admin-
       Goodfellow, Nature 341:102-103 (1989)). Other uses for              istered in an aerosol inhaled into the lungs (see, Brigham, et
       the compositions of the present invention include introduc-         al., Am. .I. Sci. 298(4):278-281 (1989)) or by direct injection




                                                                                                                             JA001543
                                                                                                                    M RNA-G EN-00203256
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 201 of 1274 PageID #: 8507


                                                          US 6,287,591 Bl
                                   23                                                                24
       at the site of disease (Culver, HUMAN GENE THERAPY,              from the encapsulated liposomal antisense by gel exclusion
       MaryAnn Liebert, Inc., Publishers, New York. pp.70-71            chromatography as described below.
       (1994)).                                                          Gel Filtration Chromatography
          'Ibe methods of the present invention may be practiced in         A 20x2.5 cm glass column containing Biogel Al5m,
       a variety of hosts. Preferred hosts include mammalian 5 100-200 mesh, was equilibrated in HEPES-buffered saline
       species, such as humans, non-human primates, dogs, cats,         (HBS; 20 mM HEPES, 145 mM NaCl, pH 7.5). The 2.0 mL
       cattle, horses, sheep, and the like.                             liposomal antisense preparation was applied to the column
       VI. Examples                                                      and allowed lo drain into the gel bed under gravity. The
       Materials and Methods                                            column was eluted with H BS at a flow rate of 50 mL/hr.
       Lipids                                                        10 Column fractions (l.0 mL) were collected and analyzed for
          Distearoylphosphatidylcholine (DSPC), sphingomyelin           radioactivity using standard liquid scintillation counting
       (SM), and palmitoyloleoylphosphatidylcholine (POPC)              techniques. The fractions were pooled based on the levels of
                                                                          14
       were purchased from Northern Lipids (Vancouver, Canada).         [    C]-CHE present in the fraction. The size distribution of
       1,2-dioleoyloxy-3-dimethylammoniumpropane (DODAP or              the pooled liposomal antisense was determined using a
       AL-1) was synthesized by Dr. Steven Ansell (Inex 15 NICOMP Model 370 Sub-micron particle sizer and was
       Pharmaceuticals) or, alternatively, was purchased from           typically 110±30 nm.
       Avanti Polar Lipids. Cholesterol was purchased from Sigma        Ion Exchange Chromatography
       Chemical Company (St. Louis, Mo., USA). PEG-ceramides                As an alternative to gel filtration chromatography,
       were synthesized by Dr. Zhao Wang at Inex Pharmaceuticals        samples were sometimes dialyzed first in 300 mM citrate,
       Corp. using procedures described in PCT WO 96/40964, 20 pH 3.80, for 2-3 hours to remove residual ethanol, followed
       incorporated herein by reference. [ 3 H] or [ 14 C]-CHE was      by al least a 12 hour dialysis in HBS, to exchange the
       purchased from NEN (Boston, Mass., USA). All lipids were         external citrate for HBS and remove residual ethanol. The
       >99% pure.                                                       sample was applied to a l.5x8 cm DEAE-Sepharose®
       Buffers and Solvents                                             column equilibrated in BBS. Free oligonucleotide binds to
          Ethanol (95%), methanol, chloroform, citric acid, HEPES 25 the DEAE with very high affinity. The peak containing the
       and NaCl were all purchased from commercial suppliers.           lipid was pooled, concentrated, and analyzed for antisense
       Synthesis and Purification of Phosphorothioate Antisense         content, as described below.
          PS 3082, a 20 mer phosphorothioale antisense                  Assessment of Antisense Encapsulation
       oligodeoxynucleotide, was synthesized, purified and                  Antisense encapsulation was typically assessed by dual
       donated by !SIS Pharmaceuticals (Carlsbad, Calif., USA). 30 label ([ 3 H]-antisense and [ 14 C]-lipid) liquid scintillation
       The sequence for this oligo is: TGCATCCCCCAGGCCAC-               counting after gel filtration chromatography to separate the
       CAT. (Seq ID No 1). The details of the synthesis and             free and encapsulated antisense. Antisense encapsulation
       purification can be found elsewhere (see, Stepkowski, et al.,    was evaluated by summing the total [ 3 H]-antisense radio-
       J. Immunol. 153:5336-5346 (1994)).                                activity associated with the lipid peak and dividing by the
                                                                                3                                                3
       Preparation of Liposomal Anlisense                            35 total [ H]-antisense radioactivity. Alternatively, the [ H]/
                                                                          14
          Lipid stock solutions were prepared in 95% ethanol al 20      [    C] ratio was determined before and after (i.e., in the
       mg/mL (PEG-Ceramides were prepared at 50 mg/mL).                 pooled lipid peak) gel filtration chromatography. Antisense
       DSPC, CHOL, DODAP, PEG-CerC14 (25:45:20:10, molar                encapsulation was also assessed by measuring the absor-
       ratio), 13 µmol total lipid, were added to a 13x100 mm test      bance of the sample at 260 nm, preceded by a Bligh and
       tube containing trace amounts of [ 14 C]- 40 Dyer extraction of the antisense from the lipid, as described
       cholesterylhexadecylether. The final volume of the lipid         below.
       mixture was 0.4 mL. In some experiments, SM or POPC was          Extraction of the Antisense
       substituted for DSPC. A 20 mer antisense                             The antisense was extracted from the lipid according to
       oligodeoxynucleotide, PS 3082 (2 mg), and trace amounts of       the procedure outlined by Bligh and Dyer (Bligh, et al., Can.
        3
       [ H]-PS 3082 were dissolved in 0.6 mL of 300 mM citric 45 J. Biochem. Physiol. 37:911-917 (1959)). Briefly, up to 250

       acid, pH 3.8 in a separate 13xl00 mm test tube. The              ,uL of aqueous sample was added to a l3xl 00 mm glass test
       antisense solution was warmed to 65° C. and the lipids (in       tube, followed by the addition of 750 µL of chloroform-
       ethanol) were slowly added, mixing constantly. The result-        :methanol (1:2.1, vol/vol), 250 µL of chloroform, and 250 ,uL
       ing volume of the mixture was 1.0 mL and contained 13            of distilled water. The sample was mixed after each addition.
       µmol total lipid, 2 mg of antisense oligodeoxynucleotide, 50 The sample was centrifuged for 10 min. al 3000 rpm,
       and 38% ethanol, vol/vol. The antisense-lipid mixture was        resulting in a clear two-phase separation. The aqueous phase
       subjected to 5 cycles of freezing (liquid nitrogen) and          (top) was removed into a new 13xl00 mm test tube. An
       thawing ( 65 ° C.), and subsequently was passed 1OX through       aliquot (500 µL) of this phase was diluted with 500 µL of
       three stacked 100 nm filters (Poretics) using a pressurized      distilled water, mixed, and the absorbance at 260 nm was
       extruder apparatus with a thermobarrel attachment (Lipex 55 assessed using a spectrophotometer. In some instances, the
       Biomembranes). The temperature and pressure during extru-        organic phase (bottom) was washed with 250 µL of
       sion were 65 ° C. and 300---400 psi (nitrogen), respectively.    methanol, centrifuged for 10 min. al 3000 rpm, and the
       The extruded preparation was diluted with 1.0 mL of 300          upper phase removed and discarded. This was repealed 3
       mM citric acid, pH 3.8, reducing the ethanol content to 20%.     times. The washed organic phase was assessed for phospho-
       The preparation was immediately applied to a gel filtration 60 lipid content according to the method of Fiske and Subbar-
       column. Alternatively, the extruded sample was dialyzed (12      row (Fiske, et al., J. Biol. Chem. 66:375-400 (1925)).
       000---14 000 MW cutoff; SpectraPor) against several liters of     Oligreen Assay
       300 mM citrate buffer, pH 3.8 for 3-4 hours to remove the            A fluorescent dye binding assay for quantifying single
       excess ethanol. The sample was subsequently dialyzed             stranded oligonucleotide in aqueous solutions was eslab-
       against HBS, pH 7.5, for 12-18 hours to neutralize the 65 lished using a BioluminTM 960 fluorescent plate reader
       DODAP and release any antisense that was associated with         (Molecular Dynamics, Sunnyvale, Calif., USA). Briefly,
       the surface of the vesicles. The free antisense was removed       aliquots of encapsulated oligonucleotide were diluted in




                                                                                                                         JA001544
                                                                                                                 M RNA-G EN-0020325 7
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 202 of 1274 PageID #: 8508


                                                           US 6,287,591 Bl
                                    25                                                                 26
       HEPES buffered saline (HBS; 20 mM HEPES, 145 mM                     respectively. The final ethanol concentration in the prepara-
       NaCl, pH 7.5). A 10 µL aliquot of the diluted sample was            tions was varied between 0 and 60%, vol/vol. The samples
       added to 100 µL of a 1:200 dilution of OligreenTM reagent,          were extruded ten times through three 100 nm filters as
       both with and without 0.1 % of Triton X-100 detergent. An           described in '·Materials and Methods". The samples were
       oligo standard curve was prepared with and without 0.1 % 5 dialyzed for 2-3 hours in 300 mM citrate buffer, pH 3.80, to
       Triton X-100 for quantification of encapsulated oligo. Fluo-        remove a majority of the excess ethanol. The samples were
       rescence of the OLIGREENTM_antisense complex was mea-               switched to HEPES-buffered saline (HBS), pH 7.50, and
       sured using excitation and emission wavelengths of 485 nm           dialyzed for a minimum of 12 hours to replace the external
       and 520 nm, respectively. Surface associated antisense was          citrate buffer with HBS. This renders the majority of
       determined by comparing the fluorescence measurements in 10 DODAP in the outer bilayer neutral, and will release any
       the absence and presence of detergent.                              surface bound antisense. Non-encapsulated antisense was
       Ear Inflammation Model and Efficacy Studies                         then removed from the liposomal antisense by DEAE-
          Sensitization and Elicitation of Contact Sensitivity             sepharose chromatography as described in "'Material and
          Mice were sensitized by applying 25 µL of 0.5% 2,4-              Methods". Encapsulation was assessed either by analyzing
       dinitro-l-fluorobenzene (DNFB) in acetone:olive oil ( 4:1) to 15 the pre-column and post-column ratios of [ 3 H]-antisense and
                                                                             14
       the shaved abdominal wall for two consecutive days. Four            [    C]-lipid or by determining the total pre-column and
       days after the second application, mice were challenged on          post-column [ 3 H]-antisense and [14C]-lipid radioactivity.
       the dorsal surface of the left ear with 10 µL of 0.2% DNFB              In another experiment, the formulations were prepared as
       in acetone:olive oil (4:1). Mice received no treatment on the       described. After extrusion, the filters were analyzed for
       contralateral (right) ear. In some cases, control mice 20 [ 3 H]-antisense and [14 C]-lipid radioactivity by standard
       received 10 µL of vehicle on the dorsal surface of the left ear.    scintillation counting techniques. Results were expressed as
          Evaluation of Ear Swelling                                       a percent of the total initial radioactivity.
          Ear thickness was measured immediately prior to ear                  FIG. 3 demonstrates the effects of ethanol on the encap-
       challenge, and at various time intervals after DNFB                 sulation of antisense at pH 3.8. The encapsulation efficiency
       challenge, using an engineer's micrometer (Mitutoyo, 25 of phosphorothioale antisense increases in a near linear
       Tokyo, Japan). Increases in ear thickness measurements              manner up to a fmal ethanol concentration of 50%, vol/vol.
       were determined by subtracting the pre-challenge from               At an ethanol content greater than 50%, a large amount of
       post-challenge measurements.                                        aggregation/precipitation is observed. The effect of ethanol
          The progression of ear inflammation over a 3 day period          on vesicle formation can be further observed by monitoring
       for ICR (outbred) mice is indicated in FIGS. 12 and 13. 30 both lipid and antisense loss on the filters during extrusion
       Erythema was evident almost immediately after ear chal-             (FIG. 4). At low ethanol contents, extrusion is slow and the
       lenge and gradually declined in intensity over the remainder        proportion of lipid and antisense loss is the same, suggesting
       of the study. ICR mice exhibited peak ear thickness at 24           that the losses are due to the formation of large complexes
       hours after the induction of ear inflammation. Maximal ear          which get trapped on the filter. At ethanol contents of 30 and
                                                            4
       thickness measurements were found to be 170x10- inches, 35
                                                                           40%, extrusion is very quick and losses of both lipid and
       corresponding to a 70% increase in ear thickness. Although          antisense are minimal. As the ethanol content is increased
       ear swelling gradually declines al 48 and 72 hours after            above 40%, the loss of antisense becomes disproportionally
       inflammation initiation, ear measurements still have not            high relative to the lipid. This can be attributed to the
       returned to baseline thickness levels (90-lO0xl0- 4 inches).        insolubility of DNA in high concentrations of alcohol.
          The mouse in vivo experimental systems in this specifi- 40 Furthermore, in the presence of ethanol, PEG is required to
       cation were selected in part because of their high degree of        prevent aggregation and fusion of the vesicles (results not
       correlation to human disease conditions. The mouse ear              shown).
       inflammation model, which can be treated using methods
       and compositions of the invention, is well known to be an                                   EXAMPLE 2
       excellent model for human allergic contact dermatitis and 45
       other disease conditions. The control therapeutic used in this          This example illustrates the effects of DODAP on the
       model is a corticosteroid which demonstrates efficacy both          encapsulation of antisense, and further illustrates the effect
       in the mouse model and in related human disease conditions.         of initial antisense concentration on the compositions.
          The mouse B16 tumor model, a fast growing melanoma,                  Having demonstrated that ethanol can greatly facilitate
       which can be treated using methods and compositions of the 50 the preparation of lipid vesicles containing entrapped
       invention, is a standard, widely used experimental system.          anlisense, the next step was to examine the influence of
       This tumor model can be successfully treated using vinca             DODAP (AL-1) content on the encapsulation of antisense
       alkaloids, such as vincristine or vinblastine, which are            (FIG. 5). Accordingly, a 0.6 mL aliquot of a [ 3 H]-
       known to be efficacious against human tumors as well.               phosphorothioate antisense oligodeoxynucleotide (in 300
          Treatments which demonstrate utility in the mouse mod- 55 mM citrate buffer, pH 3.80) was mixed with 0.4 mL of a 95%
       els of this invention are excellent candidates for testing          ethanol solution of lipid (DSPC:CHOL:DODAP:PEG-
       against human disease conditions, at similar dosages and            CerC14; 100-(55+X):45:X:10, molar ratio) at final concen-
       administration modalities.                                          trations of 2 mg/mL and 9.9 mg/mL, respectively. The molar
                                                                           ratio of DODAP was varied between 0 and 30%. The molar
                                EXAMPLE 1
                                                                        60 ratio of DSPC was adjusted to compensate for the changes
          This example illustrates the effects of ethanol on the           in DODAP content. The samples were extruded ten times
       encapsulation of anlisense.                                         through three 100 nm filters as described in "Materials and
          A20 mer of [ 3 H]-phosphorothioate antisense oligodeoxy-         Methods", and were dialyzed for 2-3 hours in 300 mM
       nucleotide (in 300 mM citrate buffer, pH 3.80) was mixed            citrate buffer, pH 3.80, to remove a majority of the excess
       with        an     ethanol       solu lion      of       lipid 65 ethanol. The samples were switched lo HEPES-buffered
       (DSPC:CHOL:DODAP:PEG-CerC14; 25:45:20:10, molar                     saline (HBS), pH 7.50, and dialyzed for a minimum of 12
       ratio) at final concentrations of 2 mg/mL and 9.9 mg/mL,            hours to replace the external citrate buffer with HHS. Non-




                                                                                                                            JA001545
                                                                                                                   M RNA-G EN-00203258
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 203 of 1274 PageID #: 8509


                                                           US 6,287,591 Bl
                                    27                                                                 28
       encapsulated antisense was then removed from the liposo-           mixed with 0.4 mL of a 95% ethanol solution of lipid
       mal antisense by DEAE-sepharose chromatography as                  (DSPC:CHOL:DODAP:PEG-CerC14; 25:45:20:10, molar
       described in ·'Material and Methods". Encapsulation was            ratio) at final concentrations of 2 mg/mL and 9.9 mg/mL,
       assessed either by analyzing the pre-column and post-              respectively. The sample was extruded ten times through
       column ratios of [ 3 H]-antisense and [14C]-lipid or by deter- 5 three 100 nm filters as described in "Materials and
       mining the total pre-column and post-column [ 3 H]-antisense       Methods", and dialyzed for 2-3 hours in 300 mM citrate
       and [14C]-lipid radioactivity. As seen in FIG. 5, antisense        buffer, pH 3.80, to remove a majority of the excess ethanol.
       encapsulation increased significantly between 5-20%                The sample was switched to HEPES-buffered saline (BBS),
       DODAP. At DODAP contents greater than 20-25%, extru-               pH 7.50, and dialyzed for a minimum of 12 hours to replace
       sion of the vesicles became more difficult suggesting the 10 the external citrate buffer with BBS. Non-encapsulated
       formation of complexes. At DOD AP concentration of 40 and          antisense was then removed from the liposomal antisense by
       50%, extrusion of the lipid/antisense mixture took hours           DEAE-sepharose chromatography as described in "Material
       compared to minutes for a lipid composition containing 20%         and Methods".
       DODAP. To verify that the anlisense was indeed associated             The size distribution and storage stability of antisense
       with the lipid and that the observed encapsulation was not 15 preparations described herein is demonstrated in FIG. 7. The
       due to exchange of the [ 3 H]-label from the antisense onto the    size distribution of a standard DSPC:CHOL:DODAP:PEG-
       lipid, the antisense was extracted from the lipid using a          CerC14 (25:45:20:10) preparation containing a 2 mg/mL
       Bligh and Dyer extraction. Using this technique, the               initial antisense concentration was analyzed immediately
       antisense, which is soluble in the aqueous phase, was              after column chromatography to remove any free antisense.
       separated from the lipid (soluble in the organic phase) and 20 A very homogenous distribution is observed after prepara-
       quantified by measuring the absorbance at 260 nm (FIG. 6).         tion (119±32 nm). This size distribution remained stable for
       While this method can underestimate the antisense                  al least 2 months after storage at 4° C. (119±32 nm).
       concentration, the technique substantiated that the observed
       association of antisense with the lipid was not an artifact.                                 EXAMPLE 4
           In yet another experiment, varying concentrations of a 20 25      This  example   illustrates the clearance pharmacokinetics,
       mer of [3 H]-phosphorothioate antisense oligodeoxynucle-           biodistribution and biological activity of an encapsulated
       otide (in 300 mM citrate buffer, pH 3.80) were mixed with          murine ICAM-1 phosphorothioate antisense oligodeoxy-
       an ethanol solution of lipid (DSPC:CHOL:DODAP:PEG-                 nucleotide.
       CerCl4; 25:45:20:10, molar ratio), 9.9 mg/mL (final                4.1 Plasma Clearance
       concentration). The samples were extruded and dialyzed 30             Encapsulated liposomal antisense was prepared using the
       twice as described above. Non-encapsulated antisense was           ethanol-citrate procedure as described in ·'Material and
       then removed from the liposomal antisense by DEAE-                 Methods". Initial lipid and antisense concentrations were 9. 9
       sepharose chromatography as described in "Material and             and 2 mg/mL, respectively. Liposomal formulations were
       Methods". Encapsulation was assessed either by analyzing           composed of X:CHOL:DODAP:PEG-CerC14
       the pre-column and post-column ratios of [ 3 H]-anlisense and 35 (25:45:20:10), where X represents either distearoylphos-
       [
         14
            C]-lipid or by determining the total pre-column and           phatidylcholine (DSPC), sphingomyelin (SM), or palmitoy-
       post-column [ 3 H]-antisense and [14 C]-lipid radioactivity.       loleoylphosphatidylcholine (POPC). The formulations con-
       EPC:CH liposomes containing encapsulated antisense are             tained a lipid label ([ 14 C]-cholesterylhexadecylether) and
                                                                           3
       included for comparison.                                           [ H]-antisense and were injected (200 µL) intravenously via

                                                                       40 the lateral tail vein of female (20-25 g) ICR mice at a lipid
           Optimization of the drug:lipid ratio was accomplished by
       increasing the initial antisense concentration that was mixed      dose of 120 mg/kg. Blood was recovered by cardiac punc-
       with 9.8 mg total lipid (DSPC:CHOL:DODAP:PEG-                      ture on anesthetized mice. Lipid and antisense recoveries
       CerCl4; 25:45:20:10) (FIG. 8). Drug:lipidratios of up to           were determined by standard scintillation counting tech-
       0.25, w/w, were obtained using 10 mg/mL of antisense in the        niques.
       preparation. However, the increased drug:lipid ratio was        45    The plasma clearance of three formulations,
       accompanied by a decrease in encapsulation efficiency,             DSPC: CHOL: DODAP: PEG-CerC 14,
                                                                          SM:CHOL:DODAP:PEG-CerC14,                                 and
       therefore a compromise must be made between optimizing
       the drug: lipid ratio and encapsulation efficiency. In             POPC:CHOL:DODAP:PEG-CerC14,               of encapsulated anti-
       comparison, antisense encapsulated by hydration of a dry           sense were examined in inflamed ICR mice (FIG. 9). The
                                                                       50 circulation time was longest for the DSPC version of the
       lipid film (i.e. EPC:CHOL) in the absence of cationic lipid
       typically yields low encapsulation efficiencies ( <12-15%)         formulation.
       and drug:lipid ratios ( <0.1, w/w). Consequently, significant      4.2 Organ Accumulation
       quantities of anlisense are wasted during the encapsulation           Liposomal antisense compositions were prepared and
       procedure.                                                         administered to mice as outlined in the preceding section.
                                                                       55 Mice were terminated by cervical dislocation and the organs
                                EXAMPLE 3                                 were recovered and processed as described in "Materials and
                                                                          Methods". Lipid and antisense recoveries were determined
           'Ibis example illustrates the properties of the liposomal      by standard scintillation counting techniques.
       antisense formulations provided in the Materials and Meth-            Organ accumulation of the various formulations was
       ods above.                                                      60 typical of previously described liposome clearance patterns,
           The size distribution of a liposomal preparation of anti-      with the RES organs, principally the liver and spleen, being
       sense was determined by quasi-elastic light scattering             responsible for the majority of clearance (FIG. 10). One
       (QELS) immediately after removal of the free antisense (A),        interesting observation is that the liver and spleen clearance
       and after storage of the preparation for 2 months at 4° C. (B),    account for only 40--45% of the total clearance of the
       using a Nicomp Model 370 sub-micron particle sizer. A 0.6 65 "DSPC" formulation, suggesting that a significant popula-
       mL aliquot of a [3 H]-phosphorothioate antisense oligode-          tion of vesicles is accumulating in another organ system or
       oxynucleotide (in 300 mM citrate buffer, pH 3.80) was              is being excreted.




                                                                                                                            JA001546
                                                                                                                   M RNA-G EN-00203259
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 204 of 1274 PageID #: 8510


                                                             US 6,287,591 Bl
                                     29                                                                   30
       4.3 Stability                                                          In another evaluation, mice received 10 µCi of [ 3 H]-
          Liposomal antisense compos1l1ons were prepared and               methylthymidine, i.p., 24 hours before initiating inflamma-
       administered to mice as outlined in the preceding section.          tion. Inflamed mice were treated at the time of ear challenge
       Blood was recovered by cardiac puncture on anesthetized             with a 30 mg;kg i.v. dose of either HES (no oligo), EPC-
       mice. Lipid and antisense recoveries were determined by 5 :CHOL liposomes with entrapped PS- 3082 (identified as AS
       standard scintillation counting techniques. Release rates           1000), POPC:CHOL:DODAP:PEG-CerC14 with entrapped
       were determined by measuring the [3H]/[14C] ratio over              PS- 3082 (identified as AS 4100), or
       time.                                                               DSPC:CHOL:DODAP:PEG-CerC14 with entrapped PS-
          The stability of the formulations was also assessed by           3082 (identified as AS 4200). Cell infiltration was monitored
       measuring the ratio of antisense and lipid recovery in the          by measuring the radioactivity in the "challenged car"
                                                                        10
       blood at various times (FIG. 11). A ratio of 1.0 suggests that      versus the non-treated ear. Results are expressed as the ratio
       the antisense and the lipid are staying together in the             of radioactivity in the left ( challenged ear) versus right ear.
       circulation. The "DSPC" formulation showed little deviation         4.6 In vivo Efficacy of Single Dose of Lipid Encapsulated
       from a ratio of 1.0 over 24 h, suggesting that it is very stable    ICAM-1 (Phosphodiester) Antisense
       in the circulation. The "POPC" formulation dropped to a                This experiment demonstrates the in vivo efficacy of a
       ratio of 0.6 after 2 h, while the ratio for the "SM" formu- 15 phosphodiester antiscnse oligodeoxynucleotide encapsu-
       lation decreased more slowly, reaching 0.6 after 12 h in the        lated in lipid particles according to the invention. In specific,
       circulation. These results indicate that it may be possible to      the phosphodiestcr was targeted to the ICAM- 1 gene in an
       deliberately alter the antisense release rates by modifying         ear inflammation model.
       the lipid composition.
       4.4 PEG-Acyl Influence on Circulation Half-life of Single 20
       Dose of Thioate Antisense
          Encapsulated lipid-encapsulated antisense was prepared                Group     Test Sample/Drug              Dose    T'ime Point
       using the ethanol-citrate procedure as described in ·'Material                      control inflammation - HBS  200 µ)      24 hr
       and Methods". Initial lipid and antisense concentrations                   2        corticosteroid              200 µ)      24 hr
       were 9.9 and 2 mg/mL, respectively. Liposomal formula- 25                  3        empty vesicles              200 µ)      24 hr
       tions were composed of DSPC:CHOL:DODAP:PEG-                                4        PS-3082                     200 ;tl     24 hr
                                                                                  5        PO-3082                     200 µ)      24 hr
       CerC14 or C20 (25:45:20:10). The formulation contained a
       lipid label ([ 14 C]-cholesterylhexadecylether) and [ 3 H]-
       antisense and were injected (200 µL) intravenously via the             Antisense Sample Preparation: Antisense was encapsu-
       lateral tail vein of female (20-25 g) I CR mice at a lipid dose 30 lated using the standard methods of Examples 5-9, using the
       of 120 mg/kg. Blood was recovered by cardiac puncture on            phosphodiester modification. The phosphodiester formula-
       anesthetized mice. Lipid and antisense recoveries were              tion used 10-50 mM citrate (preferably 20 mM citrate), pH
       determined by standard scintillation counting techniques.           4.0 instead of 300 mM citrate, pH 4.0 preferred for phos-
          The influence of PEG-acyl chain length on clearance rates        phorothioatcs. Empty vesicles consisted of lipid components
       of a DSPC:CHOL:DODAP:PEG-Cer formulation was 35 only. Corticosteroid (either Halobetasol propionate 0.05%
       investigated using PEG-CerC14 and PEG-CerC20 (FIG.                  by weight (Westwood Squibb, Montreal) or Dexamethasone
       12). The inclusion of PEG-CerC20 in the formulation                 (50 ug dissolved in 4:1 acetone:olive oil)) was applied
       resulted in enhanced circulation times over the PEG-                topically in a thin film to cover the surface of the ear 15
       CerCl 4. This corresponds to in vitro data suggesting that the      minutes after ear challenge.
       Cl 4 version of the PEG is exchanged much more rapidly out 40          Inflammation and Dosing: Mouse ear inflammation was
       of the vesicle than the C20 version.                                induced using DNFB as described above in Materials and
       4.5 In vivo Efficacy of Single Dose of Lipid Encapsulated           Methods. Female ICR mice (6-8 weeks old) received intra-
       I CAM-1 (Phosphorothioate) Antisense                                venous tail vein injections of antisense (200 ,ul). Antisense
       The efficacy of PS- 3082 encapsulated in various lipid              doses for the phosphorothioate and phosphodiester antisense
       formulations containing DODAP was tested in an ear 45 were adjusted to be 20-30 mg/kg. 6 mice were tested with
       inflammation model using !CR mice.                                  each formulation. Administration occurred 15 min. after the
          Inflamed mice were treated at the time of car challenge          application of 0.2% DNFB to the mouse ear. Ear measure-
       with a 30 mg/kg i.v. dose of either HES (no oligo), EPC-            ments were made on anaesthetized mice 24 hours after
       :CHOL liposomes with entrapped PS-3082 (identified as AS            treatment (unless shown otherwise) and prior to termination.
       1000), POPC:CHOL:DODAP:PEG-CerC14 with entrapped 50 Mice are terminated by cervical dislocation and the ears are
       PS-3082          (identified      as     AS     4100),        or    removed around the pinna. Ears are then weighted, digested
       DSPC:CHOL:DODAP:PEG-CerCl4 with entrapped                           (Solvable) and analyzed for radioactivity by liquid scintil-
       PS-3082 (identified as AS 4200). Ear swelling was measured          lation counting. Ears were analyzed for l) Ear edema-
       at 24 hours after initiating inflammation using an engineer's       based on the increase in ear thickness due to car swelling.
       micrometer.                                                      55 Calculated by subtracting pre-ear thickness values from
          Ear swelling measurements were made 24 hours after               post-ear thickness values FIG. 21. 2) Cell infiltration-based
       initiating inflammation in mice treated i.v. at the lime of ear     on radioactivity accumulated in the inflamed (right) ear vs.
       challenge with either HES (control), PS-3082 encapsulated           the control (left) ear FIG. 22; and 3) Ear weights-left ear
       in EPC:CHOL vesicles (30 mg/kg dose of oligo), PS-3082              versus right ear (measurement of edema) FIG. 23.
       encapsulated in POPC:CHOL:DODAP:PEG-CerCl4 60                          Results: The controls consisting of buffer alone ( BBS) or
       vesicles (30 mg/kg dose of oligo), or PS-3082 encapsulated          Empty Vesicles alone demonstrated no efficacity. Topical
       in DSPC:CHOL:DODAP:PEG-CerC14 vesicles (30 mg/kg                    corticosteroid demonstrates its known excellent efficacity by
       dose of oligo) (FIG. 13). The "'DSPC" formulation resulted          reducing inflammation to below pre-challenge levels. Both
       in the greatest efficacy, exhibiting only 10% increase in ear       the phosphorothioate and phosphodiester antisense show
       swelling over pre-challenge values. A similar trend was 65 excellent efficacy through a systemic delivery
       observed for cellular infiltration into the "challenged" ear        administration, reducing the degree of inflammation by
       versus the non-treated ear (FIG. 14).                               around 70% and 85%, respectively. Thus, it is possible to




                                                                                                                               JA001547
                                                                                                                      M RNA-G EN-00203260
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 205 of 1274 PageID #: 8511


                                                           US 6,287,591 Bl
                                    31                                                                 32
       administer the compositions of the invention at a site where        or TCS-encapsulaled US3 oligonucleotide is initiated. Treat-
       the disease site is distal to the site of the injection.            ment consists of a 200 ul intravenous administration (tail
       4.7 In vivo Efficacy of US3 Antisense (Tumor Window                 vein) of either free US3 or TCS-encapsulated US3 on a 3
       Model)                                                              administrations/week schedule and an antisense dose of 10
           In this example, the anti-tumor activity of lipid encapsu- 5 mg/kg/administration. Tumor size is monitored 3 times per
       lated US3, an antisense oligonucleotide directed at the             week by microscopy.
       erb-B-2 gene, has been demonstrated in an in vivo human                Results: The TCS-encapsulated US3 oligonucleolide was
       breast tumor model.                                                 very effective at preventing the growth, or causing extensive
           The human breast carcinoma line MDA-MB-453 was                  size reduction, of the MDA-MB-453 human breast carci-
                                                                        10 noma in the window model. In contrast, unencapsulated
       implanted in a mouse tumor window model according to the
                                                                           oligonucleotide was ineffective at inhibiting tumor growth.
       method of Wu, N. Z., Da, D., Rudoll, T. L., Needham, D.,
                                                                           4.8 In vivo Clearance of Various Formulations Using Alter-
       Whorton, R. & Dewhirst, M. W. 1993. Increased microvas-
                                                                           native Amino Lipids: DODAP or DODMA
       cular permeability contributes to preferential accumulation            Antisense particle formulations were prepared according
       of Stealth liposomes in tumor tissue. Cancer Research 53:           to Example 2, with the following modifications: In assay#l
       3765-3770; and Dewhirst, M. W., Tso, C. Y., Oliver, R., 15 and #2, 25% AL-1 (hydrochloride salt of DODAP) and 25%
       Gustafson, C. S., Secomb, T. W. & Gross, J. F. 1989.                free base DODAP were employed, respectively, with a
       Morpholigic and hemodynamic comparison of tumor and                 concomitant reduction in the amount of DSPC. Assay#3, 4
       healing normal tissue microvasculature. Int. J. Radiat.             and 5 employed 30%, 25% and 20% DODMA (free base
       Oncol. Biol. Phys. 17: 91-99. See also Dewhirst, MW., and
                                                                           (prepared at Inex Pharmaceuticals Corp., Burnaby BC)),
       Needham, D. 1995. Extravasation of Stealth Liposomes into 20 respectively, again with a concomitant reduction of DSPC.
       Tumors: Direct Measurement of Accumulation and Vascular                Both the encapsulation efficiency and in vivo clearance of
       Permeability using a Skin Flap Window Chamber. In Stealth           the formulations were studied. There was no significant
       Liposomes (Eds. Lasic, D. and Martin, F.) CRC Press.                difference between the encapsulation or clearance of the free
           The lipid-antisense formulation consists of disteroylphos-      base or HCl salt of DODAP. Decreasing DODMA concen-
       phatidylcholine (DSPC, 25 mol %), cholesterol (Chol, 45 25 tralion (30, 25, 20%) severely decreased the encapsulation
       mol %), dioleoylphosphatidyldiaminopropane, (DODAP, or              efficiency of PS-2302 (91 %, 43%, 35%) and likewise the
       ALl, 20 mol %) and PEG-ceramide (C14 chain length, 10               Drug/Lipid ratio of the resulting formulation.
       mol %). For some experiments detailed below, proportions               In the clearance study outlined in FIG. 16, DODMA
       and constituents were altered, but the method of preparation        formulations demonstrated slightly higher rates of clearance
       remained the same. Lipids were dissolved in ethanol at 20 30 than 25% DODAP or AL-1, although all formulations
       mg/ml (PEG-ceramide at 50 mg/ml). Routinely, 1 to 2 µCi             appear to be retained in the circulation to a degree which is
       14
          C-cholesterylhexadecylether was added as a lipid radio-          suitable for human therapeutics.
       label. Lipids were mixed in the correct proportions in              4.9 PEG-acyl Influence on Clearance Rate of Repeal Doses
       ethanol to a final concentration of 10 mg in 400 /tl. The lipid     of Encapsulated EGF-R Phosphorothioate Antisense
       mixture was then added dropwise lo phosphorothioaled 35                Lipid-encapsulated antisense was prepared using the
       antisense (US3: anti-human erb-B-2 GGT GCT CAC TGC
                                                                           ethanol-citrate procedure as described above, with changes
       GGC (SEQ ID. No 3) dissolved in 300 mM citrate buffer pH            to molar ratios of components as indicated. Initial lipid and
       4.0 (600 µI to make a final volume of 1 ml). The antisense          antisense concentrations were about 9.9 and 2 mg/mL,
       was used at a variety of concentrations, but the optimum            respectively. DODAP containing formulations had
       concentration for maximum encapsulation efficiency and 40 drug:lipid ratios of 0.15 ( +/-) 0.05. Passive encapsulation
       drug:lipid ratio was determined to be 0.5 mg/ml final.              systems had drug:lipid ratios of 0.03. Nine different liposo-
       During the addition, the solution becomes opaque. The               mal formulations were prepared, using standard techniques,
       DODAP is positively charged at pH 4.0 (pKa=6.53) and so             in the following molar ratios:
       attracts the negatively charged DNA molecules. The mixture
       was subjected to five cycles of freezing in liquid N2 and 45
       thawing at 65° C. followed by extrusion through 100 nm
       filters ten times at 65 ° C.                                                                            Steric Barrier   Antisense
           After extrusion, two methods can be used for removal of          Formu-    DSPC      Chol   DODAP Derivatized Lipid (EGF-R
       the external anlisense. Firstly, the liposomes are diluted 2: 1       lation  (mo!%) (mo!%) (mo!%) (name: mol %)         2mg/ml)
       with citrate (to reduce ethanol content lo 20%) then applied 50                 55        45      Nil   Nil              Empty
       lo a Bio-Gel A18M 100-200 mesh column equilibrated with                  2      50        45      Nil   ATIA8-DSPE: 5 Empty
       HBS. The column profiles shown in this report were gen-                  3      50        45      Nil   A:lTAS-DSPE: 5 AS
                                                                                4      20        45       30   ATIA8-DSPE: 5 AS
       erated in this manner. Alternatively, the liposomes are dialy-           5      20        45       30   PEG-DSPE: 5      AS
       sed 2 h against citrate to remove ethanol, the overnight                        25        45       25   PEG-CerC14: 5    Empty
       against HES to increase the external pH. The resulting 55                7      25        45       25   PEG-CerC14: 5    AS
       mixture is then applied lo a DEAE cation exchange column                 8      25        45       25   PEG-CerC20:    5 Empty
                                                                                9      25        45       25   PEG-CerC20: 5    AS
       to remove external oligo. This method was the routine
       method used for sample preparation for in vivo studies.
       Antisense concentrations were routinely determined by               Antisense ("AS") used was fully phosphorothioated EGFR
       A260 measurements. Lipid concentrations were determined 60 (anti-human Epidermal Growth Factor Receptor) CCG TGG
       by scintillation counting after spiking initial mixture with a      TCA TGC TCC (SEQ ID. No 10) (prepared by Hybridon,
       known concentration of 3 H or 14 C cholesterylhexadecyl             Inc.) PEG-CerC14 is PEG(mw2000)-Ceramide with 14 car-
       ether, or by HPLC. Encapsulation efficiency was determined          bon acyl chain. PEG-CerC20 is PEG(mw2000)-Ceramide
       by division of the final drug to lipid ratio by the initial drug    with 20 carbon acyl chain. PEG-DSPE is PEG(mw2000)-
       lo lipid ratio.                                                  65 1,2-distearoyl-sn-glycero-3-phosphoethanolamine ATTA8-
           In vivo efficacy evaluation: When the tumor in the win-         DSPE is N-( rn-N'-acetoxy-octa(14'amino-3',6',9',12'-
       dow has reached a diameter of 2-3 mm, treatment with free           tetraoxatetradecanoyl) )- 1,2-distearoy l-sn-glycero-3-




                                                                                                                            JA001548
                                                                                                                   M RNA-G EN-00203261
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 206 of 1274 PageID #: 8512


                                                            US 6,287,591 Bl
                                    33                                                                   34
       phosphoethanolamine (molec weight about 2660). Synthesis           causes rapid clearance upon repeat dosing. This data sug-
       of ATTA8-DSPE is fully disclosed in U.S. Provisional Pat.          gests that any lipid derivatized with a steric barrier molecule
       Application Ser. No. 60/073,852, filed Dec. 23, 1997 and           that exchanges out of the liposome membrane faster than
       U.S. Provisional Pat. Application filed Feb. 2, 1998 both          PEG-CerC20, PEG-DSPE or AITA8-DSPE will be superior
       assigned to the assignee of the instant invention and incor- 5 for use in repeal dosing. For example ATIA8-DMPE, or
       porated herein by reference.
                                                                          PEG-CerC8 to C18 all being exchangeable, will have
          Each formulation contained a lipid label ([ 14 C]-
                                           3                              improved circulation characteristics upon repeat administra-
       choleslerylhexadecylether) and [ H]-antisense, as described
                                                                          tion.
       in Example 4.4, above. All samples were prepared in 300
       mM citrate pH 4.0 containing 40% ethanol and extruded lOx 10           Taken together, it will be evident lo one skilled in the art,
       through 100 nm filters. Formulations contained phospho-            that on the basis of these teachings, any diagnostic or
       rothioate antisense and lipid or empty lipid alone. Samples        therapeutic agent that may be delivered in a lipid formula-
       were dialyzed in HES (20 mM Hepes, 145 mM NaCl, pH                 tion comprising a steric-barrier derivatized lipid, such as a
       7.45) to remove ethanol and citrate. Sample lipid concen-          PEG-lipid or ATTA-lipid, should be tested with both a long
       trations were adjusted such that the injected lipid dose will 15 and short acyl-chain anchors, in order to determine which
       be 1.8 µmol/mouse/week (5-10 mg AS per kg mouse/week).             formulation is best for repeat dosings.
       Samples were filtered (0.22 ,um) prior to injection.                   Further, without intending to be bound by any theory of
          In this experiment female (20-25g) !CR mice (6-8 weeks          action, the invention herein may prove lo be particularly
       old) were divided into 9 groups of 6, plus other control
                                                                          useful when the bioactive agent being delivered is a non-
       groups. Each group received four injections of the same 20
                                                                          cytotoxic agent. Cytotoxic agents kill those cells which clear
       formulation. All injections were 200 µL intravenous (via the
                                                                          long circulating (i.e. PEG-DSPE) liposomes. This ensures
       lateral tail vein) at a lipid dose of 120 mg/kg. Mice were
       dosed every week for 3 weeks (4 injections). At 4 weeks,           that repeat dosings will not be rapidly cleared, because the
       certain groups (treated with lipid and antisense) were given       cells responsible (usually macrophages) do not survive. In
       an injection of empty lipid carriers of varying composition 25 these situations, the acyl-chain length may not be significant.
       to evaluate whether there is rapid clearance of the carrier in     However, where the bioactive agent is non-cytotoxic, such
       the absence of antisense. Blood (25 µl, pipettor) was col-         as in the case of antisense drugs (regardless of chemistry or
       lected 1 h post-injection each week for 3 weeks by tail nicks.     target), plasmids, proteins, etc., and many conventional
       Mice were weighed each week lo estimate blood volume               drugs, the invention will be useful for repeat dosing.
       (8.0 ml whole blood/100 g body weight). Blood was placed 30 4.10 In vivo Efficacy of Repeal Doses of Encapsulated
       in a glass scintillation vial containing 200 µl of 5% EDTA.        Phosphorothioate c-myc Antisense in an Oncology Model
       Solvable (500 µl) was added and the blood was digested for
                                                                              In vivo efficacy of repeat injections of using formulations
       3 h at 65° C. Samples were decolorized by the addition of
                                                                          of the invention are shown in a mouse tumor system in FIG.
       100 ,ul 70% hydrogen peroxide. Samples were analyzed for
                                                                          19. This experiment demonstrated efficacy of the antisense
       radioactivity by liquid scintillation counting. Al the end of 4 35
       weeks, mice were terminated by CO 2 inhalation or cervical         formulated according to the invention in a human oncology
       dislocation preceded by general anesthesia.                        model, and showed the importance of PEG-acyl chain length
          The results of this experiment are shown in FIG. 17. For        on the efficacy of repeat dosings.
       all formulations not containing antisense ("empty                      Lipid-antisense particle formulation: Formulations were
       liposomes") repeat dosages demonstrated circulation times 40 prepared as described in these Examples.
       reasonably consistent with the first dosage. However, when
       antisense is used in the formulation, it was surprisingly
       found that the acyl chain length of the lipid derivalized to the
                                                                                                                Steric Barrier
       sleric barrier (i.e. ATTA or PEG) moiety demonstrates a
                                                                                                                 Derivatized   Antisense
       profound effect on clearance rates. Repeat dosages of PEG- 45 Formu- DSPC Chol                  DODAP Lipid             (c-myc
       CerC20, PEG-DSPE and ATTA8-DSPE formulations are                       lation  (mol %) (mol %) (mol %) (name: mol %) 2 mg/ml)
       rapidly cleared from the circulation compared to the first
                                                                          HBS                                                  Empty
       dosage, whereas the PEG-CerC14 formulation is reasonably           Buffer
       consistent with the first dosage.                                  AS4200         25      45       25     PEG-CerC:14:  LR-3280
          Similar results are demonstrated in FIG. 18. The formu- 50
       lations were identical lo those of FIG. 17, with the additional                   25      45       25     PEG-CerC:20:  LR-3280
                                                                          (c-myc)
       formulation of empty vesicles using the same lipids as             AS4204         25      45       25     PEG-CerC20: 5 c-myc SCR
       formulations 4 and 5.                                              (c-myc
          Without intending to be bound by any particular theory of       SCR)
       action, it is suggested by these results that lipids like the 55 AS4204           25      45       25     PEG-CerC20: 5 PS-2302
                                                                          (PS-2302)
       PEG-CerCl 4 lipid, a lipid which exchanges out of the              A54204         25      45       25     PEG-CerC20: 5 PS-3208
       liposome membrane with a Tl/2 on the order of minutes (i.e.        (PS-3082)
       1-60 mins) in blood provides a tremendous benefit over             c-myc                                                LR-3280
       lipids like PEG-CerC20, PEG-DSPE and ATTA8-DSPE                    c-myc                                                c-myc SCR
       which do not exchange out, where repeat dosing of a 60 ~~-~302                                                          PS-2302
       lipid-formulated compound, such as a therapeutic compound          PS-3082                                              PS-3082
       or diagnostic compound, is required. The mammalian blood           AS4200         25      45       25     PEG-CerC14: 5 Empty
       clearance response may not recognize these as foreign              (no
                                                                          antisense)
       antigens if the derivatized lipid is removed expeditiously         AS4204         25      45       25     PEG-CerC20: 5 Empty
       from the liposome surface when in circulation. However, 65 (no
       when the derivatized-lipid remains with the formulation for        antisense)
       extended periods, a clearance response is invoked, which




                                                                                                                              JA001549
                                                                                                                     M RNA-G EN-00203262
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 207 of 1274 PageID #: 8513


                                                               US 6,287,591 Bl
                                      35                                                                     36
                                                                                   exhibited more variability in tumour volume (156-838
                                     -continued                                    mm 3 ). The encapsulated c-myc controls (c-myc SCR/PS-
                                                                                   2302/PS-3082), AS4204(c-myc), empty lipid carriers, and
                                                 Steric Barrier                    free antisense controls, however, showed no inhibitory effect
                                                 Derivatized      Antisense
          Formu-     DSPC     Chol      DODAP Lipid               (c-myc         5 on tumor volumes over the 18 days when compared to HES
           lation   (mol %) (mo!%) (mo] %) (name: mo!%) 2 mg/ml)                   controls.
                                                                                      c-myc expression in tumor tissue was also evaluated by
       Antisense used were:
                                                                                   FACS. A correlation between tumour size and c-myc protein
       LR-3280:       human c-myc gene (phosphorothioatcJ                          expression was detected (data not shown).
                     AAC GTT GAG GGG CAT                      (SEQ ID. No 4)    lO    To determine the importance of the stability of the PEG-
       c-myc SCR: GAA CGG AGA CGG TTT                         (SEQ ID. No 17)      polymers, PEG-acyl chain length was evaluated using for-
       PS-2302       human ICAM-1 (phosphorothioate)
                     GCCCAAGCTGGCATCCGTCA                     (SEQ ID. No 2)
                                                                                   mulations containing PEG-CerCl 4 and PEG-CerC20.
       PS-3082       murine ICAM-1 (lntracellular Adhesion                         Interestingly, the formulation containing the PEG-CerC20
                     Molecule-1) (phosphorothioale)                                (AS4204) showed no apparent efficacy at any of the doses
                     TGCATCCCCCAGGCCACCAT                     (SEQ ID. No 1)    15 studied. The PEG-CerC14 formulation (AS4200) showed a
                                                                                   dose response. The difference observed between the PEG-
          Formulations were diluted in filtered HBS, pH 7.6 to                     CerCl 4 and PEG-CerC20 formulations may reflect the rapid
       achieve required antisense dose (i.e. lipid dose decreases as               clearance phenomenon that has been observed in other
       well). Samples were filtered (0.22 µm) prior to injection.                  models.
       External buffer was HBS (20 mM Hepes, 145 mM NaCl, pH 20                       To establish the tolerability of free and encapsulated
       7.6). Free antisense was dissolved in HBS and adjusted to                   anlisense, mouse weights were measured on a daily basis
       the required dose by A260 (Extinction coefficients: active                  during the treatment phase of the study. No significant
       and control c-myc=30.6, PS-2302=32.8, PS-3082=33.6).                        changes in mouse weights for either free or encapsulated
          Tumour Inoculum: B16/BL6 murine melanoma cells were                      formulations were apparent over the course of the dosing
       maintained in culture in MEM media supplemented with 25 phase or throughout the study.
       10% FBS. On day 0 of the study, 3x105 cells were injected                                            EXAMPLE 5
       sub-cutaneously (s.c.) into the dorsal flank (injection vol-
       ume: 50 µl) of female C57BL/6 mice (20-23 g). Typically,                       This  example   illustrates a high efficiency formulation
       15% extra mice will be injected so non-spheroidal tumours                   according to Example 2, but instead of phosphorothioate
       or mice in which no tumours are observed can be excluded 30 anlisense, employing 1) a phosphodiester antisense com-
       from the study. Tumours were allowed to grow for a period                   pound having exclusively phosphodiester internucleotide
                                                                                   linkages (PO-2302 anti-human ICAM-1 GCCCAAGCTG-
       of 5-7 days until tumors reached 50-100 mm 3 prior to
       initiating treatments with test samples/controls.                           GCATCCGTCA (SEQ ID. No 1)) prepared by Inex Phar-
          Treatment: On the day oftlrst treatment mice with accept-                maceuticals (USA), Inc., Hayward Calif.) or 2) ribozyme
       able tumours were randomly grouped with 5 animals per 35 molecule to VEGF-R-1 (human Vascular Endothelial
       group. Treatment began when tumours were 50-HJ0 mm 3 •                      Growth Factor Receptor 1) comprising a modified RNA
       Mice were dosed every other day for a total of 7 doses.                     sequence of GAG UUG CUG AUG AGG CCG AAA GGC
       Administrations were via intravenous tail vein injections                   CGAAAG UCU G (SEQ ID. No 16).
       (200 1tl). Initial drng:lipid ratio of formulation was 0.20                    A 15 mer of [ 3 H]-phosphodiester antisense oligodeoxy-
       (w/w) and the final drug:lipid ratio (0.14) was held constant; 40 nucleotide (PO-2302) in citrate buffer, pH 3.80 (experiments
       consequently, the lipid concentration varied as samples were                ranged from 10-1000 mM citrate) was mixed with an
       diluted lo the desired anlisense concentration. The antisense               ethanol solution of lipid (DSPC:CHOL:DODAP:PEG-
       dose was 1() mg/kg.                                                         CerC14; 25:45:20:10, molar ratio) at final concentrations of
           Endpoints: Primary tumour volume was measured using                     2 mg/mL and 9.9 mg/mL, respectively. The final ethanol
       calipers. Length (mm) and width (mm) measurements were 45 concentration in the 1 ml preparation was 38% vol/vol. The
       made every other day (on non-injection days) for the dura-                  sample was extruded ten times through three 100 nm tilters
       tion of the study. Tumour height measurements (mm) were                     as described in "Materials and Methods". The sample was
       made when feasible. Tumour volumes were calculated using                    dialyzed for 2-3 hours in citrate buffer, pH 3.80 (same
       the following formulas:                                                     molarity as experiment), to remove a majority of the excess
                                                                                50 ethanol. The samples were switched to HEPES-buffered
                 Tumour Volume (mm3 )-(LxW2 )/2                              #1    saline (HES), pH 7.50, and dialyzed for a minimum of 12
                                                                                   hours to replace the external citrate buffer with HBS. Non-
                 Tumour Volume (mm 3 )-(LxWxI1)xn/6                          #2
                                                                                   encapsulated antisense was removed either by this regular
       Mice were euthanized when tumour volumes reach 10% of                       dialysis, tangential flow dialysis, or chromatography. Encap-
       body weight or on the first signs of ulceration. Mouse 55 sulation was assessed either by analyzing the pre-column
       weights were recorded every day during the dosing portion                   and post-column ratios of [3 H]-antisense and [ 14 C]-lipid or
       of the study. On termination, all tumours were excised,                     by determining the total pre-column and post-column [ 3 H]-
       weighed, observed by FACS analysis or by Northern/                          antisense and [ 14 C]-lipid radioactivity.
       Western analysis. Mice were euthanized by CO 2 inhalation                      FIG. 15 illustrates results. Encapsulation efficiency was
       or cervical dislocation preceded by general anesthesia.                  60 over 50% across the 10-50 mM citrate range, and all final
          Results: FIG. 9 shows weights of tumors excised and                      (administration ready) drng:lipid ratios were greater than
       weighed at day 18 for all groups treated with antisense at 10               10% by weight. Parallel experiments varying citrate con-
       mg/kg/dose compared with empty lipid controls. Tumour                       centration were conducted with phosphorolhioate antisense
       sizes for the AS4200(c-myc) group exhibited the best effi-                  PS-2302. Results are also above 50% encapsulation, and in
       cacy and were very consistent with only small ranges in 65 fact show a higher encapsulation efficiency than
       tumour volumes observed (285-451 mm 3 ). The group                          phosphodiesters, particularly at higher citrate concentra-
       treated with free c-myc also resulted in smaller tumours but                tions.




                                                                                                                                   JA001550
                                                                                                                          M RNA-G EN-00203263
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 208 of 1274 PageID #: 8514


                                                                          US 6,287,591 Bl
                                             37                                                                            38
           This experiment was repeated using 20 mM citrate instead                       ethanol, but no aggregates should be present. The resulting
        of 300 mM citrate to encapsulate the ribozyme molecule to                         volume of the antisense-lipid mixture was l.O ml with a 1()
        VEGF-R-1 (human Vascular Endothelial Growth Factor                                mg (13 umol) total lipid at 13 µmols, 2 mg of antisense, and
        Receptor 1) GAG UUG CUG AUG AGG CCG AAA GGC                                       38% ethanol, vol/vol. It can be expected that the pH to rise
        CGA AAG UCU G (SEQ ID. No 16). FIG. 20 shows the 5                                to about 4.4.
        encapsulation efficiency of the ribozyme at was over 50%,
                                                                            The antisense-lipid mixture was subjected to 5 (five)
        approximately the same as the phosphodiester.
                                                                         cycles of freezing in liquid nitrogen and thawing at 65° C.
                               EXAMPLE 6                                 in a waterbath. After each thaw, the mixture was vortexed
                                                                         briefly. Subsequently, the mixture was passed 10 times
          This example illustrates a high efficiency formulation as 10 through three stacked 100 nm polytcarbonale filters
       in Example 5, but replacing DODAP with an alternative             (Poretics) or extruded using a pressurized extruder apparatus
       protonatable lipid. Typically, the preparation for the alter-     with a thermobarrel attachment (Lipex Biomembranes). The
       native will be X:DSPC:CHOL:PEG-CerC14 at 20:25:45:10              temperature and nitrogen pressure during extrusion were 65°
       molar ratio where X can be DODAC, OA, DODMAor any                 C. and no more than 200 psi to 300 psi, respectively. Each
       other lipid suitable for the invention.                        15
                                                                         pass should take no more than 2 minutes and is vortexed
          Materials: distearoylphosphatidylcholine, DSPC;                after each pass.
       cholesterol, CHOL (both from Northern Lipids, Vancouver,
       BC); N,N-dioleyl-N,N-dimelhylammonium chloride,                      After extrusion, the mixture was dialyzed in a dialysis
       DODAC; Oleylamine, OA(prepared by Steve Ansell, Inex);            tubing  (3500 Mwt cutoff; SpectraPor) for 1 hour in 300 mM
       N-(l-(2,3-Dioleoyloxy) propyl)-N,N,-dimethyl ammonium 20 citrate at pH 3.9-4.0, removing the ethanol. The mixture was
       chloride, DODMA(Avanti Polar Lipids,Alabaster AB, chlo-           transferred into 5 L of HBS buffer at pH 7.5 and allowed to
       ride salt prepared by Steve Ansell, INEX); poly(ethylene          further  dialyze to a minimum of 12 hours, to neutralize the
       glycol)2000 coupled to a ceramide derivative with 14 carbon       DOD MA and release any surface bound antisense associated
       acyl chains, PEG-CerC14 (Zhou Wang, INEX                          with the vesicles. Alternatively, tangential flow dialysis, ion
       Pharmaceuticals); 13x100 mm glass tube; filler sterilized 25 exchange-chromatography or gel filtration chromatography
       300 mM citrate buffer, pH 3.9-4.0 (use a 0.2 µm filter). Fully    can be used to process the extruded antisense-lipid mixture
       thioated c-myc antisense (INEX (USA), Hayward Calif.),            to an administration ready preparation.
       Anhydrous Ethanol (Commercial Alcohols, Toronto, On),
       Citric acid, Monobasic Sodium phosphate, Dibasic Sodium                                EXAMPLE 7
       phosphate, Sodium hydroxide, HEPES (BDH, Mississauga 30
       On). Deionized water, Chloroform, Methanol, Oligreen TM           This example illustrates a high efficiency formulation as
       oligonucleotide reagent (Molecular Probes, Eugene Oreg.),      in Example 5, but replacing DSPC with SM to generate a
       Sodium chloride, Triton X-100, alcohol dehydrogenase           preparation of DODAP:SM:CHOL:PEG-CerC14 at
       reagent kit, (Sigma Chemical Co., St Louis Mo.),               20:25:45:10 molar ratio. Antisense is processed with the
                                                                   35 formulation for a standard 1.0 ml volume, which can be
          Lipid stock solutions were made in 100% ethanol with the
                                                                      scaled up proportionately as required.
       working concentrations of the lipids which is as follows:
          DSPC, 20 mg/ml; CHOL, 20 mg/ml (not very soluble               Materials: Sphingomyelin SM; cholesterol, CHOL;
       above this concentration); DODMA, 20 mg/ml; PEG-               dimethylaminopropane, DODAP; polyethylene glycol
       CerCl 4; 50 mg/ml.                                             coupled to a ceramide derivative with 14 carbon acyl chains,
                                                                   40
          To prepare stock solutions of antisense, the antisense      PEG-CerCl 4; 13x100 mm glass tube; filter sterilized 300
       molecules were dissolved in the filtered 300 mM citrate        mM citrate buffer, pH 3.9-4.0 (use a 0.2 ,um filter).
       buffer at a concentration of 3.33 mg/ml. Lipids were mixed        Lipid stock solutions were made in 100% ethanol with the
       in the desired proportions in a 13xl00 mm glass tube to        working concentrations of the lipids which is as follows:
       achieve a final volume of 0.4 ml of lipids using 100% 45
       ethanol as listed in table 1, below:                              SM, 20 mg/ml; CHOL, 20 mg/ml (not very soluble above
                                                                      this concentration); DODAP, 20 mg/ml; PEG-CerC14; 50
                                 TABLE 1                              mg/ml.
                                                                                             To prepare stock solutions of antisense, the antisense
                Proportional mixture of lipids in a 13 x 100 mm glass test tube.
                                                                                     50   molecules were dissolved in the filtered 300 mM citrate
                                                                Stock Vol of Stock        buffer at a concentration of 3.33 mg/ml. Lipids were mixed
        Lipid             Mol %     M.Wt.      mg      µmol    (mg/ml)    (µl)            in the desired proportions in a 13x100 mm glass tube to
        DODMA                20      652.6     1.69     2.60     20          84.5
                                                                                          achieve a final volume of 0.4 ml of lipids using 100%
        DSPC                 25      790       2.57     3.25     20         115           ethanol as listed in Table 2, below:
        CHOL                 45      386.7     2.26     5.85     20         113.1    55
        PEG-CerCl4           10     2600       3.38     1.30     50          67.6
                                                                                                                       TABLE 2
                            100                9.9     13.00                380.2
                                                                                              Proportional mixture of lipids in a 13 x 100 mm glass test tube.

          In a separate 13x100 mm glass tube, 0.6 ml of antisense                                                                             Stock      Vol of
       at 3.33 mg/ml was added. The pH of this solution should be 60 Lipid                              Mol %     M. Wt.     mg      µmo]    (mg/ml)   Stock (ul)
       3.9-4.0. (NOTE: the antisense concentration is NOT deter-
                                                                           DODAP                           20      684.5     1.78     2.60     20          89.0
       mined by weight but rather by measuring absorbance at 260           SM                              25      703       2.30     3.27     20         115
       nm). The lipid mixture solution was warmed to 65° C. for            CHOL                            45      386.7     2.26     5.85     20         113.1
       about 2 minutes. The antisense tube was vortexed and during         PEG-CerC14                      10     2600       3.38     1.30     50          67.6
                                                                                                          100                9.72    13.02                384.7
       this time, using a Pasteur pipette, the lipids (in ethanol) were 65
       added slowly in a dropwise manner. The mixture will get
       "cloudy" and some bubbles may be observed due to the




                                                                                                                                                       JA001551
                                                                                                                                            M RNA-G EN-00203264
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 209 of 1274 PageID #: 8515


                                                               US 6,287,591 Bl
                                      39                                                                       40
          In a separate 13x100 mm glass tube, 0.6 ml of antisense
       at 3.33 mg/ml was added. The pH of this solution should be                                          TABLE 3
       3.9-4.0. (NOTE: the antisense concentration is NOT deter-
                                                                                 Proportional mixture of lipids in a 13 x 100 mm glass test tube.
       mined by weight but rather by measuring absorbance at 260
                                                                        5
       nm). The lipid mixture solution was warmed to 65° C. for                                                                 Stock Vol of Stock
                                                                           Lipid           Mol % M.Wt.            mg     Jtmol (mg/ml)        (111)
       about 2 minutes. The antisense tube was vortexed and during
       this time, using a Pasteur pipette, the lipids (in ethanol) were    DODAP              40      684.5       4.16    6.08   20           208
                                                                           DSPC               10      790         1.2     1.52   20             60
       added slowly in a dropwise manner. The mixture will get
                                                                           CHOL               45      386.7       2.6     6.72   20           130
       "cloudy" and some bubbles may be observed due lo the lO AITA8-                          5     2638         2.0     0.76   50             40
       ethanol, but no aggregates should be present. The resulting         DSPE
                                                                                             100                 10.26 15.1                   438
       volume of the antisense-lipid mixture was 1.0 ml with a 10
       mg (13 umol) total lipid at 13 µmols, 2 mg of antisense, and
       38% ethanol, vol/vol. It can be expected that the pH lo rise           In a separate l3x100 mm glass tube, 0.6 ml of antisense
       to about 4.4.                                                    15 at 3.33 mg/ml was added. The pH of this solution should be
                                                                           3.9-4.0. (NOTE: the anlisense concentration is NOT deter-
          The antisense-lipid mixture was subjected to 5 (five)            mined by weight but rather by measuring the absorbance at
       cycles of freezing in liquid nitrogen and thawing at 65° C.         260 nm). The lipid mixture solution was warmed 65° C. for
       in a waterbath. After each thaw, the mixture was vortexed           about 2 minutes. The antisense tube was vortexed and during
       briefly. Subsequently, the mixture was passed 10 times 20 this time, using a Pasteur pipette, the lipids (in ethanol) were
       through three stacked 100 nm polytcarbonate filters                 added slowly in a dropwise manner. The mixture will get
                                                                           "cloudy" and some bubbles may be observed due to the
       (Poretics) or extruded using a pressurized extruder apparatus
                                                                           ethanol, but no aggregates should be present. The resulting
       with a thermobarrel attachment (Lipex Biomembranes). The
                                                                           volume of the antisense-lipid mixture was 1.0 ml with a 10
       temperature and nitrogen pressure during extrusion were 65° 2s mg (13 umol) total lipid al 13 µmols, 2 mg of antisense, and
       C. and no more than 200 psi to 300 psi, respectively. Each          38% ethanol, vol/vol. It can be expected that the pH to rise
       pass should take no more than 2 minutes and is vortexed             to about 4.4.
       after each pass.                                                       The antisense-lipid mixture was subjected to 5 (five)
          After extrusion, the mixture was dialyzed in a dialysis          cycles of freezing in liquid nitrogen and thawing at 65° C.
       tubing (3500 Mwt cutoff; SpectraPor) for 1 hour in 300 mM 30 in a waterbath. After each thaw, the mixture was vortexed
       citrate at pH 3.9-4.0, removing the ethanol. The mixture was        briefly. Subsequently, the mixture was passed 10 times
       transferred into 5 L of BBS buffer at pH 7.5 and allowed to         through three stacked 100 nm polytcarbonate filters
                                                                           (Poretics) or extruded using a pressurized extruder apparatus
       further dialyze to a minimum of 12 hours, to neutralize the
                                                                           with a thermobarrel attachment (Lipex Biomembranes). The
       DODAP and release any surface bound antisense associated
                                                                        35 temperature and nitrogen pressure during extrusion were 65°
       with the vesicles. Alternatively, tangential flow dialysis, ion
                                                                           C. and no more than 200 psi to 300 psi, respectively. Each
       exchange-chromatography or gel filtration chromatography            pass should take no more than 2 minutes and is vortexed
       can be used to process the extruded antisense-lipid mixture         after each pass.
       to an administration ready preparation.                                After extrusion, the mixture was dialyzed in a dialysis
                                                                        40 tubing (3500 Mwt cutoff; SpectraPor) for 1 hour in 300 mM
                                 EXAMPLE 8                                 citrate at pH 3.9-4.0, removing the ethanol. The mixture was
                                                                           transferred into 5 L of HBS buffer at pH 7.5 and allowed to
          This example illustrates a high efficiency formulation as        further dialyze to a minimum of 12 hours, to neutralize the
       in Example 5, but replacing PEG-CerCl 4 with ATTA8-                 DODAP and release any surface bound antisense associated
       DSPE to prepare DODAP:DSPC:CHOL:ATTA8-DSPE at 45 with the vesicles. Alternatively, tangential flow dialysis, ion
       40:10:45:5 molar ratio of antisense formulation.                    exchange-chromatography or gel filtration chromatography
                                                                           can be used to process the extruded antisense-lipid mixture
          Materials: distearoylphosphatidylcholine, DSPC;
                                                                           to an administration ready preparation.
       cholesterol, CHOL; dimethylaminopropane, DODAP;
       N-(w-N'-acetoxy-octa(14'amino-3', 6', 9', 12'- 50                                                EXAMPLE 9
       tetra oxa te lr adecanoy 1) )-1,2-d is tearo y 1-sn -gl ycero-3-       This example illustrates use of tangential flow dialysis to
       phosphoethanolamine, ATTA.8-DSPE; l3x100 mm glass                   clean up a large scale (>50 ml) preparation of extruded
       tube; filter sterilized 300 mM citrate buffer, pH 3.9-4.0 (use      antisense-lipid mixture to obtain an administration ready
       a 0.2 µm filter).                                                   preparation. Tangential Flow Diaflltration has been shown lo
                                                                        55 be useful in four functions in the formulation process 1)
          Lipid stock solutions were made in 100% ethanol with the         buffer exchange, 2) removal of ethanol, 3) removal of
       working concentrations of the lipids which is as follows:           unencapsulated antisense and 4) concentration of the for-
          DSPC, 20 mg/ml; CHOL, 20 mg/m/1 (not very soluble                mulation. Using TF it is demonstrated that it is possible to
       above this concentration); DODAP, 20 mg/ml; AITA8-                  efficiently exchange these components using only 10-15
       DSPE; 50 mg/ml.                                                  60 sample volumes with a single buffer system at a very
                                                                           significant reduction in the process time.
          To prepare stock solutions of antisense, the antisense              Materials for Tangential Flow Dialysis: Microcross Sam-
       molecules were dissolved in the filtered 300 mM citrate             plerTM Tangential Flow column (Microgon, Laguna Hills,
       buffer at a concentration of 3.33 mg/ml. Lipids were mixed          Calif.) Masterflex™ console drive and Easyload™ Pump
       in the desired proportions in a 13x100 mm glass tube to 65 head (Cole-Palmer, Vernon Hills Ill.), Extruder (Lipex
       achieve a final volume of 0.4 ml of lipids using 100%               Biomembranes, Vancouver BC), Polycarbonate membranes,
       ethanol as listed in Table 3, below:                                100 ,um, (AMD Manufacturing, Mississauga On).




                                                                                                                                     JA001552
                                                                                                                            M RNA-G EN-00203265
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 210 of 1274 PageID #: 8516


                                                           US 6,287,591 Bl
                                    41                                                                        42
          Antisense (c-myc) is prepared by dissolving in 300 mM         µl of the suspension lo 250 µl MilliQ waler. A monophase
       Na Citrate buffer to a final concentration of 4.17 mg/ml for     was created by adding 750 µl CHCliMeOH (2.1:1) and 100
       c-myc as verified by absorbance at 260 nm. The antisense         ,ul MeOH. Immediately after vortexing the mixture the
       stock solution is typically warmed to 65° C. for 2 minutes to     absorbance was measured at 260 nm. In each case the
       dissolve and to remove secondary structure. AS4200 con- 5 extinction coefficient for the given antisense was multiplied
       sists of DODAP:DSPC:CHOL:PEG-CER-14 at the percent                by the dilution factor to determine the antisense concentra-
       mol ratio of25:20:45:10 and the lipids are aliquoted from        lion.
       stock solutions lo a total concentration of 10 mg/0.400 ml in
                                                                           Lipid Quantification. As outlined in the current protocol,
       anhydrous ethanol. In this study 50-60 ml scale formula-
                                                                        50 µl aliquots of the lipid/antiscnse suspension was diluted
       tions were produced. Thus 20-24 ml of the ethanolic lipid
                                                                     10 with 100 µ1 MilliQ waler and submitted for analysis by
       solution is added dropwise, at room temperature, using a
       peristaltic pump at 1 ml/nin into 30-36 ml of the AS solution    HPLC. The percent encapsulation efficiency of the formu-
       which is stirring in a 100 ml round bottom flask with a 2 cm     lation is determined by dividing the Drug/Lipid ratio of the
       magnet stir bar (Stirrer setting 2-3). After mixing, the         finished product by the initial Drug/Lipid ratio formed when
       lipid/antisense suspension was pipetted into a 100 ml            the lipid and antisense stock solutions arc mixed.
       extruder prepared with 2-3, 100 µm polycarbonate mem- 15            Ethanol Assay. Ethanol in the TF filtrate was determined
       branes and pre-equilibrated at 65° C. The suspension was         using an alcohol dehydrogenase reagent kit supplied by
       extruded using ten passes at -300 psi. After extrusion the       Sigma Chemical Co.
       formulation was processed using tangential flow diafiltra-          DEAE Sephadex chromatography. A suspension of the
       tion.                                                            processed formulation was loaded onto a lxl0 cm column
          Tangential Flow Ultrafiltration. A 230 cm 2 Microcross 20 of DEAE sephadex equilibrated in 20 mM PBS, pH 7.5.
       tangential flow cartridge (50 kDa cut off) was attached to a     After eluting through the column the formulation was col-
       Masterflex peristaltic pump, sample reservoir and buffer         lected into a sterile falcon lube. The volume, anlisense and
       reservoir using Tygon tubing. The tubing length was              lipid concentration were measured to determine recovery.
       adjusted so that the total circuit of tubing, pump and TF           Particle Size. The particle size of the formulation was
       cartridge had a total dead volume of 30 ml. To this system 25 measured by QELS using a Nicomp Particle sizer, (Nicomp,
       a 60 ml sample reservoir was attached. The sample was            Santa Barbara, Calif.) and particle sizes are reported in the
       loaded into the tubing and reservoir by running the peristal-    particle mode with volume weighing.



                                                                                     Results of Large Scale Preparations:

                                                                    Initial    Initial     Final    Final
                                                                    Lipid     Antisense    Lipid  Antisense
                                                                    Content   Content     Content Content         Initial       Final      Encaps.
                                                            Assay   (mg/ml)   (mg/ml)     (mg/ml) (mg/ml)       Drug:Lipid    Drug:Lipid    Effie.

                                                              A     10.581      1.936     14.604     1.681         0.183        0.115       63%
                                                              B      8.727      2.284      7.926     1.008         0.262        0.127       48%
                                                              C     11.06       2.97       2.69      0.556         0.286        0.207       77%




       tic pump at a low speed. After loading, the system was                                     EXAMPLE 10
       closed and the pump speed gradually increased to the pump             Phosphodiester and phosphorothioate antiscnse oligo-
       maximum (approx. 100 ml/min) until the initial TF cartridge        nucleotides encapsulated according to the methods in
       inlet pressure was 12-15 psi and the outlet pressure was 45 Example 2 and 5-9 were examined for their relative sus-
       8-11 psi. When the system pressure stabilized, both the            ceptibility to nuclease digestion by serum or Sl nuclease.
       filtrate outlet and the buffer reservoir were opened. Opening      Protection of the phosphodiester-linked oligonucleotide was
       these valves allowed filtrate to flow out of the cartridge at      significantly higher in scrum when encapsulated as opposed
       -10-15 ml/min while wash buffer (i.e. PBS, pH 7.5) was             to the free, raising the T 112 of degradation from 10 mins to
       being collected. For a 50-60 ml formulation 700-900 ml of 50 at least 8 h. Free phosphorothioate oligodeoxynucleotide
       buffer was used to '"wash" the sample. Fractions (10 ml) of        showed significant breakdown in serum within 30 minutes,
       the filtrate were collected for analysis of ethanol removal,       however encapsulated phosphorothioale oligodeoxynucle-
       pH, and antisense. After diafiltration was completed the           otide did not show any sign of degradation even after 24 h
       wash buffer reservoir was closed and with the pump con-            incubation in serum. In vivo data agrees with these findings,
       tinuing lo run, filtrate was allowed to flow, concentrating the 55 showing no sign of degradation of the encapsulated phos-
       sample, typically reducing the preparation volume to the           phorothioate antisense until 8 h.
       tubing dead volume (30-35 ml). The sample was collected               As a positive control, the free phosphodiester and phos-
       from the system and the tubing and column were washed              phorothioate antisense were subjected to very potent levels
       with 15 ml wash buffer to remove any remaining formula-            of Sl nuclease (lO0U/50 µg) (lU of Sl nuclease will digest
       tion.                                                           60 1 ug DNA per minute at 37° C.). The enzyme completely
           Antisensc Quantification. Antisense concentration was          digested the free phosphodiester and phosphorolhioate
       normally determined by measuring absorbancc at 260 nm as           within seconds after its addition. The encapsulated phos-
       outlined in the current protocol. Briefly, antisense stock         phodiester under the same conditions was over 90% intact at
       solutions were quantified by diluting 1:500 in MilliQ waler        24 h, and the encapsulated phosphorothioate was fully intact
       and measuring absorbance. TF filtrate fractions were diluted 65 at 24 h.
       1:10 in MilliQ water and absorbance was measured. Anti-               The experiments were conducted as described in the
       sense in suspension with lipids was measured by adding 10          specification, or modified as follows.




                                                                                                                                     JA001553
                                                                                                                             M RNA-G EN-00203266
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 211 of 1274 PageID #: 8517


                                                            US 6,287,591 Bl
                                    43                                                                  44
          Sl Nuclease Digestion. 50 µg aliquots containing free,           5,665,710, wherein nucleic acid11ipid particles are incubated
       encapsulated, or encapsulated +0.5% Triton XlO0 were                for 30 mins at 37° C. in presence of an excess of micrococcal
       aliquoted into 1.5 ml eppendorf tubes. To the tubes were            nuclease in 1 mM CaC1 2 .
       added 1() µl l()xSl nuclease buffer, dH2O (to make final
                                                                              Polyacrylamide Gel Electrophoresis (PAGE). Prepared 14
       volume 100 1tl), and, just prior to digestion, lO0U of Sl s
                                                                           cmxl6 cmx7.5 mm polyacrylamide (15% or 20%) gels in
       nuclease to each eppendorf tube. The tubes were sealed with
                                                                           7M urea and TEE. Approximately 300 ng of sample (at each
       parafilm and incubated al 55° C. A sample of the free,
                                                                           time point) and standard were aliquoted into eppendorf
       encapsulated, or encapsulated +0.5% Triton XlO0 not
                                                                           tubes. An equivalent volume of 2x loading buffer was added
       digested by nuclease (standard) was frozen in liquid nitrogen
                                                                           lo each sample. The samples were then healed in a waterbalh
       in an eppendorf tube and stored at -20° C. At each desired 10
                                                                           lo 90° C. for 3 min lo reduce secondary structures and then
       time point, an aliquot of each sample was collected, added
                                                                           applied to the gel. The loaded gel was electrophoresed at
       to GDP buffer containing proteinase K (133 µg/ml) and
                                                                           600V for 10 min (to sharpen the band) and then at 300V for
       immediately frozen in liquid nitrogen in order to stop the
                                                                           the duration of the gel. The gel was incubated in
       reaction. Once all of the time points were collected, the
                                                                           lxSyberGreen I stain in TEE for a minimum of 15 min and
       samples were incubated al 55° C. in a walerbath lo activate 15
                                                                           then photographed while illuminated under UV light (3.5 sec
       proteinase K enabling it to denature any remaining Sl
                                                                           exposure, 4.5 aperture).
       nuclease. Proteinase K digested samples were applied to
       polyacrylamide gels, described below, to assess levels of Sl        VII. Conclusion
       nuclease degradation                                                   As discussed above, the present invention provides meth-
          Normal Murine/Human Serum Digestion. 50 µg of the 20 ods of preparing lipid-encapsulated therapeutic agent
       free, encapsulated, or encapsulated +0.5% Triton XlO0 was           (nucleic acid) compositions in which the therapeutic agent
       aliquoted into 1.5 ml eppendorf tubes. To the tubes we added        (nucleic acid) portion is encapsulated in large unilamellar
       45 µl normal murine/human serum, dH2O (to make final                vesicles at a very high efficiency. Additionally, the invention
       volume 50 µl), to each eppendorf tube. The tubes were               provides compositions prepared by the method, as well as
       sealed with parafilm and incubated at 37° C. A sample of the    2 s methods of introducing therapeutic agents (nucleic acids)
       free, encapsulated, or encapsulated +0.5% Triton XlO0 not           into cells. The compositions are surprisingly efficient in
       digested by nuclease (standard) was frozen in liquid nitrogen       transfecting cells, both in vivo and in vitro.
       in an eppendorf lube and stored at -20° C. Aliquots were               All publications, patents and patent applications men-
       taken at various time points, added to GDP buffer containing        tioned in this specification are herein incorporated by ref-
       proteinase K (133 µg/ml) and immediately frozen in liquid 30 erence into the specification to the same extent as if each
       nitrogen to stop the reaction. Once all of the time points were     individual publication, patent or patent application was
       collected, the samples were incubated at 55*C. in a water-          specifically and individually indicated to be incorporated
       bath to activate proteinase K enabling it to denature any           herein by reference.
       remaining exonuclease. Proteinase K digested samples were              Although the foregoing invention has been described in
       applied to polyacrylamide gels to assess levels of exonu- 35 some detail by way of illustration and example for purposes
       clease degradation Micrococcal Nuclease. An alternative             of clarity of understanding, it will be obvious that certain
       standard nuclease assay not employed in the present experi-         changes and modifications may be practiced within the
       ment is the assay disclosed by Rahman et al. U.S. Pat. No.          scope of the appended claims.



                                               SEQUENCE LISTING


          (1) GENERAL INFORMATION:

             (iii) NUMBER OF SEQUENCES: 17


          (2) INFORMATION FOR SEQ ID NO: 1:

                (i) SEQUENCE CHARACTERISTICS:
                      (A)   LENGTH: 20
                      (B)   TYPE: nucleic acid
                      (C)   STRANDEDNESS: single
                      (D)   TOPOLOGY: linear

              (ii) MOLECULE TYPE: other nucleic acid

             (iii) HYPOTHETICAL: no

              (iv) ANTI-SENSE: yes

              (xi) SEQUENCE DESCRIPTION: SEQ ID NO: 1:

         TGCATCCCCC AGGCCACCAT                                                                 20


          (2) INFORMATION FOR SEQ ID NO: 2:

                (i) SEQUENCE CHARACTERISTICS:




                                                                                                                             JA001554
                                                                                                                    MRNA-GEN-00203267
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 212 of 1274 PageID #: 8518


                                                     US 6,287,591 Bl
                                   45                                       46

                                                       -continued
                  (A)   LENGTH: 20
                  (B)   TYPE: nucleic acid
                  (C)   STRANDEDNESS: single
                  (D)   TOPOLOGY: linear

            (ii) MOLECULE TYPE: other nucleic acid

           (iii) HYPOTHETICAL: no

            (iv) ANTI-SENSE: yes

            (xi) SEQUENCE DESCRIPTION: SEQ ID NO: 2:

        GCCCAAGCTG GCATCCGTCA                                          20


        (2) INFORMATION FOR SEQ ID NO: 3:

             (i) SEQUENCE CHARACTERISTICS:
                  (A)   LENGTH: 15
                  (B)   TYPE: nucleic acid
                  (C)   STRANDEDNESS: single
                  (D)   TOPOLOGY: linear

            (ii) MOLECULE TYPE: other nucleic acid

           (iii) HYPOTHETICAL: no

            (iv) ANTI-SENSE: yes

            (xi) SEQUENCE DESCRIPTION: SEQ ID NO: 3:

        GGTGCTCACT GCGGC                                               15


        (2) INFORMATION FOR SEQ ID NO: 4:

             (i) SEQUENCE CHARACTERISTICS:
                  (A)   LENGTH: 15
                  (B)   TYPE: nucleic acid
                  (C)   STRANDEDNESS: single
                  (D)   TOPOLOGY: linear

            (ii) MOLECULE TYPE: other nucleic acid

           (iii) HYPOTHETICAL: no

            (iv) ANTI-SENSE: yes

            (xi) SEQUENCE DESCRIPTION: SEQ ID NO: 4:

       AACGTTGAGG GGCAT                                                15


        (2) INFORMATION FOR SEQ ID NO: 5:

             (i) SEQUENCE CHARACTERISTICS:
                  (A)   LENGTH: 16
                  (B)   TYPE: nucleic acid
                  (C)   STRANDEDNESS: single
                  (D)   TOPOLOGY: linear

            (ii) MOLECULE TYPE: other nucleic acid

           (iii) HYPOTHETICAL: no

            (iv) ANTI-SENSE: yes

            (xi) SEQUENCE DESCRIPTION: SEQ ID NO: 5:

        TAACGTTGAG GGGCAT                                              16


        (2) INFORMATION FOR SEQ ID NO: 6:

             (i) SEQUENCE CHARACTERISTICS:
                  (A) LENGTH: 24
                  (B) TYPE: nucleic acid
                  (C) STRANDEDNESS: single




                                                                                      JA001555
                                                                                 M RNA-G EN-00203268
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 213 of 1274 PageID #: 8519


                                                     US 6,287,591 Bl
                                   47                                       48

                                                       -continued
                  (D) TOPOLOGY: linear

            (ii) MOLECULE TYPE: other nucleic acid

           (iii) HYPOTHETICAL: no

            (iv) ANTI-SENSE: yes

            (xi) SEQUENCE DESCRIPTION: SEQ ID NO: 6:

        TATGCTGTGC CGGGGTCTTC GGGC                                     24


        (2) INFORMATION FOR SEQ ID NO: 7:

             (i) SEQUENCE CHARACTERISTICS:
                  (A)   LENGTH: 18
                  (B)   TYPE: nucleic acid
                  (C)   STRANDEDNESS: single
                  (D)   TOPOLOGY: linear

            (ii) MOLECULE TYPE: other nucleic acid

           (iii) HYPOTHETICAL: no

            (iv) ANTI-SENSE: yes

            (xi) SEQUENCE DESCRIPTION: SEQ ID NO: 7:

        GTGCCGGGGT CTTCGGGC                                            18


        (2) INFORMATION FOR SEQ ID NO: 8:

             (i) SEQUENCE CHARACTERISTICS:
                  (A)   LENGTH: 18
                  (B)   TYPE: nucleic acid
                  (C)   STRANDEDNESS: single
                  (D)   TOPOLOGY: linear

            (ii) MOLECULE TYPE: other nucleic acid

           (iii) HYPOTHETICAL: no

            (iv) ANTI-SENSE: yes

            (xi) SEQUENCE DESCRIPTION: SEQ ID NO: 8:

        GGACCCTCCT CCGGAGCC                                            18


        (2) INFORMATION FOR SEQ ID NO: 9:

             (i) SEQUENCE CHARACTERISTICS:
                  (A)   LENGTH: 18
                  (B)   TYPE: nucleic acid
                  (C)   STRANDEDNESS: single
                  (D)   TOPOLOGY: linear

            (ii) MOLECULE TYPE: other nucleic acid

           (iii) HYPOTHETICAL: no

            (iv) ANTI-SENSE: yes

            (xi) SEQUENCE DESCRIPTION: SEQ ID NO: 9:

        TCCTCCGGAG CCAGACTT                                            18


        (2) INFORMATION FOR SEQ ID NO: 10:

             (i) SEQUENCE CHARACTERISTICS:
                  (A)   LENGTH: 15
                  (B)   TYPE: nucleic acid
                  (C)   STRANDEDNESS: single
                  (D)   TOPOLOGY: linear

            (ii) MOLECULE TYPE: other nucleic acid




                                                                                      JA001556
                                                                                 M RNA-G EN-00203269
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 214 of 1274 PageID #: 8520


                                                     US 6,287,591 Bl
                                   49                                       50
                                                        -continued

           (iii) HYPOTHETICAL: no

            (iv) ANTI-SENSE: yes

            (xi) SEQUENCE DESCRIPTION: SEQ ID NO: 10:

        CCGTGGTCAT GCTCC                                               15


        (2) INFORMATION FOR SEQ ID NO: 11:

             (i) SEQUENCE CHARACTERISTICS:
                  (A)   LENGTH: 21
                  (B)   TYPE: nucleic acid
                  (C)   STRANDEDNESS: single
                  (D)   TOPOLOGY: linear

            (ii) MOLECULE TYPE: other nucleic acid

           (iii) HYPOTHETICAL: no

            (iv) ANTI-SENSE: yes

            (xi) SEQUENCE DESCRIPTION: SEQ ID NO: 11:

        CAGCCTGGCT CACCGCCTTG G                                        21


        (2) INFORMATION FOR SEQ ID NO: 12:

             (i) SEQUENCE CHARACTERISTICS:
                  (A)   LENGTH: 20
                  (B)   TYPE: nucleic acid
                  (C)   STRANDEDNESS: single
                  (D)   TOPOLOGY: linear

            (ii) MOLECULE TYPE: other nucleic acid

           (iii) HYPOTHETICAL: no

            (iv) ANTI-SENSE: yes

            (xi) SEQUENCE DESCRIPTION: SEQ ID NO: 12:

        CAGCCATGGT TCCCCCCAAC                                          20


        (2) INFORMATION FOR SEQ ID NO: 13:

             (i) SEQUENCE CHARACTERISTICS:
                  (A)   LENGTH: 20
                  (B)   TYPE: nucleic acid
                  (C)   STRANDEDNESS: single
                  (D)   TOPOLOGY: linear

            (ii) MOLECULE TYPE: other nucleic acid

           (iii) HYPOTHETICAL: no

            (iv) ANTI-SENSE: yes

            (xi) SEQUENCE DESCRIPTION: SEQ ID NO: 13:

        GTTCTCGCTG GTGAGTTTCA                                          20


        (2) INFORMATION FOR SEQ ID NO: 14:

             (i) SEQUENCE CHARACTERISTICS:
                  (A)   LENGTH: 18
                  (B)   TYPE: nucleic acid
                  (C)   STRANDEDNESS: single
                  (D)   TOPOLOGY: linear

            (ii) MOLECULE TYPE: other nucleic acid

           (iii) HYPOTHETICAL: no




                                                                                      JA001557
                                                                                 MRNA-GEN-00203270
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 215 of 1274 PageID #: 8521


                                                           US 6,287,591 Bl
                                      51                                                              52
                                                              -continued
               (iv) ANTI-SENSE: yes

               (xi) SEQUENCE DESCRIPTION: SEQ ID NO: 14:

        TCTCCCAGCG TGCGCCAT                                                               18


        (2) INFORMATION FOR SEQ ID NO: 15:

                (i) SEQUENCE CHARACTERISTICS:
                     (A)   LENGTH: 15
                     (B)   TYPE: nucleic acid
                     (C)   STRANDEDNESS: single
                     (D)   TOPOLOGY: linear

               (ii) MOLECULE TYPE: other nucleic acid

              (iii) HYPOTHETICAL: no

               (iv) ANTI-SENSE: yes

               (xi) SEQUENCE DESCRIPTION: SEQ ID NO: 15:

        GTGCTCCATT GATGC                                                                  15


        (2)   INFORMATION FOR SEQ ID NO: 16:

                (i) SEQUENCE CHARACTERISTICS:
                      (A) LENGTH: 34
                     (B) TYPE: nucleic acid
                     (C) STRANDEDNESS: single
                      (D) TOPOLOGY: linear

               (ii) MOLECULE TYPE: other nucleic acid

              (iii) HYPOTHETICAL: no

               (iv) ANTI-SENSE: yes

               (xi) SEQUENCE DESCRIPTION: SEQ ID NO: 16:

        GAGUUGCUGA UGAGGCCGAA AGGCCGAAAG UCUG                                             34


        (2) INFORMATION FOR SEQ ID NO: 17:

                (i) SEQUENCE CHARACTERISTICS:
                     (A)   LENGTH: 15
                     (B)   TYPE: nucleic acid
                     (C)   STRANDEDNESS: single
                     (D)   TOPOLOGY: linear

               (ii) MOLECULE TYPE: other nucleic acid

              (iii) HYPOTHETICAL: no

               (iv) ANTI-SENSE: yes

               (xi) SEQUENCE DESCRIPTION: SEQ ID NO: 17:

        GAACGGAGAC GGTTT                                                                  15



                                                                     55
          What is claimed is:                                           is cationic when the therapeutic agent is anionic and anionic
          1. A composition comprising lipid-therapeutic agent par-      when the therapeutic agent is cationic, said second lipid
       ticles comprising a lipid portion and a charged therapeutic      component being selected from among lipids that prevent
       agent, said charged therapeutic agent being encapsulated in      particle aggregation during lipid-therapeutic agent particle
       said lipid portion, wherein said lipid portion comprises a first formation and which exchange out of the lipid particle at a
       lipid component, a second lipid component, a third lipid 60 rate greater than PEG-CerC20, said third lipid component
       component, and a fourth lipid component, said first lipid        being a neutral lipid selected from the group consisting of
       component being selected from among lipids containing a          DSPC, POPC, DOPE, and SM, and said fourth lipid com-
       protonatable or deprotonatable group that has a pKa such         ponent being Chol.
       that the lipid is in a charged form at a first pH and a neutral     2. The composition according to claim 1, wherein at least
       form at a second pH, wherein the pKa of the first lipid 65 some of the protonatable or deprotonatable groups are
       component is in the range of from 4 to 11, and said first lipid  disposed on the exterior surface, of the particles and at least
       component being further selected such that the charged form      some of these groups have been neutralized.




                                                                                                                          JA001558
                                                                                                                 M RNA-G EN-00203271
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 216 of 1274 PageID #: 8522


                                                            US 6,287,591 Bl
                                    53                                                                  54
         3. The compos1t10n according to claim 2, wherein the                20. The compos1t1on of claim 12, wherein said lipid
       therapeutic agent is anionic.                                      portion comprises DODAP, POPC, Chol and PEG-CerC14.
          4. The composition according to claim 3, wherein the               21. The composition of claim 12, wherein said lipid
       therapeutic agent is a polyanionic nucleic acid.                   comprises of DODAP, SM, Chol and PEG-CerC14.
          5. The composition according to claim 4, wherein the 5             22. The composition according to claim 12, wherein at
       polyanionic nucleic acid is an antisense nucleic acid.             least 50% of the nucleic acid in the composition is encap-
          6. The composition according to claim 4, wherein al least       sulated within the particle.
       50% of the polyanionic nucleic acid in the composition is             23. The composition of claim 12, wherein at least 90% of
       encapsulated within the particle.                                  the nucleic acid in the composition is encapsulated within
                                                                          the particle.
          7. The composition of claim 4, wherein at least 90% of the 10
                                                                             24. The composition of claim 12, wherein said nucleic
       polyanionic nucleic acid in the composition is encapsulated
                                                                          acid is a ribozyme.
       within the particle.                                                  25. The composition of claim 14, wherein the second lipid
          8. The composition of claim 4, wherein the polyanionic          component is a polyethylene glycol-modified or polyamide
       nucleic acid has exclusively phosphodiester linkages.              oligomer-modified lipid.
          9. The composition of according to claim 3, wherein the 15         26. The composition of claim 12, wherein the second lipid
       first lipid component is an amino lipid.                           component is a polyethylene glycol-modified or polyamide
          10. ]11e composition of claim 9, wherein the second lipid       oligomer-modified lipid.
       component is a polyethylene glycol-modified or polyamide              27. A method for preparation of a composition comprising
       oligomer-modified lipid.                                           lipid-encapsulated therapeutic agent particles, said method
          11. The composition of claim 3, wherein the second lipid 20 comprising the steps of:
       component is a polyethylene glycol-modified or polyamide              ( a) preparing a mixture of lipids comprising a first lipid
       oligomer-modified lipid.                                                  component, a second lipid component, a third lipid
          12. A composition comprising lipid-therapeutic agent                   component, and a fourth lipid component, and com-
       particles comprising a lipid portion and a charged therapeu-              bining the mixture of lipids with a buffered aqueous
       tic agent, said charged therapeutic agent being encapsulated 25           solution of a charged therapeutic agent to form an
       in said lipid portion, wherein said lipid portion comprises a             intermediate mixture containing lipid-encapsulated
       first lipid component, a second lipid component, a third lipid            therapeutic agent particles having exterior surface
       component and a fourth lipid component, said first lipid                  charges, wherein said first lipid component is selected
       component being selected from among lipids containing a                   from among lipids containing a protonatable or depro-
       protonatable group that has a pKa such that the lipid is in a 30          tonatable group that has a pKa such that the lipid is in
       charged form at a first pH and a neutral form at a second pH,             a charged form at a first pH and a neutral form at a
       and said second lipid component being selected from among                 second pH, wherein the pKa of the first lipid compo-
       lipids that prevent particle aggregation during lipid-nucleic             nent is in the range of from 4 to 11, said buffered
       acid particle formation, said third lipid component being a               solution having a pH such that the first lipid component
       neutral lipid selected from the group consisting of DSPC, 35              is in its charged form when in the buffered solution,
       POPC, DOPE, and SM, and said fourth lipid component                       said first lipid component being further selected such
       being Chol, said particles having a nucleic acid/lipid ratio of           that the charged form is cationic when the charged
       at least 10% by weight and a size of from about 70 to about               therapeutic agent is anionic in the buffered solution,
       200 nm, wherein said therapeutic agent is a polyanionic                   and anionic when the charged therapeutic agent is
       nucleic acid, said nucleic acid having exclusively phophodi- 40           cationic in the buffered solution, and said second lipid
       ester linkages, and wherein at least some of said protonat-               component being selected from among lipids that pre-
       able groups are disposed on the exterior surface of the                   vent particle aggregation during lipid-therapeutic agent
       particles and at least some of these groups have been                     particle formation, said third lipid component being a
       neutralized.                                                              neutral lipid selected from the group consisting of
          13. The composition according to claim 12, wherein the 45              DSPC, POPC, DOPE, and SM, and said fourth lipid
       nucleic acid is an antisense nucleic acid.                                component being Chol, and
          14. The composition of according to claim 12, wherein the          (b) changing the pH of the intermediate mixture to
       first lipid component is an amino lipid.                                  neutralize at least some of the exterior surface charges
          15. The composition of claim 14, wherein the second lipid              on said lipid-encapsulated therapeutic agent particles lo
       component is a polyethylene glycol-modified lipid.              50        provide at least partially-surface neutralized lipid-
          16. The composition of claim 12, wherein the second lipid              encapsulated therapeutic agent particles.
       component is a polyethylene glycol-modified lipid.                    28. The method of claim 27, wherein said composition
          17. ]11e composition of claim 12, wherein the first lipid       consists essentially of lipid-nucleic acid particles, said par-
       component is an amino lipid, and the second component is           ticles having a size of from 70 nm to about 200 nm.
       PEG-modified or polyamide oligomer-modified lipid, and 55             29. The method of claim 27, wherein said mixture of
       wherein said lipids are present at molar percents of about         lipids in step (a) is a mixture of lipids in alcohol.
       25-45% neutral lipid, about 35-55% cholesterol, about                 30. The method of claim 27, wherein the first lipid
       10-40% amino lipid and about 0.5-15% PEG-modified or               component is an amino lipid.
       Polyamide oligomer-modified lipid.                                    31. The method of claim 27, wherein the second lipid
          18. The composition of claim 12, wherein said lipid 60 component is a polyethylene glycol-modified or polyamide
       portion comprises DODAP as the first lipid component,              oligomer-modified lipid.
       DSPC as the neutral lipid, and PEG-CerCl 4 as the second              32. The method of claim 31, wherein the second lipid
       lipid component.                                                   component is a PEG-Ceramide.
          19. The composition of claim 18, wherein the lipid                 33. The method of claim 31, wherein the first lipid
       components are present in molar percents of about 25-45% 65 component is an amino lipid.
       DSPC, about 35-55% Chol, about 10-40% DODAP and                       34. The method of claim 27, wherein said lipid mixture
       about 0.5-15% PEG-CerC14.                                          comprises an amino lipid having a pKa of from about 5 to




                                                                                                                             JA001559
                                                                                                                    M RNA-G EN-00203272
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 217 of 1274 PageID #: 8523


                                                           US 6,287,591 Bl
                                    55                                                                 56
       about 11 as the first lipid component, and a PEG-modified or             provide al least partially-surface neutralized lipid-
       Polyamide oligomer-modified lipid as the second compo-                   encapsulated therapeutic agent particles.
       nent.                                                                 47. The method of claim 46, wherein said composition
          35. The method of claim 34, wherein said lipid mixture          consists essentially of lipid-nucleic acid particles, said par-
       comprises in molar percents about 25-45% neutral lipid, s tides having a size of from 70 nm to about 200 nm.
       about 35-55% Chol, about 10-40% amino lipid and about                 48. The method of claim 46, wherein said mixture of
       0.5-15% PEG-Ceramide as the modified lipid.                        lipids in step (a) is a mixture of lipids in alcohol.
          36. The method of claim 27, wherein said mixture of                49. The method of claim 46, wherein the second lipid
       lipids comprises DODAP as the first lipid component, DSPC          component is a PEG-Ceramide.
       as the neutral lipid, and PEG-CerCl 4 as the second lipid 10          50. The method of claim 46, wherein said lipids are-
       component.                                                         present in molar percents of about 25-45% neutral lipid,
          37. The method of claim 36, wherein said lipids are             35-55% Chol, 10-40% amino lipid and 0.5-15% PEG-
       present in molar percents of about 25-45% DSPC, about              modified or polyamide oligomer-modified lipid.
                                                                             51. The method of claim 46, wherein said mixture of
       35-55% Chol, about 10-40% DODAP and about 0.5-15%
                                                                          lipids comprises DODAP as the amino lipid, DSPC as the
       PEG-CerC14.                                                     15 neutral lipid, and PEG-CerCl 4 as the PEG-modified lipid.
          38. The method of claim 27, wherein said mixture of
                                                                             52. The method of claim 51, wherein said lipids are
       lipids comprises DODAP as the first lipid component, POPC          present in molar percents of about 25-45% DSPC, about
       as the neutral lipid, and PEG-CerCl 4 as the second lipid          35-55% Chol, about 10-40% DODAP and about 0.5-15%
       component.                                                         PEG-CerC14.
          39. The method of claim 27, wherein said mixture of 20             53. The method of claim 46, wherein said mixture of
       lipids comprises DODAP as the first lipid component, SM as         lipids comprises DODAP as the amino lipid, POPC as the
       the neutral lipid, and PEG-CerCl 4 as the second lipid             neutral lipid, and PEG-CerCl 4 as the PEG-modified lipid.
       component.                                                            54. The method of claim 46, wherein said mixture of
          40. The method of claim 27, wherein the pH is changed           lipids comprises DODAP as the amino lipid, SM as the
       in step (b) to physiological pH.                                25 neutral lipid, and PEG-CerC14 as the PEG-modified lipid.
          41. The method of claim 27, wherein the step of changing           55. The method of claim 46, wherein said polyanionic
       the pH is performed using tangential flow dialysis.                nucleic acid is an antisense nucleic acid.
          42. A pharmaceutical composition comprising lipid-                 56. The method of claim 55, wherein said antisense
       encapsulated therapeutic agent particles prepared according        nucleic acid contains linkages selected from the group
       to claim 27 and a pharmaceutically acceptable carrier.             consisting of phosphodiester, phosphorothioate,
                                                                       30
          43. The method of claim 27, wherein the therapeutic agent       phosphorodithioate, boranophosphate, phosphoroselenate
       is a polyanionic nucleic acid.                                     and amidate linkages.
                                                                             57. The method of claim 46, wherein said polyanionic
          44. A pharmaceutical composition comprising lipid-
                                                                          nucleic acid contains exclusively phosphodiester linkages.
       encapsulated therapeutic agent particles comprising a polya-
                                                                             58. The method of claim 57, wherein said polyanionic
       nionic nucleic acid as therapeutic agent prepared according 35 nucleic acid is an antisense nucleic acid.
       to claim 43 and a pharmaceutically acceptable carrier.                59. The method of claim 57, wherein the buffered solution
          45. The pharmaceutical composition according to claim           comprises 10 to 50 mM citrate or phosphate buffer.
       44, wherein the polyanionic nucleic acid is an antisense              60. The method of claim 46, wherein the polyanionic
       nucleic acid.                                                      nucleic acid contains at least some phosphorothioate or
          46. A method for preparation of a composition comprising 40 phosphorodithioate linkages.
       lipid encapsulated therapeutic agent particles, said method           61. The method of claim 60, wherein the buffered solution
       comprising the steps of:                                           comprises 10 to 300 mM citrate or phosphate buffer.
          (a) preparing a mixture of lipids comprising an amino              62. The method of claim 46, wherein said polyanionic
             lipid, a neutral lipid, a stern!, and a PEG-modified or      nucleic acid is a ribozyme.
             polyamide oligomer-modified lipid, and combining the 45         63. A method for introducing a polyanionic nucleic acid
             mixture of lipids with a buffered aqueous solution of a      into a cell, comprising contacting a cell with a composition
             charged therapeutic agent lo form an intermediate            containing the polyanionic nucleic acid for a period of time
             mixture containing lipid-encapsulated therapeutic            sufficient to introduce the polyanionic nucleic acid into said
             agent particles having exterior surface charges, wherein     cell, wherein the composition comprises lipid-encapsulated
             the amino lipid is selected from among lipids contain- 50 therapeutic agent particles containing the polyanionic
             ing a protonatable or deprotonatable group that has a        nucleic acid and said composition is prepared according to
             pKa such that the amino lipid is in a charged form at a      the method of claim 46.
             first pH and a neutral form at a second pH, and said            64. A method for the treatment or prevention of a disease
             buffered solution having a pH such that the amino lipid      characterized by aberrant expression of a gene in a mam-
             is in its charged form when in the buffered solution, ss malian subject comprising,
             said amino lipid being further selected such that the           preparing a lipid-encapsulated therapeutic agent particle,
             charged form is cationic, said PEG-modified or polya-              wherein the therapeutic agent is a polyanionic nucleic
             mide oligomer-modified lipid being selected from                   acid, according to the method of claim 46, wherein the
             among lipids that prevent particle aggregation during              polyanionic nucleic acid hybridizes specifically with
             lipid-nucleic acid particle formation, said neutral lipid 60       the aberrantly expressed gene; and
             being selected from the group consisting of DSPC,               administering a therapeutically effective or prophylactic
             POPC, DOPE, and SM, and said stern! being Chol, and                amount of the particle to the mammalian subject,
             said therapeutic agent being a polyanionic nucleic acid,           whereby expression of the aberrantly expressed gene is
             and                                                                reduced.
          (b) changing the pH of the intermediate mixture to 65              65. The method of claim 64, wherein the gene is selected
             neutralize at least some of the exterior surface charges     from among ICAM-1, c-myc, c-myb, ras, raf, erb-B-2,
             on said lipid-encapsulated therapeutic agent particles to    PKC-alpha, IGF-lR, EGFR, VEGF and VEGF-R-1.




                                                                                                                            JA001560
                                                                                                                   M RNA-G EN-00203273
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 218 of 1274 PageID #: 8524


                                                         US 6,287,591 Bl
                                   57                                                               58
         66. The method of claim 64, wherein the disease is a          72. A method of preventing expression of a disease-
       tumor.                                                        associated gene in a mammalian cell comprising,
          67. The method of claim 64, wherein the disease is           preparing a lipid-encapsulated therapeutic agent particle,
       characterized by inflammation.                                     wherein the therapeutic agent is an antisense polyan-
          68. The method of claim 64, wherein the disease is an s         ionic nucleic acid, according lo the method of claim 55;
       infectious disease.
                                                                          and
          69. The method of claim 64, wherein the therapeutically
       effective amount of the particle is administered to the         exposing   the mammalian cell to the lipid-encapsulated
       mammalian subject by intravenous injection.                        therapeutic agent particle for a period of time sufficient
          70. The method of claim 69, wherein the therapeutically 10      for the therapeutic agent to enter the cell;
       effective amount of the particle is administered to the         wherein the therapeutic agent has a sequence complemen-
       mammalian subject by intravenous injection at an injection         tary to the disease-associated gene and reduces the
       site, and wherein the disease is localized at a disease site       production of the gene product of the disease-
       distal to the injection site.                                      associated gene in the cell.
          71. The method of claim 64, wherein the polyanionic 15
       nucleic acid comprises exclusively phosphodiester linkages.                          * * * * *




                                                                                                                        JA001561
                                                                                                               M RNA-G EN-0020327 4
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 219 of 1274 PageID #: 8525




                   JOINT APPENDIX 53
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 220 of 1274 PageID #: 8526
                                                                                  I 1111111111111111 11111 111111111111111 111111111111111 111111111111111 IIII IIII
                                                                                                               US007901708B2


     02)    United States Patent                                                           (10) Patent No.:                      US 7,901,708 B2
            MacLachlan et al.                                                              (45) Date of Patent:                              Mar.8,2011

     (54)   LIPOSOMALAPPARATUSAND                                                                    FOREIGN PATENT DOCUMENTS
            MANUFACTURING METHODS                                                      CA               2041075 Al            10/1991
                                                                                       CA               2427640 Al             5/2003
     (75)   Inventors: Ian MacLachlan, Vancouver (CA);                                 EP              0 055 576 A             7 /1982
                                                                                       EP              1 203 614 A             5/2002
                       Lloyd Brian .Jeffs, Delta (CA); Lorne
                                                                                       EP              1203614 Al              5/2002
                       R. Palmer, Vancouver (CA); Cory                                 EP              l 013 268 A             6/2002
                       Giesbrecht, Vancouver (CA); Noelle                              IE                 911350               4/1991
                       Giesbrecht, legal representative,                               WO          WO 89/07929 Al              9/ 1989
                                                                                       WO          WO 91 16039 A              10/1991
                       Vancouver (CA)                                                  WO          WO 91/16039 Al             10/1991
                                                                                       WO          WO 96/40964 A2             12/ 1996
     (73)   Assignee: Protiva Biotherapeutics, Inc., Burnaby,                          WO          WO00 29103 A                5/2000
                      B.C. (CA)                                                        WO          WO 01 05373 A               1/2001
                                                                                       WO          WO0243699 A                 6/2002
                                                                                       WO        WO 2004/002453 Al             1/2004
     ( *)   Notice:      Subject to any disclaimer, the term of this
                         patent is extended or adjusted under 35                                            OTHER PUBLICATIONS
                         U.S.C. 154(b) by 1094 days.                                   Szoka et al. "Comparative Properties and Methods of Preparation of
                                                                                       Lipid Vesicles (liposomes )," Ann. Rev. Biophys. Bioeng. 1980, 9, pp.
     (21)   Appl. No.: 10/611,274                                                      467-508.*
                                                                                       Batzri et al. "Single Bilayer Liposomes Prepared without Sonica-
     (22)   Filed:       .Jun. 30, 2003                                                tion," Biochimica et BiophysicaActs 1973, 298, pp. 1015-1019.*
                                                                                       Zelphati et al.''Stable and Monodisperse Lipoplex Formulations for
     (65)                   Prior Publication Data                                     Gene Delivery", Gene Therapy, 1998, 5, pp. 1272-1282.*
                                                                                       Paul et al. "Effective expression of small interfering RNA in human
            US 2004/0142025 Al             Jul. 22, 2004                               cells," Nature Biotechnology, May 2002, vol. 20, pp. 505-508.*
                                                                                       Maurer el al. "Spontaneous Entrapment of Polynucleotides upon
                      Related U.S. Application Data                                    Electrostatic Interaction with Ethanol-Destabilized Cationic
                                                                                       Liposomes," Biophysical Journal, May 2001, vol. 80, pp. 2310-
     (60)   Provisional application No. 60/392,887, filed on Jun.                      2326.*
            28, 2002.                                                                  "Drug Transport in Antimicrobial and Anticancer Chemotherapy." G.
                                                                                       Papadakou Ed .. CRC Press (1995).
                                                                                       \,\'heeler et al. "Stabilized plasmid-lipid particles: constrnction and
     (51)   Int. Cl.                                                                   characterization," Gene Ther., 1999, vol. 6, No. 2, pp. 271-281.
            A6JK 9/00                      (2006.01)                                   Semple et al. "Efficient encapsulation of antisense oligonucleotides
            A61K 91127                     (2006.01)                                   in lipid vesicles using ionizable arninolipids: formation of novel
                                                                                       small multilamellar vesicle structures," Biochim. Biophys. Acta,
            A61K 31152                     (2006.01)
                                                                                       2001, vol. 1510. No. 1-2, pp. 152-166.
            A61K 311519                    (2006.01)                                   MacLachlan; Liposomal Formulations for Nucleic Acid Delivery;
            C07H 19100                     (2006.01)                                   Antisense Drug Technologies, Second Edition; 2007; pp. 237-270.
            C07H 19106                     (2006.01)                                   Welter et al. "Simple Mixing Device to Reporducibly Prepare
            C07H 19116                     (2006.01)                                   Catonic Lipid-DNA Complexes (Lipoplexes)", Bio Techniques, Aug.
                                                                                       1999, vol. 27, pp. 286-290. lsele, Ute et al.: "Large-scale production
     (52)   U.S. Cl. .................... 424/450; 514/263.1; 514/264.1                of liposomes containing monomeric zinc phthalocyanine by con-
     (58)   Field of Classification Search .................. 424/417,                 trolled dilution of organic solvents"; J. Pharmaceutical Sciences, vol.
               424/420, 450, 9.321; 514/263.1, 264.1; 536/22.1,                        83, No. 11; pp. 1608-1616 (Nov. 1994).
                                                               536/23.1                VVagner et al. "The Crossflow Injection Technique: an Improvement
            See application file for complete search history.                          of the Ethanol Injection Method," Journal of Liposome Research,
                                                                                       Sep. 2002. vol. 12. No. 3, pp. 259-270.
     (56)                   References Cited                                           First Action Inverview Pilot Program Pre-Interview Communication
                                                                                       dated Aug. 27, 2010 issued in lJ.S. Appl. No. 11/495, 150, filed Jul.
                                                                                       27, 2006. (4 pages).
                      U.S. PATENT DOCUMENTS
          4,687,661 A        8/1987 Kikuchi et al.                                     * cited by examiner
          5,478,860 A       1211995 Wheeler et al.
          5,552,157 A *      9/1996 Yagi et al.                       . 424/450       Primary Examiner - James H Alstrum Acevedo
          5,653,996 A        8/ 1997Hsu                                               (74) Attorney, Agent, or Firm ····· Townsend and Townsend
          5,885,613 A        311999 Holland et al.
          5,976,567 A       11/1999 Wheeler et al.                                    and Crew LLP
          5,981,501 A       11/1999 ¥.'heeler et al.
          6,093,348 A *      7/2000 Kowalski et al.          ...... 252/363.5          (57)                         ABSTRACT
          6,835,395 Bl      1212004 Semple et al.
          6,843,942 B2       1/2005 Katinger et al.                                    The present invention provides apparatus and processes for
          7,341,738 B2 *     3/2008 Semple et al. ................ 424/450             producing liposomes. By providing a buffer solution in a first
          7,641,915 B2       1/2010 Chen et al.                                        reservoir, and a lipid solution in a second reservoir, continu-
      2003/0077829 Al        4/2003 MacLachlan                                         ously diluting the lipid solution with the buffer solution in a
      2003/0124033 Al        7/2003 Baker et al.
      2004/003 7874 Al       2/2004 Hong et al.
                                                                                       mixing chamber produces a liposome. The lipid solution pref-
      2006/0058249 Al        312006 Tong eta!.                                         erably comprises an organic solvent, such as a lower alkanol.
      2008/0200417 Al*       8/2008 Semple et al.                        514/44
      2009/0191259 Al*       7/2009 Li et al. ......................... 424/450                          22 Claims, 15 Drawing Sheets




                                                                                                                                                      JA001562
                                                                                                                                                       M RNA-G EN-00206938
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 221 of 1274 PageID #: 8527


     U.S. Patent                 Mar.8,2011                             Sheet 1 of 15                        US 7,901,708 B2

                                                                                                             /100




               110~                  lipid                            Nucleic Acid Synthesis       _..112

                                       J
               120          lipid Solubilization in
                                   alkanol
                                                              i      Nucleic Acid Dissolution in   _., 115
                                                                               Buffer




                     130               Mixing of Lipid & Plasma Solutions to
                                                 Form liposomes




                     140'--iL_______o_il,ut-io_n_ _ _ _ _ __

                                                           J
                     150                 Removal of Free Plasmid DNA
                                         (Charged Membrane Filtration)




                     160                      Sample Concentration
                                                 (Ultrafiltration)
                                                                              7
                           170                    Ethanol Removal
                                                   (Ultrafiltration)




                           180                  Buffer Replacement
                                                  (Ultrafiltration)




                                 190             Sterile Filtration




                                 195'--i              Sterile Fill
                                             --------




                                                      FIG. 1


                                                                                                                     JA001563
                                                                                                                      MRNA-GEN-00206939
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 222 of 1274 PageID #: 8528


     U.S. Patent          Mar. 8, 2011              Sheet 2 of 15             US 7,901,708 B2



                                             Mixing        Dilution
                                             Step           Step
                                                I
                                                I
                                                I

                             High        A      I              I




                         [Ethanol]
                                       Uplcl7
                                     Monomers   ~B        :-1
                                                I Meta-Stable
                                                               :



                                                I   SPLP
                                                : < 200 nm    ,,_....-   C
                                                I              I    Stab~
                             Low ,,             I                    SPLP
                                                                   < 200 nm




                                             FIG. 2

                                                                                      JA001564
                                                                                      MRNA-GEN-00206940
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 223 of 1274 PageID #: 8529


     U.S. Patent         Mar.8,2011         Sheet 3 of 15          US 7,901,708 B2




                                                     0
                                                     LO
                                                     ('f)



                                                                              (!)
        0                                                                     ~ ..J
        0                                                               Q. r- w
        ('f)                                                            ..J t) CJ)
                                                                        a. w Cl)
            ~
                                                                        Cl)   ..J w
                                                                              ..J
                                                                              0
                                                                                    >
                                                                              t)




                                    (.0
                                    C>"')
                                    C>"')




                                                            0
                                                            ..-
                                                            ('f)




                                                                                    JA001565
                                                                                   MRNA-GEN-00206941
                Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 224 of 1274 PageID #: 8530




                                                                                                                                                                    ~
                  HBS Buffer
                   Reagents
                     ~                                                                                                                      /
                                                                                                                                                 400               .rJJ
                                  410                                                                                                                               "'C
                                                                                                                                                                    ~
                                                                                                                                                                    !""I"-
                                                                                                                                                                    ~

                                                                                                                                                                   =!""I"-


              HBS Buffer Prep                                         420
                  Vessel
                                                  ► ,I          J
                                                                                                                                                                    ~
                                                 HBS Buffer Storage                                                                                                 ~
                                                       Tank                                                  Ultrafiltration                                        :"I
                                    Lipid
                                                                                                                                                                   ~r:,:;
                                                                                                                System
                                                                                                                                                                    N
                                                                                                     Collection Anion Exchange
                                                                                                      Vessel        Column
                                                                                                                                 100,000
                                                                                                                                  MWCO
                                                                                                                                                                    ........
                                                                                                                                                                    0


        421
                 Ethanol             Lipids
                                   Preperation                                         Incubation   ~                                                               r,J
                 Storage
                                                                                         Vessel
                  Tank                tank
                                                                                                                                           465                      =--
                                                                                                                                                                    et)
                                                                                                                                                                    et)
                                                                                                                                                                    ~




                                                                    430                                                                                470
                                                                                                                                                                    """
                                                                                                                                                                    0

                                                                                                                                                                    ,.,.....
                                                                                                                                                                    ~

                     Citrate·
                     Buffer                      Lipids Stock Storage
                    Reagents                             Tank
                      ,.,-!-:-,




                                                                                                              Rotary Lobe
                                  433                                                               Collection
                                                                                                                Pump

                                                                                                      Port                                                          e
                                                                                                                                                                    rJl_
              Citrate Bulfer Prep                                       440                             \480                                                        --..l
                     Vessel                                                                                                                                        \0
                                                 Citrate Bulfer Storage
                                                                                                                                                                   =
                                                          Tank                                                                                                     """'
                                                                                                                                                                   ~
s:
;:a                                                                                                                                                                =QC)
z
)>
G)
                                                                              FIG. 4
                                                                                                                                                                    =
                                                                                                                                                                    N
m
z
b
0
I\)
0
0)
co
.I>,.

                                                                                                                                                             JA001566
I\)
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 225 of 1274 PageID #: 8531


      U.S. Patent            Mar.8,2011       Sheet 5 of 15                  US 7,901,708 B2



                      100 - , - - - - - - - - - - - - - - - - - , 180
                      90                                                160

              -
              ~
              e....
                      80
                      70 ·
                                                                        140
              C:
               0
              ;:;
                                                                       . 120   e
              ffl     60                                                       C
              :i                                                        100 :'.'
                                                                               ,S
              8.
              ffl
              u
              C
                      50
                      40
                                                       -+-¾Encap
                                                       ---- Diameter
                                                                        80     e
                                                                               ffl
              w                                                         60     i5
              <
              :z
                      30
              0       20                                                40

                      10                                                20

                       0 -1-------,-----r---,------,-----r-----t- 0
                        70    75     80     85    90     95    100
                                       [Ethanol] {%}




                                          FIG. 5

                                                                                     JA001567
                                                                                     M RNA-G EN-00206943
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 226 of 1274 PageID #: 8532


     U.S. Patent              Mar. 8, 2011            Sheet 6 of 15           US 7,901,708 B2



                    100                                                       120

                    90
                                                                              100
                    80
              -
              ~
              e.... 70
                              ~ -



                                                                              80
              C:
              0
              +l
               ro
                    60                                                              e
                                                                                    .s
                                                                                    ,_
              "5
               U)
               C.
               cu
               u
                  50                                                          60
                                                                                    -
                                                                                    (1)
                                                                                    Cl)

                                                                                    E
               C:
              UJ
                    40             -+-~ %Encap                                      !ti
                                                                                    i5
              c(                   ---111- Diameter                           40
              z 30
              C
                    20
                                                                              20
                    10

                     0                                                        0
                          2   3        4         5          6         7   8
                                                pH




                                           FIG. 6

                                                                                          JA001568
                                                                                          MRNA-GEN-00206944
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 227 of 1274 PageID #: 8533


      U.S. Patent                 Mar.8,2011        Sheet 7 of 15           US 7,901,708 B2



                        100
                        90

                        80

                 C:     70
                  0
                 .::;
                 (ti    60
                 :i
                 II)
                 n.     50
                 C'CI
                 0
                 C:
                 w      40
                 ~
                 "      30
                        20
                        10

                         0
                              4       5        6        7           8   9       10
                                                       pH




                                                   FIG. 7

                                                                                     JA001569
                                                                                     M RNA-G EN-00206945
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 228 of 1274 PageID #: 8534


     U.S. Patent                    Mar.8,2011         Sheet 8 of 15             US 7,901,708 B2



                          100
                          90
                          80
                 -
                 ~
                 e..,..   70
                  C:      60
                  0
                 ;;
                  11:1
                 :i       50
                 UI
                 Q.
                  ta      40 ·
                  CJ
                 C:
                 w        30
                 <(
                 z        20
                 C
                          10
                           0
                                0      100       200      300        400   500
                                             [NaCl] after dilution (mM)




                                                   FIG. 8

                                                                                         JA001570
                                                                                         M RNA-G EN-00206946
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 229 of 1274 PageID #: 8535


     U.S. Patent                Mar.8,2011             Sheet 9 of 15                  US 7,901,708 B2


             EPC/Chol (55/45)                 EPC/Chol (55/45)                EPC/Chol (55/45)
              In 80 % Ethanol                  In 80 % Ethanol                · In 80 % Ethanol


                    +                                +
                                               150 mM Citrate
                                                    pH4
         I

                                    Mix and dilute using the Upomixer




                                                   94mM
                                                   Citrate
                                                     pH4


                                 LUV




                    Concentrate and Diafiltrate against PBS to replace external buffer with PBS




                                                FIG. 9A


                                                                                                  JA001571
                                                                                                  MRNA-G EN-0020694 7
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 230 of 1274 PageID #: 8536


      U.S. Patent                              Mar. 8, 2011           Sheet 10 of 15                 US 7,901,708 B2




                                                                        for 30 min at 37° C




                A_···~             ~':
           u .. a n
          ---     .   ;   ;--,       -.




                                 Pass down a size exclusion column to remove free safranine



                                                                             Free Safranine

                                    Size exclusion gel


                                                                                 LUV's




                                          DDDDDDD
                                                                                 Collect fractions of the column




                                                   FIG. 9B




                                                                                                                   JA001572
                                                                                                                   MRNA-GEN-00206948
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 231 of 1274 PageID #: 8537


     U.S. Patent               Mar. 8, 2011         Sheet 11 of 15                  US 7,901,708 B2




                         Dye: lipid Ratio for Safranine Loaded EPC/Chol LUV's

                  0.02 ~ - - - - - - - - - - - - - - - - - - - - -

                 0.018

                 0.016

                 0.014
            Cl
            ~ 0.012
            Cl
           g                                                                               liilmg: mg
           -c 0.01 -
           ·a.                                                                             □ mol: mol
           :J
            iii 0.008
            :,..
           Cl

                 0.006

                 0.004

                 0.002

                    0
                          PBS, pH 7.4     94 mM Citrate, pH 4.0   188 mM Citrate, pH 4.0




                                              FIG. 10




                                                                                                   JA001573
                                                                                                   MRNA-GEN-00206949
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 232 of 1274 PageID #: 8538


     U.S. Patent               Mar.8,2011                 Sheet 12 of 15                  US 7,901,708 B2



              DSPC:CHOL:PEG-
           DLG:DODMA (20:55:10:15)                  MIX
               In 15 % Ethanol
                                                      +




                                      Oialyze overnight against
                                      HBS .;it pH 7.4 to remove
                                      ethanol and replace free
                                          calcein with HBS .




                                                            .-----------
                 Pass down a size exclusion column to remove remaining free calcein


                                                                           Free Calcein

                          Size exclusion gel


                                                                            Vesicles



                                                  l
                     Collect the lipid fraction and measure the fluorescence with and
                                               without triton


         rF before Triton= 0.4 & rF after Triton= 4.0

             Therefore, calcein is: (1) encapsulated within the vesicle
               (2) self quenching at the current concentration
                                                FIG. 11



                                                                                                   JA001574
                                                                                                   M RNA-G EN-00206950
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 233 of 1274 PageID #: 8539


     U.S. Patent          Mar.8,2011                         Sheet 13 of 15   US 7,901,708 B2




                          High


                                  ....... , ••'""
                      [Ethanol]          ...•..



                         Low
                                  -
                                          .:.•••..
                                      -:- -          ;: .. ii;-\   •


                                           ..
                                          LipoMixer
                                           Ethanol drop
                                           DNA encapsulation zone




                                         FIG. 12


                                                                                       JA001575
                                                                                       M RNA-G EN-00206951
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 234 of 1274 PageID #: 8540


     U.S. Patent             Mar.8,2011       Sheet 14 of 15            US 7,901,708 B2




                                              -
                                              E
                                                               -·-
                                              -
                                              0
                                                                t:
                                                                E
                                                               _.
                                                               -...
                                                               .._...
                                                               .....,
                                                                (1)

                                                               co
                                                               0::
                                                                ==
                                                               .....
                                                                0
                                                               LL
                                                                (1)

                                                                E
                                                               -::s
                                                                0
                                                               >
                                                                II
             Cl)
             (..)

             E
             ro
             C:
                           !       -11111-►
                                                               a
                                                                        c..
                                                                        ....J
                                                                        c..
                           t
             >i
            C                                                           tn
             ~
             0
            lL


             -
             I,,,,
             0
             (..)
             Q)
             C:
             C:
            ·o
            0I
            1-
            lif,,,,
                                                                                 ....
                                                                                 ff')




                            t-
             0
             E
             ro
             t...
             C')
             ro
             C        -c 0
                      ...... C:
                       C..al
                      ...... .s::::..
                      ....J +'
                               w

                                                                                 JA001576
                                                                                 M RNA-G EN-00206952
                   Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 235 of 1274 PageID #: 8541




                                                                                                                                        ~
       Conditions and Properties for SPLP and Liposome Formation
                                                                                                                                       .rJJ
                                                                                                                                        "'C
                                                                                                                                        ~
                                                                                                                                        !""I"-
       Note: all samples prepared at 37°C                                                                                               ~


                     Sample                    Q
                                            Flow rate
                                                            Q.
                                                        Orifice ID
                                                                     Vesicle
                                                                      Size
                                                                                 Size
                                                                               Std Dev
                                                                                                Linear
                                                                                               Velocity
                                                                                                          Shear
                                                                                                          Rate
                                                                                                                   Reynolds   N/dN/d
                                                                                                                                       =!""I"-
                                                                                         X,2
                    Description                                                                            (s-1)    number
                                             (Umin)       (cm)        (nm)      (nm)            (mis)
                         SPLP
            Chol:DSPC:DODMA:PEG-DSG          0.078        0.16         108       36      0.6     0.65     3233       496                ~
                                                                                                                                        ~
               (55:20:15:10 mol ratio)                                                                                                  :"I
                         SPLP                                                                                                          ~r:,:;

            Chol: DSPC: DODMA:PEG-DSG        0.275        0.32         112       43      0.5     0.57     1430       878                N
                                                                                                                                        0
               (55:20:15:10 mol ratio)                                                                                                  .....
                                                                                                                                        .....
                      Liposomes
            Chol:DSPC:DODMA:PEG-DSG            0.1        0.32         127       43      1.8     0.21      518       318
               (55:20:15:10 mol ratio)                                                                                                  r,J
                      Liposomes                                                                                                         =--
                                                                                                                                        et)
                                                                                                                                        et)
            Chol: DSPC: DODMA:PEG-DSG          0.4        0.32         112       14      0.3     0.83     2072       1272               ~

                                                                                                                                        .....
               (55:20:15:10 mol ratio)                                                                                                  (.II
                                                                                                                                        0
                      Liposomes                                                                                                         ~

                      EPC:CHOL               0.275        0.32         125       N/d     n/d     0.57     1430       887                .....
                                                                                                                                        (.II

                   (55:45 mol ratio}
                      Uposomes
                      EPC:CHOL                0.078        0.16        90        33      2.7     0.65     3233       503
                   (55:45 mol ratio)
                       PEI-SPLP
             Chol: DSPC: POPG :PEG-DSG        0.078        0.16        108       N/d     N/d     0.65     3233       503                e
                                                                                                                                        rJl_
                (50:20:20:10 mol ratio)                                                                                                 --..l
                                                                                                                                       \0
        N/d  Not Determined.                                                                                                           =
       FIGURE 14                                                                                                                       """'
                                                                                                                                       ~
s:
;:a                                                                                                                                    =QC)
z
)>
G)                                                                                                                                      =
                                                                                                                                        N
m
z
b
0
I\)
0
0)
co
0,

                                                                                                                              JA001577
(,.)
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 236 of 1274 PageID #: 8542


                                                           US 7,901,708 B2
                                    1                                                                    2
                 LIPOSOMAL APPARATUS AND                                  ticular lipid vesicles encapsulating a therapeutic agent such as
                 MANUFACTURING METHODS                                    nucleic acid. The present invention fulfills these aud other
                                                                          needs.
               CROSS-REFERENCES TO RELATED
                                                                                  BRIEF SUMMARY OF THE INVENTION
                       APPLICATIONS
                                                                             The present invention provides processes and apparatus for
        This application is a non-provisional application of, and         making lipid vesicles that optionally contain a therapeutic
     claims priority to, U.S. Provisional Application Ser. No.            agent. The therapeutic agent can include, for example, a pro-
     60/392,887, filed Jun. 28, 2002, which is hereby incorporated        tein, a nucleic acid, an antisense nucleic acid, a drug, or the
                                                                       10
     by reference in its entirety.                                        like. The present invention can be used to form lipid vesicles
                                                                          that contain encapsulated plasmid DNA or small molecule
                BACKGROUND OF THE INVENTION                               drugs. In one aspect, the lipid vesicles are prepared rapidly at
                                                                          low pressure and the approach is fully scalable. In certain
        Mauy systems for administering active substances into             preferred embodiments, the process does not involve a static
     cells are already known, such as liposomes, nanoparticles, 15 mixer or specialized extrusion equipment.
                                                                             As such, in one embodiment, the present invention pro-
     polymer particles, immuno- and ligand-complexes aud cyclo-
                                                                          vides a process for producing a liposome. The process typi-
     dextrins (see, Drug Transport in antimicrobial and anticancer        cally includes providing an aqueous solution in a first reser-
     chemotherapy. G. Papadakou Ed., CRC Press, 1995). Lipo-              voir, the first reservoir in fluid communication with au orgauic
     somes are typically prepared in the laboratory by sonication, 20 lipid solution in a second reservoir, and mixing the aqueous
     detergent dialysis, ethanol injection or dilution, French press      solution with the organic lipid solution, wherein the organic
     extrusion, ether infusion, aud reverse phase evaporation.            lipid solution undergoes a continuous stepwise dilution lo
     Liposomes with multiple bilayers are known as multilamellar          produce a liposome.
     lipid vesicles (MLV s). MLV s are candidates for time release           In certain aspects, the aqueous solution such as a buffer,
     drugs because the fluids entrapped between layers are only 25 comprises a therapeutic product, such that the therapeutic
     released as each membraue degrades. Liposomes with a                 product is encapsulated in the liposome. Suitable therapeutic
     single bilayer are known as unilamellar lipid vesicles (UV).         products include, but are not limited to, a protein, a nucleic
                                                                          acid, au antisense nucleic acid, a ribozyme, tRNA, snRNA,
     UVs may be made small (SUVs) or large (LUVs).
                                                                          siRNA (small interfering RNA), pre-condensed DNA, and an
        Some of the methods above for liposome production
                                                                          antigen. In certain preferred aspects, the therapeutic product
     impose harsh or extreme conditions which can result in the 30 is nucleic acid.
     denaturation of the phospholipid raw material aud encapsu-              In another embodiment, the present invention provides a
     lated drugs. In addition, these methods are not readily scal-        process for producing a liposome encapsulating a therapeutic
     able for mass production of large volumes of liposomes.              product. The process typically includes providing au aqueous
     Further, lipid vesicle formation by conventional ethanol dilu-       solution in a first reservoir, aud providing an organic lipid
     tion, involves the injection or dropwise addition oflipid in an 35 solution in a second reservoir, wherein one of the aqueous
     aqueous buffer. The resulting vesicles are typically heterog-        solution and the organic lipid solution includes a therapeutic
     enous in size and contain a mixture ofunilamellar and mul-           product. The process also typically includes mixing the aque-
     tilamellar vesicles.                                                 ous solution with the organic lipid solution, wherein the
        Conventional liposomes are formulated to carry therapeu-          organic lipid solution mixes with the aqueous solution so as to
     tic agents either contained within the aqueous interior space 40 substautially instautaneously produce a liposome encapsulat-
     (water-soluble drugs) or partitioned into the lipid bilayer(s)       ing the therapeutic product. In certain aspects, the therapeutic
     (water-insoluble drugs). Active agents which have short half-        product is a nucleic acid included in the aqueous solution. In
     lives in the bloodstream are particularly suited to delivery via     certain aspects, the therapeutic product is lipophilic and is
     liposomes. Many anti-neoplastic agents, for example, are             included in the organic lipid solution. In certain aspects, the
     known to have a short half-life in the bloodstream such that 45 initial therapeutic product encapsulation efllciency is as high
     their parenteral use is not feasible. However, the use of lipo-      as about 90%.
     somes for site-specific delivery of active agents via the blood-        In still yet another embodiment, the present invention pro-
     stream is severely limited by the rapid clearauce ofliposomes        vides apparatus for producing a liposome encapsulating a
     from the blood by cells of the reticuloendothelial system            therapeutic product. The apparatus typically includes a first
     (RES).                                                            50 reservoir for holding an aqueous solution, aud a second res-
        U.S. Pat. No. 5,478,860, which issued to Wheeler et al., on       ervoir for holding an orgauic lipid solution, wherein one of
     Dec. 26, 1995, and which is incorporated herein by reference,        the aqueous solution and the organic lipid solution includes a
     discloses microemulsion compositions fix the delivery of             therapeutic product. the apparatus also typically includes a
     hydrophobic compmmds. Such compositions have a variety               pump mechauism configured to pump the aqueous aud the
     of uses. In one embodiment, the hydrophobic compounds are 55 organic lipid solutions into a mixing region at substantially
     therapeutic agents including drugs. The patent also discloses        equal flow rates. In operation, the orgauic lipid solution mixes
     methods for in vitro and in vivo delivery of hydrophobic             with the aqueous solution in the mixing region to substan-
     compounds to cells.                                                  tially instantaneously form a therapeutic product encapsu-
        PCT Publication WO0l/05373 to Knopov, et al., which is            lated liposome.
     incorporated by reference herein, discloses techniques for 60           These and other aspects will be more apparent when read
     preparing lipid vesicles using an ethanol injection-type pro-        with the accompauying drawings aud detailed descriptions
     cess with a static mixer that provides a turbulent envirolllllent    that follow.
     (e.g., Reynolds numbers>2000). Therapeutic agents may
     then be loaded after vesicle formation                                       BRIEF DESCRIPTION OF THE DRAWINGS
        Despite the apparent advances of U.S. Pat. No. 5,478,860 65
     and WO05373, there exists a need for processes and appara-              FIG. 1 provides a flow diagram for a manufacturing pro-
     tus for fommlating and producing lipid vesicles, aud in par-         cess according to one embodiment of the present invention.



                                                                                                                              JA001578
                                                                                                                               M RNA-G EN-00206954
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 237 of 1274 PageID #: 8543


                                                           US 7,901,708 B2
                                    3                                                                   4
        FIG. 2 provides a schematic of a process of making lipo-        bone of native nucleic acids. In addition, DNA and RNA may
     somes in one embodiment of the present invention.                  be single, double, triple, or quadruple stranded.
        FIG. 3 provides a schematic of an apparatus according to           The term "gene" refers to a nucleic acid (e.g., DNA)
     one embodiment of the present invention.                           sequence that comprises coding sequences necessary for the
        FIG. 4 provides a schematic of an apparatus having an 5 production of a polypeptide or precursor (e.g., herpes simplex
     ultrafiltration system according to one embodiment of the          virus). The polypeptide can be encoded by a full length cod-
     present invention.                                                 ing sequence or by any portion of the coding sequence so long
        FIG. 5 shows the effect of varying the ethanol concentra-       as the desired activity or functional properties (e.g., enzy-
                                                                        matic activity, ligand binding, signal transduction, and the
     tion of the initial lipid solution on SPLP mean diameter and
                                                                     10 like) of the full-length or fragment are retained.
     DNA encapsulation. DNA encapsulation efficiency and
                                                                           As used herein, the term "aqueous solution" refers to a
     vesicle sizes determined after the dilution step.
                                                                        composition comprising in whole, or in part, water.
        FIG. 6 shows the effect of varying pH of the initial plasmid
                                                                           As used herein, the term "organic lipid solution" refers to a
     solution on SPLP mean diameter and DNA encapsulation.              composition comprising in whole, or in part, an organic sol-
     DNA encapsulation efficiency and vesicle sizes were deter- 15 vent having a lipid.
     mined after the dilution step.                                        The term "lipid" refers to a group of organic compounds
        FIG. 7 shows the effect of varying pH of the bufferused for     that are esters of fatty acids and are characterized by being
     the dilution step on pDNA encapsulation efficiency.                insoluble in water but soluble in many organic solvents. They
        FIG. 8 shows the effect of varying the salt concentration of    are usually divided in at least three classes: (1) "simple lipids"
     the bufier used for the dilution step on pDNA encapsulation 20 which include fats and oils as well as waxes; (2) "compound
     efficiency.                                                        lipids" which include phospholipids and glycolipids; (3)
        FIG. 9A-B shows a schematic process of making lipo-             "derived lipids" such as steroids.
     somes of the present invention.                                       The term "amphipathic lipid" refers, in part, to any suitable
        FIG. 10 shows encapsulation of safranine in certain lipo-       material wherein the hydrophobic portion of the lipid mate-
     somes of the present invention.                                 25 rial orients into a hydrophobic phase, while a hydrophilic
        FIG. 11 shows a schematic process of making liposomes of        portion orients toward the aqueous phase. Amphipathic lipids
     the present invention.                                             are usually the major component of a lipid vesicle. Hydro-
        FIG. 12 illustrates a comparison between one embodiment         philic characteristics derive from the presence of polar or
     of the present invention and an ethanol drop method for            charged groups such as carbohydrates, phosphate, carboxy-
     encapsulating pDNA.                                             30 lie, sulfato, amino, sulfhydryl, nitro, hydroxy and other like
        FIG.13 shows a T-com1ector and associated flow dynamics         groups. Hydrophobicity can be conferred by the inclusion of
     according to one embodiment.                                       apolar groups that include, but are not limited to, long chain
        FIG. 14 shows various parameters associated with flow in        saturated and unsaturated aliphatic hydrocarbon groups and
     the T-connector of FIG. 13.                                        such groups substituted by one or more aromatic,
                                                                     35 cycloaliphatic or heterocyclic group(s). Examples of amphi-
          DETAILED DESCRIPTION OF THE INVENTION                         pathic compounds include, but are not limited to, phospho-
                  AND PREFERRED EMBODIMENTS                             lipids, aminolipids and sphingolipids. Representative
                                                                        examples of phospholipids include, but are not limited to,
                                I. Definitions                          phosphatidylcholine, phosphatidylethanolamine, phosphati-
                                                                     40 dylserine, phosphatidylinositol, phosphatidic acid, palmitoy-
        The term "nucleic acid" refers to a polymer containing at       loleoyl phosphatidylcholine, lysophosphatidylcholine, lyso-
     least two nucleotides. "Nucleotides" contain a sugar deoxyri-      phosphatidylethanolamine, dipalmitoylphosphatidylcholine,
     bose (DNA) or ribose (RNA), a base, and a phosphate group.         dioleoylphosphatidylcholine, distearoylphosphatidylcholine
     Nucleotides are linked together through the phosphate              or dilinoleoylphosphatidylcholine. Other compounds lacking
     groups. "Bases" include purines and pyrimidines, which fur- 45 in phosphorus, such as sphingolipid, glycosphingolipid fami-
     ther include natural compounds adenine, thymine, guanine,          lies, diacylglycerols and B-acyloxyacids, are also within the
     cytosine, uracil, inosine, and natural analogs, and synthetic      group designated as an1phipathic lipids. Additionally, the
     derivatives of purines and pyrimidines, which include, but are     amphipathic lipid described above can be mixed with other
     not limited to, modifications which place new reactive groups      lipids including triglycerides and sterols.
     such as, but not limited to, amines, alcohols, thiols, carboxy- so    The tenn "anionic lipid" refers to any lipid that is nega-
     lates, and alkylhalides.                                           tively charged at physiological pH. These lipids include, but
        DNA may be in the fom1 of anti sense, plasmid DNA, parts        are not limited to, phosphatidylglyceroL cardiolipin, dia-
     of a plasmid DNA, pre-condensed DNA, product of a poly-            cylphosphatidylserine, diacylphosphatidic acid, N-dode-
     merase chain reaction (PCR), vectors (Pl, PAC, BAC, YAC,           canoyl phosphatidylethanolamines, N-succinyl phosphati-
     artificial chromosomes), expression cassettes, chimeric 55 dylethanolamines, N-glutarylphosphatidylethanolan1ines,
     sequences, chromosomal DNA, or derivatives of these                lysylphosphatidylglycerols, and other anionic modifying
     groups. RNA may be in the fonn of oligonucleotide RNA,             groups joined to neutral lipids.
     tRNA (transfer RNA), snRNA (small nuclear RNA), rRNA                  The term "cationic lipid" refers to any of a number of lipid
     (ribosomal RNA), mRNA (messenger RNA), antisense RNA,              species which carry a net positive charge at a selective pl--!,
     siRNA (small interfering RNA), ribozymes, chimeric 60 such as physiological pH. Such lipids include, but are not
     sequences, or derivatives of these groups.                         limited to, N,N-dioleyl-N,N-dimethylammonium chloride
        '~-\ntisense" is a polynucleotide that interferes with the      ("DODA.C'); N-(2,3-dioleyloxy)propyl)-N,N,N-trimethy-
     function of DNA and/or RNA. This may result in suppression         lammonium chloride ("DOTMA"); N,N-distearyl-N,N-dim-
     of expression. Natural nucleic acids have a phosphate back-        ethylanimonium bromide ("DDAB"); N-(2,3-dioleoyloxy)
     bone, artificial nucleic acids may contain other types of back- 65 propyl)-N,N,N-trimethylannnonium chloride ("DOTAP");
     bones and bases. These include PNAs (peptide nucleic acids).       3-(N-(N', N'-dimethylaminoethane )carbamoy1)cholesterol
     phosphothionates, and other variants of the phosphate back-        ("DC-Chol") and N-(l ,2-dimyristyloxyprop-3-yl )-N ,N-dim-



                                                                                                                              JA001579
                                                                                                                               M RNA-G EN-00206955
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 238 of 1274 PageID #: 8544


                                                          US 7,901,708 B2
                                   5                                                                    6
     ethyl-N-hydroxyethyl ammonium bromide ("DMRIE").                   ma! formulation 130. In preferred aspects of the present
     Additionally, a number of commercial preparations of cat-          invention, the therapeutic agent is "passively entrapped" in
     ionic lipids are available which can be used in the present        the liposome substantially coincident with formation of the
     invention. These include, for example, LIPOFECTIN@                 liposome. However, those of skill in the art will realize that
     (commercially available cationic liposomes comprising 5 the processes and apparatus of the present invention are
     DOTMA         and      1,2-dioleoyl-sn-3-phosphoethanolamine       equally applicable to active entrapment or loading of the
     ("DOPE"), from GIBCO/BRL, Grand Island, N.Y., USA);                liposomes after formation of the vesicle.
     LIPOFECTAMINE@ (commercially available cationic lipo-                 According to the processes and apparatus of the present
     somes comprising N-(1-(2,3-dioleyloxy )propyl)-N-(2-(sper-         invention, the action of continuously introducing lipid and
     minecarboxamido )ethyl)-N,N-dimethylammoniU111 trifluo- 10 buffer solutions into a mixing environment, such as in a
     roacetate ("DOSPA") and ("DOPE"), from GIBCO/BRL);                 mixing chamber, causes a continuous dilution of the lipid
     and TRANSFECTAM@ (commercially available cationic                  solution with the buffer solution, thereby producing a lipo-
     lipids comprising diocladecylamidoglycyl carboxyspermine           some substantially instantaneously upon mixing. As used
     ("DOGS") in ethanol from Promega Corp., Madison, Wis.,             herein, the phrase "continuously diluting a lipid solution with
     USA). The following lipids are cationic and have a positive 15 a buffer solution" (and variations) generally means that the
     charge at below physiological pH: DODAP, DODMA,                    lipid solution is diluted sufficiently rapidly in an hydration
     DMDMA and the like.                                                process with sufficient force to effectuate vesicle generation.
        "Lipid vesicle" refers to any lipid composition that can be     By mixing the aqueous solution with the organic lipid solu-
     used to deliver a compound including, but not limited to,          tion, the organic lipid solution undergoes a continuous step-
     liposomes, wherein an aqueous volume is encapsulated by an 20 wise dilution in the presence of the buffer (aqueous) solution
     amphipalhic lipid bilayer; or wherein the lipids coal an inte-     to produce a liposome.
     rior comprising a large molecular component, such as a plas-          In the processes of the present invention, the organic lipid
     mid, with a reduced aqueous interior; or lipid aggregates or       solution preferably includes an organic solvent, such as a
     micelles, wherein the encapsulated component is contained          lower alkanol. In one aspect, the liposomes are then diluted
     within a relatively disordered lipid mixture.                   25 140 with a buffer (e.g., citrate) to increase nucleic acid (e.g.,
        As used herein, "lipid encapsulated" can refer to a lipid       plasmid) entrapment. Before sample concentration 160, free
     formulation which provides a compound with full encapsu-           therapeutic agent (e.g., nucleic acid) is removed by using, for
     lation, partial encapsulation, or both.                            example, an anion exchange cartridge 150. Further, by using
        As used herein, the tem1 "SPLP" refers to a stable plasmid      an ultra filtration step 170 to remove the alkanol, the sample is
     lipid particle. A SPLP represents a vesicle oflipids coating an 30 concentrated (e.g., to about 0.9 mg/mL plasmid DNA), the
     interior comprising a nucleic acid such as a plasmid with a        alkanol is removed, and the butler is replaced with a substi-
     reduced aqueous interior.                                          tute buffer (e.g., with a saline buffer) 180. Thereafter, the
                                                                        sample is filtered 190 and filled in vials 195. The process will
                                 II. General                            now be discussed in more detail herein below using the steps
                                                                     35 as set forth in FIG. 1.
        The present invention provides processes and apparatus for         1. Lipid Solubilization and Therapeutic Agent Dissolution
     making lipid vesicles. The processes can be used to make              In one embodiment, the liposome vesicles of the present
     lipid vesicles possessing a wide range of lipid components         processes are stable plasmid lipid particle (i.e., SPLP) formu-
     including, but not limited lo, cationic lipids, anionic lipids,    lations. Those of skill in the art will appreciate that the fol-
     neutral lipids, polyethylene glycol (PEG) lipids, hydrophilic 40 lowing description is for illustration purposes only. The pro-
     polymer lipids, fusogenic lipids and sterols. Hydrophobic          cesses of the present invention are applicable to a wide range
     actives can be incorporated into the organic solvent (e.g.,        of lipid vesicle types and sizes. These lipid vesicles include,
     ethanol) with the lipid, and nucleic acid and hydrophilic          but are not limited to, single bilayer lipid vesicles known as
     actives can be added to an aqueous component. In certain           unilamellar lipid vesicles which can be made small (SUV s) or
     aspects, the processes of the present invention can be used in 45 large (LUV s), as well as multilamellar lipid vesicles (MLVs ).
     preparing microemulsions where a lipid monolayer sur-              Further vesicles include, micelles, lipid-nucleic acid par-
     rounds an oil-based core. In certain preferred aspects, the        ticles, virosomes, and the like. Those of skill in the art will
     processes and apparatus are used in preparing lipid vesicles,      know of other lipid vesicles for which the processes and
     or liposomes, wherein a therapeutic agent is encapsulated          apparatus of the present invention will be suitable.
     within a liposome coincident with liposome formation.           50    The preferred size for liposomes made in accordance with
                                                                        the present processes and apparatus are between about
                         III. Processes of Making                       50-550 nm in diameter. In certain preferred aspects, the lipo-
                                                                        some preparation has a size distribution in which the mean
        FIG. 1 is an example of a representative flow chart 100 of      size (e.g., diameter) is about 70 nm to about 300 nm, and more
     a method of the present invention. This flow chart is merely an 55 preferably the mean size is less than about 200 nm, such as
     illustration and should not limit the scope of the claims          about 150 nm or less (e.g., about 100 nm).
     herein. One of ordinary skill in the art will recognize other         In certain aspects, the liposome fomrnlation (e.g., SPLP
     variations, modifications, and alternatives.                       formulation) of the present invention includes four lipid com-
        In one aspect, the present method provides a lipid solution     ponents: a phospholipid; cholesterol; a PEG-lipid; and a cat-
     110 such as a clinical grade lipid synthesized under Good 60 ionic lipid. In one preferred aspect, the phospholipid is DSPC,
     Manufacturing Practice (GMP), which is thereafter solubi-          the PEG-lipid is PEG-DSG and the cationic lipid is DOD MA.
     lized in an organic solution 120 (e.g., ethanol). Similarly, a     In one preferred aspect, the molar composition is about 20:45:
     therapeutic product, e.g., a therapeutic active agent such as      10:25 DSPC:Chol:PEG-DSG:DODMA. In certain embodi-
     nucleic acid 112 or other agent, is prepared under GMP.            ments, the organic solvent concentration wherein the lipids
     Thereafter, a therapeutic agent solution (e.g., plasmid DNA) 65 are solubilized is about 45% v/v to about 90% v/v. In certain
     115 containing a buffer (e.g., citrate) is mixed with a lipid      preferred aspects, the organic solvent is a lower alkanol.
     solution 120 solubilized in a lower alkanol to form a liposo-      Suitable lower alkanols include, but are not limited to, metha-



                                                                                                                             JA001580
                                                                                                                              M RNA-G EN-00206956
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 239 of 1274 PageID #: 8545


                                                           US 7,901,708 B2
                                    7                                                                    8
     no!, ethanol, propanol, butanol, pentanol, their isomers and         scaleable. In one aspect, lipid vesicles are formed having a
     combinations thereof. !none embodiment, the solvent is pref-         mean diameter of less than about 200 nm, which do not
     erably ethanol with a volume of about 50-90'¼, v/v. Prefer-          require further size reduction by high-energy processes such
     ably, the lipids occupy a volume of about 1 mL/g to about 5          as membrane extrusion, sonication or microfluidization.
     mL/g.                                                                   In one embodiment, lipid vesicles form when lipids dis-
        The lipids are solubilized 120 using for example, an over-        solved in an organic solvent (e.g., ethanol) are diluted in a
     head stirrer at a suitable tempera lure. In one aspect, the total    stepwise manner by mixing with an aqueous solution (e.g.,
     lipid concentration of the solution is about 15.1 mg/mL (20          buffer). This controlled stepwise dilution is achieved by mix-
     mM). In certain preferred aspects, the therapeutic agent (e.g.,      ing the aqueous and lipid strean1s together in an aperture, such
     nucleic acid) is included in an aqueous solution (e.g., buffer) 10 as a T-connector. The resultant lipid, solvent and solute con-
     and is diluted to a final concentration. In one preferred aspect     centrations can be kept constant throughout the vesicle for-
     for example, the final concentration is about 0.9 mg/mL in           mation process.
     citrate buffer, with a pH of about 4.0. In this instance, the           One embodiment of the inventive process is shown in FIG.
     volume of the plasmid solution is the same as the alkanol-           2. In one aspect, using the processes of the present invention,
     lipid solution. In one embodiment, the preparation of the 15 a vesicle is prepared by a two-stage step-wise dilution without
     therapeutic agent (e.g., nucleic acid) solution is performed in      gradients. For example. in the first stepwise dilution, vesicles
     a jacketed stainless steel vessel with an overhead mixer. The        are formed in a high alkanol (e.g .. ethanol) environn1ent (e.g.,
     sample does not need to be heated to be prepared, although in        about 30'¼, to about 50% v/v ethanol). These vesicles can then
     certain instances it is at the same temperature as the lipid         be stabilized by lowering the alkanol (e.g., ethanol) concen-
     solution prior to lipid vesicle formation.                        20 tration to less than or equal to about 25% v/v, such as about
        In one embodiment, the therapeutic agent is included in the       17% v/v to about 25% v/v, in a stepwise manner. In preferred
     lipid solution. In certain preferred aspects, the therapeutic        aspects, with therapeutic agent present in the aqueous solu-
     agent in the lipid solution is lipophilic. Suitable lipophilic       tion, or in the lipid solution, the therapeutic agent is encap-
     agents include taxoL taxol derivatives, including. for               sulated coincident with liposome formation.
     example, protax III and paclitaxol, lipophilic benzoporphy- 25          As shown in FIG. 2, in one embodiment, lipids are initially
     rins, verteporfin the lipid prodrug of foscamet, 1-O-octade-         dissolved in an alkanol environment of about 40% v/v to
     cyl-sn-glycerol-3-phosphonoformate (ODG-PFA), dioleoyl               about 90% v/v, more preferably about 65% v/v to about 90%
     [3H]iododeoxyuridine ([3H]IDU-O12), lipid derivatized                v/v, and most preferably about 80% v/v to about 90% v/v (A).
     HIV protease inhibitory peptides such as iBOC-[L-Phe]-[D-            Next, the lipid solution is diluted stepwise by mixing with an
     beta-Nal]-Pip-[alpha-(OH)-Leu]-Val (7194) and other lipid 30 aqueous solution resulting in the formation of vesicles at an
     derivatized drugs or prodmgs.                                        alkanol (e.g., ethanol) concentration of between about 37.5-
        2. Liposome Formation                                             50'¼, (B). By mixing the aqueous solution with the organic
        After the solutions, e.g., lipid solution 120 and aqueous         lipid solution, the organic lipid solution undergoes a continu-
     therapeutic agent (e.g., nucleic acid) solution 115, have been       ous stepwise dilution to produce a liposome. Further, lipid
     prepared, they are mixed together 130 using, for example, a 35 vesicles such as SPLPs (a lipid-particle) can be further stabi-
     peristaltic pump mixer. In one aspect, the solutions are             lized by an additional stepwise dilution of the vesicles to an
     pumped at substantially equal flow rates into a mixing envi-         alkanol concentration of less than or equal to about 25%,
     ronment. In certain aspects, the mixing environment includes         preferably between about 19-25% (C).
     a "T"-connector or mixing chamber. In this instance, it is              In certain aspects. for both stepwise dilutions (A----'>B and
     preferred that the fluid lines, and hence fluid flows, meet in a 40 B-C), the resulting ethanol, lipid and solute concentrations
     narrow aperture within the "T' -connector as opposing flows          are kept at constant levels in the receiving vessel. At these
     at approximately 180° relative to each other. Other relative         higher ethanol concentrations following the initial mixing
     introduction angles may be used, such as for example                 step, the rearrangement of lipid monomers into bilayers pro-
     between 27° and 90° and between 90° and 180°. Upon meet-             ceeds in a more orderly fashion compared lo vesicles that are
     ing and mixing of the solution flows in the mixing environ- 45 formed by dilution at lower ethanol concentrations. Without
     ment, lipid vesicles are substantially instantaneously formed.       being bonnd by any particular theory, it is believed that these
     Lipid vesicles are fonned when an organic solution including         higher ethanol concentrations promote the association of
     dissolved lipid and an aqueous solution (e.g., buffer) are           nucleic acid with cationic lipids in the bilayers. In one pre-
     simultaneously and continuously mixed. Advantageously,               ferred aspect, nucleic acid encapsulation occurs within a
     and surprisingly, by mixing the aqueous solution with the 50 range of alkanol (e.g., ethanol) concentrations above 22%.
     organic lipid solution, the organic lipid solution undergoes a          In certain aspects, after the lipid vesicles are formed, they
     continuous stepwise dilution to substantially instantaneously        are collected in another vessel, for example, a stainless steel
     produce a liposome. The pump mechanism can be configured             vessel. In one aspect, the lipid vesicles are formed at a rate of
     to provide equivalent or different flow rates of the lipid and       about 60 to about 80 mL/min. In one aspect, after the mixing
     aqueous solutions into the mixing environment which creates 55 step 130, the lipid concentration is about 1-10 mg/mL and the
     lipid vesicles in a high alkanol environment.                        therapeutic agent (e.g., plasmid DNA) concentration is about
        Advantageously, and surprisingly, the processes and appa-         0.1-3 mg/mL. In certain preferred aspects, the lipid concen-
     ratus for mixing of the lipid solution and the aqueous solution      tration is about 7.0 mg/mL and the therapeutic agent (e.g.,
     as taught herein provides fix encapsulation of therapeutic           plasmid DNA) concentration is about 0.4 mg/mL to give a
     agent in the formed liposome substantially coincident with 60 DNA:lipid ratio of about 0.06 mg/mg. The buffer concentra-
     liposome formation with an encapsulation efficiency ofup to          tion is about 1-3 mM and the alkanol concentration is about
     about 90%. Further processing steps as discussed herein can          45% v/v to about 90% v/v. In preferred aspects, the buffer
     be used to further refine the encapsulation efficiency and           concentration is about 3 mM and the alkanol concentration is
     concentration if desired.                                            about 45% v/v to about 60% v/v.
        In one preferred aspect, using the processes and apparatus 65        3. Liposome Dilution
     of the present invention, it is possible to fom1 lipid vesicles         Turning back to FIG. 1, after the mixing step 130. the
     instantaneously in a continuous two-step process that is fully       degree of therapeutic agent (e.g., nucleic acid) encapsulation



                                                                                                                               JA001581
                                                                                                                                MRNA-G EN-0020695 7
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 240 of 1274 PageID #: 8546


                                                            US 7,901,708 B2
                                    9                                                                     10
     can be enhanced if the lipid vesicle suspension is optionally          volume of the concentrated sample. In certain aspects, this
     diluted 140 prior to removal of free plasmid. For example,             rinse is then added to the concentrated sample.
     prior to dilution step 140. if the therapeutic agent entrapment           8. Sterile Filtration
     is at about 30-40%, it can be increased to about 70-80%                   In certain preferred embodiments, sterile filtration 190 of
     following incubation after the dilution step 140. In step 140, 5 the sample at lipid concentrations of about 12-14 mg/mL can
     the liposome formulation is diluted to about 10'% to about             optionally be performed. In certain aspects, filtration is con-
     40%, preferably about 20% alkanol, by mixing with an aque-             ducted al pressures below about 40 psi, using a capsule filter
     ous solution such as a buffer (e.g .. 1: 1 with citrate buffer, 100    and a pressurized dispensing vessel with a heating jacket.
     mMNaCI, pH 4.0). Such further dilution is preferably accom-            Heating the sample slightly can improve the ease of filtration.
                                                                         10    9. Sterile Fill
     plished with a buffer. In certain aspects, such further diluting
                                                                               The sterile fill step 195 is performed using similar pro-
     the liposome solution is a continuous stepwise dilution. The           cesses as for conventional liposomal fommlations. The pro-
     diluted sample is then optionally allowed to incubate al room          cesses of the present invention result in about 50-60% of the
     temperature.                                                           input therapeutic agent (e.g., nucleic acid) in the final prod-
        4. Removal of Free Therapeutic Agent                             15 uct. In certain preferred aspects, the therapeutic agent to lipid
        After the optional dilution step 140. about 70-80% or more          ratio of the final product is approximately 0.04 to 0.07.
     of the therapeutic agent (e.g., nucleic acid) is entrapped
     within the lipid vesicle (e.g., SPLP) and the free therapeutic                              IV. Therapeutic Agents
     agent can be removed from the ti.Jrmulation 150. In certain
     aspects, anion exchange chromatography is used. Advanta- 20               The lipid-based drug formulations and compositions of the
     geously, the use of an anion exchange resin results in a high          present invention are useful for the systemic or local delivery
     dynamic nucleic acid removal capacity, is capable of single            of therapeutic agents or bioactive agents and are also useful in
     use, may be pre-sterilized and validated, and is fully scale-          diagnostic assays. The following discussion refers generally
     able. In addition, the method preferably results in removal of         to liposomes; however, it will be readily apparent to those of
     free therapeutic agent (e.g., nucleic acid such as approxi- 25 skill in the art that this same discussion is fully applicable to
                                                                            the other drug delivery systems of the present invention.
     mately 25'¼, of total plasmid). The volume of san1ple after
                                                                               As described above, therapeutic agent is preferably incor-
     chromatography is unchanged, and the therapeutic agent
                                                                            porated into the lipid vesicle during formation of the vesicle.
     (e.g., nucleic acid) and lipid concentrations are about 0.64           In one embodiment, hydrophobic actives can be incorporated
     and 14.4 mg/mL, respectively. Al this point, the sample can be         into the organic solvent with the lipid, while nucleic acid and
     assayed for encapsulated therapeutic agent and adjusted to 30 hydrophilic actives can be added lo the aqueous component.
     about 0.55 mg/mL.                                                      In certain instances, the therapeutic agent includes one of a
        5. Sample Concentration                                             protein, a nucleic acid, an antisense nucleic acid, ribozymes,
         In certain instances. the liposome solution is optionally          tRNA, snRNA, siRNA, pre-condensed DNA, an antigen and
     concentrated about 2-6 fold, preferably about 4 fold, using for        combinations thereof. In preferred aspects, the therapeutic
     example, ultrafiltration 160 (e.g., tangential flow dialysis). In 35 agent is nucleic acid. The nucleic acid may encode a protein
     one embodiment. the sample is transferred to a feed reservoir          such as, for example. a herpes simplex virus, thymidine
     of an ultrafiltration system and the buffer is removed. The            kinase (HSV-TK), a cytosine deaminase, a xanthine-guani-
     buffer can be removed using various processes, such as by              nephosphoribosyl transferase, a p53, a purine nucleoside
     ultrafiltration. In one aspect, buffer is removed using car-           phosphorylase, a carboxylesterase. a deoxycytidine kinase, a
     tridges packed with polysulfone hollow fibers, for example.            nitroreductase, a thymidine phosphorylase, or cytochrome
     having internal diameters of about 0.5 mm and a 30,000 40 P450 2B 1.
     nominal molecular weight cut-off (NMWC). The liposomes                    In certain aspects, therapeutic agent is incorporated into the
     are retained within the hollow fibers and recirculated while           organic lipid component. In certain instances, the therapeutic
     the solvent and small molecules are removed from the formu-            agent is lipophilic. Suitable lipophilic agents include taxol,
     lation by passing through the pores of the hollow fibers. In this      taxol derivatives, including, for example, protax 11 I and Pacli-
     procedure, the filtrate is known as the permeate solution. On 45 taxoL lipophilic benzoporphyrins, verteporfin the lipid pro-
     completion of the concentration step, the therapeutic agent            drug of foscamel, 1-O-octadecyl-sn-glycerol-3-phosphono-
     (e.g., nucleic acid) and lipid concentrations increase to about        formate (ODG-PFA), dioleoyl[3H]iododeoxyuridine ([3H]
     0.90 and 15.14 mg/mL, respectively. In one embodiment, the             IDU-O12), lipid derivatized HIV protease inhibitory peptides
     alkanol concentration remains unchanged, but the alkanol:              such as iBOC-[L-Phe ]-[D-beta-Nal ]-Pip-[alpha-(OH)-Leu]-
     lipid ratio decreases about four fold.                              so Val (7194) and other lipid derivatized drugs or prodrugs.
        6. Alkanol Removal                                                     In another embodiment, the lipid vesicles of the present
        In one embodiment, the concentrated formulation is then             invention can be loaded with one or more therapeutic agents
     diafiltrated against about 5-15 volumes, preferably about 10           after formation of the vesicle. In certain aspects, the thera-
     volumes, of aqueous solution (e.g., buffer) (e.g., citrate buffer      peutic agents which are administered using the present inven-
     pH 4.0 (25 mM citrate, 100 mM NaCl) to remove the alkanol 55 tion can be any of a variety of drugs which are selected to be
     170. The alkanol concentration at the completion of step 170           an appropriate treatment for the disease to be treated. Often
     is less than about 1'%. Preferably, lipid and therapeutic agent        the drug is an antineoplastic agent, such as vincristine, doxo-
     (e.g., nucleic acid) concentrations remain unchanged and the           rubicin, mitoxantrone, camptothecin, cisplatin. bleomycin,
     level of therapeutic agent entrapment also remains constant.           cyclophosphamide, melholrexate, streplozotocin, and the
        7. Buffer Replacement                                               like. Especially preferred antitumor agents include, for
        After the alkanol has been removed, the aqueous solution 60 example, actinomycin D, vincristine, vinblastine, cystine ara-
     (e.g., buffer) is then replaced by dialfiltration against another      binoside, anthracyclines, alkylative agents, platinum com-
     buffer 180 (e.g., against 10 volumes of saline 150 mM NaCl             pounds. antimetabolites, and nucleoside analogs, such as
     with 10 mM Hepes pH 7.4). Preferably, the ratio of concen-             methotrexate and purine and pyrimidine analogs. It may also
     trations of lipid to therapeutic agent (e.g., nucleic acid)            be desirable lo deliver anti-infective agents to specific tissues
     remain unchanged and the level of nucleic acid entrapment is 65 by the present processes. The compositions of the present
     about constant. In certain instances, san1ple yield can be             invention can also be used for the selective delivery of other
     improved by rinsing the cartridge with buffer at about 10'%            drugs including, but not limited to, local anesthetics, e.g.,



                                                                                                                                 JA001582
                                                                                                                                  M RNA-G EN-00206958
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 241 of 1274 PageID #: 8547


                                                           US 7,901,708 B2
                                   11                                                                   12
     dibucaine and chlorpromazine; beta-adrenergic blockers,              be formed at elevated temperatures according to the present
     e.g., propranolol, timolol and labetolol; antihypertensive           invention. Unlike other existing approaches, there are no
     agents, e.g., clonidine and hydralazine; antidepressants, e.g.,      general requirements for buffer composition. In fact, the pro-
     imipramine, amitriptyline and doxepim; anti-conversants,             cesses and apparatus of the present invention can formulate a
     e.g., phenyloin; antihistan1ines, e.g., diphenhydramine, chlo- 5 lipid vesicle by mixing lipid in an alkanol with water. In
     rphenirimine and promethazine; antibiotic/antibacterial              certain aspects, the processes and apparatus of the present
     agents. e.g., gentamycin, ciprofloxacin, and cefoxilin; anti-        invention fom1 lipid vesicles that are less than 200 nm in
     fungal agents, e.g., miconazole, terconazole, econazole, iso-        diameter.
     conazole. butaconazole, clotrimazole. itraconazole, nystatin.           When lipid vesicles are prepared containing plasmid DNA
     naftifine and amphotericin B; anti parasitic agents, hormones, 10 (such as SPLPs), the ratio of plasmid to cationic lipid and
     hormone antagonists, immunomodulators, neurotransmitter              counter ions can be optimized. For refined formulations,
     antagonists, antiglaucoma agents, vitamins, narcotics, and           70-95% plasmid DNA ("pDNA") encapsulation after mixing,
     imaging agents.                                                      and ethanol removal steps is preferred. The level of pDNA
                                                                          encapsulation can be increased by diluting this initial SPLP
                                 V. Apparatus                          15 formulation. Surprisingly, the processes and apparatus of the
                                                                          present invention provide an encapsulation efficiency, upon
        In another embodiment, the present invention provides             mixing the solutions (with therapeutic agent in one of the
     apparatus for carrying out the processes of the present inven-       solution components) in the mixing environment, of up to
     tion. FIG. 3 is an example of a representative schematic of an
                                                                          about 90%. Further refinement, e.g., dilution, may be per-
     apparatus 300 according to one embodiment of the present
                                                                       20 formed as discussed herein.
     invention. This schematic is merely an illustration and should
     not limit the scope of the claims herein. One of ordinary skill         In certain aspects, liposome producing apparatus 300 of the
     in the art will recognize other variations, modifications, and       present invention further includes a temperature control
     alternatives.                                                        mechanism (not shown) for controlling the temperature of the
        In one embodiment, the apparatus of the present invention         reservoirs 310 and 320. Preferably, fluid from the first reser-
     includes two reservoirs, an aqueous solution reservoir 310 25 voir 310 and the second reservoirs 320 flows into mixing
     and an organic solution reservoir 320, for holding aqueous           chamber 340 simultaneously at separate apertures.Apparatus
     solution and organic solution, respectively. In certain aspects,     300 further includes a collection reservoir 350 downstream of
     the lipid vesicle formulations are prepared rapidly, at low          the mixing chamber for liposome collection. Moreover, in
     pressure (e.g., <l Opsi) and the apparatus and processes of the      certain aspects, apparatus 300 further includes storage vessels
     present invention are folly scaleable (e.g., 0.5 mL-5000 L). Al 30 upstream of either or both of the reservoirs 310 and 320.
     a 1-L scale, lipid vesicles are fom1ed at about 0.4-0.8 L/min.       Further, either or both of the reservoirs 310 and 320 are
     In certain preferred aspects, the apparatus do not use static        preferably jacketed stainless steel vessels equipped with an
     mixers nor specialized extmsion equipment.                           overhead mixer.
        The mixing chamber 340 is, in one embodiment, a "!~con-              In another embodiment, the present invention provides an
     nector, having optional hose barbs, wherein fluid lines 334 35 apparatus having an ultrafiltration system for carrying out the
     and 336 impact each other at about 180°. The angle of mixing         processes of the present invention. FIG. 4 is an example of a
     can also be changed, and lipid vesicles less than about 100 nm       representative schematic of an apparatus 400 according lo
     can be formed at angles of between about 27° and about 90°
                                                                          one embodiment of the present invention. This schematic is
     or even between 90° and 180°. In preferred aspects, lipid
                                                                          merely an illustration and should not limit the scope of the
     vesicles of well defined and reproducible mean diameters are
     prepared using substantially equal flow rates of the flow lines. 40 claims herein. One of ordinary skill in the art will recognize
     In other aspects. lipid vesicles of well defined and reproduc-       other variations, modifications, and alternatives.
     ible mean diameters are prepared by changing the flow rate of           In certain aspects, apparatus 400 includes a plurality of
     the fluid lines, e.g., to ensure sufficient mixing in some cases.    reservoirs   and is equipped with an ultrafiltration system. An
     In preferred aspects, the variance between flow rates is less        aqueous solution reservoir 440 and an organic solution res-
     that 50%, more preferably less than about 25'¼, and even more 45 ervoir 430 each have upstream preparation vesicles 433 and
     preferably less than about 5%.                                       425, respectively. In one aspect, lipid preparation vessel 425
        FIG. 13 shows a T-connector and associated flow dynamics          is optionally equipped with an alkanol storage vessel 421 in
     according to one embodiment. Examples of flow rates, and             fluid communication therewith.
     resulting shear rates and Reynolds mm1bers (turbulence mea-             As shown in FIG. 4, the ultrafiltration system includes an
     sure) are shown in FIG. 14 and discussed in more detail 50 incubation vessel 450 in fluid communication with a collec-
     hereafter in Example 8. In comparison with prior systems, the        tion vessel 455, an exchange column 460 and a tangential
     present invention provides non-turbulent flow and increased          flow ultrafiltralion cartridge 465. The ultrafiltration system
     shear rates at much lower (and substantially equivalent) flow        optionally includes a permeate vessel 470. In certain aspects,
     rates. For example, the present invention advantageously pro-        ultrafiltration is used to concentrate SPLP samples and then
     vides non-turbulent flow (N,.e <2000) in the mixing environ- 55 remove ethanol from the formulation by buffer replacement.
     ment with a shear rate between about 500/s and about 3300/s             In one embodiment of operation, the diluted SPLPs are
     at a flow rate (both flow lines) of between about 0.(l75 and         transferred to the feed reservoir of the ultrafiltration system.
     about 0.3 L/min.                                                     Concentration is performed by removing buffer and ethanol
        Mixing of the two fluid components can be driven using,           using, for example, cross flow cartridges 465 packed with
     for example, a peristaltic pump 330, a positive displacement         polysulfone hollow fibers that possess internal diameters of
     pump, or by pressurizing both the lipid-ethanol and buffer 60 about 0.5 mm and a 100,000 molecular weight cut-off
     vessels 320, 310. In one aspect, a Watson-Marlow 505Di/L             (MWCO). The SPLPs are retained within the hollow fibers
     pump fitted with a 505L pump head is used; silicone tubing           and re-circulated, whereas the ethanol and buffer components
     (e.g., platinum cured with 3 .2 mm ID. 2 .4 mm wall thickness;       are removed from the formulation by passing through the
     available from Watson Marlow as catalog no. 913A032024)              pores of these hollow fibers. This filtrate is known as the
     can be used for flow lines into a polypropylene or stainless 65 permeate solution and is discarded via vessel 470. After the
     steel T-connector (e.g., with a 1/s" ID). Lipid vesicles are         SPLPs are concentrated to the desired plasmid concentration,
     typically formed at room temperature, but lipid vesicles may         the buffer in which the SPLPs are suspended is removed by



                                                                                                                              JA001583
                                                                                                                               M RNA-G EN-00206959
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 242 of 1274 PageID #: 8548


                                                                                   US 7,901,708 B2
                                               13                                                                                        14
     ultrafiltration and replaced by an equal volume of the final                                                             "[I\BLE III-continued
     buffer. Ultrafiltration can be replaced with other methods
     such as conventional dialysis.                                                                               Test                  Specification

                                                                                                           8. Cholesterol Content       45 +/- 5.0 mol %
                                       VI. Examples                                                        9. Particle size             Mea11 diameter 100 ± 25 nm
                                                                                                          10. Plasmid Encapsulation     >85%
                                          Example 1                                                       11. Pl,csmid lntegrity        >80%
                                                                                                              Supercoiled
                                                                                                              Nicked                    <20%
       This Example illustrates various physical and chemical                                                                            <2%
                                                                                                              Linear
     properties of SPLPs made in accordance with one embodi- 10                                           12. LAL                       <50 EU/mg DNA
     ment of the present invention.                                                                       13. Sterility                 Pass
       Table I the amount of ethanol, pDNA and lipid content in
     process steps according to the present invention.

                                                    TABLE I
                                                                          pDNA                          Lipid
                                 %Initial      [Ethanol[     [pDNA]      Recovery       [Lipid]        Recovery
     STEP                        Volume            (%)       (mg/ml)       (%)         (mg/ml)           (%)

     SPLP formation                 100           45           0.45           95           7.6           95
     Dilution                       200           22.5         0.23           90           3.8           90
     Concentration                   50           22.5         0.90           90          15.1           90
     Ethanol removal                 50            <1%         0.90           90          15.1           90
     Buffer replacement*             45          <0.1%         0.90           81          15.1           81
     Free DNA                        45          <0.1%         0.64           55          14.4           76
     Removal**                                                (0.55)                     (12.4)
     Sterile filtration              49          <0.1%         0.50           50          11.1            68
     & Vial fill***

     *Estimate 10% total volume and SPLP loss after buffer replacement step.
     **Assume that 75% ofpDNA is encapsulated and all free DNA is removed, Estimate 5%) loss of SPLP on anion
     exchange cartridge. At this step the sample will be assayed for encapsulated pDNA and adjusted to 0.55 mg/ml
     to anticipate loss of SPLP during the filtration step (concentrations after adjustment to 0.55 mg/ml pDNA
     shown in brackets),
     ***Assume a maximum 5% volume loss and upto 10% total SPLP loss.



        Table II sets forth the plasmid specification made accord-                                                                    Example 2
     ing lo one aspect of the present invention.
                                                                                 This Example illustrates various process parameters in one
                                                                                                  35
                                          TABLE II                            embodiment of the present invention.
                                                                                 In one SPLP embodiment, varying the initial ethanol con-
                                 Plasmid Specification
                                                                              centration for lipid dissolution had little impact on either
               Test                    Specification                          vesicle size or DNA encapsulation, providing that the ethanol
                                                                           40 concentration was high enough to ensure that none of the
          1.   Appearance              Clear, Colorless solu1ion.
          2.   Electrophoresis         Relative migration vs standard.        individual lipid components precipitated ( see, FIG. 5). Below
          3.   Circular plasmid        >90~/o                                 7 5% ethanol, lipids were not soluble even with heating to 55 °
          4.   Potentiometric pH       6.5-8.5                                C. Lipids dissolved in 75% ethanol al 55° C. fom1ed SPLP
               value
          5.   Electrophoresis         RNA undetectable                       with larger mean diameters and lower DNA encapsulation
                                                                           45
          6.   BCA protein assay       Undetectable                           (see, FIG. 5).
          7.   Spectrometric            1.7-2.0                                  The initial DNA to lipid ratio has been varied from 0.048-
               A26c/Ano
          8.   DNA hybridization       <1 % E. coli DNA                       0.081 mg DNA: mg lipid formulation and vesicles of similar
               assay                                                          size with 77-90% DNA encapsulation were formed.
          9.   Sterility Testing       No growth observed in bacteriologic
                                                                           50
                                                                                 SPLPs have been prepared at a pH range of about 3.5-6 for
                                       media                                  the initial mixing step and all formulations possessed mean
         10.   LAL                     <20 EU/mg.
         11.   UV Absorbance           2.0-3.0 mg/mL.
                                                                              particle diameters ofless than 150 l1l11 and DNA encapsula-
                                                                              tion efficiencies of greater than 50'¼, (see, FIG. 6). At higher
                                                                              pH, vesicles can also be prepared with similar vesicle sizes,
        Table III sets forth the SPLP specification made according 55 but with lower DNA encapsulation efficiencies.
     to one aspect of the present invention.                                     In certain aspects, mean vesicle diameters of empty
                                                                              vesicles prepared using one process of the present invention
                                     TABLE III                                depend upon the salt concentration of the diluting buffer,
                                                                              (e.g., Sphingomyelin:cholestesterol vesicles, EPC:EPG
             Test                      Specification                       60 vesicles). Varying the ionic conditions in the butter, influ-
        1. Appearance                  Homogenous. opaque white solution      ences the tendency for a given lipid to arrange itself into
        L.   pH                        7.4 (6.0-8.5)                          bilayers and vesicles.
        3. Osmolality                  320 mOsm/kg (290-500 mOsm/kg)             During the development of one SPLP formulation, it was
       4. Plasmid Content              0.5 mg/mL (0.25-1.0 mg/mL)
        5. DSPC Content                20 +/- 4.0 mol %
                                                                              found that both the pH and salt concentration of the diluting
        6. DODMA Content               25 +/- 5.0 mol %                    65 butter had a siguificant effect on the DNA encapsulation
        7. PEG-DSG Content              10 +/- 2.0 mol %                      efficiency. Naturally, diluting buffers with pH values lower
                                                                              than the pKa for the cationic lipid component (DODMA)



                                                                                                                                                                     JA001584
                                                                                                                                                                     M RNA-G EN-00206960
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 243 of 1274 PageID #: 8549


                                                             US 7,901,708 B2
                                     15                                                                         16
     gave higher encapsulation values (FIG. 7). Interestingly, a       centration step. each sample was diafiltrated against its dilut-
     final salt concentration of 150 mM was also optimal for DNA       ing buffer to ensure that the acidic citrate buffer present
     encapsulation (FIG. 8).                                           within vesicles would not leak out during ethanol removal.
                                                                       All samples were finally fonnulated with an external buffer of
                                Example 3                           5 phosphate-buffered saline at pH 7.4. After sterile filtration,
                                                                       the mean vesicle diameters of these formulations were very
                                                                       similar (90-92 mn) and possessed acceptable standard devia-
        This Example illustrates the use of one process of the
                                                                       tion and Chi squared values (Table V).
     present invention to make EPC and POPC vesicles.                     Following dialysis, the vesicles were assayed for lipid con-
        POPC vesicles are useful as "sink" vesicles for membrane 1 centration using the Infinity cholesterol assay. Solutions were
     fusion assays. In particular, they can be used in excess to     0
                                                                       then prepared containing 5 mM lipid and 0.2 mM safranine
     remove PEG lipids from other liposomes, thus destabilizing        obtained from a filtered 10 mM stock solution. The solutions
     the other liposomes and allowing them to fuse with the            were incubated at 37° C. for 30 minutes. A 500 ul aliquot of
     desired membrane. EPC vesicles are usefol for removing            each incubated solution was then passed down a 2-mL
     cholesterol from arterial plaques.                                Sepharose CL4B gel filtration colunm. The free dye was
                                                                    15 separated from the vesicles, and the lipid-containing fractions
        The vesicles were prepared at an initial ethanol concentra-
     tion of 80'¼,, and lipid concentration of 10 mM. After mixing     were collected and analyzed. The safranine concentration
     and dilution, the ethanol concentration was 20%, and lipid        was determined by measuring the fluorescence of the samp Jes
     concentration was 5 mM. The EPC formulation was mixed             al 516 nm excitation and 585 nm emission.
                                                                          The vesicles with acidic interiors accumulated safranine,
     and diluted with PBS, and the POPC was mixed and diluted
                                                                    20 with the 94 mM citrate-containing vesicles showing the high-
     with HBS. Both preparations were concentrated and ethanol
                                                                       est encapsulation. In contrast, the PBS control vesicles encap-
     removed using an ultrafiltralion cartridge, i.e., the EPC
                                                                       sulated very little safranine. The 188 nM citrate vesicles also
     against PBS, and the POPC against HBS. Both preparations
                                                                       encapsulated some safranine, but not as much as the 94 mM
     were then sterile filtered using 0.22 um syringe filters.
                                                                       citrate-containing vesicles (See FIG. 10).
                                                                           25
                               TABLE IV
                                                                                                           TABLEV
                         EPC and POPC vesicle data
                                                                                               Safranine-Loaded EPC/Chol Vesicles
                                Vesicle Size (nm)    Lipid Concentration
                                                                                                                       Vesicle
                                                                           30                     Safranine           Size (nm)         Dye: Li12id Ratio
     Sample     Lot Number    Diam     SD     Chi2        mg/mL

     POPC       25031302-02   125      62                   22.0                Sample          Encapsulation   Diam SD          Chi2   Mg:mg mol:mol
     EPC        25031302-01    89      39                   18.2
                                                                              PBS Control             9%         90      33      2.7    0.002     0.003
                                                                               94 mM Citrate         54%         92      41      1.7    0.011     0.019
                                                                           35 188 mM Citrate         31%         91      35      4.8    0.007     0.011
                               Example 4

        This Example illustrates the use of one process of the                                       Example 5
     present invention to make EPC/Cholesterol vesicles with a
     pH gradient.                                                      40    This Example illustrates the use of one process of the
        Unilamellar lipid vesicles (LUY) comprising EPC and               present invention to make sphingomyelin/cholesterol
     Cholesterol have traditionally been prepared by hydrating            vesicles.
     lipid films to fom1 multilamellar lipid vesicles (MLV) that             Sphingomyelin/cholesterol vesicles are desirable due to
     have been subjected to vesicle size reduction using high-            their durability and strength. These vesicles can also be used
     pressure extrusion. It is well known that these vesicles can be 45 to encapsulate drugs using a pH gradient. However. these
     prepared with acidic aqueous interiors and a pH gradient             LUY have traditionally needed to be formed at temperatures
     across the lipid bilayer. Weakly basic lipophilic molecules          greater than 65° C. and using high pressure extrusion. In order
     have been shown to accumulate in these vesicles at high              to form these vesicles with the lipomixer, a number of vari-
     internal concentrations. Various drug-loaded liposomes that          ables needed to be taken into consideration. such as ethanol
     are currently in late stage clinical trials utilize this approach 50 concentration, lipid concentration, and the salt concentration
     (e.g., Myocet: doxorubicin loaded vesicles).                         of the mixing and dilution buffer.
        In one aspect, safranine was used to determine whether               The vesicles were formulated at a ratio of 55/45 SM/Chol
     such a pH gradient was present. Safranine is a lipophilic basic      (mol:mol). while the initial ethanol concentration after mix-
     dye that has been used to study membrane pH gradients                ing varied from 50 to 25%. Dilution buffers tested included
        EPC/Chol vesicles were prepared using the present pro- 55 PBS, water. 10 mM citrate, 150 mM citrate, and 300 mM
     cesses and apparatus at an initial ethanol concentration of          citrate. Final lipid concentrations ranged from 0.5 to 2.5 mM.
     80%. and lipid concentration of 10 mM (See FIG. 9A-B).               The vesicles formulated in the presence of salt (i.e., using
     After mixing and dilution. the ethanol concentration was             buffers) were 200-500 nm, indicating an MLV. Aliquots of
     20'¼,, and lipid concentration was 5 mM. Three different             these samples were dialyzed against both 150 mM citrate and
     formulations were prepared:                                       60 water in an attempt to remove ethanol and stabilize the
        1. Mixed and diluted with PBS (control).                          vesicles.
        2. Mixed and diluted with 150 mM citrate (final citrate
     concentration is 94 mM).                                                                        Example 6
        3. Mixed and diluted with 300 mM citrate (final citrate
     concentration is 188 mM).                                         65    This Example illustrates the use of one process of the
        After mixing and dilution, each sample was concentrated           present invention to prepare vesicles that passively encapsu-
     and ethanol was removed using ultrafiltration. After the con-        lation small molecules such as calcein.



                                                                                                                                            JA001585
                                                                                                                                             M RNA-G EN-00206961
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 244 of 1274 PageID #: 8550


                                                               US 7,901,708 B2
                                     17                                                                          18
        Calcein is a fluorescent dye that is self-quenching at con-                      It is understood that the examples and embodiments
     centrations greater than 10 mM. Vesicles encapsulating cal-                      described herein are for illustrative purposes only and that
     cein can be used in fusion assays to determine whether                           various modifications or changes in light thereof will be sug-
     vesicles have fused together. Fusion decreases the internal                      gested to persons skilled in the art and are to be included
     calcein concentration. causing it to fluoresce. Vesicles were 5 within the spirit and purview of this application and scope of
     prepared with DSPC:CHOL:PEG-DLG:DODMA (20:55: 10:                                the appended claims. All publications, patents, and patent
     15) at an ethanol concentration of 19% and 2 mM lipid after                      applications cited herein are hereby incorporated by refer-
     mixing and dilution (See FIG. 11). Lipids dissolved in ethano 1                  ence in their entirety for all purposes.
     were mixed with a solution containing 20 mM citrate and 75                          What is claimed is:
                                                                                   10    1. A process for producing a lipid vesicle encapsulating a
     mM calcein, and then the resulting vesicles were diluted with
                                                                                      nucleic acid within the lipid vesicle, said process comprising:
     300 mM NaCl and 37.5 mM Calcein. The calcein was
                                                                                         providing an aqueous solution including a nucleic acid in a
     obtained from a 100 mM stock solution. The final calcein
                                                                                            first reservoir;
     concentration in the vesicles was 37.5 mM.                                          providing an organic lipid solution in a second reservoir,
        After mixing and dilution the vesicles were dialyzed over- 15                       wherein the lipids present in said organic lipid solution
     night against HBS to remove unencapsulated dye. This was                               are solubilized in a lower alkanol at a concentration of
     unsuccessful at removing all of the free dye, so the vesicles                          about 75'¼, v/v to 100'¼, v/v; and
     were passed down a gel filtration column. ]be lipid fraction                        mixing said organic lipid solution with said aqueous solu-
     was collected and analyzed. It was found that the calcein was                          tion by introducing said organic lipid solution and said
     indeed self quenching at the concentration inside the vesicles. 20                     aqueous solution into a mixing environment at about
     This is a clear demonstration that the processes and apparatus                         equal flow rates;
     of the present invention can be used to prepare vesicles that                       wherein said mixing instantaneously produces a lipid
     passively encapsulate small molecules.                                                 vesicle encapsulating the nucleic acid within the lipid
                                                                                            vesicle by diluting said lower alkanol to a concentration
                                 TABLE VI                                          25       of between 45% v/v to about 60% v/v; and
                                                                                         wherein the mixing environment includes a T-com1ector,
                          Calcein-encapsulated vesicles
                                                                                            wherein the aqueous solution and the organic lipid solu-
                             Vesicle Size (run)           Fluorescence                      tion are introduced into the T-connector as opposing
                                                                                            flows at about 180° relative to each other and mixed
     Step                  Diam      SD       Chi2 rF without triton rFwith triton 30       within the T-connector.
     Post Dilution         205       109       0.4       N/d            N/d              2. The process of claim 1, further comprising diluting said
     Post Dialysis          173       74       0.5       N/d            N/d           lipid vesicle with a buffer solution wherein said lipid vesicle
     Post Gel Filtration   178        77       5.4       0.4            4.1           undergoes a continuous stepwise dilution to further stabilize
                                                                                      the lipid vesicle.
                                                                                   35    3. The process of claim 1, wherein said lipid vesicle is in a
                                 Example 7                                            solution having a pH of about 3.5 to about 8.0.
                                                                                         4. The process of claim 1, wherein the lipid vesicle is in a
        This Example illustrates the use of one process of the                        solution having a pH of about 6 or lower, and wherein said
     present invention versus prior art methods.                                      lipid vesicle has a nucleic acid encapsulation efficiency of
        With reference to FIG. 12, lipids were dissolved in 90% 40 greater than 50%.
     ethanol (A) and diluted either: step-wise using an apparatus                        5. The process of claim 1, wherein the lipid vesicle is in a
     of the present invention to 45'% (B) and 22.5% ethanol (C),                      solution having a pH of about 5 or lower. and wherein said
     represented by the solid line ("LipoMixer"); or added drop-                      lipid vesicle has a nucleic acid encapsulation efficiency of
     wise with into stirred buffer to a final ethanol concentration of                between about 80% and about 90%.
     22.5% (C), represented by the dotted line. Even though the 45                       6. The process of claim 1, wherein said lipid vesicle has a
     final ethanol concentrations for both preparations were the                      diameter of about 150 nn1 or less.
     san1e, the SPLP formed according to the processes of the                            7. The process of claim 1, wherein said lipid vesicle is in a
     present invention had 85'% DNA encapsulation whereas                             solution having a salt concentration of about 100 mM to about
     vesicles prepared by ethanol drop had only 5'% DNA encap-                        200mM.
     sulation.                                                                     50    8. The process of claim 1, wherein said nucleic acid is
                                                                                      selected from the group consisting of a plasmid, an antisense
                                  Example 8                                           polynucleotide. a ribozyme, tRNA, snRNA, siRNA, and pre-
                                                                                      condensed DNA.
        TI1is exan1ple illustrates various conditions and properties                     9. The process of claim 1, wherein said nucleic acid com-
     for forming liposomes according to the present invention. It 55 prises an siRNA.
     should be appreciated that other conditions and parameters                          10. The process of claim 1, wherein said lower alkanol is
     may be used and that those used herein are merely exemplary.                     selected from the group consisting of methanol. ethanol, pro-
        With reference to FIGS. 13 and 14, various flow rates                         panol, butanol, pentanol. isomers thereof; and combinations
     (substantially equivalent for both lipid and aqueous solution                    thereof.
     flows) are modeled and analyzed to show various parameters 60                       11. ]be process of claim 1, wherein said lower alkanol
     such as shear rate and Reynolds number CNre) and vesicle                         comprises ethanol.
     size. Parameters and conditions were determined at the outlet                       12. The process of claim 1, wherein the lipids present in
     of the T-connector correcting for the density and viscosity of                   said organic lipid solution are solubilized in said lower
     the resulting ethanol solution. Additional turbulence as a                       alkanol at a concentration of between about 80% v/v lo about
     result of the two streams meeting one another in opposition 65 90% v/v.
     has not been accmmted for. nor has additional turbulence as a                       13. ]be process of claim 1, wherein the lipid vesicle is a
     result of the streams having to turn a 90 degree comer.                          liposome.



                                                                                                                                         JA001586
                                                                                                                                          M RNA-G EN-00206962
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 245 of 1274 PageID #: 8551


                                                         US 7,901,708 B2
                                  19                                                                20
        14. The process of claim 2, wherein said lipid vesicle is in       19. The process of claim 1, wherein the T-connector is
     a solution having a concentration of less than 25% or about        polypropylene or stainless steel.
     25% v/v of said lower alkanol after dilution.                         20. The process of claim 1, wherein the lipids present in
        15. The process of claim 1, wherein said lipid vesicle is       said organic lipid solution comprise a phospholipid. choles-
     produced at a flow rate of between about 0.(l75 Umin and 5 terol, a PEG-lipid, and a cationic lipid.
     about 0.3 Umin.
                                                                           21. The process of claim 2, further comprising concentrat-
        16. The process of claim 1, wherein said lipid vesicle is
                                                                        ing said lipid vesicle by tangential flow ultrafiltration.
     produced at a shear rate of between about 500/s and about
     3300/s.                                                               22. The process of claim 1, wherein the lipids present in
        17. The process of claim 1, wherein one or both of the first    said organic lipid solution are solubilized in said lower
                                                                     10 alkanol at a concentration of about 100% v/v.
     and the second reservoirs are temperature controlled.
        18. The process of claim 1, wherein one or both of the first
     and the second reservoirs include a jacketed stainless steel
     vessel with an overhead mixer.                                                             * * * * *




                                                                                                                          JA001587
                                                                                                                           M RNA-G EN-00206963
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 246 of 1274 PageID #: 8552




                   JOINT APPENDIX 54
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 247 of 1274 PageID #: 8553


                                                                                                             TEPZZ 79 54B_T
                  (19)



                                                                                                      (11)         EP 2 279 254 B1
                  (12)                              EUROPEAN PATENT SPECIFICATION

                  (45) Date of publication and mention                             (51) Int Cl.:
                         of the grant of the patent:                                       C12N 15/113 (2010.01)     C12N 15/88 (2006.01)
                         05.07.2017 Bulletin 2017/27                                       A61K 31/712 (2006.01)     A61K 31/713 (2006.01)
                                                                                           A61K 9/127 (2006.01)      A61P 35/00 (2006.01)
                  (21) Application number: 09731866.1
                                                                                   (86) International application number:
                  (22) Date of filing: 15.04.2009                                          PCT/CA2009/000496

                                                                                   (87) International publication number:
                                                                                           WO 2009/127060 (22.10.2009 Gazette 2009/43)


                  (54) NOVEL LIPID FORMULATIONS FOR NUCLEIC ACID DELIVERY
                         NEUE LIPIDFORMULIERUNGEN ZUR NUKLEINSÄUREZUFÜHRUNG
                         NOUVELLES FORMULATIONS LIPIDIQUES POUR L’ADMINISTRATION D’ACIDES NUCLÉIQUES


                  (84) Designated Contracting States:                                   • LAM, Kieu
                         AT BE BG CH CY CZ DE DK EE ES FI FR GB GR                        Surrey, B.C. V4N 5M7 (CA)
                         HR HU IE IS IT LI LT LU LV MC MK MT NL NO PL                   • JEFFS, Lloyd B.
                         PT RO SE SI SK TR                                                Delta, B.C. V4K 3B4 (CA)
                         Designated Extension States:                                   • PALMER, Lorne R.
                         AL BA RS                                                         Vancouver, B.C. V5S 2P2 (CA)

                  (30) Priority: 15.04.2008 US 45228 P                             (74) Representative: Campbell, Patrick John Henry
                                                                                           J A Kemp
                  (43) Date of publication of application:                                 14 South Square
                         02.02.2011 Bulletin 2011/05                                       Gray’s Inn
                                                                                           London WC1R 5JJ (GB)
                  (73) Proprietor: Protiva Biotherapeutics Inc.
                         Burnaby, British Columbia V5J 5J8 (CA)                    (56) References cited:
                                                                                           WO-A1-2005/035764         WO-A1-2006/002538
                  (72) Inventors:                                                          WO-A1-2006/053430         WO-A1-2007/056861
                     • MACLACHLAN, Ian                                                     WO-A2-2005/120152         US-A1- 2005 064 595
                       Mission, B.C. V4S 1E5 (CA)                                          US-A1- 2006 008 910       US-A1- 2007 042 031
                     • YAWORSKI, Edward
                       Maple Ridge, B.C. V2X 9Z7 (CA)
EP 2 279 254 B1




                  Note: Within nine months of the publication of the mention of the grant of the European patent in the European Patent
                  Bulletin, any person may give notice to the European Patent Office of opposition to that patent, in accordance with the
                  Implementing Regulations. Notice of opposition shall not be deemed to have been filed until the opposition fee has been
                  paid. (Art. 99(1) European Patent Convention).

                                                                 Printed by Jouve, 75001 PARIS (FR)

                                                                                                                             JA001588
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 248 of 1274 PageID #: 8554

                                                         EP 2 279 254 B1

     Description

     BACKGROUND OF THE INVENTION

 5   [0001] RNA interference (RNAi) is an evolutionarily conserved process in which recognition of double-stranded RNA
     (dsRNA) ultimately leads to posttranscriptional suppression of gene expression. This suppression is mediated by short
     dsRNA, also called small interfering RNA (siRNA), which induces specific degradation of mRNA through complementary
     base pairing. In several model systems, this natural response has been developed into a powerful tool for the investigation
     of gene function (see, e.g., Elbashir et al., Genes Dev., 15:188-200 (2001); Hammond et al., Nat. Rev. Genet., 2:110-119
10   (2001)). More recently, it was discovered that introducing synthetic 21-nucleotide dsRNA duplexes into mammalian cells
     could efficiently silence gene expression.
     [0002] Although the precise mechanism is still unclear, RNAi provides a potential new approach to downregulate or
     silence the transcription and translation of a gene of interest. For example, it is desirable to modulate (e.g., reduce) the
     expression of certain genes for the treatment of neoplastic disorders such as cancer. It is also desirable to silence the
15   expression of genes associated with liver diseases and disorders such as hepatitis. It is further desirable to reduce the
     expression of certain genes for the treatment of atherosclerosis and its manifestations, e.g., hypercholesterolemia,
     myocardial infarction, and thrombosis.
     [0003] A safe and effective nucleic acid delivery system is required for RNAi to be therapeutically useful. Viral vectors
     are relatively efficient gene delivery systems, but suffer from a variety of limitations, such as the potential for reversion
20   to the wild-type as well as immune response concerns. As a result, nonviral gene delivery systems are receiving increasing
     attention (Worgall et al., Human Gene Therapy, 8:37 (1997); Peeters et al., Human Gene Therapy, 7:1693 (1996); Yei
     et al., Gene Therapy, 1:192 (1994); Hope et al., Molecular Membrane Biology, 15:1 (1998)). Furthermore, viral systems
     are rapidly cleared from the circulation, limiting transfection to "first-pass" organs such as the lungs, liver, and spleen.
     In addition, these systems induce immune responses that compromise delivery with subsequent injections.
25   [0004] Plasmid DNA-cationic liposome complexes are currently the most commonly employed nonviral gene delivery
     vehicles (Feigner, Scientific American, 276:102 (1997); Chonn et al., Current Opinion in Biotechnology, 6:698 (1995)).
     For instance, cationic liposome complexes made of an amphipathic compound, a neutral lipid, and a detergent for
     transfecting insect cells are disclosed in U.S. Patent No. 6,458,382. Cationic liposome complexes are also disclosed in
     U.S. Patent Publication No. 20030073640.
30   [0005] Cationic liposome complexes are large, poorly defined systems that are not suited for systemic applications
     and can elicit considerable toxic side effects (Harrison et al., Biotechniques, 19:816 (1995); Li et al., The Gene, 4:891
     (1997); Tam et al, Gene Ther., 7:1867 (2000)). As large, positively charged aggregates, lipoplexes are rapidly cleared
     when administered in vivo, with highest expression levels observed in first-pass organs, particularly the lungs (Huang
     et al., Nature Biotechnology, 15:620 (1997); Templeton et al., Nature Biotechnology, 15:647 (1997); Hofland et al.,
35   Pharmaceutical Research, 14:742 (1997)).
     [0006] Other liposomal delivery systems include, for example, the use of reverse micelles, anionic liposomes, and
     polymer liposomes. Reverse micelles are disclosed in U.S. Patent No. 6,429,200. Anionic liposomes are disclosed in
     U.S. Patent Publication No. 20030026831. Polymer liposomes that incorporate dextrin or glycerol-phosphocholine pol-
     ymers are disclosed in U.S. Patent Publication Nos. 20020081736 and 20030082103, respectively.
40   [0007] A gene delivery system containing an encapsulated nucleic acid for systemic delivery should be small (i.e.,
     less than about 100 nm diameter) and should remain intact in the circulation for an extended period of time in order to
     achieve delivery to affected tissues. This requires a highly stable, serum-resistant nucleic acid-containing particle that
     does not interact with cells and other components of the vascular compartment. The particle should also readily interact
     with target cells at a disease site in order to facilitate intracellular delivery of a desired nucleic acid.
45   [0008] Recent work has shown that nucleic acids can be encapsulated in small (e.g., about 70 nm diameter) "stabilized
     plasmid-lipid particles" (SPLP) that consist of a single plasmid encapsulated within a bilayer lipid vesicle (Wheeler et
     al., Gene Therapy, 6:271 (1999)). These SPLPs typically contain the "fusogenic" lipid dioleoylphosphatidylethanolamine
     (DOPE), low levels of cationic lipid, and are stabilized in aqueous media by the presence of a poly(ethylene glycol)
     (PEG) coating. SPLPs have systemic application as they exhibit extended circulation lifetimes following intravenous
50   (i.v.) injection, accumulate preferentially at distal tumor sites due to the enhanced vascular permeability in such regions,
     and can mediate transgene expression at these tumor sites. The levels of transgene expression observed at the tumor
     site following i.v. injection of SPLPs containing the luciferase marker gene are superior to the levels that can be achieved
     employing plasmid DNA-cationic liposome complexes (lipoplexes) or naked DNA.
     [0009] Thus, there remains a strong need in the art for novel and more efficient methods and compositions for intro-
55   ducing nucleic acids such as siRNA into cells. In addition, there is a need in the art for methods of downregulating the
     expression of genes of interest to treat or prevent diseases and disorders such as cancer and atherosclerosis. The
     present invention addresses these and other needs.
     [0010] U.S. Patent Publication No. 2005064595 discloses lipid encapsulated interfering RNA.




                                                                  2
                                                                                                               JA001589
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 249 of 1274 PageID #: 8555

                                                           EP 2 279 254 B1

     [0011] U.S. Patent Publication No 2006008910 discloses lipid encapsulated interfering RNA.
     [0012] WO Patent Publication No. 2006053430 discloses siRNA silencing of apolipoprotein b. WO Patent Publication
     No 2007056861 discloses siRNA silencing of influenza virus gene expression.
     [0013] WO Patent Publication No 2005035764 discloses autogene nucleic acids encoding a secretable RNA polymer-
 5   ase.
     [0014] WO Patent Publication No 2006002538 discloses immunostimulatory siRNA molecules and uses therefor.

     BRIEF SUMMARY OF THE INVENTION

10   [0015] Described herein are novel, serum-stable lipid particles comprising one or more active agents or therapeutic
     agents, methods of making the lipid particles, and methods of delivering and/or administering the lipid particles (e.g.,
     for the treatment of a disease or disorder).
     The present invention provides a nucleic acid-lipid particle comprising:

15       (a) a nucleic acid;
         (b) a cationic lipid comprising from 50 mol % to 65 mol % of the total lipid present in the particle;
         (c) a non-cationic lipid comprising up to 49.5 mol % of the total lipid present in the particle and comprising a mixture
         of a phospholipid and cholesterol or a derivative thereof, wherein the cholesterol or derivative thereof comprises
         from 30 mol % to 40 mol % of the total lipid present in the particle; and
20       (d) a conjugated lipid that inhibits aggregation of particles comprising from 0.5 mol % to 2 mol % of the total lipid
         present in the particle.

     [0016] In preferred embodiments, the active agent or therapeutic agent is fully encapsulated within the lipid portion of
     the lipid particle such that the active agent or therapeutic agent in the lipid particle is resistant in aqueous solution to
25   enzymatic degradation, e.g., by a nuclease or protease. In other preferred embodiments, the lipid particles are substan-
     tially non-toxic to mammals such as humans.
     [0017] In one aspect, the present disclosure provides lipid particles comprising: (a) one or more active agents or
     therapeutic agents; (b) one or more cationic lipids comprising from about 50 mol % to about 85 mol % of the total lipid
     present in the particle; (c) one or more non-cationic lipids comprising from about 13 mol % to about 49.5 mol % of the
30   total lipid present in the particle; and (d) one or more conjugated lipids that inhibit aggregation of particles comprising
     from about 0.5 mol % to about 2 mol % of the total lipid present in the particle.
     [0018] More particularly, the present disclosure provides serum-stable nucleic acid-lipid particles (SNALP) comprising
     a nucleic acid (e.g., one or more interfering RNA molecules such as siRNA, aiRNA, and/or miRNA), methods of making
     the SNALP, and methods of delivering and/or administering the SNALP (e.g., for the treatment of a disease or disorder).
35   [0019] In certain aspects, the nucleic acid-lipid particle (e.g., SNALP) comprises: (a) a nucleic acid (e.g., an interfering
     RNA); (b) a cationic lipid comprising from about 50 mol % to about 85 mol % of the total lipid present in the particle; (c)
     a non-cationic lipid comprising from about 13 mol % to about 49.5 mol % of the total lipid present in the particle; and (d)
     a conjugated lipid that inhibits aggregation of particles comprising from about 0.5 mol % to about 2 mol % of the total
     lipid present in the particle.
40   [0020] In one preferred aspect, the nucleic acid-lipid particle (e.g., SNALP) comprises: (a) an siRNA; (b) a cationic
     lipid comprising from about 56.5 mol % to about 66.5 mol % of the total lipid present in the particle; (c) cholesterol or a
     derivative thereof comprising from about 31.5 mol % to about 42.5 mol % of the total lipid present in the particle; and
     (d) a PEG-lipid conjugate comprising from about 1 mol % to about 2 mol % of the total lipid present in the particle. This
     nucleic acid-lipid particle is generally referred to herein as the "1:62" formulation.
45   [0021] In a preferred embodiment, the nucleic acid-lipid particle (e.g., SNALP) comprises: (a) an siRNA; (b) a cationic
     lipid comprising from about 52 mol % to about 62 mol % of the total lipid present in the particle; (c) a mixture of a
     phospholipid and cholesterol or a derivative thereof comprising from about 36 mol % to about 47 mol % of the total lipid
     present in the particle; and (d) a PEG-lipid conjugate comprising from about 1 mol % to about 2 mol % of the total lipid
     present in the particle. This preferred embodiment of nucleic acid-lipid particle is generally referred to herein as the
50   "1:57" formulation.
     [0022] The present invention also provides pharmaceutical compositions comprising a nucleic acid-lipid particle of the
     invention and a pharmaceutically acceptable carrier. The present invention also provides a method for introducing a
     nucleic acid into a cell, the method comprising: contacting the cell in vitro with a nucleic acid-lipid particle of the invention,
     optionally wherein the cell is a mammalian cell.
55   [0023] In another aspect, the present disclosure provides methods for introducing an active agent or therapeutic agent
     (e.g., nucleic acid) into a cell, the method comprising contacting the cell with a lipid particle described herein such as a
     nucleic acid-lipid particle (e.g., SNALP).
     [0024] The present invention also provides the nucleic acid-lipid particle of the invention for use in a method for the




                                                                     3
                                                                                                                   JA001590
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 250 of 1274 PageID #: 8556

                                                         EP 2 279 254 B1

     in vivo delivery of a nucleic acid, the method comprising administering said nucleic acid-lipid particle to a mammalian
     subject.
     [0025] In yet another aspect, the present disclosure provides methods for the in vivo delivery of an active agent or
     therapeutic agent (e.g., nucleic acid), the method comprising administering to a mammalian subject a lipid particle
 5   described herein such as a nucleic acid-lipid particle (e.g., SNALP).
     The present invention also provides a nucleic acid-lipid particle of the invention for use in a method for treating a disease
     or disorder in a mammalian subject in need thereof, the method comprising administering a therapeutically effective
     amount of said nucleic acid-lipid particle to the mammalian subject, wherein the disease or disorder is optionally selected
     from the group consisting of a viral infection, a liver disease or disorder, and cancer.
10   [0026] In a further aspect, the present disclosure provides methods for treating a disease or disorder in a mammalian
     subject in need thereof, the method comprising administering to the mammalian subject a therapeutically effective
     amount of a lipid particle described herein such as a nucleic acid-lipid particle (e.g., SNALP).
     [0027] Other objects, features, and advantages of the present invention will be apparent to one of skill in the art from
     the following detailed description and figures.
15
     BRIEF DESCRIPTION OF THE DRAWINGS

     [0028]

20       Figure 1 illustrates data demonstrating the activity of 1:57 SNALP containing Eg5 siRNA in a human colon cancer
         cell line.
         Figure 2 illustrates data demonstrating the activity of 1:57 SNALP containing ApoB siRNA following intravenous
         administration in mice.
         Figure 3 illustrates additional data demonstrating the activity of 1:57 SNALP containing ApoB siRNA following
25       intravenous administration in mice. Each bar represents the group mean of five animals. Error bars indicate the
         standard deviation.
         Figure 4 illustrates data demonstrating the activity of 1:57 and 1:62 SNALP containing ApoB siRNA following intra-
         venous administration in mice.
         Figure 5 illustrates data demonstrating the activity of 1:62 SNALP containing ApoB siRNA following intravenous
30       administration in mice.
         Figure 6 illustrates data demonstrating that the tolerability of 1:57 SNALP containing ApoB siRNA prepared by citrate
         buffer versus PBS direct dilution did not differ significantly in terms of blood clinical chemistry parameters.
         Figure 7 illustrates data demonstrating that the efficacy of 1:57 SNALP containing ApoB siRNA prepared by gear
         pump was similar to the same SNALP prepared by syringe press.
35       Figure 8 illustrates data demonstrating that there was very little effect on body weight 24 hours after administration
         of 1:57 SNALP containing ApoB siRNA.
         Figure 9 illustrates data demonstrating that there were no obvious changes in platelet count after administration of
         1:57 SNALP containing ApoB siRNA.
         Figure 10 illustrates data demonstrating that clinically significant liver enzyme elevations (3xULN) occurred at par-
40       ticular drug dosages of 1:57 SNALP containing ApoB siRNA.
         Figure 11 illustrates data demonstrating that the potency of the lower lipid:drug (L:D) 1:57 SNALP containing ApoB
         siRNA was as good as that of the higher L:D SNALP at the tested drug dosages.
         Figure 12 illustrates data demonstrating that ApoB protein and total cholesterol levels were reduced to a similar
         extent by 1:57 SNALP containing ApoB siRNA at a 6:1 input L:D ratio (final ratio of 7:1) and 1:57 SNALP at a 9:1
45       input L:D ratio (final ratio of 10:1).
         Figure 13 illustrates data demonstrating that a treatment regimen of 1:57 SNALP with siRNA targeting PLK-1 is well
         tolerated with no apparent signs of treatment related toxicity in mice bearing Hep3B liver tumors.
         Figure 14 illustrates data demonstrating that treatment with 1:57 SNALP containing PLK-1 siRNA caused a significant
         increase in the survival of Hep3B tumor-bearing mice.
50       Figure 15 illustrates data demonstrating that treatment with 1:57 SNALP containing PLK-1 siRNA reduced PLK-1
         mRNA levels by 50% in intrahepatic Hep3B tumors growing in mice 24 hours after SNALP administration.
         Figure 16 illustrates data demonstrating that a specific cleavage product of PLK-1 mRNA was detectable by 5’
         RACE-PCR in mice treated with 1:57 SNALP containing PLK-1 siRNA. 10 ml PCR product/well were loaded onto a
         1.5% agarose gel. Lane Nos.: (1) molecular weight (MW) marker; (2) PBS mouse 1; (3) PBS mouse 2; (4) PBS
55       mouse 3; (5) Luc SNALP mouse 1; (6) Luc SNALP mouse 2; (7) PLK SNALP mouse 1; (8) PLK SNALP mouse 2;
         (9) PLK SNALP mouse 3; and (10) no template control.
         Figure 17 illustrates data demonstrating that control (Luc) 1:57 SNALP-treated mice displayed normal mitoses in
         Hep3B tumors (top panels), whereas mice treated with 1:57 SNALP containing PLK-1 siRNA exhibited numerous




                                                                  4
                                                                                                               JA001591
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 251 of 1274 PageID #: 8557

                                                        EP 2 279 254 B1

         aberrant mitoses and tumor cell apoptosis in Hep3B tumors (bottom panels).
         Figure 18 illustrates data demonstrating that multiple doses of 1:57 PLK-1 SNALP containing PEG-cDSA induced
         the regression of established Hep3B subcutaneous (S.C.) tumors.
         Figure 19 illustrates data demonstrating PLK-1 mRNA silencing using 1:57 PLK SNALP in S.C. Hep3B tumors
 5       following a single intravenous SNALP administration.
         Figure 20 illustrates data demonstrating that PLK-1 PEG-cDSA SNALP inhibited the growth of large S.C. Hep3B
         tumors.
         Figure 21 illustrates data demonstrating tumor-derived PLK-1 mRNA silencing in Hep3B intrahepatic tumors.
         Figure 22 illustrates data demonstrating the blood clearance profile of 1:57 PLK-1 SNALP containing either PEG-
10       cDMA or PEG-cDSA.

     DETAILED DESCRIPTION OF THE INVENTION

     I. Introduction
15
     [0029] The present invention is based, in part, upon the surprising discovery that lipid particles comprising from about
     50 mol % to about 85 mol % of a cationic lipid, from about 13 mol % to about 49.5 mol % of a non-cationic lipid, and
     from about 0.5 mol % to about 2 mol % of a lipid conjugate provide advantages when used for the in vitro or in vivo
     delivery of an active agent, such as a therapeutic nucleic acid (e.g., an interfering RNA). In particular, as illustrated by
20   the Examples herein, described herein are stable nucleic acid-lipid particles (SNALP) that advantageously impart in-
     creased activity of the encapsulated nucleic acid (e.g., an interfering RNA such as siRNA) and improved tolerability of
     the formulations in vivo, resulting in a significant increase in the therapeutic index as compared to nucleic acid-lipid
     particle compositions previously described. Additionally, the SNALP described herein are stable in circulation, e.g.,
     resistant to degradation by nucleases in serum, and are substantially non-toxic to mammals such as humans. As a non-
25   limiting example, Figure 3 of Example 4 shows that one SNALP embodiment of the invention ("1:57 SNALP") was more
     than 10 times as efficacious as compared to a nucleic acid-lipid particle previously described ("2:30 SNALP") in mediating
     target gene silencing at a 10-fold lower dose. Similarly, Figure 2 of Example 3 shows that the "1:57 SNALP" formulation
     was substantially more effective at silencing the expression of a target gene as compared to nucleic acid-lipid particles
     previously described ("2:40 SNALP").
30   [0030] In certain embodiments, the present disclosure provides improved compositions for the delivery of interfering
     RNA such as siRNA molecules. In particular, the Examples herein illustrate that the improved lipid particle formulations
     described herein are highly effective in downregulating the mRNA and/or protein levels of target genes. Furthermore,
     the Examples herein illustrate that the presence of certain molar ratios of lipid components results in improved or
     enhanced activity of these lipid particle formulations of the present disclosure. For instance, the "1:57 SNALP" and "1:62
35   SNALP" formulations described herein are particularly advantageous because they provide improved efficacy and tol-
     erability in vivo, are serum-stable, are substantially non-toxic, are capable of accessing extravascular sites, and are
     capable of reaching target cell populations.
     [0031] The lipid particles and compositions of the present disclosure may be used for a variety of purposes, including
     the delivery of associated or encapsulated therapeutic agents to cells, both in vitro and in vivo. Accordingly, the present
40   disclosure provides methods for treating diseases or disorders in a subject in need thereof, by contacting the subject
     with a lipid particle described herein comprising one or more suitable therapeutic agents.
     [0032] Various exemplary embodiments of the lipid particles of the present disclosure, as well as compositions and
     formulations comprising the same, and their use to deliver therapeutic agents and modulate target gene and protein
     expression, are described in further detail below.
45
     II. Definitions

     [0033] As used herein, the following terms have the meanings ascribed to them unless specified otherwise.
     [0034] The term "interfering RNA" or "RNAi" or "interfering RNA sequence" refers to single-stranded RNA (e.g., mature
50   miRNA) or double-stranded RNA (i.e., duplex RNA such as siRNA, aiRNA, or pre-miRNA) that is capable of reducing
     or inhibiting the expression of a target gene or sequence (e.g., by mediating the degradation or inhibiting the translation
     of mRNAs which are complementary to the interfering RNA sequence) when the interfering RNA is in the same cell as
     the target gene or sequence. Interfering RNA thus refers to the single-stranded RNA that is complementary to a target
     mRNA sequence or to the double-stranded RNA formed by two complementary strands or by a single, self-complementary
55   strand. Interfering RNA may have substantial or complete identity to the target gene or sequence, or may comprise a
     region of mismatch (i.e., a mismatch motif). The sequence of the interfering RNA can correspond to the full-length target
     gene, or a subsequence thereof.
     [0035] Interfering RNA includes "small-interfering RNA" or "siRNA," e.g., interfering RNA of about 15-60, 15-50, or




                                                                  5
                                                                                                              JA001592
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 252 of 1274 PageID #: 8558

                                                         EP 2 279 254 B1

     15-40 (duplex) nucleotides in length, more typically about 15-30, 15-25, or 19-25 (duplex) nucleotides in length, and is
     preferably about 20-24, 21-22, or 21-23 (duplex) nucleotides in length (e.g., each complementary sequence of the
     double-stranded siRNA is 15-60, 15-50, 15-40, 15-30, 15-25, or 19-25 nucleotides in length, preferably about 20-24,
     21-22, or 21-23 nucleotides in length, and the double-stranded siRNA is about 15-60, 15-50, 15-40, 15-30, 15-25, or
 5   19-25 base pairs in length, preferably about 18-22, 19-20, or 19-21 base pairs in length). siRNA duplexes may comprise
     3’ overhangs of about 1 to about 4 nucleotides or about 2 to about 3 nucleotides and 5’ phosphate termini. Examples
     of siRNA include, without limitation, a double-stranded polynucleotide molecule assembled from two separate stranded
     molecules, wherein one strand is the sense strand and the other is the complementary antisense strand; a double-
     stranded polynucleotide molecule assembled from a single stranded molecule, where the sense and antisense regions
10   are linked by a nucleic acid-based or non-nucleic acid-based linker; a double-stranded polynucleotide molecule with a
     hairpin secondary structure having self-complementary sense and antisense regions; and a circular single-stranded
     polynucleotide molecule with two or more loop structures and a stem having self-complementary sense and antisense
     regions, where the circular polynucleotide can be processed in vivo or in vitro to generate an active double-stranded
     siRNA molecule.
15   [0036] Preferably, siRNA are chemically synthesized. siRNA can also be generated by cleavage of longer dsRNA
     (e.g., dsRNA greater than about 25 nucleotides in length) with the E. coli RNase III or Dicer. These enzymes process
     the dsRNA into biologically active siRNA (see, e.g., Yang et al., Proc. Natl. Acad. Sci. USA, 99:9942-9947 (2002);
     Calegari et al., Proc. Natl. Acad. Sci. USA, 99:14236 (2002); Byrom et al., Ambion TechNotes, 10(1):4-6 (2003); Kawasaki
     et al., Nucleic Acids Res., 31:981-987 (2003); Knight et al., Science, 293:2269-2271 (2001); and Robertson et al., J.
20   Biol. Chem., 243:82 (1968)). Preferably, dsRNA are at least 50 nucleotides to about 100, 200, 300, 400, or 500 nucleotides
     in length. A dsRNA may be as long as 1000, 1500, 2000, 5000 nucleotides in length, or longer. The dsRNA can encode
     for an entire gene transcript or a partial gene transcript. In certain instances, siRNA may be encoded by a plasmid (e.g.,
     transcribed as sequences that automatically fold into duplexes with hairpin loops).
     [0037] As used herein, the term "mismatch motif" or "mismatch region" refers to a portion of an interfering RNA (e.g.,
25   siRNA, aiRNA, miRNA) sequence that does not have 100 % complementarity to its target sequence. An interfering RNA
     may have at least one, two, three, four, five, six, or more mismatch regions. The mismatch regions may be contiguous
     or may be separated by 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, or more nucleotides. The mismatch motifs or regions may
     comprise a single nucleotide or may comprise two, three, four, five, or more nucleotides.
     [0038] An "effective amount" or "therapeutically effective amount" of an active agent or therapeutic agent such as an
30   interfering RNA is an amount sufficient to produce the desired effect, e.g., an inhibition of expression of a target sequence
     in comparison to the normal expression level detected in the absence of an interfering RNA. Inhibition of expression of
     a target gene or target sequence is achieved when the value obtained with an interfering RNA relative to the control is
     about 90%, 85%, 80%, 75%, 70%, 65%, 60%, 55%, 50%, 45%, 40%, 35%, 30%, 25%, 20%, 15%, 10%, 5%, or 0%.
     Suitable assays for measuring expression of a target gene or target sequence include, e.g., examination of protein or
35   RNA levels using techniques known to those of skill in the art such as dot blots, northern blots, in situ hybridization,
     ELISA, immunoprecipitation, enzyme function, as well as phenotypic assays known to those of skill in the art.
     [0039] By "decrease," "decreasing," "reduce," or "reducing" of an immune response by an interfering RNA is intended
     to mean a detectable decrease of an immune response to a given interfering RNA (e.g., a modified interfering RNA).
     The amount of decrease of an immune response by a modified interfering RNA may be determined relative to the level
40   of an immune response in the presence of an unmodified interfering RNA. A detectable decrease can be about 5%,
     10%, 15%, 20%, 25%, 30%, 35%, 40%, 45%, 50%, 55%, 60%, 65%, 70%, 75%, 80%, 85%, 90%, 95%, 100%, or more
     lower than the immune response detected in the presence of the unmodified interfering RNA. A decrease in the immune
     response to interfering RNA is typically measured by a decrease in cytokine production (e.g., IFNγ, IFNα, TNFα, IL-6,
     or IL-12) by a responder cell in vitro or a decrease in cytokine production in the sera of a mammalian subject after
45   administration of the interfering RNA.
     [0040] As used herein, the term "responder cell" refers to a cell, preferably a mammalian cell, that produces a detectable
     immune response when contacted with an immunostimulatory interfering RNA such as an unmodified siRNA. Exemplary
     responder cells include, e.g., dendritic cells, macrophages, peripheral blood mononuclear cells (PBMCs), splenocytes,
     and the like. Detectable immune responses include, e.g., production of cytokines or growth factors such as TNF-α, IFN-
50   α, IFN-β, IFN-γ, IL-1, IL-2, IL-3, IL-4, IL-5, IL-6, IL-10, IL-12, IL-13, TGF, and combinations thereof.
     [0041] "Substantial identity" refers to a sequence that hybridizes to a reference sequence under stringent conditions,
     or to a sequence that has a specified percent identity over a specified region of a reference sequence.
     [0042] The phrase "stringent hybridization conditions" refers to conditions under which a nucleic acid will hybridize to
     its target sequence, typically in a complex mixture of nucleic acids, but to no other sequences. Stringent conditions are
55   sequence-dependent and will be different in different circumstances. Longer sequences hybridize specifically at higher
     temperatures. An extensive guide to the hybridization of nucleic acids is found in Tijssen, Techniques in Biochemistry
     and Molecular Biology--Hybridization with Nucleic Probes, "Overview of principles of hybridization and the strategy of
     nucleic acid assays" (1993). Generally, stringent conditions are selected to be about 5-10°C lower than the thermal




                                                                  6
                                                                                                               JA001593
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 253 of 1274 PageID #: 8559

                                                         EP 2 279 254 B1

     melting point (Tm) for the specific sequence at a defined ionic strength pH. The Tm is the temperature (under defined
     ionic strength, pH, and nucleic concentration) at which 50% of the probes complementary to the target hybridize to the
     target sequence at equilibrium (as the target sequences are present in excess, at Tm, 50% of the probes are occupied
     at equilibrium). Stringent conditions may also be achieved with the addition of destabilizing agents such as formamide.
 5   For selective or specific hybridization, a positive signal is at least two times background, preferably 10 times background
     hybridization.
     [0043] Exemplary stringent hybridization conditions can be as follows: 50% formamide, 5x SSC, and 1% SDS, incu-
     bating at 42°C, or, 5x SSC, 1% SDS, incubating at 65°C, with wash in 0.2x SSC, and 0.1% SDS at 65°C. For PCR, a
     temperature of about 36°C is typical for low stringency amplification, although annealing temperatures may vary between
10   about 32°C and 48°C depending on primer length. For high stringency PCR amplification, a temperature of about 62°C
     is typical, although high stringency annealing temperatures can range from about 50°C to about 65°C, depending on
     the primer length and specificity. Typical cycle conditions for both high and low stringency amplifications include a
     denaturation phase of 90°C-95°C for 30 sec.-2 min., an annealing phase lasting 30 sec.-2 min., and an extension phase
     of about 72°C for 1-2 min. Protocols and guidelines for low and high stringency amplification reactions are provided,
15   e.g., in Innis et al., PCR Protocols, A Guide to Methods and Applications, Academic Press, Inc. N.Y. (1990).
     [0044] Nucleic acids that do not hybridize to each other under stringent conditions are still substantially identical if the
     polypeptides which they encode are substantially identical. This occurs, for example, when a copy of a nucleic acid is
     created using the maximum codon degeneracy permitted by the genetic code. In such cases, the nucleic acids typically
     hybridize under moderately stringent hybridization conditions. Exemplary "moderately stringent hybridization conditions"
20   include a hybridization in a buffer of 40% formamide, 1 M NaCl, 1% SDS at 37°C, and a wash in IX SSC at 45°C. A
     positive hybridization is at least twice background. Those of ordinary skill will readily recognize that alternative hybridi-
     zation and wash conditions can be utilized to provide conditions of similar stringency. Additional guidelines for determining
     hybridization parameters are provided in numerous references, e.g., Current Protocols in Molecular Biology, Ausubel
     et al., eds.
25   [0045] The terms "substantially identical" or "substantial identity," in the context of two or more nucleic acids, refer to
     two or more sequences or subsequences that are the same or have a specified percentage of nucleotides that are the
     same (i.e., at least about 60%, preferably at least about 65%, 70%, 75%, 80%, 85%, 90%, or 95% identity over a specified
     region), when compared and aligned for maximum correspondence over a comparison window, or designated region
     as measured using one of the following sequence comparison algorithms or by manual alignment and visual inspection.
30   This definition, when the context indicates, also refers analogously to the complement of a sequence. Preferably, the
     substantial identity exists over a region that is at least about 5, 10, 15, 20, 25, 30, 35, 40, 45, 50, 55, or 60 nucleotides
     in length.
     [0046] For sequence comparison, typically one sequence acts as a reference sequence, to which test sequences are
     compared. When using a sequence comparison algorithm, test and reference sequences are entered into a computer,
35   subsequence coordinates are designated, if necessary, and sequence algorithm program parameters are designated.
     Default program parameters can be used, or alternative parameters can be designated. The sequence comparison
     algorithm then calculates the percent sequence identities for the test sequences relative to the reference sequence,
     based on the program parameters.
     [0047] A "comparison window," as used herein, includes reference to a segment of any one of a number of contiguous
40   positions selected from the group consisting of from about 5 to about 60, usually about 10 to about 45, more usually
     about 15 to about 30, in which a sequence may be compared to a reference sequence of the same number of contiguous
     positions after the two sequences are optimally aligned. Methods of alignment of sequences for comparison are well
     known in the art. Optimal alignment of sequences for comparison can be conducted, e.g., by the local homology algorithm
     of Smith and Waterman, Adv. Appl. Math., 2:482 (1981), by the homology alignment algorithm of Needleman and
45   Wunsch, J. Mol. Biol., 48:443 (1970), by the search for similarity method of Pearson and Lipman, Proc. Natl. Acad. Sci.
     USA, 85:2444 (1988), by computerized implementations of these algorithms (GAP, BESTFIT, FASTA, and TFASTA in
     the Wisconsin Genetics Software Package, Genetics Computer Group, 575 Science Dr., Madison, WI), or by manual
     alignment and visual inspection (see, e.g., Current Protocols in Molecular Biology, Ausubel et al., eds. (1995 supplement)).
     [0048] A preferred example of algorithms that are suitable for determining percent sequence identity and sequence
50   similarity are the BLAST and BLAST 2.0 algorithms, which are described in Altschul et al., Nuc. Acids Res., 25:3389-3402
     (1977) and Altschul et al., J. Mol. Biol., 215:403-410 (1990), respectively. BLAST and BLAST 2.0 are used, with the
     parameters described herein, to determine percent sequence identity for the nucleic acids described herein. Software
     for performing BLAST analyses is publicly available through the National Center for Biotechnology Information (ht-
     tp://www.ncbi.nlm.nih.gov/).
55   [0049] The BLAST algorithm also performs a statistical analysis of the similarity between two sequences (see, e.g.,
     Karlin and Altschul, Proc. Natl. Acad. Sci. USA, 90:5873-5787 (1993)). One measure of similarity provided by the BLAST
     algorithm is the smallest sum probability (P(N)), which provides an indication of the probability by which a match between
     two nucleotide sequences would occur by chance. For example, a nucleic acid is considered similar to a reference




                                                                  7
                                                                                                               JA001594
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 254 of 1274 PageID #: 8560

                                                           EP 2 279 254 B1

     sequence if the smallest sum probability in a comparison of the test nucleic acid to the reference nucleic acid is less
     than about 0.2, more preferably less than about 0.01, and most preferably less than about 0.001.
     [0050] The term "nucleic acid" as used herein refers to a polymer containing at least two deoxyribonucleotides or
     ribonucleotides in either single- or double-stranded form and includes DNA and RNA. DNA may be in the form of, e.g.,
 5   antisense molecules, plasmid DNA, pre-condensed DNA, a PCR product, vectors (P1, PAC, BAC, YAC, artificial chro-
     mosomes), expression cassettes, chimeric sequences, chromosomal DNA, or derivatives and combinations of these
     groups. RNA may be in the form of siRNA, asymmetrical interfering RNA (aiRNA), microRNA (miRNA), mRNA, tRNA,
     rRNA, tRNA, viral RNA (vRNA), and combinations thereof. Nucleic acids include nucleic acids containing known nucle-
     otide analogs or modified backbone residues or linkages, which are synthetic, naturally occurring, and non-naturally
10   occurring, and which have similar binding properties as the reference nucleic acid. Examples of such analogs include,
     without limitation, phosphorothioates, phosphoramidates, methyl phosphonates, chiral-methyl phosphonates, 2’-O-me-
     thyl ribonucleotides, and peptide-nucleic acids (PNAs). Unless specifically limited, the term encompasses nucleic acids
     containing known analogues of natural nucleotides that have similar binding properties as the reference nucleic acid.
     Unless otherwise indicated, a particular nucleic acid sequence also implicitly encompasses conservatively modified
15   variants thereof (e.g., degenerate codon substitutions), alleles, orthologs, SNPs, and complementary sequences as well
     as the sequence explicitly indicated. Specifically, degenerate codon substitutions may be achieved by generating se-
     quences in which the third position of one or more selected (or all) codons is substituted with mixed-base and/or deox-
     yinosine residues (Batzer et al., Nucleic Acid Res., 19:5081 (1991); Ohtsuka et al., J. Biol. Chem., 260:2605-2608 (1985);
     Rossolini et al., Mol. Cell. Probes, 8:91-98 (1994)). "Nucleotides" contain a sugar deoxyribose (DNA) or ribose (RNA),
20   a base, and a phosphate group. Nucleotides are linked together through the phosphate groups. "Bases" include purines
     and pyrimidines, which further include natural compounds adenine, thymine, guanine, cytosine, uracil, inosine, and
     natural analogs, and synthetic derivatives of purines and pyrimidines, which include, but are not limited to, modifications
     which place new reactive groups such as, but not limited to, amines, alcohols, thiols, carboxylates, and alkylhalides.
     [0051] The term "gene" refers to a nucleic acid (e.g., DNA or RNA) sequence that comprises partial length or entire
25   length coding sequences necessary for the production of a polypeptide or precursor polypeptide.
     [0052] "Gene product," as used herein, refers to a product of a gene such as an RNA transcript or a polypeptide.
     [0053] The term "lipid" refers to a group of organic compounds that include, but are not limited to, esters of fatty acids
     and are characterized by being insoluble in water, but soluble in many organic solvents. They are usually divided into
     at least three classes: (1) "simple lipids," which include fats and oils as well as waxes; (2) "compound lipids," which
30   include phospholipids and glycolipids; and (3) "derived lipids" such as steroids.
     [0054] A "lipid particle" is used herein to refer to a lipid formulation that can be used to deliver an active agent or
     therapeutic agent, such as a nucleic acid (e.g., an interfering RNA), to a target site of interest. In the lipid particle of the
     present disclosure, which is typically formed from a cationic lipid, a non-cationic lipid, and a conjugated lipid that prevents
     aggregation of the particle, the active agent or therapeutic agent may be encapsulated in the lipid, thereby protecting
35   the agent from enzymatic degradation.
     [0055] As used herein, the term "SNALP" refers to a stable nucleic acid-lipid particle. A SNALP represents a particle
     made from lipids (e.g., a cationic lipid, a non-cationic lipid, and a conjugated lipid that prevents aggregation of the particle),
     wherein the nucleic acid (e.g., siRNA, aiRNA, miRNA, ssDNA, dsDNA, ssRNA, short hairpin RNA (shRNA), dsRNA, or
     a plasmid, including plasmids from which an interfering RNA is transcribed) is fully encapsulated within the lipid. As used
40   herein, the term "SNALP" includes an SPLP, which is the term used to refer to a nucleic acid-lipid particle comprising a
     nucleic acid (e.g., a plasmid) encapsulated within the lipid. SNALP and SPLP typically contain a cationic lipid, a non-
     cationic lipid, and a lipid conjugate (e.g., a PEG-lipid conjugate). SNALP and SPLP are extremely useful for systemic
     applications, as they can exhibit extended circulation lifetimes following intravenous (i.v.) injection, they can accumulate
     at distal sites (e.g., sites physically separated from the administration site), and they can mediate expression of the
45   transfected gene or silencing of target gene expression at these distal sites. SPLP include "pSPLP," which comprise an
     encapsulated condensing agent-nucleic acid complex as set forth in PCT Publication No. WO 00/03683.
     [0056] The lipid particles described herein (e.g., SNALP) typically have a mean diameter of from about 40 nm to about
     150 nm, from about 50 nm to about 150 nm, from about 60 nm to about 130 nm, from about 70 nm to about 110 nm, or
     from about 70 to about 90 nm, and are substantially non-toxic. In addition, nucleic acids, when present in the lipid
50   particles, are resistant in aqueous solution to degradation with a nuclease. Nucleic acid-lipid particles and their method
     of preparation are disclosed in, e.g., U.S. Patent Publication Nos. 20040142025 and 20070042031.
     [0057] As used herein, "lipid encapsulated" can refer to a lipid particle that provides an active agent or therapeutic
     agent, such as a nucleic acid (e.g., an interfering RNA), with full encapsulation, partial encapsulation, or both. In a
     preferred embodiment, the nucleic acid is fully encapsulated in the lipid particle (e.g., to form an SPLP, pSPLP, SNALP,
55   or other nucleic acid-lipid particle).
     [0058] The term "lipid conjugate" refers to a conjugated lipid that inhibits aggregation of lipid particles. Such lipid
     conjugates include, but are not limited to, polyamide oligomers (e.g., ATTA-lipid conjugates), PEG-lipid conjugates, such
     as PEG coupled to dialkyloxypropyls, PEG coupled to diacylglycerols, PEG coupled to cholesterol, PEG coupled to




                                                                     8
                                                                                                                   JA001595
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 255 of 1274 PageID #: 8561

                                                           EP 2 279 254 B1

     phosphatidylethanolamines, PEG conjugated to ceramides (see, e.g., U.S. Patent No. 5,885,613), cationic PEG lipids,
     and mixtures thereof. PEG can be conjugated directly to the lipid or may be linked to the lipid via a linker moiety. Any
     linker moiety suitable for coupling the PEG to a lipid can be used including, e.g., non-ester containing linker moieties
     and ester-containing linker moieties. In preferred embodiments, non-ester containing linker moieties are used.
 5   [0059] The term "amphipathic lipid" refers, in part, to any suitable material wherein the hydrophobic portion of the lipid
     material orients into a hydrophobic phase, while the hydrophilic portion orients toward the aqueous phase. Hydrophilic
     characteristics derive from the presence of polar or charged groups such as carbohydrates, phosphate, carboxylic,
     sulfato, amino, sulfhydryl, nitro, hydroxyl, and other like groups. Hydrophobicity can be conferred by the inclusion of
     apolar groups that include, but are not limited to, long-chain saturated and unsaturated aliphatic hydrocarbon groups
10   and such groups substituted by one or more aromatic, cycloaliphatic, or heterocyclic group(s). Examples of amphipathic
     compounds include, but are not limited to, phospholipids, aminolipids, and sphingolipids.
     [0060] Representative examples of phospholipids include, but are not limited to, phosphatidylcholine, phosphatidyleth-
     anolamine, phosphatidylserine, phosphatidylinositol, phosphatidic acid, palmitoyloleoyl phosphatidylcholine, lysophos-
     phatidylcholine, lysophosphatidylethano lamine, dipalmitoylphosphatidylcho line, dio leoylphosphatidylcho line, dis-
15   tearoylphosphatidylcholine, and dilinoleoylphosphatidylcholine. Other compounds lacking in phosphorus, such as sphin-
     golipid, glycosphingolipid families, diacylglycerols, and β-acyloxyacids, are also within the group designated as amphip-
     athic lipids. Additionally, the amphipathic lipids described above can be mixed with other lipids including triglycerides
     and sterols.
     [0061] The term "neutral lipid" refers to any of a number of lipid species that exist either in an uncharged or neutral
20   zwitterionic form at a selected pH. At physiological pH, such lipids include, for example, diacylphosphatidylcholine,
     diacylphosphatidylethano lamine, ceramide, sphingomyelin, cephalin, cholesterol, cerebrosides, and diacylglycerols.
     [0062] The term "non-cationic lipid" refers to any amphipathic lipid as well as any other neutral lipid or anionic lipid.
     [0063] The term "anionic lipid" refers to any lipid that is negatively charged at physiological pH. These lipids include,
     but are not limited to, phosphatidylglycerols, cardiolipins, diacylphosphatidylserines, diacylphosphatidic acids, N-do-
25   decanoyl phosphatidylethanolamines, N-succinyl phosphatidylethanolamines, N-glutarylphosphatidylethano lamines,
     lysylphosphatidylglycerols, palmitoyloleyolphosphatidylglycerol (POPG), and other anionic modifying groups joined to
     neutral lipids.
     [0064] The term "cationic lipid" refers to any of a number of lipid species that carry a net positive charge at a selected
     pH, such as physiological pH (e.g., pH of about 7.0). It has been surprisingly found that cationic lipids comprising alkyl
30   chains with multiple sites of unsaturation, e.g., at least two or three sites of unsaturation, are particularly useful for forming
     lipid particles with increased membrane fluidity. A number of cationic lipids and related analogs, which are also useful
     in the present invention, have been described in U.S. Patent Publication Nos. 20060083780 and 20060240554; U.S.
     Patent Nos. 5,208,036; 5,264,618; 5,279,833; 5,283,185; 5,753,613; and 5,785,992; and PCT Publication No. WO
     96/10390. Non-limiting examples of cationic lipids are described in detail herein. In some cases, the cationic lipids
35   comprise a protonatable tertiary amine (e.g., pH titratable) head group, C18 alkyl chains, ether linkages between the
     head group and alkyl chains, and 0 to 3 double bonds. Such lipids include, e.g., DSDMA, DLinDMA, DLenDMA, and
     DODMA.
     [0065] The term "hydrophobic lipid" refers to compounds having apolar groups that include, but are not limited to, long-
     chain saturated and unsaturated aliphatic hydrocarbon groups and such groups optionally substituted by one or more
40   aromatic, cycloaliphatic, or heterocyclic group(s). Suitable examples include, but are not limited to, diacylglycerol, di-
     alkylglycerol, N-N-dialkylamino, 1,2-diacyloxy-3-aminopropane, and 1,2-dialkyl-3-aminopropane.
     [0066] The term "fusogenic" refers to the ability of a lipid particle, such as a SNALP, to fuse with the membranes of a
     cell. The membranes can be either the plasma membrane or membranes surrounding organelles, e.g., endosome,
     nucleus, etc.
45   [0067] As used herein, the term "aqueous solution" refers to a composition comprising in whole, or in part, water.
     [0068] As used herein, the term "organic lipid solution" refers to a composition comprising in whole, or in part, an
     organic solvent having a lipid.
     [0069] "Distal site," as used herein, refers to a physically separated site, which is not limited to an adjacent capillary
     bed, but includes sites broadly distributed throughout an organism.
50   [0070] "Serum-stable" in relation to nucleic acid-lipid particles such as SNALP means that the particle is not significantly
     degraded after exposure to a serum or nuclease assay that would significantly degrade free DNA or RNA. Suitable
     assays include, for example, a standard serum assay, a DNAse assay, or an RNAse assay.
     [0071] "Systemic delivery," as used herein, refers to delivery of lipid particles that leads to a broad biodistribution of
     an active agent or therapeutic agent such as an interfering RNA within an organism. Some techniques of administration
55   can lead to the systemic delivery of certain agents, but not others. Systemic delivery means that a useful, preferably
     therapeutic, amount of an agent is exposed to most parts of the body. To obtain broad biodistribution generally requires
     a blood lifetime such that the agent is not rapidly degraded or cleared (such as by first pass organs (liver, lung, etc.) or
     by rapid, nonspecific cell binding) before reaching a disease site distal to the site of administration. Systemic delivery




                                                                     9
                                                                                                                   JA001596
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 256 of 1274 PageID #: 8562

                                                         EP 2 279 254 B1

     of lipid particles can be by any means known in the art including, for example, intravenous, subcutaneous, and intra-
     peritoneal. In a preferred embodiment, systemic delivery of lipid particles is by intravenous delivery.
     [0072] "Local delivery," as used herein, refers to delivery of an active agent or therapeutic agent such as an interfering
     RNA directly to a target site within an organism. For example, an agent can be locally delivered by direct injection into
 5   a disease site such as a tumor or other target site such as a site of inflammation or a target organ such as the liver,
     heart, pancreas, kidney, and the like.
     [0073] The term "mammal" refers to any mammalian species such as a human, mouse, rat, dog, cat, hamster, guinea
     pig, rabbit, livestock, and the like.
     [0074] The term "cancer" refers to any member of a class of diseases characterized by the uncontrolled growth of
10   aberrant cells. The term includes all known cancers and neoplastic conditions, whether characterized as malignant,
     benign, soft tissue, or solid, and cancers of all stages and grades including pre- and post-metastatic cancers. Examples
     of different types of cancer include, but are not limited to, lung cancer, colon cancer, rectal cancer, anal cancer, bile duct
     cancer, small intestine cancer, stomach (gastric) cancer, esophageal cancer; gallbladder cancer, liver cancer, pancreatic
     cancer, appendix cancer, breast cancer, ovarian cancer; cervical cancer, prostate cancer, renal cancer (e.g., renal cell
15   carcinoma), cancer of the central nervous system, glioblastoma, skin cancer, lymphomas, choriocarcinomas, head and
     neck cancers, osteogenic sarcomas, and blood cancers. Non-limiting examples of specific types of liver cancer include
     hepatocellular carcinoma (HCC), secondary liver cancer (e.g., caused by metastasis of some other non-liver cancer cell
     type), and hepatoblastoma. As used herein, a "tumor" comprises one or more cancerous cells.

20   III. Description of the Embodiments

     [0075] The present disclosure provides novel, serum-stable lipid particles comprising one or more active agents or
     therapeutic agents, methods of making the lipid particles, and methods of delivering and/or administering the lipid particles
     (e.g., for the treatment of a disease or disorder).
25   [0076] In one aspect, the present disclosure provides lipid particles comprising: (a) one or more active agents or
     therapeutic agents; (b) one or more cationic lipids comprising from about 50 mol % to about 85 mol % of the total lipid
     present in the particle; (c) one or more non-cationic lipids comprising from about 13 mol % to about 49.5 mol % of the
     total lipid present in the particle; and (d) one or more conjugated lipids that inhibit aggregation of particles comprising
     from about 0.5 mol % to about 2 mol % of the total lipid present in the particle.
30   [0077] In certain embodiments, the active agent or therapeutic agent is fully encapsulated within the lipid portion of
     the lipid particle such that the active agent or therapeutic agent in the lipid particle is resistant in aqueous solution to
     enzymatic degradation, e.g., by a nuclease or protease. In certain other embodiments, the lipid particles are substantially
     non-toxic to mammals such as humans.
     [0078] In some embodiments, the active agent or therapeutic agent comprises a nucleic acid. In certain instances,
35   the nucleic acid comprises an interfering RNA molecule such as, e.g., an siRNA, aiRNA, miRNA, or mixtures thereof.
     In certain other instances, the nucleic acid comprises single-stranded or double-stranded DNA, RNA, or a DNA/RNA
     hybrid such as, e.g., an antisense oligonucleotide, a ribozyme, a plasmid, an immunostimulatory oligonucleotide, or
     mixtures thereof.
     [0079] In other embodiments, the active agent or therapeutic agent comprises a peptide or polypeptide. In certain
40   instances, the peptide or polypeptide comprises an antibody such as, e.g., a polyclonal antibody, a monoclonal antibody,
     an antibody fragment; a humanized antibody, a recombinant antibody, a recombinant human antibody, a Primatized™
     antibody, or mixtures thereof. In certain other instances, the peptide or polypeptide comprises a cytokine, a growth factor,
     an apoptotic factor, a differentiation-inducing factor, a cell-surface receptor, a ligand, a hormone, a small molecule (e.g.,
     small organic molecule or compound), or mixtures thereof.
45   [0080] In preferred embodiments, the active agent or therapeutic agent comprises an siRNA. In one embodiment, the
     siRNA molecule comprises a double-stranded region of about 15 to about 60 nucleotides in length (e.g., about 15-60,
     15-50, 15-40, 15-30, 15-25, or 19-25 nucleotides in length, or 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, or 25 nucleotides
     in length). The siRNA molecules described herein are capable of silencing the expression of a target sequence in vitro
     and/or in vivo.
50   [0081] In some embodiments, the siRNA molecule comprises at least one modified nucleotide. In certain preferred
     embodiments, the siRNA molecule comprises one, two, three, four, five, six, seven, eight, nine, ten, or more modified
     nucleotides in the double-stranded region. In certain instances, the siRNA comprises from about 1% to about 100%
     (e.g., about 1%, 5%, 10%, 15%, 20%, 25%, 30%, 35%, 40%, 45%, 50%, 55%, 60%, 65%, 70%, 75%, 80%, 85%, 90%,
     95%, or 100%) modified nucleotides in the double-stranded region. In preferred embodiments, less than about 25%
55   (e.g., less than about 25%, 20%, 15%, 10%, or 5%) or from about 1% to about 25% (e.g., from about 1%-25%, 5%-
     25%, 10%-25%, 15%-25%, 20%-25%, or 10%-20%) of the nucleotides in the double-stranded region comprise modified
     nucleotides.
     [0082] In other embodiments, the siRNA molecule comprises modified nucleotides including, but not limited to, 2’-O-




                                                                  10
                                                                                                                JA001597
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 257 of 1274 PageID #: 8563

                                                        EP 2 279 254 B1

     methyl (2’OMe) nucleotides, 2’-deoxy-2’-fluoro (2’F) nucleotides, 2’-deoxy nucleotides, 2’-O-(2-methoxyethyl) (MOE)
     nucleotides, locked nucleic acid (LNA) nucleotides, and mixtures thereof. In preferred embodiments, the siRNA comprises
     2’OMe nucleotides (e.g., 2’OMe purine and/or pyrimidine nucleotides) such as, for example, 2’OMe-guanosine nucle-
     otides, 2’OMe-uridine nucleotides, 2’OMe-adenosine nucleotides, 2’OMe-cytosine nucleotides, and mixtures thereof. In
 5   certain instances, the siRNA does not comprise 2’OMe-cytosine nucleotides. In other embodiments, the siRNA comprises
     a hairpin loop structure.
     [0083] The siRNA may comprise modified nucleotides in one strand (i.e., sense or antisense) or both strands of the
     double-stranded region of the siRNA molecule. Preferably, uridine and/or guanosine nucleotides are modified at selective
     positions in the double-stranded region of the siRNA duplex. With regard to uridine nucleotide modifications, at least
10   one, two, three, four, five, six, or more of the uridine nucleotides in the sense and/or antisense strand can be a modified
     uridine nucleotide such as a 2’OMe-uridine nucleotide. In some embodiments, every uridine nucleotide in the sense
     and/or antisense strand is a 2’OMe-uridine nucleotide. With regard to guanosine nucleotide modifications, at least one,
     two, three, four, five, six, or more of the guanosine nucleotides in the sense and/or antisense strand can be a modified
     guanosine nucleotide such as a 2’OMe-guanosine nucleotide. In some embodiments, every guanosine nucleotide in the
15   sense and/or antisense strand is a 2’OMe-guanosine nucleotide.
     [0084] In certain embodiments, at least one, two, three, four, five, six, seven, or more 5’-GU-3’ motifs in an siRNA
     sequence may be modified, e.g., by introducing mismatches to eliminate the 5’-GU-3’ motifs and/or by introducing
     modified nucleotides such as 2’OMe nucleotides. The 5’-GU-3’ motif can be in the sense strand, the antisense strand,
     or both strands of the siRNA sequence. The 5’-GU-3’ motifs may be adjacent to each other or, alternatively, they may
20   be separated by 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, or more nucleotides.
     [0085] In some preferred embodiments, a modified siRNA molecule is less immunostimulatory than a corresponding
     unmodified siRNA sequence. In such embodiments, the modified siRNA molecule with reduced immunostimulatory
     properties advantageously retains RNAi activity against the target sequence. In another embodiment, the immunostim-
     ulatory properties of the modified siRNA molecule and its ability to silence target gene expression can be balanced or
25   optimized by the introduction of minimal and selective 2’OMe modifications within the siRNA sequence such as, e.g.,
     within the double-stranded region of the siRNA duplex. In certain instances, the modified siRNA is at least about 5%,
     10%, 15%, 20%, 25%, 30%, 35%, 40%, 45%, 50%, 55%, 60%, 65%, 70%, 75%, 80%, 85%, 90%, 91%, 92%, 93%,
     94%, 95%, 96%, 97%, 98%, 99%, or 100% less immunostimulatory than the corresponding unmodified siRNA. It will
     be readily apparent to those of skill in the art that the immunostimulatory properties of the modified siRNA molecule and
30   the corresponding unmodified siRNA molecule can be determined by, for example, measuring INF-α and/or IL-6 levels
     from about two to about twelve hours after systemic administration in a mammal or transfection of a mammalian responder
     cell using an appropriate lipid-based delivery system (such as the SNALP delivery system disclosed herein).
     [0086] In certain embodiments, a modified siRNA molecule has an IC50 (i.e., half-maximal inhibitory concentration)
     less than or equal to ten-fold that of the corresponding unmodified siRNA (i.e., the modified siRNA has an IC50 that is
35   less than or equal to ten-times the IC50 of the corresponding unmodified siRNA). In other embodiments, the modified
     siRNA has an IC50 less than or equal to three-fold that of the corresponding unmodified siRNA sequence. In yet other
     embodiments, the modified siRNA has an IC50 less than or equal to two-fold that of the corresponding unmodified siRNA.
     It will be readily apparent to those of skill in the art that a dose-response curve can be generated and the IC50 values
     for the modified siRNA and the corresponding unmodified siRNA can be readily determined using methods known to
40   those of skill in the art.
     [0087] In yet another embodiment, a modified siRNA molecule is capable of silencing at least about 5%, 10%, 15%,
     20%, 25%, 30%, 35%, 40%, 45%, 50%, 55%, 60%, 65%, 70%, 75%, 80%, 85%, 90%, 95%, or 100% of the expression
     of the target sequence relative to the corresponding unmodified siRNA sequence.
     [0088] In some embodiments, the siRNA molecule does not comprise phosphate backbone modifications, e.g., in the
45   sense and/or antisense strand of the double-stranded region. In other embodiments, the siRNA comprises one, two,
     three, four, or more phosphate backbone modifications, e.g., in the sense and/or antisense strand of the double-stranded
     region. In preferred embodiments, the siRNA does not comprise phosphate backbone modifications.
     [0089] In further embodiments, the siRNA does not comprise 2’-deoxy nucleotides, e.g., in the sense and/or antisense
     strand of the double-stranded region. In yet further embodiments, the siRNA comprises one, two, three, four, or more
50   2’-deoxy nucleotides, e.g., in the sense and/or antisense strand of the double-stranded region. In preferred embodiments,
     the siRNA does not comprise 2’-deoxy nucleotides.
     [0090] In certain instances, the nucleotide at the 3’-end of the double-stranded region in the sense and/or antisense
     strand is not a modified nucleotide. In certain other instances, the nucleotides near the 3’-end (e.g., within one, two,
     three, or four nucleotides of the 3’-end) of the double-stranded region in the sense and/or antisense strand are not
55   modified nucleotides.
     [0091] The siRNA molecules described herein may have 3’ overhangs of one, two, three, four, or more nucleotides
     on one or both sides of the double-stranded region, or may lack overhangs (i.e., have blunt ends) on one or both sides
     of the double-stranded region. Preferably, the siRNA has 3’ overhangs of two nucleotides on each side of the double-




                                                                 11
                                                                                                             JA001598
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 258 of 1274 PageID #: 8564

                                                         EP 2 279 254 B1

     stranded region. In certain instances, the 3’ overhang on the antisense strand has complementarity to the target sequence
     and the 3’ overhang on the sense strand has complementarity to a complementary strand of the target sequence.
     Alternatively, the 3’ overhangs do not have complementarity to the target sequence or the complementary strand thereof.
     In some embodiments, the 3’ overhangs comprise one, two, three, four, or more nucleotides such as 2’-deoxy (2’H)
 5   nucleotides. In certain preferred embodiments, the 3’ overhangs comprise deoxythymidine (dT) and/or uridine nucle-
     otides. In other embodiments, one or more of the nucleotides in the 3’ overhangs on one or both sides of the double-
     stranded region comprise modified nucleotides. Non-limiting examples of modified nucleotides are described above and
     include 2’OMe nucleotides, 2’-deoxy-2’F nucleotides, 2’-deoxy nucleotides, 2’-O-2-MOE nucleotides, LNA nucleotides,
     and mixtures thereof. In preferred embodiments, one, two, three, four, or more nucleotides in the 3’ overhangs present
10   on the sense and/or antisense strand of the siRNA comprise 2’OMe nucleotides (e.g., 2’OMe purine and/or pyrimidine
     nucleotides) such as, for example, 2’OMe-guanosine nucleotides, 2’OMe-uridine nucleotides, 2’OMe-adenosine nucle-
     otides, 2’OMe-cytosine nucleotides, and mixtures thereof.
     [0092] The siRNA may comprise at least one or a cocktail (e.g., at least two, three, four, five, six, seven, eight, nine,
     ten, or more) of unmodified and/or modified siRNA sequences that silence target gene expression. The cocktail of siRNA
15   may comprise sequences which are directed to the same region or domain (e.g., a "hot spot") and/or to different regions
     or domains of one or more target genes. In certain instances, one or more (e.g., at least two, three, four, five, six, seven,
     eight, nine, ten, or more) modified siRNA that silence target gene expression are present in a cocktail. In certain other
     instances, one or more (e.g., at least two, three, four, five, six, seven, eight, nine, ten, or more) unmodified siRNA
     sequences that silence target gene expression are present in a cocktail.
20   [0093] In some embodiments, the antisense strand of the siRNA molecule comprises or consists of a sequence that
     is at least about 80%, 85%, 90%, 95%, 96%, 97%, 98%, or 99% complementary to the target sequence or a portion
     thereof. In other embodiments, the antisense strand of the siRNA molecule comprises or consists of a sequence that is
     100% complementary to the target sequence or a portion thereof. In further embodiments, the antisense strand of the
     siRNA molecule comprises or consists of a sequence that specifically hybridizes to the target sequence or a portion
25   thereof.
     [0094] In further embodiments, the sense strand of the siRNA molecule comprises or consists of a sequence that is
     at least about 80%, 85%, 90%, 95%, 96%, 97%, 98%, or 99% identical to the target sequence or a portion thereof. In
     additional embodiments, the sense strand of the siRNA molecule comprises or consists of a sequence that is 100%
     identical to the target sequence or a portion thereof.
30   [0095] In the lipid particles described herein (e.g., SNALP comprising an interfering RNA such as siRNA), the cationic
     lipid may comprise, e.g., one or more of the following: 1,2-dilinoleyloxy-N,N-dimethylaminopropane (DLinDMA), 1,2-
     dilinolenyloxy-N,N-dimethylaminopropane (DLenDMA), 2,2-dilinoleyl-4-(2-dimethylaminoethyl)-[1,3]-dioxolane (DLin-K-
     C2-DMA; "XTC2"), 2,2-dilinoleyl-4-(3-dimethylaminopropyl)-[1,3]-dioxolane (DLin-K-C3-DMA), 2,2-dilinoleyl-4-(4-
     dimethylaminobutyl)-[1,3]-dioxolane (DLin-K-C4-DMA), 2,2-dilinoleyl-5-dimethylaminomethyl-[1,3]-dioxane (DLin-K6-
35   DMA), 2,2-dilinoleyl-4-N-methylpepiazino-[1,3]-dioxolane (DLin-K-MPZ), 2,2-dilinoleyl-4-dimethylaminomethyl-[1,3]-di-
     oxolane (DLin-K-DMA), 1,2-dilinoleylcarbamoyloxy-3-dimethylaminopropane (DLin-C-DAP), 1,2-dilinoleyoxy-3-(dimeth-
     ylamino)acetoxypropane (DLin-DAC), 1,2-dilinoleyoxy-3-morpholinopropane (DLin-MA), 1,2-dilinoleoyl-3-dimethylami-
     nopropane (DLinDAP), 1,2-dilinoleylthio-3-dimethylaminopropane (DLin-S-DMA), 1-linoleoyl-2-linoleyloxy-3-dimethyl-
     aminopropane (DLin-2-DMAP), 1,2-dilinoleyloxy-3-trimethylaminopropane chloride salt (DLin-TMA.Cl), 1,2-dilinoleoyl-
40   3-trimethylaminopropane chloride salt (DLin-TAP.Cl), 1,2-dilinoleyloxy-3-(N-methylpiperazino)propane (DLin-MPZ),
     3-(N,N-dilinoleylamino)-1,2-propanediol (DLinAP), 3-(N,N-dioleylamino)-1,2-propanedio (DOAP), 1,2-dilinoleyloxo-3-(2-
     N,N-dimethylamino)ethoxypropane (DLin-EG-DMA), N,N-dioleyl-N,N-dimethylammonium chloride (DODAC), 1,2-dio-
     leyloxy-N,N-dimethylaminopropane (DODMA), 1,2-distearyloxy-N,N-dimethylaminopropane (DSDMA), N-(1-(2,3-dio-
     leyloxy)propyl)-N,N,N-trimethylammonium chloride (DOTMA), N,N-distearyl-N,N-dimethylammonium bromide (DDAB),
45   N-(1-(2,3-dioleoyloxy)propyl)-N,N,N-trimethylammonium chloride (DOTAP), 3 - (N-(N’,N’-dimethylaminoethane)-car-
     bamoyl)cholesterol (DC-Chol), N-(1,2-dimyristyloxyprop-3-yl)-N,N-dimethyl-N-hydroxyethyl ammonium bromide (DM-
     RIE), 2,3-dioleyloxy-N-[2(spermine-carboxamido)ethyl]-N,N-dimethyl-1-propanaminiumtrifluoroacetate (DOSPA), di-
     octadecylamidoglycyl spermine (DOGS), 3-dimethylamino-2-(cholest-5-en-3-beta-oxybutan-4-oxy)-1-(cis,cis-9,12-octa-
     decadienoxy)propane (CLinDMA), 2-[5’-(cholest-5-en-3-beta-oxy)-3’-oxapentoxy)-3-dimethy-1-(cis,cis-9’,1-2’-octadec-
50   adienoxy)propane(CpLinDMA), N,N-dimethyl-3,4-dioleyloxybenzylamine (DMOBA), 1,2-N,N’-dioleylcarbamyl-3-
     dimethylaminopropane (DOcarbDAP), 1,2-N,N’-dilinoleylcarbamyl-3-dimethylaminopropane (DLincarbDAP), or mix-
     tures thereof. In certain preferred embodiments, the cationic lipid is DLinDMA, DLin-K-C2-DMA ("XTC2"), or mixtures
     thereof.
     [0096] The synthesis of cationic lipids such as DLin-K-C2-DMA ("XTC2"), DLin-K-C3-DMA, DLin-K-C4-DMA, DLin-
55   K6-DMA, and DLin-K-MPZ, as well as additional cationic lipids, is described in U.S. Provisional Application No.
     61/104,212, filed October 9, 2008. The synthesis of cationic lipids such as DLin-K-DMA, DLin-C-DAP, DLin-DAC, DLin-
     MA, DLinDAP, DLin-S-DMA, DLin-2-DMAP, DLin-TMA.Cl, DLin-TAP.Cl, DLin-MPZ, DLinAP, DOAP, and DLin-EG-DMA,
     as well as additional cationic lipids, is described in PCT Application No. PCT/US08/88676, filed December 31, 2008.




                                                                  12
                                                                                                               JA001599
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 259 of 1274 PageID #: 8565

                                                         EP 2 279 254 B1

     The synthesis of cationic lipids such as CLinDMA, as well as additional cationic lipids, is described in U.S. Patent
     Publication No. 20060240554.
     [0097] In some embodiments described herein, the cationic lipid may comprise from about 50 mol % to about 90 mol
     %, from about 50 mol % to about 85 mol %, from about 50 mol % to about 80 mol %, from about 50 mol % to about 75
 5   mol %, from about 50 mol % to about 70 mol %, from about 50 mol % to about 65 mol %, or from about 50 mol % to
     about 60 mol % of the total lipid present in the particle.
     [0098] In other embodiments, the cationic lipid may comprise from about 55 mol % to about 90 mol %, from about 55
     mol % to about 85 mol %, from about 55 mol % to about 80 mol %, from about 55 mol % to about 75 mol %, from about
     55 mol % to about 70 mol %, or from about 55 mol % to about 65 mol % of the total lipid present in the particle.
10   [0099] In yet other embodiments, the cationic lipid may comprise from about 60 mol % to about 90 mol %, from about
     60 mol % to about 85 mol %, from about 60 mol % to about 80 mol %, from about 60 mol % to about 75 mol %, or from
     about 60 mol % to about 70 mol % of the total lipid present in the particle.
     [0100] In still yet other embodiments, the cationic lipid may comprise from about 65 mol % to about 90 mol %, from
     about 65 mol % to about 85 mol %, from about 65 mol % to about 80 mol %, or from about 65 mol % to about 75 mol
15   % of the total lipid present in the particle.
     [0101] In further embodiments, the cationic lipid may comprise from about 70 mol % to about 90 mol %, from about
     70 mol % to about 85 mol %, from about 70 mol % to about 80 mol %, from about 75 mol % to about 90 mol %, from
     about 75 mol % to about 85 mol %, or from about 80 mol % to about 90 mol % of the total lipid present in the particle.
     [0102] In additional embodiments, the cationic lipid may comprise (at least) about 50, 51, 52, 53, 54, 55, 56, 57, 58,
20   59, 60, 61, 62, 63, 64, 65, 66, 67, 68, 69, 70, 71, 72, 73, 74, 75, 76, 77, 78, 79, 80, 81, 82, 83, 84, 85, 86, 87, 88, 89, or
     90 mol % (or any fraction thereof or range therein) of the total lipid present in the particle.
     [0103] In the lipid particles of the present disclosure (e.g., SNALP comprising an interfering RNA such as siRNA), the
     non-cationic lipid may comprise, e.g., one or more anionic lipids and/or neutral lipids. The non-cationic lipid may comprise
     one of the following neutral lipid components: (1) cholesterol or a derivative thereof; (2) a phospholipid; or (3) a mixture
25   of a phospholipid and cholesterol or a derivative thereof.
     [0104] Examples of cholesterol derivatives include, but are not limited to, cholestanol, cholestanone, cholestenone,
     coprostanol, cholesteryl-2’-hydroxyethyl ether, cholesteryl-4’-hydroxybutyl ether, and mixtures thereof. The synthesis of
     cholesteryl-2’-hydroxyethyl ether is described herein.
     [0105] The phospholipid may be a neutral lipid including, but not limited to, dipalmitoylphosphatidylcholine (DPPC),
30   distearoylphosphatidylcholine (DSPC), dioleoylphosphatidylethanolamine (DOPE), palmitoyloleoyl-phosphatidylcholine
     (POPC), palmitoyloleoyl-phosphatidylethanolamine (POPE), palmitoyloleyol-phosphatidylglycerol (POPG), dipalmitoyl-
     phosphatidylethanolamine (DPPE), dimyristoyl-phosphatidylethanolamine (DMPE), distearoyl-phosphatidyleth-
     anolamine (DSPE), monomethyl-phosphatidylethanolamine, dimethyl-phosphatidylethanolamine, dielaidoyl-phosphati-
     dylethanolamine (DEPE), stearoyloleoyl-phosphatidylethanolamine (SOPE), egg phosphatidylcholine (EPC), and mix-
35   tures thereof. In certain preferred embodiments, the phospholipid is DPPC, DSPC, or mixtures thereof.
     [0106] In some embodiments described herein, the non-cationic lipid (e.g., one or more phospholipids and/or choles-
     terol) may comprise from about 10 mol % to about 60 mol %, from about 15 mol % to about 60 mol %, from about 20
     mol % to about 60 mol %, from about 25 mol % to about 60 mol %, from about 30 mol % to about 60 mol %, from about
     10 mol % to about 55 mol %, from about 15 mol % to about 55 mol %, from about 20 mol % to about 55 mol %, from
40   about 25 mol % to about 55 mol %, from about 30 mol % to about 55 mol %, from about 13 mol % to about 50 mol %,
     from about 15 mol % to about 50 mol % or from about 20 mol % to about 50 mol % of the total lipid present in the particle.
     When the non-cationic lipid is a mixture of a phospholipid and cholesterol or a cholesterol derivative, the mixture may
     comprise up to about 40, 50, or 60 mol % of the total lipid present in the particle.
     [0107] In other embodiments, the non-cationic lipid (e.g., one or more phospholipids and/or cholesterol) may comprise
45   from about 10 mol % to about 49.5 mol %, from about 13 mol % to about 49.5 mol %, from about 15 mol % to about
     49.5 mol %, from about 20 mol % to about 49.5 mol %, from about 25 mol % to about 49.5 mol %, from about 30 mol
     % to about 49.5 mol %, from about 35 mol % to about 49.5 mol %, or from about 40 mol % to about 49.5 mol % of the
     total lipid present in the particle.
     [0108] In yet other embodiments, the non-cationic lipid (e.g., one or more phospholipids and/or cholesterol) may
50   comprise from about 10 mol % to about 45 mol %, from about 13 mol % to about 45 mol %, from about 15 mol % to
     about 45 mol %, from about 20 mol % to about 45 mol %, from about 25 mol % to about 45 mol %, from about 30 mol
     % to about 45 mol %, or from about 35 mol % to about 45 mol % of the total lipid present in the particle.
     [0109] In still yet other embodiments, the non-cationic lipid (e.g., one or more phospholipids and/or cholesterol) may
     comprise from about 10 mol % to about 40 mol %, from about 13 mol % to about 40 mol %, from about 15 mol % to
55   about 40 mol %, from about 20 mol % to about 40 mol %, from about 25 mol % to about 40 mol %, or from about 30 mol
     % to about 40 mol % of the total lipid present in the particle.
     [0110] In further embodiments, the non-cationic lipid (e.g., one or more phospholipids and/or cholesterol) may comprise
     from about 10 mol % to about 35 mol %, from about 13 mol % to about 35 mol %, from about 15 mol % to about 35 mol




                                                                  13
                                                                                                                JA001600
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 260 of 1274 PageID #: 8566

                                                           EP 2 279 254 B1

     %, from about 20 mol % to about 35 mol %, or from about 25 mol % to about 35 mol % of the total lipid present in the particle.
     [0111] In yet further embodiments, the non-cationic lipid (e.g., one or more phospholipids and/or cholesterol) may
     comprise from about 10 mol % to about 30 mol %, from about 13 mol % to about 30 mol %, from about 15 mol % to
     about 30 mol %, from about 20 mol % to about 30 mol %, from about 10 mol % to about 25 mol %, from about 13 mol
 5   % to about 25 mol %, or from about 15 mol % to about 25 mol % of the total lipid present in the particle.
     [0112] In additional embodiments, the non-cationic lipid (e.g., one or more phospholipids and/or cholesterol) may
     comprise (at least) about 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31, 32, 33, 34,
     35, 36, 37, 38, 39, 40, 41, 42, 43, 44, 45, 46, 47, 48, 49, 50, 51, 52, 53, 54, 55, 56, 57, 58, 59, or 60 mol % (or any
     fraction thereof or range therein) of the total lipid present in the particle.
10   [0113] In certain embodiments, the non-cationic lipid comprises cholesterol or a derivative thereof of from about 31.5
     mol % to about 42.5 mol % of the total lipid present in the particle. As a non-limiting example, a phospholipid-free lipid
     particle described herein may comprise cholesterol or a derivative thereof at about 37 mol % of the total lipid present in
     the particle. In other preferred embodiments, a phospholipid-free lipid particle described herein may comprise cholesterol
     or a derivative thereof of from about 30 mol % to about 45 mol %, from about 30 mol % to about 40 mol %, from about
15   30 mol % to about 35 mol %, from about 35 mol % to about 45 mol %, from about 40 mol % to about 45 mol %, from
     about 32 mol % to about 45 mol %, from about 32 mol % to about 42 mol %, from about 32 mol % to about 40 mol %,
     from about 34 mol % to about 45 mol %, from about 34 mol % to about 42 mol %, from about 34 mol % to about 40 mol
     %, or about 30, 31, 32, 33, 34, 35, 36, 37, 38, 39, 40, 41, 42, 43, 44, or 45 mol % (or any fraction thereof or range therein)
     of the total lipid present in the particle.
20   [0114] In certain other preferred embodiments, the non-cationic lipid comprises a mixture of: (i) a phospholipid of from
     about 4 mol % to about 10 mol % of the total lipid present in the particle; and (ii) cholesterol or a derivative thereof of
     from about 30 mol % to about 40 mol % of the total lipid present in the particle. As a non-limiting example, a lipid particle
     comprising a mixture of a phospholipid and cholesterol may comprise DPPC at about 7 mol % and cholesterol at about
     34 mol % of the total lipid present in the particle. In other embodiments, the non-cationic lipid comprises a mixture of:
25   (i) a phospholipid of from about 3 mol % to about 15 mol %, from about 4 mol % to about 15 mol %, from about 4 mol
     % to about 12 mol %, from about 4 mol % to about 10 mol %, from about 4 mol % to about 8 mol %, from about 5 mol
     % to about 12 mol %, from about 5 mol % to about 9 mol %, from about 6 mol % to about 12 mol %, from about 6 mol
     % to about 10 mol %, or about 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, or 15 mol % (or any fraction thereof or range therein)
     of the total lipid present in the particle; and (ii) cholesterol or a derivative thereof of from about 25 mol % to about 45
30   mol %, from about 30 mol % to about 45 mol %, from about 25 mol % to about 40 mol %, from about 30 mol % to about
     40 mol %, from about 25 mol % to about 35 mol %, from about 30 mol % to about 35 mol %, from about 35 mol % to
     about 45 mol %, from about 40 mol % to about 45 mol %, from about 28 mol % to about 40 mol %, from about 28 mol
     % to about 38 mol %, from about 30 mol % to about 38 mol %, from about 32 mol % to about 36 mol %, or about 25,
     26, 27, 28, 29, 30, 31, 32, 33, 34, 35, 36, 37, 38, 39, 40, 41, 42, 43, 44, or 45 mol % (or any fraction thereof or range
35   therein) of the total lipid present in the particle.
     [0115] In further preferred embodiments, the non-cationic lipid comprises a mixture of: (i) a phospholipid of from about
     10 mol % to about 30 mol % of the total lipid present in the particle; and (ii) cholesterol or a derivative thereof of from
     about 10 mol % to about 30 mol % of the total lipid present in the particle. As a non-limiting example, a lipid particle
     comprising a mixture of a phospholipid and cholesterol may comprise DPPC at about 20 mol % and cholesterol at about
40   20 mol % of the total lipid present in the particle. In other embodiments, the non-cationic lipid comprises a mixture of:
     (i) a phospholipid of from about 10 mol % to about 30 mol %, from about 10 mol % to about 25 mol %, from about 10
     mol % to about 20 mol %, from about 15 mol % to about 30 mol %, from about 20 mol % to about 30 mol %, from about
     15 mol % to about 25 mol %, from about 12 mol % to about 28 mol %, from about 14 mol % to about 26 mol %, or about
     10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29, or 30 mol % (or any fraction thereof or range
45   therein) of the total lipid present in the particle; and (ii) cholesterol or a derivative thereof of from about 10 mol % to about
     30 mol %, from about 10 mol % to about 25 mol %, from about 10 mol % to about 20 mol %, from about 15 mol % to
     about 30 mol %, from about 20 mol % to about 30 mol %, from about 15 mol % to about 25 mol %, from about 12 mol
     % to about 28 mol %, from about 14 mol % to about 26 mol %, or about 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21,
     22, 23, 24, 25, 26, 27, 28, 29, or 30 mol % (or any fraction thereof or range therein) of the total lipid present in the particle.
50   [0116] In the lipid particles described herein (e.g., SNALP comprising an interfering RNA such as siRNA), the conjugated
     lipid that inhibits aggregation of particles may comprise, e.g., one or more of the following: a polyethyleneglycol (PEG)-lipid
     conjugate, a polyamide (ATTA)-lipid conjugate, a cationic-polymer-lipid conjugates (CPLs), or mixtures thereof. In one
     preferred embodiment, the nucleic acid-lipid particles comprise either a PEG-lipid conjugate or an ATTA-lipid conjugate.
     In certain embodiments, the PEG-lipid conjugate or ATTA-lipid conjugate is used together with a CPL. The conjugated
55   lipid that inhibits aggregation of particles may comprise a PEG-lipid including, e.g., a PEG-diacylglycerol (DAG), a PEG
     dialkyloxypropyl (DAA), a PEG-phospholipid, a PEG-ceramide (Cer), or mixtures thereof. The PEG-DAA conjugate may
     be PEG-dilauryloxypropyl (C12), a PEG-dimyristyloxypropyl (C14), a PEG-dipalmityloxypropyl (C16), a PEG-disteary-
     loxypropyl (C18), or mixtures thereof.




                                                                    14
                                                                                                                   JA001601
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 261 of 1274 PageID #: 8567

                                                          EP 2 279 254 B1

     [0117] Additional PEG-lipid conjugates suitable for use in the invention include, but are not limited to, mPEG2000-1,2-
     di-O-alkyl-sn3-carbomoylglyceride (PEG-C-DOMG). The synthesis of PEG-C-DOMG is described in PCT Application
     No. PCT/US08/88676, filed December 31, 2008. Yet additional PEG-lipid conjugates suitable for use in the invention
     include, without limitation, 1-[8’-(1,2-dimyristoyl-3-propanoxy)-carboxamido-3’,6’-dioxaoctanyl]carbamoyl-ω-methyl-po-
 5   ly(ethylene glycol) (2KPEG-DMG). The synthesis of 2KPEG-DMG is described in U.S. Patent No. 7,404,969.
     [0118] The PEG moiety of the PEG-lipid conjugates described herein may comprise an average molecular weight
     ranging from about 550 daltons to about 10,000 daltons. In certain instances, the PEG moiety has an average molecular
     weight of from about 750 daltons to about 5,000 daltons (e.g., from about 1,000 daltons to about 5,000 daltons, from
     about 1,500 daltons to about 3,000 daltons, from about 750 daltons to about 3,000 daltons, from about 750 daltons to
10   about 2,000 daltons, etc.). In preferred embodiments, the PEG moiety has an average molecular weight of about 2,000
     daltons or about 750 daltons.
     [0119] In some embodiments, the conjugated lipid that inhibits aggregation of particles is a CPL that has the formula:
     A-W-Y, wherein A is a lipid moiety, W is a hydrophilic polymer, and Y is a polycationic moiety. W may be a polymer
     selected from the group consisting of polyethyleneglycol (PEG), polyamide, polylactic acid, polyglycolic acid, polylactic
15   acid/polyglycolic acid copolymers, or combinations thereof, the polymer having a molecular weight of from about 250 to
     about 7000 daltons. In some embodiments, Y has at least 4 positive charges at a selected pH. In some embodiments,
     Y may be lysine, arginine, asparagine, glutamine, derivatives thereof, or combinations thereof.
     [0120] In certain instances, the conjugated lipid that inhibits aggregation of particles (e.g., PEG-lipid conjugate) may
     comprise from about 0.1 mol % to about 2 mol %, from about 0.5 mol % to about 2 mol %, from about 1 mol % to about
20   2 mol %, from about 0.6 mol % to about 1.9 mol %, from about 0.7 mol % to about 1.8 mol %, from about 0.8 mol % to
     about 1.7 mol %, from about 1 mol % to about 1.8 mol %, from about 1.2 mol % to about 1.8 mol %, from about 1.2 mol
     % to about 1.7 mol %, from about 1.3 mol % to about 1.6 mol %, from about 1.4 mol % to about 1.5 mol %, or about 1,
     1.1, 1.2, 1.3, 1.4, 1.5, 1.6, 1.7, 1.8, 1.9, or 2 mol % (or any fraction thereof or range therein) of the total lipid present in
     the particle.
25   [0121] In the lipid particles described herein, the active agent or therapeutic agent may be fully encapsulated within
     the lipid portion of the particle, thereby protecting the active agent or therapeutic agent from enzymatic degradation. In
     preferred embodiments, a SNALP comprising a nucleic acid such as an interfering RNA (e.g., siRNA) is fully encapsulated
     within the lipid portion of the particle, thereby protecting the nucleic acid from nuclease degradation. In certain instances,
     the nucleic acid in the SNALP is not substantially degraded after exposure of the particle to a nuclease at 37°C for at
30   least about 20, 30, 45, or 60 minutes. In certain other instances, the nucleic acid in the SNALP is not substantially
     degraded after incubation of the particle in serum at 37°C for at least about 30, 45, or 60 minutes or at least about 2, 3,
     4, 5, 6, 7, 8, 9, 10, 12, 14, 16, 18, 20, 22, 24, 26, 28, 30, 32, 34, or 36 hours. In other embodiments, the active agent or
     therapeutic agent (e.g., nucleic acid such as siRNA) is complexed with the lipid portion of the particle. One of the benefits
     of the formulations described herein is that the lipid particle compositions are substantially non-toxic to mammals such
35   as humans.
     [0122] The term "fully encapsulated" indicates that the active agent or therapeutic agent in the lipid particle is not
     significantly degraded after exposure to serum or a nuclease or protease assay that would significantly degrade free
     DNA, RNA, or protein. In a fully encapsulated system, preferably less than about 25% of the active agent or therapeutic
     agent in the particle is degraded in a treatment that would normally degrade 100% of free active agent or therapeutic
40   agent, more preferably less than about 10%, and most preferably less than about 5% of the active agent or therapeutic
     agent in the particle is degraded. In the context of nucleic acid therapeutic agents, full encapsulation may be determined
     by an Oligreen® assay. Oligreen® is an ultra-sensitive fluorescent nucleic acid stain for quantitating oligonucleotides
     and single-stranded DNA or RNA in solution (available from Invitrogen Corporation; Carlsbad, CA). "Fully encapsulated"
     also indicates that the lipid particles are serum-stable, that is, that they do not rapidly decompose into their component
45   parts upon in vivo administration.
     [0123] In another aspect, the present disclosure provides a lipid particle (e.g., SNALP) composition comprising a
     plurality of lipid particles. In preferred embodiments, the active agent or therapeutic agent (e.g., nucleic acid) is fully
     encapsulated within the lipid portion of the lipid particles (e.g., SNALP), such that from about 30% to about 100%, from
     about 40% to about 100%, from about 50% to about 100%, from about 60% to about 100%, from about 70% to about
50   100%, from about 80% to about 100%, from about 90% to about 100%, from about 30% to about 95%, from about 40%
     to about 95%, from about 50% to about 95%, from about 60% to about 95%, %, from about 70% to about 95%, from
     about 80% to about 95%, from about 85% to about 95%, from about 90% to about 95%, from about 30% to about 90%,
     from about 40% to about 90%, from about 50% to about 90%, from about 60% to about 90%, from about 70% to about
     90%, from about 80% to about 90%, or at least about 30%, 35%, 40%, 45%, 50%, 55%, 60%, 65%, 70%, 75%, 80%,
55   85%, 90%, 91%, 92%, 93%, 94%, 95%, 96%, 97%, 98%, or 99% (or any fraction thereof or range therein) of the lipid
     particles (e.g., SNALP) have the active agent or therapeutic agent encapsulated therein.
     [0124] Typically, the lipid particles (e.g., SNALP) described herein have a lipid:active agent (e.g., lipid:nucleic acid)
     ratio (mass/mass ratio) of from about 1 to about 100. In some instances, the lipid:active agent (e.g., lipid:nucleic acid)




                                                                   15
                                                                                                                 JA001602
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 262 of 1274 PageID #: 8568

                                                          EP 2 279 254 B1

     ratio (mass/mass ratio) ranges from about 1 to about 50, from about 2 to about 25, from about 3 to about 20, from about
     4 to about 15, or from about 5 to about 10. In preferred embodiments, the lipid particles described herein have a lipid:active
     agent (e.g., lipid:nucleic acid) ratio (mass/mass ratio) of from about 5 to about 15, e.g., about 5, 6, 7, 8, 9, 10, 11, 12,
     13, 14, or 15 (or any fraction thereof or range therein).
 5   [0125] Typically, the lipid particles (e.g., SNALP) described herein have a mean diameter of from about 40 nm to about
     150 nm. In preferred embodiments, the lipid particles (e.g., SNALP) described herein have a mean diameter of from
     about 40 nm to about 130 nm, from about 40 nm to about 120 nm, from about 40 nm to about 100 nm, from about 50
     nm to about 120 nm, from about 50 nm to about 100 nm, from about 60 nm to about 120 nm, from about 60 nm to about
     110 nm, from about 60 nm to about 100 nm, from about 60 nm to about 90 nm, from about 60 nm to about 80 nm, from
10   about 70 nm to about 120 nm, from about 70 nm to about 110 nm, from about 70 nm to about 100 nm, from about 70
     nm to about 90 nm, from about 70 nm to about 80 nm, or less than about 120 nm, 110 nm, 100 nm, 90 nm, or 80 nm
     (or any fraction thereof or range therein).
     [0126] In one specific embodiment of the present disclosure, the SNALP comprises: (a) one or more unmodified and/or
     modified interfering RNA (e.g., siRNA, aiRNA, miRNA) that silence target gene expression; (b) a cationic lipid comprising
15   from about 56.5 mol % to about 66.5 mol % of the total lipid present in the particle; (c) a non-cationic lipid comprising
     from about 31.5 mol % to about 42.5 mol % of the total lipid present in the particle; and (d) a conjugated lipid that inhibits
     aggregation of particles comprising from about 1 mol % to about 2 mol % of the total lipid present in the particle. This
     specific embodiment of SNALP is generally referred to herein as the "1:62" formulation. In a preferred embodiment, the
     cationic lipid is DLinDMA or DLin-K-C2-DMA ("XTC2"), the non-cationic lipid is cholesterol, and the conjugated lipid is
20   a PEG-DAA conjugate. Although these are preferred embodiments of the 1:62 formulation, those of skill in the art will
     appreciate that other cationic lipids, non-cationic lipids (including other cholesterol derivatives), and conjugated lipids
     can be used in the 1:62 formulation as described herein.
     [0127] In a specific embodiment of the invention, the SNALP comprises: (a) one or more unmodified and/or modified
     interfering RNA (e.g., siRNA, aiRNA, miRNA) that silence target gene expression; (b) a cationic lipid comprising from
25   about 52 mol % to about 62 mol % of the total lipid present in the particle; (c) a non-cationic lipid comprising from about
     36 mol % to about 47 mol % of the total lipid present in the particle; and (d) a conjugated lipid that inhibits aggregation
     of particles comprising from about 1 mol % to about 2 mol % of the total lipid present in the particle. This specific
     embodiment of SNALP is generally referred to herein as the "1:57" formulation. In one preferred embodiment, the cationic
     lipid is DLinDMA or DLin-K-C2-DMA ("XTC2"), the non-cationic lipid is a mixture of a phospholipid (such as DPPC) and
30   cholesterol, wherein the phospholipid comprises from about 5 mol % to about 9 mol % of the total lipid present in the
     particle (e.g., about 7.1 mol %) and the cholesterol (or cholesterol derivative) comprises from about 32 mol % to about
     37 mol % of the total lipid present in the particle (e.g., about 34.3 mol %), and the PEG-lipid is a PEG-DAA (e.g., PEG-
     cDMA). In another preferred embodiment, the cationic lipid is DLinDMA or DLin-K-C2-DMA ("XTC2"), the non-cationic
     lipid is a mixture of a phospholipid (such as DPPC) and cholesterol, wherein the phospholipid comprises from about 15
35   mol % to about 25 mol % of the total lipid present in the particle (e.g., about 20 mol %) and the cholesterol (or cholesterol
     derivative) comprises from about 15 mol % to about 25 mol % of the total lipid present in the particle (e.g., about 20 mol
     %), and the PEG-lipid is a PEG-DAA (e.g., PEG-cDMA). Although these are preferred embodiments of the 1:57 formu-
     lation, those of skill in the art will appreciate that other cationic lipids, non-cationic lipids (including other phospholipids
     and other cholesterol derivatives), and conjugated lipids can be used in the 1:57 formulation as described herein.
40   [0128] In preferred embodiments, the 1:62 SNALP formulation is a three-component system which is phospholipid-
     free and comprises about 1.5 mol % PEG-cDMA (or PEG-cDSA), about 61.5 mol % DLinDMA (or XTC2), and about
     36.9 mol % cholesterol (or derivative thereof). In other preferred embodiments, the 1:57 SNALP formulation is a four-
     component system which comprises about 1.4 mol % PEG-cDMA (or PEG-cDSA), about 57.1 mol % DLinDMA (or
     XTC2), about 7.1 mol % DPPC, and about 34.3 mol % cholesterol (or derivative thereof). In yet other preferred embod-
45   iments, the 1:57 SNALP formulation is a four-component system which comprises about 1.4 mol % PEG-cDMA (or PEG-
     cDSA), about 57.1 mol % DLinDMA (or XTC2), about 20 mol % DPPC, and about 20 mol % cholesterol (or derivative
     thereof). It should be understood that these SNALP formulations are target formulations, and that the amount of lipid
     (both cationic and non-cationic) present and the amount of lipid conjugate present in the SNALP formulations may vary.
     [0129] The present disclosure also provides a pharmaceutical composition comprising a lipid particle (e.g., SNALP)
50   described herein and a pharmaceutically acceptable carrier.
     [0130] In a further aspect, the present disclosure provides a method for introducing one or more active agents or
     therapeutic agents (e.g., nucleic acid) into a cell, comprising contacting the cell with a lipid particle (e.g., SNALP) described
     herein. In one embodiment, the cell is in a mammal and the mammal is a human. In another embodiment, the present
     disclosure provides a method for the in vivo delivery of one or more active agents or therapeutic agents (e.g., nucleic
55   acid), comprising administering to a mammalian subject a lipid particle (e.g., SNALP) described herein. In a preferred
     embodiment, the mode of administration includes, but is not limited to, oral, intranasal, intravenous, intraperitoneal,
     intramuscular, intra-articular, intralesional, intratracheal, subcutaneous, and intradermal. Preferably, the mammalian
     subject is a human.




                                                                    16
                                                                                                                  JA001603
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 263 of 1274 PageID #: 8569

                                                          EP 2 279 254 B1

     [0131] In one embodiment, at least about 5%, 10%, 15%, 20%, or 25% of the total injected dose of the lipid particles
     (e.g., SNALP) is present in plasma about 8, 12, 24, 36, or 48 hours after injection. In other embodiments, more than
     about 20%, 30%, 40% and as much as about 60%, 70% or 80% of the total injected dose of the lipid particles (e.g.,
     SNALP) is present in plasma about 8, 12, 24, 36, or 48 hours after injection. In certain instances, more than about 10%
 5   of a plurality of the particles is present in the plasma of a mammal about 1 hour after administration. In certain other
     instances, the presence of the lipid particles (e.g., SNALP) is detectable at least about 1 hour after administration of the
     particle. In certain embodiments, the presence of an active agent or therapeutic agent such as an interfering RNA (e.g.,
     siRNA) is detectable in cells of the lung, liver, tumor, or at a site of inflammation at about 8, 12, 24, 36, 48, 60, 72 or 96
     hours after administration. In other embodiments, downregulation of expression of a target sequence by an active agent
10   or therapeutic agent such as an interfering RNA (e.g., siRNA) is detectable at about 8, 12, 24, 36, 48, 60, 72 or 96 hours
     after administration. In yet other embodiments, downregulation of expression of a target sequence by an active agent
     or therapeutic agent such as an interfering RNA (e.g., siRNA) occurs preferentially in tumor cells or in cells at a site of
     inflammation. In further embodiments, the presence or effect of an active agent or therapeutic agent such as an interfering
     RNA (e.g., siRNA) in cells at a site proximal or distal to the site of administration or in cells of the lung, liver, or a tumor
15   is detectable at about 12, 24, 48, 72, or 96 hours, or at about 6, 8, 10, 12, 14, 16, 18, 19, 20, 22, 24, 26, or 28 days after
     administration. In additional embodiments, the lipid particles (e.g., SNALP) are administered parenterally or intraperito-
     neally.
     [0132] In some embodiments, the lipid particles (e.g., SNALP) are particularly useful in methods for the therapeutic
     delivery of one or more nucleic acids comprising an interfering RNA sequence (e.g., siRNA). In particular, it is an object
20   of the present disclosure to provide in vitro and in vivo methods for treatment of a disease or disorder in a mammal (e.g.,
     a rodent such as a mouse or a primate such as a human, chimpanzee, or monkey) by downregulating or silencing the
     transcription and/or translation of one or more target nucleic acid sequences or genes of interest. As a non-limiting
     example, the methods described herein are useful for in vivo delivery of interfering RNA (e.g., siRNA) to the liver and/or
     tumor of a mammalian subject. In certain embodiments, the disease or disorder is associated with expression and/or
25   overexpression of a gene and expression or overexpression of the gene is reduced by the interfering RNA (e.g., siRNA).
     In certain other embodiments, a therapeutically effective amount of the lipid particle (e.g., SNALP) may be administered
     to the mammal. In some instances, an interfering RNA (e.g., siRNA) is formulated into a SNALP, and the particles are
     administered to patients requiring such treatment. In other instances, cells are removed from a patient, the interfering
     RNA (e.g., siRNA) is delivered in vitro (e.g., using a SNALP described herein), and the cells are reinjected into the patient.
30   [0133] In an additional aspect, the present disclosure provides lipid particles (e.g., SNALP) comprising asymmetrical
     interfering RNA (aiRNA) molecules that silence the expression of a target gene and methods of using such particles to
     silence target gene expression.
     [0134] In one embodiment, the aiRNA molecule comprises a double-stranded (duplex) region of about 10 to about 25
     (base paired) nucleotides in length, wherein the aiRNA molecule comprises an antisense strand comprising 5’ and 3’
35   overhangs, and wherein the aiRNA molecule is capable of silencing target gene expression.
     [0135] In certain instances, the aiRNA molecule comprises a double-stranded (duplex) region of about 12-20, 12-19,
     12-18, 13-17, or 14-17 (base paired) nucleotides in length, more typically 12, 13, 14, 15, 16, 17, 18, 19, or 20 (base
     paired) nucleotides in length. In certain other instances, the 5’ and 3’ overhangs on the antisense strand comprise
     sequences that are complementary to the target RNA sequence, and may optionally further comprise nontargeting
40   sequences. In some embodiments, each of the 5’ and 3’ overhangs on the antisense strand comprises or consists of
     one, two, three, four, five, six, seven, or more nucleotides.
     [0136] In other embodiments, the aiRNA molecule comprises modified nucleotides selected from the group consisting
     of 2’OMe nucleotides, 2’F nucleotides, 2’-deoxy nucleotides, 2’-O-MOE nucleotides, LNA nucleotides, and mixtures
     thereof. In a preferred embodiment, the aiRNA molecule comprises 2’OMe nucleotides. As a non-limiting example, the
45   2’OMe nucleotides may be selected from the group consisting of 2’OMe-guanosine nucleotides, 2’OMe-uridine nucle-
     otides, and mixtures thereof.
     [0137] In a related aspect, the present disclosure provides lipid particles (e.g., SNALP) comprising microRNA (miRNA)
     molecules that silence the expression of a target gene and methods of using such compositions to silence target gene
     expression.
50   [0138] In one embodiment, the miRNA molecule comprises about 15 to about 60 nucleotides in length, wherein the
     miRNA molecule is capable of silencing target gene expression.
     [0139] In certain instances, the miRNA molecule comprises about 15-50, 15-40, or 15-30 nucleotides in length, more
     typically about 15-25 or 19-25 nucleotides in length, and are preferably about 20-24, 21-22, or 21-23 nucleotides in
     length. In a preferred embodiment, the miRNA molecule is a mature miRNA molecule targeting an RNA sequence of
55   interest.
     [0140] In some embodiments, the miRNA molecule comprises modified nucleotides selected from the group consisting
     of 2’OMe nucleotides, 2’F nucleotides, 2’-deoxy nucleotides, 2’-O-MOE nucleotides, LNA nucleotides, and mixtures
     thereof. In a preferred embodiment, the miRNA molecule comprises 2’OMe nucleotides. As a non-limiting example, the




                                                                   17
                                                                                                                 JA001604
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 264 of 1274 PageID #: 8570

                                                          EP 2 279 254 B1

     2’OMe nucleotides may be selected from the group consisting of 2’OMe-guanosine nucleotides, 2’OMe-uridine nucle-
     otides, and mixtures thereof.
     [0141] As such, the lipid particles (e.g., SNALP) are advantageous and suitable for use in the administration of active
     agents or therapeutic agents such as nucleic acid (e.g., interfering RNA such as siRNA, aiRNA, and/or miRNA) to a
 5   subject (e.g., a mammal such as a human) because they are stable in circulation, of a size required for pharmacodynamic
     behavior resulting in access to extravascular sites, and are capable of reaching target cell populations.

     IV. Active Agents

10   [0142] Active agents (e.g., therapeutic agents) include any molecule or compound capable of exerting a desired effect
     on a cell, tissue, organ, or subject. Such effects may be, e.g., biological, physiological, and/or cosmetic. Active agents
     may be any type of molecule or compound including, but not limited to, nucleic acids, peptides, polypeptides, small
     molecules, and mixtures thereof. Non-limiting examples of nucleic acids include interfering RNA molecules (e.g., siRNA,
     aiRNA, miRNA), antisense oligonucleotides, plasmids, ribozymes, immunostimulatory oligonucleotides, and mixtures
15   thereof. Examples of peptides or polypeptides include, without limitation, antibodies (e.g., polyclonal antibodies, mono-
     clonal antibodies, antibody fragments; humanized antibodies, recombinant antibodies, recombinant human antibodies,
     Primatized™ antibodies), cytokines, growth factors, apoptotic factors, differentiation-inducing factors, cell-surface re-
     ceptors and their ligands, hormones, and mixtures thereof. Examples of small molecules include, but are not limited to,
     small organic molecules or compounds such as any conventional agent or drug known to those of skill in the art.
20   [0143] In some embodiments, the active agent is a therapeutic agent, or a salt or derivative thereof. Therapeutic agent
     derivatives may be therapeutically active themselves or they may be prodrugs, which become active upon further mod-
     ification. Thus, in one embodiment, a therapeutic agent derivative retains some or all of the therapeutic activity as
     compared to the unmodified agent, while in another embodiment, a therapeutic agent derivative is a prodrug that lacks
     therapeutic activity, but becomes active upon further modification.
25
     A. Nucleic Acids

     [0144] In certain embodiments, lipid particles of the present disclosure are associated with a nucleic acid, resulting in
     a nucleic acid-lipid particle (e.g., SNALP). In some embodiments, the nucleic acid is fully encapsulated in the lipid particle.
30   As used herein, the term "nucleic acid" includes any oligonucleotide or polynucleotide, with fragments containing up to
     60 nucleotides generally termed oligonucleotides, and longer fragments termed polynucleotides. In particular embodi-
     ments, oligonucleotides are from about 15 to about 60 nucleotides in length. Nucleic acid may be administered alone
     in the lipid particles described herein, or in combination (e.g., co-administered) with lipid particles comprising peptides,
     polypeptides, or small molecules such as conventional drugs.
35   [0145] In the context of this invention, the terms "polynucleotide" and "oligonucleotide" refer to a polymer or oligomer
     of nucleotide or nucleoside monomers consisting of naturally-occurring bases, sugars and intersugar (backbone) link-
     ages. The terms "polynucleotide" and "oligonucleotide" also include polymers or oligomers comprising non-naturally
     occurring monomers, or portions thereof, which function similarly. Such modified or substituted oligonucleotides are
     often preferred over native forms because of properties such as, for example, enhanced cellular uptake, reduced im-
40   munogenicity, and increased stability in the presence of nucleases.
     [0146] Oligonucleotides are generally classified as deoxyribooligonucleotides or ribooligonucleotides. A deoxyriboo-
     ligonucleotide consists of a 5-carbon sugar called deoxyribose joined covalently to phosphate at the 5’ and 3’ carbons
     of this sugar to form an alternating, unbranched polymer. A ribooligonucleotide consists of a similar repeating structure
     where the 5-carbon sugar is ribose.
45   [0147] The nucleic acid that is present in a lipid-nucleic acid particle according to the present disclosure includes any
     form of nucleic acid that is known. The nucleic acids used herein can be single-stranded DNA or RNA, or double-stranded
     DNA or RNA, or DNA-RNA hybrids. Examples of double-stranded DNA are described herein and include, e.g., structural
     genes, genes including control and termination regions, and self-replicating systems such as viral or plasmid DNA.
     Examples of double-stranded RNA are described herein and include, e.g., siRNA and other RNAi agents such as aiRNA
50   and pre-miRNA. Single-stranded nucleic acids include, e.g., antisense oligonucleotides, ribozymes, mature miRNA, and
     triplex-forming oligonucleotides.
     [0148] Nucleic acids may be of various lengths, generally dependent upon the particular form of nucleic acid. For
     example, in particular embodiments, plasmids or genes may be from about 1,000 to about 100,000 nucleotide residues
     in length. In particular embodiments, oligonucleotides may range from about 10 to about 100 nucleotides in length. In
55   various related embodiments, oligonucleotides, both single-stranded, double-stranded, and triple-stranded, may range
     in length from about 10 to about 60 nucleotides, from about 15 to about 60 nucleotides, from about 20 to about 50
     nucleotides, from about 15 to about 30 nucleotides, or from about 20 to about 30 nucleotides in length.
     [0149] In particular embodiments, an oligonucleotide (or a strand thereof) specifically hybridizes to or is complementary




                                                                   18
                                                                                                                JA001605
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 265 of 1274 PageID #: 8571

                                                          EP 2 279 254 B1

     to a target polynucleotide sequence. The terms "specifically hybridizable" and "complementary" as used herein indicate
     a sufficient degree of complementarity such that stable and specific binding occurs between the DNA or RNA target and
     the oligonucleotide. It is understood that an oligonucleotide need not be 100% complementary to its target nucleic acid
     sequence to be specifically hybridizable. In preferred embodiments, an oligonucleotide is specifically hybridizable when
 5   binding of the oligonucleotide to the target sequence interferes with the normal function of the target sequence to cause
     a loss of utility or expression therefrom, and there is a sufficient degree of complementarity to avoid non-specific binding
     of the oligonucleotide to non-target sequences under conditions in which specific binding is desired, i.e., under physio-
     logical conditions in the case of in vivo assays or therapeutic treatment, or, in the case of in vitro assays, under conditions
     in which the assays are conducted. Thus, the oligonucleotide may include 1, 2, 3, or more base substitutions as compared
10   to the region of a gene or mRNA sequence that it is targeting or to which it specifically hybridizes.

     1. siRNA

     [0150] An siRNA component of a nucleic acid-lipid particle of the present invention is capable of silencing the expression
15   of a target gene of interest. Each strand of the siRNA duplex is typically about 15 to about 60 nucleotides in length,
     preferably about 15 to about 30 nucleotides in length. In certain embodiments, the siRNA comprises at least one modified
     nucleotide. The modified siRNA is generally less immunostimulatory than a corresponding unmodified siRNA sequence
     and retains RNAi activity against the target gene of interest. In some embodiments, the modified siRNA contains at least
     one 2’OMe purine or pyrimidine nucleotide such as a 2’OMe-guanosine, 2’OMe-uridine, 2’OMe-adenosine, and/or 2’OMe-
20   cytosine nucleotide. In preferred embodiments, one or more of the uridine and/or guanosine nucleotides are modified.
     The modified nucleotides can be present in one strand (i.e., sense or antisense) or both strands of the siRNA. The siRNA
     sequences may have overhangs (e.g., 3’ or 5’ overhangs as described in Elbashir et al., Genes Dev., 15:188 (2001) or
     Nykänen et al., Cell, 107:309 (2001)), or may lack overhangs (i.e., have blunt ends).
     [0151] The modified siRNA generally comprises from about 1% to about 100% (e.g., about 1%, 2%, 3%, 4%, 5%, 6%,
25   7%, 8%, 9%, 10%, 11%, 12%, 13%, 14%, 15%, 16%, 17%, 18%, 19%, 20%, 21%, 22%, 23%, 24%, 25%, 26%, 27%,
     28%, 29%, 30%, 35%, 40%, 45%, 50%, 55%, 60%, 65%, 70%, 75%, 80%, 85%, 90%, 95%, or 100%) modified nucleotides
     in the double-stranded region of the siRNA duplex. In certain embodiments, one, two, three, four, five, six, seven, eight,
     nine, ten, or more of the nucleotides in the double-stranded region of the siRNA comprise modified nucleotides.
     [0152] In some embodiments, less than about 25% (e.g., less than about 25%, 24%, 23%, 22%, 21%, 20%, 19%,
30   18%, 17%, 16%, 15%, 14%, 13%, 12%, 11%, 10%, 9%, 8%, 7%, 6%, 5%, 4%, 3%, 2%, or 1%) of the nucleotides in the
     double-stranded region of the siRNA comprise modified nucleotides.
     [0153] In other embodiments, from about 1% to about 25% (e.g., from about 1%-25%, 2%-25%, 3%-25%, 4%-25%,
     5%-25%, 6%-25%, 7%-25%, 8%-25%, 9%-25%, 10%-25%, 11%-25%, 12%-25%, 13%-25%, 14%-25%, 15%-25%,
     16%-25%, 17%-25%, 18%-25%, 19%-25%, 20%-25%, 21%-25%, 22%-25%, 23%-25%, 24%-25%, etc.) or from about
35   1% to about 20% (e.g., from about 1%-20%, 2%-20%, 3%-20%, 4%-20%, 5%-20%, 6%-20%, 7%-20%, 8%-20%, 9%-
     20%, 10%-20%, 11%-20%, 12%-20%, 13%-20%, 14%-20%, 15%-20%, 16%-20%, 17%-20%, 18%-20%, 19%-20%,
     1%-19%, 2%-19%, 3%-19%, 4%-19%, 5%-19%, 6%-19%, 7%-19%, 8%-19%, 9%-19%, 10%-19%, 11%-19%, 12%-
     19%, 13%-19%, 14%-19%, 15%-19%, 16%-19%, 17%-19%, 18%-19%, 1%-18%, 2%-18%, 3%-18%, 4%-18%, 5%-
     18%, 6%-18%, 7%-18%, 8%-18%, 9%-18%, 10%-18%, 11%-18%, 12%-18%, 13%-18%, 14%-18%, 15%-18%, 16%-
40   18%, 17%-18%, 1%-17%, 2%-17%, 3%-17%, 4%-17%, 5%-17%, 6%-17%, 7%-17%, 8%-17%, 9%-17%, 10%-17%,
     11%-17%, 12%-17%, 13%-17%, 14%-17%, 15%-17%, 16%-17%, 1%-16%, 2%-16%, 3%-16%, 4%-16%, 5%-16%, 6%-
     16%, 7%-16%, 8%-16%, 9%-16%, 10%-16%, 11%-16%, 12%-16%, 13%-16%, 14%-16%, 15%-16%, 1%-15%, 2%-
     15%, 3%-15%, 4%-15%, 5%-15%, 6%-15%, 7%-15%, 8%-15%, 9%-15%, 10%-15%, 11%-15%, 12%-15%, 13%-15%,
     14%-15%, etc.) of the nucleotides in the double-stranded region of the siRNA comprise modified nucleotides.
45   [0154] In further embodiments, e.g., when one or both strands of the siRNA are selectively modified at uridine and/or
     guanosine nucleotides, the resulting modified siRNA can comprise less than about 30% modified nucleotides (e.g., less
     than about 30%, 29%, 28%, 27%, 26%, 25%, 24%, 23%, 22%, 21%, 20%, 19%, 18%, 17%, 16%, 15%, 14%, 13%, 12%,
     11%, 10%, 9%, 8%, 7%, 6%, 5%, 4%, 3%, 2%, or 1% modified nucleotides) or from about 1% to about 30% modified
     nucleotides (e.g., from about 1%-30%, 2%-30%, 3%-30%, 4%-30%, 5%-30%, 6%-30%, 7%-30%, 8%-30%, 9%-30%,
50   10%-30%, 11%-30%, 12%-30%, 13%-30%, 14%-30%, 15%-30%, 16%-30%, 17%-30%, 18%-30%, 19%-30%, 20%-
     30%, 21%-30%, 22%-30%, 23%-30%, 24%-30%, 25%-30%, 26%-30%, 27%-30%, 28%-30%, or 29%-30% modified
     nucleotides).

     a. Selection of siRNA Sequences
55
     [0155] Suitable siRNA sequences can be identified using any means known in the art. Typically, the methods described
     in Elbashir et al., Nature, 411:494-498 (2001) and Elbashir et al., EMBO J., 20:6877-6888 (2001) are combined with
     rational design rules set forth in Reynolds et al., Nature Biotech., 22(3):326-330 (2004).




                                                                   19
                                                                                                                 JA001606
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 266 of 1274 PageID #: 8572

                                                         EP 2 279 254 B1

     [0156] Generally, the nucleotide sequence 3’ of the AUG start codon of a transcript from the target gene of interest is
     scanned for dinucleotide sequences (e.g., AA, NA, CC, GG, or UU, wherein N = C, G, or U) (see, e.g., Elbashir et al.,
     EMBO J., 20:6877-6888 (2001)). The nucleotides immediately 3’ to the dinucleotide sequences are identified as potential
     siRNA sequences (i.e., a target sequence or a sense strand sequence). Typically, the 19, 21, 23, 25, 27, 29, 31, 33, 35,
 5   or more nucleotides immediately 3’ to the dinucleotide sequences are identified as potential siRNA sequences. In some
     embodiments, the dinucleotide sequence is an AA or NA sequence and the 19 nucleotides immediately 3’ to the AA or
     NA dinucleotide are identified as potential siRNA sequences. siRNA sequences are usually spaced at different positions
     along the length of the target gene. To further enhance silencing efficiency of the siRNA sequences, potential siRNA
     sequences may be analyzed to identify sites that do not contain regions of homology to other coding sequences, e.g.,
10   in the target cell or organism. For example, a suitable siRNA sequence of about 21 base pairs typically will not have
     more than 16-17 contiguous base pairs of homology to coding sequences in the target cell or organism. If the siRNA
     sequences are to be expressed from an RNA Pol III promoter, siRNA sequences lacking more than 4 contiguous A’s or
     T’s are selected.
     [0157] Once a potential siRNA sequence has been identified, a complementary sequence (i.e., an antisense strand
15   sequence) can be designed. A potential siRNA sequence can also be analyzed using a variety of criteria known in the
     art. For example, to enhance their silencing efficiency, the siRNA sequences may be analyzed by a rational design
     algorithm to identify sequences that have one or more of the following features: (1) G/C content of about 25% to about
     60% G/C; (2) at least 3 A/Us at positions 15-19 of the sense strand; (3) no internal repeats; (4) an A at position 19 of
     the sense strand; (5) an A at position 3 of the sense strand; (6) a U at position 10 of the sense strand; (7) no G/C at
20   position 19 of the sense strand; and (8) no G at position 13 of the sense strand. siRNA design tools that incorporate
     algorithms that assign suitable values of each of these features and are useful for selection of siRNA can be found at,
     e.g., http://boz094.ust.hk/RNAi/siRNA. One of skill in the art will appreciate that sequences with one or more of the
     foregoing characteristics may be selected for further analysis and testing as potential siRNA sequences.
     [0158] Additionally, potential siRNA sequences with one or more of the following criteria can often be eliminated as
25   siRNA: (1) sequences comprising a stretch of 4 or more of the same base in a row; (2) sequences comprising homopol-
     ymers of Gs (i.e., to reduce possible non-specific effects due to structural characteristics of these polymers; (3) sequences
     comprising triple base motifs (e.g., GGG, CCC, AAA, or TTT); (4) sequences comprising stretches of 7 or more G/Cs
     in a row; and (5) sequences comprising direct repeats of 4 or more bases within the candidates resulting in internal fold-
     back structures. However, one of skill in the art will appreciate that sequences with one or more of the foregoing char-
30   acteristics may still be selected for further analysis and testing as potential siRNA sequences.
     [0159] In some embodiments, potential siRNA sequences may be further analyzed based on siRNA duplex asymmetry
     as described in, e.g., Khvorova et al., Cell, 115:209-216 (2003); and Schwarz et al., Cell, 115:199-208 (2003). In other
     embodiments, potential siRNA sequences may be further analyzed based on secondary structure at the target site as
     described in, e.g., Luo et al., Biophys. Res. Commun., 318:303-310 (2004). For example, secondary structure at the
35   target site can be modeled using the Mfold algorithm (available at http://www.bioinfo.rpi.edu/applica-
     tions/mfold/rna/form1.cgi) to select siRNA sequences which favor accessibility at the target site where less secondary
     structure in the form of base-pairing and stem-loops is present.
     [0160] Once a potential siRNA sequence has been identified, the sequence can be analyzed for the presence of any
     immunostimulatory properties, e.g., using an in vitro cytokine assay or an in vivo animal model. Motifs in the sense
40   and/or antisense strand of the siRNA sequence such as GU-rich motifs (e.g., 5’-GU-3’, 5’-UGU-3’, 5’-GUGU-3’, 5’-
     UGUGU-3’, etc.) can also provide an indication of whether the sequence may be immunostimulatory. Once an siRNA
     molecule is found to be immunostimulatory, it can then be modified to decrease its immunostimulatory properties as
     described herein. As a non-limiting example, an siRNA sequence can be contacted with a mammalian responder cell
     under conditions such that the cell produces a detectable immune response to determine whether the siRNA is an
45   immunostimulatory or a non-immunostimulatory siRNA. The mammalian responder cell may be from a naive mammal
     (i.e., a mammal that has not previously been in contact with the gene product of the siRNA sequence). The mammalian
     responder cell may be, e.g., a peripheral blood mononuclear cell (PBMC), a macrophage, and the like. The detectable
     immune response may comprise production of a cytokine or growth factor such as, e.g., TNF-α, IFN-α, IFN-β, IFN-γ, IL-
     6, IL-12, or a combination thereof. An siRNA molecule identified as being immunostimulatory can then be modified to
50   decrease its immunostimulatory properties by replacing at least one of the nucleotides on the sense and/or antisense
     strand with modified nucleotides. For example, less than about 30% (e.g., less than about 30%, 25%, 20%, 15%, 10%,
     or 5%) of the nucleotides in the double-stranded region of the siRNA duplex can be replaced with modified nucleotides
     such as 2’OMe nucleotides. The modified siRNA can then be contacted with a mammalian responder cell as described
     above to confirm that its immunostimulatory properties have been reduced or abrogated.
55   [0161] Suitable in vitro assays for detecting an immune response include, but are not limited to, the double monoclonal
     antibody sandwich immunoassay technique of David et al. (U.S. Patent No. 4,376,110); monoclonal-polyclonal antibody
     sandwich assays (Wide et al., in Kirkham and Hunter, eds., Radioimmunoassay Methods, E. and S. Livingstone, Edin-
     burgh (1970)); the "Western blot" method of Gordon et al. (U.S. Patent No. 4,452,901); immunoprecipitation of labeled




                                                                  20
                                                                                                               JA001607
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 267 of 1274 PageID #: 8573

                                                         EP 2 279 254 B1

     ligand (Brown et al., J. Biol. Chem., 255:4980-4983 (1980)); enzyme-linked immunosorbent assays (ELISA) as described,
     for example, by Raines et al., J. Biol. Chem., 257:5154-5160 (1982); immunocytochemical techniques, including the use
     of fluorochromes (Brooks et al., Clin. Exp. Immunol., 39:477 (1980)); and neutralization of activity (Bowen-Pope et al.,
     Proc. Natl. Acad. Sci. USA, 81:2396-2400 (1984)). In addition to the immunoassays described above, a number of other
 5   immunoassays are available, including those described in U.S. Patent Nos. 3,817,827; 3,850,752; 3,901,654; 3,935,074;
     3,984,533; 3,996,345; 4,034,074; and 4,098,876.
     [0162] A non-limiting example of an in vivo model for detecting an immune response includes an in vivo mouse cytokine
     induction assay as described in, e.g., Judge et al., Mol. Ther., 13:494-505 (2006). In certain embodiments, the assay
     that can be performed as follows: (1) siRNA can be administered by standard intravenous injection in the lateral tail vein;
10   (2) blood can be collected by cardiac puncture about 6 hours after administration and processed as plasma for cytokine
     analysis; and (3) cytokines can be quantified using sandwich ELISA kits according to the manufacturer’s instructions
     (e.g., mouse and human IFN-α (PBL Biomedical; Piscataway, NJ); human IL-6 and TNF-α (eBioscience; San Diego,
     CA); and mouse IL-6, TNF-α, and IFN-γ (BD Biosciences; San Diego, CA)).
     [0163] Monoclonal antibodies that specifically bind cytokines and growth factors are commercially available from
15   multiple sources and can be generated using methods known in the art (see, e.g., Kohler et al., Nature, 256: 495-497
     (1975) and Harlow and Lane, ANTIBODIES, A LABORATORY MANUAL, Cold Spring Harbor Publication, New York
     (1999)). Generation of monoclonal antibodies has been previously described and can be accomplished by any means
     known in the art (Buhring et al., in Hybridoma, Vol. 10, No. 1, pp. 77-78 (1991)). In some methods, the monoclonal
     antibody is labeled (e.g., with any composition detectable by spectroscopic, photochemical, biochemical, electrical,
20   optical, or chemical means) to facilitate detection.

     b. Generating siRNA Molecules

     [0164] siRNA can be provided in several forms including, e.g., as one or more isolated small-interfering RNA (siRNA)
25   duplexes, as longer double-stranded RNA (dsRNA), or as siRNA or dsRNA transcribed from a transcriptional cassette
     in a DNA plasmid. The siRNA sequences may have overhangs (e.g., 3’ or 5’ overhangs as described in Elbashir et al.,
     Genes Dev., 15:188 (2001) or Nykänen et al., Cell, 107:309 (2001), or may lack overhangs (i.e., to have blunt ends).
     [0165] An RNA population can be used to provide long precursor RNAs, or long precursor RNAs that have substantial
     or complete identity to a selected target sequence can be used to make the siRNA. The RNAs can be isolated from cells
30   or tissue, synthesized, and/or cloned according to methods well known to those of skill in the art. The RNA can be a
     mixed population (obtained from cells or tissue, transcribed from cDNA, subtracted, selected, etc.), or can represent a
     single target sequence. RNA can be naturally occurring (e.g., isolated from tissue or cell samples), synthesized in vitro
     (e.g., using T7 or SP6 polymerase and PCR products or a cloned cDNA), or chemically synthesized.
     [0166] To form a long dsRNA, for synthetic RNAs, the complement is also transcribed in vitro and hybridized to form
35   a dsRNA. If a naturally occuring RNA population is used, the RNA complements are also provided (e.g., to form dsRNA
     for digestion by E. coli RNAse III or Dicer), e.g., by transcribing cDNAs corresponding to the RNA population, or by using
     RNA polymerases. The precursor RNAs are then hybridized to form double stranded RNAs for digestion. The dsRNAs
     can be directly administered to a subject or can be digested in vitro prior to administration.
     [0167] Methods for isolating RNA, synthesizing RNA, hybridizing nucleic acids, making and screening cDNA libraries,
40   and performing PCR are well known in the art (see, e.g., Gubler and Hoffman, Gene, 25:263-269 (1983); Sambrook et
     al., supra; Ausubel et al., supra), as are PCR methods (see, U.S. Patent Nos. 4,683,195 and 4,683,202; PCR Protocols:
     A Guide to Methods and Applications (Innis et al., eds, 1990)). Expression libraries are also well known to those of skill
     in the art. Additional basic texts disclosing the general methods of use in this invention include Sambrook et al., Molecular
     Cloning, A Laboratory Manual (2nd ed. 1989); Kriegler, Gene Transfer and Expression: A Laboratory Manual (1990);
45   and Current Protocols in Molecular Biology (Ausubel et al., eds., 1994).
     [0168] Preferably, siRNA are chemically synthesized. The oligonucleotides that comprise the siRNA molecules de-
     scribed herein can be synthesized using any of a variety of techniques known in the art, such as those described in
     Usman et al., J. Am. Chem. Soc., 109:7845 (1987); Scaringe et al., Nucl. Acids Res., 18:5433 (1990); Wincott et al.,
     Nucl. Acids Res., 23:2677-2684 (1995); and Wincott et al., Methods Mol. Bio., 74:59 (1997). The synthesis of oligonu-
50   cleotides makes use of common nucleic acid protecting and coupling groups, such as dimethoxytrityl at the 5’-end and
     phosphoramidites at the 3’-end. As a non-limiting example, small scale syntheses can be conducted on an Applied
     Biosystems synthesizer using a 0.2 mmol scale protocol. Alternatively, syntheses at the 0.2 mmol scale can be performed
     on a 96-well plate synthesizer from Protogene (Palo Alto, CA). However, a larger or smaller scale of synthesis is also
     within the scope of this disclosure. Suitable reagents for oligonucleotide synthesis, methods for RNA deprotection, and
55   methods for RNA purification are known to those of skill in the art.
     [0169] siRNA molecules can also be synthesized via a tandem synthesis technique, wherein both strands are syn-
     thesized as a single continuous oligonucleotide fragment or strand separated by a cleavable linker that is subsequently
     cleaved to provide separate fragments or strands that hybridize to form the siRNA duplex. The linker can be a polynu-




                                                                  21
                                                                                                               JA001608
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 268 of 1274 PageID #: 8574

                                                        EP 2 279 254 B1

     cleotide linker or a non-nucleotide linker. The tandem synthesis of siRNA can be readily adapted to both multiwell/mul-
     tiplate synthesis platforms as well as large scale synthesis platforms employing batch reactors, synthesis columns, and
     the like. Alternatively, siRNA molecules can be assembled from two distinct oligonucleotides, wherein one oligonucleotide
     comprises the sense strand and the other comprises the antisense strand of the siRNA. For example, each strand can
 5   be synthesized separately and joined together by hybridization or ligation following synthesis and/or deprotection. In
     certain other instances, siRNA molecules can be synthesized as a single continuous oligonucleotide fragment, where
     the self-complementary sense and antisense regions hybridize to form an siRNA duplex having hairpin secondary
     structure.

10   c. Modifying siRNA Sequences

     [0170] In certain aspects, siRNA molecules comprise a duplex having two strands and at least one modified nucleotide
     in the double-stranded region, wherein each strand is about 15 to about 60 nucleotides in length. Advantageously, the
     modified siRNA is less immunostimulatory than a corresponding unmodified siRNA sequence, but retains the capability
15   of silencing the expression of a target sequence. In preferred embodiments, the degree of chemical modifications
     introduced into the siRNA molecule strikes a balance between reduction or abrogation of the immunostimulatory prop-
     erties of the siRNA and retention of RNAi activity. As a non-limiting example, an siRNA molecule that targets a gene of
     interest can be minimally modified (e.g., less than about 30%, 25%, 20%, 15%, 10%, or 5% modified) at selective uridine
     and/or guanosine nucleotides within the siRNA duplex to eliminate the immune response generated by the siRNA while
20   retaining its capability to silence target gene expression.
     [0171] Examples of modified nucleotides suitable for use in the invention include, but are not limited to, ribonucleotides
     having a 2’-O-methyl (2’OMe), 2’-deoxy-2’-fluoro (2’F), 2’-deoxy, 5-C-methyl, 2’-O-(2-methoxyethyl) (MOE), 4’-thio, 2’-
     amino, or 2’-C-allyl group. Modified nucleotides having a Northern conformation such as those described in, e.g., Saenger,
     Principles of Nucleic Acid Structure, Springer-Verlag Ed. (1984), are also suitable for use in siRNA molecules. Such
25   modified nucleotides include, without limitation, locked nucleic acid (LNA) nucleotides (e.g., 2’-O, 4’-C-methylene-(D-
     ribofuranosy nucleotides), 2’-O-(2-methoxyethyl) (MOE) nucleotides, 2’-methyl-thio-ethyl nucleotides, 2’-deoxy-2’-fluoro
     (2’F) nucleotides, 2’-deoxy-2’-chloro (2’Cl) nucleotides, and 2’-azido nucleotides. In certain instances, the siRNA mole-
     cules described herein include one or more G-clamp nucleotides. A G-clamp nucleotide refers to a modified cytosine
     analog wherein the modifications confer the ability to hydrogen bond both Watson-Crick and Hoogsteen faces of a
30   complementary guanine nucleotide within a duplex (see, e.g., Lin et al., J. Am. Chem. Soc., 120:8531-8532 (1998)). In
     addition, nucleotides having a nucleotide base analog such as, for example, C-phenyl, C-naphthyl, other aromatic
     derivatives, inosine, azole carboxamides, and nitroazole derivatives such as 3-nitropyrrole, 4-nitroindole, 5-nitroindole,
     and 6-nitroindole (see, e.g., Loakes, Nucl. Acids Res., 29:2437-2447 (2001)) can be incorporated into siRNA molecules.
     [0172] In certain embodiments, siRNA molecules may further comprise one or more chemical modifications such as
35   terminal cap moieties, phosphate backbone modifications, and the like. Examples of terminal cap moieties include,
     without limitation, inverted deoxy abasic residues, glyceryl modifications, 4’,5’-methylene nucleotides, 1-(β-D-erythro-
     furanosyl) nucleotides, 4’-thio nucleotides, carbocyclic nucleotides, 1,5-anhydrohexitol nucleotides, L-nucleotides, α-
     nucleotides, modified base nucleotides, threo-pentofuranosyl nucleotides, acyclic 3’,4’-seco nucleotides, acyclic 3,4-
     dihydroxybutyl nucleotides, acyclic 3,5-dihydroxypentyl nucleotides, 3’-3’-inverted nucleotide moieties, 3’-3’-inverted
40   abasic moieties, 3’-2’-inverted nucleotide moieties, 3’-2’-inverted abasic moieties, 5’-5’-inverted nucleotide moieties, 5’-
     5’-inverted abasic moieties, 3’-5’-inverted deoxy abasic moieties, 5’-amino-alkyl phosphate, 1,3-diamino-2-propyl phos-
     phate, 3-aminopropyl phosphate, 6-aminohexyl phosphate, 1,2-aminododecyl phosphate, hydroxypropyl phosphate,
     1,4-butanediol phosphate, 3’-phosphoramidate, 5’-phosphoramidate, hexylphosphate, aminohexyl phosphate, 3’-phos-
     phate, 5’-amino, 3’-phosphorothioate, 5’-phosphorothioate, phosphorodithioate, and bridging or non-bridging methyl-
45   phosphonate or 5’-mercapto moieties (see, e.g., U.S. Patent No. 5,998,203; Beaucage et al., Tetrahedron 49:1925
     (1993)). Non-limiting examples of phosphate backbone modifications (i.e., resulting in modified internucleotide linkages)
     include phosphorothioate, phosphorodithioate, methylphosphonate, phosphotriester, morpholino, amidate, carbamate,
     carboxymethyl, acetamidate, polyamide, sulfonate, sulfonamide, sulfamate, formacetal, thioformacetal, and alkylsilyl
     substitutions (see, e.g., Hunziker et al., Nucleic Acid Analogues: Synthesis and Properties, in Modern Synthetic Methods,
50   VCH, 331-417 (1995); Mesmaeker et al., Novel Backbone Replacements for Oligonucleotides, in Carbohydrate Modi-
     fications in Antisense Research, ACS, 24-39 (1994)). Such chemical modifications can occur at the 5’-end and/or 3’-
     end of the sense strand, antisense strand, or both strands of the siRNA.
     [0173] In some embodiments, the sense and/or antisense strand of the siRNA molecule can further comprise a 3’-
     terminal overhang having about 1 to about 4 (e.g., 1, 2, 3, or 4) 2’-deoxy ribonucleotides and/or any combination of
55   modified and unmodified nucleotides. Additional examples of modified nucleotides and types of chemical modifications
     that can be introduced into siRNA molecules are described, e.g., in UK Patent No. GB 2,397,818 B and U.S. Patent
     Publication Nos. 20040192626, 20050282188, and 20070135372.
     [0174] The siRNA molecules described herein can optionally comprise one or more non-nucleotides in one or both




                                                                 22
                                                                                                              JA001609
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 269 of 1274 PageID #: 8575

                                                        EP 2 279 254 B1

     strands of the siRNA. As used herein, the term "non-nucleotide" refers to any group or compound that can be incorporated
     into a nucleic acid chain in the place of one or more nucleotide units, including sugar and/or phosphate substitutions,
     and allows the remaining bases to exhibit their activity. The group or compound is abasic in that it does not contain a
     commonly recognized nucleotide base such as adenosine, guanine, cytosine, uracil, or thymine and therefore lacks a
 5   base at the 1’-position.
     [0175] In other embodiments, chemical modification of the siRNA comprises attaching a conjugate to the siRNA
     molecule. The conjugate can be attached at the 5’ and/or 3’-end of the sense and/or antisense strand of the siRNA via
     a covalent attachment such as, e.g., a biodegradable linker. The conjugate can also be attached to the siRNA, e.g.,
     through a carbamate group or other linking group (see, e.g., U.S. Patent Publication Nos. 20050074771, 20050043219,
10   and 20050158727). In certain instances, the conjugate is a molecule that facilitates the delivery of the siRNA into a cell.
     Examples of conjugate molecules suitable for attachment to siRNA include, without limitation, steroids such as cholesterol,
     glycols such as polyethylene glycol (PEG), human serum albumin (HSA), fatty acids, carotenoids, terpenes, bile acids,
     folates (e.g., folic acid, folate analogs and derivatives thereof), sugars (e.g., galactose, galactosamine, N-acetyl galac-
     tosamine, glucose, mannose, fructose, fucose, etc.), phospholipids, peptides, ligands for cellular receptors capable of
15   mediating cellular uptake, and combinations thereof (see, e.g., U.S. Patent Publication Nos. 20030130186, 20040110296,
     and 20040249178; U.S. Patent No. 6,753,423). Other examples include the lipophilic moiety, vitamin, polymer, peptide,
     protein, nucleic acid, small molecule, oligosaccharide, carbohydrate cluster, intercalator, minor groove binder, cleaving
     agent, and cross-linking agent conjugate molecules described in U.S. Patent Publication Nos. 20050119470 and
     20050107325. Yet other examples include the 2’-O-alkyl amine, 2’-O-alkoxyalkyl amine, polyamine, C5-cationic modified
20   pyrimidine, cationic peptide, guanidinium group, amidininium group, cationic amino acid conjugate molecules described
     in U.S. Patent Publication No. 20050153337. Additional examples include the hydrophobic group, membrane active
     compound, cell penetrating compound, cell targeting signal, interaction modifier, and steric stabilizer conjugate molecules
     described in U.S. Patent Publication No. 20040167090. Further examples include the conjugate molecules described
     in U.S. Patent Publication No. 20050239739. The type of conjugate used and the extent of conjugation to the siRNA
25   molecule can be evaluated for improved pharmacokinetic profiles, bioavailability, and/or stability of the siRNA while
     retaining RNAi activity. As such, one skilled in the art can screen siRNA molecules having various conjugates attached
     thereto to identify ones having improved properties and full RNAi activity using any of a variety of well-known in vitro
     cell culture or in vivo animal models.

30   d. Target Genes

     [0176] The siRNA component of the nucleic acid-lipid particles described herein can be used to downregulate or
     silence the translation (i.e., expression) of a gene of interest. Genes of interest include, but are not limited to, genes
     associated with viral infection and survival, genes associated with metabolic diseases and disorders (e.g., liver diseases
35   and disorders), genes associated with tumorigenesis and cell transformation (e.g., cancer), angiogenic genes, immu-
     nomodulator genes such as those associated with inflammatory and autoimmune responses, ligand receptor genes,
     and genes associated with neurodegenerative disorders.
     [0177] Genes associated with viral infection and survival include those expressed by a virus in order to bind, enter,
     and replicate in a cell. Of particular interest are viral sequences associated with chronic viral diseases. Viral sequences
40   of particular interest include sequences of Filoviruses such as Ebola virus and Marburg virus (see, e.g., Geisbert et al.,
     J. Infect. Dis., 193:1650-1657 (2006)); Arenaviruses such as Lassa virus, Junin virus, Machupo virus, Guanarito virus,
     and Sabia virus (Buchmeier et al., Arenaviridae: the viruses and their replication, In: FIELDS VIROLOGY, Knipe et al.
     (eds.), 4th ed., Lippincott-Raven, Philadelphia, (2001)); Influenza viruses such as Influenza A, B, and C viruses, (see,
     e.g., Steinhauer et al., Annu Rev Genet., 36:305-332 (2002); and Neumann et al., J Gen Virol., 83:2635-2662 (2002));
45   Hepatitis viruses (see, e.g., Hamasaki et al., FEBS Lett., 543:51 (2003); Yokota et al., EMBO Rep., 4:602 (2003);
     Schlomai et al., Hepatology, 37:764 (2003); Wilson et al., Proc. Natl. Acad. Sci. USA, 100:2783 (2003); Kapadia et al.,
     Proc. Natl. Acad. Sci. USA, 100:2014 (2003); and FIELDS VIROLOGY, Knipe et al. (eds.), 4th ed., Lippincott-Raven,
     Philadelphia (2001)); Human Immunodeficiency Virus (HIV) (Banerjea et al., Mol. Ther., 8:62 (2003); Song et al., J.
     Virol., 77:7174 (2003); Stephenson, JAMA, 289:1494 (2003); Qin et al., Proc. Natl. Acad. Sci. USA, 100:183 (2003));
50   Herpes viruses (Jia et al., J. Virol., 77:3301 (2003)); and Human Papilloma Viruses (HPV) (Hall et al., J. Virol., 77:6066
     (2003); Jiang et al., Oncogene, 21:6041 (2002)).
     [0178] Exemplary Filovirus nucleic acid sequences that can be silenced include, but are not limited to, nucleic acid
     sequences encoding structural proteins (e.g., VP30, VP35, nucleoprotein (NP), polymerase protein (L-pol)) and mem-
     brane-associated proteins (e.g., VP40, glycoprotein (GP), VP24). Complete genome sequences for Ebola virus are set
55   forth in, e.g., Genbank Accession Nos. NC_002549; AY769362; NC_006432; NC_004161; AY729654; AY354458;
     AY142960; AB050936; AF522874; AF499101; AF272001; and AF086833. Ebola virus VP24 sequences are set forth
     in, e.g., Genbank Accession Nos. U77385 and AY058897. Ebola virus L-pol sequences are set forth in, e.g., Genbank
     Accession No. X67110. Ebola virus VP40 sequences are set forth in, e.g., Genbank Accession No. AY058896. Ebola




                                                                 23
                                                                                                             JA001610
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 270 of 1274 PageID #: 8576

                                                        EP 2 279 254 B1

     virus NP sequences are set forth in, e.g., Genbank Accession No. AY058895. Ebola virus GP sequences are set forth
     in, e.g., Genbank Accession No. AY058898; Sanchez et al., Virus Res., 29:215-240 (1993); Will et al., J. Virol.,
     67:1203-1210 (1993); Volchkov et al., FEBS Lett., 305:181-184 (1992); and U.S. Patent No. 6,713,069. Additional Ebola
     virus sequences are set forth in, e.g., Genbank Accession Nos. L11365 and X61274. Complete genome sequences for
 5   Marburg virus are set forth in, e.g., Genbank Accession Nos. NC_001608; AY430365; AY430366; and AY358025.
     Marburg virus GP sequences are set forth in, e.g., Genbank Accession Nos. AF005734; AF005733; and AF005732.
     Marburg virus VP35 sequences are set forth in, e.g., Genbank Accession Nos. AF005731 and AF005730. Additional
     Marburg virus sequences are set forth in, e.g., Genbank Accession Nos. X64406; Z29337; AF005735; and Z12132.
     Non-limiting examples of siRNA molecules targeting Ebola virus and Marburg virus nucleic acid sequences include those
10   described in U.S. Patent Publication No. 20070135370.
     [0179] Exemplary Influenza virus nucleic acid sequences that can be silenced include, but are not limited to, nucleic
     acid sequences encoding nucleoprotein (NP), matrix proteins (M1 and M2), nonstructural proteins (NS1 and NS2), RNA
     polymerase (PA, PB1, PB2), neuraminidase (NA), and haemagglutinin (HA). Influenza A NP sequences are set forth in,
     e.g., Genbank Accession Nos. NC_004522; AY818138; AB166863; AB188817; AB189046; AB189054; AB189062;
15   AY646169; AY646177; AY651486; AY651493; AY651494; AY651495; AY651496; AY651497; AY651498; AY651499;
     AY651500; AY651501; AY651502; AY651503; AY651504; AY651505; AY651506; AY651507; AY651509; AY651528;
     AY770996; AY790308; AY818138; and AY818140. Influenza A PA sequences are set forth in, e.g., Genbank Accession
     Nos. AY818132; AY790280; AY646171; AY818132;AY818133; AY646179; AY818134; AY551934; AY651613;
     AY651610; AY651620; AY651617; AY651600; AY651611; AY651606; AY651618; AY651608; AY651607; AY651605;
20   AY651609; AY651615; AY651616; AY651640; AY651614; AY651612; AY651621; AY651619; AY770995; and
     AY724786. Non-limiting examples of siRNA molecules targeting Influenza virus nucleic acid sequences include those
     described in U.S. Patent Publication No. 20070218122.
     [0180] Exemplary hepatitis virus nucleic acid sequences that can be silenced include, but are not limited to, nucleic
     acid sequences involved in transcription and translation (e.g., En1, En2, X, P) and nucleic acid sequences encoding
25   structural proteins (e.g., core proteins including C and C-related proteins, capsid and envelope proteins including S, M,
     and/or L proteins, or fragments thereof) (see, e.g., FIELDS VIROLOGY, supra). Exemplary Hepatits C virus (HCV)
     nucleic acid sequences that can be silenced include, but are not limited to, the 5’-untranslated region (5’-UTR), the 3’-
     untranslated region (3’-UTR), the polyprotein translation initiation codon region, the internal ribosome entry site (IRES)
     sequence, and/or nucleic acid sequences encoding the core protein, the E1 protein, the E2 protein, the p7 protein, the
30   NS2 protein, the NS3 protease/helicase, the NS4A protein, the NS4B protein, the NS5A protein, and/or the NS5B RNA-
     dependent RNA polymerase. HCV genome sequences are set forth in, e.g., Genbank Accession Nos. NC_004102 (HCV
     genotype 1a), AJ238799 (HCV genotype 1b), NC_009823 (HCV genotype 2), NC_009824 (HCV genotype 3), NC_009825
     (HCV genotype 4), NC_009826 (HCV genotype 5), and NC_009827 (HCV genotype 6). Hepatitis A virus nucleic acid
     sequences are set forth in, e.g., Genbank Accession No. NC_001489; Hepatitis B virus nucleic acid sequences are set
35   forth in, e.g., Genbank Accession No. NC_003977; Hepatitis D virus nucleic acid sequence are set forth in, e.g., Genbank
     Accession No. NC_001653; Hepatitis E virus nucleic acid sequences are set forth in, e.g., Genbank Accession No.
     NC_001434; and Hepatitis G virus nucleic acid sequences are set forth in, e.g., Genbank Accession No. NC_001710.
     Silencing of sequences that encode genes associated with viral infection and survival can conveniently be used in
     combination with the administration of conventional agents used to treat the viral condition. Non-limiting examples of
40   siRNA molecules targeting hepatitis virus nucleic acid sequences include those described in U.S. Patent Publication
     Nos. 20060281175, 20050058982, and 20070149470; U.S. Patent No. 7,348,314; and U.S. Provisional Application No.
     61/162,127, filed March 20, 2009.
     [0181] Genes associated with metabolic diseases and disorders (e.g., disorders in which the liver is the target and
     liver diseases and disorders) include, for example, genes expressed in dyslipidemia (e.g., liver X receptors such as
45   LXRα and LXRβ (Genback Accession No. NM_007121), farnesoid X receptors (FXR) (Genbank Accession No.
     NM_005123), sterol-regulatory element binding protein (SREBP), site-1 protease (SIP), 3-hydroxy-3-methylglutaryl coen-
     zyme-A reductase (HMG coenzyme-A reductase), apolipoprotein B (ApoB) (Genbank Accession No. NM_000384),
     apolipoprotein CIII (ApoC3) (Genbank Accession Nos. NM_000040 and NG_008949 REGION: 5001..8164), and apol-
     ipoprotein E (ApoE) (Genbank Accession Nos. NM_000041 and NG_007084 REGION: 5001..8612)); and diabetes (e.g.,
50   glucose 6-phosphatase) (see, e.g., Forman et al., Cell, 81:687 (1995); Seol et al., Mol. Endocrinol., 9:72 (1995), Zavacki
     et al., Proc. Natl. Acad. Sci. USA, 94:7909 (1997); Sakai et al., Cell, 85:1037-1046 (1996); Duncan et al., J. Biol. Chem.,
     272:12778-12785 (1997); Willy et al., Genes Dev., 9:1033-1045 (1995); Lehmann et al., J. Biol. Chem., 272:3137-3140
     (1997); Janowski et al., Nature, 383:728-731 (1996); and Peet et al., Cell, 93:693-704 (1998)). One of skill in the art will
     appreciate that genes associated with metabolic diseases and disorders (e.g., diseases and disorders in which the liver
55   is a target and liver diseases and disorders) include genes that are expressed in the liver itself as well as and genes
     expressed in other organs and tissues. Silencing of sequences that encode genes associated with metabolic diseases
     and disorders can conveniently be used in combination with the administration of conventional agents used to treat the
     disease or disorder. Non-limiting examples of siRNA molecules targeting the ApoB gene include those described in U.S.




                                                                 24
                                                                                                              JA001611
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 271 of 1274 PageID #: 8577

                                                         EP 2 279 254 B1

     Patent Publication No. 20060134189. Non-limiting examples of siRNA molecules targeting the ApoC3 gene include
     those described in U.S. Provisional Application No. 61/147,235, filed January 26, 2009.
     [0182] Examples of gene sequences associated with tumorigenesis and cell transformation (e.g., cancer or other
     neoplasia) include mitotic kinesins such as Eg5 (KSP, KIF11; Genbank Accession No. NM_004523); serine/threonine
 5   kinases such as polo-like kinase 1 (PLK-1) (Genbank Accession No. NM_005030; Barr et al., Nat. Rev. Mol. Cell Biol.,
     5:429-440 (2004)); tyrosine kinases such as WEE1 (Genbank Accession Nos. NM_003390 and NM_001143976); in-
     hibitors of apoptosis such as XIAP (Genbank Accession No. NM_001167); COP9 signalosome subunits such as CSN1,
     CSN2, CSN3, CSN4, CSN5 (JAB1; Genbank Accession No. NM_006837); CSN6, CSN7A, CSN7B, and CSN8; ubiquitin
     ligases such as COP1 (RFWD2; Genbank Accession Nos. NM_022457 and NM_001001740); and histone deacetylases
10   such as HDAC1, HDAC2 (Genbank Accession No. NM_001527), HDAC3, HDAC4, HDAC5, HDAC6, HDAC7, HDAC8,
     HDAC9, etc. Non-limiting examples of siRNA molecules targeting the Eg5 and XIAP genes include those described in
     U.S. Patent Application No. 11/807,872, filed May 29, 2007. Non-limiting examples of siRNA molecules targeting the
     PLK-1 gene include those described in U.S. Patent Publication Nos. 20050107316 and 20070265438; and U.S. Patent
     Application No. 12/343,342, filed December 23, 2008. Non-limiting examples of siRNA molecules targeting the CSN5
15   gene include those described in U.S. Provisional Application No. 61/045,251, filed April 15, 2008p.
     [0183] Additional examples of gene sequences associated with tumorigenesis and cell transformation include trans-
     location sequences such as MLL fusion genes, BCR-ABL (Wilda et al., Oncogene, 21:5716 (2002); Scherr et al., Blood,
     101:1566 (2003)), TEL-AML1, EWS-FLI1, TLS-FUS, PAX3-FKHR, BCL-2, AML1-ETO, and AML1-MTG8 (Heidenreich
     et al., Blood, 101:3157 (2003)); overexpressed sequences such as multidrug resistance genes (Nieth et al., FEBS Lett.,
20   545:144 (2003); Wu et al, Cancer Res. 63:1515 (2003)), cyclins (Li et al., Cancer Res., 63:3593 (2003); Zou et al., Genes
     Dev., 16:2923 (2002)), beta-catenin (Verma et al., Clin Cancer Res., 9:1291 (2003)), telomerase genes (Kosciolek et
     al., Mol Cancer Ther., 2:209 (2003)), c-MYC, N-MYC, BCL-2, growth factor receptors (e.g., EGFR/ErbB1 (Genbank
     Accession Nos. NM_005228, NM_201282, NM_201283, and NM_201284; see also, Nagy et al. Exp. Cell Res., 285:39-49
     (2003), ErbB2/HER-2 (Genbank Accession Nos. NM_004448 and NM_001005862), ErbB3 (Genbank Accession Nos.
25   NM_001982 and NM_001005915), and ErbB4 (Genbank Accession Nos. NM_005235 and NM_001042599); and mu-
     tated sequences such as RAS (reviewed in Tuschl and Borkhardt, Mol. Interventions, 2:158 (2002)). Non-limiting ex-
     amples of siRNA molecules targeting the EGFR gene include those described in U.S. Patent Application No. 11/807,872,
     filed May 29, 2007.
     [0184] Silencing of sequences that encode DNA repair enzymes find use in combination with the administration of
30   chemotherapeutic agents (Collis et al., Cancer Res., 63:1550 (2003)). Genes encoding proteins associated with tumor
     migration are also target sequences of interest, for example, integrins, selectins, and metalloproteinases. The foregoing
     examples are not exclusive. Those of skill in the art will understand that any whole or partial gene sequence that facilitates
     or promotes tumorigenesis or cell transformation, tumor growth, or tumor migration can be included as a template
     sequence.
35   [0185] Angiogenic genes are able to promote the formation of new vessels. Of particular interest is vascular endothelial
     growth factor (VEGF) (Reich et al., Mol. Vis., 9:210 (2003)) or VEGFR. siRNA sequences that target VEGFR are set
     forth in, e.g., GB 2396864; U.S. Patent Publication No. 20040142895; and CA 2456444.
     [0186] Anti-angiogenic genes are able to inhibit neovascularization. These genes are particularly useful for treating
     those cancers in which angiogenesis plays a role in the pathological development of the disease. Examples of anti-
40   angiogenic genes include, but are not limited to, endostatin (see, e.g., U.S. Patent No. 6,174,861), angiostatin (see,
     e.g., U.S. Patent No. 5,639,725), and VEGFR2 (see, e.g., Decaussin et al., J. Pathol., 188: 369-377 (1999)).
     [0187] Immunomodulator genes are genes that modulate one or more immune responses. Examples of immunomod-
     ulator genes include, without limitation, cytokines such as growth factors (e.g., TGF-α, TGF-hβ, EGF, FGF, IGF, NGF,
     PDGF, CGF, GM-CSF, SCF, etc.), interleukins (e.g., IL-2, IL-4, IL-12 (Hill et al., J. Immunol., 171:691 (2003)), IL-15, IL-
45   18, IL-20, etc.), interferons (e.g., IFN-α, IFN-β, IFN-γ, etc.) and TNF. Fas and Fas ligand genes are also immunomodulator
     target sequences of interest (Song et al., Nat. Med., 9:347 (2003)). Genes encoding secondary signaling molecules in
     hematopoietic and lymphoid cells are also included in the present disclosure, for example, Tec family kinases such as
     Bruton’s tyrosine kinase (Btk) (Heinonen et al., FEBS Lett., 527:274 (2002)).
     [0188] Cell receptor ligands include ligands that are able to bind to cell surface receptors (e.g., insulin receptor, EPO
50   receptor, G-protein coupled receptors, receptors with tyrosine kinase activity, cytokine receptors, growth factor receptors,
     etc.), to modulate (e.g., inhibit, activate, etc.) the physiological pathway that the receptor is involved in (e.g., glucose
     level modulation, blood cell development, mitogenesis, etc.). Examples of cell receptor ligands include, but are not limited
     to, cytokines, growth factors, interleukins, interferons, erythropoietin (EPO), insulin, glucagon, G-protein coupled receptor
     ligands, etc. Templates coding for an expansion of trinucleotide repeats (e.g., CAG repeats) find use in silencing path-
55   ogenic sequences in neurodegenerative disorders caused by the expansion of trinucleotide repeats, such as spinobul-
     bular muscular atrophy and Huntington’s Disease (Caplen et al., Hum. Mol. Genet., 11:175 (2002)).
     [0189] In addition to its utility in silencing the expression of any of the above-described genes for therapeutic purposes,
     the siRNA described herein are also useful in research and development applications as well as diagnostic, prophylactic,




                                                                  25
                                                                                                                JA001612
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 272 of 1274 PageID #: 8578

                                                         EP 2 279 254 B1

     prognostic, clinical, and other healthcare applications. As a non-limiting example, the siRNA can be used in target
     validation studies directed at testing whether a gene of interest has the potential to be a therapeutic target. The siRNA
     can also be used in target identification studies aimed at discovering genes as potential therapeutic targets.

 5   2. aiRNA

     [0190] Like siRNA, asymmetrical interfering RNA (aiRNA) can recruit the RNA-induced silencing complex (RISC) and
     lead to effective silencing of a variety of genes in mammalian cells by mediating sequence-specific cleavage of the target
     sequence between nucleotide 10 and 11 relative to the 5’ end of the antisense strand (Sun et al., Nat. Biotech.,
10   26:1379-1382 (2008)). Typically, an aiRNA molecule comprises a short RNA duplex having a sense strand and an
     antisense strand, wherein the duplex contains overhangs at the 3’ and 5’ ends of the antisense strand. The aiRNA is
     generally asymmetric because the sense strand is shorter on both ends when compared to the complementary antisense
     strand. In some aspects, aiRNA molecules may be designed, synthesized, and annealed under conditions similar to
     those used for siRNA molecules. As a non-limiting example, aiRNA sequences may be selected and generated using
15   the methods described above for selecting siRNA sequences.
     [0191] In another embodiment, aiRNA duplexes of various lengths (e.g., about 10-25, 12-20, 12-19, 12-18, 13-17, or
     14-17 base pairs, more typically 12, 13, 14, 15, 16, 17, 18, 19, or 20 base pairs) may be designed with overhangs at
     the 3’ and 5’ ends of the antisense strand to target an mRNA of interest. In certain instances, the sense strand of the
     aiRNA molecule is about 10-25, 12-20, 12-19, 12-18, 13-17, or 14-17 nucleotides in length, more typically 12, 13, 14,
20   15, 16, 17, 18, 19, or 20 nucleotides in length. In certain other instances, the antisense strand of the aiRNA molecule is
     about 15-60, 15-50, or 15-40 nucleotides in length, more typically about 15-30, 15-25, or 19-25 nucleotides in length,
     and is preferably about 20-24, 21-22, or 21-23 nucleotides in length.
     [0192] In some embodiments, the 5’ antisense overhang contains one, two, three, four, or more nontargeting nucle-
     otides (e.g., "AA", "UU", "dTdT", etc.). In other embodiments, the 3’ antisense overhang contains one, two, three, four,
25   or more nontargeting nucleotides (e.g., "AA", "UU", "dTdT", etc.). In certain aspects, the aiRNA molecules described
     herein may comprise one or more modified nucleotides, e.g., in the double-stranded (duplex) region and/or in the
     antisense overhangs. As a non-limiting example, aiRNA sequences may comprise one or more of the modified nucleotides
     described above for siRNA sequences. In a preferred embodiment, the aiRNA molecule comprises 2’OMe nucleotides
     such as, for example, 2’OMe-guanosine nucleotides, 2’OMe-uridine nucleotides, or mixtures thereof.
30   [0193] In certain embodiments, aiRNA molecules may comprise an antisense strand which corresponds to the anti-
     sense strand of an siRNA molecule, e.g., one of the siRNA molecules described herein. In other embodiments, aiRNA
     molecules may be used to silence the expression of any of the target genes set forth above, such as, e.g., genes
     associated with viral infection and survival, genes associated with metabolic diseases and disorders, genes associated
     with tumorigenesis and cell transformation, angiogenic genes, immunomodulator genes such as those associated with
35   inflammatory and autoimmune responses, ligand receptor genes, and genes associated with neurodegenerative disor-
     ders.

     3. miRNA

40   [0194] Generally, microRNAs (miRNA) are single-stranded RNA molecules of about 21-23 nucleotides in length which
     regulate gene expression. miRNAs are encoded by genes from whose DNA they are transcribed, but miRNAs are not
     translated into protein (non-coding RNA); instead, each primary transcript (a pri-miRNA) is processed into a short stem-
     loop structure called a pre-miRNA and finally into a functional mature miRNA. Mature miRNA molecules are either
     partially or completely complementary to one or more messenger RNA (mRNA) molecules, and their main function is
45   to downregulate gene expression. The identification of miRNA molecules is described, e.g., in Lagos-Quintana et al.,
     Science, 294:853-858; Lau et al., Science, 294:858-862; and Lee et al., Science, 294:862-864.
     [0195] The genes encoding miRNA are much longer than the processed mature miRNA molecule. miRNA are first
     transcribed as primary transcripts or pri-miRNA with a cap and poly-A tail and processed to short, ~70-nucleotide stem-
     loop structures known as pre-miRNA in the cell nucleus. This processing is performed in animals by a protein complex
50   known as the Microprocessor complex, consisting of the nuclease Drosha and the double-stranded RNA binding protein
     Pasha (Denli et al., Nature, 432:231-235 (2004)). These pre-miRNA are then processed to mature miRNA in the cytoplasm
     by interaction with the endonuclease Dicer, which also initiates the formation of the RNA-induced silencing complex
     (RISC) (Bernstein et al., Nature, 409:363-366 (2001). Either the sense strand or antisense strand of DNA can function
     as templates to give rise to miRNA.
55   [0196] When Dicer cleaves the pre-miRNA stem-loop, two complementary short RNA molecules are formed, but only
     one is integrated into the RISC complex. This strand is known as the guide strand and is selected by the argonaute
     protein, the catalytically active RNase in the RISC complex, on the basis of the stability of the 5’ end (Preall et al., Curr.
     Biol., 16:530-535 (2006)). The remaining strand, known as the anti-guide or passenger strand, is degraded as a RISC




                                                                  26
                                                                                                                JA001613
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 273 of 1274 PageID #: 8579

                                                         EP 2 279 254 B1

     complex substrate (Gregory et al., Cell, 123:631-640 (2005)). After integration into the active RISC complex, miRNAs
     base pair with their complementary mRNA molecules and induce target mRNA degradation and/or translational silencing.
     [0197] Mammalian miRNA molecules are usually complementary to a site in the 3’ UTR of the target mRNA sequence.
     In certain instances, the annealing of the miRNA to the target mRNA inhibits protein translation by blocking the protein
 5   translation machinery. In certain other instances, the annealing of the miRNA to the target mRNA facilitates the cleavage
     and degradation of the target mRNA through a process similar to RNA interference (RNAi). miRNA may also target
     methylation of genomic sites which correspond to targeted mRNA. Generally, miRNA function in association with a
     complement of proteins collectively termed the miRNP.
     [0198] In certain aspects, the miRNA molecules described herein are about 15-100, 15-90, 15-80, 15-75, 15-70, 15-60,
10   15-50, or 15-40 nucleotides in length, more typically about 15-30, 15-25, or 19-25 nucleotides in length, and are preferably
     about 20-24, 21-22, or 21-23 nucleotides in length. In certain other aspects, miRNA molecules may comprise one or
     more modified nucleotides. As a non-limiting example, miRNA sequences may comprise one or more of the modified
     nucleotides described above for siRNA sequences. In a preferred embodiment, the miRNA molecule comprises 2’OMe
     nucleotides such as, for example, 2’OMe-guanosine nucleotides, 2’OMe-uridine nucleotides, or mixtures thereof.
15   [0199] In some embodiments, miRNA molecules may be used to silence the expression of any of the target genes
     set forth above, such as, e.g., genes associated with viral infection and survival, genes associated with metabolic diseases
     and disorders, genes associated with tumorigenesis and cell transformation, angiogenic genes, immunomodulator genes
     such as those associated with inflammatory and autoimmune responses, ligand receptor genes, and genes associated
     with neurodegenerative disorders.
20   [0200] In other embodiments, one or more agents that block the activity of a miRNA targeting an mRNA of interest
     are administered using a lipid particle described herein (e.g., a nucleic acid-lipid particle). Examples of blocking agents
     include, but are not limited to, steric blocking oligonucleotides, locked nucleic acid oligonucleotides, and Morpholino
     oligonucleotides. Such blocking agents may bind directly to the miRNA or to the miRNA binding site on the target mRNA.

25   4. Antisense Oligonucleotides

     [0201] In one embodiment, the nucleic acid is an antisense oligonucleotide directed to a target gene or sequence of
     interest. The terms "antisense oligonucleotide" or "antisense" include oligonucleotides that are complementary to a
     targeted polynucleotide sequence. Antisense oligonucleotides are single strands of DNA or RNA that are complementary
30   to a chosen sequence. Antisense RNA oligonucleotides prevent the translation of complementary RNA strands by binding
     to the RNA. Antisense DNA oligonucleotides can be used to target a specific, complementary (coding or non-coding)
     RNA. If binding occurs, this DNA/RNA hybrid can be degraded by the enzyme RNase H. In a particular embodiment,
     antisense oligonucleotides comprise from about 10 to about 60 nucleotides, more preferably from about 15 to about 30
     nucleotides. The term also encompasses antisense oligonucleotides that may not be exactly complementary to the
35   desired target gene. Thus, the invention can be utilized in instances where non-target specific-activities are found with
     antisense, or where an antisense sequence containing one or more mismatches with the target sequence is the most
     preferred for a particular use.
     [0202] Antisense oligonucleotides have been demonstrated to be effective and targeted inhibitors of protein synthesis,
     and, consequently, can be used to specifically inhibit protein synthesis by a targeted gene. The efficacy of antisense
40   oligonucleotides for inhibiting protein synthesis is well established. For example, the synthesis of polygalactauronase
     and the muscarine type 2 acetylcholine receptor are inhibited by antisense oligonucleotides directed to their respective
     mRNA sequences (see, U.S. Patent Nos. 5,739,119 and 5,759,829). Furthermore, examples of antisense inhibition have
     been demonstrated with the nuclear protein cyclin, the multiple drug resistance gene (MDR1), ICAM-1, E-selectin, STK-
     1, striatal GABAA receptor, and human EGF (see, Jaskulski et al., Science, 240:1544-6 (1988); Vasanthakumar et al.,
45   Cancer Commun., 1:225-32 (1989); Peris et al., Brain Res Mol Brain Res., 15;57:310-20 (1998); and U.S. Patent Nos.
     5,801,154; 5,789,573; 5,718,709 and 5,610,288). Moreover, antisense constructs have also been described that inhibit
     and can be used to treat a variety of abnormal cellular proliferations, e.g., cancer (see, U.S. Patent Nos. 5,747,470;
     5,591,317; and 5,783,683).
     [0203] Methods of producing antisense oligonucleotides are known in the art and can be readily adapted to produce
50   an antisense oligonucleotide that targets any polynucleotide sequence. Selection of antisense oligonucleotide sequences
     specific for a given target sequence is based upon analysis of the chosen target sequence and determination of secondary
     structure, Tm, binding energy, and relative stability. Antisense oligonucleotides may be selected based upon their relative
     inability to form dimers, hairpins, or other secondary structures that would reduce or prohibit specific binding to the target
     mRNA in a host cell. Highly preferred target regions of the mRNA include those regions at or near the AUG translation
55   initiation codon and those sequences that are substantially complementary to 5’ regions of the mRNA. These secondary
     structure analyses and target site selection considerations can be performed, for example, using v.4 of the OLIGO primer
     analysis software (Molecular Biology Insights) and/or the BLASTN 2.0.5 algorithm software (Altschul et al., Nucleic Acids
     Res., 25:3389-402 (1997)).




                                                                  27
                                                                                                                JA001614
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 274 of 1274 PageID #: 8580

                                                          EP 2 279 254 B1

     5. Ribozymes

     [0204] According to another embodiment of the present disclosure, nucleic acid-lipid particles are associated with
     ribozymes. Ribozymes are RNA-protein complexes having specific catalytic domains that possess endonuclease activity
 5   (see, Kim et al., Proc. Natl. Acad. Sci. USA., 84:8788-92 (1987); and Forster et al., Cell, 49:211-20 (1987)). For example,
     a large number of ribozymes accelerate phosphoester transfer reactions with a high degree of specificity, often cleaving
     only one of several phosphoesters in an oligonucleotide substrate (see, Cech et al., Cell, 27:487-96 (1981); Michel et
     al., J. Mol. Biol., 216:585-610 (1990); Reinhold-Hurek et al., Nature, 357:173-6 (1992)). This specificity has been attributed
     to the requirement that the substrate bind via specific base-pairing interactions to the internal guide sequence ("IGS")
10   of the ribozyme prior to chemical reaction.
     [0205] At least six basic varieties of naturally-occurring enzymatic RNA molecules are known presently. Each can
     catalyze the hydrolysis of RNA phosphodiester bonds in trans (and thus can cleave other RNA molecules) under phys-
     iological conditions. In general, enzymatic nucleic acids act by first binding to a target RNA. Such binding occurs through
     the target binding portion of an enzymatic nucleic acid which is held in close proximity to an enzymatic portion of the
15   molecule that acts to cleave the target RNA. Thus, the enzymatic nucleic acid first recognizes and then binds a target
     RNA through complementary base-pairing, and once bound to the correct site, acts enzymatically to cut the target RNA.
     Strategic cleavage of such a target RNA will destroy its ability to direct synthesis of an encoded protein. After an enzymatic
     nucleic acid has bound and cleaved its RNA target, it is released from that RNA to search for another target and can
     repeatedly bind and cleave new targets.
20   [0206] The enzymatic nucleic acid molecule may be formed in a hammerhead, hairpin, hepatitis δ virus, group I intron
     or RNaseP RNA (in association with an RNA guide sequence), or Neurospora VS RNA motif, for example. Specific
     examples of hammerhead motifs are described in, e.g., Rossi et al., Nucleic Acids Res., 20:4559-65 (1992). Examples
     of hairpin motifs are described in, e.g., EP 0360257, Hampel et al., Biochemistry, 28:4929-33 (1989); Hampel et al.,
     Nucleic Acids Res., 18:299-304 (1990); and U.S. Patent No. 5,631,359. An example of the hepatitis δ virus motif is
25   described in, e.g., Perrotta et al., Biochemistry, 31:11843-52 (1992). An example of the RNaseP motif is described in,
     e.g., Guerrier-Takada et al., Cell, 35:849-57 (1983). Examples of the Neurospora VS RNA ribozyme motif is described
     in, e.g., Saville et al., Cell, 61:685-96 (1990); Saville et al., Proc. Natl. Acad. Sci. USA, 88:8826-30 (1991); Collins et al.,
     Biochemistry, 32:2795-9 (1993). An example of the Group I intron is described in, e.g., U.S. Patent No. 4,987,071.
     Important characteristics of enzymatic nucleic acid molecules used according to the present disclosure are that they
30   have a specific substrate binding site which is complementary to one or more of the target gene DNA or RNA regions,
     and that they have nucleotide sequences within or surrounding that substrate binding site which impart an RNA cleaving
     activity to the molecule. Thus, the ribozyme constructs need not be limited to specific motifs mentioned herein.
     [0207] Methods of producing a ribozyme targeted to any polynucleotide sequence are known in the art. Ribozymes
     may be designed as described in, e.g., PCT Publication Nos. WO 93/23569 and WO 94/02595, and synthesized to be
35   tested in vitro and/or in vivo as described therein.
     [0208] Ribozyme activity can be optimized by altering the length of the ribozyme binding arms or chemically synthesizing
     ribozymes with modifications that prevent their degradation by serum ribonucleases (see, e.g., PCT Publication Nos.
     WO 92/07065, WO 93/15187, WO 91/03162, and WO 94/13688; EP 92110298.4; and U.S. Patent No. 5,334,711, which
     describe various chemical modifications that can be made to the sugar moieties of enzymatic RNA molecules), modifi-
40   cations which enhance their efficacy in cells, and removal of stem II bases to shorten RNA synthesis times and reduce
     chemical requirements.

     6. Immunostimulatory Oligonucleotides

45   [0209] Nucleic acids associated with lipid particles of the present disclosure may be immunostimulatory, including
     immunostimulatory oligonucleotides (ISS; single-or double-stranded) capable of inducing an immune response when
     administered to a subject, which may be a mammal such as a human. ISS include, e.g., certain palindromes leading to
     hairpin secondary structures (see, Yamamoto et al., J. Immunol., 148:4072-6 (1992)), or CpG motifs, as well as other
     known ISS features (such as multi-G domains; see; PCT Publication No. WO 96/11266).
50   [0210] Immunostimulatory nucleic acids are considered to be non-sequence specific when it is not required that they
     specifically bind to and reduce the expression of a target sequence in order to provoke an immune response. Thus,
     certain immunostimulatory nucleic acids may comprise a sequence corresponding to a region of a naturally-occurring
     gene or mRNA, but they may still be considered non-sequence specific immunostimulatory nucleic acids.
     [0211] In one embodiment, the immunostimulatory nucleic acid or oligonucleotide comprises at least one CpG dinu-
55   cleotide. The oligonucleotide or CpG dinucleotide may be unmethylated or methylated. In another embodiment, the
     immunostimulatory nucleic acid comprises at least one CpG dinucleotide having a methylated cytosine. In one embod-
     iment, the nucleic acid comprises a single CpG dinucleotide, wherein the cytosine in the CpG dinucleotide is methylated.
     In an alternative embodiment, the nucleic acid comprises at least two CpG dinucleotides, wherein at least one cytosine




                                                                   28
                                                                                                                 JA001615
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 275 of 1274 PageID #: 8581

                                                           EP 2 279 254 B1

     in the CpG dinucleotides is methylated. In a further embodiment, each cytosine in the CpG dinucleotides present in the
     sequence is methylated. In another embodiment, the nucleic acid comprises a plurality of CpG dinucleotides, wherein
     at least one of the CpG dinucleotides comprises a methylated cytosine. Examples of immunostimulatory oligonucleotides
     suitable for use in the compositions and methods of the present disclosure are described in PCT Application No.
 5   PCT/US08/88676, filed December 31, 2008, PCT Publication Nos. WO 02/069369 and WO 01/15726, U.S. Patent No.
     6,406,705, and Raney et al., J. Pharm. Exper. Ther., 298:1185-92 (2001). In certain embodiments, the oligonucleotides
     used in the compositions and methods of the disclosure have a phosphodiester ("PO") backbone or a phosphorothioate
     ("PS") backbone, and/or at least one methylated cytosine residue in a CpG motif.

10   B. Other Active Agents

     [0212] In certain embodiments, the active agent associated with the lipid particles of the present disclosure may
     comprise one or more therapeutic proteins, polypeptides, or small organic molecules or compounds. Non-limiting ex-
     amples of such therapeutically effective agents or drugs include oncology drugs (e.g., chemotherapy drugs, hormonal
15   therapaeutic agents, immunotherapeutic agents, radiotherapeutic agents, etc.), lipid-lowering agents, anti-viral drugs,
     anti-inflammatory compounds, antidepressants, stimulants, analgesics, antibiotics, birth control medication, antipyretics,
     vasodilators, anti-angiogenics, cytovascular agents, signal transduction inhibitors, cardiovascular drugs such as anti-
     arrhythmic agents, hormones, vasoconstrictors, and steroids. These active agents may be administered alone in the
     lipid particles of the present disclosure, or in combination (e.g., co-administered) with lipid particles of the present
20   disclosure comprising nucleic acid such as interfering RNA.
     [0213] Non-limiting examples of chemotherapy drugs include platinum-based drugs (e.g., oxaliplatin, cisplatin, carbo-
     platin, spiroplatin, iproplatin, satraplatin, etc.), alkylating agents (e.g., cyclophosphamide, ifosfamide, chlorambucil, bu-
     sulfan, melphalan, mechlorethamine, uramustine, thiotepa, nitrosoureas, etc.), anti-metabolites (e.g., 5-fluorouracil (5-
     FU), azathioprine, methotrexate, leucovorin, capecitabine, cytarabine, floxuridine, fludarabine, gemcitabine, pemetrexed,
25   raltitrexed, etc.), plant alkaloids (e.g., vincristine, vinblastine, vinorelbine, vindesine, podophyllotoxin, paclitaxel (taxol),
     docetaxel, etc.), topoisomerase inhibitors (e.g., irinotecan (CPT-11; Camptosar), topotecan, amsacrine, etoposide
     (VP16), etoposide phosphate, teniposide, etc.), antitumor antibiotics (e.g., doxorubicin, adriamycin, daunorubicin, epi-
     rubicin, actinomycin, bleomycin, mitomycin, mitoxantrone, plicamycin, etc.), tyrosine kinase inhibitors (e.g., gefitinib
     (Iressa®), sunitinib (Sutent®; SU11248), erlotinib (Tarceva®; OSI-1774), lapatinib (GW572016; GW2016), canertinib (CI
30   1033), semaxinib (SU5416), vatalanib (PTK787/ZK222584), sorafenib (BAY 43-9006), imatinib (Gleevec®; STI571),
     dasatinib (BMS-354825), leflunomide (SU101), vandetanib (Zactima™; ZD6474), etc.), pharmaceutically acceptable
     salts thereof, stereoisomers thereof, derivatives thereof, analogs thereof, and combinations thereof.
     [0214] Examples of conventional hormonal therapaeutic agents include, without limitation, steroids (e.g., dexameth-
     asone), finasteride, aromatase inhibitors, tamoxifen, and goserelin as well as other gonadotropin-releasing hormone
35   agonists (GnRH).
     [0215] Examples of conventional immunotherapeutic agents include, but are not limited to, immunostimulants (e.g.,
     Bacillus Calmette-Guérin (BCG), levamisole, interleukin-2, alpha-interferon, etc.), monoclonal antibodies (e.g., anti-
     CD20, anti-HER2, anti-CD52, anti-HLA-DR, and anti-VEGF monoclonal antibodies), immunotoxins (e.g., anti-CD33
     monoclonal antibody-calicheamicin conjugate, anti-CD22 monoclonal antibody-pseudomonas exotoxin conjugate, etc.),
40   and radio immunotherapy (e.g., anti-CD20 monoclonal antibody conjugated to 111In, 90Y, or 131I, etc.).
     [0216] Examples of conventional radiotherapeutic agents include, but are not limited to, radionuclides such as 47Sc,
     64Cu, 67Cu, 89Sr, 86Y, 87Y, 90Y, 105Rh, 111Ag, 111 In, 117mSn, 149Pm, 153Sm 166Ho, 177Lu, 186 Re, 188Re, 211At, and 212Bi,

     optionally conjugated to antibodies directed against tumor antigens.
     [0217] Additional oncology drugs that may be used according to the present disclosure include, but are not limited to,
45   alkeran, allopurinol, altretamine, amifostine, anastrozole, araC, arsenic trioxide, bexarotene, biCNU, carmustine, CCNU,
     celecoxib, cladribine, cyclosporin A, cytosine arabinoside, cytoxan, dexrazoxane, DTIC, estramustine, exemestane,
     FK506, gemtuzumab-ozogamicin, hydrea, hydroxyurea, idarubicin, interferon, letrozole, leustatin, leuprolide, litretinoin,
     megastrol, L-PAM, mesna, methoxsalen, mithramycin, nitrogen mustard, pamidronate, Pegademase, pentostatin, por-
     fimer sodium, prednisone, rituxan, streptozocin, STI-571, taxotere, temozolamide, VM-26, toremifene, tretinoin, ATRA,
50   valrubicin, and velban. Other examples of oncology drugs that may be used according to the present disclosure are
     ellipticin and ellipticin analogs or derivatives, epothilones, intracellular kinase inhibitors, and camptothecins.
     [0218] Non-limiting examples of lipid-lowering agents for treating a lipid disease or disorder associated with elevated
     triglycerides, cholesterol, and/or glucose include statins, fibrates, ezetimibe, thiazolidinediones, niacin, beta-blockers,
     nitroglycerin, calcium antagonists, fish oil, and mixtures thereof.
55   [0219] Examples of anti-viral drugs include, but are not limited to, abacavir, aciclovir, acyclovir, adefovir, amantadine,
     amprenavir, arbidol, atazanavir, atripla, cidofovir, combivir, darunavir, delavirdine, didanosine, docosanol, edoxudine,
     efavirenz, emtricitabine, enfuvirtide, entecavir, entry inhibitors, famciclovir, fixed dose combinations, fomivirsen, fosam-
     prenavir, foscarnet, fosfonet, fusion inhibitors, ganciclovir, ibacitabine, imunovir, idoxuridine, imiquimod, indinavir, ino-




                                                                    29
                                                                                                                  JA001616
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 276 of 1274 PageID #: 8582

                                                            EP 2 279 254 B1

     sine, integrase inhibitors, interferon type III (e.g., IFN-λ molecules such as IFN-λ1, IFN-λ2, and IFN-λ3), interferon type
     II (e.g., IFN-γ), interferon type I (e.g., IFN-α such as PEGylated IFN-α, IFN-β, IFN-κ, IFN-δ, IFN-ε, IFN-τ, IFN-ω, and
     IFN-ζ), interferon, lamivudine, lopinavir, loviride, MK-0518, maraviroc, moroxydine, nelfinavir, nevirapine, nexavir, nucl-
     eoside analogues, oseltamivir, penciclovir, peramivir, pleconaril, podophyllotoxin, protease inhibitors, reverse tran-
 5   scriptase inhibitors, ribavirin, rimantadine, ritonavir, saquinavir, stavudine, synergistic enhancers, tenofovir, tenofovir
     disoproxil, tipranavir, trifluridine, trizivir, tromantadine, truvada, valaciclovir, valganciclovir, vicriviroc, vidarabine, virami-
     dine, zalcitabine, zanamivir, zidovudine, pharmaceutically acceptable salts thereof, stereoisomers thereof, derivatives
     thereof, analogs thereof, and mixtures thereof.

10   V. Lipid Particles

     [0220] The lipid particles of the present disclosure typically comprise an active agent or therapeutic agent, a cationic
     lipid, a non-cationic lipid, and a conjugated lipid that inhibits aggregation of particles. In some embodiments, the active
     agent or therapeutic agent is fully encapsulated within the lipid portion of the lipid particle such that the active agent or
15   therapeutic agent in the lipid particle is resistant in aqueous solution to enzymatic degradation, e.g., by a nuclease or
     protease. In other embodiments, the lipid particles described herein are substantially non-toxic to mammals such as
     humans. The lipid particles of the present disclosure typically have a mean diameter of from about 40 nm to about 150
     nm, from about 50 nm to about 150 nm, from about 60 nm to about 130 nm, from about 70 nm to about 110 nm, or from
     about 70 to about 90 nm.
20   [0221] In preferred embodiments, the lipid particles of the present disclosure are serum-stable nucleic acid-lipid par-
     ticles (SNALP) which comprise an interfering RNA (e.g., siRNA, aiRNA, and/or miRNA), a cationic lipid (e.g., a cationic
     lipid of Formulas I, II, and/or III), a non-cationic lipid (e.g., cholesterol alone or mixtures of one or more phospholipids
     and cholesterol), and a conjugated lipid that inhibits aggregation of the particles (e.g., one or more PEG-lipid conjugates).
     The SNALP may comprise at least 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, or more unmodified and/or modified interfering RNA
25   molecules. Nucleic acid-lipid particles and their method of preparation are described in, e.g., U.S. Patent Nos. 5,753,613;
     5,785,992; 5,705,385; 5,976,567; 5,981,501; 6,110,745; and 6,320,017; and PCT Publication No. WO 96/40964.

     A. Cationic Lipids

30   [0222] Any of a variety of cationic lipids may be used in the lipid particles of the present disclosure (e.g., SNALP),
     either alone or in combination with one or more other cationic lipid species or non-cationic lipid species.
     [0223] Cationic lipids which are useful in the present invention can be any of a number of lipid species which carry a
     net positive charge at physiological pH. Such lipids include, but are not limited to, N,N-dioleyl-N,N-dimethylammonium
     chloride (DODAC), 1,2-dioleyloxy-N,N-dimethylaminopropane (DODMA), 1,2-distearyloxy-N,N-dimethylaminopropane
35   (DSDMA), N-(1-(2,3-dioleyloxy)propyl)-N,N,N-trimethylammonium chloride (DOTMA), N,N-distearyl-N,N-dimethylam-
     monium bromide (DDAB), N-(1-(2,3-dioleoyloxy)propyl)-N,N,N-trimethylammonium chloride (DOTAP), 3 -(N-(N’,N’-
     dimethylaminoethane)-carbamoyl)cholesterol (DC-Chol), N-(1,2-dimyristyloxyprop-3-yl)-N,N-dimethyl-N-hydroxyethyl
     ammonium bromide (DMRIE), 2,3-dioleyloxy-N-[2(spermine-carboxamido)ethyl]-N,N-dimethyl-1-propanaminiumtrifluor-
     oacetate (DOSPA), dioctadecylamidoglycyl spermine (DOGS), 3-dimethylamino-2-(cholest-5-en-3-beta-oxybutan-4-
40   oxy)-1-(cis,cis-9,12-octadecadienoxy)propane (CLinDMA), 2-[5’-(cholest-5-en-3.beta.-oxy)-3’-oxapentoxy)-3-dimethy-
     1-(cis,cis-9’,1-2’-octadecadienoxy)propane (CpLinDMA), N,N-dimethyl-3,4-dioleyloxybenzylamine (DMOBA), 1,2-N,N’-
     dioleylcarbamyl-3-dimethylaminopropane (DOcarbDAP), 1,2-N,N’-Dilinoleylcarbamyl-3-dimethylaminopropane (DLin-
     carbDAP), 1,2-Dilinoleoylcarbamyl-3-dimethylaminopropane (DLinCDAP), and mixtures thereof. A number of these lipids
     and related analogs have been described in U.S. Patent Publication Nos. 20060083780 and 20060240554; U.S. Patent
45   Nos. 5,208,036; 5,264,618; 5,279,833; 5,283,185; 5,753,613; and 5,785,992; and PCT Publication No. WO 96/10390.
     Additionally, a number of commercial preparations of cationic lipids are available and can be used in the present invention.
     These include, e.g., LIPOFECTIN® (commercially available cationic liposomes comprising DOTMA and DOPE, from
     GIBCO/BRL, Grand Island, New York, USA); LIPOFECTAMINE® (commercially available cationic liposomes comprising
     DOSPA and DOPE, from GIBCO/BRL); and TRANSFECTAM® (commercially available cationic liposomes comprising
50   DOGS from Promega Corp., Madison, Wisconsin, USA).
     [0224] Additionally, cationic lipids of Formula I having the following structures are useful in the present invention.




55




                                                                     30
                                                                                                                     JA001617
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 277 of 1274 PageID #: 8583

                                                          EP 2 279 254 B1

     wherein R1 and R2 are independently selected and are H or C 1-C3 alkyls, R3 and R4 are independently selected and
     are alkyl groups having from about 10 to about 20 carbon atoms, and at least one of R3 and R4 comprises at least two
     sites of unsaturation. In certain instances, R3 and R4 are both the same, i.e., R3 and R4 are both linoleyl (C18), etc. In
     certain other instances, R3 and R 4 are different, i.e., R 3 is tetradectrienyl (C14) and R4 is linoleyl (C18). In a preferred
 5   embodiment, the cationic lipid of Formula I is symmetrical, i.e., R3 and R4 are both the same. In another preferred
     embodiment, both R3 and R4 comprise at least two sites of unsaturation. In some embodiments, R3 and R4 are inde-
     pendently selected from the group consisting of dodecadienyl, tetradecadienyl, hexadecadienyl, linoleyl, and icosadienyl.
     In a preferred embodiment, R3 and R4 are both linoleyl. In some embodiments, R3 and R4 comprise at least three sites
     of unsaturation and are independently selected from, e.g., dodecatrienyl, tetradectrienyl, hexadecatrienyl, linolenyl, and
10   icosatrienyl. In particularly preferred embodiments, the cationic lipid of Formula I is 1,2-dilinoleyloxy-N,N-dimethylami-
     nopropane (DLinDMA) or 1,2-dilinolenyloxy-N,N-dimethylaminopropane (DLenDMA).
     [0225] Furthermore, cationic lipids of Formula II having the following structures are useful in the present invention.


15




20


     wherein R1 and R2 are independently selected and are H or C 1-C3 alkyls, R3 and R4 are independently selected and
     are alkyl groups having from about 10 to about 20 carbon atoms, and at least one of R3 and R4 comprises at least two
     sites of unsaturation. In certain instances, R3 and R4 are both the same, i.e., R3 and R4 are both linoleyl (C18), etc. In
25   certain other instances, R3 and R 4 are different, i.e., R 3 is tetradectrienyl (C14) and R4 is linoleyl (C18). In a preferred
     embodiment, the cationic lipids of the present invention are symmetrical, i.e., R3 and R4 are both the same. In another
     preferred embodiment, both R3 and R4 comprise at least two sites of unsaturation. In some embodiments, R3 and R4
     are independently selected from the group consisting of dodecadienyl, tetradecadienyl, hexadecadienyl, linoleyl, and
     icosadienyl. In a preferred embodiment, R3 and R4 are both linoleyl. In some embodiments, R3 and R4 comprise at least
30   three sites of unsaturation and are independently selected from, e.g., dodecatrienyl, tetradectrienyl, hexadecatrienyl,
     linolenyl, and icosatrienyl.
     [0226] Moreover, cationic lipids of Formula III having the following structures (or salts thereof) are useful in the present
     invention.

35




40




     [0227] Wherein R1 and R2 are either the same or different and independently optionally substituted C12-C24 alkyl,
45   optionally substituted C12-C24 alkenyl, optionallysubstituted C12-C24 alkynyl, or optionally substituted C 12-C24 acyl; R3
     and R4 are either the same or different and independently optionally substituted C1-C6 alkyl, optionally substituted C1-C6
     alkenyl, or optionally substituted C1-C6 alkynyl or R3 and R4 may join to form an optionally substituted heterocyclic ring
     of 4 to 6 carbon atoms and 1 or 2 heteroatoms chosen from nitrogen and oxygen; R5 is either absent or hydrogen or
     C1-C6 alkyl to provide a quaternary amine; m, n, and p are either the same or different and independently either 0 or 1
50   with the proviso that m, n, and p are not simultaneously 0; q is 0, 1, 2, 3, or 4; and Y and Z are either the same or different
     and independently O, S, or NH.
     [0228] In some embodiments, the cationic lipid of Formula III is 2,2-dilinoleyl-4-(2-dimethylaminoethyl)-[1,3]-dioxolane
     (DLin-K-C2-DMA; "XTC2"), 2,2-dilinoleyl-4-(3-dimethylaminopropyl)-[1,3]-dioxolane (DLin-K-C3-DMA), 2,2-dilinoleyl-
     4-(4-dimethylaminobutyl)-[1,3]-dioxolane (DLin-K-C4-DMA), 2,2-dilinoleyl-5-dimethylaminomethyl-[1,3]-dioxane (DLin-
55   K6-DMA), 2,2-dilinoleyl-4-N-methylpepiazino-[1,3]-dioxolane (DLin-K-MPZ), 2,2-dilinoleyl-4-dimethylaminome-
     thyl-[1,3]-dioxolane (DLin-K-DMA), 1,2-dilinoleylcarbamoyloxy-3-dimethylaminopropane (DLin-C-DAP), 1,2-dilinoley-
     oxy-3-(dimethylamino)acetoxypropane (DLin-DAC), 1,2-dilinoleyoxy-3-morpholinopropane (DLin-MA), 1,2-dilinoleoyl-3-
     dimethylaminopropane (DLinDAP), 1,2-dilinoleylthio-3-dimethylaminopropane (DLin-S-DMA), 1-linoleoyl-2-linoleyloxy-




                                                                   31
                                                                                                                JA001618
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 278 of 1274 PageID #: 8584

                                                          EP 2 279 254 B1

     3-dimethylaminopropane (DLin-2-DMAP), 1,2-dilinoleyloxy-3-trimethylaminopropane chloride salt (DLin-TMA.Cl), 1,2-
     dilinoleoyl-3-trimethylaminopropane chloride salt (DLin-TAP.Cl), 1,2-dilinoleyloxy-3-(N-methylpiperazino)propane (DLin-
     MPZ), 3-(N,N-dilinoleylamino)-1,2-propanediol (DLinAP), 3-(N,N-dioleylamino)-1,2-propanedio (DOAP), 1,2-dilinoley-
     loxo-3-(2-N,N-dimethylamino)ethoxypropane (DLin-EG-DMA), or mixtures thereof. In preferred embodiments, the cati-
 5   onic lipid of Formula III is DLin-K-C2-DMA (XTC2).
     [0229] The cationic lipid typically comprises from about 50 mol % to about 90 mol %, from about 50 mol % to about
     85 mol %, from about 50 mol % to about 80 mol %, from about 50 mol % to about 75 mol %, from about 50 mol % to
     about 70 mol %, from about 50 mol % to about 65 mol %, or from about 55 mol % to about 65 mol % of the total lipid
     present in the particle.
10   [0230] It will be readily apparent to one of skill in the art that depending on the intended use of the particles, the
     proportions of the components can be varied and the delivery efficiency of a particular formulation can be measured
     using, e.g., an endosomal release parameter (ERP) assay.

     B. Non-Cationic Lipids
15
     [0231] The non-cationic lipids used in the lipid particles described herein (e.g., SNALP) can be any of a variety of
     neutral uncharged, zwitterionic, or anionic lipids capable of producing a stable complex.
     [0232] Non-limiting examples of non-cationic lipids include phospholipids such as lecithin, phosphatidylethanolamine,
     lyso lecithin, lysophosphatidylethanolamine, phosphatidylserine, phosphatidylinositol, sphingomyelin, egg sphingomy-
20   elin (ESM), cephalin, cardiolipin, phosphatidic acid, cerebrosides, dicetylphosphate, distearoylphosphatidylcholine
     (DSPC), dioleoylphosphatidylcholine (DOPC), dipalmitoylphosphatidylcholine (DPPC), dioleoylphosphatidylglycerol
     (DOPG), dipalmitoylphosphatidylglycerol (DPPG), dioleoylphosphatidylethanolamine (DOPE), palmitoyloleoyl-phos-
     phatidylcholine (POPC), palmitoyloleoyl-phosphatidylethanolamine (POPE), palmitoyloleyol-phosphatidylglycerol
     (POPG), dioleoylphosphatidylethanolamine 4-(N-maleimidomethyl)-cyclohexane-1-carboxylate (DOPE-mal), dipalmi-
25   toyl-phosphatidylethanolamine (DPPE), dimyristoyl-phosphatidylethanolamine (DMPE), distearoyl-phosphatidyleth-
     anolamine (DSPE), monomethyl-phosphatidylethanolamine, dimethyl-phosphatidylethanolamine, dielaidoyl-phosphati-
     dylethanolamine (DEPE), stearoyloleoyl-phosphatidylethanolamine (SOPE), lysophosphatidylcholine, dilinoleoylphos-
     phatidylcholine, and mixtures thereof. Other diacylphosphatidylcholine and diacylphosphatidylethanolamine phosphol-
     ipids can also be used. The acyl groups in these lipids are preferably acyl groups derived from fatty acids having C10-C24
30   carbon chains, e.g., lauroyl, myristoyl, palmitoyl, stearoyl, or oleoyl.
     [0233] Additional examples of non-cationic lipids include sterols such as cholesterol and derivatives thereof such as
     cholestanol, cholestanone, cholestenone, coprostanol, cholesteryl-2’-hydroxyethyl ether, cholesteryl-4’-hydroxybutyl
     ether, and mixtures thereof.
     [0234] In some embodiments, the non-cationic lipid present in the lipid particles (e.g., SNALP) comprises or consists
35   of cholesterol or a derivative thereof, e.g., a phospholipid-free lipid particle formulation. In other embodiments, the non-
     cationic lipid present in the lipid particles (e.g., SNALP) comprises or consists of one or more phospholipids, e.g., a
     cholesterol-free lipid particle formulation. In further embodiments, the non-cationic lipid present in the lipid particles (e.g.,
     SNALP) comprises or consists of a mixture of one or more phospholipids and cholesterol or a derivative thereof.
     [0235] Other examples of non-cationic lipids suitable for use in the present invention include nonphosphorous con-
40   taining lipids such as, e.g., stearylamine, dodecylamine, hexadecylamine, acetyl palmitate, glycerolricinoleate, hexadecyl
     stereate, isopropyl myristate, amphoteric acrylic polymers, triethanolamine-lauryl sulfate, alkyl-aryl sulfate polyethyloxy-
     lated fatty acid amides, dioctadecyldimethyl ammonium bromide, ceramide, sphingomyelin, and the like.
     [0236] In some embodiments, the non-cationic lipid comprises from about 13 mol % to about 49.5 mol %, from about
     20 mol % to about 45 mol %, from about 25 mol % to about 45 mol %, from about 30 mol % to about 45 mol %, from
45   about 35 mol % to about 45 mol %, from about 20 mol % to about 40 mol %, from about 25 mol % to about 40 mol %,
     or from about 30 mol % to about 40 mol % of the total lipid present in the particle.
     [0237] In certain embodiments described herein, the cholesterol present in phospholipid-free lipid particles comprises
     from about 30 mol % to about 45 mol %, from about 30 mol % to about 40 mol %, from about 35 mol % to about 45 mol
     %, or from about 35 mol % to about 40 mol % of the total lipid present in the particle. As a non-limiting example, a
50   phospholipid-free lipid particle may comprise cholesterol at about 37 mol % of the total lipid present in the particle.
     [0238] In certain other embodiments, the cholesterol present in lipid particles containing a mixture of phospholipid and
     cholesterol comprises from about 30 mol % to about 40 mol %, from about 30 mol % to about 35 mol %, or from about
     35 mol % to about 40 mol % of the total lipid present in the particle. As a non-limiting example, a lipid particle comprising
     a mixture of phospholipid and cholesterol may comprise cholesterol at about 34 mol % of the total lipid present in the
55   particle.
     [0239] In further embodiments, the cholesterol present in lipid particles containing a mixture of phospholipid and
     cholesterol comprises from about 10 mol % to about 30 mol %, from about 15 mol % to about 25 mol %, or from about
     17 mol % to about 23 mol % of the total lipid present in the particle. As a non-limiting example, a lipid particle comprising




                                                                    32
                                                                                                                  JA001619
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 279 of 1274 PageID #: 8585

                                                          EP 2 279 254 B1

     a mixture of phospholipid and cholesterol may comprise cholesterol at about 20 mol % of the total lipid present in the
     particle.
     [0240] In embodiments described herein where the lipid particles contain a mixture of phospholipid and cholesterol
     or a cholesterol derivative, the mixture may comprise up to about 40, 45, 50, 55, or 60 mol % of the total lipid present
 5   in the particle. In certain instances, the phospholipid component in the mixture may comprise from about 2 mol % to
     about 12 mol %, from about 4 mol % to about 10 mol %, from about 5 mol % to about 10 mol %, from about 5 mol % to
     about 9 mol %, or from about 6 mol % to about 8 mol % of the total lipid present in the particle. As a non-limiting example,
     a lipid particle comprising a mixture of phospholipid and cholesterol may comprise a phospholipid such as DPPC or
     DSPC at about 7 mol % (e.g., in a mixture with about 34 mol % cholesterol) of the total lipid present in the particle. In
10   certain other instances, the phospholipid component in the mixture may comprise from about 10 mol % to about 30 mol
     %, from about 15 mol % to about 25 mol %, or from about 17 mol % to about 23 mol % of the total lipid present in the
     particle. As another non-limiting example, a lipid particle comprising a mixture of phospholipid and cholesterol may
     comprise a phospholipid such as DPPC or DSPC at about 20 mol % (e.g., in a mixture with about 20 mol % cholesterol)
     of the total lipid present in the particle.
15
     C. Lipid Conjugate

     [0241] In addition to cationic and non-cationic lipids, the lipid particles described herein(e.g., SNALP) comprise a lipid
     conjugate. The conjugated lipid is useful in that it prevents the aggregation of particles. Suitable conjugated lipids include,
20   but are not limited to, PEG-lipid conjugates, ATTA-lipid conjugates, cationic-polymer-lipid conjugates (CPLs), and mix-
     tures thereof. In certain embodiments, the particles comprise either a PEG-lipid conjugate or an ATTA-lipid conjugate
     together with a CPL.
     [0242] In a preferred embodiment, the lipid conjugate is a PEG-lipid. Examples of PEG-lipids include, but are not
     limited to, PEG coupled to dialkyloxypropyls (PEG-DAA) as described in, e.g., PCT Publication No. WO 05/026372,
25   PEG coupled to diacylglycerol (PEG-DAG) as described in, e.g., U.S. Patent Publication Nos. 20030077829 and
     2005008689, PEG coupled to phospholipids such as phosphatidylethanolamine (PEG-PE), PEG conjugated to ceramides
     as described in, e.g., U.S. Patent No. 5,885,613, PEG conjugated to cholesterol or a derivative thereof, and mixtures
     thereof. Additional PEG-lipids include, without limitation, PEG-C-DOMG, 2KPEG-DMG, and a mixture thereof.
     [0243] PEG is a linear, water-soluble polymer of ethylene PEG repeating units with two terminal hydroxyl groups.
30   PEGs are classified by their molecular weights; for example, PEG 2000 has an average molecular weight of about 2,000
     daltons, and PEG 5000 has an average molecular weight of about 5,000 daltons. PEGs are commercially available from
     Sigma Chemical Co. and other companies and include, for example, the following: monomethoxypolyethylene glycol
     (MePEG-OH), monomethoxypolyethylene glycol-succinate (MePEG-S), monomethoxypolyethylene glycol-succinimidyl
     succinate (MePEG-S-NHS), monomethoxypolyethylene glycol-amine (MePEG-NH2), monomethoxypolyethylene glycol-
35   tresylate (MePEG-TRES), and monomethoxypolyethylene glycol-imidazolyl-carbonyl (MePEG-IM). Other PEGs such
     as those described in U.S. Patent Nos. 6,774,180 and 7,053,150 (e.g., mPEG (20 KDa) amine) are also useful for
     preparing the PEG-lipid conjugates described herein. In addition, monomethoxypolyethyleneglycol-acetic acid (MePEG-
     CH2COOH) is particularly useful for preparing PEG-lipid conjugates including, e.g., PEG-DAA conjugates.
     [0244] The PEG moiety of the PEG-lipid conjugates described herein may comprise an average molecular weight
40   ranging from about 550 daltons to about 10,000 daltons. In certain instances, the PEG moiety has an average molecular
     weight of from about 750 daltons to about 5,000 daltons (e.g., from about 1,000 daltons to about 5,000 daltons, from
     about 1,500 daltons to about 3,000 daltons, from about 750 daltons to about 3,000 daltons, from about 750 daltons to
     about 2,000 daltons, etc.). In preferred embodiments, the PEG moiety has an average molecular weight of about 2,000
     daltons or about 750 daltons.
45   [0245] In certain instances, the PEG can be optionally substituted by an alkyl, alkoxy, acyl, or aryl group. The PEG
     can be conjugated directly to the lipid or may be linked to the lipid via a linker moiety. Any linker moiety suitable for
     coupling the PEG to a lipid can be used including, e.g., non-ester containing linker moieties and ester-containing linker
     moieties. In a preferred embodiment, the linker moiety is a non-ester containing linker moiety. As used herein, the term
     "non-ester containing linker moiety" refers to a linker moiety that does not contain a carboxylic ester bond (-OC(O)-).
50   Suitable non-ester containing linker moieties include, but are not limited to, amido (-C(O)NH-), amino (-NR-), carbonyl
     (-C(O)-), carbamate (-NHC(O)O-), urea (-NHC(O)NH-), disulphide (-S-S-), ether (-O-), succinyl (-(O)CCH2CH2C(O)-),
     succinamidyl (-NHC(O)CH2CH2C(O)NH-), ether, disulphide, as well as combinations thereof (such as a linker containing
     both a carbamate linker moiety and an amido linker moiety). In a preferred embodiment, a carbamate linker is used to
     couple the PEG to the lipid.
55   [0246] In other embodiments, an ester containing linker moiety is used to couple the PEG to the lipid. Suitable ester
     containing linker moieties include, e.g., carbonate (-OC(O)O-), succinoyl, phosphate esters (-O-(O)POH-O-), sulfonate
     esters, and combinations thereof.
     [0247] Phosphatidylethanolamines having a variety of acyl chain groups of varying chain lengths and degrees of




                                                                   33
                                                                                                                JA001620
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 280 of 1274 PageID #: 8586

                                                          EP 2 279 254 B1

     saturation can be conjugated to PEG to form the lipid conjugate. Such phosphatidylethanolamines are commercially
     available, or can be isolated or synthesized using conventional techniques known to those of skilled in the art. Phos-
     phatidylethanolamines containing saturated or unsaturated fatty acids with carbon chain lengths in the range of C10 to
     C20 are preferred. Phosphatidylethanolamines with mono- or diunsaturated fatty acids and mixtures of saturated and
 5   unsaturated fatty acids can also be used. Suitable phosphatidylethanolamines include, but are not limited to, dimyristoyl-
     phosphatidylethanolamine (DMPE), dipalmitoyl-phosphatidylethanolamine (DPPE), dioleoylphosphatidylethanolamine
     (DOPE), and distearoyl-phosphatidylethanolamine (DSPE).
     [0248] The term "ATTA" or "polyamide" refers to, without limitation, compounds described in U.S. Patent Nos. 6,320,017
     and 6,586,559. These compounds include a compound having the formula:
10




15




     wherein R is a member selected from the group consisting of hydrogen, alkyl and acyl; R1 is a member selected from
     the group consisting of hydrogen and alkyl; or optionally, R and R1 and the nitrogen to which they are bound form an
20   azido moiety; R2 is a member of the group selected from hydrogen, optionally substituted alkyl, optionally substituted
     aryl and a side chain of an amino acid; R3 is a member selected from the group consisting of hydrogen, halogen, hydroxy,
     alkoxy, mercapto, hydrazino, amino and NR4R5, wherein R4 and R5 are independently hydrogen or alkyl; n is 4 to 80;
     m is 2 to 6; p is 1 to 4; and q is 0 or 1. It will be apparent to those of skill in the art that other polyamides can be used in
     the compounds of the present disclosure.
25   [0249] The term "diacylglycerol" refers to a compound having 2 fatty acyl chains, R1 and R2, both of which have
     independently between 2 and 30 carbons bonded to the 1- and 2-position of glycerol by ester linkages. The acyl groups
     can be saturated or have varying degrees of unsaturation. Suitable acyl groups include, but are not limited to, lauryl
     (C12), myristyl (C14), palmityl (C16), stearyl (C18), and icosyl (C 20). In preferred embodiments, R1 and R2 are the same,
     i.e., R1 and R2 are both myristyl (i.e., dimyristyl), R1 and R2 are both stearyl (i.e., distearyl), etc. Diacylglycerols have
30   the following general formula:




35




40




45
     [0250] The term "dialkyloxypropyl" refers to a compound having 2 alkyl chains, R1 and R2, both of which have inde-
     pendently between 2 and 30 carbons. The alkyl groups can be saturated or have varying degrees of unsaturation.
     Dialkyloxypropyls have the following general formula:

50




55




     [0251]   In a preferred embodiment, the PEG-lipid is a PEG-DAA conjugate having the following formula:




                                                                   34
                                                                                                                 JA001621
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 281 of 1274 PageID #: 8587

                                                         EP 2 279 254 B1




 5




10   wherein R1 and R2 are independently selected and are long-chain alkyl groups having from about 10 to about 22 carbon
     atoms; PEG is a polyethyleneglycol; and L is a non-ester containing linker moiety or an ester containing linker moiety
     as described above. The long-chain alkyl groups can be saturated or unsaturated. Suitable alkyl groups include, but are
     not limited to, lauryl (C12), myristyl (C14), palmityl (C16), stearyl (C18), and icosyl (C20). In preferred embodiments, R1
     and R2 are the same, i.e., R1 and R2 are both myristyl (i.e., dimyristyl), R1 and R2 are both stearyl (i.e., distearyl), etc.
15   [0252] In Formula VII above, the PEG has an average molecular weight ranging from about 550 daltons to about
     10,000 daltons. In certain instances, the PEG has an average molecular weight of from about 750 daltons to about 5,000
     daltons (e.g., from about 1,000 daltons to about 5,000 daltons, from about 1,500 daltons to about 3,000 daltons, from
     about 750 daltons to about 3,000 daltons, from about 750 daltons to about 2,000 daltons, etc.). In preferred embodiments,
     the PEG has an average molecular weight of about 2,000 daltons or about 750 daltons. The PEG can be optionally
20   substituted with alkyl, alkoxy, acyl, or aryl. In certain embodiments, the terminal hydroxyl group is substituted with a
     methoxy or methyl group.
     [0253] In a preferred embodiment, "L" is a non-ester containing linker moiety. Suitable non-ester containing linkers
     include, but are not limited to, an amido linker moiety, an amino linker moiety, a carbonyl linker moiety, a carbamate
     linker moiety, a urea linker moiety, an ether linker moiety, a disulphide linker moiety, a succinamidyl linker moiety, and
25   combinations thereof. In a preferred embodiment, the non-ester containing linker moiety is a carbamate linker moiety
     (i.e., a PEG-C-DAA conjugate). In another preferred embodiment, the non-ester containing linker moiety is an amido
     linker moiety (i.e., a PEG-A-DAA conjugate). In yet another preferred embodiment, the non-ester containing linker moiety
     is a succinamidyl linker moiety (i.e., a PEG-S-DAA conjugate).
     [0254] In particular embodiments, the PEG-lipid conjugate is selected from:
30




35


     and


40




45
     [0255] The PEG-DAA conjugates are synthesized using standard techniques and reagents known to those of skill in
     the art. It will be recognized that the PEG-DAA conjugates will contain various amide, amine, ether, thio, carbamate,
     and urea linkages. Those of skill in the art will recognize that methods and reagents for forming these bonds are well
     known and readily available. See, e.g., March, ADVANCED ORGANIC CHEMISTRY (Wiley 1992); Larock, COMPRE-
50   HENSIVE ORGANIC TRANSFORMATIONS (VCH 1989); and Furniss, VOGEL’S TEXTBOOK OF PRACTICAL OR-
     GANIC CHEMISTRY, 5th ed. (Longman 1989). It will also be appreciated that any functional groups present may require
     protection and deprotection at different points in the synthesis of the PEG-DAA conjugates. Those of skill in the art will
     recognize that such techniques are well known. See, e.g., Green and Wuts, PROTECTIVE GROUPS IN ORGANIC
     SYNTHESIS (Wiley 1991).
55   [0256] Preferably, the PEG-DAA conjugate is a dilauryloxypropyl (C12)-PEG conjugate, dimyristyloxypropyl (C 14)-PEG
     conjugate, a dipalmityloxypropyl (C16)-PEG conjugate, or a distearyloxypropyl (C18)-PEG conjugate. Those of skill in
     the art will readily appreciate that other dialkyloxypropyls can be used in the PEG-DAA conjugates of the present
     disclosure.




                                                                  35
                                                                                                               JA001622
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 282 of 1274 PageID #: 8588

                                                           EP 2 279 254 B1

     [0257] In addition to the foregoing, it will be readily apparent to those of skill in the art that other hydrophilic polymers
     can be used in place of PEG. Examples of suitable polymers that can be used in place of PEG include, but are not
     limited to, polyvinylpyrrolidone, polymethyloxazoline, polyethyloxazoline, polyhydroxypropyl methacrylamide, polymeth-
     acrylamide and polydimethylacrylamide, polylactic acid, polyglycolic acid, and derivatized celluloses such as hy-
 5   droxymethylcellulose or hydroxyethylcellulose.
     [0258] In addition to the foregoing components, the particles (e.g., SNALP or SPLP) of the present disclosure can
     further comprise cationic poly(ethylene glycol) (PEG) lipids or CPLs (see, e.g., Chen et al., Bioconj. Chem., 11:433-437
     (2000)). Suitable SPLPs and SPLP-CPLs for use in the present disclosure, and methods of making and using SPLPs
     and SPLP-CPLs, are disclosed, e.g., in U.S. Patent No. 6,852,334 and PCT Publication No. WO 00/62813.
10   [0259] Suitable CPLs include compounds of Formula VIII:

                         A-W-Y              (VIII),

     wherein A, W, and Y are as described below.
15   [0260] With reference to Formula VIII, "A" is a lipid moiety such as an amphipathic lipid, a neutral lipid, or a hydrophobic
     lipid that acts as a lipid anchor. Suitable lipid examples include, but are not limited to, diacylglycerolyls, dialkylglycerolyls,
     N-N-dialkylaminos, 1,2-diacyloxy-3-aminopropanes, and 1,2-dialkyl-3-aminopropanes.
     [0261] "W" is a polymer or an oligomer such as a hydrophilic polymer or oligomer. Preferably, the hydrophilic polymer
     is a biocompatable polymer that is nonimmunogenic or possesses low inherent immunogenicity. Alternatively, the hy-
20   drophilic polymer can be weakly antigenic if used with appropriate adjuvants. Suitable nonimmunogenic polymers include,
     but are not limited to, PEG, polyamides, polylactic acid, polyglycolic acid, polylactic acid/polyglycolic acid copolymers,
     and combinations thereof. In a preferred embodiment, the polymer has a molecular weight of from about 250 to about
     7,000 daltons.
     [0262] "Y" is a polycationic moiety. The term polycationic moiety refers to a compound, derivative, or functional group
25   having a positive charge, preferably at least 2 positive charges at a selected pH, preferably physiological pH. Suitable
     polycationic moieties include basic amino acids and their derivatives such as arginine, asparagine, glutamine, lysine,
     and histidine; spermine; spermidine; cationic dendrimers; polyamines; polyamine sugars; and amino polysaccharides.
     The polycationic moieties can be linear, such as linear tetralysine, branched or dendrimeric in structure. Polycationic
     moieties have between about 2 to about 15 positive charges, preferably between about 2 to about 12 positive charges,
30   and more preferably between about 2 to about 8 positive charges at selected pH values. The selection of which polycationic
     moiety to employ may be determined by the type of particle application which is desired.
     [0263] The charges on the polycationic moieties can be either distributed around the entire particle moiety, or alter-
     natively, they can be a discrete concentration of charge density in one particular area of the particle moiety e.g., a charge
     spike. If the charge density is distributed on the particle, the charge density can be equally distributed or unequally
35   distributed. All variations of charge distribution of the polycationic moiety are encompassed by the present disclosure.
     [0264] The lipid "A" and the nonimmunogenic polymer "W" can be attached by various methods and preferably by
     covalent attachment. Methods known to those of skill in the art can be used for the covalent attachment of "A" and "W."
     Suitable linkages include, but are not limited to, amide, amine, carboxyl, carbonate, carbamate, ester, and hydrazone
     linkages. It will be apparent to those skilled in the art that "A" and "W" must have complementary functional groups to
40   effectuate the linkage. The reaction of these two groups, one on the lipid and the other on the polymer, will provide the
     desired linkage. For example, when the lipid is a diacylglycerol and the terminal hydroxyl is activated, for instance with
     NHS and DCC, to form an active ester, and is then reacted with a polymer which contains an amino group, such as with
     a polyamide (see, e.g., U.S. Patent Nos. 6,320,017 and 6,586,559), an amide bond will form between the two groups.
     [0265] In certain instances, the polycationic moiety can have a ligand attached, such as a targeting ligand or a chelating
45   moiety for complexing calcium. Preferably, after the ligand is attached, the cationic moiety maintains a positive charge.
     In certain instances, the ligand that is attached has a positive charge. Suitable ligands include, but are not limited to, a
     compound or device with a reactive functional group and include lipids, amphipathic lipids, carrier compounds, bioaffinity
     compounds, biomaterials, biopolymers, biomedical devices, analytically detectable compounds, therapeutically active
     compounds, enzymes, peptides, proteins, antibodies, immune stimulators, radiolabels, fluorogens, biotin, drugs, haptens,
50   DNA, RNA, polysaccharides, liposomes, virosomes, micelles, immunoglobulins, functional groups, other targeting moi-
     eties, or toxins.
     [0266] The lipid conjugate (e.g., PEG-lipid) typically comprises from about 0.1 mol % to about 2 mol %, from about
     0.5 mol % to about 2 mol %, from about 1 mol % to about 2 mol %, from about 0.6 mol % to about 1.9 mol %, from about
     0.7 mol % to about 1.8 mol %, from about 0.8 mol % to about 1.7 mol %, from about 0.9 mol % to about 1.6 mol %, from
55   about 0.9 mol % to about 1.8 mol %, from about 1 mol % to about 1.8 mol %, from about 1 mol % to about 1.7 mol %,
     from about 1.2 mol % to about 1.8 mol %, from about 1.2 mol % to about 1.7 mol %, from about 1.3 mol % to about 1.6
     mol %, or from about 1.4 mol % to about 1.5 mol % of the total lipid present in the particle.
     [0267] One of ordinary skill in the art will appreciate that the concentration of the lipid conjugate can be varied depending




                                                                    36
                                                                                                                   JA001623
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 283 of 1274 PageID #: 8589

                                                          EP 2 279 254 B1

     on the lipid conjugate employed and the rate at which the nucleic acid-lipid particle is to become fusogenic.
     [0268] By controlling the composition and concentration of the lipid conjugate, one can control the rate at which the
     lipid conjugate exchanges out of the nucleic acid-lipid particle and, in turn, the rate at which the nucleic acid-lipid particle
     becomes fusogenic. For instance, when a PEG-phosphatidylethanolamine conjugate or a PEG-ceramide conjugate is
 5   used as the lipid conjugate, the rate at which the nucleic acid-lipid particle becomes fusogenic can be varied, for example,
     by varying the concentration of the lipid conjugate, by varying the molecular weight of the PEG, or by varying the chain
     length and degree of saturation of the acyl chain groups on the phosphatidylethanolamine or the ceramide. In addition,
     other variables including, for example, pH, temperature, ionic strength, etc. can be used to vary and/or control the rate
     at which the nucleic acid-lipid particle becomes fusogenic. Other methods which can be used to control the rate at which
10   the nucleic acid-lipid particle becomes fusogenic will become apparent to those of skill in the art upon reading this
     disclosure.

     VI. Preparation of Lipid Particles

15   [0269] The lipid particles described herein, e.g., SNALP, in which an active agent or therapeutic agent such as an
     interfering RNA is encapsulated in a lipid bilayer and is protected from degradation, can be formed by any method known
     in the art including, but not limited to, a continuous mixing method or a direct dilution process.
     [0270] In preferred embodiments, the cationic lipids are lipids of Formula I, II, and III, or combinations thereof. In other
     preferred embodiments, the non-cationic lipids are egg sphingomyelin (ESM), distearoylphosphatidylcholine (DSPC),
20   dioleoylphosphatidylcholine (DOPC), 1-palmitoyl-2-oleoyl-phosphatidylcholine (POPC), dipalmitoyl-phosphatidylcholine
     (DPPC), monomethyl-phosphatidylethanolamine, dimethyl-phosphatidylethanolamine, 14:0 PE (1,2-dimyristoyl-phos-
     phatidylethanolamine (DMPE)), 16:0 PE (1,2-dipalmitoyl-phosphatidylethanolamine (DPPE)), 18:0 PE (1,2-distearoyl-
     phosphatidylethanolamine (DSPE)), 18:1 PE (1,2-dioleoyl-phosphatidylethanolamine (DOPE)), 18:1 trans PE (1,2-
     dielaidoyl-phosphatidylethanolamine (DEPE)), 18:0-18:1 PE (1-stearoyl-2-oleoyl-phosphatidylethanolamine (SOPE)),
25   16:0-18:1 PE (1-palmitoyl-2-oleoyl-phosphatidylethanolamine (POPE)), polyethylene glycol-based polymers (e.g., PEG
     2000, PEG 5000, PEG-modified diacylglycerols, or PEG-modified dialkyloxypropyls), cholesterol, or combinations there-
     of.
     [0271] In certain embodiments, the present disclosure provides for SNALP produced via a continuous mixing method,
     e.g., a process that includes providing an aqueous solution comprising a nucleic acid such as an interfering RNA in a
30   first reservoir, providing an organic lipid solution in a second reservoir, and mixing the aqueous solution with the organic
     lipid solution such that the organic lipid solution mixes with the aqueous solution so as to substantially instantaneously
     produce a liposome encapsulating the nucleic acid (e.g., interfering RNA). This process and the apparatus for carrying
     this process are described in detail in U.S. Patent Publication No. 20040142025.
     [0272] The action of continuously introducing lipid and buffer solutions into a mixing environment, such as in a mixing
35   chamber, causes a continuous dilution of the lipid solution with the buffer solution, thereby producing a liposome sub-
     stantially instantaneously upon mixing. As used herein, the phrase "continuously diluting a lipid solution with a buffer
     solution" (and variations) generally means that the lipid solution is diluted sufficiently rapidly in a hydration process with
     sufficient force to effectuate vesicle generation. By mixing the aqueous solution comprising a nucleic acid with the organic
     lipid solution, the organic lipid solution undergoes a continuous stepwise dilution in the presence of the buffer solution
40   (i.e., aqueous solution) to produce a nucleic acid-lipid particle.
     [0273] The SNALP formed using the continuous mixing method typically have a size of from about 40 nm to about
     150 nm, from about 50 nm to about 150 nm, from about 60 nm to about 130 nm, from about 70 nm to about 110 nm, or
     from about 70 nm to about 90 nm. The particles thus formed do not aggregate and are optionally sized to achieve a
     uniform particle size.
45   [0274] In another embodiment, the present disclosure provides for SNALP produced via a direct dilution process that
     includes forming a liposome solution and immediately and directly introducing the liposome solution into a collection
     vessel containing a controlled amount of dilution buffer. In preferred aspects, the collection vessel includes one or more
     elements configured to stir the contents of the collection vessel to facilitate dilution. In one aspect, the amount of dilution
     buffer present in the collection vessel is substantially equal to the volume of liposome solution introduced thereto. As a
50   non-limiting example, a liposome solution in 45% ethanol when introduced into the collection vessel containing an equal
     volume of dilution buffer will advantageously yield smaller particles.
     [0275] In yet another embodiment, the present disclosure provides for SNALP produced via a direct dilution process
     in which a third reservoir containing dilution buffer is fluidly coupled to a second mixing region. In this embodiment, the
     liposome solution formed in a first mixing region is immediately and directly mixed with dilution buffer in the second
55   mixing region. In preferred aspects, the second mixing region includes a T-connector arranged so that the liposome
     solution and the dilution buffer flows meet as opposing 180° flows; however, connectors providing shallower angles can
     be used, e.g., from about 27° to about 180°. A pump mechanism delivers a controllable flow of buffer to the second
     mixing region. In one aspect, the flow rate of dilution buffer provided to the second mixing region is controlled to be




                                                                   37
                                                                                                                 JA001624
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 284 of 1274 PageID #: 8590

                                                           EP 2 279 254 B1

     substantially equal to the flow rate of liposome solution introduced thereto from the first mixing region. This embodiment
     advantageously allows for more control of the flow of dilution buffer mixing with the liposome solution in the second
     mixing region, and therefore also the concentration of liposome solution in buffer throughout the second mixing process.
     Such control of the dilution buffer flow rate advantageously allows for small particle size formation at reduced concen-
 5   trations.
     [0276] These processes and the apparatuses for carrying out these direct dilution processes are described in detail
     in U.S. Patent Publication No. 20070042031.
     [0277] The SNALP formed using the direct dilution process typically have a size of from about 40 nm to about 150
     nm, from about 50 nm to about 150 nm, from about 60 nm to about 130 nm, from about 70 nm to about 110 nm, or from
10   about 70 nm to about 90 nm. The particles thus formed do not aggregate and are optionally sized to achieve a uniform
     particle size.
     [0278] If needed, the lipid particles described herein (e.g., SNALP) can be sized by any of the methods available for
     sizing liposomes. The sizing may be conducted in order to achieve a desired size range and relatively narrow distribution
     of particle sizes.
15   [0279] Several techniques are available for sizing the particles to a desired size. One sizing method, used for liposomes
     and equally applicable to the present particles, is described in U.S. Patent No. 4,737,323. Sonicating a particle suspension
     either by bath or probe sonication produces a progressive size reduction down to particles of less than about 50 nm in
     size. Homogenization is another method which relies on shearing energy to fragment larger particles into smaller ones.
     In a typical homogenization procedure, particles are recirculated through a standard emulsion homogenizer until selected
20   particle sizes, typically between about 60 and about 80 nm, are observed. In both methods, the particle size distribution
     can be monitored by conventional laser-beam particle size discrimination, or QELS.
     [0280] Extrusion of the particles through a small-pore polycarbonate membrane or an asymmetric ceramic membrane
     is also an effective method for reducing particle sizes to a relatively well-defined size distribution. Typically, the suspension
     is cycled through the membrane one or more times until the desired particle size distribution is achieved. The particles
25   may be extruded through successively smaller-pore membranes, to achieve a gradual reduction in size.
     [0281] In some embodiments, the nucleic acids in the SNALP are precondensed as described in, e.g., U.S. Patent
     Application No. 09/744,103.
     [0282] In other embodiments, the methods will further comprise adding non-lipid polycations which are useful to effect
     the lipofection of cells using the present compositions. Examples of suitable non-lipid polycations include, hexadimethrine
30   bromide (sold under the brandname POLYBRENE®, from Aldrich Chemical Co., Milwaukee, Wisconsin, USA) or other
     salts of hexadimethrine. Other suitable polycations include, for example, salts of poly-L-ornithine, poly-L-arginine, poly-
     L-lysine, poly-D-lysine, polyallylamine, and polyethyleneimine. Addition of these salts is preferably after the particles
     have been formed.
     [0283] In some embodiments, the nucleic acid to lipid ratios (mass/mass ratios) in a formed SNALP will range from
35   about 0.01 to about 0.2, from about 0.02 to about 0.1, from about 0.03 to about 0.1, or from about 0.01 to about 0.08.
     The ratio of the starting materials also falls within this range. In other embodiments, the SNALP preparation uses about
     400 mg nucleic acid per 10 mg total lipid or a nucleic acid to lipid mass ratio of about 0.01 to about 0.08 and, more
     preferably, about 0.04, which corresponds to 1.25 mg of total lipid per 50 mg of nucleic acid. In other preferred embod-
     iments, the particle has a nucleic acid:lipid mass ratio of about 0.08.
40   [0284] In other embodiments, the lipid to nucleic acid ratios (mass/mass ratios) in a formed SNALP will range from
     about 1 (1:1) to about 100 (100:1), from about 5 (5:1) to about 100 (100:1), from about 1 (1:1) to about 50 (50:1), from
     about 2 (2:1) to about 50 (50:1), from about 3 (3:1) to about 50 (50:1), from about 4 (4:1) to about 50 (50:1), from about
     5 (5:1) to about 50 (50:1), from about 1 (1:1) to about 25 (25:1), from about 2 (2:1) to about 25 (25:1), from about 3 (3:1)
     to about 25 (25:1), from about 4 (4:1) to about 25 (25:1), from about 5 (5:1) to about 25 (25:1), from about 5 (5:1) to
45   about 20 (20:1), from about 5 (5:1) to about 15 (15:1), from about 5 (5:1) to about 10 (10:1), about 5 (5:1), 6 (6:1), 7
     (7:1), 8 (8:1), 9 (9:1), 10 (10:1), 11 (11:1), 12 (12:1), 13 (13:1), 14 (14:1), or 15 (15:1). The ratio of the starting materials
     also falls within this range.
     [0285] As previously discussed, the conjugated lipid may further include a CPL. A variety of general methods for
     making SNALP-CPLs (CPL-containing SNALP) are discussed herein. Two general techniques include "post-insertion"
50   technique, that is, insertion of a CPL into, for example, a pre-formed SNALP, and the "standard" technique, wherein the
     CPL is included in the lipid mixture during, for example, the SNALP formation steps. The post-insertion technique results
     in SNALP having CPLs mainly in the external face of the SNALP bilayer membrane, whereas standard techniques
     provide SNALP having CPLs on both internal and external faces. The method is especially useful for vesicles made
     from phospholipids (which can contain cholesterol) and also for vesicles containing PEG-lipids (such as PEG-DAAs and
55   PEG-DAGs). Methods of making SNALP-CPL, are taught, for example, in U.S. Patent Nos. 5,705,385; 6,586,410;
     5,981,501; 6,534,484; and 6,852,334; U.S. Patent Publication No. 20020072121; and PCT Publication No. WO 00/62813.




                                                                    38
                                                                                                                  JA001625
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 285 of 1274 PageID #: 8591

                                                          EP 2 279 254 B1

     VII. Kits

     [0286] The present disclosure also provides lipid particles (e.g., SNALP) in kit form. The kit may comprise a container
     which is compartmentalized for holding the various elements of the lipid particles (e.g., the active agents or therapeutic
 5   agents such as nucleic acids and the individual lipid components of the particles). In some embodiments, the kit may
     further comprise an endosomal membrane destabilizer (e.g., calcium ions). The kit typically contains the lipid particle
     compositions of the present disclosure, preferably in dehydrated form, with instructions for their rehydration and admin-
     istration.
     [0287] As explained herein, the lipid particles described herein (e.g., SNALP) can be tailored to preferentially target
10   particular tissues, organs, or tumors of interest. In certain instances, preferential targeting of lipid particles such as
     SNALP may be carried out by controlling the composition of the particle itself. For instance, as set forth in Example 11,
     it has been found that the 1:57 PEG-cDSA SNALP formulation can be used to preferentially target tumors outside of the
     liver, whereas the 1:57 PEG-cDMA SNALP formulation can be used to preferentially target the liver (including liver tumors).
     [0288] In certain other instances, it may be desirable to have a targeting moiety attached to the surface of the lipid
15   particle to further enhance the targeting of the particle. Methods of attaching targeting moieties (e.g., antibodies, proteins,
     etc.) to lipids (such as those used in the present particles) are known to those of skill in the art.

     VII. Administration of Lipid Particles

20   [0289] Once formed, the lipid particles described herein (e.g., SNALP) are useful for the introduction of active agents
     or therapeutic agents (e.g., nucleic acids such as interfering RNA) into cells. Accordingly, the present invention also
     provides methods for introducing an active agent or therapeutic agent such as a nucleic acid (e.g., interfering RNA) into
     a cell. The methods are carried out in vitro or in vivo by first forming the particles as described above and then contacting
     the particles with the cells for a period of time sufficient for delivery of the active agent or therapeutic agent to the cells
25   to occur.
     [0290] The lipid particles described herein (e.g., SNALP) can be adsorbed to almost any cell type with which they are
     mixed or contacted. Once adsorbed, the particles can either be endocytosed by a portion of the cells, exchange lipids
     with cell membranes, or fuse with the cells. Transfer or incorporation of the active agent or therapeutic agent (e.g.,
     nucleic acid) portion of the particle can take place via any one of these pathways. In particular, when fusion takes place,
30   the particle membrane is integrated into the cell membrane and the contents of the particle combine with the intracellular
     fluid.
     [0291] The lipid particles described herein (e.g., SNALP) can be administered either alone or in a mixture with a
     pharmaceutically-acceptable carrier (e.g., physiological saline or phosphate buffer) selected in accordance with the route
     of administration and standard pharmaceutical practice. Generally, normal buffered saline (e.g., 135-150 mM NaCl) will
35   be employed as the pharmaceutically-acceptable carrier. Other suitable carriers include, e.g., water, buffered water,
     0.4% saline, 0.3% glycine, and the like, including glycoproteins for enhanced stability, such as albumin, lipoprotein,
     globulin, etc. Additional suitable carriers are described in, e.g., REMINGTON’S PHARMACEUTICAL SCIENCES, Mack
     Publishing Company, Philadelphia, PA, 17th ed. (1985). As used herein, "carrier" includes any and all solvents, dispersion
     media, vehicles, coatings, diluents, antibacterial and antifungal agents, isotonic and absorption delaying agents, buffers,
40   carrier solutions, suspensions, colloids, and the like. The phrase "pharmaceutically-acceptable" refers to molecular
     entities and compositions that do not produce an allergic or similar untoward reaction when administered to a human.
     [0292] The pharmaceutically-acceptable carrier is generally added following particle formation. Thus, after the particle
     is formed, the particle can be diluted into pharmaceutically-acceptable carriers such as normal buffered saline.
     [0293] The concentration of particles in the pharmaceutical formulations can vary widely, i.e., from less than about
45   0.05%, usually at or at least about 2 to 5%, to as much as about 10 to 90% by weight, and will be selected primarily by
     fluid volumes, viscosities, etc., in accordance with the particular mode of administration selected. For example, the
     concentration may be increased to lower the fluid load associated with treatment. This may be particularly desirable in
     patients having atherosclerosis-associated congestive heart failure or severe hypertension. Alternatively, particles com-
     posed of irritating lipids may be diluted to low concentrations to lessen inflammation at the site of administration.
50   [0294] The pharmaceutical compositions of the present invention may be sterilized by conventional, well-known ster-
     ilization techniques. Aqueous solutions can be packaged for use or filtered under aseptic conditions and lyophilized, the
     lyophilized preparation being combined with a sterile aqueous solution prior to administration. The compositions can
     contain pharmaceutically-acceptable auxiliary substances as required to approximate physiological conditions, such as
     pH adjusting and buffering agents, tonicity adjusting agents and the like, for example, sodium acetate, sodium lactate,
55   sodium chloride, potassium chloride, and calcium chloride. Additionally, the particle suspension may include lipid-pro-
     tective agents which protect lipids against free-radical and lipid-peroxidative damages on storage. Lipophilic free-radical
     quenchers, such as alphatocopherol and water-soluble iron-specific chelators, such as ferrioxamine, are suitable.




                                                                   39
                                                                                                                JA001626
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 286 of 1274 PageID #: 8592

                                                          EP 2 279 254 B1

     A. In vivo Administration

     [0295] Systemic delivery for in vivo therapy, e.g., delivery of a therapeutic nucleic acid to a distal target cell via body
     systems such as the circulation, has been achieved using nucleic acid-lipid particles such as those described in PCT
 5   Publication Nos. WO 05/007196, WO 05/121348, WO 05/120152, and WO 04/002453. The present disclosure also
     provides fully encapsulated lipid particles that protect the nucleic acid from nuclease degradation in serum, are nonim-
     munogenic, are small in size, and are suitable for repeat dosing.
     [0296] For in vivo administration, administration can be in any manner known in the art, e.g., by injection, oral admin-
     istration, inhalation (e.g., intransal or intratracheal), transdermal application, or rectal administration. Administration can
10   be accomplished via single or divided doses. The pharmaceutical compositions can be administered parenterally, i.e.,
     intraarticularly, intravenously, intraperitoneally, subcutaneously, or intramuscularly. In some embodiments, the pharma-
     ceutical compositions are administered intravenously or intraperitoneally by a bolus injection (see, e.g., U.S. Patent No.
     5,286,634). Intracellular nucleic acid delivery has also been discussed in Straubringer et al., Methods Enzymol., 101:512
     (1983); Mannino et al., Biotechniques, 6:682 (1988); Nicolau et al., Crit. Rev. Ther. Drug Carrier Syst., 6:239 (1989);
15   and Behr, Acc. Chem. Res., 26:274 (1993). Still other methods of administering lipid-based therapeutics are described
     in, for example, U.S. Patent Nos. 3,993,754; 4,145,410; 4,235,871; 4,224,179; 4,522,803; and 4,588,578. The lipid
     particles can be administered by direct injection at the site of disease or by injection at a site distal from the site of
     disease (see, e.g., Culver, HUMAN GENE THERAPY, MaryAnn Liebert, Inc., Publishers, New York. pp.70-71(1994)).
     [0297] The compositions of the present disclosure, either alone or in combination with other suitable components, can
20   be made into aerosol formulations (i.e., they can be "nebulized") to be administered via inhalation (e.g., intranasally or
     intratracheally) (see, Brigham et al., Am. J. Sci., 298:278 (1989)). Aerosol formulations can be placed into pressurized
     acceptable propellants, such as dichlorodifluoromethane, propane, nitrogen, and the like.
     [0298] In certain embodiments, the pharmaceutical compositions may be delivered by intranasal sprays, inhalation,
     and/or other aerosol delivery vehicles. Methods for delivering nucleic acid compositions directly to the lungs via nasal
25   aerosol sprays have been described, e.g., in U.S. Patent Nos. 5,756,353 and 5,804,212. Likewise, the delivery of drugs
     using intranasal microparticle resins and lysophosphatidyl-glycerol compounds (U.S. Patent 5,725,871) are also well-
     known in the pharmaceutical arts. Similarly, transmucosal drug delivery in the form of a polytetrafluoroetheylene support
     matrix is described in U.S. Patent No. 5,780,045.
     [0299] Formulations suitable for parenteral administration, such as, for example, by intraarticular (in the joints), intra-
30   venous, intramuscular, intradermal, intraperitoneal, and subcutaneous routes, include aqueous and non-aqueous, iso-
     tonic sterile injection solutions, which can contain antioxidants, buffers, bacteriostats, and solutes that render the for-
     mulation isotonic with the blood of the intended recipient, and aqueous and non-aqueous sterile suspensions that can
     include suspending agents, solubilizers, thickening agents, stabilizers, and preservatives. In the practice of this invention,
     compositions are preferably administered, for example, by intravenous infusion, orally, topically, intraperitoneally, intra-
35   vesically, or intrathecally.
     [0300] Generally, when administered intravenously, the lipid particle formulations are formulated with a suitable phar-
     maceutical carrier. Many pharmaceutically acceptable carriers may be employed in the compositions and methods of
     the present disclosure. Suitable formulations for use in the present invention are found, for example, in REMINGTON’S
     PHARMACEUTICAL SCIENCES, Mack Publishing Company, Philadelphia, PA, 17th ed. (1985). A variety of aqueous
40   carriers may be used, for example, water, buffered water, 0.4% saline, 0.3% glycine, and the like, and may include
     glycoproteins for enhanced stability, such as albumin, lipoprotein, globulin, etc. Generally, normal buffered saline
     (135-150 mM NaCl) will be employed as the pharmaceutically acceptable carrier, but other suitable carriers will suffice.
     These compositions can be sterilized by conventional liposomal sterilization techniques, such as filtration. The compo-
     sitions may contain pharmaceutically acceptable auxiliary substances as required to approximate physiological condi-
45   tions, such as pH adjusting and buffering agents, tonicity adjusting agents, wetting agents and the like, for example,
     sodium acetate, sodium lactate, sodium chloride, potassium chloride, calcium chloride, sorbitan monolaurate, trieth-
     anolamine oleate, etc. These compositions can be sterilized using the techniques referred to above or, alternatively,
     they can be produced under sterile conditions. The resulting aqueous solutions may be packaged for use or filtered
     under aseptic conditions and lyophilized, the lyophilized preparation being combined with a sterile aqueous solution
50   prior to administration.
     [0301] In certain applications, the lipid particles disclosed herein may be delivered via oral administration to the indi-
     vidual. The particles may be incorporated with excipients and used in the form of ingestible tablets, buccal tablets,
     troches, capsules, pills, lozenges, elixirs, mouthwash, suspensions, oral sprays, syrups, wafers, and the like (see, e.g.,
     U.S. Patent Nos. 5,641,515, 5,580,579, and 5,792,451,). These oral dosage forms may also contain the following:
55   binders, gelatin; excipients, lubricants, and/or flavoring agents. When the unit dosage form is a capsule, it may contain,
     in addition to the materials described above, a liquid carrier. Various other materials may be present as coatings or to
     otherwise modify the physical form of the dosage unit. Of course, any material used in preparing any unit dosage form
     should be pharmaceutically pure and substantially non-toxic in the amounts employed.




                                                                   40
                                                                                                                JA001627
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 287 of 1274 PageID #: 8593

                                                           EP 2 279 254 B1

     [0302] Typically, these oral formulations may contain at least about 0.1% of the lipid particles or more, although the
     percentage of the particles may, of course, be varied and may conveniently be between about 1% or 2% and about 60%
     or 70% or more of the weight or volume of the total formulation. Naturally, the amount of particles in each therapeutically
     useful composition may be prepared is such a way that a suitable dosage will be obtained in any given unit dose of the
 5   compound. Factors such as solubility, bioavailability, biological half-life, route of administration, product shelf life, as well
     as other pharmacological considerations will be contemplated by one skilled in the art of preparing such pharmaceutical
     formulations, and as such, a variety of dosages and treatment regimens may be desirable.
     [0303] Formulations suitable for oral administration can consist of: (a) liquid solutions, such as an effective amount of
     a packaged therapeutic agent such as nucleic acid (e.g., interfering RNA) suspended in diluents such as water, saline,
10   or PEG 400; (b) capsules, sachets, or tablets, each containing a predetermined amount of a therapeutic agent such as
     nucleic acid (e.g., interfering RNA), as liquids, solids, granules, or gelatin; (c) suspensions in an appropriate liquid; and
     (d) suitable emulsions. Tablet forms can include one or more of lactose, sucrose, mannitol, sorbitol, calcium phosphates,
     corn starch, potato starch, microcrystalline cellulose, gelatin, colloidal silicon dioxide, talc, magnesium stearate, stearic
     acid, and other excipients, colorants, fillers, binders, diluents, buffering agents, moistening agents, preservatives, fla-
15   voring agents, dyes, disintegrating agents, and pharmaceutically compatible carriers. Lozenge forms can comprise a
     therapeutic agent such as nucleic acid (e.g., interfering RNA) in a flavor, e.g., sucrose, as well as pastilles comprising
     the therapeutic agent in an inert base, such as gelatin and glycerin or sucrose and acacia emulsions, gels, and the like
     containing, in addition to the therapeutic agent, carriers known in the art.
     [0304] In another example of their use, lipid particles can be incorporated into a broad range of topical dosage forms.
20   For instance, a suspension containing nucleic acid-lipid particles such as SNALP can be formulated and administered
     as gels, oils, emulsions, topical creams, pastes, ointments, lotions, foams, mousses, and the like.
     [0305] When preparing pharmaceutical preparations of the lipid particles described herein , it is preferable to use
     quantities of the particles which have been purified to reduce or eliminate empty particles or particles with therapeutic
     agents such as nucleic acid associated with the external surface.
25   [0306] The methods of the present disclosure may be practiced in a variety of hosts. Preferred hosts include mammalian
     species, such as primates (e.g., humans and chimpanzees as well as other nonhuman primates), canines, felines,
     equines, bovines, ovines, caprines, rodents (e.g., rats and mice), lagomorphs, and swine.
     [0307] The amount of particles administered will depend upon the ratio of therapeutic agent (e.g., nucleic acid) to lipid,
     the particular therapeutic agent (e.g., nucleic acid) used, the disease or disorder being treated, the age, weight, and
30   condition of the patient, and the judgment of the clinician, but will generally be between about 0.01 and about 50 mg per
     kilogram of body weight, preferably between about 0.1 and about 5 mg/kg of body weight, or about 108-1010 particles
     per administration (e.g., injection).

     B. In vitro Administration
35
     [0308] For in vitro applications, the delivery of therapeutic agents such as nucleic acids (e.g., interfering RNA) can be
     to any cell grown in culture, whether of plant or animal origin, vertebrate or invertebrate, and of any tissue or type. In
     preferred embodiments, the cells are animal cells, more preferably mammalian cells, and most preferably human cells.
     [0309] Contact between the cells and the lipid particles, when carried out in vitro, takes place in a biologically compatible
40   medium. The concentration of particles varies widely depending on the particular application, but is generally between
     about 1 mmol and about 10 mmol. Treatment of the cells with the lipid particles is generally carried out at physiological
     temperatures (about 37°C) for periods of time of from about 1 to 48 hours, preferably of from about 2 to 4 hours.
     [0310] In one group of preferred embodiments, a lipid particle suspension is added to 60-80% confluent plated cells
     having a cell density of from about 103 to about 105 cells/ml, more preferably about 2 x 104 cells/ml. The concentration
45   of the suspension added to the cells is preferably of from about 0.01 to 0.2 mg/ml, more preferably about 0.1 mg/ml.
     [0311] Using an Endosomal Release Parameter (ERP) assay, the delivery efficiency of the SNALP or other lipid particle
     described herein can be optimized. An ERP assay is described in detail in U.S. Patent Publication No. 20030077829.
     More particularly, the purpose of an ERP assay is to distinguish the effect of various cationic lipids and helper lipid
     components of SNALP based on their relative effect on binding/uptake or fusion with/destabilization of the endosomal
50   membrane. This assay allows one to determine quantitatively how each component of the SNALP or other lipid particle
     affects delivery efficiency, thereby optimizing the SNALP or other lipid particle. Usually, an ERP assay measures ex-
     pression of a reporter protein (e.g., luciferase, β-galactosidase, green fluorescent protein (GFP), etc.), and in some
     instances, a SNALP formulation optimized for an expression plasmid will also be appropriate for encapsulating an
     interfering RNA. In other instances, an ERP assay can be adapted to measure downregulation of transcription or trans-
55   lation of a target sequence in the presence or absence of an interfering RNA (e.g., siRNA). By comparing the ERPs for
     each of the various SNALP or other lipid particles, one can readily determine the optimized system, e.g., the SNALP or
     other lipid particle that has the greatest uptake in the cell.




                                                                    41
                                                                                                                  JA001628
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 288 of 1274 PageID #: 8594

                                                         EP 2 279 254 B1

     C. Cells for Delivery of Lipid Particles

     [0312] The compositions and methods of the present disclosure are used to treat a wide variety of cell types, in vivo
     and in vitro. Suitable cells include, e.g., hematopoietic precursor (stem) cells, fibroblasts, keratinocytes, hepatocytes,
 5   endothelial cells, skeletal and smooth muscle cells, osteoblasts, neurons, quiescent lymphocytes, terminally differentiated
     cells, slow or noncycling primary cells, parenchymal cells, lymphoid cells, epithelial cells, bone cells, and the like. In
     preferred embodiments, an active agent or therapeutic agent such as an interfering RNA (e.g., siRNA) is delivered to
     cancer cells such as, e.g., lung cancer cells, colon cancer cells, rectal cancer cells, anal cancer cells, bile duct cancer
     cells, small intestine cancer cells, stomach (gastric) cancer cells, esophageal cancer cells, gallbladder cancer cells, liver
10   cancer cells, pancreatic cancer cells, appendix cancer cells, breast cancer cells, ovarian cancer cells, cervical cancer
     cells, prostate cancer cells, renal cancer cells, cancer cells of the central nervous system, glioblastoma tumor cells, skin
     cancer cells, lymphoma cells, choriocarcinoma tumor cells, head and neck cancer cells, osteogenic sarcoma tumor cells,
     and blood cancer cells.
     [0313] In vivo delivery of lipid particles such as SNALP encapsulating an interfering RNA (e.g., siRNA) is suited for
15   targeting cells of any cell type. The methods and compositions can be employed with cells of a wide variety of vertebrates,
     including mammals, such as, e.g, canines, felines, equines, bovines, ovines, caprines, rodents (e.g., mice, rats, and
     guinea pigs), lagomorphs, swine, and primates (e.g. monkeys, chimpanzees, and humans).
     [0314] To the extent that tissue culture of cells may be required, it is well-known in the art. For example, Freshney,
     Culture of Animal Cells, a Manual of Basic Technique, 3rd Ed., Wiley-Liss, New York (1994), Kuchler et al., Biochemical
20   Methods in Cell Culture and Virology, Dowden, Hutchinson and Ross, Inc. (1977), and the references cited therein
     provide a general guide to the culture of cells. Cultured cell systems often will be in the form of monolayers of cells,
     although cell suspensions are also used.

     D. Detection of Lipid Particles
25
     [0315] In some embodiments, the lipid particles of the present disclosure (e.g., SNALP) are detectable in the subject
     at about 1, 2, 3, 4, 5, 6, 7, 8 or more hours. In other embodiments, the lipid particles of the present disclosure (e.g.,
     SNALP) are detectable in the subject at about 8, 12, 24, 48, 60, 72, or 96 hours, or about 6, 8, 10, 12, 14, 16, 18, 19,
     22, 24, 25, or 28 days after administration of the particles. The presence of the particles can be detected in the cells,
30   tissues, or other biological samples from the subject. The particles may be detected, e.g., by direct detection of the
     particles, detection of a therapeutic nucleic acid such as an interfering RNA (e.g., siRNA) sequence, detection of the
     target sequence of interest (i.e., by detecting expression or reduced expression of the sequence of interest), or a
     combination thereof.

35   1. Detection of Particles

     [0316] Lipid particles described herein such as SNALP can be detected using any method known in the art. For
     example, a label can be coupled directly or indirectly to a component of the lipid particle using methods well-known in
     the art. A wide variety of labels can be used, with the choice of label depending on sensitivity required, ease of conjugation
40   with the lipid particle component, stability requirements, and available instrumentation and disposal provisions. Suitable
     labels include, but are not limited to, spectral labels such as fluorescent dyes (e.g., fluorescein and derivatives, such as
     fluorescein isothiocyanate (FITC) and Oregon Green™; rhodamine and derivatives such Texas red, tetrarhodimine
     isothiocynate (TRITC), etc., digoxigenin, biotin, phycoerythrin, AMCA, CyDyes™, and the like; radio labels such as 3H,
     125 I, 35S, 14C, 32P, 33P, etc.; enzymes such as horse radish peroxidase, alkaline phosphatase, etc.; spectral colorimetric
45   labels such as colloidal gold or colored glass or plastic beads such as polystyrene, polypropylene, latex, etc. The label
     can be detected using any means known in the art.

     2. Detection of Nucleic Acids

50   [0317] Nucleic acids (e.g., interfering RNA) are detected and quantified herein by any of a number of means well-
     known to those of skill in the art. The detection of nucleic acids may proceed by well-known methods such as Southern
     analysis, Northern analysis, gel electrophoresis, PCR, radiolabeling, scintillation counting, and affinity chromatography.
     Additional analytic biochemical methods such as spectrophotometry, radiography, electrophoresis, capillary electro-
     phoresis, high performance liquid chromatography (HPLC), thin layer chromatography (TLC), and hyperdiffusion chro-
55   matography may also be employed.
     [0318] The selection of a nucleic acid hybridization format is not critical. A variety of nucleic acid hybridization formats
     are known to those skilled in the art. For example, common formats include sandwich assays and competition or dis-
     placement assays. Hybridization techniques are generally described in, e.g., "Nucleic Acid Hybridization, A Practical




                                                                  42
                                                                                                                JA001629
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 289 of 1274 PageID #: 8595

                                                         EP 2 279 254 B1

     Approach," Eds. Hames and Higgins, IRL Press (1985).
     [0319] The sensitivity of the hybridization assays may be enhanced through use of a nucleic acid amplification system
     which multiplies the target nucleic acid being detected. In vitro amplification techniques suitable for amplifying sequences
     for use as molecular probes or for generating nucleic acid fragments for subsequent subcloning are known. Examples
 5   of techniques sufficient to direct persons of skill through such in vitro amplification methods, including the polymerase
     chain reaction (PCR) the ligase chain reaction (LCR), Qβ-replicase amplification and other RNA polymerase mediated
     techniques (e.g., NASBA™) are found in Sambrook et al., In Molecular Cloning: A Laboratory Manual, Cold Spring
     Harbor Laboratory Press (2000); and Ausubel et al., SHORT PROTOCOLS IN MOLECULAR BIOLOGY, eds., Current
     Protocols, Greene Publishing Associates, Inc. and John Wiley & Sons, Inc. (2002); as well as U.S. Patent No. 4,683,202;
10   PCR Protocols, A Guide to Methods and Applications (Innis et al. eds.) Academic Press Inc. San Diego, CA (1990);
     Arnheim & Levinson (October 1, 1990), C&EN 36; The Journal Of NIH Research, 3:81 (1991); Kwoh et al., Proc. Natl.
     Acad. Sci. USA, 86:1173 (1989); Guatelli et al., Proc. Natl. Acad. Sci. USA, 87:1874 (1990); Lomell et al., J. Clin. Chem.,
     35:1826 (1989); Landegren et al., Science, 241:1077 (1988); Van Brunt, Biotechnology, 8:291 (1990); Wu and Wallace,
     Gene, 4:560 (1989); Barringer et al., Gene, 89:117 (1990); and Sooknanan and Malek, Biotechnology, 13:563 (1995).
15   Improved methods of cloning in vitro amplified nucleic acids are described in U.S. Pat. No. 5,426,039. Other methods
     described in the art are the nucleic acid sequence based amplification (NASBA™, Cangene, Mississauga, Ontario) and
     Qβ-replicase systems. These systems can be used to directly identify mutants where the PCR or LCR primers are
     designed to be extended or ligated only when a select sequence is present. Alternatively, the select sequences can be
     generally amplified using, for example, nonspecific PCR primers and the amplified target region later probed for a specific
20   sequence indicative of a mutation.
     [0320] Nucleic acids for use as probes, e.g., in in vitro amplification methods, for use as gene probes, or as inhibitor
     components are typically synthesized chemically according to the solid phase phosphoramidite triester method described
     by Beaucage et al., Tetrahedron Letts., 22:1859 1862 (1981), e.g., using an automated synthesizer, as described in
     Needham VanDevanter et al., Nucleic Acids Res., 12:6159 (1984). Purification of ploynucleotides, where necessary, is
25   typically performed by either native acrylamide gel electrophoresis or by anion exchange HPLC as described in Pearson
     et al., J. Chrom., 255:137 149 (1983). The sequence of the synthetic poluyucleotides can be verified using the chemical
     degradation method of Maxam and Gilbert (1980) in Grossman and Moldave (eds.) Academic Press, New York, Methods
     in Enzymology, 65:499.
     [0321] An alternative means for determining the level of transcription is in situ hybridization. In situ hybridization assays
30   are well-known and are generally described in Angerer et al., Methods Enzymol., 152:649 (1987). In an in situ hybridization
     assay, cells are fixed to a solid support, typically a glass slide. If DNA is to be probed, the cells are denatured with heat
     or alkali. The cells are then contacted with a hybridization solution at a moderate temperature to permit annealing of
     specific probes that are labeled. The probes are preferably labeled with radioisotopes or fluorescent reporters.

35   VIII. Examples

     [0322] The present invention will be described in greater detail by way of specific examples. The following examples
     are offered for illustrative purposes, and are not intended to limit the invention in any manner. Those of skill in the art
     will readily recognize a variety of noncritical parameters which can be changed or modified to yield essentially the same
40   results.

     Example 1. Materials and Methods.

     [0323] siRNA: All siRNA molecules used in these studies were chemically synthesized by the University of Calgary
45   (Calgary, AB) or Dharmacon Inc. (Lafayette, CO). The siRNAs were desalted and annealed using standard procedures.
     [0324] Lipid Encapsulation of siRNA: In some embodiments, siRNA molecules were encapsulated into nucleic acid-
     lipid particles composed of the following lipids: the lipid conjugate PEG-cDMA (3-N-[(-Methoxypoly(ethylene gly-
     col)2000)carbamoyl]-1,2-dimyristyloxypropylamine); the cationic lipid DLinDMA (1,2-Dilinoleyloxy-3-(N,N-dimethyl)ami-
     nopropane); the phospholipid DPPC (1,2-Dipalmitoyl-sn-glycero-3-phosphocholine; Avanti Polar Lipids; Alabaster, AL);
50   and synthetic cholesterol (Sigma-Aldrich Corp.; St. Louis, MO) in the molar ratio 1.4:57.1:7.1:34.3, respectively. In other
     words, siRNAs were encapsulated into SNALP of the following "1:57" formulation: 1.4% PEG-cDMA; 57.1% DLinDMA;
     7.1% DPPC; and 34.3% cholesterol. In other embodiments, siRNA molecules were encapsulated into phospholipid-free
     SNALP composed of the following lipids: the lipid conjugate PEG-cDMA; the cationic lipid DLinDMA; and synthetic
     cholesterol in the molar ratio 1.5:61.5:36.9, respectively. In other words, siRNAs were encapsulated into phospholipid-
55   free SNALP of the following "1:62" formulation: 1.5% PEG-cDMA; 61.5% DLinDMA; and 36.9% cholesterol. For vehicle
     controls, empty particles with identical lipid composition were formed in the absence of siRNA. It should be understood
     that the 1:57 formulation and 1:62 formulation are target formulations, and that the amount of lipid (both cationic and
     non-cationic) present and the amount of lipid conjugate present in the formulation may vary. Typically, in the 1:57




                                                                  43
                                                                                                               JA001630
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 290 of 1274 PageID #: 8596

                                                         EP 2 279 254 B1

     formulation, the amount of cationic lipid will be 57 mol % 6 5 mol %, and the amount of lipid conjugate will be 1.5 mol
     % 6 0.5 mol %, with the balance of the 1:57 formulation being made up of non-cationic lipid (e.g., phospholipid, cholesterol,
     or a mixture of the two). Similarly, in the 1:62 formulation, the amount of cationic lipid will be 62 mol % 6 5 mol %, and
     the amount of lipid conjugate will be 1.5 mol % 6 0.5 mol %, with the balance of the 1:62 formulation being made up of
 5   the non-cationic lipid (e.g., cholesterol).

     Example 2. Eg5 siRNA Formulated as 1:57 SNALP Are Potent Inhibitors of Cell Growth in vitro.

     [0325] SNALP formulations were prepared with an siRNA targeting Eg5 as the nucleic acid component. Eg5 is a
10   member of kinesin-related proteins that are involved in functions related to movements of organelles, microtubules, or
     chromosomes along microtubules. These functions include axonal transport, microtubule sliding during nuclear fusion
     or division, and chromosome disjunction during meiosis and early mitosis. Eg5 plays a critical role in mitosis of mammalian
     cells. The Eg5 siRNA used in this study is provided in Table 1. The modifications involved introducing 2’OMe-uridine at
     selected positions in the sense and antisense strands of the Eg5 2263 siRNA sequence, in which the siRNA duplex
15   contained less than about 20% 2’OMe-modified nucleotides.

                       Table 1. siRNA duplex comprising sense and antisense Eg5 RNA polynucleotides.
       Modification              Eg5 2263 siRNA sequence                   % 2’OMe-Modified        % Modified in DS Region

20            U/U         5’-CUGAAGACCUGAAGACAAUdTdT-3’                      6/42 = 14.3 %                6/38 = 15.8%
                          3’-dTdTGACUUCUGGACUUCUGUUA-5’
      Column 1: "U/U" = 2’OMe-uridine modified siRNA duplex; Column 2: 2’OMe-modified nucleotides are indicated in
      bold and underlined. The siRNA duplex can alternatively or additionally comprise 2’-deoxy-2’-fluoro (2’F) nucleotides,
      2’-deoxy nucleotides, 2’-O-(2-methoxyethyl) (MOE) nucleotides, and/or locked nucleic acid (LNA) nucleotides. "dT"
25
      = deoxythymidine. Column 3: The number and percentage of 2’OMe-modified nucleotides in the siRNA duplex are
      provided. Column 4: The number and percentage of modified nucleotides in the double-stranded (DS) region of the
      siRNA duplex are provided.


30   [0326] The lipid components and physical characteristics of the SNALP formulations are summarized in Table 2. The
     lipid:drug ratio is described in units of mg total lipid per mg nucleic acid. Mean particle size and polydispersity were
     measured on a Malvern Instruments Zetasizer. Encapsulation of nucleic acid was measured using a Ribogreen assay
     essentially as described in Heyes et al., Journal of Controlled Release, 107:276-287 (2005).

35                            Table 2. Characteristics of the SNALP formulations used in this study.

                     Formulation Composition, Mole %                                Finished Product Characterization
      Sample                                                    Lipid/Drug
                    PEG(2000)-C-DMA | DLinDMA | DPPC                             Size                               %
        No.                                                        Ratio                   Polydispersity
                               | Cholesterol                                     (nm)                          Encapsulation
40        1                     2 | 40 | 10 | 48                    12.4          57             0.07                 90
          2                 1.8 | 36.4 | 18.2 | 43.6                14.0          72             0.12                 89
          3                  1.4 | 27.0 | 6.8 | 64.9                16.5          70             0.12                 92
          4                 1.3 | 25.3 | 12.7 | 60.8                18.1          76             0.07                 93
45
          5                  3.9 | 39.2 | 9.8 | 47.1                13.5          53             0.27                 86
          6                 3.6 | 35.7 | 17.9 | 42.9                15.1          58             0.18                 87
          7                  2.7 | 26.7 | 6.7 | 64.0                17.6          56             0.17                 92
50        8                 2.5 | 25.0 | 12.5 | 60.0                19.2          61             0.13                 92
          9                  1.4 | 57.1 | 7.1 | 34.3                17.8          84             0.10                 88
         10                 1.3 | 53.3 | 13.3 | 32.0                19.5          83             0.10                 89
         11                  1.1 | 42.6 | 5.3 | 51.1                22.0          80             0.10                 93
55
         12                 1.0 | 40.4 | 10.1 | 48.5                23.6          78             0.11                 88
         13                  2.8 | 56.3 | 7.0 | 33.8                19.0          62             0.14                 80




                                                                  44
                                                                                                               JA001631
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 291 of 1274 PageID #: 8597

                                                          EP 2 279 254 B1

                                                              (continued)

                    Formulation Composition, Mole %                                   Finished Product Characterization
       Sample                                                     Lipid/Drug
                   PEG(2000)-C-DMA | DLinDMA | DPPC                                Size                                %
 5
         No.                                                         Ratio                   Polydispersity
                              | Cholesterol                                        (nm)                           Encapsulation
          14                 2.6 | 52.6 | 13.2 | 31.6                 20.6          66             0.14                  82
          15                 2.1 | 42.1 | 5.3 | 50.5                  23.1          71             0.16                  91

10        16                     2 | 40 | 10 | 48                     24.7          67             0.14                  92


     [0327] Silencing of Eg5 by siRNA transfection causes mitotic arrest and apoptosis in mammalian cells. Cell viability
     following transfection with SNALP containing an siRNA targeting Eg5 therefore provides a simple biological readout of
     in vitro transfection efficiency. Cell viability of in vitro cell cultures was assessed using the commercial reagent CellTiter-
15   Blue® (Promega Corp.; Madison, WI), a resazurin dye that is reduced by metabolically active cells to the flourogenic
     product resorufin. The human colon cancer cell line HT29 was cultured using standard tissue culture techniques. 72
     hours after SNALP application, CellTiter-Blue® reagent was added to the culture to quantify the metabolic activity of the
     cells, which is a measure of cell viability. Data are presented as a percent of cell viability relative to ("untreated") control
     cells that received phosphate buffered saline (PBS) vehicle only.
20   [0328] Figure 1 shows that the 1:57 SNALP formulation containing Eg5 2263 U/U siRNA was among the most potent
     inhibitors of tumor cell growth at all siRNA concentrations tested (see, Figure 1B, Sample 9).

     Example 3. ApoB siRNA Formulated as 1:57 SNALP Have Potent Silencing Activity in vivo.

25   [0329] SNALP formulations were prepared with an siRNA targeting apolipoprotein B (ApoB) as the nucleic acid com-
     ponent. ApoB is the main apolipoprotein of chylomicrons and low density lipoproteins (LDL). Mutations in ApoB are
     associated with hypercholesterolemia. ApoB occurs in the plasma in 2 main forms, ApoB48 and ApoB100, which are
     synthesized in the intestine and liver, respectively, due to an organ-specific stop codon. The ApoB siRNA used in this
     study is provided in Table 3. The modifications involved introducing 2’OMe-uridine or 2’OMe-guanosine at selected
30   positions in the sense and antisense strands of the ApoB siRNA sequence, in which the siRNA duplex contained less
     than about 20% 2’OMe-modified nucleotides.

                       Table 3. siRNA duplex comprising sense and antisense ApoB RNA polynucleotides.
      Position    Modification              ApoB siRNA sequence                  % 2’OMe-Modified % Modified in DS Region
35
       10048        U2/2 G1/2      5’-AGUGUCAUCACACUGAAUACC-3’                      7/42 = 16.7%              7/38 = 18.4%
                                   3’-GUUCACAGUAGUGUGACUUAU-5’
     Column 1: The number refers to the nucleotide position of the 5’ base of the sense strand relative to the mouse ApoB
     mRNA sequence XM_137955. Column 2: The numbers refer to the distribution of 2’OMe chemical modifications in
40
     each strand. Column 3: 2’OMe-modified nucleotides are indicated in bold and underlined. The siRNA duplex can
     alternatively or additionally comprise 2’-deoxy-2’-fluoro (2’F) nucleotides, 2’-deoxy nucleotides, 2’-O-(2-methoxyethyl)
     (MOE) nucleotides, and/or locked nucleic acid (LNA) nucleotides. Column 4: The number and percentage of 2’OMe-
     modified nucleotides in the siRNA duplex are provided. Column 5: The number and percentage of modified nucleotides
     in the double-stranded (DS) region of the siRNA duplex are provided.
45


     [0330] The lipid components and physical characteristics of the formulations are summarized in Table 4. The lipid:drug
     ratio is described in units of mg total lipid per mg nucleic acid. Mean particle size and polydispersity were measured on
     a Malvern Instruments Zetasizer. Encapsulation of nucleic acid was measured using a Ribogreen assay essentially as
50   described in Heyes et al., Journal of Controlled Release, 107:276-287 (2005).




55




                                                                   45
                                                                                                                 JA001632
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 292 of 1274 PageID #: 8598

                                                        EP 2 279 254 B1

                             Table 4. Characteristics of the SNALP formulations used in this study.
                                                                                  Finished Product Characterization
                 Formulation Composition Lipid            Lipid/Drug
      Group                                                                 Size
                        Name & Mole %                        Ratio                     Polydispersity     % Encapsulation
 5                                                                          (nm)
                 PEG(2000)-C-DMA | DLinDMA |
         2                                                   12.4            59             0.15                 93
                 DPPC | Cholesterol 2 | 40 | 10 | 48
                 PEG(2000)-C-DMA | DLinDMA |
         3                                                   10.7            55             0.17                 91
10               Cholesterol 2.2 | 44.4 | 53.3
                 PEG(2000)-C-DMA | DLinDMA |
         4                                                   12.5            59             0.16                 92
                 DOPC | Cholesterol 2 | 40 | 10 | 48
                 PEG(2000)-C-DMA | DLinDMA |
         5                                                   12.2            56             0.11                 92
15               DMPC | Cholesterol 2 | 40 | 10 | 48
                 PEG(2000)-C-DMA | DLinDMA |
         6       DPPE | Cholesterol 1.8 | 36.4 | 18.2        13.8            66             0.16                 93
                 | 43.6

20               PEG(2000)-C-DMA | DLinDMA |
         7                                                   12.4            56             0.12                 92
                 DPPC | Cholestanol 2 | 40 | 10 | 48
                 PEG(2000)-C-DMA | DLinDMA |
         8       DPPC | Cholesterol 1.4 | 27.0 | 6.8         16.5            60             0.10                 93
                 | 64.9
25
                 PEG(2000)-C-DMA | DLinDMA |
         9       DPPC | Cholesterol 1.3 | 25.3 | 12.7        18.1            74             0.13                 92
                 | 60.8
                 PEG(2000)-C-DMA | DLinDMA |
30       10      DPPC | Cholesterol 2.5 | 25.0 | 12.5        19.2            60             0.13                 93
                 | 60.0
                 PEG(2000)-C-DMA | DLinDMA |
         11      DPPC | Cholesterol 1.4 | 57.1 | 7.4         17.8            79             0.09                 94
                 | 34.3
35
                 PEG(2000)-C-DMA | DLinDMA |
         12      DPPC | Cholesterol 1.0 | 40.4 | 10.1        23.6            72             0.11                 93
                 | 48.5
                 PEG(2000)-C-DMA | DLinDMA |
40       13                                                   8.7            73             0.09                 87
                 DPPC 2 | 70 | 28
                 PEG(2000)-C-DMA | DLinDMA |
         14                                                  11.3            65             0.11                 87
                 DPPC 1.6 | 54.7 | 43.8

45   [0331] BALB/c mice (female, at least 4 weeks old) were obtained from Harlan Labs. After an acclimation period (of at
     least 7 days), animals were administered SNALP by intravenous (IV) injection in the lateral tail vein once daily on Study
     Day 0 (1 dose total per animal). Dosage was 1 mg encapsulated siRNA per kg body weight, corresponding to 10 ml/kg
     (rounded to the nearest 10 ml). As a negative control, one group of animals was given an IV injection of phosphate
     buffered saline (PBS) vehicle. On Study Day 2, animals were euthanized and liver tissue was collected in RNAlater.
50   [0332] Liver tissues were analyzed for ApoB mRNA levels normalized against glyceraldehyde-3-phosphate dehydro-
     genase (GAPDH) mRNA levels using the QuantiGene assay (Panomics; Fremont, CA) essentially as described in Judge
     et al., Molecular Therapy, 13:494 (2006).
     [0333] Figure 2 shows that the 1:57 SNALP formulation containing ApoB 10048 U2/2 G1/2 siRNA was the most potent
     at reducing ApoB expression in vivo (see, Group 11).
55




                                                                46
                                                                                                           JA001633
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 293 of 1274 PageID #: 8599

                                                         EP 2 279 254 B1

     Example 4. ApoB siRNA Formulated as 1:57 SNALP Have Potent Silencing Activity in vivo.

     [0334] SNALP formulations were prepared with the ApoB siRNA set forth in Table 3. The lipid components and physical
     characteristics of the formulations are summarized in Table 5. The lipid:drug ratio is described in units of mg total lipid
 5   per mg nucleic acid. Mean particle size and polydispersity were measured on a Malvern Instruments Zetasizer. Encap-
     sulation of nucleic acid was measured using a Ribogreen assay essentially as described in Heyes et al., Journal of
     Controlled Release, 107:276-287 (2005).

                                Table 5. Characteristics of the SNALP formulations used in this study.
10
               SNALP (L:D ratio)            siRNA Payload            Particle Size (Polydispersity)     % Encapsulation
                    2:30 (13)          ApoB-10048 U2/2 G1/2                  65 nm (0.16)                     88
                    1:57 (9)           ApoB-10048 U2/2 G1/2                  74 nm (0.10)                     89

15
     [0335] The 2:30 SNALP formulation used in this study is lipid composition 2:30:20:48 as described in molar percentages
     of PEG-C-DMA, DLinDMA, DSPC, and cholesterol (in that order). This formulation was prepared by syringe press at an
     input lipid to drug (L:D) ratio (mg:mg) of 13:1.
     [0336] The 1:57 SNALP formulation used in this study is lipid composition 1.5:57.1:7:34.3 as described in molar
20   percentages of PEG-C-DMA, DLinDMA, DPPC, and cholesterol (in that order). This formulation was prepared by syringe
     press at an input lipid to drug (L:D) ratio (mg:mg) of 9:1.
     [0337] BALB/c mice (female, 4 weeks old) were obtained from Harlan Labs. After an acclimation period (of at least 7
     days), animals were administered SNALP by intravenous (IV) injection in the lateral tail vein once daily on Study Days
     0, 1, 2, 3 & 4 for a total of 5 doses per animal. Daily dosage was either 1.0 (for 2:30 SNALP) or 0.1 (for 1:57 SNALP)
25   mg encapsulated siRNA per kg body weight, corresponding to 10 ml/kg (rounded to the nearest 10 ml). As a negative
     control, one group of animals was given IV injections of phosphate buffered saline (PBS) vehicle. On Study Day 7, 72
     h after the last treatment, animals were euthanized and liver tissue was collected in RNAlater.
     [0338] Liver tissues were analyzed for ApoB mRNA levels normalized against glyceraldehyde-3-phosphate dehydro-
     genase (GAPDH) mRNA levels using the QuantiGene assay (Panomics; Fremont, CA) essentially as described in Judge
30   et al., Molecular Therapy, 13:494 (2006).
     [0339] Figure 3 shows that the 1:57 SNALP containing ApoB 10048 U2/2 G1/2 siRNA was more than 10 times as
     efficacious as the 2:30 SNALP in mediating ApoB gene silencing in mouse liver at a 10-fold lower dose.

     Example 5. ApoB siRNA Formulated as 1:57 or 1:62 SNALP Have Potent Silencing Activity in vivo.
35
     [0340] SNALP formulations were prepared with the ApoB siRNA set forth in Table 3. The lipid components and physical
     characteristics of the formulations are summarized in Table 6. The lipid:drug ratio is described in units of mg total lipid
     per mg nucleic acid. Mean particle size and polydispersity were measured on a Malvern Instruments Zetasizer. Encap-
     sulation of nucleic acid was measured using a Ribogreen assay essentially as described in Heyes et al., Journal of
40   Controlled Release, 107:276-287 (2005).

                                Table 6. Characteristics of the SNALP formulations used in this study.
                                                                                      Finished Product Characterization
                 Formulation Composition Lipid             Lipid/Drug
      Group                                                                     Size
45                      Name & Mole %                         Ratio                         Polydispersity    % Encapsulation
                                                                                (nm)
                 PEG(2000)-C-DMA | DLinDMA |
         2       DPPC | Cholesterol 1.4 | 57.1 | 7.1           8.9               76              0.06                89
                 | 34.3
50
                 PEG(2000)-C-DMA | DLinDMA |
         3                                                     8.1               76              0.04                86
                 Cholesterol 1.5 | 61.5 | 36.9
                 PEG(2000)-C-DMA | DODMA |
         4       DPPC | Cholesterol 1.4 | 57.1 | 7.1           9.0               72              0.05                95
55               | 34.3




                                                                 47
                                                                                                                JA001634
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 294 of 1274 PageID #: 8600

                                                        EP 2 279 254 B1

                                                            (continued)

                                                                                   Finished Product Characterization
                 Formulation Composition Lipid            Lipid/Drug
      Group                                                                  Size
 5
                        Name & Mole %                        Ratio                      Polydispersity     % Encapsulation
                                                                             (nm)
                 PEG(5000)-C-DMA | DLinDMA |
         5       DPPC | Cholesterol 1.4 | 57.1 | 7.1          9.6             52             0.16                  89
                 | 34.3
10
                 PEG(2000)-C-DMA | DLinDMA |
         6       DPPC | Cholestanol 1.4 | 57.1 | 7.1          8.9             68             0.10                  94
                 | 34.3
                 PEG(2000)-C-DMA | DLinDMA |
15       7       DPPE | Cholesterol 1.4 | 57.1 | 7.1          8.9             72             0.07                  95
                 | 34.3
                 PEG(2000)-C-DMA | DLinDMA |
         8                                                    8.6             74             0.13                  86
                 DPPC 1.8 | 70.2 | 28.1

20
     [0341] BALB/c mice (female, at least 4 weeks old) were obtained from Harlan Labs. After an acclimation period (of at
     least 7 days), animals were administered SNALP by intravenous (IV) injection in the lateral tail vein once daily on Study
     Day 0 (1 dose total per animal). Dosage was 0.75 mg encapsulated siRNA per kg body weight, corresponding to 10
     ml/kg (rounded to the nearest 10 ml). As a negative control, one group of animals was given an IV injection of phosphate
     buffered saline (PBS) vehicle. On Study Day 2, animals were euthanized and liver tissue was collected in RNAlater.
25
     [0342] Liver tissues were analyzed for ApoB mRNA levels normalized against glyceraldehyde-3-phosphate dehydro-
     genase (GAPDH) mRNA levels using the QuantiGene assay (Panomics; Fremont, CA) essentially as described in Judge
     et al., Molecular Therapy, 13:494 (2006).
     [0343] Figure 4 shows that the 1:57 and 1:62 SNALP formulations had comparable ApoB silencing activity in vivo
     (see, e.g., Groups 2 & 3).
30

     Example 6. ApoB siRNA Formulated as 1:62 SNALP Have Potent Silencing Activity in vivo.

     [0344] SNALP formulations were prepared with the ApoB siRNA set forth in Table 3. The lipid components and physical
     characteristics of the formulations are summarized in Table 7. The lipid:drug ratio is described in units of mg total lipid
35
     per mg nucleic acid. Mean particle size and polydispersity were measured on a Malvern Instruments Zetasizer. Encap-
     sulation of nucleic acid was measured using a Ribogreen assay essentially as described in Heyes et al., Journal of
     Controlled Release, 107:276-287 (2005).

                              Table 7. Characteristics of the SNALP formulations used in this study.
40
                  Formulation Composition, Mole %                                   Finished Product Characterization
                                                             Lipid/Drug
      Group         PEG(2000)-C-DMA | LinDMA |                                Size
                                                                Ratio                   Polydispersity     % Encapsulation
                            Cholesterol                                       (nm)

45       2                   1.5 | 61.5 | 36.9                   6.1           80            0.07                  92
         3                   1.4 | 54.8 | 43.8                   6.6           74            0.05                  89
         4                   2.0 | 61.2 | 36.7                   6.2           71            0.11                  91
         5                   1.8 | 54.5 | 43.6                   6.7           67            0.09                  91
50
         6                   1.3 | 68.1 | 30.6                   7.4           91            0.06                  89
         7                   1.2 | 61.8 | 37.1                   8.0           87            0.10                  90
         8                   1.7 | 67.8 | 30.5                   7.6           81            0.07                  91

55       9                   1.4 | 56.3 | 42.3                   8.6           75            0.11                  92
         10                  1.9 | 61.3 | 36.8                   8.2           72            0.10                  91
         11                  1.8 | 56.1 | 42.1                   8.8           70            0.10                  90




                                                                 48
                                                                                                             JA001635
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 295 of 1274 PageID #: 8601

                                                        EP 2 279 254 B1

                                                             (continued)

                     Formulation Composition, Mole %                                Finished Product Characterization
                                                               Lipid/Drug
      Group            PEG(2000)-C-DMA | LinDMA |                             Size
 5
                                                                  Ratio                   Polydispersity        % Encapsulation
                               Cholesterol                                    (nm)
         12                  1.3 | 66.7 | 32.0                    9.5          89               0.09                  89
         13                  1.2 | 61.7 | 37.0                    10.0         87               0.10                  91

10       14                  1.7 | 66.4 | 31.9                    9.6          82               0.11                  90
         15                  1.5 | 61.5 | 36.9                    10.1         79               0.10                  91


     [0345] BALB/c mice (female, at least 4 weeks old) were obtained from Harlan Labs. After an acclimation period (of at
     least 7 days), animals were administered SNALP by intravenous (IV) injection in the lateral tail vein once daily on Study
15
     Day 0 (1 dose total per animal). Dosage was 0.1 mg encapsulated siRNA per kg body weight, corresponding to 10 ml/kg
     (rounded to the nearest 10 ml). As a negative control, one group of animals was given an IV injection of phosphate
     buffered saline (PBS) vehicle. On Study Day 2, animals were euthanized and liver tissue was collected in RNAlater.
     [0346] Liver tissues were analyzed for ApoB mRNA levels normalized against glyceraldehyde-3-phosphate dehydro-
     genase (GAPDH) mRNA levels using the QuantiGene assay (Panomics; Fremont, CA) essentially as described in Judge
20
     et al., Molecular Therapy, 13:494 (2006).
     [0347] Figure 5 shows that the 1:62 SNALP formulation was one of the most potent inhibitors of ApoB expression at
     two different lipid:drug ratios (i.e., 6.1 & 10.1) among the phospholipid-free SNALP formulations tested (see, Groups 2
     & 15).
25
     Example 7. In vivo Silencing of ApoB Expression Using 1:57 SNALP Prepared Via a Syringe Press or Gear Pump
     Process.

     [0348] This study illustrates a comparison of the tolerability and efficacy of the 1:57 SNALP formulation with ApoB-
     targeting siRNA as prepared by various manufacturing processes. In particular, 1:57 SNALP was prepared by a syringe
30
     press or gear pump process using either PBS or citrate buffer (post-blend dilution) and administered intravenously in mice.

     Experimental Design

     [0349]
35

         Animal Model: Female BALB/c mice, 5 wks old, n=4 per group/cage.
         siRNA payload: ApoB10048 U2/2 G1/2 siRNA.

     Tolerability:
40

     [0350]

                                                                                         IV Injection
                          Group                  Formulation
45                                                                           siRNA mg/kg          Lipid mg/kg
                             1                   PBS vehicle                 Standard 10 mL/kg volume
                             2      1|57 Citrate Direct Dil, Syringe Press           7                  77
                             3      1|57 PBS Direct Dil, Syringe Press               7                  96
50
                             4       1|57 PBS Direct Dil, Gear Pump                  7                  79
                             5      1|57 Citrate Direct Dil, Syringe Press           9                  99
                             6      1|57 PBS Direct Dil, Syringe Press               9                  123
55                           7       1|57 PBS Direct Dil, Gear Pump                  9                  102




                                                                  49
                                                                                                                 JA001636
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 296 of 1274 PageID #: 8602

                                                         EP 2 279 254 B1

     Efficacy:

     [0351]

 5                                                                                       IV Injection
                           Group                 Formulation
                                                                             siRNA mg/kg          Lipid mg/kg
                             8                  PBS vehicle                   Standard 10 mL/kg volume

10
                             9       1|57 PBS Direct Dil, Syringe Press           0.05                  0.68
                             10       1|57 PBS Direct Dil, Gear Pump              0.05                  0.57
                             11      1|57 PBS Direct Dil, Syringe Press            0.1                  1.36
                             12       1|57 PBS Direct Dil, Gear Pump               0.1                  1.13
15

     Formulation:

     [0352]   Formulations are provided at 0.005 to 0.9 mg siRNA/mL, 0.22 mm filter sterilized in crimp top vials.
     [0353]   Formulation Details:
20

         1. Lipid composition "1|57 Citrate blend" used in this study is 1.4:57.1:7.1:34.3 as described in molar percentages
         of PEG-C-DMA, DLinDMA, DPPC, and cholesterol (in that order). This formulation has an input lipid to drug ratio of 8.9.
         2. Gear pump set up included 0.8 mm T-connector and 400 mL/min speed.
         3. siRNA used in this study is apoB-10048 U2/2 G1/2 siRNA.
25

     [0354]   Formulation Summary:

                                                                              Particle Size                    Final L:D
30                                    1:57 (9:1) + DOW siRNA        Zavg (nm)      Poly       % Encap          (mg:mg)
                    322-050807-1         Syringe PBS Blend              79         0.12           92             13.6
                    322-050807-2        Syringe Citrate Blend           86         0.11           91             11.0
                    322-050807-3          Gear PBS Blend                80         0.09           93             11.3
35

     Procedures

     [0355] Treatment: Just prior to the first treatment, animals are weighed and dose amounts are calculated based on
     the weight of individual animals (equivalent to 10 mL/kg, rounded to the nearest 10 ml). Test article is administered by
40
     IV injection through the tail vein once on Day 0 (1 dose total per animal). Body weight is measured daily (every 24 h)
     for the duration of the study. Cage-side observations are taken daily in concert with body weight measurements and
     additionally as warranted.
     [0356] Group 1-7 Endpoint: Animals are sacrificed on Day 1, 24 h after test article administration. Blood is collected
     by cardiac puncture upon sacrifice. Whole amount is collected into a SST microtainer for serum. Clot for 30 (to 60) min
45
     at room temp., centrifuge for 5 min at 16,000xg & 16°C, invert to confirm centrifugation is complete, and store at 4°C.
     Analyze complete small-animal clinical chemistry panel plus AST and SDH. Top priority list: ALT, AST, SDH, Bilirubin,
     Alkaline Phosphatase, GGT, BUN, CPK, Glucose. Secondary priority list: Creatinine, Albumin, Globulin, Total Protein.
     [0357] Group 8-12 Endpoint: Animals are sacrificed on Day 2, 48 h after test article administration. Blood is collected
     by cardiac puncture and processed for plasma. Immediately centrifuge for 5 min at 16,000xg (at 16°C). Record any
50
     observations of unusual plasma appearance. Pipette off clear plasma supernatant into a clean microfuge tube and store
     at -80°C. The following tissues are removed and weighed separately: liver and spleen. The bottom (unattached) half of
     the left liver lobe is detached and submerged in ≥ 5 volumes of RNAlater (< 0.3 g in 1.5 mL RNAlater in 2.0 mL tube),
     stored at least 16 hours at 4°C prior to analysis and long term storage at -20°C or -80°C for archival purposes. Formulations
     are expected to be well tolerated. Mice which exhibit signs of distress associated with the treatment are terminated at
55
     the discretion of the vivarium staff.
     [0358] Termination: Mice are anaesthetized with a lethal dose of ketamine/xylazine; then cardiac puncture is per-
     formed followed by cervical dislocation.




                                                                  50
                                                                                                                    JA001637
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 297 of 1274 PageID #: 8603

                                                        EP 2 279 254 B1

     [0359] Data Analysis: Tolerability of treatment regime is monitored by animal appearance and behavior as well as
     body weight. Blood clinical chemistry is measured by automated analyzer. ApoB and GAPDH mRNA levels in liver are
     measured via QG assay. ApoB protein in plasma is measured via ELISA. Total cholesterol in plasma is measured via
     standard enzymatic/colorimetric assay.
 5
     Results

     [0360] There was no body weight loss or change in animal appearance/behavior upon administration of the 1:57
     SNALP formulations. Figure 6 shows that the tolerability of SNALP prepared by citrate buffer versus PBS direct dilution
10   did not differ significantly in terms of blood clinical chemistry parameters. There was a tolerability difference between
     syringe citrate and syringe PBS at constant siRNA dosage, but that was likely an artifact dependent on the different final
     lipid:drug (L:D) ratios of these two preparations.
     [0361] Figure 7 shows that the efficacy of the 1:57 SNALP prepared by gear pump was similar to the same SNALP
     prepared by syringe press. The tolerability profile was improved with the gear pump process, which could be attributed
15   to increased initial encapsulation rate and decreased final L:D ratio.

     Example 8. In vivo Silencing of ApoB Expression Using 1:57 SNALP Prepared Via a Direct Dilution or In-Line
     Dilution Process.

20   [0362] This study illustrates a comparison of the tolerability and efficacy of the 1:57 SNALP formulation with ApoB-
     targeting siRNA as prepared by a direct dilution or in-line dilution process at an input lipid to drug ratio of 6:1 or 9:1.

     Experimental Design

25   [0363]

         Animal Model: Female BALB/c mice, 7 wks old.
         siRNA payload: ApoB10048 U2/2 G1/2 siRNA.

30   CBC/Diff:

     [0364]

                                                                                    IV Dosage
35                            Group      # Mice       Test Article
                                                                         Encap. siRNA        Total Lipid
                                   1         3            PBS                   -                   -
                                   2         3     1|57 SNALP (9:1)         7 mg/kg           71 mg/kg
40                                 3         3     1|57 SNALP (9:1)        11 mg/kg          112 mg/kg


     Clinical Chemistry:


45
     [0365]

                                                                                        IV Dosage
                            Group      # Mice         Test Article
                                                                           Encap. siRNA        Total Lipid

50                             4         4                PBS                       -                   -
                               5         4         1|57 SNALP (9:1)           9 mg/kg           92 mg/kg
                               6         4         1|57 SNALP (9:1)          11 mg/kg          112 mg/kg
                               7         4        (6:1) New 1|57 SNALP       11 mg/kg           78 mg/kg
55
                               8         4        (6:1) New 1|57 SNALP       13 mg/kg           93 mg/kg
                               9         4        (6:1) New 1|57 SNALP       15 mg/kg          107 mg/kg




                                                                 51
                                                                                                             JA001638
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 298 of 1274 PageID #: 8604

                                                              EP 2 279 254 B1

                                                                 (continued)

                                                                                            IV Dosage
                               Group     # Mice          Test Article
                                                                               Encap. siRNA           Total Lipid
 5
                                10          4       (6:1) New 1|57 SNALP            17 mg/kg          121 mg/kg
                                11          4         1|57 SNALP (9:1)              11 mg/kg          112 mg/kg


10
     Activity:

     [0366]

                                                                                            IV Dosage
                              Group      # Mice          Test Article
15
                                                                               Encap. siRNA           Total Lipid
                                12         4                  PBS                       -                  -
                                13         4          1|57 SNALP (9:1)          0.05 mg/kg            0.51 mg/kg
                                14         4          1|57 SNALP (9:1)              0.1 mg/kg         1.02 mg/kg
20
                                15         4          1|57 SNALP (9:1)              0.2 mg/kg         2.04 mg/kg
                                16         4       (6:1) New 1|57 SNALP         0.05 mg/kg            0.36 mg/kg
                                17         4       (6:1) New 1|57 SNALP             0.1 mg/kg         0.71 mg/kg
25
                                18         4       (6:1) New 1|57 SNALP             0.2 mg/kg         1.42 mg/kg
                                19         4       (6:1) New 1|57 SNALP             0.4 mg/kg         2.85 mg/kg


     Formulation:
30

     [0367]      Formulations are provided at 0.005 to 1.7 mg siRNA/mL, 0.22 mm filter sterilized in crimp top vials.
     [0368]      Formulation Details:

         1. "1|57 SNALP" used in this study is lipid composition 1.4:57.1:7.1:34.3 as described in molar percentages of PEG-
35
         C-DMA, DLinDMA, DPPC, and cholesterol (in that order). This formulation was prepared by gear pump at an input
         lipid to drug ratio of 9:1 (28 mM lipids) or 6:1 (14 mM lipids).
         2. siRNA used in this study is apoB-10048 U2/2 G1/2 siRNA.

     [0369]      Formulation Summary:
40

                                                                                      Particle Size                 Final L:D
                                       1|57 SNALP Gear PBS In-Line
                                                                          Zavg (nm)         Poly      % Encap       (mg:mg)
                    322-051407-1                  Input 9:1                    78           0.07         93           10.2
45
                    322-051407-2                  Input 6:1                    81           0.05         92           7.1


     Procedures
50
     [0370] Treatment: Just prior to the first treatment, animals are weighed and dose amounts are calculated based on
     the weight of individual animals (equivalent to 10 mL/kg, rounded to the nearest 10 ml). Test article is administered by
     IV injection through the tail vein once on Day 0 (1 dose total per animal). Body weight is measured daily (every 24 h)
     for the duration of the study. Cage-side observations are taken daily in concert with body weight measurements and
     additionally as warranted.
55
     [0371] Endpoint: Animals are sacrificed on Day 1, 24 h after test article administration (Grps 1-10) or on Day 2, 48
     h after test article administration (Grps 11-19).
     [0372] Groups 1-3: Blood is collected by cardiac puncture upon sacrifice. Whole amount is collected into an EDTA




                                                                     52
                                                                                                                       JA001639
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 299 of 1274 PageID #: 8605

                                                       EP 2 279 254 B1

     microtainer, mixed immediately to prevent coagulation, and sent for analysis of CBC/Diff profile. Perform brief necropsy.
     [0373] Groups 4-11: Blood is collected by cardiac puncture into a SST microtainer for serum. Clot for 30 (to 60) min
     at room temp., centrifuge for 5 min at 16,000xg & 16°C, invert to confirm centrifugation is complete, and store at 4°C.
     Analyze complete small-animal clinical chemistry panel plus AST and SDH. Top priority list: ALT, AST, SDH, Bilirubin,
 5   Alkaline Phosphatase, GGT, BUN, CPK, Glucose. Secondary priority list: Creatinine, Albumin, Globulin, Total Protein.
     Perform brief necropsy.
     [0374] Groups 12-19: Blood is collected by cardiac puncture and processed for plasma: immediately centrifuge for 5
     min at 16,000xg (at 16°C). Record any observations of unusual plasma appearance. Pipette off clear plasma supernatant
     into a clean microfuge tube and store at -80°C. The following tissues are removed: liver. The liver is not weighed; the
10   bottom (unattached) half of the left liver lobe is detached and submerged in ≥ 5 volumes of RNAlater (< 0.3 g in 1.5 mL
     RNAlater in 2.0 mL tube), stored at least 16 hours at 4°C prior to analysis and long term storage at -80°C. Formulations
     are expected to be well tolerated. Mice which exhibit signs of distress associated with the treatment are terminated at
     the discretion of the vivarium staff.
     [0375] Termination: Mice are anaesthetized with a lethal dose of ketamine/xylazine; then cardiac puncture is per-
15   formed followed by cervical dislocation.
     [0376] Data Analysis: Tolerability of treatment regime is monitored by animal appearance and behavior, and body
     weight. Blood clinical chemistry and CBC/Diff profile is measured by automated analyzer. Liver ApoB mRNA is measured
     using the QuantiGene Assay. Plasma ApoB-100 is measured using ELISA. Plasma total cholesterol is measured using
     a standard enzymatic assay.
20
     Results

     Tolerability:

25   [0377] Figure 8 shows that there was very little effect on body weight 24 hours after 1:57 SNALP administration. The
     maximum weight loss of 3.6 6 0.7% was observed at the highest drug dose of 17 mg/kg. There was also no obvious
     change in animal appearance/behavior at any of the dosages tested.
     [0378] Figure 9 shows that there were no obvious changes in platelet count. Reduction of platelets can cause the
     mean platelet volume to increase as the body produces new platelets in compensation for the treatment-related decrease.
30   Under the conditions of this study, the mean platelet volume did not change in SNALP-treated groups.
     [0379] Figure 10 shows that clinically significant liver enzyme elevations (3xULN) occurred at drug dosages of 11
     mg/kg for 1:57 SNALP at a lipid:drug (L:D) ratio of 10, and at 13 mg/kg at a L:D of 7. A slight dose response trend
     upwards in plasma total protein and globulin was also observed.

35   Efficacy:

     [0380] Figure 11 shows that based on the liver mRNA QuantiGene analysis, the potency of the lower L:D SNALP was
     as good as that of the higher L:D SNALP at the tested drug dosages. In fact, the ApoB silencing activity was identical
     at the 0.05 and 0.1 mg/kg dosages. As such, the potency of the 1:57 SNALP at a 6:1 input L:D ratio (final ratio of 7:1)
40   was similar to the potency of the 1:57 SNALP at a 9:1 input L:D ratio (final ratio of 10:1) at reducing ApoB expression.
     [0381] Figure 12 shows that ApoB protein and total cholesterol levels were reduced to a similar extent by the 1:57
     SNALP at a 6:1 input L:D ratio (final ratio of 7:1) and the 1:57 SNALP at a 9:1 input L:D ratio (final ratio of 10:1).

     Therapeutic Index:
45
     [0382] This study demonstrates that both the 1:57 SNALP at a 6:1 input L:D ratio (final ratio of 7:1) and the 1:57 SNALP
     at a 9:1 input L:D ratio (final ratio of 10:1) caused about 60% ApoB liver mRNA silencing with a drug dose of 0.1 mg/kg.
     Interpolating from the available data points in Figure 10, a 10:1 final L:D ratio at 10 mg/kg may cause a similar degree
     of enzyme elevation as a 7:1 final L:D ratio at 13 mg/kg. Using these activity and toxicity points, the therapeutic index
50   for the 1:57 SNALP at a 10:1 final L:D ratio is (10 mg/kg) / (0.1 mg/kg) = 100 and the therapeutic index for the 1:57
     SNALP at a 7:1 final L:D ratio is (13 mg/kg) / (0.1 mg/kg) = 130. Using this dataset, the therapeutic index for the 1:57
     SNALP at a 7:1 final L:D ratio is 30% greater than the therapeutic index for the 1:57 SNALP at a 10:1 final L:D ratio.

     Example 9. In vivo Silencing of PLK-1 Expression Using 1:57 SNALP Increases Survival of Hep3B Tumor-Bearing
55   Mice.

     [0383] SNALP containing polo-like kinase 1 (PLK-1) siRNA (1:57 SNALP formulation: 1.4% PEG-cDMA; 57.1% DLinD-
     MA; 7.1% DPPC; and 34.3% cholesterol) were tested for their effects on the survival of CD1 nu/nu mice bearing Hep3B




                                                                53
                                                                                                           JA001640
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 300 of 1274 PageID #: 8606

                                                        EP 2 279 254 B1

     liver tumors. PLK-1 is a serine/threonine kinase containing two functional domains: (1) a kinase domain; and (2) a polo-
     box domain (see, e.g., Barr et al., Nat. Rev. Mol. Cell Biol., 5:429-440 (2004)). The activity and cellular concentration of
     PLK-1 are crucial for the precise regulation of cell division. PLK-1 is overexpressed in many cancer types including
     hepatoma and colon cancer, and PLK-1 expression often correlates with poor patient prognosis. Overexpression of
 5   PLK-1 (wild-type or kinase inactive) results in multinucleation (genetic instability). Hyperactive PLK-1 overrides the DNA
     damage checkpoint. Constitutive PLK-1 expression causes transformation of NIH 3T3 cells. PLK-1 phosphorylates the
     p53 tumor suppressor, thereby inhibiting the pro-apoptotic effects of p53. The PLK-1 siRNA used in this study are
     provided in Table 8. The modifications involved introducing 2’OMe-uridine or 2’OMe-guanosine at selected positions in
     the sense and antisense strands of the PLK-1 siRNA sequence, in which the siRNA duplex contained less than about
10   20% 2’OMe-modified nucleotides.

                      Table 8. siRNA duplexes comprising sense and antisense PLK-1 RNA polynucleotides.
              siRNA                              PLK-1 siRNA Sequence                              % Modified in DS Region

15     PLK1424 U4/GU           5’-AGAUCACCCUCCUUCAAAUANN-3’                   (SEQ ID NO.57)              6/38 = 15.8%
                               3’-NNUCUAGUGGGAGGAAUUUAU-5’                    (SEQ ID NO.54)
        PLK1424 U4/G           5’-AGAUCACCCUCCUUAAAUANN-3’                    (SEQ ID NO.57)              7/38 = 18.4%
                               3’-NNUCUAGUGGGAGGAAUUUAU-5’                    (SEQ ID NO.56)

20    Column 1: The number after "PLK" refers to the nucleotide position of the 5’ base of the sense strand relative to the
      start codon (ATG) of the human PLK-1 mRNA sequence NM_005030. Column 2: 2’-O-methyl (2’OMe) nucleotides
      are indicated in bold and underlined. The siRNA duplex can alternatively or additionally comprise 2’-deoxy-2’-fluoro
      (2’F) nucleotides, 2’-deoxy nucleotides, 2’-O-(2-methoxyethyl) (MOE) nucleotides, and/or locked nucleic acid (LNA)
      nucleotides. N = deoxythymidine (dT) nucleotide, uridine (U) ribonucleotide, or ribonucleotide having complementarity
25    to the target sequence or the complementary strand thereof. Column 3: The number and percentage of modified
      nucleotides in the double-stranded (DS) region of the siRNA duplex are provided.


     Experimental Groups
30
     [0384]    20 CD1 nu/nu mice were seeded as follows:

      Group       # Mice      Tumor        SNALP         #        SNALP dosing         SNALP        Sacrifice        Assay
                             seeding                    Mice          IV                dose
35       A                                Luc 1:57        9
                               I.H.                              Days 11, 14, 17,                                   Survival
                  20 to                                                                 10 x 2       When
                             1.5x106      PLK 1424               21, 25, 28, 32, 35,                                 Body
         B        seed                                    9                             mg/kg       moribund
                             Hep3B          1:57                       39, 42                                       Weights


40   Test Articles

     [0385] All samples were filter-sterilized prior to dilution to working concentration. All tubes were labeled with the
     formulation date, lipid composition, and nucleic acid concentration. SNALP samples were provided at 0.2 mg/ml nucleic
     acid. A minimum of 20 ml of each SNALP was required to perform the study. Formulations for this study contained:
45

                                       Group               Test Article Description
                                          A           Luc U/U SNALP 1:57 (28mM lipid)
                                          B       PLK1424 U4/GU SNALP 1:57 (28mM lipid)
50
                                                  PLK1424 U4/G SNALP 1:57 (28mM lipid)


     Procedures

55   [0386]




                                                                 54
                                                                                                                JA001641
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 301 of 1274 PageID #: 8607

                                                         EP 2 279 254 B1


      Day 0              Mice will receive Anafen by SC injection (100 mg in 20 ml saline) immediately prior to surgery.
                         Individual mice are anesthetized by isoflourane gas inhalation and eye lube applied to prevent
                         excessive eye drying. While maintained under gas anesthesia from a nose cone, a single 1.5 cm
 5                       incision across the midline will be made below the sternum. The left lateral hepatic lobe is then
                         exteriorized using an autoclaved cotton wool bud. 25 ml of tumor cells suspended in PBS is injected
                         into the lobe at a shallow angle using a leur tip Hamilton syringe (50 ml) and 30G (3/8") needle.
                         Cells will be injected slowly (~ 30 s) and a swab applied to the puncture wound immediately after
                         needle withdrawal. After any bleeding has stopped (~1 min), the incision is closed with 5-6 sutures
10                       in the muscle wall and 3-4 skin clips. Cell suspensions will be thoroughly mixed immediately prior
                         to each injection. Mice will recover from anesthesia in a clean cage lined with paper towel and
                         monitored closely for 2-4 hours. Animals are then returned to normal housing.
      Day 1              All mice will be lightly anesthetized by isoflourane gas and the sutures examined. Animals will then
                         receive Anafen by SC injection (100 mg in 20 ml saline).
15    Day 10             Mice will be randomized into the appropriate treatment groups.
      Day 11             Groups A, B - Day 11: All Animals will be administered SNALP at 2 mg/kg by IV injection via the
                         lateral tail vein. Mice will be dosed
                         according to body weight (10 ml/kg). Dosing will be repeated for 5 consecutive days based on initial
                         weight.
20
      Day 14-35          Groups A, B - Days 14, 17, 21, 25, 28, 32, 35: All Animals will be re-administered SNALP at 2
                         mg/kg by IV injection via the lateral tail vein. Mice will be dosed according to body weight (10 ml/kg).
                         Body weights Groups: Mice will be weighed on the day of dosing for 5 weeks, then twice weekly
                         until close of the study.
25                       Endpoint: Tumor burden and formulations are expected to be well tolerated. Mice that exhibit signs
                         of distress associated with the treatment or tumor burden are terminated at the discretion of the
                         vivarium staff.
      Termination:       Mice are anesthetized with a lethal dose of ketamine/xylazine followed by cervical dislocation.
      Data               Survival and body weights are assayed.
30    Analysis:


     Results

     [0387] Figure 13 shows the mean body weights of mice during therapeutic dosing of PLK1424 SNALP in the Hep3B
35
     intrahepatic (I.H.) tumor model. The treatment regimen was well tolerated with no apparent signs of treatment-related
     toxicity.
     [0388] Figure 14 shows that treatment with 1:57 SNALP-formulated PLK1424 caused a significant increase in the
     survival of Hep3B tumor-bearing mice. This in vivo anti-tumor effect was observed in the absence of any apparent toxicity
     or immune stimulation.
40

     Example 10. In vivo Silencing of PLK-1 Expression Using 1:57 SNALP Induces Tumor Cell Apoptosis in Hep3B
     Tumor-Bearing Mice.

     [0389]    The objectives of this study were as follows:
45

         1. To determine the level of mRNA silencing in established Hep3B liver tumors following a single IV administration
         of PLK1424 SNALP.
         2. To confirm the mechanism of mRNA silencing by detecting specific RNA cleavage products using RACE-PCR.
         3. To confirm induction of tumor cell apoptosis by histopathology.
50

     [0390] The 1:57 SNALP formulation (1.4% PEG-cDMA; 57.1% DLinDMA; 7.1% DPPC; and 34.3% cholesterol) was
     used for this study.

     Experimental Groups
55

     [0391]    20 SCID/beige mice were seeded as follows:




                                                                  55
                                                                                                               JA001642
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 302 of 1274 PageID #: 8608

                                                         EP 2 279 254 B1


      Group        #           Tumor         SNALP        #        SNALP         Sacrifice                  Assay
                  Mice        seeding                    Mice      dosing
                                                                     IV
 5
                                               PBS         6
         A
                                            Luc 1:57       7        1x2
                  20 to      I.H. 1x106                                          24 h after     Tumor QG Tumor RACE-PCR
                                                                   mg/kg
         B        seed         Hep3B          PLK                                treatment            Histopathology
                                                                   Day 20
10
                                              1424         7
         C                                    1:57


     Test Articles

15   [0392] All samples were filter-sterilized prior to dilution to working concentration. All tubes were labeled with the
     formulation date, lipid composition, and nucleic acid concentration. SNALP samples were provided at 0.2 mg/ml nucleic
     acid. A minimum of 2 ml of SNALP was required to perform the study. Formulations for this study contained:

                                               Group        Test Article Description
20
                                                  A                    PBS
                                                  B            Luc U/U 1:57 SNALP
                                                 C        PLK1424 U4/GU 1:57 SNALP
25

     Procedures

     [0393]

30    Day 0               Mice will receive Anafen by SC injection (100 mg in 20 ml saline) immediately prior to surgery.
                          Individual mice are anesthetized by isoflourane gas inhalation and eye lube applied to prevent
                          excessive eye drying. While maintained under gas anesthesia from a nose cone, a single 1.5 cm
                          incision across the midline will be made below the sternum. The left lateral hepatic lobe is then
                          exteriorized using an autoclaved cotton wool bud. 25ml of tumor cells suspended in PBS is injected
35                        into the lobe at a shallow angle using a leur tip Hamilton syringe (50 ml) and 30G (3/8") needle.
                          Cells will be injected slowly (~30 s) and a swab applied to the puncture wound immediately after
                          needle withdrawal. After any bleeding has stopped (∼ 1 min), the muscle wall incision is closed with
                          5-6 sutures. The skin incision is then closed with 3-4 metal skin clips. Cell suspensions will be
                          thoroughly mixed immediately prior to each injection. Mice will recover from anesthesia in a clean
40
                          cage lined with paper towel and monitored closely for 2-4 hours. Animals are then returned to normal
                          housing.
      Day 1               All mice will be lightly anesthetized by isoflourane gas and the sutures examined. Animals will then
                          receive Anafen by SC injection (100 mg in 20 ml saline).
      Day 7               Mice will be randomized into the appropriate treatment groups.
45
      Day 20              Groups A-C: Mice will be weighed and then administered either PBS, Luc, or PLK1424 SNALP by
                          IV injection via the lateral tail vein. SNALP will be dosed at 2 mg/kg or equivalent volume (10 ml/kg)
                          according to body weight.
      Day 21              Groups A-C: All mice will be weighed and then euthanized by lethal anesthesia.
50                        Tumor bearing liver lobes from all mice in each group will be weighed and collected into RNALater
                          for RNA analysis.
                          Endpoint: Tumor burden and formulations are expected to be well tolerated. Mice that exhibit signs
                          of distress associated with the treatment or tumor burden are terminated at the discretion of the
                          vivarium staff.
55    Termination:        Mice are anaesthetized with a lethal dose of ketamine/xylazine followed by cervical dislocation.
      Data                mRNA analysis of liver tumors by bDNA (QG) assay and RACE-PCR.
      Analysis:




                                                                  56
                                                                                                               JA001643
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 303 of 1274 PageID #: 8609

                                                        EP 2 279 254 B1

                                                            (continued)
                        Tumor cell apoptosis by histopathology.


 5   Results

     [0394] Body weights were monitored from Day 14 onwards to assess tumor progression. On Day 20, 6 mice showing
     greatest weight loss were randomized into each of the 3 groups and treated. All six mice had substantial-large I.H. tumors
     at sacrifice (Day 21). Treatment of the remaining 14 mice was therefore initiated on the Day 21 (sacrifice Day 22). 10/14
10   mice had substantial tumors; 2/14 mice had small/probable tumors; and 2/14 mice had no visible tumor burden.
     [0395] Figure 15 shows data from Quantigene assays used to measure human (tumor)-specific PLK-1 mRNA levels.
     A single 2 mg/kg dose of 1:57 SNALP reduced PLK-1 mRNA levels by about 50% in intrahepatic Hep3B tumors growing
     in mice.
     [0396] Figure 16 shows that a specific cleavage product of PLK-1 mRNA was detectable in mice treated with PLK1424
15   SNALP by 5’ RACE-PCR. No specific PCR product was detectable in mice treated with either PBS or control (Luc)
     SNALP. Nucleotide sequencing of the PCR product confirmed the predicted cleavage site by PLK1424 siRNA-mediated
     RNA interference in the PLK-1 mRNA.
     [0397] Figure 17 shows Hep3B tumor histology in mice treated with either Luc SNALP (top) or PLK1424 SNALP
     (bottom). Luc SNALP-treated mice displayed normal mitoses in Hep3B tumors, whereas PLK1424 SNALP-treated mice
20   exhibited numerous aberrant mitoses and tumor cell apoptosis in Hep3B tumors.

     Conclusion

     [0398] This example illustrates that a single administration of PLK1424 1:57 SNALP to Hep3B tumor-bearing mice
25   induced significant in vivo silencing of PLK-1 mRNA. This reduction in PLK-1 mRNA was confirmed to be mediated by
     RNA interference using 5’ RACE-PCR analysis. Importantly, PLK-1 mRNA silencing by the 1:57 SNALP formulation
     profoundly disrupted tumor cell proliferation (mitosis), causing subsequent apoptosis of tumor cells. As demonstrated
     in the previous example, this anti-tumor effect translated into extended survival times in the tumor-bearing mice.

30   Example 11. Comparison of 1:57 PLK-1 SNALP Containing Either PEG-cDMA or PEG-cDSA in a Subcutaneous
     Hep3B Tumor Model.

     [0399] This example demonstrates the utility of the PEG-lipid PEG-cDSA (3-N-[(-Methoxypoly(ethylene gly-
     col)2000)carbamoyl]-1,2-distearyloxypropylamine) in the 1:57 formulation for systemically targeting distal (e.g., subcu-
35   taneous) tumors. In particular, this example compares the tumor targeting ability of 1:57 PLK-1 SNALPs containing either
     PEG-cDMA (C14) or PEG-cDSA (C18). Readouts are tumor growth inhibition and PLK1 mRNA silencing. The PLK-1
     siRNA used was PLK1424 U4/GU, the sequence of which is provided in Table 8.
     [0400] Subcutaneous (S.C.) Hep3B tumors were established in scid/beige mice. Multidose anti-tumor efficacy of 1:57
     PLK-1 SNALP was evaluated for the following groups (n=5 for each group): (1) "Luc-cDMA" - PEG-cDMA Luc SNALP;
40   (2) "PLK-cDMA" - PEG-cDMA PLK-1 SNALP; and (3) "PLK-cDSA" - PEG-cDSA PLK-1 SNALP. Administration of 6 x
     2mg/kg siRNA was initiated once tumors reached about 5 mm in diameter (Day 10). Dosing was performed on Days
     10, 12, 14, 17, 19, and 21. Tumors were measured by caliper twice weekly.
     [0401] Figure 18 shows that multiple doses of 1:57 PLK-1 SNALP containing PEG-cDSA induced the regression of
     established Hep3B S.C. tumors. In particular, 5/5 tumors in the PLK1-cDSA treated mice appeared flat, measurable
45   only by discoloration at the tumor site.
     [0402] Figure 19 shows the mRNA silencing of 1:57 PLK SNALP in S.C. Hep3B tumors following a single intravenous
     SNALP administration. The extent of silencing observed with the PLK1-cDSA SNALP correlated with the anti-tumor
     activity in the multi-dose study shown in Figure 18.
     [0403] The Luc-cDMA SNALP-treated group, which had developed large S.C. tumors at Day 24, were then administered
50   PLK-cDSA SNALP on Days 24, 26, 28, 31, 33, and 35. There was no additional dosing of the original PLK-1 SNALP-
     treated groups. The results from this crossover dosing study with large established tumors is provided in Figure 20,
     which shows that PLK1-cDSA SNALP inhibited the growth of large S.C. Hep3B tumors.
     [0404] A comparison of the effect of PEG-cDMA and PEG-cDSA 1:57 SNALPs on PLK-1 mRNA silencing was per-
     formed using established intrahepatic Hep3B tumors in scid/beige mice. A single 2 mg/kg dose of 1:57 PLK-1 SNALP
55   containing either PEG-cDMA or PEG-cDSA was administered intravenously. Liver/tumor samples were collected at 24
     and 96 hours after SNALP treatment. Control = 2 mg/kg Luc-cDMA SNALP at 24 hours.
     [0405] Figure 21 shows that PLK-cDMA SNALP and PLK-cDSA SNALP had similar silencing activities after 24 hours,
     but that the PLK-cDSA SNALP may increase the duration of mRNA silencing in intrahepatic tumors.




                                                                57
                                                                                                            JA001644
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 304 of 1274 PageID #: 8610

                                                        EP 2 279 254 B1

     [0406] Figure 22 shows the blood clearance profile of 1:57 PLK-1 SNALP containing either PEG-cDMA or PEG-cDSA.
     The extended blood circulation times observed for the PLK-cDSA SNALP may enable the increased accumulation and
     activity at distal (e.g., subcutaneous) tumor sites.
     [0407] Thus, this study shows that the 1:57 PEG-cDSA SNALP formulation can be used to preferentially target tumors
 5   outside of the liver, whereas the 1:57 PEG-cDMA SNALP can be used to preferentially target the liver.

     Example 12. Synthesis of Cholesteryl-2’-Hydroxyethyl Ether.

     [0408] Step 1: A 250 ml round bottom flask containing cholesterol (5.0 g, 12.9 mmol) and a stir bar was sealed and
10   flushed with nitrogen. Toluenesulphonyl chloride (5.0 g, 26.2 mmol) was weighed into a separate 100-mL round bottom
     flask, also sealed and flushed with nitrogen. Anhydrous pyridine (2 x 50 ml) was delivered to each flask. The tolue-
     nesulphonyl chloride solution was then transferred, via cannula, into the 250 ml flask, and the reaction stirred overnight.
     The pyridine was removed by rotovap, and methanol (80 ml) added to the residue. This was then stirred for 1 hour until
     a homogeneous suspension was obtained. The suspension was filtered, washed with acetonitrile (50 ml), and dried
15   under vacuum to yield cholesteryl tosylate as a fluffy white solid (6.0 g, 86%).
     [0409] Step 2: Cholesteryl tosylate (2.0 g, 3.7 mmol), 1,4-dioxane (50 mL), and ethylene glycol (4.6 g, 74 mmol) were
     added to a 100 ml flask containing a stir bar. The flask was fitted with a condenser, and refluxed overnight. The dioxane
     was then removed by rotovap, and the reaction mixture suspended in water (100 ml). The solution was transferred to a
     separating funnel and extracted with chloroform (3 x 100 ml). The organic phases were combined, washed with water
20   (2 x 150 ml), dried over magnesium sulphate, and the solvent removed. The crude product was purified by column
     chromatography (5% acetone/hexane) to yield the product as a white solid (1.1 g, 69%).
     [0410] The structures of the cholesterol derivatives cholesteryl-2’-hydroxyethyl ether and cholesteryl-4’-hydroxybutyl
     ether are as follows:

25




30




35




40




45




50


     [0411] It is to be understood that the above description is intended to be illustrative and not restrictive. Many embod-
     iments will be apparent to those of skill in the art upon reading the above description. The scope of the invention should,
     therefore, be determined not with reference to the above description, but should instead be determined with reference
55   to the appended claims.




                                                                 58
                                                                                                             JA001645
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 305 of 1274 PageID #: 8611

                                                          EP 2 279 254 B1

     Claims

     1.   A nucleic acid-lipid particle comprising:

 5            (a) a nucleic acid;
              (b) a cationic lipid comprising from 50 mol % to 65 mol % of the total lipid present in the particle;
              (c) a non-cationic lipid comprising up to 49.5 mol % of the total lipid present in the particle and comprising a
              mixture of a phospholipid and cholesterol or a derivative thereof, wherein the cholesterol or derivative thereof
              comprises from 30 mol % to 40 mol % of the total lipid present in the particle; and
10            (d) a conjugated lipid that inhibits aggregation of particles comprising from 0.5 mol % to 2 mol % of the total
              lipid present in the particle.

     2.   The nucleic acid-lipid particle of claim 1, wherein the nucleic acid comprises a small interfering RNA (siRNA).

15   3.   The nucleic acid-lipid particle of claim 2, wherein:

              (a) the siRNA comprises from about 15 to about 60 nucleotides; or
              (b) the siRNA comprises at least one modified nucleotide; or
              (c) the siRNA comprises at least one 2’-O-methyl (2’OMe) nucleotide; or
20            (d) the siRNA is about 19 to about 25 base pairs in length; or
              (e) the siRNA comprises 3’ overhangs.

     4.   The nucleic acid-lipid particle of claim 1, wherein:

25            (a) the cationic lipid comprises 1,2-dilinoleyloxy-N,N-dimethylaminopropane (DLinDMA), 1,2-dilinolenyloxy-N,N-
              dimethylaminopropane (DLenDMA), or a mixture thereof; or
              (b) the cationic lipid comprises 2,2-dilinoleyl-4-(2-dimethylaminoethyl)-[1,3]-dioxolane (DLin-K-C2-DMA); or
              (c) the cationic lipid comprises from 50 mol % to 60 mol % of the total lipid present in the particle; or
              (d) the cationic lipid comprises from 52 mol % to 62 mol % of the total lipid present in the particle.
30
     5.   The nucleic acid-lipid particle of claim 1, wherein:

              (a) the conjugated lipid that inhibits aggregation of particles comprises a polyethyleneglycol (PEG)-lipid conju-
              gate; or
35            (b) the conjugated lipid that inhibits aggregation of particles comprises from 1 mol % to 2 mol % of the total lipid
              present in the particle.

     6.   The nucleic acid-lipid particle of claim 1, wherein:

40            (a) the nucleic acid in the nucleic acid-lipid particle is not substantially degraded after incubation of the particle
              in serum at 37°C for 30 minutes; or
              (b) the nucleic acid is fully encapsulated in the nucleic acid-lipid particle; or
              (c) the nucleic acid-lipid particle has a lipid:nucleic acid mass ratio of from about 5 to about 15; or
              (d) the nucleic acid-lipid particle has a median diameter of from about 40 nm to about 150 nm.
45
     7.   The nucleic acid-lipid particle of claim 1, wherein:

              (a) the phospholipid comprises dipalmitoylphosphatidylcholine (DPPC), distearoylphosphatidylcholine (DSPC),
              or a mixture thereof; or
50            (b) the phospholipid comprises from 4 mol % to 10 mol % of the total lipid present in the particle..

     8.   The nucleic acid-lipid particle of claim 1, wherein:

              (a) the cholesterol or derivative thereof comprises from 30 mol % to 35 mol % of the total lipid present in the
55            particle; or
              (b) the cholesterol or derivative thereof comprises from 32 mol % to 36 mol % of the total lipid present in the
              particle and the phospholipid comprises from 3 mol % to 15 mol % of the total lipid present in the particle.




                                                                   59
                                                                                                                JA001646
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 306 of 1274 PageID #: 8612

                                                          EP 2 279 254 B1

     9.   The nucleic acid-lipid particle of claim 5(a), wherein the PEG-lipid conjugate comprises a PEG-diacylglycerol (PEG-
          DAG) conjugate, a PEG-dialkyloxypropyl (PEG-DAA) conjugate, or a mixture thereof; optionally wherein the PEG-
          DAA conjugate comprises a PEG-dimyristyloxypropyl (PEG-DMA) conjugate, a PEG-distearyloxypropyl (PEG-DSA)
          conjugate, or a mixture thereof; preferably wherein the PEG in the PEG-DAA conjugate has an average molecular
 5        weight of about 2,000 daltons.

     10. The nucleic acid-lipid particle of claim 5(a), wherein the nucleic acid is an siRNA and the nucleic acid-lipid particle
         comprises about 57.1 mol % cationic lipid, about 7.1 mol % phospholipid, about 34.3 mol % cholesterol or a derivative
         thereof, and about 1.4 mol % PEG-lipid conjugate.
10
     11. A pharmaceutical composition comprising a nucleic acid-lipid particle of any one of the preceding claims and a
         pharmaceutically acceptable carrier.

     12. A method for introducing a nucleic acid into a cell, the method comprising:
15
              contacting the cell in vitro with a nucleic acid-lipid particle of any one of claims 1 to 10, optionally wherein the
              cell is a mammalian cell.

     13. A nucleic acid-lipid particle of any one of claims 1 to 10 for use in a method for the in vivo delivery of a nucleic acid,
20       the method comprising administering said nucleic acid-lipid particle to a mammalian subject.

     14. The nucleic acid-lipid particle for use according to claim 13, wherein the administration is selected from the group
         consisting of oral, intranasal, intravenous, intraperitoneal, intramuscular, intra-articular, intralesional, intratracheal,
         subcutaneous, and intradermal.
25
     15. A nucleic acid-lipid particle of any one of claims 1 to 10 for use in a method for treating a disease or disorder in a
         mammalian subject in need thereof, the method comprising administering a therapeutically effective amount of said
         nucleic acid-lipid particle to the mammalian subject, wherein the disease or disorder is optionally selected from the
         group consisting of a viral infection, a liver disease or disorder, and cancer.
30


     Patentansprüche

     1.   Nukleinsäure-Lipidteilchen, umfassend:
35
              (a) eine Nukleinsäure;
              (b) ein kationisches Lipid, umfassend 50 mol-% bis 65 mol-% des gesamten im Teilchen vorhandenen Lipids;
              (c) ein nicht-kationisches Lipid, umfassend bis zu 49,5 mol-% des gesamten im Teilchen vorhandenen Lipids
              und umfassend ein Gemisch aus einem Phospholipid und Cholesterin oder einem Derivat davon; wobei das
40            Cholesterin oder das Derivat davon 30 mol-% bis 40 mol-% des gesamten im Teilchen vorhandenen Lipids
              umfasst; und
              (d) ein konjugiertes Lipid, das die Aggregation von Teilchen hemmt, die 0,5 mol-% bis 2 mol-% des gesamten
              im Teilchen vorhandenen Lipids umfassen.

45   2.   Nukleinsäure-Lipidteilchen nach Anspruch 1, wobei die Nukleinsäure eine kleine Interferenz-RNA (siRNA) umfasst.

     3.   Nukleinsäure-Lipidteilchen nach Anspruch 2, wobei:

              (a) die siRNA ca. 15 bis ca. 60 Nukleotide umfasst; oder
50            (b) die siRNA mindestens ein modifiziertes Nukleotid umfasst; oder
              (c) die siRNA mindestens ein 2’-O-Methyl (2’OMe)-Nukleotid umfasst; oder
              (d) die siRNA ca. 19 bis 25 Basenpaare lang ist; oder
              (e) die siRNA 3’Überhänge umfasst.

55   4.   Nukleinsäure-Lipidteilchen nach Anspruch 1, wobei:

              (a) das kationische Lipid 1,2-Dilinoleyloxy-N,N-dimethylaminopropan (DLinDMA), 1,2-Dilinolenyloxy-N,N-dime-
              thylaminopropan (DLenDMA) oder ein Gemisch davon umfasst; oder




                                                                   60
                                                                                                                JA001647
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 307 of 1274 PageID #: 8613

                                                        EP 2 279 254 B1

              (b) das kationische Lipid 2,2-Dilinoleyl-4-(2-dimethylaminoethyl)-[1,3]-dioxolan (DLin-K-C2-DMA) umfasst; oder
              (c) das kationische Lipid 50 mol-% bis 60 mol-% des gesamten im Teilchen vorhandenen Lipids umfasst; oder
              (d) das kationische Lipid 52 mol-% bis 62 mol-% des gesamten im Teilchen vorhandenen Lipids umfasst.

 5   5.   Nukleinsäure-Lipidteilchen nach Anspruch 1, wobei:

              (a) das konjugierte Lipid, das eine Aggregation von Teilchen hemmt, ein Polyethylenglycol (PEG)-Lipidkonjugat
              umfasst; oder
              (b) das konjugierte Lipid, das eine Aggregation von Teilchen hemmt, 1 mol-% bis 2 mol-% des gesamten im
10            Teilchen vorhandenen Lipids umfasst.

     6.   Nukleinsäure-Lipidteilchen nach Anspruch 1, wobei:

              (a) die Nukleinsäure im Nukleinsäure-Lipidteilchen nach einer Inkubation des Teilchens in Serum bei 37° C für
15            30 Minuten nicht wesentlich abgebaut wird; oder
              (b) die Nukleinsäure vollständig im Nukleinsäure-Lipidteilchen eingekapselt ist; oder
              (c) das Nukleinsäure-Lipidteilchen ein Lipid:Nukleinsäure-Massenverhältnis von ca. 5 zu ca. 15 hat; oder
              (d) das Nukleinsäure-Lipidteilchen einen mittleren Durchmesser von ca. 40 nm bis ca. 150 nm hat.

20   7.   Nukleinsäure-Lipidteilchen nach Anspruch 1, wobei:

              (a) das Phospholipid Dipalmitoylphosphatidylcholin (DPPC), Distearoylphosphatidylcholin (DSPC) oder ein Ge-
              misch davon umfasst; oder
              (b) das Phospholipid 4 mol-% bis 10 mol-% des gesamten im Teilchen vorhandenen Lipids umfasst.
25
     8.   Nukleinsäure-Lipidteilchen nach Anspruch 1, wobei:

              (a) das Cholesterin oder das Derivat davon 30 mol-% bis 35 mol-% des gesamten im Teilchen vorhandenen
              Lipids umfasst; oder
30            (b) das Cholesterin oder das Derivat davon 32 mol-% bis 36 mol-% des gesamten im Teilchen vorhandenen
              Lipids umfasst und das Phospholipid 3 mol-% bis 15 mol-% des gesamten im Teilchen vorhandenen Lipids
              umfasst.

     9.   Nukleinsäure-Lipidteilchen nach Anspruch 5(a), wobei das PEG-Lipidkonjugat ein PEG-Diacylglycerin (PEG-
35        DAG)-Konjugat, ein PEG-Dialkyloxypropyl (PEG-DAA)-Konjugat oder ein Gemisch davon umfasst; wobei optional
          das PEG-DAA-Konjugat ein PEG-Dimyristyloxypropyl (PEG-DMA)-Konjugat, ein PEG-Distearyloxypropyl (PEG-
          DSA)-Konjugat oder ein Gemisch davon umfasst; wobei vorzugsweise das PEG im PEG-DAA-Konjugat ein durch-
          schnittliches Molekulargewicht von ca. 2.000 Dalton hat.

40   10. Nukleinsäure-Lipidteilchen nach Anspruch 5(a), wobei die Nukleinsäure eine siRNA ist und das Nukleinsäure-Li-
         pidteilchen ca. 57,1 mol-% kationisches Lipid, ca. 7,1 mol-% Phospholipid, ca. 34,3 mol-% Cholesterin oder ein
         Derivat davon und ca. 1,4 mol-% PEG-Lipidkonjugat umfasst.

     11. Pharmazeutische Zusammensetzung, umfassend ein Nukleinsäure-Lipidteilchen nach einem der vorstehenden
45       Ansprüche und eine pharmazeutische verträgliche Trägersubstanz.

     12. Verfahren zur Einführung einer Nukleinsäure in eine Zelle, das Verfahren umfassend:

              Kontaktieren der Zelle in vitro mit einem Nukleinsäure-Lipidteilchen nach einem der Ansprüche 1 bis 10, wobei
50            die Zelle optional eine Säugetierzelle ist.

     13. Nukleinsäure-Lipidteilchen nach einem der Ansprüche 1 bis 10 zur Verwendung in einem Verfahren für die in
         vivo-Verabreichung einer Nukleinsäure, das Verfahren umfassend das Verabreichen des Nukleinsäure-Lipidteil-
         chens an ein Säugetiersubjekt.
55
     14. Nukleinsäure-Lipidteilchen zur Verwendung nach Anspruch 13, wobei die Verabreichung ausgewählt ist aus der
         Gruppe bestehend aus oral, intranasal, intravenös, intraperitoneal, intramuskulär, intraartikulär, intraläsional, intra-
         tracheal, subkutan und intradermal.




                                                                 61
                                                                                                              JA001648
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 308 of 1274 PageID #: 8614

                                                         EP 2 279 254 B1

     15. Nukleinsäure-Lipidteilchen nach einem der Ansprüche 1 bis 10 zur Verwendung in einem Verfahren zur Behandlung
         einer Krankheit oder Störung in einem Säugetiersubjekt, das dieser bedarf, das Verfahren umfassend das Verab-
         reichen einer therapeutisch wirkungsvollen Menge des Nukleinsäure-Lipidteilchens an das Säugetiersubjekt, wobei
         die Krankheit oder Störung optional ausgewählt ist aus der Gruppe bestehend aus einer viralen Infektion, einer
 5       Lebererkrankung oder -störung und einer Krebserkrankung.


     Revendications

10   1.   Particule d’acide nucléique lipide comprenant :

              (a) un acide nucléique ;
              (b) un lipide cationique comprenant de 50 % molaire à 65 % molaire du lipide total présent dans la particule ;
              (c) un lipide non cationique comprenant jusqu’à 49,5 % molaire du lipide total présent dans la particule et
15            comprenant un mélange d’un phospholipide et d’un cholestérol ou d’un dérivé de celui-ci, le cholestérol ou le
              dérivé de celui-ci comprenant de 30 % molaire à 40 % molaire du lipide total présent dans la particule ; et
              (d) un lipide conjugué qui inhibe l’agrégation de particules comprenant de 0,5 % molaire à 2 % molaire du lipide
              total présent dans la particule.

20   2.   Particule d’acide nucléique lipide selon la revendication 1, dans laquelle l’acide nucléique comprend un petit ARN
          interférent (ARNsi).

     3.   Particule d’acide nucléique lipide selon la revendication 2, dans laquelle :

25            (a) l’ARNsi comprend d’environ 15 à environ 60 nucléotides ; ou
              (b) l’ARNsi comprend au moins un nucléotide modifié ; ou
              (c) l’ARNsi comprend au moins un nucléotide 2’-O-méthyle (2’OMe) ; ou
              (d) l’ARNsi représente environ 19 à environ 25 paires de base en longueur ; ou
              (e) l’ARNsi comprend 3’ saillies.
30
     4.   Particule d’acide nucléique lipide selon la revendication 1, dans laquelle :

              (a) le lipide cationique comprend 1,2-dilinoleyloxy-N,N-diméthylaminopropane (DLinDMA), 1,2-dilinolényloxy-
              N,N-diméthylaminopropane (DLenDMA) ou un mélange de celui-ci ; ou
35            (b) le lipide cationique comprend 2,2-dilinoleyl-4-(2-diméthylaminoéthyl)-[1,3]-dioxolane (DLin-K-C2-DMA) ; ou
              (c) le lipide cationique comprend de 50 % molaire à 60 % molaire du lipide total présent dans la particule ; ou
              (d) le lipide cationique comprend de 52 % molaire à 62 % molaire du lipide total présent dans la particule.

     5.   Particule d’acide nucléique lipide selon la revendication 1, dans laquelle :
40
              (a) le lipide conjugué qui inhibe l’agrégation de particules comprend un conjugué PEG
              (polyéthylèneglycol)-lipides ; ou
              (b) le lipide conjugué qui inhibe l’agrégation de particules comprend de 1 % molaire à 2 % molaire du lipide
              total présent dans la particule.
45
     6.   Particule d’acide nucléique lipide selon la revendication 1, dans laquelle :

              (a) l’acide nucléique dans la particule d’acide nucléique lipide n’est pas sensiblement dégradé après incubation
              de la particule dans du sérum à 37 °C pendant 30 minutes ; ou
50            (b) l’acide nucléique est complètement encapsulé dans la particule d’acide nucléique lipide ; ou
              (c) la particule d’acide nucléique lipide a un rapport massique lipide/acide nucléique d’environ 5 à environ 15 ; ou
              (d) la particule d’acide nucléique lipide présente un diamètre moyen d’environ 40 nm à environ 150 nm.

     7.   Particule d’acide nucléique lipide selon la revendication 1, dans laquelle :
55
              (a) le phospholipide comprend la dipalmitoylphosphatidylcholine (DPPC), la distéaroylphosphatidylcholine (DS-
              PC) ou un mélange de celle-ci ; ou
              (b) le phospholipide comprend de 4 % molaire à 10 % molaire du lipide total présent dans la particule.




                                                                  62
                                                                                                               JA001649
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 309 of 1274 PageID #: 8615

                                                        EP 2 279 254 B1

     8.   Particule d’acide nucléique lipide selon la revendication 1, dans laquelle :

              (a) le cholestérol ou le dérivé de celui-ci comprend de 30 % molaire à 35 % molaire du lipide total présent dans
              la particule ; ou
 5            (b) le cholestérol ou le dérivé de celui-ci comprend de 32 % molaire à 36 % molaire du lipide total présent dans
              la particule et le phospholipide comprend de 3 % molaire à 15 % molaire du lipide total présent dans la particule.

     9.   Particule d’acide nucléique lipide selon la revendication 5(a), dans laquelle le conjugué PEG-lipides comprend un
          conjugué PEG-diacylglycérol (PEG-DAG), un conjugué PEG-dialkyloxypropyle (PEG-DAA), ou un mélange de celui-
10        ci ; le conjugué PEG-DAA comprenant éventuellement un PEG-dimyristyloxypropyle (PEG-DMA), un conjugué
          PEG-distéaryloxypropyle (PEG-DSA), ou un mélange de celui-ci ; le PEG dans le conjugué PEG-DAA ayant de
          préférence un poids moléculaire moyen d’environ 2000 dalton.

     10. Particule d’acide nucléique lipide selon la revendication 5(a), dans laquelle l’acide nucléique est un ARNsi et la
15       particule d’acide nucléique lipide comprend environ 57,1 % molaire de lipide cationique, environ 7,1 % molaire de
         phospholipide, environ 34,3 % molaire de cholestérol ou d’un dérivé de celui-ci et environ 1,4 % molaire de conjugué
         PEG-lipides.

     11. Composition pharmaceutique comprenant une particule d’acide nucléique lipide selon l’une quelconque des reven-
20       dications précédentes et un support pharmaceutiquement acceptable.

     12. Méthode destinée à l’introduction d’un acide nucléique dans une cellule, la méthode comprenant : la mise en contact
         de la cellule in vitro avec une particule d’acide nucléique lipide selon l’une quelconque des revendications 1 à 10,
         la cellule étant éventuellement une cellule de mammifère.
25
     13. Particule d’acide nucléique lipide selon l’une quelconque des revendications 1 à 10 en vue d’une utilisation dans
         une méthode destinée à l’administration in vivo d’un acide nucléique, la méthode comprenant l’administration de
         ladite particule d’acide nucléique lipide à un sujet mammifère.

30   14. Particule d’acide nucléique lipide en vue d’une utilisation selon la revendication 13, dans laquelle l’administration
         est choisie dans le groupe constitué par une administration orale, intranasale, intraveineuse, intrapéritonéale, in-
         tramusculaire, intra-articulaire, intralésionnelle, intratrachéale, sous-cutanée et intradermique.

     15. Particule d’acide nucléique lipide selon l’une quelconque des revendications 1 à 10 en vue d’une utilisation dans
35       une méthode de traitement d’une maladie ou d’un trouble chez un sujet mammifère ayant besoin de ce traitement,
         la méthode comprenant l’administration d’une quantité thérapeutiquement efficace de ladite particule d’acide nu-
         cléique lipide au sujet mammifère, la maladie ou le trouble étant éventuellement choisi dans le groupe constitué
         par une infection virale, une maladie ou un trouble hépatique et le cancer.

40




45




50




55




                                                                 63
                                                                                                             JA001650
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 310 of 1274 PageID #: 8616

                                    EP 2 279 254 B1




                                          64
                                                                     JA001651
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 311 of 1274 PageID #: 8617

                                    EP 2 279 254 B1




                                          65
                                                                     JA001652
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 312 of 1274 PageID #: 8618

                                    EP 2 279 254 B1




                                          66
                                                                     JA001653
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 313 of 1274 PageID #: 8619

                                    EP 2 279 254 B1




                                          67
                                                                     JA001654
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 314 of 1274 PageID #: 8620

                                    EP 2 279 254 B1




                                          68
                                                                     JA001655
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 315 of 1274 PageID #: 8621

                                    EP 2 279 254 B1




                                          69
                                                                     JA001656
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 316 of 1274 PageID #: 8622

                                    EP 2 279 254 B1




                                          70
                                                                     JA001657
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 317 of 1274 PageID #: 8623

                                    EP 2 279 254 B1




                                          71
                                                                     JA001658
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 318 of 1274 PageID #: 8624

                                    EP 2 279 254 B1




                                          72
                                                                     JA001659
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 319 of 1274 PageID #: 8625

                                    EP 2 279 254 B1




                                          73
                                                                     JA001660
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 320 of 1274 PageID #: 8626

                                    EP 2 279 254 B1




                                          74
                                                                     JA001661
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 321 of 1274 PageID #: 8627

                                    EP 2 279 254 B1




                                          75
                                                                     JA001662
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 322 of 1274 PageID #: 8628

                                    EP 2 279 254 B1




                                          76
                                                                     JA001663
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 323 of 1274 PageID #: 8629

                                    EP 2 279 254 B1




                                          77
                                                                     JA001664
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 324 of 1274 PageID #: 8630

                                    EP 2 279 254 B1




                                          78
                                                                     JA001665
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 325 of 1274 PageID #: 8631

                                    EP 2 279 254 B1




                                          79
                                                                     JA001666
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 326 of 1274 PageID #: 8632

                                    EP 2 279 254 B1




                                          80
                                                                     JA001667
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 327 of 1274 PageID #: 8633

                                    EP 2 279 254 B1




                                          81
                                                                     JA001668
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 328 of 1274 PageID #: 8634

                                    EP 2 279 254 B1




                                          82
                                                                     JA001669
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 329 of 1274 PageID #: 8635

                                    EP 2 279 254 B1




                                          83
                                                                     JA001670
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 330 of 1274 PageID #: 8636

                                    EP 2 279 254 B1




                                          84
                                                                     JA001671
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 331 of 1274 PageID #: 8637

                                    EP 2 279 254 B1




                                          85
                                                                     JA001672
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 332 of 1274 PageID #: 8638

                                    EP 2 279 254 B1




                                          86
                                                                     JA001673
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 333 of 1274 PageID #: 8639

                                    EP 2 279 254 B1




                                          87
                                                                     JA001674
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 334 of 1274 PageID #: 8640

                                                        EP 2 279 254 B1

     REFERENCES CITED IN THE DESCRIPTION

     This list of references cited by the applicant is for the reader’s convenience only. It does not form part of the European
     patent document. Even though great care has been taken in compiling the references, errors or omissions cannot be
     excluded and the EPO disclaims all liability in this regard.


     Patent documents cited in the description

     •   US 6458382 B [0004]                                         •   US 20040110296 A [0175]
     •   US 20030073640 A [0004]                                     •   US 20040249178 A [0175]
     •   US 6429200 B [0006]                                         •   US 6753423 B [0175]
     •   US 20030026831 A [0006]                                     •   US 20050119470 A [0175]
     •   US 20020081736 A [0006]                                     •   US 20050107325 A [0175]
     •   US 20030082103 A [0006]                                     •   US 20050153337 A [0175]
     •   US 2005064595 A [0010]                                      •   US 20040167090 A [0175]
     •   US 2006008910 A [0011]                                      •   US 20050239739 A [0175]
     •   WO 2006053430 A [0012]                                      •   US 6713069 B [0178]
     •   WO 2007056861 A [0012]                                      •   US 20070135370 A [0178]
     •   WO 2005035764 A [0013]                                      •   US 20070218122 A [0179]
     •   WO 2006002538 A [0014]                                      •   US 20060281175 A [0180]
     •   WO 0003683 A [0055]                                         •   US 20050058982 A [0180]
     •   US 20040142025 A [0056] [0271]                              •   US 20070149470 A [0180]
     •   US 20070042031 A [0056] [0276]                              •   US 7348314 B [0180]
     •   US 5885613 A [0058] [0242]                                  •   US 61162127 A [0180]
     •   US 20060083780 A [0064] [0223]                              •   US 20060134189 A [0181]
     •   US 20060240554 A [0064] [0096] [0223]                       •   US 61147235 A [0181]
     •   US 5208036 A [0064] [0223]                                  •   US 80787207 A [0182] [0183]
     •   US 5264618 A [0064] [0223]                                  •   US 20050107316 A [0182]
     •   US 5279833 A [0064] [0223]                                  •   US 20070265438 A [0182]
     •   US 5283185 A [0064] [0223]                                  •   US 34334208 A [0182]
     •   US 5753613 A [0064] [0221] [0223]                           •   US 61045251 A [0182]
     •   US 5785992 A [0064] [0221] [0223]                           •   GB 2396864 A [0185]
     •   WO 9610390 A [0064] [0223]                                  •   US 20040142895 A [0185]
     •   US 61104212 A [0096]                                        •   CA 2456444 [0185]
     •   US 0888676 W [0096] [0117] [0211]                           •   US 6174861 B [0186]
     •   US 7404969 B [0117]                                         •   US 5639725 A [0186]
     •   US 4376110 A, David [0161]                                  •   US 5739119 A [0202]
     •   US 4452901 A, Gordon [0161]                                 •   US 5759829 A [0202]
     •   US 3817827 A [0161]                                         •   US 5801154 A [0202]
     •   US 3850752 A [0161]                                         •   US 5789573 A [0202]
     •   US 3901654 A [0161]                                         •   US 5718709 A [0202]
     •   US 3935074 A [0161]                                         •   US 5610288 A [0202]
     •   US 3984533 A [0161]                                         •   US 5747470 A [0202]
     •   US 3996345 A [0161]                                         •   US 5591317 A [0202]
     •   US 4034074 A [0161]                                         •   US 5783683 A [0202]
     •   US 4098876 A [0161]                                         •   EP 0360257 A [0206]
     •   US 4683195 A [0167]                                         •   US 5631359 A [0206]
     •   US 4683202 A [0167] [0319]                                  •   US 4987071 A [0206]
     •   US 5998203 A [0172]                                         •   WO 9323569 A [0207]
     •   GB 2397818 B [0173]                                         •   WO 9402595 A [0207]
     •   US 20040192626 A [0173]                                     •   WO 9207065 A [0208]
     •   US 20050282188 A [0173]                                     •   WO 9315187 A [0208]
     •   US 20070135372 A [0173]                                     •   WO 9103162 A [0208]
     •   US 20050074771 A [0175]                                     •   WO 9413688 A [0208]
     •   US 20050043219 A [0175]                                     •   EP 92110298 A [0208]
     •   US 20050158727 A [0175]                                     •   US 5334711 A [0208]
     •   US 20030130186 A [0175]                                     •   WO 9611266 A [0209]




                                                                88
                                                                                                            JA001675
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 335 of 1274 PageID #: 8641

                                                      EP 2 279 254 B1

     •   WO 02069369 A [0211]                                      •   US 20020072121 A [0285]
     •   WO 0115726 A [0211]                                       •   WO 05007196 A [0295]
     •   US 6406705 B [0211]                                       •   WO 05121348 A [0295]
     •   US 5705385 A [0221] [0285]                                •   WO 05120152 A [0295]
     •   US 5976567 A [0221]                                       •   WO 04002453 A [0295]
     •   US 5981501 A [0221] [0285]                                •   US 5286634 A [0296]
     •   US 6110745 A [0221]                                       •   US 3993754 A [0296]
     •   US 6320017 B [0221] [0248] [0264]                         •   US 4145410 A [0296]
     •   WO 9640964 A [0221]                                       •   US 4235871 A [0296]
     •   WO 05026372 A [0242]                                      •   US 4224179 A [0296]
     •   US 20030077829 A [0242] [0311]                            •   US 4522803 A [0296]
     •   US 2005008689 A [0242]                                    •   US 4588578 A [0296]
     •   US 6774180 B [0243]                                       •   US 5756353 A [0298]
     •   US 7053150 B [0243]                                       •   US 5804212 A [0298]
     •   US 6586559 B [0248] [0264]                                •   US 5725871 A [0298]
     •   US 6852334 B [0258] [0285]                                •   US 5780045 A [0298]
     •   WO 0062813 A [0258] [0285]                                •   US 5641515 A [0301]
     •   US 4737323 A [0279]                                       •   US 5580579 A [0301]
     •   US 744103 A [0281]                                        •   US 5792451 A [0301]
     •   US 6586410 B [0285]                                       •   US 5426039 A [0319]
     •   US 6534484 B [0285]


     Non-patent literature cited in the description

     •   ELBASHIR et al. Genes Dev., 2001, vol. 15, 188-200        •   KAWASAKI et al. Nucleic Acids Res., 2003, vol. 31,
         [0001]                                                        981-987 [0036]
     •   HAMMOND et al. Nat. Rev. Genet., 2001, vol. 2,            •   KNIGHT et al. Science, 2001, vol. 293, 2269-2271
         110-119 [0001]                                                [0036]
     •   WORGALL et al. Human Gene Therapy, 1997, vol.             •   ROBERTSON et al. J. Biol. Chem., 1968, vol. 243,
         8, 37 [0003]                                                  82 [0036]
     •   PEETERS et al. Human Gene Therapy, 1996, vol. 7,          •   TIJSSEN. Overview of principles of hybridization and
         1693 [0003]                                                   the strategy of nucleic acid assays. Techniques in
     •   YEI et al. Gene Therapy, 1994, vol. 1, 192 [0003]             Biochemistry and Molecular Biology--Hybridization
     •   HOPE et al. Molecular Membrane Biology, 1998, vol.            with Nucleic Probes, 1993 [0042]
         15, 1 [0003]                                              •   INNIS et al. PCR Protocols, A Guide to Methods and
     •   FEIGNER. Scientific American, 1997, vol. 276, 102             Applications. Academic Press, Inc, 1990 [0043]
         [0004]                                                    •   SMITH ; WATERMAN. Adv. Appl. Math., 1981, vol.
     •   CHONN et al. Current Opinion in Biotechnology,                2, 482 [0047]
         1995, vol. 6, 698 [0004]                                  •   NEEDLEMAN ; WUNSCH. J. Mol. Biol., 1970, vol.
     •   HARRISON et al. Biotechniques, 1995, vol. 19, 816             48, 443 [0047]
         [0005]                                                    •   PEARSON ; LIPMAN. Proc. Natl. Acad. Sci. USA,
     •   LI et al. The Gene, 1997, vol. 4, 891 [0005]                  1988, vol. 85, 2444 [0047]
     •   TAM et al. Gene Ther., 2000, vol. 7, 1867 [0005]          •   Current Protocols in Molecular Biology. 1995 [0047]
     •   HUANG et al. Nature Biotechnology, 1997, vol. 15,         •   ALTSCHUL et al. Nuc. Acids Res., 1977, vol. 25,
         620 [0005]                                                    3389-3402 [0048]
     •   TEMPLETON et al. Nature Biotechnology, 1997, vol.         •   ALTSCHUL et al. J. Mol. Biol, 1990, vol. 215,
         15, 647 [0005]                                                403-410 [0048]
     •   HOFLAND et al. Pharmaceutical Research, 1997,             •   KARLIN ; ALTSCHUL. Proc. Natl. Acad. Sci. USA,
         vol. 14, 742 [0005]                                           1993, vol. 90, 5873-5787 [0049]
     •   WHEELER et al. Gene Therapy, 1999, vol. 6, 271            •   BATZER et al. Nucleic Acid Res., 1991, vol. 19, 5081
         [0008]                                                        [0050]
     •   YANG et al. Proc. Natl. Acad. Sci. USA, 2002, vol.        •   OHTSUKA et al. J. Biol. Chem., 1985, vol. 260,
         99, 9942-9947 [0036]                                          2605-2608 [0050]
     •   CALEGARI et al. Proc. Natl. Acad. Sci. USA, 2002,         •   ROSSOLINI et al. Mol. Cell. Probes, 1994, vol. 8,
         vol. 99, 14236 [0036]                                         91-98 [0050]
     •   BYROM et al. Ambion TechNotes, 2003, vol. 10 (1),         •   ELBASHIR et al. Genes Dev., 2001, vol. 15, 188
         4-6 [0036]                                                    [0150] [0164]




                                                              89
                                                                                                         JA001676
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 336 of 1274 PageID #: 8642

                                                     EP 2 279 254 B1

     •   NYKÄNEN et al. Cell, 2001, vol. 107, 309 [0150]            •   Nucleic Acid Analogues: Synthesis and Properties.
         [0164]                                                         HUNZIKER et al. Modern Synthetic Methods. VCH,
     •   ELBASHIR et al. Nature, 2001, vol. 411, 494-498                1995, 331-417 [0172]
         [0155]                                                     •   Novel Backbone Replacements for Oligonucleotides.
     •   ELBASHIR et al. EMBO J., 2001, vol. 20, 6877-6888              MESMAEKER et al. Carbohydrate Modifications in
         [0155] [0156]                                                  Antisense Research. ACS, 1994, 24-39 [0172]
     •   REYNOLDS et al. Nature Biotech., 2004, vol. 22 (3),        •   GEISBERT et al. J. Infect. Dis., 2006, vol. 193,
         326-330 [0155]                                                 1650-1657 [0177]
     •   KHVOROVA et al. Cell, 2003, vol. 115, 209-216              •   Arenaviridae: the viruses and their replication.
         [0159]                                                         BUCHMEIER et al. FIELDS VIROLOGY. Lippin-
     •   SCHWARZ et al. Cell, 2003, vol. 115, 199-208 [0159]            cott-Raven, 2001 [0177]
     •   LUO et al. Biophys. Res. Commun., 2004, vol. 318,          •   STEINHAUER et al. Annu Rev Genet., 2002, vol. 36,
         303-310 [0159]                                                 305-332 [0177]
     •   Radioimmunoassay Methods. 1970 [0161]                      •   NEUMANN et al. J Gen Virol., 2002, vol. 83,
     •   BROWN et al. J. Biol. Chem., 1980, vol. 255,                   2635-2662 [0177]
         4980-4983 [0161]                                           •   HAMASAKI et al. FEBS Lett., 2003, vol. 543, 51
     •   RAINES et al. J. Biol. Chem., 1982, vol. 257,                  [0177]
         5154-5160 [0161]                                           •   YOKOTA et al. EMBO Rep., 2003, vol. 4, 602 [0177]
     •   BROOKS et al. Clin. Exp. Immunol., 1980, vol. 39,          •   SCHLOMAI et al. Hepatology, 2003, vol. 37, 764
         477 [0161]                                                     [0177]
     •   BOWEN-POPE et al. Proc. Natl. Acad. Sci. USA,              •   WILSON et al. Proc. Natl. Acad. Sci. USA, 2003, vol.
         1984, vol. 81, 2396-2400 [0161]                                100, 2783 [0177]
     •   JUDGE et al. Mol. Ther., 2006, vol. 13, 494-505            •   KAPADIA et al. Proc. Natl. Acad. Sci. USA, 2003,
         [0162]                                                         vol. 100, 2014 [0177]
     •   KOHLER et al. Nature, 1975, vol. 256, 495-497              •   FIELDS VIROLOGY. Lippincott-Raven, 2001 [0177]
         [0163]                                                     •   BANERJEA et al. Mol. Ther., 2003, vol. 8, 62 [0177]
     •   HARLOW ; LANE. ANTIBODIES, A LABORATORY                    •   SONG et al. J. Virol., 2003, vol. 77, 7174 [0177]
         MANUAL. Cold Spring Harbor Publication, 1999               •   STEPHENSON. JAMA, 2003, vol. 289, 1494 [0177]
         [0163]                                                     •   QIN et al. Proc. Natl. Acad. Sci. USA, 2003, vol. 100,
     •   BUHRING et al. Hybridoma, 1991, vol. 10 (1), 77-78             183 [0177]
         [0163]                                                     •   JIA et al. J. Virol., 2003, vol. 77, 3301 [0177]
     •   GUBLER ; HOFFMAN. Gene, 1983, vol. 25, 263-269             •   HALL et al. J. Virol., 2003, vol. 77, 6066 [0177]
         [0167]                                                     •   JIANG et al. Oncogene, 2002, vol. 21, 6041 [0177]
     •   PCR Protocols: A Guide to Methods and Applica-             •   SANCHEZ et al. Virus Res., 1993, vol. 29, 215-240
         tions. 1990 [0167]                                             [0178]
     •   SAMBROOK et al. Molecular Cloning, A Laboratory            •   WILL et al. J. Virol., 1993, vol. 67, 1203-1210 [0178]
         Manual. 1989 [0167]                                        •   VOLCHKOV et al. FEBS Lett., 1992, vol. 305,
     •   KRIEGLER. Gene Transfer and Expression: A Lab-                 181-184 [0178]
         oratory Manual. 1990 [0167]                                •   FORMAN et al. Cell, 1995, vol. 81, 687 [0181]
     •   Current Protocols in Molecular Biology. 1994 [0167]        •   SEOL et al. Mol. Endocrinol., 1995, vol. 9, 72 [0181]
     •   USMAN et al. J. Am. Chem. Soc., 1987, vol. 109,            •   ZAVACKI et al. Proc. Natl. Acad. Sci. USA, 1997,
         7845 [0168]                                                    vol. 94, 7909 [0181]
     •   SCARINGE et al. Nucl. Acids Res., 1990, vol. 18,           •   SAKAI et al. Cell, 1996, vol. 85, 1037-1046 [0181]
         5433 [0168]                                                •   DUNCAN et al. J. Biol. Chem., 1997, vol. 272,
     •   WINCOTT et al. Nucl. Acids Res., 1995, vol. 23,                12778-12785 [0181]
         2677-2684 [0168]                                           •   WILLY et al. Genes Dev., 1995, vol. 9, 1033-1045
     •   WINCOTT et al. Methods Mol. Bio., 1997, vol. 74, 59            [0181]
         [0168]                                                     •   LEHMANN et al. J. Biol. Chem., 1997, vol. 272,
     •   SAENGER. Principles of Nucleic Acid Structure.                 3137-3140 [0181]
         Springer-Verlag, 1984 [0171]                               •   JANOWSKI et al. Nature, 1996, vol. 383, 728-731
     •   LIN et al. J. Am. Chem. Soc., 1998, vol. 120,                  [0181]
         8531-8532 [0171]                                           •   PEET et al. Cell, 1998, vol. 93, 693-704 [0181]
     •   LOAKES. Nucl. Acids Res., 2001, vol. 29, 2437-2447         •   BARR et al. Nat. Rev. Mol. Cell Biol., 2004, vol. 5,
         [0171]                                                         429-440 [0182] [0383]
     •   BEAUCAGE et al. Tetrahedron, 1993, vol. 49, 1925           •   WILDA et al. Oncogene, 2002, vol. 21, 5716 [0183]
         [0172]                                                     •   SCHERR et al. Blood, 2003, vol. 101, 1566 [0183]
                                                                    •   HEIDENREICH et al. Blood, 2003, vol. 101, 3157
                                                                        [0183]




                                                               90
                                                                                                           JA001677
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 337 of 1274 PageID #: 8643

                                                       EP 2 279 254 B1

     •   NIETH et al. FEBS Lett., 2003, vol. 545, 144 [0183]          •   PERROTTA et al. Biochemistry, 1992, vol. 31,
     •   WU et al. Cancer Res., 2003, vol. 63, 1515 [0183]                11843-52 [0206]
     •   LI et al. Cancer Res., 2003, vol. 63, 3593 [0183]            •   GUERRIER-TAKADA et al. Cell, 1983, vol. 35,
     •   ZOU et al. Genes Dev., 2002, vol. 16, 2923 [0183]                849-57 [0206]
     •   VERMA et al. Clin Cancer Res., 2003, vol. 9, 1291            •   SAVILLE et al. Cell, 1990, vol. 61, 685-96 [0206]
         [0183]                                                       •   SAVILLE et al. Proc. Natl. Acad. Sci. USA, 1991, vol.
     •   KOSCIOLEK et al. Mol Cancer Ther., 2003, vol. 2,                 88, 8826-30 [0206]
         209 [0183]                                                   •   COLLINS et al. Biochemistry, 1993, vol. 32, 2795-9
     •   NAGY et al. Exp. Cell Res., 2003, vol. 285, 39-49                [0206]
         [0183]                                                       •   YAMAMOTO et al. J. Immunol, 1992, vol. 148,
     •   TUSCHL ; BORKHARDT. Mol. Interventions, 2002,                    4072-6 [0209]
         vol. 2, 158 [0183]                                           •   RANEY et al. J. Pharm. Exper. Ther., 2001, vol. 298,
     •   COLLIS et al. Cancer Res., 2003, vol. 63, 1550                   1185-92 [0211]
         [0184]                                                       •   MARCH. ADVANCED ORGANIC CHEMISTRY. Wi-
     •   REICH et al. Mol. Vis., 2003, vol. 9, 210 [0185]                 ley, 1992 [0255]
     •   DECAUSSIN et al. J. Pathol., 1999, vol. 188, 369-377         •   LAROCK. COMPREHENSIVE ORGANIC TRANS-
         [0186]                                                           FORMATIONS. VCH, 1989 [0255]
     •   HILL et al. J. Immunol, 2003, vol. 171, 691 [0187]           •   FURNISS. VOGEL’S TEXTBOOK OF PRACTICAL
     •   SONG et al. Nat. Med., 2003, vol. 9, 347 [0187]                  ORGANIC CHEMISTRY. Longman, 1989 [0255]
     •   HEINONEN et al. FEBS Lett., 2002, vol. 527, 274              •   GREEN ; WUTS. PROTECTIVE GROUPS IN OR-
         [0187]                                                           GANIC SYNTHESIS. Wiley, 1991 [0255]
     •   CAPLEN et al. Hum. Mol. Genet., 2002, vol. 11, 175           •   CHEN et al. Bioconj. Chem., 2000, vol. 11, 433-437
         [0188]                                                           [0258]
     •   SUN et al. Nat. Biotech., 2008, vol. 26, 1379-1382           •   REMINGTON’S PHARMACEUTICAL SCIENCES.
         [0190]                                                           Mack Publishing Company, 1985 [0291] [0300]
     •   LAGOS-QUINTANA et al. Science, vol. 294,                     •   STRAUBRINGER et al. Methods Enzymol, 1983,
         853-858 [0194]                                                   vol. 101, 512 [0296]
     •   LAU et al. Science, vol. 294, 858-862 [0194]                 •   MANNINO et al. Biotechniques, 1988, vol. 6, 682
     •   LEE et al. Science, vol. 294, 862-864 [0194]                     [0296]
     •   DENLI et al. Nature, 2004, vol. 432, 231-235 [0195]          •   NICOLAU et al. Crit. Rev. Ther. Drug Carrier Syst.,
     •   BERNSTEIN et al. Nature, 2001, vol. 409, 363-366                 1989, vol. 6, 239 [0296]
         [0195]                                                       •   BEHR. Acc. Chem. Res., 1993, vol. 26, 274 [0296]
     •   PREALL et al. Curr. Biol., 2006, vol. 16, 530-535            •   CULVER. HUMAN GENE THERAPY. MaryAnn Lie-
         [0196]                                                           bert, Inc, 1994, 70-71 [0296]
     •   GREGORY et al. Cell, 2005, vol. 123, 631-640 [0196]          •   BRIGHAM et al. Am. J. Sci., 1989, vol. 298, 278
     •   JASKULSKI et al. Science, 1988, vol. 240, 1544-6                 [0297]
         [0202]                                                       •   Nucleic Acid Hybridization, A Practical Approach. IRL
     •   VASANTHAKUMAR et al. Cancer Commun., 1989,                       Press, 1985 [0318]
         vol. 1, 225-32 [0202]                                        •   SAMBROOK et al. Molecular Cloning: A Laboratory
     •   PERIS et al. Brain Res Mol Brain Res., 1998, vol. 15             Manual. Cold Spring Harbor Laboratory Press, 2000
         (57), 310-20 [0202]                                              [0319]
     •   ALTSCHUL et al. Nucleic Acids Res, 1997, vol. 25,            •   AUSUBEL et al. SHORT PROTOCOLS IN MOLEC-
         3389-402 [0203]                                                  ULAR BIOLOGY. Current Protocols, 2002 [0319]
     •   KIM et al. Proc. Natl. Acad. Sci. USA, 1987, vol. 84,        •   PCR Protocols, A Guide to Methods and Applica-
         8788-92 [0204]                                                   tions. Academic Press Inc, 1990 [0319]
     •   FORSTER et al. Cell, 1987, vol. 49, 211-20 [0204]            •   ARNHEIM ; LEVINSON. C&EN, 01 October 1990,
     •   CECH et al. Cell, 1981, vol. 27, 487-96 [0204]                   36 [0319]
     •   MICHEL et al. J. Mol. Biol, 1990, vol. 216, 585-610          •   The Journal Of NIH Research, 1991, vol. 3, 81 [0319]
         [0204]                                                       •   KWOH et al. Proc. Natl. Acad. Sci. USA, 1989, vol.
     •   REINHOLD-HUREK et al. Nature, 1992, vol. 357,                    86, 1173 [0319]
         173-6 [0204]                                                 •   GUATELLI et al. Proc. Natl. Acad. Sci. USA, 1990,
     •   ROSSI et al. Nucleic Acids Res, 1992, vol. 20,                   vol. 87, 1874 [0319]
         4559-65 [0206]                                               •   LOMELL et al. J. Clin. Chem, 1989, vol. 35, 1826
     •   HAMPEL et al. Biochemistry, 1989, vol. 28, 4929-33               [0319]
         [0206]                                                       •   LANDEGREN et al. Science, 1988, vol. 241, 1077
     •   HAMPEL et al. Nucleic Acids Res, 1990, vol. 18,                  [0319]
         299-304 [0206]                                               •   VAN BRUNT. Biotechnology, 1990, vol. 8, 291
                                                                          [0319]




                                                                 91
                                                                                                            JA001678
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 338 of 1274 PageID #: 8644

                                                    EP 2 279 254 B1

     •   WU ; WALLACE. Gene, 1989, vol. 4, 560 [0319]              •   PEARSON et al. J. Chrom., 1983, vol. 255, 137-149
     •   BARRINGER et al. Gene, 1990, vol. 89, 117 [0319]              [0320]
     •   SOOKNANAN ; MALEK. Biotechnology, 1995, vol.              •   MAXAM ; GILBERT. Methods in Enzymology. Aca-
         13, 563 [0319]                                                demic Press, 1980, vol. 65, 499 [0320]
     •   BEAUCAGE et al. Tetrahedron Letts., 1981, vol. 22,        •   ANGERER et al. Methods Enzymol., 1987, vol. 152,
         1859-1862 [0320]                                              649 [0321]
     •   NEEDHAM VANDEVANTER et al. Nucleic Acids                  •   HEYES et al. Journal of Controlled Release, 2005,
         Res, 1984, vol. 12, 6159 [0320]                               vol. 107, 276-287 [0326] [0330] [0334] [0340] [0344]




                                                              92
                                                                                                         JA001679
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 339 of 1274 PageID #: 8645




                   JOINT APPENDIX 55
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 340 of 1274 PageID #: 8646

                                                                                                                                             PTO/SB/05 (08-08)



                           UTILITY                                                  Attorney Docket No.              020801-00771 ous

                      PATENT APPLICATION                                            First Inventor                   Maclachlan, Ian
                                                                                                                     NOVEL LIPID FORMULATIONS FOR
                         TRANSMITTAL                                                 Title                           NUCLEIC ACID DELIVERY

           (Only for new nonprovisional applications under 37 CFR 1.53(b))           EFS Web Filing Date:            April 15, 2009
                                                                                                                     Commissioner for Patents
                          APPLICATION ELEMENTS                                       ADDRESS TO:                     P.O. Box 1450
        See MPEP chapter 600 concerning utility patent application contents.                                         Alexandria, VA22313-1450

  1. D Fee Transmittal Form (e.g., PTO/SB/17)                                                    ACCOMPANYING APPLICATION PARTS
  2. D Applicant claims small entity status.                                          9.   D Assignment Papers (cover sheet & document(s))
              See 37 CFR 1.27.
  3.   ISi Specification                     [Total Pages 119                  l                 Name of Assignee
              Both the claims and abstract must start on a new page
              (For information on the preferred arrangement, see MPEP 608.0t(a))
  4.   ISi Drawing(s) (35 U.S.C.113)                 [Total Sheets_2_2_J

  5. Oath or Declaration (unsigned)      [Total Sheets _2_]                          10.     D 37 CFR 3.73(b) Statement               D Power of
     a.    D
           Newly executed (original or copy)                                                      (when there is an assignee)              Attorney
        b. D A copy from a prior application (37 CFR 1.63 (d))
               (for a continuation/divisional with Box 18 completed)
                                                                                      11.    0 English Translation Document (if applicable)
           i. 0 DELETION OF INVENTOR(S)
                       Signed statement attached deleting inventor(s)
                                                                                      12.    •   Information Disclosure Statement (PTO/SB/08 or PT0-1449)
                                                                                                     D Copies of citations attached
                       named in the prior application, see 37 CFR
                       1.63(d)(2) and 1.33(b).

  6.ISI Application Data Sheet. See 37 CFR 1.76                                       13.    •   Preliminary Amendment

  1.   •      CD-ROM or CD-R in duplicate, large table or
              Computer Program (Appendix)
                                                                                      14.    •   Return Receipt Postcard (MPEP 503)
                                                                                                  (Should be specifically itemized)
              D Landscape Table on CD
  8.     Nucleotide and/or Amino Acid Sequence Submission
                                                                                      15.    •   Certified Copy of Priority Document(s)
                                                                                                  (if foreign priority is claimed)
          (if applicable, items a. - c. are required)
         a.
         b.
              D    Computer Readable Form (CRF)
                   Specification Sequence Listing on:
                                                                                      16.    •   Nonpublication Request under 35 U.S.C. 122 (b)(2)(B)(i).
                                                                                                  Applicant must attach fonm PTO/SB/35 or equivalent.
                i.
                      •    CD-ROM or CD-R (2 copies); or
                                                                                      17.~ Other: Cover page (1)
                ii.
                      •    Paper

         C.
              •       Statements verifying identity of above copies
  18. If a CONTINUING APPLICATION, check appropriate box, and supply the requisite information below and in the first sentence of the
  specification following the title, or in an Application Data Sheet under 37 CFR 1. 76:
        D  Continuation                    D
                                          Divisional                       D
                                                                     Continuation-in-part (CIP) of prior application No: ___________________________

        Prior application information:             Examiner                                              Art Unit:

                                                                    19. CORRESPONDENCE ADDRESS


 ~ The address associated with Customer Number:
                                                                    I
                                                                                   20350
                                                                                                           I
                                                                                                                 OR       D Correspondence address below
 Name

 Address
                                                                                                               Zip Code
 City                                                      I    State
 Country                                               I   Telephone                                            Email

  Signature
                                          (
                                               -;77    V
                                                                  ~~c:/4--                                  Date
                                                                                                                      April 15, 2009

  Name                                                                                                                  Registration No.
  (Print/Type)                 Joe C. Hao                                                                               (Attorney/Agent}   155,246               ,
 61905732 v1




                                                                                                                                               JA001680
                                                                                                                                              GE NV-00000405
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 341 of 1274 PageID #: 8647

 Attorney Docket No.: 020801-007710US
 Client Ref. No.:                                                                                                 PTO/SB/01A (07-07)




      DECLARATION (37 CFR 1.63) FOR UTILITY OR DESIGN APPLICATION USING AN
                      APPLICATION DATA SHEET (37 CFR 1.76)

                   NOVEL LIPID FORMULATIONS FOR NUCLEIC ACID DELIVERY
 Title of
 Invention



 As the below named inventor(s), I/we declare that:

 This declaration is directed to:

                             l:8J The attached application, or
                             D Application N o . - - - - - - - - - ~ filed on April 15 2009
                                  D as amended on _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (if applicable);
 I/we believe that I/we am/are the original and first inventor(s) of the subject matter which is claimed and for which a patent is
 sought;

 I/we have reviewed and understand the contents of the above-identified application, including the claims, as amended by any
 amendment specifically referred to above;

 I/we acknowledge the duty to disclose to the United States Patent and Trademark Office all information known to me/us to be
 material to patentability as defined in 37 CFR 1.56, including for continuation-in-part applications, material information which
 became available between the filing date of the prior application and the national or PCT International filing date of the
 continuation-in-part application.

                                                             WARNING:
 Petitioner/applicant is cautioned to avoid submitting personal information in documents filed in a patent application that may
 contribute to identity theft. Personal information such as social security numbers, bank account numbers, or credit card
 numbers (other than a check or credit card authorization form PTO-2038 submitted for payment purposes) is never required by
 the USPTO to support a petition or an application. If this type of personal information is included in documents submitted to
 the USPTO, petitioners/applicants should consider redacting such personal information from the documents before submitting
 them to the USPTO. Petitioner/applicant is advised that the record of a patent application is available to the public after
 publication of the application (unless a non-publication request in compliance with 37 CFR 1.213(a) is made in the application)
 or issuance of a patent. Furthermore, the record from an abandoned application may also be available to the public if the
 application is referenced in a published application or an issued patent (see 37 CFR 1.14). Checks and credit card
 authorization forms PTO-2038 submitted for payment purposes are not retained in the application file and therefore are not
 publicly available.                                                                                     ·

  All statements made herein of my/our own knowledge are true, all statements made herein on information and belief are
  believed to be true, and further that these statements were made with the knowledge that willful false statements and the like are
  punishable by fine or imprisonment, or both, under 18 U.S.C. 1001, and may jeopardize the validity of the application or any
  patent issuinq thereon.

   FULL NAME OF INVENTOR(S)

   Inventor one:    Ian Maclachlan                                                    Date:

   Signature:                                                                         Citizen of: Canada/United Kingdom


   Inventor two:    Edward Yaworski                                                   Date:

   Signature:                                                                         Citizen of: Canada

   C8J Additional inventors or a legal representative are being named on          1              additional form(s) attached hereto.


 61905727 v1




                                                                                                                     JA001681
                                                                                                                    GE NV-00000406
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 342 of 1274 PageID #: 8648

Attorney Docket No.: 020801-007710US
Client Ref. No.:


      DECLARATION (37 CFR 1.63) FOR UTILITY OR DESIGN APPLICATION USING AN
                     APPLICATION DATA SHEET (37 CFR 1.76)-
                            ADDITIONAL INVENTOR(S)
                             Supplemental Sheet 1 of 1


  FULL NAME OF INVENTOR(S)


  Inventor three:     Kieu Lam                     Date:

  Signature:                                       Citizen of: Canada


  Inventor four:                                   Date:

  Signature:                                       Citizen of:


  Inventor five:                                   Date:

  Signature:                                       Citizen of:


  Inventor six:                                     Date:

  Signature:                                        Citizen of:


   Inventor seven:                                  Date:

  Signature:                                        Citizen of:


   Inventor eight:                                  Date:

   Signature:                                       Citizen of:


   Inventor nine:                                   Date:

   Signature:                                       Citizen of:


   Inventor ten:                                    Date:

   Signature:                                       Citizen of:


   Inventor eleven:                                 Date:

   Signature:                                       Citizen of:


   Inventor twelve:                                 Date:

   Signature:                                       Citizen of:




 61905727 v1




                                                                        JA001682
                                                                        GE NV-00000407
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 343 of 1274 PageID #: 8649




   Application Data Sheet


   Application Information

   Application number::
   Filing Date::                     04/15/09
   Application Type::                Regular
   Subject Matter::                  Utility
   Suggested classification::
   Suggested Group Art Unit::
   CD-ROM or CD-R??::
   Number of CD disks::
   Number of copies of CDs::
   Sequence Submission::
   Computer Readable Form (CRF)?::
   Number of copies of CRF::
   Title::                            NOVEL LIPID FORMULATIONS FOR NUCLEIC
                                      ACID DELIVERY
   Attorney Docket Number::           020801-007710US
   Request for Early Publication::    No
   Request for Non-Publication::      No
   Suggested Drawing Figure::         1
   Total Drawing Sheets::             22
   Small Entity?::                    No
   Latin name::
   Variety denomination name::
   Petition included?::               No
   Petition Type::
   Licensed US Govt. Agency::
   Contract or Grant Numbers One::
   Secrecy Order in Parent Appl.::    No


   Page 1                                                             Initial 4/15/09


                                                                       JA001683
                                                                      GE NV-000004 08
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 344 of 1274 PageID #: 8650




   Applicant Information

   Applicant Authority Type::               Inventor
   Primary Citizenship Country::            Canada
   Status::                                 Full Capacity
   Given Name::                             Ian
   Middle Name::
   Family Name::                            Maclachlan
   Name Suffix::
   City of Residence::                      Mission
   State or Province of Residence::         BC
   Country of Residence::                   Canada
   Street of Mailing Address::              8040 Aves Terrace
   City of Mailing Address::                Mission
   State or Province of mailing address::   BC
   Country of mailing address::             Canada
   Postal or Zip Code of mailing address:: V4S1 E5


   Applicant Authority Type::               Inventor
   Primary Citizenship Country::            Canada
   Status::                                 Full Capacity
   Given Name::                             Edward
   Middle Name::
   Family Name::                            Yaworski
   Name Suffix::
   City of Residence::                      Maple Ridge
   State or Province of Residence::         BC
   Country of Residence::                   Canada
   Street of Mailing Address::              23106-123B Avenue
   City of Mailing Address::                Maple Ridge
   State or Province of mailing address::   BC
   Country of mailing address::             Canada

   Page 2                                                             Initial 4/15/09


                                                                       JA001684
                                                                      GE NV-000004 09
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 345 of 1274 PageID #: 8651




   Postal or Zip Code of mailing address:: V2X9Z7


   Applicant Authority Type::                   Inventor
   Primary Citizenship Country::                Canada
   Status::                                     Full Capacity
   Given Name::                                 Kieu
   Middle Name::
   Family Name::                                Lam
   Name Suffix::
   City of Residence::                          Surrey
   State or Province of Residence::             BC
   Country of Residence::                       Canada
   Street of Mailing Address::                  18871 71 Avenue
   City of Mailing Address::                    Surrey
   State or Province of mailing address::       BC
   Country of mailing address::                 Canada
   Postal or Zip Code of mailing address:: V4N5M7



   Correspondence Information

   Correspondence Customer Number::             20350

   Representative Information

   Representative Customer Number::             20350

   Domestic Priority Information

   Application::            Continuity Type::              Parent Application::   Parent Filing Date::
   This Application         An Appn claiming               61/045,228             04/15/08
                            benefit under 35 USC
                            119(e)of




    Page 3                                                                                Initial 4/15/09


                                                                                             JA001685
                                                                                             GENV-00000410
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 346 of 1274 PageID #: 8652




   Foreign Priority Information

   Country::                      Application number::          Filing Date::



   Assignee Information

   Assignee Name::                          Protiva Biotherapeutics, Inc.
   Street of mailing address::              100-8900 Glenlyon Parkway
   City of mailing address::                Burnaby
   State or Province of mailing address::   B.C.
   Country of mailing address::             Canada
   Postal or Zip Code of mailing address:: V5J5J8




   Page 4                                                                       Initial 4/15/09


                                                                                 JA001686
                                                                                 GENV-00000411
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 347 of 1274 PageID #: 8653



                                                      Attorney Docket No.: 020801-007710US


                                PATENT APPLICATION

       NOVEL LIPID FORMULATIONS FOR NUCLEIC ACID DELIVERY


    Inventors:   Ian MacLachlan, a citizen of Canada and the United Kingdom, residing at
                 8040 Aves Terrace
                 Mission, B.C., Canada V4S 1E5


                 Edward Y aworski, a citizen of Canada, residing at
                 23106 - 123B Avenue
                 Maple Ridge, B.C., Canada V2X 9Z7


                 Kieu Lam, a citizen of Canada, residing at
                 18871 71 Avenue
                 Surrey, B.C., Canada V4N 5M7



     Assignee:   Protiva Biotherapeutics, Tnc.
                 100-8900 Glenlyon Parkway
                 Burnaby, B.C., Canada V5J 5J8


     Entity:     Large




    TOWNSEND and TOWNSEND and CREW LLP
    Two Embarcadero Center, Eighth Floor
    San Francisco, California 94111-3834
    Tel: 925-472-5000


                                                                                   JA001687
                                                                                  GENV-00000412
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 348 of 1274 PageID #: 8654
                                                                                              PATENT
                                                                   Attorney Docket No.: 020801-0077 lOUS



       NOVEL LIPID FORMULATIONS FOR NUCLEIC ACID DELIVERY
                        CROSS-REFERENCES TO RELATED APPLICATIONS
     [0001]    The present application claims priority to U.S. Provisional Application No.
     61/045,228, filed April 15, 2008, the disclosure of which is herein incorporated by reference
 5   in its entirety for all purposes.

              STATEMENT REGARDING FEDERALLY SPONSORED RESEARCH OR
                                            DEVELOPMENT

     [0002]    Not applicable.

                   NAMES OF PARTIES TO A JOINT RESEARCH AGREEMENT

10   [0003]    Not applicable.

                               REFERENCE TO A "SEQUENCE LISTING"

     l0004]    Not applicable.

                                  BACKGROUND OF THE INVENTION
     [0005]    RNA interference (RNAi) is an evolutionarily conserved process in which
15   recognition of double-stranded RNA (dsRNA) ultimately leads to posttranscriptional
     suppression of gene expression. This suppression is mediated by short dsRNA, also called
     small interfering RNA (siRNA), which induces specific degradation of mRNA through
     complementary base pairing. In several model systems, this natural response has been
     developed into a powerful tool for the investigation of gene function (see, e.g., Elbashir et al.,
20   Genes Dev., 15:188-200 (2001); Hammond eta!., Nat. Rev. Genet., 2: 110-119 (2001)). More
     recently, it was discovered that introducing synthetic 21-nucleotide dsRNA duplexes into
     mammalian cells could efficiently silence gene expression.
     [0006]    Although the precise mechanism is still unclear, RNAi provides a potential new
     approach to downregulate or silence the transcription and translation of a gene of interest.
25   For example, it is desirable to modulate (e.g., reduce) the expression of certain genes for the
     treatment of neoplastic disorders such as cancer. It is also desirable to silence the expression
     of genes associated with liver diseases and disorders such as hepatitis. It is further desirable
     to reduce the expression of certain genes for the treatment of atherosclerosis and its
     manifestations, e.g., hypercholesterolemia, myocardial infarction, and thrombosis.




                                                     l


                                                                                              JA001688
                                                                                              GENV-00000413
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 349 of 1274 PageID #: 8655



     [0007]   A safe and effective nucleic acid delivery system is required for RNAi to be
     therapeutically useful. Viral vectors are relatively efficient gene delivery systems, but suffer
     from a variety oflimitations, such as the potential for reversion to the wild-type as well as
     immune response concerns. As a result, nonviral gene delivery systems arc receiving
 5   increasing attention (Worgall et al., Human Gene Therapy, 8:37 (1997); Peeters et al.,
     Hurnan Gene Therapy, 7:1693 (1996); Yei et al., Gene Therapy, I :192 (1994); Hope et al.,
     A1olecular ·Membrane Biology, 15: 1 (1998)). Furthermore, viral systems are rapidly cleared
     from the circulation, limiting transfection to "first-pass" organs such as the lungs, liver, and
     spleen. In addition, these systems induce immune responses that compromise delivery with
10   subsequent injections.
     [0008]   Plasmid DNA-cationic liposome complexes are currently the most commonly
     employed nonviral gene delivery vehicles (Feigner, Scientific Anierican, 276:102 (1997);
     Chonn et al., Current Opinion in Biotechnology, 6:698 (1995)). For instance, cationic
     liposome complexes made of an amphipathic compound, a neutral lipid, and a detergent for
15   transfecting insect cells are disclosed in U.S. Patent No. 6,458,382. Cationic liposome
     complexes are also disclosed in U.S. Patent Publication No. 20030073640.
     [0009]   Cationic liposome complexes are large, poorly defined systems that are not suited
     for systemic applications and can elicit considerable toxic side effects (Harrison et al.,
     Biotechniques, 19:816 (1995); Li et al., The Gene, 4:891 (1997); Tam et al, Gene Ther.,
20   7:1867 (2000)). As large, positively charged aggregates, lipoplexes are rapidly cleared when
     administered in vivo, with highest expression levels observed in first-pass organs, particularly
     the lungs (Huang et al., Nature Biotechnology, 15:620 (1997); Templeton et al., Nature
     Biotechnology, 15:647 (l 997); Hofland et al., Pharmaceutical Research, 14:742 (] 997)).
     [0010]   Other liposomal delivery systems include, for example, the use of reverse micelles,
25   anionic liposomes, and polymer liposomes. Reverse micelles are disclosed in U.S. Patent No.
     6,429,200. Anionic liposomes are disclosed in U.S. Patent Publication No. 20030026831.
     Polymer liposomes that incorporate dextrin or glycerol-phosphocholine polymers are
     disclosed in U.S. Patent Publication Nos. 2002008 l 736 and 20030082103, respectively.
     [0011]   A gene delivery system containing an encapsulated nucleic acid for systemic
30   delivery should be small (i.e., less than about 100 nm diameter) and should remain intact in
     the circulation for an extended period of time in order to achieve delivery to affected tissues.
     This requires a highly stable, serum-resistant nucleic acid-containing particle that does not
     interact with cells and other components of the vascular compartment. The pariicle should



                                                     2


                                                                                             JA001689
                                                                                            GENV-00000414
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 350 of 1274 PageID #: 8656



     also readily interact with target cells at a disease site in order to facilitate intracellular
     delivery of a desired nucleic acid.
     [0012]    Recent work has shown that nucleic acids can be encapsulated in small (e.g .. about
     70 nm diameter) "stabilized plasmid-lipid particles" (SPLP) that consist of a single plasmid
 5   encapsulated within a bilayer lipid vesicle (Wheeler et al., Gene Therapy, 6:271 (1999)).
     These SPLPs typically contain the "fusogenic" lipid dioleoylphosphatidylethanolamine
     (DOPE), low levels of cationic lipid, and are stabilized in aqueous media by the presence of a
     poly( ethylene glycol) (PEG) coating. SPLPs have systemic application as they exhibit
     extended circulation lifetimes following intravenous (i.v.) injection, accumulate preferentially
10   at distal tumor sites due to the enhanced vascular permeability in such regions, and can
     mediate trans gene expression at these tumor sites. The levels of transgene expression
     observed at the tumor site following i.v. injection of SPLPs containing the luciferase marker
     gene are superior to the levels that can be achieved employing plasmid DNA-cationic
     liposome complexes (lipoplexes) or naked DNA.
15   [0013]    Thus, there remains a strong need in the art for novel and more efficient methods
     and compositions for introducing nucleic acids such as siRNA into cells. In addition, there is
     a need in the art for methods of downregulating the expression of genes of interest to treat or
     prevent diseases and disorders such as cancer and atherosclerosis. The present invention
     addresses these and other needs.

20                              BRIEF SUMMARY OF THE INVENTION
     [0014]    The present invention provides novel, serum-stable lipid particles comprising one or
     more active agents or therapeutic agents, methods of making the lipid particles, and methods
     of delivering and/or administering the lipid particles (e.g., for the treatment of a disease or
     disorder).
25   [0015]    In preferred embodiments, the active agent or therapeutic agent is fully encapsulated
     within the lipid portion of the lipid particle such that the active agent or therapeutic agent in
     the lipid particle is resistant in aqueous solution to enzymatic degradation, e.g., by a nuclease
     or protease. In other preferred embodiments, the lipid particles are substantially non-toxic to
     mammals such as humans.
30   [0016]    In one aspect, the present invention provides lipid particles comprising: (a) one or
     more active agents or therapeutic agents; (b) one or more cationic lipids comprising from
     about 50 mol % to about 85 mol % of the total lipid present in the particle; (c) one or more
     non-cationic lipids comprising from about 13 mol % to about 49.5 mol % of the total lipid



                                                        3


                                                                                                 JA001690
                                                                                                GENV-00000415
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 351 of 1274 PageID #: 8657



     present in the particle; and ( d) one or more conjugated lipids that inhibit aggregation of
     particles comprising from about 0.5 mol % to about 2 mol % of the total lipid present in the
     particle.
     [0017]      More particularly, the present invention provides serum-stable nucleic acid-lipid
 5   particles (SNALP) comprising a nucleic acid (e.g., one or more interfering RNA molecules
     such as siRNA, aiRNA, and/or miRNA), methods of making the SNALP, and methods of
     delivering and/ or administering the SN ALP ( e.g., for the treatment of a disease or disorder).
     [0018]      In certain embodiments, the nucleic acid-lipid particle (e.g., SNALP) comprises: (a)
     a nucleic acid ( e.g., an interfering RNA); (b) a cationic lipid comprising from about 50 mol %
10   to about 85 mol % of the total lipid present in the particle; (c) a non-cationic lipid comprising
     from about 13 mol % to about 49.5 mol % of the total lipid present in the particle; and (d) a
     conjugated lipid that inhibits aggregation of particles comprising from about 0.5 mol % to
     about 2 mol % of the total lipid present in the particle.
     [0019]      In one prefcned embodiment, the nucleic acid-lipid particle (e.g., SNALP)
15   comprises: (a) an siRNA; (b) a cationic lipid comprising from about 56.5 mol % to about
     66.5 mol % of the total lipid present in the particle; ( c) cholesterol or a derivative thereof
     comprising from about 31.5 mol % to about 42 .5 mol % of the total lipid present in the
     particle; and (d) a PEG-lipid conjugate comprising from about 1 mol % to about 2 mol % of
     the total lipid present in the particle. This preferred embodiment of nucleic acid-lipid particle
20   is generally referred to herein as the "l :62" formulation.
     [0020]      In another preferred embodiment, the nucleic acid-lipid particle (e.g., SNALP)
     comprises: (a) an siRNA; (b) a cationic lipid comprising from about 52 mol %, to about 62
     mol % of the total lipid present in the particle; (c) a mixture of a phospholipid and cholesterol
     or a derivative thereof comprising from about 36 mol % to about 4 7 mol % of the total lipid
25   present in the particle; and (d) a PEG-lipid conjugate comprising from about 1 mol % to
     about 2 mol % of the total lipid present in the particle. This preferred embodiment of nucleic
     acid-lipid particle is generally referred to herein as the "l :57" formulation.
     [0021]      The present invention also provides pharmaceutical compositions comprising a lipid
     particle described herein (e.g., SNALP) and a pharmaceutically acceptable carrier.
30   [0022]      In another aspect, the present invention provides methods for introducing an active
     agent or therapeutic agent (e.g., nucleic acid) into a cell, the method comprising contacting
     the cell with a lipid particle described herein such as a nucleic acid-lipid particle (e.g.,
     SNALP).




                                                      4


                                                                                               JA001691
                                                                                              GENV-00000416
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 352 of 1274 PageID #: 8658



     [0023]    [n yet another aspect, the present invention provides methods for the in vivo
     delivery of an active agent or therapeutic agent (e.g., nucleic acid), the method comprising
     administering to a mammalian subject a lipid particle described herein such as a nucleic acid-
     lipid particle (e.g., SN ALP).
 5   [0024]    [n a further aspect, the present invention provides methods for treating a disease or
     disorder in a mammalian subject in need thereof, the method comprising administering to the
     mammalian subject a therapeutically effective amount of a lipid particle described herein
     such as a nucleic acid-lipid particle (e.g., SNALP).
     [0025]    Other objects, features, and advantages of the present invention will be apparent to
10   one of skill in the art from the following detailed description and figures.

                             BRIEF DESCRIPTION OF THE DRAWINGS
     [0026]    Figure 1 illustrates data demonstrating the activity of l :57 SNALP containing Eg5
     siRNA in a human colon cancer cell line.
     l 0027j   Figure 2 illustrates data demonstrating the activity of 1 :57 SNALP containing ApoB
15   siRNA following intravenous administration in mice.
     [0028]    Figure 3 illustrates additional data demonstrating the activity of 1 :57 SNALP
     containing ApoB siRNA following intravenous administration in mice. Each bar represents
     the group mean of five animals. Error bars indicate the standard deviation.
     [0029]    Figure 4 illustrates data demonstrating the activity of 1 :57 and 1 :62 SNALP
20   containing ApoB siRNA following intravenous administration in mice.
     [0030]    Figure 5 illustrates data demonstrating the activity of 1 :62 SNALP containing ApoB
     siRNA following intravenous administration in mice.
     [0031]    Figure 6 illustrates data demonstrating that the tolerability of 1 :57 SN ALP
     containing ApoB siRNA prepared by citrate buffer versus PBS direct dilution did not differ
25   significantly in terms of blood clinical chemistry parameters.
     [0032]    Figure 7 illustrates data demonstrating that the efficacy of 1 :57 SNALP containing
     ApoB siRNA prepared by gear pump was similar to the same SNALP prepared by syringe
     press.
     [0033]    Figure 8 illustrates data demonstrating that there was very little effect on body
30   weight 24 hours after administration of 1 :57 SNALP containing ApoB siRNA.
     l0034J    Figure 9 illustrates data demonstrating that there were no obvious changes in
     platelet count after administration of 1 :57 SNALP containing ApoB siRNA.




                                                     5


                                                                                               JA001692
                                                                                           GENV-00000417
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 353 of 1274 PageID #: 8659



     [0035]    Figure 10 illustrates data demonstrating that clinically significant liver enzyme
     elevations (3xULN) occurred at particular drug dosages of 1 :57 SNALP containing ApoB
     siRNA.
     [0036]    Figure 11 illustrates data demonstrating that the potency of the lower lipid:drug
 5   (L:D) 1 :57 SN ALP containing ApoB siRNA was as good as that of the higher L:D SNALP at
     the tested drug dosages.
     [0037]    Figure 12 illustrates data demonstrating that ApoB protein and total cholesterol
     levels were reduced to a similar extent by 1 :57 SNALP containing ApoB siRNA at a 6: 1
     input L:D ratio (final ratio of 7:1) and l :57 SNALP at a 9:1 input L:D ratio (final ratio of
10   10:1).
     [0038]    Figure 13 illustrates data demonstrating that a treatment regimen of l :57 SNALP
     with siRNA targeting PLK-1 is well tolerated with no apparent signs of treatment related
     toxicity in mice bearing Hep3B liver tumors.
     [0039]    Figure 14 illustrates data demonstrating that treatment with ] :57 SNALP containing
15   PLK-1 siRNA caused a significant increase in the survival ofHep3B tumor-bearing mice.
     [0040]    Figure 15 illustrates data demonstrating that treatment with 1:57 SNALP containing
     PLK-1 siRNA reduced PLK-1 mRNA levels by 50% in intrahepatic Hep3B tumors growing
     in mice 24 hours after SNALP administration.
     [0041]    Figure 16 illustrates data demonstrating that a specific cleavage product of PLK-1
20   mRNA was detectable by 5' RACE-PCR in mice treated with 1:57 SNALP containing PLK-1
     siRNA. ] 0 µl PCR product/well were loaded onto a 1.5%1 agarose gel. Lane Nos.: (])
     molecular weight (MW) marker; (2) PBS mouse l; (3) PBS mouse 2; (4) PBS mouse 3; (5)
     Luc SNALP mouse l; (6) Luc SNALP mouse 2; (7) PLK SNALP mouse l; (8) PLK SNALP
     mouse 2; (9) PLK SNALP mouse 3; and (10) no template control.
25   [0042]    Figure 17 illustrates data demonstrating that control (Luc) 1:57 SNALP-treated
     mice displayed normal mitoses in Hep3B tumors (top panels), whereas mice treated with 1 :57
     SNALP containing PLK-J siRNA exhibited numerous aberrant mitoses and tumor cell
     apoptosis in Hep3B tumors (bottom panels).
     [0043]    Figure 18 illustrates data demonstrating that multiple doses of 1 :57 PLK-1 SN ALP
30   containing PEG-cDSA induced the regression of established Hep3B subcutaneous (S.C.)
     tumors.
     [0044]    Figure 19 illustrates data demonstrating PLK-1 mRNA silencing using 1:57 PLK
     SNALP in S.C. Hep3B tumors following a single intravenous SNALP administration.



                                                     6


                                                                                            JA001693
                                                                                            GENV-00000418
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 354 of 1274 PageID #: 8660



     [0045]    Figure 20 illustrates data demonstrating that PLK-1 PEG-cDSA SNALP inhibited
     the growth of large S.C. Hep3B tumors.
     [0046]    Figure 21 illustrates data demonstrating tumor-derived PLK-1 mRNA silencing in
     Hep3B intrahepatic tumors.
 5   [0047]    Figure 22 illustrates data demonstrating the blood clearance profile of 1 :57 PLK-1
     SN ALP containing either PEG-cDMA or PEG-cDSA.

                             DETAILED DESCRIPTION OF THE INVENTION
     I.       Introduction

     [0048]    The present invention is based, in part, upon the surprising discovery that lipid
lO   particles comprising from about 50 mol % to about 85 mo] % of a cationic lipid, from about
     13 rnol % to about 49.5 mol % of a non-cationic lipid, and from about 0.5 rnol % to about 2
     mol % of a lipid conjugate provide advantages when used for the in vitro or in vivo delivery
     of an active agent, such as a therapeutic nucleic acid (e.g., an interfering RNA). In particular,
     as illustrated by the Examples herein, the present invention provides stable nucleic acid-lipid
15   particles (SNALP) that advantageously impart increased activity of the encapsulated nucleic
     acid (e.g., an interfering RNA such as siRNA) and improved tolerability of the formulations
     in vivo, resulting in a significant increase in the therapeutic index as compared to nucleic
     acid-lipid particle compositions previously described. Additionally, the SN ALP of the
     invention are stable in circulation, e.g., resistant to degradation by nucleases in serum, and
20   are substantially non-toxic to mammals such as humans. As a non-limiting example, Figure 3
     of Example 4 shows that one SN ALP embodiment of the invention ("1:57 SNALP") was
     more than 10 times as efficacious as compared to a nucleic acid-lipid particle previously
     described ("2:30 SN ALP") in mediating target gene silencing at a 10-fold lower dose.
     Similarly, Figure 2 of Example 3 shows that the "l :57 SNALP" formulation was substantially
25   more effective at silencing the expression of a target gene as compared to nucleic acid-lipid
     particles previously described ("2:40 SNALP").
     [0049J    In certain embodiments, the present invention provides improved compositions for
     the delivery of interfering RNA such as siRNA molecules. 1n particular, the Examples herein
     illustrate that the improved lipid particle formulations of the invention are highly effective in
30   downregulating the mRNA and/or protein levels of target genes. Furthermore, the Examples
     herein illustrate that the presence of certain molar ratios of lipid components results in
     improved or enhanced activity of these lipid particle formulations of the present invention.
     For instance, the "l :57 SNALP" and "l :62 SNALP" formulations described herein are


                                                     7


                                                                                            JA001694
                                                                                            GENV-00000419
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 355 of 1274 PageID #: 8661



     exemplary formulations of the present invention that are particularly advantageous because
     they provide improved efficacy and tolerability in vivo, are serum-stable, are substantially
     non-toxic, are capable of accessing extravascular sites, and are capable of reaching target cell
     populations.
 5   [0050]    The lipid particles and compositions of the present invention may be used for a
     variety of purposes, including the delivery of associated or encapsulated therapeutic agents to
     cells, both in vitro and in vivo. Accordingly, the present invention provides methods for
     treating diseases or disorders in a subject in need thereof, by contacting the subject with a
     lipid particle described herein comprising one or more suitable therapeutic agents.
10   [0051]    Various exemplary embodiments of the lipid particles of the invention, as well as
     compositions and formulations comprising the same, and their use to deliver therapeutic
     agents and modulate target gene and protein expression, arc described in further detail below.

     II.      Definitions

     [0052]    As used herein, the following terms have the meanings ascribed to them unless
15   specified otherwise.
     [0053]    The term "interfering RNA" or "RN Ai" or "interfering RNA sequence" refers to
     single-stranded RNA (e.g., mature miRNA) or double-stranded RNA (i.e., duplex RNA such
     as siRNA, aiRNA, or pre-miRNA) that is capable of reducing or inhibiting the expression of
     a target gene or sequence (e.g., by mediating the degradation or inhibiting the translation of
20   mRNAs which are complementaiy to the interfering RNA sequence) when the interfering
     RNA is in the same cell as the target gene or sequence. Interfering RNA thus refers to the
     single-stranded RNA that is complementary to a target mRNA sequence or to the double-
     stranded RNA formed by two complementary strands or by a single, self-complementary
     strand. Interfering RNA may have substantial or complete identity to the target gene or
25   sequence, or may comprise a region of mismatch (i.e., a mismatch motif). The sequence of
     the interfering RNA can correspond to the full-length target gene, or a subsequence thereof.
     [0054j    Interfering RNA includes "small-interfering RNA" or "siRNA," e.g., interfering
     RNA of about 15-60, 15-50, or 15-40 ( duplex) nucleotides in length, more typically about 15-
     30, 15-25, or 19-25 (duplex) nucleotides in length, and is preferably about 20-24, 21-22, or
30   21-23 (duplex) nucleotides in length (e.g., each complementary sequence of the double-
     stranded siRNA is 15-60, 15-50, 15-40, 15-30, 15-25, or 19-25 nucleotides in length,
     preferably about 20-24, 21-22, or 21-23 nucleotides in length, and the double-stranded
     siRNA is about 15-60, 15-50, 15-40, 15-30, 15-25, or 19-25 base pairs in length, preferably


                                                     8


                                                                                            JA001695
                                                                                           GE NV-00000420
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 356 of 1274 PageID #: 8662



     about 18-22, 19-20, or 19-21 base pairs in length). siRNA duplexes may comprise 3'
     overhangs of about 1 to about 4 nucleotides or about 2 to about 3 nucleotides and 5'
     phosphate termini. Examples of siRNA include, without limitation, a double-stranded
     polynucleotide molecule assembled from two separate stranded molecules, wherein one
 5   strand is the sense strand and the other is the complementary antisense strand; a double-
     stranded polynudeotide molecule assembled from a single stranded molecule, where the
     sense and antisense regions are linked by a nucleic acid-based or non-nucleic acid-based
     linker; a double-stranded polynucleotide molecule with a hairpin secondary structure having
     self-complementary sense and antisense regions; and a circular single-stranded
10   polynucleotide molecule with two or more loop structures and a stem having self-
     complementary sense and antisense regions, where the circular polynucleotide can be
     processed in vivo or in vitro to generate an active double-stranded siRNA molecule.
     [0055]   Preferably, siRNA arc chemically synthesized. siRNA can also be generated by
     cleavage of longer dsRNA (e.g., dsRNA greater than about 25 nucleotides in length) with the
15   E. coli RNase III or Dicer. These enzymes process the dsRNA into biologically active
     siRNA (see, e.g., Yang et al., Proc. Natl. Acad. Sci. USA, 99:9942-9947 (2002); Calegari et
     al., Proc. Natl. Acad. Sci. USA, 99:14236 (2002); Byrom et al., Ambion TechNotes, 10(1):4-6
     (2003); Kawasaki et al., Nucleic Acids Res., 31 :981-987 (2003); Knight et al., Science,
     293:2269-2271 (2001); and Robertson et al., J. Biol. Chem., 243:82 (1968)). Preferably,
20   dsRNA are at least 50 nucleotides to about 100,200, 300, 400, or 500 nucleotides in length.
     A dsRNA may be as long as 1000, 1500, 2000, 5000 nucleotides in length, or longer. The
     dsRNA can encode for an entire gene transcript or a partial gene transcript. In certain
     instances, siRNA may be encoded by a plasmid (e.g., transcribed as sequences that
     automatically fold into duplexes with hairpin loops).
25   [0056]   As used herein, the term "mismatch motif' or "mismatch region" refers to a portion
     of an interfering RNA ( e.g., siRNA, aiRNA, mi RNA) sequence that does not have 100 %
     complementarity to its target sequence. An interfering RNA may have at least one, two,
     three, four, five, six, or more mismatch regions. The mismatch regions may be contiguous or
     may be separated by 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, or more nucleotides. The mismatch
30   motifs or regions may comprise a single nucleotide or may comprise two, three, four, five, or
     more nucleotides.
     [0057]   An "effective amount" or "therapeutically effective amount" of an active agent or
     therapeutic agent such as an interfering RNA is an amount sufficient to produce the desired
     effect, e.g., an inhibition of expression of a target sequence in comparison to the normal


                                                    9


                                                                                            JA001696
                                                                                          GE NV-00000421
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 357 of 1274 PageID #: 8663



     expression level detected in the absence of an interfering RNA. Inhibition of expression of a
     target gene or target sequence is achieved when the value obtained with an interfering RNA
     relative to the control is about 90%, 85%, 80%, 75%, 70%, 65%, 60%, 55%, 50%, 45%,
     40%, 35%, 30%, 25%, 20%, 15%, 10%, 5%, or 0%. Suitable assays for measuring
 5   expression of a target gene or target sequence include, e.g., examination of protein or RNA
     levels using techniques known to those of skill in the art such as dot blots, no1ihem blots, in
     situ hybridization, ELISA, immunoprecipitation, enzyme function, as well as phenotypic
     assays known to those of skill in the art.
     [00581   By "decrease," "decreasing," "reduce," or "reducing" of an immune response by an
10   interfering RNA is intended to mean a detectable decrease of an immune response to a given
     interfering RNA (e.g., a modified interfering RNA). The amount of decrease of an immune
     response by a modified interfering RNA may be determined relative to the level of an
     immune response in the presence of an unmodified interfering RNA. A detectable decrease
     can be about 5%, ] 0%, ] 5%, 20%, 25%, 30%, 35%, 40%, 45%, 50%, 55%, 60%, 65%, 70%,
15   75%, 80%, 85%, 90%, 95%, 100%, or more lower than the immune response detected in the
     presence of the unmodified interfering RNA. A decrease in the immune response to
     interfering RNA is typically measured by a decrease in cytokine production (e.g., IFNy,
     IFNa, TNFa, IL-6, or IL-12) by a responder cell in vitro or a decrease in cytokine production
     in the sera of a mammalian subject after administration of the interfering RNA.
20   [0059]   As used herein, the term "responder cell" refers to a cell, preferably a mammalian
     cell, that produces a detectable immune response when contacted with an immunostimulatory
     interfering RNA such as an unmodified siRNA. Exemplary responder cells include, e.g.,
     dendritic cells, macrophages, peripheral blood mononuclear cells (PBMCs), splenocytes, and
     the like. Detectable immune responses include, e.g., production of cytokines or growth
25   factors such as TNF-a, IFN-a, IFN-13, IFN-y, IL-1, IL-2, IL-3, IL-4, IL-5, IL-6, IL-10, IL-12,
     IL-13, TGF, and combinations thereof.
     [0060]   "Substantial identity" refers to a sequence that hybridizes to a reference sequence
     under stringent conditions, or to a sequence that has a specified percent identity over a
     specified region of a reference sequence.
30   [0061]   The phrase "stringent hybridization conditions" refers to conditions under which a
     nucleic acid will hybridize to its target sequence, typically in a complex mixture of nucleic
     acids, but to no other sequences. Stringent conditions are sequence-dependent and will be
     different in different circumstances. Longer sequences hybridize specifically at higher
     temperatures. An extensive guide to the hybridization of nucleic acids is found in Tijssen,


                                                    10


                                                                                            JA001697
                                                                                           GE NV-00000422
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 358 of 1274 PageID #: 8664



     Techniques in Biochemistry and j\10/ecular Biology--Hybridization with Nucleic Probes,
     "Overview of principles of hybridization and the strategy of nucleic acid assays" ( 1993).

     Generally, stringent conditions are selected to be about 5-1 o0 c lower than the thermal
     melting point (Tm) for the specific sequence at a defined ionic strength pH. The Tm is the
 5   temperature (under defined ionic strength, pH, and nucleic concentration) at which 50% of
     the probes complementary to the target hybridize to the target sequence at equilibrium (as the
     target sequences are present in excess, at Tm, 50% of the probes are occupied at equilibrium).
     Stringent conditions may also be achieved with the addition of destabilizing agents such as
     formamide. For selective or specific hybridization, a positive signal is at least two times
10   background, preferably 10 times background hybridization.
     [0062]   Exemplary stringent hybridization conditions can be as follows: 50% formamide,
     5x SSC, and 1% SOS, incubating at 42°C, or, 5x SSC, 1% SOS, incubating at 65°C, with

     wash in 0.2x SSC, and 0.1 % SOS at 65°C. For PCR, a temperature of about 36°C is typical
     for low stringency amplification, although annealing temperatures may vary between about

15   32°C and 48°C depending on primer length. For high stringency PCR amplification, a

     temperature of about 62°C is typical, although high stringency annealing temperatures can

     range from about 50°C to about 65°C, depending on the primer length and specificity.
     Typical cycle conditions for both high and low stringency amplifications include a
     denaturation phase of 90°C-95°C for 30 sec.-2 min., an annealing phase lasting 30 sec.-2

20   min., and an extension phase of about 72°C for 1-2 min. Protocols and guidelines for low
     and high stringency amplification reactions are provided, e.g., in Innis et al., PCR Protocols,
     A Guide to Methods and Applications, Academic Press, Inc. N.Y. (1990).
     l0063]   Nucleic acids that do not hybridize to each other under stringent conditions are still
     substantially identical if the polypeptides which they encode are substantially identical. This
25   occurs, for example, when a copy of a nucleic acid is created using the maximum codon
     degeneracy permitted by the genetic code. In such cases, the nucleic acids typically hybridize
     under moderately stringent hybridization conditions. Exemplary "moderately stringent
     hybridization conditions" include a hybridization in a buffer of 40% formamide, l M NaCl,

     l % SDS at 37°C, and a wash in IX SSC at 45°C. A positive hybridization is at least twice
30   background. Those of ordinary skill will readily recognize that alternative hybridization and
     wash conditions can be utilized to provide conditions of similar stringency. Additional




                                                    11


                                                                                           JA001698
                                                                                           GE NV-00000423
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 359 of 1274 PageID #: 8665



     guidelines for determining hybridization parameters are provided in numerous references,
     e.g., Current Protocols in Molecular Biology, Ausubel et al., eds.
     [0064]    The terms "substantially identical" or "substantial identity," in the context of two or
     more nucleic acids, refer to two or more sequences or subsequences that arc the same or have
 5   a specified percentage of nucleotides that are the same (i.e., at least about 60%, preferably at
     least about 65%, 70%, 75%, 80%, 85%, 90%, or 95% identity over a specified region), when
     compared and aligned for maximum correspondence over a comparison window, or
     designated region as measured using one of the following sequence comparison algorithms or
     by manual alignment and visual inspection. This definition, when the context indicates, also
10   refers analogously to the complement of a sequence. Preferably, the substantial identity
     exists over a region that is at least about 5, 10, 15, 20, 25, 30, 35, 40, 45, 50, 55, or 60
     nucleotides in length.
     [0065]    For sequence comparison, typically one sequence acts as a reference sequence, to
     which test sequences are compared. When using a sequence comparison algorithm, test and
15   reference sequences are entered into a computer, subsequence coordinates are designated, if
     necessary, and sequence algorithm program parameters are designated. Default program
     parameters can be used, or alternative parameters can be designated. The sequence
     comparison algorithm then calculates the percent sequence identities for the test sequences
     relative to the reference sequence, based on the program parameters.
20   [0066]    A "comparison window," as used herein, includes reference to a segment of any one
     of a number of contiguous positions selected from the group consisting of from about 5 to
     about 60, usually about 10 to about 45, more usually about 15 to about 30, in which a
     sequence may be compared to a reference sequence of the same number of contiguous
     positions after the two sequences are optimally aligned. Methods of alignment of sequences
25   for comparison are well known in the art. Optimal alignment of sequences for comparison
     can be conducted, e.g., by the local homology algorithm of Smith and Waterman, Adv. Appl.
     Math., 2:482 (1981), by the homology alignment algorithm of Needleman and Wunsch, J.
     Afol. Biol., 48:443 (1970), by the search for similarity method of Pearson and Lipman, Proc.
     Natl. Acad. Sci. USA, 85:2444 (1988), by computerized implementations of these algorithms
30   (GAP, BESTFIT, PASTA, and TFASTA in the Wisconsin Genetics Software Package,
     Genetics Computer Group, 575 Science Dr., Madison, WI), or by manual alignment and
     visual inspection (see, e.g., Current Protocols in A1olecular Biology, Ausubel et al., eds.
     (1995 supplement)).



                                                      12


                                                                                               JA001699
                                                                                              GE NV-00000424
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 360 of 1274 PageID #: 8666



     [0067]   A preferred example of algorithms that are suitable for determining percent
     sequence identity and sequence similarity are the BLAST and BLAST 2.0 algorithms, which
     are described in Altschul et al., Nuc. Acids Res .. 25:3389-3402 (1977) and Altschul et al., J.
     Mal. Biol., 215 :403-410 (] 990), respectively. BLAST and BLAST 2.0 arc used, with the
 5   parameters described herein, to determine percent sequence identity for the nucleic acids of
     the invention. Software for performing BLAST analyses is publicly available through the
     National Center for Biotechnology Information (http://www.ncbi.nlm.nih.gov/).
     [0068]   The BLAST algorithm also performs a statistical analysis of the similarity between
     two sequences (see, e.g., Karlin and Altschul, Proc. Natl. Acad. Sci. USA, 90:5873-5787
10   (1993)). One measure of similarity provided by the BLAST algorithm is the smallest sum
     probability (P(N)), which provides an indication of the probability by which a match between
     two nucleotide sequences would occur by chance. For example, a nucleic acid is considered
     similar to a reference sequence if the smallest sum probability in a comparison of the test
     nucleic acid to the reference nucleic acid is less than about 0.2, more preferably less than
15   about 0.01, and most preferably less than about 0.001.
     [0069]   The term "nucleic acid" as used herein refers to a polymer containing at least two
     deoxyribonucleotides or ribonucleotides in either single- or double-stranded form and
     includes DNA and RNA. DNA may be in the form of, e.g., antisense molecules, plasmid
     DNA, pre-condensed DNA, a PCR product, vectors (P 1, PAC, BAC, Y AC, artificial
20   chromosomes), expression cassettes, chimeric sequences, chromosomal DNA, or derivatives
     and combinations of these groups. RNA may be in the form of siRNA, asymmetrical
     interfering RNA (aiRNA), microRNA (miRNA), mRNA, tRNA, rRNA, tRNA, viral RNA
     (vRNA), and combinations thereof. Nucleic acids include nucleic acids containing known
     nucleotide analogs or modified backbone residues or linkages, which are synthetic, naturally
25   occurring, and non-naturally occurring, and which have similar binding properties as the
     reference nucleic acid. Examples of such analogs include, without limitation,
     phosphorothioates, phosphoramidates, methyl phosphonates, chiral-methyl phosphonates, 2' -
     O-methyl ribonucleotides, and peptide-nucleic acids (PNAs). Unless specifically limited, the
     term encompasses nucleic acids containing known analogues of natural nucleotides that have
30   similar binding properties as the reference nucleic acid. Unless otherwise indicated, a
     particular nucleic acid sequence also implicitly encompasses conservatively modified
     variants thereof (e.g., degenerate codon substitutions), alleles, orthologs, SNPs, and
     complementary sequences as well as the sequence explicitly indicated. Specifically,
     degenerate codon substitutions may be achieved by generating sequences in which the third


                                                    13


                                                                                              JA001700
                                                                                              GE NV-00000425
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 361 of 1274 PageID #: 8667



     position of one or more selected ( or all) codons is substituted with mixed-base and/or
     deoxyinosine residues (Batzer et al., Nucleic Acid Res., 19:508] (1991); Ohtsuka et al., J.
     Biol. Chem., 260:2605-2608 (1985); Rossolini et al., A1ol. Cell. Probes, 8:91-98 (1994)).
     "Nucleotides" contain a sugar deoxyribose (DNA) or ribose (RNA), a base, and a phosphate
 5   group. Nucleotides are linked together through the phosphate groups. "Bases" include
     purines and pyrimidines, which further include natural compounds adenine, thymine,
     guanine, cytosine, uracil, inosine, and natural analogs, and synthetic derivatives of purines
     and pyrimidines, which include, but are not limited to, modifications which place new
     reactive groups such as, but not limited to, amines, alcohols, thiols, carboxylates, and
10   alkylhalides.
     [0070]    The term "gene" refers to a nucleic acid (e.g., DNA or RNA) sequence that
     comprises partial length or entire length coding sequences necessary for the production of a
     polypeptide or precursor polypeptide.
     [0071]    "Gene product," as used herein, refers to a product of a gene such as an RNA
15   transcript or a polypeptide.
     [0072]    The term "lipid" refers to a group of organic compounds that include, but are not
     limited to, esters of fatty acids and are characterized by being insoluble in water, but soluble
     in many organic solvents. They are usually divided into at least three classes: (l) "simple
     lipids," which include fats and oils as well as waxes; (2) "compound lipids," which include
20   phospholipids and glycolipids; and (3) "derived lipids" such as steroids.
     [0073]    A "lipid particle" is used herein to refer to a lipid formulation that can be used to
     deliver an active agent or therapeutic agent, such as a nucleic acid (e.g., an interfering RNA),
     to a target site of interest. In the lipid particle of the invention, which is typically formed
     from a cationic lipid, a non-cationic lipid, and a conjugated lipid that prevents aggregation of
25   the particle, the active agent or therapeutic agent may be encapsulated in the lipid, thereby
     protecting the agent from enzymatic degradation.
     [0074]    As used herein, the term "SNALP" refers to a stable nucleic acid-lipid particle. A
     SNALP represents a particle made from lipids (e.g., a cationic lipid, a non-cationic lipid, and
     a conjugated lipid that prevents aggregation of the particle), wherein the nucleic acid (e.g.,
30   siRNA, aiRNA, miRNA, ssDNA, dsDNA, ssRNA, short hairpin RNA (shRNA), dsRNA, or a
     plasmid, including plasmids from which an interfering RNA is transcribed) is fully
     encapsulated within the lipid. As used herein, the term "SNALP" includes an SPLP, which is
     the tenn used to refer to a nucleic acid-lipid particle comprising a nucleic acid (e.g., a
     plasmid) encapsulated within the lipid. SNALP and SPLP typically contain a cationic lipid, a


                                                      14


                                                                                              JA001701
                                                                                              GE NV-00000426
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 362 of 1274 PageID #: 8668



     non-cationic lipid, and a lipid conjugate (e.g., a PEG-lipid conjugate). SNALP and SPLP are
     extremely useful for systemic applications, as they can exhibit extended circulation lifetimes
     following intravenous (i.v.) injection, they can accumulate at distal sites (e.g., sites physically
     separated from the administration site), and they can mediate expression of the transfocted
 5   gene or silencing of target gene expression at these distal sites. SPLP include "pSPLP,"
     which comprise an encapsulated condensing agent-nucleic acid complex as set forth in PCT
     Publication No. WO 00/03683, the disclosure of which is herein incorporated by reference in
     its entirety for all purposes.
     [00751    The lipid particles of the invention (e.g., SNALP) typically have a mean diameter of
10   from about 40 nm to about 150 nm, from about 50 nm to about 150 nm, from about 60 nm to
     about 130 nm, from about 70 nm to about 110 nm, or from about 70 to about 90 nm, and are
     substantially non-toxic. In addition, nucleic acids, when present in the lipid particles of the
     invention, arc resistant in aqueous solution to degradation with a nuclease. Nucleic acid-lipid
     particles and their method of preparation are disclosed in, e.g., U.S. Patent Publication Nos.
15   20040142025 and 20070042031, the disclosures of which are herein incorporated by
     reference in their entirety for all purposes.
     [0076]    As used herein, "lipid encapsulated" can refer to a lipid particle that provides an
     active agent or therapeutic agent, such as a nucleic acid (e.g., an interfering RNA), with full
     encapsulation, partial encapsulation, or both. In a preferred embodiment, the nucleic acid is
20   fully encapsulated in the lipid particle (e.g., to form an SPLP, pSPLP, SNALP, or other
     nucleic acid-lipid particle).
     l0077 J The term "lipid conjugate" refers to a conjugated lipid that inhibits aggregation of
     lipid particles. Such lipid conjugates include, but are not limited to, polyamide oligomers
     (e.g., ATTA-lipid conjugates), PEG-lipid conjugates, such as PEG coupled to
25   dialkyloxypropyls, PEG coupled to diacylglycerols, PEG coupled to cholesterol, PEG
     coupled to phosphatidylethanolamines, PEG conjugated to ceramides (see, e.g., U.S. Patent
     No. 5,885,613, the disclosure of which is herein incorporated by reference in its entirety for
     all purposes), cationic PEG lipids, and mixtures thereof. PEG can be conjugated directly to
     the lipid or may be linked to the lipid via a linker moiety. Any linker moiety suitable for
30   coupling the PEG to a lipid can be used including, e.g., non-ester containing linker moieties
     and ester-containing linker moieties. ln preferred embodiments, non-ester containing linker
     moieties are used.
     [0078]    The tenn "amphipathic lipid" refers, in part, to any suitable material wherein the
     hydrophobic portion of the lipid material orients into a hydrophobic phase, while the


                                                     15


                                                                                             JA001702
                                                                                             GE NV-00000427
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 363 of 1274 PageID #: 8669



     hydrophilic portion orients toward the aqueous phase. Hydrophilic characteristics derive
     from the presence of polar or charged groups such as carbohydrates, phosphate, carboxylic,
     sulfato, amino, sulfhydryl, nitro, hydroxyl, and other like groups. Hydrophobicity can be
     conferred by the inclusion of apolar groups that include, but arc not limited to, long-chain
 5   saturated and unsaturated aliphatic hydrocarbon groups and such groups substituted by one or
     more aromatic, cycloaliphatic, or heterocyclic group(s). Examples of arnphipathic
     compounds include, but are not limited to, phospholipids, aminolipids, and sphingolipids.
     [0079]     Representative examples of phospholipids include, but are not limited to,
     phosphatidylcholine, phosphatidylethanolamine, phosphatidylscrine, phosphatidylinositol,
10   phosphatidic acid, palmitoyloleoyl phosphatidylcholinc, lysophosphatidylcholine,
     lysophosphatidylethanolamine, dipalmitoylphosphatidylcholine, dioleoylphosphatidylcholine,
     distearoylphosphatidylcholine, and dilinoleoylphosphatidylcholine. Other compounds
     lacking in phosphorus, such as sphingolipid, glycosphingolipid families, diacylglycerols, and
     13-acyloxyacids, are also within the group designated as amphipathic lipids. Additionally, the
15   amphipathic lipids described above can be mixed with other lipids including triglycerides and
     sterols.
     [0080]     The term "neutral lipid" refers to any of a number oflipid species that exist either in
     an uncharged or neutral zwitterionic form at a selected pH. At physiological pH, such lipids
     include, for example, diacylphosphatidylcholine, diacylphosphatidylethanolamine, ceramide,
20   sphingomyelin, cephalin, cholesterol, cerebrosides, and diacylglycerols.
     [0081]     The term "non-cationic lipid" refers to any amphipathic lipid as well as any other
     neutral lipid or anionic lipid.
     [0082]     The term "anionic lipid" refers to any lipid that is negatively charged at
     physiological pH. These lipids include, but are not limited to, phosphatidylglycerols,
25   cardiolipins, diacylphosphatidylserines, diacylphosphatidic acids, N-dodecanoyl
     phosphatidylethanolamines, N-succinyl phosphatidylethanolamines, N-
     glutarylphosphatidylethano larnines, lysylphosphatidylglycerols,
     palmitoyloleyolphosphatidylglycerol (POPG), and other anionic modifying groups joined to
     neutral lipids.
30   [0083]     The term "cationic lipid" refers to any of a number oflipid species that carry a net
     positive charge at a selected pH, such as physiological pH (e.g., pH of about 7.0). It has been
     surprisingly found that cationic lipids comprising alkyl chains with multiple sites of
     unsaturation, e.g., at least two or three sites ofunsaturation, are particularly useful for



                                                     16


                                                                                              JA001703
                                                                                             GE NV-00000428
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 364 of 1274 PageID #: 8670



     forming lipid particles with increased membrane fluidity. A number of cationic lipids and
     related analogs, which are also useful in the present invention, have been described in U.S.
     Patent Publication Nos. 20060083780 and 20060240554; U.S. Patent Nos. 5,208,036;
     5,264,618; 5,279,833; 5,283,185; 5,753,613; and 5,785,992; and PCT Publication No. WO
 5   96/10390, the disclosures of which are herein incorporated by reference in their entirety for
     all purposes. Non-limiting examples of cationic lipids are described in detail herein. In some
     cases, the cationic lipids comprise a protonatable tertiary amine (e.g., pH titratable) head
     group, Cl8 alkyl chains, ether linkages between the head group and alkyl chains, and Oto 3
     double bonds. Such lipids include, e.g., DSDMA, DLinDMA, DLenDMA, and DODMA.
10   [0084]   The term "hydrophobic lipid" refers to compounds having apolar groups that
     include, but are not limited to, long-chain saturated and unsaturated aliphatic hydrocarbon
     groups and such groups optionally substituted by one or more aromatic, cycloaliphatic, or
     hcterocyclic group(s ). Suitable examples include, but arc not limited to, diacylglycerol,
     dialkylglycerol, N-N-dialkylamino, 1,2-diacyloxy-3-aminopropane, and 1,2-dialkyl-3-
15   ammopropane.
     [0085]   The term "fusogenic" refers to the ability of a lipid particle, such as a SNALP, to
     fuse with the membranes of a cell. The membranes can be either the plasma membrane or
     membranes surrounding organelles, e.g., endosome, nucleus, etc.
     [0086]   As used herein, the term "aqueous solution" refers to a composition comprising in
20   whole, or in part, water.
     [0087]   As used herein, the term "organic lipid solution" refers to a composition comprising
     in whole, or in part, an organic solvent having a lipid.
     [0088]   "Distal site," as used herein, refers to a physically separated site, which is not
     limited to an adjacent capillary bed, but includes sites broadly distributed throughout an
25   orgamsm.
     [0089]   "Serum-stable" in relation to nucleic acid-lipid particles such as SNALP means that
     the particle is not significantly degraded after exposure to a serum or nuclease assay that
     would significantly degrade free DNA or RNA. Suitable assays include, for example, a
     standard serum assay, a DNAse assay, or an RN Ase assay.
30   [0090]   "Systemic delivery," as used herein, refers to delivery of lipid particles that leads to
     a broad biodistribution of an active agent or therapeutic agent such as an interfering RNA
     within an organism. Some techniques of administration can lead to the systemic delivery of
     ceriain agents, but not others. Systemic delivery means that a useful, preferably therapeutic,
     amount of an agent is exposed to most parts of the body. To obtain broad biodistribution


                                                     17


                                                                                             JA001704
                                                                                            GE NV-00000429
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 365 of 1274 PageID #: 8671



     generally requires a blood lifetime such that the agent is not rapidly degraded or cleared (such
     as by first pass organs (liver, lung, etc.) or by rapid, nonspecific cell binding) before reaching
     a disease site distal to the site of administration. Systemic delivery of lipid particles can be
     by any means known in the art including, for example, intravenous, subcutaneous, and
 5   intraperitoneal. In a preferred embodiment, systemic delivery oflipid particles is by
     intravenous delivery.
     [0091]    "Local delivery," as used herein, refers to delivery of an active agent or therapeutic
     agent such as an interfering RNA directly to a target site within an organism. For example,
     an agent can be locally delivered by direct injection into a disease site such as a tumor or
10   other target site such as a site of inflammation or a target organ such as the liver, heart,
     pancreas, kidney, and the like.
     [0092]    The term "mammal" refers to any mammalian species such as a human, mouse, rat,
     dog, cat, hamster, guinea pig, rabbit, livestock, and the like.
     [0093]    The term "cancer" refers to any member of a class of diseases characterized by the
15   uncontrolled growth of abenant cells. The tenn includes all known cancers and neoplastic
     conditions, whether characterized as malignant, benign, soft tissue, or solid, and cancers of all
     stages and grades including pre- and post-metastatic cancers. Examples of different types of
     cancer include, but are not limited to, lung cancer, colon cancer, rectal cancer, anal cancer,
     bile duct cancer, small intestine cancer, stomach (gastric) cancer, esophageal cancer;
20   gallbladder cancer, liver cancer, pancreatic cancer, appendix cancer, breast cancer, ovarian
     cancer; cervical cancer, prostate cancer, renal cancer (e.g., renal cell carcinoma), cancer of
     the central nervous system, glioblastoma, skin cancer, lymphomas, choriocarcinomas, head
     and neck cancers, osteogenic sarcomas, and blood cancers. Non-limiting examples of
     specific types of liver cancer include hepatocellular carcinoma (HCC), secondary liver cancer
25   ( e.g., caused by metastasis of some other non-liver cancer cell type), and hepatoblastoma. As
     used herein, a "tumor" comprises one or more cancerous cells.

     III.     Description of the Embodiments

     [0094]    The present invention provides novel, serum-stable lipid particles comprising one or
     more active agents or therapeutic agents, methods of making the lipid particles, and methods
30   of delivering and/or administering the lipid particles (e.g., for the treatment of a disease or
     disorder).
     [0095]    In one aspect, the present invention provides lipid particles comprising: (a) one or
     more active agents or therapeutic agents; (b) one or more cationic lipids comprising from


                                                     18


                                                                                              JA001705
                                                                                             GE NV-00000430
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 366 of 1274 PageID #: 8672



     about 50 mol % to about 85 mol % of the total lipid present in the particle; (c) one or more
     non-cationic lipids comprising from about 13 mol % to about 49.5 mol % of the total lipid
     present in the particle; and ( d) one or more conjugated lipids that inhibit aggregation of
     particles comprising from about 0.5 mol % to about 2 mol % of the total lipid present in the
 5   particle.
     [0096]      In certain embodiments, the active agent or therapeutic agent is fully encapsulated
     within the lipid portion of the lipid particle such that the active agent or therapeutic agent in
     the lipid particle is resistant in aqueous solution to enzymatic degradation, e.g., by a nuclease
     or protease. In certain other embodiments, the lipid particles are substantially non-toxic to
10   mammals such as humans.
     [0097]      In some embodiments, the active agent or therapeutic agent comprises a nucleic
     acid. In certain instances, the nucleic acid comprises an interfering RNA molecule such as,
     e.g., an siRNA, aiRNA, miRNA, or mixtures thereof. In certain other instances, the nucleic
     acid comp1;ses single-stranded or double-stranded DNA, RNA, or a DNA/RNA hybrid such
15   as, e.g., an antisense oligonucleotide, a ribozyme, a plasmid, an imnrnnostimulatory
     oligonucleotide, or mixtures thereof.
     [0098]      In other embodiments, the active agent or therapeutic agent comprises a peptide or
     polypeptide. In certain instances, the peptide or polypeptide comprises an antibody such as,
     e.g., a polyclonal antibody, a monoclonal antibody, an antibody fragment; a humanized
20   antibody, a recombinant antibody, a recombinant human antibody, a Primatized™ antibody,
     or mixtures thereof. In certain other instances, the peptide or polypeptide comprises a
     cytokine, a grovvih factor, an apoptotic factor, a differentiation-inducing factor, a cell-surface
     receptor, a ligand, a hormone, a small molecule (e.g., small organic molecule or compound),
     or mixtures thereof.
25   [0099]      In preferred embodiments, the active agent or therapeutic agent comprises an
     siRNA. [none embodiment, the siRNA molecule comprises a double-stranded region of
     about 15 to about 60 nucleotides in length (e.g., about 15-60, 15-50, 15-40, 15-30, 15-25, or
     19-25 nucleotides in length, or 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, or 25 nucleotides in
     length). The siRNA molecules of the invention are capable of silencing the expression of a
30   target sequence in vitro and/or in vivo.
     [0100]      In some embodiments, the siRNA molecule comprises at least one modified
     nucleotide. In certain preferred embodiments, the siRNA molecule comprises one, two,
     three, four, five, six, seven, eight, nine, ten, or more modified nucleotides in the double-
     stranded region. In certain instances, the siRNA comprises from about 1% to about 100%


                                                     19


                                                                                             JA001706
                                                                                             GE NV-00000431
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 367 of 1274 PageID #: 8673



     (e.g., about 1%, 5%, 10%, 15%, 20%, 25%, 30%, 35%, 40%, 45%, 50%, 55%, 60%, 65%,
     70%, 75%, 80%, 85%, 90%, 95%, or 100%) modified nucleotides in the double-stranded
     region. In preferred embodiments, less than about 25% (e.g .. less than about 25%, 20%,
     15%, 10%, or 5%) or from about 1% to about 25% (e.g., from about I %-25%, 5%-25%,
 5   10%-25%, 15%-25%, 20%-25%, or 10%-20%) of the nucleotides in the double-stranded
     region comprise modified nucleotides.
     [0101]    In other embodiments, the siRNA molecule comprises modified nucleotides
     including, but not Limited to, 2'-O-methyl (2'OMe) nucleotides, 2'-deoxy-2'-fluoro (2'F)
     nucleotides, 2'-deoxy nucleotides, 2'-O-(2-methoxyethyl) (MOE) nucleotides, locked nucleic
10   acid (LNA) nucleotides, and mixtures thereof. In preferred embodiments, the siRNA
     comprises 2'OMe nucleotides (e.g., 2'OMe purine and/or pyrimidine nucleotides) such as,
     for example, 2'OMe-guanosine nucleotides, 2'OMe-uridine nucleotides, 2'OMe-adenosine
     nucleotides, 2'OMe-cytosine nucleotides, and mixtures thereof. In certain instances, the
     siRNA does not comprise 2'OMe-cytosine nucleotides. In other embodiments, the siRNA
15   comprises a hairpin loop structure.
     [0102]   The siRNA may comprise modified nucleotides in one strand (i.e., sense or
     antisense) or both strands of the double-stranded region of the siRNA molecule. Preferably,
     uridine and/or guanosine nucleotides are modified at selective positions in the double-
     stranded region of the siRNA duplex. With regard to uridine nucleotide modifications, at
20   least one, two, three, four, five, six, or more of the uridine nucleotides in the sense and/or
     antisense strand can be a modified uridine nucleotide such as a 2'OMe-uridine nucleotide. In
     some embodiments, every uridine nucleotide in the sense and/or antisense strand is a 2'OMe-
     uridine nucleotide. With regard to guanosine nucleotide modifications, at least one, two,
     three, four, five, six, or more of the guanosine nucleotides in the sense and/or antisense strand
25   can be a modified guanosine nucleotide such as a 2'OMe-guanosine nucleotide. In some
     embodiments, every guanosine nucleotide in the sense and/or antisense strand is a 2'OMe-
     guanosine nucleotide.
     [0103]    In certain embodiments, at least one, two, three, four, five, six, seven, or more 5 ' -
     GU-3' motifs in an siRNA sequence may be modified, e.g., by introducing mismatches to
30   eliminate the 5 '-GU-3' motifs and/or by introducing modified nucleotides such as 2 'OMe
     nucleotides. The 5 '-GU-3' motif can be in the sense strand, the antisense strand, or both
     strands of the siRNA sequence. The 5 '-GU-3' motifs may be adjacent to each other or,
     alternatively, they may be separated by 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, or more nucleotides.



                                                     20


                                                                                              JA001707
                                                                                              GE NV-00000432
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 368 of 1274 PageID #: 8674



     [0104]     [n some preferred embodiments, a modified siRNA molecule is less
     immunostimulatory than a corresponding unmodified siRNA sequence. In such
     embodiments, the modified siRNA molecule with reduced immunostimulatory properties
     advantageously retains RNAi activity against the target sequence. In another embodiment,
 5   the immunostimulatory properties of the modified siRNA molecule and its ability to silence
     target gene expression can be balanced or optimized by the introduction of minimal and
     selective 2'OMe modifications within the siRNA sequence such as, e.g., within the double-
     stranded region of the siRNA duplex. [n certain instances, the modified siRNA is at least
     about 5%, 10%, 15%, 20%, 25%, 30%, 35%, 40%, 45%, 50%, 55%, 60%, 65%, 70%, 75%,
10   80%, 85%, 90%, 91 %, 92%, 93%, 94%, 95%, 96%, 97%, 98%, 99%, or 100% less
     immunostimulatory than the corresponding unmodified siRNA. It will be readily apparent to
     those of skill in the art that the immunostimulatory properties of the modified siRNA
     molecule and the corresponding unmodified siRNA molecule can be determined by, for
     example, measuring INF-a and/or IL-6 levels from about two to about twelve hours after
15   systemic administration in a mammal or transfcction of a mammalian responder cell using an
     appropriate lipid-based delivery system (such as the SNALP delivery system disclosed
     herein).
     [0105]     In certain embodiments, a modified siRNA molecule has an IC 50 (i.e., half-maximal
     inhibitory concentration) less than or equal to ten-fold that of the corresponding unmodified
20   siRNA (i.e., the modified siRNA has an IC 50 that is less than or equal to ten-times the IC 50 of
     the corresponding unmodified siRNA). In other embodiments, the modified siRNA has an
     lCso less than or equal to three-fold that of the corresponding unmodified siRNA sequence.
     In yet other embodiments, the modified siRNA has an ICso less than or equal to two-fold that
     of the corresponding unmodified siRNA. It will be readily apparent to those of skill in the art
25   that a dose-response curve can be generated and the IC 50 values for the modified siRNA and
     the corresponding unmodified siRNA can be readily determined using methods known to
     those of skill in the art.
     [0106]     In yet another embodiment, a modified siRNA molecule is capable of silencing at
     least about 5%, 10%, 15%, 20%, 25%, 30%, 35%, 40%, 45%, 50%, 55%, 60%, 65%, 70%,
30   75%, 80%, 85%, 90%, 95%, or l 00% of the expression of the target sequence relative to the
     corresponding unmodified siRNA sequence.
     [0107]     In some embodiments, the siRNA molecule does not comprise phosphate backbone
     modifications, e.g., in the sense and/or anti sense strand of the double-stranded region. In
     other embodiments, the siRNA comprises one, two, three, four, or more phosphate backbone


                                                    21


                                                                                            JA001708
                                                                                           GE NV-00000433
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 369 of 1274 PageID #: 8675



     modifications, e.g., in the sense and/or antisense strand of the double-stranded region. In
     preferred embodiments, the siRNA does not comprise phosphate backbone modifications.
     [0108]    In further embodiments, the siRNA does not comprise 2' -deoxy nucleotides, e.g., in
     the sense and/or antisense strand of the double-stranded region. In yet further embodiments,
 5   the siRNA comprises one, two, three, four, or more 2'-deoxy nucleotides, e.g., in the sense
     and/or antisense strand of the double-stranded region. In preferred embodiments, the siRNA
     does not comprise 2' -deoxy nucleotides.
     [0109]    In certain instances, the nucleotide at the 3'-end of the double-stranded region in the
     sense and/or antisense strand is not a modified nucleotide. In certain other instances, the
10   nucleotides near the 3 '-end ( e.g., within one, two, three, or four nucleotides of the 3 '-end) of
     the double-stranded region in the sense and/or antisense strand are not modified nucleotides.
     [OHO]     The siRNA molecules described herein may have 3' overhangs of one, two, three,
     four, or more nucleotides on one or both sides of the double-stranded region, or may lack
     overhangs (i.e., have blunt ends) on one or both sides of the double-stranded region.
15   Preferably, the siRNA has 3' overhangs of two nucleotides on each side of the double-
     stranded region. In certain instances, the 3' overhang on the antisense strand has
     complementarity to the target sequence and the 3' overhang on the sense strand has
     complementarity to a complementary strand of the target sequence. Alternatively, the 3'
     overhangs do not have complementarity to the target sequence or the complementary strand
20   thereof. In some embodiments, the 3' overhangs comprise one, two, three, four, or more
     nucleotides such as 2'-deoxy (2'H) nucleotides. In certain preferred embodiments, the 3'
     overhangs comprise deoxythymidine (dT) and/or uridine nucleotides. ln other embodiments,
     one or more of the nucleotides in the 3' overhangs on one or both sides of the double-
     stranded region comprise modified nucleotides. Non-limiting examples of modified
25   nucleotides are described above and include 2'OMe nucleotides, 2'-deoxy-2'F nucleotides,
     2 '-deoxy nucleotides, 2 '-O-2-MOE nucleotides, LNA nucleotides, and mixtures thereof. In
     preferred embodiments, one, two, three, four, or more nucleotides in the 3' overhangs present
     on the sense and/or antisense strand of the siRNA comprise 2'OMe nucleotides (e.g., 2'OMe
     purine and/or pyrimidine nucleotides) such as, for example, 2'OMe-guanosine nucleotides,
30   2'OMe-uridine nucleotides, 2'OMe-adenosinc nucleotides, 2'OMc-cytosine nucleotides, and
     mixtures thereof.
     [OH 1]    The siRNA may comprise at least one or a cocktail (e.g., at least two, three, four,
     five, six, seven, eight, nine, ten, or more) of unmodified and/or modified siRNA sequences
     that silence target gene expression. The cocktail of siRNA may comprise sequences which


                                                     22


                                                                                              JA001709
                                                                                              GE NV-00000434
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 370 of 1274 PageID #: 8676



     are directed to the same region or domain (e.g., a "hot spot") and/or to different regions or
     domains of one or more target genes. In certain instances, one or more (e.g., at least two,
     three, four, five, six, seven, eight, nine, ten, or more) modified siRNA that silence target gene
     expression arc present in a cocktail. In certain other instances, one or more (e.g., at least two,
 5   three, four, five, six, seven, eight, nine, ten, or more) unmodified siRNA sequences that
     silence target gene expression are present in a cocktail.
     [0112]   [n some embodiments, the antisense strand of the siRNA molecule comprises or
     consists of a sequence that is at least about 80%, 85%, 90%, 95%, 96%, 97%, 98%, or 99%
     complementary to the target sequence or a portion thereof. In other embodiments, the
10   antisense strand of the siRNA molecule comprises or consists of a sequence that is 100%
     complementary to the target sequence or a portion thereof. In further embodiments, the
     antisense strand of the siRNA molecule comprises or consists of a sequence that specifically
     hybridizes to the target sequence or a portion thereof.
     [0113]   In fmiher embodiments, the sense strand of the siRNA molecule comprises or
15   consists of a sequence that is at least about 80%, 85%, 90%, 95%, 96%, 97%, 98%, or 99%
     identical to the target sequence or a portion thereof. In additional embodiments, the sense
     strand of the siRNA molecule comprises or consists of a sequence that is 100% identical to
     the target sequence or a portion thereof.
     [0114]   In the lipid particles of the invention (e.g., SNALP comprising an interfering RNA
20   such as siRNA), the cationic lipid may comprise, e.g., one or more of the following: 1,2-
     dilinoleyloxy-N,N-dimethylaminopropane (DLinDMA), 1,2-dilinolenyloxy-N,N-
     dimethylaminopropane (D LenDMA), 2,2-di linoleyl-4-(2-dimethylaminoethyl)-[ l ,3 ]-
     dioxol ane (DLin-K-C2-DMA; "XTC2"), 2,2-dilinoleyl-4-(3-dimethylaminopropyl)-[1,3]-
     dioxolane (DLin-K-C3-DMA), 2,2-dilinoleyl-4-(4-dimethylaminobutyl)-[ 1,3 ]-dioxolane
25   (DLin-K-C4-DMA), 2,2-dilinoleyl-5-dimethylaminomethyl-[l,3]-dioxane (DLin-K6-DMA),
     2,2-dilinoleyl-4-N-methylpepiazino-[l,3]-dioxolane (DLin-K-MPZ), 2,2-dilinoleyl-4-
     dimethylaminomethyl-[1,3]-dioxolane (DLin-K-DMA), 1,2-dilinoleylcarbamoyloxy-3-
     dimethylaminopropane (DLin-C-DAP), l,2-dilinoleyoxy-3-(dimethylamino)acetoxypropane
     (DLin-DAC), l,2-dilinoleyoxy-3-morpholinopropane (DLin-MA), 1,2-dilinoleoyl-3-
30   dimcthylaminopropanc (DLinDAP), l ,2-dilinolcylthio-3-dimcthylaminopropanc (DLin-S-
     DMA), l-linoleoyl-2-linoleyloxy-3-dimethylaminopropane (DLin-2-DMAP), 1,2-
     dilinoleyloxy-3-trimethylaminopropane chloride salt (DLin-TMA.Cl), 1,2-dilinoleoyl-3-
     trimethylaminopropane chloride salt (DLin-TAP.Cl), 1,2-dilinoleyloxy-3-(N-
     methylpiperazino)propane (DLin-MPZ), 3-(N,N-dilinolcylamino)-1,2-propanediol (DLinAP),


                                                    23


                                                                                             JA001710
                                                                                            GE NV-00000435
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 371 of 1274 PageID #: 8677



     3-(N,N-dioleylamino)-1,2-propanedio (DOAP), 1,2-dilinoleyloxo-3-(2-N,N-
     dimethylamino)ethoxypropane (DLin-EG-DMA), N,N-dioleyl-N,N-dimethylammonium
     chloride (DODAC), 1,2-dioleyloxy-N,N-dimethylaminopropane (DODMA), 1,2-
     distearyloxy-N,N-dimcthylaminopropanc (DSDMA), N-(1-(2,3-diolcyloxy)propyl)-N,N,N-
 5   trimethylamrnonium chloride (DOTMA), N,N-distearyl-N,N-dimethylammonium bromide
     (DDAB), N-(1-(2,3-dioleoyloxy)propyl)-N,N,N-trimethylammonium chloride (DOTAP), 3 -
     (N-(N' ,N'-dimethylaminoethane)-carbamoyl)cholesterol (DC-Chol), N-(l ,2-
     dimyristyloxyprop-3-yl)-N,N-dimethyl-N-hydroxyethyl ammonium bromide (DMRIE), 2,3-
     dioleyloxy-N-[2(spermine-carboxamido)ethyl]-N,N-dimethyl-1-
10   propanaminiumtrifluoroacetate (DOSP A), dioctadecylamidoglycyl sperminc (DOGS), 3-
     dimethylamino-2-( cholest-5-en-3-beta-oxybutan-4-oxy)-l-(cis,cis-9, 12-
     octadecadienoxy)propane (CLinDMA), 2-[5 ' -(cholest-5-en-3-beta-oxy)-3 '-oxapentoxy)-3-
     dimcthy-l-( cis, cis-9', 1-2' -octadccadicnoxy)propanc (CpLinD MA), N ,N-dimcthyl-3 ,4-
     di ol ey loxy bcnzylamine (DMOBA), 1,2-N,N'-dioleylcarbamyl-3-dimethylaminopropane
15   (DOcarbDAP), 1,2-N,N '-dilinoleylcarbamyl-3-dimethylaminopropane (DLincarbDAP), or
     mixtures thereof. In certain preferred embodiments, the cationic lipid is DLinDMA, DLin-K-
     C2-DMA ("XTC2"), or mixtures thereof.
     [0115]    The synthesis of cationic lipids such as DLin-K-C2-DMA ("XTC2"), DLin-K-C3-
     DMA, DLin-K-C4-DMA, DLin-K6-DMA, and DLin-K-MPZ, as well as additional cationic
20   lipids, is described in U.S. Provisional Application No. 61/104,212, filed October 9, 2008, the
     disclosure of which is herein incorporated by reference in its entirety for all purposes. The
     synthesis of cationic lipids such as DLin-K-DMA, DLin-C-DAP, DLin-DAC, DLin-MA,
     DLinDAP, DLin-S-DMA, DLin-2-DMAP, DLin-TMA.Cl, DLin-TAP.Cl, DLin-MPZ,
     DLinAP, DOAP, and DLin-EG-DMA, as well as additional cationic lipids, is described in
25   PCT Application No. PCT/US08/88676, filed December 31, 2008, the disclosure of which is
     herein incorporated by reference in its entirety for all purposes. The synthesis of cationic
     lipids such as CLinDMA, as well as additional cationic lipids, is described in U.S. Patent
     Publication No. 20060240554, the disclosure of which is herein incorporated by reference in
     its entirety for all purposes.
30   [0116]    In some embodiments, the cationic lipid may comprise from about 50 mol % to
     about 90 mol %, from about 50 mol % to about 85 mol %, from about 50 mol % to about 80
     mo]%, from about 50 mol % to about 75 mo]%, from about 50 mol % to about 70 mo]%,
     from about 50 mol % to about 65 rnol %, or from about 50 mol % to about 60 mol % of the
     total lipid present in the particle.


                                                    24


                                                                                           JA001711
                                                                                           GE NV-00000436
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 372 of 1274 PageID #: 8678



     [0117]      [n other embodiments, the cationic lipid may comprise from about 55 mol % to
     about 90 mol %, from about 55 mol % to about 85 mol %, from about 55 mol % to about 80
     mol %, from about 55 mol % to about 75 mol %, from about 55 mol % to about 70 mol %, or
     from about 55 mol % to about 65 mol % of the total lipid present in the particle.
 5   [0118]      [n yet other embodiments, the cationic lipid may comprise from about 60 mo] % to
     about 90 mol %, from about 60 mo]% to about 85 mol %, from about 60 mol % to about 80
     mol %, from about 60 mol % to about 75 mol %, or from about 60 mol % to about 70 mol %
     of the total lipid present in the particle.
     [0119]      In still yet other embodiments, the cationic lipid may comprise from about 65 mol
10   % to about 90 mol %, from about 65 mol % to about 85 mol %, from about 65 mol % to
     about 80 mol %, or from about 65 mol % to about 75 mol % of the total lipid present in the
     particle.
     [0120]      In further embodiments, the cationic lipid may comprise from about 70 mol % to
     about 90 mol %, from about 70 mol % to about 85 mol %, from about 70 mol % to about 80
15   mol %, from about 75 mol % to about 90 mol %, from about 75 mol % to about 85 mol %, or
     from about 80 mol % to about 90 mol % of the total lipid present in the particle.
     [0121]      In additional embodiments, the cationic lipid may comprise (at least) about 50, 51,
     52,53,54,55,56,57,58, 59,60,61,62,63,64,65,66,67,68,69, 70, 71, 72, 73, 74, 75, 76,
     77, 78, 79, 80, 81, 82, 83, 84, 85, 86, 87, 88, 89, or 90 mol % (or any fraction thereof or range
20   therein) of the total lipid present in the particle.
     [0122]      In the lipid particles of the invention (e.g., SNALP comprising an interfering RNA
     such as siRNA), the non-cationic lipid may comprise, e.g., one or more anionic lipids and/or
     neutral lipids. In preferred embodiments, the non-cationic lipid comprises one of the
     following neutral lipid components: (1) cholesterol or a derivative thereof; (2) a
25   phospholipid; or (3) a mixture of a phospholipid and cholesterol or a derivative thereof.
     [0123]      Examples of cholesterol derivatives include, but are not limited to, cholestanol,
     cholestanone, cholestenone, coprostanol, cho lesteryl-2' -hydroxyethyl ether, cholesteryl-4 ' -
     hydroxybutyl ether, and mixtures thereof. The synthesis of cholesteryl-2' -hydroxyethyl ether
     is described herein.
30   [0124]      The phospholipid may be a neutral lipid including, but not limited to,
     dipalmitoylphosphatidylcholine (DPPC), distearoylphosphatidylcholine (DSPC),
     dioleoylphosphatidylethanolamine (DOPE), palmitoyloleoyl-phosphatidylcholine (POPC),
     palmitoylo leoyl-phosph atidylethanolamin e (PO PE), palm itoylo leyol-p hos phatidyl gl ycero I
     (POPG), dipalmitoyl-phosphatidylethanolamine (DPPE), dimyristoyl-


                                                       25


                                                                                              JA001712
                                                                                             GENV-00000437
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 373 of 1274 PageID #: 8679



     phosphatidylethanolamine (DMPE), distearoyl-phosphatidylethanolamine (DSPE),
     monomethyl-phosphatidylethanolamine, dimethyl-phosphatidylethanolamine, dielaidoyl-
     phosphatidylethanolamine (DEPE), stearoyloleoyl-phosphatidylethanolamine (SOPE), egg
     phosphatidylcholine (EPC), and mixtures thereof. In certain preferred embodiments, the
 5   phospholipid is DPPC, DSPC, or mixtures thereof.
     [0125]    In some embodiments, the non-cationic lipid (e.g., one or more phospholipids
     and/or cholesterol) may comprise from about 10 mol % to about 60 mol %, from about 15
     mol % to about 60 mol %, from about 20 mol % to about 60 mol %, from about 25 mol % to
     about 60 mol %, from about 30 mol % to about 60 mol %, from about l O mol % to about 55
10   mol %, from about 15 mol % to about 55 mol %, from about 20 mol % to about 55 mol %,
     from about 25 mol % to about 55 mol %, from about 30 mol % to about 55 mol %, from
     about 13 mol % to about 50 mol %, from about 15 mol % to about 50 mol % or from about
     20 mol % to about 50 mol % of the total lipid present in the particle. When the non-cationic
     lipid is a mixture of a phospholipid and cholesterol or a cholesterol derivative, the mixture
15   may comprise up to about 40, 50, or 60 mol % of the total lipid present in the paiiicle.
     [0126]   In other embodiments, the non-cationic lipid (e.g., one or more phospholipids and/or
     cholesterol) may comprise from about 10 mol % to about 49.5 mol %, from about 13 mol %
     to about 49.5 mol %, from about 15 mol % to about 49.5 mol %, from about 20 mol % to
     about 49.5 mol %, from about 25 mol % to about 49.5 mol %, from about 30 mol % to about
20   49.5 mol %, from about 35 mol % to about 49.5 mol %, or from about 40 mol % to about
     49.5 mol % of the total lipid present in the particle.
     l0127J   In yet other embodiments, the non-cationic lipid (e.g., one or more phospholipids
     and/or cholesterol) may comprise from about l O mol % to about 45 mol %, from about 13
     mol % to about 45 mol %, from about 15 mol % to about 45 mol %, from about 20 mol % to
25   about 45 mol %, from about 25 mol % to about 45 mol %, from about 30 mol % to about 45
     mol %, or from about 35 mol % to about 45 mol % of the total lipid present in the particle.
     [0128]    In still yet other embodiments, the non-cationic lipid (e.g., one or more
     phospholipids and/or cholesterol) may comprise from about 10 mol % to about 40 mol %,
     from about 13 mol % to about 40 mol %, from about 15 mol % to about 40 mol %, from
30   about 20 mol % to about 40 mol %, from about 25 mol % to about 40 mol %, or from about
     30 mol %> to about 40 mol % of the total lipid present in the particle.
     [0129]    [n further embodiments, the non-cationic lipid (e.g., one or more phospholipids
     and/or cholesterol) may comprise from about l O mol % to about 35 rnol %, from about 13
     mol % to about 35 mol %, from about 15 mol % to about 35 mol %, from about 20 mol % to


                                                     26


                                                                                           JA001713
                                                                                           GE NV-00000438
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 374 of 1274 PageID #: 8680



     about 35 mol %, or from about 25 mol % to about 35 mo!% of the total lipid present in the
     particle.
     [0130]      [n yet further embodiments, the non-cationic lipid (e.g., one or more phospholipids
     and/or cholesterol) may comprise from about 10 mol % to about 30 mol %, from about 13
 5   mo] % to about 30 mo] %, from about 15 mol % to about 30 mol %, from about 20 mo] % to
     about 30 mol %, from about 10 mo]% to about 25 mol %, from about 13 mol % to about 25
     mol %, or from about 15 mol % to about 25 mol % of the total lipid present in the particle.
     [0131]      In additional embodiments, the non-cationic lipid (e.g., one or more phospholipids
     and/or cholesterol) may comprise (at least) about 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21,
10   22,23,24,25,26,27,28,29,30,31,32,33,34,35,36,37,38,39,40,41,42,43,44,45,46,
     47, 48, 49, 50, 51, 52, 53, 54, 55, 56, 57, 58, 59, or 60 mol % (or any fraction thereof or range
     therein) of the total lipid present in the particle.
     [0132]      In certain preferred embodiments, the non-cationic lipid comprises cholesterol or a
     derivative thereof of from about 31.5 mo] % to about 42.5 mol % of the total lipid present in
15   the particle. As a non-limiting example, a phospholipid-free lipid particle of the invention
     may comprise cholesterol or a derivative thereof at about 37 mol % of the total lipid present
     in the particle. In other preferred embodiments, a phospholipid-free lipid particle of the
     invention may comprise cholesterol or a derivative thereof of from about 30 mol % to about
     45 mol %, from about 30 mol % to about 40 mol %, from about 30 mol % to about 35 mol %,
20   from about 35 mol % to about 45 mol %, from about 40 mol % to about 45 mol %, from
     about 32 mol % to about 45 mol %, from about 32 mol % to about 42 mol %, from about 32
     mol % to about 40 mol %, from about 34 mol % to about 45 mol %1, from about 34 mol %> to
     about 42 mo! %, from about 34 mol % to about 40 mol %, or about 30, 31, 32, 33, 34, 35, 36,
     37, 38, 39, 40, 41, 42, 43, 44, or 45 mol % (or any fraction thereof or range therein) of the
25   total lipid present in the particle.
     [0133]      [n certain other preferred embodiments, the non-cationic lipid comprises a mixture
     of: (i) a phospholipid of from about 4 mol % to about 10 mol % of the total lipid present in
     the particle; and (ii) cholesterol or a derivative thereof of from about 30 mol % to about 40
     mol % of the total lipid present in the particle. As a non-limiting example, a lipid particle
30   comprising a mixture of a phospholipid and cholesterol may comprise DPPC at about 7 mol
     % and cholesterol at about 34 mol %> of the total lipid present in the particle. In other
     embodiments, the non-cationic lipid comprises a mixture of: (i) a phospholipid of from about
     3 mol % to about 15 mol %, from about 4 mol % to about 15 mol %, from about 4 mol % to
     about 12 mol %, from about 4 mol % to about 10 mol %, from about 4 mol % to about 8 mol


                                                       27


                                                                                            JA001714
                                                                                            GENV-00000439
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 375 of 1274 PageID #: 8681



     %, from about 5 mol % to about 12 mo!%, from about 5 mol % to about 9 mol %, from
     about 6 mo!% to about 12 mol %, from about 6 mol % to about 10 mo!%, or about 3, 4, 5, 6,
     7, 8, 9, 10, 11, 12, 13, 14, or 15 mo! % ( or any fraction thereof or range therein) of the total
     lipid present in the particle; and (ii) cholesterol or a derivative thereof of from about 25 mol
 5   % to about 45 mol %, from about 30 mol % to about 45 mo] %, from about 25 mol % to
     about 40 mol %, from about 30 mo]% to about 40 mol %, from about 25 mo]% to about 35
     mo! %, from about 30 mol % to about 35 mo! %, from about 35 mol % to about 45 mo! %,
     from about 40 mo! % to about 45 mol %, from about 28 mo! % to about 40 mol %, from
     about 28 mol % to about 38 mol %, from about 30 mol % to about 38 mol %, from about 32
10   mol % to about 36 mol %, or about 25, 26, 27, 28, 29, 30, 31, 32, 33, 34, 35, 36, 37, 38, 39,
     40, 41, 42, 43, 44, or 45 mol % (or any fraction thereof or range therein) of the total lipid
     present in the particle.
     [0134]    In further preferred embodiments, the non-cationic lipid comprises a mixture of: (i)
     a phospholipid of from about 10 mol % to about 30 mo]% of the total lipid present in the
15   particle; and (ii) cholesterol or a derivative thereof of from about 10 mol % to about 30 mol
     % of the total lipid present in the particle. As a non-limiting example, a lipid particle
     comprising a mixture of a phospholipid and cholesterol may comprise DPPC at about 20 mol
     % and cholesterol at about 20 mol % of the total lipid present in the particle. In other
     embodiments, the non-cationic lipid comprises a mixture of: (i) a phospholipid of from about
20   10 mol % to about 30 mol %, from about 10 mol % to about 25 mol %, from about 10 mol %
     to about 20 mol %, from about 15 mol % to about 30 mol %, from about 20 mol % to about
     30 mol %, from about 15 mol %> to about 25 mol %, from about 12 mol % to about 28 mol %,
     from about 14 mo]% to about 26 mol %, or about 10, 11, 12, 13, 14, 15, ] 6, 17, 18, 19, 20,
     21, 22, 23, 24, 25, 26, 27, 28, 29, or 30 mol % (or any fraction thereof or range therein) of the
25   total lipid present in the particle; and (ii) cholesterol or a derivative thereof of from about 10
     mo! % to about 30 mol %, from about 10 mol % to about 25 mol %, from about 10 mo! % to
     about 20 mol %, from about 15 mol % to about 30 mol %, from about 20 mo!% to about 30
     mo! %, from about 15 mol % to about 25 mol %, from about 12 mol % to about 28 mo! %,
     from about 14 mo!% to about 26 mol %, or about 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20,
30   21, 22, 23, 24, 25, 26, 27, 28, 29, or 30 mol % (or any fraction thereof or range therein) of the
     total lipid present in the particle.
     [0135]    [n the lipid particles of the invention (e.g., SN ALP comprising an interfering RNA
     such as siRNA), the conjugated lipid that inhibits aggregation of particles may comprise, e.g.,
     one or more of the following: a polycthy leneglycol (PEG)-lipid conjugate, a polyamide


                                                     28


                                                                                              JA001715
                                                                                             GE NV-00000440
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 376 of 1274 PageID #: 8682



     (ATTA)-Lipid conjugate, a cationic-polymer-lipid conjugates (CPLs), or mixtures thereof. In
     one preferred embodiment, the nucleic acid-Lipid particles comprise either a PEG-lipid
     conjugate or an ATTA-lipid conjugate. In certain embodiments, the PEG-lipid conjugate or
     ATTA-lipid conjugate is used together with a CPL. The conjugated lipid that inhibits
 5   aggregation of particles may comprise a PEG-lipid including, e.g., a PEG-diacylglycerol
     (DAG), a PEG dialkyloxypropyl (DAA), a PEG-phospholipid, a PEG-ceramide (Cer), or
     mixtures thereof. The PEG-DAA conjugate may be PEG-dilauryloxypropyl (Cl 2), a PEG-
     dimyristyloxypropyl (C14), a PEG-dipalmityloxypropyl (Cl6), a PEG-distearyloxypropyl
     (Cl8), or mixtures thereof.
10   [0136]   Additional PEG-lipid conjugates suitable for use in the invention include, but are
     not limited to, mPEG2000-l ,2-di-O-alkyl-sn3-carbomoylglyceride (PEG-C-DOMG). The
     synthesis of PEG-C-DOMG is described in PCT Application No. PCT/US0S/88676, filed
     December 31, 2008, the disclosure of which is herein incorporated by reference in its entirety
     for all purposes. Y ct additional PEG-lipid conjugates suitable for use in the invention
15   include, without limitation, 1-[8'-( 1,2-dimyristoyl-3-propanoxy)-carboxamido-3 ',6'-
     dioxaoctanyl]carbamoyl-m-methyl-poly( ethylene glycol) (2KPEG-DMG). The synthesis of
     2KPEG-DMG is described in U.S. Patent No. 7,404,969, the disclosure of which is herein
     incorporated by reference in its entirety for all purposes.
     [0137]   The PEG moiety of the PEG-lipid conjugates described herein may comprise an
20   average molecular weight ranging from about 550 daltons to about 10,000 daltons. In certain
     instances, the PEG moiety has an average molecular weight of from about 750 daltons to
     about 5,000 daltons (e.g., from about 1,000 daltons to about 5,000 daltons, from about 1,500
     daltons to about 3,000 daltons, from about 750 daltons to about 3,000 daltons, from about
     750 daltons to about 2,000 daltons, etc.). In preferred embodiments, the PEG moiety has an
25   average molecular weight of about 2,000 daltons or about 750 daltons.
     [0138]   In some embodiments, the conjugated Lipid that inhibits aggregation of particles is a
     CPL that has the formula: A-W-Y, wherein A is a lipid moiety, Wis a hydrophilic polymer,
     and Y is a polycationic moiety. W may be a polymer selected from the group consisting of
     polyethyleneglycol (PEG), polyamide, polylactic acid, polyglycolic acid, polylactic
30   acid/polyglycolic acid copolymers, or combinations thereof, the polymer having a molecular
     weight of from about 250 to about 7000 daltons. In some embodiments, Y has at least 4
     positive charges at a selected pH. In some embodiments, Y may be lysine, arginine,
     asparagine, glutamine, derivatives thereof, or combinations thereof.




                                                     29


                                                                                           JA001716
                                                                                           GENV-00000441
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 377 of 1274 PageID #: 8683



     [0139]    In certain instances, the conjugated lipid that inhibits aggregation of particles (e.g.,
     PEG-lipid conjugate) may comprise from about 0.1 mol % to about 2 mol %, from about 0.5
     mol % to about 2 mol %, from about 1 mol % to about 2 mol %, from about 0.6 mol % to
     about 1.9 mol %, from about 0.7 mol % to about 1.8 mol %, from about 0.8 mol % to about
 5   1. 7 mol %, from about 1 mo] % to about 1.8 mol %, from about 1.2 mol % to about 1.8 mo]
     %, from about 1.2 mol % to about 1.7 mol %, from about 1.3 mo]% to about 1.6 mol %,
     from about 1.4 mol % to about 1.5 mol %, or about 1, 1.1, 1.2, 1.3, 1.4, 1.5, 1.6, 1.7, 1.8, 1.9,
     or 2 mol % (or any fraction thereof or range therein) of the total lipid present in the particle.
     [0140]    In the lipid particles of the invention, the active agent or therapeutic agent may be
10   fully encapsulated within the lipid portion of the particle, thereby protecting the active agent
     or therapeutic agent from enzymatic degradation. In preferred embodiments, a SNALP
     comprising a nucleic acid such as an interfering RNA (e.g., siRNA) is fully encapsulated
     within the lipid portion of the particle, thereby protecting the nucleic acid from nuclease
     degradation. In certain instances, the nucleic acid in the SN ALP is not substantially degraded
15   after exposure of the paiiicle to a nuclease at 37°C for at least about 20, 30, 45, or 60
     minutes. In certain other instances, the nucleic acid in the SNALP is not substantially
     degraded after incubation of the particle in serum at 37°C for at least about 30, 45, or 60
     minutes or at least about 2, 3, 4, 5, 6, 7, 8, 9, 10, 12, 14, 16, 18, 20, 22, 24, 26, 28, 30, 32, 34,
     or 36 hours. In other embodiments, the active agent or therapeutic agent (e.g., nucleic acid
20   such as siRNA) is complexed with the lipid portion of the particle. One of the benefits of the
     formulations of the present invention is that the lipid particle compositions are substantially
     non-toxic to mammals such as humans.
     [0141]    The term "fully encapsulated" indicates that the active agent or therapeutic agent in
     the lipid particle is not significantly degraded after exposure to serum or a nuclease or
25   protease assay that would significantly degrade free DNA, RNA, or protein. In a fully
     encapsulated system, preferably less than about 25% of the active agent or therapeutic agent
     in the particle is degraded in a treatment that would normally degrade 100% of free active
     agent or therapeutic agent, more preferably less than about 10%, and most preferably less
     than about 5% of the active agent or therapeutic agent in the particle is degraded. In the
30   context of nucleic acid therapeutic agents, full encapsulation may be determined by an
     Oligreen@ assay. Oligreen@ is an ultra-sensitive fluorescent nucleic acid stain for quantitating
     oligonucleotides and single-stranded DNA or RNA in solution (available from Invitrngen
     Corporation; Carlsbad, CA). "Fully encapsulated" also indicates that the lipid particles are




                                                      30


                                                                                                JA001717
                                                                                               GE NV-00000442
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 378 of 1274 PageID #: 8684



     serum-stable, that is, that they do not rapidly decompose into their component parts upon in
     vivo administration.
     [0142]    [n another aspect, the present invention provides a lipid particle (e.g., SNALP)
     composition comprising a plurality of lipid particles. In preferred embodiments, the active
 5   agent or therapeutic agent (e.g., nucleic acid) is fully encapsulated within the lipid portion of
     the lipid pmiicles (e.g., SNALP), such that from about 30% to about 100%, from about 40%
     to about 100%, from about 50% to about 100%, from about 60% to about 100%, from about
     70% to about 100%, from about 80% to about 100%, from about 90% to about 100%, from
     about 30% to about 95%, from about 40% to about 95%, from about 50% to about 95%, from
10   about 60% to about 95%, %, from about 70% to about 95%, from about 80% to about 95%,
     from about 85% to about 95%, from about 90% to about 95%, from about 30% to about 90%,
     from about 40% to about 90%, from about 50% to about 90%, from about 60% to about 90%,
     from about 70% to about 90%, from about 80% to about 90%, or at least about 30%, 35%,
     40%, 45%, 50%, 55%, 60%, 65%, 70%, 75%, 80%, 85%, 90%, 91 %, 92%, 93%, 94%, 95%,
15   96%, 97%, 98%, or 99% ( or any fraction thereof or range therein) of the lipid particles (e.g.,
     SNALP) have the active agent or therapeutic agent encapsulated therein.
     [0143]   Typically, the lipid particles (e.g., SNALP) of the invention have a lipid:active
     agent (e.g., lipid:nucleic acid) ratio (mass/mass ratio) of from about 1 to about 100. In some
     instances, the lipid:active agent (e.g., lipid:nucleic acid) ratio (mass/mass ratio) ranges from
20   about l to about 50, from about 2 to about 25, from about 3 to about 20, from about 4 to
     about 15, or from about 5 to about 10. In preferred embodiments, the lipid particles of the
     invention have a lipid:active agent ( e.g., lipid:nucleic acid) ratio (mass/mass ratio) of from
     about 5 to about 15, e.g., about 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, or 15 (or any fraction thereof
     or range therein).
25   [0144]   Typically, the lipid particles (e.g., SNALP) of the invention have a mean diameter
     of from about 40 nm to about 150 nm. In preferred embodiments, the lipid particles ( e.g.,
     SNALP) of the invention have a mean diameter of from about 40 nm to about 130 nm, from
     about 40 nm to about 120 nm, from about 40 nm to about 100 nm, from about 50 nm to about
     120 nm, from about 50 nm to about 100 nm, from about 60 nm to about 120 nm, from about
30   60 nm to about 110 nm, from about 60 nm to about l 00 nm, from about 60 nm to about 90
     nm, from about 60 nm to about 80 nm, from about 70 nm to about 120 nm, from about 70 nm
     to about 11 0 nm, from about 70 nm to about 100 nm, from about 70 nm to about 90 nm, from
     about 70 nm to about 80 nm, or less than about 120 nm, 1 10 nm, 100 nm, 90 nm, or 80 nm
     (or any fraction thereof or range therein).


                                                     31


                                                                                              JA001718
                                                                                             GE NV-00000443
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 379 of 1274 PageID #: 8685



     [0145]    [none specific embodiment of the invention, the SNALP comprises: (a) one or
     more unmodified and/or modified interfering RNA (e.g., siRNA, aiRNA, miRNA) that
     silence target gene expression; (b) a cationic lipid comprising from about 56.5 mol % to
     about 66.5 mol % of the total lipid present in the particle; (c) a non-cationic lipid comprising
 5   from about 31.5 mo]% to about 42.5 mo]% of the total lipid present in the particle; and (d) a
     conjugated lipid that inhibits aggregation of particles comprising from about I mol % to
     about 2 mol % of the total lipid present in the particle. This specific embodiment of SNALP
     is generally referred to herein as the "I :62" formulation. ]n a preferred embodiment, the
     cationic lipid is DLinDMA or DLin-K-C2-DMA ("XTC2"), the non-cationic lipid is
10   cholesterol, and the conjugated lipid is a PEG-DAA conjugate. Although these are preferred
     embodiments of the l :62 formulation, those of skill in the art will appreciate that other
     cationic lipids, non-cationic lipids (including other cholesterol derivatives), and conjugated
     lipids can be used in the 1 :62 formulation as described herein.
     [0146]   In another specific embodiment of the invention, the SNALP comprises: (a) one or
15   more unmodified and/or modified interfering RNA (e.g., siRNA, aiRNA, miRNA) that
     silence target gene expression; (b) a cationic lipid comprising from about 52 mol % to about
     62 rnol % of the total lipid present in the particle; (c) a non-cationic lipid comprising from
     about 36 mol % to about 47 mol % of the total lipid present in the particle; and (d) a
     conjugated lipid that inhibits aggregation of particles comprising from about 1 mol % to
20   about 2 mol % of the total lipid present in the particle. This specific embodiment of SNALP
     is generally referred to herein as the" 1 :57'' formulation. In one preferred embodiment, the
     cationic lipid is DLinDMA or DLin-K-C2-DMA ("XTC2"), the non-cationic lipid is a
     mixture of a phospholipid (such as DPPC) and cholesterol, wherein the phospholipid
     comprises from about 5 mol % to about 9 mol % of the total lipid present in the particle (e.g.,
25   about 7.1 mol %) and the cholesterol (or cholesterol derivative) comprises from about 32 mol
     % to about 37 mol % of the total lipid present in the particle (e.g., about 34.3 mol %), and the
     PEG-lipid is a PEG-DAA (e.g., PEG-cDMA). In another preferred embodiment, the cationic
     lipid is DLinDMA or DLin-K-C2-DMA ("XTC2"), the non-cationic lipid is a mixture of a
     phospholipid (such as DPPC) and cholesterol, wherein the phospholipid comprises from
30   about 15 mol % to about 25 mol % of the total lipid present in the particle (e.g., about 20 mol
     %) and the cholesterol (or cholesterol derivative) comprises from about 15 mol % to about 25
     mo] % of the total lipid present in the particle (e.g., about 20 mol %), and the PEG-lipid is a
     PEG-DAA (e.g., PEG-cDMA). Although these are preferred embodiments of the 1:57
     formulation, those of skill in the art will appreciate that other cationic lipids, non-cationic


                                                     32


                                                                                              JA001719
                                                                                             GE NV-00000444
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 380 of 1274 PageID #: 8686



     lipids (including other phospholipids and other cholesterol derivatives), and conjugated lipids
     can be used in the 1 :57 formulation as described herein.
     [0147]    [n preferred embodiments, the 1 :62 SNALP formulation is a three-component
     system which is phospholipid-frcc and comprises about 1.5 mol % PEG-cDMA (or PEG-
 5   cDSA), about 61.5 mol % DLinDMA (or XTC2), and about 36.9 mol % cholesterol (or
     derivative thereof). In other preferred embodiments, the 1:57 SNALP formulation is a four-
     component system which comprises about 1.4 mo!% PEG-cDMA (or PEG-cDSA), about
     57.1 mol % DLinDMA (or XTC2), about 7.1 mol % DPPC, and about 34.3 mol %
     cholesterol (or derivative thereof). In yet other preferred embodiments, the l :57 SNALP
lO   formulation is a four-component system which comprises about 1.4 mol % PEG-cDMA (or
     PEG-cDSA), about 57.l mol % DLinDMA (or XTC2), about 20 mol % DPPC, and about 20
     mol % cholesterol (or derivative thereof). It should be understood that these SNALP
     formulations arc target formulations, and that the amount of lipid (both cationic and non-
     cationic) present and the amount oflipid conjugate present in the SNALP formulations may
15   vary.
     [0148]    The present invention also provides a pharmaceutical composition comprising a
     lipid particle (e.g., SNALP) described herein and a pharmaceutically acceptable carrier.
     [0149]    In a further aspect, the present invention provides a method for introducing one or
     more active agents or therapeutic agents ( e.g., nucleic acid) into a cell, comprising contacting
20   the cell with a lipid particle (e.g., SNALP) described herein. In one embodiment, the cell is
     in a mammal and the mammal is a human. In another embodiment, the present invention
     provides a method for the in vivo delivery of one or more active agents or therapeutic agents
     (e.g., nucleic acid), comprising administering to a mammalian subject a lipid particle (e.g.,
     SNALP) described herein. In a preferred embodiment, the mode of administration includes,
25   but is not limited to, oral, intranasal, intravenous, intraperitoneal, intramuscular, intra-
     articular, intralesional, intratracheal, subcutaneous, and intradermal. Preferably, the
     mammalian subject is a human.
     [0150]    [none embodiment, at least about 5%, ] 0%, 15%, 20%, or 25% of the total injected
     dose of the lipid particles (e.g., SNALP) is present in plasma about 8, 12, 24, 36, or 48 hours
30   after injection. In other embodiments, more than about 20%, 30%, 40% and as much as
     about 60%, 70% or 80% of the total injected dose of the lipid particles (e.g., SNALP) is
     present in plasma about 8, 12, 24, 36, or 48 hours after injection. In certain instances, more
     than about I 0% of a plurality of the particles is present in the plasma of a mammal about 1
     hour after administration. In certain other instances, the presence of the lipid particles (e.g.,


                                                      33


                                                                                               JA001720
                                                                                              GE NV-00000445
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 381 of 1274 PageID #: 8687



     SNALP) is detectable at least about 1 hour after administration of the particle. In certain
     embodiments, the presence of an active agent or therapeutic agent such as an interfering RNA
     ( e.g., siRNA) is detectable in cells of the lung, liver, tumor, or at a site of inflammation at
     about 8, 12, 24, 36, 48, 60, 72 or 96 hours after administration. In other embodiments,
 5   downregulation of expression of a target sequence by an active agent or therapeutic agent
     such as an interfering RNA (e.g., siRNA) is detectable at about 8, 12, 24, 36, 48, 60, 72 or 96
     hours after administration. In yet other embodiments, downregulation of expression of a
     target sequence by an active agent or therapeutic agent such as an interfering RNA (e.g.,
     siRNA) occurs preferentially in tumor cells or in cells at a site of inflammation. In further
10   embodiments, the presence or effect of an active agent or therapeutic agent such as an
     interfering RNA (e.g., siRNA) in cells at a site proximal or distal to the site of administration
     or in cells of the lung, liver, or a tumor is detectable at about 12, 24, 48, 72, or 96 hours, or at
     about 6, 8, 10, 12, 14, 16, 18, 19, 20, 22, 24, 26, or 28 days after administration. In additional
     embodiments, the lipid particles (e.g., SN ALP) of the invention are administered parenterally
15   or intraperitoneally.
     [0151]    In some embodiments, the lipid particles (e.g., SNALP) of the invention are
     particularly useful in methods for the therapeutic delivery of one or more nucleic acids
     comprising an interfering RNA sequence (e.g., siRNA). In particular, it is an object of this
     invention to provide in vitro and in vivo methods for treatment of a disease or disorder in a
20   mammal (e.g., a rodent such as a mouse or a primate such as a human, chimpanzee, or
     monkey) by downregulating or silencing the transcription and/or translation of one or more
     target nucleic acid sequences or genes of interest. As a non-limiting example, the methods of
     the invention are useful for in vivo delivery of interfering RNA (e.g., siRNA) to the liver
     and/or tumor of a mammalian subject. In certain embodiments, the disease or disorder is
25   associated with expression and/or overexpression of a gene and expression or overexpression
     of the gene is reduced by the interfering RNA (e.g., siRNA). ]n certain other embodiments, a
     therapeutically effective amount of the Lipid particle (e.g., SN ALP) may be administered to
     the mammal. In some instances, an interfering RNA (e.g., siRNA) is formulated into a
     SNALP, and the particles are administered to patients requiring such treatment. In other
30   instances, cells arc removed from a patient, the interfering RNA (e.g., siRNA) is delivered in
     vitro (e.g., using a SNALP described herein), and the cells are reinjected into the patient.
     [0152]    [n an additional aspect, the present invention provides lipid particles (e.g., SNALP)
     comprising asymmetrical interfering RNA (aiRNA) molecules that silence the expression of a
     target gene and methods of using such particles to silence target gene expression.


                                                      34


                                                                                               JA001721
                                                                                              GE NV-00000446
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 382 of 1274 PageID #: 8688



     [0153]   In one embodiment, the aiRNA molecule comprises a double-stranded (duplex)
     region of about 10 to about 25 (base paired) nucleotides in length, wherein the aiRNA
     molecule comprises an anti sense strand comprising 5' and 3' overhangs, and wherein the
     aiRNA molecule is capable of silencing target gene expression.
 5   [0154]   [n certain instances, the aiRNA molecule comprises a double-stranded (duplex)
     region of about 12-20, 12-19, 12-18, 13-17, or 14-17 (base paired) nucleotides in length,
     more typically 12, 13, 14, 15, 16, 17, 18, 19, or 20 (base paired) nucleotides in length. In
     certain other instances, the 5' and 3' overhangs on the antisense strand comprise sequences
     that are complementary to the target RNA sequence, and may optionally further comprise
10   nontargeting sequences. In some embodiments, each of the 5' and 3' overhangs on the
     antisense strand comprises or consists of one, two, three, four, five, six, seven, or more
     nucleotides.
     [0155]   In other embodiments, the aiRNA molecule comprises modified nucleotides
     selected from the group consisting of2'OMe nucleotides, 2'F nucleotides, 2'-deoxy
15   nucleotides, 2'-O-MOE nucleotides, LNA nucleotides, and mixtures thereof. In a prefened
     embodiment, the aiRNA molecule comprises 2'OMe nucleotides. As a non-limiting
     example, the 2'OMe nucleotides may be selected from the group consisting of 2'OMe-
     guanosine nucleotides, 2'OMe-uridine nucleotides, and mixtures thereof.
     [0156]   In a related aspect, the present invention provides lipid particles (e.g., SNALP)
20   comprising microRNA (miRNA) molecules that silence the expression of a target gene and
     methods of using such compositions to silence target gene expression.
     [0157]   In one embodiment, the miRNA molecule comprises about 15 to about 60
     nucleotides in length, wherein the miRNA molecule is capable of silencing target gene
     expression.
25   [0158]   In certain instances, the miRNA molecule comprises about 15-50, 15-40, or 15-30
     nucleotides in length, more typically about 15-25 or 19-25 nucleotides in length, and are
     preferably about 20-24, 21-22, or 21-23 nucleotides in length. ]n a prefened embodiment,
     the mi RNA molecule is a mature miRNA molecule targeting an RNA sequence of interest.
     [0159]   In some embodiments, the miRNA molecule comprises modified nucleotides
30   selected from the group consisting of2'OMe nucleotides, 2'F nucleotides, 2'-deoxy
     nucleotides, 2'-O-MOE nucleotides, LNA nucleotides, and mixtures thereof. In a preferred
     embodiment, the miRNA molecule comprises 2'OMe nucleotides. As a non-limiting
     example, the 2'OMe nucleotides may be selected from the group consisting of 2'OMe-
     guanosine nucleotides, 2'OMe-uridine nucleotides, and mixtures thereof.


                                                    35


                                                                                            JA001722
                                                                                           GENV-00000447
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 383 of 1274 PageID #: 8689



     [0160]    As such, the lipid particles of the invention (e.g., SNALP) are advantageous and
     suitable for use in the administration of active agents or therapeutic agents such as nucleic
     acid (e.g., interfering RNA such as siRNA, aiRNA, and/or miRNA) to a subject (e.g., a
     mammal such as a human) because they arc stable in circulation, of a size required for
 5   pharmacodynamic behavior resulting in access to extravascular sites, and are capable of
     reaching target cell populations.

     IV.      Active Agents

     [0161]    Active agents (e.g., therapeutic agents) include any molecule or compound capable
     of exerting a desired effect on a cell, tissue, organ, or subject. Such effects may be, e.g.,
10   biological, physiological, and/or cosmetic. Active agents may be any type of molecule or
     compound including, but not limited to, nucleic acids, peptides, polypeptides, small
     molecules, and mixtures thereof. Non-limiting examples of nucleic acids include interfering
     RNA molecules (e.g., siRNA, aiRNA, miRNA), antisense oligonucleotides, plasmids,
     ribozymes, immunostimulatory oligonucleotides, and mixtures thereof. Examples of peptides
15   or polypeptides include, without limitation, antibodies (e.g., polyclonal antibodies,
     monoclonal antibodies, antibody fragments; humanized antibodies, recombinant antibodies,
     recombinant human antibodies, PrimatizedTM antibodies), cytokines, growth factors,
     apoptotic factors, differentiation-inducing factors, cell-surface receptors and their ligands,
     hormones, and mixtures thereof. Examples of small molecules include, but are not limited to,
20   small organic molecules or compounds such as any conventional agent or dmg known to
     those of skill in the art.
     [0162]    [n some embodiments, the active agent is a therapeutic agent, or a salt or derivative
     thereof. Therapeutic agent derivatives may be therapeutically active themselves or they may
     be prodrugs, which become active upon further modification. Thus, in one embodiment, a
25   therapeutic agent derivative retains some or all of the therapeutic activity as compared to the
     unmodified agent, while in another embodiment, a therapeutic agent derivative is a prodrug
     that lacks therapeutic activity, but becomes active upon further modification.

              A.      Nucleic Acids

     [0163]    In certain embodiments, lipid particles of the present invention are associated with a
30   nucleic acid, resulting in a nucleic acid-lipid particle (e.g., SNALP). In some embodiments,
     the nucleic acid is fully encapsulated in the lipid particle. As used herein, the term "nucleic
     acid" includes any oligonucleotide or polynucleotide, with fragments containing up to 60



                                                     36


                                                                                             JA001723
                                                                                             GE NV-00000448
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 384 of 1274 PageID #: 8690



     nucleotides generally termed oligonucleotides, and longer fragments termed polynucleotides.
     In particular embodiments, oligonucletoides of the invention are from about] 5 to about 60
     nucleotides in length. Nucleic acid may be administered alone in the lipid particles of the
     invention, or in combination (e.g., co-administered) with lipid particles of the invention
 5   comprising peptides, polypeptides, or small molecules such as conventional drugs.
     [0164]   In the context of this invention, the terms "polynucleotide" and "oligonucleotide"
     refer to a polymer or oligomer of nucleotide or nucleoside monomers consisting of naturally-
     occurring bases, sugars and intersugar (backbone) linkages. The terms "polynucleotide" and
     "oligonucleotide" also include polymers or oligomers comprising non-naturally occurring
lO   monomers, or portions thereof, which function similarly. Such modified or substituted
     oligonucleotides are often preferred over native forms because of properties such as, for
     example, enhanced cellular uptake, reduced immunogenicity, and increased stability in the
     presence of nuclcascs.
     [0165]   Oligonuclcotidcs arc generally classified as dcoxyribooligonuclcotidcs or
15   ribooligonucleotidcs. A deoxyribooligonuclcotide consists of a 5-carbon sugar called
     deoxyribosejoined covalently to phosphate at the 5' and 3' carbons of this sugar to form an
     alternating, unbranched polymer. A ribooligonucleotide consists of a similar repeating
     structure where the 5-carbon sugar is ribose.
     [0166]   The nucleic acid that is present in a lipid-nucleic acid particle according to this
20   invention includes any form of nucleic acid that is known. The nucleic acids used herein can
     be single-stranded DNA or RNA, or double-stranded DNA or RNA, or DNA-RNA hybrids.
     Examples of double-stranded DNA are described herein and include, e.g., structural genes,
     genes including control and termination regions, and self-replicating systems such as viral or
     plasmid DNA. Examples of double-stranded RNA are described herein and include, e.g.,
25   siRNA and other RNAi agents such as aiRNA and pre-miRNA. Single-stranded nucleic
     acids include, e.g., antisense oligonucleotides, ribozymes, mature miRNA, and triplex-
     forming oligonucleotides.
     [0167]   Nucleic acids of the invention may be of various lengths, generally dependent upon
     the particular form of nucleic acid. For example, in particular embodiments, plasmids or
30   genes may be from about 1,000 to about 100,000 nucleotide residues in length. In particular
     embodiments, oligonucleotides may range from about 10 to about 100 nucleotides in length.
     Jn various related embodiments, oligonucleotides, both single-stranded, double-stranded, and
     triple-stranded, may range in length from about lO to about 60 nucleotides, from about 15 to




                                                     37


                                                                                            JA001724
                                                                                            GENV-00000449
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 385 of 1274 PageID #: 8691



     about 60 nucleotides, from about 20 to about 50 nucleotides, from about 15 to about 30
     nucleotides, or from about 20 to about 30 nucleotides in length.
     [0168]    [n particular embodiments, an oligonucleotide (or a strand thereof) of the invention
     specifically hybridizes to or is complementary to a target polynucleotide sequence. The
 5   tenns "specifically hybridizable" and "complementary" as used herein indicate a sufficient
     degree of complementarity such that stable and specific binding occurs between the DNA or
     RNA target and the oligonucleotide. It is understood that an oligonucleotide need not be
     100% complementary to its target nucleic acid sequence to be specifically hybridizable. In
     preferred embodiments, an oligonucleotide is specifically hybridizable when binding of the
10   oligonucleotide to the target sequence interferes with the normal function of the target
     sequence to cause a loss of utility or expression therefrom, and there is a sufficient degree of
     complementarity to avoid non-specific binding of the oligonucleotide to non-target sequences
     under conditions in which specific binding is desired, i.e., under physiological conditions in
     the case of in vivo assays or therapeutic treatment, or, in the case of in vitro assays, under
15   conditions in which the assays are conducted. Thus, the oligonucleotide may include 1, 2, 3,
     or more base substitutions as compared to the region of a gene or mRNA sequence that it is
     targeting or to which it specifically hybridizes.

                     l.     siRNA

     [0169]   The siRNA component of the nucleic acid-lipid particles of the present invention is
20   capable of silencing the expression of a target gene of interest. Each strand of the siRNA
     duplex is typically about 15 to about 60 nucleotides in length, preferably about 15 to about 30
     nucleotides in length. ]n certain embodiments, the siRNA comprises at least one modified
     nucleotide. The modified siRNA is generally less immunostimulatory than a corresponding
     unmodified siRNA sequence and retains RNAi activity against the target gene of interest. In
25   some embodiments, the modified siRNA contains at least one 2'OMe purine or pyrimidine
     nucleotide such as a 2'OMe-guanosine, 2'OMe-uridine, 2'OMe-adenosine, and/or 2'OMe-
     cytosine nucleotide. In preferred embodiments, one or more of the uridine and/or guanosine
     nucleotides are modified. The modified nucleotides can be present in one strand (i.e., sense
     or antisense) or both strands of the siRNA. The siRNA sequences may have overhangs (e.g.,
30   3' or 5' overhangs as described in Elbashir et al., Genes Dev., 15:188 (2001) orNykanen et
     al., Cell, 107:309 (2001)), or may lack overhangs (i.e., have blunt ends).
     [01701   The modified siRNA generally comprises from about 1% to about 100% (e.g., about
     1%, 2%, 3%, 4%, 5%, 6%, 7%, 8%, 9%, 10%, 11 %, 12%, 13%, 14%, 15%, 16%, 17%, 18%,


                                                     38


                                                                                             JA001725
                                                                                             GE NV-00000450
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 386 of 1274 PageID #: 8692



     19%, 20%, 21 %, 22%, 23%, 24%, 25%, 26%, 27%, 28%, 29%, 30%, 35%, 40%, 45%, 50%,
     55%, 60%, 65%, 70%, 75%, 80%, 85%, 90%, 95%, or 100%) modified nucleotides in the
     double-stranded region of the siRNA duplex. In certain embodiments, one, two, three, four,
     five, six, seven, eight, nine, ten, or more of the nucleotides in the double-stranded region of
 5   the siRNA comprise modified nucleotides.
     [0171]   In some embodiments, less than about 25% (e.g., less than about 25%, 24%, 23%,
     22%, 21 %, 20%, 19%, 18%, 17%, 16%, 15%, 14%, 13%, 12%, 11 %, 10%, 9%, 8%, 7%, 6%,
     5%, 4%, 3%, 2%, or 1%) of the nucleotides in the double-stranded region of the siRNA
     comprise modified nucleotides.
10   [0172]   In other embodiments, from about 1% to about 25% (e.g., from about 1%-25%, 2%-
     25%, 3%-25%, 4%-25%, 5%-25%, 6%-25%, 7%-25%, 8%-25%, 9%-25%, 10%-25%, 11 %-
     25%, 12%-25%, 13%-25%, 14%-25%, 15%-25%, 16%-25%, 17%-25%, 18%-25%, 19%-
     25%, 20%-25%, 21 %-25%, 22%-25%, 23%-25%, 24%-25%, etc.) or from about 1% to about
     20% (e.g., from about 1%-20%, 2%-20%, 3%-20%, 4%-20%, 5%-20%, 6%-20%, 7%-20%,
15   8%-20%, 9%-20%, 10%-20%, 11 %-20%, 12%-20%, 13%-20%, 14%-20%, 15%-20%, 16%-
     20%, 17%-20%, 18%-20%, 19%-20%, 1%-19%, 2%-19%, 3%-19%, 4%-19%, 5%-19%, 6%-
     19%, 7%-19%, 8%-19%, 9%-19%, 10%-19%, 11%-19%, 12%-19%, 13%-19%, 14%-19%,
     15%-19%, 16%-19%, 17%-19%, 18%-19%, l %-18%, 2%-18%, 3%-18%, 4%-18%, 5%-
     18%, 6%-18%, 7%-18%, 8%-18%, 9%-18%, 10%-18%, 11 %-18%, 12%-18%, 13%-18%,
20   14%-18%, 15%-18%, 16%-18%, 17%-18%, 1%-17%, 2%-17%, 3%-17%, 4%-17%, 5%-
     17%, 6%-17%, 7%-17%, 8%-17%, 9%-17%, 10%-17%, 11%-17%, 12%-17%, 13%-17%,
     14%,-17%, 15%-17%>, 16%-17%, 1%-16%,, 2%-16%,, 3%,-16%, 4%-16%, 5%-16%,, 6%-16%,
     7%-16%, 8%-16%, 9%-16%, 10%-16%, 11 %-16%, 12%-16%, 13%-16%, 14%-16%, 15%-
     16%, 1%-15%, 2%-15%, 3%-15%, 4%-15%, 5%-15%, 6%-15%, 7%-15%, 8%-15%, 9%-
25   15%, 10%-15%, 11 %-15%, 12%-15%, 13%-15%, 14%-15%, etc.) of the nucleotides in the
     double-stranded region of the siRNA comprise modified nucleotides.
     [0173]   In further embodiments, e.g., when one or both strands of the siRNA are selectively
     modified at uridine and/or guanosine nucleotides, the resulting modified siRNA can comprise
     less than about 30% modified nucleotides (e.g., less than about 30%, 29%, 28%, 27%, 26%,
30   25%, 24%, 23%, 22%, 21%, 20%, 19%, 18%, 17%, 16%, 15%, 14%, 13%, 12%, 11%, 10%,
     9%>, 8%, 7%, 6%, 5%, 4%, 3r%, 2%>, or l % modified nucleotides) or from about 1% to about
     30% modified nucleotides (e.g., from about 1%-30%, 2%-30%, 3%-30%, 4%-30%, 5%-30%,
     6%-30%, 7%-30%, 8%-30%, 9%-30%, 10%-30%, 11 %-30%, 12%-30%, 13%-30%, 14%-
     30%, 15%-30%, 16%-30%, 17%-30%, 18%-30%, 19%-30%, 20%-30%, 21 %-30%, 22%-


                                                    39


                                                                                            JA001726
                                                                                           GE NV-00000451
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 387 of 1274 PageID #: 8693



     30%, 23%-30%, 24%-30%, 25%-30%, 26%-30%, 27%-30%, 28%-30%, or 29%-30%
     modified nucleotides).

                              a.    Selection of siRNA Sequences

     [0174]    Suitable siRNA sequences can be identified using any means known in the art.
 5   Typically, the methods described in Elbashir et al., Nature, 411 :494-498 (2001) and Elbashir
     et al., Ei\1BO J., 20:6877-6888 (2001) are combined with rational design rules set forth in
     Reynolds et al., Nature Biotech., 22(3):326-330 (2004).
     [0175]    Generally, the nucleotide sequence 3' of the AUG start codon of a transcript from
     the target gene of interest is scanned for dinucleotide sequences (e.g., AA, NA, CC, GG, or
10   UU, wherein N = C, G, orU) (see, e.g., Elbashir etal., EMBOJ, 20:6877-6888 (2001)). The
     nucleotides immediately 3' to the dinucleotide sequences arc identified as potential siRNA
     sequences (i.e., a target sequence or a sense strand sequence). Typically, the 19, 21, 23, 25,
     27, 29, 31, 33, 35, or more nucleotides immediately 3' to the dinucleotide sequences are
     identified as potential siRNA sequences. In some embodiments, the dinucleotide sequence is
15   an AA or NA sequence and the 19 nucleotides immediately 3' to the AA or NA dinucleotide
     are identified as potential siRNA sequences. siRNA sequences are usually spaced at different
     positions along the length of the target gene. To further enhance silencing efficiency of the
     siRNA sequences, potential siRNA sequences may be analyzed to identify sites that do not
     contain regions of homology to other coding sequences, e.g., in the target cell or organism.
20   For example, a suitable siRNA sequence of about 21 base pairs typically will not have more
     than 16-17 contiguous base pairs of homology to coding sequences in the target cell or
     organism. ff the siRNA sequences are to be expressed from an RNA Pol m promoter, siRNA
     sequences lacking more than 4 contiguous A's or T's are selected.
     [0176]    Once a potential siRNA sequence has been identified, a complementary sequence
25   (i.e., an antisense strand sequence) can be designed. A potential siRNA sequence can also be
     analyzed using a variety of criteria known in the art. For example, to enhance their silencing
     efficiency, the siRNA sequences may be analyzed by a rational design algorithm to identify
     sequences that have one or more of the following features: (1) G/C content of about 25% to
     about 60% G/C; (2) at least 3 A/Us at positions 15-19 of the sense strand; (3) no internal
30   repeats; (4) an A at position 19 of the sense strand; ( 5) an A at position 3 of the sense strand;
     (6) a U at position 10 of the sense strand; (7) no G/C at position 19 of the sense strand; and
     (8) no G at position 13 of the sense strand. siRNA design tools that incorporate algorithms
     that assign suitable values of each of these features and are useful for selection of siRNA can


                                                     40


                                                                                              JA001727
                                                                                             GE NV-00000452
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 388 of 1274 PageID #: 8694



     be found at, e.g., http://boz094.ust.hk/RNAi/siRNA. One of skill in the art will appreciate
     that sequences with one or more of the foregoing characteristics may be selected for further
     analysis and testing as potential siRNA sequences.
     [0177]   Additionally, potential siRNA sequences with one or more of the following criteria
 5   can often be eliminated as siRNA: (1) sequences comprising a stretch of 4 or more of the
     same base in a row; (2) sequences comprising homopolymers of Gs (i.e., to reduce possible
     non-specific effects due to structural characteristics of these polymers; (3) sequences
     comprising triple base motifs (e.g., GGG, CCC, AAA, or TTT); (4) sequences comprising
     stretches of 7 or more G/Cs in a row; and (5) sequences comprising direct repeats of 4 or
10   more bases within the candidates resulting in internal fold-back structures. However, one of
     skill in the art will appreciate that sequences with one or more of the foregoing characteristics
     may still be selected for further analysis and testing as potential siRNA sequences.
     [0178]   In some embodiments, potential siRNA sequences may be further analyzed based
     on siRNA duplex asymmetry as described in, e.g., Khvorova et al., Cell, 115 :209-216 (2003);
15   and Schwarz et al., Cell, 115:199-208 (2003). In other embodiments, potential siRNA
     sequences may be further analyzed based on secondary structure at the target site as described
     in, e.g., Luo et al., Biophys. Res. Commun., 318:303-310 (2004). For example, secondary
     structure at the target site can be modeled using the Mfold algorithm ( available at
     http://www.bioinfo.rpi.edu/applications/mfold/ma/forml .cgi) to select siRNA sequences
20   which favor accessibility at the target site where less secondary structure in the form of base-
     pairing and stem-loops is present.
     l0179J   Once a potential siRNA sequence has been identified, the sequence can be analyzed
     for the presence of any immunostimulatory properties, e.g., using an in vitro cytokine assay
     or an in vivo animal model. Motifs in the sense and/or antisense strand of the siRNA
25   sequence such as GU-rich motifs (e.g., 5'-GU-3', 5'-UGU-3', 5'-GUGU-3', 5'-UGUGU-3',
     etc.) can also provide an indication of whether the sequence may be immunostimulatory.
     Once an siRNA molecule is found to be immunostimulatory, it can then be modified to
     decrease its immunostimulatory properties as described herein. As a non-limiting example,
     an siRNA sequence can be contacted with a mammalian responder cell under conditions such
30   that the cell produces a detectable immune response to determine whether the siRNA is an
     immunostimulatory or a non-immunostimulatory siRNA. The mammalian responder cell
     may be from a nai"ve mammal (i.e., a mammal that has not previously been in contact with the
     gene product of the siRNA sequence). The mammalian responder cell may be, e.g., a
     peripheral blood mononuclear cell (PBMC), a macrophage, and the like. The detectable


                                                    41


                                                                                            JA001728
                                                                                            GE NV-00000453
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 389 of 1274 PageID #: 8695



     immune response may comprise production of a cytokine or growth factor such as, e.g., TNF-
     a, IFN-a, lFN-J3, IFN-y, ]L-6, IL-] 2, or a combination thereof. An siRNA molecule
     identified as being immunostimulatory can then be modified to decrease its
     immunostimulatory properties by replacing at least one of the nucleotides on the sense and/or
 5   antisense strand with modified nucleotides. For example, less than about 30% (e.g., less than
     about 30%, 25%, 20%, 15%, 10%, or 5%) of the nucleotides in the double-stranded region of
     the siRNA duplex can be replaced with modified nucleotides such as 2'OMe nucleotides.
     The modified siRNA can then be contacted with a mammalian responder cell as described
     above to confirm that its immunostimulatory properties have been reduced or abrogated.
10   [0180]   Suitable in vitro assays for detecting an immune response include, but arc not
     limited to, the double monoclonal antibody sandwich immunoassay technique of David et al.
     (U.S. Patent No. 4,376, 11 O); monoclonal-polyclonal antibody sandwich assays (Wide et al.,
     in Kirkham and Hunter, eds., Radioimmunoassay Methods, E. and S. Livingstone, Edinburgh
     (1970)); the "Western blot" method of Gordon et al. (U.S. Patent No. 4,452,901);
15   immunoprecipitation oflabeled ligand (Brown et al., J Biol. Chem., 255:4980-4983 (1980));
     enzyme-linked immunosorbent assays (ELISA) as described, for example, by Raines et al., J
     Biol. Chem., 257 :5154-5160 (1982); immunocytochemical techniques, including the use of
     fluorochromes (Brooks et al., Clin. Exp. Immunol., 39:477 (1980)); and neutralization of
     activity (Bowen-Pope et al., Proc. Natl. Acad. Sci. USA, 81 :2396-2400 (1984)). In addition
20   to the immunoassays described above, a number of other immunoassays are available,
     including those described in U.S. Patent Nos. 3,817,827; 3,850,752; 3,901,654; 3,935,074;
     3,984,533; 3,996,345; 4,034,074; and 4,098,876. The disclosures of these references are
     herein incorporated by reference in their entirety for all purposes.
     [0181]   A non-limiting example of an in vivo model for detecting an immune response
25   includes an in vivo mouse cytokine induction assay as described in, e.g., Judge et al., }vfol.
     Ther., 13:494-505 (2006). ]n certain embodiments, the assay that can be performed as
     follows: (1) siRNA can be administered by standard intravenous injection in the lateral tail
     vein; (2) blood can be collected by cardiac puncture about 6 hours after administration and
     processed as plasma for cytokine analysis; and (3) cytokines can be quantified using
30   sandwich ELISA kits according to the manufacturer's instructions (e.g., mouse and human
     IFN-a (PBL Biomedical; Piscataway, NJ); human IL-6 and TNF-a (eBioscience; San Diego,
     CA); and mouse IL-6, TNF-a, and IFN-y (BO Biosciences; San Diego, CA)).
     [0182]   Monoclonal antibodies that specifically bind cytokines and growth factors are
     commercially available from multiple sources and can be generated using methods known in


                                                    42


                                                                                            JA001729
                                                                                            GE NV-00000454
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 390 of 1274 PageID #: 8696



     the art (see, e.g., Kohler et al., Nature, 256: 495-497 (1975) and Harlow and Lane,
     ANTIBODIES, A LABORATORY MANUAL, Cold Spring Harbor Publication, New York
     (1999)). Generation of monoclonal antibodies has been previously described and can be
     accomplished by any means known in the art (Buhring et al., in Hybridoma, Vol. 10, No. 1,
 5   pp. 77-78 (1991)). In some methods, the monoclonal antibody is labeled (e.g., with any
     composition detectable by spectroscopic, photochemical, biochemical, electrical, optical, or
     chemical means) to facilitate detection.

                            b.        Generating siRNA Molecules

     [0183]   siRNA can be provided in several forms including, e.g., as one or more isolated
10   small-interfering RNA (siRNA) duplexes, as longer double-stranded RNA (dsRNA), or as
     siRNA or dsRNA transcribed from a transcriptional cassette in a DNA plasmid. The siRNA
     sequences may have overhangs (e.g., 3' or 5' overhangs as described in Elbashir et al., Genes
     Dev., 15:188 (2001) or Nykanen et al., Cell, 107:309 (2001), or may lack overhangs (i.e., to
     have blunt ends).
15   [01841   An RNA population can be used to provide long precursor RNAs, or long precursor
     RN As that have substantial or complete identity to a selected target sequence can be used to
     make the siRNA. The RNAs can be isolated from cells or tissue, synthesized, and/or cloned
     according to methods well known to those of skill in the art. The RNA can be a mixed
     population (obtained from cells or tissue, transcribed from cDNA, subtracted, selected, etc.),
20   or can represent a single target sequence. RNA can be naturally occurring (e.g., isolated from
     tissue or cell samples), synthesized in vitro (e.g., using T7 or SP6 polymerase and PCR
     products or a cloned cDNA), or chemically synthesized.
     [01851   To form a long dsRNA, for synthetic RNAs, the complement is also transcribed in
     vitro and hybridized to form a dsRNA. If a naturally occuring RNA population is used, the
25   RNA complements are also provided (e.g., to form dsRNA for digestion by E. coli RNAse III
     or Dicer), e.g., by transcribing cDNAs corresponding to the RNA population, or by using
     RNA polymerases. The precursor RN As are then hybridized to form double stranded RN As
     for digestion. The dsRNAs can be directly administered to a subject or can be digested in
     vitro prior to administration.
30   [0186]   Methods for isolating RNA, synthesizing RNA, hybridizing nucleic acids, making
     and screening cDNA libraries, and performing PCR are well known in the art (see, e.g.,
     Gubler and Hoffman, Gene, 25:263-269 (1983); Sambrook et al., supra; Ausubcl et al.,
     supra), as are PCR methods (see, U.S. Patent Nos. 4,683,195 and 4,683,202; PCR Protocols:


                                                   43


                                                                                           JA001730
                                                                                           GE NV-00000455
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 391 of 1274 PageID #: 8697



     A Guide to ,i\1ethods and Applications (Innis et al., eds, 1990)). Expression libraries are also
     well known to those of skill in the art. Additional basic texts disclosing the general methods
     of use in this invention include Sambrook et al., Afolecular Cloning, A Laboratory Manual
     (2nd ed. 1989); Kriegler, Gene Transfer and Expression: A Laboratory Manual (1990); and
 5   Current Protocols in Molecular Biology (Ausubel et al., eds., 1994). The disclosures of these
     references are herein incorporated by reference in their entirety for aH purposes.
     [0187]       Preferably, siRNA are chemically synthesized. The oligonucleotides that comprise
     the siRNA molecules of the invention can be synthesized using any of a variety of techniques
     known in the art, such as those described in Usman et al., J. Am. Chem. Soc., 109:7845
10   (1987); Scaringe et al., Nucl. Acids Res., 18:5433 (1990); Wincott et al., Nucl. Acids Res.,
     23:2677-2684 (1995); and Wincott et al., A1ethods A1ol. Bio., 74:59 (1997). The synthesis of
     oligonucleotides makes use of common nucleic acid protecting and coupling groups, such as
     dimethoxytrityl at the 5 '-end and phosphoramidites at the 3 '-end. As a non-limiting example,
     small scale syntheses can be conducted on an Applied Biosystems synthesizer using a 0.2
15   µmol scale protocol. Alternatively, syntheses at the 0.2 µmol scale can be performed on a
     96-well plate synthesizer from Protogene (Palo Alto, CA). However, a larger or smaller scale
     of synthesis is also within the scope of this invention. Suitable reagents for oligonucleotide
     synthesis, methods for RNA deprotection, and methods for RNA purification are known to
     those of skill in the art.
20   [0188]       siRNA molecules can also be synthesized via a tandem synthesis technique, wherein
     both strands are synthesized as a single continuous oligonudeotide fragment or strand
     separated by a cleavable linker that is subsequently cleaved to provide separate fragments or
     strands that hybridize to form the siRNA duplex. The linker can be a polynucleotide linker or
     a non-nucleotide linker. The tandem synthesis of siRNA can be readily adapted to both
25   multiwell/multiplate synthesis platforms as well as large scale synthesis platforms employing
     batch reactors, synthesis columns, and the like. Alternatively, siRNA molecules can be
     assembled from two distinct oligonucleotides, wherein one oligonucleotide comprises the
     sense strand and the other comprises the antisense strand of the siRNA. For example, each
     strand can be synthesized separately and joined together by hybridization or ligation
30   following synthesis and/or deprotection. In ce1iain other instances, siRNA molecules can be
     synthesized as a single continuous oligonucleotide fragment, where the self-complementary
     sense and antisense regions hybridize to form an siRNA duplex having hairpin secondary
     structure.



                                                     44


                                                                                             JA001731
                                                                                           GE NV-00000456
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 392 of 1274 PageID #: 8698




                            c.     Modifying siRNA Sequences

     [0189]   [n certain aspects, siRNA molecules comprise a duplex having two strands and at
     least one modified nucleotide in the double-stranded region, wherein each strand is about 15
 5   to about 60 nucleotides in length. Advantageously, the modified siRNA is less
     immunostimulatory than a corresponding unmodified siRNA sequence, but retains the
     capability of silencing the expression of a target sequence. In preferred embodiments, the
     degree of chemical modifications introduced into the siRNA molecule strikes a balance
     between reduction or abrogation of the immunostimulatory properties of the siRNA and
10   retention ofRNAi activity. As a non-limiting example, an siRNA molecule that targets a
     gene of interest can be minimally modified ( e.g., less than about 30%, 25%, 20%, 15%, 10%,
     or 5% modified) at selective uridine and/or guanosine nucleotides within the siRNA duplex
     to eliminate the immune response generated by the siRNA while retaining its capability to
     silence target gene expression.
15   [0190]   Examples of modified nucleotides suitable for use in the invention include, but are
     not limited to, ribonucleotides having a 2'-O-methyl (2'OMe), 2'-deoxy-2'-fluoro (2'F), 2'-
     deoxy, 5-C-methyl, 2'-O-(2-methoxyethyl) (MOE), 4'-thio, 2'-amino, or 2'-C-allyl group.
     Modified nucleotides having a Northern conformation such as those described in, e.g.,
     Saenger, Principles of Nucleic Acid Structure, Springer-Verlag Ed. (1984), are also suitable
20   for use in siRNA molecules. Such modified nucleotides include, without limitation, locked
     nucleic acid (LNA) nucleotides (e.g., 2'-0, 4'-C-methylene-(D-ribofuranosyl) nucleotides),
     2'-O-(2-methoxyethyl) (MOE) nucleotides, 2'-methyl-thio-ethyl nucleotides, 2'-deoxy-2'-
     fluoro (2'F) nucleotides, 2'-deoxy-2'-chloro (2'Cl) nucleotides, and 2'-azido nucleotides. In
     certain instances, the siRNA molecules described herein include one or more G-clamp
25   nucleotides. AG-clamp nucleotide refers to a modified cytosine analog wherein the
     modifications confer the ability to hydrogen bond both Watson-Crick and Hoogstccn faces of
     a complementary guanine nucleotide within a duplex (see, e.g., Lin et al., J. Am. Chem. Soc.,
     120:8531-8532 ( 1998)). In addition, nucleotides having a nucleotide base analog such as, for
     example, C-phenyl, C-naphthyl, other aromatic derivatives, inosine, azole carboxamides, and
30   nitroazole derivatives such as 3-nitropyrrole, 4-nitroindole, 5-nitroindole, and 6-nitroindole
     (see, e.g., Loakes, Nucl. Acids Res., 29:2437-2447 (2001)) can be incorporated into siRNA
     molecules.




                                                    45


                                                                                           JA001732
                                                                                           GENV-00000457
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 393 of 1274 PageID #: 8699



     [0191]    [n certain embodiments, siRNA molecules may further comprise one or more
     chemical modifications such as terminal cap moieties, phosphate backbone modifications,
     and the like. Examples of terminal cap moieties include, without limitation, inverted deoxy
     abasic residues, glyceryl modifications, 4',5'-rnethylene nucleotides, 1-(f)-O-
 5   erythrofuranosyl) nucleotides, 4' -thio nucleotides, carbocyclic nucleotides, 1,5-
     anhydrohexitol nucleotides, L-nucleotides, a-nucleotides, modified base nucleotides, threo-
     pentofuranosyl nucleotides, acyclic 3' ,4 '-seco nucleotides, acyclic 3 ,4-dihydroxybutyl
     nucleotides, acyclic 3,5-dihydroxypentyl nucleotides, 3 '-3 '-inverted nucleotide moieties, 3 ' -
     3 '-inverted abasic moieties, 3 '-2' -inverted nucleotide moieties, 3 '-2 '-inverted a basic
10   moieties, 5'-5'-inverted nucleotide moieties, 5'-5'-inverted abasic moieties, 3'-5'-inverted
     deoxy abasic moieties, 5'-amino-alkyl phosphate, 1,3-diamino-2-propyl phosphate, 3-
     aminopropyl phosphate, 6-aminohexyl phosphate, 1,2-aminododecyl phosphate,
     hydroxypropyl phosphate, 1,4-butanediol phosphate, 3 '-phosphoramidate, 5 ' -
     phosphoramidate, hexylphosphate, aminohexyl phosphate, 3 '-phosphate, 5 '-amino, 3 ' -
15   phosphorothioate, 5 '-phosphorothioate, phosphorodithioate, and bridging or non-bridging
     methylphosphonate or 5 '-mercapto moieties (see, e.g., U.S. Patent No. 5,998,203; Beaucage
     et al., Tetrahedron 49:1925 (1993)). Non-limiting examples of phosphate backbone
     modifications (i.e., resulting in modified intemucleotide linkages) include phosphorothioate,
     phosphorodithioate, methylphosphonate, phosphotriester, morpholino, amidate, carbamate,
20   carboxymethyl, acetamidate, polyamide, sulfonate, sulfonamide, sulfamate, formacetal,
     thioformacetal, and alkylsilyl substitutions (see, e.g., Hunziker et al., Nucleic Acid
     Analogues: Synthesis and Properties, in Modern Synthetic 1Wethods, VCH, 331-417 (1995);
     Mesmaeker et al., Novel Backbone Replacements.for Oligonucleotides, in Carbohydrate
     A1od(fications in Antisense Research, ACS, 24-39 (1994)). Such chemical modifications can
25   occur at the 5 '-end and/or 3 '-end of the sense strand, antisense strand, or both strands of the
     siRNA. The disclosures of these references are herein incorporated by reference in their
     entirety for all purposes.
     l0192j    [n some embodiments, the sense and/or antisense strand of the siRNA molecule can
     further comprise a 3 '-terminal overhang having about 1 to about 4 (e.g., 1, 2, 3, or 4) 2' -
30   deoxy ribonucleotides and/or any combination of modified and unmodified nucleotides.
     Additional examples of modified nucleotides and types of chemical modifications that can be
     introduced into siRNA molecules are described, e.g., in UK Patent No. GB 2,397,818 B and




                                                      46


                                                                                                JA001733
                                                                                               GE NV-00000458
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 394 of 1274 PageID #: 8700



     U.S. Patent Publication Nos. 20040192626, 20050282188, and 20070135372, the disclosures
     of which are herein incorporated by reference in their entirety for all purposes.
     [0193]    The siRNA molecules described herein can optionally comprise one or more non-
     nucleotides in one or both strands of the siRNA. As used herein, the term "non-nucleotide"
 5   refers to any group or compound that can be incorporated into a nucleic acid chain in the
     place of one or more nucleotide units, including sugar and/or phosphate substitutions, and
     allows the remaining bases to exhibit their activity. The group or compound is abasic in that
     it does not contain a commonly recognized nucleotide base such as adenosine, guanine,
     cytosine, uracil, or thymine and therefore lacks a base at the 1 '-position.
10   [0194]    In other embodiments, chemical modification of the siRNA comprises attaching a
     conjugate to the siRNA molecule. The conjugate can be attached at the 5' and/or 3 '-end of
     the sense and/or antisense strand of the siRNA via a covalent attachment such as, e.g., a
     biodegradable linker. The conjugate can also be attached to the siRNA, e.g., through a
     carbamate group or other linking group (see, e.g., U.S. Patent Publication Nos. 20050074771,
15   20050043219, and 20050158727). In certain instances, the conjugate is a molecule that
     facilitates the deli very of the siRNA into a cell. Examples of conjugate molecules suitable
     for attachment to siRNA include, without limitation, steroids such as cholesterol, glycols
     such as polyethylene glycol (PEG), human serum albumin (HSA), fatty acids, carotenoids,
     terpenes, bile acids, folates (e.g., folic acid, folate analogs and derivatives thereof), sugars
20   (e.g., galactose, galactosamine, N-acetyl galactosamine, glucose, mannose, fructose, fucose,
     etc.), phospholipids, peptides, ligands for cellular receptors capable of mediating cellular
     uptake, and combinations thereof (see, e.g., U.S. Patent Publication Nos. 20030130186,
     20040110296, and 20040249178; U.S. Patent No. 6,753,423). Other examples include the
     lipophilic moiety, vitamin, polymer, peptide, protein, nucleic acid, small molecule,
25   oligosaccharide, carbohydrate cluster, intercalator, minor groove binder, cleaving agent, and
     cross-Linking agent conjugate molecules described in U.S. Patent Publication Nos.
     200501194 70 and 20050107325. Yet other examples include the 2 '-O-alkyl amine, 2 '-O-
     alkoxyalkyl amine, polyamine, CS-cationic modified pyrimidine, cationic peptide,
     guanidinium group, amidininium group, cationic amino acid conjugate molecules described
30   in U.S. Patent Publication No. 20050153337. Additional examples include the hydrophobic
     group, membrane active compound, cell penetrating compound, cell targeting signal,
     interaction modifier, and steric stabilizer conjugate molecules described in U.S. Patent
     Publication No. 20040167090. Fmiher examples include the conjugate molecules described
     in U.S. Patent Publication No. 20050239739. The type of conjugate used and the extent of


                                                      47


                                                                                              JA001734
                                                                                              GE NV-00000459
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 395 of 1274 PageID #: 8701



     conjugation to the siRNA molecule can be evaluated for improved pharmacokinetic profiles,
     bioavailability, and/or stability of the siRNA while retaining RNAi activity. As such, one
     skilled in the art can screen siRNA molecules having various conjugates attached thereto to
     identify ones having improved properties and full RNAi activity using any of a variety of
 5   well-known in vitro cell culture or in vivo animal models. The disclosures of the above-
     described patent documents are herein incorporated by reference in their entirety for all
     purposes.

                              d.     Target Genes

     [0195]      The siRNA component of the nucleic acid-lipid particles described herein can be
10   used to downregulate or silence the translation (i.e., expression) of a gene of interest. Genes
     of interest include, but are not limited to, genes associated with viral infection and survival,
     genes associated with metabolic diseases and disorders (e.g., liver diseases and disorders),
     genes associated with tumorigenesis and cell transformation (e.g., cancer), angiogenic genes,
     immunomodulator genes such as those associated with inflammatory and autoimmune
15   responses, ligand receptor genes, and genes associated with neurodegenerative disorders.
     [0196]      Genes associated with viral infection and survival include those expressed by a
     virus in order to bind, enter, and replicate in a cell. Of particular interest arc viral sequences
     associated with chronic viral diseases. Viral sequences of particular interest include
     sequences of Filoviruses such as Ebola virus and Marburg virus (see, e.g., Geisbert et al., .T.
20   !Jifect. Dis., ] 93: 1650-1657 (2006)); Arenaviruses such as Lassa vims, Junin vims, Machupo
     virus, Guanarito virus, and Sabia virus (Buchmeier et al., Arenaviridae: the viruses and their
     replication, In: FIELDS VIROLOGY, Knipe et al. (eds.), 4th ed., Lippincott-Raven,
     Philadelphia, (2001) ); Influenza viruses such as Influenza A, B, and C viruses, (see, e.g.,
     Steinhauer et al., Annu Rev Genet., 36:305-332 (2002); and Neumann et al., J Gen Viral.,
25   83 :2635-2662 (2002)); Hepatitis viruses (see, e.g., Hamasaki et al., FEES Lett., 543 :51
     (2003); Yokota et al., EAfBO Rep., 4:602 (2003); Schlomai et al., Hepatology, 37:764 (2003);
     Wilson et al., Proc. Natl. Acad. Sci. US:4, 100:2783 (2003); Kapadia et al., Proc. Natl. Acad.
     Sci. USA, 100:2014 (2003); and FIELDS VIROLOGY, Knipe et al. (eds.), 4th ed., Lippincott-
     Raven, Philadelphia (2001)); Human Immunodeficiency Virus (HIV) (Banerjea et al., Mo/.
30   Ther., 8:62 (2003); Song et al., J. Viral., 77:7174 (2003); Stephenson, JAMA, 289: 1494
     (2003); Qin et al., Proc. Natl. Acad. Sci. USA, 100:183 (2003)); Herpes viruses (Jia et al., J.
     Viral., 77:3301 (2003)); and Human Papilloma Viruses (HPV) (Hall et al., J. Viral., 77:6066
     (2003); Jiang et al., Oncogene, 21 :6041 (2002)).


                                                     48


                                                                                              JA001735
                                                                                             GE NV-00000460
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 396 of 1274 PageID #: 8702



     [0197]   Exemplary Filovirus nucleic acid sequences that can be silenced include, but are not
     limited to, nucleic acid sequences encoding structural proteins (e.g., VP30, VP35,
     nucleoprotein (NP), polymerase protein (L-pol)) and membrane-associated proteins (e.g.,
     VP40, glycoprotcin (GP), VP24). Complete genome sequences for Ebola virus arc set forth
 5   in, e.g., Genbank Accession Nos. NC_002549; A Y769362; NC_006432; NC_004161;
     A Y729654; AY354458; A Y142960; AB050936; AF522874; AF499l01; AF272001; and
     AF086833. Ebola virus VP24 sequences are set forth in, e.g., Genbank Accession Nos.
     U77385 and A Y058897. Ebola virus L-pol sequences are set forth in, e.g., Genbank
     Accession No. X67110. Ebola virus VP40 sequences are set forth in, e.g., Genbank
10   Accession No. AY058896. Ebola virus NP sequences arc set forth in, e.g., Genbank
     Accession No. AY058895. Ebola virus GP sequences are set forth in, e.g., Genbank
     Accession No. AY058898; Sanchez et al., Virus Res., 29:215-240 (1993); Will et al., J.
     Viral., 67:1203-1210 (1993); Volchkov et al., FEBS Lett., 305: 181-184 (1992); and U.S.
     Patent No. 6,713,069. Additional Ebola virus sequences are set forth in, e.g., Genbank
15   Accession Nos. LI 1365 and X61274. Complete genome sequences for Marburg virus are set
     forth in, e.g., Genbank Accession Nos. NC_001608; AY430365; AY430366; and AY358025.
     Marburg virus GP sequences are set forth in, e.g., Genbank Accession Nos. AF005734;
     AF005733; and AF005732. Marburg virus VP35 sequences are set forth in, e.g., Genbank
     Accession Nos. AF00573 l and AF005730. Additional Marburg virus sequences are set forth
20   in, e.g., Genbank Accession Nos. X64406; Z29337; AF005735; and Z12132. Non-limiting
     examples of siRNA molecules targeting Ebola virus and Marburg virus nucleic acid
     sequences include those described in U.S. Patent Publication No. 20070135370, the
     disclosure of which is herein incorporated by reference in its entirety for all purposes.
     [0198]   Exemplary Influenza vims nucleic acid sequences that can be silenced include, but
25   are not limited to, nucleic acid sequences encoding nucleoprotein (NP), matrix proteins (Ml
     and M2), nonstructural proteins (NS 1 and NS2), RNA polymerase (PA, PB 1, PB2),
     neurarninidase (NA), and haemagglutinin (HA). Influenza A NP sequences are set forth in,
     e.g., Genbank Accession Nos. NC_004522; AY818138; ABl 66863; ABl 88817; AB189046;
     AB189054; AB189062; AY646169; AY646177; AY651486; AY651493; AY651494;
30   AY651495; AY651496; AY651497; AY651498; AY651499; AY651500; AY651501;
     A ¥651502; AY651503; A ¥651504; A ¥651505; A ¥651506; A ¥651507; AY651509;
     AY651528; A Y770996; AY790308; AY818138; and AY818140. Influenza A PA sequences
     are set forth in, e.g., Genbank Accession Nos. AY8l8132; AY790280; AY646171;
     AY818132;AY818133; AY646179; AY818134; AY551934; AY651613; AY651610;


                                                    49


                                                                                            JA001736
                                                                                            GENV-00000461
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 397 of 1274 PageID #: 8703



     AY651620; A Y651617; AY651600; AY65161 l; AY651606; AY651618; A Y651608;
     AY651607; AY651605; AY651609; AY651615; AY651616; AY651640; AY651614;
     AY651612; A Y65162 l; AY651619; AY770995; and AY724786. Non-limiting examples of
     siRNA molecules targeting Influenza virus nucleic acid sequences include those described in
 5   U.S. Patent Publication No. 20070218122, the disclosure of which is herein incorporated by
     reference in its entirety for all purposes.
     [0199]    Exemplary hepatitis vims nucleic acid sequences that can be silenced include, but
     are not limited to, nucleic acid sequences involved in transcription and translation (e.g., En],
     En2, X, P) and nucleic acid sequences encoding structural proteins (e.g., core proteins
10   including C and C-related proteins, capsid and envelope proteins including S, M, and/or L
     proteins, or fragments thereof) (see, e.g., FIELDS VIROLOGY, supra). Exemplary Hepatits C
     virus (HCV) nucleic acid sequences that can be silenced include, but are not limited to, the
     5 '-untranslated region (5 '-UTR), the 3 '-untranslated region (3 '-UTR), the polyprotein
     translation initiation codon region, the internal ribosome entry site (IRES) sequence, and/or
15   nucleic acid sequences encoding the core protein, the El protein, the E2 protein, the p7
     protein, the NS2 protein, the NS3 protease/helicase, the NS4A protein, the NS4B protein, the
     NS5A protein, and/or the NS5B RNA-dependent RNA polymerase. HCV genome sequences
     are set forth in, e.g., Genbank Accession Nos. NC ____ 004102 (HCV genotype la), AJ238799
     (HCV genotype lb), NC_009823 (HCV genotype 2), NC_009824 (HCV genotype 3),
20   NC_009825 (HCV genotype 4), NC_009826 (HCV genotype 5), and NC_009827 (HCV
     genotype 6). Hepatitis A virus nucleic acid sequences are set forth in, e.g., Genbank
     Accession No. NC_001489; Hepatitis B virus nucleic acid sequences are set forth in, e.g.,
     Genbank Accession No. NC_003977; Hepatitis D virus nucleic acid sequence are set forth in,
     e.g., Genbank Accession No. NC_001653; Hepatitis E virus nucleic acid sequences are set
25   forth in, e.g., Genbank Accession No. NC_001434; and Hepatitis G virus nucleic acid
     sequences are set forth in, e.g., Genbank Accession No. NC_001710. Silencing of sequences
     that encode genes associated with viral infection and survival can conveniently be used in
     combination with the administration of conventional agents used to treat the viral condition.
     Non-limiting examples of siRNA molecules targeting hepatitis virus nucleic acid sequences
30   include those described in U.S. Patent Publication Nos. 20060281175, 20050058982, and
     20070149470; U.S. Patent No. 7,348,314; and U.S. Provisional Application No. 61/162,127,
     filed March 20, 2009, the disclosures of which are herein incorporated by reference in their
     entirety for all purposes.




                                                    50


                                                                                            JA001737
                                                                                           GE NV-00000462
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 398 of 1274 PageID #: 8704



     [0200]    Genes associated with metabolic diseases and disorders (e.g., disorders in which the
     liver is the target and liver diseases and disorders) include, for example, genes expressed in
     dyslipidemia (e.g., liver X receptors such as LXRa and LXRR, (Genback Accession No.
     NM_007121), farnesoid X receptors (FXR) (Genbank Accession No. NM_005123), sterol-
 5   regulatory element binding protein (SREBP), site-I protease (SIP), 3-hydroxy-3-
     methylglutaryl coenzyme-A reductase (HMG coenzyme-A reductase ), apolipoprotein B
     (ApoB) (Genbank Accession No. NM_000384), apolipoprotein cm (ApoC3) (Genbank
     Accession Nos. NM_000040 and NG_008949 REGION: 5001..8164), and apolipoprotein E
     (ApoE) (Genbank Accession Nos. NM_000041 and NG_007084 REGION: 5001..8612)); and
]0   diabetes (e.g., glucose 6-phosphatasc) (see, e.g., Forman et al., Cell, 81 :687 (1995); Scot et
     al., Mo!. Endocrinol., 9:72 (1995), Zavacki et al., Proc. Natl. Acad. Sci. USA, 94:7909
     (1997); Sakai eta!., Cell, 85:1037-1046 (1996); Duncan eta!., J. Biol. Chem., 272:12778-
     12785 (1997); Willy et al., Genes Dev., 9:1033-1045 (1995); Lehmann et al., J. Biol. Chem.,
     272:3137-3]40 (1997); Janowski eta!., Nature, 383:728-731 (1996); and Peet eta!., Cell,
15   93 :693-704 (1998)). One of skill in the art will appreciate that genes associated with
     metabolic diseases and disorders (e.g., diseases and disorders in which the liver is a target and
     liver diseases and disorders) include genes that arc expressed in the liver itself as well as and
     genes expressed in other organs and tissues. Silencing of sequences that encode genes
     associated with metabolic diseases and disorders can conveniently be used in combination
20   with the administration of conventional agents used to treat the disease or disorder. Non-
     limiting examples of siRNA molecules targeting the ApoB gene include those described in
     U.S. Patent Publication No. 20060134189, the disclosure of which is herein incorporated by
     reference in its entirety for all purposes. Non-limiting examples of siRNA molecules
     targeting the ApoC3 gene include those described in U.S. Provisional Application No.
25   61/147,235, filed January 26, 2009, the disclosure of which is herein incorporated by
     reference in its entirety for all purposes.
     [0201]    Examples of gene sequences associated with tumorigenesis and cell transformation
     (e.g., cancer or other neoplasia) include mitotic kinesins such as Eg5 (KSP, KIF] l; Genbank
     Accession No. NM_004523); serine/threonine kinases such as polo-like kinase 1 (PLK-1)
30   (Genbank Accession No. NM 005030; Barr et al., Nat. Rev. A-Io!. Cell Biol., 5:429-440
     (2004)); tyrosine kinases such as WEEl (Genbank Accession Nos. NM_003390 and
     NM_001] 43976); inhibitors of apoptosis such as XIAP (Genbank Accession No.
     NM_00l 167); COP9 signalosome subunits such as CSN], CSN2, CSN3, CSN4, CSN5



                                                    51


                                                                                            JA001738
                                                                                            GE NV-00000463
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 399 of 1274 PageID #: 8705



     (JAB]; Genbank Accession No. NM_006837); CSN6, CSN7A, CSN7B, and CSN8; ubiquitin
     ligases such as COP] (RFWD2; Genbank Accession Nos. NM_022457 and
     NM_00lO0l 740); and histone deacetylases such as HDACl, HDAC2 (Genbank Accession
     No. NM_001527), HDAC3, HDAC4, HDAC5, HDAC6, HDAC7, HDAC8, HDAC9, etc.
 5   Non-limiting examples of siRNA molecules targeting the Eg5 and XIAP genes include those
     described in U.S. Patent Application No. 11/807,872, filed May 29, 2007, the disclosure of
     which is herein incorporated by reference in its entirety for all purposes. Non-Limiting
     examples of siRNA molecules targeting the PLK-1 gene include those described in U.S.
     Patent Publication Nos. 20050107316 and 20070265438; and U.S. Patent Application No.
10   12/343,342, filed December 23, 2008, the disclosures of which are herein incorporated by
     reference in their entirety for all purposes. Non-limiting examples of siRNA molecules
     targeting the CSN5 gene include those described in U.S. Provisional Application No.
     61/045,251, filed April 15, 2008, the disclosure of which is herein incorporated by reference
     in its entirety for all purposes.
15   [0202]    Additional examples of gene sequences associated with tumorigenesis and cell
     transformation include translocation sequences such as MLL fusion genes, BCR-ABL (Wilda
     et al., Oncogene, 21 :5716 (2002); Scherr et al., Blood, 101: 1566 (2003)), TEL-AMLl, EWS-
     FLII, TLS-FUS, P AX3-FKHR, BCL-2, AMLl-ETO, and AML1-MTG8 (Heidenreich et al.,
     Blood, 101 :3157 (2003)); overexpressed sequences such as multidrug resistance genes (Nieth
20   et al., FEES Lett., 545:144 (2003); Wu et al, Cancer Res. 63: 1515 (2003)), cyclins (Li et al.,
     Cancer Res., 63:3593 (2003); Zou et al., Genes Dev., 16:2923 (2002)), beta-catenin (Verma
     et al., Clin Cancer Res., 9: 129] (2003)), telomerase genes (Kosciolek et al., Mo! Cancer
     Ther., 2:209 (2003)), c-MYC, N-MYC, BCL-2, growth factor receptors (e.g., EGFR/ErbB]
     (Genbank Accession Nos. NM_005228, NM_201282, NM_201283, and NM_201284; see
25   also, Nagy et al. Exp. Cell Res., 285 :39-49 (2003), ErbB2/HER-2 (Genbank Accession Nos.
     NM_004448 and NM_001005862), ErbB3 (Genbank Accession Nos. NM_001982 and
     NM_001005915), and ErbB4 (Genbank Accession Nos. NM_005235 and NM_001042599);
     and mutated sequences such as RAS (reviewed in Tuschl and Borkhardt, j\10!. Interventions,
     2: 158 (2002)). Non-limiting examples of siRNA molecules targeting the EGFR gene include
30   those described in U.S. Patent Application No. 11/807,872, filed May 29, 2007, the
     disclosure of which is herein incorporated by reference in its entirety for all purposes.
     [0203]    Silencing of sequences that encode DNA repair enzymes find use in combination
     with the administration of chemotherapeutic agents (Collis et al., Cancer Res., 63: 1550
     (2003)). Genes encoding proteins associated with tumor migration arc also target sequences


                                                    52


                                                                                            JA001739
                                                                                            GE NV-00000464
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 400 of 1274 PageID #: 8706



     of interest, for example, integrins, selectins, and metalloproteinases. The foregoing examples
     are not exclusive. Those of skill in the art will understand that any whole or partial gene
     sequence that facilitates or promotes tumorigenesis or cell transformation, tumor growth, or
     tumor migration can be included as a template sequence.
 5   [0204]      Angiogenic genes are able to promote the formation of new vessels. Of particular
     interest is vascular endothelial growth factor (VEGF) (Reich et al., Mal. Vis., 9:210 (2003))
     or VEGFR. siRNA sequences that target VEGFR are set forth in, e.g., GB 2396864; U.S.
     Patent Publication No. 20040142895; and CA 2456444, the disclosures of which are herein
     incorporated by reference in their entirety for all purposes.
10   [0205]      Anti-angiogenic genes are able to inhibit neovascularization. These genes are
     particularly useful for treating those cancers in which angiogenesis plays a role in the
     pathological development of the disease. Examples of anti-angiogenic genes include, but are
     not limited to, endostatin CS'ee, e.g., U.S. Patent No. 6,174,861), angiostatin (see, e.g., U.S.
     Patent No. 5,639,725), and VEGFR2 (see, e.g., Decaussin et al., .J Pathol., 188: 369-377
15   (1999)), the disclosures of which are herein incorporated by reference in their entirety for all
     purposes.
     [0206]      Immunomodulator genes are genes that modulate one or more immune responses.
     Examples of immunomodulator genes include, without limitation, cytokines such as growth
     factors (e.g., TGF-a, TGF-f3, EGF, FGF, IGF, NGF, PDGF, CGF, GM-CSF, SCF, etc.),
20   interleukins (e.g., IL-2, IL-4, IL-12 (Hill et al., .J Immunol., 171:691 (2003)), IL-15, IL-18,
     IL-20, etc.), interferons (e.g., IFN-a, IFN-f3, IFN-y, etc.) and TNF. Fas and Fas ligand genes
     are also immunomodulator target sequences of interest (Song et al., Nat. Med., 9 :34 7 (2003 )).
     Genes encoding secondary signaling molecules in hematopoietic and lymphoid cells are also
     included in the present invention, for example, Tee family kinases such as Bruton's tyrosine
25   kinase (Btk) (Heinonen et al., FEBS Lett., 527:274 (2002)).
     [0207]      Cell receptor ligands include ligands that are able to bind to cell surface receptors
     (e.g., insulin receptor, EPO receptor, G-protein coupled receptors, receptors with tyrosine
     kinase activity, cytokine receptors, growth factor receptors, etc.), to modulate (e.g., inhibit,
     activate, etc.) the physiological pathway that the receptor is involved in (e.g., glucose level
30   modulation, blood cell development, mitogenesis, etc.). Examples of cell receptor ligands
     include, but are not limited to, cytokines, growth factors, interleukins, interferons,
     erythropoietin (EPO), insulin, glucagon, G-protein coupled receptor ligands, etc. Templates
     coding for an expansion of trinucleotide repeats (e.g., CAG repeats) find use in silencing
     pathogenic sequences in neurodegenerati ve disorders caused by the expansion of


                                                       53


                                                                                              JA001740
                                                                                              GE NV-00000465
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 401 of 1274 PageID #: 8707



     trinucleotide repeats, such as spinobulbular muscular atrophy and Huntington's Disease
     (Caplen et al., Hum. Mol. Genet., 11: 175 (2002)).
     [0208]    [n addition to its utility in silencing the expression of any of the above-described
     genes for therapeutic purposes, the siRNA described herein arc also useful in research and
 5   development applications as well as diagnostic, prophylactic, prognostic, clinical, and other
     healthcare applications. As a non-limiting example, the siRNA can be used in target
     validation studies directed at testing whether a gene of interest has the potential to be a
     therapeutic target. The siRNA can also be used in target identification studies aimed at
     discovering genes as potential therapeutic targets.

10                  2.      aiRNA

     [0209]   Like siRNA, asymmetrical interfering RNA (aiRNA) can recrnit the RNA-induced
     silencing complex (RISC) and lead to effective silencing of a variety of genes in mammalian
     cells by mediating sequence-specific cleavage of the target sequence between nucleotide 10
     and 11 relative to the 5' end of the antisense strand (Sun et al., Nat. Biotech., 26: 1379-1382
15   (2008)). Typically, an aiRNA molecule comprises a short RNA duplex having a sense strand
     and an anti sense strand, wherein the duplex contains overhangs at the 3' and 5' ends of the
     antisense strand. The aiRNA is generally asymmetric because the sense strand is shorter on
     both ends when compared to the complementary antiscnsc strand. In some aspects, aiRNA
     molecules may be designed, synthesized, and annealed under conditions similar to those used
20   for siRNA molecules. As a non-limiting example, aiRNA sequences may be selected and
     generated using the methods described above for selecting siRNA sequences.
     [0210]    [n another embodiment, aiRNA duplexes of various lengths (e.g., about 10-25, 12-
     20, 12-19, 12-18, 13-17, or 14-17 base pairs, more typically 12, 13, 14, 15, 16, 17, 18, 19, or
     20 base pairs) may be designed with overhangs at the 3' and 5' ends of the antisense strand to
25   target an mRNA of interest. In certain instances, the sense strand of the aiRNA molecule is
     about 10-25, 12-20, 12-19, 12-18, 13-17, or 14-17 nucleotides in length, more typically 12,
     13, 14, 15, 16, 17, 18, 19, or 20 nucleotides in length. In certain other instances, the antisense
     strand of the aiRNA molecule is about 15-60, 15-50, or 15-40 nucleotides in length, more
     typically about 15-30, 15-25, or 19-25 nucleotides in length, and is preferably about 20-24,
30   21-22, or 21-23 nucleotides in length.
     [0211]   In some embodiments, the 5' antisense overhang contains one, two, three, four, or
     more nontargeting nucleotides (e.g., "AA", "lTU", "dTdT", etc.). In other embodiments, the
     3' antisense overhang contains one, two, three, four, or more nontargeting nucleotides ( e.g.,


                                                     54


                                                                                             JA001741
                                                                                            GE NV-00000466
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 402 of 1274 PageID #: 8708



     "AA", "UU", "dTdT", etc.). In certain aspects, the aiRNA molecules described herein may
     comprise one or more modified nucleotides, e.g., in the double-stranded (duplex) region
     and/or in the antisense overhangs. As a non-limiting example, aiRNA sequences may
     comprise one or more of the modified nucleotides described above for siRNA sequences. In
 5   a preferred embodiment, the aiRNA molecule comprises 2'OMe nucleotides such as, for
     example, 2'OMe-guanosine nucleotides, 2'OMe-uridine nucleotides, or mixtures thereof.
     [0212]   In certain embodiments, aiRNA molecules may comprise an antisense strand which
     corresponds to the antisense strand of an siRNA molecule, e.g., one of the siRNA molecules
     described herein. In other embodiments, aiRNA molecules may be used to silence the
10   expression of any of the target genes set forth above, such as, e.g., genes associated with viral
     infection and survival, genes associated with metabolic diseases and disorders, genes
     associated with tumorigenesis and cell transformation, angiogenic genes, immunomodulator
     genes such as those associated with inflammatory and autoimmune responses, ligand receptor
     genes, and genes associated with neurodegenerative disorders.

]5                  3.      miRNA

     [0213]   Generally, microRNAs (miRNA) are single-stranded RNA molecules of about 21-
     23 nucleotides in length which regulate gene expression. miRNAs arc encoded by genes
     from whose DNA they arc transcribed, but miRNAs arc not translated into protein (non-
     coding RNA); instead, each primary transcript (a pri-miRNA) is processed into a short stem-
20   loop strncture called a pre-miRNA and finally into a functional mature miRNA. Mature
     mi RNA molecules are either partially or completely complementary to one or more
     messenger RNA (mRNA) molecules, and their main function is to downregulate gene
     expression. The identification of mi RNA molecules is described, e.g., in Lagos-Quintana et
     al., Science, 294:853-858; Lau et al., Science, 294:858-862; and Lee et al., Science, 294:862-
25   864.
     [0214]   The genes encoding miRNA are much longer than the processed mature miRNA
     molecule. miRNA are first transcribed as primary transcripts or pri-miRNA with a cap and
     poly-A tail and processed to short, ~70-nucleotide stem-loop strnctures known as pre-miRNA
     in the cell nucleus. This processing is performed in animals by a protein complex known as
30   the Microprocessor complex, consisting of the nuclease Drosha and the double-stranded RNA
     binding protein Pasha (Denli et al., Nature, 432:231-235 (2004)). These pre-miRNA are then
     processed to mature miRNA in the cytoplasm by interaction with the endonuclease Dicer,
     which also initiates the formation of the RNA-induced silencing complex (RISC) (Bernstein


                                                    55


                                                                                            JA001742
                                                                                           GE NV-00000467
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 403 of 1274 PageID #: 8709



     et al., Nature, 409:363-366 (2001). Either the sense strand or antisense strand of DNA can
     function as templates to give rise to miRNA.
     [0215]   When Dicer cleaves the pre-miRNA stem-loop, two complementary short RNA
     molecules arc formed, but only one is integrated into the RISC complex. This strand is
 5   known as the guide strand and is selected by the argonaute protein, the catalytically active
     RNase in the RISC complex, on the basis of the stability of the 5' end (PreaH eta!., Curr.
     Biol., 16:530-535 (2006)). The remaining strand, known as the anti-guide or passenger
     strand, is degraded as a RISC complex substrate (Gregory et al., Cell, 123:631-640 (2005)).
     After integration into the active RISC complex, miRNAs base pair with their complementary
10   mRNA molecules and induce target mRNA degradation and/or translational silencing.
     [0216]   Mammalian miRNA molecules arc usually complementary to a site in the 3' UTR
     of the target mRNA sequence. In certain instances, the annealing of the miRNA to the target
     mRNA inhibits protein translation by blocking the protein translation machinery. In certain
     other instances, the annealing of the miRNA to the target mRNA facilitates the cleavage and
15   degradation of the target mRNA through a process similar to RNA interference (RNAi).
     miRNA may also target methylation of genomic sites which correspond to targeted mRNA.
     Generally, miRNA function in association with a complement of proteins collectively termed
     themiRNP.
     [0217]   In certain aspects, the miRNA molecules described herein are about 15-100, 15-90,
20   15-80, 15-75, 15-70, 15-60, 15-50, or 15-40 nucleotides in length, more typically about 15-
     30, 15-25, or 19-25 nucleotides in length, and are preferably about 20-24, 21-22, or 21-23
     nucleotides in length. In certain other aspects, mi RNA molecules may comprise one or more
     modified nucleotides. As a non-limiting example, miRNA sequences may comprise one or
     more of the modified nucleotides described above for siRNA sequences. In a preferred
25   embodiment, the miRNA molecule comprises 2'OMe nucleotides such as, for example,
     2'OMe-guanosine nucleotides, 2'OMe-uridine nucleotides, or mixtures thereof.
     [0218]   In some embodiments, miRNA molecules may be used to silence the expression of
     any of the target genes set forth above, such as, e.g., genes associated with viral infection and
     survival, genes associated with metabolic diseases and disorders, genes associated with
30   tumorigcnesis and cell transformation, angiogenic genes, immunomodulator genes such as
     those associated with inflammatory and autoimmune responses, ligand receptor genes, and
     genes associated with neurodegenerative disorders.
     [0219]   In other embodiments, one or more agents that block the activity of a mi RNA
     targeting an mRNA of interest are administered using a lipid particle of the invention (e.g., a


                                                    56


                                                                                            JA001743
                                                                                           GE NV-00000468
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 404 of 1274 PageID #: 8710



     nucleic acid-lipid particle). Examples of blocking agents include, but are not limited to,
     steric blocking oligonucleotides, locked nucleic acid oligonucleotides, and Morpholino
     oligonucleotides. Such blocking agents may bind directly to the mi RNA or to the mi RNA
     binding site on the target mRNA.

 5                   4.      Antisense Oligonucleotides

     f0220l    In one embodiment, the nucleic acid is an antisense oligonucleotide directed to a
     target gene or sequence of interest. The terms "antisense oligonucleotide" or "antisense"
     include oligonucleotides that are complementary to a targeted polynucleotide sequence.
     Antiscnse oligonuclcotidcs arc single strands of DNA or RNA that arc complementary to a
l0   chosen sequence. Antisense RNA oligonucleotides prevent the translation of complementary
     RNA strands by binding to the RNA. Antisense DNA oligonucleotides can be used to target
     a specific, complementary (coding or non-coding) RNA. If binding occurs, this DNA/RNA
     hybrid can be degraded by the enzyme RNase H. In a particular embodiment, antisense
     oligonucleotides comprise from about 10 to about 60 nucleotides, more preferably from about
15   15 to about 30 nucleotides. The term also encompasses antisense oligonucleotides that may
     not be exactly complementary to the desired target gene. Thus, the invention can be utilized
     in instances where non-target specific-activities arc found with antiscnsc, or where an
     antisense sequence containing one or more mismatches with the target sequence is the most
     preferred for a particular use.
20   [0221]    Antisense oligonucleotides have been demonstrated to be effective and targeted
     inhibitors of protein synthesis, and, consequently, can be used to specifically inhibit protein
     synthesis by a targeted gene. The efficacy of antisense oligonucleotides for inhibiting protein
     synthesis is well established. For example, the synthesis of polygalactauronase and the
     muscarinc type 2 acetylcholinc receptor are inhibited by antisense oligonuclcotides directed
25   to their respective mRNA sequences (see, U.S. Patent Nos. 5,739,119 and 5,759,829).
     Furthermore, examples of antisensc inhibition have been demonstrated with the nuclear
     protein cyclin, the multiple drug resistance gene (MDRl), ICAM-1, E-selectin, STK-1,
     striatal GABAA receptor, and human EGF (see, Jaskulski et al., Science, 240: 1544-6 (1988);
     Vasanthakumar et al., Cancer Commun., 1:225-32 (1989); Peris et al., Brain Res Mal Brain
30   Res., 15;57:310-20 (1998); and U.S. Patent Nos. 5,801,154; 5,789,573; 5,718,709 and
     5,610,288). Moreover, antisense constructs have also been described that inhibit and can be
     used to treat a variety of abnormal cellular proliferations, e.g., cancer (see, U.S. Patent Nos.




                                                     57


                                                                                             JA001744
                                                                                            GE NV-00000469
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 405 of 1274 PageID #: 8711



     5,747,470; 5,591,317; and 5,783,683). The disclosures of these references are herein
     incorporated by reference in their entirety for all purposes.
     [0222]   Methods of producing antisense oligonucleotides are known in the art and can be
     readily adapted to produce an antisense oligonucleotide that targets any polynucleotide
 5   sequence. Selection of antisense oligonucleotide sequences specific for a given target
     sequence is based upon analysis of the chosen target sequence and determination of
     secondary structure, Tm, binding energy, and relative stability. Antisense oligonucleotides
     may be selected based upon their relative inability to form dimers, hairpins, or other
     secondary structures that would reduce or prohibit specific binding to the target mRNA in a
10   host cell. Highly preferred target regions of the mRNA include those regions at or near the
     AUG translation initiation codon and those sequences that are substantially complementary to
     5' regions of the mRNA. These secondary structure analyses and target site selection
     considerations can be performed, for example, using v.4 of the OLIGO primer analysis
     software (Molecular Biology Insights) and/or the BLAS TN 2.0.5 algorithm software
15   (Altschul et al., Nucleic Acids Res., 25:3389-402 (1997)).

                    5.      Ribozymes

     [0223]   According to another embodiment of the invention, nucleic acid-lipid particles are
     associated with ribozymcs. Ribozymcs arc RNA-protein complexes having specific catalytic
     domains that possess endonuclease activity (see, Kim et al., Proc. Natl. Acad. Sci. U5iA.,
20   84:8788-92 (1987); and Forster et al., Cell, 49:211-20 (1987)). For example, a large number
     of ribozymes accelerate phosphoester transfer reactions with a high degree of specificity,
     often cleaving only one of several phosphoesters in an oligonucleotide substrate (see, Cech et
     al., Cell, 27:487-96 (1981); Michel et al., J. Mo!. Biol., 216:585-610 (1990); Reinhold-Hurek
     et al., Nature, 357: 173-6 (1992)). This specificity has been attributed to the requirement that
25   the substrate bind via specific base-pairing interactions to the internal guide sequence ("IGS")
     of the ribozyme prior to chemical reaction.
     [0224]   At least six basic varieties of naturally-occurring enzymatic RNA molecules are
     known presently. Each can catalyze the hydrolysis of RNA phosphodiester bonds in trans
     (and thus can cleave other RNA molecules) under physiological conditions. In general,
30   enzymatic nucleic acids act by first binding to a target RNA. Such binding occurs through
     the target binding portion of an enzymatic nucleic acid which is held in close proximity to an
     enzymatic portion of the molecule that acts to cleave the target RNA. Thus, the enzymatic
     nucleic acid first recognizes and then binds a target RNA through complementary base-


                                                    58


                                                                                              JA001745
                                                                                           GENV-00000470
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 406 of 1274 PageID #: 8712



     pairing, and once bound to the correct site, acts enzymatically to cut the target RNA.
     Strategic cleavage of such a target RNA will destroy its ability to direct synthesis of an
     encoded protein. After an enzymatic nucleic acid has bound and cleaved its RNA target, it is
     released from that RNA to search for another target and can repeatedly bind and cleave new
 5   targets.
     [0225]     The enzymatic nucleic acid molecule may be formed in a hammerhead, hairpin,
     hepatitis 8 vims, group I intron or RNaseP RNA (in association with an RNA guide
     sequence), or Neurospora VS RNA motif, for example. Specific examples of hammerhead
     motifs are described in, e.g., Rossi et al., Nucleic Acids Res., 20:4559-65 (1992). Examples
10   of hairpin motifs are described in, e.g., EP 0360257, Hampel et al., Biochemistry, 28:4929-33
     (1989); Hampel et al., Nucleic Acids Res., 18:299-304 (1990); and U.S. Patent No. 5,631,359.
     An example of the hepatitis 8 virus motif is described in, e.g., Perrotta et al., Biochemistry,
     31: 11843-52 (1992). An example of the RNaseP motif is described in, e.g., Guerrier-Takada
     et al., Cell, 35:849-57 (1983). Examples of the Neurospora VS RNA ribozyme motif is
15   described in, e.g., Saville et al., Cell, 61:685-96 (1990); Saville et al., Proc. Natl. Acad. Sci.
     USA, 88:8826-30 (1991); Collins et al., Biochemistry, 32:2795-9 (1993). An example of the
     Group I intron is described in, e.g., U.S. Patent No. 4,987,071. Important characteristics of
     enzymatic nucleic acid molecules used according to the invention are that they have a
     specific substrate binding site which is complementary to one or more of the target gene
20   DNA or RNA regions, and that they have nucleotide sequences within or surrounding that
     substrate binding site which impart an RNA cleaving activity to the molecule. Thus, the
     ribozyme constructs need not be limited to specific motifa mentioned herein. The disclosures
     of these references are herein incorporated by reference in their entirety for all purposes.
     [0226]     Methods of producing a ribozyme targeted to any polynucleotide sequence are
25   known in the art. Ribozymes may be designed as described in, e.g., PCT Publication Nos.
     WO 93/23569 and WO 94/02595, and synthesized to be tested in vitro and/or in vivo as
     described therein. The disclosures of these PCT publications are herein incorporated by
     reference in their entirety for all purposes.
     [0227]     Ribozyme activity can be optimized by altering the length of the ribozyme binding
30   arms or chemically synthesizing ribozymes with modifications that prevent their degradation
     by serum ribonucleases (see, e.g., PCT Publication Nos. WO 92/07065, WO 93/15187, WO
     91/03162, and WO 94/13688; EP 92110298.4; and U.S. Patent No. 5,334,711, which describe
     various chemical modifications that can be made to the sugar moieties of enzymatic RNA
     molecules, the disclosures of which are each herein incorporated by reference in their entirety


                                                      59


                                                                                              JA001746
                                                                                              GENV-00000471
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 407 of 1274 PageID #: 8713



     for all purposes), modifications which enhance their efficacy in cells, and removal of stem n
     bases to shorten RNA synthesis times and reduce chemical requirements.

                    6.      Immunostimulatory Oligonucleotides

     [0228]   Nucleic acids associated with lipid paticles of the present invention may be
 5   immunostimulatory, including immunostimulatory oligonucleotides (ISS; single-or double-
     stranded) capable of inducing an immune response when administered to a subject, which
     may be a mammal such as a human. ISS include, e.g., certain palindromes leading to hairpin
     secondary structures (see, Yamamoto et al., .1. Immunol., 148 :4072-6 (1992)), or CpG motifs,
     as well as other known ISS features (such as multi-G domains; see; PCT Publication No. WO
lO   96/11266, the disclosure of which is herein incorporated by reference in its entirety for all
     purposes).
     [0229]   Immunostimulatory nucleic acids are considered to be non-sequence specific when
     it is not required that they specifically bind to and reduce the expression of a target sequence
     in order to provoke an immune response. Thus, certain immunostimulatory nucleic acids
15   may comprise a sequence corresponding to a region of a naturally-occurring gene or mRNA,
     but they may still be considered non-sequence specific immunostimulatory nucleic acids.
     [0230]   In one embodiment, the immunostimulatory nucleic acid or oligonucleotide
     comprises at least one CpG dinuclcotidc. The oligonuclcotidc or CpG dinuclcotidc may be
     unmethylated or methylated. In another embodiment, the immunostimulatory nucleic acid
20   comprises at least one CpG dinucleotide having a methylated cytosine. In one embodiment,
     the nucleic acid comprises a single CpG dinucleotide, wherein the cytosine in the CpG
     dinucleotide is methylated. In an alternative embodiment, the nucleic acid comprises at least
     two CpG dinucleotides, wherein at least one cytosine in the CpG dinucleotides is methylated.
     In a further embodiment, each cytosine in the CpG dinucleotides present in the sequence is
25   methylated. In another embodiment, the nucleic acid comprises a plurality of CpG
     dinuclcotides, wherein at least one of the CpG dinucleotides comprises a methylated cytosine.
     Examples of immunostimulatory oligonucleotides suitable for use in the compositions and
     methods of the present invention are described in PCT Application No. PCT/US08/88676,
     filed December 31, 2008, PCT Publication Nos. WO 02/069369 and WO 01/15726, U.S.
30   Patent No. 6,406,705, and Raney et al., .1. Phann. Exper. Ther., 298:1185-92 (2001), the
     disclosures of which are each herein incorporated by reference in their entirety for all
     purposes. In certain embodiments, the oligonucleotides used in the compositions and




                                                    60


                                                                                            JA001747
                                                                                           GE NV-000004 72
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 408 of 1274 PageID #: 8714



     methods of the invention have a phosphodiester ("PO") backbone or a phosphorothioate
     ("PS") backbone, and/or at least one methylated cytosine residue in a CpG motif.

              B.     Other Active Agents

     [0231]    In certain embodiments, the active agent associated with the lipid paticles of the
 5   invention may comprise one or more therapeutic proteins, polypeptides, or small organic
     molecules or compounds. Non-limiting examples of such therapeutically effective agents or
     drugs include oncology drugs (e.g., chemotherapy drugs, hormonal therapaeutic agents,
     immunotherapeutic agents, radiotherapeutic agents, etc.), lipid-lowering agents, anti-viral
     drugs, anti-inflammatory compounds, antidepressants, stimulants, analgesics, antibiotics,
lO   birth control medication, antipyretics, vasodilators, anti-angiogenics, cytovascular agents,
     signal transduction inhibitors, cardiovascular drugs such as anti-arrhythmic agents, hormones,
     vasoconstrictors, and steroids. These active agents may be administered alone in the lipid
     particles of the invention, or in combination ( e.g., co-administered) with lipid particles of the
     invention comprising nucleic acid such as interfering RNA.
15   [02321    Non-limiting examples of chemotherapy drugs include platinum-based drugs (e.g.,
     oxaliplatin, cisplatin, carboplatin, spiroplatin, iproplatin, satraplatin, etc.), alkylating agents
     (e.g .. cyclophosphamide, ifosfamide, chlorambucil, busulfan, melphalan, mechlorethamine,
     uramustine, thiotepa, nitrosoureas, etc.), anti-metabolites (e.g., 5-fluorouracil (5-FU),
     azathioprine, methotrexate, leucovorin, capecitabine, cytarabine, floxuridine, fludarabine,
20   gemcitabine, pemetrexed, raltitrexed, etc.), plant alkaloids (e.g., vincristine, vinblastine,
     vinorelbine, vindesine, podophyllotoxin, paclitaxel (taxol), docetaxel, etc.), topoisomerase
     inhibitors (e.g., irinotecan (CPT-11; Camptosar), topotecan, amsacrine, etoposide (VP] 6),
     etoposide phosphate, teniposide, etc.), anti tumor antibiotics (e.g., doxorubicin, adriamycin,
     daunorubicin, epirubicin, actinomycin, bleomycin, mitomycin, mitoxantrone, plicamycin,
25   etc.), tyrosine kinase inhibitors (e.g., gefitinib (Iressa@), sunitinib (Sutent(I<\ SUI 1248),
     erlotinib (Tarceva®; OSI-1774), lapatinib (GW572016; GW2016), canertinib (CI 1033),
     semaxinib (SU5416), vatalanib (PTK787/ZK222584), sorafenib (BAY 43-9006), imatinib
     (Gleevec®; STI571), dasatinib (BMS-354825), leflunomide (SUI0l), vandetanib (Zactima™;
     ZD6474), etc.), pharmaceutically acceptable salts thereof, stereoisomers thereof, derivatives
30   thereof, analogs thereof, and combinations thereof.
     [0233]    Examples of conventional hormonal therapaeutic agents include, without limitation,
     steroids ( e.g., dexamethasone ), finasteride, aromatase inhibitors, tamoxifcn, and goserelin as
     well as other gonadotropin-releasing hormone agonists (GnRH).


                                                      61


                                                                                                JA001748
                                                                                                GE NV-000004 73
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 409 of 1274 PageID #: 8715



     [0234]       Examples of conventional immunotherapeutic agents include, but are not limited to,
     immunostimulants (e.g., Bacillus Calmette-Guerin (BCG), levamisole, interleukin-2, alpha-
     interferon, etc.), monoclonal antibodies (e.g., anti-CD20, anti-HER2, anti-CD52, anti-HLA-
     DR, and anti-VEGF monoclonal antibodies), immunotoxins (e.g., anti-CD33 monoclonal
 5   antibody-calicheamicin conjugate, anti-CD22 monoclonal antibody-pseudomonas exotoxin
     conjugate, etc.), and radioimmunotherapy (e.g., anti-CD20 monoclonal antibody conjugated
     to 11] In, 90 Y, or 131 I, etc .) .
     [0235] Examples of conventional radiotherapeutic agents include, but are not limited to,
         .
     ra d1onuc  1 es sue h as 47s c, 64c u, 67c u, 89S r, 86y , 87y , 90y , 105Rh, lllA g, I lll n, l17ms n, 149pm,
               l"d
     153
10         Sm, 166 Ho, 177 Lu, 186 Re, 188Re, 211 At, and 212 Bi, optionally conjugated to antibodies directed
     against tumor antigens.
     [0236]       Additional oncology drugs that may be used according to the invention include, but
     are not limited to, alkeran, allopurinol, altretaminc, amifostine, anastrozolc, araC, arsenic
     trioxide, bcxarotcnc, biCNU, cannustinc, CCNU, cclccoxib, cladribinc, cyclosporin A,
15   cytosine arabinosidc, cytoxan, dexrazoxane, DTIC, estramustine, exemestane, FK506,
     gemtuzumab-ozogamicin, hydrea, hydroxyurea, idarubicin, interferon, letrozolc, leustatin,
     leuprolide, litretinoin, megastrol, L-PAM, mesna, methoxsalen, mithramycin, nitrogen
     mustard, pamidronate, Pegademase, pentostatin, porfimer sodium, prednisone, rituxan,
     streptozocin, STI-571, taxotere, temozolamide, VM-26, toremifene, tretinoin, ATRA,
20   valrubicin, and velban. Other examples of oncology drugs that may be used according to the
     invention are ellipticin and ellipticin analogs or derivatives, epothilones, intracellular kinase
     inhibitors, and camptothecins.
     [0237]       Non-limiting examples oflipid-lowering agents for treating a lipid disease or
     disorder associated with elevated triglycerides, cholesterol, and/or glucose include statins,
25   fibrates, ezetimibe, thiazolidinediones, niacin, beta-blockers, nitroglycerin, calcium
     antagonists, fish oil, and mixtures thereof.
     [0238]       Examples of anti-viral drugs include, but are not limited to, abacavir, aciclovir,
     acyclovir, adefovir, amantadine, amprenavir, arbidol, atazanavir, atripla, cidofovir, combivir,
     darunavir, delavirdine, didanosine, docosanol, edoxudine, efavirenz, emtricitabine,
30   enfuvirtide, entecavir, entry inhibitors, famciclovir, fixed dose combinations, fomivirsen,
     fosamprenavir, foscamet, fosfonet, fusion inhibitors, ganciclovir, ibacitabine, imunovir,
     idoxuridine, imiquimod, indinavir, inosine, integrase inhibitors, interferon type m (e.g., IFN-
     A molecules such as lFN-Al, IFN-A2, and IFN-A3), interferon type II (e.g., IFN-y), interferon
     type I (e.g., IFN-a such as PEGylated IFN-a, IFN-~, IFN-K, IFN-8, IFN-E, IFN-'t, IFN-m, and


                                                            62


                                                                                                         JA001749
                                                                                                         GENV-00000474
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 410 of 1274 PageID #: 8716



     IFN-1;), interferon, lamivudine, lopinavir, loviride, MK-0518, maraviroc, moroxydine,
     nelfinavir, nevirapine, nexavir, nucleoside analogues, oseltamivir, penciclovir, peramivir,
     pleconaril, podophyllotoxin, protease inhibitors, reverse transcriptase inhibitors, ribavirin,
     rimantadine, ritonavir, saquinavir, stavudine, synergistic enhancers, tenofovir, tenofovir
 5   disoproxil, tipranavir, trifluridine, trizivir, tromantadine, truvada, valaciclovir, valganciclovir,
     vicriviroc, vidarabine, viramidine, zalcitabine, zanamivir, zidovudine, pharmaceutically
     acceptable salts thereof, stereoisomers thereof, derivatives thereof, analogs thereof, and
     mixtures thereof.

     V.       Lipid Particles

lO   [0239]    The lipid paiiicles of the invention typically comprise an active agent or therapeutic
     agent, a cationic lipid, a non-cationic lipid, and a conjugated lipid that inhibits aggregation of
     particles. In some embodiments, the active agent or therapeutic agent is fully encapsulated
     within the lipid portion of the lipid particle such that the active agent or therapeutic agent in
     the lipid particle is resistant in aqueous solution to enzymatic degradation, e.g., by a nuclease
15   or protease. In other embodiments, the lipid particles described herein are substantially non-
     toxic to mammals such as humans. The lipid particles of the invention typically have a mean
     diameter of from about 40 nm to about 150 nm, from about 50 nm to about 150 nm, from
     about 60 nm to about 130 nm, from about 70 nm to about 110 nm, or from about 70 to about
     90nm.
20   [0240]    [n preferred embodiments, the lipid particles of the invention are serum-stable
     nucleic acid-lipid particles (SNALP) which comprise an interfering RNA (e.g., siRNA,
     aiRNA, and/or miRNA), a cationic lipid (e.g., a cationic lipid of Formulas I, H, and/or HI), a
     non-cationic lipid ( e.g., cholesterol alone or mixtures of one or more phospholipids and
     cholesterol), and a conjugated lipid that inhibits aggregation of the particles (e.g., one or more
25   PEG-lipid conjugates). The SNALP may comprise at least 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, or more
     unmodified and/or modified interfering RNA molecules. Nucleic acid-lipid particles and
     their method of preparation are described in, e.g., U.S. Patent Nos. 5,753,613; 5,785,992;
     5,705,385; 5,976,567; 5,981,501; 6,110,745; and 6,320,017; and PCT Publication No. WO
     96/40964, the disclosures of which are each herein incorporated by reference in their entirety
30   for all purposes.




                                                     63


                                                                                              JA001750
                                                                                              GENV-00000475
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 411 of 1274 PageID #: 8717



              A.    Cationic Lipids

     [0241]    Any of a variety of cationic lipids may be used in the lipid particles of the invention
     ( e.g., SNALP), either alone or in combination with one or more other cationic lipid species or
     non-cationic lipid species.
 5   [0242]    Cationic lipids which are useful in the present invention can be any of a number of
     lipid species which carry a net positive charge at physiological pH. Such lipids include, but
     are not limited to, N,N-dioleyl-N ,N-dimethylammonium chloride (DOD AC), 1,2-dioleyloxy-
     N,N-dimethylaminopropane (DODMA), 1,2-distearyloxy-N,N-dimethylaminopropane
     (DSDMA), N-(1-(2,3-dioleyloxy)propyl)-N ,N ,N-trimethylammonium chloride (DOTMA),
10   N,N-distearyl-N,N-dimethylammonium bromide (DDAB), N-( 1-(2,3-dioleoyloxy)propyl)-
     N,N,N-trimethylamrnonium chloride (DOTAP), 3 -(N-(N',N'-dimethylaminoethane)-
     carbamoyl)cholesterol (DC-Chol), N-(l,2-dimyristyloxyprop-3-yl)-N,N-dimethyl-N-
     hydroxyethyl ammonium bromide (DMRIE), 2,3-dioleyloxy-N-[2(spermine-
     carboxamido )ethyl ]-N ,N-dimethyl-1-propanaminiumtrifluoroacetate (DO SPA),
15   dioctadecylamidoglycyl spermine (DOGS), 3-dimethylamino-2-(cholest-5-en-3-beta-
     oxybutan-4-oxy)-l-(cis,cis-9,12-octadecadienoxy)propane (CLinDMA), 2-[5'-(cholest-5-en-
     3. bcta.-oxy)-3 '-oxapcntoxy )-3-dimcthy-l-( cis,cis-9', 1-2 '-octadccadicnoxy)propanc
     (CpLinDMA), N,N-dimethyl-3,4-dioleyloxybenzylamine (DMOBA), l,2-N,N'-
     dioleylcarbamyl-3-dimethylarninopropane (DOcarbDAP), 1,2-N ,N' -Dilinoleylcarbarnyl-3-
20   dimethylaminopropane (DLincarbDAP), 1,2-Dilinoleoy lcarbamyl-3-dimethylaminopropane
     (DLinCDAP), and mixtures thereof. A number of these lipids and related analogs have been
     described in U.S. Patent Publication Nos. 20060083780 and 20060240554; U.S. Patent Nos.
     5,208,036; 5,264,618; 5,279,833; 5,283,185; 5,753,613; and 5,785,992; and PCT Publication
     No. WO 96/10390, the disclosures of which are each herein incorporated by reference in their
25   entirety for all purposes. Additionally, a number of commercial preparations of cationic
     lipids arc available and can be used in the present invention. These include, e.g.,
     UPOFECTINc© (commercially available cationic liposomes comprising DOTMA and DOPE,
     from GIBCO/BRL, Grand Island, New York, USA); LIPOFECTAMINE® (commercially
     available cationic liposomes comprising DOSPA and DOPE, from GIBCO/BRL ); and
30   TRANSFECTAMCRJ (commercially available cationic liposornes comprising DOGS from
     Promega Corp., Madison, Wisconsin, USA).
     [0243]    Additionally, cationic lipids of Formula I having the following structures are useful
     in the present invention.



                                                    64


                                                                                              JA001751
                                                                                              GE NV-000004 76
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 412 of 1274 PageID #: 8718



                                      R1

                                        "r~ORR2             OR3
                                                                          4



                                                                              (I),
     wherein R and R are independently selected and are Hor C 1-C 3 alkyls, R 3 and R 4 are
                 1       2


     independently selected and are alkyl groups having from about 10 to about 20 carbon atoms,
     and at least one of R 3 and R 4 comprises at least two sites of unsaturation. In certain instances,
 5   R 3 and R 4 arc both the same, i.e., R 3 and R 4 arc both linolcyl (C18), etc. In certain other
     instances, R 3 and R 4 are different, i.e., R 3 is tetradectrienyl (C 14 ) and R 4 is linoleyl (C 18 ). In a
     preferred embodiment, the cationic lipid of Formula I is symmetrical, i.e., R 3 and R 4 are both
     the same. In another preferred embodiment, both R 3 and R 4 comprise at least two sites of
     unsaturation. ]n some embodiments, R 3 and R 4 are independently selected from the group
]0   consisting of dodecadienyl, tetradecadienyl, hexadecadienyl, linoleyl, and icosadienyl. In a
     preferred embodiment, R 3 and R 4 are both linoleyl. In some embodiments, R 3 and
     R 4 comprise at least three sites of unsaturation and are independently selected from, e.g.,
     dodecatrienyl, tetradectrienyl, hexadecatrienyl, linolenyl, and icosatrienyl. In particularly
     preferred embodiments, the cationic lipid of Formula I is 1,2-dilinoleyloxy-N ,N-
15   dimethylaminopropane (DLinDMA) or 1,2-dilinolenyloxy-N,N-dimethylaminopropane
     (DLenDMA).
     [0244]    Furthermore, cationic lipids of Formula II having the following structures are useful
     in the present invention.
                                                       R2
                                                       I x-
                                               R1--N+--R3

                                                       14
                                                       R          (Tl),
20   wherein R 1 and R 2 are independently selected and are Hor C 1-C 3 alkyls, R 3 and R 4 are
     independently selected and are alkyl groups having from about 10 to about 20 carbon atoms,
     and at least one of R 3 and R 4 comprises at least two sites of unsaturation. In certain instances,
     R 3 and R 4 are both the same, i.e., R 3 and R 4 are both linoleyl (C 18 ), etc. In certain other
     instances, R 3 and R 4 are different, i.e., R 3 is tetradectrienyl (C 14 ) and R 4 is linoleyl (C 18 ). In a
25   preferred embodiment, the cationic lipids of the present invention are symmetrical, i.e., R 3
     and R 4 arc both the same. In another preferred embodiment, both R 3 and R 4 comprise at least
     two sites ofunsaturation. In some embodiments, R3 and R. 4 are independently selected from
     the group consisting of dodecadienyl, tetradecadienyl, hexadecadienyl, linoleyl, and
     icosadienyl. In a preferred embodiment, R 3 and R 4 are both linoleyl. In some embodiments,


                                                            65


                                                                                                      JA001752
                                                                                                     GENV-00000477
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 413 of 1274 PageID #: 8719



      3       4
     R and R comprise at least three sites ofunsaturation and are independently selected from,
     e.g., dodecatrienyl, tetradectrienyl, hexadecatrienyl, linolenyl, and icosatrienyl.
     [0245]    Moreover, cationic lipids of Formula III having the following structures (or salts
     thereof) arc useful in the present invention.




 5                                                                        (III),
                  1     2
     Wherein R and R arc either the same or different and independently optionally substituted
     C12-C24 alkyl, optionally substituted C12-C24 alkenyl, optionallysubstituted C12-C24 alkynyl, or
     optionally substituted C 12-C 24 acyl; R 3 and R 4 are either the same or different and
     independently optionally substituted C 1-C 6 alkyl, optionally substituted C 1-C 6 alkenyl, or
10   optionally substituted C 1-C 6 alkynyl or R 3 and R 4 may join to form an optionally substituted
     heterocyclic ring of 4 to 6 carbon atoms and 1 or 2 heteroatoms chosen from nitrogen and
     oxygen; R 5 is either absent or hydrogen or C 1-C 6 alkyl to provide a quaternary amine; m, n,
     and p are either the same or different and independently either O or l with the proviso that m,
     n, and pare not simultaneously O; q is 0, 1, 2, 3, or 4; and Y and Z are either the same or
15   different and independently 0, S, or NH.
     [0246]    In some embodiments, the cationic lipid of Formula III is 2,2-dilinoleyl-4-(2-
     dimethylaminoethyl)-[l ,3]-dioxolane (DLin-K-C2-DMA; "XTC2"), 2,2-dilinoleyl-4-(3-
     dimethylaminopropyl)-[l,3]-dioxolane (DLin-K-C3-DMA), 2,2-dilinoleyl-4-(4-
     dimethylaminobutyl)-[l,3]-dioxolane (DLin-K-C4-DMA), 2,2-dilinoleyl-5-
20   dimethylaminomethyl-[1,3]-dioxane (DLin-K6-DMA), 2,2-dilinoleyl-4-N-methylpepiazino-
     [1,3]-dioxolane (DLin-K-MPZ), 2,2-dilinoleyl-4-dimethylaminornethyl-[1,3]-dioxolane
     (DLin-K-DMA), 1,2-dilinoleylcarbamoyloxy-3-dimethylaminopropane (DLin-C-DAP), 1,2-
     dilinoleyoxy-3-( dimethylamino )acetoxypropane (DLin-DAC), l ,2-dilinoleyoxy-3-
     morpholinopropanc (DLin-MA), 1,2-dilinolcoyl-3-dimcthylaminopropanc (DLinDAP), 1,2-
25   dilinoleylthio-3-dimethylaminopropane (DLin-S-DMA), 1-linoleoyl-2-linoleyloxy-3-
     dimethylaminopropane (DLin-2-DMAP), 1,2-dilinoleyloxy-3-trimethylaminopropane
     chloride salt (DLin-TMA.Cl), 1,2-dilinoleoyl-3-trimethylaminopropane chloride salt (DLin-
     TAP.CI), l,2-dilinoleyloxy-3-(N-methylpiperazino)propane (DLin-MPZ), 3-(N,N-
     dilinoleylamino )-1,2-propanediol (DLinAP), 3-(N ,N-dioleylamino )-1,2-propanedio (DOAP),
30   1,2-dilinoleyloxo-3-(2-N,N-dimethylamino)ethoxypropane (DLin-EG-DMA), or mixtures



                                                      66


                                                                                               JA001753
                                                                                               GENV-00000478
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 414 of 1274 PageID #: 8720



     thereof. In preferred embodiments, the cationic lipid of Formula HI is DLin-K-C2-DMA
     (XTC2).
     [0247]    The cationic lipid typically comprises from about 50 mol % to about 90 mol %,
     from about 50 mol % to about 85 mol %, from about 50 mol % to about 80 mol %, from
 5   about 50 mol % to about 75 mol %, from about 50 mol % to about 70 mol %, from about 50
     mol % to about 65 mol %, or from about 55 mol % to about 65 mol % of the total lipid
     present in the particle.
     [0248]    It will be readily apparent to one of skill in the art that depending on the intended
     use of the particles, the proportions of the components can be varied and the delivery
10   efficiency of a particular formulation can be measured using, e.g., an endosomal release
     parameter (ERP) assay.

              B.     Non-Cationic Lipids

     [0249]    The non-cationic lipids used in the lipid particles of the invention (e.g., SNALP) can
     be any of a variety of neutral uncharged, zwitterionic, or anionic lipids capable of producing
15   a stable complex.
     [0250]    Non-limiting examples of non-cationic lipids include phospholipids such as lecithin,
     phosphatidylethanolamine, lysolecithin, lysophosphatidylethanolamine, phosphatidylserine,
     phosphatidylinositol, sphingomyclin, egg sphingomyclin (ESM), ccphalin, cardiolipin,
     phosphatidic acid, cerebrosides, dicetylphosphate, distearoylphosphatidylcholine (DSPC),
20   dioleoylphosphatidylcholine (DOPC), dipalmitoylphosphatidylcholine (DPPC),
     dioleoy lphosphatidy lg! ycerol (DOPG), dipal mi toy lphosphatid ylgl ycerol (D PPG),
     dioleoylphosphatidylethanolamine (DOPE), palmitoyloleoyl-phosphatidylcholine (POPC),
     palmitoyloleoyl-phosphatidylethanolamine (POPE), palmitoyloleyol-phosphatidylglycerol
     (POPG), dioleoylphosphatidylethanolamine 4-(N-maleimidomethyl)-cyclohexane-1-
25   carboxylate (DOPE-mal), dipalmitoyl-phosphatidylethanolamine (DPPE), dimyristoyl-
     phosphatidylethanolamine (DMPE), distearoyl-phosphatidylethanolamine (DSPE),
     monomethyl-phosphatidylethanolamine, dimethyl-phosphatidylethanolamine, dielaidoyl-
     phosphatidylethanolamine (DEPE), stearoyloleoyl-phosphatidylethanolamine (SOPE),
     lysophosphatidylcholine, dilinoleoylphosphatidylcholine, and mixtures thereof. Other
30   diacylphosphatidylcholine and diacylphosphatidylethanolamine phospholipids can also be
     used. The acyl groups in these lipids are preferably acyl groups derived from fatty acids
     having C 10 -C 24 carbon chains, e.g., lauroyl, myristoyl, palmitoyl, stearoyl, or oleoyl.




                                                      67


                                                                                                  JA001754
                                                                                              GE NV-000004 79
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 415 of 1274 PageID #: 8721



     [0251]    Additional examples of non-cationic lipids include sterols such as cholesterol and
     derivatives thereof such as cholestanol, cholestanone, cholestenone, coprostanol, cholesteryl-
     2'-hydroxyethyl ether, cholesteryl-4'-hydroxybutyl ether, and mixtures thereof.
     [0252]    In some embodiments, the non-cationic lipid present in the lipid particles (e.g.,
 5   SN ALP) comprises or consists of cholesterol or a derivative thereof, e.g., a phospholipid-free
     lipid particle formulation. In other embodiments, the non-cationic lipid present in the lipid
     particles (e.g., SN ALP) comprises or consists of one or more phospholipids, e.g., a
     cholesterol-free lipid particle formulation. In further embodiments, the non-cationic lipid
     present in the lipid particles ( e.g., SNALP) comprises or consists of a mixture of one or more
10   phospholipids and cholesterol or a derivative thereof.
     [0253]    Other examples of non-cationic lipids suitable for use in the present invention
     include nonphosphorous containing lipids such as, e.g., stearylamine, dodecylamine,
     hexadecylaminc, acctyl palmitate, glycerolricinolcatc, hexadecyl stcreate, isopropyl
     myristate, amphoteric acrylic polymers, triethanolaminc-lauryl sulfate, alkyl-aryl sulfate
15   polyethyloxylated fatty acid amides, dioctadecyldimethyl ammonium bromide, ceramide,
     sphingomyelin, and the like.
     [0254]    In some embodiments, the non-cationic lipid comprises from about 13 mol % to
     about 49.5 mol %, from about 20 mol % to about 45 mol %, from about 25 mol % to about 45
     mol %, from about 30 mol % to about 45 mol %, from about 35 mol % to about 45 mol %,
20   from about 20 mol % to about 40 mol %, from about 25 mol % to about 40 mol %, or from
     about 30 mol % to about 40 mol % of the total lipid present in the particle.
     l0255J    ln certain embodiments, the cholesterol present in phospholipid-free lipid particles
     comprises from about 30 mo] % to about 45 mol %, from about 30 mo] % to about 40 mol %,
     from about 35 mol % to about 45 mol %, or from about 35 mol % to about 40 mol % of the
25   total lipid present in the particle. As a non-limiting example, a phospholipid-free lipid
     particle may comprise cholesterol at about 37 mo!% of the total lipid present in the particle.
     [0256]    In certain other embodiments, the cholesterol present in lipid particles containing a
     mixture of phospholipid and cholesterol comprises from about 30 mol % to about 40 mo! %,
     from about 30 mo!% to about 35 mol %, or from about 35 mol % to about 40 mo!% of the
30   total lipid present in the particle. As a non-limiting example, a lipid particle comprising a
     mixture of phospholipid and cholesterol may comprise cholesterol at about 34 mol % of the
     total lipid present in the particle.
     [0257]    In further embodiments, the cholesterol present in lipid particles containing a
     mixture of phospholipid and cholesterol comprises from about 10 mol % to about 30 mol %,


                                                    68


                                                                                            JA001755
                                                                                            GE NV-00000480
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 416 of 1274 PageID #: 8722



     from about 15 mol % to about 25 mo!%, or from about 17 mo!% to about 23 mol % of the
     total lipid present in the particle. As a non-limiting example, a lipid particle comprising a
     mixture of phospholipid and cholesterol may comprise cholesterol at about 20 mol % of the
     total lipid present in the particle.
 5   [0258]    Tn embodiments where the lipid particles contain a mixture of phospholipid and
     cholesterol or a cholesterol derivative, the mixture may comprise up to about 40, 45, 50, 55,
     or 60 mol % of the total lipid present in the particle. In certain instances, the phospholipid
     component in the mixture may comprise from about 2 mol % to about 12 mo!%, from about
     4 mol % to about 10 mol %, from about 5 mol % to about l 0 mol %, from about 5 mol % to
l0   about 9 mol %, or from about 6 mol % to about 8 mol % of the total lipid present in the
     particle. As a non-limiting example, a lipid particle comprising a mixture of phospholipid
     and cholesterol may comprise a phospholipid such as DPPC or DSPC at about 7 mol % (e.g.,
     in a mixture with about 34 mol % cholesterol) of the total lipid present in the particle. In
     cc1iain other instances, the phospholipid component in the mixture may comprise from about
15   10 rnol % to about 30 mol %, from about 15 mol % to about 25 mol %, or from about 17 mol
     % to about 23 mol % of the total lipid present in the particle. As another non-limiting
     example, a lipid particle comprising a mixture of phospholipid and cholesterol may comprise
     a phospholipid such as DPPC or DSPC at about 20 mol % (e.g., in a mixture with about 20
     mol % cholesterol) of the total lipid present in the particle.

20            C.     Lipid Conjugate

     [0259]    In addition to cationic and non-cationic lipids, the lipid particles of the invention
     (e.g., SNALP) comprise a lipid conjugate. The conjugated lipid is useful in that it prevents
     the aggregation of particles. Suitable conjugated lipids include, but are not limited to, PEG-
     lipid conjugates, ATTA-lipid conjugates, cationic-polymer-lipid conjugates (CPLs), and
25   mixtures thereof. In certain embodiments, the particles comprise either a PEG-lipid
     conjugate or an ATTA-lipid conjugate together with a CPL.
     [0260]    In a preferred embodiment, the lipid conjugate is a PEG-lipid. Examples of PEG-
     lipids include, but arc not limited to, PEG coupled to dialkyloxypropyls (PEG-DAA) as
     described in, e.g., PCT Publication No. WO 05/026372, PEG coupled to diacylglycerol
30   (PEG-DAG) as described in, e.g., U.S. Patent Publication Nos. 20030077829 and
     2005008689, PEG coupled to phospholipids such as phosphatidylethanolamine (PEG-PE),
     PEG conjugated to ceramides as described in, e.g., U.S. Patent No. 5,885,613, PEG
     conjugated to cholesterol or a derivative thereof, and mixtures thereof. The disclosures of


                                                     69


                                                                                             JA001756
                                                                                             GE NV-00000481
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 417 of 1274 PageID #: 8723



     these patent documents are herein incorporated by reference in their entirety for all purposes.
     Additional PEG-lipids include, without limitation, PEG-C-DOMG, 2KPEG-DMG, and a
     mixture thereof.
     [0261]   PEG is a linear, water-soluble polymer of ethylene PEG repeating units with two
 5   tenninal hydroxyl groups. PEGs are classified by their molecular weights; for example, PEG
     2000 has an average molecular weight of about 2,000 daltons, and PEG 5000 has an average
     molecular weight of about 5,000 daltons. PEGs are commercially available from Sigma
     Chemical Co. and other companies and include, for example, the following:
     monomethoxypolyethylene glycol (MePEG-OH), monomethoxypolyethylene glycol-
10   succinate (MePEG-S), monomethoxypolyethylene glycol-succinimidyl succinate (MePEG-S-
     NHS), monomethoxypolyethylene glycol-amine (MePEG-NH 2 ), monomethoxypolyethylene
     glycol-tresylate (MePEG-TRES), and monomethoxypolyethylene glycol-imidazolyl-carbonyl
     (MePEG-IM). Other PEGs such as those described in U.S. Patent Nos. 6,774,180 and
     7,053,150 (e.g., mPEG (20 KDa) amine) are also useful for preparing the PEG-lipid
15   conjugates of the present invention. The disclosures of these patents are herein incorporated
     by reference in their entirety for all purposes. In addition, monomethoxypolyethyleneglycol-
     acetic acid (MePEG-CH2 COOH) is particularly useful for preparing PEG-lipid conjugates
     including, e.g., PEG-DAA conjugates.
     [0262]   The PEG moiety of the PEG-lipid conjugates described herein may comprise an
20   average molecular weight ranging from about 550 daltons to about 10,000 daltons. In certain
     instances, the PEG moiety has an average molecular weight of from about 750 daltons to
     about 5,000 daltons (e.g., from about 1,000 daltons to about 5,000 daltons, from about 1,500
     daltons to about 3,000 daltons, from about 750 daltons to about 3,000 daltons, from about
     750 daltons to about 2,000 daltons, etc.). In preferred embodiments, the PEG moiety has an
25   average molecular weight of about 2,000 daltons or about 750 daltons.
     [0263]   [n certain instances, the PEG can be optionally substituted by an alkyl, alkoxy, acyl,
     or aryl group. The PEG can be conjugated directly to the lipid or may be linked to the lipid
     via a linker moiety. Any linker moiety suitable for coupling the PEG to a lipid can be used
     including, e.g., non-ester containing linker moieties and ester-containing Linker moieties. In a
30   preferred embodiment, the linker moiety is a non-ester containing linker moiety. As used
     herein, the term "non-ester containing linker moiety" refers to a linker moiety that does not
     contain a carboxylic ester bond (-OC(O)-). Suitable non-ester containing linker moieties
     include, but are not limited to, amido (-C(O)NH-), amino (-NR-), carbonyl (-C(O)-),
     carbamate (-NHC(O)O-), urea (-NHC(O)NH-), disulphide (-S-S-), ether (-0-), succinyl (-


                                                   70


                                                                                           JA001757
                                                                                          GE NV-00000482
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 418 of 1274 PageID #: 8724



     (O)CCH2CH2C(O)-), succinamidyl (-NHC(O)CH2CH2C(O)NH-), ether, disulphide, as well
     as combinations thereof (such as a linker containing both a carbamate linker moiety and an
     amido linker moiety). In a preferred embodiment, a carbamate linker is used to couple the
     PEG to the lipid.
 5   [0264]    [n other embodiments, an ester containing linker moiety is used to couple the PEG
     to the lipid. Suitable ester containing linker moieties include, e.g., carbonate (-OC(O)O-),
     succinoyl, phosphate esters (-O-(O)POH-O-), sulfonate esters, and combinations thereof.
     [0265]    Phosphatidylethanolamines having a variety of acyl chain groups of varying chain
     lengths and degrees of saturation can be conjugated to PEG to form the lipid conjugate. Such
10   phosphatidylethanolamines are commercially available, or can be isolated or synthesized
     using conventional techniques known to those of skilled in the art. Phosphatidyl-
     ethanolamines containing saturated or unsaturated fatty acids with carbon chain lengths in the
     range of C10 to C20 are preferred. Phosphatidylethanolamines with mono- or diunsaturated
     fatty acids and mixtures of saturated and unsaturated fatty acids can also be used. Suitable
15   phosphatidylethanolamines include, but are not limited to, dimyristoyl-
     phosphatidylethanolamine (DMPE), dipalmitoyl-phosphatidylethanolamine (DPPE),
     dioleoylphosphatidylethanolamine (DOPE), and distearoyl-phosphatidylethanolamine
     (DSPE).
     [0266]    The term "ATTA" or "polyamide" refers to, without limitation, compounds
20   described in U.S. Patent Nos. 6,320,017 and 6,586,559, the disclosures of which are herein
     incorporated by reference in their entirety for all purposes. These compounds include a




                                                                          t-
     compound having the formula:

                             1                                    2
                           Ri                     II
                                                  O    RI
                     R     N-(CH2 CH 2 O)-(CH
                                        m
                                               )-C-(NH-C-C)
                                              2 p      H  II q
                                                                               R1
                                                                      0   n
                                                                                    (IV),
     wherein Risa member selected from the group consisting of hydrogen, alkyl and acyl; R 1 is
25   a member selected from the group consisting of hydrogen and alkyl; or optionally, R and R 1
     and the nitrogen to which they are bound form an azido moiety; R 2 is a member of the group
     selected from hydrogen, optionally substituted alkyl, optionally substituted aryl and a side
     chain of an amino acid; R 3 is a member selected from the group consisting of hydrogen,
     halogen, hydroxy, alkoxy, mercapto, hydrazino, amino and NR4 R 5 , wherein R 4 and R 5 are
30   independently hydrogen or alkyl; n is 4 to 80; mis 2 to 6; p is 1 to 4; and q is 0 or 1. [twill




                                                    71


                                                                                            JA001758
                                                                                            GE NV-00000483
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 419 of 1274 PageID #: 8725



     be apparent to those of skill in the art that other polyamides can be used in the compounds of
     the present invention.
     [0267]    The term "diacylglycerol" refers to a compound having 2 fatty acyl chains, R 1 and
     R2, both of which have independently between 2 and 30 carbons bonded to the 1- and 2-
 5   position of glycerol by ester linkages. The acyl groups can be saturated or have varying
     degrees of unsaturation. Suitable acyl groups include, but are not Limited to, lamyl (C 12 ),
     myristyl (C 14 ), palmityl (C 16 ), stearyl (C 18), and icosyl (C 20 ). In prefeITed embodiments, R 1
     and R 2 are the same, i.e., R 1 and R 2 are both myristyl (i.e., dimyristyl), R 1 and R 2 are both
     stearyl (i.e., distearyl), etc. Diacylglycerols have the following general formula:
                                                       0


                                            CII,OAR,



                                            t-O~R'
                                            I
]O                                           CHiJ-                  (V).

     [0268]    The term "dialkyloxypropyl" refers to a compound having 2 alkyl chains, R 1 and R2 ,
     both of which have independently between 2 and 30 carbons. The alkyl groups can be
     saturated or have varying degrees ofunsaturation. Dialkyloxypropyls have the following
     general formula:

                                                IH20-R1

                                                IHO-R       2




15                                              CH2-            (Vl).

     [0269]    In a prefeITed embodiment, the PEG-lipid is a PEG-DAA conjugate having the
     following formula:




     wherein R 1 and R 2 arc independently selected and arc long-chain alkyl groups having from
20   about 10 to about 22 carbon atoms; PEG is a polyethyleneglycol; and Lis a non-ester


                                                           72


                                                                                                  JA001759
                                                                                                 GE NV-00000484
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 420 of 1274 PageID #: 8726



     containing Linker moiety or an ester containing linker moiety as described above. The long-
     chain alkyl groups can be saturated or unsaturated. Suitable alkyl groups include, but are not
     limited to, Laury! (C12), myristyl (C14), palmityl (C16), stearyl (C18), and icosyl (C20). In
     preferred embodiments, R 1 and R 2 are the same, i.e., R 1 and R 2 arc both myristyl (i.e.,
 5   dimyristyl), R 1 and R 2 are both stearyl (i.e., distearyl), etc.
     [0270]    In Fommla VU above, the PEG has an average molecular weight ranging from
     about 550 daltons to about ] 0,000 daltons. In certain instances, the PEG has an average
     molecular weight of from about 750 daltons to about 5,000 daltons (e.g., from about 1,000
     daltons to about 5,000 daltons, from about 1,500 daltons to about 3,000 daltons, from about
10   750 daltons to about 3,000 daltons, from about 750 daltons to about 2,000 daltons, etc.). In
     preferred embodiments, the PEG has an average molecular weight of about 2,000 daltons or
     about 750 daltons. The PEG can be optionally substituted with alkyl, alkoxy, acyl, or aryl.
     In certain embodiments, the terminal hydroxyl group is substituted with a mcthoxy or methyl
     group.
15   [0271]    In a prefe1Ted embodiment, "L" is a non-ester containing linker moiety. Suitable
     non-ester containing linkers include, but arc not limited to, an amido linker moiety, an amino
     linker moiety, a carbonyl linker moiety, a carbamate linker moiety, a urea linker moiety, an
     ether linker moiety, a disulphide linker moiety, a succinamidyl linker moiety, and
     combinations thereof. In a preferred embodiment, the non-ester containing linker moiety is a
20   carbamate linker moiety (i.e., a PEG-C-DAA conjugate). In another preferred embodiment,
     the non-ester containing linker moiety is an amido linker moiety (i.e., a PEG-A-DAA
     conjugate). In yet another preferred embodiment, the non-ester containing linker moiety is a
     succinamidyl linker moiety (i.e., a PEG-S-DAA conjugate).
     [0272]    In particular embodiments, the PEG-lipid conjugate is selected from:




25                                                                                               (PEG-C-DMA); and


                                                       ·" ~ .· · to. .-··J .•
                                                         'o·   .. N.
                                                                H
                                                                       ·, ·· .   , __...   O"'

                                                                                           n
                                                                                                 (PEG-C-DOMG).

     [0273]    The PEG-DAA conjugates are synthesized using standard techniques and reagents
     known to those of skill in the art. It will be recognized that the PEG-DAA conjugates will



                                                        73


                                                                                                           JA001760
                                                                                                          GE NV-00000485
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 421 of 1274 PageID #: 8727



     contain various amide, amine, ether, thio, carbamate, and urea linkages. Those of skill in the
     art will recognize that methods and reagents for forming these bonds are well known and
     readily available. See, e.g.. March, ADV AN CED ORGANIC CHEMISTRY (Wiley 1992);
     Larock, COMPREHENSIVE ORGANIC TRANSFORMATIONS (VCH 1989); and Furniss,
 5   VOGEL'S TEXTBOOK OF PRACTlCAL ORGANIC CHEMISTRY, 5th ed. (Longman
     1989). It will also be appreciated that any functional groups present may require protection
     and deprotection at different points in the synthesis of the PEG-DAA conjugates. Those of
     skill in the art will recognize that such techniques are well known. See, e.g., Green and Wuts,
     PROTECTIVE GROUPS IN ORGANIC SYNTHESIS (Wiley 1991).
10   [0274]   Preferably, the PEG-DAA conjugate is a dilauryloxypropyl (Cll)-PEG conjugate,
     dimyristyloxypropyl (C 14)-PEG conjugate, a dipalmityloxypropyl (C 16)-PEG conjugate, or a
     distearyloxypropyl (C 18)-PEG conjugate. Those of skill in the art will readily appreciate that
     other dialkyloxypropyls can be used in the PEG-DAA conjugates of the present invention.
     [0275]   In addition to the foregoing, it will be readily apparent to those of skill in the art that
15   other hydrophilic polymers can be used in place of PEG. Examples of suitable polymers that
     can be used in place of PEG include, but are not limited to, polyvinylpyrrolidone,
     polymethyloxazoline, polyethyloxazoline, polyhydroxypropyl methacrylamide,
     polymethacrylamide and polydimethylacrylamide, polylactic acid, polyglycolic acid, and
     derivatized celluloses such as hydroxymethylcellulose or hydroxyethylcellulose.
20   [0276]   In addition to the foregoing components, the particles (e.g., SNALP or SPLP) of the
     present invention can further comprise cationic poly(ethylene glycol) (PEG) lipids or CPLs
     (see, e.g., Chen et al., Bioconj. Chem., 11 :433-437 (2000)). Suitable SPLPs and SPLP-CPLs
     for use in the present invention, and methods of making and using SPLPs and SPLP-CPLs,
     are disclosed, e.g., in U.S. Patent No. 6,852,334 and PCT Publication No. WO 00/62813,,
25   the disclosures of which are herein incorporated by reference in their entirety for all purposes.
     [0277]   Suitable CPLs include compounds of Formula VIII:
                                             A-W-Y (VIII),
     wherein A, W, and Y are as described below.
     [0278]   With reference to Formula vm, "A" is a lipid moiety such as an amphipathic lipid,
30   a neutral lipid, or a hydrophobic lipid that acts as a lipid anchor. Suitable lipid examples
     include, but are not limited to, diacylglycerolyls, dialkylglycerolyls, N-N-dialkylaminos, 1,2-
     diacyloxy-3-aminopropanes, and 1,2-dialkyl-3-aminopropanes.
     [0279]   "W" is a polymer or an oligomer such as a hydrophilic polymer or oligomer.
     Preferably, the hydrophilic polymer is a biocompatable polymer that is nonimmunogenic or


                                                     74


                                                                                              JA001761
                                                                                              GE NV-00000486
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 422 of 1274 PageID #: 8728



     possesses low inherent immunogenicity. Alternatively, the hydrophilic polymer can be
     weakly antigenic if used with appropriate adjuvants. Suitable nonimmunogenic polymers
     include, but are not limited to, PEG, polyamides, polylactic acid, polyglycolic acid, polylactic
     acid/polyglycolic acid copolymers, and combinations thereof. In a preferred embodiment, the
 5   polymer has a molecular weight of from about 250 to about 7,000 daltons.
     [0280]   "Y" is a polycationic moiety. The term polycationic moiety refers to a compound,
     derivative, or functional group having a positive charge, preferably at least 2 positive charges
     at a selected pH, preferably physiological pH. Suitable polycationic moieties include basic
     amino acids and their derivatives such as arginine, asparagine, glutamine, lysine, and
10   histidine; spermine; spermidine; cationic dendrimers; polyamines; polyamine sugars; and
     amino polysaccharides. The polycationic moieties can be linear, such as linear tetralysine,
     branched or dendrimeric in structure. Polycationic moieties have between about 2 to about
     15 positive charges, preferably between about 2 to about 12 positive charges, and more
     preferably between about 2 to about 8 positive charges at selected pH values. The selection
15   of which polycationic moiety to employ may be determined by the type of particle
     application which is desired.
     [0281]   The charges on the polycationic moieties can be either distributed around the entire
     particle moiety, or alternatively, they can be a discrete concentration of charge density in one
     particular area of the particle moiety e.g., a charge spike. If the charge density is distributed
20   on the particle, the charge density can be equally distributed or unequally distributed. All
     variations of charge distribution of the polycationic moiety are encompassed by the present
     invention.
     [0282]   The lipid "A" and the nonimmunogenic polymer "W" can be attached by various
     methods and preferably by covalent attachment. Methods known to those of skill in the art
25   can be used for the covalent attachment of "A" and "W." Suitable linkages include, but are
     not limited to, amide, amine, carboxyl, carbonate, carbamate, ester, and hydrazone linkages.
     It will be apparent to those skilled in the art that "A" and "W" must have complementary
     functional groups to effectuate the linkage. The reaction of these two groups, one on the lipid
     and the other on the polymer, will provide the desired linkage. For example, when the lipid is
30   a diacylglycerol and the terminal hydroxyl is activated, for instance with NHS and DCC, to
     form an active ester, and is then reacted with a polymer which contains an amino group, such
     as with a polyamide (see, e.g., U.S. Patent Nos. 6,320,017 and 6,586,559, the disclosures of
     which are herein incorporated by reference in their entirety for all purposes), an amide bond
     will form between the two groups.


                                                     75


                                                                                             JA001762
                                                                                             GE NV-00000487
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 423 of 1274 PageID #: 8729



     [0283]    [n certain instances, the polycationic moiety can have a ligand attached, such as a
     targeting ligand or a chelating moiety for complexing calcium. Preferably, after the ligand is
     attached, the cationic moiety maintains a positive charge. In certain instances, the ligand that
     is attached has a positive charge. Suitable Ligands include, but arc not limited to, a compound
 5   or device with a reactive functional group and include lipids, amphipathic lipids, carrier
     compounds, bioaffinity compounds, biomaterials, biopolymers, biomedical devices,
     analytically detectable compounds, therapeutically active compounds, enzymes, peptides,
     proteins, antibodies, immune stimulators, radiolabels, fluorogens, biotin, drugs, haptens,
     DNA, RNA, polysaccharides, liposomes, virosomcs, micelles, immunoglobulins, functional
10   groups, other targeting moieties, or toxins.
     [0284]   The lipid conjugate (e.g., PEG-lipid) typically comprises from about 0.1 mol % to
     about 2 mol %, from about 0.5 mol % to about 2 mol %, from about l mol % to about 2 mol
     %, from about 0.6 mol % to about 1.9 mol %, from about 0.7 mol % to about 1.8 mol %,
     from about 0.8 mol % to about 1.7 mol %, from about 0.9 mo] % to about 1.6 mol %, from
15   about 0.9 mol % to about 1.8 mol %, from about 1 mol % to about 1.8 mol %, from about 1
     mol % to about 1.7 mol %, from about 1.2 mol % to about 1.8 mol %, from about 1.2 mol %
     to about 1. 7 mol %, from about 1.3 mol % to about 1.6 mol %, or from about 1.4 mol % to
     about 1.5 mol % of the total lipid present in the particle.
     [0285]   One of ordinary skill in the art will appreciate that the concentration of the lipid
20   conjugate can be varied depending on the lipid conjugate employed and the rate at which the
     nucleic acid-lipid particle is to become fusogenic.
     l0286 J By controlling the composition and concentration of the Lipid conjugate, one can
     control the rate at which the Lipid conjugate exchanges out of the nucleic acid-Lipid particle
     and, in tum, the rate at which the nucleic acid-lipid particle becomes fusogenic. For instance,
25   when a PEG-phosphatidylethanolamine conjugate or a PEG-ceramide conjugate is used as
     the lipid conjugate, the rate at which the nucleic acid-lipid particle becomes fusogenic can be
     varied, for example, by varying the concentration of the lipid conjugate, by varying the
     molecular weight of the PEG, or by varying the chain length and degree of saturation of the
     acyl chain groups on the phosphatidylethanolamine or the ceramide. In addition, other
30   variables including, for example, pH, temperature, ionic strength, etc. can be used to vary
     and/or control the rate at which the nucleic acid-lipid particle becomes fusogenic. Other
     methods which can be used to control the rate at which the nucleic acid-lipid particle
     becomes fusogenic will become apparent to those of skill in the art upon reading this
     disclosure.


                                                     76


                                                                                            JA001763
                                                                                            GE NV-00000488
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 424 of 1274 PageID #: 8730



     VI.      Preparation of Lipid Particles

     [0287]    The lipid particles of the present invention, e.g., SNALP, in which an active agent
     or therapeutic agent such as an interfering RNA is encapsulated in a lipid bilayer and is
     protected from degradation, can be formed by any method known in the art including, but not
 5   limited to, a continuous mixing method or a direct dilution process.
     [0288]    In preferred embodiments, the cationic lipids are lipids of Formula I, II, and III, or
     combinations thereof. In other preferred embodiments, the non-cationic lipids are egg
     sphingomyelin (ESM), distearoylphosphatidylcholine (DSPC), dioleoylphosphatidylcholine
     (DOPC), l-palmitoyl-2-oleoyl-phosphatidylcholine (POPC), dipalmitoyl-phosphatidylcholine
10   (DPPC), monomethyl-phosphatidylethanolamine, dimethyl-phosphatidylethanolamine, 14:0
     PE (1,2-dimyristoyl-phosphatidylethanolamine (DMPE)), 16:0 PE (1,2-dipalmitoyl-
     phosphatidylethanolamine (DPPE) ), 18: 0 PE (1,2-di stearoy L-phosphatidy Lethanolamine
     (DSPE)), 18:1 PE (1,2-dioleoyl-phosphatidylethanolamine (DOPE)), 18:1 trans PE (1,2-
     dielaidoyl-phosphatidylethanolamine (DEPE)), 18 :0-18: 1 PE ( l-stearoyl-2-oleoyl-
l5   phosphatidylethanolamine (SOPE)), 16:0-18:1 PE (l-palmitoyl-2-oleoyl-
     phosphatidylethanolamine (POPE)), polyethylene glycol-based polymers (e.g., PEG 2000,
     PEG 5000, PEG-modified diacylglycerols, or PEG-modified dialkyloxypropyls), cholesterol,
     or combinations thereof.
     [0289]    In ce1iain embodiments, the present invention provides for SNALP produced via a
20   continuous mixing method, e.g., a process that includes providing an aqueous solution
     comprising a nucleic acid such as an interfering RNA in a first reservoir, providing an
     organic lipid solution in a second reservoir, and mixing the aqueous solution with the organic
     lipid solution such that the organic lipid solution mixes with the aqueous solution so as to
     substantially instantaneously produce a liposome encapsulating the nucleic acid (e.g.,
25   interfering RNA). This process and the apparatus for carrying this process are described in
     detail in U.S. Patent Publication No. 20040142025, the disclosure of which is herein
     incorporated by reference in its entirety for all purposes.
     [0290]    The action of continuously introducing lipid and buffer solutions into a mixing
     environment, such as in a mixing chamber, causes a continuous dilution of the lipid solution
30   with the buffer solution, thereby producing a liposome substantially instantaneously upon
     mixing. As used herein, the phrase "continuously diluting a lipid solution with a buffer
     solution" (and variations) generally means that the lipid solution is diluted sufficiently rapidly
     in a hydration process with sufficient force to effectuate vesicle generation. By mixing the



                                                     77


                                                                                             JA001764
                                                                                            GENV-00000489
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 425 of 1274 PageID #: 8731



     aqueous solution comprising a nucleic acid with the organic lipid solution, the organic lipid
     solution undergoes a continuous stepwise dilution in the presence of the buffer solution (i.e.,
     aqueous solution) to produce a nucleic acid-lipid particle.
     [0291]   The SNALP formed using the continuous mixing method typically have a size of
 5   from about 40 nm to about 150 nm, from about 50 nm to about 150 nm, from about 60 nm to
     about 130 nm, from about 70 nm to about 110 nm, or from about 70 nm to about 90 nm. The
     particles thus formed do not aggregate and are optionally sized to achieve a uniform particle
     size.
     [02921   In another embodiment, the present invention provides for SNALP produced via a
10   direct dilution process that includes forming a liposome solution and immediately and
     directly introducing the liposome solution into a collection vessel containing a controlled
     amount of dilution buffer. In preferred aspects, the collection vessel includes one or more
     elements configured to stir the contents of the collection vessel to facilitate dilution. In one
     aspect, the amount of dilution buffer present in the collection vessel is substantially equal to
15   the volume ofliposome solution introduced thereto. As a non-limiting example, a liposome
     solution in 45% ethanol when introduced into the collection vessel containing an equal
     volume of dilution buffer will advantageously yield smaller particles.
     [0293]   In yet another embodiment, the present invention provides for SNALP produced via
     a direct dilution process in which a third reservoir containing dilution buffer is fluidly
20   coupled to a second mixing region. In this embodiment, the liposome solution formed in a
     first mixing region is immediately and directly mixed with dilution buffer in the second
     mixing region. In preferred aspects, the second mixing region includes a T-connector
     arranged so that the liposome solution and the dilution buffer flows meet as opposing 180°
     flows; however, connectors providing shallower angles can be used, e.g., from about 27° to
25   about 180°. A pump mechanism delivers a controllable flow of buffer to the second mixing
     region. In one aspect, the flow rate of dilution buffer provided to the second mixing region is
     controlled to be substantially equal to the flow rate of liposome solution introduced thereto
     from the first mixing region. This embodiment advantageously allows for more control of
     the flow of dilution buffer mixing with the liposome solution in the second mixing region,
30   and therefore also the concentration of liposome solution in buffer throughout the second
     mixing process. Such control of the dilution buffer flow rate advantageously allows for small
     particle size formation at reduced concentrations.




                                                     78


                                                                                             JA001765
                                                                                            GENV-00000490
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 426 of 1274 PageID #: 8732



     [0294]   These processes and the apparatuses for carrying out these direct dilution processes
     are described in detail in U.S. Patent Publication No. 20070042031, the disclosure of which is
     herein incorporated by reference in its entirety for all purposes.
     [0295]   The SNALP formed using the direct dilution process typically have a size of from
 5   about 40 nm to about 150 nm, from about 50 nm to about 150 nm, from about 60 nm to about
     130 nm, from about 70 nm to about 110 nm, or from about 70 nm to about 90 nm. The
     particles thus formed do not aggregate and are optionally sized to achieve a uniform particle
     size.
     [0296]   If needed, the lipid particles of the invention (e.g., SNALP) can be sized by any of
10   the methods available for sizing liposomes. The sizing may be conducted in order to achieve
     a desired size range and relatively narrow distribution of particle sizes.
     [0297]    Several techniques are available for sizing the particles to a desired size. One sizing
     method, used for liposomes and equally applicable to the present particles, is described in
     U.S. Patent No. 4,737,323, the disclosure of which is herein incorporated by reference in its
15   entirety for all purposes. Sonicating a particle suspension either by bath or probe sonication
     produces a progressive size reduction down to particles of less than about 50 nm in size.
     Homogenization is another method which relies on shearing energy to fragment larger
     particles into smaller ones. In a typical homogenization procedure, particles are recirculated
     through a standard emulsion homogenizer until selected particle sizes, typically between
20   about 60 and about 80 nm, are observed. In both methods, the particle size distribution can
     be monitored by conventional laser-beam particle size discrimination, or QELS.
     l0298J   Extrusion of the particles through a small-pore polycarbonate membrane or an
     asymmetric ceramic membrane is also an effective method for reducing particle sizes to a
     relatively well-defined size distribution. Typically, the suspension is cycled through the
25   membrane one or more times until the desired particle size distribution is achieved. The
     particles may be extruded through successively smaller-pore membranes, to achieve a gradual
     reduction in size.
     [0299]    [n some embodiments, the nucleic acids in the SNALP are precondensed as
     described in, e.g., U.S. Patent Application No. 09/744,103, the disclosure ofwhich is herein
30   incorporated by reference in its entirety for all purposes.
     [0300]   In other embodiments, the methods will further comprise adding non-lipid
     polycations which are useful to effect the lipofection of cells using the present compositions.
     Examples of suitable non-lipid polycations include, hexadimethrine bromide (sold under the
     brandname POLYBRENE®, from Aldrich Chemical Co., Milwaukee, Wisconsin, USA) or


                                                     79


                                                                                            JA001766
                                                                                           GENV-00000491
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 427 of 1274 PageID #: 8733



     other salts of hexadimethrine. Other suitable polycations include, for example, salts of poly-
     L-ornithine, poly-L-arginine, poly-L-lysine, poly-D-lysine, polyallylamine, and
     polyethyleneimine. Addition of these salts is preferably after the particles have been formed.
     [0301]    In some embodiments, the nucleic acid to lipid ratios (mass/mass ratios) in a formed
 5   SNALP will range from about 0.01 to about 0.2, from about 0.02 to about 0.1, from about
     0.03 to about 0.1, or from about 0.01 to about 0.08. The ratio of the starting materials also
     falls within this range. In other embodiments, the SNALP preparation uses about 400 ~Lg
     nucleic acid per 10 mg total lipid or a nucleic acid to lipid mass ratio of about 0.01 to about
     0.08 and, more preferably, about 0.04, which corresponds to 1.25 mg of total lipid per 50 ~tg
10   of nucleic acid. In other preferred embodiments, the particle has a nucleic acid:lipid mass
     ratio of about 0.08.
     [0302]    In other embodiments, the lipid to nucleic acid ratios (mass/mass ratios) in a formed
     SNALP will range from about 1 (1:1) to about 100 (100:1), from about 5 (5:1) to about 100
     ( 100: 1), from about l (1: 1) to about 50 (50: 1), from about 2 (2: 1) to about 50 (50: l), from
15   about 3 (3:1) to about 50 (50:1), from about 4 (4:1) to about 50 (50:1), from about 5 (5:1) to
     about 50 ( 50: 1), from about 1 ( 1: 1) to about 25 (25: 1), from about 2 (2: 1) to about 25 (25: 1),
     from about 3 (3:1) to about 25 (25:1), from about 4 (4:1) to about 25 (25:1), from about 5
     (5:1) to about 25 (25:1), from about 5 (5:1) to about 20 (20:1), from about 5 (5:1) to about 15
     (15:1), from about 5 (5:1) to about 10 (10:1), about 5 (5:1), 6 (6:1), 7 (7:1), 8 (8:1), 9 (9:1),
20   10 (10:1), 11 (11:1), 12 (12:1), 13 (13:1), 14 (14:1), or 15 (15:1). The ratio of the starting
     materials also falls within this range.
     l0303 J As previously discussed, the conjugated lipid may further include a CPL. A variety
     of general methods for making SNALP-CPLs (CPL-containing SNALP) are discussed herein.
     Two general techniques include "post-insertion" technique, that is, insertion of a CPL into,
25   for example, a pre-formed SNALP, and the "standard" technique, wherein the CPL is
     included in the lipid mixture during, for example, the SNALP formation steps. The post-
     insertion technique results in SNALP having CPLs mainly in the external face of the SNALP
     bilayer membrane, whereas standard techniques provide SNALP having CPLs on both
     internal and external faces. The method is especially useful for vesicles made from
30   phospholipids (which can contain cholesterol) and also for vesicles containing PEG-lipids
     (such as PEG-DAAs and PEG-DAGs). Methods of making SNALP-CPL, are taught, for
     example, in U.S. Patent Nos. 5,705,385; 6,586,410; 5,981,501; 6,534,484; and 6,852,334;
     U.S. Patent PublicationNo. 20020072121; and PCT Publication No. WO 00/62813, the
     disclosures of which are herein incorporated by reference in their entirety for all purposes.


                                                       80


                                                                                                JA001767
                                                                                                GENV-00000492
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 428 of 1274 PageID #: 8734



     VU.      Kits

     [0304]    The present invention also provides lipid particles (e.g., SNALP) in kit form. The
     kit may comprise a container which is compartmentalized for holding the various elements of
     the lipid particles (e.g., the active agents or therapeutic agents such as nucleic acids and the
 5   individual lipid components of the particles). In some embodiments, the kit may further
     comprise an endosornal membrane destabilizer (e.g., calcium ions). The kit typically
     contains the Lipid particle compositions of the present invention, preferably in dehydrated
     form, with instructions for their rehydration and administration.
     [0305]    As explained herein, the lipid particles of the invention (e.g., SNALP) can be
10   tailored to preferentially target particular tissues, organs, or tumors of interest. ]n certain
     instances, preferential targeting of lipid pmticles such as SNALP may be carried out by
     controlling the composition of the particle itself. For instance, as set forth in Example 11, it
     has been found that the 1 :57 PEG-cDSA SNALP formulation can be used to preferentially
     target tumors outside of the liver, whereas the 1 :57 PEG-cDMA SNALP formulation can be
15   used to preferentially target the liver (including liver tumors).
     [0306]    In certain other instances, it may be desirable to have a targeting moiety attached to
     the surface of the lipid particle to further enhance the targeting of the particle. Methods of
     attaching targeting moieties (e.g., antibodies, proteins, etc.) to lipids (such as those used in
     the present particles) are known to those of skill in the art.

20   VU.      Administration of Lipid Particles

     [0307]    Once formed, the lipid particles of the invention (e.g., SNALP) are useful for the
     introduction of active agents or therapeutic agents (e.g., nucleic acids such as interfering
     RNA) into cells. Accordingly, the present invention also provides methods for introducing
     an active agent or therapeutic agent such as a nucleic acid (e.g., interfering RNA) into a cell.
25   The methods are carried out in vitro or in vivo by first fonning the particles as described
     above and then contacting the particles with the cells for a period of time sufficient for
     delivery of the active agent or therapeutic agent to the cells to occur.
     [0308]    The lipid particles of the invention (e.g., SNALP) can be adsorbed to almost any
     cell type with which they arc mixed or contacted. Once adsorbed, the particles can either be
30   endocytosed by a portion of the cells, exchange lipids with cell membranes, or fuse with the
     cells. Transfer or incorporation of the active agent or therapeutic agent (e.g., nucleic acid)
     portion of the particle can take place via any one of these pathways. In particular, when




                                                      81


                                                                                               JA001768
                                                                                              GENV-00000493
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 429 of 1274 PageID #: 8735



     fusion takes place, the particle membrane is integrated into the cell membrane and the
     contents of the particle combine with the intracellular fluid.
     [0309]   The lipid particles of the invention (e.g., SNALP) can be administered either alone
     or in a mixture with a pharmaceutically-acceptable carrier (e.g., physiological saline or
 5   phosphate buffer) selected in accordance with the route of administration and standard
     pharmaceutical practice. Generally, normal buffered saline (e.g., 135-150 mM NaCl) will be
     employed as the pharmaceutically-acceptable carrier. Other suitable carriers include, e.g.,
     water, buffered water, 0.4% saline, 0.3% glycine, and the like, including glycoproteins for
     enhanced stability, such as albumin, lipoprotein, globulin, etc. Additional suitable carriers
10   are described in, e.g., REMINGTON'S PHARMACEUTICAL SCIENCES, Mack Publishing
     Company, Philadelphia, PA, 17th ed. ( 1985). As used herein, "carrier" includes any and all
     solvents, dispersion media, vehicles, coatings, diluents, antibacterial and antifungal agents,
     isotonic and absorption delaying agents, buffers, carrier solutions, suspensions, colloids, and
     the like. The phrase "pharmaceutically-acceptable" refers to molecular entities and
15   compositions that do not produce an allergic or similar untoward reaction when administered
     to a human.
     [0310]   The pharmaceutically-acceptable carrier is generally added following particle
     formation. Thus, after the particle is formed, the particle can be diluted into
     pharmaceutically-acceptable carriers such as normal buffered saline.
20   [0311]   The concentration of particles in the pharmaceutical formulations can vary widely,
     i.e., from less than about 0.05%, usually at or at least about 2 to 5%, to as much as about 10
     to 90%, by weight, and will be selected primarily by fluid volumes, viscosities, etc., in
     accordance with the particular mode of administration selected. For example, the
     concentration may be increased to lower the fluid load associated with treatment. This may
25   be particularly desirable in patients having atherosclerosis-associated congestive heart failure
     or severe hypertension. Alternatively, particles composed of irritating lipids may be diluted
     to low concentrations to lessen inflammation at the site of administration.
     [0312]   The pharmaceutical compositions of the present invention may be sterilized by
     conventional, well-known sterilization techniques. Aqueous solutions can be packaged for
30   use or filtered under aseptic conditions and lyophilizcd, the lyophilizcd preparation being
     combined with a sterile aqueous solution prior to administration. The compositions can
     contain pharmaceutically-acceptable auxiliary substances as required to approximate
     physiological conditions, such as pH adjusting and buffering agents, tonicity adjusting agents
     and the like, for example, sodium acetate, sodium lactate, sodium chloride, potassium


                                                     82


                                                                                            JA001769
                                                                                           GENV-00000494
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 430 of 1274 PageID #: 8736



     chloride, and calcium chloride. Additionally, the particle suspension may include lipid-
     protective agents which protect lipids against free-radical and lipid-peroxidative damages on
     storage. Lipophilic free-radical quenchers, such as alphatocopherol and water-soluble iron-
     specific chclators, such as fcrrioxamine, are suitable.

 5             A.    ln vivo Administration

     f0313l     Systemic delivery for in vivo therapy, e.g., delivery of a therapeutic nucleic acid to a
     distal target cell via body systems such as the circulation, has been achieved using nucleic
     acid-lipid particles such as those described in PCT Publication Nos. WO 05/007196, WO
     05/121348, WO 05/120152, and WO 04/002453, the disclosures of which are herein
lO   incorporated by reference in their entirety for all purposes. The present invention also
     provides fully encapsulated lipid particles that protect the nucleic acid from nuclease
     degradation in serum, are nonimmunogenic, are small in size, and are suitable for repeat
     dosing.
     [0314]     For in vivo administration, administration can be in any manner known in the art,
15   e.g., by injection, oral administration, inhalation (e.g., intransal or intratracheal), transdermal
     application, or rectal administration. Administration can be accomplished via single or
     divided doses. The pharmaceutical compositions can be administered parcnterally, i.e.,
     intraarticularly, intravenously, intraperitoneally, subcutaneously, or intramuscularly. In some
     embodiments, the pharmaceutical compositions are administered intravenously or
20   intraperitoneally by a bolus injection (rne, e.g., U.S. Patent No. 5,286,634). Intracellular
     nucleic acid delivery has also been discussed in Straubringer et al., 1vfethods Enzymol.,
     101 :512 (1983); Mannino et al., Biotechniques, 6:682 (1988); Nicolau et al., Crit. Rev. Ther.
     Drug Carrier Syst., 6:239 (1989); and Behr, Acc. Chem. Res., 26:274 (1993). Still other
     methods of administering lipid-based therapeutics are described in, for example, U.S. Patent
25   Nos. 3,993,754; 4,145,410; 4,235,871; 4,224,179; 4,522,803; and 4,588,578. The lipid
     particles can be administered by direct injection at the site of disease or by injection at a site
     distal from the site of disease (see, e.g., Culver, HUMAN GENE THERAPY, MaryAnn
     Liebert, lnc., Publishers, New York. pp. 70-7 l ( 1994)). The disclosures of the above-
     described references are herein incorporated by reference in their entirety for all purposes.
30   [0315]     The compositions of the present invention, either alone or in combination with other
     suitable components, can be made into aerosol formulations (i.e., they can be "nebulized") to
     be administered via inhalation (e.g., intranasally or intratracheally) (see, Brigham et al., Am.




                                                      83


                                                                                              JA001770
                                                                                              GENV-00000495
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 431 of 1274 PageID #: 8737



     J. Sci., 298:278 (] 989)). Aerosol formulations can be placed into pressurized acceptable
     propellants, such as dichlorodifluoromethane, propane, nitrogen, and the like.
     [0316]    [n certain embodiments, the pharmaceutical compositions may be delivered by
     intranasal sprays, inhalation, and/or other aerosol delivery vehicles. Methods for delivering
 5   nucleic acid compositions directly to the lungs via nasal aerosol sprays have been described,
     e.g., in U.S. Patent Nos. 5,756,353 and 5,804,212. Likewise, the delivery of drngs using
     intranasal microparticle resins and lysophosphatidyl-glycerol compounds (U.S. Patent
     5,725,871) are also well-known in the pharmaceutical arts. Similarly, transmucosal drug
     delivery in the form of a polytetrafluoroetheylene support matrix is described in U.S. Patent
10   No. 5,780,045. The disclosures of the above-described patents are herein incorporated by
     reference in their entirety for all purposes.
     [0317]    Formulations suitable for parenteral administration, such as, for example, by
     intraarticular (in the joints), intravenous, intramuscular, intradermal, intraperitoneal, and
     subcutaneous routes, include aqueous and non-aqueous, isotonic sterile injection solutions,
15   which can contain antioxidants, buffers, bacteriostats, and solutes that render the formulation
     isotonic with the blood of the intended recipient, and aqueous and non-aqueous sterile
     suspensions that can include suspending agents, solubilizers, thickening agents, stabilizers,
     and preservatives. In the practice of this invention, compositions are preferably administered,
     for example, by intravenous infusion, orally, topically, intraperitoneally, intravesically, or
20   intrathecally.
     [0318]    Generally, when administered intravenously, the lipid particle formulations are
     formulated with a suitable pharmaceutical carrier. Many pharmaceutically acceptable carriers
     may be employed in the compositions and methods of the present invention. Suitable
     formulations for use in the present invention are found, for example, in REMINGTON'S
25   PHARMACEUTICAL SCIENCES, Mack Publishing Company, Philadelphia, PA, 17th ed.
     (1985). A variety of aqueous carriers may be used, for example, water, buffered water, 0.4%
     saline, 0.3% glycine, and the like, and may include glycoproteins for enhanced stability, such
     as albumin, lipoprotein, globulin, etc. Generally, normal buffered saline (135-150 mM NaCl)
     will be employed as the pharmaceutically acceptable carrier, but other suitable carriers will
30   suffice. These compositions can be sterilized by conventional liposomal sterilization
     techniques, such as filtration. The compositions may contain pharmaceutically acceptable
     auxiliary substances as required to approximate physiological conditions, such as pH
     adjusting and buffering agents, tonicity adjusting agents, wetting agents and the like, for
     example, sodium acetate, sodium lactate, sodium chloride, potassium chloride, calcium


                                                     84


                                                                                             JA001771
                                                                                             GENV-00000496
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 432 of 1274 PageID #: 8738



     chloride, sorbitan monolaurate, triethanolamine oleate, etc. These compositions can be
     sterilized using the techniques referred to above or, alternatively, they can be produced under
     sterile conditions. The resulting aqueous solutions may be packaged for use or filtered under
     aseptic conditions and lyophilizcd, the lyophilizcd preparation being combined with a sterile
 5   aqueous solution prior to administration.
     [0319]    In certain applications, the lipid particles disclosed herein may be delivered via oral
     administration to the individual. The particles may be incorporated with excipients and used
     in the form of ingestible tablets, buccal tablets, troches, capsules, pills, lozenges, elixirs,
     mouthwash, suspensions, oral sprays, syrups, wafers, and the like (see, e.g., U.S. Patent Nos.
10   5,641,515, 5,580,579, and 5,792,451, the disclosures of which arc herein incorporated by
     reference in their entirety for all purposes). These oral dosage forms may also contain the
     following: binders, gelatin; excipients, lubricants, and/or flavoring agents. When the unit
     dosage form is a capsule, it may contain, in addition to the materials described above, a liquid
     carrier. Various other materials may be present as coatings or to otherwise modify the
15   physical form of the dosage unit. Of course, any material used in preparing any unit dosage
     form should be pharmaceutically pure and substantially non-toxic in the amounts employed.
     [0320]    Typically, these oral formulations may contain at least about 0.1 % of the lipid
     particles or more, although the percentage of the particles may, of course, be varied and may
     conveniently be between about 1% or 2% and about 60% or 70% or more of the weight or
20   volume of the total formulation. Naturally, the amount of particles in each therapeutically
     useful composition may be prepared is such a way that a suitable dosage will be obtained in
     any given unit dose of the compound. Factors such as solubility, bioavailability, biological
     half-life, route of administration, product shelf life, as well as other pharmacological
     considerations will be contemplated by one skilled in the art of preparing such
25   pharmaceutical formulations, and as such, a variety of dosages and treatment regimens may
     be desirable.
     [0321]    Formulations suitable for oral administration can consist of: (a) liquid solutions,
     such as an effective amount of a packaged therapeutic agent such as nucleic acid (e.g.,
     interfering RNA) suspended in diluents such as water, saline, or PEG 400; (b) capsules,
30   sachets, or tablets, each containing a predetermined amount of a therapeutic agent such as
     nucleic acid (e.g., interfering RNA), as liquids, solids, granules, or gelatin; (c) suspensions in
     an appropriate liquid; and (d) suitable emulsions. Tablet forms can include one or more of
     lactose, sucrose, mannitol, sorbitol, calcium phosphates, corn starch, potato starch,
     microcrystalline cellulose, gelatin, colloidal silicon dioxide, talc, magnesium stearate, stearic


                                                      85


                                                                                               JA001772
                                                                                               GENV-00000497
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 433 of 1274 PageID #: 8739



     acid, and other excipients, colorants, fillers, binders, diluents, buffering agents, moistening
     agents, preservatives, flavoring agents, dyes, disintegrating agents, and pharmaceutically
     compatible carriers. Lozenge forms can comprise a therapeutic agent such as nucleic acid
     (e.g .. interfering RNA) in a flavor, e.g., sucrose, as well as pastilles comprising the
 5   therapeutic agent in an inert base, such as gelatin and glycerin or sucrose and acacia
     emulsions, gels, and the like containing, in addition to the therapeutic agent, carriers known
     in the mi.
     [0322]       In another example of their use, lipid particles can be incorporated into a broad
     range of topical dosage forms. For instance, a suspension containing nucleic acid-lipid
10   particles such as SNALP can be formulated and administered as gels, oils, emulsions, topical
     creams, pastes, ointments, lotions, foams, mousses, and the like.
     [0323]       When preparing pharmaceutical preparations of the lipid particles of the invention,
     it is preferable to use quantities of the particles which have been purified to reduce or
     eliminate empty particles or particles with therapeutic agents such as nucleic acid associated
15   with the external surface.
     [0324]       The methods of the present invention may be practiced in a variety of hosts.
     Preferred hosts include mammalian species, such as primates (e.g., humans and chimpanzees
     as well as other nonhuman primates), canines, felines, equines, bovines, ovines, caprines,
     rodents (e.g., rats and mice), lagomorphs, and swine.
20   [0325]       The amount of particles administered will depend upon the ratio of therapeutic
     agent ( e.g., nucleic acid) to lipid, the particular therapeutic agent ( e.g., nucleic acid) used, the
     disease or disorder being treated, the age, weight, and condition of the patient, and the
     judgment of the clinician, but will generally be between about 0.01 and about 50 mg per
     kilogram of body weight, preferably between about 0.1 and about 5 mg/kg of body weight, or
25   about 10 8 -10 10 particles per administration (e.g., injection).

              B.       In vitro Administration

     [0326]       For in vitro applications, the delivery of therapeutic agents such as nucleic acids
     (e.g., interfering RNA) can be to any cell grown in culture, whether of plant or animal origin,
     vertebrate or invertebrate, and of any tissue or type. In preferred embodiments, the cells are
30   animal cells, more preferably mammalian cells, and most preferably human cells.
     [0327]       Contact between the cells and the lipid particles, when carried out in vitro, takes
     place in a biologically compatible medium. The concentration of particles varies widely
     depending on the particular application, but is generally between about 1 ~tmol and about 10


                                                       86


                                                                                                JA001773
                                                                                                GENV-00000498
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 434 of 1274 PageID #: 8740



     mmol. Treatment of the cells with the lipid particles is generally carried out at physiological
     temperatures (about 3 7°C) for periods of time of from about 1 to 48 hours, preferably of from
     about 2 to 4 hours.
     [0328]    In one group of preferred embodiments, a lipid particle suspension is added to 60-
 5   80% confluent plated cells having a cell density of from about 103 to about 10 5 cells/ml, more
     preferably about 2 x 10 4 cells/ml. The concentration of the suspension added to the cells is
     preferably of from about 0.01 to 0.2 ~tg/ml, more preferably about 0.1 ~tg/ml.
     [0329]    Using an Endosomal Release Parameter (ERP) assay, the delivery efficiency of the
     SNALP or other lipid particle of the invention can be optimized. An ERP assay is described
10   in detail in U.S. Patent Publication No. 20030077829, the disclosure of which is herein
     incorporated by reference in its entirety for all purposes. More particularly, the purpose of an
     ERP assay is to distinguish the effect of various cationic lipids and helper lipid components
     of SNALP based on their relative effect on binding/uptake or fusion with/destabilization of
     the endosomal membrane. This assay allows one to determine quantitatively how each
15   component of the SNALP or other lipid particle affects delivery efficiency, thereby
     optimizing the SNALP or other lipid particle. Usually, an ERP assay measures expression of
     a reporter protein (e.g., luciferase, ~-galactosidase, green :fluorescent protein (GFP), etc.), and
     in some instances, a SNALP formulation optimized for an expression plasmid will also be
     appropriate for encapsulating an interfering RNA. In other instances, an ERP assay can be
20   adapted to measure downregulation of transcription or translation of a target sequence in the
     presence or absence of an interfering RNA (e.g., siRNA). By comparing the ERPs for each
     of the various SNALP or other lipid particles, one can readily determine the optimized
     system, e.g., the SN ALP or other lipid particle that has the greatest uptake in the cell.

              C.    Cells for Delivery of Lipid Particles

25   [0330]    The compositions and methods of the present invention are used to treat a wide
     variety of cell types, in vivo and in vitro. Suitable cells include, e.g., hematopoietic precursor
     (stem) cells, fibroblasts, keratinocytes, hepatocytes, endothelial cells, skeletal and smooth
     muscle cells, osteoblasts, neurons, quiescent lymphocytes, terminally differentiated cells,
     slow or noncycling primary cells, parenchymal cells, lymphoid cells, epithelial cells, bone
30   cells, and the like. In preferred embodiments, an active agent or therapeutic agent such as an
     interfering RNA (e.g., siRNA) is delivered to cancer cells such as, e.g., lung cancer cells,
     colon cancer cells, rectal cancer cells, anal cancer cells, bile duct cancer cells, small intestine
     cancer cells, stomach (gastric) cancer cells, esophageal cancer cells, gallbladder cancer cells,


                                                     87


                                                                                              JA001774
                                                                                              GENV-00000499
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 435 of 1274 PageID #: 8741



     liver cancer cells, pancreatic cancer cells, appendix cancer cells, breast cancer cells, ovarian
     cancer cells, cervical cancer cells, prostate cancer cells, renal cancer cells, cancer cells of the
     central nervous system, glioblastoma tumor cells, skin cancer cells, lymphoma cells,
     choriocarcinoma tumor cells, head and neck cancer cells, osteogenic sarcoma tumor cells,
 5   and blood cancer cells.
     [0331]    In vivo delivery of lipid particles such as SNALP encapsulating an interfering RNA
     ( e.g., siRNA) is suited for targeting cells of any cell type. The methods and compositions can
     be employed with cells of a wide variety of vertebrates, including mammals, such as, e.g,
     canines, felines, equines, bovines, ovines, caprines, rodents (e.g., mice, rats, and guinea pigs),
10   lagomorphs, swine, and primates (e.g. monkeys, chimpanzees, and humans).
     [0332]    To the extent that tissue culture of cells may be required, it is well-known in the art.
     For example, Freshney, Culture of Animal Cells, a Manual of Basic Technique, 3rd Ed.,
     Wiley-Liss, New York (1994), Kuchler et al., Biochemical Methods in Cell Culture and
     Virology, Dowden, Hutchinson and Ross, Inc. (1977), and the references cited therein
15   provide a general guide to the culture of cells. Cultured cell systems often will be in the form
     of monolayers of cells, although cell suspensions are also used.

              D.     Detection of Lipid Particles

     l0333J    ln some embodiments, the lipid particles of the present invention (e.g., SNALP) arc
     detectable in the subject at about 1, 2, 3, 4, 5, 6, 7, 8 or more hours. In other embodiments,
20   the lipid particles of the present invention (e.g., SNALP) are detectable in the subject at about
     8, 12, 24, 48, 60, 72, or 96 hours, or about 6, 8, 10, 12, 14, 16, 18, 19, 22, 24, 25, or 28 days
     after administration of the particles. The presence of the particles can be detected in the cells,
     tissues, or other biological samples from the subject. The particles may be detected, e.g., by
     direct detection of the particles, detection of a therapeutic nucleic acid such as an interfering
25   RNA (e.g., siRNA) sequence, detection of the target sequence of interest (i.e., by detecting
     expression or reduced expression of the sequence of interest), or a combination thereof.

                     1.      Detection of Particles

     [0334]    Lipid particles of the invention such as SNALP can be detected using any method
     known in the art. For example, a label can be coupled directly or indirectly to a component
30   of the lipid particle using methods well-known in the art. A wide variety oflabels can be
     used, with the choice of label depending on sensitivity required, case of conjugation with the
     lipid particle component, stability requirements, and available instrumentation and disposal



                                                      88


                                                                                              JA001775
                                                                                              GE NV-00000500
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 436 of 1274 PageID #: 8742



     provisions. Suitable labels include, but are not limited to, spectral labels such as fluorescent
     dyes (e.g., fluorescein and derivatives, such as fluorescein isothiocyanate (FITC) and Oregon
     GreenTM; rhodamine and derivatives such Texas red, tetrarhodimine isothiocynate (TRlTC),
     etc., digoxigenin, biotin, phycoerythrin, AMCA, CyDyesr]\,1, and the like; radiolabcls such as
 5
 _   3JI· , 12s 1, 3sc.,0, 14C',, 32p , 33p , etc.; enzymes sueh as h orse ra d.1sh perox1·dase, a lka 1·me

     phosphatase, etc.; spectral colorimetric labels such as colloidal gold or colored glass or
     plastic beads such as polystyrene, polypropylene, latex, etc. The label can be detected using
     any means known in the art.

                       2.        Detection of Nucleic Acids

10   [0335]     Nucleic acids (e.g., interfering RNA) are detected and quantified herein by any of a
     number of means well-known to those of skill in the art. The detection of nucleic acids may
     proceed by well-known methods such as Southern analysis, Northern analysis, gel
     electrophoresis, PCR, radiolabeling, scintillation counting, and affinity chromatography.
     Additional analytic biochemical methods such as spectrophotometry, radiography,
15   electrophoresis, capillary electrophoresis, high performance liquid chromatography (HPLC),
     thin layer chromatography (TLC), and hyperdiffusion chromatography may also be
     employed.
     l0336 J The selection of a nucleic acid hybridization format is not critical. A variety of
     nucleic acid hybridization formats are known to those skilled in the art. For example,
20   common fonnats include sandwich assays and competition or displacement assays.
     Hybridization techniques are generally described in, e.g., "Nucleic Acid Hybridization, A
     Practical Approach," Eds. Hames and Higgins, IRL Press (] 985).
     [0337]     The sensitivity of the hybridization assays may be enhanced through use of a
     nucleic acid amplification system which multiplies the target nucleic acid being detected. In
25   vitro amplification techniques suitable for amplifying sequences for use as molecular probes
     or for generating nucleic acid fragments for subsequent subcloning arc known. Examples of
     techniques sufficient to direct persons of skill through such in vitro amplification methods,
     including the polymerase chain reaction (PCR) the ligase chain reaction (LCR), QJ3-replicase
     amplification and other RNA polymerase mediated techniques (e.g., NASBA™) are found in
30   Sambrook et al., Inlvfolecular Cloning: A Laboratory Manual, Cold Spring Harbor
     Laboratory Press (2000); and Ausubel et al., SHORT PROTOCOLS IN MOLECULAR BIOLOGY,
     eds., Current Protocols, Greene Publishing Associates, Inc. and John Wiley & Sons, Inc.
     (2002); as well as U.S. Patent No. 4,683,202; PCR Protocols, A Guide to Methods and


                                                              89


                                                                                                              JA001776
                                                                                                              GE NV-00000501
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 437 of 1274 PageID #: 8743



     Applications (]nnis et al. eds.) Academic Press Inc. San Diego, CA (1990); Arnheim &
     Levinson (October 1, 1990), C&EN36; The Journal OfNIH Research, 3:81 (1991); Kwoh et
     al., Proc. Natl. A cad. Sci. USA, 86: 1173 (1989); Guatelli et al., Proc. Natl. A cad. Sci. USA,
     87: 1874 ( 1990); Lorn ell et al., J. Clin. Chem., 35: 1826 (1989); Landegren et al., Science,
 5   241:1077 (1988); Van Brunt, Biotechnology, 8:291 (1990); Wu and Wallace, Gene, 4:560
     (1989); Barringer et al., Gene, 89:117 (1990); and Sooknanan and Malek, Biotechnology,
     13 :563 (1995). Improved methods of cloning in vitro amplified nucleic acids are described in
     U.S. Pat. No. 5,426,039. Other methods described in the art are the nucleic acid sequence
     based amplification (NASBA™, Cangene, Mississauga, Ontario) and QB-replicase systems.
10   These systems can be used to directly identify mutants where the PCR or LCR primers are
     designed to be extended or ligated only when a select sequence is present. Alternatively, the
     select sequences can be generally amplified using, for example, nonspecific PCR primers and
     the amplified target region later probed for a specific sequence indicative of a mutation. The
     disclosures of the above-described references are herein incorporated by reference in their
15   entirety for all purposes.
     [0338]   Nucleic acids for use as probes, e.g., in in vitro amplification methods, for use as
     gene probes, or as inhibitor components are typically synthesized chemically according to the
     solid phase phosphoramidite triester method described by Beaucage et al., Tetrahedron
     Letts., 22:1859 1862 (1981), e.g., using an automated synthesizer, as described in Needham
20   VanDevanter et al., Nucleic Acids Res., 12:6159 (1984). Purification ofploynucleotides,
     where necessary, is typically performed by either native acrylamide gel electrophoresis or by
     anion exchange HPLC as described in Pearson et al., .J. Chrom., 255:137 149 (1983). The
     sequence of the synthetic poluyucleotides can be verified using the chemical degradation
     method of Maxam and Gilbert (1980) in Grossman and Moldave (eds.) Academic Press, New
25   York, Methods in Enzymology, 65:499.
     [0339]    An alternative means for determining the level of transcription is in situ
     hybridization. In situ hybridization assays are well-known and are generally described in
     Angerer et al., Methods Enzymol., 152:649 (1987). ]nan in situ hybridization assay, cells are
     fixed to a solid support, typically a glass slide. ]f DNA is to be probed, the cells are
30   denatured with heat or alkali. The cells arc then contacted with a hybridization solution at a
     moderate temperature to permit annealing of specific probes that are labeled. The probes are
     preferably labeled with radioisotopes or fluorescent reporters.




                                                     90


                                                                                                JA001777
                                                                                             GE NV-00000502
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 438 of 1274 PageID #: 8744



     VIII.      Examples

     [0340]      The present invention will be described in greater detail by way of specific
     examples. The following examples are offered for illustrative purposes, and are not intended
     to limit the invention in any manner. Those of skill in the art will readily recognize a variety
 5   of noncritical parameters which can be changed or modified to yield essentially the same
     results.

     Example 1.       Materials and Methods.
     [0341]      siRNA: All siRNA molecules used in these studies were chemically synthesized by
     the University of Calgary (Calgary, AB) or Dharmacon Inc. (Lafayette, CO). The siRNAs
lO   were desalted and annealed using standard procedures.
     [0342]      Lipid Encapsulation ofsiRNA: In some embodiments, siRNA molecules were
     encapsulated into nucleic acid-lipid particles composed of the following lipids: the lipid
     conjugate PEG-cDMA (3-N-[ ( -Methoxypoly( ethylene glycol)2000)carbarnoyl ]-1,2-
     dimyristyloxypropylamine); the cationic lipid DLinDMA (l,2-Dilinoleyloxy-3-(N,N-
15   dimethyl)aminopropane); the phospholipid DPPC (l,2-Dipalmitoyl-sn-glycero-3-
     phosphocholine; Avanti Polar Lipids; Alabaster, AL); and synthetic cholesterol (Sigma-
     Aldrich Corp.; St. Louis, MO) in the molar ratio ] .4:57.1 :7.1 :34.3, respectively. ]n other
     words, siRNAs were encapsulated into SNALP of the following "l :57'' formulation: ] .4%
     PEG-cDMA; 57.1 % DLinDMA; 7.1 % DPPC; and 34.3% cholesterol. In other embodiments,
20   siRNA molecules were encapsulated into phospholipid-free SNALP composed of the
     following lipids: the lipid conjugate PEG-cDMA; the cationic lipid DLinDMA; and synthetic
     cholesterol in the molar ratio] .5:61.5:36.9, respectively. In other words, siRNAs were
     encapsulated into phospholipid-free SNALP of the following"] :62" formulation: ] .5%
     PEG-cDMA; 61.5% DLinDMA; and 36.9% cholesterol. For vehicle controls, empty
25   particles with identical lipid composition were formed in the absence of siRNA. It should be
     understood that the l :57 formulation and l :62 formulation arc target formulations, and that
     the amount of lipid (both cationic and non-cationic) present and the amount of lipid conjugate
     present in the formulation may vary. Typically, in the 1:57 formulation, the amount of
     cationic lipid will be 57 mol % ± 5 mol %, and the amount oflipid conjugate will be 1.5 mol
30   % ± 0.5 mol %, with the balance of the 1:57 formulation being made up of non-cationic lipid
     (e.g., phospholipid, cholesterol, or a mixture of the two). Similarly, in the 1 :62 formulation,
     the amount of cationic lipid will be 62 mol % ± 5 mol %, and the amount of lipid conjugate




                                                      91


                                                                                            JA001778
                                                                                            GE NV-00000503
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 439 of 1274 PageID #: 8745



     will be 1.5 mol % ± 0.5 mol %, with the balance of the 1 :62 formulation being made up of
     the non-cationic lipid (e.g., cholesterol).

     Example 2.       Eg5 siRNA Formulated as 1:57 SNALP Are Potent Inhibitors of Cell
     Growth i11 vitro.
 5   l0343 J SNALP formulations were prepared with an siRNA targeting Eg5 as the nucleic
     acid component. Eg5 is a member of kinesin-related proteins that are involved in functions
     related to movements of organelles, microtubules, or chromosomes along microtubules.
     These functions include axonal transport, microtubule sliding during nuclear fusion or
     division, and chromosome disjunction during meiosis and early mitosis. Eg5 plays a critical
10   role in mitosis of mammalian cells. The Eg5 siRNA used in this study is provided in Table 1.
     The modifications involved introducing 2 'OMe-uridine at selected positions in the sense and
     antisense strands of the Eg5 2263 siRNA sequence, in which the siRNA duplex contained
     less than about 20% 2'OMe-modified nucleotides.

     Table 1. siRNA duplex comprising sense and antisense Eg5 RNA polynucleotides.

      Modification                 Eg5 2263 siRNA sequence                       %2'0Me-           % Modified in
                                                                                 Modified           DS Region
          U/U                     5'-CYGAAGACCYGAAGACAAYdTdT-3 1                 6/42 = 14.3%        6/38 = 15.8%
                           3'-dTdTGACYUCYGGACYUCUGUUA-5'
15   Column 1: "U/U" = 2 'OMe-undme modified s1RNA duplex; Column 2: 2 'OMe-mod1fled nucleotides are
     indicated in bold and underlined. The siRNA duplex can alternatively or additionally comprise 2 '-deoxy-2 ' -
     fluoro (2 'F) nucleotides, 2 '-deoxy nucleotides, 2' -0-(2-methoxyethyl) (MOE) nucleotides, and/or locked
     nucleic acid (LNA) nucleotides. "dT" = deoxythymidine. Column 3: The number and percentage of 2 'OMe-
     modified nucleotides in the siRNA duplex are provided. Column 4: The number and percentage of modified
20   nucleotides in the double-stranded (DS) region of the siRNA duplex arc provided.

     [0344]     The lipid components and physical characteristics of the SNALP fomrnlations are
     summarized in Table 2. The lipid:drug ratio is described in units of mg total lipid per mg
     nucleic acid. Mean particle size and polydispersity were measured on a Malvern Instruments
     Zetasizer. Encapsulation of nucleic acid was measured using a Ribogreen assay essentially as
25   described in Heyes et al., Journal of Controlled Release, 107:276-287 (2005).




30


                                                           92


                                                                                                        JA001779
                                                                                                        GE NV-00000504
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 440 of 1274 PageID #: 8746



     Table 2. Characteristics of the SNALP formulations used in this study.

        Sample         Formulation Composition, Mole%              Lipid/Drug           Finished Product Characterization
                 PEG( 2000)-C-DMA I DlinDMA I DPPC I Cholesterol      Ratio     Size(nm)         Polydispersity   % Encapsulation
         No.
          1                       2140110148                          12.4         57                 0.07                  90

          2                   1.8 I 36.4 I 18.2 I 43.6                14.0         72                 0.12                  89

          3                    1.4 I 27.0 I 6.8 I 64.9                16.5         70                 0.12                  92

          4                   1.3125.3112.7160.8                      18.1         76                 0.07                  93

          5                   3.9 I 39.2 I 9.8 147.1                  13.5         53                 0.27                  86

          6                   3.6 I 35.7 117.9 I 42.9                 15.1         58                 0.18                  87

          7                   2.7 I 26.7 I 6.7 I 64.0                 17.6         56                 0.17                  92

          8                   2.5 I 25.0 I 12.5 I 60.0                19.2         61                 0.13                  92

          9                    1.4157.117.1134.3                      17.8         84                 0.10                  88

          10                  1.3 I 53.3 I 13.3 I 32.0                19.5         83                 0.10                  89

          11                   1.1142.615.3151.1                      22.0         80                 0.10                  93

          12                  1.0 I 40.4 I 10.1 I 48.5                23.6         78                 0.11                  88

          13                  2.8 I 56.3 I 7.0 133.8                  19.0         62                 0.14                  80

          14                  2.6152.6113.2131.6                      20.6         66                 0.14                  82

          15                  2.1142.115.3150.5                       23.1         71                 0.16                  91

          16                      2140110148                          24.7         67                 0.14                  92




     [0345]      Silencing of Eg5 by siRNA transfcction causes mitotic arrest and apoptosis in
 5   mammalian cells. Cell viability following transfection with SNALP containing an siRNA
     targeting Eg5 therefore provides a simple biological readout of in vitro transfection
     efficiency. Cell viability of in vitro cell cultures was assessed using the commercial reagent
     CellTiter-BlueCRJ (Promega Corp.; Madison, WI), a resazurin dye that is reduced by
     metabolically active cells to the flourogenic product resorufin. The human colon cancer cell
10   line HT29 was cultured using standard tissue culture techniques. 72 hours after SNALP
     application, CellTiter-BlueCBJ reagent was added to the culture to quantify the metabolic
     activity of the cells, which is a measure of cell viability. Data are presented as a percent of
     cell viability relative to ("untreated") control cells that received phosphate buffered saline
     (PBS) vehicle only.

15   [0346]      Figure 1 shows that the 1 :57 SNALP formulation containing Eg5 2263 U/U siRNA
     was among the most potent inhibitors of tumor cell groVvih at all siRNA concentrations tested
     (see, Figure 1B, Sample 9).

     Example 3.          ApoB siRNA Formulated as 1:57 SNALP Have Potent Silencing Activity
     in vivo.
20   [0347]      SNALP formulations were prepared with an siRNA targeting apolipoprotein B
     (ApoB) as the nucleic acid component. ApoB is the main apolipoprotein of chylomicrons
     and low density lipoprotcins (LDL). Mutations in ApoB arc associated with


                                                                     93


                                                                                                                       JA001780
                                                                                                                       GE NV-00000505
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 441 of 1274 PageID #: 8747



      hypercholesterolemia. ApoB occurs in the plasma in 2 main forms, ApoB48 and ApoB] 00,
      which are synthesized in the intestine and liver, respectively, due to an organ-specific stop
      codon. The ApoB siRNA used in this study is provided in Table 3. The modifications
      involved introducing 2'OMe-uridine or 2'OMe-guanosine at selected positions in the sense
 5    and anti sense strands of the ApoB siRNA sequence, in which the siRNA duplex contained
      less than about 20% 2'OMe-modified nucleotides.

      Table 3. siRNA duplex comprising sense and antisense ApoB RNA polynucleotides.

     Position     Modification                    ApoB siRL'IA sequence                       %2'0Me-            % Modified in
                                                                                              Modified            DS Region
       10048        U2/2 GJ/2           5'-AGU~UCA~CACAC~GAAUACC-3'                   7/42 = 16.7%         7/38 = 18.4%
                                    3 ' - GUJ,IC'ACAGUAGUQU§.AC]JUAU - 5 '
                                                       ..
     Column 1: The number refers to the nucleotide pos1t10n of the 5' base of the sense strand relative to the mouse
     ApoB mRNA sequence XM_137955. Column 2: The numbers refor to the distribution of2'OMe chemical
10   modifications in each strand. Column 3: 2'OMe-modified nucleotides are indicated in bold and underlined. The
     siRNA duplex can alternatively or additionally comprise 2' -deoxy-2' -fiuoro (2 'F) nucleotides, 2 '-deoxy
     nucleotides, 2'-O-(2-methoxyethyl) (MOE) nucleotides, and/or locked nucleic acid (LNA) nucleotides. Column 4:
     The number and percentage of2'OMe-modified nucleotides in the siRNA duplex are provided. Column 5: The
     number and percentage of modified nucleotides in the double-stranded (DS) region of the siRNA duplex are
15   provided.


      [0348]       The lipid components and physical characteristics of the formulations are
      summarized in Table 4. The lipid:drug ratio is described in units of mg total lipid per mg
      nucleic acid. Mean particle size and polydispersity were measured on a Malvern Instruments
      Zetasizer. Encapsulation of nucleic acid was measured using a Ribogreen assay essentially as
20    described in Heyes et al., Journal of Controlled Release, 107:276-287 (2005).

      Table 4. Characteristics of the SNALP formulations used in this study.

                            Formulation Composition                  Lipid/Drug           Finished Product Characterization
      Group
                             Lipid Name & Mole %                        Ratio     Size (nm)     Polydispersity    % Encapsulation
                l'EG(2000)-C-DMA I DLinDMA I Dl'PC I Cholesterol
        2                                                                 12.4       59              0.15                93
                2 I 40 I 10 I 48
                PEG(2000)-C-DMA I DLinDMA I Cholesterol
        3                                                                 10.7       55              0.17                91
                2.2 I 44.4 I 53.3
                PEG(2000)-C-DMA I DLinDMA I DOPC I Cho lestero I
        4                                                                 12.5       59              0.16                92
                2 140 110 I 48
                l'EG(2000)-C-DMA I DLinDMA I DMPC I Cholesterol
        5                                                                 12.2       56              0.11                92
                2 I 40 I 10 I 48
                PEG(2000)-C-Dl\1-A. I DLinDMA I DPPE I Cholesterol
        6                                                                 1.3.8      66              0.16                93
                1.8 I 36.4 I 18.2 I 43.6
                PEG(2000)-C-DMA I DLinDMA I DPPC I Cholestanol
        7                                                                 [2.4       56              0. l2               92
                2 I 40 I 10 I 48
                PEG(2000)-C-DMA I DLinDMA I DPPC I Cholesterol
        8                                                                 16.5       GO              0.10                93
                1.4 I 27.0 I 6.8 I 64.9
                PEG(2000)-C-DMA. I DLinDMA I DPPC I Cholesterol
        9                                                                 18.1       74              0.13                92
                1.3 I 25.3 I 12.7160.8
                PEG(2000)-C-DMA I DLinDMA I DPPC I Cholesterol            [9.2
        l0                                                                           60              0. l3               93
                2.s 12s.o 112.s I 60.o
                PEG(2000)-C-DMA I DLinDMA I DPPC I Cholesterol
        11                                                                17.8       79              0.09                94
                1.4 I 57.l 17.4 I 34.3




                                                                     94


                                                                                                                     JA001781
                                                                                                                     GE NV-00000506
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 442 of 1274 PageID #: 8748



              PEG(2000)-C-DMA I DLinDMA I DPPC I Cholesternl
      12                                                            23.6       72             0.11                 93
              1.0 I 40.4 110.1 I 48.5
              PEG(2000)-C-DMI\. I DLinDMA I DPPC
      13                                                            8.7        73             0.09                 87
              2170128
              PEG(2000)-C-DMA I DLinDMA I DPPC
      [4                                                            ll.3       65             O. l l               87
              1.6 I 54.7 I 43.8



     [0349]      BALB/c mice (female, at least 4 weeks old) were obtained from Harlan Labs. After
     an acclimation period (of at least 7 days), animals were administered SNALP by intravenous
     (JV) injection in the lateral tail vein once daily on Study Day O (1 dose total per animal).
 5   Dosage was 1 mg encapsulated siRNA per kg body weight, con-esponding to 10 ml/kg
     (rounded to the nearest 10 µI). As a negative control, one group of animals was given an IV
     injection of phosphate buffered saline (PBS) vehicle. On Study Day 2, animals were
     euthanized and liver tissue was collected in RNAlater.
     [0350]      Liver tissues were analyzed for ApoB mRNA levels normalized against
10   glyceraldehyde-3-phosphate dehydrogenase (GAPDH) mRNA levels using the QuantiGene
     assay (Panomics; Fremont, CA) essentially as described in Judge et al., Jvfolecular Therapy,
     13 :494 (2006).
     [0351]      Figure 2 shows that the 1 :57 SNALP formulation containing ApoB 10048 U2/2
     Gl/2 siRNA was the most potent at reducing ApoB expression in vivo (see, Group 11).

15   Example 4.         ApoB siRNA Formulated as 1:57 SNALP Have Potent Silencing Activity
     in vivo.

     [0352]      SNALP formulations were prepared with the ApoB siRNA set forth in Table 3. The
     lipid components and physical characteristics of the formulations are summarized in Table 5.
     The lipid:drug ratio is described in units of mg total lipid per mg nucleic acid. Mean particle
20   size and polydispersity were measured on a Malvern Instruments Zetasizer. Encapsulation of
     nucleic acid was measured using a Ribogreen assay essentially as described in Heyes et al.,
     Journal of Controlled Release, 107:276-287 (2005).

     Table 5. Characteristics of the SNALP formulations used in this study.

                                                                             Particle Size
           SNALP (L:D ratio)               siRNA Pay load                                              % Encapsulation
                                                                           (Polydispersity)
                2:30 (13)              ApoB-10048 U2/2 Gli2                 65 nm (0.16)                      88
                 1 :57 (9)             ApoB-10048 U2/2 Gli2                 74 nm (0.10)                      89


25   [0353]      The 2:30 SN ALP formulation used in this study is lipid composition 2:30:20:48 as
     described in molar percentages of PEG-C-DMA, DLinDMA, DSPC, and cholesterol (in that




                                                               95


                                                                                                             JA001782
                                                                                                             GE NV-00000507
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 443 of 1274 PageID #: 8749



     order). This formulation was prepared by syringe press at an input lipid to drug (L:D) ratio
     (mg:mg) of 13: 1.
     [0354]   The I :57 SNALP formulation used in this study is lipid composition 1.5:57.1 :7:34.3
     as described in molar percentages of PEG-C-DMA, DLinDMA, DPPC, and cholesterol (in
 5   that order). This formulation was prepared by syringe press at an input lipid to dmg (L:D)
     ratio (mg:mg) of9:l.
     [0355]   BALB/c mice (female, 4 weeks old) were obtained from Harlan Labs. After an
     acclimation period (of at least 7 days), animals were administered SNALP by intravenous
     (IV) injection in the lateral tail vein once daily on Study Days 0, I, 2, 3 & 4 for a total of 5
10   doses per animal. Daily dosage was either 1.0 (for 2:30 SNALP) or 0.1 (for 1:57 SNALP)
     mg encapsulated siRNA per kg body weight, corresponding to 10 ml/kg (rounded to the
     nearest 10 µl). As a negative control, one group of animals was given IV injections of
     phosphate buffered saline (PBS) vehicle. On Study Day 7, 72 h after the last treatment,
     animals were euthanized and liver tissue was collected in RNAlater.
15   [03561   Liver tissues were analyzed for ApoB mRNA levels normalized against
     glyceraldehyde-3-phosphate dehydrogenase (GAPDH) mRNA levels using the QuantiGene
     assay (Panomics; Fremont, CA) essentially as described in Judge et al., A1olecular Therapy,
     13 :494 (2006).
     [0357]   Figure 3 shows that the l :57 SNALP containing ApoB 10048 U2/2 Gl/2 siRNA
20   was more than 10 times as efficacious as the 2:30 SN ALP in mediating ApoB gene silencing
     in mouse liver at a l 0-fold lower dose.

     Example 5.        ApoB siRNA Formulated as 1:57 or 1:62 SNALP Have Potent Silencing
     Activity in vivo.

     [0358]    SNALP formulations were prepared with the ApoB siRNA set forth in Table 3. The
25   lipid components and physical characteristics of the formulations are summarized in Table 6.
     The lipid:drng ratio is described in units of mg total lipid per mg nucleic acid. Mean particle
     size and polydispersity were measured on a Malvern lnstrurnents Zetasizer. Encapsulation of
     nucleic acid was measured using a Ribogreen assay essentially as described in Heyes et al.,
     Journal of Controlled Release, 107:276-287 (2005).

30




                                                     96


                                                                                              JA001783
                                                                                             GE NV-00000508
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 444 of 1274 PageID #: 8750



     Table 6. Characteristics of the SNALP formulations used in this study.

                         Formulation Composition               Lipid/Drug           ·Finished Product Characterization
     Group
                          Lipid Name & Mole%                      Ratio     Size (nm)     Polydispersity    % Encapsulation
              PEG(2000)-C-DMA i DLinDMA I DPPC I Cholesterol
       2                                                            8.9        76              0.06                 89
              1.4 I 57.l 17.1 I 34.3
              PEG(2000)-C-DMA i DLinDMA I Choles!ernl
       3                                                            8.1        76              0.04                 86
              1.5 I 61.5 I 36.9
              PEG(2000)-C-DMA I DODMA. i DPPC I Cholesterol
       4                                                            9.0        72              0.05                95
              1.4157.1 17.1 I 34.3
              PEG(S000)-C-DMA i DLinDMA I DPPC I Cholesterol
       5                                                            9.6        52              0.16                 89
              1.4 I 57.l 17.1 I 34.3
              PEG(2000)-C-DMA i DLinDMA I DPPC I Cholestanol
       6                                                            8.9        68              0.10                94
              1.4 I 57.1 I 7.1 I 34.3
              PEG(2000)-C-DMA I DLinDMA I DPPE I Cholesterol
       7                                                            8.9        72              0.07                95
              1.4 I 57.1 17.1 I 34.3
              PEG(2000)-C-DMA i DLinDMA I DPPC
       8                                                            8.6        74              0.13                 86
              1.8 I 70.2 I 28. l



     [0359]      BALB/c mice (female, at least 4 weeks old) were obtained from Harlan Labs. After
     an acclimation period (of at least 7 days), animals were administered SN ALP by intravenous
 5   (IV) injection in the lateral tail vein once daily on Study Day O (1 dose total per animal).
     Dosage was 0.75 mg encapsulated siRNA per kg body weight, corresponding to 10 ml/kg
     (rounded to the nearest 10 µl). As a negative control, one group of animals was given an IV
     injection of phosphate buffered saline (PBS) vehicle. On Study Day 2, animals were
     cuthanizcd and liver tissue was collected in RNA later.
10   [0360]     Liver tissues were analyzed for ApoB mRNA levels normalized against
     glyceraldehyde-3-phosphate dehydrogenase (GAPDH) mRNA levels using the QuantiGene
     assay (Panomics; Fremont, CA) essentially as described in Judge et al., 1vfolecular Therapy,
     13 :494 (2006).
     [0361]     Figure 4 shows that the 1 :57 and l :62 SNALP formulations had comparable ApoB
15   silencing activity in vivo (see, e.g., Groups 2 & 3).

     Example 6.        ApoB siRNA Formulated as l :62 SNALP Have Potent Silencing Activity
     in vivo.

     [0362]      SNALP formulations were prepared with the ApoB siRNA set forth in Table 3. The
     lipid components and physical characteristics of the formulations are summarized in Table 7.
20   The lipid:drug ratio is described in units of mg total lipid per mg nucleic acid. Mean particle
     size and polydispersity were measured on a Malvern Instruments Zetasizer. Encapsulation of
     nucleic acid was measured using a Ribogrecn assay essentially as described in Heyes et al.,
     Journal of Controlled Release, 107:276-287 (2005).




                                                               97


                                                                                                                JA001784
                                                                                                               GE NV-00000509
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 445 of 1274 PageID #: 8751



     Table 7. Characteristics of the SNALP formulations used in this study.

                       Formulation Composition, Mole%        Lipid/Drug           Finished Product Characterization
         Group
                   PEG(2000)-C-DMA I DLinDMA I Cholesterol      Ratio     Size (nm)        Polydispersity   % Encapsulation
           2                    1.5161.5136.9                   6.1          80                 0.07                  92

           3                    1.4 I 54.8 I 43.8               6.6          74                 0.05                  89

           4                   2.0 I 61.2 I 36.7                6.2          71                 0.11                  91

           5                    1.8 I 54.5 I 43.6               6.7          67                 0.09                  91

           6                    1.3168.1 130.6                  7.4          91                 0.06                  89

           7                    1.2161.8137.1                   8.0          87                 0.10                  90

           8                    1.7 I 67.81 30.5                7.6          81                 0.07                  91

           9                    1.4 I 56.3 I 42.3               8.6          75                 0.11                  92

          10                    1.9 I 61.3 I 36.8               8.2          72                 0.10                  91

          11                    1.8 I 56.1 I 42.1               8.8          70                 0.10                  90

          12                    1.3 I 66.7 I 32.0               9.5          89                 0.09                  89

          13                    1.2161.7137.0                   10.0         87                 0.10                  91

          14                    1.7166.4131.9                   9.6          82                 0.11                  90

          15                    1.5 I 61.5 I 36.9               10.1         79                 0.10                  91




     [0363]      BALB/c mice (female, at least 4 weeks old) were obtained from Harlan Labs. After
 5   an acclimation period (of at least 7 days), animals were administered SNALP by intravenous
     (IV) injection in the lateral tail vein once daily on Study Day O (1 dose total per animal).
     Dosage was 0.1 mg encapsulated siRNA per kg body weight, corresponding to 10 ml/kg
     (rounded to the nearest 10 µl). As a negative control, one group of animals was given an IV
     injection of phosphate buffered saline (PBS) vehicle. On Study Day 2, animals were
10   euthanized and liver tissue was collected in RNAlater.
     [0364]      Liver tissues were analyzed for ApoB mRNA levels normalized against
     glyceraldehyde-3-phosphate dehydrogenase (GAPDH) mRNA levels using the QuantiGene
     assay (Panomics; Fremont, CA) essentially as described in Judge et al., Molecular Therapy,
     13 :494 (2006).
15   [0365]      Figure 5 shows that the l :62 SNALP formulation was one of the most potent
     inhibitors of ApoB expression at two different 1ipid:drug ratios (i.e., 6.1 & 10.1) among the
     phospholipid-free SNALP fonnulations tested (see, Groups 2 & 15).

     Example 7.        In vivo Silencing of ApoB Expression Using 1:57 SNALP Prepared Via a
     Syringe Press or Gear Pump Process.
20   [0366]      This study illustrates a comparison of the tolerability and efficacy of the 1 :57
     SNALP formulation with ApoB- targeting siRNA as prepared by various manufacturing
     processes. In particular, 1 :57 SNALP was prepared by a syringe press or gear pump process




                                                             98


                                                                                                                 JA001785
                                                                                                                 GENV-00000510
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 446 of 1274 PageID #: 8752



     using either PBS or citrate buffer (post-blend dilution) and administered intravenously in
     mice.

     Experimental Design
     [0367]        Animal Model: Female BALB/c mice, 5 wks old, n=4 per group/cage.
 5   l0368J        siRNA payload: ApoB10048 U2/2 Gl/2 siRNA.

     Tolerability:

                                                                              IV Injection
         Group                        Fonnulation
                                                                    siRNA mg/kg         Lipid mg/kg
              1                        PBS vehicle                     Standard 10 mL/kg volume
              2           1157 Citrate Direct Dil, Syringe Press          7                  77
              3            1157 PBS Direct Di!, Svringe Press             7                  96
              4             1157 PBS Direct Dil, Gear Pump                7                  79
              5           1157 Citrate Direct Dil, Syringe Press          9                  99
              6            1157 PBS Direct Dil, Syringe Press             9                 123
              7             1157 PBS Direct Dil, Gear Pump                9                 102


     Efficacy:

                                                                              IV Iniection
         Group                        Formulation
                                                                    siRNA mg/kg         Lipid mg/kg
              8                      PBS vehicle                       Standard l 0 mL/kg volume
              9            1157 PBS Direct Dil, Syringe Press           0.05                0.68
             10             1157 PBS Direct Dil, Gear Pump              0.05                0.57
             11            1157 PBS Direct Dil, Syringe Press            0.1                1.36
             12             1157 PBS Direct Dil, Gear Pump               0.1                1.13


IO   Formulation:

     [0369]        Formulations are provided at 0.005 to 0.9 mg siRNA/mL, 0.22 µm filter sterilized in
     crimp top vials.
     l0370J        Formulation Details:
              1.        Lipid composition "1157 Citrate blend" used in this study is 1.4:57.1:7.1:34.3
15                      as described in molar percentages of PEG-C-DMA, DLinDMA, DPPC, and
                        cholesterol (in that order). This formulation has an input lipid to drug ratio of
                        8.9.
              2.        Gear pump set up included 0.8 mm T-connector and 400 mL/min speed.
              3.        siRNA used in this study is apoB-10048 U2/2 Gl/2 siRNA.
20




                                                          99


                                                                                               JA001786
                                                                                               GENV-00000511
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 447 of 1274 PageID #: 8753



     [0371]    Formulation Summary:

                                                              Particle Size             Final L:D
                        1:57 (9:1) + DOW siRNA    Zavq (nm)       Poly        % Encap   (mq:mq)
        322-050807-1       Syringe PBS Blend         79           0.12          92        13.6
        322-050807-2      Syringe Citrate Blend      86           0.11          91        11.0
        322-050807-3        Gear PBS Blend           80           0.09          93        11.3


 5   Procedures
     [0372]    Treatment: Just prior to the first treatment, animals are weighed and dose amounts
     are calculated based on the weight of individual animals ( equivalent to 10 mL/kg, rounded to
     the nearest 10 µl). Test article is administered by IV injection through the tail vein once on
     Day 0 (1 dose total per animal). Body weight is measured daily (every 24 h) for the duration
10   of the study. Cage-side observations are taken daily in concert with body weight
     measurements and additionally as warranted.
     [0373]    Group 1-7 Endpoint: Animals are sacrificed on Day 1, 24 h after test article
     administration. Blood is collected by cardiac puncture upon sacrifice. Whole amount is
     collected into a SST microtainer for serum. Clot for 30 (to 60) min at room temp., centrifuge
15   for 5 min at 16,000xg & 16°C, invert to confirm centrifugation is complete, and store at 4 °C.
     Analyze complete small-animal clinical chemistry panel plus AST and SDH. Top priority
     list: ALT, AST, SDH, Bilirubin, Alkaline Phosphatase, GGT, BUN, CPK, Glucose.
     Secondary priority list: Creatinine, Albumin, Globulin, Total Protein.
     [0374]    Group 8-12 Endpoint: Animals are sacrificed on Day 2, 48 h after test article
20   administration. Blood is collected by cardiac puncture and processed for plasma.
     Immediately centrifuge for 5 min at 16,000xg (at 16°C). Record any observations of unusual
     plasma appearance. Pipette off clear plasma supernatant into a clean microfuge tube and
     store at -80°C. The following tissues are removed and weighed separately: liver and spleen.
     The bottom (unattached) half of the left liver lobe is detached and submerged in?: 5 volumes
25   of RNAlater (< 0.3 gin 1.5 mL RNAlater in 2.0 mL tube), stored at least 16 hours at 4°C
     prior to analysis and long term storage at -20°C or -80°C for archival purposes. Formulations
     are expected to be well tolerated. Mice which exhibit signs of distress associated with the
     treatment arc terminated at the discretion of the vivarium staff.
     [0375]    Termination: Mice are anaesthetized with a lethal dose ofketamine/xylazine; then
30   cardiac puncture is perfonned followed by cervical dislocation.
     [0376]    Data Analysis: Tolerability of treatment regime is monitored by animal appearance
     and behavior as well as body weight. Blood clinical chemistry is measured by automated
     analyzer. ApoB and GAPDH mRNA levels in liver are measured via QG assay. ApoB


                                                     100


                                                                                             JA001787
                                                                                            GENV-00000512
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 448 of 1274 PageID #: 8754



     protein in plasma is measured via ELISA. Total cholesterol in plasma is measured via
     standard enzymatic/colorimetric assay.

     Results
     [0377]       There was no body weight loss or change in animal appearance/behavior upon
 5   administration of the 1 :57 SNALP formulations. Figure 6 shows that the tolerability of
     SN ALP prepared by citrate buffer versus PBS direct dilution did not differ significantly in
     terms of blood clinical chemistry parameters. There was a tolerability difference between
     syringe citrate and syringe PBS at constant siRNA dosage, but that was likely an artifact
     dependent on the different final lipid:drug (L:D) ratios of these two preparations.
10   f03781       Figure 7 shows that the efficacy of the 1 :57 SNALP prepared by gear pump was
     similar to the same SNALP prepared by syringe press. The tolerability profile was improved
     with the gear pump process, which could be attributed to increased initial encapsulation rate
     and decreased final L:D ratio.

     Example 8.        In vivo Silencing of ApoB Expression Using 1:57 SNALP Prepared Via a
15   Direct Dilution or In-Line Dilution Process.
     [0379]       This study illustrates a comparison of the tolerability and efficacy of the 1:57
     SNALP formulation with ApoB-targeting siRNA as prepared by a direct dilution or in-line
     dilution process at an input lipid to drug ratio of 6: 1 or 9: 1.

     Experimental Design
20   [0380]       Animal Model: Female BALB/c mice, 7 wks old.
     [0381]       siRNA payload: ApoB10048 U2/2 Gl/2 siRNA.



                         #                                                    IV Dosage
          Group                           Test Article
                       Mice                                        Encao. siRNA       Total Lioid
              1         3                    PBS                            -               -
              2         3              1157 SNALP (9: 1)                  7 mg/kg      71 mg/kg
              3         3              1157 SNALP (9: l)                 11 mg/kg      112 mg/kg


     Clinical Chemistry:

                         #                                                   IV Dosage
          Group                           Test Article
                       Mice                                       Encap. siRNA    Total Lipid
              4          4                   PBS                            -               -
              5          4             1157 SNALP (9:1)                   9 mg/kg      92 mg/kg
              6          4             1157 SNALP (9:1)                  11 mg/kg      112 mg/kg
              7          4          (6:1) New 1157 SNALP                 11 mg/kg      78 mg/kg



                                                         101


                                                                                                JA001788
                                                                                                GENV-00000513
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 449 of 1274 PageID #: 8755



               8          4          (6:1) New 1157 SNALP                  13 mg/kg             93 mg/kg
              9           4          (6:1) New 1157 SNALP                  15 mg/kg             107 mg/kg
              10          4          (6: l) New 1157 SNALP                 17 mg/kg             121 mg/kg
              11          4              1157 SNALP (9: 1)                 11 mg/kg             112 mg/kg


     Activity:

                         #                                                       IV Dosage
           Group                          Test Article
                        Mice                                          Encau. siRNA       Total Liuid
              12         4                   PBS                               -                    -
              13         4             1157 SNALP (9: 1)                0.05 mg/kg              0.51 mg/kg
              14         4             1157 SNALP (9: l)                0.1 mg;kg               1.02 mg/kg
              15         4             1157 SN ALP (9: 1)               0.2 mg/kg               2.04 mg/kg
              16         4          (6:1) New 1157 SNALP                0.05 mg/kg              0.36 mg/kg
              17         4          (6:1) New 1157 SNALP                 0.1 mg/kg              0.71 mg/kg
              18         4          (6:1) New 1157 SNALP                 0.2 mg/kg              1.42 mg/kg
              19         4          (6:1) New 1157 SNALP                 0.4 mg/kg              2.85 mg/kg


     Formulation:

 5   [0382]        Formulations arc provided at 0.005 to 1.7 mg siRNA/mL, 0.22 µm filter sterilized in
     crimp top vials.
     [0383]        Formulation Details:
              1.        "1157 SNALP" used in this study is lipid composition 1.4:57.1 :7.1 :34.3 as
                        described in molar percentages of PEG-C-DMA, DLinDMA, DPPC, and
10                      cholesterol (in that order). This formulation was prepared by gear pump at an
                        input lipid to drug ratio of 9: 1 (28 mM lipids) or 6: 1 (14 mM lipids).
              2.        siRNA used in this study is apoB-10048 U2/2 Gl/2 siRNA.
     [0384]        Formulation Summary:

                                 1157 SNALP                          Particle Size                  Final L:D
                               Gear PBS In-Line          Zavg (nm)       Poly         % Encap       (mg:mg)
15   I   322-051407-1              lnout 9:1                78           0.07           93            10.2
     I   322-051407-2              Input 6:1                81           0.05           92             7.1



     Procedures
     f0385]        Treatment: Just prior to the first treatment, animals are weighed and dose amounts
     are calculated based on the weight of individual animals ( equivalent to 10 mL/kg, rounded to
20   the nearest 10 µl). Test article is administered by IV injection through the tail vein once on
     Day O (1 dose total per animal). Body weight is measured daily (every 24 h) for the duration
     of the study. Cage-side observations are taken daily in concert with body weight
     measurements and additionally as warranted.



                                                            102


                                                                                                         JA001789
                                                                                                        GENV-00000514
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 450 of 1274 PageID #: 8756



     [0386]    Endpoint: Animals are sacrificed on Day 1, 24 h after test article administration
     (Grps 1-10) or on Day 2, 48 h after test article administration (Grps 11-19).
     [0387]    Groups 1-3: Blood is collected by cardiac puncture upon sacrifice. Whole amount
     is collected into an EDTA microtainer, mixed immediately to prevent coagulation, and sent
 5   for analysis of CBC/Di ff profile. Perform brief necropsy.
     [0388]    Groups 4-11: Blood is collected by cardiac puncture into a SST microtainer for
     sernm. Clot for 30 (to 60) min at room temp., centrifuge for 5 min at 16,000xg & 16°C,
     invert to confirm centrifugation is complete, and store at 4°C. Analyze complete small-
     animal clinical chemistry panel plus AST and SDH. Top priority list: ALT, AST, SDH,
10   Bilirubin, Alkaline Phosphatase, GGT, BUN, CPK, Glucose. Secondary priority list:
     Creatinine, Albumin, Globulin, Total Protein. Perform brief necropsy.
     [0389]    Groups 12-19: Blood is collected by cardiac puncture and processed for plasma:
     immediately centrifuge for 5 min at 16,000xg (at l6°C). Record any observations of unusual
     plasma appearance. Pipette off clear plasma supernatant into a clean microfuge tube and
15   store at -80°C. The following tissues are removed: liver. The liver is not weighed; the
     bottom (unattached) half of the left liver lobe is detached and submerged in~ 5 volumes of
     RNAlater (< 0.3 gin 1.5 mL RNAlater in 2.0 mL tube), stored at least 16 hours at 4°C prior
     to analysis and long term storage at-80°C. Formulations are expected to be well tolerated.
     Mice which exhibit signs of distress associated with the treatment are terminated at the
20   discretion of the vivarium staff.
     [0390]    Termination: Mice are anaesthetized with a lethal dose ofketamine/xylazine; then
     cardiac puncture is performed followed by cervical dislocation.
     [0391]    Data Analysis: Tolerability of treatment regime is monitored by animal appearance
     and behavior, and body weight. Blood clinical chemistry and CBC/Diff profile is measured
25   by automated analyzer. Liver ApoB mRNA is measured using the QuantiGene Assay.
     Plasma ApoB-100 is measured using ELISA. Plasma total cholesterol is measured using a
     standard enzymatic assay.

     Results

     Tolerability:

30   [0392]    Figure 8 shows that there was very little effect on body weight 24 hours after 1 :57
     SNALP administration. The maximum weight loss of 3.6 ± 0.7% was observed at the highest
     drug dose of 17 mg/kg. There was also no obvious change in animal appearance/behavior at
     any of the dosages tested.


                                                   103


                                                                                           JA001790
                                                                                          GENV-00000515
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 451 of 1274 PageID #: 8757



     [0393]      Figure 9 shows that there were no obvious changes in platelet count. Reduction of
     platelets can cause the mean platelet volume to increase as the body produces new platelets in
     compensation for the treatment-related decrease. Under the conditions of this study, the
     mean platelet volume did not change in SNALP-treated groups.
 5   [0394]      Figure 10 shows that clinically significant liver enzyme elevations (3xULN)
     occurred at drug dosages of 11 mg/kg for l:57 SNALP at a lipid:drug (L:D) ratio of 10, and
     at 13 mg/kg at a L:D of 7. A slight dose response trend upwards in plasma total protein and
     globulin was also observed.

     Ejjicacy:

10   [0395]      Figure 11 shows that based on the liver mRNA QuantiGene analysis, the potency of
     the lower L:D SNALP was as good as that of the higher L:D SNALP at the tested drug
     dosages. In fact, the ApoB silencing activity was identical at the 0.05 and 0.1 mg/kg dosages.
     As such, the potency of the 1 :57 SNALP at a 6:1 input L:D ratio (final ratio of 7:1) was
     similar to the potency of the 1 :57 SNALP at a 9:1 input L:D ratio (final ratio of 10:l) at
15   reducing ApoB expression.
     [0396]      Figure 12 shows that ApoB protein and total cholesterol levels were reduced to a
     similar extent by the l :57 SNALP at a 6: 1 input L:D ratio (final ratio of 7: l) and the l :57
     SNALP at a 9:1 input L:D ratio (final ratio of 10:1).

     Therapeutic Index:
20   [0397]      This study demonstrates that both the 1:57 SNALP at a 6:1 input L:D ratio (final
     ratio of7:1) and the 1:57 SNALP at a 9:1 input L:D ratio (final ratio of 10:1) caused about
     60% ApoB liver mRNA silencing with a drug dose of 0.1 mg/kg. ]nterpolating from the
     available data points in Figure 10, a 10:1 final L:D ratio at 10 mg/kg may cause a similar
     degree of enzyme elevation as a 7: 1 final L: D ratio at 13 mg/kg. Using these activity and
25   toxicity points, the therapeutic index for the 1 :57 SNALP at a 10: 1 final L:D ratio is (10
     mg/kg)/ (0.1 mg/kg)= 100 and the therapeutic index for the 1 :57 SNALP at a 7: 1 final L:D
     ratio is (13 mg/kg)/ (0.1 mg/kg) = 130. Using this dataset, the therapeutic index for the 1 :57
     SNALP at a 7: 1 final L:D ratio is 30% greater than the therapeutic index for the 1 :57 SNALP
     at a 10:1 final L:D ratio.




                                                     104


                                                                                              JA001791
                                                                                              GENV-00000516
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 452 of 1274 PageID #: 8758



     Example 9.        In vivo Silencing of PLK-1 Expression Using 1:57 SNALP Increases
     Survival of Hep3B Tumor-Bearing Mice.
     [0398]     SNALP containing polo-like kinase l (PLK-1) siRNA (] :57 SNALP formulation:
     1.4% PEG-cDMA; 57. l % DLinDMA; 7.1 % DPPC; and 34.3% cholesterol) were tested for
 5   their effects on the survival of CDl nu/nu mice bearing Hep3B liver tumors. PLK-1 is a
     serine/threonine kinase containing two functional domains: (1) a kinase domain; and (2) a
     polo-box domain (see, e.g., Ban et al., Nat. Rev. 1\dol. Cell Biol., 5 :429-440 (2004)). The
     activity and cellular concentration of PLK-1 are crucial for the precise regulation of cell
     division. PLK-1 is overexpressed in many cancer types including hepatoma and colon
10   cancer, and PLK-1 expression often correlates with poor patient prognosis. Overexpression
     of PLK-1 (wild-type or kinase inactive) results in multinucleation (genetic instability).
     Hyperactive PLK-1 overrides the DNA damage checkpoint. Constitutive PLK-1 expression
     causes transformation of NIH 3T3 cells. PLK-1 phosphorylatcs the p53 tumor suppressor,
     thereby inhibiting the pro-apoptotic effects of p53. The PLK-1 siRNA used in this study arc
15   provided in Table 8. The modifications involved introducing 2'OMe-uridine or 2'OMe-
     guanosine at selected positions in the sense and antisense strands of the PLK-1 siRNA
     sequence, in which the siRNA duplex contained less than about 20% 2'OMe-modified
     nucleotides.

     Table 8. siRNA duplexes comprising sense and antisense PLK-1 RNA polynucleotides.

            siRNA                                PLK-1 siRNA Sequence                               % Modified in
                                                                                                     DS Region
      PLK1424 U4/GU              5' -.AGA:QCACCC!!CCU:QAAA:Q.ANN-3'          (SEQ ID   N0.57)          6/38 = 15.8%
                              3'-NNUC1!:AGUGGGAG~AAUUUAU-5'                  (SEQ ID   N0.54)

       PLK1424 U4/G              5'-AGA:QCACCC!!CCU!!AAA!!ANN-3'             (SEQ ID   NO. 57)         7/38 = 18.4%
                              3'-NNUCUAQUGQGAQGAAUUUAU-5'                    (SEQ ID   N0.56)

20   Column 1: The number aft.er "PLK" refers to the nucleotide position of the 5' base of the sense strand relative to
     the start codon (ATG) of the human PLK-1 mRNA sequence NM_005030. Column 2: 2'-O-methyl (2'OMe)
     nucleotides are indicated in bold and underlined. The siRNA duplex can alternatively or additionally comprise 2'-
     deox y-2 ' -fluoro (2 'F) nucleotides, 2' -deoxy nucleotides, 2 '-O-( 2-methoxyethy1) (MOE) nucleotides, and/or
     locked nucleic acid (LNA) nucleotides. N = dcoxythymidine (dT) nucleotide, uric.line (U) ribonuclcotide, or
25   ribonucleotide having complementarity to the target sequence or the complementary strand thereof. Column 3:
     The number and percentage of modified nucleotides in the double-stranded (DS) region ofthe siRNA duplex are
     provided.

     Experimental Groups
     [0399]     20 CDl nu/nu mice were seeded as follows:

      Group       #       Tumor        SN.ALP        #        SNALP           SN.ALP       Sacrifice         Assay
                Mice     seeding                   Mice      dosing IV         close




                                                           105


                                                                                                           JA001792
                                                                                                          GENV-00000517
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 453 of 1274 PageID #: 8759



        A                  I.H.       Luc 1 :57       9      Days 11, 14,
              20 to                                                           10 X 2     When        Survival
                                  6
                        l.5xl0        PLK 1424              17, 21, 25, 28,
        B     seed                                    9                       mg/kg     moribund   Body Weights
                        Hcp3B            1:57               32, 35,39,42




     Test Articles
     [0400]   AU samples were filter-sterilized prior to dilution to working concentration. All
     tubes were labeled with the formulation date, lipid composition, and nucleic acid
 5   concentration. SN ALP samples were provided at 0.2 mg/ml nucleic acid. A minimum of 20
     ml of each SN ALP was required to perform the study. Formulations for this study contained:

                      Group                            Test Article Description
                       A                           Luc U/U SNALP 1 :57 (28mM lipid)
                       B                    PLK1424 U4/GU SNALP 1:57 (28rnM lipid)
                                                PLK1424 U4/G SNALP 1:57 (28rnM lipid)



     Procedures
     DayO                         Mice will receive Anafen by SC injection (100 µgin 20 µl saline)
10                                immediately prior to surgery. Individual mice are anesthetized by
                                  isoflourane gas inhalation and eye lube applied to prevent excessive
                                  eye drying. While maintained under gas anesthesia from a nose cone,
                                  a single l .5 cm incision across the midline will be made below the
                                  sternum. The left lateral hepatic lobe is then exteriorized using an
]5                                autoclaved cotton wool bud. 25 µl of tumor cells suspended in PBS is
                                  injected into the lobe at a shallow angle using a leur tip Hamilton
                                  syringe (50 µl) and 30G (3/8") needle. Cells will be injected slowly
                                  (~ 30 s) and a swab applied to the puncture wound immediately after
                                  needle withdrawal. After any bleeding has stopped ( ~ 1 min), the
20                                incision is closed with 5-6 sutures in the muscle wall and 3-4 skin
                                  clips. Cell suspensions will be thoroughly mixed immediately prior to
                                  each injection. Mice will recover from anesthesia in a clean cage
                                  lined with paper towel and monitored closely for 2-4 hours. Animals
                                  are then returned to normal housing.




                                                            106


                                                                                                    JA001793
                                                                                                   GENV-00000518
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 454 of 1274 PageID #: 8760



     Day 1                   All mice will be lightly anesthetized by isoflourane gas and the
                             sutures examined. Animals will then receive Anafen by SC injection
                             (100 µ.g in 20 µ.! sat ine).

     Day 10                  Mice will be randomized into the appropriate treatment groups.

 5   Day 11                  Groups A, B - Day 11: All Animals will be administered SNALP at
                             2 mg/kg by IV injection via the lateral tail vein. Mice will be dosed
                             according to body weight ( 10 ml/kg). Dosing will be repeated for 5
                             consecutive days based on initial weight.

     Day 14-35               Groups A, B - Days 14, 17, 21, 25, 28, 32, 35: All Animals will be
10                           re-administered SNALP at 2 mg/kg by IV injection via the lateral tail
                             vein. Mice will be dosed according to body weight (10 ml/kg).

                             Body weights Groups: Mice will be weighed on the day of dosing
                             for 5 weeks, then twice weekly until close of the study.

                             Endpoint: Tumor burden and formulations are expected to be well
15                           tolerated. Mice that exhibit signs of distress associated with the
                             treatment or tumor burden arc terminated at the discretion of the
                             vivarium staff.

     Termination:            Mice are anesthetized with a lethal dose of ketamine/xylazine
                             followed by cervical dislocation.

20   Data Analysis:          Survival and body weights are assayed.

     Results
     [0401]    Figure 13 shows the mean body weights of mice during therapeutic dosing of
     PLK1424 SNALP in the Hep3B intrahepatic (I.H.) tumor model. The treatment regimen was
     well tolerated with no apparent signs of treatment-related toxicity.
25   l0402J    Figure 14 shows that treatment with 1 :57 SNALP-formulated PLK1424 caused a
     significant increase in the survival of Hep3B tumor-bearing mice. This in vivo anti-tumor
     effect was observed in the absence of any apparent toxicity or immune stimulation.

     Example 10. In vivo Silencing of PLK-1 Expression Using 1:57 SNALP Induces Tumor
     Cell Apoptosis in Hep3B Tumor-Bearing Mice.
30   [0403]    The objectives of this study were as follows:




                                                      107


                                                                                           JA001794
                                                                                           GENV-00000519
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 455 of 1274 PageID #: 8761



              1.          To determine the level of mRNA silencing in established Hep3B liver tumors
                          following a single IV administration of PLK1424 SNALP.
              2.          To confirm the mechanism of mRNA silencing by detecting specific RNA
                          cleavage products using RACE-PCR.
 5            3.          To confirm induction of tumor cell apoptosis by histopathology.

     [0404]        The I :57 SN ALP formulation (1.4% PEG-cDMA; 57.1 % DLinDMA; 7.1 % DPPC;
     and 34.3% cholesterol) was used for this study.

     Experimental Groups
     [0405]        20 SClD/beige mice were seeded as follows:

      Group         #       Tumor          SNALP      #           SNALP         Sacrifice         Assay
                   Mice     seeding                  Mice        dosing IV

                                            PBS        6                                        TumorQG
        A                    I.H.
                   2010                   Luc 1:57     7        l x 2 mg/kg     24 h after
                             lxl0 6                                                          Tumor RACE-PCR
        B          seed                   PLK 1424                Day 20        treatment
                            Hep3B                      7
        C                                   I :57                                             Histopathology

10

     Test Articles
     [0406]        All samples were filter-sterilized prior to dilution to working concentration. All
     tubes were labeled with the formulation date, lipid composition, and nucleic acid
     concentration. SN ALP samples were provided at 0.2 mg/ml nucleic acid. A minimum of 2
15   ml of SNALP was required to perform the study. Formulations for this study contained:

                          Group                            Test Article Description
                            A                                        PBS
                             B                              Luc U/U 1:57 SNALP
                             C                       PLK1424 U4/GU 1:57 SNALP




     Procedures
     DayO                             Mice will receive Anafen by SC injection (100 µgin 20 µl saline)
                                      immediately prior to surgery. Individual mice are anesthetized by
20                                    isoflouranc gas inhalation and eye lube applied to prevent excessive
                                      eye drying. While maintained under gas anesthesia from a nose cone,
                                      a single 1.5 cm incision across the mid line will be made below the



                                                               108


                                                                                                          JA001795
                                                                                                          GE NV-00000520
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 456 of 1274 PageID #: 8762



                       sternum. The left lateral hepatic lobe is then exteriorized using an
                       autoclaved cotton wool bud. 25µ1 of tumor cells suspended in PBS is
                       injected into the lobe at a shallow angle using a leur tip Hamilton
                       syringe (50 µI) and 30G (3/8") needle. Cells will be injected slowly
 5                     (~30 s) and a swab applied to the puncture wound immediately after
                       needle withdrawal. After any bleeding has stopped (-1 min), the
                       muscle wall incision is closed with 5-6 sutures. The skin incision is
                       then closed with 3-4 metal skin clips. Cell suspensions will be
                       thoroughly mixed immediately prior to each injection. Mice will
10                     recover from anesthesia in a clean cage lined with paper towel and
                       monitored closely for 2-4 hours. Animals are then returned to normal
                       housing.

     Day 1             All mice will be lightly anesthetized by isoflourane gas and the
                       sutures examined. Animals will then receive Anafen by SC injection
]5                     (100 µgin 20 µl saline).

     Day7              Mice will be randomized into the appropriate treatment groups.

     Day20             Groups A-C: Mice will be weighed and then administered either
                       PBS, Luc, or PLK1424 SNALP by IV injection via the lateral tail
                       vein. SN ALP will be dosed at 2 mg/kg or equivalent volume (10
20                     ml/kg) according to body weight.

     Day21             Groups A-C: All mice will be weighed and then euthanized by lethal
                       anesthesia.

                       Tumor bearing liver lobes from all mice in each group will be
                       weighed and collected into RNALater for RNA analysis.

25                     Endpoint: Tumor burden and fonnulations are expected to be well
                       tolerated. Mice that exhibit signs of distress associated with the
                       treatment or tumor burden are terminated at the discretion of the
                       vivarium staff.

     Termination:      Mice are anaesthetized with a lethal dose of ketamine/xylazine
30                     followed by cervical dislocation.




                                             109


                                                                                     JA001796
                                                                                     GE NV-00000521
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 457 of 1274 PageID #: 8763



     Data Analysis:          mRNA analysis ofliver tumors by bDNA (QG) assay and RACE-
                             PCR.

                             Tumor cell apoptosis by histopathology.

     Results
 5   [04071    Body weights were monitored from Day 14 onwards to assess tumor progression.
     On Day 20, 6 mice showing greatest weight loss were randomized into each of the 3 groups
     and treated. All six mice had substantial-large I.H. tumors at sacrifice (Day 21). Treatment
     of the remaining 14 mice was therefore initiated on the Day 21 (sacrifice Day 22). 10/14
     mice had substantial tumors; 2/14 mice had small/probable tumors; and 2/14 mice had no
lO   visible tumor burden.
     [0408]    Figure 15 shows data from Quantigene assays used to measure human (tumor)-
     specific PLK-1 mRNA levels. A single 2 mg/kg dose of 1 :57 SNALP reduced PLK-1 mRNA
     levels by about 50% in intrahepatic Hep3B tumors growing in mice.
     [04091    Figure 16 shows that a specific cleavage product of PLK-1 mRNA was detectable in
15   mice treated withPLK1424 SNALP by 5' RACE-PCR. No specific PCRproduct was
     detectable in mice treated with either PBS or control (Luc) SNALP. Nucleotide sequencing
     of the PCR product confirmed the predicted cleavage site by PLK1424 siRNA-mediated
     RNA interference in the PLK-1 mRNA.
     [041 OJ   Figure 17 shows Hep3B tumor histology in mice treated with either Luc SN ALP
20   (top) or PLK1424 SNALP (bottom). Luc SNALP-treated mice displayed normal mitoses in
     Hep3B tumors, whereas PLK1424 SNALP-treated mice exhibited numerous aberrant mitoses
     and tumor cell apoptosis in Hep3B tumors.

     Conclusion
     [0411]    This example illustrates that a single administration of PLK1424 1 :57 SNALP to
25   Hep3B tumor-bearing mice induced significant in vivo silencing of PLK-1 mRNA. This
     reduction in PLK-1 mRNA was confirmed to be mediated by RNA interference using 5'
     RACE-PCR analysis. Importantly, PLK-1 mRNA silencing by the I :57 SNALP formulation
     profoundly disrupted tumor cell proliferation (mitosis), causing subsequent apoptosis of
     tumor cells. As demonstrated in the previous example, this anti-tumor effect translated into
30   extended survival times in the tumor-bearing mice.




                                                  110


                                                                                         JA001797
                                                                                        GE NV-00000522
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 458 of 1274 PageID #: 8764



     Example 11. Comparison of 1:57 PLK-1 SNALP Containing Either PEG-cDMA or
     PEG-cDSA in a Subcutaneous Hep3B Tumor Model.
     [0412]    This example demonstrates the utility of the PEG-lipid PEG-cDSA (3-N-[(-
     Methoxypoly( ethylene glycol)2000)carbamoyl]- l ,2-distearyloxypropylamine) in the l :57
 5   formulation for systemically targeting distal (e.g., subcutaneous) tumors. ln particular, this
     example compares the tumor targeting ability of 1 :57 PLK-1 SNALPs containing either PEG-
     cDMA (C 14 ) or PEG-cDSA (C 18 ). Readouts are tumor growth inhibition and PLK] mRNA
     silencing. The PLK-1 siRNA used was PLK1424 U4/GU, the sequence of which is provided
     in Table 8.
10   [0413]    Subcutaneous (S.C.) Hep3B tumors were established in scid/beige mice. Multidose
     anti-tumor efficacy of l :57 PLK-1 SNALP was evaluated for the following groups (n=5 for
     each group): (1) "Luc-cDMA" - PEG-cDMA Luc SNALP~ (2) "PLK-cDMA" - PEG-cDMA
     PLK-1 SNALP; and (3) "PLK-cDSA" - PEG-cDSA PLK-1 SNALP. Administration of 6 x
     2mg/kg siRNA was initiated once tumors reached about 5 mm in diameter (Day 10). Dosing
15   was performed on Days 10, 12, 14, 17, 19, and 21. Tumors were measured by caliper twice
     weekly.
     [0414]    Figure 18 shows that multiple doses of 1 :57 PLK-1 SNALP containing PEG-cDSA
     induced the regression of established Hep3B S.C. tumors. In particular, 5/5 tumors in the
     PLKl-cDSA treated mice appeared flat, measurable only by discoloration at the tumor site.
20   [0415]    Figure 19 shows the mRNA silencing of 1 :57 PLK SNALP in S.C. Hep3B tumors
     following a single intravenous SNALP administration. The extent of silencing observed with
     the PLKl-cDSA SNALP correlated with the anti-tumor activity in the multi-dose study
     shown in Figure 18.
     [0416]    The Luc-cDMA SNALP-treated group, which had developed large S.C. tumors at
25   Day 24, were then administered PLK-cDSA SNALP on Days 24, 26, 28, 31, 33, and 35.
     There was no additional dosing of the original PLK-1 SN ALP-treated groups. The results
     from this crossover dosing study with large established tumors is provided in Figure 20,
     which shows that PLKl-cDSA SNALP inhibited the growth oflarge S.C. Hep3B tumors.
     [0417]    A comparison ofthe effect ofPEG-cDMA and PEG-cDSA 1:57 SNALPs on PLK-1
30   mRNA silencing was performed using established intrahepatic Hep3B tumors in scid/bcige
     mice. A single 2 mg/kg dose of 1:57 PLK-1 SNALP containing either PEG-cDMA or PEG-
     cDSA was administered intravenously. Liver/tumor samples were collected at 24 and 96
     hours after SNALP treatment. Control= 2 mg/kg Luc-cDMA SNALP at 24 hours.



                                                   111


                                                                                           JA001798
                                                                                           GE NV-00000523
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 459 of 1274 PageID #: 8765



     [0418]    Figure 21 shows that PLK-cDMA SNALP and PLK-cDSA SNALP had similar
     silencing activities after 24 hours, but that the PLK-cDSA SNALP may increase the duration
     of mRNA silencing in intrahepatic tumors.
     [0419]    Figure 22 shows the blood clearance profile of 1:57 PLK-1 SNALP containing
 5   either PEG-cDMA or PEG-cDSA. The extended blood circulation times observed for the
     PLK-cDSA SNALP may enable the increased accumulation and activity at distal (e.g.,
     subcutaneous) tumor sites.
     [0420]    Thus, this study shows that the l :57 PEG-cDSA SNALP formulation can be used to
     preferentially target tumors outside of the liver, whereas the 1 :57 PEG-cDMA SNALP can be
10   used to preferentially target the liver.

     Example 12. Synthesis of Cholesteryl-2'-Hydroxyethyl Ether.
     [0421]    Step l: A 250 ml round bottom flask containing cholesterol (5.0 g, 12.9 mmol) and
     a stir bar was scaled and flushed with nitrogen. Tolucncsulphonyl chloride (5.0 g, 26.2
     mmol) was weighed into a separate 100-mL round bottom flask, also sealed and flushed with
l5   nitrogen. Anhydrous pyridine (2 x 50 ml) was delivered to each flask. The toluenesulphonyl
     chloride solution was then transferred, via cannula, into the 250 ml flask, and the reaction
     stirred overnight. The pyridine was removed by rotovap, and methanol (80 ml) added to the
     residue. This was then stirred for 1 hour until a homogeneous suspension was obtained. The
     suspension was filtered, washed with acetonitrile (50 ml), and dried under vacuum to yield
20   cholesteryl tosylate as a fluffy white solid (6.0 g, 86%).
     [0422]    Step 2: Cholesteryl tosylate (2.0 g, 3.7 mmol), 1,4-dioxane (50 mL), and ethylene
     glycol (4.6 g, 74 mmol) were added to a 100 ml flask containing a stir bar. The flask was
     fitted with a condenser, and refluxed overnight. The dioxane was then removed by rotovap,
     and the reaction mixture suspended in water (100 ml). The solution was transferred to a
25   separating funnel and extracted with chloroform (3 x 100 ml). The organic phases were
     combined, washed with water (2 x 150 ml), dried over magnesium sulphate, and the solvent
     removed. The crude product was purified by column chromatography (5% acetone/hexane)
     to yield the product as a white solid (1.1 g, 69%).
     [0423]    The structures of the cholesterol derivatives cholesteryl-2' -hydroxyethyl ether and
30   cholesteryl-4 '-hydroxybutyl ether are as follows:




                                                    112


                                                                                           JA001799
                                                                                          GE NV-00000524
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 460 of 1274 PageID #: 8766




                       HO~
                          0

                                        Cholesteryl-2'-hydroxyethyl ether




              HO~O
 5

                                        Cholesteryl-4'-hydroxybutyl ether



     [0424]      It is to be understood that the above description is intended to be illustrative and not
]0   restrictive. Many embodiments will be apparent to those of skill in the art upon reading the
     above description. The scope of the invention should, therefore, be determined not with
     reference to the above description, but should instead be determined with reference to the
     appended claims, along with the full scope of equivalents to which such claims are entitled.
     The disclosures of all articles and references, including patent applications, patents, PCT
15   publications, and Genbank Accession Nos., are incorporated herein by reference for all
     purposes.




                                                      113


                                                                                               JA001800
                                                                                              GE NV-00000525
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 461 of 1274 PageID #: 8767



     WHAT lS CLAlMED lS:

 I                  1.       A nucleic acid-lipid particle comprising:
 2                  (a) a nucleic acid;
 3                  (b) a cationic lipid comprising from about 50 mol % to about 85 mol % of the
 4                       total lipid present in the particle;
 5                  (c) a non-cationic lipid comprising from about 13 mol % to about 49.5 mol %
 6                       of the total lipid present in the particle; and
 7                  ( d) a conjugated lipid that inhibits aggregation of particles comprising from
 8                       about 0.5 mol % to about 2 mol % of the total lipid present in the particle.

 I                  2.       The nucleic acid-lipid particle of claim 1, wherein the nucleic acid
 2   comprises a small interfering RNA (siRNA).

 I                  3.       The nucleic acid-lipid particle of claim 2, wherein the siRNA
 2   comprises from about 15 to about 60 nucleotides.

 l                  4.       The nucleic acid-lipid particle of claim 2, wherein the siRNA
 2   comprises at least one modified nucleotide.

                    5.       The nucleic acid-lipid particle of claim 2, wherein the siRNA
 2   comprises at least one 2 '-O-methyl (2 'OMe) nucleotide.

 1                  6.       The nucleic acid-lipid particle of claim 1, wherein the cationic lipid
 2   comprises 1,2-dilinoleyloxy-N,N-dimethylaminopropane (DLinDMA), 1,2-dilinolenyloxy-
 3   N,N-dimethylaminopropane (DLenDMA), or a mixture thereof.

 I                  7.       The nucleic acid-lipid particle of claim 1, wherein the cationic lipid
 2   comprises 2,2-dilinoleyl-4-(2-dimethylaminoethyl)-[1,3 ]-dioxolane (DLin-K-C2-DMA).

 I                  8.       The nucleic acid-lipid particle of claim 1, wherein the cationic lipid
 2   comprises from about 56.5 mol % to about 66.5 mol % of the total lipid present in the
 3   particle.

 l                  9.       The nucleic acid-lipid particle of claim 1, wherein the cationic lipid
 2   comprises from about 52 mol % to about 62 mol % of the total lipid present in the particle.




                                                      114


                                                                                             JA001801
                                                                                            GE NV-00000526
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 462 of 1274 PageID #: 8768




 1                   10.        The nucleic acid-lipid particle of claim 1, wherein the non-cationic
 2   lipid comprises cholesterol or a derivative thereof.

 1                   11.        The nucleic acid-lipid particle of claim 10, wherein the cholesterol or
 2   derivative thereof comprises from about 31.5 mol % to about 42.5 mol % of the total lipid
 3   present in the particle.

                     12.        The nucleic acid-lipid particle of claim 1, wherein the non-cationic
 2   lipid comprises a phospholipid.

 1                   13.        The nucleic acid-lipid particle of claim 1, wherein the non-cationic
 2   lipid comprises a mixture of a phospholipid and cholesterol or a derivative thereof.

 1                   14.        The nucleic acid-lipid particle of claim 13, wherein the phospholipid
 2   comprises dipalmitoylphosphatidylcholine (DPPC), distearoylphosphatidylcholine (DSPC),
 3   or a mixture thereof.

 1                   15.        The nucleic acid-lipid particle of claim 13, wherein the phospholipid
 2   comprises from about 4 mol % to about 10 mol % of the total lipid present in the particle and
 3   the cholesterol comprises from about 30 mol % to about 40 mo!% of the total lipid present in
 4   the particle.

 1                   16.        The nucleic acid-lipid particle of claim 13, wherein the phospholipid
 2   comprises from about 10 mol % to about 30 mol % of the total lipid present in the particle
 3   and the cholesterol comprises from about 10 mol % to about 30 mol % of the total lipid
 4   present in the particle.

 l                   17.        The nucleic acid-lipid particle of claim 1, wherein the conjugated lipid
 2   that inhibits aggregation of particles comprises a polyethylene glycol (PEG)-lipid conjugate.

 l                   18.        The nucleic acid-lipid particle of claim 17, wherein the PEG-lipid
 2   conjugate comprises a PEG-diacylglycerol (PEG-DAG) conjugate, a PEG-dialkyloxypropyl
 3   (PEG-DAA) conjugate, or a mixture thereof.

 1                   19.        The nucleic acid-lipid particle of claim 18, wherein the PEG-DAA
 2   conjugate comprises a PEG-dimyristyloxypropyl (PEG-DMA) conjugate, a PEG-
 3   distearyloxypropyl (PEG-DSA) conjugate, or a mixture thereof.


                                                       115


                                                                                               JA001802
                                                                                              GE NV-00000527
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 463 of 1274 PageID #: 8769




 1                   20.       The nucleic acid-lipid particle of claim 19, wherein the PEG has an
 2   average molecular weight of about 2,000 daltons.

 1                   21.       The nucleic acid-lipid particle of claim 1, wherein the conjugated lipid
 2   that inhibits aggregation of particles comprises from about l mol % to about 2 mol % of the
 3   total lipid present in the particle.

                     22.       The nucleic acid-lipid particle of claim 1, wherein the nucleic acid in
 2   the nucleic acid-lipid particle is not substantially degraded after incubation of the particle in
 3   sernm at 37°C for 30 minutes.

 1                   23.       The nucleic acid-lipid particle of claim l, wherein the nucleic acid is
 2   fully encapsulated in the nucleic acid-lipid particle.

 1                   24.       The nucleic acid-lipid particle of claim 1, wherein the nucleic acid-
 2   lipid particle has a lipid:nucleic acid mass ratio of from about 5 to about 15.

 1                   25.       The nucleic acid-lipid particle of claim 1, wherein the nucleic acid-
 2   lipid particle has a median diameter of from about 40 nm to about 150 nm.

 l                   26.       A pharmaceutical composition comprising a nucleic acid-lipid particle
 2   of claim l and a pharmaceutically acceptable carrier.

                     27.       A nucleic acid-lipid particle comprising:
 2                   (a) an siRNA;
 3                   (b) a cationic lipid comprising from about 56.5 mol % to about 66.5 mo! % of
 4                         the total lipid present in the particle;
 5                   (c) cholesterol or a derivative thereof comprising from about 31.5 mo!% to
 6                         about 42.5 mol % of the total lipid present in the particle; and
 7                   (d) a PEG-lipid conjugate comprising from about 1 mol % to about 2 mol % of
 8                         the total lipid present in the particle.

                     28.       The nucleic acid-lipid particle of claim 27, wherein the cationic lipid
 2   comprises DLinDMA.

 1                   29.       The nucleic acid-lipid particle of claim 27, wherein the cationic lipid
 2   comprises DLin-K-C2-DMA.


                                                        116


                                                                                              JA001803
                                                                                              GE NV-00000528
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 464 of 1274 PageID #: 8770




 I                  30.       The nucleic acid-lipid particle of claim 27, wherein the PEG-lipid
 2   conjugate comprises a PEG-DAA conjugate.

 I                  31.       The nucleic acid-lipid particle of claim 27, wherein the nucleic acid-
 2   lipid particle comprises about 61.5 mol % cationic lipid, about 36.9% cholesterol or a
 3   derivative thereof, and about 1.5 mol <¾1 PEG-lipid conjugate.

                    32.       A pharmaceutical composition comprising a nucleic acid-lipid particle
 2   of claim 27 and a pharmaceutically acceptable carrier.

 I                  33.       A nucleic acid-lipid particle, comprising:
 2                  (a) an siRNA;
 3                  (b) a cationic lipid comprising from about 52 mol % to about 62 mol % of the
 4                        total lipid present in the particle;
 5                  ( c) a mixture of a phospholipid and cholesterol or a derivative thereof
 6                        comprising from about 36 mol % to about 47 mol % of the total lipid
 7                        present in the particle; and
 8                  (d) a PEG-lipid conjugate comprising from about 1 mo!% to about 2 mol 11/ci of
 9                        the total lipid present in the particle.

 I                  34.       The nucleic acid-lipid particle of claim 33, wherein the cationic lipid
 2   comprises DLinDMA.

 I                  35.       The nucleic acid-lipid particle of claim 33, wherein the cationic lipid
 2   comprises DLin-K-C2-DMA.

 I                  36.       The nucleic acid-lipid particle of claim 33, wherein the phospholipid
 2   comprises DPPC.

 I                  37.       The nucleic acid-lipid particle of claim 33, wherein the PEG-lipid
 2   conjugate comprises a PEG-DAA conjugate.

                    38.       The nucleic acid-lipid particle of claim 33, wherein the nucleic acid-
 2   lipid particle comprises about 57.1 mol % cationic lipid, about 7.1 mo!% phospholipid, about
 3   34.3 mo! % cholesterol or a derivative thereof, and about 1.4 mol % PEG-lipid conjugate.




                                                         117


                                                                                             JA001804
                                                                                             GE NV-00000529
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 465 of 1274 PageID #: 8771




 1                   39.     The nucleic acid-lipid particle of claim 33, wherein the nucleic acid-
 2   lipid particle comprises about 57 .1 mol % cationic lipid, about 20 mol % phospholipid, about
 3   20 mol % cholesterol or a derivative thereof, and about 1.4 mol % PEG-lipid conjugate.

 1                  40.     A pharmaceutical composition comprising a nucleic acid-lipid particle
 2   of claim 33 and a pharmaceutically acceptable carrier.

                    41.      A method for introducing a nucleic acid into a cell, the method
 2   compnsmg:
 3                   contacting the cell with a nucleic acid-lipid particle of claim 1, 27, or 33.

 1                  42.      The method of claim 41, wherein the cell is in a mammal.

 1                  43.     A method for the in vivo delivery of a nucleic acid, the method
 2   comprising:
 3                   administering to a mammalian subject a nucleic acid-lipid particle of claim 1,
 4   27, or 33.

 1                  44.      The method of claim 43, wherein the administration is selected from
 2   the group consisting of oral, intranasal, intravenous, intrapcritoncal, intramuscular, intra-
 3   articular, intralcsional, intratracheal, subcutaneous, and intradennal.

 1                  45.     A method for treating a disease or disorder in a mammalian subject in
 2   need thereof, the method comprising:
 3                   administering to the mammalian subject a therapeutically effective amount of
 4   a nucleic acid-lipid particle of claim 1, 27, or 33.

                    46.      The method of claim 45, wherein the disease or disorder is selected
 2   from the group consisting of a viral infection, a liver disease or disorder, and cancer.




                                                     118


                                                                                              JA001805
                                                                                             GE NV-00000530
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 466 of 1274 PageID #: 8772
                                                                                          PATENT
                                                                Attorney Docket No.: 020801-0077 lOUS

                                ABSTRACT OF THE DISCLOSURE

                   The present invention provides novel, stable lipid particles comprising one or
    more active agents or therapeutic agents, methods of making the lipid particles, and methods
    of delivering and/or administering the lipid particles. More particularly, the present invention
    provides stable nucleic acid-lipid particles (SNALP) comprising a nucleic acid (such as one
    or more interfering RNA), methods of making the SNALP, and methods of delivering and/or
     administering the SNALP.




                                                  119
    6188034lvl




                                                                                          JA001806
                                                                                         GE NV-00000531
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 467 of 1274 PageID #: 8773




                                                                  1/22
                                                                                                                                    +
          A

                                                Activity of SNALP on HT29 Cell Line


                       1.2


                                                                                                                   -11-Samp!e 1
                                                                                                                   -:1tr-Samp1e2
                                                                                                                   -¾-Sample3
                                                                                                                   ~Sample4
                                                                                                                   ---samp!e5
                                                                                                                   -t-Sample6
                                                                                                                   --Sample?
                                                                                                                   -+-Sample 8




                         0   ! - - .- - - - - - - - - - - -
                                                            - - - - - - - - - - - -
                                                                                    - - - ~ - - - - - - . .
                                                                                                            . ;




                                                                     10                                      100


                                                               nM Total siRNA




          B

                                                 Activity of SNALP on HT29 Cell Line


                       1.2


               ~                                                                                                   --a-Sample 9
               ci                                                                                                  -a---Samp!e 10
               (.)
                                                                                                                   -¾--Sample11
               "CJ
                       0.8                                                                                         _._sample 12
               .&
               .?;"'
                                                                                                                   -e-Sample 13

                C:     0.6                                                                                         -+- Sample 14
               ::::>                                                                                               --Sample15
               :,!:
               ~                                                                                                   --+-Sample 16
                       0.4
               1:c
               >
                ..     0.2



                                                                     10                                      100


                                                              nM Total siRNA




                                                                                                                   JA001807
                                                                                                                   GE NV-00000532
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 468 of 1274 PageID #: 8774




                                                    2/22                                     --t-



                           Activity of SNALP Upon Intravenous Administration in Mice
                                            group mean± SD (n=4)




                  2.5



           0
           ~      2.0
           0:::
           <{
           z
           0:::
            E
           Cl
           a.
           <{
           (9
           ci:i
            0
            C.
           <{
            al
            >
           ::J



                  0.5




                                                   FIG. 2                              JA001808
                                                                                       GE NV-00000533
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 469 of 1274 PageID #: 8775




                                               3/22                                               +


                  3.0     .. - - - -




                  2.5 -



           0
           ~      2.0
           0::
           <(
           z
           0::
            E
           Cl
           a.. 1.5
           <(
           (9                                 -47% vs PBS Control
           ai
            0
            C.
           <(
            ai
            >
           :::;   1.0




                  0.5




                                       PBS   2:30 SNALP 5 x 1 mg/kg   1 :57 SNALP 5 x 0.1 mg/kg




                                                                                            JA001809
                                                                                            GE NV-00000534
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 470 of 1274 PageID #: 8776




                                                             4/22                                                        -+--



                                         Activity of SNALP Upon Intravenous Administration in Mice
                                                          group mean± SD (n=4)




            0
           ~
           a:
           <(
           z
           ll'.
            E
           0
           CL
           <(
           (!)     1.0
           ro0
            Q.
           <(
            lii
            >
           ::::;

                   0.5




                   0.0
                         PBS   Group 2       Group 3       Group 4       Group 5       Group 6       Group 7   Group 8




                                                           FIG. 4
                                                                                                                  JA001810
                                                                                                                 GE NV-000005 35
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 471 of 1274 PageID #: 8777




                                                  5/22                                          -+-




                              Activity of SNALP Upon Intravenous Administration in Mice
                                               group mean± SD (n=4)




                   2.0



            0
           ~
           ll:'.   1.5
           <(
           z
           0::
            E
           0
           ll.
           <(
           (9
           iri 1.0
            0
            Q.
           <(
            :»
            >
           ::::;

                   0.5




                                                                                          JA001811
                                                                                          GE NV-00000536
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 472 of 1274 PageID #: 8778




                                                                                           6/22                                                                                                     +
         A
                                                               Tolerability of IV 1:57 SNALP in Female BALB/c Mice, n=4, SD error
                140 - , - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - , . ,_,
                                                                                  168                                                                       205
                                         OA!anlne Aminotransferase
                                         • Aspartate Aminotransferase
                120 -                    • $orbital Dehydrogenase



                                  lncr'd SDH, ALT levels indicate hepatocyte damage.

                100                                                                                                          96


                                                                                81                                                                                                 79
                     80 -
              ...J

              ~                                                                                                                                            62
                                                                                                     59
                     60
                                                         53
                                                                          50
                                  46

                     40
                                                                                      33
                                                               27
                                         23
                     20



                      0
                                  PBS            Syringe Citrate          Syringe PBS            Gear PBS           Syringe Citrate            Syringe PBS                       Gear PBS
                                                    7mg/kg                  7mg/kg                7mg/kg               9mg/kg                    9mg/kg                           9mg/kg




          B
                                       Tolerability of IV 1:57 SNALP in Female BALB/c Mice, n=4, SD error
                      5 ~------------------------------------------<
                                                                                         8.7 I   7.9
                                       • Alanine Aminotransferase
                                       • Aspartate Aminotransferase
                                       D Sorbital Dehydrogenase

                      4

                <ii             2-fold increase ("3xULN"l is considered clinicallv sionificant
                 E                                                                                                                         b
                 5
                z                                                                                                                          h -
                0     3 -
                                                                                                                                                  b
                                                                                                                                                                I_




                                                                                                                                                       r
                                                                                                                             ~




                                                                      I
                                                                      I
                                                                                                                                                                         r
                                                                                                                                                                                              1cc
                                                                                                                    I,

                                                                                                                                                                             I     1,
                                                                                                                                                           I,   I,
                                                                                                                    k                 I                              I
                                                                                                          I,                                               I,


                                                                                                                                  I
                       0 _,__.._._~,_,_2,_,,,_.3........,.~4_,,._.__5~-i , : 10 11 12' 13 14 1s 16 17 18 rnLJ!it.1.2__1_0.l/~!2llJ/Ll2__l_2JF2LJ3...JµL2L4iµ2us-\El.26.uµ:i2u7.J,U:2aL1

                                   PBS            Syringe Citrate !I Syringe PBS                  Gear PBS               Syringe Citrate         Syringe PBS                     Gear PBS

                               Lipid dose                 77          I          96                    79                        99                   123                               102
                              siRNA dose                                       7 mg/kg                                                             9 mg/kg




                                                                                      FIG_ 6
                                                                                                                                                                                   JA001812
                                                                                                                                                                                  GENV-00000537
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 473 of 1274 PageID #: 8779




                                                                   7/22                                                                               +
                     A
                                                               SNALP Activity From Different Manufacturing Processes
                                                IV, 48 h, ApoB-10048 U2/2 G1/2 (Dow), female BALB/c mice, n=4, SD error
                                    2.0




                                    1.5




                                                                                    -38%




                                    0.5




                                                   . ~ . , - . ~ ~
                                          PBS          1:57 Syringe          1:57 Gear 0.05mg/kg 1:57 Syringe 0.1 mg/kg   1:57 Gear 0.1 mg/kg
                                                        0.05mg/kg




                     B
                                                         SNALP Re-Fomtulation - Activity Assessment in BALB/c Mice
                                                              48 h time point, n=4, SD error bars
                                    0.6




                                    0.5




                          0         0.4

                          ~
                          e;:
                          ;         0.3
                          0:

                          I
                          & 0.2


                                    0.1




                                    -01




                     C
                                                                      Efficacy of SNALP Formulations
                                                  Fresh Terminal Plasma, n=4 female Balb/c mice, SD Error Bars
                                     70



                                     60



                           J         50

                           I
                           ;;
                           ~         40
                           ~
                           /j
                          !          30


                              I
                              0::    20



                                     10




                                          PBS
                                                 l- 1:57 Syringe Press   i
                                                                  0.05mgMg
                                                                              1:57 Gear Pump




                                                                FIG. 7                                                                          JA001813
                                                                                                                                                GE NV-00000538
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 474 of 1274 PageID #: 8780




                                                              8/22                                                       +


                                       Tolerability of 1157 SNALP IV in BALB/c Mice, n=4 (Grp1-3 n=3}, SD error
                    6%




                    4%

            Q)
            U)
            0
            0
             ~
            (L      2%.
            U)
            -2'.-
            "Sj"




            :r
            N




            ~       O%-PS      91
                                                  P S        9:1       9:1      6:1     6:1     6:1     6:1      9:1
            f_
            :l:
                    2%
                              7m /kg                       9mg/kg   11 mg/kg 11 mg/kg 13mg/kg 15mg/kg 17mg/kg 11 mg/kg

            >-
            u
            0
            co

                    -4%




                    -6%~---




                                                                                                                  JA001814
                                                                                                                  GENV-000005 39
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 475 of 1274 PageID #: 8781




                                                                 9/22                                              --+-




                                            Tolerability of IV 1157 SNALP Prepared at 9:1 Lipid:Drug Ratio
                 1,400


                                                                                    B Platelet Count
                 1,200 ·



                 1,000
                                      909     921
                           881                                         854
                                                           854                                               828
                                                                                    827
           -'
           12
           cii


           ~
            u
           a,
           <])
                  800



                   600 ·
                                  •
                                 902 ± 21
                                                                    [J
                                                                 845± 16 -·
                                 2%RSD


                   400



                   200



                     0--
                                       2        3           4
                                      PBS




                                                                F/G. 9                                       JA001815
                                                                                                             GE NV-000005 40
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 476 of 1274 PageID #: 8782




                                                                                           10/22                                                                   +
         A
                                                        Tolerability of IV 1:57 Gear PBS In-Line SNALP in Female BALB/c Mice, n=4, SD error


                                                D Alanine Aminotransferase
                     1,200                      • Aspartate Aminotransferase
                                                • Sorbital Dehydrogenase

                     1,000
                                          Samples taken at 24 h time point except for last grp (48 h).



                       800
             ....I

             2
                       600




                       400




                         200




                              0
                                     30
                                     ~
                                          PBS
                                                22
                                                      Mh ~ ~ ~
                                                      9:1 SNALP            9:1 SNALP       6:1 SNALP   6:1 SNALP
                                                                                                                   -T--

                                                                                                                          6:1 SNALP   6:1 SNALP     9:1 SNALP
                                                         9mg/kg              11mg/kg         11mg/kg     13mg/kg            15mg/kg     17mg/kg    11mg/kg 48h




          B                                               Tolerability of IV 1:57 Gear PBS In-Line SNALP in Female BALB/c Mice, n=4, SD error



                              50                             D Alanine Aminotransferase
                                                             OAspartate Aminotransferase
                                                             • Sorbital Dehydrogenase

                     '" 40 -
                      E
                      0                   2-fold increase ("3xULN"l is considered clinically sionificant
                     z
                     0
                     ~ 30
                     ::J
                      <ia.i
                      a.
                     ::J
                     =§ 20
                     LL
                      x

                              10 ·




                               0

                                     siRNA dose            9mg/kg              11mg/kg                                                   17mg/kg        11mg/kg

                                     Lipid dose               92                 112                        93                 107         121            112

                                          PBS                  9:1 SNALP (10)                                6:1 SNALP (7)                              9:1 (10)




                                                                                                                                                      JA001816
                                                                                                                                                      GENV-00000541
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 477 of 1274 PageID #: 8783




                                                                      11/22                                                                 +
          A                                     1157 Gear PBS In-Line SNALP Activity From Different Input Lipid:Drug Ratios
                                           IV, 48 h, ApoB-10048 U2/2 G1/2 (Dow), female BALB/c mice, n=4, SD error
                         3.0




                         2.5



                    0
                                                      2-tailed T-test: p=0.078

                  &2.0
                  <(
                  z
                  0:::
                    E                                                                 -35%
                  D
                  ~ 1.5
                  a:i
                    0
                    C.
                  <(
                    ffi 1.0 ·
                    >
                  ::J




                         0.5 ·




                                 PBS   1157 at 10:1   1157 at 10:1   1157 at 10:1   1157 at7:1   1I57at7:1    1I57at7:1       1157 at 7:1
                                       0.05mg/kg       0.1mg/kg       0.2mg/kg      0.05mg/kg    0.1mg/kg     0.2mg/kg        0.4mg/kg




          B                                        SNALP Re-Formulation - Activity Assessment in BALB/c Mice
                                                 DOW ApoB lead siRNA, 48 h time point, n=4, SD error bars
                         0.40                                         LLQ =9%



                         0.35



                         0.30

              0                                                                       -28%
              0

              r:b        0.25
              0
              C.
              ::f.
              "'E 0.20
              rn
              a:"'
               <J)
              >                           -62%            -61%
              ~ 0.15
              ai
              0:::

                         0.10
                                                                                                                                -86%
                                                                                                                               2 < LLQ
                         0.05



                         0.00
                                                                                                 0.1 mg/kg   i 0.2 mg/kg
                                 PBS                                                              New 1:57 SNALP (7:1)




                                                                                                                                 JA001817
                                                                                                                                GE NV-00000542
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 478 of 1274 PageID #: 8784




                                                  12/22                                                   +-


                                               Efficacy of SNALP Reformulations
                            Fresh Terminal Plasma, n=4 female Balb/c mice, SD Error Bars
              60


                                                                 -1%
              50




                                                                             New 1:57 SNALP (7:1)




                                                                                                    JA001818
                                                                                                    GE NV-00000543
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 479 of 1274 PageID #: 8785




                                                                13/22                                             -+--




                      120%
                                      -...-Luc        PLK1424

                      115% _


                      110%
               1=
               .!2>
                Q)

               S 105% _
               -i;'
                0
               ca
                      100% _


                       95%.


                       90%
                             8   12       16     20    24   28    32    36    40   44   48   52   56   60
                                                                  Study Day




                                                                                                            JA001819
                                                                                                            GE NV-0000 0544
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 480 of 1274 PageID #: 8786




                                                             14/22                                                           +


                                              -.a.- Control SNALP -<>- Active SNALP

                  100%



                  80%



           ~      60% -
           '2'.
            ::I
           (/)


                  40%



                  20%


                   0%-r---.-------- .----,---,-------, --------,--------, ----,----,-------, ----,------n1111 ,---,--a:--i
                     15    20     25     30     35     40     45    50      55    60     65     70     75  80     85    90
                                                              Days after seeding




                                                            CU'!    '1A.
                                                                                                                JA001820
                                                                                                                GE NV-000005 45
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 481 of 1274 PageID #: 8787




                                            15/22                             +-



                      '-J..
                              2.0
                      z
                      0:::
                       E 1.6 ·
                      0
                      CL
                      <C      1.2
                      (.9
                      ..c
                      g
                      CL
                         0.8 ·
                      ..c
                       ~      0.4 -
                       Q)
                      ~
                              0.0
                                      PBS       Luc    PLK1424




                                                                       JA001821
                                                                      GE NV-000005 46
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 482 of 1274 PageID #: 8788




                                           16/22                                         +



                      2    3   4   5   6   7   8   9   10




                                                            . - PLK1424 5'RACE product
           400 •
                                                                476bp
           300 •
           200-,.




                                                                               JA001822
                                                                              GE NV-0000054 7
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 483 of 1274 PageID #: 8789




                                        17/22                                 +




             x200 mag                         x400 mag




             x200 mag                         x400 mag




                                       l=lt:; 17
                                                                       JA001823
                                                                      GE NV-00000548
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 484 of 1274 PageID #: 8790




                                               18/22                                         +


                                            6x2mg/kg Mean tumor volume
                  1000   -   -------·---------------------------,


                             -.-Luc-OMA
                  800        -11- PLK-DMA
                                PLK-DSA



          ~ 600 -
          ::::l
         0
         >
         ,...
          0
          E
          ::::l
         I-        400




                   200



                                                                 -   --------~ :i!i).

                     0+----~---~--~---~--~---~--~------1
                      8   10  12  14  16  18   20  22   24
                                                     Days




                                              l=lf; 1R
                                                                                        JA001824
                                                                                        GENV-00000549
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 485 of 1274 PageID #: 8791




                                                              19/22
                                                                                                                          +


                             PLK mRNA silencing in scid/beige mice treated with 2mg/kg 1:57 SNALP against
                                                 subcutaneous Hep3B tumors
                 0.70 -

                 0.60        100%


          =e 0.50
          0


          I
          0
          CL
          <(     0.40
          C)
          ,E
          ;_;;
          _J
          CL
          ..c:
           C
           ro
          a,
          ~
                 0.20




                 0.00
                          24h LuccDMA    24h PLKcDMA      72h PLK cDMA     24h PLK cDSA    72h PLKcDSA      24h PLKcDSA
                             2 mg/kg        2 mg/kg          2 mg/kg          2 mg/kg         2 mg/kg          1 mg/kg




                                                             cu·~    ,fO
                                                                                                               JA001825
                                                                                                              GE NV-00000550
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 486 of 1274 PageID #: 8792




                                                           20/22                            +


                                                    6x2mg/kg Mean tumor volume
                2200

                2000 -                               Crossover dosing of Luc
                            -<1>-luc-DMA              cDMA group with 6 x 2
                1800 -      -11-PLK-DMA              mg/kg  PLK cDSA SNALP'
                                                     ,·-
                                                       ----
                            --i!r- PLK-DSA
                1600 -

         <D     1400 -
         E
         'E 1200
         >                    Initial 6 x 2 mg/kg
         ~ 1000                      SNALP _ __
         :::l
         f-      800

                 600

                 400

                 200 -


                       8   10 12 14 16 18 20 22 24 26 28 30 32 34 36 38 40 42 44 46 48 50
                                                       Days




                                                                                  JA001826
                                                                                  GE NV-00000551
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 487 of 1274 PageID #: 8793




                                                         21/22                                          +

                                   Mean hPLK (1:4): hGAPDH (1:40) minus "background"

                  1.20 - . - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ,
                             0.99

                  1.00



          5 o.ao
          0..
          c§
          ..c
          ;..:_ 0.60
          ~

          ~
          ....J
          2:-: 0.40
           C:
           Cll
           Q)
          2




                  0.00
                         24h Luc 1:57     24h PLK 1:57     24h PLK 1:57   96h PLK 1:57   96h PLK 1:57
                            cDMA             cDMA             cDSA           cDMA           cDSA




                                                                                              JA001827
                                                                                              GE NV-00000552
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 488 of 1274 PageID #: 8794




                                              22/22                                -+-
                                                                                     I




                    80

                    70                       -+-1 :57 PEG-cDSA SNALP

                                                    1:57 PEG-cDMA SNALP
                    60
            (I)
            en      50
             0
            "O
            "O
            .....(])(.) 40
            (])

            :~ 30 -
            ~
            0



                    20 -

                    10 -

                       0
                             0   1   2   3      4        5     6      7   8    9
                                                 llme (h)




                                             FIG_ 22
                                                                              JA001828
                                                                              GE NV-00000553
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 489 of 1274 PageID #: 8795
                       Electronic Acknowledgement Receipt

                        EFS ID:                     5161378


                 Application Number:                12424367


          International Application Number:


                Confirmation Number:                1406




                  Title of Invention:               NOVEL LIPID FORMULATIONS FOR NUCLEIC ACID DELIVERY




         First Named Inventor/Applicant Name:       Ian Maclachlan


                  Customer Number:                  20350


                         Filer:                     Joe Chao-Peng/Judith Cotham


                 Filer Authorized By:               Joe Chao-Peng


              Attorney Docket Number:               020801-00771 ous


                     Receipt Date:                  15-APR-2009


                     Filing Date:


                     Time Stamp:                    17:48:04


                  Application Type:                 Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment                            I no

File Listing:
 Document                                                                               File Size(Bytes)/                     Multi         Pages
                     Document Description                File Name
  Number                                                                                Message Digest                       Part /.zip   (if appl.)

                                                                                                  290238
                                                020801 _00771 0US_trans_app_
     1                                                                                                                          yes           7
                                                         041509.PDF
                                                                                   9ad6f59cbac 1d 1 ef276a5d6ba83c223225fe
                                                                                                      33db




                                                                                                                             JA001829
                                                                                                                             GE NV-00000554
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 490 of 1274 PageID #: 8796
                                             Multipart Description/PDF files in .zip description

                                    Document Description                                                     Start                                   End


                                 Transmittal of New Application                                                   1                                   1



                                     Oath or Declaration filed                                                   2                                    3



                                     Application Data Sheet                                                      4                                    7


Warnings:

Information:

                                                                                                            547090
                                                        020801_007710US_nonprov_a
     2                                                                                                                                         yes         120
                                                              pp_041509.pdf
                                                                                         ba 7 363 35 3 5 6e af879 7 aa887 c2e2 6e 7083f4e
                                                                                                              9bfd


                                             Multipart Description/PDF files in .zip description

                                    Document Description                                                     Start                                   End


                                           Specification                                                          1                                  114



                                              Claims                                                           115                                   119



                                             Abstract                                                          120                                   120


Warnings:

Information:

                                                                                                           1905563
               Drawings-other than black and white      020801_007710US_figs_04150
     3                                                                                                                                         no          22
                         line drawings                            9.PDF
                                                                                         c9Ja6 I 1c02bdb90b1 a8c5fc86180a523679
                                                                                                          20acb


Warnings:

Information:
                                                           Total Files Size (in bytes)                                               2742891




                                                                                                                                            JA001830
                                                                                                                                            GE NV-00000555
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 491 of 1274 PageID #: 8797
This Acknowledgement Receipt evidences receipt on the noted date by the USPTO of the indicated documents,
characterized by the applicant, and including page counts, where applicable. It serves as evidence of receipt similar to a
Post Card, as described in MPEP 503.

New Applications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International Application under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT/DO/EO/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International Application Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/RO/105) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.




                                                                                                       JA001831
                                                                                                      GE NV-00000556
  Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 492 of 1274 PageID #: 8798


                                                                                          DocCode - SCORE



                          SCORE Placeholder Sheet for IFW Content



Application Number: 12424367 Document Date: 4/15/2009 5:48:04 PM


The presence of this form in the IFW record indicates that the following document type was received in
electronic format on the date identified above. This content is stored in the SCORE database.

    •   Drawings - Other than Black and White Line Drawings

Since this was an electronic submission, there is no physical artifact folder, no artifact folder is recorded in
PALM, and no paper documents or physical media exist. The TIFF images in the IFW record were created
from the original documents that are stored in SCORE.

To access the documents in the SCORE database, refer to instructions developed by SIRA.

At the time of document entry (noted above):
    • Examiners may access SCORE content via the eDAN interface.
    • Other USPTO employees can bookmark the current SCORE URL (http://es/ScoreAccessWeb/).
    • External customers may access SCORE content via the Public and Private PAIR interfaces.




Form Revision Date: February 8, 2006




                                                                                                  JA001832
                                                                                                 GENV-00000557
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 493 of 1274 PageID #: 8799




                   JOINT APPENDIX 56
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 494 of 1274 PageID #: 8800



   I hereby certify that this crn,-espondence is being filed via                                          PATENT
   EFS-Web with the United States Patent and Trademark Office                Attorney Docket No.: 020801-007710US
   on         November               2009

   TOWNSEND and TOWNSEND and CREW LLP

   By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
             Judith Cotham




                     IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


                                                                     Confirmation No. 1406
   In re application of:
                                                                    Examiner:         Not yet assigned
              MacLACHLAN et al.
                                                                     Art Unit:        1636
   Application No.: 12/424,367
                                                                            COMMUNICATI ON UNDER
   Filed: April 15, 2009
                                                                                 37 C.F.R. §§ 1.821-1.825
   For: NOVEL LIPID FORMULATION S
   FOR NUCLEIC ACID DELIVERY                                                              AND

   Customer No.: 20350                                                    PRELIMINARY AMENDMENT

   Mail Stop Missing Parts
   Commissioner for Patents
   P.O. Box 1450
   Alexandria, VA 22313-1450


   Commissioner:

                         Prior to examination of the above-referenced application, please enter the
   following amendments and remarks:
                         Amendments to the Specification begin on page 2 of this paper.
                         Amendments to the Claims are reflected in the listing of claims which begins on
   page 4 of this paper.
                         Amendments to the Drawings begin on page 9 of this paper and include both an
    attached replacement sheet and an annotated sheet showing changes.
                         Remarks begin on page 10 of this paper.




                                                                   Page 1 of 11




                                                                                                            JA001833
                                                                                                            GE NV-00000566
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 495 of 1274 PageID #: 8801



      Appl. No. 12/424,367                                                                                 PATENT
      Arndt. dated November 12, 2009
      Preliminary Amendment



      Amendments to the Specification:

      Please replace Table 1 beginning at page 92, line 14, with the following:


      --Table 1. siRNA duplex comprising sense and antisense Eg5 RNA polynucleotides.

    Modification               EgS 2263 siRNA sequence                 SEQ ID       % 2'0Me-Modified       % Modified
                                                                        NO:                               in DS Region
                            5'-CUGAAGACCUGAAGACAA UdTdT-3'                            6/42 = 14.3%         6/38 = 15.8%
           U/U
                                -          -
                      3'-dTdTGACUUCUGGACUUCU GUUA-5'
                                                        -                  1
                                                                           1
                                    - -        -
   Column 1: "U/U" = 2'OMe-uridine modified siRNA duplex; Column 2: 2'OMe-modified nucleotides are indicated in
   bold and underlined. The siRNA duplex can alternatively or additionally comprise 2'-deoxy-2'-fluoro (2'F)
   nucleotides, 2 '-deoxy nucleotides, 2' -O-(2-methoxyethyl) (MOE) nucleotides, and/or locked nucleic acid (LNA)
   nucleotides. "dT" = deoxythymidine. Column 3: The number and percentage of 2'OMe-modified nucleotides in the
   siRNA duplex are provided. Column 4: The number and percentage of modified nucleotides in the double-stranded
   (DS) region of the siRNA duplex are provided.--




      Please replace Table 3 beginning at page 94, line 7, with the following:


      --Table 3. siRNA duplex comprising sense and antisense ApoB RNA polynucleotides.

 Position    Modification               ApoB siRNA sequence                 SEQ       % 2'0Me-Modified         % Modified
                                                                           IDNO:                              in DS Region
   10048         U2/2 Gl/2      5'-AGUGUCAUCACACUGAAU ACC-3'                   J_        7/42 = 16.7%         7/38 = 18.4%
                                       -  -     -
                             3'-GUUCACAGUAGUGUGACU UAU-5'                      1
                                    -              - - -
Column l: The number refers to the nucleotide position of the 5' base of the sense strand relative to the mouse ApoB mRNA
sequence XM_137955. Column 2: The numbers refer to the distribution of2'OMe chemical modifications in each strand.
Column 3: 2'OMe-rnodified nucleotides are indicated in bold and underlined. The siRNA duplex can alternatively or
additionally comprise 2'-deoxy-2'-:fluoro (2'F) nucleotides, 2'-deoxy nucleotides, 2'-O-(2-methoxyethyl) (MOE)
nucleotides, and/or locked nucleic acid (LNA) nucleotides. Column 4: The number and percentage of2'OMe-modified
nucleotides in the siRNA duplex are provided. Column 5: The number and percentage of modified nucleotides in the
double-stranded (DS) region of the siRNA duplex are provided.--




                                                       Page 2 of 11




                                                                                                         JA001834
                                                                                                         GE NV-00000567
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 496 of 1274 PageID #: 8802



   Appl. No. 12/424,367                                                                                   PATENT
   Arndt. dated November 12, 2009
   Preliminary Amendment

   Please replace Table 8 begim1ing at page 105, line 19, with the following:


   --Table 8. siRNA duplexes comprising sense and antisense PLK-1 RNA polynucleotides.

         siRNA                              PLK-1 siRNA Sequence                           SEQ ID       % Modified
                                                                                            NO:        in DS Region
                                                                                                       6/38 = 15.8%
    PLK1424 U4/GU                 -    -   -   - ANN-3'
                           5'-AGAUCACCCUCCUUAAAU                      (SEQ ±B N0.§7)           2.
                        3'-NNUCUAGUGGGAGGAAUUUAU-5'                   (SEQ !B ~t0.§4)          .Q
                                  -               -
    PLK1424 U4/G            5'-AGA~CACCC~CClJ:!!AAA~ ANN-3'           +&EQ ~D NG. 57)          2.       7/38 = 18.4%
                         3'-NNUCUAGUGGGAGGAAUUUAU-5'
                                      -   -   -                    ..
                                                                       (SEQ ±B NO. §6)         z
  Column 1: The number after "PLK" refers to the nucleotide pos1t1on of the 5' base of the sense strand relative to the
  start codon (ATG) of the human PLK-1 mRNA sequence NM_005030. Column 2: 2'-O-methyl (2'OMe) nucleotides
  are indicated in bold and underlined. The siRNA duplex can alternatively or additionally comprise 2'-deoxy-2'-fluoro
  (2'F) nucleotides, 2'-deoxy nucleotides, 2'-O-(2-methoxyethyl) (MOE) nucleotides, and/or locked nucleic acid (LNA)
  nucleotides. N = deoxythymidine (dT) nucleotide, uridine (U) ribonucleotide, or ribonucleotide having
  complementarity to the target sequence (antisense strand) or the complementary strand thereof (sense strand). Column
  3: The number and percentage of modified nucleotides in the double-stranded (DS) region of the siRNA duplex are
  provided.--




   Please insert the accompanying paper copy of the Sequence Listing, page numbers 1 to 4, at the
   end of the application.




                                                      Page 3 of 11




                                                                                                        JA001835
                                                                                                        GE NV-00000568
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 497 of 1274 PageID #: 8803



     Appl. No. 12/424,367                                                                          PATENT
     Arndt. dated November 12, 2009
     Preliminary Amendment


     Amendments to the Claims:

     This listing of claims will replace all prior versions, and listings of claims in the application:

     Listing of Claims:

 1                   1.       (Currently amended) A nucleic acid-lipid particle comprising:
 2                   (a) a nucleic acid;
 3                   (b) a cationic lipid comprising from about 50 mol % to about [[85)] 65 mol % of
 4                        the total lipid present in the particle;
 5                   (c) a non-cationic lipid comprising from about 13 mol % to about 49.5 mol % !!
 6                        mixture of a phospholipid and cholesterol or a derivative thereof, wherein the
 7                        phospholipid comprises from about 4 mol % to about 10 mol % of the total
 8                        lipid present in the particle and the cholesterol or derivative thereof comprises
 9                        from about 30 mol % to about 40 mol % of the total lipid present in the
10                        particle; and
11                   (d) a conjugated lipid that inhibits aggregation of particles comprising from about
12                        0.5 mol % to about 2 mol % of the total lipid present in the particle.

 1                   2.       (Original) The nucleic acid-lipid particle of claim 1, wherein the nucleic
 2   acid comprises a small interfering RNA (siRNA).

 1                   3.       (Original) The nucleic acid-lipid particle of claim 2, wherein the siRNA
 2   comprises from about 15 to about 60 nucleotides.

 1                   4.       (Original) The nucleic acid-lipid particle of claim 2, wherein the siRNA
 2   comprises at least one modified nucleotide.

 1                   5.       (Original) The nucleic acid-lipid particle of claim 2, wherein the siRNA
 2   comprises at least one 2'-O-methyl (2'OMe) nucleotide.




                                                    Page 4 of 11




                                                                                                JA001836
                                                                                               GE NV-00000569
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 498 of 1274 PageID #: 8804



    Appl. No. 12/424,367                                                                      PATENT
    Arndt. dated November 12, 2009
    Preliminary Amendment



1                   6.      (Original) The nucleic acid-lipid particle of claim 1, wherein the cationic
2   lipid comprises 1,2-dilinoleyloxy-N,N-dim ethylaminopropane (DLinDMA), 1,2-dilinolenyloxy-
3   N,N-dimethylaminopropan e (DLenDMA), or a mixture thereof.

1                   7-8.    (Canceled)

1                   9.      (Original) The nucleic acid-lipid particle of claim 1, wherein the cationic
2   lipid comprises from about 52 mol % to about 62 mol % of the total lipid present in the particle.

1                   10-13. (Canceled)

1                   14.     (Currently amended) The nucleic acid-lipid particle of claim [[13]] 1,
2   wherein the phospholipid comprises dipalmitoylphosphatidylch oline (DPPC),
3   distearoylphosphatidylchol ine (DSPC), or a mixture thereof.

1                   15-16. (Canceled)

1                   17.     (Original) The nucleic acid-lipid particle of claim 1, wherein the
2   conjugated lipid that inhibits aggregation of particles comprises a polyethyleneglycol (PEG)-
3   lipid conjugate.

l                   18.     (Original) The nucleic acid-lipid particle of claim 17, wherein the PEG-
2   lipid conjugate comprises a PEG-diacylglycerol (PEG-DAG) conjugate, a PEG-dialkyloxypropyl
3   (PEG-DAA) conjugate, or a mixture thereof.

1                   19.     (Original) The nucleic acid-lipid particle of claim 18, wherein the PEG-
2   DAA conjugate comprises a PEG-dimyristyloxypropyl (PEG-DMA) conjugate, a PEG-
3   distearyloxypropyl (PEG-DSA) conjugate, or a mixture thereof.

1                   20.     (Original) The nucleic acid-lipid particle of claim 19, wherein the PEG
2   has an average molecular weight of about 2,000 daltons.




                                                Page 5 of 11




                                                                                            JA001837
                                                                                            GENV-00000570
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 499 of 1274 PageID #: 8805



    Appl. No. 12/424,367                                                                          PATENT
    Arndt. dated November 12, 2009
    Preliminary Amendment



1                   21.      (Original) The nucleic acid-lipid particle of claim 1, wherein the
2   conjugated lipid that inhibits aggregation of particles comprises from about l mol % to about 2
3   mol % of the total lipid present in the particle.

1                   22.      (Original) The nucleic acid-lipid particle of claim 1, wherein the nucleic
2   acid in the nucleic acid-lipid particle is not substantially degraded after incubation of the particle
3   in serum at 37°C for 30 minutes.

1                   23.       (Original) The nucleic acid-lipid particle of claim 1, wherein the nucleic
2   acid is fully encapsulated in the nucleic acid-lipid particle.

                    24.       (Original) The nucleic acid-lipid particle of claim 1, wherein the nucleic
2   acid-lipid particle has a lipid:nucleic acid mass ratio of from about 5 to about 15.

1                   25.       (Original) The nucleic acid-lipid particle of claim 1, wherein the nucleic
2   acid-lipid particle has a median diameter of from about 40 nm to about 150 nm.

1                   26.       (Original) A pharmaceutical composition comprising a nucleic acid-lipid
2   particle of claim 1 and a pharmaceutically acceptable carrier.

1                   27.       (Currently amended) A nucleic acid-lipid particle comprising:
2                   (a) -an--s-iRNA a nucleic acid;
3                   (b) a cationic lipid comprising from about 56.5 mol % to about 66.5 mol % of the
4                         total lipid present in the particle;
5                   (c) cholesterol or a derivative thereof comprising from about 31.5 mol % to about
6                         42.5 mol % of the total lipid present in the particle; and
7                   (d) a :PEG-lipid eonjugate conjugated lipid that inhibits aggregation of particles
8                         comprising from about 1 mol % to about 2 mol % of the total lipid present in
9                         the particle.

1                   28-30. (Canceled)




                                                    Page 6 of 11




                                                                                              JA001838
                                                                                              GENV-00000571
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 500 of 1274 PageID #: 8806



    Appl. No. 12/424,367                                                                       PATENT
    Arndt. dated November 12, 2009
    Preliminary Amendment



1                      31.   (Currently amended) The nucleic acid-lipid particle of claim [[27]] 21_,
2   wherein the nucleic acid-lipid particle comprises about 61.5 mol % cationic lipid, about 36.9%
3   cholesterol or a derivative thereof, and about 1.5 mol % PEG-lipid conjugate.

1                      32.   (Original) A pharmaceutical composition comprising a nucleic acid-lipid
2   particle of claim 27 and a pharmaceutically acceptable carrier.

                       33-37. (Canceled)

1                      38.   (Currently amended) The nucleic acid-lipid particle of claim [[331] 17,
2   wherein the nucleic acid-lipid particle comprises about 57.1 mol % cationic lipid, about 7.1 mol
3   % phospholipid, about 34.3 mol % cholesterol or a derivative thereof, and about 1.4 mol % PEG-
4   lipid conjugate.

1                      39-46. (Canceled)

1                      47.    (New) The nucleic acid-lipid paiiicle of claim 1, wherein the
2   phospholipid comprises from about 5 mol % to about 9 mol % of the total lipid present in the
3   particle.

1                      48.   (New) The nucleic acid-lipid particle of claim 1, wherein the cholesterol
2   or derivative thereof comprises from about 32 mol % to about 36 mol % of the total lipid present
3   in the particle.

1                      49.    (New) The nucleic acid-lipid particle of claim 27, wherein the nucleic
2   acid comprises a small interfering RNA (siRNA).

1                      50.    (New) The nucleic acid-lipid particle of claim 27, wherein the cationic
2   lipid comprises 1,2-dilinoleyloxy-N,N-dim ethylaminopropane (DLinDMA}, 1,2-dilinolenyloxy-
3   N,N-dimethyla:rninopropan e (DLenDMA), or a mixture thereof.




                                                 Page 7 of 11




                                                                                              JA001839
                                                                                              GENV-00000572
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 501 of 1274 PageID #: 8807



    Appl. No. 12/424,367 .                                                                   PATENT
    Arndt. dated November 12, 2009
    Preliminary Amendment



1                   51.     (New) The nucleic acid-lipid particle of claim 27, wherein the conjugated
2   lipid that inhibits aggregation of particles comprises a polyethyleneglyco l (PEG)-lipid conjugate.

1                   52.     (New) The nucleic acid-lipid particle of claim 51, wherein the PEG-lipid
2   conjugate comprises a PEG-diacylglycer ol (PEG-DAG) conjugate, a PEG-dialkyloxypr opyl
3   (PEG-DAA) conjugate, or a mixture thereof.

                    53.    ·(New) The nucleic acid-lipid particle of claim 52, wherein the PEG-DAA
2   conjugate comprises a PEG-dimyristylox ypropyl (PEG-DMA) conjugate, a PEG-
3   distearyloxypropy l (PEG-DSA) conjugate, or a mixture thereof.

1                   54.     (New) The nucleic acid-lipid particle of claim 27, wherein the nucleic
2   acid is fully encapsulated in the nucleic acid-lipid particle.




                                                Page 8 of 11




                                                                                           JA001840
                                                                                           GENV-00000573
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 502 of 1274 PageID #: 8808



   Appl. No. 12/424,367                                                                    PATENT
   Arndt. dated November 12, 2009
   Preliminary Amendment



   Amendments to the Drawings:
   The attached replacement sheets of drawings includes changes to the margins and formatting
   only, as required by the Notice to File Missing Parts. No new matter has been added.




   Attachment:     Replacement Sheets (22 sheets)




                                            Page 9 of 11




                                                                                          JA001841
                                                                                          GENV-0000057 4
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 503 of 1274 PageID #: 8809



   Appl. No. 12/424,367                                                                     PATENT
   Arndt. dated November 12, 2009
   Preliminary Amendment



                                              REMARKS

   I.      STATUS OF THE CLAIMS
                   After entry of this amendment, claims 1-6, 9, 14, 17-27, 31, 32, 38, and 47-54 are
   pending in this application and are presented for examination. Claims 7, 8, 10-13, 15, 16, 28-30,
   33-37, and 39-46 have been canceled without prejudice to future prosecution. Claims 1, 14, 27,
   31, and 38 have been amended. Claims 47-54 are newly added.
                   Support for the amendments to claim 1 is found, for example, in original claims
   13 and 15, and in paragraph [0116] on page 24 of the instant specification. Support for the
   amendments to claim 27 is found, for example, in original claim 1 and in paragraph [0145] on
   page 32 of the instant specification.
                   Claim 14 has been amended to establish dependency from claim 1. Claim 31 has
   been amended to establish dependency from claim 51. Claim 38 has been amended to establish
   dependency from claim 17.
                   Newly added claims 47 and 48 find support, for example, in paragraph [0133] on
   pages 27-28 of the instant spedfication.
                   Newly added claims 49-54 find support, for example, in original claims 2, 6, 17-
   19, and 23, respectively.
                   As such, no new matter has been introduced with the foregoing amendments.

   II.    SEQUENCE LISTING
                   In response to the request to comply with Requirements for Patent Applications
   Containing Nucleotide Sequence and/or Amino Acid Sequence Disclosures, 37 C.F.R. §§ 1.821-
   1.825, that accompanied the Notice to File Missing Parts ofNonprovisional Application mailed
   May 13, 2009, Applicants submit herewith the required paper copy and computer readable copy
   of the Sequence Listing.
                   Applicants request entry of this amendment in adherence with 37 C.F.R. §§1.821
   to 1.825. The computer readable form contains the above named sequences, SEQ ID NOS:1-7,
   and the paper copy of the sequence information was printed fro:m the computer readable form.




                                              Page 10 of 11




                                                                                          JA001842
                                                                                         GENV-00000575
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 504 of 1274 PageID #: 8810



   Appl. No. 12/424,367                                                                   PATENT
   Arndt. dated November 12, 2009
   Preliminary Amendment

                   The information contained in the computer readable form was prepared through
   the use of the software program "FastSEQ" and is identical to that of the paper copy. This
   amendment contains no new matter.

                                           CONCLUSION
                   If the Examiner believes a telephone conference would expedite prosecution of
   this application, please telephone the undersigned at 415-576-0200.

                                                       Respectfully submitted,

                                                        ~c.c/4----
                                                       Joe C. Hao
                                                       Reg. No. 55,246
   TOWNSEND and TOWNSEND and CREW LLP
   Two Embarcadero Center, Eighth Floor
   San Francisco, California 94111-3834
   Tel: 415-576-0200
   Fax: 415-576-0300
   Attachments
   JCH:dmw
   62298904 vi




                                            Page 11 of 11




                                                                                        JA001843
                                                                                        GENV-00000576
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 505 of 1274 PageID #: 8811




                   JOINT APPENDIX 57
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 506 of 1274 PageID #: 8812



   I hereby certify that this correspondence is being filed via                                              PATENT
   EFS-Web with the United States Patent and Trademark Office                   Attorney Docket No.: 020801-007710US
   on         June l 2010

   TOWNSEND and TOWNSEND and CREW LLP

   By:_-----'/=Ju= di=th'--"C=ot= ha=m/"'-------- ---




                    IN THE UNITED STATES PATENT AND TRADEMAR K OFFICE



   In re application of:                                           Confirmation No. 1406

              Edward Y aworski et al.                              Examiner:     Pitrak, Jennifer S.

   Application No.: 12/424,367                                     Technology Center/Art Unit: 1635

   Filed: April 15, 2009                                           RESPONSE TO RESTRICTION
                                                                   REQUIREMENT
   For: NOVEL LIPID FORMULATIONS
   FOR NUCLEIC ACID DELIVERY

   CustomerNo. : 20350


   Mail Stop Amendment
   Commissioner for Patents
   P.O. Box 1450
   Alexandria, VA 22313-1450


   Commissioner:

                         In response to the Restriction Requirement mailed March 31, 2010, please enter
   the following amendments and remarks. A Petition for a one-month extension of time
   accompanies this response.
                         Amendments to the Claims are reflected in the listing of claims which begins on
   page 2 of this paper.
                         Remarks begin on page 6 of this paper.




                                                                  Page 1 of 7
                                                                                                             JA001844
                                                                                                            GE NV-000006 77
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 507 of 1274 PageID #: 8813



     Appl. No. 12/424,367                                                                           PATENT
     Arndt. dated June 1, 2010
     Reply to Office Action of March 31, 2010



     Amendments to the Claims:

     This listing of claims will replace all prior versions, and listings of claims in the application:

     Listing of Claims:

 1                    1.       (Previously presented) A nucleic acid-lipid particle comprising:
2                     (a) a nucleic acid;
3                     (b) a cationic lipid comprising from about 50 mol % to about 65 mol % of the
4                          total lipid present in the particle;
5                     (c) a non-cationic lipid comprising a mixture of a phospholipid and cholesterol or
 6                         a derivative thereof, wherein the phospholipid comprises from about 4 mol %
 7                         to about 10 mol % of the total lipid present in the particle and the cholesterol
 8                         or derivative thereof comprises from about 30 mol % to about 40 mol % of the
 9                         total lipid present in the particle; and
IO                    (d) a conjugated lipid that inhibits aggregation of particles comprising from about
11                         0.5 mol % to about 2 mol % of the total lipid present in the particle.

 1                    2.       (Original) The nucleic acid-lipid particle of claim 1, wherein the nucleic
 2   acid comprises a small interfering RNA (siRNA).

 1                    3.       (Original) The nucleic acid-lipid particle of claim 2, wherein the siRNA
 2   comprises from about 15 to about 60 nucleotides.

 1                    4.       (Original) The nucleic acid-lipid particle of claim 2, wherein the siRNA
 2   comprises at least one modified nucleotide.

 1                    5.       (Original) The nucleic acid-lipid particle of claim 2, wherein the siRNA
 2   comprises at least one 2'-O-methyl (2'OMe) nucleotide.

 1                    6-8.     (Canceled)




                                                      Page 2 of7
                                                                                                     JA001845
                                                                                                    GENV-000 00678
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 508 of 1274 PageID #: 8814



    Appl. No. 12/424,367                                                                       PATENT
    Arndt. dated June 1, 2010
    Reply to Office Action of March 31, 2010



1                    9.      (Original) The nucleic acid-lipid particle of claim 1, wherein the cationic
2   lipid comprises from about 52 mol % to about 62 mol % of the total lipid present in the particle.

1                    10-13. (Canceled)

1                    14.     (Previously presented) The nucleic acid-lipid particle of claim 1, wherein
2   the phospholipid comprises dipalmitoylphosphatidylcholine (DPPC),
3   distearoylphosphatidylcholine (DSPC), or a mixture thereof.

1                    15-16. (Canceled)

1                    17.     (Original) The nucleic acid-lipid particle of claim 1, wherein the
2   conjugated lipid that inhibits aggregation of particles comprises a polyethyleneglyco l (PEG)-
3   lipid conjugate.

1                    18.      (Original) The nucleic acid-lipid particle of claim 17, wherein the PEG-
2   lipid conjugate comprises a PEG-diacylglycero l (PEG-DAG) conjugate, a PEG-dialkyloxypr opyl
3   (PEG-DAA) conjugate, or a mixture thereof.

1                    19.      (Original) The nucleic acid-lipid particle of claim 18, wherein the PEG-
2   DAA conjugate comprises a PEG-dimyristylox ypropyl (PEG-DMA) conjugate, a PEG-
3   distearyloxypropyl (PEG-DSA) conjugate, or a mixture thereof.

1                    20.      (Original) The nucleic acid-lipid particle of claim 19, wherein the PEG
2   has an average molecular weight of about 2,000 daltons.

1                    21.      (Original) The nucleic acid-lipid particle of claim 1, wherein the
2   conjugated lipid that inhibits aggregation of particles comprises from about 1 mol % to about 2
3   mol % of the total lipid present in the particle.




                                                   Page 3 of7
                                                                                                   JA001846
                                                                                                   GE NV-00000679
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 509 of 1274 PageID #: 8815



    Appl. No. 12/424,367                                                                        PATENT
    Arndt. dated June 1, 2010
    Reply to Office Action of March 31, 2010



1                    22.     (Original) The nucleic acid-lipid particle of claim 1, wherein the nucleic
2   acid in the nucleic acid-lipid particle is not substantially degraded after incubation of the particle
3   in serum at 37°C for 30 minutes.

1                    23.     (Original) The nucleic acid-lipid particle of claim 1, wherein the nucleic
2   acid is fully encapsulated in the nucleic acid-lipid particle.

1                    24.     (Original) The nucleic acid-lipid particle of claim 1, wherein the nucleic
2   acid-lipid particle has a lipid:nucleic acid mass ratio of from about 5 to about 15.

1                    25.     (Original) The nucleic acid-lipid particle of claim 1, wherein the nucleic
2   acid-lipid particle has a median diameter of from about 40 nm to about 150 nm.

1                    26.     (Original) A pharmaceutical composition comprising a nucleic acid-lipid
2   particle of claim 1 and a pharmaceutically acceptable carrier.

1                    27-37. (Canceled)

1                    38.     (Previously presented) The nucleic acid-lipid particle of claim 17,
2   wherein the nucleic acid-lipid particle comprises about 57.1 mol % cationic lipid, about 7.1 mol
3   % phospholipid, about 34.3 mol % cholesterol or a derivative thereof, and about 1.4 mol % PEG-
4   lipid conjugate.

1                    39-46. (Canceled)

1                    47.      (Previously presented) The nucleic acid-lipid particle of claim 1, wherein
2   the phospholipid comprises from about 5 mol % to about 9 mol % of the total lipid present in the
3   particle.

1                    48.      (Previously presented) The nucleic acid-lipid particle of claim 1, wherein
2   the cholesterol or derivative thereof comprises from about 32 mol % to about 36 mol % of the
3   total lipid present in the particle.




                                                  Page 4 of7
                                                                                                 JA001847
                                                                                                 GE NV-00000680
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 510 of 1274 PageID #: 8816



    Appl. No. 12/424,367                                                                      PATENT
    Arndt. dated June 1, 2010
    Reply to Office Action of March 31, 2010



1                    49-54. (Canceled)

1                    55.     (New) The nucleic acid-lipid particle of claim 1, wherein the cationic
2   lipid comprises 2,2-dilinoleyl-4-(2-dimethylaminoethyl)-[1,3]-dioxolane (DLin-K-C2-DMA).




                                                  Page 5 of7
                                                                                               JA001848
                                                                                              GE NV-00000681
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 511 of 1274 PageID #: 8817



   Appl. No. 12/424,367
                                                                                              PATENT
   Arndt. dated June 1, 2010
   Reply to Office Action of March 31, 2010


                                                  REMAR KS

   I.      STATUS OF THE CLAIMS
                  After entry of this amendme nt, claims 1-5, 9, 14, 17-26, 38, 47-48, and 55 are
   pending in this application and are presented for examination. Claims 6-8, 10-13, 15-16, 27-37,
   39-46, and 49-54 have been canceled without prejudice to future prosecuti on. Claim 55 is newly
   added and finds support in original claim 7.
                    As such, no new matter has been introduced with the foregoing amendments.
   Reconsid eration is respectfu lly requested.

   II.      ELECTI ON OF SPECIES
                  The Examiner has indicated that an election of species is required under 35 U.S.C.
   § 121. In response, Applican ts elect herewith the following species and provide a listing of the
   claims readable thereon:

            A.      Species 1
                  Applicants elect herewith a nucleic acid-lipid particle comprisin g a non-cationic
   lipid comprisin g a mixture of a phosphol ipid and cholesterol or a derivative thereof. Claims 1-5,
   9, 14, 17-26, 38, 47-48, and 55 read on the elected species. Applican ts note that the Examiner
   acknowle dges that the species in this group are patentabl y distinct because the phosphol ipid
   compone nt imparts specific qualities or functions to the particles (see, page 2 of the Restriction
   Requirement).
                  Applicants request that upon allowance of a generic claim, the Examiner consider
   rejoinder of withdraw n species if they are embraced by the allowed generic claim pursuant to 37
    C.F.R. § 1.141.

            B.       Species 2
                   Applicants have canceled claim 6 without prejudice to future prosecution, thereby
    rendering the species election moot with respect to this claim. Applican ts note that the Examiner
    acknowle dges that the species in this group are patentabl y distinct because each cationic lipid
    imparts distinct qualities to the claimed particles (see, page 4 of the Restrictio n Requirement).




                                                   Page 6 of7
                                                                                               JA001849
                                                                                               GE NV-000 00682
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 512 of 1274 PageID #: 8818



   Appl. No. 12/424,367                                                                       PATENT
   Arndt. dated June 1, 2010
   Reply to Office Action of March 31, 2010

            C.      Species 3
                    Applicants elect herewith dipalmitoylphosphatidylcholine (DPPC). Claims 1-5,
   9, 14, 17-26, 38, 47-48, and 55 read on the elected species. Applicants note that the Examiner
   acknowledges that the species in this group are patentably distinct because each phospholipid
   imparts distinct qualities to the claimed particles (see, page 6 of the Restriction Requirement).
                  Applicants request that upon allowance of a generic claim, the Examiner consider
   rejoinder of withdrawn species if they are embraced by the allowed generic claim pursuant to 37
   C.F.R. § 1.141.

            D.      Species 4
                    Applicants elect herewith a PEG-dialkyloxypropyl (PEG-DAA ) conjugate.
   Claims 1-5, 9, 14, 17-26, 38, 47-48, and 55 read on the elected species. Applicants note that the
   Examiner acknowledges that the species in this group are patentably distinct because each PEG-
   lipid conjugate imparts distinct qualities to the claimed particles (see, page 7 of the Restriction
   Requirement).
                  Applicants request that upon allowance of a generic claim, the Examiner consider
   rejoinder of withdrawn species if they are embraced by the allowed generic claim pursuant to 37
   C.F.R. § 1.141.
                     In view of the foregoing, Applicants respectfully request early action on the
   merits. If the Examiner believes a telephone conference would expedite prosecution of this
   application, please telephone the undersigned at 925-472-5000.

                                                           Respectfully submitted,

                                                          ~c-~
                                                           Joe C. Hao
                                                           Reg. No. 55,246

   TOWNSEN D and TOWNSEN D and CREW LLP
   Two Embarcadero Center, Eighth Floor
   San Francisco, California 94111-383 4
   Tel: 925-472-5000
   Fax: 415-576-0300
    62652628 vl




                                                  Page 7 of7
                                                                                               JA001850
                                                                                               GE NV-0000 0683
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 513 of 1274 PageID #: 8819




                   JOINT APPENDIX 58
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 514 of 1274 PageID #: 8820
                    UNITED STATES PATENT AND TRADEMARK OFFICE
                                                                              UNITED STATES DEPARTMENT OF COMMERCE
                                                                              United States Patent and Trademark Office
                                                                              Address: COMMISSIONER FOR PATENTS
                                                                                    P.O. Box 1450
                                                                                    Alexandria, Virginia 22313-14 50
                                                                                    www.uspto.gov




   APPLICATJON NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.               CONFIRMATION NO.

       12/424,367               04/15/2009               Edward Yaworski       020801-0077 lOlJS                        1406

       20350            7590             07/30/2010
                                                                                                    EXAMINER
       TOWNSEND AND TOWNSEND AND CREW, LLP
       'IWO EMBARCADERO CENTER                                                                PITRAK, JENNIFER S
       EIGHTH FLOOR
                                                                                  ART UNIT                        PAPER l'iUMBER
       SAN FRANCISCO, CA 94111-3834
                                                                                      1635



                                                                                  MAIL DATE                      DELIVERY MODE

                                                                                  07/30/2010                           PAPER


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)

                                                                                                           JA001851
                                                                                                          GE NV-00003301
   Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 515 of 1274 PageID #: 8821
                                                                                     Application No.                               Applicant(s)

                                                                                      12/424,367                                   YAWORSKI ET AL.
                      Office Action Summary                                          Examiner                                      Art Unit

                                                                                     JENNIFER PITRAK                               1635
                 -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
  Period for Reply
        A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE 1 MONTH(S) OR THIRTY (30) DAYS,
        WHICHEVER IS LONGER, FROM THE MAILING DATE OF THIS COMMUNICATION.
           Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
           after SIX (6) MONTHS from the mailing date of this communication.
           If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
           Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
           Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
           earned patent term adjustment. See 37 CFR 1.704(b).

  Status

         1)12:l Responsive to communication(s) filed on 01 June 2010.
       2a)0 This action is FINAL.                                  2b)l2:I This action is non-final.
         3)0 Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
                 closed in accordance with the practice under Ex parte Quayle, 1935 C.D. 11, 453 O.G. 213.

  Disposition of Claims

         4)12:l Claim(s) 1-5.9.14.17-26.38.47.48 and 55 is/are pending in the application.
                 4a) Of the above claim(s) _ _ is/are withdrawn from consideration.
         5)0 Claim(s) _ _ is/are allowed.
         6)12:l Claim(s) 1-5.9.14.17-26.38.47.48 and 55 is/are rejected.
         7)0 Claim(s) _ _ is/are objected to.
         8)0 Claim(s) _ _ are subject to restriction and/or election requirement.

  Application Papers

         9)0 The specification is objected to by the Examiner.
       10)0 The drawing(s) filed on _ _ is/are: a)O accepted or b)O objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                  Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121 (d).
       11 )0 The oath or declaration is objected to by the Examiner. Note the attached Office Action or form PT0-152.

  Priority under 35 U.S.C. § 119

       12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
             a)O All         b)O Some* c)O None of:
                  1.0 Certified copies of the priority documents have been received.
                 2.0 Certified copies of the priority documents have been received in Application No. _ _ .
                 3.0 Copies of the certified copies of the priority documents have been received in this National Stage
                           application from the International Bureau (PCT Rule 17 .2(a)).
             *Seethe attached detailed Office action for a list of the certified copies not received.




  Attachment(s)
  1)   l2J Notice of References Cited (PTO-892)                                                    4)   0 Interview Summary (PTO-413)
  2)   0 Notice of Draftsperson's Patent Drawing Review (PTO-948)                                          Paper No(s)/Mail Date. _ _ .
  3)   l2J Information Disclosure Statement(s) (PTO/SB/08)                                         5)   0 Notice of Informal Patent Application
          Paper No(s)/Mail Date 6/8/10.                                                            6)   0 Other: _ _ .
U.S. Patent and Trademark Office
PTOL-326 (Rev. 08-06)                                                   Office Action Summary                                 Part of Paper No./Mail Date 20100721



                                                                                                                                                   JA001852
                                                                                                                                                  GE NV-00003302
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 516 of 1274 PageID #: 8822


    Application/Control Number: 12/424,367                                                           Page2
    Art Unit: 1635

                                          DETAILED ACTION




                                           Election/Restrictions

            The requirement for election of species presented in the Office Action mailed 3/31/2010

    has been withdrawn. Upon further consideration, the species are deemed to be patentably

    indistinct.

            Claims 1-5, 9, 14, 17-26, 38, 47, 48, and 55 are pending and are under examination.




                                                  Priority

            Applicant's claim for the benefit of a prior-filed application under 35 U.S.C. 119(e) or

    under 35 U.S.C. 120, 121, or 365(c) is acknowledged. Applicant has not complied with one or

    more conditions for receiving the benefit of an earlier filing date under 35 U.S.C. 120 as follows:

    The later-filed application must be an application for a patent for an invention which is also

    disclosed in the prior application (the parent or original nonprovisional application or provisional

    application). The disclosure of the invention in the parent application and in the later-filed

    application must be sufficient to comply with the requirements of the first paragraph of 35

    U.S.C. 112. See Transco Products, Inc. v. Performance Contracting, Inc., 38 F.3d 551, 32

    USPQ2d 1077 (Fed. Cir. 1994).

            The disclosure of the prior-filed application, Application No. 61/045228, fails to provide

    adequate support or enablement in the manner provided by the first paragraph of 35 U.S.C. 112




                                                                                              JA001853
                                                                                              GE NV-00003303
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 517 of 1274 PageID #: 8823


    Application/Control Number: 12/424,367                                                                              Page 3
    Art Unit: 1635

    for one or more claims of this application. Application No. 61/046228 does not provide

    adequate support for claim 55. Therefore, claim 55 is afforded the benefit of the instant filing

    date, 04/15/2009.




                                          Claim Rejections- 35 USC§ 103

           The following is a quotation of 35 U.S.C. 103(a) which forms the basis for all

    obviousness rejections set forth in this Office action:

           (a) A patent may not be obtained though the invention is not identically disclosed or described as set forth in
           section 102 of this title, if the differences between the subject matter sought to be patented and the prior art are
           such that the subject matter as a whole would have been obvious at the time the invention was made to a person
           having ordinary skill in the art to which said subject matter pertains. Patentability shall not be negatived by the
           manner in which the invention was made.




    MacLachlan, et al. (US 2006/0008910, copending application 11/148152)

           Claims 1-4, 9, 14, 17-26, 38, 47, and 48 are rejected under 35 U.S.C. 103(a) as being

    unpatentable over MacLachlan, et al. (US 2006/0008910, of record, item 10 on 06/08/2010 IDS)

    ("MacLachlan").

           The claims are to a nucleic acid lipid particle comprising a nucleic acid, a cationic lipid, a

    noncationic lipid mixture of phospholipid and cholesterol, and a conjugated lipid. The claims are

    further directed to the particle wherein the nucleic acid is an siRNA, the relative amounts of

    components are specified, and the lipids are specified.

           MacLachlan teaches lipid encapsulated interfering RNA in the form of stable nucleic

    acid-lipid particles ("SNALP") comprising an siRNA, a cationic lipid, phospholipid, cholesterol,




                                                                                                                   JA001854
                                                                                                                  GE NV-00003304
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 518 of 1274 PageID #: 8824


    Application/Control Number: 12/424,367                                                        Page4
    Art Unit: 1635

    and a conjugated lipid (page 4, paragraph 56; pages 7-11, paragraphs 84-119; claim 5) wherein

    the siRNA is from about 15-60 nucleotides (claim 6), the conjugated lipid is PEG-DMA and has

    an average molecular weight of about 2000 daltons (claim 13; paragraphs 91, 95, and 96), and

    the phospholipid is DSPC (paragraphs 62 and 91 ). MacLachlan also teaches the SNALP

    wherein the cationic lipid is from about 2 mol % to about 60 mol % of the total lipid present in

    the particle (paragraph 85), the phospholipid is from about 5% to about 90% or from about 10%

    to about 85% of the total lipid present in the particle (paragraph 85), the cholesterol is from about

    20% to about 55% of the total lipid present in the particle (paragraph 85, top of page 8), and the

    conjugated lipid is from about 1% to about 20% of the total lipid present in the particle

    (paragraph 85). MacLachlan teaches that it will be readily apparent to one of skill in the art that

    the proportions of the components of the nucleic acid lipid particles may be varied (p.8,

    paragraph 85). MacLachlan teaches that the particles can be formulated in pharmaceutically

    acceptable carriers (page 18, paragraphs 205-7). MacLachlan teaches the particles having a

    lipid:nucleic acid mass ratio of from 12.5-100 (nucleic acid:lipid ratio from 0.01-0.08, page 15,

    paragraph 162) and having a median diameter of less than about 150 nm (claims 4 and 20).

    MacLachlan also teaches that the nucleic acids of the particles can comprise modified

    nucleotides (page 6, paragraph 73).

           It would have been obvious to one of skill in the art at the time the instant invention was

    made to make a nucleic acid lipid particle comprising an siRNA, a cationic lipid, a phospholipid,

    cholesterol, and a PEG-conjugate because MacLachlan teaches such a particle. It would have

    been obvious to make the particle comprising the instantly claimed components and having the

    instantly claimed physical properties of claims 23-25 because MacLachlan teaches the particles




                                                                                              JA001855
                                                                                             GE NV-00003305
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 519 of 1274 PageID #: 8825


    Application/Control Number: 12/424,367                                                        Page 5
    Art Unit: 1635

    comprising such components. It further would have been obvious to formulate the particles with

    the instantly claimed amounts of the individual components because MacLachlan teaches

    particles formulated with ranges of amounts that overlap with the instantly claimed ranges and

    teaches that the proportions of the components can be varied by those of skill in the art. Thus, by

    routine experimentation towards optimization, one of skill in the art could arrive at the instantly

    claimed proportions. Absent evidence to the contrary, the nucleic acid lipid particles of

    MacLachlan would not be substantially degraded after incubation of the particle in serum at

    37°C for 30 minutes (claim 22). Therefore, the claims would have beenprimafacie obvious at

    the time the instant invention was made.



    MacLachlan, et al. (US 2006/0008910) and Fosnaugh, et al. (US 2003/0143732)

           Claims 1-5, 9, 14, 17-26, 38, 47, and 48 are rejected under 35 U.S.C. 103(a) as being

    unpatentable over MacLachlan, et al. (US 2006/00089 l 0, of record, item l 0 on 06/08/2010 IDS)

    as applied to claims 1-4, 9, 14, 17-26, 38, 47, and 48 above, and further in view of Fosnaugh, et

    al. (US 2003/0143732, ofrecord, item 3 on 06/08/2010 IDS).

           Claims 1-4, 9, 14, 17-26, 38, 47, and 48 are described above and are obvious as described

    in the preceding rejection.

           Claim 5 is to the nucleic acid lipid particle wherein the siRNA of the particle comprises a

    2'-O-methyl modification.

           MacLachlan teaches SNALPs as described in the preceding rejection. MacLachlan does

    not teach the SNALPs wherein the siRNA is 2'-O-methyl-modified.




                                                                                             JA001856
                                                                                             GE NV-00003306
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 520 of 1274 PageID #: 8826


    Application/Control Number: 12/424,367                                                                                 Page 6
    Art Unit: 1635

            Fosnaugh teaches siRNAs and that siRNAs can be modified with 2'-O-methyl

    modifications to increase siRNA nuclease resistance (pages 4-5, paragraph 34).

            It would have been obvious to make the SNALP of MacLachlan with an siRNA

    comprising a 2'-O-methyl modification because Fosnaugh teaches that such modification

    enhances siRNA resistance to nuclease degradation. One of skill would recognize that

    increasing nuclease resistance of the siRNA would improve the serum stability of the siRNA,

    which would add to the serum stability afforded to the siRNA by its inclusion in the SNALP.

    Therefore, the claims would have beenprimafacie obvious at the time the instant invention was

    made.




                                            Claim Rejections- 35 USC§ 102

            The following is a quotation of the appropriate paragraphs of 35 U.S.C. l 02 that form the

    basis for the rejections under this section made in this Office action:

            A person shall be entitled to a patent unless -

            (e) the invention was described in (1) an application for patent, published under section 122(b), by another filed
            in the United States before the invention by the applicant for patent or (2) a patent granted on an application for
            patent by another filed in the United States before the invention by the applicant for patent, except that an
            international application filed under the treaty defined in section 351 (a) shall have the effects for purposes of this
            subsection of an application filed in the United States only if the international application designated the United
            States and was published under Article 21(2) of such treaty in the English language.



            Claim 55 is rejected under 35 U.S.C. 102(e) as being anticipated by MacLachlan, et al.

    (US 2009/0291131) ("MacLachlan 2").

            The applied reference has a common inventor with the instant application. Based upon

    the earlier effective U.S. filing date of the reference, it constitutes prior art under 35 U.S.C.




                                                                                                                     JA001857
                                                                                                                    GE NV-00003307
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 521 of 1274 PageID #: 8827


    Application/Control Number: 12/424,367                                                          Page 7
    Art Unit: 1635

    102(e). This rejection under 35 U.S.C. 102(e) might be overcome either by a showing under 37

    CFR 1.132 that any invention disclosed but not claimed in the reference was derived from the

    inventor of this application and is thus not the invention "by another," or by an appropriate

    showing under 37 CFR 1.131.

           Claim 55 is to a nucleic acid lipid particle as described previously wherein the cationic

    lipid is DLin-K-C2-DMA.

           MacLachlan 2 teaches SNALPs comprising siRNAs, cationic lipid, phospholipid,

    cholesterol, and a conjugated lipid. MacLachlan 2 teaches that the cationic lipid can be 2,2 -

    dilinoleyl-4 -dimethylaminoethyl-[1,3] -dioxolane (DLin-K-XTC2-DMA), which is the same as

    the instantly claimed DLin-K-C2-DMA (page 3, paragraph 22). MacLachlan 2 teaches that the

    SNALPs may comprise the cationic lipid from about 50 mol % to about 65 mol %, the

    phospholipid from about 4 mol % to about 10 mol %, cholesterol from about 30 mol % to about

    40 mol %, and the conjugated lipid from about 0.5 mol % to about 2 mol % of the total lipid in

    the particle. Therefore, MacLachlan 2 anticipates the instant claim.




                                             Double Patenting

           The nonstatutory double patenting rejection is based on a judicially created doctrine

    grounded in public policy (a policy reflected in the statute) so as to prevent the unjustified or

    improper timewise extension of the "right to exclude" granted by a patent and to prevent possible

    harassment by multiple assignees. A nonstatutory obviousness-type double patenting rejection

    is appropriate where the conflicting claims are not identical, but at least one examined




                                                                                               JA001858
                                                                                               GE NV-00003308
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 522 of 1274 PageID #: 8828


    Application/Control Number: 12/424,367                                                       Page 8
    Art Unit: 1635

    application claim is not patentably distinct from the reference claim(s) because the examined

    application claim is either anticipated by, or would have been obvious over, the reference

    claim(s). See, e.g., In re Berg, 140 F.3d 1428, 46 USPQ2d 1226 (Fed. Cir. 1998); In re

    Goodman, 11 F.3d 1046, 29 USPQ2d 2010 (Fed. Cir. 1993); In re Langi, 759 F.2d 887,225

    USPQ 645 (Fed. Cir. 1985); In re Van Ornum, 686 F.2d 937,214 USPQ 761 (CCPA 1982); In re

    Vogel, 422 F.2d 438, 164 USPQ 619 (CCPA 1970); and In re Thorington, 418 F.2d 528, 163

    USPQ 644 (CCPA 1969).

           A timely filed terminal disclaimer in compliance with 37 CFR l.321(c) or l.321(d) may

    be used to overcome an actual or provisional rejection based on a nonstatutory double patenting

    ground provided the conflicting application or patent either is shown to be commonly owned

    with this application, or claims an invention made as a result of activities undertaken within the

    scope of a joint research agreement.

           Effective January 1, 1994, a registered attorney or agent of record may sign a terminal

    disclaimer. A terminal disclaimer signed by the assignee must fully comply with 37 CFR

    3.73(b).



    12/343342

           Claims 1-5, 14, 17-19, 23-26, 38, and 55 are provisionally rejected on the ground of

    nonstatutory obviousness-type double patenting as being unpatentable over claims 24, 25, 26,

    30-32, 43, 44,, 120, 123, 124, and 125 of copending Application No. 12/343342. Although the

    conflicting claims are not identical, they are not patentably distinct from each other because the

    claims of the '342 application are directed to siRNA-lipid particles having the same proportions




                                                                                             JA001859
                                                                                            GE NV-00003309
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 523 of 1274 PageID #: 8829


    Application/Control Number: 12/424,367                                                        Page 9
    Art Unit: 1635

    of components and the same components as instantly claimed, except for the conjugated lipid

    component, which is limited to about 0.5 mol % to about 2 mol % in the instant case and is

    limited to about 1 mol % to about 15 mol % in the '342 claims. The lower limit of the mol % of

    the conjugated lipid component in the '342 claims overlaps with the instantly claimed mo!%

    range. The instant claims would have been obvious by routine optimization of the '342 claims.

    The instant claim 55 is obvious over the '342 claims because the '342 application teaches that

    DLin-K-XTC2-DMA is one cationic lipid useful in the claimed nucleic acid-lipid particles (see

    rejection under 35 USC 102(e) above).

           This is a provisional obviousness-type double patenting rejection because the conflicting

    claims have not in fact been patented.



    11/148152

           Claims 1-5, 9, 14, 17-26, 38, 47, and 48 are provisionally rejected on the ground of

    nonstatutory obviousness-type double patenting as being unpatentable over claims 1-15 and 38-

    46 of copending Application No. 11/148152 in view of Fosnaugh, et al. (US 2003/0143732, of

    record, item 3 on 06/08/2010 IDS). Although the conflicting claims are not identical, they are

    not patentably distinct from each other because the claims of the '152 application are directed to

    siRNA-lipid particles comprising the instantly claimed components and the disclosure describes

    that the components can comprise the particles in proportions that overlap with the instantly

    claimed proportions as indicated above in the rejection under 35 USC § 103. Fosnaugh, et al.

    teaches that siRNAs can be modified with 2'-O-methyl groups, rendering the instant claim 5




                                                                                            JA001860
                                                                                            GENV-00003310
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 524 of 1274 PageID #: 8830


    Application/Control Number: 12/424,367                                                        Page 10
    Art Unit: 1635

    obvious also as indicated above. See rejection under 35 USC 103(a) for the obviousness analysis

    of the instant claims.

            This is a provisional obviousness-type double patenting rejection because the conflicting

    claims have not in fact been patented.



    11/174453

            Claims 1-5, 9, 14, 17-19, 21, 22, 23, 25, 26, 38, 47, and48 are provisionally rejected on

    the ground of nonstatutory obviousness-type double patenting as being unpatentable over claims

    10, 11, 13, 14, 15, 16, 17, 18, 19,22,23,24,25,26,27,43,44,45,47,48,49,51,and53of

    copending Application No. 11/174453 in view of Fosnaugh, et al. (US 2003/0143732, ofrecord,

    item 3 on 06/08/2010 IDS).

           Although the conflicting claims are not identical, they are not patentably distinct from

    each other because the claims of the '453 application are directed to siRNA-lipid particles

    comprising the instantly claimed components in ranges of proportions that encompass or overlap

    with the instantly claimed proportions. Thus, by routine experimentation towards optimization,

    one of skill in the art could arrive at the instantly claimed proportions. Fosnaugh, et al. teaches

    that siRNAs can be modified with 2'-O-methyl groups to enhance siRNA stability. Therefore, it

    would have been obvious to one of skill in the art to modify the siRNA of the '453 claims with a

    2'-O-methyl modification to improve the stability of the siRNA.

            This is a provisional obviousness-type double patenting rejection.




                                                                                              JA001861
                                                                                             GENV-00003311
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 525 of 1274 PageID #: 8831


    Application/Control Number: 12/424,367                                                          Page 11
    Art Unit: 1635

    11/283550

           Claims 1-5, 9, 14, 17-26, 38, 47, and 48 are provisionally rejected on the ground of

    nonstatutory obviousness-type double patenting as being unpatentable over claims 1, 4, 5, 7, 9,

    10, l 1, 13, 14, 15, 16, 17, 19, 22, 24, 26, 27, 29, 30, 31, 32, 33, 34, 35, 37, 38, 39, 57, 58, 59, 60,

    61, 62, 64, 65, 66, 67, 68, 69, and 71 of copending Application No. 11/283550. Although the

    conflicting claims are not identical, they are not patentably distinct from each other because the

    claims of the '550 application are directed to siRNA-lipid particles comprising the instantly

    claimed components in ranges of proportions that encompass or overlap with the instantly

    claimed proportions. Thus, by routine experimentation towards optimization, one of skill in the

    art could arrive at the instantly claimed proportions of components.

           This is a provisional obviousness-type double patenting rejection because the conflicting

    claims have not in fact been patented.



    11/426907

           Claims 1-5, 9, 14, 17-26, 38, 47, and 48 are provisionally rejected on the ground of

    nonstatutory obviousness-type double patenting as being unpatentable over claims 1-4, 6-11, 52,

    55-60, 63-66, and 68-76 of copending Application No. l 1/426907. Although the conflicting

    claims are not identical, they are not patentably distinct from each other because the claims of

    the '907 application are directed to siRNA-lipid particles comprising the instantly claimed

    components in ranges of proportions that encompass or overlap with the instantly claimed

    proportions. Thus, by routine experimentation towards optimization, one of skill in the art could

    arrive at the instantly claimed proportions of components.




                                                                                                 JA001862
                                                                                                GENV-00003312
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 526 of 1274 PageID #: 8832


    Application/Control Number: 12/424,367                                                       Page 12
    Art Unit: 1635

           This is a provisional obviousness-type double patenting rejection because the conflicting

    claims have not in fact been patented.



    11/511855

           Claims 1-5, 9, 14, 17-26, 38, 47, and 48 are provisionally rejected on the ground of

    nonstatutory obviousness-type double patenting as being unpatentable over claims 70, 71, 72, 73,

    74, and 75 of copending Application No. 11/511855. Although the conflicting claims are not

    identical, they are not patentably distinct from each other because the claims of the '855

    application are directed to methods of using siRNA-lipid particles and the disclosure teaches that

    the particles may comprising the instantly claimed components in ranges of proportions that

    encompass or overlap with the instantly claimed proportions. Thus, by routine experimentation

    towards optimization, one of skill in the art could arrive at the instantly claimed proportions of

    components.

           This is a provisional obviousness-type double patenting rejection because the conflicting

    claims have not in fact been patented.



    11/584341

           Claims 1-5, 9, 14, 17-26, 38, 47, and 48 are provisionally rejected on the ground of

    nonstatutory obviousness-type double patenting as being unpatentable over claims 16, 17, 18, 20,

    21,22,23,24,25,26,27,28,29,31,33,34,35,36,38-42,44-46, 73, 74, 76, 77, 78,80,and91-

    95 of copending Application No. 11/584341. Although the conflicting claims are not identical,

    they are not patentably distinct from each other because the claims of the '341 application are




                                                                                             JA001863
                                                                                             GENV-00003313
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 527 of 1274 PageID #: 8833


    Application/Control Number: 12/424,367                                                      Page 13
    Art Unit: 1635

    directed to siRNA-lipid particles comprising the instantly claimed components in ranges of

    proportions that encompass or overlap with the instantly claimed proportions. Thus, by routine

    experimentation towards optimization, one of skill in the art could arrive at the instantly claimed

    proportions of components.

           This is a provisional obviousness-type double patenting rejection because the conflicting

    claims have not in fact been patented.



    11/592756

           Claims 1-5, 9, 14, 17-26, 38, 47, and 48 are provisionally rejected on the ground of

    nonstatutory obviousness-type double patenting as being unpatentable over claims 59-61, 63-72,

    74, 76-79, 81-89, 182,, 183, 184, and 187 of copending Application No. 11/92756. Although

    the conflicting claims are not identical, they are not patentably distinct from each other because

    the claims of the '756 application are directed to siRNA-lipid particles comprising the instantly

    claimed components in ranges of proportions that encompass or overlap with the instantly

    claimed proportions. Thus, by routine experimentation towards optimization, one of skill in the

    art could arrive at the instantly claimed proportions of components.

           This is a provisional obviousness-type double patenting rejection because the conflicting

    claims have not in fact been patented.



    11/807872

           Claims 1-5, 9, 14, 17-26, 38, 47, and 48 are provisionally rejected on the ground of

    nonstatutory obviousness-type double patenting as being unpatentable over claims 44-55 of




                                                                                             JA001864
                                                                                            GE NV-00003314
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 528 of 1274 PageID #: 8834


    Application/Control Number: 12/424,367                                                     Page 14
    Art Unit: 1635

    copending Application No. 11/807872. Although the conflicting claims are not identical, they

    are not patentably distinct from each other because the claims of the '872 application are directed

    to siRNA-lipid particles comprising the instantly claimed components in ranges of proportions

    that encompass or overlap with the instantly claimed proportions and the disclosure describes

    that the components can comprise the particles in proportions that encompass or overlap with the

    instantly claimed proportions. Thus, by routine experimentation towards optimization, one of

    skill in the art could arrive at the instantly claimed proportions of components.

           This is a provisional obviousness-type double patenting rejection because the conflicting

    claims have not in fact been patented.



    12/359119

           Claims 1-5, 9, 14, 17-26, 38, 47, and 48 are provisionally rejected on the ground of

    nonstatutory obviousness-type double patenting as being unpatentable over claims 29-39 of

    copending Application No. 12/359119. Although the conflicting claims are not identical, they

    are not patentably distinct from each other because the claims of the '119 application are directed

    to siRNA-lipid particles comprising the instantly claimed components in ranges of proportions

    that encompass or overlap with the instantly claimed proportions and the disclosure describes

    that the components can comprise the particles in proportions that encompass or overlap with the

    instantly claimed proportions. Thus, by routine experimentation towards optimization, one of

    skill in the art could arrive at the instantly claimed proportions of components.

           This is a provisional obviousness-type double patenting rejection because the conflicting

    claims have not in fact been patented.




                                                                                            JA001865
                                                                                            GENV-00003315
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 529 of 1274 PageID #: 8835


    Application/Control Number: 12/424,367                                                   Page 15
    Art Unit: 1635



                                              Conclusion

           Any inquiry concerning this communication or earlier communications from the

    examiner should be directed to JENNIFER PITRAK whose telephone number is (571)270-3061.

    The examiner can normally be reached on Monday-Friday, 8:30AM-5:00PM, EST.

           If attempts to reach the examiner by telephone are unsuccessful, the examiner's

    supervisor, Christopher Low can be reached on 571-272-0951. The fax phone number for the

    organization where this application or proceeding is assigned is 571-273-8300.

           Information regarding the status of an application may be obtained from the Patent

    Application Information Retrieval (PAIR) system. Status information for published applications

    may be obtained from either Private PAIR or Public PAIR. Status information for unpublished

    applications is available through Private PAIR only. For more information about the PAIR

    system, see http://pair-direct.uspto.gov. Should you have questions on access to the Private PAIR

    system, contact the Electronic Business Center (EBC) at 866-217-9197 (toll-free). If you would

    like assistance from a USPTO Customer Service Representative or access to the automated

    information system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.




    /Jennifer Pitrak/
    Examiner, Art Unit 1635




                                                                                          JA001866
                                                                                          GENV-00003316
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 530 of 1274 PageID #: 8836




                   JOINT APPENDIX 59
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 531 of 1274 PageID #: 8837

                                                                                                                                             PTO/SB/05 (08-08)



                           UTILITY                                                  Attorney Docket No.            86399-802191 (007720US)

                      PATENT APPLICATION                                            First Inventor                 Edward Yaworski
                                                                                                                   NOVEL LIPID FORMULATIONS FOR
                         TRANSMITTAL                                                Title                          NUCLEIC ACID DELIVERY

           (Only for new nonprovisional applications under 37 CFR 1.53(b))          EFS Web Filing Date            October 5, 2011

                                                                                                                   Commissioner for Patents
                          APPLICATION ELEMENTS                                       ADDRESS TO:                   P.O. Box 1450
      See MPEP chapter 600 concerning utility patent application contents.                                         Alexandria, VA 22313-1450

 1. D Fee Transmittal Form (e.g., PTO/SB/17)                                                     ACCOMPANYING APPLICATION PARTS
 2. D Applicant claims small entity status.                                          9.     D Assignment Papers (cover sheet & document(s))
        See 37 CFR 1.27.
 3. rg] Specification                  [Total Pages 119                        l                 Name of Assignee
        Both the claims and abstract must start on a new page
              (For information on the preferred arrangement, see MPEP 608.01(a))
 4. rgJ Drawing(s) (35 U.S.C.113)                    [Total Sheets_2_4_J

 5. Oath or Declaration                                  [Total Sheets _ 2 _ J       10.    0 37 CFR 3.73(b) Statement                D Power of
      a.   D Newly executed (original or copy)                                                    (when there is an assignee)              Attorney
      b. rg] A copy from a prior application (37 CFR 1.63 (d))
             (for a continuation/divisional with Box 18 completed)                   11.    •    English Translation Document (if applicable)

          L     ODELETION OF INVENTOR(S)                                             12.    0 Information Disclosure Statement {PTO/SB/OB or PT0-1449)
                 Signed statement attached deleting inventor(s)
                 named in the prior application, see 37 CFR                                          D Copies of citations attached
                 1.63(d)(2) and 1.33(b).

 6.0 Application Data Sheet. See 37 CFR 1.76                                         13.    0 Preliminary Amendment
 7.   D CD-ROM or CD-R in duplicate, large table or
        Computer Program (Appendix)
                                                                                     14.    •    Return Receipt Postcard (MPEP 503)
                                                                                                  (Should be specifically itemized)
        D Landscape Table on CD
                                                                                     15. 0       Certified Copy of Priority Document(s)
 8.     Nucleotide and/or Amino Acid Sequence Submission                                          (if foreign priority is claimed)
         (if applicable, items a, - c. are required)
        a.     D  Computer Readable Form (CRF)                                       16.     0 Nonpublication Request under 35 U.S.C. 122 (b)(2)(B)(i).
        b.        Specification Sequence Listing on:                                              Applicant must attach form PTO/SB/35 or equivalent.
                 i.
                 ii. 0
                      •    CD-ROM or CD-R (2 copies); or
                           Paper
                                                                                     17.     •   Other:


         C.
               •      Statements verifying identity of above copies
 18. If a CONTINUING APPLICATION, check appropriate box, and supply the requisite information below and in the first sentence of the
 specification following the title, or in an Application Data Sheet under 37 CFR 1. 76:
     rg] Continuation                      D
                                          Divisional                        D
                                                                    Continuation-in-part (CIP) of prior application No: _1_2/424,367 ____________

        Prior application information:             Examiner Brian Whiteman                                Art Unit: 1635

                                                                     19. CORRESPONDENCE ADDRESS


 ~ The address associated with Customer Number:
                                                                     I
                                                                                   20350
                                                                                                           I
                                                                                                                 OR       D Correspondence address below
 Name

 Address

 City                                                            State                                         Zip Code
                                                           I



                                         ( ,_4 e-. r/.(.~1
 Country                                               I Telephone                                              Email
                                                                                                                                                                 .....
  Signature                                                                                                 Date
                                                                                                                      October 5, 2011
                                                          w


  Name                                                                                                                  Registration No.
                                JoeC. Hao C/                                                                            (Attornev/Aqent)   155,246
  (Print/Type)
 63760646 v1




                                                                                                                                                JA001867
                                                                                                                                                GENV-00003979
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 532 of 1274 PageID #: 8838



   Attorney Docket No.: 020801-007710US
   Client Ref. No.:                                                                                                         PTO/SB/01A (07-07)



        DECLARATION (37 CFR 1.63) FOR UTILITY OR DESIGN APPLICATION USING AN
                        APPLICATION DATA SHEET (37 CFR 1.76)

   Title of        NOVEL LIPID FORMULATIONS FOR NUCLEIC ACID DELIVERY
   Invention



   As the below named inventor(s), I/we declare that:

   This declaration is directed to:

                               D The attached application, or
                               ~ Application No. 12/424 367, filed on _A'-=p,...,ril....1,.,,5"-'-"""2=0-"0""'9_ _ _ _ _ _ _ _ _ _ ___,
                                      0   as amended on _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (if applicable);

   I/we believe that I/we am/are the original and first inventor(s) of the subject matter which is clalmed and for which a patent is
   sought;

   I/we have reviewed and understand the contents of the above-identified application, including the clalms, as amended by any
   amendment specifically referred to above;

   I/we acknowledge the duty to disclose to the United States Patent and Trademark Office all information known to me/us to be
   material to patentabilily as defined ln 37 CFR 1.56, including for continuation•in-part applications, material information which
   became available between the filing date of the prior application and the national or PCT International filing date of the
   continuation-in-part application.

                                                               WARNING:
  Petitioner/applicant is cautioned to avoid submitting personal information in documents filed in a patent application that may
  contribute to identity theft. Personal information such as social security numbers, bank account numbers, or credit card
  numbers (other than a check or credit card authorization form PTO-2038 submitted for payment purposes) is never required by
  the USPTO to support a petition or an application. If this type of personal information is included in documents submitted to
  the USPTO, petitioners/applicants should consider redacting such personal information from the documents before submitting
  them to the USPTO. Petitioner/applicant is advised that the record of a patent application is available to the public after
  publication of the application (unless a non•publication request in compliance with 37 CFR 1.213(a) is made in the application}
  or issuance of a patent. Furthermore, the record from an abandoned application may also be available to the public if the
  application is referenced in a published application or an issued patent (see 37 CFR 1.14). Checks and credit card
  authorization forms PTO-2038 submitted for payment purposes are not retained in the application file and therefore are not
  publicly available.

  All statements made herein of my/our own knowledge are true, all statements made herein on information and belief are
  believed to be true, and further that these statements were made with the knowledge that wilfful false statements and the like are
  punishable by fine or imprisonment, or both, under 18 U.S.C. 1001, and may jeopardize the validity of the application or any
  patent issuina thereon.

   FULL NAME OF INVENTOR(S)




   Inventor two:                                                         J 0~
                 --.-,1---------------------- Date: ---"-"-'-"--'--'-+,--l-+--------                   NOV oq
   Signature: -~~~~!/-2:"fL.~::________________ Citizen of:_C_a_n_a_d_a_ _ _ _ _ _ _ _ __

   ~ Additional inventors or a legal representative are being named on                                  additional form(s) attached hereto.


 62247018 v1




                                                                                                                                  JA001868
                                                                                                                                 GENV-00003980
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 533 of 1274 PageID #: 8839



  Attorney Docket No.: 020801-007710US
  Client Ref. No.:


       DECLAR ATION (37 CFR 1.63) FOR UTILITY OR DESIGN APPLICA TION USING AN
                       APPLICA TION DATA SHEET (37 CFR 1.76)-
                              ADDITIO NAL INVENTO R($)
                               Supplem ental Sheet 1 of 1


    FULL NAME OF INVENTOR(S)

    Inventor three:         Lloyd Jeffs           II               Date:    96 N..oY ~ q
    Signature:                r
                                  _J
                                  /
                                      ,   - _./\....               Citizen of: Canada/United Kingdom


    Inventor four:         Lome Palmer
                                                       '--......   Date:   ,A/,.;>v (,;   (.))O'f

    Signature:        ~~                                           Citizen of: Canada


    Inventor five:         l~acla,;;;h ia6 /                       Date:    lf!.Jo-.J. '-;}.,, z ~ '
    Signature:             (L_ q///<------                         Citizen of: Canada/United Kingdom
                       /                  -
    Inventor six:                                                  Date:

    Signature:                                                     Citizen of:


    Inventor seven:                                                Date:

    Signature:                                                     Citizen of:


    Inventor eight:                                                Date:

    Signature:                                                     Citizen of:


    Inventor nine:                                                 Date:

    Signature:                                                     Citizen of:


    Inventor ten:                                                  Date:

    Signature:                                                     Citizen of:


    Inventor eleven:                                               Date:

    Signature:                                                     Citizen of:


    Inventor twelve:                                               Date:

    Signature:                                                     Citizen of:




  62247018 v1




                                                                                                    JA001869
                                                                                                    GE NV-00003981
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 534 of 1274 PageID #: 8840




  Application Data Sheet


  Application Information

  Application number::
   Filing Date::                     10/05/11
   Application Type::                Regular
   Subject Matter::                  Utility
   Suggested classification::
   Suggested Group Art Unit::
   CD-ROM or CD-R??::
   Number of CD disks::
   Number of copies of CDs::
   Sequence Submission::
   Computer Readable Form (CRF)?::
   Number of copies of CRF::
   Title::                           NOVEL LIPID FORMULATIONS FOR NUCLEIC
                                     ACID DELIVERY
   Attorney Docket Number::          86399-802191 (007720US)
   Request for Early Publication::    No
   Request for Non-Publication::      No
   Suggested Drawing Figure::         1
   Total Drawing Sheets::             24
   Small Entity?::                    No
   Latin name::
   Variety denomination name::
   Petition included?::               No
   Petition Type::
   Licensed US Govt. Agency::
   Contract or Grant Numbers One::
   Secrecy Order in Parent Appl.::    No


    Page 1                                                           Initial 10/05/11


                                                                       JA001870
                                                                       GENV-000 03982
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 535 of 1274 PageID #: 8841




  Applicant Informatio n

  Applicant Authority Type::                 Inventor
   Primary Citizenship Country::             Canada
   Status::                                  Full Capacity
   Given Name::                              Edward
   Middle Name::
   Family Name::                             Yaworski
   Name Suffix::
   City of Residence::                       Maple Ridge
   State or Province of Residence::          BC
   Country of Residence::                    Canada
   Street of Mailing Address::               23106-123B Avenue
   City of Mailing Address::                 Maple Ridge
   State or Province of mailing address::    BC
   Country of mailing address::              Canada
   Postal or Zip Code of mailing address:: V2X9Z7


   Applicant Authority Type::                Inventor
   Primary Citizenship Country::             Canada
   Status::                                  Full Capacity
   Given Name::                              Kieu
   Middle Name::
   Family Name::                             Lam
   Name Suffix::
   City of Residence::                        Surrey
    State or Province of Residence::          BC
    Country of Residence::                    Canada
    Street of Mailing Address::               18871 71 Avenue
    City of Mailing Address::                 Surrey
    State or Province of mailing address::    BC
    Country of mailing address::              Canada

    Page 2                                                           Initial 10/05/11



                                                                       JA001871
                                                                       GENV-00 003983
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 536 of 1274 PageID #: 8842




  Postal or Zip Code of mailing address:: V4N5M7


  Applicant Authority Type::                Inventor
  Primary Citizenship Country::             United Kingdom
  Status::                                  Full Capacity
  Given Name::                              Lloyd
  Middle Name::
  Family Name::                             Jeffs
   Name Suffix::
   City of Residence::                      Delta
   State or Province of Residence::         BC
   Country of Residence::                   Canada
   Street of Mailing Address::              5218 Walnut Place
   City of Mailing Address::                Delta
   State or Province of mailing address::   BC
   Country of mailing address::             Canada
   Postal or Zip Code of mailing address:: V4K3B4


   Applicant Authority Type::               Inventor
   Primary Citizenship Country::            Canada
   Status::                                 Full Capacity
   Given Name::                             Lorne
   Middle Name::
   Family Name::                            Palmer
   Name Suffix::
   City of Residence::                      Vancouver
   State or Province of Residence::          BC
   Country of Residence::                    Canada
   Street of Mailing Address::               8076 Elliott Street
   City of Mailing Address::                 Vancouver
   State or Province of mailing address::    BC


    Page 3                                                          Initial 10/05/11


                                                                       JA001872
                                                                      GENV-000 03984
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 537 of 1274 PageID #: 8843




  Country of mailing address::                  Canada
  Postal or Zip Code of mailing address:: V5S2P2


  Applicant Authority Type::                    Inventor
  Primary Citizenship Country::                 Canada/United Kingdom
  Status::                                      Full Capacity
  Given Name::                                  Ian
   Middle Name::
   Family Name::                                Maclachla n
   Name Suffix::
   City of Residence::                          Mission
   State or Province of Residence::             BC
   Country of Residence::                       Canada
   Street of Mailing Address::                  8040 Aves Terrace
   City of Mailing Address::                    Mission
   State or Province of mailing address::       BC
   Country of mailing address::                 Canada
   Postal or Zip Code of mailing address:: V4S1 E5



   Correspondence Information

   Correspondence Customer Number::             20350

   Representative Information

   Representative Customer Number::             20350

   Domestic Priority Information

   Application::            Continuity Type::              Parent Application::   Parent Filing Date::

   This Application         Continuation of                12/424,367             04/15/09
   12/424,367               An Appn claiming               61/045,228             04/15/08
                            benefit under 35 USC
                            119(e)of


    Page4                                                                                Initial 10/05/11


                                                                                             JA001873
                                                                                             GENV-00 003985
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 538 of 1274 PageID #: 8844




  Foreign Priority Information

  Country::                       Application number::          Filing Date::



  Assignee Information

  Assignee Name::                           Protiva Biotherapeutics, Inc.
   Street of mailing address::              100-8900 Glenlyon Parkway
   City of mailing address::                Burnaby
   State or Province of mailing address::   BC
   Country of mailing address::             Canada
   Postal or Zip Code of mailing address:: V5J5J8




    Page 5                                                                      Initial 10/05/11


                                                                                  JA001874
                                                                                  GE NV-00003986
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 539 of 1274 PageID #: 8845
                                                                                            PATENT



       NOVEL LIPID FORMULATI ONS FOR NUCLEIC ACID DELIVERY
                       CROSS-REFERE NCES TO RELATED APPLICATIONS
     [0001]    The present application is a continuation of U.S. Application No. 12/424,367 filed
     April 15, 2009 which application claims priority to U.S. Provisional Application No.
5    61/045,228, filed April 15, 2008, the disclosures of which are herein incorporated by
     reference in their entirety for all purposes.

              STATEMENT REGARDING FEDERALLY SPONSORED RESEARCH OR
                                             DEVELOPMENT

     [0002]    Not applicable.

10                 NAMES OF PARTIES TO A JOINT RESEARCH AGREEMENT

     [0003]    Not applicable.

                              REFERENCE TO A "SEQUENCE LISTING"

     [0004]    Not applicable.

                                 BACKGROUND OF THE INVENTION
15   [0005]    RNA interference (RNAi) is an evolutionarily conserved process in which
     recognition of double-stranded RNA (dsRNA) ultimately leads to posttranscriptiona l
     suppression of gene expression. This suppression is mediated by short dsRNA, also called
     small interfering RNA (siRNA), which induces specific degradation of mRNA through
     complementary base pairing. In several model systems, this natural response has been
20   developed into a powerful tool for the investigation of gene function (see, e.g., Elbashir et al.,
     Genes Dev., 15:188-200 (2001); Hammond et al., Nat. Rev. Genet., 2:110-119 (2001)). More
     recently, it was discovered that introducing synthetic 21-nucleotide dsRNA duplexes into
     mammalian cells could efficiently silence gene expression.
     [0006]    Although the precise mechanism is still unclear, RN Ai provides a potential new
25   approach to downregulate or silence the transcription and translation of a gene of interest.
     For example, it is desirable to modulate (e.g., reduce) the expression of certain genes for the
     treatment of neoplastic disorders such as cancer. It is also desirable to silence the expression
     of genes associated with liver diseases and disorders such as hepatitis. It is further desirable
     to reduce the expression of certain genes for the treatment of atherosclerosis and its
30   manifestations, e.g., hypercholesterole mia, myocardial infarction, and thrombosis.


                                                      1


                                                                                              JA001875
                                                                                              GE NV-00003987
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 540 of 1274 PageID #: 8846



      [0007]    A safe and effective nucleic acid delivery system is required for RNAi to be
      therapeut ically useful. Viral vectors are relatively efficient gene delivery systems, but suffer
      from a variety oflimitat ions, such as the potential for reversion to the wild-type as well as
      immune response concerns. As a result, nonviral gene delivery systems are receiving
5     increasin g attention (Worgall et al., Human Gene Therapy, 8:37 (1997)~ Peeters et al.,
      Human Gene Therapy, 7:1693 (1996); Yei et al., Gene Therapy, 1:192 (1994); Hope et al.,
      Molecula r Membran e Biology, 15: 1 (1998)). Furtherm ore, viral systems are rapidly cleared
      from the circulatio n, limiting transfecti on to "first-pas s" organs such as the lungs, liver, and
      spleen. In addition, these systems induce immune responses that comprom ise delivery with
10    subseque nt injections.
      [0008]  Plasmid DNA-cat ionic liposome complexe s are currently the most commonl y
      employed nonviral gene delivery vehicles (Feigner, Scientific American , 276: 102 (1997);
      Chonn et al., Current Opinion in Biotechno logy, 6:698 (1995)). For instance, cationic
      liposome complexe s made of an amphipat hic compoun d, a neutral lipid, and a detergent for
15    transfecti ng insect cells are disclosed in U.S. Patent No. 6,458,382 . Cationic liposome
      complexe s are also disclosed in U.S. Patent Publicati on No. 20030073 640.
       [0009}   Cationic liposome complexe s are large, poorly defined systems that are not suited
       for systemic applicatio ns and can elicit considera ble toxic side effects (Harrison et al.,
       Biotechni ques, 19:816 (1995); Li et al., The Gene, 4:891 (1997); Tam et al, Gene Ther.,
20     7:1867 (2000)). As large, positively charged aggregate s, lipoplexe s are rapidly cleared when
       administe red in vivo, with highest expressio n levels observed in first-pass organs, particular ly
       the lungs (Huang et al., Nature Biotechno logy, 15:620 (1997); Templeto n et al., Nature
       Biotechn ology, 15:647 (1997); Hofland et al., Pharmac eutical Research , 14:742 (1997)).
       [0010]    Other liposoma l delivery systems include, for example, the use of reverse micelles,
25     anionic liposome s, and polymer liposome s. Reverse micelles are disclosed in U.S. Patent No.
       6,429,200 . Anionic liposome s are disclosed in U.S. Patent Publicati on No. 20030026 831.
       Polymer liposome s that incorpora te dextrin or glycerol- phosphoc holine polymers are
       disclosed in U.S. Patent Publicati on Nos. 20020081 736 and 20030082 103, respectiv ely.
       [0011] A gene deJivery system containin g an encapsula ted nucleic acid for systemic
 30    delivery should be small (i.e., less than about 100 nm diameter) and should remain intact in
       the circulatio n for an extended period of time in order to achieve delivery to affected tissues.
        This requires a highly stable, serum-re sistant nucleic acid-cont aining particle that does not
        interact with cells and other compone nts of the vascular compartm ent. The particle should



                                                          2


                                                                                                  JA001876
                                                                                                  GE NV-000 03988
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 541 of 1274 PageID #: 8847



     also readily interact with target cells at a disease site in order to facilitate intracellular
     delivery of a desired nucleic acid.
     [0012]  Recent work has shown that nucleic acids can be encapsulated in small (e.g., about
     70 nm diameter) "stabilized plasmid-lipid particles" (SPLP) that consist of a single plasmid
5    encapsulated within a bilayer lipid vesicle (Wheeler et al., Gene Therapy, 6:271 (1999)).
     These SPLPs typically contain the "fusogenic" lipid dioleoylphosp hatidylcthano lamine
     (DOPE), low levels of cationic lipid, and are stabilized in aqueous media by the presence of a
     poly(ethylene glycol) (PEG) coating. SPLPs have systemic application as they exhibit
     extended circulation lifetimes following intravenous (i.v.) injection, accumulate preferentially
10   at distal tumor sites due to the enhanced vascular permeability in such regions, and can
     mediate trans gene expression at these tumor sites. The levels of trans gene expression
     observed at the tumor site following i.v. injection of SPLPs containing the luciferase marker
     gene are superior to the levels that can be achieved employing plasmid DNA-cationic
     liposome complexes (lipoplexes) or naked DNA.
15   [0013]  Thus, there remains a strong need in the art for novel and more efficient methods
     and compositions for introducing nucleic acids such as siRNA into cells. In addition, there is
     a need in the art for methods of downregulatin g the expression of genes of interest to treat or
     prevent diseases and disorders such as cancer and atherosclerosi s. The present invention
     addresses these and other needs.

20                               BRIEF SUMMARY OF THE INVENTION
      [0014]   The present invention provides novel, serum-stable lipid particles comprising one or
      more active agents or therapeutic agents, methods of making the lipid particles, and methods
      of delivering and/or administering the lipid particles (e.g., for the treatment of a disease or
      disorder).
25    [0015]   In preferred embodiments , the active agent or therapeutic agent is fully encapsulated
      within the lipid portion of the lipid particle such that the active agent or therapeutic agent in
      the lipid particle is resistant in aqueous solution to enzymatic degradation, e.g., by a nuclease
      or protease. In other preferred embodiments , the lipid particles are substantially non-toxic to
      mammals such as humans.
30    [0016]   In one aspect, the present invention provides lipid particles comprising: (a) one or
      more active agents or therapeutic agents; (b) one or more cationic lipids comprising from
      about 50 mol % to about 85 mol % of the total lipid present in the particle; (c) one or more
      non-cationic lipids comprising from about 13 mol % to about 49.5 mol % of the total lipid



                                                          3


                                                                                                      JA001877
                                                                                                      GENV-000 03989
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 542 of 1274 PageID #: 8848



     present in the particle; and (d) one or more conjugated lipids that inhibit aggregation of
     particles comprising from about 0.5 mol % to about 2 mol % of the total lipid present in the
     particle.
     [0017]    More particularly , the present invention provides serum-stab le nucleic acid-lipid
5    particles (SNALP) comprising a nucleic acid (e.g., one or more interfering RNA molecules
     such as siRNA, aiRNA, and/or miRNA), methods of making the SN ALP, and methods of
     delivering and/or administeri ng the SNALP (e.g., for the treatment of a disease or disorder).
     [0018]    In certain embodimen ts, the nucleic acid-lipid particle (e.g., SNALP) comprises: (a)
     a nucleic acid (e.g., an interfering RNA); (b) a cationic lipid comprising from about 50 mol %
10   to about 85 mol % of the total lipid present in the particle; ( c) a non-cation ic lipid comprising
     from about 13 mol % to about 49.5 mol % of the total lipid present in the particle; and (d) a
     conjugated lipid that inhibits aggregatio n of particles comprising from about 0.5 mol % to
     about 2 mol % of the total lipid present in the particle.
     [0019]  In one preferred embodimen t, the nucleic acid-lipid particle (e.g., SNALP)
15   comprises: (a) an siRNA; (b) a cationic lipid comprising from about 56.5 mol % to about
     66.5 mol % of the total lipid present in the particle; (c) cholesterol or a derivative thereof
     comprising from about 31.5 mol % to about 42.5 mol % of the total lipid present in the
     particle; and (d) a PEG-lipid conjugate comprising from about 1 mol % to about 2 mol % of
     the total lipid present in the particle. This preferred embodimen t of nucleic acid-lipid particle
20    is generally referred to herein as the "l :62" formulation .
      [0020]  In another preferred embodimen t, the nucleic acid-lipid particle (e.g., SN ALP)
      comprises: (a) an siRNA; (b) a cationic lipid comprising from about 52 mol % to about 62
      mol % of the total lipid present in the particle; (c) a mixture of a phospholip id and cholesterol
      or a derivative thereof comprising from about 36 mol % to about 4 7 mol % of the total lipid
25    present in the particle; and (d) a PEG-lipid conjugate comprising from about l mol % to
      about 2 mol % of the total lipid present in the particle. This preferred embodime nt of nucleic
      acid-lipid particle is generally referred to herein as the" 1:57" formulation .
      [0021] The present invention also provides pharmaceu tical compositio ns comprising a lipid
      particle described herein (e.g., SNALP) and a pharmaceu tically acceptable carrier.
30    [0022] In another aspect, the present invention provides methods for introducing an active
      agent or therapeutic agent (e.g., nucleic acid) into a cell, the method comprising contacting
      the cell with a lipid particle described herein such as a nucleic acid-lipid particle (e.g.,
      SNALP).



                                                        4


                                                                                                JA001878
                                                                                               GENV-00 003990
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 543 of 1274 PageID #: 8849



      [0023]   In yet another aspect, the present invention provides methods for the in vivo
      delivery of an active agent or therapeut ic agent (e.g., nucleic acid), the method comprisin g
      administe ring to a mammali an subject a lipid particle described herein such as a nucleic acid-
      lipid particle (e.g., SNALP).
5     [0024]    In a further aspect, the present invention provides methods for treating a disease or
      disorder in a mammali an subject in need thereof, the method comprisi ng administe ring to the
      mammali an subject a therapeut ically effective amount of a lipid particle described herein
      such as a nucleic acid-lipid particle (e.g., SN ALP).
      [0025]   Other objects, features, and advantag es of the present invention will be apparent to
10    one of skill in the art from the following detailed descriptio n and figures.

                              BRJEF DESCRI PTION OF THE DRAWIN GS
      [0026]    Figure 1 illustrates data demonstr ating the activity of 1 :57 SN ALP containin g Eg5
      siRNA in a human colon cancer cell line.
      [00271    Figure 2 illustrates data demonstr ating the activity of 1 :57 SNALP containin g ApoB
15    siRNA following intraveno us administr ation in mice.
      [0028]    Figure 3 illustrates additiona l data demonstr ating the activity of 1 :57 SN ALP
      containin g ApoB siRNA following intraveno us administr ation in mice. Each bar represent s
      the group mean of five animals. EITor bars indicate the standard deviation .
      [0029] Figure 4 illustrates data demonstr ating the activity of 1:57 and 1 :62 SN ALP
20     containin g ApoB siRNA following intraveno us administr ation in mice.
       [00301 Figure 5 illustrates data demonstr ating the activity of 1:62 SN ALP containin g ApoB
       siRNA following intraveno us administr ation in mice.
       [0031] Figure 6 illustrates data demonstr ating that the tolerabili ty of 1 :57 SNALP
       containin g ApoB siRNA prepared by citrate buffer versus PBS direct dilution did not differ
25     significan tly in terms of blood clinical chemistry paramete rs.
       [0032]  Figure 7 illustrates data demonstr ating that the efficacy of 1 :57 SNALP containin g
       ApoB siRNA prepared by gear pump was similar to the same SNALP prepared by syringe
       press.
       [0033]   Figure 8 illustrates data demonstr ating that there was very little effect on body
 30    weight 24 hours after administr ation of 1 :57 SNALP containin g ApoB siRNA.
       [0034]    Figure 9 illustrates data demonstr ating that there were no obvious changes in
       platelet count after administr ation of 1 :57 SN ALP containin g ApoB siRNA.




                                                        5



                                                                                               JA001879
                                                                                               GE NV-00003991
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 544 of 1274 PageID #: 8850



     [0035]   Figure 10 illustrates data demonstrat ing that clinically significant liver enzyme
     elevations (3xULN) occurred at particular drug dosages of 1:57 SN ALP containing ApoB
     siRNA.
     [0036]    Figure 11 illustrates data demonstrat ing that the potency of the lower lipid:drug
5    (L:D) 1 :57 SNALP containing ApoB siRNA was as good as that of the higher L:D SNALP at
     the tested drng dosages.
     [0037]   Figure 12 illustrates data demonstrat ing that ApoB protein and total cholesterol
     levels were reduced to a similar extent by 1:57 SNALP containing ApoB siRNA at a 6: 1
     input L:D ratio (final ratio of7:l) and 1:57 SNALP at a 9:1 input L:D ratio (final ratio of
10   10:1).
     [0038]  Figure 13 illustrates data demonstrat ing that a treatment regimen of 1:57 SNALP
     with siRNA targeting PLK-1 is well tolerated with no apparent signs of treatment related
     toxicity in mice bearing Hep3B liver tumors.
     [0039]  Figure 14 illustrates data demonstrat ing that treatment with 1:57 SNALP containing
15   PLK-1 siRNA caused a significant increase in the survival ofHep3B tumor-bear ing mice.
     [0040]  Figure 15 illustrates data demonstrat ing that treatment with 1:57 SN ALP containing
     PLK-1 siRNA reduced PLK-1 mRNA levels by 50% in intrahepati c Hep3B tumors growing
     in mice 24 hours after SNALP administrat ion.
     [0041]Figure 16 illustrates data demonstrat ing that a specific cleavage product of PLK-1
20   mRNA was detectable by 5' RACE-PC R in mice treated with 1:57 SNALP containing PLK-1
     siRNA. 10 µl PCR product/we ll were loaded onto a 1.5% agarose gel. Lane Nos.: (1)
     molecular weight (MW) marker; (2) PBS mouse l; (3) PBS mouse 2; (4) PBS mouse 3; (5)
      Luc SN ALP mouse 1; (6) Luc SN ALP mouse 2; (7) PLK SNALP mouse 1; (8) PLK SNALP
      mouse 2; (9) PLK SNALP mouse 3; and (10) no template control.
25    [0042] Figure 17 illustrates data demonstrat ing that control (Luc) 1:57 SNALP-tre ated
      mice displayed normal mitoses in Hep3B tumors (top panels), whereas mice treated with 1:57
      SNALP containing PLK-1 siRNA exhibited numerous aberrant mitoses and tumor cell
      apoptosis in Hep3B tumors (bottom panels).
      [0043]   Figure 18 illustrates data demonstrat ing that multiple doses of 1 :57 PLK-1 SN ALP
30    containing PEG-cDSA induced the regression of established Hep3B subcutaneo us (S.C.)
      tumors.
      [0044] Figure 19 illustrates data demonstrat ing PLK-1 mRNA silencing using 1:57 PLK
      SNALP in S.C. Hep3B tumors following a single intravenous SNALP administrat ion.



                                                      6



                                                                                            JA001880
                                                                                            GENV-00 003992
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 545 of 1274 PageID #: 8851



     [0045]       Figure 20 illustrates data demonstrat ing that PLK-1 PEG-cDSA SNALP inhibited
     the growth of large S.C. Hep3B tumors.
     [0046]       Figure 21 illustrates data demonstrat ing tumor-deri ved PLK-1 mRNA silencing in
     Hep3B intrahepati c tumors.
5    [0047]       Figure 22 illustrates data demonstrat ing the blood clearance profile of 1:57 PLK-1
     SNALP containing either PEG-cDM A or PEG-cDSA .

                                DETAILED DESCRIPT ION OF THE INVENTIO N
     I.         Introductio n

     [0048]    The present invention is based, in part, upon the surprising discovery that lipid
10   particles comprising from about 50 mol % to about 85 mol % of a cationic lipid, from about
     13 mol % to about 49.5 mol % of a non-cation ic lipid, and from about 0.5 mol % to about 2
     mol % of a lipid conjugate provide advantages when used for the in vitro or in vivo delivery
     of an active agent, such as a therapeutic nucleic acid (e.g., an interfering RNA). In particular,
     as illustrated by the Examples herein, the present invention provides stable nucleic acid-lipid
15   particles (SNALP) that advantageo usly impart increased activity of the encapsulate d nucleic
     acid (e.g., an interfering RNA such as siRNA) and improved tolerability of the formulation s
     in vivo, resulting in a significant increase in the therapeutic index as compared to nucleic
     acid-lipid particle compositio ns previously described. Additionall y, the SN ALP of the
      invention are stable in circulation , e.g., resistant to degradation by nucleases in serum, and
20    are substantial ly non-toxic to mammals such as humans. As a non-limitin g example, Figure 3
      of Example 4 shows that one SN ALP embodimen t of the invention ("1 :57 SN ALP") was
      more than 10 times as efficacious as compared to a nucleic acid-lipid particle previously
      described ("2:30 SNALP") in mediating target gene silencing at a 10-fold lower dose.
      Similarly, Figure 2 of Example 3 shows that the "l :57 SN ALP" formulation was substantial ly
25    more effective at silencing the expression of a target gene as compared to nucleic acid-lipid
      particles previously described ("2:40 SNALP").
      [0049]    In certain embodimen ts, the present invention provides improved compositio ns for
      the delivery of interfering RNA such as siRNA molecules. In particular, the Examples herein
          illustrate that the improved lipid particle formulation s of the invention are highly effective in
30        downregul ating the mRNA and/or protein levels of target genes. Furthermor e, the Examples
          herein illustrate that the presence of certain molar ratios of lipid component s results in
          improved or enhanced activity of these lipid particle fonnulation s of the present invention.
          For instance, the "l :57 SNALP" and "l :62 SNALP" formulation s described herein are


                                                           7


                                                                                                   JA001881
                                                                                                  GENV-00 003993
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 546 of 1274 PageID #: 8852



     exemplary formulation s of the present invention that are particularly advantageo us because
     they provide improved efficacy and tolerability in vivo, are serum-stab le, are substantiall y
     non-toxic, are capable of accessing extravascu lar sites, and are capable of reaching target cell
     population s.
5    [0050]   The lipid particles and compositio ns of the present invention may be used for a
     variety of purposes, including the delivery of associated or encapsulate d therapeutic agents to
     cells, both in vitro and in vivo. Accordingl y, the present invention provides methods for
     treating diseases or disorders in a subject in need thereof, by contacting the subject with a
     lipid particle described herein comprising one or more suitable therapeutic agents.
10   [0051] Various exemplary embodimen ts of the lipid particles of the invention, as well as
     compositio ns and formulation s comprising the same, and their use to deliver therapeutic
     agents and modulate target gene and protein expression , are described in further detail below.

     II.      Definitions

     [0052]    As used herein, the following terms have the meanings ascribed to them unless
15   specified otherwise.
     [0053]    The term "interfering RNA" or '"RNAi" or "interfering RNA sequence" refers to
     single-stran ded RNA (e.g., mature miRNA) or double-stra nded RNA (i.e., duplex RNA such
     as siRNA, aiRNA, or pre-miRNA ) that is capable of reducing or inhibiting the expression of
     a target gene or sequence (e.g., by mediating the degradatio n or inhibiting the translation of
20    mRNAs which are complemen tary to the interfering RNA sequence) when the interfering
      RNA is in the same cell as the target gene or sequence. Interfering RNA thus refers to the
      single-stran ded RNA that is complemen tary to a target mRNA sequence or to the double-
      stranded RNA formed by two complemen tary strands or by a single, self-compl ementary
      strand. Interfering RNA may have substantial or complete identity to the target gene or
25    sequence, or may comprise a region of mismatch (i.e., a mismatch motif). The sequence of
      the interfering RNA can correspond to the full-length target gene, or a subsequenc e thereof.
      [0054] Interfering RNA includes "small-inte rfering RNA" or "siRNA," e.g., interfering
      RNA of about 15-60, 15-50, or 15-40 (duplex) nucleotides in length, more typically about 15-
      30, 15-25, or 19-25 (duplex) nucleotides in length, and is preferably about 20-24, 21-22, or
30    21-23 (duplex) nucleotides in length (e.g., each complemen tary sequence of the double-
      stranded siRNA is 15-60, 15-50, 15-40, 15-30, 15-25, or 19-25 nucleotides in length,
      preferably about 20-24, 21-22, or 21-23 nucleotides in length, and the double-stra nded
      siRNA is about 15-60, 15-50, 15-40, 15-30, 15-25, or 19-25 base pairs in length, preferably


                                                       8


                                                                                              JA001882
                                                                                              GENV-00 003994
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 547 of 1274 PageID #: 8853



     about 18-22, 19-20, or 19-21 base pairs in length). siRNA duplexes may comprise 3'
     overhangs of about 1 to about 4 nucleotides or about 2 to about 3 nucleotides and 5'
     phosphate termini. Examples of siRNA include, without limitation, a double-stranded
     polynucleotide molecule assembled from two separate stranded molecules, wherein one
5    strand is the sense strand and the other is the complementary antisense strand; a double-
     stranded polynucleotide molecule assembled from a single stranded molecule, where the
     sense and antisense regions are linked by a nucleic acid-based or non-nucleic acid-based
     linker; a double-stranded polynucleotide molecule with a hairpin secondary structure having
     self-complementa ry sense and antisense regions; and a circular single-stranded
10   polynucleotide molecule with two or more loop structures and a stem having self-
     complementary sense and antisense regions, where the circular polynucleotide can be
     processed in vivo or in vitro to generate an active double-stranded siRNA molecule.
     [0055]    Preferably, siRNA are chemically synthesized. siRNA can also be generated by
     cleavage oflonger dsRNA (e.g., dsRNA greater than about 25 nucleotides in length) with the
15   E.coli RNase III or Dicer. These enzymes process the dsRNA into biologically active
     siRNA (see, e.g., Yang et al., Proc. Natl. Acad. Sci. USA, 99:9942-9947 (2002); Calegari et
     al., Proc. Natl. Acad. Sci. USA, 99:14236 (2002); Byrom et al., Ambion TechNotes, 10(1):4-6
     (2003); Kawasaki et al., Nucleic Acids Res., 31 :981-987 (2003); Knight et al., Science,
     293:2269-2271 (2001); and Robertson et al., J Biol. Chem., 243:82 (1968)). Preferably,
20   dsRNA are at least 50 nucleotides to about 100,200,300,400 , or 500 nucleotides in length.
     A dsRNA may be as long as 1000, 1500, 2000, 5000 nucleotides in length, or longer. The
     dsRNA can encode for an entire gene transcript or a partial gene transcript. In certain
     instances, siRNA may be encoded by a plasmid (e.g., transcribed as sequences that
     automatically fold into duplexes with hairpin loops).
25   [0056]    As used herein, the term "mismatch motif' or "mismatch region" refers to a portion
     of an interfering RNA (e.g., siRNA, aiRNA, miRNA) sequence that does not have 100 %
     complementarity to its target sequence. An interfering RNA may have at least one, two,
     three, four, five, six, or more mismatch regions. The mismatch regions may be contiguous or
     may be separated by 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, or more nucleotides. The mismatch
30   motifs or regions may comprise a single nucleotide or may comprise two, three, four, five, or
     more nucleotides.
      {0057]   An "effective amount" or "therapeutically effective amount" of an active agent or
     therapeutic agent such as an interfering RNA is an amount sufficient to produce the desired
      effect, e.g., an inhibition of expression of a target sequence in comparison to the normal

                                                     9



                                                                                             JA001883
                                                                                            GE NV-00003995
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 548 of 1274 PageID #: 8854



     expressio n level detected in the absence of an interferin g RNA. Inhibition of expressio n of a
     target gene or target sequence is achieved when the value obtained with an interferin g RNA
     relative to the control is about 90%, 85%, 80%, 75%, 70%, 65%, 60%, 55%, 50%, 45%,
     40%, 35%, 30%, 25%, 20%, 15%, l 0%, 5%, or 0%. Suitable assays for measurin g
5    expressio n of a target gene or target sequence include, e.g., examinat ion of protein or RNA
     levels using technique s known to those of skill in the art such as dot blots, northern blots, in
     situ hybridiza tion, ELISA, immunop recipitati on, enzyme function, as well as phenotyp ic
     assays known to those of skill in the art.
     [0058]     By "decrease ," "decreasi ng," "reduce," or "reducing " of an immune response by an
10   interferin g RNA is intended to mean a detectabl e decrease of an immune response to a given
     interferin g RNA (e.g., a modified interferin g RNA). The amount of decrease of an immune
     response by a modified interferin g RNA may be determin ed relative to the level of an
     immune response in the presence of an unmodifi ed interferin g RNA. A detectabl e decrease
     can be about 5%, 10%, 15%, 20%, 25%, 30%, 35%, 40%, 45%, 50%, 55%, 60%, 65%, 70%,
15   75%, 80%, 85%, 90%, 95%, 100%, or more lower than the immune response detected in the
     presence of the unmodifi ed interferin g RNA. A decrease in the immune response to
     interferin g RNA is typically measured by a decrease in cytokine productio n (e.g., IFNy,
     IFNa, TNFa, IL-6, or IL-12) by a responde r cell in vitro or a decrease in cytokine productio n
      in the sera of a mammali an subject after administr ation of the interferin g RNA.
20    [0059] As used herein, the term "respond er cell" refers to a cell, preferabl y a mammali an
      cell, that produces a detectabl e immune response when contacted with an imrnunos timulator y
      interferin g RNA such as an unmodifi ed siRNA. Exemplar y responde r cells include, e.g.,
      dendritic cells, macropha ges, periphera l blood mononuc lear cells (PBMCs) , splenocyt es, and
      the like. Detectabl e immune responses include, e.g., productio n of cytokines or growth
25    factors such as TNF-a, IFN-a, IFN-P, IFN-y, IL-1, IL-2, IL-3, IL-4, IL-5, IL-6, IL-10, IL-12,
      IL-13, TGF, and combinat ions thereof.
      [0060]   "Substan tial identity" refers to a sequence that hybridize s to a reference sequence
      under stringent condition s, or to a sequence that has a specified percent identity over a
      specified region of a reference sequence .
30    [0061]   The phrase "stringen t hybridiza tion condition s" refers to condition s under which a
      nucleic acid will hybridize to its target sequence , typically in a complex mixture of nucleic
      acids, but to no other sequence s. Stringent condition s are sequence -depende nt and will be
      different in different circumsta nces. Longer sequence s hybridize specifica lly at higher
      temperatu res. An extensive guide to the hybridiza tion of nucleic acids is found in Tijssen,

                                                       10


                                                                                                JA001884
                                                                                               GE NV-000 03996
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 549 of 1274 PageID #: 8855



     Techniqu es in Biochemi stry and Molecula r Biology-- Hybridiza tion with Nucleic Probes,
     "Overvie w of principles of hybridiza tion and the strategy of nucleic acid assays" ( 1993).

     Generally , stringent condition s are selected to be about 5-1 o c lower than the thermal
                                                                    0


     melting point (Tm) for the specific sequence at a defined ionic strength pH. The Tm is the
5    temperat ure (under defined ionic strength, pH, and nucleic concentra tion) at which 50% of
     the probes complem entary to the target hybridize to the target sequence at equilibriu m (as the
     target sequence s are present in excess, at Tm, 50% of the probes are occupied at equilibriu m).
     Stringent condition s may also be achieved with the addition of destabiliz ing agents such as
     formamid e. For selective or specific hybridiza tion, a positive signal is at least two times
lO   backgrou nd, preferabl y 10 times backgrou nd hybridiza tion.
     [0062]    Exempla ry stringent hybridiza tion condition s can be as follows: 50% formamid e,

     5x SSC, and 1% SDS, incubatin g at 42°C, or, Sx SSC, 1% SDS, incubatin g at 65°C, with

     wash in 0.2x SSC, and 0.1 % SDS at 65°C. For PCR, a temperatu re of about 36°C is typical
     for low stringenc y amplifica tion, although annealing temperatu res may vary between about

15   32°C and 48°C dependin g on primer length. For high stringenc y PCR amplifica tion, a
     temperat ure of about 62°C is typical, although high stringenc y annealing temperatu res can

     range from about 50°C to about 65°C, dependin g on the primer length and specificit y.
     Typical cycle condition s for both high and low stringenc y amplifica tions include a

      denaturat ion phase of 90°C-95 °C for 30 sec.-2 min., an annealing phase lasting 30 sec:-2

20    min., and an extension phase of about 72°C for 1-2 min. Protocols and guideline s for low
      and high stringenc y amplifica tion reactions are provided, e.g., in Innis et al., PCR Protocols,
      A Guide to Methods and Applicati ons, Academi c Press, Inc. N.Y. (1990).
      [0063] Nucleic acids that do not hybridize to each other under stringent condition s are still
      substanti ally identical if the polypepti des which they encode are substanti ally identical. This
25    occurs, for example, when a copy of a nucleic acid is created using the maximum codon
      degenera cy permitted by the genetic code. In such cases, the nucleic acids typically hybridize
      under moderate ly stringent hybridiza tion condition s. Exempla ry "moderat ely stringent
      hybridiza tion condition s" include a hybridiza tion in a buffer of 40% formamid e, 1 M NaCl,
      1% SDS at 3 7°C, and a wash in 1X SSC at 45°C. A positive hybridiza tion is at least twice
30    backgrou nd. Those of ordinary skill will readily recognize that alternativ e hybridiza tion and
      wash condition s can be utilized to provide condition s of similar stringenc y. Additiona l




                                                       11


                                                                                               JA001885
                                                                                               GE NV-000 03997
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 550 of 1274 PageID #: 8856



     guidelines for determinin g hybridizati on parameters are provided in numerous references,
     e.g., Current Protocols in Molecular Biology, Ausubel et al., eds.
     [0064]  The terms "substantia lly identical" or "substantia l identity," in the context of two or
     more nucleic acids, refer to two or more sequences or subsequenc es that are the same or have
5    a specified percentage of nucleotides that are the same (i.e., at least about 60%, preferably at
     least about 65%, 70%, 75%, 80%, 85%, 90%, or 95% identity over a specified region), when
     compared and aligned for maximum correspond ence over a comparison window, or
     designated region as measured using one of the following sequence comparison algorithms or
     by manual alignment and visual inspection. This definition, when the context indicates, also
10   refers analogousl y to the complemen t of a sequence. Preferably, the substantial identity
     exists over a region that is at least about 5, 10, 15, 20, 25, 30, 35, 40, 45, 50, 55, or 60
     nucleotides in length.
     [0065]   For sequence comparison , typically one sequence acts as a reference sequence, to
     which test sequences are compared. When using a sequence comparison algorithm, test and
15   reference sequences are entered into a computer, subsequenc e coordinates are designated, if
     necessary, and sequence algorithm program parameters are designated. Default program
     parameters can be used, or alternative parameters can be designated. The sequence
     compariso n algorithm then calculates the percent sequence identities for the test sequences
     relative to the reference sequence, based on the program parameters .
20   [0066] A "compariso n window," as used herein, includes reference to a segment of any one
     of a number of contiguous positions selected from the group consisting of from about 5 to
     about 60, usually about 10 to about 45, more usually about 15 to about 30, in which a
      sequence may be compared to a reference sequence of the same number of contiguous
      positions after the two sequences are optimally aligned. Methods of alignment of sequences
25    for comparison are well known in the art. Optimal alignment of sequences for comparison
      can be conducted, e.g., by the local homology algorithm of Smith and Waterman, Adv. Appl.
      Math., 2:482 (1981), by the homology alignment algorithm of Needleman and Wunsch, J
      Mol. Biol., 48:443 (1970), by the search for similarity method of Pearson and Lipman, Proc.
      Natl. Acad. Sci. USA, 85:2444 (1988), by computeriz ed implement ations of these algorithms
30    (GAP, BESTFIT, FASTA, and TFASTA in the Wisconsin Genetics Software Package,
      Genetics Computer Group, 575 Science Dr., Madison, WI), or by manual alignment and
      visual inspection (see, e.g., Current Protocols in Molecular Biology, Ausubel et al., eds.
      (1995 supplement )).



                                                       12



                                                                                                    JA001886
                                                                                                GENV-00 003998
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 551 of 1274 PageID #: 8857



     [0067]  A preferred example of algorithms that are suitable for determinin g percent
     sequence identity and sequence similarity are the BLAST and BLAST 2.0 algorithms, which
     are described in Altschul et al., Nuc. Acids Res., 25:3389-34 02 (1977) and Altschul et al., J.
     Mo!. Biol., 215:403-41 0 (1990), respectivel y. BLAST and BLAST 2.0 are used, with the
5    parameters described herein, to determine percent sequence identity for the nucleic acids of
     the invention. Software for performing BLAST analyses is publicly available through the
     National Center for Biotechnol ogy Informatio n (http://www .ncbi.nlm.n ih.gov/).
     [0068] The BLAST algorithm also performs a statistical analysis of the similarity between
     two sequences (see, e.g., Karlin and Altschul, Proc. Natl. Acad. Sci. USA, 90:5873-57 87
10   (1993)). One measure of similarity provided by the BLAST algorithm is the smallest sum
     probability (P(N)), which provides an indication of the probability by which a match between
     two nucleotide sequences would occur by chance. For example, a nucleic acid is considered
     similar to a reference sequence if the smallest sum probability in a comparison of the test
     nucleic acid to the reference nucleic acid is less than about 0.2, more preferably less than
15   about 0.01, and most preferably less than about 0.001.
     [0069]  The term "nucleic acid" as used herein refers to a polymer containing at least two
     deoxyribon ucleotides or ribonucleo tides in either single- or double-stra nded form and
     includes DNA and RNA. DNA may be in the form of, e.g., antisense molecules, plasmid
     DNA, pre-conden sed DNA, a PCR product, vectors (Pl, PAC, BAC, YAC, artificial
20   chromosom es), expression cassettes, chimeric sequences, chromosom al DNA, or derivatives
     and combinatio ns of these groups. RNA may be in the form of siRNA, asymmetric al
     interfering RNA (aiRNA), microRNA (miRNA), mRNA, tRNA, rRNA, tRNA, viral RNA
     (vRNA), and combinatio ns thereof. Nucleic acids include nucleic acids containing known
      nucleotide analogs or modified backbone residues or linkages, which are synthetic, naturally
25    occurring, and non-natura lly occurring, and which have similar binding properties as the
      reference nucleic acid. Examples of such analogs include, without limitation,
      phosphorot hioates, phosphoram idates, methyl phosphona tes, chiral-meth yl phosphona tes, 2' -
      O-methyl ribonucleot ides, and peptide-nu cleic acids (PNAs). Unless specifically limited, the
      term encompass es nucleic acids containing known analogues of natural nucleotides that have
30    similar binding properties as the reference nucleic acid. Unless otherwise indicated, a
      particular nucleic acid sequence also implicitly encompass es conservativ ely modified
      variants thereof (e.g., degenerate codon substitution s), alleles, orthologs, SNPs, and
      complemen tary sequences as well as the sequence explicitly indicated. Specificall y,
      degenerate codon substitution s may be achieved by generating sequences in which the third

                                                      13



                                                                                                JA001887
                                                                                              GENV-00 003999
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 552 of 1274 PageID #: 8858



     position of one or more selected (or all) codons is substitute d with mixed-ba se and/or
     deoxyino sine residues (Batzer et al., Nucleic Acid Res., 19:5081 (1991); Ohtsuka et al., J
     Biol. Chem., 260:2605 -2608 (1985); Rossolini et al., Mol. Cell. Probes, 8:91-98 (1994)).
     "Nucleot ides" contain a sugar deoxyribo se (DNA) or ribose (RNA), a base, and a phosphat e
5    group. Nucleotid es are linked together through the phosphat e groups. "Bases" include
     purines and pyrimidin es, which further include natural compoun ds adenine, thymine,
     guanine, cytosine, uracil, inosine, and natural analogs, and synthetic derivative s of purines
     and pyrimidin es, which include, but are not limited to, modificat ions which place new
     reactive groups such as, but not limited to, amines, alcohols, thiols, carboxyla tes, and
10   alkylhalid es.
     [0070]   The term "gene" refers to a nucleic acid (e.g., DNA or RNA) sequence that
     comprise s partial length or entire length coding sequence s necessary for the productio n of a
     polypepti de or precursor polypepti de.
     [0071]    "Gene product," as used herein, refers to a product of a gene such as an RNA
15   transcrip t or a polypepti de.
     [0072]    The term "lipid" refers to a group of organic compoun ds that include, but are not
     limited to, esters of fatty acids and are character ized by being insoluble in water, but soluble
     in many organic solvents. They are usually divided into at least three classes: (1) "simple
     lipids," which include fats and oils as well as waxes; (2) "compou nd lipids," which include
20    phosphol ipids and glycolipi ds; and (3) "derived lipids" such as steroids.
      {0073] A "lipid particle" is used herein to refer to a lipid formulati on that can be used to
      deliver an active agent or therapeut ic agent, such as a nucleic acid (e.g., an interferin g RNA),
      to a target site of interest. In the lipid particle of the invention , which is typically formed
      from a cationic lipid, a non-catio nic lipid, and a conjugate d lipid that prevents aggregati on of
25    the particle, the active agent or therapeut ic agent may be encapsula ted in the lipid, thereby
      protectin g the agent from enzymati c degradati on.
      [0074]  As used herein, the term "SNALP " refers to a stable nucleic acid-lipid particle. A
      SN ALP represent s a particle made from lipids (e.g., a cationic lipid, a non-catio nic lipid, and
      a conjugate d lipid that prevents aggregati on of the particle), wherein the nucleic acid (e.g.,
30    siRNA, aiRNA, miRNA, ssDNA, dsDNA, ssRNA, short hairpin RNA (shRNA) , dsRNA, or a
      plasmid, including plasmids from which an interferin g RNA is transcribe d) is fully
      encapsula ted within the lipid. As used herein, the term "SNALP " includes an SPLP, which is
      the term used to refer to a nucleic acid-lipid particle comprisi ng a nucleic acid (e.g., a
      plasmid) encapsula ted within the lipid. SNALP and SPLP typically contain a cationic lipid, a

                                                       14


                                                                                                 JA001888
                                                                                                 GE NV-000 04000
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 553 of 1274 PageID #: 8859



     non-cationic lipid, and a lipid conjugate (e.g., a PEG-lipid conjugate). SNALP and SPLP are
     extremely useful for systemic applications, as they can exhibit extended circulation lifetimes
     following intravenous (i.v.) injection, they can accumulate at distal sites (e.g., sites physically
     separated from the administratio n site), and they can mediate expression of the transfected
5    gene or silencing of target gene expression at these distal sites. SPLP include "pSPLP,"
     which comprise an encapsulated condensing agent-nucleic acid complex as set forth in PCT
     Publication No. WO 00/03683, the disclosure of which is herein incorporated by reference in
     its entirety for all purposes.
     [0075]  The lipid particles of the invention (e.g., SNALP) typically have a mean diameter of
10   from about 40 nm to about 150 nm, from about 50 nm to about 150 nm, from about 60 run to
     about 130 nm, from about 70 nm to about 110 nm, or from about 70 to about 90 nm, and are
     substantially non-toxic. In addition, nucleic acids, when present in the lipid particles of the
     invention, are resistant in aqueous solution to degradation with a nuclease. Nucleic acid-lipid
     particles and their method of preparation are disclosed in, e.g., U.S. Patent Publication Nos.
15   20040142025 and 20070042031 , the disclosures of which are herein incorporated by
     reference in their entirety for all purposes.
     [0076]    As used herein, "lipid encapsulated" can refer to a lipid particle that provides an
     active agent or therapeutic agent, such as a nucleic acid (e.g., an interfering RNA), with full
     encapsulation , partial encapsulation , or both. In a preferred embodiment, the nucleic acid is
20   fully encapsulated in the lipid particle (e.g., to form an SPLP, pSPLP, SNALP, or other
     nucleic acid-lipid particle).
      [0077]    The term "lipid conjugate" refers to a conjugated lipid that inhibits aggregation of
      lipid particles. Such lipid conjugates include, but are not limited to, polyamide oligomers
      (e.g., ATTA-lipid conjugates), PEG-lipid conjugates, such as PEG coupled to
25    dialkyloxypro pyls, PEG coupled to diacylglycero ls, PEG coupled to cholesterol, PEG
      coupled to phosphatidyle thanolamines , PEG conjugated to ceramides (see, e.g., U.S. Patent
      No. 5,885,613, the disclosure of which is herein incorporated by reference in its entirety for
      all purposes), cationic PEG lipids, and mixtures thereof. PEG can be conjugated directly to
      the lipid or may be linked to the lipid via a linker moiety. Any linker moiety suitable for
30    coupling the PEG to a lipid can be used including, e.g., non-ester containing linker moieties
      and ester-containi ng linker moieties. In preferred embodiments , non-ester containing linker
      moieties are used.
      [0078]  The term "amphipathic lipid" refers, in part, to any suitable material wherein the
      hydrophobic portion of the lipid material orients into a hydrophobic phase, while the

                                                       15


                                                                                                JA001889
                                                                                               GE NV-00004001
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 554 of 1274 PageID #: 8860



     hydrophilic portion orients toward the aqueous phase. Hydrophili c characteris tics derive
     from the presence of polar or charged groups such as carbohydra tes, phosphate, carboxylic,
     sulfato, amino, sulfhydryl, nitro, hydroxyl, and other like groups. Hydrophob icity can be
     conferred by the inclusion of apolar groups that include, but are not limited to, long-chain
5    saturated and unsaturated aliphatic hydrocarbo n groups and such groups substituted by one or
     more aromatic, cycloalipha tic, or heterocycli c group(s). Examples of amphipathi c
     compounds include, but are not limited to, phospholip ids, aminolipid s, and sphingolipi ds.
     [0079] Representa tive examples ofphospho lipids include, but are not limited to,
     phosphatid ylcholine, phosphatid ylethanolam ine, phosphatid ylserine, phosphatid ylinositol,
10   phosphatid ic acid, palmitoylo leoyl phosphatid ylcholine, lysophosph atidylcholi ne,
     lysophosph atidylethan olamine, dipalmitoy lphosphatid ylcholine, dioleoylpho sphatidylch oline,
     distearoylp hosphatidy lcholine, and dilinoleoyl phosphatid ylcholine. Other compounds
     lacking in phosphorus , such as sphingolipi d, glycosphin golipid families, diacylglyce rols, and
     J3-acyloxyacids, are also within the group designated as amphipathi c lipids. Additionall y, the
15   amphipathi c lipids described above can be mixed with other lipids including triglyceride s and
     sterols.
     [0080]  The term "neutral lipid" refers to any of a number of lipid species that exist either in
     an uncharged or neutral zwitterioni c form at a selected pH. At physiologic al pH, such lipids
     include, for example, diacylphos phatidylcho line, diacylphos phatidyleth anolamine, ceramide,
20   sphingomy elin, cephalin, cholesterol , cerebroside s, and diacylglyce rols.
      [0081]    The term "non-cation ic lipid" refers to any amphipathi c lipid as well as any other
      neutral lipid or anionic lipid.
      [0082]   The term "anionic lipid" refers to any lipid that is negatively charged at
      physiologic al pH. These lipids include, but are not limited to, phosphatid ylglycerols ,
25    cardiolipin s, diacylphos phatidylser ines, diacylphos phatidic acids, N-dodecan oyl
      phosphatid ylethanolam ines, N-succinyl phosphatid ylethanolam ines, N-
      glutarylpho sphatidylet hanolamine s, lysylphosp hatidylglyc erols,
      palmitoylo leyolphosp hatidylglyc erol (POPG), and other anionic modifying groups joined to
      neutral lipids.
30    [0083]    The term "cationic lipid" refers to any of a number of lipid species that carry a net
      positive charge at a selected pH, such as physiologic al pH (e.g., pH of about 7.0). It has been
      surprisingl y found that cationic lipids comprising alkyl chains with multiple sites of
      unsaturatio n, e.g., at least two or three sites of unsaturatio n, are particularly useful for



                                                        16


                                                                                                  JA001890
                                                                                                  GE NV-0000 4002
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 555 of 1274 PageID #: 8861



     forming lipid particles with increased membran e fluidity. A number of cationic lipids and
     related analogs, which are also useful in the present invention , have been described in U.S.
     Patent Publicati on Nos. 20060083 780 and 20060240 554; U.S. Patent Nos. 5,208,036 ;
     5,264,618 ; 5,279,833 ; 5,283,185 ; 5,753,613 ; and 5,785,992 ; and PCT Publicati on No. WO
5    96/10390 , the disclosur es of which are herein incorpora ted by reference in their entirety for
     all purposes . Non-limi ting examples of cationic lipids are described in detail herein. In some
     cases, the cationic lipids comprise a protonata ble tertiary amine (e.g., pH titratable ) head
     group, Cl8 alkyl chains, ether linkages between the head group and alkyl chains, and Oto 3
     double bonds. Such lipids include, e.g., DSDMA , DLinDM A, DLenDM A, and DODMA .
10   [0084] The term "hydroph obic lipid" refers to compoun ds having apolar groups that
     include, but are not limited to, long-chai n saturated and unsaturat ed aliphatic hydrocar bon
     groups and such groups optionall y substitute d by one or more aromatic, cycloalip hatic, or
     heterocyc lic group(s). Suitable examples include, but are not limited to, diacylgly cerol,
     dialkylgl ycerol, N-N-dial kylamino , 1,2-diacy loxy-3-am inopropan e, and 1,2-dialk yl-3-
15   amino propane.
     [0085]   The term "fusogen ic" refers to the ability of a lipid particle, such as a SNALP, to
     fuse with the membran es of a cell. The membran es can be either the plasma membran e or
     membran es surround ing organelle s, e.g., endosom e, nucleus, etc.
     [0086] As used herein, the term "aqueous solution" refers to a composit ion comprisin g in
20    whole, or in part, water.
      [0087]   As used herein, the term "organic lipid solution" refers to a composit ion comprisin g
      in whole, or in part, an organic solvent having a lipid.
      [0088]    "Distal site," as used herein, refers to a physicall y separated site, which is not
      limited to an adjacent capillary bed, but includes sites broadly distribute d througho ut an
25    organism .
      [0089]    "Serum-s table" in relation to nucleic acid-lipid particles such as SNALP means that
      the particle is not significan tly degraded after exposure to a serum or nuclease assay that
      would significan tly degrade free DNA or RNA. Suitable assays include, for example, a
      standard serum assay, a DNAse assay, or an RNAse assay.
30    [0090]   "Systemi c delivery, " as used herein, refers to delivery of lipid particles that leads to
      a broad biodistrib ution of an active agent or therapeut ic agent such as an interferin g RNA
      within an organism . Some technique s of administr ation can lead to the systemic delivery of
      certain agents, but not others. Systemic delivery means that a useful, preferabl y therapeut ic,
      amount of an agent is exposed to most parts of the body. To obtain broad biodistrib ution

                                                       17


                                                                                                JA001891
                                                                                               GE NV-000 04003
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 556 of 1274 PageID #: 8862



     generally requires a blood lifetime such that the agent is not rapidly degraded or cleared (such
     as by first pass organs (liver, lung, etc.) or by rapid, nonspecific cell binding) before reaching
     a disease site distal to the site of administrat ion. Systemic delivery of lipid particles can be
     by any means known in the art including, for example, intravenous , subcutaneo us, and
5    intraperiton eal. In a preferred embodimen t, systemic delivery of lipid particles is by
     intravenou s delivery.
     [0091]   "Local delivery," as used herein, refers to delivery of an active agent or therapeutic
     agent such as an interfering RNA directly to a target site within an organism. For example,
     an agent can be locally delivered by direct injection into a disease site such as a tumor or
10   other target site such as a site of inflammati on or a target organ such as the liver, heart,
     pancreas, kidney, and the like.
     [0092]     The term "'mammal" refers to any mammalia n species such as a human, mouse, rat,
     dog, cat, hamster, guinea pig, rabbit, livestock, and the like.
     [0093]   The term "cancer" refers to any member of a class of diseases characteriz ed by the
15   uncontrolle d growth of aberrant cells. The term includes all known cancers and neoplastic
     conditions, whether characteriz ed as malignant, benign, soft tissue, or solid, and cancers of all
     stages and grades including pre- and post-metas tatic cancers. Examples of different types of
     cancer include, but are not limited to, lung cancer, colon cancer, rectal cancer, anal cancer,
     bile duct cancer, small intestine cancer, stomach (gastric) cancer, esophageal cancer;
20   gallbladder cancer, liver cancer, pancreatic cancer, appendix cancer, breast cancer, ovarian
     cancer; cervical cancer, prostate cancer, renal cancer (e.g., renal cell carcinoma) , cancer of
     the central nervous system, glioblastom a, skin cancer, lymphomas , choriocarci nomas, head
     and neck cancers, osteogenic sarcomas, and blood cancers. Non-limiti ng examples of
      specific types of liver cancer include hepatocellu lar carcinoma (HCC), secondary liver cancer
25    (e.g., caused by metastasis of some other non-liver cancer cell type), and hepatoblas toma. As
      used herein, a "tumor" comprises one or more cancerous cells.

      III.     Description of the Embodime nts

      [0094]   The present invention provides novel, serum-stab le lipid particles comprising one or
      more active agents or therapeutic agents, methods of making the lipid particles, and methods
30    of delivering and/or administer ing the lipid particles (e.g., for the treatment of a disease or
      disorder).
      [0095]   In one aspect, the present invention provides lipid particles comprising : (a) one or
      more active agents or therapeutic agents; (b) one or more cationic lipids comprising from


                                                       18


                                                                                                JA001892
                                                                                                GE NV-0000 4004
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 557 of 1274 PageID #: 8863



     about 50 mol % to about 85 mol % of the total lipid present in the particle; (c) one or more
     non-cationic lipids comprising from about 13 mol % to about 49.5 mol % of the total lipid
     present in the particle; and (d) one or more conjugated lipids that inhibit aggregation of
     particles comprising from about 0.5 mol % to about 2 mol % of the total lipid present in the
5    particle.
     [0096]      In certain embodiments , the active agent or therapeutic agent is fully encapsulated
     within the lipid portion of the lipid particle such that the active agent or therapeutic agent in
     the lipid particle is resistant in aqueous solution to enzymatic degradation, e.g., by a nuclease
     or protease. In certain other embodiments , the lipid particles are substantially non-toxic to
10   mammals such as humans.
     [0097}      In some embodiments , the active agent or therapeutic agent comprises a nucleic
     acid. In certain instances, the nucleic acid comprises an interfering RNA molecule such as,
     e.g., an siRNA, aiRNA, miRNA, or mixtures thereof. In certain other instances, the nucleic
     acid comprises single-strande d or double-strand ed DNA, RN A, or a DNNRNA hybrid such
15   as, e.g., an antisense oligonucleotid e, a ribozyme, a plasmid, an immunostimu latory
     oligonucleotid e, or mixtures thereof
     [0098]      In other embodiments , the active agent or therapeutic agent comprises a peptide or
     polypeptide. In certain instances, the peptide or polypeptide comprises an antibody such as,
     e.g., a polyclonal antibody, a monoclonal antibody, an antibody fragment; a humanized
20   antibody, a recombinant antibody, a recombinant human antibody, a PrimatizedTM antibody,
     or mixtures thereof. In certain other instances, the peptide or polypeptide comprises a
     cytokine, a growth factor, an apoptotic factor, a differentiation -inducing factor, a cell-surface
     receptor, a ligand, a hormone, a small molecule (e.g., small organic molecule or compound),
     or mixtures thereof.
25    [0099]     In preferred embodiments , the active agent or therapeutic agent comprises an
      siRNA. In one embodiment, the siRNA molecule comprises a double-strand ed region of
      about 15 to about 60 nucleotides in length (e.g., about 15-60, 15-50, 15-40, 15-30, 15-25, or
      19-25 nucleotides in length, or 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, or 25 nucleotides in
      length). The siRNA molecules of the invention are capable of silencing the expression of a
30    target sequence in vitro and/or in vivo.
      [0100]      In some embodiments , the siRNA molecule comprises at least one modified
      nucleotide. In certain preferred embodiments , the siRNA molecule comprises one, two,
      three, four, five, six, seven, eight, nine, ten, or more modified nucleotides in the double-
      stranded region. In certain instances, the siRNA comprises from about 1% to about 100%


                                                       19


                                                                                               JA001893
                                                                                              GE NV-000040 05
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 558 of 1274 PageID #: 8864



     (e.g., about 1%, 5%, 10%, 15%, 20%, 25%, 30%, 35%, 40%, 45%, 50%, 55%, 60%, 65%,
     70%, 75%, 80%, 85%, 90%, 95%, or 100%) modified nucleotides in the double-stra nded
     region. In preferred embodimen ts, less than about 25% (e.g., less than about 25%, 20%,
     15%, 10%, or 5%) or from about 1% to about 25% (e.g., from about 1%-25%, 5%-25%,
5    10%-25%, 15%-25%, 20%-25%, or 10%-20%) of the nucleotides in the double-stra nded
     region comprise modified nucleotides .
     [0101]   In other embodimen ts, the siRNA molecule comprises modified nucleotides
     including, but not limited to, 2'-O-methy l (2'OMe) nucleotides , 2'-deoxy-2 '-fluoro (2'F)
     nucleotides , 2'-deoxy nucleotides , 2'-O-(2-me thoxyethyl ) (MOE) nucleotides , locked nucleic
10   acid (LNA} nucleotides , and mixtures thereof. In preferred embodimen ts, the siRNA
     comprises 2'OMe nucleotides (e.g., 2'OMe purine and/or pyrimidine nucleotides ) such as,
     for example, 2'OMe-gua nosine nucleotides , 2'OMe-uri dine nucleotides , 2'OMe-ade nosine
     nucleotides , 2'OMe-cyt osine nucleotides , and mixtures thereof. In certain instances, the
     siRNA does not comprise 2'OMe-cyt osine nucleotides . In other embodimen ts, the siRNA
15   comprises a hairpin loop structure.
     [0102]   The siRNA may comprise modified nucleotides in one strand (i.e., sense or
     antisense) or both strands of the double-stra nded region of the siRNA molecule. Preferably,
     uridine and/or guanosine nucleotides are modified at selective positions in the double-
     stranded region of the siRNA duplex. With regard to uridine nucleotide modificatio ns, at
20   least one, two, three, four, five, six, or more of the uridine nucleotides in the sense and/or
     antisense strand can be a modified uridine nucleotide such as a 2'OMe-uri dine nucleotide. In
      some embodimen ts, every uridine nucleotide in the sense and/or antisense strand is a 2'OMe-
      uridine nucleotide. With regard to guanosine nucleotide modificatio ns, at least one, two,
      three, four, five, six, or more of the guanosine nucleotides in the sense and/or antisense strand
25    can be a modified guanosine nucleotide such as a 2'OMe-gua nosine nucleotide. In some
      embodimen ts, every guanosine nucleotide in the sense and/or antisense strand is a 2'OMe-
      guanosine nucleotide.
      [0103] In certain embodimen ts, at least one, two, three, four, five, six, seven, or more 5'-
      GU-3' motifs in an siRNA sequence may be modified, e.g., by introducing mismatche s to
30    eliminate the 5'-GU-3' motifs and/or by introducing modified nucleotides such as 2'0Me
      nucleotides . The 5' -GU-3' motif can be in the sense strand, the antisense strand, or both
      strands of the siRNA sequence. The 5'-GU-3' motifs may be adjacent to each other or,
      alternativel y, they may be separated by 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, or more nucleotides .



                                                       20


                                                                                                 JA001894
                                                                                                GE NV-0000 4006
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 559 of 1274 PageID #: 8865



     [0104]     In some preferred embodiments , a modified siRNA molecule is less
     immunostimu latory than a corresponding unmodified siRNA sequence. In such
     embodiments , the modified siRNA molecule with reduced immunostimu latory properties
     advantageous ly retains RNAi activity against the target sequence. In another embodiment,
5    the immunostimu latory properties of the modified siRNA molecule and its ability to silence
     target gene expression can be balanced or optimized by the introduction of minimal and
     selective 2'OMe modifications within the siRNA sequence such as, e.g., within the double-
     stranded region of the siRNA duplex. In certain instances, the modified siRN A is at least
     about 5%, 10%, 15%, 20%, 25%, 30%, 35%, 40%, 45%, 50%, 55%, 60%, 65%, 70%, 75%,
10   80%, 85%, 90%, 91%, 92%, 93%, 94%, 95%, 96%, 97%, 98%, 99%, or 100% less
     immunostimu latory than the corresponding unmodified siRNA. It will be readily apparent to
     those of skill in the art that the immunostimu latory properties of the modified siRNA
     molecule and the corresponding unmodified siRNA molecule can be determined by, for
     example, measuring INF-a and/or IL-6 levels from about two to about twelve hours after
15   systemic administratio n in a mammal or transfection of a mammalian responder cell using an
     appropriate lipid-based delivery system (such as the SNALP delivery system disclosed
     herein).
     [0105]     In certain embodiments , a modified siRNA molecule has an ICso (i.e., half-maximal
     inhibitory concentration ) less than or equal to ten-fold that of the corresponding unmodified
20   siRNA (i.e., the modified siRNA has an IC 5o that is less than or equal to ten-times the ICso of
     the corresponding unmodified siRNA). In other embodiments , the modified siRNA has an
     IC 50 less than or equal to three-fold that of the corresponding unmodified siRNA sequence.
     In yet other embodiments , the modified siRNA has an IC 50 less than or equal to two-fold that
     of the corresponding unmodified siRNA. It will be readily apparent to those of skill in the art
25   that a dose-response curve can be generated and the IC 5o values for the modified siRNA and
     the corresponding unmodified siRNA can be readily determined using methods known to
      those of skill in the art.
      [0106]     In yet another embodiment, a modified siRNA molecule is capable of silencing at
      least about 5%, 10%, 15%, 20%, 25%, 30%, 35%, 40%, 45%, 50%, 55%, 60%, 65%, 70%,
30    75%, 80%, 85%, 90%, 95%, or 100% of the expression of the target sequence relative to the
      corresponding unmodified siRNA sequence.
      [0107]   In some embodiments , the siRNA molecule does not comprise phosphate backbone
      modifications , e.g., in the sense and/or antisense strand of the double-strand ed region. In
      other embodiments , the siRNA comprises one, two, three, four, or more phosphate backbone

                                                    21


                                                                                            JA001895
                                                                                            GE NV-000040 07
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 560 of 1274 PageID #: 8866



                                                                                                   In
      modific ations, e.g., in the sense and/or antisens e strand of the double- stranded region.
                                                                                               ations.
      preferre d embodim ents, the siRNA does not compris e phospha te backbon e modific
      [0108] In further embodim ents, the siRNA does not compris e 2'-deox y nucleoti
                                                                                             des, e.g., in
                                                                                                 ents,
      the sense and/or antisens e strand of the double- stranded region. In yet further embodim
                                                                                               sense
5     the siRNA compris es one, two, three, four, or more 2'-deox y nucleoti des, e.g., in the
                                                                                                   siRNA
      and/or antisens e strand of the double- stranded region. In preferre d embodim ents, the
      does not compris e 2' -deoxy nucleoti des.
      [0109)     In certain instance s, the nucleoti de at the 3' -end of the double- stranded region in the
      sense   and/or antisens e strand is not a modifie d nucleoti de. In certain other instance s, the
      nucleoti des near the 3 '-end (e.g., within one, two, three, or four nucleoti des of the
                                                                                               3 '-end) of
10
                                                                                                      des.
      the double- stranded region in the sense and/or antisens e strand are not modifie d nucleoti
      [0110}    The siRNA molecul es describe d herein may have 3' overhan gs of one, two, three,
                                                                                             lack
      four, or more nucleoti des on one or both sides of the double- stranded region, or may
      overhan gs (i.e., have blunt ends) on one or both sides of the double- stranded region.
15    Preferab ly, the siRNA has 3' overhan gs of two nucleoti des on each side of the double-
      stranded region. In certain instance s, the 3' overhan g on the antisens e strand has
      complem entarity to the target sequenc e and the 3' overhan g on the sense strand has
                                                                                            the 3'
       complem entarity to a complem entary strand of the target sequenc e. Alternat ively,
                                                                                               strand
       overhan gs do not have complem entarity to the target sequenc e or the complem entary
                                                                                              more
20     thereof. In some embodim ents, the 3' overhan gs compris e one, two, three, four, or
                                                                                              the 3'
       nucleoti des such as 2'-deox y (2'H) nucleoti des. In certain preferre d embodim ents,
                                                                                                       ents,
       overhan gs compris e deoxyth ymidine (dT) and/or uridine nucleoti des. In other embodim
       one or more of the nucleoti des in the 3' overhan gs on one or both sides of the double-
                                                                                            d
       stranded region compris e modifie d nucleoti des. Non-lim iting example s of modifie
                                                                                                des,
25     nucleoti des are describe d above and include 2'OMe nucleoti des, 2'-deox y-2'F nucleoti
                                                                                                    In
       2'-deox y nucleoti des, 2'-O-2- MOE nucleoti des, LNA nucleoti des, and mixture s thereof.
                                                                                              gs present
       preferre d embodim ents, one, two, three, four, or more nucleoti des in the 3' overhan
                                                                                              2'OMe
       on the sense and/or antisens e strand of the siRNA compris e 2'OMe nucleoti des (e.g.,
                                                                                                 des,
       purine and/or pyrimid ine nucleoti des) such as, for example , 2'OMe- guanosi ne nucleoti
                                                                                                    des, and
 30    2'OMe- uridine nucleoti des, 2'OMe- adenosi ne nucleoti des, 2'OMe- cytosine nucleoti
       mixture s thereof.
        [0111]     The siRNA may compris e at least one or a cocktail (e.g., at least two, three, four,
                                                                                                     es
        five, six, seven, eight, nine, ten, or more) of unmodi fied and/or modifie d siRNA sequenc
                                                                                                 es which
        that silence target gene expressi on. The cocktail of siRNA may compris e sequenc

                                                          22


                                                                                                    JA001896
                                                                                                   GE NV-00 00400 8
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 561 of 1274 PageID #: 8867



     are directed to the same region or domain (e.g., a "hot spot") and/or to different regions or
     domains of one or more target genes. In certain instances, one or more (e.g., at least two,
     three, four, five, six, seven, eight, nine, ten, or more) modified siRNA that silence target gene
     expression are present in a cocktail. In certain other instances, one or more (e.g., at least two,
5    three, four, five, six, seven, eight, nine, ten, or more) unmodified siRNA sequences that
     silence target gene expression are present in a cocktail.
     [0112]    In some embodimen ts, the antisense strand of the siRNA molecule comprises or
     consists of a sequence that is at least about 80%, 85%, 90%, 95%, 96%, 97%, 98%, or 99%
     complemen tary to the target sequence or a portion thereof. In other embodimen ts, the
10   antisense strand of the siRNA molecule comprises or consists of a sequence that is 100%
     complemen tary to the target sequence or a portion thereof. In further embodimen ts, the
     antisense strand of the siRNA molecule comprises or consists of a sequence that specifically
     hybridizes to the target sequence or a portion thereof.
     [0113]    In further embodimen ts, the sense strand of the siRNA molecule comprises or
15   consists of a sequence that is at least about 80%, 85%, 90%, 95%, 96%, 97%, 98%, or 99%
     identical to the target sequence or a portion thereof. In additional embodimen ts, the sense
     strand of the siRNA molecule comprises or consists of a sequence that is 100% identical to
     the target sequence or a portion thereof.
      [0114]    In the lipid particles of the invention (e.g., SN ALP comprising an interfering RNA
20    such as siRNA), the cationic lipid may comprise, e.g., one or more of the following: 1,2-
      dilinoleylo xy-N ,N-dimethy laminoprop ane (DLinDMA ), 1,2-dilinole nyloxy-N ,N-
      dimethylam inopropane (D LenDMA), 2 ,2-dilino ley 1-4-(2-dim ethylaminoethy l)-[ 1,3 ]-
      dioxolane (DLin-K-C 2-DMA; "XTC2"), 2,2-dilinole yl-4-(3-dim ethylamino propyl)-[ 1,3]-
      dioxolane (DLin-K-C 3-DMA), 2,2-dilinole yl-4-(4-dimethyl aminobuty l)-[l ,3 ]-dioxolane
25    (DLin-K-C 4-DMA), 2,2-dilinol eyl-5-dime thylaminom ethyl-[l,3]- dioxane (DLin-K6- DMA),
      2,2-dilinol eyl-4-N-me thylpepiazi no-[ 1,3 ]-dioxolane (DLin-K-M PZ), 2,2-dilinole yl-4-
      dimethy laminomet hyl-[ l ,3 ]-dioxolane (DLin-K-D MA), 1,2-dilinole ylcarbamoy loxy-3-
      dimethylam inopropane (DLin-C-D AP), 1,2-dilinole yoxy-3-(dimethylam ino )acetoxypr opane
      (DLin-DAC ), 1,2-dilinole yoxy-3-mo rpholinopro pane (DLin-MA ), 1,2-dilinole oyl-3-
30    dimethy laminoprop ane (D LinD AP), 1,2-dilinole y lthio-3-dim ethylamino propane (D Lin-S-
      D MA), 1-linoleoyl -2-linoleyl oxy-3-dime thylaminop ropane (DLin-2-D MAP), 1,2-
      dilinoleylo xy-3-trime thylaminop ropane chloride salt (DLin-TMA .Cl), l ,2-dilinoleo yl-3-
      trimethylam inopropane chloride salt (DLin-TAP .Cl), 1,2-dilinole yloxy-3-(N -
      methylpipe razino )propane (DLin-MPZ ), 3-(N ,N-dilinole ylamino )-1,2-propa nediol (DLinAP),

                                                       23


                                                                                                JA001897
                                                                                               GE NV-0000 4009
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 562 of 1274 PageID #: 8868



     3-(N ,N-dioleylami no )-1,2-propane dio (DOAP), l ,2-dilinoleylo xo-3-(2-N ,N-
     dimethylamin o )ethoxypropa ne (DLin-EG-DM A), N,N-dioleyl-N ,N-dimethyla mmonium
     chloride (DODAC), 1,2-dioleylox y-N,N-dimeth ylaminopropa ne (DODMA), 1,2-
     distearyloxy- N,N-dimethyl aminopropane (DSDMA), N-(1-(2,3-dio leyloxy)propy l)-N,N,N-
5    trimethylamm onium chloride (DOTMA), N,N-distearyl -N,N-dimethy lammonium bromide
     (DDAB), N-(1-(2,3-dio leoyloxy)prop yl)-N,N,N-tri methylammon ium chloride (DOTAP), 3 -
     (N-(N' ,N' -dimethylami noethane )-carbamoyl)c holesterol (DC-Chol), N-( 1,2-
     dimyristyloxy prop-3-yl)-N ,N-dimethyl-N -hydroxyethy l ammonium bromide (DMRIE), 2,3-
     dioleyloxy-N -[2(spermine- carboxamido )ethyl]-N ,N-dimethyl-1 -
10   propanaminiu mtrifluoroace tate (DOSPA), dioctadecylam idoglycyl spermine (DOGS), 3-
     dimethylamin o-2-( cholest-5-en-3 -beta-oxybuta n-4-oxy)-1-(cis,cis-9, 12-
     octadecadieno xy)propane (CLinDMA), 2-[5'-(cholest -5-en-3-beta- oxy)-3'-oxape ntoxy)-3-
     dimethy-l-( cis,cis-9', 1-2' -octadecadien oxy)propane (CpLinDMA) , N,N-dimethyl -3,4-
     dioleyloxyben zylamine (DMOBA), 1,2-N,N'-diol eylcarbamyl-3 -dimethylami nopropane
15   (DOcarbDAP ), 1,2-N ,N' -dilinoleylcar bamyl-3-dime thylaminopro pane (DLincarbDA P), or
     mixtures thereof. In certain preferred embodiments , the cationic lipid is DLinDMA, DLin-K-
     C2-DMA ("XTC2"), or mixtures thereof.
     [0115]    The synthesis of cationic lipids such as DLin-K-C2-D MA ("XTC2"), DLin-K-C3-
     DMA, DLin-K-C4-D MA, DLin-K6-DM A, and DLin-K-MPZ , as well as additional cationic
20   lipids, is described in U.S. Provisional Application No. 61/104,212, filed October 9, 2008, the
     disclosure of which is herein incorporated by reference in its entirety for all purposes. The
     synthesis of cationic lipids such as DLin-K-DMA , DLin-C-DAP , DLin-DAC, DLin-MA,
     DLinDAP, DLin-S-DMA , DLin-2-DMA P, DLin-TMA.C l, DLin-TAP.Cl , DLin-MPZ,
     DLinAP, DOAP, and DLin-EG-DM A, as well as additional cationic lipids, is described in
25   PCT Application No. PCT/US0S/88 676, filed December 31, 2008, the disclosure of which is
      herein incorporated by reference in its entirety for all purposes. The synthesis of cationic
      lipids such as CLinDMA, as well as additional cationic lipids, is described in U.S. Patent
      Publication No. 20060240554 , the disclosure of which is herein incorporated by reference in
      its entirety for all purposes.
30    [0116]   In some embodiments , the cationic lipid may comprise from about 50 mol % to
      about 90 mol %, from about 50 mol % to about 85 mol %, from about 50 mol % to about 80
      mol %, from about 50 mol % to about 75 mol %, from about 50 mol % to about 70 mol %,
      from about 50 mol % to about 65 mol %, or from about 50 mol % to about 60 mol % of the
      total lipid present in the particle.


                                                     24


                                                                                             JA001898
                                                                                             GENV-00004010
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 563 of 1274 PageID #: 8869



     [0117]      In other embodiments , the cationic lipid may comprise from about 55 mol % to
     about 90 mol %, from about 55 mol % to about 85 mol %, from about 55 mol % to about 80
     mol %, from about 55 mol % to about 75 mol %, from about 55 mol % to about 70 mol %, or
     from about 55 mol % to about 65 mol % of the total lipid present in the particle.
5    [0118]      In yet other embodiments , the cationic lipid may comprise from about 60 mol % to
     about 90 mol %, from about 60 mol % to about 85 mol %, from about 60 mol % to about 80
     mol %, from about 60 mol % to about 75 mol %, or from about 60 mol % to about 70 mol %
     of the total lipid present in the particle.
     [0119]      In still yet other embodiments , the cationic lipid may comprise from about 65 mol
10   % to about 90 mol %, from about 65 mol % to about 85 mol %, from about 65 mol % to
     about 80 mol %, or from about 65 mol % to about 75 mol % of the total lipid present in the
     particle.
     [0120]      In further embodiments , the cationic lipid may comprise from about 70 mol % to
     about 90 mol %, from about 70 mol % to about 85 mol %, from about 70 mol % to about 80
15   mol %, from about 75 mol % to about 90 mol %, from about 75 mol % to about 85 mol %, or
     from about 80 mol % to about 90 mol % of the total lipid present in the particle.
     [0121]      In additional embodiments , the cationic lipid may comprise (at least) about 50, 51,
     52,53,54, 55,56,57,58 ,59,60,61,62 ,63,64, 65,66,67,68 ,69, 70, 71, 72, 73, 74, 75, 76,
     77, 78, 79, 80, 81, 82, 83, 84, 85, 86, 87, 88, 89, or 90 mol % (or any fraction thereof or range
20   therein) of the total lipid present in the particle.
     [0122]      In the lipid particles of the invention (e.g., SNALP comprising an interfering RNA
     such as siRNA), the non-cationic lipid may comprise, e.g., one or more anionic lipids and/or
     neutral lipids. In preferred embodiments , the non-cationic lipid comprises one of the
     following neutral lipid components: (1) cholesterol or a derivative thereof; (2) a
25   phospholipid; or (3) a mixture of a phospholipid and cholesterol or a derivative thereof.
     [0123} Examples of cholesterol derivatives include, but arc not limited to, cholestanol,
      cholestanone, cholestenone, coprostanol, cholesteryl-2' -hydroxyethy l ether, cholesteryl-4' -
      hydroxybutyl ether, and mixtures thereof. The synthesis of cholesteryl-2' -hydroxyethy l ether
      is described herein.
30    [0124]      The phospholipid may be a neutral lipid including, but not limited to,
      dipalmitoylph osphatidylcho line (DPPC), distearoylpho sphatidylchol ine (DSPC),
      dioleoy lphosphatidyl ethanolamine (DOPE), palmitoy loleoy1-phosphatidy lcholine (POPC),
      palmitoyloleo yl-phosphatid ylethanolamin e (POPE), palmitoyloley ol-phosphatid ylglycerol
      (POPG), dipalmitoyl-p hosphatidylet hanolamine (DPPE), dimyristoyl-


                                                        25


                                                                                              JA001899
                                                                                              GENV-00004011
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 564 of 1274 PageID #: 8870



     phosphatidyle thanolamine (DMPE), distearoyl-pho sphatidyletha nolamine (DSPE),
     monomethyl-p hosphatidylet hanolarnine, dimethyl-pho sphatidyletha nolamine, dielaidoyl-
     phosphatidyle thanolamine (DEPE), stearoyloleoy l-phosphatidy lethanolamine (SOPE), egg
     phosphatidylc holine (EPC), and mixtures thereof. In certain preferred embodiments , the
5    phospholipid is DPPC, DSPC, or mixtures thereof.
     [0125]    In some embodiments , the non-cationic lipid (e.g., one or more phospholipids
     and/or cholesterol) may comprise from about IO mol % to about 60 mol %, from about 15
     mol % to about 60 mol %, from about 20 mol % to about 60 mol %, from about 25 mol % to
     about 60 mol %, from about 30 mol % to about 60 mol %, from about 10 mol % to about 55
10   mol %, from about 15 mol % to about 55 mol %, from about 20 mol % to about 55 mol %,
     from about 25 mol % to about 55 mol %, from about 30 mol % to about 55 mol %, from
     about 13 mol % to about 50 mol %, from about 15 mol % to about 50 mol % or from about
     20 mol % to about 50 mol % of the total lipid present in the particle. When the non-cationic
     lipid is a mixture of a phospholipid and cholesterol or a cholesterol derivative, the mixture
15   may comprise up to about 40, 50, or 60 mol % of the total lipid present in the particle.
     [0126]    In other embodiments , the non-cationic lipid (e.g., one or more phospholipids and/or
     cholesterol) may comprise from about 10 mol % to about 49.5 mol %, from about 13 mol %
     to about 49.5 mol %, from about 15 mol % to about 49.5 mo1 %, from about 20 mol % to
     about 49 .5 mol %, from about 25 mol % to about 49 .5 mol %, from about 30 mol % to about
20   49.5 mol %, from about 35 mol % to about 49.5 mol %, or from about 40 mol % to about
     49 .5 mol % of the total lipid present in the particle.
     [0127]    In yet other embodiments , the non-cationic lipid (e.g., one or more phospholipids
     and/or cholesterol) may comprise from about 10 mol % to about 45 mol %, from about 13
     mol % to about 45 mol %, from about 15 mol % to about 45 mol %, from about 20 mol % to
25    about 45 mol %, from about 25 mol % to about 45 mol %, from about 30 mol % to about 45
      mol %, or from about 35 mol % to about 45 mol % of the total lipid present in the particle.
      [0128]   In still yet other embodiments , the non-cationic lipid (e.g., one or more
      phospholipids and/or cholesterol) may comprise from about l O mol % to about 40 mol %,
      from about 13 mol % to about 40 mol %, from about 15 mol % to about 40 mol %, from
30    about 20 mol % to about 40 mol %, from about 25 mol % to about 40 mol %, or from about
      30 mol % to about 40 mol % of the total lipid present in the particle.
      [0129)   In fmiher embodiments , the non-cationic lipid (e.g., one or more phospholipids
      and/or cholesterol) may comprise from about 10 mol % to about 35 mol %, from about 13
      mol % to about 35 mol %, from about 15 mol % to about 35 mol %, from about 20 mol % to


                                                       26


                                                                                            JA001900
                                                                                            GENV-00004012
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 565 of 1274 PageID #: 8871



     about 35 mol %, or from about 25 mol % to about 35 mol % of the total lipid present in the
     particle.
     [0130]      In yet further embodiments , the non-cationic lipid (e.g., one or more phospholipids
     and/or cholesterol) may comprise from about 10 mol % to about 30 mol %, from about 13
5    mol % to about 30 mol %, from about 15 mo!% to about 30 mol %, from about 20 mol % to
     about 30 mol %, from about 10 mo! % to about 25 mol %, from about 13 rnol % to about 25
     mol %, or from about 15 mol % to about 25 mol % of the total lipid present in the particle.
     [0131] In additional embodiments , the non-cationic lipid (e.g., one or more phospholipids
     and/orcholes terol)maycom prise(atleast )aboutl0, 11, 12, 13, 14, 15, 16, 17, 18, 19,20,21,
10   22,23,24,25 ,26,27,28,2 9,30,31,32, 33,34, 35,36,37,38 ,39,40,41,42 ,43,44,45,46 ,
     47, 48, 49, 50, 51, 52, 53, 54, 55, 56, 57, 58, 59, or 60 mol % (or any fraction thereof or range
     therein) of the total lipid present in the particle.
     [0132]   In certain preferred embodiments , the non-cationic lipid comprises cholesterol or a
     derivative thereof of from about 31.5 mol % to about 42.5 mol % of the total lipid present in
15   the particle. As a non-limiting example, a phospholipid- free lipid particle of the invention
     may comprise cholesterol or a derivative thereof at about 3 7 mol % of the total lipid present
     in the particle. In other preferred embodiments , a phospholipid- free lipid particle of the
     invention may comprise cholesterol or a derivative thereof of from about 30 mol % to about
     45 mol %, from about 30 mol % to about 40 mol %, from about 30 mol % to about 35 mol %,
20   from about 35 mol % to about 45 mol %, from about 40 mol % to about 45 mol %, from
     about 32 mol % to about 45 mol %, from about 32 mol % to about 42 mol %, from about 32
     mol % to about 40 mol %, from about 34 mol % to about 45 mol %, from about 34 mol % to
      about 42 mol %, from about 34 mol % to about 40 mol %, or about 30, 31, 32, 33, 34, 35, 36,
      37, 38, 39, 40, 41, 42, 43, 44, or 45 mol % (or any fraction thereof or range therein) of the
25    total lipid present in the particle.
      [0133]      In certain other preferred embodiments , the non-cationic lipid comprises a mixture
      of: (i) a phospholipid of from about 4 mol % to about 10 mol % of the total lipid present in
      the particle; and (ii) cholesterol or a derivative thereof of from about 30 mol % to about 40
      mol % of the total lipid present in the particle. As a non-limiting example, a lipid particle
30    comprising a mixture of a phospholipid and cholesterol may comprise DPPC at about 7 mol
      % and cholesterol at about 34 mol % of the total lipid present in the particle. In other
      embodiments , the non-cationic lipid comprises a mixture of: (i) a phospholipid of from about
      3 mol % to about 15 mol %, from about 4 mol % to about 15 mol %, from about 4 mol % to
      about 12 mol %, from about 4 mol % to about 10 mol %, from about 4 mol % to about 8 mol


                                                        27


                                                                                              JA001901
                                                                                              GENV-00004013
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 566 of 1274 PageID #: 8872



     %, from about 5 mol % to about 12 mol %, from about 5 mol % to about 9 mol %, from
     about 6 mol % to about 12 mol %, from about 6 mol % to about 10 mol %, or about 3, 4, 5, 6,
     7, 8, 9, 10, 11, 12, 13, 14, or 15 mol % (or any fraction thereof or range therein) of the total
     lipid present in the particle; and (ii) cholesterol or a derivative thereof of from about 25 mol
5    % to about 45 mol %, from about 30 mol % to about 45 mol %, from about 25 mol % to
     about 40 mol %, from about 30 mol % to about 40 mol %, from about 25 mol % to about 35
     mol %, from about 30 mol % to about 35 mol %, from about 35 mol % to about 45 mol %,
     from about 40 mol % to about 45 mol %, from about 28 mol % to about 40 mol %, from
     about 28 mol % to about 38 mol %, from about 30 mol % to about 38 mol %, from about 32
10   mol % to about 36 mol %, or about 25, 26, 27, 28, 29, 30, 31, 32, 33, 34, 35, 36, 37, 38, 39,
     40, 41, 42, 43, 44, or 45 mol % (or any fraction thereof or range therein) of the total lipid
     present in the particle.
     [0134]    In further preferred embodiments , the non-cationic lipid comprises a mixture of: (i)
     a phospholipid of from about 10 mol % to about 30 mol % of the total lipid present in the
15   particle; and (ii) cholesterol or a derivative thereof of from about 10 mol % to about 30 mol
     % of the total lipid present in the particle. As a non-limiting example, a lipid particle
     comprising a mixture of a phospholipid and cholesterol may comprise DPPC at about 20 mol
     % and cholesterol at about 20 mol % of the total lipid present in the particle. In other
     embodiments , the non-cationic lipid comprises a mixture of: (i) a phospholipid of from about
20    10 mol % to about 30 mol %, from about 10 mol % to about 25 mol %, from about 10 mol %
     to about 20 mol %, from about 15 mol % to about 30 mol %, from about 20 mol % to about
     30 mol %, from about 15 mol % to about 25 mol %, from about 12 mol % to about 28 mol %,
      from about 14 mol % to about 26 mol %, or about 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20,
      21, 22, 23, 24, 25, 26, 27, 28, 29, or 30 mol % (or any fraction thereof or range therein) of the
25    total lipid present in the particle; and (ii) cholesterol or a derivative thereof of from about l 0
      mol % to about 30 mol %, from about 10 mol % to about 25 mol %, from about 10 mol % to
      about 20 mol %, from about 15 mol % to about 30 mol %, from about 20 mol % to about 30
      mol %, from about 15 mol % to about 25 mol %, from about 12 mol % to about 28 mol %,
      from about 14 mol % to about 26 mol %, or about 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20,
30    21, 22, 23, 24, 25, 26, 27, 28, 29, or 30 mol % (or any fraction thereof or range therein) of the
      total lipid present in the particle.
      [0135]    In the lipid particles of the invention (e.g., SNALP comprising an interfering RNA
      such as siRNA), the conjugated lipid that inhibits aggregation of particles may comprise, e.g.,
      one or more of the following: a polyethyleneg lycol (PEG)-lipid conjugate, a polyamide


                                                       28


                                                                                                 JA001902
                                                                                                 GENV-00004014
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 567 of 1274 PageID #: 8873



     (ATT A)-lipid conjugate, a cationic-polym er-lipid conjugates (CPLs ), or mixtures thereof. In
     one preferred embodiment, the nucleic acid-lipid particles comprise either a PEG-lipid
     conjugate or an ATTA-lipid conjugate. In certain embodiments , the PEG-lipid conjugate or
     ATTA-lipid conjugate is used together with a CPL. The conjugated lipid that inhibits
5    aggregation of particles may comprise a PEG-lipid including, e.g., a PEG-diacylgl ycerol
     (DAG), a PEG dialkyloxypro pyl (DAA), a PEG-phospho lipid, a PEG-ceramid e (Cer), or
     mixtures thereof. The PEG-DAA conjugate may be PEG-dilauryl oxypropyl (C12), a PEG-
     dimyristyloxy propyl (C 14), a PEG-dipalmit yloxypropyl (C 16), a PEG-disteary loxypropyl
     (C18), or mixtures thereof.
10   [0136]    Additional PEG-lipid conjugates suitable for use in the invention include, but are
     not limited to, mPEG2000-l, 2-di-O-alkyl- sn3-carbomoy lglyceride (PEG-C-DOM G). The
     synthesis of PEG-C-DOM G is described in PCT Application No. PCT/US0S/88 676, filed
     December 31, 2008, the disclosure of which is herein incorporated by reference in its entirety
     for all purposes. Yet additional PEG-lipid conjugates suitable for use in the invention
15   include, without limitation, 1-[8' -(l ,2-dimyristoy l-3-propanoxy )-carboxamid o-3' ,6' -
     dioxaoctanyl] carbamoyl-ro -methyl-poly( ethylene glycol) (2KPEG-DM G). The synthesis of
     2KPEG-DMG is described in U.S. Patent No. 7,404,969, the disclosure of which is herein
     incorporated by reference in its entirety for all purposes.
     [0137]   The PEG moiety of the PEG-lipid conjugates described herein may comprise an
20   average molecular weight ranging from about 550 daltons to about 10,000 daltons. In certain
     instances, the PEG moiety has an average molecular weight of from about 750 daltons to
     about 5,000 daltons (e.g., from about 1,000 daltons to about 5,000 daltons, from about 1,500
     daltons to about 3,000 daltons, from about 750 daltons to about 3,000 daltons, from about
     750 daltons to about 2,000 daltons, etc.). In preferred embodiments , the PEG moiety has an
25    average molecular weight of about 2,000 daltons or about 750 daltons.
      [0138]   In some embodiments , the conjugated lipid that inhibits aggregation of particles is a
      CPL that has the formula: A-W-Y, wherein A is a lipid moiety, Wis a hydrophilic polymer,
      and Y is a polycationic moiety. W may be a polymer selected from the group consisting of
      polyethyleneg lycol (PEG), polyamide, polylactic acid, polyglycolic acid, polylactic
30    acid/polyglyc olic acid copolymers, or combinations thereof, the polymer having a molecular
      weight of from about 250 to about 7000 daltons. In some embodiments , Y has at least 4
      positive charges at a selected pH. In some embodiments , Y may be lysine, arginine,
      asparagine, glutamine, derivatives thereof, or combinations thereof.



                                                      29


                                                                                            JA001903
                                                                                            GENV-00004015
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 568 of 1274 PageID #: 8874



      [0139]   In certain instance s, the conjuga ted lipid that inhibits aggrega tion of particles (e.g.,
                                                                                                about 0.5
      PEG-lip id conjuga te) may compris e from about 0.1 mol % to about 2 mol %, from
                                                                                       % to
      mol % to about 2 mol %, from about 1 mol % to about 2 mol %, from about 0.6 mol
                                                                                   % to about
      about 1.9 mol %, from about 0.7 mol % to about 1.8 mol %, from about 0.8 mol
                                                                                      1.8 mol
5     1.7 mol %, from about 1 mol % to about 1.8 mol %, from about 1.2 mol % to about
                                                                                                 %,
      %, from about 1.2 mol % to about 1. 7 mol %, from about 1.3 mol % to about 1.6 mol
                                                                                           1.7, 1.8, 1.9,
      from about 1.4 mol % to about I.5 mol %, or about 1, 1.1, 1.2, 1.3, 1.4, 1.5, 1.6,
                                                                                              particle.
      or 2 mol % (or any fraction thereof or range therein) of the total lipid present in the
                                                                                               may be
      [0140] In the lipid particles of the inventio n, the active agent or therapeu tic agent
                                                                                                   agent
10    fully encapsu lated within the lipid portion of the particle, thereby protecti ng the active
      or therapeu tic agent from enzyma tic degrada tion. In preferre d embodim ents, a SNALP
                                                                                              lated
      compris ing a nucleic acid such as an interferi ng RNA (e.g., siRNA) is fully encapsu
      within the lipid portion of the particle, thereby protecti ng the nucleic acid from nuclease
                                                                                                degrade d
      degrada tion. In certain instance s, the nucleic acid in the SNALP is not substant ially
                                                                                              60
15    after exposur e of the particle to a nuclease at 37°C for at least about 20, 30, 45, or
                                                                                            ially
      minutes . In certain other instance s, the nucleic acid in the SNALP is not substant
                                                                                              or 60
      degrade d after incubati on of the particle in serum at 37°C for at least about 30, 45,
                                                                                                30, 32, 34,
      minutes or at least about 2, 3, 4, 5, 6, 7, 8, 9, 10, 12, 14, 16, 18, 20, 22, 24, 26, 28,
                                                                                                    acid
      or 36 hours. In other embodim ents, the active agent or therapeu tic agent (e.g., nucleic
                                                                                                     of the
20     such as siRNA) is complex ed with the lipid portion of the particle. One of the benefits
                                                                                                     ially
       formula tions of the present inventio n is that the lipid particle compos itions are substant
       non-tox ic to mamma ls such as humans .
                                                                                                             in
       [0141}      The term "fully encapsu lated" indicate s that the active agent or therapeu tic agent
       the   lipid paiticle is not significa ntly degrade d after exposur e to serum or a nuclease or
                                                                                          fully
25     protease assay that would significa ntly degrade free DNA, RNA, or protein. In a
                                                                                             tic agent
       encapsu lated system, preferab ly less than about 25% of the active agent or therapeu
                                                                                               active
       in the particle is degrade d in a treatme nt that would normall y degrade 100% of free
                                                                                              ly less
       agent or therapeu tic agent, more preferab ly less than about 10%, and most preferab
                                                                                              In the
       than about 5% of the active agent or therapeu tic agent in the particle is degrade d.
                                                                                             by an
 30    context of nucleic acid therapeu tic agents, full encapsu lation may be determi ned
                                                                                               quantita ting
        Oligreen® assay. Oligreen ® is an ultra-sen sitive fluoresc ent nucleic acid stain for
                                                                                                    en
        oligonu cleotide s and single-s tranded DNA or RNA in solution (availab le from Invitrog
                                                                                                       are
        Corpora tion; Carlsbad , CA). "Fully encapsu lated" also indicate s that the lipid particles



                                                          30


                                                                                                   JA001904
                                                                                                   GENV-00004016
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 569 of 1274 PageID #: 8875



     serum-stable, that is, that they do not rapidly decompose into their component parts upon in
     vivo administration.
     [0142]   In another aspect, the present invention provides a lipid particle (e.g., SNALP)
     composition comprising a plurality of lipid particles. In preferred embodiments, the active
5    agent or therapeutic agent (e.g., nucleic acid) is fully encapsulated within the lipid portion of
     the lipid particles (e.g., SNALP), such that from about 30% to about 100%, from about 40%
     to about 100%, from about 50% to about l 00%, from about 60% to about 100%, from about
     70% to about 100%, from about 80% to about 100%, from about 90% to about 100%, from
     about 30% to about 95%, from about 40% to about 95%, from about 50% to about 95%, from
10   about 60% to about 95%, %, from about 70% to about 95%, from about 80% to about 95%,
     from about 85% to about 95%, from about 90% to about 95%, from about 30% to about 90%,
     from about 40% to about 90%, from about 50% to about 90%, from about 60% to about 90%,
     from about 70% to about 90%, from about 80% to about 90%, or at least about 30%, 35%,
     40%, 45%, 50%, 55%, 60%, 65%, 70%, 75%, 80%, 85%, 90%, 91 %, 92%, 93%, 94%, 95%,
15   96%, 97%, 98%, or 99% ( or any fraction thereof or range therein) of the lipid particles (e.g.,
     SNALP) have the active agent or therapeutic agent encapsulated therein.
     [0143]    Typically, the lipid particles (e.g., SN ALP) of the invention have a lipid:active
     agent (e.g., lipid:nucleic acid) ratio (mass/mass ratio) of from about 1 to about 100. In some
     instances, the lipid:active agent (e.g., lipid:nucleic acid) ratio (mass/mass ratio) ranges from
20   about 1 to about 50, from about 2 to about 25, from about 3 to about 20, from about 4 to
     about 15, or from about 5 to about 10. In preferred embodiments, the lipid particles of the
     invention have a lipid:active agent (e.g., lipid:nucleic acid) ratio (mass/mass ratio) of from
     about 5 to about 15, e.g., about 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, or 15 (or any fraction thereof
     or range therein).
25   [0144]    Typically, the lipid particles (e.g., SNALP) of the invention have a mean diameter
     of from about 40 nm to about 150 nm. In preferred embodiments, the lipid particles (e.g.,
     SNALP) of the invention have a mean diameter of from about 40 nm to about 130 nm, from
     about 40 nm to about 120 nm, from about 40 nm to about 100 nm, from about 50 nm to about
      120 nm, from about 50 nm to about 100 run, from about 60 nm to about 120 nm, from about
30    60 run to about 110 nm, from about 60 run to about 100 nm, from about 60 nm to about 90
      nm, from about 60 nm to about 80 nm, from about 70 nm to about 120 nm, from about 70 nm
      to about 110 nm, from about 70 nm to about 100 run, from about 70 nm to about 90 run, from
      about 70 nm to about 80 nm, or less than about 120 nm, 110 nm, 100 nm, 90 nm, or 80 nm
      (or any fraction thereof or range therein).

                                                      31


                                                                                               JA001905
                                                                                               GENV-00004017
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 570 of 1274 PageID #: 8876



     [0145]   In one specific embodiment of the invention, the SN ALP comprises: (a) one or
     more unmodified and/or modified interfering RNA (e.g., siRNA, aiRNA, miRNA) that
     silence target gene expression; (b) a cationic lipid comprising from about 56.5 mol % to
     about 66.5 mol % of the total lipid present in the particle; (c) a non-cationic lipid comprising
5    from about 31.5 mol % to about 42.5 mol % of the total lipid present in the particle; and (d) a
     conjugated lipid that inhibits aggregation of particles comprising from about 1 mol % to
     about 2 mol % of the total lipid present in the particle. This specific embodiment of SNALP
     is generally referred to herein as the "l :62" formulation. In a preferred embodiment, the
     cationic lipid is DLinDMA or DLin-K-C2-D MA ("XTC2"), the non-cationic lipid is
10   cholesterol, and the conjugated lipid is a PEG-DAA conjugate. Although these are preferred
     embodiments of the l :62 formulation, those of skill in the art will appreciate that other
     cationic lipids, non-cationic lipids (including other cholesterol derivatives), and conjugated
     lipids can be used in the 1 :62 formulation as described herein.
     [0146]    In another specific embodiment of the invention, the SN ALP comprises: (a) one or
15   more unmodified and/or modified interfering RNA (e.g., siRNA, aiRNA, miRNA) that
     silence target gene expression; (b) a cationic lipid comprising from about 52 mol % to about
     62 mol % of the total lipid present in the particle; (c) a non-cationic lipid comprising from
     about 36 mol % to about 47 mol % of the total lipid present in the particle; and (d) a
     conjugated lipid that inhibits aggregation of particles comprising from about l mol % to
20   about 2 mol % of the total lipid present in the particle. This specific embodiment of SN ALP
     is generally referred to herein as the "1 :57'' formulation. In one preferred embodiment, the
     cationic lipid is DLinDMA or DLin-K-C2-D MA ("XTC2"), the non-cationic lipid is a
     mixture of a phospholipid (such as DPPC) and cholesterol, wherein the phospholipid
     comprises from about 5 mol % to about 9 mol % of the total lipid present in the particle (e.g.,
25    about 7 .1 mol % ) and the cholesterol (or cholesterol derivative) comprises from about 32 mol
      % to about 37 mol % of the total lipid present in the particle (e.g., about 34.3 mol %), and the
      PEG-lipid is a PEG-DAA (e.g., PEG-cDMA). In another preferred embodiment, the cationic
      lipid is DLinDMA or DLin-K-C2-D MA ("XTC2"), the non-cationic lipid is a mixture of a
      phospholipid (such as DPPC) and cholesterol, wherein the phospholipid comprises from
30    about 15 mol % to about 25 mol % of the total lipid present in the particle (e.g., about 20 mol
      %) and the cholesterol (or cholesterol derivative) comprises from about 15 mol % to about 25
      mol % of the total lipid present in the particle (e.g., about 20 mol %), and the PEG-lipid is a
      PEG-DAA (e.g., PEG-cDMA). Although these are preferred embodiments of the 1 :57
      formulation, those of skill in the art will appreciate that other cationic lipids, non-cationic

                                                      32


                                                                                               JA001906
                                                                                               GENV-00004018
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 571 of 1274 PageID #: 8877



     lipids (including other phospholip ids and other cholesterol derivatives ), and conjugated lipids
     can be used in the l :57 formulation as described herein.
     [0147}  In preferred embodimen ts, the 1 :62 SNALP formulation is a three-comp onent
     system which is phospholip id-free and comprises about 1.5 mol % PEG-cDM A (or PEG-
S    cDSA), about 61.5 mol % DLinDMA (or XTC2), and about 36.9 mol % cholesterol (or
     derivative thereof). In other preferred embodimen ts, the 1:57 SN ALP formulation is a four-
     component system which comprises about 1.4 mol % PEG-cDM A ( or PEG-cDSA ), about
     57 .1 mol % DLinDMA (or XTC2), about 7. l mol % DPPC, and about 34.3 mol %
     cholesterol (or derivative thereof). In yet other preferred embodimen ts, the 1 :57 SNALP
10   formulatio n is a four-compo nent system which comprises about 1.4 mol % PEG-cDM A (or
     PEG-cDSA ), about 57.1 mol % DLinDMA (or XTC2), about 20 mol % DPPC, and about 20
     mol % cholesterol (or derivative thereof). It should be understood that these SNALP
     formulation s are target formulation s, and that the amount of lipid (both cationic and non-
     cationic) present and the amount of lipid conjugate present in the SNALP formulation s may
15   vary.
     [0148]    The present invention also provides a pharmaceu tical compositio n comprising a
     lipid particle (e.g., SNALP) described herein and a pharmaceu tically acceptable carrier.
      [0149]  In a further aspect, the present invention provides a method for introducing one or
     more active agents or therapeutic agents (e.g., nucleic acid) into a cell, comprising contacting
20   the cell with a lipid particle (e.g., SNALP) described herein. In one embodimen t, the cell is
     in a mammal and the mammal is a human. In another embodimen t, the present invention
      provides a method for the in vivo delivery of one or more active agents or therapeutic agents
      (e.g., nucleic acid), comprising administeri ng to a mammalian subject a lipid particle (e.g.,
      SN ALP) described herein. In a preferred embodimen t, the mode of administrat ion includes,
25    but is not limited to, oral, intranasal, intravenou s, intraperiton eal, intramuscu lar, intra-
      articular, intralesiona l, intratrachea l, subcutaneo us, and intradermal . Preforably, the
      mammalia n subject is a human.
      [0150]    In one embodimen t, at least about 5%, 10%, 15%, 20%, or 25% of the total injected
      dose of the lipid particles (e.g., SNALP) is present in plasma about 8, 12, 24, 36, or 48 hours
30    after injection. In other embodimen ts, more than about 20%, 30%, 40% and as much as
      about 60%, 70% or 80% of the total injected dose of the lipid particles (e.g., SN ALP) is
      present in plasma about 8, 12, 24, 36, or 48 hours after injection. In certain instances, more
      than about 10% of a plurality of the particles is present in the plasma of a mammal about l
      hour after administrat ion. In certain other instances, the presence of the lipid particles (e.g.,

                                                        33


                                                                                                    JA001907
                                                                                                    GENV-00004019
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 572 of 1274 PageID #: 8878



     SNALP) is detectable at least about 1 hour after administrat ion of the particle. In certain
     embodimen ts, the presence of an active agent or therapeutic agent such as an interfering RNA
     (e.g., siRNA) is detectable in cells of the lung, liver, tumor, or at a site of inflammati on at
     about 8, 12, 24, 36, 48, 60, 72 or 96 hours after administrat ion. In other embodimen ts,
5    dowmegula tion of expression of a target sequence by an active agent or therapeutic agent
     such as an interfering RNA (e.g., siRNA) is detectable at about 8, 12, 24, 36, 48, 60, 72 or 96
     hours after administrat ion. In yet other embodimen ts, dowmegula tion of expression of a
     target sequence by an active agent or therapeutic agent such as an interfering RNA (e.g.,
     siRNA) occurs preferentia lly in tumor cells or in cells at a site of inflammati on. In further
10   embodimen ts, the presence or effect of an active agent or therapeutic agent such as an
     interfering RNA (e.g., siRNA) in cells at a site proximal or distal to the site of administrat ion
     or in cells of the lung, liver, or a tumor is detectable at about 12, 24, 48, 72, or 96 hours, or at
     about 6, 8, 10, 12, 14, 16, 18, 19, 20, 22, 24, 26, or 28 days after administrat ion. In additional
     embodimen ts, the lipid particles (e.g., SN ALP) of the invention are administere d parenterall y
15   or intraperiton eally.
     [0151]    In some embodimen ts, the lipid particles (e.g., SN ALP) of the invention are
     particularly useful in methods for the therapeutic delivery of one or more nucleic acids
     comprising an interfering RNA sequence (e.g., siRNA). In particular, it is an object of this
     invention to provide in vitro and in vivo methods for treatment of a disease or disorder in a
20   mammal (e.g., a rodent such as a mouse or a primate such as a human, chimpanze e, or
     monkey) by downregula ting or silencing the transcriptio n and/or translation of one or more
      target nucleic acid sequences or genes of interest. As a non-limitin g example, the methods of
      the invention are useful for in vivo delivery of interfering RNA (e.g., siRNA) to the liver
      and/or tumor of a mammalia n subject. In certain embodimen ts, the disease or disorder is
25    associated with expression and/or overexpres sion of a gene and expression or overexpres sion
      of the gene is reduced by the interfering RNA (e.g., siRNA). In certain other embodimen ts, a
      therapeutic ally effective amount of the lipid particle (e.g., SNALP) may be administere d to
      the mammal. In some instances, an interfering RNA (e.g., siRNA) is formulated into a
      SNALP, and the particles are administere d to patients requiring such treatment. In other
30    instances, cells are removed from a patient, the interfering RNA (e.g., siRNA) is delivered in
      vitro (e.g., using a SNALP described herein), and the cells are reinjected into the patient.
      [0152]  In an additional aspect, the present invention provides lipid particles (e.g., SNALP)
      comprising asymmetric al interfering RNA (aiRNA) molecules that silence the expression of a
      target gene and methods of using such particles to silence target gene expression.

                                                        34


                                                                                                 JA001908
                                                                                                GE NV-0000 4020
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 573 of 1274 PageID #: 8879



     [0153]   In one embodimen t, the aiRNA molecule comprises a double-stra nded (duplex)
     region of about 10 to about 25 (base paired) nucleotides in length, wherein the aiRNA
     molecule comprises an antisense strand comprising 5' and 3' overhangs, and wherein the
     aiRN A molecule is capable of silencing target gene expression .
5    [0154]   In certain instances, the aiRNA molecule comprises a double-stra nded (duplex)
     region of about 12-20, 12-19, 12-18, 13-17, or 14-17 (ba,;,e paired) nucleotides in length,
     more typically 12, 13, 14, 15, 16, 17, 18, 19, or 20 (base paired) nucleotides in length. In
     certain other instances, the 5' and 3' overhangs on the antisense strand comprise sequences
     that are complemen tary to the target RNA sequence, and may optionally further comprise
10   nontargetin g sequences. In some embodimen ts, each of the 5' and 3' overhangs on the
     antisense strand comprises or consists of one, two, three, four, five, six, seven, or more
     nucleotides .
     [0155]    In other embodimen ts, the aiRNA molecule comprises modified nucleotides
     selected from the group consisting of 2'OMe nucleotides , 2'F nucleotides , 2'-deoxy
15   nucleotides , 2'-O-MOE nucleotides , LNA nucleotides , and mixtures thereof In a preferred
     embodimen t, the aiRNA molecule comprises 2'OMe nucleotides . As a non-limitin g
     example, the 2'OMe nucleotides may be selected from the group consisting of 2'OMe-
     guanosine nucleotides , 2'OMe-uri dine nucleotides , and mixtures thereof.
     [0156]  In a related aspect, the present invention provides lipid particles (e.g., SN ALP)
20   comprising microRNA (miRNA) molecules that silence the expression of a target gene and
      methods of using such compositio ns to silence target gene expression.
      [0157] In one embodimen t, the miRNA molecule comprises about 15 to about 60
      nucleotides in length, wherein the miRNA molecule is capable of silencing target gene
      expression.
25    [0158]   In certain instances, the miRNA molecule comprises about 15-50, 15-40, or 15-30
      nucleotides in length, more typically about 15-25 or 19-25 nucleotides in length, and are
      preferably about 20-24, 21-22, or 21-23 nucleotides in length. In a preferred embodimen t,
      the miRNA molecule is a mature miRNA molecule targeting an RNA sequence of interest.
      [0159]    In some embodimen ts, the miRNA molecule comprises modified nucleotides
30    selected from the group consisting of2'OMe nucleotides , 2'F nucleotides , 2'-deoxy
      nucleotides , 2'-O-MOE nucleotides , LNA nucleotides , and mixtures thereof. In a prefen-ed
      embodimen t, the miRNA molecule comprises 2'OMe nucleotides . As a non-limitin g
      example, the 2'OMe nucleotides may be selected from the group consisting of 2'OMe-
      guanosine nucleotides , 2'OMe-uri dine nucleotides , and mixtures thereof.

                                                      35


                                                                                             JA001909
                                                                                             GE NV-00004021
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 574 of 1274 PageID #: 8880



      [0160]    As such, the lipid particles of the invention (e.g., SNALP) are advantag eous and
      suitable for use in the administr ation of active agents or therapeut ic agents such as nucleic
      acid (e.g., interferin g RNA such as siRNA, aiRNA, and/or miRNA) to a subject (e.g., a
      mammal such as a human) because they are stable in circulatio n, of a size required for
5     pharmaco dynamic behavior resulting in access to extravasc ular sites, and are capable of
      reaching target cell populatio ns.

      IV.       Active Agents

      [0161]    Active agents (e.g., therapeut ic agents) include any molecule or compoun d capable
      of exerting a desired effect on a cell, tissue, organ, or subject. Such effects may be, e.g.,
10    biologica l, physiolog ical, and/or cosmetic. Active agents may be any type of molecule or
      compoun d including , but not limited to, nucleic acids, peptides, polypepti des, small
      molecule s, and mixtures thereof. Non-limi ting examples of nucleic acids include interferin g
      RNA molecule s (e.g., siRNA, aiRNA, miRNA), antisense oligonucl eotides, plasmids ,
      ribozyme s, immunos timulator y oligonucl eotides, and mixtures thereof. Example s of peptides
15    or polypepti des include, without limitation , antibodie s (e.g., polyclon al antibodie s,
      monoclon al antibodie s, antibody :fragments; humanize d antibodie s, recombin ant antibodie s,
      recombin ant human antibodie s, Primatize d™ antibodie s), cytokines , growth factors,
      apoptotic factors, differenti ation-ind ucing factors, cell-surfa ce receptors and their ligands,
      hormones , and mixtures thereof. Examples of small molecule s include, but are not limited to,
20     small organic molecule s or compoun ds such as any conventio nal agent or drug known to
       those of skill in the art.
       [0162]   In some embodim ents, the active agent is a therapeut ic agent, or a salt or derivativ e
       thereof. Therapeu tic agent derivativ es may be therapeut ically active themselv es or they may
       be prodrugs , which become active upon further modificat ion. Thus, in one embodim ent, a
25     therapeut ic agent derivativ e retains some or all of the therapeut ic activity as compared to the
       unmodifi ed agent, while in another embodim ent, a therapeut ic agent derivativ e is a prodrug
       that lacks therapeut ic activity, but becomes active upon further modificat ion.

                 A.     Nucleic Acids

       [0163]   In certain embodim ents, lipid particles of the present invention are associate d with a
 30    nucleic acid, resulting in a nucleic acid-lipid particle (e.g., SNALP). In some embodim ents,
       the nucleic acid is fully encapsul ated in the lipid particle. As used herein, the term "nucleic
       acid" includes any oligonucl eotide or polynucle otide, with fragment s containin g up to 60



                                                        36


                                                                                                 JA001910
                                                                                                GE NV-000 04022
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 575 of 1274 PageID #: 8881



     nucleotides generally termed oligonucleotides, and longer fragments termed polynucleotides.
     In particular embodiments, oligonucletoides of the invention are from about 15 to about 60
     nucleotides in length. Nucleic acid may be administered alone in the lipid particles of the
     invention, or in combination (e.g., co-administered) with lipid particles of the invention
5    comprising peptides, polypeptides, or small molecules such as conventional drugs.
     [0164]   In the context of this invention, the terms "polynucleotide" and "oligonucleotide"
     refer to a polymer or oligomer of nucleotide or nucleoside monomers consisting of naturally-
     occurring bases, sugars and intersugar (backbone) linkages. The terms "polynucleotide" and
     "oligonucleotide" also include polymers or oligomers comprising non-naturally occurring
10   monomers, or portions thereof, which function similarly. Such modified or substituted
     oligonucleotides are often preferred over native forms because of properties such as, for
     example, enhanced cellular uptake, reduced immunogenicity, and increased stability in the
     presence of nucleases.
     [0165]   Oligonucleotides are generally classified as deoxyribooligonucleotides or
15   ribooligonucleotides. A deoxyribooligonucleotide consists of a 5-carbon sugar called
     deoxyribose joined covalently to phosphate at the 5' and 3' carbons of this sugar to form an
     alternating, unbranched polymer. A ribooligonucleotide consists of a similar repeating
     structure where the 5-carbon sugar is ribose.
     [0166]    The nucleic acid that is present in a lipid-nucleic acid particle according to this
20   invention includes any form of nucleic acid that is known. The nucleic acids used herein can
     be single-stranded DNA or RNA, or double-stranded DNA or RNA, or DNA-RNA hybrids.
     Examples of double-stranded DNA are described herein and include, e.g., structural genes,
     genes including control and termination regions, and self-replicating systems such as viral or
     plasmid DNA. Examples of double-stranded RNA are described herein and include, e.g.,
25   siRNA and other RNAi agents such as aiRNA and pre-miRNA. Single-stranded nucleic
     acids include, e.g., antisense oligonucleotides, ribozymes, mature miRNA, and triplex-
     forming oligonucleotides.
     [0167]    Nucleic acids of the invention may be of various lengths, generally dependent upon
     the particular form of nucleic acid. For example, in particular embodiments, plasmids or
30   genes may be from about 1,000 to about 100,000 nucleotide residues in length. In particular
     embodiments, oligonucleotides may range from about l O to about 100 nucleotides in length.
     In various related embodiments, oligonucleotides, both single-stranded, double-stranded, and
     triple-stranded, may range in length from about 10 to about 60 nucleotides, from about 15 to



                                                      37


                                                                                              JA001911
                                                                                              GE NV-00004023
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 576 of 1274 PageID #: 8882



     about 60 nucleotides, from about 20 to about 50 nucleotides, from about 15 to about 3 0
     nucleotides, or from about 20 to about 30 nucleotides in length.
     [0168]   In particular embodiments, an oligonucleotide (or a strand thereof) of the invention
     specifically hybridizes to or is complementary to a target polynucleotide sequence. The
5    tem1s "specifically hybridizable" and "complementary" as used herein indicate a sufficient
     degree of complementarity such that stable and specific binding occurs between the DNA or
     RNA target and the oligonucleotide. It is understood that an oligonucleotide need not be
     100% complementary to its target nucleic acid sequence to be specifically hybridizable. In
     preferred embodiments, an oligonucleotide is specifically hybridizable when binding of the
10   oligonucleotide to the target sequence interferes with the normal function of the target
     sequence to cause a loss of utility or expression therefrom, and there is a sufficient degree of
     complementarity to avoid non-specific binding of the oligonucleotide to non-target sequences
     under conditions in which specific binding is desired, i.e., under physiological conditions in
     the case of in vivo assays or therapeutic treatment, or, in the case of in vitro assays, under
15   conditions in which the assays are conducted. Thus, the oligonucleotide may include 1, 2, 3,
     or more base substitutions as compared to the region of a gene or mRNA sequence that it is
     targeting or to which it specifically hybridizes.

                     1.     siRNA

     [0169]    The siRNA component of the nucleic acid-lipid particles of the present invention is
20   capable of silencing the expression of a target gene of interest. Each strand of the siRNA
     duplex is typically about 15 to about 60 nucleotides in length, preferably about 15 to about 30
     nucleotides in length. In certain embodiments, the siRNA comprises at least one modified
     nucleotide. The modified siRNA is generally less immunostimulatory than a corresponding
     unmodified siRNA sequence and retains RN Ai activity against the target gene of interest. In
25   some embodiments, the modified siRNA contains at least one 2'OMe purine or pyrimidine
     nucleotide such as a 2'OMe-guanosine, 2'OMe-uridine, 2'OMe-adenosine, and/or 2'OMe-
     cytosine nucleotide. In preferred embodiments, one or more of the uridine and/or guanosine
     nucleotides are modified. The modified nucleotides can be present in one strand (i.e., sense
     or antisense) or both strands of the siRNA. The siRNA sequences may have overhangs (e.g.,
30   3' or 5' overhangs as described in Elbashir et al., Genes Dev., 15: 188(2001) or Nykiinen et
     al., Cell, 107:309 (2001)), or may lack overhangs (i.e., have blunt ends).
     [0170]    The modified siRNA generally comprises from about 1% to about 100% (e.g., about
     l %, 2%, 3%, 4%, 5%, 6%, 7%, 8%, 9%, 10%, 11 %, 12%, 13%, 14%, 15%, 16%, 17%, 18%,


                                                     38


                                                                                               JA001912
                                                                                              GE NV-00004024
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 577 of 1274 PageID #: 8883



     19%, 20%, 21%, 22%, 23%, 24%, 25%, 26%, 27%, 28%, 29%, 30%, 35%, 40%, 45%, 50%,
     55%, 60%, 65%, 70%, 75%, 80%, 85%, 90%, 95%, or 100%) modified nucleotides in the
     double-stranded region of the siRNA duplex. In certain embodiments, one, two, three, four,
     five, six, seven, eight, nine, ten, or more of the nucleotides in the double-stranded region of
5    the siRNA comprise modified nucleotides.
     [0171]    In some embodiments, less than about 25% (e.g., less than about 25%, 24%, 23%,
     22%, 21 %, 20%, 19%, 18%, 17%, 16%, 15%, 14%, l 3%, 12%, 11 %, 10%, 9%, 8%, 7%, 6%,
     5%, 4%, 3%, 2%, or 1%) of the nucleotides in the double-stranded region of the siRNA
     comprise modified nucleotides.
10   [0172]    In other embodiments, from about 1% to about 25% (e.g., from about l %-25%, 2%-
     25%, 3%-25%, 4%-25%, 5%-25%, 6%-25%, 7%-25%, 8%-25%, 9%-25%, 10%-25%, 11 %-
     25%, 12%-25%, 13%-25%, 14%-25%, 15%-25%, 16%-25%, 17%-25%, 18%-25%, 19%-
     25%, 20%-25%, 21 %-25%, 22%-25%, 23%-25%, 24%-25%, etc.) or from about 1% to about
     20% (e.g., from about 1%-20%, 2%-20%, 3%-20%, 4%-20%, 5%-20%, 6%-20%, 7%-20%,
15   8%-20%, 9%-20%, 10%-20%, 11%-20%, 12%-20%, 13%-20%, 14%-20%, 15%-20%, 16%-
     20%, 17%-20%, 18%-20%, 19%-20%, 1%-19%, 2%-19%, 3%-19%, 4%-19%, 5%-19%, 6%-
     19%, 7%-19%, 8%-19%, 9%-19%, 10%-19%, 11%-19%, 12%-19%, 13%-19%, 14%-19%,
     15%-19%, 16%-19%, 17%-19%, 18%-19%, 1%-18%, 2%-18%, 3%-18%, 4%-18%, 5%-
     18%, 6%-18%, 7%-18%, 8%-18%, 9%-18%, 10%-18%, 11%-18%, 12%-18%, 13%-18%,
20   14%-18%, 15%-18%, 16%-18%, 17%-18%, 1%-17%, 2%-1 7%, 3 %-17%, 4%-17%, 5%-
     17%, 6%-17%, 7%-17%, 8%-1 7%, 9%-17%, 10%-17%, 11 %-17%, 12%-1 7%, 13 %-1 7%,
     14%-17%, 15%-17%, 16%-17%, 1%-16%, 2%-16%, 3%-16%, 4%-16%, 5%-16%, 6%-16%,
     7%-16%, 8%-16%, 9%-16%, 10%-16%, 11%-16%, 12%-16%, 13%-163/o, 14%-16%, 15%-
     16%, 1%-15%, 2%-15%, 3%-15%, 4%-15%, 5%-15%, 6%-15%, 7%-15%, 8%-15%, 9%-
25    15%, 10%-15%, 11%-15%, 12%-15%, 13%-15%, 14%-15%, etc.) ofthe nucleotides in the
     double-stranded region of the siRNA comprise modified nucleotides.
      [0173]   In further embodiments, e.g., when one or both strands of the siRNA are selectively
     modified at uridine and/or guanosine nucleotides, the resulting modified siRNA can comprise
      less than about 30% modified nucleotides (e.g., less than about 30%, 29%, 28%, 27%, 26%,
30    25%, 24%, 23%, 22%, 21%, 20%, 19%, 18%, 17%, 16%, 15%, 14%, 13%, 12%, 11%, 10%,
      9%, 8%, 7%, 6%, 5%, 4%, 3%, 2%, or 1% modified nucleotides) or from about l % to about
      30% modified nucleotides (e.g., from about 1%-30%, 2%-30%, 3%-30%, 4%-30%, 5%-30%,
      6%-30%, 7%-30%, 8%-30%, 9%-30%, 10%-30%, 11 %-30%, 12%-30%, 13%-30%, 14%-
      30%, 15%-30%, 16%-30%, 17%-30%, 18%-30%, 19%-30%, 20%-30%, 21%-30%, 22%-


                                                     39


                                                                                             JA001913
                                                                                             GE NV-00004025
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 578 of 1274 PageID #: 8884



     30%, 23%-30%, 24%-30%, 25%-30%, 26%-30%, 27%-30%, 28%-30%, or 29%-30%
     modified nucleotides).

                              a.   Selection of siRNA Sequences

     [0174]   Suitable siRNA sequences can be identified using any means known in the art.
5    Typically, the methods described in Elbashir et al., Nature, 411 :494-498 (2001) and Elbashir
     et al., EMBO J., 20:6877-6888 (2001) are combined with rational design rules set forth in
     Reynolds et al., Nature Biotech., 22(3 ):326-330 (2004).
     [0175]   Generally, the nucleotide sequence 3' of the AUG start codon ofa transcript from
     the target gene of interest is scanned for dinucleotide sequences (e.g., AA, NA, CC, GG, or
10   UU, wherein N = C, G, or U) (see, e.g., Elbashir et al., EMBO J, 20:6877-6888 (2001)). The
     nucleotides immediately 3' to the dinucleotide sequences are identified as potential siRNA
     sequences (i.e., a target sequence or a sense strand sequence). Typically, the 19, 21, 23, 25,
     27, 29, 31, 33, 35, or more nucleotides immediately 3' to the dinucleotide sequences are
     identified as potential siRNA sequences. In some embodiments, the dinucleotide sequence is
15   an AA or NA sequence and the 19 nucleotides immediately 3' to the AA or NA dinucleotide
     are identified as potential siRNA sequences. siRNA sequences are usually spaced at different
     positions along the length of the target gene. To further enhance silencing efficiency of the
     siRNA sequences, potential siRNA sequences may be analyzed to identify sites that do not
     contain regions of homology to other coding sequences, e.g., in the target cell or organism.
20   For example, a suitable siRNA sequence of about 21 base pairs typically will not have more
     than 16-17 contiguous base pairs of homology to coding sequences in the target cell or
     organism. If the siRNA sequences are to be expressed from an RNA Pol III promoter, siRNA
     sequences lacking more than 4 contiguous A's or T's are selected.
     [0176]    Once a potential siRNA sequence has been identified, a complementary sequence
25   (i.e., an antisense strand sequence) can be designed. A potential siRNA sequence can also be
     analyzed using a variety of criteria known in the art. For example, to enhance their silencing
     efficiency, the siRNA sequences may be analyzed by a rational design algorithm to identify
     sequences that have one or more of the following features: (l) G/C content of about 25% to
     about 60% G/C; (2) at least 3 A/Us at positions 15-19 of the sense strand; (3) no internal
30   repeats; (4) an A at position 19 of the sense strand; (5) an A at position 3 of the sense strand;
     ( 6) a U at position 10 of the sense strand; (7) no G/C at position 19 of the sense strand; and
     (8) no G at position 13 of the sense strand. siRNA design tools that incorporate algorithms
     that assign suitable values of each of these features and are useful for selection of siRNA can


                                                     40


                                                                                             JA001914
                                                                                             GE NV-00004026
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 579 of 1274 PageID #: 8885



     be found at, e.g., http://boz094.ust.hk/RNAi/siRNA. One of skill in the art will appreciate
     that sequences with one or more of the foregoing characteristics may be selected for further
     analysis and testing as potential siRNA sequences.
     [0177]   Additionally, potential siRNA sequences with one or more of the following criteria
 5   can often be eliminated as siRNA: (1) sequences comprising a stretch of 4 or more of the
     same base in a row; (2) sequences comprising homopolymers of Gs (i.e., to reduce possible
     non-specific effects due to structural characteristics of these polymers; (3) sequences
     comprising triple base motifs (e.g., GGG, CCC, AAA, or TTT); (4) sequences comprising
     stretches of 7 or more G/Cs in a row; and (5) sequences comprising direct repeats of 4 or
10   more bases within the candidates resulting in internal fold-back structures. However, one of
     skill in the art will appreciate that sequences with one or more of the foregoing characteristics
     may still be selected for further analysis and testing as potential siRNA sequences.
     [01781   In some embodiments, potential siRNA sequences may be further analyzed based
     on siRNA duplex asymmetry as described in, e.g., Khvorova et al., Cell, 115:209-216 (2003);
15   and Schwarz et al., Cell, 115:199-208 (2003). In other embodiments, potential siRNA
     sequences may be further analyzed based on secondary structure at the target site as described
     in, e.g., Luo et al., Biophys. Res. Commun., 318:303-310 (2004). For example, secondary
     structure at the target site can be modeled using the Mfold algorithm (available at
     http://www.bioinfo.rpi.edu/applications/mfold/rna/forml .cgi) to select siRNA sequences
20   which favor accessibility at the target site where less secondary structure in the form of base-
     pairing and stem-loops is present.
     [0179]   Once a potential siRNA sequence has been identified, the sequence can be analyzed
     for the presence of any immunostimulatory properties, e.g., using an in vitro cytokine assay
     or an in vivo animal model. Motifs in the sense and/or antisense strand of the siRNA
25   sequence such as GU-rich motifs (e.g., 5'-GU-3 ', 5'-UGU-3 ', 5'-GUGU-3', 5'-UGUGU-3',
     etc.) can also provide an indication of whether the sequence may be immunostimulatory.
     Once an siRNA molecule is found to be immunostimulatory, it can then be modified to
     decrease its immunostimulatory properties as described herein. As a non-limiting example,
     an siRNA sequence can be contacted with a mammalian responder cell under conditions such
30   that the cell produces a detectable immune response to determine whether the siRNA is an
     imrnunostirnulatory or a non-immunostirnulatory siRNA. The mammalian responder cell
     may be from a naYve mammal (i.e., a mammal that has not previously been in contact with the
     gene product of the siRNA sequence). The mammalian responder cell may be, e.g., a
     peripheral blood mononuclear cell (PBMC), a macrophage, and the like. The detectable


                                                    41


                                                                                               JA001915
                                                                                               GE NV-00004027
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 580 of 1274 PageID #: 8886



     immune response may comprise production of a cytokine or growth factor such as, e.g., TNF-
     a, IFN-a, IFN-13, IFN-y, IL-6, IL-12, or a combination thereof. An siRNA molecule
     identified as being immunostimulatory can then be modified to decrease its
     immunostimulatory properties by replacing at least one of the nucleotides on the sense and/or
 5   antisense strand with modified nucleotides. For example, less than about 30% (e.g., less than
     about 30%, 25%, 20%, 15%, 10%, or 5%) of the nucleotides in the double-stranded region of
     the siRNA duplex can be replaced with modified nucleotides such as 2'OMe nucleotides.
     The modified siRNA can then be contacted with a mammalian responder cell as described
     above to confirm that its immunostimulatory properties have been reduced or abrogated.
10   [0180]   Suitable in vitro assays for detecting an immune response include, but are not
     limited to, the double monoclonal antibody sandwich immunoassay technique of David et al.
     (U.S. Patent No. 4,376, 11 O); monoclonal-polyclonal antibody sandwich assays (Wide et al.,
     in Kirkham and Hunter, eds., Radioimmunoassay Methods, E. and S. Livingstone, Edinburgh
     (1970)); the "Western blot" method of Gordon et al. (U.S. Patent No. 4,452,901);
15   immunoprecipitation oflabeled ligand (Brown et al., J Biol. Chem., 255:4980-4983 (1980));
     enzyme-linked immunosorbent assays (ELISA) as described, for example, by Raines et al., J
     Biol. Chem., 257:5154-5160 (1982); immunocytochemical techniques, including the use of
     fluorochromes (Brooks et al., Clin. Exp. Immunol., 39:477 (1980)); and neutralization of
     activity (Bowen-Pope et al., Proc. Natl. Acad. Sci. USA, 81 :2396-2400 (1984)). In addition
20   to the immunoassays described above, a number of other immunoassays are available,
     including those described in U.S. Patent Nos. 3,817,827; 3,850,752; 3,901,654; 3,935,074;
     3,984,533; 3,996,345; 4,034,074; and 4,098,876. The disclosures of these references are
     herein incorporated by reference in their entirety for all purposes.
     [0181]   A non-limiting example of an in vivo model for detecting an immune response
25   includes an in vivo mouse cytokine induction assay as described in, e.g., Judge et al., Mal.
     Ther., 13:494-505 (2006). In certain embodiments, the assay that can be performed as
     follows: (1) siRNA can be administered by standard intravenous injection in the lateral tail
     vein; (2) blood can be collected by cardiac puncture about 6 hours after administration and
     processed as plasma for cytokine analysis; and (3) cytokines can be quantified using
30   sandwich ELISA kits according to the manufacturer's instructions (e.g., mouse and human
     IFN-a (PBL Biomedical; Piscataway, NJ); human IL-6 and TNF-a (eBioscience; San Diego,
     CA); and mouse IL-6, lNF-a, and IFN-y (BD Biosciences; San Diego, CA)).
     [0182]   Monoclonal antibodies that specifically bind cytokines and growth factors are
     commercially available from multiple sources and can be generated using methods known in


                                                    42


                                                                                            JA001916
                                                                                            GE NV-00004028
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 581 of 1274 PageID #: 8887



     the art (see, e.g., Kohler et al., Nature, 256: 495-497 (1975) and Harlow and Lane,
     ANTIBODIES, A LABORATORY MANUAL, Cold Spring Harbor Publication, New York
     (1999)). Generation of monoclonal antibodies has been previously described and can be
     accomplished by any means known in the art (Buhring et al., in Hybridoma, Vol. 10, No. 1,
 5   pp. 77-78 (1991)). In some methods, the monoclonal antibody is labeled (e.g., with any
     composition detectable by spectroscopic, photochemical, biochemical, electrical, optical, or
     chemical means) to facilitate detection.

                            b.        Generating siRNA Molecules

     [0183]   siRNA can be provided in several forms including, e.g., as one or more isolated
10   small-interfering RNA (siRNA) duplexes, as longer double-stranded RNA (dsRNA), or as
     siRNA or dsRNA transcribed from a transcriptional cassette in a DNA plasmid. The siRNA
     sequences may have overhangs (e.g., 3' or 5' overhangs as described in Elbashir et al., Genes
     Dev., 15:188 (2001) or Nykanen et al., Cell, 107:309 (2001), or may lack overhangs (i.e., to
     have blunt ends).
15   [0184]   An RNA population can be used to provide long precursor RNAs, or long precursor
     RNAs that have substantial or complete identity to a selected target sequence can be used to
     make the siRNA. The RNAs can be isolated from cells or tissue, synthesized, and/or cloned
     according to methods well known to those of skill in the art. The RNA can be a mixed
     population ( obtained from cells or tissue, transcribed from cDNA, subtracted, selected, etc.),
20   or can represent a single target sequence. RNA can be naturally occurring (e.g., isolated from
     tissue or cell samples), synthesized in vitro (e.g., using T7 or SP6 polymerase and PCR
     products or a cloned cDNA), or chemically synthesized.
     [0185]   To form a long dsRNA, for synthetic RNAs, the complement is also transcribed in
     vitro and hybridized to form a dsRNA. If a naturally occuring RNA population is used, the
25   RNA complements are also provided (e.g., to form dsRNA for digestion by E. coli RNAse III
     or Dicer), e.g., by transcribing cDNAs corresponding to the RNA population, or by using
     RNA polymerases. The precursor RNAs are then hybridized to form double stranded RNAs
     for digestion. The dsRNAs can be directly administered to a subject or can be digested in
     vitro prior to administration.
30   [0186]    Methods for isolating RNA, synthesizing RNA, hybridizing nucleic acids, making
     and screening cDNA libraries, and performing PCR are well known in the art (see, e.g.,
     Gubler and Hoffman, Gene, 25:263-269 (1983); Sambrook et al., supra; Ausubel et al.,
     supra), as are PCR methods (see, U.S. Patent Nos. 4,683,195 and 4,683,202; PCR Protocols:


                                                    43


                                                                                             JA001917
                                                                                            GE NV-00004029
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 582 of 1274 PageID #: 8888



     A Guide to Methods and Applications (Innis et al., eds, 1990)). Expression libraries are also
     well known to those of skill in the art. Additional basic texts disclosing the general methods
     of use in this invention include Sambrook et al., Molecular Cloning, A Laboratory Manual
     (2nd ed. 1989); Kriegler, Gene Transfer and Expression: A Laboratory Manual (1990); and
 5   Current Protocols in Molecular Biology (Ausubel et al., eds., 1994). The disclosures of these
     references are herein incorporated by reference in their entirety for all purposes.
     [0187]       Preferably, siRNA are chemically synthesized. The oligonucleotides that comprise
     the siRNA molecules of the invention can be synthesized using any of a variety of techniques
     known in the art, such as those described in Usman et al., J. Am. Chem. Soc., 109:7845
10   (1987); Scaringe et al., Nucl. Acids Res., 18:5433 (1990); Wincott et al., Nucl. Acids Res.,
     23:2677-2684 (1995); and Wincott et al., Methods Mo!. Bio., 74:59 (1997). The synthesis of
     oligonucleotides makes use of common nucleic acid protecting and coupling groups, such as
     dimethoxytrityl at the 5 '-end and phosphoramidites at the 3 '-end. As a non-limiting example,
     small scale syntheses can be conducted on an Applied Biosystems synthesizer using a 0.2
15   µmol scale protocol. Alternatively, syntheses at the 0.2 µmol scale can be performed on a
     96-well plate synthesizer from Protogene (Palo Alto, CA). However, a larger or smaller scale
     of synthesis is also within the scope of this invention. Suitable reagents for oligonucleotide
     synthesis, methods for RNA deprotection, and methods for RNA purification are known to
     those of skill in the art.
20   [0188]       siRNA molecules can also be synthesized via a tandem synthesis technique, wherein
     both strands are synthesized as a single continuous oligonucleotide fragment or strand
     separated by a cleavable linker that is subsequently cleaved to provide separate fragments or
     strands that hybridize to form the siRNA duplex. The linker can be a polynucleotide linker or
     a non-nucleotide linker. The tandem synthesis of siRNA can be readily adapted to both
25   multiwell/multiplate synthesis platfonns as well as large scale synthesis platforms employing
     batch reactors, synthesis columns, and the like. Alternatively, siRNA molecules can be
     assembled from two distinct oligonucleotides, wherein one oligonucleotide comprises the
     sense strand and the other comprises the antisense strand of the siRNA. For example, each
     strand can be synthesized separately and joined together by hybridization or ligation
30   following synthesis and/or deprotection. In certain other instances, siRNA molecules can be
     synthesized as a single continuous oligonucleotide fragment, where the self-complementary
     sense and antisense regions hybridize to form an siRNA duplex having hairpin secondary
     structure.



                                                     44


                                                                                              JA001918
                                                                                             GE NV-00004030
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 583 of 1274 PageID #: 8889




                           c.      Modifying siRNA Sequences

     [0189]   In certain aspects, siRNA molecules comprise a duplex having two strands and at
     least one modified nucleotide in the double-stranded region, wherein each strand is about 15
5    to about 60 nucleotides in length. Advantageously, the modified siRNA is less
     immunostimulatory than a corresponding unmodified siRNA sequence, but retains the
     capability of silencing the expression of a target sequence. In preferred embodiments, the
     degree of chemical modifications introduced into the siRNA molecule strikes a balance
     between reduction or abrogation of the immunostimulatory properties of the siRNA and
10   retention of RNAi activity. As a non-limiting example, an siRNA molecule that targets a
     gene of interest can be minimally modified (e.g., less than about 30%, 25%, 20%, 15%, 10%,
     or 5% modified) at selective uridine and/or guanosine nucleotides within the siRNA duplex
     to eliminate the immune response generated by the siRNA while retaining its capability to
     silence target gene expression.
15   [0190]   Examples of modified nucleotides suitable for use in the invention include, but are
     not limited to, ribonucleotides having a 2'-O-methyl (2'OMe), 2'-deoxy-2'-fluoro (2'F), 2'-
     deoxy, 5-C-methyl, 2'-O-(2-methoxyethyl) (MOE), 4'-thio, 2'-amino, or 2'-C-allyl group.
     Modified nucleotides having a Northern conformation such as those described in, e.g.,
     Saenger, Principles of Nucleic Acid Structure, Springer-Verlag Ed. ( 1984), are also suitable
20   for use in siRNA molecules. Such modified nucleotides include, without limitation, locked
     nucleic acid (LNA) nucleotides (e.g., 2'-0, 4'-C-methylene-(D-ribofuranosyl) nucleotides),
     2'-O-(2-methoxyethyl) (MOE) nucleotides, 2'-methyl-thio-ethyl nucleotides, 2'-deoxy-2'-
     fluoro (2'F) nucleotides, 2'-deoxy-2'-chloro (2'Cl) nucleotides, and 2'-azido nucleotides. In
     certain instances, the siRNA molecules described herein include one or more G-clamp
25   nucleotides. A G-clamp nucleotide refers to a modified cytosine analog wherein the
     modifications confer the ability to hydrogen bond both Watson-Crick and Hoogsteen faces of
     a complementary guanine nucleotide within a duplex (see, e.g., Lin et al., J Am. Chem. Soc.,
     120:8531-8532 (1998)). In addition, nucleotides having a nucleotide base analog such as, for
     example, C-phenyl, C-naphthyl, other aromatic derivatives, inosine, azole carboxamides, and
30   nitroazole derivatives such as 3-nitropy1Tole, 4-nitroindole, 5-nitroindole, and 6-nitroindole
     (see, e.g., Loakes, Nucl. Acids Res., 29:2437-2447 (2001)) can be incorporated into siRNA
     molecules.




                                                    45


                                                                                            JA001919
                                                                                           GE NV-00004031
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 584 of 1274 PageID #: 8890



     [0191]    In certain embodiments , siRNA molecules may further comprise one or more
     chemical modifications such as terminal cap moieties, phosphate backbone modifications ,
     and the like. Examples of terminal cap moieties include, without limitation, inverted deoxy
     abasic residues, glyceryl modifications , 4',5'-methyle ne nucleotides, 1-(P-D-
5    crythrofurano syl) nucleotides, 4 '-thio nucleotides, carbocyclic nucleotides, 1,5-
     anhydrohexito l nucleotides, L-nucleotides , a-nucleotides , modified base nucleotides, threo-
     pentofuranosy l nucleotides, acyclic 3 ',4' -seco nucleotides, acyclic 3 ,4-dihydroxyb utyl
     nucleotides, acyclic 3,5-dihydroxy pentyl nucleotides, 3 '-3 '-inverted nucleotide moieties, 3 ' -
     3 '-inverted abasic moieties, 3 '-2' -inverted nucleotide moieties, 3 '-2' -inverted abasic
10   moieties, 5 '-5 '-inverted nucleotide moieties, 5' -5 '-inverted abasic moieties, 3 '-5 '-inverted
     deoxy abasic moieties, 5'-amino-alky l phosphate, 1,3-diamino-2 -propyl phosphate, 3-
     aminopropyl phosphate, 6-aminohexyl phosphate, 1,2-aminodod ecyl phosphate,
     hydroxypropy l phosphate, 1,4-butanedio l phosphate, 3 '-phosphoram idate, 5 ' -
     phosphoramid ate, hexylphospha te, aminohexyl phosphate, 3 '-phosphate, 5' -amino, 3' -
15   phosphorothio ate, 5' -phosphorothi oate, phosphorodith ioate, and bridging or non-bridging
     methylphosph onate or 5'-mercapto moieties (see, e.g., U.S. Patent No. 5,998,203; Beaucage
     et al., Tetrahedron 49: 1925 (1993) ). Non-limiting examples of phosphate backbone
     modifications (i.e., resulting in modified internucleotid e linkages) include phosphorothio ate,
     phosphorodith ioate, methylphosph onate, phosphotriest er, morpholino, amidate, carbamate,
20   carboxymethy l, acetamidate, polyamide, sulfonate, sulfonamide, sulfamate, formacetal,
     thioformaceta l, and alkylsilyl substitutions (see, e.g., Hunziker et al., Nucleic Acid
     Analogues: Synthesis and Properties, in Modern Synthetic Methods, VCH, 331-417 (1995);
     Mesmaeker et al., Novel Backbone Replacements for Oligonucleoti des, in Carbohydrate
     Modifications in Antisense Research, ACS, 24-39 (1994)). Such chemical modifications can
25   occur at the 5'-end and/or 3'-end of the sense strand, antisense strand, or both strands of the
     siRNA. The disclosures of these references are herein incorporated by reference in their
     entirety for all purposes.
      [0192]    In some embodiments , the sense and/or antisense strand of the siRNA molecule can
      further comprise a 3'-terminal overhang having about 1 to about 4 (e.g., 1, 2, 3, or 4) 2'-
30    deoxy ribonucleotid es and/or any combination of modified and unmodified nucleotides.
      Additional examples of modified nucleotides and types of chemical modifications that can be
      introduced into siRNA molecules are described, e.g., in UK Patent No. GB 2,397,818 Band




                                                       46


                                                                                                  JA001920
                                                                                                 GE NV-000040 32
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 585 of 1274 PageID #: 8891



     U.S. Patent Publication Nos. 20040192626, 20050282188, and 20070135372, the disclosures
     of which are herein incorporated by reference in their entirety for all purposes.
     [0193]   The siRNA molecules described herein can optionally comprise one or more non-
     nucleotides in one or both strands of the siRNA. As used herein, the term "non-nucleotide"
5    refers to any group or compound that can be incorporated into a nucleic acid chain in the
     place of one or more nucleotide units, including sugar and/or phosphate substitutions, and
     allows the remaining bases to exhibit their activity. The group or compound is abasic in that
     it does not contain a commonly recognized nucleotide base such as adenosine, guanine,
     cytosine, uracil, or thymine and therefore lacks a base at the 1 '-position.
10   [0194]   In other embodiments, chemical modification of the siRNA comprises attaching a
     conjugate to the siRNA molecule. The conjugate can be attached at the 5' and/or 3' -end of
     the sense and/or antisen.se strand of the siRNA via a covalent attachment such as, e.g., a
     biodegradable linker. The conjugate can also be attached to the siRNA, e.g., through a
     carbamate group or other linking group (see, e.g., U.S. Patent Publication Nos. 20050074771,
15   20050043219, and 20050158727). In certain instances, the conjugate is a molecule that
     facilitates the delivery of the siRNA into a cell. Examples of conjugate molecules suitable
     for attachment to siRNA include, without limitation, steroids such as cholesterol, glycols
     such as polyethylene glycol (PEG), human serum albumin (HSA), fatty acids, carotenoids,
     terpenes, bile acids, folates (e.g., folic acid, folate analogs and derivatives thereof), sugars
20   (e.g., galactose, galactosarnine, N-acetyl galactosamine, glucose, mannose, fructose, fucose,
     etc.), phospholipids, peptides, ligands for cellular receptors capable of mediating cellular
     uptake, and combinations thereof (see, e.g., U.S. Patent Publication Nos. 20030130186,
     20040110296, and 20040249178; U.S. Patent No. 6,753,423). Other examples include the
     lipophilic moiety, vitamin, polymer, peptide, protein, nucleic acid, small molecule,
25   oligosaccharide, carbohydrate cluster, intercalator, minor groove binder, cleaving agent, and
     cross-linking agent conjugate molecules described in U.S. Patent Publication Nos.
     20050119470 and 20050107325. Yet other examples include the 2'-O-alkyl amine, 2'-O-
     alkoxyalkyl amine, polyamine, CS-cationic modified pyrimidine, cationic peptide,
      guanidiniurn group, amidininium group, cationic amino acid conjugate molecules described
30    in U.S. Patent Publication No. 20050153337. Additional examples include the hydrophobic
      group, membrane active compound, cell penetrating compound, cell targeting signal,
      interaction modifier, and steric stabilizer conjugate molecules described in U.S. Patent
      Publication No. 20040167090. Further examples include the conjugate molecules described
      in U.S. Patent Publication No. 20050239739. The type of conjugate used and the extent of

                                                      47


                                                                                                JA001921
                                                                                               GE NV-00004033
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 586 of 1274 PageID #: 8892



     conjugation to the siRNA molecule can be evaluated for improved pharmacokinetic profiles,
     bioavailability, and/or stability of the siRNA while retaining RN Ai activity. As such, one
     skilled in the art can screen siRNA molecules having various conjugates attached thereto to
     identify ones having improved properties and full RN Ai activity using any of a variety of
5    well-known in vitro cell culture or in vivo animal models. The disclosures of the above-
     described patent documents are herein incorporated by reference in their entirety for all
     purposes.

                             d.      Target Genes

     [0195]      The siRNA component of the nucleic acid-lipid particles described herein can be
10   used to downregulate or silence the translation (i.e., expression) of a gene of interest. Genes
     of interest include, but are not limited to, genes associated with viral infection and survival,
     genes associated with metabolic diseases and disorders (e.g., liver diseases and disorders),
     genes associated with tumorigenesis and cell transformation (e.g., cancer), angiogenic genes,
     immunomodulato r genes such as those associated with inflammatory and autoimmune
15   responses, ligand receptor genes, and genes associated with neurodegenerative disorders.
     [0196]      Genes associated with viral infection and survival include those expressed by a
     virus in order to bind, enter, and replicate in a cell. Of particular interest are viral sequences
     associated with chronic viral diseases. Viral sequences of particular interest include
     sequences ofFiloviruses such as Ebola virus and Marburg virus (see, e.g., Geisbert et al., .J
20   Infect. Dis., 193: 1650-1657 (2006)); Arenaviruses such as Lassa virus, Junin virus, Machupo
     virus, Guanarito virus, and Sabia virus (Buchmeier et al., Arenaviridae: the viruses and their
     replication, In: FIELDS VIROLOGY, Knipe et al. (eds.), 4th ed., Lippincott-Raven,
     Philadelphia, (2001 )); Influenza viruses such as Influenza A, B, and C viruses, (see, e.g.,
     Steinhauer et al., Annu Rev Genet., 36:305-332 (2002); and Neumann et al., J Gen Viral.,
25   83:2635-2662 (2002)); Hepatitis viruses (see, e.g., Hamasaki et al., FEES Lett., 543:51
     (2003); Yokota et al., EMBO Rep., 4:602 (2003); Schlomai et al., Hepatology, 37:764 (2003);
     Wilson et al., Proc. Natl. Acad. Sci. USA, 100:2783 (2003); Kapadia et al., Proc. Natl. Acad.
     Sci. USA, 100:2014 (2003); and FIELDS VIROLOGY, Knipe et al. (eds.), 4th ed., Lippincott-
     Raven, Philadelphia (2001)); Human Immunodeficiency Virus (HIV) (Banerjea et al., Mo!.
30    Ther., 8:62 (2003); Song et al., J Viral., 77:7174 (2003); Stephenson, JAMA, 289:1494
      (2003); Qin et al., Proc. Natl. Acad. Sci. USA, 100: 183 (2003)); Herpes viruses (Jia et al., J.
      Viral., 77:3301 (2003)); and Human Papilloma Viruses (HPV) (Hall et al., J Viral., 77:6066
      (2003); Jiang et al., Oncogene, 21 :6041 (2002)).


                                                      48



                                                                                                JA001922
                                                                                               GE NV-00004034
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 587 of 1274 PageID #: 8893



     [0197]   Exemplary Filovirus nucleic acid sequences that can be silenced include, but are not
     limited to, nucleic acid sequences encoding structural proteins (e.g., VP30, VP35,
     nucleoprotein (NP), polymerase protein (L-pol)) and membrane-associated proteins (e.g.,
     VP40, glycoprotein (GP), VP24). Complete genome sequences for Ebola virus are set forth
5    in, e.g., Genbank Accession Nos. NC_002549; AY769362; NC_006432; NC_004161;
     AY729654; AY354458; AY142960; AB050936; AF522874; AF499101; AF272001; and
     AF086833. Ebola virus VP24 sequences are set forth in, e.g., Genbank Accession Nos.
     U77385 and A Y058897. Ebola virus L-pol sequences are set forth in, e.g., Genbank
     Accession No. X67110. Ebola virus VP40 sequences are set forth in, e.g., Genbank
10   Accession No. AY058896. Ebola virus NP sequences are set forth in, e.g., Genbank
     Accession No. A Y058895. Ebola virus GP sequences are set forth in, e.g., Genbank
     Accession No. AY058898; Sanchez et al., Virus Res., 29:215-240 (1993); Will et al., J
     Viral., 67:1203-1210 (1993); Volchkov et al., FEBS Lett., 305: 181-184 (1992); and U.S.
     Patent No. 6,713,069. Additional Ebola virus sequences are set forth in, e.g., Genbank
15   Accession Nos. Ll 1365 and X61274. Complete genome sequences for Marburg virus are set
     forth in, e.g., Genbank Accession Nos. NC_001608; A Y430365; A Y430366; and AY358025.
     Marburg virus GP sequences are set forth in, e.g., Genbank Accession Nos. AF005734;
     AF005733; and AF005732. Marburg virus VP35 sequences are set forth in, e.g., Genbank
     Accession Nos. AF005731 and AF005730. Additional Marburg virus sequences are set forth
20   in, e.g., Genbank Accession Nos. X64406; Z29337; AF005735; and Z12132. Non-limiting
     examples of siRNA molecules targeting Ebola virus and Marburg virus nucleic acid
     sequences include those described in U.S. Patent Publication No. 20070135370, the
     disclosure of which is herein incorporated by reference in its entirety for all purposes.
     [0198]   Exemplary Influenza virus nucleic acid sequences that can be silenced include, but
25   are not limited to, nucleic acid sequences encoding nucleoprotein (NP), matrix proteins (Ml
     and M2), nonstructural proteins (NS 1 and NS2), RNA polymerase (PA, PB 1, PB2),
     neuraminidase (NA), and haemagglutinin (HA). Influenza A NP sequences are set forth in,
     e.g., Genbank Accession Nos. NC_004522; AY818138; AB166863; AB188817; AB189046;
     AB189054; AB189062; AY646169; AY646177; AY651486; AY651493; AY651494;
30   AY651495; AY651496; AY651497; AY651498; AY651499; AY651500; AY651501;
     AY651502; AY651503; AY651504; AY651505; AY651506; AY651507; AY651509;
     AY651528; AY770996; A Y790308; A Y818138; and AY818140. Influenza A PA sequences
     are set forth in, e.g., Genbank Accession Nos. A Y818132; A Y790280; A Y 646171;
     AY818132;AY818133; AY646179; AY818134; AY551934; A Y651613; A Y651610;


                                                    49


                                                                                                 JA001923
                                                                                             GE NV-00004035
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 588 of 1274 PageID #: 8894



     AY651620; AY651617; AY651600; AY65161 l; AY651606; A Y651618; AY651608;
     AY651607; AY651605; AY651609; AY651615; AY651616; A Y651640; A Y651614;
     A Y651612; AY651621; A Y651619; A Y770995; and A Y724786. Non-limiting examples of
     siRNA molecules targeting Influenza virus nucleic acid sequences include those described in
5    U.S. Patent Publication No. 20070218122, the disclosure of which is herein incorporated by
     reference in its entirety for all purposes.
     [0199]    Exemplary hepatitis virus nucleic acid sequences that can be silenced include, but
     are not limited to, nucleic acid sequences involved in transcription and translation (e.g., Enl,
     En2, X, P) and nucleic acid sequences encoding structural proteins (e.g., core proteins
10   including C and C-related proteins, capsid and envelope proteins including S, M, and/or L
     proteins, or fragments thereof) (see, e.g., FIELDS VIROLOGY, supra). Exemplary Hepatits C
     virus (HCV) nucleic acid sequences that can be silenced include, but are not limited to, the
     5'-untranslated region (5'-UTR), the 3'-untranslated region (3'-UTR), the polyprotein
     translation initiation codon region, the internal ribosome entry site (IRES) sequence, and/or
15   nucleic acid sequences encoding the core protein, the E 1 protein, the E2 protein, the p 7
     protein, the NS2 protein, the NS3 protease/helicase, the NS4A protein, the NS4B protein, the
     NS5A protein, and/or the NS5B RNA-dependent RNA polymerase. HCV genome sequences
     are set forth in, e.g., Genbank Accession Nos. NC_004102 (HCV genotype la), AJ238799
     (HCV genotype lb), NC_009823 (HCV genotype 2), NC_009824 (HCV genotype 3),
20   NC_009825 (HCV genotype 4), NC_009826 (HCV genotype 5), and NC_009827 (HCV
     genotype 6). Hepatitis A virus nucleic acid sequences are set forth in, e.g., Gen bank
     Accession No. NC_001489; Hepatitis B virus nucleic acid sequences are set forth in, e.g.,
     Genbank Accession No. NC_003977; Hepatitis D virus nucleic acid sequence are set forth in,
     e.g., Genbank Accession No. NC __001653; Hepatitis E virus nucleic acid sequences are set
25   forth in, e.g., Genbank Accession No. NC __001434; and Hepatitis G virus nucleic acid
     sequences are set forth in, e.g., Genbank Accession No. NC_001710. Silencing of sequences
     that encode genes associated with viral infection and survival can conveniently be used in
     combination with the administration of conventional agents used to treat the viral condition.
     Non-limiting examples of siRNA molecules targeting hepatitis virus nucleic acid sequences
30   include those described in U.S. Patent Publication Nos. 20060281175, 20050058982, and
     20070149470; U.S. Patent No. 7,348,314; and U.S. Provisional Application No. 61/162,127,
     filed March 20, 2009, the disclosures of which are herein incorporated by reference in their
     entirety for all purposes.



                                                     50


                                                                                               JA001924
                                                                                              GE NV-00004036
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 589 of 1274 PageID #: 8895



     [0200]    Genes associated with metabolic diseases and disorders (e.g., disorders in which the
     liver is the target and liver diseases and disorders) include, for example, genes expressed in
     dyslipidemia (e.g., liver X receptors such as LXRa and LXR(3 (Genback Accession No.
     NM__007121), farnesoid X receptors (FXR) (Genbank Accession No. NM_005123), sterol-
5    regulatory element binding protein (SREBP), site-1 protease (S lP), 3-hydroxy-3-
     methylglutaryl coenzyme-A reductase (HMG coenzyme-A reductase), apolipoprotein B
     (ApoB) (Genbank Accession No. NM_000384), apolipoprotein CIII (ApoC3) (Genbank
     Accession Nos. NM_000040 and NG_008949 REGION: 5001..8164), and apolipoprotein E
     (ApoE) (Genbank Accession Nos. NM_000041 and NG_007084 REGION: 5001..8612)); and
10   diabetes (e.g., glucose 6-phosphatase) (see, e.g., Forman et al., Cell, 81 :687 (1995); Seal et
     al., Mal. Endocrinol., 9:72 (1995), Zavacki et al., Proc. Natl. Acad. Sci. USA, 94:7909
     (1997); Sakai et al., Cell, 85:1037-1046 (1996); Duncan et al., J Biol. Chem., 272:12778-
     12785 (1997); Willy et al., Genes Dev., 9:1033-1045 (1995); Lehmann et al., J. Biol. Chem.,
     272:3137-3140 (1997); Janowski et al., Nature, 383:728-731 (1996); and Peet et al., Cell,
15   93:693-704 (1998)). One of skill in the art will appreciate that genes associated with
     metabolic diseases and disorders (e.g., diseases and disorders in which the liver is a target and
     liver diseases and disorders) include genes that are expressed in the liver itself as well as and
     genes expressed in other organs and tissues. Silencing of sequences that encode genes
     associated with metabolic diseases and disorders can conveniently be used in combination
20   with the administration of conventional agents used to treat the disease or disorder. Non-
     limiting examples of siRNA molecules targeting the ApoB gene include those described in
     U.S. Patent Publication No. 20060134189, the disclosure of which is herein incorporated by
     reference in its entirety for all purposes. Non-limiting examples of siRNA molecules
     targeting the ApoC3 gene include those described in U.S. Provisional Application No.
25   61/147,235, filed January 26, 2009, the disclosure of which is herein incorporated by
     reference in its entirety for all purposes.
      [0201]   Examples of gene sequences associated with tumorigenesis and cell transformation
      (e.g., cancer or other neoplasia) include mitotic kinesins such as Eg5 (KSP, KIFl 1; Genbank
      Accession No. NM_004523); serine/threonine kinases such as polo-like kinase l (PLK-1)
30    (Genbank Accession No. NM_005030; Barr et al., Nat. Rev. Mo!. Cell Biol., 5:429-440
      (2004)); tyrosine kinases such as WEEl (Genbank Accession Nos. NM_003390 and
      NM_00l 143976); inhibitors of apoptosis such as XIAP (Genbank Accession No.
      NM_00l 167); COP9 signalosome subunits such as CSNl, CSN2, CSN3, CSN4, CSN5



                                                      51


                                                                                              JA001925
                                                                                              GENV-00004037
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 590 of 1274 PageID #: 8896



     (JABl; Genbank Accession No. NM_006837); CSN6, CSN7A, CSN7B, and CSN8; ubiquitin
     ligases such as COPl (RFWD2; Genbank Accession Nos. NM_022457 and
     NM_00l00l 740); and histone deacetylases such as HDACl, HDAC2 (Genbank Accession
     No. NM_001527), HDAC3, HDAC4, HDAC5, HDAC6, HDAC7, HDAC8, HDAC9, etc.
5    Non-limiting examples of siRNA molecules targeting the Eg5 and XIAP genes include those
     described in U.S. Patent Application No. 11/807,872, filed May 29, 2007, the disclosure of
     which is herein incorporated by reference in its entirety for all purposes. Non-limiting
     examples of siRNA molecules targeting the PLK-1 gene include those described in U.S.
     Patent Publication Nos. 20050107316 and 20070265438; and U.S. Patent Application No.
10   12/343,342, filed December 23, 2008, the disclosures of which are herein incorporated by
     reference in their entirety for all purposes. Non-limiting examples of siRNA molecules
     targeting the CSN5 gene include those described in U.S. Provisional Application No.
     61/045,251, filed April 15, 2008, the disclosure of which is herein incorporated by reference
     in its entirety for all purposes.
15   [0202]    Additional examples of gene sequences associated with tumorigenesis and cell
     transformation include translocation sequences such as MLL fusion genes, BCR-ABL (Wilda
     et al., Oncogene, 21 :5716 (2002); Scherr et al., Blood, 101 :1566 (2003)), TEL-AMLl, EWS-
     FLil, TLS-FUS, PAX3-FKHR, BCL-2, AMLl-ETO, and AML1-MTG8 (Heidenreich et al.,
     Blood, 101 :3157 (2003)); overexpressed sequences such as multidrug resistance genes (Nieth
20   et al., FEES Lett., 545:144 (2003); Wu et al, Cancer Res. 63:1515 (2003)), cyclins (Li et al.,
     Cancer Res., 63:3593 (2003); Zou et al., Genes Dev., 16:2923 (2002)), beta-catenin (Verma
     et al., Clin Cancer Res., 9:1291 (2003)), telomerase genes (Kosciolek et al., Mo! Cancer
     Ther., 2:209 (2003)), c-MYC, N-MYC, BCL-2, growth factor receptors (e.g., EGFR/ErbBl
     (Genbank Accession Nos. NM_005228, NM_201282, NM_201283, and NM_201284; see
25   also, Nagy et al. Exp. Cell Res., 285:39-49 (2003), ErbB2/HER-2 (Genbank Accession Nos.
     NM_004448 and NM_001005862), ErbB3 (Genbank Accession Nos. NM_00l 982 and
     NM_001005915), and ErbB4 (Genbank Accession Nos. NM_005235 and NM_001042599);
     and mutated sequences such as RAS (reviewed in Tuschl and Borkhardt, Mal. Interventions,
     2: 158 (2002)). Non-limiting examples of siRNA molecules targeting the EGFR gene include
30   those described in U.S. Patent Application No. 11/807,872, filed May 29, 2007, the
     disclosure of which is herein incorporated by reference in its entirety for all purposes.
     [0203]    Silencing of sequences that encode DNA repair enzymes find use in combination
     with the administration of chemotherapeutic agents (Collis et al., Cancer Res., 63: 1550
     (2003)). Genes encoding proteins associated with tumor migration are also target sequences


                                                    52


                                                                                             JA001926
                                                                                             GE NV-00004038
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 591 of 1274 PageID #: 8897



     of interest, for example, integrins, selectins, and metalloproteinases . The foregoing examples
     are not exclusive. Those of skill in the art will understand that any whole or partial gene
     sequence that facilitates or promotes tumorigenesis or cell transformation, tumor growth, or
     tumor migration can be included as a template sequence.
5    [0204]    Angiogenic genes are able to promote the formation of new vessels. Of particular
     interest is vascular endothelial growth factor (VEGF) (Reich et al., Mo!. Vis., 9:210 (2003))
     or VEGFR. siRNA sequences that target VEGFR are set forth in, e.g., GB 2396864; U.S.
     Patent Publication No. 20040142895; and CA 2456444, the disclosures of which are herein
     incorporated by reference in their entirety for all purposes.
10   [0205]    Anti-angiogenic genes are able to inhibit neovascularization . These genes are
     particularly useful for treating those cancers in which angiogenesis plays a role in the
     pathological development of the disease. Examples of anti-angiogenic genes include, but are
     not limited to, endostatin (see, e.g., U.S. Patent No. 6,174,861), angiostatin (see, e.g., U.S.
     Patent No. 5,639,725), and VEGFR2 (see, e.g., Decaussin et al., J Pathol., 188: 369-377
15   (1999) ), the disclosures of which are herein incorporated by reference in their entirety for all
     purposes.
     [0206]      Immunomodulato r genes are genes that modulate one or more immune responses.
     Examples of immunomodulator genes include, without limitation, cytokines such as growth
     factors (e.g., TGF-u, TGF.-~, EGF, FGF, IGF, NGF, PDGF, CGF, GM-CSF, SCF, etc.),
20   interleukins (e.g., IL-2, IL-4, IL-12 (Hill et al., J lmmunol., 171 :691 (2003)), IL-15, IL-18,
     IL-20, etc.), interferons (e.g., IFN-a., IFN-~, IFN-y, etc.) and TNF. Fas and Fas ligand genes
     are also immunomodulato r target sequences of interest (Song et al., Nat. Med., 9:34 7 (2003)).
     Genes encoding secondary signaling molecules in hematopoietic and lymphoid cells are also
     included in the present invention, for example, Tee family kinases such as Bruton's tyrosine
25   kinase (Btk) (Heinonen et al., FEES Lett., 527:274 (2002)).
      [0207]     Cell receptor ligands include ligands that are able to bind to cell surface receptors
     (e.g., insulin receptor, EPO receptor, G-protein coupled receptors, receptors with tyrosine
     kinase activity, cytokine receptors, growth factor receptors, etc.), to modulate (e.g., inhibit,
      activate, etc.) the physiological pathway that the receptor is involved in (e.g., glucose level
30    modulation, blood cell development, mitogenesis, etc.). Examples of cell receptor ligands
      include, but are not limited to, cytokines, growth factors, interleukins, interferons,
      erythropoietin (EPO), insulin, glucagon, G-protein coupled receptor ligands, etc. Templates
      coding for an expansion oftrinucleotide repeats (e.g., CAG repeats) find use in silencing
      pathogenic sequences in neurodegenerative disorders caused by the expansion of


                                                       53


                                                                                                JA001927
                                                                                                GENV-000040 39
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 592 of 1274 PageID #: 8898



     trinucleotide repeats, such as spinobulbular muscular atrophy and Huntington's Disease
     (Caplen et al., Hum. Mol. Genet., 11 :175 (2002)).
     [0208]   In addition to its utility in silencing the expression of any of the above-describ ed
     genes for therapeutic purposes, the siRNA described herein are also useful in research and
5    development applications as well as diagnostic, prophylactic, prognostic, clinical, and other
     healthcare applications. As a non-limiting example, the siRNA can be used in target
     validation studies directed at testing whether a gene of interest has the potential to be a
     therapeutic target. The siRNA can also be used in target identification studies aimed at
     discovering genes as potential therapeutic targets.

10                  2.      aiRNA

     [0209]    Like siRNA, asymmetrical interfering RNA (aiRNA) can recruit the RNA-induced
     silencing complex (RISC) and lead to effective silencing of a variety of genes in mammalian
     cells by mediating sequence-spe cific cleavage of the target sequence between nucleotide l 0
     and 11 relative to the 5' end of the antisense strand (Sun et al., Nat. Biotech., 26:1379-1382
15   (2008)). Typically, an aiRNA molecule comprises a short RNA duplex having a sense strand,
     and an antisense strand, wherein the duplex contains overhangs at the 3' and 5' ends of the
     antisense strand. The aiRNA is generally a,;;ymmetric because the sense strand is shorter on
     both ends when compared to the complementa ry antisense strand. In some aspects, aiRNA
     molecules may be designed, synthesized, and annealed under conditions similar to those used
20   for siRNA molecules. As a non-limiting example, aiRNA sequences may be selected and
     generated using the methods described above for selecting siRNA sequences.
     [0210] In another embodiment, aiRNA duplexes of various lengths (e.g., about 10-25, 12-
     20, 12-19, 12-18, 13-17, or 14-17 base pairs, more typically 12, 13, 14, 15, 16, 17, 18, 19, or
     20 base pairs) may be designed with overhangs at the 3' and 5' ends of the antisense strand to
25   target an mRNA of interest. In certain instances, the sense strand of the aiRNA molecule is
     about 10-25, 12-20, 12-19, 12-18, 13-17, or 14-17 nucleotides in length, more typically 12,
      13, 14, 15, 16, 17, 18, 19, or 20 nucleotides in length. In certain other instances, the antisense
      strand of the aiRNA molecule is about 15-60, 15-50, or 15-40 nucleotides in length, more
      typically about 15-30, 15-25, or l 9-25 nucleotides in length, and is preferably about 20-24,
30    21-22, or 21-23 nucleotides in length.
      [0211]  In some embodiments , the 5' antisense overhang contains one, two, three, four, or
      more nontargeting nucleotides (e.g., "AA", "UU", "dTdT", etc.). In other embodiments , the
      3' antisense overhang contains one, two, three, four, or more nontargeting nucleotides (e.g.,


                                                      54


                                                                                              JA001928
                                                                                              GE NV-000040 40
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 593 of 1274 PageID #: 8899



     "AA", "UU", "dTdT", etc.). In certain aspects, the aiRNA molecules described herein may
     comprise one or more modified nucleotides, e.g., in the double-stranded (duplex) region
     and/or in the antisense overhangs. As a non-limiting example, aiRNA sequences may
     comprise one or more of the modified nucleotides described above for siRNA sequences. In
5    a preferred embodiment, the aiRNA molecule comprises 2'OMe nucleotides such as, for
     example, 2'OMe-guanosine nucleotides, 2'OMe-uridine nucleotides, or mixtures thereof.
     [0212]   In certain embodiments, aiRNA molecules may comprise an antisense strand which
     corresponds to the antisense strand of an siRNA molecule, e.g., one of the siRNA molecules
     described herein. In other embodiments, aiRNA molecules may be used to silence the
10   expression of any of the target genes set forth above, such as, e.g., genes associated with viral
     infection and survival, genes associated with metabolic diseases and disorders, genes
     associated with tumorigenesis and cell transformation, angiogenic genes, immunomodulato r
     genes such as those associated with inflammatory and autoimmune responses, ligand receptor
     genes, and genes associated with neurodegenerative disorders.

15                  3.      miRNA

     [0213]    Generally, microRNAs (miRNA) are single-stranded RNA molecules of about 21-
     23 nucleotides in length which regulate gene expression. miRNAs are encoded by genes
     from whose DNA they are transcribed, but miRNAs are not translated into protein (non-
     coding RNA); instead, each primary transcript (a pri-miRNA) is processed into a short stem-
20   loop structure called a pre-miRNA and finally into a functional mature miRNA. Mature
     miRNA molecules are either partially or completely complementary to one or more
     messenger RNA (mRNA) molecules, and their main function is to downregulate gene
     expression. The identification of miRNA molecules is described, e.g., in Lagos-Quintana et
     al., Science, 294:853-858; Lau et al., Science, 294:858-862; and Lee et al., Science, 294:862-
25   864.
     {0214]    The genes encoding miRNA are much longer than the processed mature miRNA
     molecule. miRNA are first transcribed as primary transcripts or pri-miRNA with a cap and
     poly-A tail and processed to short, --70-nucleotide stem-loop structures known as pre-miRNA
      in the cell nucleus. This processing is performed in animals by a protein complex known as
30    the Microprocessor complex, consisting of the nuclease Drosha and the double-stranded RNA
      binding protein Pasha (Denli et al., Nature, 432:23 I-235 (2004)). These pre-miRNA are then
      processed to mature miRNA in the cytoplasm by interaction with the endonuclease Dicer,
      which also initiates the formation of the RNA-induced silencing complex (RISC) (Bernstein


                                                     55


                                                                                              JA001929
                                                                                             GENV-00004041
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 594 of 1274 PageID #: 8900



     et al., Nature, 409:363-366 (2001). Either the sense strand or antisense strand of DNA can
     function as templates to give rise to miRNA.
     [0215]   When Dicer cleaves the pre-miRNA stem-loop, two complementary short RNA
     molecules are formed, but only one is integrated into the RISC complex. This strand is
5    known as the guide strand and is selected by the argonaute protein, the catalytically active
     RNase in the RISC complex, on the basis of the stability of the 5' end (Preall et al., Curr.
     Biol., 16:530-535 (2006)). The remaining strand, known as the anti-guide or passenger
     strand, is degraded as a RISC complex substrate (Gregory et al., Cell, 123:631-640 (2005)).
     After integration into the active RISC complex, miRNAs base pair with their complementary
10   mRNA molecules and induce target mRNA degradation and/or translational silencing.
     [0216]   Mammalian miRNA molecules are usually complementary to a site in the 3' UTR
     of the target mRNA sequence. In certain instances, the annealing of the miRNA to the target
     mRNA inhibits protein translation by blocking the protein translation machinery. In certain
     other instances, the annealing of the miRNA to the target mRNA facilitates the cleavage and
15   degradation of the target mRNA through a process similar to RNA interference (RNAi).
     miRNA may also target methylation of genomic sites which correspond to targeted mRNA.
     Generally, miRNA function in association with a complement of proteins collectively termed
     the miRNP.
     [0217]    In certain aspects, the miRNA molecules described herein are about 15-100, 15-90,
20   15-80, 15-75, 15-70, 15-60, 15-50, or 15-40 nucleotides in length, more typically about 15-
     30, 15-25, or 19-25 nucleotides in length, and are preferably about 20-24, 21-22, or 21-23
     nucleotides in length. In certain other aspects, miRNA molecules may comprise one or more
     modified nucleotides. As a non-limiting example, miRNA sequences may comprise one or
     more of the modified nucleotides described above for siRNA sequences. In a preferred
25   embodiment, the miRNA molecule comprises 2'OMe nucleotides such as, for example,
     2'OMe-guanosine nucleotides, 2'OMe-uridine nucleotides, or mixtures thereof.
     [0218]    In some embodiments, miRNA molecules may be used to silence the expression of
     any of the target genes set forth above, such as, e.g., genes associated with viral infection and
     survival, genes associated with metabolic diseases and disorders, genes associated with
30   tumorigenesis and cell transformation, angiogenic genes, immunomodulator genes such as
     those associated with inflammatory and autoimmune responses, ligand receptor genes, and
     genes associated with neurodegenerative disorders.
     [0219]    In other embodiments, one or more agents that block the activity of a miRNA
     targeting an mRNA of interest are administered using a lipid particle of the invention (e.g., a


                                                     56


                                                                                             JA001930
                                                                                             GE NV-00004042
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 595 of 1274 PageID #: 8901



     nucleic acid-lipid particle). Examples of blocking agents include, but are not limited to,
     steric blocking oligonucleotides, locked nucleic acid oligonucleotides, and Morpholino
     oligonucleotides. Such blocking agents may bind directly to the miRNA or to the miRNA
     binding site on the target mRNA.

5                   4.      Antisense Oligonucleotides

     [0220]   In one embodiment, the nucleic acid is an antisense oligonucleotide directed to a
     target gene or sequence of interest. The terms "antisense oligonucleotide" or "antisense"
     include oligonucleotides that are complementary to a targeted polynucleotide sequence.
     Antisense oligonucleotides are single strands of DNA or RNA that are complementary to a
lO   chosen sequence. Antisense RNA oligonucleotides prevent the translation of complementary
     RNA strands by binding to the RNA. Antisense DNA oligonucleotides can be used to target
     a specific, complementary (coding or non-coding) RNA. If binding occurs, this DNA/RNA
     hybrid can be degraded by the enzyme RNase H. In a particular embodiment, antisense
     oligonucleotides comprise from about 10 to about 60 nucleotides, more preferably from about
15   15 to about 30 nucleotides. The term also encompasses antisense oligonucleotides that may
     not be exactly complementary to the desired target gene. Thus, the invention can be utilized
     in instances where non-target specific-activities are found with antisense, or where an
     antisense sequence containing one or more mismatches with the target sequence is the most
     preferred for a particular use.
20   [0221]    Antisense oligonucleotides have been demonstrated to be effective and targeted
     inhibitors of protein synthesis, and, consequently, can be used to specifically inhibit protein
     synthesis by a targeted gene. The efficacy of antisense oligonucleotides for inhibiting protein
     synthesis is well established. For example, the synthesis of polygalactauronase and the
     muscarine type 2 acetylcholine receptor are inhibited by antisense oligonucleotides directed
25   to their respective mRNA sequences (see, U.S. Patent Nos. 5,739,119 and 5,759,829).
     Furthermore, examples of antisense inhibition have been demonstrated with the nuclear
     protein cyclin, the multiple drug resistance gene (MDRl), ICAM-1, E-selectin, STK-1,
     striatal GABAA receptor, and human EGF (see, Jaskulski et al., Science, 240: 1544-6 (1988);
     Vasanthakumar et al., Cancer Commun., 1 :225-32 (1989); Peris et al., Brain Res Mo! Brain
30   Res., 15;57:310-20 (1998); and U.S. Patent Nos. 5,801,154; 5,789,573; 5,718,709 and
     5,610,288). Moreover, antisense constructs have also been described that inhibit and can be
     used to treat a variety of abnormal cellular proliferations, e.g., cancer (see, U.S. Patent Nos.




                                                     57


                                                                                               JA001931
                                                                                             GE NV-00004043
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 596 of 1274 PageID #: 8902



     5,747,470; 5,591,317; and 5,783,683). The disclosures of these references are herein
     incorporated by reference in their entirety for all purposes.
     [0222]   Methods of producing antisense oligonucleotides are known in the art and can be
     readily adapted to produce an antisense oligonucleotide that targets any polynucleotide
5    sequence. Selection of antisense oligonucleotide sequences specific for a given target
     sequence is based upon analysis of the chosen target sequence and determination of
     secondary structure, Tm, binding energy, and relative stability. Antisense oligonucleotides
     may be selected based upon their relative inability to form dimers, hairpins, or other
     secondary structures that would reduce or prohibit specific binding to the target mRNA in a
10   host cell. Highly preferred target regions of the mRNA include those regions at or near the
     AUG translation initiation codon and those sequences that are substantially complementary to
     5' regions of the mRNA. These secondary structure analyses and target site selection
     considerations can be performed, for example, using v.4 of the OLIGO primer analysis
     software (Molecular Biology Insights) and/or the BLASTN 2.0.5 algorithm software
15   (Altschul et al., Nucleic Acids Res., 25:3389-402 (1997)).

                     5.      Ribozymcs

     [0223}    According to another embodiment of the invention, nucleic acid-lipid particles are
     associated with ribozymes. Ribozymes are RNA-protein complexes having specific catalytic
     domains that possess endonuclease activity (see, Kim et al., Proc. Natl. Acad. Sci. USA.,
20   84:8788-92 (1987); and Forster et al., Cell, 49:211-20 (1987)). For example, a large number
     of ribozymes accelerate phosphoester transfer reactions with a high degree of specificity,
     often cleaving only one of several phosphoesters in an oligonucleotide substrate (see, Cech et
     al., Cell, 27:487-96 (1981); Michel et al., J Mal. Biol., 216:585-610 (1990); Reinhold-Hurek
     et al., Nature, 357: 173-6 (1992)). This specificity has been attributed to the requirement that
25   the substrate bind via specific base-pairing interactions to the internal guide sequence ("IGS")
     of the ribozyme prior to chemical reaction.
     [0224]    At least six basic varieties of naturally-occurrin g enzymatic RNA molecules are
     known presently. Each can catalyze the hydrolysis of RNA phosphodiester bonds in trans
     (and thus can cleave other RNA molecules) under physiological conditions. In general,
30   enzymatic nucleic acids act by first binding to a target RNA. Such binding occurs through
     the target binding portion of an enzymatic nucleic acid which is held in close proximity to an
     enzymatic portion of the molecule that acts to cleave the target RNA. Thus, the enzymatic
     nucleic acid first recognizes and then binds a target RNA through complementary base-


                                                      58


                                                                                              JA001932
                                                                                              GE NV-00004044
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 597 of 1274 PageID #: 8903



     pairing, and once bound to the correct site, acts enzymatically to cut the target RNA
     Strategic cleavage of such a target RNA will destroy its ability to direct synthesis of an
     encoded protein. After an enzymatic nucleic acid has bound and cleaved its RNA target, it is
     released from that RNA to search for another target and can repeatedly bind and cleave new
5    targets.
     [0225]     The enzymatic nucleic acid molecule may be formed in a hammerhead, hairpin,
     hepatitis o virus, group I intron or RNaseP RNA (in association with an RNA guide
     sequence), or Neurospora VS RNA motif, for example. Specific examples of hammerhead
     motifs are described in, e.g., Rossi et al., Nucleic Acids Res., 20:4559-65 (1992). Examples
10   of hairpin motifs are described in, e.g., EP 0360257, Hampel et al., Biochemistry, 28:4929-33
     (1989); Hampel et al., Nucleic Acids Res., 18:299-304 (1990); and U.S. Patent No. 5,631,359.
     An example of the hepatitis 8 virus motif is described in, e.g., Perrotta et al., Biochemistry,
     31 :11843-52 (1992). An example of the RNaseP motif is described in, e.g., Guerrier-Taka da
     et al., Cell, 35:849-57 (1983). Examples of the Neurospora VS RNA ribozyme motifis
15   described in, e.g., Saville et al., Cell, 61 :685-96 (1990); Saville et al., Proc. Natl. Acad. Sci.
     USA, 88:8826-30 (1991 ); Collins et al., Biochemistry, 32:2795-9 (1993). An example of the
     Group I intron is described in, e.g., U.S. Patent No. 4,987,071. Important characteristics of
     enzymatic nucleic acid molecules used according to the invention are that they have a
     specific substrate binding site which is complementa ry to one or more of the target gene
20   DNA or RNA regions, and that they have nucleotide sequences within or surrounding that
     substrate binding site which impart an RNA cleaving activity to the molecule. Thus, the
     ribozyme constructs need not be limited to specific motifs mentioned herein. The disclosures
     of these references are herein incorporated by reference in their entirety for all purposes.
     [0226] Methods of producing a ribozyme targeted to any polynucleotid e sequence are
25   known in the art. Ribozymes may be designed as described in, e.g., PCT Publication Nos.
     WO 93/23569 and WO 94/02595, and synthesized to be tested in vitro and/or in vivo as
      described therein. The disclosures of these PCT publications are herein incorporated by
      reference in their entirety for all purposes.
      [0227]   Ribozyme activity can be optimized by altering the length of the ribozyme binding
30    arms or chemically synthesizing ribozymes with modifications that prevent their degradation
      by serum ribonucleases (see, e.g., PCT Publication Nos. WO 92/07065, WO 93/15187, WO
      91/03162, and WO 94/13688; EP 92110298.4; and U.S. Patent No. 5,334,711, which describe
      various chemical modifications that can be made to the sugar moieties of enzymatic RNA
      molecules, the disclosures of which are each herein incorporated by reference in their entirety

                                                       59


                                                                                                JA001933
                                                                                                GE NV-000040 45
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 598 of 1274 PageID #: 8904



     for all purposes), modifications which enhance their efficacy in cells, and removal of stem II
     bases to shorten RNA synthesis times and reduce chemical requirements.

                    6.      Immunostim ulatory Oligonucleot ides

     [0228]   Nucleic acids associated with lipid paticles of the present invention may be
5    immunostimu latory, including immunostimu latory oligonucleotid es (ISS; single-or double-
     stranded) capable of inducing an immune response when administered to a subject, which
     may be a mammal such as a human. ISS include, e.g., certain palindromes leading to hairpin
     secondary structures (see, Yamamoto et al., J Immunol., 148:4072-6 (1992)), or CpG motifs,
     as well as other known ISS features (such as multi-G domains; see; PCT Publication No. WO
10   96/11266, the disclosure of which is herein incorporated by reference in its entirety for all
     purposes).
     [0229]    Immunostimu latory nucleic acids are considered to be non-sequence specific when
     it is not required that they specifically bind to and reduce the expression of a target sequence
     in order to provoke an immune response. Thus, certain immunostimu latory nucleic acids
15   may comprise a sequence corresponding to a region of a naturally-occu rring gene or mRNA,
     but they may still be considered non-sequence specific immunostimu latory nucleic acids.
     [0230]    In one embodiment, the immunostimu latory nucleic acid or oligonucleotid e
     comprises at least one CpG dinucleotide. The oligonucleotid e or CpG dinucleotide may be
     unmethylated or methylated. In another embodiment, the immunostimu latory nucleic acid
20   comprises at least one CpG dinucleotide having a methylated cytosine. In one embodiment,
     the nucleic acid comprises a single CpG dinucleotide, wherein the cytosine in the CpG
     dinucleotide is methylated. In an alternative embodiment, the nucleic acid comprises at least
     two CpG dinucleotides , wherein at least one cytosine in the CpG dinucleotides is methylated.
     In a further embodiment, each cytosine in the CpG dinucleotides present in the sequence is
25   methylated. In another embodiment, the nucleic acid comprises a plurality of CpG
     dinucleotides , wherein at least one of the CpG dinucleotides comprises a methylated cytosine.
     Examples of immunostimu latory oligonucleoti des suitable for use in the compositions and
      methods of the present invention are described in PCT Application No. PCT/US08/88 676,
      filed December 31, 2008, PCT Publication Nos. WO 02/069369 and WO 01/15726, U.S.
30    Patent No. 6,406,705, and Raney et al., J Pharm. Exper. Ther., 298:1185-92 (2001), the
      disclosures of which are each herein incorporated by reference in their entirety for all
      purposes. In certain embodiments , the oligonucleotid es used in the compositions and




                                                     60


                                                                                             JA001934
                                                                                             GE NV-000040 46
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 599 of 1274 PageID #: 8905



     methods of the invention have a phosphodiester ("PO") backbone or a phosphorothioate
     ("PS") backbone, and/or at least one methylated cytosine residue in a CpG motif.

              B.       Other Active Agents

     [0231]    In certain embodiments, the active agent associated with the lipid paticles of the
5    invention may comprise one or more therapeutic proteins, polypeptides, or small organic
     molecules or compounds. Non-limiting examples of such therapeutically effective agents or
     drugs include oncology drugs (e.g., chemotherapy drugs, hormonal therapaeutic agents,
     immunotherapeutic agents, radiotherapeutic agents, etc.), lipid-lowering agents, anti-viral
     drugs, anti-inflammatory compounds, antidepressants, stimulants, analgesics, antibiotics,
10   birth control medication, antipyretics, vasodilators, anti-angiogenics, cytovascular agents,
     signal transduction inhibitors, cardiovascular drugs such as anti-arrhythmic agents, hormones,
     vasoconstrictors, and steroids. These active agents may be administered alone in the lipid
     particles of the invention, or in combination (e.g., co-administered) with lipid particles of the
     invention comprising nucleic acid such as interfering RNA.
15   [0232]    Non-limiting examples of chemotherapy drugs include platinum-based drugs (e.g.,
     oxaliplatin, cisplatin, carboplatin, spiroplatin, iproplatin, satraplatin, etc.), alkylating agents
     (e.g., cyclophosphamide, ifosfamide, chlorambucil, busulfan, melphalan, mechlorethamine,
     uramustine, thiotepa, nitrosoureas, etc.), anti-metabolites (e.g., 5-fluorouracil (5-FU),
     azathioprine, methotrexate, leucovorin, capecitabine, cytarabine, floxuridine, fludarabine,
20   gemcitabine, pemetrexed, raltitrexed, etc.), plant alkaloids (e.g., vincristine, vinblastine,
     vinorelbine, vindesine, podophyllotoxin, paclitaxel (taxol), docetaxel, etc.), topoisomerase
     inhibitors (e.g., irinotecan (CPT-11; Camptosar), topotecan, amsacrine, etoposide (VP16),
     etoposide phosphate, teniposide, etc.), antitumor antibiotics (e.g., doxorubicin, adriamycin,
     daunorubicin, epirubicin, actinomycin, bleomycin, mitomycin, mitoxantrone, plicamycin,
25   etc.), tyrosine kinase inhibitors (e.g., gefitinib (lressa®), sunitinib (Sutent®; SUl 1248),
     erlotinib (Tarceva®; OSI-1774), lapatinib (GW572016; GW2016), canertinib (CI 1033),
     semaxinib (SU5416), vatalanib (PTK787/ZK222584), sorafenib (BAY 43-9006), imatinib
     (Gleevec®; STI571), dasatinib (BMS-354825), leflunomide (SUl()l), vandetanib (Zactima™;
     ZD6474), etc.), pharmaceutically acceptable salts thereof, stereoisomers thereof, derivatives
30   thereof, analogs thereof, and combinations thereof.
     [0233]        Examples of conventional hormonal therapaeutic agents include, without limitation,
     steroids (e.g., dexamethasone), finasteride, aromatase inhibitors, tamoxifen, and goserelin as
     well as other gonadotropin-releasing hormone agonists (GnRH).


                                                       61


                                                                                                 JA001935
                                                                                                 GENV-00004047
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 600 of 1274 PageID #: 8906



     [0234]    Examples of conventional immunotherapeuti c agents include, but are not limited to,
     immunostimulants (e.g., Bacillus Calmette-Guerin (BCG), levamisole, interleukin-2, alpha-
     interferon, etc.), monoclonal antibodies (e.g., anti-CD20, anti-HER2, anti-CD52, anti-HLA-
     DR, and anti-VEGF monoclonal antibodies), immunotoxins (e.g., anti-CD33 monoclonal
5    antibody-calichea micin conjugate, anti-CD22 monoclonal antibody-pseudom onas exotoxin
     conjugate, etc.), and radioimmunothera py (e.g., anti-CD20 monoclonal antibody conjugated
                        131
     to 111 In, 90 Y, or 1, etc.).
     [0235]  Examples of conventional radiotherapeutic agents include, but are not limited to,
     radionuclidessuch as47Sc , 64Cu, 67Cu , 89Sr, 86y , &7y , 90y , 1osRh, 111Aa
                                                                                0 ,
                                                                                    111 1n, 117ms n, 149pm,

lo                                                              ·
                                                           - opt1ona
     1s3S m, 166Ho, 177Lu, t86Re, 1&2Re, 211At, an d 212 8 1,               ·
                                                                    ll y conJugate d to anti'bo ct·1es d'1rected

     against tumor antigens.
     [0236]    Additional oncology drugs that may be used according to the invention include, but
     are not limited to, alkeran, allopurinol, altretamine, amifostine, anastrozole, araC, arsenic
     trioxide, bexarotene, biCNU, carmustine, CCNU, celecoxib, cladribine, cyclosporin A,
15   cytosine arabinoside, cytoxan, dexrazoxane, DTIC, estrarnustine, exemestane, FK506,
     gemtuzumab-ozog amicin, hydrea, hydroxyurea, idarubicin, interferon, letrozole, leustatin,
     leuprolide, litretinoin, megastrol, L-PAM, mesna, rnethoxsalen, mithramycin, nitrogen
     mustard, pamidronate, Pegademase, pentostatin, porfimer sodium, prednisone, rituxan,
     streptozocin, STI-571, taxotere, temozolamide, VM-26, toremifene, tretinoin, ATRA,
20   valrubicin, and velban. Other examples of oncology drugs that may be used according to the
     invention are ellipticin and ellipticin analogs or derivatives, epothilones, intracellular kinase
     inhibitors, and camptothecins.
     [0237]     Non-limiting examples of lipid-lowering agents for treating a lipid disease or
     disorder associated with elevated triglycerides, cholesterol, and/or glucose include statins,
25   fibrates, ezetimibe, thiazolidinediones , niacin, beta-blockers, nitroglycerin, calcium
     antagonists, fish oil, and mixtures thereof.
     [0238]     Examples of anti-viral drugs include, but are not limited to, abacavir, aciclovir,
     acyclovir, adefovir, amantadine, amprenavir, arbidol, atazanavir, atripla, cidofovir, combivir,
     darunavir, delavirdine, didanosine, docosanol, edoxudine, efavirenz, emtricitabine,
30   enfuvirtide, entecavir, entry inhibitors, famciclovir, fixed dose combinations, fomivirsen,
     fosamprenavir, foscarnet, fosfonet, fusion inhibitors, ganciclovir, ibacitabine, imunovir,
     idoxuridine, imiquimod, indinavir, inosine, integrase inhibitors, interferon type III (e.g., IFN-
     A molecules such as IFN-t-.J, IFN-11,2, and IFN-t-.J), interferon type II (e.g., IFN-y), interferon
     type I (e.g., IFN-a such as PEGylated IFN-a, IFN-f), IFN-K, IFN-o, IFN-£, IFN--r, IFN-co, and

                                                          62


                                                                                                      JA001936
                                                                                                      GE NV-00004048
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 601 of 1274 PageID #: 8907



     IFN-~), interferon, lamivudine, lopinavir, loviride, MK-0518, maraviroc, moroxydine,
     nelfinavir, nevirapine, nexavir, nucleoside analogues, oseltamivir, penciclovir, peramivir,
     pleconaril, podophyllotoxin, protease inhibitors, reverse transcriptase inhibitors, ribavirin,
     rimantadine, ritonavir, saquinavir, stavudine, synergistic enhancers, tenofovir, tenofovir
5    disoproxil, tipranavir, trifluridine, trizivir, tromantadine, truvada, valaciclovir, valganciclovir,
     vicriviroc, vidarabine, viramidine, zalcitabine, zanamivir, zidovudine, pharmaceutically
     acceptable salts thereof, stereoisomers thereof, derivatives thereof, analogs thereof, and
     mixtures thereof.

     V.       Lipid Particles

10   [0239]    The lipid particles of the invention typically comprise an active agent or therapeutic
     agent, a cationic lipid, a non-cationic lipid, and a conjugated lipid that inhibits aggregation of
     particles. In some embodiments, the active agent or therapeutic agent is fully encapsulated
     within the lipid portion of the lipid particle such that the active agent or therapeutic agent in
     the lipid particle is resistant in aqueous solution to enzymatic degradation, e.g., by a nuclease
15   or protease. In other embodiments, the lipid particles described herein are substantially non-
     toxic to mammals such as humans. The lipid particles of the invention typically have a mean
     diameter of from about 40 nm to about 150 nm, from about 50 nm to about 150 nm, from
     about 60 nm to about 130 nm, from about 70 nm to about 110 run, or from about 70 to about
     90nm.
20   [0240]     In preferred embodiments, the lipid particles of the invention are serum-stable
     nucleic acid-lipid particles (SNALP) which comprise an interfering RNA (e.g., siRNA,
     aiRNA, and/or miRNA), a cationic lipid (e.g., a cationic lipid of Formulas I, II, and/or III), a
     non-cationic lipid (e.g., cholesterol alone or mixtures of one or more phospholipids and
     cholesterol), and a conjugated lipid that inhibits aggregation of the particles (e.g., one or more
25   PEG-lipid conjugates). The SNALP may comprise at least 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, or more
     unmodified and/or modified interfering RNA molecules. Nucleic acid-lipid particles and
     their method of preparation are described in, e.g., U.S. Patent Nos. 5,753,613; 5,785,992;
     5,705,385; 5,976,567; 5,981,501; 6,110,745; and 6,320,017; and PCT Publication No. WO
     96/40964, the disclosures of which are each herein incorporated by reference in their entirety
30   for all purposes.




                                                      63


                                                                                                JA001937
                                                                                                GENV-00004049
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 602 of 1274 PageID #: 8908



              A.        Cationic Lipids

     [0241]    Any of a variety of cationic lipids may be used in the lipid particles of the invention
     (e.g., SNALP), either alone or in combination with one or more other cationic lipid species or
     non-cationic lipid species.
5    [0242]    Cationic lipids which are useful in the present invention can be any of a number of
     lipid species which carry a net positive charge at physiological pH. Such lipids include, but
     are not limited to, N,N-dioleyl-N,N-dimethyl ammonium chloride (DODAC), 1,2-dioleyloxy-
     N ,N-dimethylaminopropane (DOD MA), 1,2-distearyloxy-N,N-dimethylaminopropane
     (DSDMA), N-(1-(2,3-dioleyloxy)prop yl)-N,N,N-trimethylammon ium chloride (DOTMA),
10   N,N-distearyl-N,N-dimeth ylammoniurn bromide (DDAB), N-(1-(2,3-dioleoyloxy)prop yl)-
     N,N,N-trimethylammonium chloride (DOT AP), 3 -(N-(N' ,N'-dimethylaminoethane)-
     carbarnoyl)cholesterol (DC-Chol), N-(l,2-dimyristyloxyprop- 3-yl)-N,N-dimethyl-N-
     hydroxyethyl ammonium bromide (DMRIE), 2,3-dioleyloxy-N-[2(sperm ine-
     carboxamido )ethyl]-N,N-dimethyl-1-pro panaminiumtrifluoroacctat e (DOSPA),
15   dioctadecylamidoglycyl spermine (DOGS), 3-dimethylamino-2-(choles t-5-en-3-beta-
     oxybutan-4-oxy)-1-(cis,cis -9,12-octadecadienoxy)pro pane (CLinDMA), 2-[5'-(cholest-5-en-
     3. beta. -oxy)-3 '-oxapentoxy)-3-dimethy-1-(cis,cis-9', 1-2' -octadecadienoxy)propane
     (CpLinDMA), N,N-dimethyl-3,4-dioleylo xybenzylamine (DMOBA), 1,2-N,N'-
     dioleylcarbamyl-3-dimethy laminopropane (DOcarbDAP), l,2-N,N'-Dilinoleylcarbam yl-3-
20   dimethylaminopropane (DLincarbDAP), 1,2-Dilinoleoylcarbamyl-3- dirnethy laminopropane
     (DLinCDAP), and mixtures thereof. A number of these lipids and related analogs have been
     described in U.S. Patent Publication Nos. 20060083780 and 20060240554; U.S. Patent Nos.
     5,208,036; 5,264,618; 5,279,833; 5,283,185; 5,753,613; and 5,785,992; and PCT Publication
     No. WO 96/10390, the disclosures of which are each herein incorporated by reference in their
25   entirety for all purposes. Additionally, a number of commercial preparations of cationic
     lipids are available and can be used in the present invention. These include, e.g.,
     LIPOFECTIN® (commercially available cationic liposornes comprising DOTMA and DOPE,
     from GIBCO/BRL, Grand Island, New York, USA); LIPOFECTAMINE® (commercially
     available cationic liposomes comprising DOSPA and DOPE, from GIBCO/BRL); and
30   TRANSFECTAM® (commercially available cationic liposomes comprising DOGS from
     Promega Corp., Madison, Wisconsin, USA).
     [0243]        Additionally, cationic lipids of Formula I having the following structures are useful
     in the present invention.



                                                        64


                                                                                                JA001938
                                                                                               GE NV-00004050
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 603 of 1274 PageID #: 8909




                                      "r~OR
                                    R1
                                                                       4



                                          R2          OR 3                 (I),
              1       2                                                        3      4
     wherein R and R are independently selected and are Hor C 1-C 3 alkyls, R and R are
     independently selected and are alkyl groups having from about l O to about 20 carbon atoms,
                          3      4
     and at least one of R and R. comprises at least two sites ofunsaturatio n. In certain instances,
              4                          3     4
     R and R. are both the same, i.e., R. and R are both linoleyl (C1s), etc. In certain other
      3
5
                                                3                                 4
     instances, R and R are different, i.e., R. is tetradectrieny l (C 14) and R. is linoleyl (C 18). In a
                 3     4

                                                                                       3       4
     preferred embodiment, the cationic lipid of Formula I is symmetrical, i.e., R and R are both
                                                      3     4
     the same. In another preferred embodiment, both R and R comprise at least two sites of
                                          3      4
     unsaturation. In some embodiments , R and R are independently selected from the group
10   consisting of dodecadienyl, tetradecadien yl, hexadecadien yl, linoleyl, and icosadienyl. In a
                             3        4                                              3
     preferred embodiment, R and R are both linoleyl. In some embodiments , R and
     R 4 comprise at least three sites of unsaturation and are independently selected from, e.g.,
     dodecatrienyl , tetradectrieny l, hexadecatrien yl, linolenyl, and icosatrienyl. In particularly
     preferred embodiments , the cationic lipid of Formula I is l,2-dilinoleyl oxy-N,N-
15   dimethylamin opropane (DLinDMA) or 1,2-dilinoleny loxy-N,N-dim ethylaminopr opane
     (DLenDMA).
     [0244]    Furthermore, cationic lipids of Formula II having the following structures are useful
     in the present invention.
                                                    R2
                                                     I x-
                                               R1--N+-R 3


                                                    !4         (II),
                      2                                                        3      4
20   wherein R 1 and R are independently selected and are Hor C 1-C 3 alkyls, R and R are
     independently selected and are alkyl groups having from about l O to about 20 carbon atoms,
                          3      4
     and at least one of R and R comprises at least two sites of unsaturation. In certain instances,
                                          3     4
     R 3 and R4 are both the same, i.e., R and R are both linoleyl (C 1s), etc. In certain other
                                                 3                                4
     instances, R 3 and R. are different, i.e., R is tetradectrieny l (C 14) and R is linoleyl (C 18 ). In a
                          4

                                                                                                        3
25   preferred embodiment, the cationic lipids of the present invention are symmetrical, i.e., R
                                                                       3     4
     and R 4 are both the same. In another preferred embodiment, both R and R comprise at least
                                                        3     4
     two sites ofunsaturatio n. In some embodiments , R and R are independently selected from
      the group consisting of dodecadienyl , tetradecadien yl, hexadecadien yl, linoleyl, and
                                                  3      4
      icosadienyl. In a preferred embodiment, R and R are both linoleyl. In some embodiments ,

                                                         65


                                                                                                  JA001939
                                                                                                  GE NV-00004051
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 604 of 1274 PageID #: 8910



     R and R comprise at least three sites of unsaturation and are independently selected from,
      3       4


     e.g., dodecatrienyl , tetradectrieny l, hexadecatrien yl, linolenyl, and icosatrienyl.
     [0245] Moreover, cationic lipids of Formula III having the following structures (or salts
     thereof) are useful in the present invention.




5                                                                       (III),
                  1     2
     Wherein R and R are either the same or different and independently optionally substituted
     C12-C24 alkyl, optionally substituted C12-C24 alkenyl, optionallysub stituted C 12-C24 alkynyl, or
                                             3     4
     optionally substituted C 12-C 24 acyl; R and R are either the same or different and
     independently optionally substituted C1-C6 alkyl, optionally substituted C 1-C6 alkenyl, or
                                                3     4
10   optionally substituted C 1-C 6 alkynyl or R and R may join to form an optionally substituted
     heterocyclic ring of 4 to 6 carbon atoms and 1 or 2 heteroatoms chosen from nitrogen and
     oxygen; R is either absent or hydrogen or C 1-C 6 alkyl to provide a quaternary amine; m, n,
               5


     and pare either the same or different and independently either O or 1 with the proviso that m,
     n, and p are not simultaneousl y O; q is 0, l, 2, 3, or 4; and Y and Z are either the same or
15   different and independently 0, S, or NH.
     [0246]  In some embodiments , the cationic lipid of Formula III is 2,2-dilinoleyl -4-(2-
     dimethylamin oethyl)-[ 1,3 ]-dioxolane (DLin-K-C2- DMA; "XTC2"), 2,2-dilinoleyl -4-(3-
     dimethylamin opropyl)-[ l ,3 ]-dioxolane (DLin-K-C3- DMA), 2,2-dilinoleyl -4-(4-
     dimethylamin obuty 1)-[ 1,3]-dioxolan e (DLin-K-C4- DMA), 2,2-dilinoleyl -5-
20   dimethylamin omethyl-[1,3] -dioxane (DLin-K6-DM A), 2,2-dilinoleyl -4-N-methylp epiazino-
     [l,3]-dioxolan e (DLin-K-MPZ ), 2,2-dilinoleyl -4-dimethylam inomethyl-[l, 3]-dioxolane
     (DLin-K-DM A), 1,2-dilinoleyl carbamoyloxy -3-dimethylam inopropane (DLin-C-DAP ), l ,2-
     dilinoleyoxy- 3-(dimethylam ino)acetoxyprop ane (DLin-DAC), 1,2-dilinoleyo xy-3-
     morpholinopr opane (DLin-MA), 1,2-dilinoleoy l-3-dimethyla minopropane (DLinDAP), 1,2-
25    dilinoleylthio -3-dimethylam inopropane (DLin-S-DMA ), l-linoleoyl-2- linoleyloxy-3 -
      dimethylamin opropane (DLin-2-DMA P), l ,2-dilinoleylo xy-3-trimethy laminopropan e
      chloride salt (DLin-TMA.C l), 1,2-dilinoleoy l-3-trimethyla minopropane chloride salt (DLin-
      TAP.Cl), l,2-dilinoleylo xy-3-(N-meth ylpiperazino) propane (DLin-MPZ), 3-(N,N-
      dilinoleylami no )-1,2-propane diol (DLinAP), 3-(N ,N-dioleylam ino )-1,2-propane dio (DOAP),
30    l,2-dilinoleyl oxo-3-(2-N,N -dimethylami no)ethoxypro pane (DLin-EG-DM A), or mixtures


                                                      66


                                                                                              JA001890
                                                                                              GE NV-000040 52
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 605 of 1274 PageID #: 8911



     thereof. In preferred embodiments, the cationic lipid of Formula III is DLin-K-C2-DMA
     (XTC2).
     [0247]    The cationic lipid typically comprises from about 50 mol % to about 90 mol %,
     from about 50 mol % to about 85 mol %, from about 50 mol % to about 80 mol %, from
5    about 50 mol % to about 75 mol %, from about 50 mol % to about 70 mol %, from about 50
     mol % to about 65 mol %, or from about 55 mol % to about 65 mol % of the total lipid
     present in the particle.
     [0248]    It will be readily apparent to one of skill in the art that depending on the intended
     use of the particles, the proportions of the components can be varied and the delivery
10   efficiency of a particular formulation can be measured using, e.g., an endosomal release
     parameter (ERP) assay.

              B.     Non-Cationic Lipids

     [0249]    The non-cationic lipids used in the lipid particles of the invention (e.g., SNALP) can
     be any of a variety of neutral uncharged, zwitterionic, or anionic lipids capable of producing
15   a stable complex.
     [0250]    Non-limiting examples of non-cationic lipids include phospholipids such as lecithin,
     phosphatidylethan olamine, lysolecithin, lysophosphatidyle thanolamine, phosphatidylscrine ,
     phosphatidylinosit ol, sphingomyelin, egg sphingomyelin (ESM), cephalin, cardiolipin,
     phosphatidic acid, cerebrosides, dicetylphosphate, distearoylphospha tidylcholine (DSPC),
20   dioleoylphosphati dylcholine (DOPC), dipalmitoylphosph atidylcholine (DPPC),
     dioleoylphosphati dylglycerol (DOPG), dipalmitoylphosph atidylglycerol (DPPG),
     dioleoylphosphati dylethanolamine (DOPE), palmitoyloleoyl-p hosphatidylcholin e (POPC),
     palmitoyloleoyl-p hosphatidylethano lamine (POPE), palmitoyloleyol-p hosphatidylglycer ol
     (POPG), dioleoy lphosphatidyletha nolamine 4-(N-maleimidom ethyl )-cyclohexane-1-
25   carboxylate (DOPE-mal), dipalmitoyl-phosp hatidylethanolami ne (DPPE), dimyristoyl-
     phosphatidylethan olamine (DMPE), distearoyl-phosph atidylethanolamin e (DSPE),
     monomethyl-phos phatidylethanolam ine, dimethyl-phospha tidy lethanolamine, dielaidoyl-
     phosphatidy lethanolamine (DEPE), stearoyloleoyl-pho sphatidylethanola mine (SOPE),
     lysophosphatidylc holine, dilinoleoylphosph atidylcholine, and mixtures thereof. Other
30   diacylphosphatidy lcholine and diacylphosphatidy lethanolamine phospholipids can also be
     used. The acyl groups in these lipids are preferably acyl groups derived from fatty acids
     having C 10-C 24 carbon chains, e.g., lauroyl, myristoyl, palmitoyl, stearoyl, or oleoyl.




                                                      67


                                                                                                 JA001891
                                                                                                 GE NV-00004053
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 606 of 1274 PageID #: 8912



     [0251]   Additional examples of non-cationic lipids include sterols such as cholesterol and
     derivatives thereof such as cholestanol, cholestanone, cholestenone, coprostanol, cholesteryl-
     2'-hydroxyethyl ether, cholesteryl-4'-hydroxybuty l ether, and mixtures thereof.
     [0252]   In some embodiments, the non-cationic lipid present in the lipid particles (e.g.,
5    SN ALP) comprises or consists of cholesterol or a derivative thereof, e.g., a phospholipid-free
     lipid particle formulation. In other embodiments, the non-cationic lipid present in the lipid
     particles (e.g., SNALP) comprises or consists of one or more phospholipids, e.g., a
     cholesterol-free lipid particle formulation. In further embodiments, the non-cationic lipid
     present in the lipid particles (e.g., SNALP) comprises or consists of a mixture of one or more
10   phospholipids and cholesterol or a derivative thereof.
     [0253}   Other examples of non-cationic lipids suitable for use in the present invention
     include nonphosphorous containing lipids such as, e.g., stearylamine, dodecylamine,
     hexadecylamine, acetyl palmitate, glycerolricinoleate, hexadecyl stereate, isopropyl
     myristate, amphoteric acrylic polymers, triethanolamine-lauryl sulfate, alkyl-aryl sulfate
15   polyethyloxylated fatty acid amides, dioctadecyldimethyl ammonium bromide, ceramide,
     sphingomyelin, and the like.
     [0254]    In some embodiments, the non-cationic lipid comprises from about 13 mol % to
     about 49.5 mol %, from about 20 mol % to about 45 mol %, from about 25 mol % to about 45
     mol %, from about 30 mol % to about 45 mol %, from about 35 mol % to about 45 mo!%,
20   from about 20 mol % to about 40 mol %, from about 25 mol % to about 40 mol %, or from
     about 30 mol % to about 40 mol % of the total lipid present in the particle.
     [0255]    In certain embodiments, the cholesterol present in phospholipid-free lipid particles
     comprises from about 30 mol % to about 45 mol %, from about 30 mol % to about 40 mol %,
     from about 35 mol % to about 45 mol %, or from about 35 mol % to about 40 mol % of the
25   total lipid present in the particle. As a non-limiting example, a phospholipid-free lipid
     particle may comprise cholesterol at about 37 mol % of the total lipid present in the particle.
     [0256]    In certain other embodiments, the cholesterol present in lipid particles containing a
     mixture of phospholipid and cholesterol comprises from about 30 mol % to about 40 mol %,
     from about 30 mol % to about 35 mol %, or from about 35 mol % to about 40 mol % of the
30   total lipid present in the particle. As a non-limiting example, a lipid particle comprising a
     mixture of phospholipid and cholesterol may comprise cholesterol at about 34 mol % of the
     total lipid present in the particle.
     [0257]    In further embodiments, the cholesterol present in lipid particles containing a
     mixture of phospholipid and cholesterol comprises from about 10 mol % to about 30 mol %,


                                                    68


                                                                                             JA001892
                                                                                            GE NV-00004054
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 607 of 1274 PageID #: 8913



     from about 15 mol % to about 25 mol %, or from about 17 mol % to about 23 mol % of the
     total lipid present in the particle. As a non-limiting example, a lipid particle comprising a
     mixture of phospholipid and cholesterol may comprise cholesterol at about 20 mol % of the
     total lipid present in the particle.
5    [0258]     In embodiments where the lipid particles contain a mixture of phospholipid and
     cholesterol or a cholesterol derivative, the mixture may comprise up to about 40, 45, 50, 55,
     or 60 mol % of the total lipid present in the particle. In certain instances, the phospholipid
     component in the mixture may comprise from about 2 mol % to about 12 mol %, from about
     4 mol % to about 10 mol %, from about 5 mol % to about 10 mol %, from abouts mol % to
10   about 9 mol %, or from about 6 mol % to about 8 mol % of the total lipid present in the
     particle. As a non-limiting example, a lipid particle comprising a mixture of phospholipid
     and cholesterol may comprise a phospholipid such as DPPC or DSPC at about 7 mo!% (e.g.,
     in a mixture with about 34 mol % cholesterol) of the total lipid present in the particle. In
     certain other instances, the phospholipid component in the mixture may comprise from about
15   l 0 mol % to about 30 mol %, from about 15 mol % to about 25 mol %, or from about 17 mol
     % to about 23 mol % of the total lipid present in the particle. As another non-limiting
     example, a lipid particle comprising a mixture of phospholipid and cholesterol may comprise
     a phospholipid such as DPPC or DSPC at about 20 mol % (e.g., in a mixture with about 20
     mol % cholesterol) of the total lipid present in the particle.

20             C.     Lipid Conjugate

     [0259]     In addition to cationic and non-cationic lipids, the lipid particles of the invention
     (e.g., SNALP) comprise a lipid conjugate. The conjugated lipid is useful in that it prevents
     the aggregation of particles. Suitable conjugated lipids include, but are not limited to, PEG-
     lipid conjugates, ATTA-lipid conjugates, cationic-polymer-lipid conjugates (CPLs), and
25   mixtures thereof. In certain embodiments, the particles comprise either a PEG-lipid
     conjugate or an ATTA-lipid conjugate together with a CPL.
      [0260]    In a preferred embodiment, the lipid conjugate is a PEG-lipid. Examples of PEG-
     lipids include, but are not limited to, PEG coupled to dialkyloxypropyls (PEG-DAA) as
     described in, e.g., PCT Publication No. WO 05/026372, PEG coupled to diacylglycerol
30   (PEG-DAG) as described in, e.g., U.S. Patent Publication Nos. 20030077829 and
      2005008689, PEG coupled to phospholipids such as phosphatidylethanolamine (PEG-PE),
     PEG conjugated to ceramides as described in, e.g., U.S. Patent No. 5,885,613, PEG
      conjugated to cholesterol or a derivative thereof, and mixtures thereof. The disclosures of


                                                      69


                                                                                                JA001893
                                                                                               GE NV-00004055
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 608 of 1274 PageID #: 8914



     these patent documents are herein incorporated by reference in their entirety for all purposes.
     Additional PEG-lipids include, without limitation, PEG-C-DOMG, 2KPEG-DMG, and a
     mixture thereof.
     [0261]   PEG is a linear, water-soluble polymer of ethylene PEG repeating units with two
5    terminal hydroxyl groups. PEGs are classified by their molecular weights; for example, PEG
     2000 has an average molecular weight of about 2,000 daltons, and PEG 5000 has an average
     molecular weight of about 5,000 daltons. PEGs are commercially available from Sigma
     Chemical Co. and other companies and include, for example, the following:
     monomethoxypoly ethylene glycol (MePEG-OH), monomethoxypoly ethylene glycol-
]0   succinate (MePEG-S), monomethoxypoly ethylene glycol-succinimid yl succinate (MePEG-S-
     NHS), monomethoxypoly ethylene glycol-amine (MePEG-NH 2), monomethoxypoly ethylene
     glycol-tresylate (MePEG-TRES), and monomethoxypoly ethylene glycol-imidazolyl- carbonyl
     (MePEG-IM). Other PEGs such as those described in U.S. Patent Nos. 6,774,180 and
     7,053,150 (e.g., mPEG (20 KDa) amine) are also useful for preparing the PEG-lipid
15   conjugates of the present invention. The disclosures of these patents are herein incorporated
     by reference in their entirety for all purposes. In addition, monomethoxypoly ethyleneglycol-
     acetic acid (MePEG-CH2COO H) is particularly useful for preparing PEG-lipid conjugates
     including, e.g., PEG-DAA conjugates.
     [0262]    The PEG moiety of the PEG-lipid conjugates described herein may comprise an
20   average molecular weight ranging from about 550 daltons to about 10,000 daltons. In certain
     instances, the PEG moiety has an average molecular weight of from about 750 daltons to
     about 5,000 daltons (e.g., from about 1,000 daltons to about 5,000 daltons, from about 1,500
     daltons to about 3,000 daltons, from about 750 daltons to about 3,000 daltons, from about
     750 daltons to about 2,000 daltons, etc.). In preferred embodiments, the PEG moiety has an
25   average molecular weight of about 2,000 daltons or about 750 daltons.
     [0263]    In certain instances, the PEG can be optionally substituted by an alkyl, alkoxy, acyl,
     or aryl group. The PEG can be conjugated directly to the lipid or may be linked to the lipid
     via a linker moiety. Any linker moiety suitable for coupling the PEG to a lipid can be used
     including, e.g., non-ester containing linker moieties and ester-containing linker moieties. In a
30   preferred embodiment, the linker moiety is a non-ester containing linker moiety. As used
     herein, the term "non-ester containing linker moiety" refers to a linker moiety that does not
     contain a carboxylic ester bond (-OC(O)-). Suitable non-ester containing linker moieties
     include, but are not limited to, amido (-C(O)NH-), amino (-NR-), carbonyl (-C(O)-),
     carbamate (-NHC(O)O-), urea (-NHC(O)NH-), disulphide (-S-S-), ether (-0-), succinyl (-


                                                     70


                                                                                             JA001894
                                                                                            GE NV-00004056
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 609 of 1274 PageID #: 8915



     (O)CCH2CH2 C(O)-), succinamidyl ( -NHC(O)CH 2CH2C(O)NH-), ether, disulphide, as well
     as combinations thereof (such as a linker containing both a carbamate linker moiety and an
     amido linker moiety). In a preferred embodiment, a carbamate linker is used to couple the
     PEG to the lipid.
5    [0264]     In other embodiments, an ester containing linker moiety is used to couple the PEG
     to the lipid. Suitable ester containing linker moieties include, e.g., carbonate (-OC(O)O-),
     succinoyl, phosphate esters (-O-(O)POH- O-), sulfonate esters, and combinations thereof.
     [0265] Phosphatidyle thanolamines having a variety of acyl chain groups of varying chain
     lengths and degrees of saturation can be conjugated to PEG to form the lipid conjugate. Such
10   phosphatidyle thanolamines are commercially available, or can be isolated or synthesized
     using conventional techniques known to those of skilled in the art. Phosphatidyl-
     ethanolamine s containing saturated or unsaturated fatty acids with carbon chain lengths in the
     range of C 10 to C20 are preferred. Phosphatidyle thanolamines with mono- or di unsaturated
     fatty acids and mixtures of saturated and unsaturated fatty acids can also be used. Suitable
15   phosphatidyle thanolamines include, but are not limited to, dimyristoyl-
     phosphatidyle thanolamine (DMPE), dipalmitoyl-p hosphatidylet hanolamine (DPPE),
     dioleoylphosp hatidylethano lamine (DOPE), and distearoyl-pho sphatidyletha nolamine
     (DSPE).
     [0266]   The term "ATTA" or "polyamide" refers to, without limitation, compounds
20   described in U.S. Patent Nos. 6,320,017 and 6,586,559, the disclosures of which are herein
     incorporated by reference in their entirety for all purposes. These compounds include a
     compound having the formula:


                         R{l- 1

                                  (CH 2CH 2O)-CCH,)
                                            m  - P        H II c)t-R
                                                    -~-(NH-b~
                                                            0
                                                               q
                                                                 n
                                                                                3


                                                                                    (IV),
                                                                                                   1
      wherein Risa member selected from the group consisting of hydrogen, alkyl and acyl; R is
                                                                                               1
25    a member selected from the group consisting of hydrogen and alkyl; or optionally, Rand R
                                                                           2
      and the nitrogen to which they are bound form an azido moiety; R is a member of the group
      selected from hydrogen, optionally substituted alkyl, optionally substituted aryl and a side
                               3
      chain of an amino acid; R is a member selected from the group consisting of hydrogen,
                                                                   4 5            4      5
      halogen, hydroxy, alkoxy, mercapto, hydrazino, amino and NR R , wherein R and R are
30    independently hydrogen or alkyl; n is 4 to 80; mis 2 to 6; p is 1 to 4; and q is 0 or 1. It will




                                                      71


                                                                                               JA001895
                                                                                              GENV-00004057
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 610 of 1274 PageID #: 8916



     be apparent to those of skill in the art that other polyamides can be used in the compounds of
     the present invention.
                                                                                          1
     [0267]   The term "diacylglycerol" refers to a compound having 2 fatty acyl chains, R and
     R2, both of which have independently between 2 and 30 carbons bonded to the 1- and 2-
5    position of glycerol by ester linkages. The acyl groups can be saturated or have varying
     degrees of unsaturation. Suitable acyl groups include, but are not limited to, lauryl (Cl2),
                                                                                                      1
     myristyl (C 14), palmityl (C 16), stearyl (C18), and icosyl (C20). In preferred embodiments, R
                                  1     2                                       1     2
     and R 2 are the same, i.e., R and R are both myristyl (i.e., dimyristyl), R and R are both
     stearyl (i.e., distearyl), etc. Diacylglycerols have the following general formula:
                                                   0



                                          CH,O~R'

                                                       0


                                          CH-O~R'



10
                                           I
                                           CH 20 -                    (V).
                                                                                        1                 2
     [0268]    The term "dialkyloxypropyl" refers to a compound having 2 alkyl chains, R and R ,
     both of which have independently between 2 and 30 carbons. The alkyl groups can be
     saturated or have varying degrees of unsaturation. Dialkyloxypropyls have the following
     general formula:

                                               IH20-R1

                                               IHO-R           2




15                                             CHr                 (VI).

     [0269]    In a preferred embodiment, the PEG-lipid is a PEG-DAA conjugate having the
     following formula:
                                                           1
                                            IH20-R

                                            IHO-R          2



                                            CHrL-PEG (VII),

     wherein R 1 and R 2 are independently selected and are long-chain alkyl groups having from
20   about 10 to about 22 carbon atoms; PEG is a polyethyleneglycol; and L is a non-ester


                                                           72


                                                                                              JA001896
                                                                                              GE NV-00004058
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 611 of 1274 PageID #: 8917



     containing linker moiety or an ester containing linker moiety as described above. The long-
     chain alkyl groups can be saturated or unsaturated. Suitable alkyl groups include, but are not
     limited to, lauryl (C12), myristyl (C 14), palmityl (C 16), stearyl (C 18), and icosyl (C 20 ). In
                             1     2                     1     2
     preferred embodiments, R and R are the same, i.e., R and R are both myristyl (i.e.,
                   1     2
5    dimyristyl), R and R are both stearyl (i.e., distearyl), etc.
     [0270}    In Formula VII above, the PEG has an average molecular weight ranging from
     about 550 daltons to about 10,000 daltons. In certain instances, the PEG has an average
     molecular weight of from about 750 daltons to about 5,000 daltons (e.g., from about 1,000
     daltons to about 5,000 daltons, from about 1,500 daltons to about 3,000 daltons, from about
10   750 daltons to about 3,000 daltons, from about 750 daltons to about 2,000 daltons, etc.). In
     preferred embodiments, the PEG has an average molecular weight of about 2,000 daltons or
     about 750 daltons. The PEG can be optionally substituted with alkyl, alkoxy, acyl, or aryl.
     In certain embodiments, the terminal hydroxyl group is substituted with a methoxy or methyl
     group.
15   [0271]    In a preferred embodiment, "L" is a non-ester containing linker moiety. Suitable
     non-ester containing linkers include, but are not limited to, an amido linker moiety, an amino
     linker moiety, a carbonyl linker moiety, a carbamate linker moiety, a urea linker moiety, an
     ether linker moiety, a disulphide linker moiety, a succinamidyl linker moiety, and
     combinations thereof. In a prefened embodiment, the non-ester containing linker moiety is a
20   carbamate linker moiety (i.e., a PEG-C-DAA conjugate). In another preferred embodiment,
     the non-ester containing linker moiety is an amido linker moiety (i.e., a PEG-A-DAA
     conjugate). In yet another preferred embodiment, the non-ester containing linker moiety is a
     succinamidyl linker moiety (i.e., a PEG-S-DAA conjugate).
     [0272]     In particular embodiments, the PEG-lipid conjugate is selected from:




25




                                                                                     (PEG-C-DOMG).

     [0273]     The PEG-DAA conjugates are synthesized using standard techniques and reagents
     known to those of skill in the art. It will be recognized that the PEG-DAA conjugates will



                                                         73


                                                                                                     JA001897
                                                                                                     GE NV-00004059
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 612 of 1274 PageID #: 8918



     contain various amide, amine, ether, thio, carbamate, and urea linkages. Those of skill in the
     art will recognize that methods and reagents for forming these bonds are well known and
     readily available. See, e.g., March, ADVANCED ORGANIC CHEMISTRY (Wiley 1992);
     Larock, COMPREHENSIVE ORGANIC TRANSFORMATIONS (VCH 1989); and Furniss,
5    VOGEL'S TEXTBOOK OF PRACTICAL ORGANIC CHEMISTRY, 5th ed. (Longman
     1989). It will also be appreciated that any functional groups present may require protection
     and deprotection at different points in the synthesis of the PEG-DAA conjugates. Those of
     skill in the art will recognize that such techniques are well known. See, e.g., Green and Wuts,
     PROTECTIVE GROUPS IN ORGANIC SYNTHESIS (Wiley 1991 ).
10   [0274]    Preferably, the PEG-DAA conjugate is a dilauryloxypropyl (C 12 )-PEG conjugate,
     dimyristyloxypropyl (C14)-PEG conjugate, a dipalmityloxypropyl (C16)-PEG conjugate, or a
     distearyloxypropyl (C 18)-PEG conjugate. Those of skill in the art will readily appreciate that
     other dialkyloxypropyls can be used in the PEG-DAA conjugates of the present invention.
     [0275}    In addition to the foregoing, it will be readily apparent to those of skill in the art that
15   other hydrophilic polymers can be used in place of PEG. Examples of suitable polymers that
     can be used in place of PEG include, but are not limited to, polyvinylpyrrolidone,
     polymethyloxazoline, polyethyloxazoline, polyhydroxypropyl methacrylamide,
     polymethacrylamide and polydimethylacrylamide, polylactic acid, polyglycolic acid, and
     derivatized celluloses such as hydroxymethylcellulose or hydroxyethylcellulose.
20   [0276]    In addition to the foregoing components, the particles (e.g., SN ALP or SPLP) of the
     present invention can further comprise cationic poly(ethylene glycol) (PEG) lipids or CPLs
     (see, e.g., Chen et al., Bioconj. Chem., 11 :433-437 (2000)). Suitable SPLPs and SPLP-CPLs
     for use in the present invention, and methods of making and using SPLPs and SPLP-CPLs,
     are disclosed, e.g., in U.S. Patent No. 6,852,334 and PCT Publication No. WO 00/62813,,
25   the disclosures of which are herein incorporated by reference in their entirety for all purposes.
     [0277]    Suitable CPLs include compounds of Formula VIII:
                                               A-W-Y (VIII),
     wherein A, W, and Y are as described below.
     [0278]    With reference to Formula VIII, "A" is a lipid moiety such as an amphipathic lipid,
30   a neutral lipid, or a hydrophobic lipid that acts as a lipid anchor. Suitable lipid examples
     include, but are not limited to, diacylglycerolyls, dialkylglycerolyls, N-N-dialkylaminos, 1,2-
     diacyloxy-3-aminopropane s, and 1,2-dialkyl-3-aminopropan es.
      [0279]   "W" is a polymer or an oligomer such as a hydrophilic polymer or oligomer.
      Preferably, the hydrophilic polymer is a biocompatable polymer that is nonimmunogenic or


                                                       74


                                                                                                 JA001898
                                                                                                GE NV-00004060
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 613 of 1274 PageID #: 8919



     possesses low inherent immunogenicity. Alternatively, the hydrophilic polymer can be
     weakly antigenic if used with appropriate adjuvants. Suitable nonimmunogenic polymers
     include, but are not limited to, PEG, polyamides, polylactic acid, polyglycolic acid, polylactic
     acid/polyglycolic acid copolymers, and combinations thereof. In a preferred embodiment, the
5    polymer has a molecular weight of from about 250 to about 7,000 daltons.
     [0280]   "Y" is a polycationic moiety. The term polycationic moiety refers to a compound,
     derivative, or functional group having a positive charge, preferably at least 2 positive charges
     at a selected pH, preferably physiological pH. Suitable polycationic moieties include basic
     amino acids and their derivatives such as arginine, asparagine, glutamine, lysine, and
10   histidine; spermine; spermidine; cationic dendrimers; polyamines; polyamine sugars; and
     amino polysaccharides. The polycationic moieties can be linear, such as linear tetralysine,
     branched or dendrimeric in structure. Polycationic moieties have between about 2 to about
     15 positive charges, preferably between about 2 to about 12 positive charges, and more
     preferably between about 2 to about 8 positive charges at selected pH values. The selection
15   of which polycationic moiety to employ may be determined by the type of particle
     application which is desired.
     [0281]    The charges on the polycationic moieties can be either distributed around the entire
     particle moiety, or alternatively, they can be a discrete concentration of charge density in one
     particular area of the particle moiety e.g., a charge spike. If the charge density is distributed
20   on the particle, the charge density can be equally distributed or unequally distributed. All
     variations of charge distribution of the polycationic moiety are encompassed by the present
     invention.
     [0282]    The lipid "A" and the nonimmunogenic polymer "W" can be attached by various
     methods and preferably by covalent attachment. Methods known to those of skill in the art
25   can be used for the covalent attachment of "A" and "W." Suitable linkages include, but are
     not limited to, amide, amine, carboxyl, carbonate, carbamate, ester, and hydrazone linkages.
     It will be apparent to those skilled in the art that "A" and "W" must have complementary
     functional groups to effectuate the linkage. The reaction of these two groups, one on the lipid
     and the other on the polymer, will provide the desired linkage. For example, when the lipid is
30    a diacylglycerol and the terminal hydroxyl is activated, for instance with NHS and DCC, to
      form an active ester, and is then reacted with a polymer which contains an amino group, such
      as with a polyamide (see, e.g., U.S. Patent Nos. 6,320,017 and 6,586,559, the disclosures of
      which are herein incorporated by reference in their entirety for all purposes), an amide bond
      will form between the two groups.


                                                      75


                                                                                              JA001899
                                                                                              GENV-00004061
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 614 of 1274 PageID #: 8920



     [0283]   In certain instances, the polycationic moiety can have a ligand attached, such as a
     targeting ligand or a chelating moiety for complexing calcium. Preferably, after the ligand is
     attached, the cationic moiety maintains a positive charge. In certain instances, the ligand that
     is attached has a positive charge. Suitable ligands include, but are not limited to, a compound
5    or device with a reactive functional group and include lipids, amphipathic lipids, carrier
     compounds, bioaf:finity compounds, biomaterials, biopolymers, biomedical devices,
     analytically detectable compounds, therapeutically active compounds, enzymes, peptides,
     proteins, antibodies, immune stimulators, radiolabels, fluorogens, biotin, drugs, haptens,
     DNA, RNA, polysaccharides, liposomes, virosomes, micelles, immunoglobulins, functional
10   groups, other targeting moieties, or toxins.
     [0284]   The lipid conjugate (e.g., PEG-lipid) typically comprises from about 0.1 mol % to
     about 2 mol %, from about 0.5 mol % to about 2 mol %, from about 1 mo!% to about 2 mol
     %, from about 0.6 mol % to about 1.9 mol %, from about 0.7 mol % to about 1.8 mol %,
     from about 0.8 mol % to about 1.7 mol %, from about 0.9 mol % to about 1.6 mol %, from
15   about 0.9 mol % to about 1.8 mol %, from about 1 mol % to about 1.8 mol %, from about 1
     mol % to about 1.7 mol %, from about 1.2 mol % to about 1.8 mol %, from about 1.2 mol %
     to about 1.7 mol %, from about 1.3 mol % to about 1.6 mol %, or from about 1.4 mol % to
     about 1.5 mol % of the total lipid present in the particle.
     [0285]    One of ordinary skill in the art will appreciate that the concentration of the lipid
20   conjugate can be varied depending on the lipid conjugate employed and the rate at which the
     nucleic acid-lipid particle is to become fusogenic.
     [0286}    By controlling the composition and concentration of the lipid conjugate, one can
     control the rate at which the lipid conjugate exchanges out of the nucleic acid-lipid particle
     and, in turn, the rate at which the nucleic acid-lipid particle becomes fusogenic. For instance,
25   when a PEG-phosphatidy lethanolamine conjugate or a PEG-ceramide conjugate is used as
     the lipid conjugate, the rate at which the nucleic acid-lipid particle becomes fusogenic can be
     varied, for example, by varying the concentration of the lipid conjugate, by varying the
     molecular weight of the PEG, or by varying the chain length and degree of saturation of the
     acyl chain groups on the phosphatidylethan olamine or the ceramide. In addition, other
30    variables including, for example, pH, temperature, ionic strength, etc. can be used to vary
      and/or control the rate at which the nucleic acid-lipid particle becomes fusogenic. Other
      methods which can be used to control the rate at which the nucleic acid-lipid particle
      becomes fusogenic will become apparent to those of skill in the art upon reading this
      disclosure.


                                                      76


                                                                                               JA001900
                                                                                              GE NV-00004062
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 615 of 1274 PageID #: 8921



     VI.      Preparation of Lipid Particles

     [0287]    The lipid particles of the present invention, e.g., SNALP, in which an active agent
     or therapeutic agent such as an interfering RNA is encapsulated in a lipid bilayer and is
     protected from degradation, can be formed by any method known in the art including, but not
5    limited to, a continuous mixing method or a direct dilution process.
     [0288]    In preferred embodiments, the cationic lipids are lipids of Formula I, II, and III, or
     combinations thereof. In other preferred embodiments, the non-cationic lipids are egg
     sphingomyelin (ESM), distearoylphospha tidylcholine (DSPC), dioleoylphosphati dylcholine
     (DOPC), 1-palmitoyl-2-oleo yl-phosphatidylch oline (POPC), dipalmitoyl-phosp hatidylcholine
10   (DPPC), monomethyl-phos phatidylethanolam ine, dimethyl-phospha tidylethanolamine , 14:0
     PE (1,2-dimyristoyl-p hosphatidylethano lamine (DMPE)), 16:0 PE (1,2-dipalmitoyl-
     phosphatidylethan olamine (DPPE)), 18:0 PE (1,2-distearoyl-ph osphatidylethanol amine
     (DSPE)), 18: l PE (1,2-dioleoyl-phos phatidylethanolam ine (DOPE)), 18: 1 trans PE (1,2-
     dielaidoyl-phosph atidylethanolamin e (DEPE)), 18:0-18: l PE (l-stearoyl-2-oleo yl-
15   phosphatidylethan olamine (SOPE)), 16:0-18:1 PE (1-palmitoyl-2-ole oyl-
     phosphatidylethan olamine (POPE)), polyethylene glycol-based polymers (e.g., PEG 2000,
     PEG 5000, PEG-modified diacylglycerols, or PEG-modified dialkyloxypropyls ), cholesterol,
     or combinations thereof.
     [0289]     In certain embodiments, the present invention provides for SNALP produced via a
20   continuous mixing method, e.g., a process that includes providing an aqueous solution
     comprising a nucleic acid such as an interfering RNA in a first reservoir, providing an
     organic lipid solution in a second reservoir, and mixing the aqueous solution with the organic
     lipid solution such that the organic lipid solution mixes with the aqueous solution so as to
     substantially instantaneously produce a liposome encapsulating the nucleic acid (e.g.,
25   interfering RNA). This process and the apparatus for carrying this process are described in
     detail in U.S. Patent Publication No. 20040142025, the disclosure of which is herein
     incorporated by reference in its entirety for all purposes.
     [0290]     The action of continuously introducing lipid and buffer solutions into a mixing
     environment, such as in a mixing chamber, causes a continuous dilution of the lipid solution
30   with the buffer solution, thereby producing a liposome substantially instantaneously upon
     mixing. As used herein, the phrase "continuously diluting a lipid solution with a buffer
     solution" (and variations) generally means that the lipid solution is diluted sufficiently rapidly
     in a hydration process with sufficient force to effectuate vesicle generation. By mixing the



                                                      77


                                                                                               JA001901
                                                                                              GE NV-00004063
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 616 of 1274 PageID #: 8922



     aqueous solution comprising a nucleic acid with the organic lipid solution, the organic lipid
     solution undergoes a continuous stepwise dilution in the presence of the buffer solution (i.e.,
     aqueous solution) to produce a nucleic acid-lipid particle.
     [0291]   The SNALP formed using the continuous mixing method typically have a size of
5    from about 40 nm to about 150 nm, from about 50 nm to about 150 nm, from about 60 nm to
     about 130 nm, from about 70 run to about 110 nm, or from about 70 run to about 90 nm. The
     particles thus formed do not aggregate and are optionally sized to achieve a uniform particle
     size.
     [0292]   In another embodiment, the present invention provides for SN ALP produced via a
10   direct dilution process that includes forming a liposome solution and immediately and
     directly introducing the liposome solution into a collection vessel containing a controlled
     amount of dilution buffer. In preferred aspects, the collection vessel includes one or more
     elements configured to stir the contents of the collection vessel to facilitate dilution. In one
     aspect, the amount of dilution buffer present in the collection vessel is substantially equal to
15   the volume of liposome solution introduced thereto. As a non-limiting example, a liposome
     solution in 45% ethanol when introduced into the collection vessel containing an equal
     volume of dilution buffer will advantageously yield smaller particles.
     [0293]    In yet another embodiment, the present invention provides for SNALP produced via
     a direct dilution process in which a third reservoir containing dilution buffer is fluidly
20   coupled to a second mixing region. In this embodiment, the liposome solution formed in a
     first mixing region is immediately and directly mixed with dilution buffer in the second
     mixing region. In preferred aspects, the second mixing region includes a T-connector
     arranged so that the liposome solution and the dilution buffer flows meet as opposing 180°
     flows; however, connectors providing shallower angles can be used, e.g., from about 27° to
25   about 180°. A pump mechanism delivers a controllable flow of buffer to the second mixing
     region. In one aspect, the flow rate of dilution buffer provided to the second mixing region is
     controlled to be substantially equal to the flow rate of liposome solution introduced thereto
     from the first mixing region. This embodiment advantageously allows for more control of
     the flow of dilution buffer mixing with the liposome solution in the second mixing region,
30   and therefore also the concentration of liposome solution in buffer throughout the second
     mixing process. Such control of the dilution buffer flow rate advantageously allows for small
     particle size formation at reduced concentrations.




                                                     78


                                                                                                  JA001902
                                                                                              GE NV-00004064
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 617 of 1274 PageID #: 8923



     [0294]   These processes and the apparatuses for carrying out these direct dilution processes
     are described in detail in U.S. Patent Publication No. 20070042031, the disclosure of which is
     herein incorporated by reference in its entirety for all purposes.
     [0295]   The SNALP formed using the direct dilution process typically have a size of from
5    about 40 nm to about 150 nm, from about 50 nm to about 150 run, from about 60 nm to about
     130 nm, from about 70 nm to about 110 nm, or from about 70 nm to about 90 nm. The
     particles thus formed do not aggregate and are optionally sized to achieve a uniform particle
     size.
     [0296]   If needed, the lipid particles of the invention (e.g., SNALP) can be sized by any of
10   the methods available for sizing liposomes. The sizing may be conducted in order to achieve
     a desired size range and relatively narrow distribution of particle sizes.
     [0297]    Several techniques are available for sizing the particles to a desired size. One sizing
     method, used for liposomes and equally applicable to the present particles, is described in
     U.S. Patent No. 4,737,323, the disclosure of which is herein incorporated by reference in its
15   entirety for all purposes. Sonicating a particle suspension either by bath or probe sonication
     produces a progressive size reduction down to particles of less than about 50 nm in size.
     Homogenization is another method which relies on shearing energy to fragment larger
     particles into smaller ones. In a typical homogenization procedure, particles are recirculated
     through a standard emulsion homogenizer until selected particle sizes, typically between
20   about 60 and about 80 nm, are observed. In both methods, the particle size distribution can
     be monitored by conventional laser-beam particle size discrimination, or QELS.
     [0298]    Extrusion of the particles through a small-pore polycarbonate membrane or an
     asymmetric ceramic membrane is also an effective method for reducing particle sizes to a
     relatively well-defined size distribution. Typically, the suspension is cycled through the
25   membrane one or more times until the desired particle size distribution is achieved. The
     particles may be extrnded through successively smaller-pore membranes, to achieve a gradual
     reduction in size.
     [02991    In some embodiments, the nucleic acids in the SNALP are precondensed as
     described in, e.g., U.S. Patent Application No. 09/744,103, the disclosure of which is herein
30   incorporated by reference in its entirety for all purposes.
     [0300]    In other embodiments, the methods will further comprise adding non-lipid
     polycations which are useful to effect the lipofection of cells using the present compositions.
     Examples of suitable non-lipid polycations include, hexadimethrine bromide (sold under the
     brandname POLYBRENE®, from Aldrich Chemical Co., Milwaukee, Wisconsin, USA) or


                                                     79


                                                                                             JA001903
                                                                                             GE NV-00004065
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 618 of 1274 PageID #: 8924



     other salts ofhexadimethrine . Other suitable polycations include, for example, salts of poly-
     L-ornithine, poly-L-arginine, poly-L-lysine, poly-D-lysine, polyallylamine, and
     polyethyleneimine . Addition of these salts is preferably after the particles have been formed.
     [0301]   In some embodiments, the nucleic acid to lipid ratios (mass/mass ratios) in a formed
5    SNALP will range from about 0.01 to about 0.2, from about 0.02 to about 0.1, from about
     0.03 to about 0.1, or from about 0.01 to about 0.08. The ratio of the starting materials also
     falls within this range. In other embodiments, the SNALP preparation uses about 400 µg
     nucleic acid per 10 mg total lipid or a nucleic acid to lipid mass ratio of about 0.01 to about
     0.08 and, more preferably, about 0.04, which corresponds to 1.25 mg of total lipid per 50 µg
10   of nucleic acid. In other preferred embodiments, the particle has a nucleic acid:lipid mass
     ratio of about 0.08.
     [0302]   In other embodiments, the lipid to nucleic acid ratios (mass/mass ratios) in a formed
     SNALP will range from about 1 (1 :1) to about 100 (100:1), from about 5 (5:1) to about 100
     (100:1), from about 1 (1:1) to about 50 (50:1), from about 2 (2:1) to about 50 (50:1), from
15   about 3 (3:1) to about 50 (50:1), from about 4 (4:1) to about 50 (50:1), from about 5 (5:1) to
     about 50 (50: 1), from about 1 (1: 1) to about 25 (25: 1), from about 2 (2: 1) to about 25 (25: 1),
     from about 3 (3: 1) to about 25 (25: 1), from about 4 (4: 1) to about 25 (25: 1), from about 5
     (5:1) to about 25 (25:1), from about 5 (5:1) to about 20 (20:1), from about 5 (5:1) to about 15
     (15:1), from about 5 (5:1) to about 10 (10:1), about 5 (5:1), 6 (6:1), 7 (7:1), 8 (8:1), 9 (9:1),
20   10 (10:1), 11 (11:1), 12 (12:1), 13 (13:1), 14 (14:1), or 15 (15:1). The ratio of the starting
     materials also falls within this range.
     [0303]    As previously discussed, the conjugated lipid may further include a CPL. A variety
     of general methods for making SNALP-CPLs (CPL-containing SN ALP) are discussed herein.
     Two general techniques include "post-insertion" technique, that is, insertion of a CPL into,
25   for example, a pre-formed SNALP, and the "standard" technique, wherein the CPL is
     included in the lipid mixture during, for example, the SNALP formation steps. The post-
     insertion technique results in SNALP having CPLs mainly in the external face of the SN ALP
     bilayer membrane, whereas standard techniques provide SNALP having CPLs on both
     internal and external faces. The method is especially useful for vesicles made from
30   phospholipids (which can contain cholesterol) and also for vesicles containing PEG-lipids
     (such as PEG-DAAs and PEG-DAGs). Methods of making SN ALP-CPL, are taught, for
     example, in U.S. Patent Nos. 5,705,385; 6,586,410; 5,981,501; 6,534,484; and 6,852,334;
      U.S. Patent Publication No. 20020072121; and PCT Publication No. WO 00/62813, the
      disclosures of which are herein incorporated by reference in their entirety for all purposes.

                                                      80


                                                                                                JA001904
                                                                                                GE NV-00004066
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 619 of 1274 PageID #: 8925



     VII.     Kits

     [0304]    The present invention also provides lipid particles (e.g., SNALP) in kit form. The
     kit may comprise a container which is compartmentalized for holding the various elements of
     the lipid particles (e.g., the active agents or therapeutic agents such as nucleic acids and the
5    individual lipid components of the particles). In some embodiments, the kit may further
     comprise an endosomal membrane destabilizer (e.g., calcium ions). The kit typically
     contains the lipid particle compositions of the present invention, preferably in dehydrated
     form, with instructions for their rehydration and administration.
     [0305]    As explained herein, the lipid particles of the invention (e.g., SN ALP) can be
10   tailored to preferentially target particular tissues, organs, or tumors of interest. In certain
     instances, preferential targeting of lipid particles such as SN ALP may be carried out by
     controlling the composition of the particle itself. For instance, as set forth in Example 11, it
     has been found that the 1 :57 PEG-cDSA SN ALP formulation can be used to preferentially
     target tumors outside of the liver, whereas the 1:57 PEG-cDMA SNALP formulation can be
15   used to preferentially target the liver (including liver tumors).
     [0306]     In certain other instances, it may be desirable to have a targeting moiety attached to
     the surface of the lipid particle to further enhance the targeting of the particle. Methods of
     attaching targeting moieties (e.g., antibodies, proteins, etc.) to lipids (such as those used in
     the present particles) are known to those of skill in the art.

20   VII.     Administration of Lipid Particles

     [0307]     Once formed, the lipid particles of the invention (e.g., SN ALP) are useful for the
     introduction of active agents or therapeutic agents (e.g., nucleic acids such as interfering
     RNA) into cells. Accordingly, the present invention also provides methods for introducing
     an active agent or therapeutic agent such as a nucleic acid (e.g., interfering RNA) into a cell.
25   The methods are carried out in vitro or in vivo by first forming the particles as described
     above and then contacting the particles with the cells for a period of time sufficient for
     delivery of the active agent or therapeutic agent to the cells to occur.
     [0308]     The lipid particles of the invention (e.g., SNALP) can be adsorbed to almost any
     cell type with which they are mixed or contacted. Once adsorbed, the particles can either be
30   endocytosed by a portion of the cells, exchange lipids with cell membranes, or fuse with the
     cells. Transfer or incorporation of the active agent or therapeutic agent (e.g., nucleic acid)
     portion of the particle can take place via any one of these pathways. In particular, when



                                                       81


                                                                                                JA001905
                                                                                                GE NV-00004067
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 620 of 1274 PageID #: 8926



     fusion takes place, the particle membrane is integrated into the cell membrane and the
     contents of the particle combine with the intracellular fluid.
     [0309]   The lipid particles of the invention (e.g., SNALP) can be administered either alone
     or in a mixture with a pharmaceutically-acceptab le carrier (e.g., physiological saline or
5    phosphate buffer) selected in accordance with the route of administration and standard
     pharmaceutical practice. Generally, normal buffered saline (e.g., 135-150 mM NaCl) will be
     employed as the pharmaceutically-acceptab le carrier. Other suitable carriers include, e.g.,
     water, buffered water, 0.4% saline, 0.3% glycine, and the like, including glycoproteins for
     enhanced stability, such as albumin, lipoprotein, globulin, etc. Additional suitable carriers
10   are described in, e.g., REMINGTON'S PHARMACEUTICAL SCIENCES, Mack Publishing
     Company, Philadelphia, PA, 17th ed. (1985). As used herein, "carrier" includes any and all
     solvents, dispersion media, vehicles, coatings, diluents, antibacterial and antifungal agents,
     isotonic and absorption delaying agents, buffers, carrier solutions, suspensions, colloids, and
     the like. The phrase "pharmaceutically-accepta ble" refers to molecular entities and
15   compositions that do not produce an allergic or similar untoward reaction when administered
     to a human.
     [0310]    The pharmaceutically-acceptab le carrier is generally added following particle
     formation. Thus, after the particle is formed, the particle can be diluted into
     pharmaceutically-acceptab le carriers such as normal buffered saline.
20   [0311]    The concentration of particles in the pharmaceutical formulations can vary widely,
     i.e., from less than about 0.05%, usually at or at least about 2 to 5%, to as much as about ] 0
     to 90% by weight, and will be selected primarily by fluid volumes, viscosities, etc., in
     accordance with the particular mode of administration selected. For example, the
     concentration may be increased to lower the fluid load associated with treatment. This may
25   be particularly desirable in patients having atherosclerosis-associated congestive heart failure
     or severe hypertension. Alternatively, particles composed of irritating lipids may be diluted
     to low concentrations to lessen inflammation at the site of administration.
     [0312]    The pharmaceutical compositions of the present invention may be sterilized by
     conventional, well-known sterilization techniques. Aqueous solutions can be packaged for
30   use or filtered under aseptic conditions and lyophilized, the lyophilized preparation being
     combined with a sterile aqueous solution prior to administration. The compositions can
     contain pharmaceutically-acceptab le auxiliary substances as required to approximate
     physiological conditions, such as pH adjusting and buffering agents, tonicity adjusting agents
      and the like, for example, sodium acetate, sodium lactate, sodium chloride, potassium


                                                      82


                                                                                              JA001906
                                                                                              GE NV-00004068
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 621 of 1274 PageID #: 8927



     chloride, and calcium chloride. Additionall y, the particle suspension may include lipid-
     protective agents which protect lipids against free-radica l and lipid-perox idative damages on
     storage. Lipophilic free-radica l quenchers, such as alphatocop herol and water-solub le iron-
     specific chelators, such as ferrioxamin e, are suitable.

5              A.    In vivo Administr ation

     [0313]     Systemic delivery for in vivo therapy, e.g., delivery of a therapeutic nucleic acid to a
     distal target cell via body systems such as the circulation , has been achieved using nucleic
     acid-lipid particles such as those described in PCT Publication Nos. WO 05/007196, WO
     05/121348, WO 05/120152, and WO 04/002453 , the disclosures of which are herein
10   incorporate d by reference in their entirety for all purposes. The present invention also
     provides fully encapsulate d lipid particles that protect the nucleic acid from nuclease
     degradatio n in serum, are nonimmun ogenic, are small in size, and are suitable for repeat
     dosing.
     [0314]     For in vivo administrat ion, administrat ion can be in any manner known in the art,
15   e.g., by injection, oral administrat ion, inhalation (e.g., intransal or intratrachea l), transderma l
     application , or rectal administrat ion. Administra tion can be accomplish ed via single or
     divided doses. The pharmaceu tical compositio ns can be administere d parenterall y, i.e.,
     intraarticul arly, intravenou sly, intraperiton eally, subcutaneo usly, or intramuscu larly. In some
     embodimen ts, the pharmaceu tical compositio ns are administere d intravenou sly or
20    intraperiton eally by a bolus injection (see, e.g., U.S. Patent No. 5,286,634) . Intracellula r
      nucleic acid delivery has also been discussed in Straubringe r et al., Methods Enzymol.,
      101:512 (1983); Mannino et al., Biotechniq ues, 6:682 (1988); Nicolau et al., Crit. Rev. Ther.
      Drug Carrier Syst., 6:239 (1989); and Behr, Acc. Chem. Res., 26:274 (1993). Still other
      methods of administeri ng lipid-based therapeutic s are described in, for example, U.S. Patent
25    Nos. 3,993,754; 4,145,410; 4,235,871; 4,224,179; 4,522,803; and 4,588,578. The lipid
      particles can be administere d by direct injection at the site of disease or by injection at a site
      distal from the site of disease (see, e.g., Culver, HUMAN GENE THERAPY , Mary Ann
      Liebert, Inc., Publishers, New York. pp.70-71(1 994)). The disclosures of the above-
      described references are herein incorporate d by reference in their entirety for all purposes.
30    [0315]    The compositio ns of the present invention, either alone or in combinatio n with other
      suitable component s, can be made into aerosol formulation s (i.e., they can be "nebulized ") to
      be administer ed via inhalation (e.g., intranasally or intratrachea lly) (see, Brigham et al., Am.




                                                        83


                                                                                                   JA001907
                                                                                                  GE NV-0000 4069
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 622 of 1274 PageID #: 8928



     J Sci., 298:278 (1989)). Aerosol formulations can be placed into pressurized acceptable
     propellants. such as dichlorodifluorom ethane, propane, nitrogen, and the like.
     [0316]   In certain embodiments, the pharmaceutical compositions may be delivered by
     intranasal sprays, inhalation, and/or other aerosol delivery vehicles. Methods for delivering
5    nucleic acid compositions directly to the lungs via nasal aerosol sprays have been described,
     e.g., in U.S. Patent Nos. 5,756,353 and 5,804,212. Likewise, the delivery of drugs using
     intranasal microparticle resins and lysophosphatidyl- glycerol compounds (U.S. Patent
     5,725,871) are also well-known in the pharmaceutical arts. Similarly, transmucosal drug
     delivery in the form of a polytetrafluoroeth eylene support matrix is described in U.S. Patent
10   No. 5,780,045. The disclosures of the above-described patents are herein incorporated by
     reference in their entirety for all purposes.
     [0317]    Formulations suitable for parenteral administration, such as, for example, by
     intraarticular (in the joints), intravenous, intramuscular, intradermal, intraperitoneal, and
     subcutaneous routes, include aqueous and non-aqueous, isotonic sterile injection solutions,
15   which can contain antioxidants, buffers, bacteriostats, and solutes that render the formulation
     isotonic with the blood of the intended recipient, and aqueous and non-aqueous sterile
     suspensions that can include suspending agents, solubilizers, thickening agents, stabilizers,
     and preservatives. In the practice of this invention, compositions are preferably administered,
     for example, by intravenous infusion, orally, topically, intraperitoneally, intravesically, or
20   intrathecally.
     [0318]    Generally, when administered intravenously, the lipid particle formulations are
     formulated with a suitable pharmaceutical carrier. Many pharmaceutically acceptable caniers
     may be employed in the compositions and methods of the present invention. Suitable
     formulations for use in the present invention are found, for example, in REMINGTON'S
25   PHARMACEUTI CAL SCIENCES, Mack Publishing Company, Philadelphia, PA, 17th ed.
     (1985). A variety of aqueous carriers may be used, for example, water, buffered water, 0.4%
     saline, 0.3% glycine, and the like, and may include glycoproteins for enhanced stability, such
     as albumin, lipoprotein, globulin, etc. Generally, normal buffered saline (135-150 mM NaCl)
     will be employed as the pharmaceutically acceptable carrier, but other suitable carriers will
30   suffice. These compositions can be sterilized by conventional liposomal sterilization
     techniques, such as filtration. The compositions may contain pharmaceutically acceptable
     auxiliary substances as required to approximate physiological conditions, such as pH
      adjusting and buffering agents, tonicity adjusting agents, wetting agents and the like, for
      example, sodium acetate, sodium lactate, sodium chloride, potassium chloride, calcium


                                                      84


                                                                                               JA001908
                                                                                              GENV-00004070
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 623 of 1274 PageID #: 8929



     chloride, sorbitan monolaurate, triethanolamine oleate, etc. These compositions can be
     sterilized using the techniques referred to above or, alternatively, they can be produced under
     sterile conditions. The resulting aqueous solutions may be packaged for use or filtered under
     aseptic conditions and lyophilized, the lyophilized preparation being combined with a sterile
5    aqueous solution prior to administration.
     [0319]    In certain applications, the lipid particles disclosed herein may be delivered via oral
     administration to the individual. The particles may be incorporated with excipients and used
     in the form of ingestible tablets, buccal tablets, troches, capsules, pills, lozenges, elixirs,
     mouthwash, suspensions, oral sprays, syrups, wafers, and the like (see, e.g., U.S. Patent Nos.
10   5,641,515, 5,580,579, and 5,792,451, the disclosures of which are herein incorporated by
     reference in their entirety for all purposes). These oral dosage forms may also contain the
     following: binders, gelatin; excipients, lubricants, and/or flavoring agents. When the unit
     dosage form is a capsule, it may contain, in addition to the materials described above, a liquid
     carrier. Various other materials may be present as coatings or to otherwise modify the
15   physical form of the dosage unit. Of course, any material used in preparing any unit dosage
     form should be pharmaceutically pure and substantially non-toxic in the amounts employed.
     [0320]    Typically, these oral formulations may contain at least about 0.1 % of the lipid
     particles or more, although the percentage of the particles may, of course, be varied and may
     conveniently be between about 1% or 2% and about 60% or 70% or more of the weight or
20   volume of the total formulation. Naturally, the amount of particles in each therapeutically
     useful composition may be prepared is such a way that a suitable dosage will be obtained in
     any given unit dose of the compound. Factors such as solubility, bioavailability, biological
     half-life, route of administration, product shelf life, as well as other pharmacological
     considerations will be contemplated by one skilled in the art of preparing such
25   pharmaceutical formulations, and as such, a variety of dosages and treatment regimens may
     be desirable.
     [0321]    Formulations suitable for oral administration can consist of: (a) liquid solutions,
     such as an effective amount of a packaged therapeutic agent such as nucleic acid (e.g.,
     interfering RNA) suspended in diluents such as water, saline, or PEG 400; (b) capsules,
30   sachets, or tablets, each containing a predetermined amount of a therapeutic agent such as
     nucleic acid (e.g., interfering RNA), as liquids, solids, granules, or gelatin; (c) suspensions in
     an appropriate liquid; and ( d) suitable emulsions. Tablet forms can include one or more of
     lactose, sucrose, mannitol, sorbitol, calcium phosphates, com starch, potato starch,
     microcrystalline cellulose, gelatin, colloidal silicon dioxide, talc, magnesium stearate, stearic

                                                       85


                                                                                                 JA001909
                                                                                                 GE NV-00004071
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 624 of 1274 PageID #: 8930



     acid, and other excipients, colorants, fillers, binders, diluents, buffering agents, moistening
     agents, preservatives, flavoring agents, dyes, disintegrating agents, and pharmaceutically
     compatible carriers. Lozenge forms can comprise a therapeutic agent such as nucleic acid
     (e.g., interfering RNA) in a flavor, e.g., sucrose, as well as pastilles comprising the
5    therapeutic agent in an inert base, such as gelatin and glycerin or sucrose and acacia
     emulsions, gels, and the like containing, in addition to the therapeutic agent, carriers known
     in the art.
     [0322]        In another example of their use, lipid particles can be incorporated into a broad
     range of topical dosage forms. For instance, a suspension containing nucleic acid-lipid
10   particles such as SNALP can be formulated and administered as gels, oils, emulsions, topical
     creams, pastes, ointments, lotions, foams, mousses, and the like.
     [0323]        When preparing pharmaceutical preparations of the lipid particles of the invention,
     it is preferable to use quantities of the particles which have been purified to reduce or
     eliminate empty particles or particles with therapeutic agents such as nucleic acid associated
15   with the external surface.
     [0324]        The methods of the present invention may be practiced in a variety of hosts.
     Preferred hosts include mammalian species, such as primates (e.g., humans and chimpanzees
     as well as other nonhuman primates), canines, felines, equines, bovines, ovines, caprines,
     rodents (e.g., rats and mice), lagomorphs, and swine.
20   [0325]        The amount of particles administered will depend upon the ratio of therapeutic
     agent (e.g., nucleic acid) to lipid, the particular therapeutic agent (e.g., nucleic acid) used, the
     disease or disorder being treated, the age, weight, and condition of the patient, and the
     judgment of the clinician, but will generally be between about 0.01 and about 50 mg per
     kilogram of body weight, preferably between about 0.1 and about 5 mg/kg of body weight, or
25   about 10 8-10 10 particles per administration (e.g., injection).

              B.         In vitro Administration

     [0326]        For in vitro applications, the delivery of therapeutic agents such as nucleic acids
     (e.g., interfering RNA) can be to any cell grown in culture, whether of plant or animal origin,
     vertebrate or invertebrate, and of any tissue or type. In preferred embodiments, the cells are
30   animal cells, more preferably mammalian cells, and most preferably human cells.
     [0327]        Contact between the cells and the lipid particles, when carried out in vitro, takes
     place in a biologically compatible medium. The concentration of particles varies widely
     depending on the particular application, but is generally between about l µmol and about l 0


                                                         86


                                                                                                  JA001910
                                                                                                  GE NV-00004072
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 625 of 1274 PageID #: 8931



     mmol. Treatment of the cells with the lipid particles is generally can-ied out at physiological
     temperatures (about 37°C) for periods of time of from about 1 to 48 hours, preferably of from
     about 2 to 4 hours.
     [0328]    In one group of preferred embodiments, a lipid particle suspension is added to 60-
                                                                         3             5
5    80% confluent plated cells having a cell density of from about l 0 to about 10 cells/ml, more
                             4
     preferably about 2 x 10 cells/ml. The concentration of the suspension added to the cells is
     preferably of from about 0.01 to 0.2 µg/ml, more preferably about 0.1 µg/ml.
     [0329]    Using an Endosomal Release Parameter (ERP) assay, the delivery efficiency of the
     SNALP or other lipid particle of the invention can be optimized. An ERP assay is described
10   in detail in U.S. Patent Publication No. 20030077829, the disclosure of which is herein
     incorporated by reference in its entirety for all purposes. More particularly, the purpose of an
     ERP assay is to distinguish the effect of various cationic lipids and helper lipid components
     of SNALP based on their relative effect on binding/uptake or fusion with/destabilization of
     the endosomal membrane. This assay allows one to determine quantitatively how each
15   component of the SNALP or other lipid particle affects delivery efficiency, thereby
     optimizing the SNALP or other lipid particle. Usually, an ERP assay measures expression of
     a reporter protein (e.g., luciferase, ~-galactosidase, green fluorescent protein (GFP), etc.), and
     in some instances, a SNALP formulation optimized for an expression plasmid will also be
     appropriate for encapsulating an interfering RNA. In other instances, an ERP assay can be
20   adapted to measure downregulation of transcription or translation of a target sequence in the
     presence or absence of an interfering RNA (e.g., siRNA). By comparing the ERPs for each
     of the various SN ALP or other lipid particles, one can readily determine the optimized
     system, e.g., the SNALP or other lipid particle that has the greatest uptake in the cell.

              C.     Cells for Delivery of Lipid Particles

25   [0330]    The compositions and methods of the present invention are used to treat a wide
     variety of cell types, in vivo and in vitro. Suitable cells include, e.g., hematopoietic precursor
     (stem) cells, fibroblasts, keratinocytes, hepatocytes, endothelial cells, skeletal and smooth
     muscle cells, osteoblasts, neurons, quiescent lymphocytes, terminally differentiated cells,
     slow or noncycling primary cells, parenchymal cells, lymphoid cells, epithelial cells, bone
30   cells, and the like. In preferred embodiments, an active agent or therapeutic agent such as an
     interfering RNA (e.g., siRNA) is delivered to cancer cells such as, e.g., lung cancer cells,
     colon cancer cells, rectal cancer cells, anal cancer cells, bile duct cancer cells, small intestine
     cancer cells, stomach (gastric) cancer cells, esophageal cancer cells, gallbladder cancer cells,


                                                      87


                                                                                                 JA001911
                                                                                               GE NV-00004073
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 626 of 1274 PageID #: 8932



     liver cancer cells, pancreatic cancer cells, appendix cancer cells, breast cancer cells, ovarian
     cancer cells, cervical cancer cells, prostate cancer cells, renal cancer cells, cancer cells of the
     central nervous system, glioblastoma tumor cells, skin cancer cells, lymphoma cells,
     choriocarcinoma tumor cells, head and neck cancer cells, osteogenic sarcoma tumor cells,
5    and blood cancer cells.
     [0331]     In vivo delivery of lipid particles such as SNALP encapsulating an interfering RNA
     (e.g., siRNA) is suited for targeting cells of any cell type. The methods and compositions can
     be employed with cells of a wide variety of vertebrates, including mammals, such as, e.g,
     canines, felines, equines, bovines, ovines, caprines, rodents (e.g., mice, rats, and guinea pigs),
10   lagomorphs, swine, and primates (e.g. monkeys, chimpanzees, and humans).
     [0332]     To the extent that tissue culture of cells may be required, it is well-known in the art.
     For example, Freshney, Culture of Animal Cells, a Manual of Basic Technique, 3rd Ed.,
     Wiley-Liss, New York (1994), Kuchler et al., Biochemical Methods in Cell Culture and
     Virology, Dowden, Hutchinson and Ross, Inc. (1977), and the references cited therein
15   provide a general guide to the culture of cells. Cultured cell systems often will be in the form
     of monolayers of cells, although cell suspensions are also used.

               D.     Detection of Lipid Particles

     [0333]     rn some embodiments, the lipid particles of the present invention (e.g., SNALP) are
     detectable in the subject at about 1, 2, 3, 4, 5, 6, 7, 8 or more hours. In other embodiments,
20   the lipid particles of the present invention (e.g., SNALP) are detectable in the subject at about
     8, 12, 24, 48, 60, 72, or 96 hours, or about 6, 8, 10, 12, 14, 16, 18, 19, 22, 24, 25, or 28 days
     after administration of the particles. The presence of the particles can be detected in the cells,
     tissues, or other biological samples from the subject. The particles may be detected, e.g., by
     direct detection of the particles, detection of a therapeutic nucleic acid such as an interfering
25   RNA (e.g., siRNA) sequence, detection of the target sequence of interest (i.e., by detecting
     expression or reduced expression of the sequence of interest), or a combination thereof.

                      1.       Detection of Particles

      [0334]    Lipid particles of the invention such as SN ALP can be detected using any method
     known in the art. For example, a label can be coupled directly or indirectly to a component
30   of the lipid particle using methods well-known in the art. A wide variety of labels can be
     used, with the choice of label depending on sensitivity required, ease of conjugation with the
     lipid particle component, stability requirements, and available instrumentation and disposal



                                                        88


                                                                                                 JA001912
                                                                                                GENV-000040 7 4
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 627 of 1274 PageID #: 8933



     provisions. Suitable labels include, but are not limited to, spectral labels such as fluorescent
     dyes (e.g., fluoresccin and derivatives, such as fluorescein isothiocyanate (FITC) and Oregon
     Green™; rhodamine and derivatives such Texas red, tetrarhodimine isothiocynate (TRITC),
     etc., digoxigenin, biotin, phycoerythrin, AMCA, CyDyes™, and the like; radiolabels such as
                                                                    .         .          .
5    3H 12s
       ,      1, 3ss , 14c, 32P, 33p , etc.; enzymes such as horse radish peroxidase, alkalme
     phosphatase, etc.; spectral colorimetric labels such as colloidal gold or colored glass or
     plastic beads such as polystyrene, polypropylene, latex, etc. The label can be detected using
     any means known in the art.

                       2.      Detection of Nucleic Acids

10   [0335]      Nucleic acids (e.g., interfering RNA) are detected and quantified herein by any of a
     number of means well-known to those of skill in the art. The detection of nucleic acids may
     proceed by well-known methods such as Southern analysis, Northern analysis, gel
     electrophoresis, PCR, radiolabeling, scintillation counting, and affinity chromatography.
     Additional analytic biochemical methods such as spectrophotometry , radiography,
15   electrophoresis, capillary electrophoresis, high perfonnance liquid chromatography (HPLC),
     thin layer chromatography (TLC), and hyperdiffusion chromatography may also be
     employed.
     [0336]      The selection of a nucleic acid hybridization format is not critical. A variety of
     nucleic acid hybridization formats are known to those skilled in the art. For example,
20   common formats include sandwich assays and competition or displacement assays.
     Hybridization techniques are generally described in, e.g., "Nucleic Acid Hybridization, A
     Practical Approach," Eds. Hames and Higgins, IRL Press (1985).
     [0337]      The sensitivity of the hybridization assays may be enhanced through use of a
     nucleic acid amplification system which multiplies the target nucleic acid being detected. In
25   vitro amplification techniques suitable for amplifying sequences for use as molecular probes
     or for generating nucleic acid fragments for subsequent subcloning are known. Examples of
     techniques sufficient to direct persons of skill through such in vitro amplification methods,
     including the polymerase chain reaction (PCR) the ligase chain reaction (LCR), Q~-replicase
     amplification and other RNA polymerase mediated techniques (e.g., NASBA ™) are found in
30   Sambrook et al., In Molecular Cloning: A Laboratory Manual, Cold Spring Harbor
     Laboratory Press (2000); and Ausubel et al., SHORT PROTOCOLS IN MOLECULAR BIOLOGY,
     eds., Current Protocols, Greene Publishing Associates, Inc. and John Wiley & Sons, Inc.
      (2002); as well as U.S. Patent No. 4,683,202; PCR Protocols, A Guide to Methods and


                                                        89


                                                                                                JA001913
                                                                                                GE NV-0000407 5
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 628 of 1274 PageID #: 8934



     Applications (Innis et al. eds.) Academic Press Inc. San Diego, CA (1990); Amheim &
     Levinson (October 1, 1990), C&EN 36; The Journal Of NIH Research, 3:81 (1991); Kwoh et
     al., Proc. Natl. Acad. Sci. USA, 86:1173 (1989); Guatelli et al., Proc. Natl. Acad. Sci. USA,
     87:1874 (1990); Lomell et al., J Clin. Chem., 35:1826 (1989); Landegren et al., Science,
 5   241:1077 (1988); Van Brunt, Biotechnology, 8:291 (1990); Wu and Wallace, Gene, 4:560
     (1989); Barringer et al., Gene, 89: 117 (1990); and Sooknanan and Malek, Biotechnology,
     13 :563 (1995). Improved methods of cloning in vitro amplified nucleic acids are described in
     U.S. Pat. No. 5,426,039. Other methods described in the art are the nucleic acid sequence
     based amplification (NASBA™, Cangene, Mississauga, Ontario) and Q~-replicase systems.
10   These systems can be used to directly identify mutants where the PCR or LCR primers are
     designed to be extended or ligated only when a select sequence is present. Alternatively, the
     select sequences can be generally amplified using, for example, nonspecific PCR primers and
     the amplified target region later probed for a specific sequence indicative of a mutation. The
     disclosures of the above-described references are herein incorporated by reference in their
15   entirety for all purposes.
     [0338]    Nucleic acids for use as probes, e.g., in in vitro amplification methods, for use as
     gene probes, or as inhibitor components are typically synthesized chemically according to the
     solid phase phosphoramidite triester method described by Beaucage et al., Tetrahedron
     Letts., 22:1859 1862 (1981), e.g., using an automated synthesizer, as described in Needham
20   VanDevanter et al., Nucleic Acids Res., 12:6159 (1984). Purification ofploynucleotides,
     where necessary, is typically performed by either native acrylamide gel electrophoresis or by
     anion exchange HPLC as described in Pearson et al., J Chrom., 255: 137 149 (1983). The
     sequence of the synthetic poluyucleotides can be verified using the chemical degradation
     method of Maxam and Gilbert (1980) in Grossman and Moldave (eds.) Academic Press, New
25   York, Methods in Enzymology, 65:499.
     [0339]    An alternative means for determining the level of transcription is in situ
     hybridization. In situ hybridization assays are well-known and are generally described in
     Angerer et al., Methods Enzymol., 152:649 (1987). In an in situ hybridization assay, cells are
     fixed to a solid support, typically a glass slide. If DNA is to be probed, the cells are
30   denatured with heat or alkali. The cells are then contacted with a hybridization solution at a
     moderate temperature to permit annealing of specific probes that are labeled. The probes are
     preferably labeled with radioisotopes or fluorescent reporters.




                                                     90


                                                                                                JA001914
                                                                                                GE NV-00004076
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 629 of 1274 PageID #: 8935



     VIII.      Examples

     [0340]      The present invention will be described in greater detail by way of specific
     examples. The following examples are offered for illustrative purposes, and are not intended
     to limit the invention in any manner. Those of skill in the art will readily recognize a variety
5    of noncritical parameters which can be changed or modified to yield essentially the same
     results.

     Example 1.       Materials and Methods.
     [0341]      siRNA: All siRNA molecules used in these studies were chemically synthesized by
     the University of Calgary (Calgary, AB) or Dharmacon Inc. (Lafayette, CO). The siRNAs
10   were desalted and annealed using standard procedures.
     [0342]      Lipid Encapsulation of siRNA: In some embodiments, siRNA molecules were
     encapsulated into nucleic acid-lipid particles composed of the following lipids: the lipid
     conjugate PEG-cDMA (3-N-[(-Methoxyp oly( ethylene glycol)2000)carba moyl]-l ,2-
     dimyristyloxyprop ylamine); the cationic lipid DLinDMA (l,2-Dilinoleyloxy -3-(N,N-
15   dimethyl)aminopr opane); the phospholipid DPPC (l,2-Dipalmitoyl-s n-glycero-3-
     phosphocholine; Avanti Polar Lipids; Alabaster, AL); and synthetic cholesterol (Sigma-
     Aldrich Corp.; St. Louis, MO) in the molar ratio 1.4:57.1 :7.1 :34.3, respectively. In other
     words, siRNAs were encapsulated into SNALP of the following "1:57" formulation: 1.4%
     PEG-cDMA; 57.1 % DLinDMA; 7.1 % DPPC; and 34.3% cholesterol. In other embodiments,
20   siRNA molecules were encapsulated into phospholipid-free SNALP composed of the
     following lipids: the lipid conjugate PEG-cDMA; the cationic lipid DLinDMA; and synthetic
     cholesterol in the molar ratio 1.5:61.5:36.9, respectively. In other words, siRNAs were
     encapsulated into phospholipid-free SNALP of the following "l :62" formulation: 1.5%
     PEG-cDMA; 61.5% DLinDMA; and 36.9% cholesterol. For vehicle controls, empty
25   particles with identical lipid composition were formed in the absence of siRNA. It should be
     understood that the 1: 5 7 formulation and 1: 62 formulation are target formulations, and that
     the amount of lipid (both cationic and non-cationic) present and the amount of lipid conjugate
     present in the formulation may vary. Typically, in the 1 :57 formulation, the amount of
      cationic lipid will be 57 mol % ± 5 mol %, and the amount of lipid conjugate will be 1.5 mol
30    % ± 0.5 mol %, with the balance of the 1 :57 formulation being made up of non-cationic lipid
      (e.g., phospholipid, cholesterol, or a mixture of the two). Similarly, in the 1 :62 formulation,
      the amount of cationic lipid will be 62 mol % ± 5 mol %, and the amount of lipid conjugate




                                                       91


                                                                                                JA001915
                                                                                                GE NV-00004077
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 630 of 1274 PageID #: 8936



     will be 1.5 mol % ± 0.5 mol %, with the balance of the 1 :62 formulation being made up of
     the non-cationic lipid (e.g., cholesterol).

     Example 2.       Eg5 siRNA Formulated as 1:57 SNALP Are Potent Inhibitors of Cell
     Growth in vitro.
5    [0343]     SNALP formulations were prepared with an siRNA targeting Eg5 as the nucleic
     acid component. Eg5 is a member of kinesin-related proteins that are involved in functions
     related to movements of organelles, microtubules, or chromosomes along microtubules.
     These functions include axonal transport, microtubule sliding during nuclear fusion or
     division, and chromosome disjunction during meiosis and early mitosis. Eg5 plays a critical
10   role in mitosis of mammalian cells. The Eg5 siRNA used in this study is provided in Table 1.
     The modifications involved introducing 2'OMe-uridine at selected positions in the sense and
     antisense strands of the Eg5 2263 siRNA sequence, in which the siRNA duplex contained
     less than about 20% 2'OMe-modified nucleotides.

     Table 1. siRNA duplex comprising sense and antisense Eg5 RNA polynucleotides.

      Modification                Eg5 2263 siRNA sequence                      %2'0Me-          % Modified in
                                                                               Modified          DS Region
          U/U                 5'-CUGAAGACCUGAAGACAAUdTdT-3'
                                   -      -       -                           6/42 = 14.3%       6/38 = 15.8%
                         3'-dTdTGACQUC~GGACQUCUGUUA-5'
15   Column l: "U/U" = 2'0Me-uridine modified siRNA duplex; Column 2: 2'0Me-mod1fied nucleotides are
     indicated in bold and underlined. The siRNA duplex can alternatively or additionally comprise 2'-deoxy-2'-
     fluoro (2'F) nucleotides, 2'-deoxy nucleotides, 2'-0-(2-methoxyethyl) (MOE) nucleotides, and/or locked
     nucleic acid (LNA) nucleotides. "dT" = deoxythymidine. Column 3: The number and percentage of2'0Me-
     modified nucleotides in the siRNA duplex are provided. Column 4: The number and percentage of modified
20   nucleotides in the double-stranded (DS) region of the siRNA duplex are provided.

     [0344]     The lipid components and physical characteristics of the SNALP formulations are
     summarized in Table 2. The lipid:drug ratio is described in units of mg total lipid per mg
     nucleic acid. Mean particle size and polydispersity were measured on a Malvern Instruments
     Zetasizer. Encapsulation of nucleic acid was measured using a Ribogreen assay essentially as
25   described in Heyes et al., Journal a/Controlled Release, 107:276-287 (2005).




30


                                                          92


                                                                                                       JA001916
                                                                                                       GENV-00004078
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 631 of 1274 PageID #: 8937



     Table 2. Characteristics of the SNALP formulations used in this study.

       Sample         Formulation Composition, Mole %             Lipid/Drug           Finished Product Characterization
                PEG( 2000)-C-DMA I DLinDMA I DPPC I Cholesterol      Ratio     Size (nm)        Polydispersity   % Encapsulation
         No.
          1                      2140110 148                         12.4         57                 0.07                  90

          2                  1.81 36.4118.2143.6                     14.0         72                 0.12                  89

          3                  1.4 I 27.0 I 6.8 164.9                  16.5         70                 0.12                  92

          4                  1.3125.3112.7160.8                      18.1         76                 0.07                  93

          5                  3.9 I 39.2 I 9.8 I 47.1                 13.5         53                 0.27                  86

          6                  3.6 I 35.7 117.9 142.9                  15.1         58                 0.18                  87

          7                  2.7 I 26.7 I 6.7 I 64.0                 17.6         56                 0.17                  92

          8                  2.5 I 25.0 I 12.5 I 60.0                19.2         61                 0.13                  92

          9                   1.4157.117.1134.3                      17.8         84                 0.10                  88

         10                  1.31 53.3113.3132.0                     19.5         83                 0.10                  89

         11                   1.1142.615.3151.1                      22.0         80                 0.10                  93

         12                  1.0 I 40.4 110.1 I 48.5                 23.6         78                 0.11                  88

         13                   2.8 I 56.3 I 7.0 I 33.8                19.0         62                 0.14                  80

         14                  2.61 52.6113.2131.6                     20.6         66                  0.14                 82

         15                   2.1 I 42 .1 I 5.3 I 50.5               23.1         71                  0.16                 91

         16                      2140110148                          24.7         67                  0.14                 92




     [0345]     Silencing ofEg5 by siRNA transfection causes mitotic arrest and apoptosis in
5    mammalian cells. Cell viability following transfection with SNALP containing an siRNA
     targeting Eg5 therefore provides a simple biological readout of in vitro transfection
     efficiency. Cell viability of in vitro cell cultures was assessed using the commercial reagent
     CellTiter-Blue® (Promega Corp.; Madison, WI), a resazurin dye that is reduced by
     metabolically active cells to the flourogenic product resorufin. The human colon cancer cell
10   line HT29 was cultured using standard tissue culture techniques. 72 hours after SNALP
     application, CellTiter-Blue® reagent was added to the culture to quantify the metabolic
     activity of the cells, which is a measure of cell viability. Data are presented as a percent of
     cell viability relative to ("untreated") control cells that received phosphate buffered saline
     (PBS) vehicle only.

15   [0346]     Figure 1 shows that the 1:57 SNALP formulation containing Eg5 2263 U/U siRNA
     was among the most potent inhibitors of tumor cell growth at all siRNA concentrations tested
     (see, Figure lB, Sample 9).

     Example 3.          ApoB siRNA Formulated as 1:57 SNALP Have Potent Silencing Activity
     in vivo.
20   [03471      SNALP formulations were prepared with an siRNA targeting apolipoprotein B
     (ApoB) as the nucleic acid component. ApoB is the main apolipoprotein of chylomicrons
     and low density lipoproteins (LDL). Mutations in ApoB are associated with


                                                                     93


                                                                                                                            JA001917
                                                                                                                           GE NV-00004079
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 632 of 1274 PageID #: 8938



     hypercholeste rolemia. ApoB occurs in the plasma in 2 main forms, ApoB48 and ApoB 100,
     which are synthesized in the intestine and liver, respectively, due to an organ-specific stop
     codon. The ApoB siRNA used in this study is provided in Table 3. The modifications
     involved introducing 2'OMe-uridin e or 2'OMe-guano sine at selected positions in the sense
5    and antisense strands of the ApoB siRNA sequence, in which the siRNA duplex contained
     less than about 20% 2'OMe-modif ied nucleotides.

     Table 3. siRNA duplex comprising sense and antisense ApoB RNA polynucleotid es.

     Position    Modification                  ApoB siRNA sequence                        °/4, 2'0Me-         % Modified in
                                                                                            Modified           DS Region
                                                                       ACC-3'                            7/38 = 18.4%
       10048       U2/2 Gl/2           5'-AGUGUCAU
                                               -      - CACACUGAAU
                                                               -                     7/42 = 16.7%
                                    3'-GUUCACAGU
                                           -         AGUGUGACUU
                                                          -  -   --
                                                                      AU-5'
     Column 1: The number refers to the nucleotide position of the 5' base of the sense strand relative to the mouse
     ApoB mRNA sequence XM_l37955. Column 2: The numbers refer to the distribution of2'OMe chemical
10   modifications in each strand. Column 3: 2'OMe-modified nucleotides are indicated in bold and underlined. The
     siRNA duplex can alternatively or additionally comprise 2'-deoxy-2'-fluo ro (2'F) nucleotides, 2'-deoxy
     nucleotides, 2'-O-(2-methoxy ethyl) (MOE) nucleotides, and/or locked nucleic acid (LNA) nucleotides. Column 4:
     The number and percentage of2'OMe-modif ied nucleotides in the siRNA duplex are provided. Column 5: The
     number and percentage of modified nucleotides in the double-stranded (DS) region of the siRNA duplex are
15   provided.


      [0348]      The lipid components and physical characteristic s of the formulations are
      summarized in Table 4. The lipid:drug ratio is described in units of mg total lipid per mg
      nucleic acid. Mean particle size and polydispersity were measured on a Malvern Instruments
      Zetasizer. Encapsulation of nucleic acid was measured using a Ribogreen assay essentially as
20    described in Heyes et al., Journal of Controlled Release, 107:276-287 (2005).

      Table 4. Characteristic s of the SNALP formulations used in this study.

                                                                 Lipid/Drug            Finished Product Characterization
                           Formulation Composition
      Group                                                         Ratio
                            Lipid Name & Mole%                                Size (nm)      Polydispersity    % Encapsulation
                PEG(2000)-C-DMA I DLinDMA I DPPC I Cholesterol        12.4       59               0.15                93
        2
                2140110 /48
                PEG(2000)-C-DMA I DLinDMA I Cholesterol               10.7       55               0.17                91
         3
                2.2 144.4 I 53.3
                PEG(2000)-C-DMA I DLinDMA I DOPC I Cholesterol        12.5       59               0.16                92
         4
                2140110148
                PEG(2000)-C-DMA I DLinDMA I DMPC I Cholesterol        12.2       56               0.11                92
         5
                2140110 I 48
                PEG(2000)-C-DMA I DLinDMA I DPPE I Cholesterol        13.8       66               0.16                93
         6
                l.8136.4118.2143.6
                PEG(2000)-C-DMA I DLinDMA I DPPC I Cholestanol        12.4       56               0.12                92
         7
                2I40110 I 48
                PEG(2000)-C-DMA I DLinDMA I DPPC I Cholesterol        16.5       60               0.10                93
         8
                l .4 I 27.0 I 6.8 I 64.9
                PEG(2000)-C-DMA I DLinDMA I DPPC j Cholesterol        18. l      74               0.13                92
         9
                1.3 I 25.3112.7160.8
                PEG(2000)-C-DMA I DLinDMA I DPPC I Cholesterol        19.2       60               0.13                93
        10
                2.5 I 25.0 I 12.5 I 60.0
                PEG(2000)-C-DMA I DLinDMA I DPPC I Cholesterol        17.8        79               0.09               94
         11
                 1.41 57.1 I 7.4 134.3



                                                                 94


                                                                                                                    JA001918
                                                                                                                   GE NV-000040 80
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 633 of 1274 PageID #: 8939



              PEG(2000)-C-DMA I DLinDMA I DPPC I Cholesterol    23.6          72              0.11          93
      12
              10 I 404 I 10.11485
              PEG(2000)-C-DMA I DLinDMA I DPPC                      8.7       73              0.09          87
      13
              2 I 70 I 28
              PEG(2000)-C-DMA I DLinDMA i DPPC                      11.3      65              0.11           87
      14
              1.6 ! 54.7 I 43.8



     (0349]      BALB/c mice (female, at least 4 weeks old) were obtained from Harlan Labs. After
     an acclimation period (of at least 7 days), animals were administered SNALP by intravenous
     (IV) injection in the lateral tail vein once daily on Study Day 0 (l dose total per animal).
5    Dosage was 1 mg encapsulated siRNA per kg body weight, corresponding to 10 ml/kg
     (rounded to the nearest 10 µl). As a negative control, one group of animals was given an IV
     injection of phosphate buffered saline (PBS) vehicle. On Study Day 2, animals were
     euthanized and liver tissue was collected in RNAlater.
     [0350]      Liver tissues were analyzed for ApoB mRNA levels normalized against
10   glyceraldehyde-3- phosphate dehydrogenase (GAPDH) mRNA levels using the QuantiGene
     assay (Panomics; Fremont, CA) essentially as described in Judge et al., Molecular Therapy,
     13 :494 (2006).
     [0351]      Figure 2 shows that the 1 :57 SNALP formulation containing ApoB 10048 U2/2
     G 1/2 siRNA was the most potent at reducing ApoB expression in vivo (see, Group 11 ).

15   Example 4.          ApoB siRNA Formulated as 1:57 SNALP Have Potent Silencing Activity
     in vivo.

     [0352]       SNALP formulations were prepared with the ApoB siRNA set forth in Table 3. The
     lipid components and physical characteristics of the formulations are summarized in Table 5.
     The lipid:drug ratio is described in units of mg total lipid per mg nucleic acid. Mean particle
20   size and polydispersity were measured on a Malvern Instruments Zetasizer. Encapsulation of
     nucleic acid was measured using a Ribogreen assay essentially as described in Heyes et al.,
     Journal of Controlled Release, 107:276-287 (2005).

     Table 5. Characteristics of the SNALP formulations used in this study.

                                                                             Particle Size           % Encapsulation
           SNALP (L:D ratio)                 siRNA Payload                 (Polydispersity)
                 2:30 (13)               ApoB-10048 U2/2 Gl/2               65 nm (0.16)                    88
                  l :57 (9)              ApoB-10048 U2/2 Gl/2               74 nm (0.10)                    89


25    [0353]      The 2:30 SNALP formulation used in this study is lipid composition 2:30:20:48 as
      described in molar percentages of PEG-C-DMA, DLinDMA, DSPC, and cholesterol (in that




                                                               95



                                                                                                            JA001919
                                                                                                           GE NV-00004081
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 634 of 1274 PageID #: 8940



     order). This formulation was prepared by syringe press at an input lipid to drug (L:D) ratio
     (mg:mg) of 13:1.
     [0354]   The 1:57 SNALP formulation used in this study is lipid composition 1.5 :57.1 :7:34.3
     as described in molar percentages of PEG-C-DMA, DLinDMA, DPPC, and cholesterol (in
5    that order). This formulation was prepared by syringe press at an input lipid to drug (L:D)
     ratio (mg:mg) of 9: 1.
     [0355]   BALB/c mice (female, 4 weeks old) were obtained from Harlan Labs. After an
     acclimation period (of at least 7 days), animals were administered SNALP by intravenous
     (IV) injection in the lateral tail vein once daily on Study Days 0, 1, 2, 3 & 4 for a total of 5
10   doses per animal. Daily dosage was either 1.0 (for 2:30 SNALP) or 0.1 (for 1 :57 SNALP)
     mg encapsulated siRNA per kg body weight, corresponding to IO ml/kg (rounded to the
     nearest 10 µl). As a negative control, one group of animals was given IV injections of
     phosphate buffered saline (PBS) vehicle. On Study Day 7, 72 h after the last treatment,
     animals were euthanized and liver tissue was collected in RNAlater.
15   [0356]    Liver tissues were analyzed for ApoB mRNA levels normalized against
     glyceraldehyde-3-phosphat e dehydrogenase (GAPDH) mRNA levels using the QuantiGene
     assay (Panomics; Fremont, CA) essentially as described in Judge et al., Molecular Therapy,
     13 :494 (2006).
     (0357]    Figure 3 shows that the 1 :57 SNALP containing ApoB 10048 U2/2 Gl/2 siRNA
20   was more than 10 times as efficacious as the 2:30 SNALP in mediating ApoB gene silencing
     in mouse liver at a 10-fold lower dose.

     Example 5.        ApoB siRNA Formulated as 1:57 or 1:62 SNALP Have Potent Silencing
     Activity in vivo.

     {0358]    SNALP formulations were prepared with the ApoB siRNA set forth in Table 3. The
25   lipid components and physical characteristics of the formulations are summarized in Table 6.
     The lipid:drug ratio is described in units of mg total lipid per mg nucleic acid. Mean particle
     size and polydispersity were measured on a Malvern ]nstruments Zetasizer. Encapsulation of
     nucleic acid was measured using a Ribogreen assay essentially as described in Heyes et al.,
     Journal of Controlled Release, 107:276-287 (2005).

30




                                                      96


                                                                                               JA001920
                                                                                               GE NV-00004082
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 635 of 1274 PageID #: 8941



     Table 6. Characteristics of the SNALP formulations used in this study.

                          Formulation Composition              Lipid/Drug           Finished Product Characterization
     Group
                           Lipid Name & Mole%                     Ratio     Size (nm)     Polydispersity    % Encapsulation
              PEG(2000)-C-DMA I DLinDMA I DPPC I Cholesterol                   76              0.06                89
       2                                                            8.9
              1.4 I s1.1 I 7.1 I 34.3
              PEG(2000)-C-DMA I DLinDMA I Cholesterol                          76              0.04                86
       3                                                            8.1
              1.5 I 61.5 I 36.9
              PEG(2000)-C-DMA I DODMA I DPPC I Cholesterol          9.0        72              0.05                95
       4
              1.4 I 57.117.1134.3
              PEG(SOOO)-C-DMA I DLinDMA I DPPC I Cholesterol                   52              0.16                89
       5                                                            9.6
              1.4 I 57.117.1134.3
              PEG(2000)-C-DMA I DLinDMA I DPPC I Cholestanol                                   0.10                94
       6                                                            8.9        68
              1.4157.117.! 134.3
              PEG(2000)-C-DMA I DLinDMA I DPPE I Cholesterol                                   0.07                95
       7                                                            8.9        72
              1.4157.117.1134.3
              PEG(2000)-C-DMA I DLinDMA I DPPC                      8.6        74              0.13                86
       8
              1.8 I 70.2 I 28. l



     [0359]      BALB/c mice (female, at least 4 weeks old) were obtained from ·Harlan Labs. After
     an acclimation period (of at least 7 days), animals were administered SNALP by intravenous
5    (IV) injection in the lateral tail vein once daily on Study Day O (1 dose total per animal).
     Dosage was 0.75 mg encapsulated siRNA per kg body weight, corresponding to 10 ml/kg
     (rounded to the nearest 10 µl). As a negative control, one group of animals was given an IV
     injection of phosphate buffered saline (PBS) vehicle. On Study Day 2, animals were
     euthanized and liver tissue was collected in RNAlater.
10   [0360]      Liver tissues were analyzed for ApoB mRNA levels normalized against
     glyceraldehyde-3-phosphate dehydrogenase (GAPDH) mRNA levels using the QuantiGene
     assay (Panomics; Fremont, CA) essentially as described in Judge et al., Molecular Therapy,
     13 :494 (2006).
     [0361]      Figure 4 shows that the 1 :57 and 1 :62 SNALP formulations had comparable ApoB
15   silencing activity in vivo (see, e.g., Groups 2 & 3).

     Example 6.         ApoB siRNA Formulated as 1 :62 SN ALP Have Potent Silencing Activity
     in vivo.

     [0362]      SNALP formulations were prepared with the ApoB siRNA set forth in Table 3. The
     lipid components and physical characteristics of the formulations are summarized in Table 7.
20   The lipid:drug ratio is described in units of mg total lipid per mg nucleic acid. Mean particle
     size and polydispersity were measured on a Malvern Instruments Zetasizer. Encapsulation of
     nucleic acid was measured using a Ribogreen assay essentially as described in Heyes et al.,
     Journal of Controlled Release, 107 :276-287 (2005).




                                                               97


                                                                                                                  JA001921
                                                                                                                 GE NV-00004083
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 636 of 1274 PageID #: 8942



     Table 7. Characteristics of the SNALP formulations used in this study.

                       Formulation Composition, Mole %       Lipid/Drug           Finished Product Characterization
         Group
                   PEG(2000)-C-DMA I DLinDMA I Cholesterol      Ratio     Size (nm)        Polydispersity   % Encapsulation

           2                    1.5 161.5 I 36.9                6.1          80                 0.07                  92

           3                    1.4 I 54.8 I 43.8               6.6          74                 0.05                  89

           4                    2.0 161.2136.7                  6.2          71                 0.11                  91

           5                    1.8 I 54.5 I 43.6               6.7          67                 0.09                  91

           6                    1.3 I 68.1 I 30.6               7.4          91                 0.06                  89

           7                    1.2161.8137.1                   8.0          87                 0.10                  90
           8                    1.7 I 67.8 I 30.5               7.6          81                 0.07                  91

           9                    1.4 I 56.3 I 42.3               8.6          75                 0.11                  92
          10                    1.9161.3136.8                   8.2          72                 0.10                  91
          11                    1.8156.1142.1                   8.8          70                 0.10                  90

          12                    1.3 I 66.7 I 32.0               9.5          89                 0.09                  89
          13                    1.2161.7137.0                   10.0         87                 0.10                  91
          14                    1.7166.4131.9                   9.6          82                 0.11                  90

          15                    1.5161.5136.9                   10.1         79                 0.10                  91




     [0363]      BALB/c mice (female, at least 4 weeks old) were obtained from Harlan Labs. After
5    an acclimation period (of at least 7 days), animals were administered SNALP by intravenous
     (IV) injection in the lateral tail vein once daily on Study Day O (1 dose total per animal).
     Dosage was 0.1 mg encapsulated siRNA per kg body weight, corresponding to 10 ml/kg
     (rounded to the nearest l O ~tl). As a negative control, one group of animals was given an IV
     injection of phosphate buffered saline (PBS) vehicle. On Study Day 2, animals were
10   euthanized and liver tissue was collected in RNAlater.
     [0364]      Liver tissues were analyzed for ApoB mRNA levels normalized against
     glyceraldehyde-3-phosphate dehydrogenase (GAPDH) mRNA levels using the QuantiGene
     assay (Panomics; Fremont, CA) essentially as described in Judge et al., Molecular Therapy,
     13 :494 (2006).
15   [0365]      Figure 5 shows that the 1 :62 SNALP formulation was one of the most potent
     inhibitors of ApoB expression at two different lipid:drug ratios (i.e., 6.1 & 10.1) among the
     phospholipid-free SNALP formulations tested (see, Groups 2 & 15).

     Example 7.        In vivo Silencing of ApoB Expression Using 1:57 SNALP Prepared Via a
     Syringe Press or Gear Pump Process.
20   [0366]      This study illustrates a comparison of the tolerability and efficacy of the l :57
     SNALP formulation with ApoB-targeting siRNA as prepared by various manufacturing
     processes. In particular, I :57 SNALP was prepared by a syringe press or gear pump process




                                                              98


                                                                                                                       JA001922
                                                                                                                      GE NV-00004084
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 637 of 1274 PageID #: 8943



     using either PBS or citrate buffer (post-blend dilution) and administered intravenously in
     mice.

     Experimental Design
     [0367]        Animal Model: Female BALB/c mice, 5 wks old, n=4 per group/cage.
5    [0368]        siRNA payload: ApoB 10048 U2/2 G 1/2 siRNA.

     Tolerability:

                                                                                  IV Injection
         Group                            Formulation
                                                                        siRNA mg/kg         Lipid mg/kg
              1                             PBS vehicle                    Standard 10 mL/kg volume
              2               l 157 Citrate Direct Di!, Syringe Press         7                  77
              3                 1157 PBS Direct Di I, Syringe Press           7                  96
              4                  1157 PBS Direct Dil, Gear Pump               7                  79
              5               1157 Citrate Direct Di!, Syringe Press           9                 99
              6                 1157 PBS Direct Dil, Syringe Press             9                 123
              7                   1157 PBS Direct Dil, Gear Pump               9                 102


     Efficacy:

                                                                                   IV Injection
         Group                            Formulation
                                                                         siRNA mg/kg         Lipid mg/kg
              8                          PBS vehicle                        Standard 10 mL/kg volume
              9                1157 PBS Direct Di!, Syringe Press            0.05                0.68
              10                1157 PBS Direct Di!, Gear Pump               0.05                0.57
              11               1157 PBS Direct Di!, Syringe Press             0.1                1.36
              12                1157 PBS Direct Oil, Gear Pump                0.1                1.13


10   Formulation:

     [0369]            Formulations are provided at 0.005 to 0.9 mg siRNA/mL, 0.22 µm filter sterilized in
     crimp top vials.
     [0370]            Formulation Details:
                  1.        Lipid composition "1157 Citrate blend" used in this study is 1.4:57.1 :7 .1 :34.3
15                          as described in molar percentages of PEG-C-DMA, DLinDMA, DPPC, and
                            cholesterol (in that order). This fonnulation has an input lipid to drug ratio of
                            8.9.
                  2.        Gear pump set up included 0.8 mm T-connector and 400 mL/min speed.
                  3.        siRNA used in this study is apoB-10048 U2/2 Gl/2 siRNA.
20




                                                               99


                                                                                                       JA001923
                                                                                                       GE NV-00004085
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 638 of 1274 PageID #: 8944



     [0371]   Formulation Summary:

                                                               Particle Size             Final L:D
                        1 :57 (9:1) + DOW siRNA    Zava (nm)       Poly        % Encap   (mg:mg)
       322-050807-1         Syringe PBS Blend         79           0.12          92         13.6
       322-050807-2        Syringe Citrate Blend      86           0.11          91        11.0
       322-050807-3          Gear PBS Blend           80           0.09          93         11.3



5    Procedures
     [0372]   Treatment: Just prior to the first treatment, animals are weighed and dose amounts
     are calculated based on the weight of individual animals (equivalent to 10 mL/kg, rounded to
     the nearest 10 ~d). Test article is administered by IV injection through the tail vein once on
     Day O (1 dose total per animal). Body weight is measured daily (every 24 h) for the duration
10   of the study. Cage-side observations are taken daily in concert with body weight
     measurements and additionally as warranted.
     [0373]   Group 1-7 Endpoint: Animals are sacrificed on Day 1, 24 h after test article
     administration. Blood is collected by cardiac puncture upon sacrifice. Whole amount is
     collected into a SST microtainer for serum. Clot for 30 (to 60) min at room temp., centrifuge
15   for 5 min at 16,000xg & 16°C, invert to confirm centrifugation is complete, and store at 4°C.
     Analyze complete small-animal clinical chemistry panel plus AST and SDH. Top priority
     list: ALT, AST, SDH, Bilirubin, Alkaline Phosphatase, GOT, BUN, CPK, Glucose.
     Secondary priority list: Creatinine, Albumin, Globulin, Total Protein.
     [0374]    Group 8-12 Endpoint: Animals are sacrificed on Day 2, 48 h after test article
20   administration. Blood is collected by cardiac puncture and processed for plasma.
     Immediately centrifuge for 5 min at 16,000xg (at 16°C). Record any observations of unusual
     plasma appearance. Pipette off clear plasma supernatant into a clean microfuge tube and
     store at -80°C. The following tissues are removed and weighed sepi:irately: liver and spleen.
     The bottom (unattached) half of the left liver lobe is detached and submerged in~ 5 volumes
25   of RNAlater (< 0.3 gin 1.5 mL RNAlater in 2.0 mL tube), stored at least 16 hours at 4°C
     prior to analysis and long term storage at -20°C or -80°C for archival purposes. Formulations
     are expected to be well tolerated. Mice which exhibit signs of distress associated with the
     treatment are terminated at the discretion of the vivarium staff.
     [0375]    Termination: Mice are anaesthetized with a lethal dose of ketamine/xylazine; then
30   cardiac puncture is performed followed by cervical dislocation.
     [0376]    Data Analysis: Tolerability of treatment regime is monitored by animal appearance
     and behavior as well as body weight. Blood clinical chemistry is measured by automated
     analyzer. ApoB and GAPDH rnRNA levels in liver are measured via QG assay. ApoB


                                                       100


                                                                                                JA001924
                                                                                                GE NV-00004086
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 639 of 1274 PageID #: 8945



     protein in plasma is measured via ELISA. Total cholesterol in plasma is measured via
     standard enzymatic/colorim etric assay.

     Results
     [0377]    There was no body weight loss or change in animal appearance/behav ior upon
5    administration of the 1:57 SNALP fommlations. Figure 6 shows that the tolerability of
     SNALP prepared by citrate buffer versus PBS direct dilution did not differ significantly in
     terms of blood clinical chemistry parameters. There was a tolerability difference between
     syringe citrate and syringe PBS at constant siRNA dosage, but that was likely an artifact
     dependent on the different final lipid:drug (L:D) ratios of these two preparations.
10   [0378)        Figure 7 shows that the efficacy of the 1:57 SN ALP prepared by gear pump was
     similar to the same SNALP prepared by syringe press. The tolerability profile was improved
     with the gear pump process, which could be attributed to increased initial encapsulation rate
     and decreased final L:D ratio.

     Example 8.         In vivo Silencing of ApoB Expression Using 1:57 SNALP Prepared Via a
15   Direct Dilution or In-Line Dilution Process.
     [0379]        This study illustrates a comparison of the tolerability and efficacy of the 1 :57
     SNALP formulation with ApoB-targeting siRNA as prepared by a direct dilution or in-line
     dilution process at an input lipid to drug ratio of 6: 1 or 9: 1.

     Experimental Design
20   [0380]        Animal Model: Female BALB/c mice, 7 wks old.
     [0381]        siRNA payload: ApoB10048 U2/2 Gl/2 siRNA.

     CBC/Diff:

                           #                                                   IV Dosage
          Group                            Test Article
                         Mice                                       Encap. siRNA       Total Lipid
               1          3                   PBS                           -                 -
               2          3             1157 SN ALP (9: 1)               7 mg/kg          71 mg/kg
               3           3            1157 SNALP (9: 1)                11 mg/kg         112 mg/kg


     Clinical Chemistry:

                           #                                                  IV Dosage
           Group                           Test Article
                         Mice                                      Encap. siRNA    Total Lipid
               4          4                    PBS                          -                 -
               5           4             1157 SN ALP (9: 1)              9 mg/kg          92 mg/kg
               6           4             1157 SNALP (9:1)                11 mg/kg         112 mg/kg
               7           4          (6:1) New 1157 SNALP               11 mg/kg         78 mg/kg



                                                          101


                                                                                                  JA001925
                                                                                                  GE NV-00004087
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 640 of 1274 PageID #: 8946



               8           4          (6: 1) New 1157 SN ALP                 13 mg/kg             93 mg/kg
               9           4          (6:1) New 1157 SNALP                   15 mg/kg             107 mg/kg
               10          4          (6: 1) New 1157 SN ALP                 17 mg/kg             121 mg/kg
               11          4              1157 SNALP (9: 1)                  11 mg/kg             112 mg/kg


     Activity:

                          #                                                        IV Dosage
          Group                              Test Article
                         Mice                                           Encap. siRNA       Total Lipid
              12          4                    PBS                               -                    -
              13          4             1 57 SNALP (9:l)                  0.05 mg/kg              0.51 mg/kg
              14          4             1 57 SNALP (9:1)                   0.1 mg/kg              1.02 mg/kg
              15           4             l 57 SNALP (9:1)                  0.2 mg/kg              2.04 mg/kg
              16           4         (6: 1) New 1 57 SNALP                0.05 mg/kg              0.36 mg/kg
              17           4         (6:1) New I 57 SNALP                  0.l mg/kg              0.71 mg/kg
              18           4         (6:1) New l 57 SNALP                  0.2 mg/kg              1.42 mg/kg
              19           4         (6:1) New 1157 SNALP                  0.4 mg/kg              2.85 mg/kg


     Formulation:

5    [0382]          Formulations are provided at 0.005 to 1.7 mg siRNA/mL, 0.22 µm filter sterilized in
     crimp top vials.
     [0383]          Formulation Details:
                l.        "1157 SNALP" used in this study is lipid composition 1.4: 57 .1 :7 .1 :34.3 as
                          described in molar percentages of PEG-C-DMA, DLinDMA, DPPC, and
10                        cholesterol (in that order). This formulation was prepared by gear pump at an
                          input lipid to drug ratio of 9: 1 (28 mM lipids) or 6: 1 (14 mM lipids).
                2.        siRNA used in this study is apoB-10048 U2/2 G 1/2 siRNA.
      [0384]         Formulation Summary:

                                   1j57 SNALP                           Particle Size                 Final L:D
                                 Gear PBS In-line           Zava (nm)       Polv        % Encap       (mq:mq)
     I   322-051407-1                Input 9:1                 78           0.07          93             10.2
15                                                                                        92             7.1
     I   322-051407-2                Input 6:1                 81           0.05



     Procedures
      [0385]         Treatment: Just prior to the first treatment, animals are weighed and dose amounts
      are calculated based on the weight of individual animals (equivalent to 10 mL/kg, rounded to
20    the nearest IO µl). Test article is administered by IV injection through the tail vein once on
      Day O (1 dose total per animal). Body weight is measured daily (every 24 h) for the duration
      of the study. Cage-side observations are taken daily in concert with body weight
      measurements and additionally as warranted.



                                                               102


                                                                                                            JA001926
                                                                                                           GE NV-00004088
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 641 of 1274 PageID #: 8947



     [0386]    Endpoint: Animals are sacrificed on Day 1, 24 h after test article administration
     (Grps 1-10) or on Day 2, 48 h after test article administration (Grps 11-19).
     [0387]    Groups 1-3: Blood is collected by cardiac puncture upon sacrifice. Whole amount
     is collected into an EDTA microtainer, mixed immediately to prevent coagulation, and sent
5    for analysis of CBC/Diff profile. Perform brief necropsy.
     [0388]    Groups 4-11: Blood is collected by cardiac puncture into a SST microtainer for
     serum. Clot for 30 (to 60) min at room temp., centrifuge for 5 min at 16,000xg & l6°C,
     invert to confirm centrifugation is complete, and store at 4°C. Analyze complete small-
     animal clinical chemistry panel plus AST and SDH. Top priority list: ALT, AST, SDH,
10   Bilirubin, Alkaline Phosphatase, GGT, BUN, CPK, Glucose. Secondary priority list:
     Creatinine, Albumin, Globulin, Total Protein. Perform brief necropsy.
     [0389]    Groups 12-19: Blood is collected by cardiac puncture and processed for plasma:
     immediately centrifuge for 5 min at 16,000xg (at 16°C). Record any observations of unusual
     plasma appearance. Pipette off clear plasma supernatant into a clean microfuge tube and
15   store at -80°C. The following tissues are removed: liver. The liver is not weighed; the
     bottom (unattached) half of the left liver lobe is detached and submerged in 2: 5 volumes of
     RNAlater (< 0.3 gin 1.5 mL RNAlater in 2.0 mL tube), stored at least 16 hours at 4°C prior
     to analysis and long term storage at -80°C. Formulations are expected to be well tolerated.
     Mice which exhibit signs of distress associated with the treatment are terminated at the
20   discretion of the vivarium staff.
     [0390]    Termination: Mice are anaesthetized with a lethal dose of ketamine/xylazine; then
     cardiac puncture is performed followed by cervical dislocation.
     {0391]    Data Analysis: Tolerability of treatment regime is monitored by animal appearance
     and behavior, and body weight. Blood clinical chemistry and CBC/Diff profile is measured
25   by automated analyzer. Liver ApoB mRNA is measured using the QuantiGene Assay.
     Plasma ApoB-100 is measured using ELISA. Plasma total cholesterol is measured using a
     standard enzymatic assay.

     Results

     Tolerability:

30    [0392]   Figure 8 shows that there was very little effect on body weight 24 hours after 1:57
     SNALP administration. The maximum weight loss of 3.6 ± 0.7% was observed at the highest
     drug dose of 17 mg/kg. There was also no obvious change in animal appearance/behavior at
     any of the dosages tested.

                                                    103


                                                                                           JA001927
                                                                                          GENV-00004089
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 642 of 1274 PageID #: 8948



     [0393]   Figure 9 shows that there were no obvious changes in platelet count. Reduction of
     platelets can cause the mean platelet volume to increase as the body produces new platelets in
     compensation for the treatment-related decrease. Under the conditions of this study, the
     mean platelet volume did not change in SNALP-treated groups.
5    [0394]   Figure 10 shows that clinically significant liver enzyme elevations (3xULN)
     occurred at drug dosages of 11 mg/kg for ] :57 SN ALP at a lipid:drug (L:D) ratio of 10, and
     at 13 mg/kg at a L:D of 7. A slight dose response trend upwards in plasma total protein and
     globulin was also observed.

     Efficacy:

10   [0395]      Figure 11 shows that based on the liver mRNA QuantiGene analysis, the potency of
     the lower L:D SNALP was as good as that of the higher L:D SNALP at the tested drug
     dosages. In fact, the ApoB silencing activity was identical at the 0.05 and 0.1 mg/kg dosages.
     As such, the potency of the 1:57 SN ALP at a 6:1 input L:D ratio (final ratio of 7:1) was
     similar to the potency of the 1:57 SNALP at a 9: l input L:D ratio (final ratio of 10:1) at
15   reducing ApoB expression.
     [0396]      Figure 12 shows that ApoB protein and total cholesterol levels were reduced to a
     similar extent by the 1:57 SNALP at a 6: l input L:D ratio (final ratio of 7: 1) and the l :57
     SNALP at a 9:1 input L:D ratio (final ratio of 10:1).

     Therapeutic Index:
20   [0397]      This study demonstrates that both the 1 :57 SN ALP at a 6: 1 input L:D ratio (final
     ratio of 7: 1) and the 1 :57 SNALP at a 9: 1 input L:D ratio (final ratio of 10: 1) caused about
     60% ApoB liver mRNA silencing with a drug dose of 0.1 mg/kg. Interpolating from the
     available data points in Figure 10, a 10: 1 final L:D ratio at 10 mg/kg may cause a similar
     degree of enzyme elevation as a 7:1 final L:D ratio at 13 mg/kg. Using these activity and
25   toxicity points, the therapeutic index for the 1:57 SNALP at a l 0: 1 final L:D ratio is (10
     mg/kg) I (0.1 mg/kg)= 100 and the therapeutic index for the l :57 SNALP at a 7: 1 final L:D
     ratio is (13 mg/kg) I (0. I mg/kg)= 130. Using this dataset, the therapeutic index for the I :57
     SNALP at a 7: 1 final L:D ratio is 30% greater than the therapeutic index for the l :57 SN ALP
     at a 10:1 final L:D ratio.




                                                      104


                                                                                               JA001928
                                                                                               GE NV-00004090
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 643 of 1274 PageID #: 8949



     Example 9.         In vivo Silencing of PLK-1 Expression Using 1:57 SNALP Increases
     Survival of Hep3B Tumor-Bearing Mice.
     [0398]     SNALP containing polo-like kinase 1 (PLK-1) siRNA (1 :57 SNALP formulation:
     1.4% PEG-cDMA; 57.1 % DLinDMA; 7.1 % DPPC; and 34.3% cholesterol) were tested for
5    their effects on the survival of CDl nu/nu mice bearing Hep3B liver tumors. PLK-1 is a
     serine/threonine kinase containing two functional domains: (l) a kinase domain; and (2) a
     polo-box domain (see, e.g., Barr et al., Nat. Rev. Mal. Cell Biol., 5:429-440 (2004)). The
     activity and cellular concentration of PLK-1 are crucial for the precise regulation of cell
     division. PLK-1 is overexpressed in many cancer types including hepatoma and colon
10   cancer, and PLK-1 expression often correlates with poor patient prognosis. Overexpression
     of PLK-1 (wild-type or kinase inactive) results in multinucleation (genetic instability).
     Hyperactive PLK-1 overrides the DNA damage checkpoint. Constitutive PLK-1 expression
     causes transformation of NIH 3T3 cells. PLK-1 phosphorylates the p53 tumor suppressor,
     thereby inhibiting the pro-apoptotic effects of p53. The PLK-1 siRNA used in this study are
15   provided in Table 8. The modifications involved introducing 2'OMe-uridine or 2'OMe-
     guanosine at selected positions in the sense and antisense strands of the PLK-1 siRNA
     sequence, in which the siRNA duplex contained less than about 20% 2'OMe-modified
     nucleotides.

     Table 8. siRNA duplexes comprising sense and antisense PLK-1 RNA polynucleotides.

              siRNA                              PLK-1 siRNA Sequence                              % Modified in
                                                                                                    DS Region

       PLK1424 U4/GU             5'-AGAUCACCCUCCUUAAAU
                                         ~--     --    - - ANN-3'            (SEQ ID NO. 57)           6/38 = 15.8%
                              3'-NNUCUAGUGGGAGGAAUU
                                       -             -   UAU-5'              (SEQ ID NO. 54)

       PLK 1424 U4/G             5'-AGAUCACCCUCCUUAAAU
                                          ~      -     - - ANN-3'            (SEQ ID NO. 57)           7/38 = 18.4%
                              3'-NNUCUAGUGGGAGGAAUU
                                             - -   -
                                                         UAU-5'              (SEQ ID NO. 56)

20   Column 1: The number after "PLK" refers to the nucleotide position of the 5' base of the sense strand relative to
     the start codon (ATG) of the human PLK-1 mRNA sequence NM_005030. Column 2: 2'-O-methyl (2'OMe)
     nucleotides are indicated in bold and underlined. The siRNA duplex can alternatively or additionally comprise 2' -
     deoxy-2'-fluoro (2'F) nucleotides, 2'-deoxy nucleotides, 2'-O-(2-methoxyethyl) (MOE) nucleotides, and/or
     locked nucleic acid (LNA) nucleotides. N ~, deoxythymidine (dT) nucleotide, uridine (U) ribonucleotide, or
25   ribonucleotide having complementarity to the target sequence or the complementary strand thereof. Column 3:
     The number and percentage of modified nucleotides in the double-stranded (DS) region of the siRNA duplex are
     provided.

     Experimental Groups
     [0399]      20 CD 1 nu/nu mice were seeded as follows:

      Group       #        Tumor       SNALP         #         SNALP          SNALP        Sacrifice         Assay
                 Mice      seeding                 Mice      dosing IV          dose




                                                           105


                                                                                                            JA001929
                                                                                                           GE NV-00004091
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 644 of 1274 PageID #: 8950



        A                   I.H.           Luc 1:57       9        Days 11, 14,
              20 to                                                                  10 X 2    When        Survival
                                   6
                        l.5xl0            PLK 1424                17, 21, 25, 28,
        B     seed                                        9                          mg/kg    moribund   Body Weights
                        Hep3B                1:57                  32, 35,39,42




     Test Articles
     [0400]   All samples were filter-sterilized prior to dilution to working concentration. All
     tubes were labeled with the formulation date, lipid composition, and nucleic acid
5    concentration. SNALP samples were provided at 0.2 mg/ml nucleic acid. A minimum of 20
     ml of each SNALP was required to perform the study. Formulations for this study contained:

                      Group                                   Test Article Description
                       A                              Luc U/U SN ALP l :57 (28mM lipid)
                        B                       PLK1424 U4/GU SNALP 1:57 (28mM lipid)
                                                    PLK1424 U4/G SNALP 1:57 (28mM lipid)




     Procedures
     DayO                          Mice will receive Anafen by SC injection ( 100 µg in 20 µl saline)
10                                     immediately prior to surgery. Individual mice are anesthetized by
                                       isoflourane gas inhalation and eye lube applied to prevent excessive
                                       eye drying. While maintained under gas anesthesia from a nose cone,
                                       a single 1.5 cm incision across the midline will be made below the
                                       sternum. The left lateral hepatic lobe is then exteriorized using an
15                                     autoclaved cotton wool bud. 25 µl of tumor cells suspended in PBS is
                                       injected into the lobe at a shallow angle using a leur tip Hamilton
                                       syringe (50 µl) and 30G (3/8") needle. Cells will be injected slowly
                                       (~ 30 s) and a swab applied to the puncture wound immediately after
                                       needle withdrawal. After any bleeding has stopped (-1 min), the
20                                     incision is closed with 5-6 sutures in the muscle wall and 3-4 skin
                                       clips. Cell suspensions will be thoroughly mixed immediately prior to
                                       each injection. Mice will recover from anesthesia in a clean cage
                                       lined with paper towel and monitored closely for 2-4 hours. Animals
                                       are then returned to normal housing.




                                                                   106


                                                                                                           JA001930
                                                                                                           GE NV-00004092
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 645 of 1274 PageID #: 8951



     Day 1                  All mice will be lightly anesthetized by isoflourane gas and the
                            sutures examined. Animals will then receive Anafen by SC injection
                            (l 00 µg in 20 µl saline).

     Day 10                 Mice will be randomized into the appropriate treatment groups.

5    Day 11                 Groups A, B - Day 11: All Animals will be administered SNALP at
                            2 mg/kg by IV injection via the lateral tail vein. Mice will be dosed
                            according to body weight (10 ml/kg). Dosing will be repeated for 5
                            consecutive days based on initial weight.

     Day 14-35              Groups A, B- Days 14, 17, 21, 25, 28, 32, 35: All Animals will be
10                          re-administered SNALP at 2 mg/kg by IV injection via the lateral tail
                            vein. Mice will be dosed according to body weight (10 ml/kg).

                            Body weights Groups: Mice will be weighed on the day of dosing
                             for 5 weeks, then twice weekly until close of the study.

                             Endpoint: Tumor burden and formulations are expected to be well
15                           tolerated. Mice that exhibit signs of distress associated with the
                             treatment or tumor burden are terminated at the discretion of the
                             vivarium staff.

     Termination:            Mice are anesthetized with a lethal dose of ketarnine/xylazine
                             followed by cervical dislocation.

20   Data Analysis:          Survival and body weights are assayed.

     Results
     [0401]    Figure 13 shows the mean body weights of mice during therapeutic dosing of
     PLK1424 SNALP in the Hep3B intrahepatic (I.H.) tumor model. The treatment regimen was
     well tolerated with no apparent signs of treatment-related toxicity.
25   [0402]    Figure 14 shows that treatment with 1 :57 SNALP-formulated PLK1424 caused a
     significant increase in the survival of Hep3B tumor-bearing mice. This in vivo anti-tumor
     effect was observed in the absence of any apparent toxicity or immune stimulation.

     Example 10. In vivo Silencing of PLK-1 Expression Using 1:57 SNALP Induces Tumor
     Cell Apoptosis in Hep3B Tumor-Bearing Mice.
30   [0403]    The objectives of this study were as follows:




                                                    107


                                                                                              JA001931
                                                                                            GE NV-00004093
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 646 of 1274 PageID #: 8952



              1.           To determine the level of mRNA silencing in established Hep3 B liver tumors
                           following a single IV administration of PLK1424 SNALP.
              2.           To confirm the mechanism ofmRNA silencing by detecting specific RNA
                           cleavage products using RACE-PCR.
5             3.           To confirm induction of tumor cell apoptosis by histopathology.

     [0404]        The 1:57 SNALP formulation (1.4% PEG-cDMA; 57.1% DLinDMA; 7.1% DPPC;
     and 34.3% cholesterol) was used for this study.

     Experimental Groups
     [0405]        20 SCID/beige mice were seeded as follows:

      Group         #        Tumor          SNALP       #          SNALP         Sacrifice         Assay
                   Mice      seeding                   Mice       dosing IV

                                              PBS       6                                        TumorQG
        A                      l.H.
                   20 to                    Luc 1:57    7        l x 2 mg/kg     24 h after
                              lxl 0 6                                                         Tumor RACE-PCR
        B          seed                    PLK 1424                Day20         treatment
                             Hep3B                      7                                      Histopa.thology
        C                                     1:57

10

     Test Articles
     [0406]        All samples were filter-sterilized prior to dilution to working concentration. All
     tubes were labeled with the formulation date, lipid composition, and nucleic acid
     concentration. SNALP samples were provided at 0.2 mg/ml nucleic acid. A minimum of2
15   ml of SNALP was required to perform the study. Formulations for this study contained:

                            Group                           Test Article Description
                              A                                       PBS
                              B                               Luc U/U 1:57 SN ALP
                              C                        PLK1424 U4/GU l :57 SNALP



     Procedures
     Day 0                              Mice will receive Anafen by SC injection (100 µgin 20 µ1 saline)
                                        immediately prior to surgery. Individual mice are anesthetized by
20                                      isoflourane gas inhalation and eye lube applied to prevent excessive
                                        eye drying. While maintained under gas anesthesia from a nose cone,
                                        a single 1.5 cm incision across the midline will be made below the



                                                                108


                                                                                                             JA001932
                                                                                                            GE NV-00004094
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 647 of 1274 PageID #: 8953



                      sternum. The left lateral hepatic lobe is then exteriorized using an
                      autoclaved cotton wool bud. 25µ1 of tumor cells suspended in PBS is
                      injected into the lobe at a shallow angle using a leur tip Hamilton
                      syringe (50 µl) and 30G (3/8") needle. Cells will be injected slowly
5                     (~30 s) and a swab applied to the puncture wound immediately after
                      needle withdrawal. After any bleeding has stopped (~ 1 min), the
                      muscle wall incision is closed with 5-6 sutures. The skin incision is
                      then closed with 3-4 metal skin clips. Cell suspensions will be
                      thoroughly mixed immediately prior to each injection. Mice will
10                    recover from anesthesia in a clean cage lined with paper towel and
                      monitored closely for 2-4 hours. Animals are then returned to normal
                      housing.

     Day 1            All mice will be lightly anesthetized by isoflourane gas and the
                      sutures examined. Animals will then receive Anafen by SC injection
15                    ( 100 µg in 2 0 µl saline).

     Day 7            Mice will be randomized into the appropriate treatment groups.

     Day 20           Groups A-C: Mice will be weighed and then administered either
                      PBS, Luc, or PLK1424 SNALP by IV injection via the lateral tail
                      vein. SNALP will be dosed at 2 mg/kg or equivalent volume (10
20                    ml/kg) according to body weight.

     Day 21           Groups A-C: All mice will be weighed and then euthanized by lethal
                      anesthesia.

                      Tumor bearing liver lobes from all mice in each group will be
                      weighed and collected into RNALater for RNA analysis.

25                    Endpoint: Tumor burden and formulations are expected to be well
                      tolerated. Mice that exhibit signs of distress associated with the
                      treatment or tumor burden are terminated at the discretion of the
                      vivarium staff.

     Termination:     Mice are anaesthetized with a lethal dose ofketamine/xylazine
30                    followed by cervical dislocation.




                                              109


                                                                                      JA001933
                                                                                     GE NV-00004095
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 648 of 1274 PageID #: 8954



     Data Analysis:          mRNA analysis of liver tumors by bDNA (QG) assay and RACE-
                             PCR.

                             Tumor cell apoptosis by histopathology.

     Results
5    [0407]    Body weights were monitored from Day 14 onwards to assess tumor progression.
     On Day 20, 6 mice showing greatest weight loss were randomized into each of the 3 groups
     and treated. All six mice had substantial-large I.H. tumors at sacrifice (Day 21). Treatment
     of the remaining 14 mice was therefore initiated on the Day 21 (sacrifice Day 22). 10/14
     mice had substantial tumors; 2/14 mice had small/probable tumors; and 2/14 mice had no
10   visible tumor burden.
     [0408]    Figure 15 shows data from Quantigene assays used to measure human (tumor)-
     specific PLK-1 mRNA levels. A single 2 mg/kg dose of 1:57 SNALP reduced PLK-1 mRNA
     levels by about 50% in intrahepatic Hep3B tumors growing in mice.
     [0409]    Figure 16 shows that a specific cleavage product of PLK-1 mRNA was detectable in
15   mice treated with PLK1424 SNALP by 5' RACE-PCR. No specific PCR product was
     detectable in mice treated with either PBS or control (Luc) SNALP. Nucleotide sequencing
     of the PCR product confirmed the predicted cleavage site by PLK1424 siRNA-mediated
     RNA interference in the PLK-1 mRNA.
     [0410]    Figure 17 shows Hep3B tumor histology in mice treated with either Luc SN ALP
20   (top) or PLK1424 SNALP (bottom). Luc SNALP-treated mice displayed normal mitoses in
     Hep3B tumors, whereas PLK1424 SNALP-treated mice exhibited numerous aberrant mitoses
     and tumor cell apoptosis in Hep3B tumors.

     Conclusion
     [0411]    This example illustrates that a single administration of PLK1424 1:57 SNALP to
25   Hep3B tumor-bearing mice induced significant in vivo silencing of PLK-1 mRNA. This
     reduction in PLK-1 mRNA was confirmed to be mediated by RNA interference using 5'
     RACE-PCR analysis. Importantly, PLK-1 mRNA silencing by the 1 :57 SN ALP formulation
     profoundly disrupted tumor cell proliferation (mitosis), causing subsequent apoptosis of
     tumor cells. As demonstrated in the previous example, this anti-tumor effect translated into
30   extended survival times in the tumor-bearing mice.




                                                   110


                                                                                          JA001934
                                                                                          GE NV-00004096
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 649 of 1274 PageID #: 8955



     Example 11. Comparison of 1 :57 PLK-1 SNALP Containing Either PEG-cDMA or
     PEG-cDSA in a Subcutaneous Hep3B Tumor Model.
     [0412]    This example demonstrates the utility of the PEG-lipid PEG-cDSA (3-N-[(-
     Methoxypoly( ethylene glycol)2000)carbamoyl]- l ,2-distearyloxypropylamine ) in the 1 :57
5    formulation for systemically targeting distal (e.g., subcutaneous) tumors. In particular, this
     example compares the tumor targeting ability of l :57 PLK-1 SNALPs containing either PEG-
     cDMA (C 14) or PEG-cDSA (CJ8). Readouts are tumor growth inhibition and PLKl mRNA
     silencing. The PLK-1 siRNA used was PLK1424 U4/GU, the sequence of which is provided
     in Table 8.
10   [0413]    Subcutaneous (S.C.) Hep3B tumors were established in scid/beige mice. Multidose
     anti-tumor efficacy of 1 :57 PLK-1 SNALP was evaluated for the following groups (n=5 for
     each group): (1) "Luc-cDMA" - PEG-cDMA Luc SNALP; (2) "PLK-cDMA" - PEG-cDMA
     PLK-1 SNALP; and (3) "PLK-cDSA" - PEG-cDSA PLK-1 SNALP. Administration of 6 x
     2mg/kg siRNA was initiated once tumors reached about 5 mm in diameter (Day 10). Dosing
15   was performed on Days 10, 12, 14, 17, 19, and 21. Tumors were measured by caliper twice
     weekly.
     [0414]    Figure 18 shows that multiple doses of 1:57 PLK-1 SN ALP containing PEG-cDSA
     induced the regression of established Hep3B S.C. tumors. In particular, 5/5 tumors in the
     PLKl-cDSA treated mice appeared flat, measurable only by discoloration at the tumor site.
20   [0415]    Figure 19 shows the mRNA silencing of 1:57 PLK SNALP in S.C. Hep3B tumors
     following a single intravenous SNALP administration. The extent of silencing observed with
     the PLKl-cDSA SNALP correlated with the anti-tumor activity in the multi-dose study
     shown in Figure 18.
     [0416]    The Luc-cDMA SNALP-treated group, which had developed large S.C. tumors at
25   Day 24, were then administered PLK-cDSA SNALP on Days 24, 26, 28, 31, 33, and 35.
     There was no additional dosing of the original PLK-1 SNALP-treated groups. The results
     from this crossover dosing study with large established tumors is provided in Figure 20,
     which shows that PLKl-cDSA SNALP inhibited the growth oflarge S.C. Hep3B tumors.
     [0417]    A comparison of the effect of PEG-cDMA and PEG-cDSA 1 :57 SNALPs on PLK-1
30   mRNA silencing was performed using established intrahepatic Hep3B tumors in scid/beige
     mice. A single 2 mg/kg dose of 1 :57 PLK-1 SN ALP containing either PEG-cDMA or PEG-
     cDSA was administered intravenously. Liver/tumor samples were collected at 24 and 96
     hours after SNALP treatment. Control= 2 mg/kg Luc-cDMA SNALP at 24 hours.



                                                    111


                                                                                             JA001935
                                                                                             GE NV-00004097
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 650 of 1274 PageID #: 8956



     [0418]   Figure 21 shows that PLK-cDMA SNALP and PLK-cDSA SNALP had similar
     silencing activities after 24 hours, but that the PLK-cDSA SNALP may increase the duration
     of mRNA silencing in intrahepatic tumors.
     [0419]    Figure 22 shows the blood clearance profile of 1:57 PLK-1 SNALP containing
5    either PEG-cDMA or PEG-cDSA. The extended blood circulation times observed for the
     PLK-cDSA SNALP may enable the increased accumulation and activity at distal (e.g.,
     subcutaneous) tumor sites.
     [0420]    Thus, this study shows that the 1 :57 PEG-cDSA SN ALP formulation can be used to
     preferentially target tumors outside of the liver, whereas the 1 :57 PEG-cDMA SN ALP can be
10   used to preferentially target the liver.

     Example 12. Synthesis of Cholesteryl-2'-H ydroxyethyl Ether.
     [0421}    Step 1: A 250 ml round bottom flask containing cholesterol (5.0 g, 12.9 mmol) and
     a stir bar was sealed and flushed with nitrogen. Toluenesulphonyl chloride (5.0 g, 26.2
     mmol) was weighed into a separate 100-mL round bottom flask, also sealed and flushed with
15   nitrogen. Anhydrous pyridine (2 x 50 ml) was delivered to each flask. The toluenesulphonyl
     chloride solution was then transferred, via cannula, into the 250 ml flask, and the reaction
     stirred overnight. The pyridine was removed by rotovap, and methanol (80 ml) added to the
     residue. This was then stirred for 1 hour until a homogeneous suspension was obtained. The
     suspension was filtered, washed with acetonitrile (50 ml), and dried under vacuum to yield
20   cholesteryl tosylate as a fluffy white solid (6.0 g, 86%).
     [0422]    Step 2: Cholesteryl tosylate (2.0 g, 3.7 mmol), 1,4-dioxane (50 mL), and ethylene
     glycol (4.6 g, 74 mmol) were added to a 100 ml flask containing a stir bar. The flask was
     fitted with a condenser, and refluxed overnight. The dioxane was then removed by rotovap,
     and the reaction mixture suspended in water (100 ml). The solution was transferred to a
25   separating funnel and extracted with chloroform (3 x 100 ml). The organic phases were
     combined, washed with water (2 x 150 ml), dried over magnesium sulphate, and the solvent
     removed. The crude product was purified by column chromatography (5% acetone/hexane)
     to yield the product as a white solid ( 1.1 g, 69% ).
     [0423]    The structures of the cholesterol derivatives cholesteryl-2'-hyd roxyethyl ether and
30   cholesteryl-4'-hyd roxybutyl ether are as follows:




                                                      112


                                                                                             JA001936
                                                                                            GE NV-00004098
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 651 of 1274 PageID #: 8957




                    HO~O


                                     Cholesteryl-2' -hydroxyethyl ether




              HO~O
5

                                     Cholesteryl-4' -hydroxybutyl ether


     [04241   It is to be understood that the above description is intended to be illustrative and not
10   restrictive. Many embodiments will be apparent to those of skill in the art upon reading the
     above description. The scope of the invention should, therefore, be determined not with
     reference to the above description, but should instead be determined with reference to the
     appended claims, along with the full scope of equivalents to which Sl;l-Ch claims are entitled.
     The disclosures of all articles and references, including patent applications, patents, PCT
15   publications, and Genbank Accession Nos., are incorporated herein by reference for all
     purposes.




                                                     113


                                                                                             JA001937
                                                                                             GE NV-00004099
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 652 of 1274 PageID #: 8958



    WHAT IS CLAIMED IS:

1                 1.        A nucleic acid-lipid particle comprising:
2                 (a) a nucleic acid;
3                 (b) a cationic lipid comprising from about 50 mol % to about 85 mol % of the
4                       total lipid present in the particle;
5                 (c) a non-cationic lipid comprising from about 13 mol % to about 49.5 mol %
6                       of the total lipid present in the paiiicle; and
7                 ( d) a conjugated lipid that inhibits aggregation of particles comprising from
8                       about 0.5 mol % to about 2 mol % of the total lipid present in the particle.

1                 2.        The nucleic acid-lipid particle of claim 1, wherein the nucleic acid
2   comprises a small interfering RNA (siRNA).

1                 3.        The nucleic acid-lipid particle of claim 2, wherein the siRNA
2   comprises from about 15 to about 60 nucleotides.

1                 4.        The nucleic acid-lipid particle of claim 2, wherein the siRNA
2   comprises at least one modified nucleotide.

1                  5.       The nucleic acid-lipid particle of claim 2, wherein the siRNA
2   comprises at least one 2'-O-methyl (2'OMe) nucleotide.

1                  6.       The nucleic acid-lipid particle of claim 1, wherein the cationic lipid
2   comprises 1,2-dilinoleyloxy- N,N-dimethylamin opropane (DLinDMA), 1,2-dilinolenyloxy -
3   N,N-dimethylami nopropane (DLenDMA), or a mixture thereof.

1                  7.       The nucleic acid-lipid particle of claim 1, wherein the cationic lipid
2   comprises 2,2-dilinoleyl-4-(2 -dimethylaminoeth yl)-[1,3]-dioxolan e (DLin-K-C2-DMA ).

1                  8.        The nucleic acid-lipid particle of claim 1, wherein the cationic lipid
2   comprises from about 56.5 mol % to about 66.5 mol % of the total lipid present in the
3   particle.

1                  9.        The nucleic acid-lipid particle of claim 1, wherein the cationic lipid
2   comprises from about 52 mol % to about 62 mol % of the total lipid present in the particle.




                                                      114


                                                                                             JA001938
                                                                                             GENV-00004100
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 653 of 1274 PageID #: 8959




l                       l 0.       The nucleic acid-lipid particle of claim 1, wherein the non-cationic
2       lipid comprises cholesterol or a derivative thereof.

1                       11.        The nucleic acid-lipid particle of claim l 0, wherein the cholesterol or
2       derivative thereof comprises from about 31.5 mol % to about 42.5 mol % of the total lipid
3       present in the particle.

l                       12.        The nucleic acid-lipid particle of claim 1, wherein the non-cationic
2       lipid comprises a phospholipid.

1                       13.        The nucleic acid-lipid particle of claim 1, wherein the non-cationic
2       lipid comprises a mixture of a phospholipid and cholesterol or a derivative thereof.

1                       14.        The nucleic acid-lipid particle of claim 13, wherein the phospholipid
2       comprises dipalmitoylphosphatidylch oline (DPPC), distearoylphosphatidylchol ine (DSPC),
3       or a mixture thereof.

1                       15.        The nucleic acid-lipid particle of claim 13, wherein the phospholipid
2       comprises from about 4 mol % to about 10 mol % of the total lipid present in the particle and
3       the cholesterol comprises from about 30 mol % to about 40 mol % of the total lipid present in
4       the particle.

                         16.       The nucleic acid-lipid particle of claim 13, wherein the phospholipid
2       comprises from about 10 mol % to about 30 mol % of the total lipid present in the particle
3       and the cholesterol comprises from about 10 mol % to about 30 mol % of the total lipid
4       present in the particle.

1                        17.       The nucleic acid-lipid particle of claim 1, wherein the conjugated lipid
2       that inhibits aggregation of particles comprises a polyethyleneglycol (PEG)-lipid conjugate.

    l                    18.       The nucleic acid-lipid particle of claim 17, wherein the PEG-lipid
2       conjugate comprises a PEG-diacylglycerol (PEG-DAG) conjugate, a PEG-dialkyloxypropyl
3       (PEG-DAA) conjugate, or a mixture thereof.

                         19.       The nucleic acid-lipid particle of claim 18, wherein the PEG-DAA
2       conjugate comprises a PEG-dimyristyloxypropyl (PEG-DMA) conjugate, a PEG-
    3   distearyloxypropyl (PEG-DSA) conjugate, or a mixture thereof.


                                                           115


                                                                                                    JA001939
                                                                                                    GENV-00004101
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 654 of 1274 PageID #: 8960




1                   20.       The nucleic acid-lipid particle of claim 19, wherein the PEG has an
2   average molecular weight of about 2,000 daltons.

                    21.       The nucleic acid-lipid particle of claim I, wherein the conjugated lipid
2   that inhibits aggregation of particles comprises from about 1 mol % to about 2 mol % of the
3   total lipid present in the particle.

1                   22.       The nucleic acid-lipid particle of claim 1, wherein the nucleic acid in
2   the nucleic acid-lipid particle is not substantially degraded after incubation of the particle in
3   serum at 37°C for 30 minutes.

1                   23.       The nucleic acid-lipid particle of claim 1, wherein the nucleic acid is
2   fully encapsulated in the nucleic acid-lipid particle.

1                   24.       The nucleic acid-lipid particle of claim 1, wherein the nucleic acid-
2   lipid particle has a lipid:nucleic acid mass ratio of from about 5 to about 15.

1                   25.       The nucleic acid-lipid particle of claim l, wherein the nucleic acid-
2   lipid particle has a median diameter of from about 40 nm to about 150 run.

1                    26.       A pharmaceutical composition comprising a nucleic acid-lipid particle
2   of claim 1 and a pharmaceutically acceptable carrier.

1                    27.       A nucleic acid-lipid particle comprising:
2                    (a) an siRNA;
3                    (b) a cationic lipid comprising from about 56.5 mol % to about 66.5 mol % of
4                          the total lipid present in the particle;
5                    (c) cholesterol or a derivative thereof comprising from about 31.5 mol % to
6                          about 42.5 mol % of the total lipid present in the particle; and
7                    (d) a PEG-lipid conjugate comprising from about 1 mol % to about 2 mol % of
8                          the total lipid present in the particle.

1                    28.       The nucleic acid-lipid particle of claim 27, wherein the cationic lipid
2   comprises DLinDMA.

1                    29.       The nucleic acid-lipid particle of claim 27, wherein the cationic lipid
2   comprises DLin-K-C2-DMA.


                                                        116


                                                                                               JA001940
                                                                                               GENV-00004102
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 655 of 1274 PageID #: 8961




1                  30.      The nucleic acid-lipid particle of claim 27, wherein the PEG-lipid
2   conjugate comprises a PEG-DAA conjugate.

1                  31.      The nucleic acid-lipid particle of claim 27, wherein the nucleic acid-
2   lipid particle comprises about 61.5 mol % cationic lipid, about 36.9% cholesterol or a
3   derivative thereof, and about 1.5 mol % PEG-lipid conjugate.

1                  32.      A pharmaceutical composition comprising a nucleic acid-lipid particle
2   of claim 27 and a pharmaceutically acceptable carrier.

1                  33.       A nucleic acid-lipid particle, comprising:
2                  (a) an siRNA;
3                  (b) a cationic lipid comprising from about 52 mol % to about 62 mol % of the
4                        total lipid present in the particle;
5                  (c) a mixture of a phospholipid and cholesterol or a derivative thereof
6                        comprising from about 36 mol % to about 47 mol % of the total lipid
7                        present in the particle; and
8                  (d) a PEG-lipid conjugate comprising from about 1 mol % to about 2 mol % of
9                        the total lipid present in the particle.

1                  34.       The nucleic acid-lipid particle of claim 33, wherein the cationic lipid
2   comprises DLinDMA.

1                  35.       The nucleic acid-lipid particle of claim 33, wherein the cationic lipid
2   comprises DLin-K-C2-DMA.

1                  36.       The nucleic acid-lipid particle of claim 33, wherein the phospholipid
2   comprises DPPC.

1                  37.       The nucleic acid-lipid particle of claim 33, wherein the PEG-lipid
2   conjugate comprises a PEG-DAA conjugate.

1                  38.       The nucleic acid-lipid particle of claim 33, wherein the nucleic acid-
2   lipid particle comprises about 57 .1 mol % cationic lipid, about 7 .1 mol % phospholipid, about
3   34.3 mol % cholesterol or a derivative thereof, and about 1.4 mol % PEG-lipid conjugate.




                                                        117


                                                                                             JA001941
                                                                                             GENV-00004103
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 656 of 1274 PageID #: 8962




1                  39.     The nucleic acid-lipid particle of claim 33, wherein the nucleic acid-
2   lipid particle comprises about 57.1 mol % cationic lipid, about 20 mol % phospholipid, about
3   20 mol % cholesterol or a derivative thereof, and about 1.4 mol % PEG-lipid conjugate.

                   40.     A pharmaceutical composition comprising a nucleic acid-lipid particle
2   of claim 33 and a phannaceutically acceptable carrier.

1                  41.     A method for introducing a nucleic acid into a cell, the method
2   comprising:
3                  contacting the cell with a nucleic acid-lipid particle of claim 1, 27, or 33.

1                  42.     The method of claim 41, wherein the cell is in a mammal.

1                  43.     A method for the in vivo delivery of a nucleic acid, the method
2   comprising:
3                  administering to a mammalian subject a nucleic acid-lipid particle of claim 1,
4   27, or 33.

1                  44.     The method of claim 43, wherein the administration is selected from
2   the group consisting of oral, intranasal, intravenous, intraperitoneal, intramuscular, intra-
3   articular, intralesional, intratracheal, subcutaneous, and intradermal.

1                   45.    A method for treating a disease or disorder in a mammalian subject in
2   need thereof, the method comprising:
3                   administering to the mammalian subject a therapeutically effective amount of
4   a nucleic acid-lipid particle of claim 1, 27, or 33.

1                   46.     The method of claim 45, wherein the disease or disorder is selected
2   from the group consisting of a viral infection, a liver disease or disorder, and cancer.




                                                    118


                                                                                               JA001942
                                                                                               GENV-00004104
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 657 of 1274 PageID #: 8963
                                                                                         PATENT


                               ABSTRACT OF THE DISCLOSURE

                  The present invention provides novel, stable Ii pid particles comprising one or
   more active agents or therapeutic agents, methods of making the lipid particles, and methods
   of delivering and/or administering the lipid particles. More particularly, the present invention
   provides stable nucleic acid-lipid particles (SN ALP) comprising a nucleic acid (such as one
   or more interfering RNA), methods of making the SNALP, and methods of delivering and/or
   administering the SNALP.




    63761446 vi




                                                  119




                                                                                          JA001943
                                                                                          GENV-00004105
                     Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 658 of 1274 PageID #: 8964




           +

                                             Activity of SNALP on HT29 Cell Line

               -
               ~
                (I)
                          1.2
               u            1                                                             -11- Sample 1
               "O                                                                         -+- Sample 2
               .....(I)                                                                   ~ Sample 3
                ca        0.8
                 (1)
               .....i..                                                                   ; - Sample 4
                 c::
               ::>
               ~
               ~
                          0.6                                                             __._ Sample 5
                                                                                          -+- Sample 6
                                                                                          ~ Sample?
                                                                                                          II        -
                                                                                                                    -1..

                                                                                                                    N
                                                                                                                    ~

                          0.4
               ~                                                                          -+- Sample 8
               :a         0.2
               -~>
                            0                                                          100
                                1                         10

                                                     nM Total siRNA




G)
                                                           FIG. 1A
m
z
< I
0



                                                                                                                    +
0
0
0
..i:::..
-1..
0
0)
                                                                                                               JA001944
                        Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 659 of 1274 PageID #: 8965




           +
                                            Activity of SNALP on HT29 Cell Line
               -
               !!!.
               -a;        1.2
               (.)
               "'C
                           1                                                              --- Sample 9
               !ffl
                Cl)                                                                       -ik- Sample 10
               ....
                II.,

                s::::
                          0.8                                                             ~ Sample 11
               ::,                                                                        -+- Sample 12             N

               -
               ~
               0


               ~
                          0.6

                          0.4
                                                                                          --e- Sample 13
                                                                                          -+- Sample 14
                                                                                          -    Sample 15
                                                                                                                    N
                                                                                                                    ~


               :.0                                                                        -+- Sample 16
                ffl
                          0.2
               >
                           0
                                1                           10                          100

                                                      nM Total siRNA




G)                                                            FIG. 1B
m
z
< I
0
0
0
0
..i:::..
                                                                                                                    -1  I



....J,,

0
--..J
                                                                                                               JA001945
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 660 of 1274 PageID #: 8966



                                        3/24                                       +


                 Activity of SNALP Upon Intravenous Administration in Mice
                                  group mean± SD (n=4)


      2 2.5
       cu
      a:::
      <I:
      ~ 2.0
       E
      0
      ~ 1.5
      C)
      6:i
       0
      ~ 1.0
       .....
       (l)
       >
      :.:J 0.5




 +
                                       FIG. 2

                                                                             JA001946
                                                                             GENV-00004108
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 661 of 1274 PageID #: 8967



                                               4/24                                         +


                 3.0-,----------------------------,


                 2.5
          0
         :.p
          co
         er::
         <.C 2.0-
         z
         er::
          E
         0
         a_      1.5-
         <(                                 -4 7% vs PBS Control
         C)
         ID
          0
         ~ 1.0
                                                      1
          ....
          (l)
          >                                                        -77% vs PBS Control
         :::i
                 0.5                                                       1
                 0.0+-"'- --------- --l..--r-- L-------. .___,,-- ,..._ _ _ _ _ _-.L-../
                             PBS            2:30 SNALP 5x1 mg/kg 1 :57 SNALP 5x0 .1 mg/kg




                                              FIG. 3
 -f-·-                                                                            JA001947
                                                                                 GENV-00004109
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 662 of 1274 PageID #: 8968



                                                  5/24                                      +

                         Activity of SNALP Upon Intravenous Administratio n in Mice
                                         group mean± Sb (n=4)


              2.0    l
       0
      :;::;
       Cll
      n::::
      < 1.5
      z
      n::::
       E
      0
      0..
      <   1.0                                                                         l
      (:)
      6:i
       0
                                                           l
       c..
      <,_                                          1
       (l)    0.5
       >
      :.:J                                                          l
                                          1
                                                                             ~   I
              0.0
                             I   ~   11
                                              I                          I
                    PBS     Group 2 Group 3 Group 4 Group 5 Group 6 Group 7 Group 8




                                                  FIG. 4

 +                                                                                    JA001948
                                                                                      GENV-00004110
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 663 of 1274 PageID #: 8969



                                               6/24                                    +


                   Activity of SNALP Upon Intraven ous Administ ration in Mice
                                  group mean± SD (n=4)

       0
      ~ 2.0
                  If
      0::::
      <(
      z                              ~-
      0::::
       E 1.5
      0
      a..
      <(
      (9                    T                                  rT
      ~ 1.0
       Cl..
                                IT                      TT                       rT
      <(
       .....
       (1)
       >
      :.::J 0.5
                       11                 11
                                               rr
                                                    T               T"T




 +
                                               FIG. 5

                                                                                 JA001949
                                                                                 GENV-00004111
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 664 of 1274 PageID #: 8970



                                                                                              7/24                                                                                                          +
                                          Tolerability of IV 1:57 SNALP in Female BALB/c Mice, n=4, SD error
              140                                                                                                                                                    205
                                                                                                                                      168 r:;:v,;

              120
                                  ~
                                  CJ
                                  ~
                                               Alanine Aminotransf erase
                                               Aspartate Aminotransf erase
                                               Sorbital Dehydrogen ase
                                                                                                                                                 ·~
                                                                                                                                                 ~
                                                                                                                                                      /,'.

                                                                                                                                                 i;:: /
                       lncr'd SDH, ALT levels indicate hepatocyt e damage. [/V ,::::
                                                                               //
                                                                                                                                  96             Vr,,-
              100
                                                                                                                                                 18~
                                                                                                                                                 V,;,,
                                                                                     81                                                                                                   79
                                                                                                                                                 vr/
                                                                                                                                                 t;::,:,                                  ~


                                                                                                                        69
                                                                                                                        r77'.
                                                                                                                                                 [:::,~             62

                                                                                                                        ~~ 40 n~
                                                                                                          59                                                                      58

                                                                                                                                                                   I~
              60                                          53                                                                                     ~v'.                            ! ,,,.

                                                                            5C                                                v-1%                                               V.%/
                              46                                           V    /
                                               4(                          [/                     41                                                      '/
                       37                                                                                                ·//
                                                                                                                                                                                                  35
              40                                                           t; ~           33 r;;;t?
                                               ~
                                                                                                                                                 V /
                       Ir?                                                                        if                     '.0

                                                                                                                        ~
                                                                  27       ['.:,~                              27
                       f;:y
                       0            23         1///
                                                //
                                                                           ~~
                                                                           r.., ,,
                                                                                                  ~'I
                                                                                                  1//                   a                        v~                              v~
              20
                                                                                                   j/                                            V//
                                                                                                                                                                                 ~0
                                               ~
                                                                                                  v/.1                                           i;::~
                        0                                                                                               ~
                                                                           ~                                                                     v..,,;                             f/
                                                                                                  11//.
                       ~                       ~,                                                 1//
                                                                                                  0,
                                                                                                                        ~
                                                                                                                        1/,%                           /
                                                                                                                                                                                 v'/..,
                                                                                                                                                                                 f//               '

                   0
                       V/'.                    ./                          f0,,                   V/,                   r,,...,                  V//,
                                                                                                                                                           s
                                                                                                                                                             I&
                                           '
                                                         ';<._0        I             s        I                     I             e          I
                                                                                                                                                                         '                              '



    FIG. 6A

                               Tolerabilit y of IV 1:57 SNALP in Female BALB/c Mice,
                                                                 SD error_ _ _ _ _.,,.,...,r---_ _ _ _ _ _ ___,
                                                          n=4 ..:.....::..C
          5,.---------- ------_;..:_- ---'-.L.-.CC '--=----=...c                                                                               V
                                           Alanine Aminotransf erase                                                                       8.7 v.                  7.9
                                                                                                                                                      t,:
                                            Aspartate Aminotransf erase
                                           Sorbital Dehydrogen ase
          4                                                                                                                                           V

     ro                     2-fold increase ("3xULN") is considered clinically                                                                        ,'
     E
     ,_                                         significant                                                                                           V

     0
    z 3                                                                                                                                     ·"·I
                                                                                                                                                               v
    '+-                                                                                                                                                        v
     0                                                                                                                                                                       7

                                                                                                                                                               /
                                                                                                                                                                             /




                                                                                                                                                                                              ?
                                                                                                                                                                                              /




                                                                                          V
                                   .. /

                              ,:
                              v,                                                     V

              C,
                              /:
          0
                   1 2 3 4 5 6 7 8 9 10 11 1-1.r 13 14 15 16 17 1 8 19 20 2 1 22 23 24 25 26 27 28
                       PBS                 Syringe                     Syringe PBS                 Gear PBS             Syringe Citrate Syringe PBS                                           Gear PBS
                                           Citrate
                   Lipid dose                       77                              96                    79                          99                             123                          102
                   siRNA dose                                               7 mg/kg                                                                                9 mg/kg



 -+_FIG. 6B
                                                                                                                                                                                          JA001950
                                                                                                                                                                                          GENV-00 004112
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 665 of 1274 PageID #: 8971



                                                                  8/24                                                         -t-
                                       SNALP Activity From Different Manufactu ring Processes
      FIG. 7A                                  IV, 48 h, ApoB-100 48 U2/2 G1/2 (Dow),
                                                  female BALB/c mice, n=4, SD error




                                     PBS           1 :57 1 :57  1 :57   1 :57
                                                 Syringe Gear Syringe Gear
                                                 0.05mg 0.05mg 0.1 mg/ 0.1 mg/
                                                    /kg   /kg     kg      kg


                                  SNALP Re-Formu lation - Activity Assessme nt in BALB/c Mice
                          0.6               48 h time point, n=4, SD error bars
     FIG. 7B     0
                 0
                 ....-    0.5
                  '
                 OJ
                  0
                  0..     0.4
                 ~
                  ro      0.3
                  E
                  (/)
                  ro      0.2
                 0...
                  <l)
                  >
                 :.:::;   0.1
                  ro
                  <l)
                          -0.1        PBS                  1 :57                                        1:57
                 0::                                       Gear                               Gear
                                                    Press Pump                        Press Pump
                                                     0.05 mg/kg                         0.1 mg/kg

                                          Efficacy of SNALP Formulatio ns
    FIG. 7C                Fresh Terminal Plasma, n=4 female Balb/c mice, SD Error Bars
                             70
                                                   -9%
                                60
                                50
                                40
                                30
                                20
                                10
                                 0 .(_.L_ ___JL,..L::'."L£L'.LL.LJ...,..L,c:LL.,:LL.d..,.Lc:L.L.t:LLLL,_~'..LLL'.Ll..,
                                       PBS                             1 :57                            1 :57
                                                                     Gear                              Gear
                                                   Press Pump Press Pump
                                                        0. 05 mg/kg                       0. 1 mg/kg




 +-                                                                                                                      JA001951
                                                                                                                         GENV-00004113
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 666 of 1274 PageID #: 8972



                                                     9/24                                          +


                       Tolerabi lity of 1157 SNALP IV in BALB/c Mice, n=4 (Grp1-3 n=3), SD error

                 6%

      -(1)
       en
       0
                 4%
      0
       ....'
       (1)

      0..
       en
      2:-        2%
      ~
      N
       ....::J
       0
      I          0%
      ......                                                        6:1   6:1   6:1   6:1    9:1
       ro                                            9:1      9:1
       en
       en                                            9mg/ 11mg 11mg 13mg/ 15mg/ 17mg/ 11 mg/
       0
      _J         -2%                            ··    kg · /kg· /kg  kg · kg     · kg   kg ·
      .....
      .c                PBS    9:1
       0)
                              7mg/kg
      ~>,
                 -4%                   9:1·   PBS ...
      '"C
       0                            11mg/kg
      co
                 -6%




 +
                                                     FIG. 8


                                                                                        JA001952
                                                                                       GENV-0 000411 4
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 667 of 1274 PageID #: 8973



                                             10/24                                      +


                      Tolerability of IV 1157 SNALP Prepared at 9:1 Upid:Drug Ratio

              1,400.------------------------------,
                                                          ~ Platelet Count
              1,200

              1,000

     -
     .....I

      :
      (.)
               800
     0)

     ~
     ......    600

               400

               200




                            PBS             Gear PBS lnline at     Gear PBS lnline at
                                              7 (71) mg/kg          11 (112) mg/kg




 +
                                             FIG. 9

                                                                                  JA001953
                                                                                  GENV-000 04115
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 668 of 1274 PageID #: 8974



                                                   11/24                                                        +

                   Tolerability of IV 1:57 Gear PBS In-Line SNALP in Female BALB/c
                                            Mice, n=4, SD error

                     123 Alanine Aminotransf erase
       1,200
                     •1221 Aspartate Aminotransf erase
                           Sorbital Dehydrogen ase
       1,000      Samples taken at 24 h time point except
                            for last grp (48 h).                                    893

     3 800
         600

         400

         200
                                           37
           0 +-"-"'""'-"-'-'"'""""'-~ ~~s.L.,-J<:c.:..a.:'-'-- "-"...r..L,--"'-"-"~.z.. .o.l_~.
                                      9:1              9:1                 6:1                6:1 6:1 6:1 9:1
                  PBS            SNALP SNALP SNALP SNALP SNALP SNALP SNALP
                                    9mg/            11 mg/ 11 mg/ 13mg/ 15mg/ 17mg/ 11 mg/kg
                                       kg               kg                  kg                kg  kg  kg  48h




                                                  FIG. 10A



                                                                                                     JA001954
                                                                                                    GENV-00004116
                           Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 669 of 1274 PageID #: 8975




          +                          Tolerability of IV 1:57 Gear PBS In-Line SNALP in Female BALB/c Mice, n=4, SD error


                      50
                                             ~      Alanine Aminotransferase
                                             D Aspartate Aminotransferase
                                             ~ Sorbital Dehydrogenase
                      40

                                   2-fold increase (''3xULN") is considered clinically significant
              ro
              E
              ,._
              0       30
              z

                                                                                                                                                                                   -
              '+-                                                                                                                                                                  ...J,.
               0
              .....                                                                                                                                                                N
              .E                                                                                                                                                                   N
                      20                                                                                                                                                           ~
              ::J
               ,._
               (I)
               0.
               0.
              ::J
              -o      10
               0
              LL.
                I
               X


                       0 ~n:-:171Rr'1Qr,r.!:'()~1'f.'.RJFt'mRGaFtBtl:Bll~l:13~: filrr.:i:;i~rr-:viRf:la~J~tlBlRr.RJBf r
                              .~~.              I ~               r~~           ~j~~                       ~I           I   ~   ~     I   ~    I         r:flN:18RJ:
                                                                                                                     ::!3WJ::188J::~GIJ3l~J8Et~t,ll8f~B31Sl ~ r :~!SJr ::b~
                                                                                                                                                                      I



                           10l 11 l12l 13l14l15l 16l 17l 18119l20l21 l22l23l24l25l26l27l28l29130l31 l32l33l34l35l36l37l38l39140l41
                           siRNA dose 9mg/kg I 11 mg/kg                 11mg/kg     13mg/kg I 15mg/kg        17mg/kg     11mg/kg
                            Lipid dose        92             112          78           93          107         121          112
                                PBS            9:1 SNALP (10)                            6: 1 SNALP (7)                    9:1 (10)
G)
m
z
< I                                                                                    FIG. 10B
0
0
0
0
.i:::..
...Jo.
...Jo.
--..J
                                                                                                                                                                                   +
                                                                                                                                                                              JA001955
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 670 of 1274 PageID #: 8976



                                              13/24                                        -1····
    FIG. 11A
                  1157 Gear PBS In-Line SNALP Activity From Different Input Lipid:Drug Ratios
           3.0    IV, 48 h, ApoB-10048 U2/2 G1/2 (Dow), female BALB/c mice, n=4, SD error
    0

    ~ 2.5
    <(
    z                          2-tailed T-test: p=0.078
    ~ 2.0
    0
    0...
    ~ 1.5
    co
                              l                        i-35%
                                                                    n-3
                                                                   due to
     0                                                             health
     a..
    <,_ 1.0
     (l)
     >
    :.:J
           0.5




    FIG. 11B
                             SNALP Re-Formulation - Activity Assessment in BALB/c Mice
           0.40              DOW ApoB lead siRNA, 48 h time point, n==4, SD error bars
                                                      LLQ ==9%
           0.35

    0 0.30
    0
    ..-
    co'                                                   -28%
     g_ 0.25
    s..                                                               -53%
                                                                   1 excluded
     ro 0.20
     E
     (/)
                                                                     (health)
     ro
    0...   0.15
     (l)
     >
    :.=;
     ro 0.10
     (l)
    0:::
           0.05

           0.00
                   PBS
                                                          mg/kg
                                                                  New 1 :57 SNALP (7: 1)




 +                                                                                  JA001956
                                                                                    GENV-00004118
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 671 of 1274 PageID #: 8977



                                                14/24




                                        Efficacy of SNALP Reformulations
                          Fresh Terminal Plasma, n=4 female Balb/c mice, SD Error Bars

               60

     ::J'                                                 -1%
     -
     "'O
         50

     -e
      0)
      E

       CD
               40
     .......
      en
      CD
      0
     ..c 30
     u
       co
     .......
       0
     I- 20
      co
      E
      (/)
      co       10
     Q_



                0
                    PBS

                                                                New 1:57 SNALP (7:1)




+                                              FIG. 12

                                                                                    JA001957
                                                                                    GENV-00004119
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 672 of 1274 PageID #: 8978



                                             15/24




             120%-,-----------------------------,
                 -+- Luc -.,....... PLK1424

             115%
    ......
    ..c
    .Q' 110%

    ~>,
    -a
     0
       105%
    ca
             100%

             95%

             90%-+- --~-~--- .-~-~-~ -~-~-~- -,---..-- ---,----- -i
                    8   12   16   20   24   28     32   36   40   44   48   52   56   60
                                                 Study Day




 +
                                             FIG. 13


                                                                                 JA001958
                                                                                 GENV-00004120
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 673 of 1274 PageID #: 8979



                                                            16/24                                                         +


                                           -A-     Control SNALP         -o- Active SNALP

                 100%


                  80%
         ro
         -~>
         ::::l    60%
         Cf)



                  40%


                  20%

                                                                                                                      ..--i
                   0%-i------.-- -,----,----,,--- --,-----,----,-- ---,-----,----,- --,------,Bi,-- -nlllr---,--...

                        15   20    25     30    35    40     45    50     55    60    65     70    75    80     85       90
                                                         Days after seeding




                                                           FIG. 14
 -l---
                                                                                                            JA001959
                                                                                                            GENV-00004121
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 674 of 1274 PageID #: 8980



                                          17/24                               +



                            2.0,-
                   <(
                   ~        1.6-                  T
                    E               T
                   O        1.2-
                   0...
                   <(
                   (9
                   _c       0.8-                         T

                   ~
                   .....J
                   ~        0.4-
                    C
                   ro
                   ~        0.0
                                    PBS           Luc   PLK1424




                                          FIG. 15


                                                                       JA001960
                                                                      GENV-00004122
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 675 of 1274 PageID #: 8981



                                          18/24                               ---l-




                      1   2   3   4   5   6     7




                                                          ..,..__PLK1424 5'RACE
                                                                 product
                                                                 476bp
       200---------
       100---------




                                              FIG. 16

                                                                       JA001961
                                                                      GENV-00004123
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 676 of 1274 PageID #: 8982



                                      19/24                                   +




          x200 mag                          x400 mag




          x200 mag                            x400 mag




 +
                                      FIG. 17

                                                                       JA001962
                                                                      GENV-00004124
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 677 of 1274 PageID #: 8983



                                               20/24                              +


                                          6x2mg/kg Mean tumor volume



                      -+-Luc-OMA
             80       -11- PLK-DMA

                      -..-PLK-DSA
     (I)
     E       60
     ::::i
     0
     >
     ,.__
     0
     E
     ::::i
     I-      40




              Q--i------r------,-----,-------r------r---.------.-----1
                  8      10          12      14         16    18       20   22    24
                                                       Days




 +
                                              FIG. 18

                                                                            JA001963
                                                                            GENV-00004125
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 678 of 1274 PageID #: 8984



                                                   21/24                                              +


                      PLK mRNA silencing in scid /beige mice treated with 2mg/kg 1:57 SNALP against
                                              subcutaneous Hep38 tumors
              0.70

              0.60      100%
       0
      ~~
                                                   -15%
      ::r::   0.50·
      0
      0..
      <(
              0.40                    -30%
      CJ                                                                       -37%
      ,E
      ~                                                                                     -52%
      _J
      o_
              0.30
      ..c::
                                                                 -65%
       m 0.20
       C


      :?:

              0.10




 -+-                                               FIG. 19

                                                                                            JA001964
                                                                                           GENV-00004126
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 679 of 1274 PageID #: 8985



                                                 22/24
                                                                                      +


                                            6x2mg/kg Mean tumor volume
          2200
          2000                                 Crossover dosing of Luc
                      -+- Luc-OMA              cDMA group with 6 x 2
          1800        _.._ PLK-DMA             mg/kg PLK cDSA SNALP
                      -4t- PLK-DSA
    (I)   1600
    E
    -2 1400
     0
     >
    0 1200            Initial 6 x 2 mg/kg
    ~ 1000                   SNALP

          800
          600
          400
          200
            0
                 8   10 12 14 16 18 20 22 24 26 28 30 32 34 36 38 40 42 44 46 48 50
                                                     Days




+                                               FIG. 20

                                                                           JA001965
                                                                           GENV-00004127
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 680 of 1274 PageID #: 8986



                                                   23/24




                                  Mean hPLK (1 :4) : hGAPDH (1 :40) minus '"backgr ound"
              1.20
                           0.99

    0         1.00           T
    ~
    ..-
    ..__,
    I
    0         0.80                                                     0.61
    a..
    <{
    (9
    .c
                                                                        T            0.42
    .. 0.60
    ~
    ..--
    ..__..,
    ~
    _J
              0.40 -
                                                                                      I
    a..                                    0.23            0.23
    .c
     C                                       T              T
     co       0.20
     (I)
     ~


              0.00
                       24h Luc 1 :57   24h PLK 1 :57 24h PLK 1 :57 96h PLK 1 :57 96h PLK 1 :57
                          cDMA            cDMA          cDSA          cDMA          cDSA




                                                   FIG. 21
 -t-                                                                                  JA001966
                                                                                      GE NV-000 04128
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 681 of 1274 PageID #: 8987



                                       24/24




             80

             70                       -+- 1 :57 PEG-cD SA SNALP

                                      _._ 1 :57 PEG-cD MA SNALP
             60
       (1)
       en
       0
      '"Cl
             50
      "Cl
       (1)
      t5   40
       (1)
      :~ 30
      ~

             20                       ~"1
             10
                                                                    f

              0
                  0   1    2      3      4         5    6    7      8       9
                                             Time (h)




                                       FIG. 22

                                                                        JA001967
                                                                        GE NV-000 04129
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 682 of 1274 PageID #: 8988



                                            SEQUENCE LISTING

 <llO> Yaworsk i,        Edward
              Lam, Kieu
              Jeffs, Lloyd
              Palmer, Lorne
              MacLach lan, Ian

  <120> Novel Lipid Formula tions for Nucleic
    Acid Delivery

  <130> 02080l-00 7710US

  <140> us 12/424,3 67
  <141> 2009-04- 15

  <150> us 61/045,2 28
  <151> 2008-04- 15

  <160> 7

  <170> FastSEQ for Windows Version 4.0

  <210>       l
  <2ll>       21
  <212>       DNA
  <213>       Artifici al Sequence

  <220>
  <223> syntheti c ES kinesin- related protein 2263 u/u
              siRNA sense strand of siRNA duplex

  <220>
  <223> Descrip tion of Combined DNA/RNA Molecul e:synthe tic
                                                              ES
        kinesin- related protein 2263 U/U siRNA sense strand of
              siRNA duplex

  <221> modified base
  <222> (2) . . . (19)
  <223> n = um

  <221> modified _base
  <222> (20) . . . (21)
  <223> n = deoxythi midine          (dT)

  <400> l
                                                                    21
  cngaagac cn gaagacaa nn n

   <2 J.Q:,       2
   <211> 21
   <212> DNA
   <213> Artifici al Sequence

   <220>
   <223>          syntheti c ES kinesin- related protein 2263 U/U
                  siRNA antisens e strand of siRNA duplex




                                                                         JA001968
                                                                         GENV-00004130
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 683 of 1274 PageID #: 8989



 <220>
 <223> Description of Cornbined DNA/RNA Molecule:synthe tic E5
       kinesin--related protein 2263 U/U siRNA antisense strand
       of siRNA duplex

 <221> modified_base
 <222> (8) . . . (16)
 <223> n = um

 <221> modified base
 <222> (20) ... (21)
 <223> n = deoxythimidine        (dT)

 <400> 2
 auugucunca ggncuncagn n                                          21

 <210>     3
 <211>     21
 <212>     DNA
 <213>     Artificial Sequence

 <220>
 <223> synthetic apolipoprotein B (ApoB) 10048 U2/2 Gl/2
       siRNA sense strand of siR.NA duplex

  <221.> modified_base
  <222> (4) . . . (4)
  <223> n = gm

  <221> modified base
  <222> {8) ••• (14)
  <223> n = um

  <400> 3
  agunucanca cacngaauac c                                         21

  <210>    4
  <2J.l>   21
  <212>    DNA
  <213>    Artificial Sequence

  <220>
  <223> synthetic apolipoprotein B (ApoB) 1.0048 U2/2 GJ./2
        siRNA antisense strand of siRNA duplex

  <221> modified base
  <222> (4) . . . (4}
  <223> n = um

  <221> modified_base
  <222> (7) . . . (9)
  <223> n = gm

  <221> modified_base
  <222> (19) ... (19)
  <223> n = um




                                                                       JA001969
                                                                       GENV-00004131
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 684 of 1274 PageID #: 8990



  <400> 4
  uauncanunu gaugacacnu g                                        21

  <210>   5
  <2ll>   21
  <212>   DNA
  <213>   Artificial Sequence

  <220>
  <223> synthetic polo-l_ike kinase 1 (PLK-l) PLK1424 U4 /GU
        and PLK1424 U4/G siRNA sens·e strand of siRNA
          duplex

  <220>
  <223> Description of Combined DNA/R:.NA Molecule:synthe tic
        polo-like kinase 1 (PLK-1) PLK1424 U4/GU and PLKl424
        U4/G siRNA sense strand of siRNA dupJ.ex

  <221> modified base
  <222> (4) . . . (18)
  <223> n = urn

  <221> modified_base
 <222>    (20) . . . (21)
  <223> n = deo:xythimidine (dT), u or a ribonucleotide
        complementary to target complementary sequence

 <400> 5
 agancacccn ccunaaanan n                                         21

  <210>   6
 <211> 21
 <212> DNA
 <213> Artificial Sequence

 <220>
 <223> synthetic polo-like kinase 1    (PLK-1)   PLK1424 U4/GU
          siRNA antisense strand of siRNA duplex

 <220>
 <223> Description of Combined DNA/RNA Molecule:synthe tic
       polo-like kinase l (PLK-l) PLK1424 U4/GU siRNA
       antisense strand of siRNA duplex

 <221> modified base
 <222> (8) . . . (8)
 <223> n      = gm
 <221> rnodified_base
 <222> (17) . . . (17)
 <223> n = um

 <e221> modified_base
 <::222> (20). . (21)
 <223> n = deoxythimidine {dT), u or a ribonucleotide
       complementary to target sequence




                                                                       JA001970
                                                                      GENV-00004132
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 685 of 1274 PageID #: 8991



  <400> 6
 uauuuaanga gggugancun n                                             21

  <210>    7
  <2ll>    2l
  <21.2>   DNA
  <213>    Artificial Sequence

  <220>
  <223> synthetic polo-like kinase    l   (PLK-1-)   PLK1-424 U4/G
           siRNA antisense strand of siRNA duplex

  <220>
  <223> Description of Combined DNA/RNA Molecule:synthetic
        polo-like kinase l (PLK-1-) PLKl424 U4/G siRNA
           antisense strand of siRNA duplex

  <221> modified base
  <222> (9) . . . (15)
  <223> n = gm

  <221> modified_base
  <222> (20) . . . (21)
  <223> n = deoxythimidine     (dT), u or a ribonucleotide
           complementary to target sequence

  <400> 7
  uauuuaagna gngunaucun n                                            21




                                                                          JA001971
                                                                          GENV-00004133
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 686 of 1274 PageID #: 8992




                   JOINT APPENDIX 60
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 687 of 1274 PageID #: 8993



  I hereby certify that this correspondence is being filed via                                                    PATENT
  EFS-Web with the United States Patent and Trademark Office                    Attorney Docket No.: 86399-007720US-802191
  on         March 28 2012

  KILPATRICK TOWNSEND & STOCKTON LLP

  By: _   __,_/J,,_,,u=dit=h -"'C=oth,.,,,am/"- '-"--------------




                    IN THE UNITED STATES PATENT AND TRADEMAR K OFFICE



   In re application of:                                            Confirmation No. 4479

             MacLACHLAN et al.                                      Examiner:         Not yet assigned

   Application No.: 13/253,917                                      Art Unit:         1653

   Filed: October 5, 2011                                                  COMMUNICATION UNDER

   For: NOVEL LIPID FORMULATIONS                                                37 C.F.R. §§ 1.821-1.825
   FOR NULEIC ACID DELIVERY
                                                                                           AND
   Customer No.: 20350
                                                                         PRELIMINARY AMENDMENT



   Mail Stop Missing Parts
   Commissioner for Patents
   P.O. Box 1450
   Alexandria, VA 22313-1450

   Commissioner:

                        In response to the request to comply with Requirements for Patent Applications
   Containing Nucleotide Sequence and/or Amino Acid Sequence Disclosures, 37 C.F.R. §§ 1.821-
   1.825, that accompanied the Notice to File Missing Parts ofNonprovisi onal Application mailed
   October 28, 2011, Applicants submit herewith the required computer readable copy of the
   Substitute Sequence Listing. Please amend the specification as follows.
                        Amendments to the Specification begin on page 2 of this paper.
                        Amendments to the Claims are reflected in the listing of claims which begins on
   page 4 of this paper.
                        Remarks begin on page 7 of this paper.




                                                                 Pagel of 8
                                                                                                                   JA001972
                                                                                                                   GENV-000 04145
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 688 of 1274 PageID #: 8994



   Appl. No. 13/253,917                                                                            PATENT
   Arndt. dated March 28, 2012
   Reply to Notice of Missing Parts of October 28, 2011



   Amendments to the Specification:

   Please replace paragraph [0001] beginning at page 1, line 3, with the following:



   [0001]     The present application is a continuation of U.S. Application No. 12/424,367.,, filed
   April 15, 2009, now U.S. Patent No. 8,058,069, which application claims priority to U.S.
   Provisional Application No. 61/045,228, filed April 15, 2008, the disclosures of which are herein
   incorporated by reference in their entirety for all purposes.



   Please replace paragraph [0004] beginning at page 1, line 12, with the following:


            REFERENCE TO A "SEQUENCE LISTING[["]]," A TABLE, OR A COMPUTER

              PROGRAM LISTING APPENDIX SUBMITTED AS AN ASCII TEXT FILE

   [0004] Not Bf)plieable. The Sequence Listing written in file -77-2.TXT, created on March 13,
   2012, 8,192 bytes, machine format IBM-PC, MS-Windows operating system, is hereby
   incorporated by reference in its entirety for all purposes.



   Please replace Table 1 beginning at page 92, line 14, with the following:


   Table 1. siRNA duplex comprising sense and antisense Eg5 RNA polynucleotides.

  Modification               Eg5 2263 siRNA sequence                SEQ ID   % 2'0Me-Modifie d      % Modified
                                                                     NO:                           in DS Region

      U/U               5'-CUGAAGACCUGAAGACAAUdTdT-3'                 l         6/42 = 14.3%       6/38 = 15.8%
                  3'-dTdTGACUUCUGGACUUCUGUUA-5'                       i
                                - -         -
 Column 1: "U/U" = 2'OMe-uridine modified siRNA duplex; Column 2: 2'OMe-modified nucleotides are indicated in
 bold and underlined. The siRNA duplex can alternatively or additionally comprise 2'-deoxy-2'-fluoro (2'F)
 nucleotides, 2'-deoxy nucleotides, 2'-O-(2-methoxyethyl) (MOE) nucleotides, and/or locked nucleic acid (LNA)
 nucleotides. "dT" = deoxythymidine. Column 3: The number and percentage of2'OMe-modif ied nucleotides in the
 siRNA duplex are provided. Column 4: The number and percentage of modified nucleotides in the double-stranded
 (DS) region of the siRNA duplex are provided.




                                                      Page 2 of 8
                                                                                                     JA001973
                                                                                                    GENV-00004146
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 689 of 1274 PageID #: 8995



      Appl. No. 13/253,917                                                                                 PATENT
      Arndt. dated March 28, 2012
      Reply to Notice of Missing Parts of October 28, 2011

      Please replace Table 3 beginning at page 94, line 7, with the following:


      Table 3. siRNA duplex comprising sense and antisense ApoB RNA polynucleotides.

 Position    Modification               ApoB siRNA sequence                SEO       % 2'0Me-Modified         % Modified
                                                                          IDNO:                              in DS Region

   10048      U2/2 Gl/2         5'-AGUGUCAUCACACUGAAUACC-3'                   J.         7/42 = 16.7%         7/38 = 18.4%
                                       - -      -
                             3'-GUUCACAGUAGUGUGACUUAU-5'
                                    -              - - -                      1
Column 1: The number refers to the nucleotide position of the 5' base of the sense strand relative to the mouse ApoB mRNA
sequence XM_l37955. Column 2: The numbers refer to the distribution of2'OMe chemical modifications in each strand.
Column 3: 2'OMe-modified nucleotides are indicated in bold and underlined. The siRNA duplex can alternatively or
additionally comprise 2'-deoxy-2'-fluoro (2'F) nucleotides, 2'-deoxy nucleotides, 2'-O-(2-methoxyethyl) (MOE)
nucleotides, and/or locked nucleic acid (LNA) nucleotides. Column 4: The number and percentage of2'OMe-modified
nucleotides in the siRNA duplex are provided. Column 5: The number and percentage of modified nucleotides in the
double-stranded (DS) region of the siRNA duplex are provided.




      Please cancel the present "SEQUENCE LISTING", pages 1 through 4, submitted October 5,
      2011, and insert therefor the accompanying paper copy of the Substitute Sequence Listing, page
      numbers l to 4, at the end of the application.




                                                         Page 3 of 8
                                                                                                             JA001974
                                                                                                            GENV-00004147
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 690 of 1274 PageID #: 8996



  Appl. No. 13/253,917                                                                           PATENT
  Arndt. dated March 28, 2012
  Reply to Notice of Missing Parts of October 28, 2011



  Amendments to the Claims:

   This listing of claims will replace all prior versions, and listings of claims in the application:

   Listing of Claims:

                   1-46.      Canceled

                   47.        (New) A nucleic acid-lipid particle comprising:
                   (a) a nucleic acid;
                   (b) a cationic lipid comprising from 50 mol % to 65 mol % of the total lipid
                          present in the particle;
                   (c) a non-cationic lipid comprising a mixture of a phospholipid and cholesterol or
                          a derivative thereof, wherein the phospholipid comprises from 3 mol % to 15
                          mol % of the total lipid present in the particle and the cholesterol or derivative
                          thereof comprises from 30 mol % to 40 mol % of the total lipid present in the
                          particle; and
                    (d) a conjugated lipid that inhibits aggregation of particles comprising from 0.5
                          mol % to 2 mol % of the total lipid present in the particle.

                    48.       (New) The nucleic acid-lipid particle of claim 47, wherein the nucleic
   acid comprises a small interfering RNA (siRNA).

                    49.       (New) The nucleic acid-lipid particle of claim 48, wherein the siRNA
   comprises at least one modified nucleotide.

                    50.       (New) The nucleic acid-lipid particle of claim 48, wherein the siRNA
   comprises at least one 2'-O-methyl (2'OMe) nucleotide.

                    51.       (New) The nucleic acid-lipid particle of claim 48, wherein the siRNA is
   about 19 to about 25 base pairs in length.




                                                     Page 4 of 8
                                                                                                   JA001975
                                                                                                  GE NV-00004148
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 691 of 1274 PageID #: 8997



  Appl. No. 13/253,917                                                                        PATENT
  Arndt. dated March 28, 2012
  Reply to Notice of Missing Parts of October 28, 2011

                   52.      (New) The nucleic acid-lipid particle of claim 48, wherein the siRNA
   comprises 3' overhangs.

                   53.      (New) The nucleic acid-lipid particle of claim 47, wherein the cationic
   lipid comprises from 50 mol % to 60 mol % of the total lipid present in the particle.

                   54.      (New) The nucleic acid-lipid particle of claim 47, wherein the
   phospholipid comprises dipalmitoylphosphatidylcholine (DPPC), distearoylphosphatidylcholine
   (DSPC), or a mixture thereof.

                    55.     (New) The nucleic acid-lipid particle of claim 47, wherein the
   phospholipid comprises from 4 mol % to 15 mol % of the total lipid present in the particle.

                    56.     (New) The nucleic acid-lipid particle of claim 47, wherein the
   phospholipid comprises from 4 mol % to 12 mol % of the total lipid present in the particle.

                    57.      (New) The nucleic acid-lipid particle of claim 47, wherein the
   phospholipid comprises from 5 mol % to 12 mol % of the total lipid present in the particle.

                    58.      (New) The nucleic acid-lipid particle of claim 47, wherein the
   phospholipid comprises from 6 mol % to 12 mol % of the total lipid present in the particle.

                    59.      (New) The nucleic acid-lipid particle of claim 47, wherein the cholesterol
   or derivative thereof comprises from 30 mol % to 35 mol % of the total lipid present in the
   particle.

                    60.      (New) The nucleic acid-lipid particle of claim 47, wherein the conjugated
   lipid that inhibits aggregation of particles comprises a polyethyleneglycol (PEG)-lipid conjugate.

                    61.      (New) The nucleic acid-lipid particle of claim 60, wherein the PEG-lipid
   conjugate comprises a PEG-diacylglycerol (PEG-DAG) conjugate, a PEG-dialkyloxypropyl
   (PEG-DAA) conjugate, or a mixture thereof.




                                                     Page 5 of 8
                                                                                               JA001976
                                                                                              GENV-00004149
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 692 of 1274 PageID #: 8998



  Appl. No. 13/253,917                                                                        PATENT
  Arndt. dated March 28, 2012
  Reply to Notice of Missing Parts of October 28, 201 1

                   62.        (New) The nucleic acid-lipid particle of claim 61, wherein the PEG-DAA
  conjugate comprises a PEG-dimyristyloxypropyl (PEG-DMA) conjugate, a PEG-
  distearyloxypropyl (PEG-DSA) conjugate, or a mixture thereof.

                    63.       (New) The nucleic acid-lipid particle of claim 62, wherein the PEG has an
   average molecular weight of about 2,000 daltons.

                    64.       (New) The nucleic acid-lipid particle of claim 47, wherein the conjugated
   lipid that inhibits aggregation of particles comprises from 1 mol % to 2 mol % of the total lipid
   present in the particle.

                    65.       (New) The nucleic acid-lipid particle of claim 60, wherein the nucleic
   acid-lipid particle comprises about 55 mol % cationic lipid, about 11 mol % phospholipid, about
   33 mol % cholesterol or a derivative thereof, and about 1.6 mol % PEG-lipid conjugate.

                    66.       (New) The nucleic acid-lipid particle of claim 47, wherein the nucleic
   acid is fully encapsulated in the nucleic acid-lipid particle.

                    67.       (New) A pharmaceutical composition comprising a nucleic acid-lipid
   particle of claim 47 and a pharmaceutically acceptable carrier.




                                                      Page 6 of 8
                                                                                                JA001977
                                                                                               GENV-00004150
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 693 of 1274 PageID #: 8999



   Appl. No. 13/253,917                                                                      PATENT
   Arndt. dated March 28, 2012
   Reply to Notice of Missing Parts of October 28, 2011


                                                    REMARKS

   I.      STATUS OF THE CLAIMS
                    After entry of this amendment, claims 47-67 are pending in this application and
   are presented for examination. Claims 1-46 have been canceled without prejudice to future
   prosecution. Claims 4 7-67 are newly added.
                    Support for new claims 4 7-67 is found throughout the specification as filed. In
   particular, new claim 47 finds support, for example, in original claim 1, in paragraph [0116] on
   page 24, and in paragraph [0133] on pages 27-28. New claim 48 finds support, for example, in
   original claim 2. New claim 49 finds support, for example, in original claim 4. New claim 50
   finds support, for example, in original claim 5. New claims 51 and 52 find support, for example,
   in paragraph [0054] on pages 8-9. New claim 53 finds support, for example, in paragraph [0116]
   on page 24. New claim 54 finds support, for example, in original claim 14. New claims 55-59
   find support, for example, in paragraph [0133] on pages 27-28. New claims 60-64 find support,
   for example, in original claims 17-21, respectively. New claim 65 finds support, for example, in
   paragraph [0121] on page 25, in paragraph [0133] on pages 27-28, and in paragraph [0139] on
   page 30. New claim 66 finds support, for example, in original claim 23. New claim 67 finds
   support, for example, in original claim 26.
                     As such, no new matter has been introduced. Reconsideration is respectfully
   requested.

   II.      SUBSTITUTE SEQUENCE LISTING
                     This amendment is accompanied by a computer readable form containing the
   above named sequences, SEQ ID NOS: 1-7. The Substitute Sequence Listing in computer
   readable form was prepared through the use of the software program "FastSEQ" in accordance
   with 37 C.F.R. §§ 1.821 to 1.825. The Substitute Sequence Listing does not include new matter
   or matter that goes beyond the disclosure of the application as filed.
                     According to the Legal Framework for EFS-Web (September 2008), if a sequence
   listing text file submitted via EFS-Web complies with the requirements of 37 CFR 1.824(a)(2)-
   (6) and (b), the text file will serve as both the paper copy required by 37 CFR l.821(c) and the




                                                      Page 7 of 8
                                                                                              JA001978
                                                                                              GENV-00004151
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 694 of 1274 PageID #: 9000



   Appl. No. 13/253,917                                                                     PATENT
   Arndt. dated March 28, 2012
   Reply to Notice of Missing Parts of October 28, 2011

   CRF required by 37 CFR l.82l(e). Therefore, a paper copy of the referenced Substitute
   Sequence Listing is not included with this amendment.

                                                  CONCLUSION
                    In view of the foregoing, Applicants believe all claims now pending in this
   application are in condition for allowance. The issuance of a formal Notice of Allowance at an
   early date is respectfully requested.
                    If the Examiner believes a telephone conference would expedite prosecution of
   this application, please telephone the undersigned at 925-472-5000.

                                                              Respectfully submitted,

                                                              4(!,~
                                                              Joe C. Hao      ·
                                                              Reg. No. 55,246

   KILPATRICK TOWNSEND & STOCKTON LLP
   Two Embarcadero Center, Eighth Floor
   San Francisco, California 94111-3834
   Tel: 925-472-5000
   Fax: 415-576-0300
   Attachments
   JCH:dmw
   64033847 vl




                                                      Page 8 of 8
                                                                                              JA001979
                                                                                             GENV-00004152
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 695 of 1274 PageID #: 9001




                   JOINT APPENDIX 61
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 696 of 1274 PageID #: 9002




                                                                       JA001980
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 697 of 1274 PageID #: 9003




                                                                       JA001981
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 698 of 1274 PageID #: 9004




                                                                       JA001982
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 699 of 1274 PageID #: 9005




                                                                       JA001983
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 700 of 1274 PageID #: 9006




                                                                       JA001984
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 701 of 1274 PageID #: 9007




                                                                       JA001985
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 702 of 1274 PageID #: 9008




                                                                       JA001986
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 703 of 1274 PageID #: 9009




                                                                       JA001987
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 704 of 1274 PageID #: 9010




                                                                       JA001988
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 705 of 1274 PageID #: 9011




                                                                       JA001989
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 706 of 1274 PageID #: 9012




                                                                       JA001990
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 707 of 1274 PageID #: 9013




                                                                       JA001991
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 708 of 1274 PageID #: 9014




                                                                       JA001992
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 709 of 1274 PageID #: 9015




                                                                       JA001993
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 710 of 1274 PageID #: 9016




                                                                       JA001994
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 711 of 1274 PageID #: 9017




                                                                       JA001995
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 712 of 1274 PageID #: 9018




                                                                       JA001996
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 713 of 1274 PageID #: 9019




                                                                       JA001997
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 714 of 1274 PageID #: 9020




                                                                       JA001998
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 715 of 1274 PageID #: 9021




                                                                       JA001999
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 716 of 1274 PageID #: 9022




                                                                       JA002000
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 717 of 1274 PageID #: 9023




                                                                       JA002001
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 718 of 1274 PageID #: 9024




                                                                       JA002002
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 719 of 1274 PageID #: 9025




                                                                       JA002003
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 720 of 1274 PageID #: 9026




                                                                       JA002004
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 721 of 1274 PageID #: 9027




                                                                       JA002005
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 722 of 1274 PageID #: 9028




                                                                       JA002006
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 723 of 1274 PageID #: 9029




                                                                       JA002007
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 724 of 1274 PageID #: 9030




                                                                       JA002008
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 725 of 1274 PageID #: 9031




                                                                       JA002009
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 726 of 1274 PageID #: 9032




                                                                       JA002010
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 727 of 1274 PageID #: 9033




                                                                       JA002011
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 728 of 1274 PageID #: 9034




                                                                       JA002012
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 729 of 1274 PageID #: 9035




                                                                       JA002013
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 730 of 1274 PageID #: 9036




                                                                       JA002014
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 731 of 1274 PageID #: 9037




                                                                       JA002015
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 732 of 1274 PageID #: 9038




                                                                       JA002016
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 733 of 1274 PageID #: 9039




                                                                       JA002017
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 734 of 1274 PageID #: 9040




                                                                       JA002018
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 735 of 1274 PageID #: 9041




                                                                       JA002019
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 736 of 1274 PageID #: 9042




                                                                       JA002020
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 737 of 1274 PageID #: 9043




                                                                       JA002021
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 738 of 1274 PageID #: 9044




                                                                       JA002022
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 739 of 1274 PageID #: 9045




                                                                       JA002023
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 740 of 1274 PageID #: 9046




                                                                       JA002024
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 741 of 1274 PageID #: 9047




                                                                       JA002025
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 742 of 1274 PageID #: 9048




                                                                       JA002026
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 743 of 1274 PageID #: 9049




                                                                       JA002027
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 744 of 1274 PageID #: 9050




                                                                       JA002028
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 745 of 1274 PageID #: 9051




                                                                       JA002029
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 746 of 1274 PageID #: 9052




                                                                       JA002030
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 747 of 1274 PageID #: 9053




                                                                       JA002031
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 748 of 1274 PageID #: 9054




                                                                       JA002032
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 749 of 1274 PageID #: 9055




                                                                       JA002033
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 750 of 1274 PageID #: 9056




                                                                       JA002034
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 751 of 1274 PageID #: 9057




                                                                       JA002035
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 752 of 1274 PageID #: 9058




                                                                       JA002036
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 753 of 1274 PageID #: 9059




                                                                       JA002037
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 754 of 1274 PageID #: 9060




                                                                       JA002038
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 755 of 1274 PageID #: 9061




                                                                       JA002039
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 756 of 1274 PageID #: 9062




                                                                       JA002040
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 757 of 1274 PageID #: 9063




                                                                       JA002041
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 758 of 1274 PageID #: 9064




                                                                       JA002042
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 759 of 1274 PageID #: 9065




                                                                       JA002043
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 760 of 1274 PageID #: 9066




                                                                       JA002044
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 761 of 1274 PageID #: 9067




                                                                       JA002045
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 762 of 1274 PageID #: 9068




                                                                       JA002046
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 763 of 1274 PageID #: 9069




                                                                       JA002047
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 764 of 1274 PageID #: 9070




                                                                       JA002048
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 765 of 1274 PageID #: 9071




                                                                       JA002049
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 766 of 1274 PageID #: 9072




                                                                       JA002050
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 767 of 1274 PageID #: 9073




                                                                       JA002051
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 768 of 1274 PageID #: 9074




                                                                       JA002052
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 769 of 1274 PageID #: 9075




                                                                       JA002053
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 770 of 1274 PageID #: 9076




                                                                       JA002054
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 771 of 1274 PageID #: 9077




                                                                       JA002055
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 772 of 1274 PageID #: 9078




                                                                       JA002056
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 773 of 1274 PageID #: 9079




                                                                       JA002057
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 774 of 1274 PageID #: 9080




                                                                       JA002058
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 775 of 1274 PageID #: 9081




                                                                       JA002059
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 776 of 1274 PageID #: 9082




                                                                       JA002060
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 777 of 1274 PageID #: 9083




                                                                       JA002061
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 778 of 1274 PageID #: 9084




                                                                       JA002062
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 779 of 1274 PageID #: 9085




                                                                       JA002063
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 780 of 1274 PageID #: 9086




                                                                       JA002064
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 781 of 1274 PageID #: 9087




                                                                       JA002065
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 782 of 1274 PageID #: 9088




                                                                       JA002066
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 783 of 1274 PageID #: 9089




                                                                       JA002067
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 784 of 1274 PageID #: 9090




                                                                       JA002068
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 785 of 1274 PageID #: 9091




                                                                       JA002069
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 786 of 1274 PageID #: 9092




                                                                       JA002070
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 787 of 1274 PageID #: 9093




                                                                       JA002071
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 788 of 1274 PageID #: 9094




                                                                       JA002072
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 789 of 1274 PageID #: 9095




                                                                       JA002073
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 790 of 1274 PageID #: 9096




                                                                       JA002074
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 791 of 1274 PageID #: 9097




                                                                       JA002075
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 792 of 1274 PageID #: 9098




                                                                       JA002076
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 793 of 1274 PageID #: 9099




                                                                       JA002077
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 794 of 1274 PageID #: 9100




                                                                       JA002078
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 795 of 1274 PageID #: 9101




                                                                       JA002079
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 796 of 1274 PageID #: 9102




                                                                       JA002080
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 797 of 1274 PageID #: 9103




                                                                       JA002081
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 798 of 1274 PageID #: 9104




                                                                       JA002082
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 799 of 1274 PageID #: 9105




                                                                       JA002083
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 800 of 1274 PageID #: 9106




                                                                       JA002084
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 801 of 1274 PageID #: 9107




                                                                       JA002085
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 802 of 1274 PageID #: 9108




                                                                       JA002086
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 803 of 1274 PageID #: 9109




                                                                       JA002087
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 804 of 1274 PageID #: 9110




                                                                       JA002088
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 805 of 1274 PageID #: 9111




                                                                       JA002089
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 806 of 1274 PageID #: 9112




                                                                       JA002090
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 807 of 1274 PageID #: 9113




                                                                       JA002091
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 808 of 1274 PageID #: 9114




                                                                       JA002092
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 809 of 1274 PageID #: 9115




                                                                       JA002093
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 810 of 1274 PageID #: 9116




                                                                       JA002094
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 811 of 1274 PageID #: 9117




                                                                       JA002095
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 812 of 1274 PageID #: 9118




                                                                       JA002096
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 813 of 1274 PageID #: 9119




                                                                       JA002097
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 814 of 1274 PageID #: 9120




                                                                       JA002098
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 815 of 1274 PageID #: 9121




                                                                       JA002099
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 816 of 1274 PageID #: 9122




                                                                       JA002100
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 817 of 1274 PageID #: 9123




                                                                       JA002101
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 818 of 1274 PageID #: 9124




                                                                       JA002102
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 819 of 1274 PageID #: 9125




                                                                       JA002103
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 820 of 1274 PageID #: 9126




                                                                       JA002104
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 821 of 1274 PageID #: 9127




                                                                       JA002105
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 822 of 1274 PageID #: 9128




                                                                       JA002106
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 823 of 1274 PageID #: 9129




                                                                       JA002107
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 824 of 1274 PageID #: 9130




                                                                       JA002108
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 825 of 1274 PageID #: 9131




                                                                       JA002109
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 826 of 1274 PageID #: 9132




                                                                       JA002110
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 827 of 1274 PageID #: 9133




                                                                       JA002111
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 828 of 1274 PageID #: 9134




                                                                       JA002112
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 829 of 1274 PageID #: 9135




                                                                       JA002113
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 830 of 1274 PageID #: 9136




                                                                       JA002114
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 831 of 1274 PageID #: 9137




                                                                       JA002115
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 832 of 1274 PageID #: 9138




                                                                       JA002116
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 833 of 1274 PageID #: 9139




                                                                       JA002117
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 834 of 1274 PageID #: 9140




                                                                       JA002118
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 835 of 1274 PageID #: 9141




                                                                       JA002119
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 836 of 1274 PageID #: 9142




                                                                       JA002120
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 837 of 1274 PageID #: 9143




                                                                       JA002121
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 838 of 1274 PageID #: 9144




                                                                       JA002122
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 839 of 1274 PageID #: 9145




                   JOINT APPENDIX 62
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 840 of 1274 PageID #: 9146




                                                                       JA002123
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 841 of 1274 PageID #: 9147




                                                                       JA002124
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 842 of 1274 PageID #: 9148




                                                                       JA002125
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 843 of 1274 PageID #: 9149




                                                                       JA002126
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 844 of 1274 PageID #: 9150




                                                                       JA002127
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 845 of 1274 PageID #: 9151




                   JOINT APPENDIX 63
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 846 of 1274 PageID #: 9152
                                                                                           PATENT
                                                                              86399-007730US-879491


         NOVEL LIPID FORMULATIONS FOR NUCLEIC ACID DELIVERY
                         CROSS-REFERENCES TO RELATED APPLICATIONS
       [0001]    The present application is a continuation of U.S. Application No. 13/253,917, filed
       October 5, 2011, which application is a continuation of 12/424,367 filed April 15, 2009, now
   5   U.S. Patent No. 8,058,069, which application claims priority to U.S. Provisional Application
       No. 61/045,228, filed April 15, 2008, the disclosures of which are herein incorporated by
       reference in their entirety for all purposes.

                STATEMENT REGARDING FEDERALLY SPONSORED RESEARCH OR
                                               DEVELOPMENT

  l0   [0002]    Not applicable.

                     NAMES OF PARTIES TO A JOINT RESEARCH AGREEMENT

       [0003]    Not applicable.

                                REFERENCE TO A "SEQUENCE LISTING"

       [0004]    Not applicable.

  15                               BACKGROUND OF THE INVENTION
       [0005]    RNA interference (RNAi) is an evolutionarily conserved process in which
       recognition of double-stranded RNA (dsRNA) ultimately leads to posttranscriptional
       suppression of gene expression. This suppression is mediated by short dsRNA, also called
       small interfering RNA (siRNA), which induces specific degradation of mRNA through
  20   complementary base pairing. In several model systems, this natural response has been
       developed into a powerful tool for the investigation of gene function (see, e.g., Elbashir et al.,
       Genes Dev., 15: 188-200 (2001); Hammond et al., Nat. Rev. Genet., 2: 110-1 l 9 (2001)). More
       recently, it was discovered that introducing synthetic 21-nucleotide dsRNA duplexes into
       mammalian cells could efficiently silence gene expression.
  25   [0006]    Although the precise mechanism is still unclear, RNAi provides a potential new
       approach 10 downregulate or silence the transcription and translation of a gene of interest.
       For example, it is desirable to modulate (e.g., reduce) the expression of certain genes for the
       treatment of neoplastic disorders such as cancer. It is also desirable to silence the expression
       of genes associated with liver diseases and disorders such as hepatitis. It is further desirable




                                                                                                 JA002128
                                                                                                 GE NV-00005279
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 847 of 1274 PageID #: 9153



       to reduce the expression of certain genes for the treatment of atherosclerosis and its
       manifestations, e.g., hypercholesterolemia, myocardial infarction, and thrombosis.
       [0007]   A safe and effective nucleic acid delivery system is required for RNAi to be
       therapeutically useful. Viral vectors are relatively et11cient gene delivery systems, but suffer
   5   from a variety of limitations, such as the potential for reversion to the wild-type as well as
       immune response concerns. As a result, nonviral gene delivery systems are receiving
       increasing attention (Worgall et al., Human Gene Therapy, 8:37 (1997); Peeters et al.,
       Human Gene Therapy, 7: 1693 (1996); Yei et al., Gene Therapy, 1: 192 (1994); Hope et al.,
       Molecular Membrane Biology, 15: 1 ( 1998) ). Furthermore, viral systems are rapidly cleared
  lO   from the circulation, limiting transfection to "first-pass" organs such as the lungs, liver, and
       spleen. In addition, these systems induce immune responses that compromise delivery with
       subsequent injections.
       [0008]    Plasmid DNA-cationic liposome complexes are currently the most commonly
       employed nonviral gene delivery vehicles (Feigner, Scientific American, 276: 102 (1997);
  15   Chonn et al., Current Opinion in Biotechnology, 6:698 (1995)). For instance, cationic
       liposome complexes made of an amphipathic compound, a neutral lipid, and a detergent for
       transfecting insect cells are disclosed in U.S. Patent No. 6,458,382. Cationic liposome
       complexes are also disclosed in U.S. Patent Publication No. 20030073640.
       [0009]    Cationic liposome complexes are large, poorly defined systems that are not suited
  20   for systemic applications and can elicit considerable toxic side effects (Harrison et al.,
       Biotechniques, 19:816 (1995); Li eta!., The Gene, 4:891 (1997); Tam eta!, Gene 1'her.,
       7: 1867 (2000)). As large, positively charged aggregates, lipoplexes are rapidly cleared when
       administered in vivo, with highest expression levels observed in first-pass organs, particularly
       the lungs (Huang et al., Nature Biotechnology, 15 :620 (1997); Templeton et al., Nature
  25   Biotechnology, 15:647 (1997); Hofland et al., Pharmaceutical Research, 14:742 (1997)).
       [0010]    Other liposomal delivery systems include, for example, the use of reverse micelles,
       anionic liposomes, and polymer liposomes. Reverse micelles are disclosed in U.S. Patent No.
       6,429,200. Anionic liposomes are disclosed in U.S. Patent Publication No. 20030026831.
       Polymer liposomes that incorporate dextrin or glycerol-phosphocholine polymers are
  30   disclosed in U.S. Patent Publication Nos. 20020081736 and 20030082103, respectively.
       [0011]    A gene delivery system containing an encapsulated nucleic acid for systemic
       delivery should be small (i.e., less than about 100 nm diameter) and should remain intact in
       the circulation for an extended period oftime in order to achieve delivery to affected tissues.
       This requires a highly stable, serum-resistant nucleic acid-containing particle that does not


                                                        2




                                                                                                    JA002129
                                                                                                 GE NV-00005280
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 848 of 1274 PageID #: 9154



       interact with cells and other components of the vascular compartment. The particle should
       also readily interact with target cells at a disease site in order to facilitate intracellular
       delivery of a desired nucleic acid.
       [0012]    Recent work has shown that nucleic acids can be encapsulated in small (e.g., about
   5   70 nm diameter) "stabilized plasmid-lipid particles" (SPLP) that consist of a single plasmid
       encapsulated within a bilayer lipid vesicle (Wheeler et al., Gene Therapy, 6:271 (1999)).
       These SPLPs typically contain the "fusogenic" lipid dioleoylphosphatidylethanolamine
       (DOPE), low levels of cationic lipid, and are stabilized in aqueous media by the presence of a
       poly(ethylene glycol) (PEG) coating. SPLPs have systemic application as they exhibit
  10   extended circulation lifetimes following intravenous (i.v .) injection, accumulate preferentially
       at distal tumor sites due to the enhanced vascular permeability in such regions, and can
       mediate transgene expression at these tumor sites. The levels oftransgene expression
       observed at the tumor site following i.v. injection of SPLPs containing the luciferase marker
       gene are superior to the levels that can be achieved employing plasmid DNA-cationic
  15   liposome complexes (lipoplexes) or naked DNA.
       [0013]    Thus, there remains a strong need in the art for novel and more ef11cient methods
       and compositions for introducing nucleic acids such as siRNA into cells. In addition, there is
       a need in the art for methods of clownregulating the expression of genes of interest to treat or
       prevent diseases and disorders such as cancer and atherosclerosis. The present invention
  20   addresses these and other needs.

                                   BRIEF SUMMARY OF THE INVENTION
       f0014]    The present invention provides novel, serum-stable lipid particles comprising one or
       more active agents or therapeutic agents, methods of making the lipid particles, and methods
       of delivering and/or administering the lipid particles (e.g., for the treatment of a disease or
  25   disorder).
       [0015]       In preferred embodiments, the active agent or therapeutic agent is fully encapsulated
       within the lipid portion of the lipid particle such that the active agent or therapeutic agent in
       the lipid particle is resistant in aqueous solution to enzymatic degradation, e.g., by a nuclease
       or protease. In other preferred embodiments, the lipid particles are substantially non-toxic to
  30   mammals such as humans.
       [0016]       In one aspect, the present invention provides lipid pm1icles comprising: (a) one or
       more active agents or therapeutic agents; (b) one or more cationic lipids comprising from
       about 50 mol % to about 85 mol % of the total lipid present in the particle; (c) one or more



                                                          3




                                                                                                        JA002130
                                                                                                        GE NV-00005281
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 849 of 1274 PageID #: 9155



       non-cationic lipids comprising from about 13 mol % to about 49.5 mol % ofthc total lipid
       present in the particle; and (d) one or more conjugated lipids that inhibit aggregation of
       particles comprising from about 0.5 mo!% to about 2 mol % of the total lipid present in the
       particle.
   5   [0017]      More particularly, the present invention provides serum-stable nucleic acid-lipid
       particles (SNALP) comprising a nucleic acid (e.g., one or more interfering RNA molecules
       such as siRNA, aiRNA, and/or miRNA), methods of making the SN ALP, and methods of
       delivering and/or administering the SN ALP (e.g., for the treatment of a disease or disorder).
       [0018]      In certain embodiments, the nucleic acid-lipid particle (e.g., SNALP) comprises: (a)
  10   a nucleic acid (e.g., an interfering RNA); (b) a cationic lipid comprising from about 50 mo!%
       to about 85 mol % of the total lipid present in the particle; (c) a non-cationic lipid comprising
       from about 13 mol % to about 49.5 mol % of the total lipid present in the pmticle; and (d) a
       conjugated lipid that inhibits aggregation of particles comprising from about 0.5 mol % to
       about 2 mol % of the total lipid present in the particle.
  15   [0019]      In one preferred embodiment, the nucleic acid-lipid particle (e.g., SNALP)
       comprises: (a) an siRNA; (b) a cationic lipid comprising from about 56.5 mo!% to about
       66.5 mo!% of the total lipid present in the particle; (c) cholesterol or a derivative thereof
       comprising from about 31.5 mol % to about 42.5 mol % of the total lipid present in the
       particle; and (d) a PEG-lipid conjugate comprising from about l mol % to about 2 mol % of
  20   the total lipid present in the particle. This preferred embodiment of nucleic acid-lipid particle
       is generally referred to herein as the "I :62" formulation.
       [00201      In another preferred embodiment, the nucleic acid-lipid particle (e.g., SNALP)
       comprises: (a) an siRNA; (b) a cationic lipid comprising from about 52 mo!% to about 62
       mol % of the total lipid present in the particle; (c) a mixture of a phospholipid and cholesterol
  25   or a derivative thereof comprising from about 36 mol % to about 47 mo!% of the total lipid
       present in the particle; and (d) a PEG-lipid conjugate comprising from about 1 mo! % to
       about 2 mol % of the total lipid present in the particle. This preferred embodiment of nucleic
       acid-lipid particle is generally referred to herein as the "1 :57'' formulation.
       [0021]      The present invention also provides pharmaceutical compositions comprising a lipid
  30   particle described herein (e.g., SNALP) and a pharmaceutically acceptable carrier.
       [0022]      In another aspect, the present invention provides methods for introducing an active
       agent or therapeutic agent (e.g., nucleic acid) into a cell, the method comprising contacting
       the cell with a lipid particle described herein such as a nucleic acid-lipid particle (e.g.,
       SNALP).

                                                         4




                                                                                                      JA002131
                                                                                                      GE NV-00005282
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 850 of 1274 PageID #: 9156



       [0023]   In yet another aspect, the present invention provides methods for the in vivo
       delivery of an active agent or therapeutic agent (e.g., nucleic acid), the method comprising
       administering to a mammalian subject a lipid particle described herein such as a nucleic acid-
       lipid particle (e.g., SNALP).
   5   [0024]   In a further aspect, the present invention provides methods for treating a disease or
       disorder in a mammalian subject in need thereof: the method comprising administering to the
       mammalian subject a therapeutically effective amount of a lipid particle described herein
       such as a nucleic acid-lipid particle (e.g., SNALP).
       [0025]   Other objects, features, and advantages of the present invention will be apparent to
  10   one of skill in the art from the following detailed description and figures.

                               BRIEF DESCRIPTION OF THE DR.A WINGS
       [0026]   Figure I illustrates data demonstrating the activity of 1 :57 SN ALP containing Eg5
       siRNA in a human colon cancer cell line.
       [0027]   Figure 2 illustrates data demonstrating the activity of 1 :57 SNALP containing ApoB
  15   siRNA following intravenous administration in mice.
       [0028]   Figure 3 illustrates additional data demonstrating the activity of l :57 SNALP
       containing ApoB siRNA following intravenous administration in mice. Each bar represents
       the group mean of five animals. Error bars indicate the standard deviation.
       [0029]   Figure 4 illustrates data demonstrating the activity of 1:57 and 1:62 SN ALP
  20   containing ApoB siRNA following intravenous administration in mice.
       [0030]   Figure 5 illustrates data demonstrating the activity of l :62 SN ALP containing ApoB
       siRNA following intravenous administration in mice.
       [0031]   Figure 6 illustrates data demonstrating that the tolerability of I :57 SN ALP
       containing ApoB siRNA prepared by citrate buffer versus PBS direct dilution did not differ
  25   significantly in terms of blood clinical chemistry parameters.
       [0032]   Figure 7 illustrates data demonstrating that the efficacy of 1:57 SNALP containing
       ApoB siRNA prepared by gear pump was similar to the same SNALP prepared by syringe
       press.
       [0033]   Figure 8 illustrates data demonstrating that there was very little effect on body
  30   weight 24 hours after administration of l :57 SNALP containing ApoB siRNA.
       [0034}   Figure 9 illustrates data demonstrating that there were no obvious changes in
       platelet count after administration of l :57 SN ALP containing ApoB siRNA.




                                                       5




                                                                                                 JA002132
                                                                                                GE NV-00005283
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 851 of 1274 PageID #: 9157



       [0035]    Figure 10 illustrates data demonstrating that clinically significant liver enzyme
       elevations (3xULN) occurred at particular drug dosages of l :57 SNALP containing ApoB
       siRNA.
       [00361    Figure 11 illustrates data demonstrating that the potency of the lower lipid:drug
   5   (L:D) 1:57 SN ALP containing ApoB siRNA was as good as that of the higher L:D SNALP at
       the tested drug dosages.
       l0037J    Figure 12 illustrates data demonstrating that ApoB protein and total cholesterol
       levels were reduced to a similar extent by 1:57 SNALP containing ApoB siRNA at a 6: 1
       input L:D ratio (final ratio of7:1) and 1:57 SNALP at a 9:1 input L:D ratio (final ratio of
  10   10:1).
       [0038]    Figure 13 illustrates data demonstrating that a treatment regimen of 1:57 SN ALP
       with siRNA targeting PLK-1 is well tolerated with no apparent signs of treatment related
       toxicity in mice bearing Hep3B liver tumors.
       [0039]    Figure 14 illuslrates data demonstrating that treatment with l: 57 SN A LP containing
  15   PLK-1 siRNA caused a significant increase in the survival ofHep3B tumor-bearing mice.
       [0040]    Figure 15 illustrates data demonstrating that treatment with 1:57 SN ALP containing
       PLK-1 siRNA reduced PLK-1 mRNA levels by 50% in intrahepatic Hep3B tumors growing
       in mice 24 hours after SNALP administration.
       [0041]    Figure 16 illustrates data demonstrating that a specific cleavage product of PLK-1
  20   mRNA was detectable by 5' RACE-PCR in mice treated with l :57 SNALP containing PLK-1
       siRNA. 10 µl PCR product/well were loaded onto a 1.5% agarose gel. Lane Nos.: (1)
       molecular weight (MW) marker; (2) PBS mouse I; (3) PBS mouse 2; (4) PBS mouse 3; (5)
       Luc SNALP mouse l; (6) Luc SNALP mouse 2; (7) PLK SNALP mouse l; (8) PLK SNALP
       mouse 2; (9) PLK SNALP mouse 3; and (10) no template control.
  25   [0042]    Figure 17 illustrates data demonstrating that control (Luc) I :57 SN ALP-treated
       mice displayed normal mitoses in Hep3B tumors (top panels), whereas mice treated with 1:57
       SNALP containing PLK-1 siRNA exhibited numerous aberrant mitoses and tumor cell
       apoptosis in Hep3B tumors (bottom panels).
       [0043]    Figure 18 illustrates data demonstrating that multiple doses of 1:57 PLK-1 SNALP
  30   containing PEG-cDSA induced the regression of established Hep3B subcutaneous (S.C.)
       tumors.
       [0044]    Figure 19 illustrates data demonstrating PLK-1 mRNA silencing using 1:57 PLK
       SNALP in S.C. Hep3B tumors following a single intravenous SNALP administration.



                                                       6




                                                                                                JA002133
                                                                                                GE NV-00005284
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 852 of 1274 PageID #: 9158



       [0045]    Figure 20 illustrates data demonstrating that PLK-1 PEG-cDSA SNALP inhibited
       the growth of large S.C. Hep3B tumors.
       [0046]    Figure 21 illustrates data demonstrating tumor-derived PLK-1 mRNA silencing in
       Hep3B intrahepatic tumors.
   5   [0047]    Figure 22 illustrates data demonstrating the blood clearance profile of 1:57 PLIZ-1
       SNALP containing either PEG-cDMA or PEG-cDSA.

                               DETAILED DESCRIPTION OF THE INVENTION
       I.       Introduction

       [0048]    The present invention is based, in part, upon the surprising discovery that lipid
  IO   particles comprising from about 50 mol % to about 85 mol % of a cationic lipid, from about
       13 mol % to about 49.5 mol % of a non-cationic lipid, and from about 0.5 mo!% to about 2
       mol % of a lipid conjugate provide advantages when used for the in vitro or in vivo delivery
       of an active agent, such as a therapeutic nucleic acid (e.g., an interfering RNA). In particular,
       as illustrated by the Examples herein, the present invention provides stable nucleic acid-lipid
  15   particles (SN ALP) that advantageously impart increased activity of the encapsulated nucleic
       acid (e.g., an interfering RNA such as siRNA) and improved tolerability of the formulations
       in vivo, resulting in a significant increase in the therapeutic index as compared to nucleic
       acid-lipid particle compositions previously described. Additionally, the SN ALP of the
       invention are stable in circulation, e.g., resistant to degradation by nucleases in serum, and
  20   are substantially non-toxic to mammals such as humans. As a non-limiting example, Figure 3
       of Example 4 shows that one SN ALP embodiment of the invention ("l :57 SN ALP") was
       more than 10 times as efficacious as compared to a nucleic acid-lipid particle previously
       described ("2:30 SNALP") in mediating target gene silencing at a 10-fold lower dose.
       Similarly, Figure 2 of Example 3 shows that the "l :57 SNALP" formulation was substantially
  25   more effective at silencing the expression of a target gene as compared to nucleic acid-lipid
       particles previously described ("2:40 SNALP").
       [0049]     ln certain embodiments, the present invention provides improved compositions for
       the delivery of interfering RNA such as siRNA molecules. In particular, the Examples herein
       illustrate that the improved lipid particle formulations of the invention are highly effective in
  30   downregulating the mRNA and/or protein levels of target genes. Furthermore, the Examples
       herein illustrate that the presence of certain molar ratios of lipid components results in
       improved or enhanced activity of these lipid particle formulations of the present invention.
       For instance, the "1 :57 SNALP" and "l :62 SNALP" formulations described herein are


                                                       7




                                                                                                    JA002134
                                                                                                 GE NV-00005285
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 853 of 1274 PageID #: 9159



       exemplary formulations of the present invention that are particularly advantageous because
       they provide improved efficacy and tolerability in vivo, are serum-stable, are substantially
       non-toxic, are capable of accessing extra vascular sites, and are capable of reaching target cell
       populations.
   5   [0050]    The lipid particles and compositiops of the present invention may be used for a
       variety of purposes, including the delivery of associated or encapsulated therapeutic agents to
       cells, both in vitro and in vivo. Accordingly, the present invention provides methods for
       treating diseases or disorders in a subject in need thereof, by contacting the subject with a
       lipid particle described herein comprising one or more suitable therapeutic agents.
  10   [0051]    Various exemplary embodiments of the lipid particles of the invention, as well as
       compositions and formulations comprising the same, and their use to deliver therapeutic
       agents and modulate target gene and protein expression, are described in further detail below.

       II.      Definitions

       [0052]    As used herein, the following terms have the meanings ascribed to them unless
  15   specified otherwise.
       [0053]    The term "interfering RNA" or "RNAi" or "interfering RNA sequence" refers to
       single-stranded RNA (e.g., mature miRNA) or double-stranded RNA (i.e., duplex RNA such
       as siRNA, aiRNA, or pre-miRNA) that is capable of reducing or inhibiting the expression of
       a target gene or sequence (e.g., by mediating the degradation or inhibiting the translation of
  20   mRNAs which are complementary to the interfering RNA sequence) when the interfering
       RNA is in the same cell as the target gene or sequence. Interfering RNA thus refers to the
       single-stranded RNA that is complementary to a target mRNA sequence or to the double-
       stranded RNA formed by two complementary strands or by a single, self-complementary
       strand. Interfering RNA may have substantial or complete identity to the target gene or
  25   sequence, or may comprise a region of mismatch (i.e., a mismatch motif). The sequence of
       the interfering RNA can correspond to the full-length target gene, or a subsequence thereof.
       10054]    Interfering RNA includes "small-interfering RNA" or "siRNA," e.g., interfering
       RNA of about 15-60, 15-50, or 15-40 (duplex) nucleotides in length, more typically about 15-
       30, 15-25, or 19-25 ( duplex) nucleotides in length, and is preferably about 20-24, 21-22, or
  30   21-23 (duplex) nucleotides in length (e.g., each complementary sequence of the double-
       stranded siRNA is 15-60, 15-50, 15-40, 15-30, 15-25, or 19-25 nucleotides in length,
       preferably about 20-24, 21-22, or 21-23 nucleotides in length, and the double-stranded
       siRNA is about 15-60, 15-50, 15-40, 15-30, 15-25, or 19-25 base pairs in length, preferably


                                                       8




                                                                                                 JA002135
                                                                                                GE NV-00005286
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 854 of 1274 PageID #: 9160



       about 18-22, 19-20, or 19-21 base pairs in length). siRNA duplexes may comprise 3'
       overhangs of about 1 to about 4 nucleotides or about 2 to about 3 nucleotides and 5'
       phosphate termini. Examples of siRNA include, without limitation, a double-stranded
       polynucleotide molecule assembled from two separate stranded molecules, wherein one
   5   strand is the sense strand and the other is the complementary antisense strand; a double-
       stranded polynucleotide molecule assembled from a single stranded molecule, where the
       sense and antisense regions are linked by a nucleic acid-based or non-nucleic acid-based
       linker; a double-stranded polynucleotide molecule with a hairpin secondary structure having
       self-complementary sense and antisense regions; and a circular single-stranded
  10   polynucleotide molecule with two or more loop structures and a stem having self-
       complementary sense and antisense regions, where the circular polynucleotide can be
       processed in vivo or in vitro to generate an active double-stranded siRNA molecule.
       [0055]   Preferably, siRNA are chemically synthesized. siRNA can also be generated by
       cleavage oflonger dsRNA (e.g., dsRNA greater than about 25 nucleotides in length) with the
  15   E. coli RNase III or Dicer. These enzymes process the dsRNA into biologically active
       siRNA (see, e.g., Yang et al., Proc. Natl. Acad. Sci. USA, 99:9942-9947 (2002); Calegari et
       al., Proc. Natl. Acad. Sci. USA, 99:14236 (2002); Byrom et al., Ambion TechNotes, 10(1):4-6
       (2003); Kawasaki et al., Nucleic Acids Res., 31 :981-987 (2003); Knight et al., Science,
       293:2269-2271 (2001); and Robertson et al., J. Biol. Chem., 243:82 (1968)). Preferably,
  20   dsRNA are at least 50 nucleotides to about 100,200,300,400, or 500 nucleotides in length.
       A dsRNA may be as long as 1000, 1500, 2000, 5000 nucleotides in length, or longer. The
       dsRNA can encode for an entire gene transcript or a partial gene transcript. In ce1tain
       instances, siRNA may be encoded by a plasmid (e.g., transcribed as sequences that
       automatically fold into duplexes with hairpin loops).
  25   [0056]   As used herein, the term "mismatch motif" or "mismatch region" refers to a portion
       of an interfering RNA (e.g., siRNA, aiRNA, miRNA) sequence that does not have 100 %
       complementarity to its target sequence. An interfering RNA may have at least one, two,
       three, four, five, six, or more mismatch regions. The mismatch regions may be contiguous or
       may be separated by 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, or more nucleotides. The mismatch
  30   motifs or regions may comprise a single nucleotide or may comprise two, three, four, five, or
       more nucleotides.
       [0057]   An "effective amount" or "therapeutically effective amount" of an active agent or
       therapeutic agent such as an interfering RNA is an amount sufficient to produce the desired
       effect, e.g., an inhibition of expression of a target sequence in comparison to the normal


                                                      9




                                                                                                  JA002136
                                                                                                 GE NV-00005287
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 855 of 1274 PageID #: 9161



       expression level detected in the absence of an interfering RNA. Inhibition of expression of a
       target gene or target sequence is achieved when the value obtained with an interfering RNA
       relative to the control is about 90%, 85%, 80%, 75%, 70%, 65%, 60%, 55%, 50%, 45%,
       40%, 35%, 30%, 25%, 20%, 15%, l 0%, 5%, or 0%. Suitable assays for measuring
   5   expression of a target gene or target sequence include, e.g., examination of protein or RNA
       levels using techniques known lo those of skill in the mi such as dot blots, northern blots, in
       situ hybridization, ELISA, immunoprecipitatio n, enzyme function, as well as phenotypic
       assays known to those of skill in the art.
       [0058)   By "decrease," "decreasing," "reduce," or "reducing" of an immune response by an
  l0   interfering RNA is intended to mean a detectable decrease of an immune response to a given
       interfering RNA (e.g., a modified interfering RNA). The amount of decrease of an immune
       response by a modified interfering RNA may be determined relative to the level of an
       immune response in the presence of an unmodified interfering RNA. A detectable decrease
       can be about 5%, I 0%, 15%, 20%, 25%, 30%, 35%, 40%, 45%, 50%, 55%, 60%, 65%, 70%,
  15   75%, 80%, 85%, 90%, 95%, 100%, or more lower than the immune response detected in the
       presence of the unmodified interfering RNA. A decrease in the immune response to
       interfering RNA is typically measured by a decrease in cytokine production (e.g., IFNy,
       IFNa., TNFa, IL-6, or IL-12) by a responder cell in vitro or a decrease in cytokine production
       in the sera of a mammalian subject after administration of the interfering RNA.
  20   [0059]    As used herein, the term "responder cell" refers to a cell, preferably a mammalian
       cell, that produces a detectable immune response when contacted with an immunostimulatory
       interfering RNA such as an unmodified siRNA. Exemplary responder cells include, e.g.,
       dendritic cells, macrophages, peripheral blood mononuclear cells (PBMCs), splenocytes, and
       the like. Detectable immune responses include, e.g., production of cytokines or growth
  25   factors such as TNF-a., IFN-a, IFN-p, IFN-y, IL-1, IL-2, IL-3, IL-4, IL-5, IL-6, IL-10, lL-12,
       IL-13, TGF, and combinations thereof
       [0060]    "Substantial identity" refers to a sequence that hybridizes to a reference sequence
       under stringent conditions, or to a sequence that has a specified percent identity over a
       specified region of a reference sequence.
  30   [0061]    The phrase "stringent hybridization conditions" refers to conditions under which a
       nucleic acid will hybridize to its target sequence, typically in a complex mixture of nucleic
       acids, but to no other sequences. Stringent conditions are sequence-dependen t and will be
       different in different circumstances. Longer sequences hybridize specifically at higher
       temperatures. An extensive guide to the hybridization of nucleic acids is found in Tijssen,


                                                       10




                                                                                                   JA002137
                                                                                                GE NV-00005288
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 856 of 1274 PageID #: 9162



       Techniques in Biochemistry and Molecular Biology--Hybridization with Nucleic Probes,
       "Overview of principles of hybridization and the strategy of nucleic acid assays" (1993).

       Generally, stringent conditions are selected to be about 5-1 o0 c lower than the thermal
       melting point (Tm) for the specific sequence at a defined ionic strength pH. The Tm is the
   5   temperature (under defined ionic strength, pH, and nucleic concentration) at which 50% of
       the probes complementary to the target hybridize to the target sequence at equilibrium (as the
       target sequences are present in excess, at Tm, 50% of the probes are occupied at equilibrium).
       Stringent conditions may also be achieved with the addition of destabilizing agents such as
       formamide. For selective or specific hybridization, a positive signal is at least two times
  10   background, preferably IO times background hybridization.
       [0062]   Exemplary stringent hybridization conditions can be as follows: 50% formamide,

       5x SSC, and 1% SDS, incubating at 42°C, or, 5x SSC, 1% SOS, incubating at 65°C, with

       wash in 0.2x SSC, and 0.1 % SOS at 65°C. For PCR, a temperature of about 36°C is typical
       for low stringency amplification, although annealing temperatures may vary between about

  15   32°C and 48°C depending on primer length. For high stringency PCR amplification, a

       temperature of about 62°C is typical, although high stringency annealing temperatures can

       range from about 50°C to about 65°C, depending on the primer length and specificity.
       Typical cycle conditions for both high and low stringency amplifications include a

       denaturation phase of 90°C-95°C for 30 sec.-2 min., an annealing phase lasting 30 sec.-2

  20   min., and an extension phase of about n°c for 1-2 min. Protocols and guidelines for low
       and high stringency amplification reactions are provided, e.g., in Innis et al., PCR Protocols,
       A Guide to Methods and Applications, Academic Press, Inc. N. Y. (1990).
       [0063]   Nucleic acids that do not hybridize to each other under stringent conditions arc still
       substantially identical if the polypeptides which they encode are substantially identical. This
  25   occurs, for example, when a copy of a nucleic acid is created using the maximum codon
       degeneracy permitted by the genetic code. In such cases, the nucleic acids typically hybridize
       under moderately stringent hybridization conditions. Exemplary "moderately stringent
       hybridization conditions" include a hybridization in a buffer of 40% formamide, 1 M NaCl,

       1% SOS at 37°C, and a wash in IX SSC at 45°C. A positive hybridization is at least twice
  30   background. Those of ordinary skill will readily recognize that alternative hybridization and
       wash conditions can be utilized to provide conditions of similar stringency. Additional




                                                      11




                                                                                                  JA002138
                                                                                                  GENV-00005289
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 857 of 1274 PageID #: 9163



       guidelines for determining hybridization parameters are provided in numerous references,
       e.g., Current Protocols in Molecular Biology, Ausubel et al., eds.
       [0064]    The terms "substantially identical" or "substantial identity," in the context of two or
       more nucleic acids, refer to two or more sequences or subsequences that are the same or have
   5   a specified percentage of nucleotides that are the same (i.e., at least about 60%, preferably at
       least about 65%, 70%, 75%, 80%, 85%, 90%, or 95% identity over a specified region), when
       compared and aligned for maximum correspondence over a comparison window, or
       designated region as measured using one of the following sequence comparison algorithms or
       by manual alignment and visual inspection. This definition, when the context indicates, also
  10   refers analogously to the complement of a sequence. Preferably, the substantial identity
       exists over a region that is at least about 5, 10, 15, 20, 25, 30, 35, 40, 45, 50, 55, or 60
       nucleotides in length.
       [0065]    For sequence comparison, typically one sequence acts as a reference sequence, to
       which test sequences are compared. When using a sequence comparison algorithm, test and
  15   reference sequences are entered into a computer, subsequence coordinates arc designated, if
       necessary, and sequence algorithm program parameters are designated. Default program
       parameters can be used, or alternative parameters can be designated. The sequence
       comparison algorithm then calculates the percent sequence identities for the test sequences
       relative to the reference sequence, based on the program parameters.
  20   [0066]    A "comparison window," as used herein, includes reference to a segment of any one
       of a number of contiguous positions selected from the group consisting of from about 5 to
       about 60, usually about 10 to about 45, more usually about 15 to about 30, in which a
       sequence may be compared to a reference sequence of the same number of contiguous
       positions after the two sequences are optimally aligned. Methods of alignment of sequences
  25   for comparison are well known in the art. Optimal alignment of sequences for comparison
       can be conducted, e.g., by the local homology algorithm of Smith and Waterman, Adv. Appl.
       Math., 2:482 (1981), by the homology alignment algorithm of Needleman and Wunsch, J
       lvlol. Biol., 48:443 (1970), by the search for similarity method of Pearson and Lipman, Proc.
       Natl. Acad. S'ci. USA, 85 :2444 (1988), by computerized implementations of these algorithms
  30   (GAP, BESTFIT, FASTA, and TFASTA in the Wisconsin Genetics Software Package,
       Genetics Computer Group, 575 Science Dr., Madison, WI), or by manual alignment and
       visual inspection (see, e.g., Current Protocols in Molecular Biology, Ausubel et al., eds.
       (1995 supplement)).



                                                        12




                                                                                                      JA002139
                                                                                                      GE NV-00005290
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 858 of 1274 PageID #: 9164



       [0067]   A preferred example of algorithms that are suitable for determining percent
       sequence identity and sequence similarity are the BLAST and BLAST 2.0 algorithms, which
       arc described in Altschul et al., Nuc. Acids Res., 25:3389-3402 (1977) and Altschul et al., J.
       Mot. Biol., 215:403-410 (1990), respectively. BLAST and BLAST 2.0 are used, with the
   5   parameters described herein, to determine percenl sequence identity for the nucleic acids of
       the invention. Software for performing BLAST analyses is publicly available through the
       National Center for Biotechnology Information (http://www.ncbi.nlm.nih.go v/).
       [0068]   The BLAST algorithm also performs a statistical analysis of the similarity between
       two sequences (see, e.g., Karlin and Altschul, Proc. Natl. Acad. Sci. USA, 90:5873-5787
  10   (1993)). One measure of similarity provided by the BLAST algorithm is the smallest sum
       probability (P(N)), which provides an indication of the probability by which a match between
       two nucleotide sequences would occur by chance. For example, a nucleic acid is considered
       similar to a reference sequence if the smallest sum probability in a comparison of the test
       nucleic acid to the reference nucleic acid is less than about 0.2, more preferably less than
  15   about 0.01, and most preferably less than about 0.001.
       [0069]   The term "nucleic acid" as used herein refers to a polymer containing at least two
       deoxyribonucleotides or ribonucleotides in either single- or double-stranded form and
       includes DNA and RNA. DNA may be in the form of, e.g., antisense molecules, plasmid
       DNA, pre-condensed DNA, a PCR product, vectors (Pl, PAC, BAC, Y AC, artificial
  20   chromosomes), expression cassettes, chimeric sequences, chromosomal DNA, or derivatives
       and combinations of these groups. RNA may be in the form ofsiRNA, asymmetrical
       interfering RNA (aiRNA), microRNA (miRNA), mRNA, tRNA, rRNA, tRNA, viral RNA
       (vRNA), and combinations thereof. Nucleic acids include nucleic acids containing known
       nucleotide analogs or modified backbone residues or linkages, which are synthetic, naturally
  25   occurring, and non-naturally occurring, and which have similar binding properties as the
       reference nucleic acid. Examples of such analogs include, without limitation,
       phosphorothioates, phosphoramidates, methyl phosphonates, chiral-methyl phosphonates, 2' -
       O-methyl ribonucleotides, and peptide-nucleic acids (PNAs). Unless specifically limited, the
       term encompasses nucleic acids containing known analogues of natural nucleotides that have
  30   similar binding properties as the reference nucleic acid. Unless otherwise indicated, a
       paiticular nucleic acid sequence also implicitly encompasses conservatively modified
       variants thereof (e.g., degenerate codon substitutions), alleles, orthologs, SNPs, and
       complementary sequences as well as the sequence explicitly indicated. Specifically,
       degenerate codon substitutions may be achieved by generating sequences in which the third


                                                      13




                                                                                                 JA002140
                                                                                                 GE NV-00005291
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 859 of 1274 PageID #: 9165



       position of one or more selected (or all) codons is substituted with mixed-base and/or
       deoxyinosine residues (Batzer et al., Nucleic Acid Res., 19:5081 (1991); Ohtsuka et al., J
       Biol. Chem., 260:2605-2608 (1985); Rossolini et al., Mo!. Cell. Probes, 8:91-98 (1994)).
       "Nucleotides" contain a sugar deoxyribose (DNA) or ribose (RNA), a base, and a phosphate
   5   group. Nucleotides are linked together through the phosphate groups. "Bases" include
       purines and pyrimidines, which further include natural compounds adenine, thymine,
       guanine, cytosine, uracil, inosinc, and natural analogs, and synthetic derivatives of purines
       and pyrimidines, which include, but are not limited to, modifications which place new
       reactive groups such as, but not limited to, amines, alcohols, thiols, carboxylates, and
  10   alkylhalides.
       [0070]   The term "gene" refers to a nucleic acid (e.g., DNA or RNA) sequence that
       comprises partial length or entire length coding sequences necessary for the production of a
       polypeptide or precursor polypeptide.
       [0071]   "Gene product," as used herein, refers to a product of a gene such as an RNA
  15   transcript or a polypeptide.
       [0072]    The term "lipid" refers to a group of organic compounds that include, but are not
       limited to, esters of fatty acids and are characterized by being insoluble in water, but soluble
       in many organic solvents. They are usually divided into at least three classes: (1) "simple
       lipids," which include fats and oils as well as waxes; (2) "compound lipids," which include
  20   phospholipids and glycolipids; and (3) "derived lipids" such as steroids.
       [0073]    A "lipid particle" is used herein to refer to a lipid formulation that can be used to
       deliver an active agent or therapeutic agent, such as a nucleic acid (e.g, an interfering RNA),
       to a target site of interest. In the lipid particle of the invention, which is typically formed
       from a cationic lipid, a non-cationic lipid, and a conjugated lipid that prevents aggregation of
  25   the particle, the active agent or therapeutic agent may be encapsulated in the lipid, thereby
       protecting the agent from enzymatic degradation.
       [0074]    As used herein, the term "SNALP" refers to a stable nucleic acid-lipid particle. A
       SNALP represents a particle made from lipids (e.g., a cationic lipid, a non-cationic lipid, and
       a conjugated lipid that prevents aggregation of the pa1ticle), wherein the nucleic acid (e.g.,
  30   siRNA, aiRNA, miRNA, ssDNA, dsDNA, ssRNA, short hairpin RNA (shRNA), dsRNA, or a
       plasmid, including plasmids from which an interfering RNA is transcribed) is fully
       encapsulated within the lipid. As used herein, the term "SNALP" includes an SPLP, which is
       the term used to refer to a nucleic acid-lipid particle comprising a nucleic acid (e.g., a
       plasmid) encapsulated within the lipid. SN ALP and SPLP typically contain a cationic lipid, a


                                                        14




                                                                                                    JA002141
                                                                                                    GE NV-00005292
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 860 of 1274 PageID #: 9166



       non-cationic lipid, and a lipid conjugate (e.g., a PEG-lipid conjugate). SNALP and SPLP are
       extremely useful for systemic applications, as they can exhibit extended circulation lifetimes
       following intravenous (i.v.) injection, they can accumulate at distal sites (e.g., sites physically
       separated from the administration site), and they can mediate expression of the transfected
   5   gene or silencing of target gene expression at these distal sites. SPLP include "pSPLP,"
       which comprise an encapsulated condensing agent-nucleic acid complex as set forth in PCT
       Publication No. WO 00/03683, the disclosure of which is herein incorporated by reference in
       its entirety for all purposes.
       10075]    The lipid particles of the invention (e.g., SNALP) typically have a mean diameter of
  l0   from about 40 nm to about 150 nm, from about 50 nm to about 150 nm, from about 60 nm to
       about 130 nm, from about 70 nm to about 110 nm, or from about 70 to about 90 nm, and are
       substantially non-toxic. In addition, nucleic acids, when present in the lipid particles of the
       invention, are resistant in aqueous solution to degradation with a nuclease. Nucleic acid-lipid
       particles and their method of preparation are disclosed in, e.g., U.S. Patent Publication Nos.
  15   20040142025 and 20070042031, the disclosures of which are herein incorporated by
       reference in their entirety for all purposes.
       [0076]    As used herein, "lipid encapsulated" can refer to a lipid particle that provides an
       active agent or therapeutic agent, such as a nucleic acid (e.g., an interfering RNA), with full
       encapsulation, partial encapsulation, or both. In a preferred embodiment, the nucleic acid is
  20   fully encapsulated in the lipid particle (e.g., to form an SPLP, pSPLP, SNALP, or other
       nucleic acid-lipid particle).
       [0077]    The term "lipid conjugate" refers to a conjugated lipid that inhibits aggregation of
       lipid particles. Such lipid conjugates include, but are not limited to, polyamide oligomers
       (e.g., ATTA-lipid conjugates), PEG-lipid conjugates, such as PEG coupled to
  25   dialkyloxypropyls, PEG coupled to diacy1glycerols, PEG coupled to cholesterol, PEG
       coupled to phosphatidylethanolamines, PEG conjugated to ceramides (see, e.g., U.S. Patent
       No. 5,885,613, the disclosure of which is herein incorporated by reference in its entirety for
       all purposes), cationic PEG lipids, and mixtures thereof. PEG can be conjugated directly to
       the lipid or may be linked to the lipid via a linker moiety. Any linker moiety suitable for
  30   coupling the PEG to a lipid can be used including, e.g., non-ester containing linker moieties
       and ester-containing linker moieties. ln preferred embodiments, non-ester containing linker
       moieties are used.
       [0078]    The term "amphipathic lipid" refers, in part, to any suitable material wherein the
       hydrophobic portion of the lipid material orients into a hydrophobic phase, while the


                                                        15




                                                                                                  JA002142
                                                                                                  GE NV-00005293
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 861 of 1274 PageID #: 9167



       hydrophilic portion orients toward the aqueous phase. Hydrophilic characteristics derive
       from the presence of polar or charged groups such as carbohydrates, phosphate, carboxylic,
       sulfato, amino, sulfhydryl, nitro, hydroxyl, and other like groups. Hydrophobicity can be
       conforred by the inclusion of apolar groups that include, but are not limited to, long-chain
   5   saturated and unsaturated aliphatic hydrocarbon groups and such groups substituted by one or
       more aromatic, cycloaliphatic, or heterocyclic group(s). Examples of amphipathic
       compounds include, but are not limited to, phospholipids, aminolipids, and sphingolipids.
       [0079]     Representative examples ofphospholipids include, but are not limited to,
       phosphatidylcholin e, phosphatidylethano lamine, phosphatidylserine , phosphatidylinosito l,
  lO   phosphatidic acid, palmitoyloleoyl phosphatidylcholin e, lysophosphatidylch oline,
       lysophosphatidy lethano lam ine, dipalmitoy 1phosphatidy lcho 1ine, dio leoy lphosphatidy lcho line,
       distearoylphosphat idylcholine, and dilinoleoylphospha tidylcholinc. Other compounds
       lacking in phosphorus, such as sphingolipid, glycosphingolipid families, diacylglycerols, and
       ~-acyloxyacids, are also within the group designated as amphipathie lipids. Additionally, the
  15   amphipathic lipids described above can be mixed with other lipids including triglycerides and
       sterols.
       [00801     The term "neutral lipid" refers to any of a number of lipid species that exist either in
       an uncharged or neutral zwitterionic form at a selected pH. At physiological pH, such lipids
       include, for example, diacylphosphatidyl eholine, diacylphosphatidyl ethanolamine, ceramide,
  20   sphingomyelin, cephalin, cholesterol, cerebrosides, and diacylglyeerols.
       [0081]     The term "non-cationic lipid" refers to any amphipathic lipid as well as any other
       neutral lipid or anionic lipid.
       [0082]     The term "anionic lipid" refers to any lipid that is negatively charged at
       physiological pH. These lipids include, but are not limited to, phosphatidylglycer ols,
  25   cardiolipins, diacylphosphatidyl serines, diacylphosphatidic acids, N-dodecanoyl
       phosphatidylethano lamines, N-suecinyl phosphatidylethano lamines, N-
       glutarylphosphatid ylethanolamines, lysylphosphatidylgl ycerols,
       palmitoyloleyolpho sphatidylglycerol (POPG), and other anionic modifying groups joined to
       neutral lipids.
  30   [0083]     The term "cationic lipid" refers to any of a number of lipid species that carry a net
       positive charge at a selected pH, such as physiological pH (e.g., pH of about 7.0). It has been
       surprisingly found that cationic lipids comprising alkyl chains with multiple sites of
       unsaturation, e.g., at least two or three sites of unsaturation, are particularly useful for



                                                        16




                                                                                                      JA002143
                                                                                                      GE NV-00005294
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 862 of 1274 PageID #: 9168



       forming lipid particles with increased membrane fluidity. A number of cationic lipids and
       related analogs, which are also useful in the present invention, have been described in U.S.
       Patent Publication Nos. 20060083780 and 20060240554; U.S. Patent Nos. 5,208,036;
       5,264,618; 5,279,833; 5,283,185; 5,753,613; and 5,785,992; and PCT Publication No. WO
   5   96/10390, the disclosures of which are herein incorporated by reference in their entirety for
       all purposes. Non-limiting examples of cationic lipids are described in detail herein. In some
       cases, the cationic lipids comprise a protonatable tertiary amine (e.g., pH titratable) head
       group, C 18 alkyl chains, ether linkages between the head group and alkyl chains, and O to 3
       double bonds. Such lipids include, e.g., DSDMA, DLinDMA, DLenDMA, and DODMA.
  10   [0084]   The term "hydrophobic lipid" refers to compounds having apolar groups that
       include, but are not limited to, long-chain saturated and unsaturated aliphatic hydrocarbon
       groups and such groups optionally substituted by one or more aromatic, cycloaliphatic, or
       hctcrocyclic group(s). Suitable examples include, but are not limited to, diacylglycerol,
       dialkylglycerol, N-N-dialkylamino, 1,2-diacyloxy-3-aminopropa ne, and l ,2-dialkyl-3-
  15   aminopropane.
       [0085]   The term "fusogenic" refers to the ability of a lipid particle, such as a SN ALP, to
       fuse with the membranes of a cell. The membranes can be either the plasma membrane or
       membranes surrounding organelles, e.g., endosome, nucleus, etc.
       [0086]   As used herein, the term "aqueous solution" refers to a composition comprising in
  20   whole, or in part, water.
       [0087]   As used herein, the term "organic lipid solution" refors to a composition comprising
       in whole, or in part, an organic solvent having a lipid.
       [0088]   "Distal site," as used herein, refers to a physically separated site, which is not
       limited to an adjacent capillary bed, but includes sites broadly distributed throughout an
  25   organism.
       [0089]   "Serum-stable" in relation to nucleic acid-lipid particles such as SNALP means that
       the particle is not significantly degraded after exposure to a serum or nuclease assay that
       would significantly degrade free DNA or RNA. Suitable assays include, for example, a
       standard serum assay, a DNAse assay, or an RNAse assay.
  30   [0090]    "Systemic delivery," as used herein, refers to delivery oflipid particles that leads to
       a broad biodistribution of an active agent or therapeutic agent such as an interfering RNA
       within an organism. Some techniques of administration can lead to the systemic delivery of
       certain agents, but not others. Systemic delivery means that a useful, preferably therapeutic,
       amount of an agent is exposed to most parts of the body. To obtain broad biodistribution

                                                       17




                                                                                                 JA002144
                                                                                                 GE NV-00005295
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 863 of 1274 PageID #: 9169



       generally requires a blood lifetime such that the agent is not rapidly degraded or cleared (such
       as by first pass organs (liver, lung, etc.) or by rapid, nonspecific cell binding) before reaching
       a disease site distal to the site of administration. Systemic delivery of lipid particles can be
       by any means known in the art including, for example, intravenous, subcutaneous, and
   5   intraperitoneal. In a preferred embodiment, systemic delivery of lipid particles is by
       intravenous delivery.
       [0091]    "Local delivery," as used herein, refers to delivery of an active agent or therapeutic
       agent such as an interfering RNA directly to a target site within an organism. For example,
       an agent can be locally delivered by direct injection into a disease site such as a tumor or
  10   other target site such as a site of inflammation or a target organ such as the liver, heart,
       pancreas, kidney, and the like.
       [0092]    The term "mammal" refers to any mammalian species such as a human, mouse, rat,
       dog, cat, hamster, guinea pig, rabbit, livestock, and the like.
       [0093]    The term "cancer" refers to any member of a class of diseases characterized by the
  15   uncontrolled growth of aberrant cells. The term includes all known cancers and neoplastic
       conditions, whether characterized as malignant, benign, soft tissue, or solid, and cancers of all
       stages and grades including pre- and post-metastatic cancers. Examples of different types of
       cancer include, but are not limited to, lung cancer, colon cancer, rectal cancer, anal cancer,
       bile duct cancer, small intestine cancer, stomach (gastric) cancer, esophageal cancer;
  20   gallbladder cancer, liver cancer, pancreatic cancer, appendix cancer, breast cancer, ovarian
       cancer; cervical cancer, prostate cancer, renal cancer (e.g., renal cell carcinoma), cancer of
       the central nervous system, glioblastoma, skin cancer, lymphomas, choriocarcinomas, head
       and neck cancers, osteogenic sarcomas, and blood cancers. Non-limiting examples of
       specific types of liver cancer include hepatocellular carcinoma (HCC), secondary liver cancer
  25   (e.g., caused by metastasis of some other non-liver cancer cell type), and hepatoblastoma. As
       used herein, a "tumor" comprises one or more cancerous cells.

       III.     Description of the Embodiments

       [0094]    The present invention provides novel, serum-stable lipid particles comprising one or
       more active agents or therapeutic agents, methods of making the lipid particles, and methods
  30   of delivering and/or administering the lipid paiticles (e.g., for the treatment of a disease or
       disorder).
       [0095]    In one aspect, the present invention provides lipid particles comprising: (a) one or
       more active agents or therapeutic agents; (b) one or more cationic lipids comprising from


                                                        18




                                                                                                      JA002145
                                                                                                  GE NV-00005296
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 864 of 1274 PageID #: 9170



       about 50 mol % to about 85 mo!% of the total lipid present in the particle; (c) one or more
       non-cationic lipids comprising from about 13 mol % to about 49.5 mol % of the total lipid
       present in the particle; and (d) one or more conjugated lipids that inhibit aggregation of
       particles comprising from about 0.5 mo!% to about 2 mo!% of the total lipid present in the
   5   particle.
       [0096]      In certain embodiments, the active agent or therapeutic agent is fully encapsulated
       within the lipid portion of the lipid particle such that the active agent or therapeutic agent in
       the lipid particle is resistant in aqueous solution to enzymatic degradation, e.g., by a nuclease
       or protease. In certain other embodiments, the lipid particles are substantially non-toxic to
  l0   mammals such as humans.
       [0097]      In some embodiments, the active agent or therapeutic agent comprises a nucleic
       acid. In certain instances, the nucleic acid comprises an interfering RNA molecule such as,
       e.g., an siRNA, aiRNA, miRNA, or mixtures thereof. In certain other instances, the nucleic
       acid comprises single-stranded or double-stranded DNA, RNA, or a DNA/RNA hybrid such
  15   as, e.g., an antisense oligonucleotide, a ribozyme, a plasmid, an immunostimulatory
       oligonucleotide, or mixtures thereof.
       l0098]      In other embodiments, the active agent or therapeutic agent comprises a peptide or
       polypeptide. In certain instances, the peptide or polypeptide comprises an antibody such as,
       e.g., a polyclonal antibody, a monoclonal antibody, an antibody fragment; a humanized
  20   antibody, a recombinant antibody, a recombinant human antibody, a PrimatizedTM antibody,
       or mixtures thereof. In certain other instances, the peptide or polypeptide comprises a
       cytokine, a growth factor, an apoptotic factor, a differentiation-inducing factor, a cell-surface
       receptor, a ligand, a hormone, a small molecule (e.g., small organic molecule or compound),
       or mixtures thereof.
  25   [0099]      In preferred embodiments, the active agent or therapeutic agent comprises an
       siRNA. In one embodiment, the siRNA molecule comprises a double-stranded region of
       about 15 to about 60 nucleotides in length (e.g., about 15-60, 15-50, 15-40, 15-30, 15-25, or
       19-25 nucleotides in length, or 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, or 25 nucleotides in
       length). The siRNA molecules of the invention are capable of silencing the expression of a
  30   target sequence in vitro and/or in vivo.
       [OlOOJ      1n some embodiments, the siRNA molecule comprises at least one modified
       nucleotide. In certain preferred embodiments, the siRNA molecule comprises one, two,
       three, four, five, six, seven, eight, nine, ten, or more modified nucleotides in the double-
       stranded region. In certain instances, the siRNA comprises from about 1% to about l 00%

                                                        19




                                                                                                  JA002146
                                                                                                  GE NV-00005297
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 865 of 1274 PageID #: 9171



       (e.g., about 1%, 5%, 10%, 15%, 20%, 25%, 30%, 35%, 40%, 45%, 50%, 55%, 60%, 65%,
       70%, 75%, 80%, 85%, 90%, 95%, or 100%) modified nucleotides in the double-stranded
       region. In preferred embodiments, less than about 25% (e.g., less than about 25%, 20%,
       15%, 10%, or 5%) or from about I% to about 25% (e.g., from about l %-25%, 5%-25%,
   5   10%-25%, 15%-25%, 20%-25%, or 10%-20%) of the nucleotides in the double-stranded
       region comprise modified nucleotides.
       [0101]   In other embodiments, the siRNA molecule comprises modified nucleotides
       including, but not limited to, 2'-O-methyl (2'OMe) nucleotides, 2'-deoxy-2'-fluoro (2'F)
       nucleotides, 2' -deoxy nucleotides, 2' -O-(2-methoxyethyl) (MOE) nucleotides, locked nucleic
  10   acid (LNA) nucleotides, and mixtures thereof. In preferred embodiments, the siRNA
       comprises 2'OMe nucleotides (e.g., 2'OMe purine and/or pyrimidine nucleotides) such as,
       for example, 2'OMe-guanosine nucleotides, 2'OMe-uridine nucleotides, 2'OMe-adenosine
       nucleotides, 2'OMe-cytosine nucleotides, and mixtures thereof. In certain instances, the
       siRNA does not comprise 2'OMe-cytosine nucleotides. In other embodiments, the siRNA
  15   comprises a hairpin loop structure.
       [0102]   The siRNA may comprise modified nucleotides in one strand (i.e., sense or
       antisense) or both strands of the double-stranded region of the siRNA molecule. Preferably,
       uridine and/or guanosine nucleotides are modified at selective positions in the double-
       stranded region of the siRNA duplex. With regard to uridine nucleotide modifications, at
  20   least one, two, three, four, five, six, or more of the uridine nucleotides in the sense and/or
       antisense strand can be a modified uridine nucleotide such as a 2'OMe-uridine nucleotide. In
       some embodiments, every uridine nucleotide in the sense and/or antisense strand is a 2 'OMe-
       uridine nucleotide. With regard to guanosine nucleotide modifications, at least one, two,
       three, four, five, six, or more of the guanosine nucleotides in the sense and/or antisense strand
  25   can be a modified guanosine nucleotide such as a 2'OMe-guanosine nucleotide. In some
       embodiments, every guanosine nucleotide in the sense and/or antisense strand is a 2'OMe-
       guanosine nucleotide.
       [0103]   1n certain embodiments, at least one, two, three, four, five, six, seven, or more 5'-
       GU-3' motifs in an siRNA sequence may be modified, e.g., by introducing mismatches to
  30   eliminate the 5'-GU-3' motifs and/or hy introducing modified nucleotides such as 2'OMe
       nucleotides. The 5 '-GU-3' motif can be in the sense strand, the anti sense strand, or both
       strands ofthe siRNA sequence. The 5'-GU-3' motifs may be adjacent to each other or,
       alternatively, they may be separated by 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, or more nucleotides.



                                                       20




                                                                                                  JA002147
                                                                                                  GE NV-00005298
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 866 of 1274 PageID #: 9172



       [0104]     In some preferred embodiments, a modified siRNA molecule is less
       immunostimulatory than a corresponding unmodified siRNA sequence. In such
       embodiments, the modified siRNA molecule with reduced immunostimulatory properties
       advantageously retains RNAi activity against the target sequence. In another embodiment,
   5   the immunostimulatory properties of the modified siRNA molecule and its ability to silence
       target gene expression can be balanced or optimized by the introduction of minimal and
       selective 2'OMe modifications within the siRNA sequence such as, e.g., within the double-
       stranded region of the siRNA duplex. In certain instances, the modified siRNA is at least
       about 5%, 10%, 15%, 20%, 25%, 30%, 35%, 40%, 45%, 50%, 55%, 60%, 65%, 70%, 75%,
  10   80%, 85%, 90%, 91%, 92%, 93%, 94%, 95%, 96%, 97%, 98%, 99%, or 100% less
       imrnunostimulatory than the corresponding unmodified siRNA. It will be readily apparent to
       those of skill in the art that the immunostimulatory properties of the modified siRNA
       molecule and the corresponding unmodified siRNA molecule can be determined by, for
       example, measuring INF-a and/or IL-6 levels from about two to about twelve hours after
  15   systemic administration in a mammal or transfection of a mammalian responder cell using an
       appropriate lipid-based delivery system (such as the SNALP delivery system disclosed
       herein).
       [0105]     In certain embodiments, a modified siRNA molecule has an ICso (i.e., half-maximal
       inhibitory concentration) less than or equal to ten-fold that of the corresponding unmodified
  20   siRNA (i.e., the modified siRNA has an IC 50 that is less than or equal to ten-times the IC 50 of
       the corresponding unmodified siRNA). In other embodiments, the modified siRNA has an
       IC 50 less than or equal to three-fold that of the corresponding unmodified siRNA sequence.
       In yet other embodiments, the modified siRNA has an ICso less than or equal to two-fold that
       of the corresponding unmodified siRNA. It wiJI be readily apparent to those of skill in the art
  25   that a dose-response curve can be generated and the ICso values for the modified siRNA and
       the corresponding unmodified siRNA can be readily determined using methods known to
       those of skill in the art.
       [0106]     In yet another embodiment, a modified siRNA molecule is capable of silencing at
       least about 5%, l 0%, 15%, 20%, 25%, 30%, 35%, 40%, 45%, 50%, 55%, 60%, 65%, 70%,
  30   75%, 80%, 85%, 90%, 95%, or 100% of the expression of the target sequence relative to the
       corresponding unmodified siRNA sequence.
       [0107]     In some embodiments, the siRNA molecule does not comprise phosphate backbone
       modifications, e.g., in the sense and/or antisense strand of the double-stranded region. Tn
       other embodiments, the siRNA comprises one, two, three, four, or more phosphate backbone


                                                      21




                                                                                                 JA002148
                                                                                                GE NV-00005299
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 867 of 1274 PageID #: 9173



       modifications, e.g., in the sense and/or antisense strand of the double-stranded region. In
       preferred embodiments, the siRNA does not comprise phosphate backbone modifications.
       [0108]   ln further embodiments, the siRNA does not comprise 2'-deoxy nucleotides, e.g., in
       the sense and/or antisense strand of the double-stranded region. In yet further embodiments,
   5   the siRNA comprises one, two, three, four, or more 2'-deoxy nucleotides, e.g., in the sense
       and/or antisense strand of the double-stranded region. In preferred embodiments, the siRNA
       does not comprise 2'-deoxy nucleotides.
       [0109]   In ce11ain instances, the nucleotide at the 3 '-end of the double-stranded region in the
       sense and/or antisense strand is not a modified nucleotide. In certain other instances, the
  10   nucleotides near the 3'-end (e.g., within one, two, three, or four nucleotides of the 3'-end) of
       the double-stranded region in the sense and/or antisense strand are not modified nucleotides.
       [0110]   The siRNA molecules described herein may have 3' overhangs of one, two, three,
       four, or more nucleotides on one or both sides of the double-stranded region, or may lack
       overhangs (i.e., have blunt ends) on one or both sides of the double-stranded region.
  15   Preferably, the siRNA has 3' overhangs of two nucleotides on each side of the double-
       stranded region. In certain instances, the 3' overhang on the antisense strand has
       complementarity to the target sequence and the 3' overhang on the sense strand has
       complementarity to a complementary strand of the target sequence. Alternatively, the 3'
       overhangs do not have complementarity to the target sequence or the complementary strand
  20   thereof. In some embodiments, the 3' overhangs comprise one, two, three, four, or more
       nucleotides such as 2' -deoxy (2' H) nucleotides. In certain preferred embodiments, the 3'
       overhangs comprise dcoxythymidine (dT) and/or uridine nucleotides. In other embodiments,
       one or more of the nucleotides in the 3' overhangs on one or both sides of the double-
       stranded region comprise modified nucleotides. Non-limiting examples of modified
  25   nucleotides are described above and include 2'OMe nucleotides, 2'-dcoxy-2'.F nucleotides,
       2'-deoxy nucleotides, 2'-O-2-MOE nucleotides, LNA nucleotides, and mixtures thereof. In
       preferred embodiments, one, two, three, four, or more nucleotides in the 3' overhangs present
       on the sense and/or anti sense strand of the siRNA comprise 2'OMe nucleotides (e.g., 2'OMe
       purine and/or pyrimidine nucleotides) such as, for example, 2'OMe-guanosine nucleotides,
  30   2 'OMe-uridine nucleotides, 2'OMe-adenosine nucleotides, 2'OMe-cytosine nucleotides, and
       mixtures thereof.
       [0111]    The siRNA may comprise at least one or a cocktail (e.g., at least two, three, four,
       five, six, seven, eight, nine, ten, or more) of unmodified and/or modified siRNA sequences
       that silence target gene expression. The cocktail of siRNA may comprise sequences which

                                                      22




                                                                                                 JA002149
                                                                                                GE NV-00005300
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 868 of 1274 PageID #: 9174



       are directed to the same region or domain (e.g., a "hot spot") and/or to different regions or
       domains of one or more target genes. In certain instances, one or more (e.g., at least two,
       three, four, five, six, seven, eight, nine, ten, or more) modified siRNA that silence target gene
       expression are present in a cocktail. In certain other instances, one or more (e.g., at least two,
   5   three, four, five, six, seven, eight, nine, ten, or more) unmodified siRNA sequences that
       silence target gene expression are present in a cocktail.
       [0112]   In some embodiments, the antisense strand of the siRNA molecule comprises or
       consists of a sequence that is at least about 80%, 85%, 90%, 95%, 96%, 97%, 98%, or 99%
       complementary to the target sequence or a portion thereof. In other embodiments, the
  10   antisense strand of the siRNA molecule comprises or consists of a sequence that is 100%
       complementary to the target sequence or a portion thereof. Tn further embodiments, the
       antisense strand of the siRNA molecule comprises or consists of a sequence that specifically
       hybridizes to the target sequence or a portion thereof.
       [0113]    In further embodiments, the sense strand of the siRNA molecule comprises or
  15   consists of a sequence that is at least about 80%, 85%, 90%, 95%, 96%, 97%, 98%, or 99%
       identical to the target sequence or a portion thereof. In additional embodiments, the sense
       strand of the siRNA molecule comprises or consists of a sequence that is 100% identical to
       the target sequence or a portion thereof.
       [0114]    In the lipid particles of the invention (e.g., SNALP comprising an interfering RNA
  20   such as siRNA), the cationic lipid may comprise, e.g., one or more of the following: 1,2-
       dilinoleyloxy-N,N- dimethylaminoprop ane (DLinDMA), 1,2-dilinolenyloxy- N,N-
       dimethylaminoprop ane (DLenD MA), 2,2-dilinoley 1-4-(2-dimethylami noethyl)-[ 1,3 ]-
       dioxo lane (DLin-K-C2-DMA ; "XTC2"), 2,2-dilinoleyl-4-(3- dimethylaminoprop yl)-[1,3]-
       dioxolane (DLin-K-C3-DMA ), 2,2-dilinoleyl-4-( 4-dimethylaminobu ty 1)-[l ,3 ]-dioxolane
  25   (DLin-K-C4-DMA ), 2,2-dilinoleyl-5-dim ethylaminomethyl- [1,3]-dioxane (DLin-K6-DMA),
       2,2-dilinoleyl-4-N- methylpepiazino-[1 ,3]-dioxolane (DLin-K-MPZ), 2,2-dilinoleyl-4-
       dimethylaminometh yl-[l,3_1-dioxolane (DLin-K-DMA), l,2-dilinoleylcarbam oyloxy-3-
       dimethylaminoprop ane (DLin-C-DAP), 1,2-dilinoleyoxy-3- (dimethylamino )acetoxypropane
       (DLin-DAC), l ,2-dilinoleyoxy-3-m orpholinopropane (DLin-MA), l ,2-dilinoleoyl-3-
  30   dimethylaminoprop ane (DLinDAP), 1,2-dilinoleylthio-3 -dimethylaminopro pane (DLin-S-
       DMA), 1-linoleoyl-2-linole yloxy-3-dimethylam inopropane (DLin-2-DMAP), 1,2-
       di linoleyloxy-3-trimc thylaminopropane chloride salt (DLin-TMA.CI), l ,2-dilinoleoyl-3-
       trimethylaminopro pane chloride salt (DLin-TAP.Cl), l ,2-dilinoleyloxy-3- (N-
       methylpiperazino)p ropane (DLin-MPZ), 3-(N,N-dilinoleylam ino)-1,2-propanedi ol (DLinAP),


                                                       23




                                                                                                  JA002150
                                                                                                 GE NV-00005301
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 869 of 1274 PageID #: 9175



       3-(N,N-dioleylamino)-1,2-propanedio (DOAP), 1,2-dilinoleyloxo-3-(2-N,N-
       dimcthylamino)ethoxypropane (DLin-EG-DMA), N,N-dioleyl-N,N-dimethylammonium
       chloride (DODAC), 1,2-dioleyloxy-N,N-dimethylaminopropane (DODMA), 1,2-
       distearyloxy-N,N-dimethylaminopropane (DSDMA), N-(1-(2,3-dioleyloxy)propyl)-N,N,N-
   5   trimethylammonium chloride (DOTMA), N,N-distearyl-N,N-dimethylammonium bromide
       (DDAB), N-(1-(2,3-dioleoyloxy)propyl)-N,N,N-trimethylammoni um chloride (DOTAP), 3 -
       (N-(N ',N '-dimethylaminoethane )-carbamoyl)cholesterol (DC-Chol), N-( l ,2-
       dimyristyloxyprop-3-yl)-N,N-dimethyl-N-hydroxyethyl ammonium bromide (DMRIE), 2,3-
       dioleyloxy-N-[2(spermine-carboxamido)ethyl]-N,N-dimethyl-1-
  10   propanaminiumtrifluoroacetate (DOSPA), dioctadecylamidoglycyl spermine (DOGS), 3-
       dimethylamino-2-( cholest-5-en-3-bcta-oxybutan-4-oxy)- l-( cis,cis-9, 12-
       octadecadienoxy)propane (CLinDMA), 2-[5'-(cholest-5-en-3-beta-oxy)-3 '-oxapentoxy)-3-
       dimethy-l-( cis,cis-9', 1-2' -octadecadienoxy)propane (CpLinDMA), N ,N-dimethyl-3,4-
       dioleyloxybenzylamine (DMOBA), 1,2-N,N'-dioleylcarbamyl-3-dimethylaminopropane
  15   (DOcarbDAP), 1,2-N,N' -dilinoleylcarbamyl-3-dimethylaminopropanc (DLincarbDAP), or
       mixtures thereof. In certain preferred embodiments, the cationic lipid is DLinDMA, DLin-K-
       C2-DMA ("XTC2"), or mixtures thereof.
       [0115]    The synthesis of cationic lipids such as DLin-K-C2-DMA ("XTC2"), DLin-K-C3-
       DMA, DLin-K-C4-DMA, DLin-K6-DMA, and DLin-K-MPZ, as well as additional cationic
  20   lipids, is described in U.S. Provisional Application No. 61/104,212, filed October 9, 2008, the
       disclosure of which is herein incorporated by reference in its entirety for all purposes. The
       synthesis of cationic lipids such as DLin-K-DMA, DLin-C-DAP, DLin-DAC, DLin-MA,
       DLinDAP, DLin-S-DMA, DLin-2-DMAP, DLin-TMA.CI, DLin-TAP.CI, DLin-MPZ,
       DLinAP, DOAP, and DLin-EG-DMA, as well as additional cationic lipids, is described in
  25   PCT Application No. PCT/US0S/88676, filed December 31, 2008, the disclosure of which is
       herein incorporated by reference in its entirety for all purposes. The synthesis of cationic
       lipids such as CLinDMA, as well as additional cationic lipids, is described in U.S. Patent
       Publication No. 20060240554, the disclosure of which is herein incorporated by reference in
       its entirety for all purposes.
  30   [0116]    In some embodiments, the cationic lipid may comprise from about 50 mol % to
       about 90 mo!%, from about 50 mol % to about 85 mol %, from about 50 mo!% to about 80
       mol %, from about 50 mo! % to about 75 mol %, from about 50 mo!% to about 70 mol %,
       from about 50 mo!% to about 65 mo!%, or from about 50 mo!% to about 60 mo!% of the
       total lipid present in the particle.


                                                      24




                                                                                                JA002151
                                                                                               GE NV-00005302
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 870 of 1274 PageID #: 9176



       [0117]      In other embodiments, the cationic lipid may comprise from about 55 mol % to
       about 90 mol %, from about 55 mol % to about 85 mo]%, from about 55 mol % to about 80
       mol %, from about 55 mo!% to about 75 mol %, from about 55 mo!% to about 70 mol %, or
       from about 55 mo!% to about 65 mo!% of the total lipid present in the particle.
   5   [0118]      In yet other embodiments, the cationic lipid may comprise from about 60 mol % to
       about 90 mol %, from about 60 mo! % to about 85 mol %, from about 60 mo! % to about 80
       mol %, from about 60 mol % to about 75 mo! %, or from about 60 mol % to about 70 mo! %
       of the total lipid present in the particle.
       [0119]      In still yet other embodiments, the cationic lipid may comprise from about 65 mo!
  lO   % to about 90 mo! %, from about 65 mo! % to about 85 mo! %, from about 65 rnol % to
       about 80 mo!%, or from about 65 mol % to about 75 mol % of the total lipid present in the
       particle.
       [0120]      In further embodiments, the cationic lipid may comprise from about 70 mo!% to
       about 90 mol %, from about 70 mol % to about 85 mo! %, from about 70 mol % to about 80
  15   mo! %, from about 75 mol % to about 90 mol %, from about 75 mol % to about 85 mo! %, or
       from about 80 mo!% to about 90 mol % of the total lipid present in the particle.
       [0121]      In additional embodiments, the cationic lipid may comprise (at least) about 50, 51,
       52,53,54,55,56, 57,58,59,60,61,62,63,64 ,65,66,67,68,69, 70, 71, 72, 73, 74, 75, 76,
       77, 78, 79, 80, 81, 82, 83, 84, 85, 86, 87, 88, 89, or 90 mo!% (or any fraction thereof or range
  20   therein) of the total lipid present in the particle.
       [0122]      In the lipid particles of the invention (e.g., SNALP comprising an interfering RNA
       such as siRNA), the non-cationic lipid may comprise, e.g., one or more anionic lipids and/or
       neutral lipids. In preferred embodiments, the non-cationic lipid comprises one of the
       following neutral lipid components: (1) cholesterol or a derivative thereof; (2) a
  25   phospholipid; or (3) a mixture of a phospholipid and cholesterol or a derivative thereof:
       [0123]      Examples of cholesterol derivatives include, but are not limited to, cholestanol,
       cho lestanone, cholestenone, coprostanol, cholesteryl-2 '-hydroxyethyl ether, cholesteryl-4' -
       hydroxybutyl ether, and mixtures thereof. The synthesis of cholesteryl-2'-hydroxyethyl ether
       is described herein.
  30   [0124]      The phospholipid may be a neutral lipid including, but not limited to,
       dipalmitoylphosphatidylchol ine (DPPC), distearoylphosphatidylcholin e (DSPC),
       dioleoylphosphatidy lethanolamine (DOPE), palmitoyloleoyl-phosphatidy lcholine (POPC),
       palmitoyloleoyl-phosphatidy lethanolamine (POPE), palmitoyloleyol-phosphatidy lglycerol
       (POPG), dipalmitoyl-phosphatidyleth anolamine (DPPE), dimyristoyl-


                                                         25




                                                                                                 JA002152
                                                                                                 GE NV-00005303
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 871 of 1274 PageID #: 9177



       phosphatidylethano lamine (DMPE), distearoyl-phospha tidylethanolamine (DSPE),
       monomethyl-phosp haticlylethanolamin e, dimethyl-phosphati clylethanolamine, dielaicloyl-
       phosphaticlylethano laminc (DEPE), stearoyloleoyl-phos phatidylethanolami ne (SOPE), egg
       phosphatidylcholin e (EPC), and mixtures thereof. In certain preferred embodiments, the
   5   phospholipid is DPPC, DSPC, or mixtures thereof.
       [0125]   In some embodiments, the non-cationic lipid (e.g., one or more phospholipids
       and/or cholesterol) may comprise from about 10 mo! % to about 60 mo!%, from about 15
       mo! % to about 60 mo! %, from about 20 mo! % to about 60 mol %, from about 25 mol % to
       about 60 mo!%, from about 30 mo!% to about 60 mol %, from about 10 mo!% to about 55
  10   mo!%, from about 15 mo!% to about 55 mol %, from about 20 mol % to about 55 mo!%,
       from about 25 mo!% to about 55 mo!%, from about 30 mo!% to about 55 mol %, from
       about 13 mo! % to about 50 mo! %, from about 15 mo! % to about 50 mo!% or from about
       20 mo!% to about 50 mol % of the total lipid present in the particle. When the non-cationic
       lipid is a mixture of a phospholipid and cholesterol or a cholesterol derivative, the mixture
  15   may comprise up to about 40, 50, or 60 mo! % of the total lipid present in the particle.
       [0126]   In other embodiments, the non-cationic lipid (e.g., one or more phospholipids and/or
       cholesterol) may comprise from about IO mo!% to about 49.5 mo!%, from about 13 mo!%
       to about 49.5 mol %, from about 15 mo!% to about 49.5 mo!%, from about 20 mo!% to
       about 49.5 mo!%, from about 25 mo!% to about 49.5 mol %, from about 30 mo!% to about
  20   49.5 mol %, from about 35 mol % to about 49.5 mol %, or from about 40 mol % to about
       49.5 mol % of the total lipid present in the particle.
       [0127]    In yet other embodiments, the non-cationic lipid (e.g., one or more phospholipids
       and/or cholesterol) may comprise from about IO mo! % to about 45 mol %, from about 13
       mo! % to about 45 1110I %, from about 15 mo! % to about 45 mol %, from about 20 mo! % to
  25   about 45 mol %, from about 25 mol % to about 45 mol %, from about 30 mol % to about 45
       mo! %, or from about 35 mo!% to about 45 mo!% of the total lipid present in the particle.
       [0128]    Jn still yet other embodiments, the non-cationic lipid (e.g., one or more
       phospholipids and/or cholesterol) may comprise from about 10 mo! % to about 40 mo! %,
       from about 13 mol % to about 40 mol %, from about 15 mo! % to about 40 mo! %, from
  30   about 20 mol % to about 40 mol %, from about 25 mo!% to about 40 mo!%, or from about
       30 mo] % to about 40 mo! % of the total lipid present in the particle.
       [0129]    ln further embodiments, the non-cationic lipid (e.g., one or more phospholipids
       and/or cholesterol) may comprise from about l O mo! % to about 35 mo!%, from about 13
       mo! % to about 35 mo!%, from about 15 mol % to about 35 mo! %, from about 20 mo!% to

                                                       26




                                                                                                  JA002153
                                                                                                  GE NV-00005304
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 872 of 1274 PageID #: 9178



       about 35 mo!%, or from about 25 mo!% to about 35 mo!% of the total lipid present in the
       particle.
       [0130]      In yet further embodiments, the non-cationic lipid (e.g., one or more phospholipids
       and/or cholesterol) may comprise from about 10 mo! % to about 30 mo!%, from about 13
   5   mo! % to about 30 mo!%, from about 15 mol % to about 30 mo! %, from about 20 mo!% to
       about 30 mo!%, from about 10 mol % to about 25 mo!%, from about 13 mo!% to about 25
       mo!%, or from about 15 mo!% to about 25 mo!% of the total lipid present in the particle.
       [0131]      In additional embodiments, the non-cationic lipid (e.g., one or more phospholipids
       and/orcholesterol )maycomprise(atl east)about 10, 11, 12, 13, 14, 15, 16, 17, 18, 19,20,21,
  10   22,23,24,25,26,2 7,28,29,30,31,32 ,33,34,35,36,37, 38, 39,40,41,42,43,4 4,45,46,
       47, 48, 49, 50, 51, 52, 53, 54, 55, 56, 57, 58, 59, or 60 mo!% (or any fraction thereof or range
       therein) of the total lipid present in the particle.
       [0132]      In certain preferred embodiments, the non-cationic lipid comprises cholesterol or a
       derivative thereof of from about 31.5 mo!% to about 42.5 mo!% of the total lipid present in
  15   the particle. As a non-limiting example, a phospholipid-free lipid particle of the invention
       may comprise cholesterol or a derivative thereof at about 37 mol % of the total lipid present
       in the pa1tic1e. In other preferred embodiments, a phospholipid-free lipid particle of the
       invention may comprise cholesterol or a derivative thereof of from about 30 mo!% to about
       45 mo!%, from about 30 mol % to about 40 mo!%, from about 30 mol % to about 35 mol %,
  20   from about 35 mo! % to about 45 mol %, from about 40 mol % to about 45 11101 %, from
       about 32 mol % to about 45 mol %, from about 32 mol % to about 42 mo!%, from about 32
       mo! % to about 40 mo! %, from about 34 mo! % to about 45 mo! %, from about 34 mol % to
       about 42 mol %, from about 34 mo!% to about 40 mol %, or about 30, 31, 32, 33, 34, 35, 36,
       37, 38, 39, 40, 41, 42, 43, 44, or 45 mo!% (or any fraction thereof or range therein) of the
  25   total lipid present in the particle.
       [01331      In certain other preferred embodiments, the non-cationic lipid comprises a mixture
       of: (i) a phospholipid of from about 4 mo!% to about 10 mol % of the total lipid present in
       the particle; and (ii) cholesterol or a derivative thereof of from about 30 mo! % to about 40
       mo!% of the total lipid present in the particle. As a non-limiting example, a lipid paiticle
  30   comprising a mixture ofa phospholipid and cholesterol may comprise DPPC at about 7 mo!
       % and cholesterol at about 34 mo!% of the total lipid present in the particle. In other
       embodiments, the non-cationic lipid comprises a mixture of: (i) a phospholipid of from about
       3 mo!% to about 15 mo!%, from about 4 mo!% to about 15 mo!%, from about 4 mol % to
       about 12 mo! %, from about 4 mo! % to about 10 mo! %, from about 4 mo! % to about 8 mol


                                                         27




                                                                                                 JA002154
                                                                                                 GE NV-00005305
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 873 of 1274 PageID #: 9179



       %, from about 5 mo!% to about 12 mo!%, from about 5 mol % to about 9 mol %, from
       about 6 mol % to about 12 mol %, from about 6 mo!% to about 10 mol %, or about 3, 4, 5, 6,
       7, 8, 9, 10, 11, 12, 13, 14, or 15 mol % (or any fraction thereof or range therein) of the total
       lipid present in the pmticle; and (ii) cholesterol or a derivative thereof of from about 25 mo!
   5   % to about 45 mo! %, from about 30 mo! % to about 45 mo! %, from about 25 mo! % to
       about 40 mo!%, from about 30 mo!% to about 40 mol %, from about 25 mol % to about 35
       mo!%, from about 30 mo!% to about 35 mol %, from about 35 mo!% to about 45 mol %,
       from about 40 mol % to about 45 mol %, from about 28 mo! % to about 40 mol %, from
       about 28 mo!% to about 38 mo!%, from about 30 mo!% to about 38 mo!%, from about 32
  10   mol % to about 36 mo!%, or about 25, 26, 27, 28, 29, 30, 31, 32, 33, 34, 35, 36, 37, 38, 39,
       40, 41, 42, 43, 44, or 45 mo!% (or any fraction thereof or range therein) of the total lipid
       present in the particle.
       [0134]    In further preferred embodiments, the non-cationic lipid comprises a mixture of: (i)
       a phospholipid of from about 10 mo!% to about 30 mo!% ofthe total lipid present in the
  15   particle; and (ii) cholesterol or a derivative thereof of from about 10 mol % to about 30 mo!
       % of the total lipid present in the particle. As a non-limiting example, a lipid particle
       comprising a mixture of a phospholipid and cholesterol may comprise DPPC at about 20 mo!
       % and cholesterol at about 20 mol % of the total lipid present in the particle. In other
       embodiments, the non-cationic lipid comprises a mixture of: (i) a phospholipid of from about
  20   10 mo! % to about 30 mo! %, from about 10 mo! % to about 25 mo! %, from about 10 mol %
       to about 20 mo!%, from about 15 mo! % to about 30 mo! %, from about 20 mo!% to about
       30 mol %, from about 15 mol % to about 25 mo!%, from about 12 mo!% to about 28 mo!%,
       from about 14 mo!% to about 26 mo!%, or about 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20,
       21, 22, 23, 24, 25, 26, 27, 28, 29, or 30 mol % (or any fraction thereof or range therein) of the
  25   total lipid present in the particle; and (ii) cholesterol or a derivative thereof of from about 10
       mo!% to about 30 mo!%, from about 10 mo!% to about 25 mol %, from about 10 mol % to
       about 20 mol %, from about 15 mol % to about 30 mol %, from about 20 mol % to about 30
       mol %, from about 15 mol % to about 25 mol %, from about 12 mol % to about 28 mol %,
       from about 14 mol % to about 26 mol %, or about 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20,
  30   21, 22, 23, 24, 25, 26, 27, 28, 29, or 30 mo!% (or any fraction thereof or range therein) of the
       total lipid present in the particle.
       [0135]    In the lipid particles of the invention (e.g., SN ALP comprising an interfering RNA
       such as siRNA), the conjugated lipid that inhibits aggregation of particles may comprise, e.g.,
       one or more of the following: a polyethyleneglycol (PEG)-lipid conjugate, a polyamide


                                                        28




                                                                                                   JA002155
                                                                                                   GE NV-00005306
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 874 of 1274 PageID #: 9180



       (ATTA)-lipid conjugate, a cationic-polymer-lipid conjugates (CPLs), or mixtures thereof. In
       one preferred embodiment, the nucleic acid-lipid particles comprise either a PEG-lipid
       conjugate or an ATTA-lipid conjugate. In certain embodiments, the PEG-lipid conjugate or
       A TT A-lipid conjugate is used together with a CPL. The conjugated lipid that inhibits
   5   aggregation of particles may comprise a PEG-lipid including, e.g., a PEG-diacylglycerol
       (DAG), a PEG dialkyloxypropyl (DAA), a PEG-phospholipid, a PEG-ccramide (Cer), or
       mixtures thereof. The PEG-DAA conjugate may be PEG-dilauryloxypropyl (Cl2), a PEG-
       dimyristyloxypropyl (Cl4), a PEG-dipalmityloxypropyl (Cl6), a PEG-distearyloxypropyl
       (C 18), or mixtures thereof.
  10   [0136]   Additional PEG-lipid conjugates suitable for use in the invention include, but are
       not limited to, mPEG2000-1,2-di-O-alkyl-s n3-carbomoylglyceride (PEG-C-DOMG). The
       synthesis of PEG-C-DOMG is described in PCT Application No. PCT/US0S/88676, filed
       December 31, 2008, the disclosure of which is herein incorporated by reference in its entirety
       for all purposes. Yet additional PEG-lipid conjugates suitable for use in the invention
  15   include, without limitation, 1-[8 '-(l ,2-dimyristoyl-3-propanoxy) -carboxamido-3' ,6 ' -
       dioxaoctanyl]carbamoyl-co-m ethyl-poly(ethylene glycol) (2KPEG-DMG). The synthesis of
       2KPEG-DMG is described in U.S. Patent No. 7,404,969, the disclosure of which is herein
       incorporated by reference in its entirety for all purposes.
       [0137]   The PEG moiety of the PEG-lipid conjugates described herein may comprise an
  20   average molecular weight ranging from about 550 daltons to about 10,000 daltons. In certain
       instances, the PEG moiety has an average molecular weight of from about 750 daltons to
       about 5,000 daltons (e.g., from about 1,000 daltons to about 5,000 daltons, from about 1,500
       daltons to about 3,000 daltons, from about 750 daltons to about 3,000 daltons, from about
       750 daltons to about 2,000 daltons, etc.). In preferred embodiments, the PEG moiety has an
  25   average molecular weight of about 2,000 daltons or about 750 daltons.
       [0138]    In some embodiments, the conjugated lipid that inhibits aggregation of particles is a
       CPL that has the formula: A-W-Y, wherein A is a lipid moiety, W is a hydrophilic polymer,
       and Y is a polycationic moiety. W may be a polymer selected from the group consisting of
       polyethyleneglycol (PEG), polyamide, polylactic acid, polyglycolic acid, polylactic
  30   acid/polyglycolic acid copolymers, or combinations thereof, the polymer having a molecular
       weight of from about 250 to about 7000 daltons. In some embodiments, Y has at least 4
       positive charges at a selected pH. In some embodiments, Y may be lysine, arginine,
       asparagine, glutamine, derivatives thereof, or combinations thereof.



                                                       29




                                                                                                   JA002156
                                                                                                   GE NV-00005307
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 875 of 1274 PageID #: 9181



       f0139]    In certain instances, the conjugated lipid that inhibits aggregation of particles (e.g.,
       PEG-lipid conjugate) may comprise from about 0.1 mol °Ai to about 2 mo!%, from about 0.5
       mo! % to about 2 mo! %, from about I mo! % to about 2 mo! %, from about 0.6 mo! % to
       about 1.9 mol %, from about 0.7 mo!% to about 1.8 mo!%, from about 0.8 mol % to about
   5   1. 7 mo! %, from about 1 mol % to about 1.8 mo! %, from about 1.2 mo! % to about l .8 mo!
       %, from about 1.2 mo!% to about 1.7 mo!%, from about 1.3 mol % to about 1.6 mol %,
       from about 1.4 mo!% to about 1.5 mo!%, or about 1, 1. 1, 1.2, 1.3, 1.4, 1.5, 1.6, 1.7, 1.8, 1.9,
       or 2 mo!% (or any fraction thereof or range therein) of the total lipid present in the particle.
       [0140]    In the lipid particles of the invention, the active agent or therapeutic agent may be
  IO   fully encapsulated within the lipid portion of the particle, thereby protecting the active agent
       or therapeutic agent from enzymatic degradation. In preferred embodiments, a SNALP
       comprising a nucleic acid such as an interfering RNA (e.g., siRNA) is fully encapsulated
       within the lipid portion of the particle, thereby protecting the nucleic acid from nuclease
       degradation. In certain instances, the nucleic acid in the SNALP is not substantially degraded
  15   after exposure of the particle to a nuclease at 37°C for at least about 20, 30, 45, or 60
       minutes. In certain other instances, the nucleic acid in the SNALP is not substantially
       degraded after incubation of the particle in serum at 37°C for at least about 30, 45, or 60
       minutes or at least about 2, 3, 4, 5, 6, 7, 8, 9, 10, 12, 14, 16, 18, 20, 22, 24, 26, 28, 30, 32, 34,
       or 36 hours. In other embodiments, the active agent or therapeutic agent (e.g., nucleic acid
  20   such as siRNA) is complexed with the lipid portion of the paiiicle. One of the benefits of the
       formulations of the present invention is that the lipid particle compositions are substantially
       non-toxic to mammals such as humans.
       [0141]    The term "fully encapsulated" indicates that the active agent or therapeutic agent in
       the lipid particle is not significantly degraded after exposure to serum or a nuclease or
  25   protease assay that would significantly degrade free DNA, RNA, or protein. ln a fully
       encapsulated system, preferably less than about 25% of the active agent or therapeutic agent
       in the particle is degraded in a treatment that would normally degrade l 00% of free active
       agent or therapeutic agent, more preferably less than about l 0%, and most preferably less
       than about 5% of the active agent or therapeutic agent in the particle is degraded. In the
  30   context of nucleic acid therapeutic agents, full encapsulation may be determined by an
       Oligreen® assay. Oligreen® is an ultra-sensitive fluorescent nucleic acid stain for quantitating
       oligonucleotides and single-stranded DNA or RNA in solution (available from Invitrogen
       Corporation; Carlsbad, CA). "Fully encapsulated" also indicates that the lipid particles are



                                                         30




                                                                                                     JA002157
                                                                                                    GE NV-00005308
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 876 of 1274 PageID #: 9182



       serum-stable, that is, that they do not rapidly decompose into their component parts upon in
       vivo administration.
       [0142J    In another aspect, the present invention provides a lipid particle (e.g., SNALP)
       composition comprising a plurality oflipid particles. In preferred embodiments, the active
   5   agent or therapeutic agent (e.g., nucleic acid) is fully encapsulated within the lipid portion of
       the lipid particles (e.g., SNALP), such that from about 30% to about l 00%, from about 40%
       to about 100%, from about 50% to about 100%, from about 60% to about 100%, from about
       70% to about I 00%, from about 80% to about 100%, from about 90% to about 100%, from
       about 30% to about 95%, from about 40% to about 95%, from about 50% to about 95%, from
  10   about 60% to about 95%, %, from about 70% to about 95%, from about 80% to about 95%,
       from about 85% to about 95%, from about 90% to about 95%, from about 30% to about 90%,
       from about 40% to about 90%, from about 50% to about 90%, from about 60% to about 90%,
       from about 70% to about 90%, from about 80% to about 90%, or at least about 30%, 35%,
       40%, 45%, 50%, 55%, 60%, 65%, 70%, 75%, 80%, 85%, 90%, 91 %, 92%, 93%, 94%, 95%,
  15   96%, 97%, 98%, or 99% (or any fraction thereof or range therein) of the lipid particles (e.g.,
       SNALP) have the active agent or therapeutic agent encapsulated therein.
       [0143]   Typically, the lipid particles (e.g., SNALP) of the invention have a lipid:active
       agent (e.g., lipid:nucleic acid) ratio (mass/mass ratio) of from about l to about 100. In some
       instances, the lipid:active agent (e.g., lipid:nucleic acid) ratio (mass/mass ratio) ranges from
  20   about 1 to about 50, from about 2 to about 25, from about 3 to about 20, from about 4 to
       about 15, or from about 5 to about 10. In preferred embodiments, the lipid particles of the
       invention have a lipid:active agent (e.g., lipid:nucleic acid) ratio (mass/mass ratio) of from
       about 5 to about 15, e.g., about 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, or 15 (or any fraction thereof
       or range therein).
  25   [0144]   Typically, the lipid particles (e.g., SNALP) of the invention have a mean diameter
       of from about 40 nm to about 150 nm. In preferred embodiments, the lipid particles (e.g.,
       SNALP) of the invention have a mean diameter of from about 40 nm to about 130 nm, from
       about 40 nm to about 120 nm, from about 40 nm to about 100 nm, from about 50 nm to about
       120 nm, from about 50 nm to about 100 nm, from about 60 nm to about 120 nm, from about
  30   60 nm to about 110 nm, from about 60 nm to about 100 nm, from about 60 nm to about 90
       nm, from about 60 nm to about 80 nm, from about 70 nm to about 120 nm, from about 70 nm
       to about 110 nm, from about 70 nm to about 100 nm, from about 70 nm to about 90 nm, from
       about 70 nm to about 80 nm, or less than about 120 nm, 110 nm, 100 nm, 90 nm, or 80 nm
       (or any fraction thereof or range therein).

                                                       31




                                                                                                   JA002158
                                                                                                  GE NV-00005309
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 877 of 1274 PageID #: 9183



       [0145]   In one specific embodiment of the invention, the SNALP comprises: (a) one or
       more unmodified and/or modified interfering RNA (e.g., siRNA, aiRNA, miRNA) that
       silence target gene expression; (b) a cationic lipid comprising from about 56.5 mol % to
       about 66.5 mo!% of the total lipid present in the particle; (c) a non-cationic lipid comprising
   5   from about 31.5 mol % to about 42.5 mo!% of the total lipid present in the particle; and (d) a
       conjugated lipid that inhibits aggregation of particles comprising from about 1 mol % to
       about 2 mol % of the total lipid present in the particle. This specific embodiment ofSNALP
       is generally referred to herein as the" l :62" formulation. In a preferred embodiment, the
       cationic lipid is DLinDMA or DLin-K-C2-DMA ("XTC2"), the non-cationic lipid is
  10   cholesterol, and the conjugated lipid is a PEG-DAA conjugate. Although these are preferred
       embodiments of the 1:62 formulation, those of skill in the art will appreciate that other
       cationic lipids, non-cationic lipids (including other cholesterol derivatives), and conjugated
       lipids can be used in the l :62 formulation as described herein.
       [0146]   In another specific embodiment of the invention, the SNALP comprises: (a) one or
  15   more unmodified and/or modified interfering RNA (e.g., siRNA, aiRNA, miRNA) that
       silence target gene expression; (b) a cationic lipid comprising from about 52 mo! % to about
       62 mol % of the total lipid present in the particle; (c) a non-cationic lipid comprising from
       about 36 mo!% to about 47 mo!% of the total lipid present in the particle; and (d) a
       conjugated lipid that inhibits aggregation of particles comprising from about l mol % to
  20   about 2 mol % of the total lipid present in the particle. This specific embodiment of SN ALP
       is generally referred to herein as the" 1:57" formulation. In one preferred embodiment, the
       cationic lipid is DLinDMA or DLin-K-C2-DMA ("XTC2"), the non-cationic lipid is a
       mixture of a phospholipid (such as DPPC) and cholesterol, wherein the phospholipid
       comprises from about 5 mo!% to about 9 mo!% of the total lipid present in the particle (e.g.,
  25   about 7.1 mo!%) and the cholesterol (or cholesterol derivative) comprises from about 32 mo!
       % to about 37 mo! % of the total lipid present in the particle (e.g., about 34.3 mo!%), and the
       PEG-lipid is a PEG-DAA (e.g., PEG-cDMA). In another preferred embodiment, the cationic
       lipid is DLinDMA or DLin-K-C2-DMA ("XTC2"), the non-cationic lipid is a mixture of a
       phospholipid (such as DPPC) and cholesterol, wherein the phospholipid comprises from
  30   about 15 mo!% to about 25 mol % of the total lipid present in the particle (e.g., about 20 mo!
       %) and the cholesterol (or cholesterol derivative) comprises from about 15 mol % to about 25
       mol % of the total lipid present in the particle (e.g., about 20 mo!%), and the PEG-lipid is a
       PEG-DAA (e.g., PEG-cDMA). Although these are preferred embodiments of the 1:57
       formulation, those of skill in the art will appreciate that other cationic lipids, non-cationic


                                                       32




                                                                                                   JA002159
                                                                                                  GENV-00005310
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 878 of 1274 PageID #: 9184



       lipids (including other phospholipids and other cholesterol derivatives), and conjugated lipids
       can be used in the l :57 formulation as described herein.
       [0147]   In preferred embodiments, the 1:62 SN ALP formulation is a three-component
       system which is phospholipid-free and comprises about 1.5 mol % PEG-cDMA (or PEG-
   5   cDSA), about 61.5 mo!% DLinDMA (or XTC2), and about 36.9 mo!% cholesterol (or
       derivative thereof). In other preferred embodiments, the 1:57 SN ALP formulation is a four-
       component system which comprises about 1.4 mo!% PEG-cDMA (or PEG-cDSA), about
       57.1 mo!% DLinDMA (or XTC2), about 7.1 mol % DPPC, and about 34.3 mo!%
       cholesterol (or derivative thereof). In yet other preferred embodiments, the l :57 SNALP
  10   formulation is a four-component system which comprises about 1.4 mol % PEG-cDMA (or
       PEG-cDSA), about 57.l mol % DLinDMA (or XTC2), about 20 mo!% DPPC, and about 20
       mo! % cholesterol (or derivative thereof). It should be understood that these SNALP
       formulations are target formulations, and that the amount of lipid (both cationic and non-
       cationic) present and the amount of lipid conjugate present in the SNALP formulations may
  15   vary.
       [0148]   The present invention also provides a pharmaceutical composition comprising a
       lipid particle (e.g., SNALP) described herein and a pharmaceutically acceptable carrier.
       [0149]    In a further aspect, the present invention provides a method for introducing one or
       more active agents or therapeutic agents {e.g., nucleic acid) into a cell, comprising contacting
  20   the cell with a lipid particle (e.g., SNALP) described herein. In one embodiment, the cell is
       in a mammal and the mammal is a human. In another embodiment, the present invention
       provides a method for the in vivo delivery of one or more active agents or therapeutic agents
       (e.g., nucleic acid), comprising administering to a mammalian subject a lipid particle (e.g.,
       SNALP) described herein. In a preferred embodiment, the mode of administration includes,
  25   but is not limited to, oral, intranasal, intravenous, intraperitoneal, intramuscular, intra-
       articular, intralesional, intratracheal, subcutaneous, and intradermal. Preferably, the
       mammalian subject is a human.
       [01501    In one embodiment, at least about 5%, 10%, 15%, 20%, or 25% of the total injected
       dose of the lipid particles (e.g., SNALP) is present in plasma about 8, 12, 24, 36, or 48 hours
  30   after injection. In other embodiments, more than about 20%, 30%, 40% and as much as
       about 60%, 70% or 80% of the total injected dose of the lipid particles (e.g., SNALP) is
       present in plasma about 8, 12, 24, 36, or 48 hours after injection. In certain instances, more
       than about 10% of a plurality of the particles is present in the plasma of a mammal about 1
       hour after administration. In certain other instances, the presence of the lipid particles (e.g.,


                                                        33




                                                                                                      JA002160
                                                                                                      GENV-00005311
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 879 of 1274 PageID #: 9185



       SN ALP) is detectable at least about 1 hour after administration of the particle. In certain
       embodiments, the presence of an active agent or therapeutic agent such as an interfering RNA
       (e.g., siRNA) is detectable in cells of the lung, liver, tumor, or at a site of inflammation at
       about 8, 12, 24, 36, 48, 60, 72 or 96 hours after administration. In other embodiments,
   5   downregulation of expression of a target sequence by an active agent or therapeutic agent
       such as an interfering RNA (e.g., siRNA) is detectable at about 8, 12, 24, 36, 48, 60, 72 or 96
       hours after administration. In yet other embodiments, downregulation of expression of a
       target sequence by an active agent or therapeutic agent such as an interfering RNA (e.g.,
       siRNA) occurs preferentially in tumor cells or in cells at a site of inflammation. In further
  l0   embodiments, the presence or effect of an active agent or therapeutic agent such as an
       interfering RNA (e.g., siRNA) in cells at a site proximal or distal to the site of administration
       or in cells of the lung, liver, or a tumor is detectable at about 12, 24, 48, 72, or 96 hours, or at
       about 6, 8, 10, ] 2, 14, 16, 18, 19, 20, 22, 24, 26, or 28 days after administration. In additional
       embodiments, the lipid particles (e.g., SNALP) of the invention are administered parenterally
  15   or intraperitoneally.
       [0151]    In some embodiments, the lipid particles (e.g., SNALP) of the invention are
       paiiicularly useful in methods for the therapeutic delivery of one or more nucleic acids
       comprising an interfering RNA sequence (e.g., siRNA). In particular, it is an object of this
       invention to provide in vitro and in vivo methods for treatment of a disease or disorder in a
  20   mammal (e.g., a rodent such as a mouse or a primate such as a human, chimpanzee, or
       monkey) by downregulating or silencing the transcription and/or translation of one or more
       target nucleic acid sequences or genes of interest. As a non-limiting example, the methods of
       the invention are useful for in vivo delivery of interfering RNA (e.g., siRNA) to the liver
       and/or tumor of a mammalian subject. In certain embodiments, the disease or disorder is
  25   associated with expression and/or overexpression of a gene and expression or overexpression
       ofthe gene is reduced by the interfering RNA (e.g., siRNA). In certain other embodiments, a
       therapeutically effective amount of the lipid particle (e.g., SNALP) may be administered to
       the mammal. In some instances, an interfering RNA (e.g., siRNA) is formulated into a
       SNALP, and the particles are administered to patients requiring such treatment. In other
  30   instances, cells are removed from a patient, the interfering RNA (e.g., siRNA) is delivered in
       vitro (e.g., using a SNALP described herein), and the cells arc reinjccted into the patient.
       [0152] In an additional aspect, the present invention provides lipid particles (e.g., SNALP)
       comprising asymmetrical interfering RNA (aiRNA) molecules that silence the expression of a
       target gene and methods of using such particles to silence target gene expression.


                                                        34




                                                                                                    JA002161
                                                                                                   GENV-00005312
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 880 of 1274 PageID #: 9186



       [01531   In one embodiment, the aiRNA molecule comprises a double-stranded (duplex)
       region of about 10 to about 25 (base paired) nucleotides in length, wherein the aiRNA
       molecule comprises an antisense strand comprising 5' and 3' overhangs, and wherein the
       aiRNA molecule is capable of silencing target gene expression.
   5   [0154]   In certain instances, the aiRNA molecule comprises a double-stranded (duplex)
       region of about 12-20, 12-19, 12-18, 13-17, or 14-17 (base paired) nucleotides in length,
       more typically 12, 13, 14, 15, 16, 17, 18, 19, or 20 (base paired) nucleotides in length. In
       certain other instances, the 5' and 3' overhangs on the antisense strand comprise sequences
       that are complementary to the target RNA sequence, and may optionally further comprise
  10   nontargeting sequences. In some embodiments, each of the 5' and 3' overhangs on the
       antisense strand comprises or consists of one, two, three, four, five, six, seven, or more
       nucleotides.
       [0155]   In other embodiments, the aiRNA molecule comprises modified nucleotides
       selected from the group consisting of2'OMe nucleotides, 2'F nucleotides, 2'-deoxy
  15   nucleotides, 2' -O-MOE nucleotides, LNA nucleotides, and mixtures thereof. Tn a preferred
       embodiment, the aiRNA molecule comprises 2'OMe nucleotides. As a non-limiting
       example, the 2'OMe nucleotides may be selected from the group consisting of2'OMe-
       guanosine nucleotides, 2 'OMe-uridine nucleotides, and mixtures thereof.
       [0156]   In a related aspect, the present invention provides lipid particles (e.g., SNALP)
  20   comprising microRNA (miRNA) molecules that silence the expression of a target gene and
       methods of using such compositions to silence target gene expression.
       [0157]   In one embodiment, the miRNA molecule comprises about 15 to about 60
       nucleotides in length, wherein the miRNA molecule is capable of silencing target gene
       expression.
  25   [0158]   In certain instances, the miRNA molecule comprises about 15-50, 15-40, or 15-30
       nucleotides in length, more typically about 15-25 or 19-25 nucleotides in length, and are
       preferably about 20-24, 21-22, or 21-23 nucleotides in length. In a preferred embodiment,
       the miRNA molecule is a mature miRNA molecule targeting an RNA sequence of interest.
       [0159]    In some embodiments, the miRNA molecule comprises modified nucleotides
  30   selected from the group consisting of 2 'OMe nucleotides, 2 'F nucleotides, 2' -deoxy
       nucleotides, 2'-O-MOE nucleotides, LNA nucleotides, and mixtures thereof. In a preferred
       embodiment, the miRNA molecule comprises 2'OMe nucleotides. As a non-limiting
       example, the 2'OMe nucleotides may be selected from the group consisting of2'OMe-
       guanosine nucleotides, 2'OMe-uridine nucleotides, and mixtures thereof


                                                      35




                                                                                                    JA002162
                                                                                                GENV-00005313
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 881 of 1274 PageID #: 9187



       [0160]    As such, the lipid particles ofthe invention (e.g., SNALP) are advantageous and
       suitable for use in the administration of active agents or therapeutic agents such as nucleic
       acid (e.g., interfering RNA such as siRNA, aiRNA, and/or miRNA) to a subject (e.g., a
       mammal such as a human) because they are stable in circulation, of a size required for
   5   pharmacodynamic behavior resulting in access to extra vascular sites, and are capable of
       reaching target cell populations.

       IV.      Active Agents

       [0161]    Active agents (e.g., therapeutic agents) include any molecule or compound capable
       of exerting a desired effect on a cell, tissue, organ, or subject. Such effects may be, e.g.,
  10   biological, physiological, and/or cosmetic. Active agents may be any type of molecule or
       compound including, but not limited to, nucleic acids, peptides, polypeptides, small
       molecules, and mixtures thereof: Non-limiting examples of nucleic acids include interfering
       RNA molecules (e.g., siRNA, aiRNA, miRNA), antisense oligonucleotides, plasmids,
       ribozymes, immunostimulatory oligonucleotides, and mixtures thereof. Examples of peptides
  15   or polypeptides include, without limitation, antibodies (e.g., polyclonal antibodies,
       monoclonal antibodies, antibody fragments; humanized antibodies, recombinant antibodies,
       recombinant human antibodies, Primatizcd™ antibodies), cytokines, growth factors,
       apoptotic factors, differentiation-inducing factors, cell-surface receptors and their ligands,
       hormones, and mixtures thereof. Examples of small molecules include, but are not limited to,
  20   small organic molecules or compounds such as any conventional agent or drug known to
       those of skill in the art.
       [0162]    In some embodiments, the active agent is a therapeutic agent, or a salt or derivative
       thereof. Therapeutic agent derivatives may be therapeutically active themselves or they may
       be prodrugs, which become active upon further modification. Thus, in one embodiment, a
  25   therapeutic agent derivative retains some or all of the therapeutic activity as compared to the
       unmodified agent, while in another embodiment, a therapeutic agent derivative is a prodrug
       that lacks therapeutic activity, but becomes active upon further modification.

                A.      Nucleic Acids

       [0163]    In certain embodiments, lipid particles of the present invention are associated with a
  30   nucleic acid, resulting in a nucleic acid-lipid particle (e.g., SNALP). In some embodiments,
       the nucleic acid is fully encapsulated in the lipid particle. As used herein, the term "nucleic
       acid" includes any oligonucleotidc or polynucleotide, with fragments containing up to 60



                                                       36




                                                                                                  JA002163
                                                                                                  GE NV-00005314
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 882 of 1274 PageID #: 9188



       nucleotides generally termed oligonucleotides, and longer fragments termed polynucleotides.
       In particular embodiments, oligonucletoides of the invention are from about 15 to about 60
       nucleotides in length. Nucleic acid may be administered alone in the lipid particles of the
       invention, or in combination (e.g., co-administered) with lipid paiticles of the invention
   5   comprising peptides, polypeptides, or small molecules such as conventional drugs.
       [0164]   In the context of this invention, the terms "polynucleotide" and "oligonucleotide"
       refor to a polymer or oligomer of nucleotide or nucleoside monomers consisting ofnaturally-
       occurring bases, sugars and intersugar (backbone) linkages. The terms "polynucleotide" and
       "oligonucleotide" also include polymers or oligomers comprising non-naturally occurring
  lO   monomers, or portions thereof, which function similarly. Such modified or substituted
       oligonucleotides are often prcforred over native forms because of properties such as, for
       example, enhanced cellular uptake, reduced immunogenicity, and increased stability in the
       presence of nucleases.
       [0165]   Oligonucleotides are generally classified as deoxyribooligonucleotides or
  15   ribooligonucleotides. A deoxyribooligonucleotide consists of a 5-carbon sugar called
       deoxyribosejoined covalently to phosphate at the 5' and 3' carbons of this sugar to form an
       alternating, unbranched polymer. A ribooligonucleotide consists of a similar repeating
       structure where the 5-carbon sugar is ribose.
       [0166]   The nucleic acid that is present in a lipid-nucleic acid paiticle according to this
  20   invention includes any form of nucleic acid that is known. The nucleic acids used herein can
       be single-stranded DNA or RNA, or double-stranded DNA or RNA, or DNA-RNA hybrids.
       Examples of double-stranded DNA are described herein and include, e.g., structural genes,
       genes including control and termination regions, and self-replicating systems such as viral or
       plasmid DNA. Examples of double-stranded RNA are described herein and include, e.g.,
  25   siRNA and other RNAi agents such as aiRNA and pre-miRNA. Single-stranded nucleic
       acids include, e.g., antisense oligonucleotides, ribozymes, mature miRNA, and triplex-
       forming oligonucleotides.
       [0167]   Nucleic acids of the invention may be of various lengths, generally dependent upon
       the particular form of nucleic acid. For example, in particular embodiments, plasmids or
  30   genes may be from about 1,000 to about 100,000 nucleotide residues in length. In particular
       embodiments, oligonucleotides may range from about 10 to about 100 nucleotides in length.
       In various related embodiments, oligonucleotides, both single-stranded, double-stranded, and
       triple-stranded, may range in length from about 10 to about 60 nucleotides, from about 15 to



                                                       37




                                                                                                 JA002164
                                                                                                 GENV-00005315
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 883 of 1274 PageID #: 9189



       about 60 nucleotides, from about 20 to about 50 nucleotides, from about 15 to about 30
       nucleotides, or from about 20 to about 30 nucleotides in length.
       [0168]   In particular embodiments, an oligonucleotide (or a strand thereof) of the invention
       specifically hybridizes to or is complementary to a target polynucleotide sequence. The
   5   terms "specifically hybridizable" and "complementary" as used herein indicate a sufficient
       degree of complementarity such that stable and specific binding occurs between the DNA or
       RNA target and the oligonucleotide. It is understood that an oligonucleotide need not be
       100% complementary to its target nucleic acid sequence to be specifically hybridizable. In
       preferred embodiments, an oligonucleotide is specifically hybridizable when binding of the
  10   oligonucleotide to the target sequence interferes with the normal function of the target
       sequence to cause a loss of utility or expression therefrom, and there is a sufi1cicnt degree of
       complementarity to avoid non-specific binding of the oligonucleotide to non-target sequences
       under conditions in which specific binding is desired, i.e., under physiological conditions in
       the case of in vivo assays or therapeutic treatment, or, in the case of in vitro assays, under
  15   conditions in which the assays are conducted. Thus, the oligonucleotide may include 1, 2, 3,
       or more base substitutions as compared to the region of a gene or mRNA sequence that it is
       targeting or to which it specifically hybridizes.

                       1.     siRNA

       [0169j    The siRNA component of the nucleic acid-lipid particles of the present invention is
  20   capable of silencing the expression of a target gene of interest. Each strand of the siRNA
       duplex is typically about 15 to about 60 nucleotides in length, preferably about 15 to about 30
       nucleotides in length. Jn certain embodiments, the siRNA comprises at least one modified
       nucleotide. The modified siRNA is generally less immunostimulatory than a corresponding
       unmodified siRNA sequence and retains RN Ai activity against the target gene of interest. In
  25   some embodiments, the modified siRNA contains at least one 2'OMe purine or pyrimidine
       nucleotide such as a 2'OMe-guanosine, 2'OMe-uridine, 2'OMe-adenosine, and/or 2'OMc-
       cytosine nucleotide. In preferred embodiments, one or more of the uridine and/or guanosine
       nucleotides arc modified. The modified nucleotides can be present in one strand (i.e., sense
       or antisense) or both strands of the siRNA. The siRNA sequences may h~ve overhangs (e.g.,
  30   3' or 5' overhangs as described in Elbashir et al., Genes Dev., 15: 188 (2001) or Nykanen et
       al., Cell, 107:309 (2001)), or may lack overhangs (i.e., have blunt ends).
       [0170]    The modified siRNA generally comprises from about I% to about I 00% (e.g., about
       1%, 2%, 3%, 4%, 5%, 6%, 7%, 8%, 9%, 10%, 11%, 12%, 13%, 14%, 15%, 16%, 17%, 18%,


                                                       38




                                                                                                  JA002165
                                                                                                  GENV-00005316
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 884 of 1274 PageID #: 9190



       19%, 20%, 21%, 22%, 23%, 24%, 25%, 26%, 27%, 28%, 29%, 30%, 35%, 40%, 45%, 50%,
       55%, 60%, 65%, 70%, 75%, 80%, 85%, 90%, 95%, or 100%) modified nucleotides in the
       double-stranded region of the siRNA duplex. In certain embodiments, one, two, three, four,
       five, six, seven, eight, nine, ten, or more of the nucleotides in the double-stranded region of
   5   the siRNA comprise modified nucleotides.
       [0171]   In some embodiments, less than about 25% (e.g., less than about 25%, 24%, 23%,
       22%, 21%, 20%, 19%, 18%, 17%, 16%, 15%, 14%, 13%, 12%, 11%, 10%, 9%, 8%, 7%, 6%,
       5%, 4%, 3%, 2%, or 1%) of the nucleotides in the double-stranded region of the siRNA
       comprise modified nucleotides.
  lO   [0172]   In other embodiments, from about 1% to about 25% (e.g., from about 1%-25%, 2%-
       25%, 3%-25%, 4%-25%, 5%-25%, 6%-25%, 7%-25%, 8%-25%, 9%-25%, 10%-25%, 11%-
       25%, 12%-25%, 13%-25%, 14%-25%, 15%-25%, 16%-25%, 17%-25%, 18%-25%, 19%-
       25%, 20%-25%, 21 %-25%, 22%-25%, 23%-25%, 24%-25%, etc.) or from about 1% to about
       20% (e.g., from about l %-20%, 2%-20%, 3%-20%, 4%-20%, 5%-20%, 6%-20%, 7%-20%,
  15   8%-20%, 9%-20%, 10%-20%, l 1%-20%, 12%-20%, 13%-20%, 14%-20%, 15%-20%, 16%-
       20%, 17%-20%, 18%-20%, 19%-20%, 1%-19%, 2%-19%, 3%-19%, 4%-19%, 5%-19%, 6%-
       19%, 7%-19%, 8%-19%, 9%-19%, 10%-19%, 11%-19%, 12%-19%, 13%-19%, 14%-19%,
       15%-19%, 16%-19%, 17%-19%, 18%-19%, 1%-18%, 2%-18%, 3%-18%, 4%-18%, 5%-
       18%, 6%-18%, 7%-18%, 8%-18%, 9%-18%, 10%-18%, 11%-18%, 12%-18%, 13%-18%,
  20   14%-18%, 15%-18%, 16%-18%, 17%-18%, 1%-17'%, 2%-17%, 3%-17%, 4%-17%, 5%-
       17%, 6%-17%, 7%-17%, 8%-17%, 9%-17%, 10%-17%, 11%-17%, 12%-17%, 13%-17%,
       14%-17%, 15%-17%, 16%-17%, 1%-16%, 2%-16%, 3%-16%, 4%-16%, 5%-16%, 6%-16%,
       7%-16%, 8%-16%, 9%-16%, 10%-16%, 11 %-16%, 12%-16%, 13%-16%, 14%-16%, 15%-
       16%, 1%-15%, 2%-15%, 3%-15%, 4%-15%, 5%-15%, 6%-15%, 7%-15%, 8%-15%, 9%-
  25   15%, 10%-15%, 11%-15%, 12%-15%, 13%-15%, 14%-15%,etc.)oft henucleotidesinth e
       double-stranded region of the siRNA comprise modified nucleotides.
       [0173]    In further embodiments, e.g., when one or both strands of the siRNA are selectively
       modified at uridine and/or guanosine nucleotides, the resulting modified siRNA can comprise
       less than about 30% modified nucleotides (e.g., less than about 30%, 29%, 28%, 27%, 26%,
  30   25%,24%,23%,22 %,21%,20%, 19%, 18%, 17%, 16%, 15%, 14%, 13%, 12%, 11%, 10%,
       9%, 8%, 7%, 6%, 5%, 4%, 3%, 2%, or l % modified nucleotides) or from about 1% to about
       30% modified nucleotides (e.g., from about 1%-30%, 2%-30%, 3%-30%, 4%-30%, 5%-30%,
       6%-30%, 7%-30%, 8%-30%, 9%-30%, 10%-30%, 11%-30%, 12%-30%, 13%-30%, 14%-
       30%, 15%-30%, 16%-30%, 17%-30%, 18%-30%, 19%-30%, 20%-30%, 21%-30%, 22%-


                                                       39




                                                                                                 JA002166
                                                                                                GENV-00005317
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 885 of 1274 PageID #: 9191



       30%, 23%-30%, 24%-30%, 25%-30%, 26%-30%, 27%-30%, 28%-30%, or 29%-30%
       modified nucleotides).

                                a.    Selection of siRNA Sequences

       [0174]   Suitable siRNA sequences can be identified using any means known in the art.
   5   Typically, the methods described in Elbashir et al., Nature, 411 :494-498 (2001) and Elbashir
       et al., EMBO J., 20:6877-6888 (2001) are combined with rational design rules set fo1ih in
       Reynolds et al., Nature Biotech., 22(3):326-330 (2004).
       [0175]   Generally, the nucleotide sequence 3' of the AUG start codon of a transcript from
       the target gene of interest is scanned for dinucleotide sequences (e.g., AA, NA, CC, GG, or
  IO   UU, wherein N = C, G, or U) (see, e.g., Elbashir et al., EMBO J., 20:6877-6888 (2001)). The
       nucleotides immediately 3' to the dinucleotide sequences are identified as potential siRNA
       sequences (i.e., a target sequence or a sense strand sequence). Typically, the 19, 21, 23, 25,
       27, 29, 31, 33, 35, or more nucleotides immediately 3' to the dinucleotide sequences are
       identified as potential siRNA sequences. In some embodiments, the dinucleotide sequence is
  15   an AA or NA sequence and the 19 nucleotides immediately 3' to the AA or NA dinucleotide
       are identified as potential siRNA sequences. siRNA sequences are usually spaced at different
       positions along the length of the target gene. To further enhance silencing efficiency of the
       siRNA sequences, potential siRNA sequences may be analyzed to identity sites that do not
       contain regions of homology to other coding sequences, e.g., in the target cell or organism.
  20   For example, a suitable siRNA sequence of about 21 base pairs typically will not have more
       than 16-17 contiguous base pairs of homology to coding sequences in the target cell or
       organism. If the siRNA sequences are to be expressed from an RNA Pol llI promoter, siRNA
       sequences lacking more than 4 contiguous A's or T's are selected.
       [0176]    Once a potential siRNA sequence has been identified, a complementary sequence
  25   (i.e., an antisense strand sequence) can be designed. A potential siRNA sequence can also be
       analyzed using a variety of criteria known in the art. For example, to enhance their silencing
       efficiency, the siRNA sequences may be analyzed by a rational design algorithm to identify
       sequences that have one or more of the following features: (l) G/C content of about 25% to
       about 60% G/C; (2) at least 3 A/Us at positions 15-19 of the sense strand; (3) no internal
  30   repeats; (4) an A at position 19 of the sense strand; (5) an A at position 3 of the sense strand;
       (6) a U at position 10 of the sense strand; (7) no G/C at position 19 of the sense strand; and
       (8) no G at position 13 of the sense strand. siRNA design tools that incorporate algorithms
       that assign suitable values of each of these features and are useful for selection of siRNA can


                                                       40




                                                                                                 JA002167
                                                                                                 GENV-00005318
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 886 of 1274 PageID #: 9192



       be found at, e.g., http://boz094.ust.hk/RNAi/s iRNA. One of skill in the art will appreciate
       that sequences with one or more of the foregoing characteristics may be selected for further
       analysis and testing as potential siRNA sequences.
       [0177]   Additionally, potential siRNA sequences with one or more of the following criteria
   5   can often be eliminated as siRNA: (1) sequences comprising a stretch of 4 or more of the
       same base in a row; (2) sequences comprising homopolymers of Gs (i.e., to reduce possible
       non-specific effects due to structural characteristics of these polymers; (3) sequences
       comprising triple base motifs (e.g., GGG, CCC, AAA, or TIT); (4) sequences comprising
       stretches of 7 or more G/Cs in a row; and (5) sequences comprising direct repeats of 4 or
  lO   more bases within the candidates resulting in internal fold-back structures. However, one of
       skill in the art will appreciate that sequences with one or more of the foregoing characteristics
       may still be selected for farther analysis and testing as potential siRNA sequences.
       [0178]   In some embodiments, potential siRNA sequences may be further analyzed based
       on siRNA duplex asymmetry as described in, e.g., Khvorova et al., Cell, 115:209-216 (2003);
  15   and Schwarz et al., Cell, 115: 199-208 (2003). In other embodiments, potential siRNA
       sequences may be further analyzed based on secondary structure at the target site as described
       in, e.g., Luo et al., Biophys. Res. Commun., 318:303-310 (2004). For example, secondary
       structure at the target site can be modeled using the Mfold algorithm (available at
       http://www.bioinfo.rpi.edu/a pplications/mfold/rna/form l .cgi) to select siRNA sequences
  20   which favor accessibility at the target site where less secondary structure in the form of base-
       pairing and stem-loops is present.
       lO179]   Once a potential siRNA sequence has been identified, the sequence can be analyzed
       for the presence of any imrnunostimulatory properties, e.g., using an in vitro cytokine assay
       or an in vivo animal model. Motifs in the sense and/or antisense strand of the siRNA
  25   sequence such as GU-rich motifs (e.g., 5'-GU-3', 5'-UGU-3', 5'-GUGU-3', 5'-UGUGU-3',
       etc.) can also provide an indication of whether the sequence may be immunostimulatory.
       Once an siRNA molecule is found to be immunostimulatory, it can then be modified to
       decrease its immunostimulatory properties as described herein. As a non-limiting example,
       an siRNA sequence can be contacted with a mammalian responder cell under conditions such
  30   that the cell produces a detectable immune response to determine whether the siRNA is an
       immunostimulatory or a non-immunostimulatory siRNA. The mammalian responder cell
       may be from a na'ive mammal (i.e., a mammal that has not previously been in contact with the
       gene product of the siRNA sequence). The mammalian responder cell may be, e.g., a
       peripheral blood mononuclear cell (PBMC), a macrophage, and the like. The detectable


                                                      41




                                                                                                 JA002168
                                                                                                 GENV-00005319
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 887 of 1274 PageID #: 9193



       immune response may comprise production of a cytokine or growth factor such as, e.g., TN F-
       a, IFN-a, IFN-j3, IFN-y, IL-6, IL-12, or a combination thereof. An siRNA molecule
       identified as being immunostimulatory can then be modified to decrease its
       immunostimulatory properties by replacing at least one of the nucleotides on the sense and/or
   5   antisense strand with modified nucleotides. For example, less than about 30% (e.g., less than
       about 30%, 25%, 20%, 15%, 10%, or 5%) of the nucleotides in the double-stranded region of
       the siRNA duplex can be replaced with modified nucleotides such as 2'OMe nucleotides.
       The modified siRNA can then be contacted with a mammalian responder cell as described
       above to confirm that its immunostimulatory properties have been reduced or abrogated.
  IO   [0180]   Suitable in vitro assays for detecting an immune response include, but are not
       limited to, the double monoclonal antibody sandwich immunoassay technique of David et al.
       (U.S. Patent No. 4,376,110); monoclonal-polycl onal antibody sandwich assays (Wide et al.,
       in Kirkham and Hunter, eds., Radioimmunoassay lvfethods, E. and S. Livingstone, Edinburgh
       (1970)); the "Western blot" method of Gordon et al. (U.S. Patent No. 4,452,901);
  15   immunoprecipitatio n of labeled ligand (Brown et al., J. Biol. Chern., 255 :4980-4983 (1980));
       enzyme-linked immunosorbent assays (ELISA) as described, for example, by Raines et al., J.
       Biol. Chem., 257:5154-5160 (1982); immunocytochcmic al techniques, including the use of
       fluorochromes (Brooks et al., Clin. Exp. Inununol., 39:477 (1980)); and neutralization of
       activity (Bowen-Pope et al., Proc. Natl. Acad. Sci. USA, 81:2396-2400 (1984)). In addition
  20   to the immunoassays described above, a number of other immunoassays are available,
       including those described in U.S. Patent Nos. 3,817,827; 3,850,752; 3,90] ,654; 3,935,074;
       3,984,533; 3,996,345; 4,034,074; and 4,098,876. The disclosures of these references are
       herein incorporated by reference in their entirety for all purposes.
       [0181]   A non-limiting example of an in vivo model for detecling an immune response
  25   includes an in vivo mouse cytokine induction assay as described in, e.g., Judge et al., Mo!.
       1'her., 13:494-505 (2006). 1n certain embodiments, the assay that can be performed as
       follows: (1) siRNA can be administered by standard intravenous injection in the lateral tail
       vein; (2) blood can be collected by cardiac puncture about 6 hours after administration and
       processed as plasma for cytokine analysis; and (3) cytokines can be quantified using
  30   sandwich ELISA kits according to the manufacturer's instructions (e.g., mouse and human
       IFN-a (PBL Biomedical; Piscataway, NJ); human JL-6 and TNF-a (eBioscience; San Diego,
       CA); and mouse IL-6, TNF-a, and IFN-y (BD Biosciences; San Diego, CA)).
       [0182]    Monoclonal antibodies that specifically bind cytokines and growth factors are
       commercially available from multiple sources and can be generated using methods known in


                                                       42




                                                                                                 JA002169
                                                                                               GE NV-00005320
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 888 of 1274 PageID #: 9194



       the art (see, e.g., Kohler et al., Nature, 256: 495-497 (1975) and Harlow and Lane,
       ANTIBODIES, A LABORATORY MANUAL, Cold Spring Harbor Publication, New York
       (1999)). Generation of monoclonal antibodies has been previously described and can be
       accomplished by any means known in the art (Buhring et al., in Hybridoma, Vol. 10, No. 1,
   5   pp. 77-78 (1991)). In some methods, the monoclonal antibody is labeled (e.g., with any
       composition detectable by spectroscopic, photochemical, biochemical, electrical, optical, or
       chemical means) to facilitate detection.

                              b.        Generating siRNA Molecules

       [0183]   siRNA can be provided in several forms including, e.g., as one or more isolated
  10   small-interfering RNA (siRNA) duplexes, as longer double-stranded RNA (dsRNA), or as
       siRNA or dsRNA transcribed from a transcriptional cassette in a DNA plasmid. The siRNA
       sequences may have overhangs (e.g., 3' or 5' overhangs as described in Elbashir et al., Genes
       Dev., 15:188 (2001) or Nykanen et al., Cell, 107:309 (2001), or may lack overhangs (i.e., to
       have blunt ends).
  15   [0184]   An RNA population can be used to provide long precursor RNAs, or long precursor
       RNAs that have substantial or complete identity to a selected target sequence can be used to
       make the siRNA. The RNAs can be isolated from cells or tissue, synthesized, and/or cloned
       according to methods well known to those of skill in the art. The RNA can be a mixed
       population (obtained from cells or tissue, transcribed from cDNA, subtracted, selected, etc.),
  20   or can represent a single target sequence. RNA can be naturally occurring (e.g., isolated from
       tissue or cell samples), synthesized in vitro (e.g., using T7 or SP6 polymerase and PCR
       products or a cloned cDNA), or chemically synthesized.
       [0185]   To form a long dsRNA, for synthetic RNAs, the complement is also transcribed in
       vitro and hybridized to form a dsRNA. If a naturally occuring RNA population is used, the
  25   RNA complements are also provided (e.g., to form dsRNA for digestion by E.coli RNAse III
       or Dicer), e.g., by transcribing cDNAs corresponding to the RNA population, or by using
       RNA polymerases. The precursor RNAs are then hybridized to form double stranded RN As
       for digestion. The dsRNAs can be directly administered to a subject or can be digested in
       vitro prior to administration.
  30   [0186]    Methods for isolating RNA, synthesizing RNA, hybridizing nucleic acids, making
       and screening cDNA libraries, and performing PCR are well known in the art (see, e.g..
       Gubler and Hoffman, Gene, 25:263-269 (1983); Sambrook et al., supra; Ausubel et al.,
       supra), as arc PCR methods (see, U.S. Patent Nos. 4,683,195 and 4,683,202; PCR Protocols:


                                                     43




                                                                                               JA002170
                                                                                              GE NV-00005321
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 889 of 1274 PageID #: 9195



       A Guide to Methods and Applications (Innis et al., eds, 1990)). Expression libraries are also
       well known to those of skill in the art. Additional basic texts disclosing the general methods
       of use in this invention include Sambrook et al., Molecular Cloning, A Laboratory Manual
       (2nd ed. 1989); Kriegler, Gene Transfer and Expression: A Laboratory Manual (1990); and
   5   Current Protocols in Molecular Biology (Ausubel et al., eds., 1994). The disclosures of these
       references are herein incorporated by reference in their entirety for all purposes.
       [0187]    Preferably, siRNA are chemically synthesized. The oligonucleotides that comprise
       the siRNA molecules of the invention can be synthesized using any of a variety of techniques
       known in the art, such as those described in Usman et al., J Am. Chem. Soc., 109:7845
  10   (1987); Scaringe et al., Nucl. Acids Res., 18:5433 (1990); Wincott et al., Nuc!. Acids Res.,
       23:2677-2684 (1995); and Wincott et al., Methods· Mo!. Bio., 74:59 (1997). The synthesis of
       oligonuclcotides makes use of common nucleic acid protecting and coupling groups, such as
       dimethoxytrityl at the 5'-end and phosphoramidites at the 3'-end. As a non-limiting example,
       small scale syntheses can be conducted on an Applied Biosystems synthesizer using a 0.2
  15   µmol scale protocol. Alternatively, syntheses at the 0.2 µmo! scale can be performed on a
       96-well plate synthesizer from Protogene (Palo Alto, CA). However, a larger or smaller scale
       of synthesis is also within the scope of this invention. Suitable reagents for oligonucleotide
       synthesis, methods for RNA deprotection, and methods for RNA purification are known to
       those of skill in the art.
  20   [0188]    siRNA molecules can also be synthesized via a tandem synthesis technique, wherein
       both strands are synthesized as a single continuous oligonucleotidc fragment or strand
       separated by a clcavable linker that is subsequently cleaved to provide separate fragments or
       strands that hybridize to form the siRNA duplex. The linker can be a polynucleotide linker or
       a non-nucleotide linker. The tandem synthesis of siRNA can be readily adapted to both
  25   multiwell/multiplate synthesis platforms as well as large scale synthesis platforms employing
       batch reactors, synthesis columns, and the like. Alternatively, siRNA molecules can be
       assembled from two distinct oligonucleotides, wherein one oligonucleotide comprises the
       sense strand and the other comprises the antisense strand of the siRNA. For example, each
       strand can be synthesized separately and joined together by hybridization or ligation
  30   following synthesis and/or deprotection. In ce1iain other instances, siRNA molecules can be
       synthesized as a single continuous oligonucleotide fragment, where the self-complementary
       sense and antisense regions hybridize to form an siRNA duplex having hairpin secondary
       structure.



                                                       44




                                                                                                JA002171
                                                                                                GE NV-00005322
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 890 of 1274 PageID #: 9196




                             c.      Modifying siRNA Sequences

       [0189]   In ce1tain aspects, siRNA molecules comprise a duplex having two strands and at
       least one modified nucleotide in the double-stranded region, wherein each strand is about 15
   5   to about 60 nucleotides in length. Advantageously, the modified siRNA is less
       immunostimulatory than a corresponding unmodified siRNA sequence, but retains the
       capability of silencing the expression of a target sequence. ln preferred embodiments, the
       degree of chemical modifications introduced into the siRNA molecule strikes a balance
       between reduction or abrogation of the immunostimulatory properties of the siRNA and
  10   retention ofRNAi activity. As a non-limiting example, an siRNA molecule that targets a
       gene of interest can be minimally modified (e.g., less than about 30%, 25%, 20%, 15%, 10%,
       or 5% modified) at selective uridine and/or guanosine nucleotides within the siRNA duplex
       to eliminate the immune response generated by the siRNA while retaining its capability to
       silence target gene expression.
  15   [0190]   Examples of modified nucleotides suitable for use in the invention include, but are
       not limited to, ribonucleotides having a 2'-O-methyl (2'OMe), 2'-deoxy-2'-fluoro (2'F), 2'-
       deoxy, 5-C-methyl, 2'-O-(2-methoxyet hyl) (MOE), 4'-thio, 2'-amino, or 2'-C-allyl group.
       Modified nucleotides having a Northern conformation such as those described in, e.g.,
       Saenger, Principles a/Nucleic Acid Structure, Springer-Verlag Ed. (1984), are also suitable
  20   for use in siRNA molecules. Such modified nucleotides include, without limitation, locked
       nucleic acid (LNA) nucleotides (e.g., 2'-0, 4'-C-methylene-(D -ribofuranosyl) nucleotides),
       2' -O-(2-methoxyethy l) (MOE) nucleotides, 2 '-methyl-thio-ethyl nucleotides, 2' -deoxy-2' -
       fluoro (2'F) nucleotides, 2'-deoxy-2'-chloro (2'Cl) nucleotides, and 2'-azido nucleotides. ln
       certain instances, the siRNA molecules described herein include one or more G-clamp
  25   nucleotides. A G-clamp nucleotide refers to a modified cytosine analog wherein the
       modifications confer the ability to hydrogen bond both Watson-Crick and Hoogsteen faces of
       a complementary guanine nucleotide within a duplex (see, e.g., Lin et al., J. Am. Chem. Soc.,
       120:8531-8532 (1998)). In addition, nucleotides having a nucleotide base analog such as, for
       example, C-phenyl, C-naphthyl, other aromatic derivatives, inosine, azole carboxamides, and
  30   nitroazole derivatives such as 3-nitropyrrole, 4-nitroindole, 5-nitroindole, and 6-nitroindole
       (see, e.g, Loakes, Nucl. Acids Res., 29:2437-2447 (2001)) can be incorporated into siRNA
       molecules.




                                                      45




                                                                                                JA002172
                                                                                               GE NV-00005323
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 891 of 1274 PageID #: 9197



       [01911   In certain embodiments, siRNA molecules may further comprise one or more
       chemical modifications such as terminal cap moieties, phosphate backbone modifications,
       and the like. Examples of terminal cap moieties include, without limitation, inverted deoxy
       abasic residues, glyceryl modifications, 4' ,5 '-methylene nucleotides, 1-([3-D-
   5   erythrofuranosyl) nucleotides, 4' -thio nucleotides, carbocyclic nucleotides, 1,5-
       anhydrohexitol nucleotides, L-nucleotides, a-nucleotides, modified base nucleotides, threo-
       pentofuranosyl nucleotides, acyclic 3',4'-seco nucleotides, acyclic 3,4-dihydroxybutyl
       nucleotides, acyc lie 3,5-dihydroxypentyl nucleotides, 3 '-3 '-inverted nucleotide moieties, 3 ' -
       3 '-inverted abasic moieties, 3 '-2 '-inverted nucleotide moieties, 3 '-2' -inverted abasic
  10   moieties, 5'-5'-inverted nucleotide moieties, 5'-5'-inverted abasic moieties, 3'-5'-inverted
       deoxy abasic moieties, 5 '-amino-alkyl phosphate, 1,3-diamino-2-propyl phosphate, 3-
       aminopropyl phosphate, 6-aminohexyl phosphate, 1,2-aminododecyl phosphate,
       hydroxypropyl phosphate, 1,4-butanediol phosphate, 3 '-phosphoramidate, 5 ' -
       phosphoramidate, hexylphosphate, aminohexyl phosphate, 3 '-phosphate, 5 '-amino, 3 ' -
  15   phosphorothioate, 5 '-phosphorothioate, phosphorodithioate, and bridging or non-bridging
       methylphosphonate or 5'-mercapto moieties (see, e.g., U.S. Patent No. 5,998,203; Beaucage
       et al., Tetrahedron 49:1925 (1993)). Non-limiting examples of phosphate backbone
       modifications (i.e., resulting in modified internucleotide linkages) include phosphorothioate,
       phosphorodithioate, methylphosphonate, phosphotriester, morpholino, amidate, carbamate,
  20   carboxymethyl, acetamidate, polyamide, sulfonate, sulfonamide, sulfamate, formacetal,
       thioformacetal, and alkylsilyl substitutions (see, e.g., Hunziker et al., Nucleic Acid
       Analogues: 8ynthes;,,, and Properties, in Modern Synthetic Method<;, VCH, 331-417 (1995);
       Mesmaeker et al., Novel Backbone Replacementsfor Oligonucleotides, in Carbohydrate
       Modifications in Antisense Research, ACS, 24-39 (1994)). Such chemical modifications can
  25   occur at the 5'-end and/or 3'-end of the sense strand, antisense strand, or both strands of the
       siRNA. The disclosures of these references are herein incorporated by reference in their
       entirety for all purposes.
       [0192]    In some embodiments, the sense and/or antisense strand of the siRNA molecule can
       further comprise a 3'-terminal overhang having about] to about 4 (e.g., 1, 2, 3, or 4) 2'-
  30   deoxy ribonucleotides and/or any combination of modified and unmodified nucleotides.
       Additional examples of modified nucleotides and types of chemical modifications that can be
       introduced into siRNA molecules are described, e.g., in UK Patent No. GB 2,397,818 Band




                                                        46




                                                                                                     JA002173
                                                                                                     GE NV-00005324
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 892 of 1274 PageID #: 9198



       U.S. Patent Publication Nos. 20040192626, 20050282188, and 20070135372, the disclosures
       of which are herein incorporated by reference in their entirety for all purposes.
       [0193]   The siRNA molecules described herein can optionally comprise one or more non-
       nucleotides in one or both strands of the siRNA. As used herein, the term "non-nucleotide"
   5   refers to any group or compound that can be incorporated into a nucleic acid chain in the
       place of one or more nucleotide units, including sugar and/or phosphate substitutions, and
       allows the remaining bases to exhibit their activity. The group or compound is abasic in that
       it does not contain a commonly recognized nucleotide base such as adenosine, guanine,
       cytosine, uracil, or thymine and therefore lacks a base at the l '-position.
  lO   [0194]    In other embodiments, chemical modification of the siRNA comprises attaching a
       conjugate to the siRNA molecule. The conjugate can be attached at the 5' and/or 3 '-end of
       the sense and/or antisense strand of the siRNA via a covalent attachment such as, e.g., a
       biodegradable linker. The conjugate can also be attached to the siRNA, e.g., through a
       carbamate group or other linking group (see, e.g., U.S. Patent Publication Nos. 20050074771,
  15   20050043219, and 20050158727). In certain instances, the conjugate is a molecule that
       facilitates the delivery of the siRNA into a cell. Examples of conjugate molecules suitable
       for attachment to siRNA inc Jude, without limitation, steroids such as cholesterol, glycols
       such as polyethylene glycol (PEG), human serum albumin (HSA), fatty acids, carotenoids,
       tcrpenes, bile acids, folates (e.g., folic acid, folate analogs and derivatives thereof), sugars
  20   (e.g., galactose, galactosamine, N-acetyl galactosamine, glucose, mannose, fructose, fucose,
       etc.), phospholipids, peptides, ligands for cellular receptors capable of mediating cellular
       uptake, and combinations thereof (see, e.g., U.S. Patent Publication Nos. 20030130186,
       20040110296, and 20040249178; U.S. Patent No. 6,753,423). Other examples include the
       lipophilic moiety, vitamin, polymer, peptide, protein, nucleic acid, small molecule,
  25   oligosaccharide, carbohydrate cluster, intercalator, minor groove binder, cleaving agent, and
       cross-linking agent conjugate molecules described in U.S. Patent Publication Nos.
       20050119470 and 20050107325. Y ct other examples include the 2'-O-alkyl amine, 2'-O-
       alkoxyalkyl amine, polyamine, CS-cationic modified pyrimidine, cationic peptide,
       guanidinium group, amidininium group, cationic amino acid conjugate molecules described
  30   in U.S. Patent Publication No. 20050153337. Additional examples include the hydrophobic
       group, membrane active compound, cell penetrating compound, cell targeting signal,
       interaction modifier, and stcric stabilizer conjugate molecules described in U.S. Patent
       Publication No. 20040167090. Further examples include the conjugate molecules described
       in U.S. Patent Publication No. 20050239739. The type of conjugate used and the extent of


                                                        47




                                                                                                   JA002174
                                                                                                   GE NV-00005325
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 893 of 1274 PageID #: 9199



       conjugation to the siRNA molecule can be evaluated for improved phannacokinetic profiles,
       bioavailability, and/or stability of the siRNA while retaining RNAi activity. As such, one
       skilled in the art can screen siRNA molecules having various conjugates attached thereto to
       identify ones having improved properties and full RN Ai activity using any of a variety of
   5   well-known in vitro cell culture or in vivo animal models. The disclosures of the above-
       described patent documents are herein incorporated by reference in their entirety for all
       purposes.

                               d.      Target Genes

       [0195]      The siRNA component of the nucleic acid-lipid particles described herein can be
  10   used to downrcgulate or silence the translation (i.e., expression) of a gene of interest. Genes
       of interest include, but are not limited to, genes associated with viral infection and survival,
       genes associated with metabolic diseases and disorders (e.g., liver diseases and disorders),
       genes associated with tumorigenesis and cell transformation (e.g., cancer), angiogenic genes,
       immunomodulator genes such as those associated with inflammatory and autoimmune
  15   responses, ligand receptor genes, and genes associated with neurodegenerative disorders.
       [0196]      Genes associated with viral infection and survival include those expressed by a
       virus in order to bind, enter, and replicate in a cell. Of particular interest are viral sequences
       associated with chronic viral diseases. Viral sequences of particular interest include
       sequences of Filo viruses such as Ebola virus and Marburg virus (see, e.g., Geisbert et al., J.
  20   Infect. Dis., 193: 1650-1657 (2006)); Arenaviruses such as Lassa virus, Junin virus, Machupo
       virus, Guanarito virus, and Sabia virus (Buchmeier et al., Arenaviridae: the viruses and their
       replication, In: FIELDS VIROLOGY, Knipe et al. (eds.), 4th ed., Lippincott-Raven,
       Philadelphia, (2001)); Influenza viruses such as Influenza A, B, and C viruses, (see, e.g.,
       Steinhauer et al., Annu Rev Genet., 36:305-332 (2002); and Neumann et al., J Gen Viral.,
  25   83:2635-2662 (2002)); Hepatitis viruses (see, e.g., Hamasaki et al., FEES Lett., 543:51
       (2003); Yokota et al., EMBO Rep., 4:602 (2003); Schlomai et al., Hepatology, 37:764 (2003);
       Wilson et al., Proc. Natl. Acad. Sci. USA, l 00:2783 (2003); Kapadia et al., Proc. Natl. Acad
       Sci. USA, 100:2014 (2003); and FIELDS VIROLOGY, Knipe et al. (eds.), 4th ed., Lippincott-
       Raven, Philadelphia (2001)); Human Immunodeficiency Virus (HIV) (Bane~jea et al., Mol.
  30   Ther., 8:62 (2003); Song et al., J. Viral., 77:7174 (2003); Stephenson, JAMA, 289:1494
       (2003); Qin et al., Proc. Natl. Acad. Sci. USA, 100:183 (2003)); Herpes viruses (Jia et al., J.
       Viral., 77:3301 (2003)); and Human Papilloma Viruses (HPV) (Hall et al., J. Viral., 77:6066
       (2003); Jiang et al., Oncogene, 2 l :6041 (2002)).


                                                        48




                                                                                                   JA002175
                                                                                                  GE NV-00005326
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 894 of 1274 PageID #: 9200



       [0197]   Exemplary Filovirus nucleic acid sequences that can be silenced include, but are not
       limited to, nucleic acid sequences encoding structural proteins (e.g., VP30, VP35,
       nucleoprotein (NP), polymerase protein (L-pol)) and membrane-associat ed proteins (e.g.,
       VP40, glycoprotein (GP), VP24). Complete genome sequences for Ebola virus are set forth
   5   in, e.g., Genbank Accession Nos. NC_002549; AY769362; NC_006432; NC_004161;
       AY729654; AY354458; AY142960; AB050936; AF522874; AF499101; AF272001; and
       AF086833. Ebola virus VP24 sequences are set forth in, e.g., Genbank Accession Nos.
       U77385 and A Y058897. Ebola virus L-pol sequences are set forth in, e.g., Genbank
       Accession No. X67110. Ebola virus VP40 sequences are set forth in, e.g., Genbank
  IO   Accession No. A Y058896. Ebola virus NP sequences are set forlh in, e.g., Genbank
       Accession No. A Y058895. Ebola virus GP sequences are set forth in, e.g., Genbank
       Accession No. A Y058898; Sanchez et al., Virus Res., 29:215-240 (1993); Will et al., .I.
       Virol., 67:1203-1210 (1993); Volchkov et al., FEES Lett., 305: 181-184 (1992); and U.S.
       Patent No. 6,713,069. Additional Ebola virus sequences are set forth in, e.g., Genbank
  15   Accession Nos. LI 1365 and X61274. Complete genome sequences for Marburg virus are set
       forth in, e.g., Genbank Accession Nos. NC_OOl 608; A Y430365; AY430366; and A Y358025.
       Marburg virus GP sequences are set forth in, e.g., Genbank Accession Nos. AF005734;
       AF005733; and AF005732. Marburg virus VP35 sequences are set forth in, e.g., Genbank
       Accession Nos. AF00573 l and AF005730. Additional Marburg virus sequences are set forth
  20   in, e.g., Genbank Accession Nos. X64406; Z29337; AF005735; and Zl 2132. Non-limiting
       examples of siRNA molecules targeting Ebola virus and Marburg virus nucleic acid
       sequences include those described in U.S. Patent Publication No. 20070135370, the
       disclosure of which is herein incorporated by reference in its entirety for all purposes.
       [0198]   Exemplary Influenza virus nucleic acid sequences that can be silenced include, but
  25   are not limited to, nucleic acid sequences encoding nucleoprotein (NP), matrix proteins (M 1
       and M2), nonstructural proteins (NS 1 and NS2), RNA polymerase (PA, PB l, PB2),
       neuraminidase (NA), and haemagglutinin (HA). Influenza A NP sequences are set forth in,
       e.g., Genbank Accession Nos. NC_004522; AY818138; AB 166863; AB188817; AB 189046;
       AB 189054; ABl 89062; A Y646169; AY646177; A Y651486; A Y651493; AY651494;
  30   AY651495; AY651496; AY651497; AY651498; AY651499; AY651500; AY651501;
       AY651502; AY651503; A Y651504; AY651505; A Y651506; AY651507; AY65 l 509;
       AY651528; A Y770996; AY790308; AYSl 8138; and AY818140. Influenza A PA sequences
       are set forth in, e.g., Genbank Accession Nos. AY818132; AY790280; AY646171;
       AY818132;AY818 133; AY646179; AY818134; AY551934; AY651613; AY651610;


                                                      49




                                                                                                   JA002176
                                                                                                   GE NV-00005327
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 895 of 1274 PageID #: 9201



       A Y651620; A Y651617; AY651600; A Y651611; A Y651606; A Y651618; AY651608;
       A Y651607; A Y651605; AY651609; A Y651615; A Y651616; A Y651640; A Y651614;
       AY651612; AY651621; AY651619; AY770995; and AY724786. Non-limiting examples of
       siRNA molecules targeting Influenza virus nucleic acid sequences include those described in
   5   U.S. Patent Publication No. 20070218122, the disclosure ofwhich is herein incorporated by
       reference in its entirety for all purposes.
       l0199]    Exemplary hepatitis virus nucleic acid sequences that can be silenced include, but
       are not limited to, nucleic acid sequences involved in transcription and translation (e.g., Enl,
       En2, X, P) and nucleic acid sequences encoding structural proteins (e.g., core proteins
  10   including C and C-related proteins, capsid and envelope proteins including S, M, and/or L
       proteins, or fragments thereof) (see, e.g., FIELDS VIROLOGY, supra). Exemplary Hepatits C
       virus (HCV) nucleic acid sequences that can be silenced include, but are not limited to, the
       5'-untranslated region (5'-UTR), the 3'-untranslated region (3'-UTR), the polyprotein
       translation initiation codon region, the internal ribosome entry site (IRES) sequence, and/or
  15   nucleic acid sequences encoding the core protein, the E 1 protein, the E2 protein, the p7
       protein, the NS2 protein, the NS3 protease/helicase, the NS4A protein, the NS4B protein, the
       NS5A protein, and/or the NS5B RNA-dependent RNA polymerase. HCV genome sequences
       are set forth in, e.g., Genbank Accession Nos. NC_ 004102 (HCV genotype la), AJ238799
       (HCV genotype lb), NC __ 009823 (HCV genolype 2), NC_009824 (HCV genotype 3),
  20   NC_009825 (HCV genotype 4), NC_009826 (HCV genotype 5), and NC_009827 (HCV
       genotype 6). Hepatitis A virus nucleic acid sequences are set forth in, e.g., Genbank
       Accession No. NC_001489; Hepatitis B virus nucleic acid sequences are set forth in, e.g.,
       Genbank Accession No. NC_003977; Hepatitis D virus nucleic acid sequence are set fo1th in,
       e.g., Genbank Accession No. NC_OOl 653; Hepatitis E virus nucleic acid sequences are set
  25   forth in, e.g., Gen bank Accession No. NC_00 l 434; and Hepatitis G virus nucleic acid
       sequences are set forth in, e.g., Genbank Accession No. NC_OOl 710. Silencing of sequences
       that encode genes associated with viral infection and survival can conveniently be used in
       combination with the administration of conventional agents used to treat the viral condition.
       Non-limiting examples of siRNA molecules targeting hepatitis virus nucleic acid sequences
  30   include those described in U.S. Patent Publication Nos. 20060281175, 2005005 8982, and
       20070149470; U.S. Patent No. 7,348,314; and U.S. Provisional Application No. 61/162,127,
       filed March 20, 2009, the disclosures of which are herein incorporated by reference in their
       entirety for all purposes.



                                                      50




                                                                                                   JA002177
                                                                                                 GE NV-00005328
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 896 of 1274 PageID #: 9202



       [0200J   Genes associated with metabolic diseases and disorders (e.g., disorders in which the
       liver is the target and liver diseases and disorders) include, for example, genes expressed in
       dyslipidemia (e.g., liver X receptors such as LXRa and LXR~ (Genback Accession No.
       NM__ 007121), farnesoid X receptors (FXR) (Genbank Accession No. NM_005123), sterol-
   5   regulatory element binding protein ( SREBP), site-1 protease (S 1P), 3-hydroxy-3-
       methylglutaryl coenzyme-A reductase (HMG coenzyme-A reductase), apolipoprotein B
       (ApoB) (Genbank Accession No. NM__000384), apolipoprotein CIII (ApoC3) (Genbank
       Accession Nos. NM_000040 and NG_008949 REGION: 5001..8164), and apolipoprotein E
       (ApoE) (Genbank Accession Nos. NM_000041 and NG_007084 REGION: 5001 .. 8612)); and
  10   diabetes (e.g., glucose 6-phosphatase) (see, e.g., Forman et al., Cell, 81:687 (1995); Seo! et
       al., Mol. Endocrinol., 9:72 (1995), Zavacki et al., Proc. Natl. Acad. Sci. U,SA, 94:7909
       (1997); Sakai et al., Cell, 85:1037-1046 (l 996); Duncan et al., J Biol. Chem., 272: 12778-
       12785 (1997); Willy et al., Genes Dev., 9:1033-1045 (1995); Lehmann et al., J. Biol. Chem.,
       272:3137-3140 (1997); Janowski et al., Nature, 383:728-731 (1996); and Peet et al., Cell,
  15   93:693-704 (1998)). One of skill in the art will appreciate that genes associated with
       metabolic diseases and disorders (e.g., diseases and disorders in which the liver is a target and
       liver diseases and disorders) include genes that are expressed in the liver itself as well as and
       genes expressed in other organs and tissues. Silencing of sequences that encode genes
       associated with metabolic diseases and disorders can conveniently be used in combination
  20   with the administration of conventional agents used to treat the disease or disorder. Non-
       limiting examples of siRNA molecules targeting the ApoB gene include those described in
       U.S. Patent Publication No. 20060134189, the disclosure of which is herein incorporated by
       reference in its entirety for all purposes. Non-limiting examples of siRNA molecules
       targeting the ApoC3 gene include those described in U.S. Provisional Application No.
  25   61/147,235, filed January 26, 2009, the disclosure of which is herein incorporated by
       reference in its entirety for all purposes.
       (0201]    Examples of gene sequences associated with tumorigenesis and cell transformation
       (e.g., cancer or other neoplasia) include mitotic kincsins such as Eg5 (KSP, KIF11; Genbank
       Accession No. NM_004523); serine/threonine kinases such as polo-like kinase l (PLK-1)
  30   (Gcnbank Accession No. NM_005030; Barr et al., Nat. Rev. Afol. Cell Biol., 5:429-440
       (2004)); tyrosine kinases such as WEEl (Genbank Accession Nos. NM_003390 and
       NM_00I 143976); inhibitors of apoptosis such as XIAP (Genbank Accession No.
       NM_00l 167); COP9 signalosome subunits such as CSNl, CSN2, CSN3, CSN4, CSN5



                                                       51




                                                                                                  JA002178
                                                                                                GE NV-00005329
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 897 of 1274 PageID #: 9203



       (JABl; Genbank Accession No. NM_006837); CSN6, CSN7A, CSN7B, and CSN8; ubiquitin
       ligases such as COPl (RFWD2; Genbank Accession Nos. NM_022457 and
       NM_00l00l 740); and histone deacetylases such as HDACl, HDAC2 (Genbank Accession
       No. NM_001527), IIDAC3, HDAC4, HDAC5, HDAC6, HDAC7, HDAC8, HDAC9, etc.
   5   Non-limiting examples of siRNA molecules targeting the Eg5 and XIAP genes include those
       described in U.S. Patent Application No. 11/807,872, filed May 29, 2007, the disclosure of
       which is herein incorporated by reference in its entirety for all purposes. Non-limiting
       examples of siRNA molecules targeting the PLK-1 gene include those described in U.S.
       Patent Publication Nos. 200501073 I 6 and 20070265438; and U.S. Patent Application No.
  10   12/343,342, filed December 23, 2008, the disclosures of which are herein incorporated by
       reference in their entirety for all purposes. Non-limiting examples of siRNA molecules
       targeting the CSN5 gene include those described in U.S. Provisional Application No.
       61/045,251, filed April 15, 2008, the disclosure ofwhich is herein incorporated by reference
       in its entirety for all purposes.
  15   [0202]    Additional examples of gene sequences associated with tumorigenesis and cell
       transformation include translocation sequences such as MLL fusion genes, BCR-ABL (Wilda
       et al., Oncogene, 21:5716 (2002); Scherr et al., Blood, 101:1566 (2003)), TEL-AMLl, EWS-
       FLI 1, TLS-FUS, PAX3-FKHR, BCL-2, AML 1-ETO, and AML l -MTG8 (Heidenreich et al.,
       Blood, IO l :3157 (2003 )); overexpressed sequences such as multidrug resistance genes (Nieth
  20   et al., FEBS Lett., 545:144 (2003); Wu et al, Cancer Res. 63:1515 (2003)), cyclins (Li et al.,
       Cancer Res., 63:3593 (2003); Zou et al., Genes Dev., 16:2923 (2002)), beta-catenin (Verma
       et al., Clin Cancer Res., 9: 1291 (2003)), telomcrase genes (Kosciolek et al., Mol Cancer
       Ther., 2:209 (2003)), c-MYC, N-MYC, BCL-2, growth factor receptors (e.g., EGFR/ErbB 1
       (Genbank Accession Nos. NM_005228, NM_201282, NM_201283, and NM_201284; see
  25   also, Nagy et al. Exp. Cell Res., 285:39-49 (2003), ErbB2/HER-2 (Genbank Accession Nos.
       NM_004448 and NM_001005862), ErbB3 (Genbank Accession Nos. NM_001982 and
       NM_001005915), and ErbB4 (GenbankAccessio n Nos. NM_005235 and NM_001042599);
       and mutated sequences such as RAS (reviewed in Tuschl and Borkhardt, Mo!. Interventions,
       2: 158 (2002)). Non-limiting examples ofsiRNA molecules targeting the EGFR gene include
  30   those described in U.S. Patent Application No. 11/807,872, filed May 29, 2007, the
       disclosure of which is herein incorporated by reference in its entirety for all purposes.
       [0203]    Silencing of sequences that encode DNA repair enzymes find use in combination
       with the administration of chemotherapeutic agents (Collis et al., Cancer Res., 63: 1550
       (2003)). Genes encoding proteins associated with tumor migration are also target sequences


                                                      52




                                                                                                   JA002179
                                                                                                   GE NV-00005330
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 898 of 1274 PageID #: 9204



       of interest, for example, integrins, selectins, and metalloproteinases. The foregoing examples
       are not exclusive. Those of skill in the art will understand that any whole or partial gene
       sequence that facilitates or promotes tumorigenesis or cell transformation, tumor growth, or
       tumor migration can be included as a template sequence.
   5   [0204]   Angiogenic genes are able to promote the formation of new vessels. Of particular
       interest is vascular endothelial growth factor (VEGF) (Reich et al., Mol. Vis., 9:210 (2003))
       or VEGFR. siRNA sequences that target VEGFR are set forth in, e.g., GB 2396864; U.S.
       Patent Publication No. 20040142895; and CA 2456444, the disclosures of which are herein
       incorporated by reference in their entirety for all purposes.
  lO   [0205]   Anti-angiogenic genes are able to inhibit neovascularization . These genes are
       particularly useful for treating those cancers in which angiogenesis plays a role in the
       pathological development of the disease. Examples of anti-angiogenic genes include, but are
       not limited to, endostatin (see, e.g., U.S. Patent No. 6,174,861), angiostatin (see, e.g., U.S.
       Patent No. 5,639,725), and VEGFR2 (see, e.g., Decaussin et al., .J Pathol., 188: 369-377
  15   (1999)), the disclosures of which are herein incorporated by reference in their entirety for all
       purposes.
       [0206]      Immunomodulator genes are genes that modulate one or more immune responses.
       Examples of immunomodulator genes include, without limitation, cytokines such as growth
       factors (e.g., TGF-a, TGF-up, EGF, FGF, IGF, NGF, PDGF, CGF, GM-CSF, SCF, etc.),
  20   interleukins (e.g., IL-2, IL-4, IL-12 (Hill et al., J. Immunol., 171 :691 (2003)), IL-15, IL-18,
       IL-20, etc.), interferons (e.g., IFN-a, IFN-B, IFN-y, etc.) and TNF. Fas and Fas ligand genes
       are also imrnunomodulator target sequences of interest (Song et al., Nat. Med., 9:347 (2003)).
       Genes encoding secondary signaling molecules in hematopoietic and lymphoid cells are also
       included in the present invention, for example, Tee family kinases such as Bruton's tyrosine
  25   kinase (Btk) (Heinonen et al., FEBS Lett., 527:274 (2002)).
       [0207]      Cell receptor ligands include ligands that are able to bind to cell surface receptors
       (e.g., insulin receptor, EPO receptor, G-protcin coupled receptors, receptors with tyrosine
       kinase activity, cytokine receptors, growth factor receptors, etc.), to modulate (e.g., inhibit,
       activate, etc.) the physiological pathway that the receptor is involved in (e.g., glucose level
  30   modulation, blood cell development, mitogenesis, etc.). Examples of cell receptor ligands
       include, but are not limited to, cytokines, growth factors, interleukins, interferons,
       erythropoietin (EPO), insulin, glucagon, G-protein coupled receptor ligands, etc. Templates
       coding for an expansion oftrinucleotide repeats (e.g., CAG repeats) find use in silencing
       pathogenic sequences in neurodegenerative disorders caused by the expansion of


                                                         53




                                                                                                   JA002180
                                                                                                   GE NV-00005331
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 899 of 1274 PageID #: 9205



       trinucleotide repeats, such as spinobulbular muscular atrophy and Huntington's Disease
       (Caplen et al., Hum. Mo!. Genet., 11: 175 (2002)).
       [0208]   In addition to its utility in silencing the expression of any of the above-described
       genes for therapeutic purposes, the siRNA described herein are also useful in research and
   5   development applications as well as diagnostic, prophylactic, prognostic, clinical, and other
       healthcare applications. As a non-limiting example, the siRN A can be used in target
       validation studies directed at testing whether a gene of interest has the potential to be a
       therapeutic target. The siRNA can also be used in target identification studies aimed at
       discovering genes as potential therapeutic targets.

  10                  2.      aiRNA

       [0209]   Like siRNA, asymmetrical interfering RNA (aiRNA) can recruit the RNA-induced
       silencing complex (RISC) and lead to effective silencing of a variety of genes in mammalian
       cells by mediating sequence-specific cleavage of the target sequence between nucleotide 10
       and 11 relative to the 5' end of the antisense strand (Sun et al., Nat. Biotech., 26:1379-1382
  15   (2008)). Typically, an aiRNA molecule comprises a short RNA duplex having a sense strand
       and an antisense strand, wherein the duplex contains overhangs at the 3' and 5' ends of the
       antisense strand. The aiRNA is generally asymmetric because the sense strand is shorter on
       both ends when compared to the complementary antisense strand. In some aspects, aiRNA
       molecules may be designed, synthesized, and annealed under conditions similar to those used
  20   for siRNA molecules. As a non-limiting example, aiRNA sequences may be selected and
       generated using the methods described above for selecting siRNA sequences.
       [0210]    In another embodiment, aiRNA duplexes of various lengths (e.g., about 10-25, 12-
       20, 12-19, 12-18, 13-17, or 14-17 base pairs, more typically 12, 13, 14, 15, 16, 17, 18, 19, or
       20 base pairs) may be designed with overhangs at the 3' and 5' ends of the antisense strand to
  25   target an mRNA of interest. In certain instances, the sense strand of the aiRNA molecule is
       about 10-25, 12-20, 12-19, 12-18, 13-17, or 14-17 nucleotides in length, more typically 12,
       13, 14, 15, 16, 17, 18, 19, or 20 nucleotides in length. In certain other instances, the antisense
       strand of the aiRNA molecule is about 15-60, 15-50, or 15-40 nucleotides in length, more
       typically about 15-30, 15-25, or 19-25 nucleotides in length, and is preferably about 20-24,
  30   21 -22, or 21-23 nucleotides in length.
       [0211]    Tn some embodiments, the 5' antisense overhang contains one, two, three, four, or
       more nontargeting nucleotides (e.g., "AA", "UU", "dTdT", etc.). In other embodiments, the
       3' antisense overhang contains one, two, three, four, or more nontargeting nucleotides (e.g.,


                                                       54




                                                                                                     JA002181
                                                                                                 GE NV-00005332
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 900 of 1274 PageID #: 9206



       "AA", "UU", "dTdT", etc.). In certain aspects, the aiRNA molecules described herein may
       comprise one or more modified nucleotides, e.g., in the double-stranded (duplex) region
       and/or in the antisense overhangs. As a non-limiting example, aiRNA sequences may
       comprise one or more of the modified nucleotides described above for siRNA sequences. In
   5   a preferred embodiment, the aiRNA molecule comprises 2'OMe nucleotides such as, for
       example, 2'OMe-guanosine nucleotides, 2'OMe-uridine nucleotides, or mixtures thereof.
       [0212]   In certain embodiments, aiRNA molecules may comprise an antisense strand which
       corresponds to the anti sense strand of an siRNA molecule, e.g., one of the siRNA molecules
       described herein. In other embodiments, aiRNA molecules may be used to silence the
  lO   expression of any of the target genes set forth above, such as, e.g., genes associated with viral
       infection and survival, genes associated with metabolic diseases and disorders, genes
       associated with tumorigencsis and cell transformation, angiogenic genes, immunomodulator
       genes such as those associated with inflammatory and autoimmune responses, ligand receptor
       genes, and genes associated with neurodegenerative disorders.

  15                  3.      miRNA

       [0213]   Generally, microRNAs (miRNA) are single-stranded RNA molecules of about 21-
       23 nucleotides in length which regulate gene expression. miRNAs arc encoded by genes
       from whose DNA they are transcribed, but miRNAs are not translated into protein (non-
       coding RNA); instead, each primary transcript (a pri-miRNA) is processed into a short stem-
  20   loop structure called a pre-miRNA and finally into a functional mature miRNA. Mature
       miRNA molecules are either partially or completely complementary to one or more
       messenger RNA (mRNA) molecules, and their main function is to downregulate gene
       expression. The identification ofmiRNA molecules is described, e.g., in Lagos-Quintana et
       al., Science, 294:853-858; Lau et al., Science, 294:858-862; and Lee et al., Science, 294:862-
  25   864.
       [0214]   The genes encoding miRNA are much longer than the processed mature miRNA
       molecule. miRNA are first transcribed as primary transcripts or pri-miRNA with a cap and
       poly-A tail and processed to short, ~70-nucleotide stem-loop structures known as pre-miRNA
       in the cell nucleus. This processing is performed in animals by a protein complex known as
  30   the Microprocessor complex, consisting of the nuclease Drosha and the double-stranded RNA
       binding protein Pasha (Denli et al., Nature, 432:231-235 (2004)). These pre-miRNA are then
       processed to mature miRNJ\ in the cytoplasm by interaction with the endonuclease Dicer,
       which also initiates the formation of the RNA-induced silencing complex (RISC) (Bernstein


                                                      55




                                                                                                 JA002182
                                                                                                GE NV-00005333
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 901 of 1274 PageID #: 9207



       et al., Nature, 409:363-366(2001 ). Either the sense strand or anti sense strand of DNA can
       function as templates to give rise to miRNA.
       [0215]   When Dicer cleaves the pre-miRNA stem-loop, two complementary short RNA
       molecules are formed, but only one is integrated into the RISC complex. This strand is
   5   known as the guide strand and is selected by the argonaute protein, the catalytically active
       RNase in the RISC complex, on the basis of the stability of the 5' end (Preall et al., Curr.
       Biol., 16:530-535 (2006)). The remaining strand, known as the anti-guide or passenger
       strand, is degraded as a RISC complex substrate (Gregory et al., Cell, 123:631-640 (2005)).
       After integration into the active RISC complex, miRNAs base pair with their complementary
  10   mRNA molecules and induce target mRNA degradation and/or translational silencing.
       [0216]   Mammalian miRNA molecules are usually complementary to a site in the 3' UTR
       of the target mRNA sequence. In certain instances, the annealing of the miRNA to the target
       mRNA inhibits protein translation by blocking the protein translation machinery. In certain
       other instances, the annealing of the miRNA to the target mRNA facilitates the cleavage and
  15   degradation of the target mRNA through a process similar to RNA interference (RNAi).
       miRNA may also target methylation of genomic sites which correspond to targeted mRNA.
       Generally, miRNA function in association with a complement of proteins collectively termed
       the miRNP.
       [0217]    In certain aspects, the miRNA molecules described herein are about 15-100, 15-90,
  20   15-80, 15-75, 15-70, 15-60, 15-50, or 15-40 nucleotides in length, more typically about 15-
       30, 15-25, or 19-25 nucleotides in length, and are preferably about 20-24, 21-22, or 21-23
       nucleotides in length. In certain other aspects, miRNA molecules may comprise one or more
       modified nucleotides. As a non-limiting example, miRNA sequences may comprise one or
       more of the modified nucleotides described above for siRNA sequences. In a preferred
  25   embodiment, the miRNA molecule comprises 2'OMe nucleotides such as, for example,
       2 'OMe-guanosine nucleotides, 2 'OMe-uridine nucleotides, or mixtures thereof.
       [0218]    In some embodiments, miRNA molecules may be used to silence the expression of
       any of the target genes set forth above, such as, e.g., genes associated with viral infection and
       survival, genes associated with metabolic diseases and disorders, genes associated with
  30   tumorigenesis and cell transformation, angiogenic genes, in1munomodulator genes such as
       those associated with inflammatory and autoimmune responses, ligand receptor genes, and
       genes associated with ncurodegcncrative disorders.
       [0219]    In other embodiments, one or more agents that block the activity of a miRNA
       targeting an mRNA of interest are administered using a lipid particle of the invention (e.g., a

                                                       56




                                                                                                JA002183
                                                                                                GE NV-00005334
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 902 of 1274 PageID #: 9208



       nucleic acid-lipid particle). Examples of blocking agents include, but are not limited to,
       steric blocking oligonucleotides, locked nucleic acid oligonucleotides, and Morpholino
       oligonucleotides. Such blocking agents may bind directly to the miRNA or to the miRNA
       binding site on the target mRNA.

   5                  4.      Antisense Oligonucleotides

       [0220]   In one embodiment, the nucleic acid is an antisense oligonucleotide directed to a
       target gene or sequence of interest. The terms "antisense oligonucleotide" or "anti sense"
       include oligonucleotides that are complementary to a targeted polynucleotidc sequence.
       Antisense oligonucleotides are single strands of DNA or RNA that are complementary to a
  IO   chosen sequence. Antisensc RNA oligonucleotides prevent the translation of complementary
       RNA strands by binding to the RNA. Antisense DNA oligonucleotides can be used to target
       a specific, complementary (coding or non-coding) RNA. If binding occurs, this DNA/RNA
       hybrid can be degraded by the enzyme RNase H. In a particular embodiment, antisense
       oligonucleotides comprise from about 10 to about 60 nucleotides, more preferably from about
  15   15 to about 30 nucleotides. The term also encompasses antisense oligonucleotides that may
       not be exactly complementary to the desired target gene. Thus, the invention can be utilized
       in instances where non-target specific-activities are found with antisense, or where an
       antisense sequence containing one or more mismatches with the target sequence is the most
       preferred for a particular use.
  20   [0221]    Antisense oligonucleotides have been demonstrated to be effective and targeted
       inhibitors of protein synthesis, and, consequently, can be used to specifically inhibit protein
       synthesis by a targeted gene. The efficacy of antiscnse oligonucleotides for inhibiting protein
       synthesis is well established. For example, the synthesis of polygalactauronase and the
       muscarine type 2 acctylcholine receptor are inhibited by antisense oligonucleotides directed
  25   to their respective mRNA sequences (see, U.S. Patent Nos. 5,739,119 and 5,759,829).
       Furthermore, examples of antisense inhibition have been demonstrated with the nuclear
       protein cyclin, the multiple drug resistance gene (MDRI), ICAM-1, E-sclectin, STK-1,
       striatal GABAA receptor, and human EGF (see. Jaskulski et al., Science, 240: 1544-6 (1988);
       Vasanthakumar et al., Cancer Commun., I :225-32 (1989); Peris et al., Brain Res Mol Brain
  30   Res., 15;57:310-20 (1998); and U.S. Patent Nos. 5,801,154; 5,789,573; 5,718,709 and
       5,610,288). Moreover, antisense constructs have also been described that inhibit and can be
       used to treat a variety of abnormal cellular proliferations, e.g., cancer (see, U.S. Patent Nos.




                                                       57




                                                                                                 JA002184
                                                                                                 GE NV-00005335
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 903 of 1274 PageID #: 9209



       5,747,470; 5,591,317; and 5,783,683). The disclosures of these references are herein
       incorporated by reference in their entirety for all purposes.
       [0222]   Methods of producing anti sense oligonucleotides arc known in the art and can be
       readily adapted to produce an antisense oligonucleotide that targets any polynucleotide
   5   sequence. Selection of antiscnse oligonucleotide sequences specific for a given target
       sequence is based upon analysis of the chosen target sequence and determination of
       secondary structure, T 111 , binding energy, and relative stability. Antisense oligonucleotides
       may be selected based upon their relative inability to form dimers, hairpins, or other
       secondary structures that would reduce or prohibit specific binding to the target mRNA in a
  10   host cell. Highly preferred target regions of the mRNA include those regions at or near the
       AUG translation initiation codon and those sequences that are substantially complementary to
       5' regions of the mRNA. These secondary structure analyses and target site selection
       considerations can be performed, for example, using v.4 of the OLIGO primer analysis
       software (Molecular Biology Insights) and/or the BLASTN 2.0.5 algorithm software
  15   (Altschul et al., Nucleic Acids Res., 25:3389-402 (1997)).

                      5.      Ribozymes

       [02231    According to another embodiment of the invention, nucleic acid-lipid particles are
       associated with ribozymes. Ribozymes are RNA-protein complexes having specific catalytic
       domains that possess endonuclease activity (see, Kim et al., Proc. Natl. Acad. Sci. USA.,
  20   84:8788-92 (1987); and Forster et al., Cell, 49:211-20 (1987)). For example, a large number
       of ribozymes accelerate phosphoester transfer reactions with a high degree of specificity,
       often cleaving only one of several phosphoesters in an oligonucleotide substrate (see, Cech et
       al., Cell, 27:487-96 (1981 ); Michel et al., J. Mo!. Biol., 216:585-610 (1990); Reinhold-Hurek
       et al., Nature, 357: 173-6 (1992)). This specificity has been attributed to the requirement that
  25   the substrate bind via specific base-pairing interactions to the internal guide sequence ("IGS")
       of the ribozyme prior to chemical reaction.
       [0224]    At least six basic varieties of naturally-occurring enzymatic RNA molecules are
       known presently. Each can catalyze the hydrolysis of RNA phosphodiester bonds in trans
       (and thus can cleave other RNA molecules) under physiological conditions. In general,
  30   enzymatic nucleic acids act by first binding to a target RNA. Such binding occurs through
       the target binding portion of an enzymatic nucleic acid which is held in close proximity to an
       enzymatic portion of the molecule that acts to cleave the target RNA. Thus, the enzymatic
       nucleic acid first recognizes and then binds a target RNA through complementary base-


                                                       58




                                                                                                  JA002185
                                                                                                 GE NV-00005336
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 904 of 1274 PageID #: 9210



       pairing, and once bound to the correct site, acts enzymatically to cut the target RNA.
       Strategic cleavage of such a targel RNA will destroy its ability to direct synthesis of an
       encoded protein. After an enzymatic nucleic acid has bound and cleaved its RNA target, it is
       released from that RNA to search for another target and can repeatedly bind and cleave new
   5   targets.
       [0225]     The enzymatic nucleic acid molecule may be formed in a hammerhead, hairpin,
       hepatitis 8 virus, group I intron or RNaseP RNA (in association with an RNA guide
       sequence), or Neurospora VS RNA motif: for example. Specific examples of hammerhead
       motifs are described in, e.g., Rossi et al., Nucleic Acids Res., 20:4559-65 (1992). Examples
  10   of hairpin motifs are described in, e.g., EP 0360257, Hampel et al., Biochemistry, 28:4929-33
       (1989); Hampel et al., Nucleic Acids Res., 18:299-304 (1990); and U.S. Patent No. 5,631,359.
       An example of the hepatitis o virus motif is described in, e.g., Perrotta et al., Biochemistry,
       31:11843-52 (1992). An example of the RNaseP motifis described in, e.g., Guerrier-Takada
       et al., Cell, 35:849-57 (1983). Examples of the Neurospora VS RNA ribozyme motif is
  15   described in, e.g., Saville et al., Cell, 61 :685-96 ( 1990); Saville et al., Proc. Natl. Acad. Sci.
       USA, 88:8826-30 (1991); Collins et al., Biochemistry, 32:2795-9 (1993). An example ofthe
       Group I intron is described in, e.g., ll.S. Patent No. 4,987,071. Important characteristics of
       enzymatic nucleic acid molecules used according to the invention are that they have a
       specific substrate binding site which is complementary to one or more of the target gene
  20   DNA or RNA regions, and that they have nucleotide sequences within or surrounding that
       substrate binding site which impart an RNA cleaving activity to the molecule. Thus, the
       ribozyme constructs need not be limited to specific motifs mentioned herein. The disclosures
       of these references are herein incorporated by reference in their entirety for all purposes.
       [0226]     Methods of producing a ribozyme targeted to any polynucleotide sequence are
  25   known in the art. Ribozymes may be designed as described in, e.g., PCT Publication Nos.
       WO 93/23569 and WO 94/02595, and synthesized to be tested in vitro and/or in vivo as
       described therein. The disclosures of these PCT publications are herein incorporated by
       reference in their entirety for all purposes.
       [0227]     Ribozyme activity can be optimized by altering the length of the ribozyme binding
  30   arms or chemically synthesizing ribozymes with modifications that prevent their degradation
       by serum ribonucleases (see, e.g., PCT Publication Nos. WO 92/07065, WO 93/15187, WO
       91/03162, and WO 94/13688; EP 92110298.4; and U.S. Patent No. 5,334,711, which describe
       various chemical modifications that can be made to the sugar moieties of enzymatic RNA
       molecules, the disclosures of which are each herein incorporated by reference in their entirety

                                                         59




                                                                                                     JA002186
                                                                                                     GENV-00005337
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 905 of 1274 PageID #: 9211



       for all purposes), modifications which enhance their efficacy in cells, and removal of stem II
       bases to shorten RNA synthesis times and reduce chemical requirements.

                      6.      Immunostimulatory Oligonuclcotides

       [02281   Nucleic acids associated with lipid paticles of the present invention may be
   5   immunostimulatory, including immunostimulatory oligonucleotides (ISS; single-or double-
       stranded) capable of inducing an immune response when administered to a subject, which
       may be a mammal such as a human. ISS include, e.g., certain palindromes leading to hairpin
       secondary structures (see, Yamamoto et al., J Immunol., 148:4072-6 (1992)), or CpG motifs,
       as well as other known ISS features (such as multi-G domains; see; PCT Publication No. WO
  10   96/11266, the disclosure of which is herein incorporated by reference in its entirety for all
       purposes).
       [0229]   Immunostimulatory nucleic acids are considered to be non-sequence specific when
       it is not required that they specifically bind to and reduce the expression of a target sequence
       in order to provoke an immune response. Thus, certain immunostimulatory nucleic acids
  15   may comprise a sequence corresponding to a region of a naturally-occurring gene or mRNA,
       but they may still be considered non-sequence specific immunostimulatory nucleic acids.
       [0230]   In one embodiment, the immunostimulatory nucleic acid or oligonucleotide
       comprises at least one CpG dinucleotide. The oligonucleotide or CpG dinucleotide may be
       unmethylated or methylated. In another embodiment, the immunostimulatory nucleic acid
  20   comprises at least one CpG dinucleotide having a methylated cytosine. In one embodiment,
       the nucleic acid comprises a single CpG dinucleotide, wherein the cytosine in the CpG
       dinucleotide is methylated. In an alternative embodiment, the nucleic acid comprises at least
       two CpG dinucleotides, wherein at least one cytosine in the CpG dinucleotides is methylated.
       In a further embodiment, each cytosine in the CpG dinucleotides present in the sequence is
  25   methylated. In another embodiment, the nucleic acid comprises a plurality of CpG
       dinucleotides, wherein at least one of the CpG dinucleotides comprises a methylated cytosine.
       Examples of immunostimulatory oligonucleotides suitable for use in the compositions and
       methods of the present invention are described in PCT Application No. PCT/US0S/88676,
       filed December 31, 2008, PCT Publication Nos. WO 02/069369 and WO 01/15726, U.S.
  30   Patent No. 6,406,705, and Raney er al., J Pharm. Exper. Ther., 298:1185-92 (2001), the
       disclosures of which are each herein incorporated by reference in their entirety for all
       purposes. In certain embodiments, the oligonuclcotides used in the compositions and




                                                      60




                                                                                                  JA002187
                                                                                                  GE NV-00005338
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 906 of 1274 PageID #: 9212



       methods of the invention have a phosphodiester ("PO") backbone or a phosphorothioate
       ("PS") backbone, and/or at least one methylated cytosine residue in a CpG motif.

                B.        Other Active Agents

       [0231]    In certain embodiments, the active agent associated with the lipid paticles of the
   5   invention may comprise one or more therapeutic proteins, polypeptides, or small organic
       molecules or compounds. Non-limiting examples of such therapeutically effective agents or
       drugs include oncology drugs (e.g., chemotherapy drugs, hormonal therapaeutic agents,
       immunotherapeutic agents, radiotherapeutic agents, etc.), lipid-lowering agents, anti-viral
       drugs, anti-inflammatory compounds, antidepressants, stimulants, analgesics, antibiotics,
  IO   birth control medication, antipyretics, vasodilators, anti-angiogenics, cytovascular agents,
       signal transduction inhibitors, cardiovascular drugs such as anti-arrhythmic agents, hormones,
       vasoconstrictors, and steroids. These active agents may be administered alone in the lipid
       particles of the invention, or in combination (e.g., co-administered) with lipid particles of the
       invention comprising nucleic acid such as interfering RNA.
  15   [0232]    Non-limiting examples of chemotherapy drugs include platinum-based drugs (e.g.,
       oxaliplatin, cisplatin, carboplatin, spiroplatin, iproplatin, satraplatin, etc.), alkylating agents
       (e.g., cyclophosphamide, ifosfarnide, chlorambucil, busulfan, melphalan, mechlorethamine,
       uramustine, thiotepa, nitrosoureas, etc.), anti-metabolites (e.g., 5-fluorouracil (5-FU),
       azathioprine, methotrexate, leucovorin, capecitabine, cytarabine, floxuridine, fludarabine,
  20   gemcitabine, pemetrexed, raltitrexed, etc.), plant alkaloids (e.g., vincristine, vinblastine,
       vinorelbine, vindesine, podophyllotoxin, paclitaxel (taxol), docetaxel, etc.), topoisomerase
       inhibitors (e.g., irinotecan (CPT-11; Camptosar), topotecan, amsacrine, etoposide (VP16),
       etoposide phosphate, teniposide, etc.), antitumor antibiotics (e.g., doxorubicin, adriamycin,
       daunorubicin, epirubicin, actinomycin, bleomycin, mitomycin, mitoxantrone, plicamycin,
  25   etc.), tyrosine kinase inhibitors (e.g., gefitinib (Iressa@), sunitinib (Sutent@; SUl 1248),
                             1
       erlotinib (Tarceva(! 1; OSJ-1774), lapatinib (GW572016; GW2016), canertinib (CT 1033),
       semaxinib (SU5416), vatalanib (PTK787/ZK22258 4), sorafenib (BAY 43-9006), imatinib
       (Gleevec®; STI571), dasatinib (BMS-354825), leflunomide (SlJlOl), vandetanib (Zactima™;
       ZD6474), etc.), pharmaceutically acceptable salts thereat: stereoisomers thereof, derivatives
  30   thereof: analogs thereof, and combinations thereof.
       [0233]        Examples of conventional hormonal therapaeutic agents include, without limitation,
       steroids (e.g., dexamethasone), finasteride, aromatase inhibitors, tamoxifen, and goserelin as
       well as other gonadotropin-relea sing hormone agonists (GnRH).


                                                         61




                                                                                                      JA002188
                                                                                                    GENV-000053 39
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 907 of 1274 PageID #: 9213



       [0234j       Examples of conventional immunotherapeutic agents include, but are not limited to,
       immunostimulants (e.g., Bacillus Calmette-Guerin (BCG), levamisole, interleukin-2, alpha-
       interferon, etc.), monoclonal antibodies (e.g., anti-CD20, anti-HER2, anti-CD52, anti-HLA-
       DR, and anti-VEGF monoclonal antibodies), immunotoxins (e.g., anti-CD33 monoclonal
   5   antibody-calicheam icin conjugate, anti-CD22 monoclonal antibody-pseudomo nas exotoxin
       conjugate, etc.), and radioimmunotherap y (e.g., anti-CD20 monoclonal antibody conjugated
       to 111 1n, 90 Y, or 131 1, etc.).
       [0235] Examples of conventional radiotherapeutic agents include, but are not limited to,
           .
       rad 1011uc I'd      h
                   1 es sue as   , c, 64c u, 67c u, 89s r, 86y , 87y , 90y , ]05Rh , ]!IA· g, ]!]I n, 117ms n, 149pm,
                               47s

                                                                   212
  1O   153
             Sm, 166 Ho, 177 Lu,
                                   186
                                         Re, 188 Re, 211 At, and         B i, optionally conjugated to antibodies directed
       against tumor antigens.
       [0236]       Additional oncology drugs that may be used according to the invention include, but
       are not limited to, alkeran, allopurinol, altretamine, amifostine, anastrozole, araC, arsenic
       trioxide, bexarotene, biCNU, carmustine, CCNU, celecoxib, cladribine, cyclosporin A,
  15   cytosine arabinoside, cytoxan, dexrazoxane, DTIC, estramustine, exemestane, FK506,
       gemtuzumab-ozoga micin, hydrea, hydroxyurea, idarubicin, interferon, letrozole, leustatin,
       leuprolide, litretinoin, megastrol, L-PAM, mesna, methoxsalen, mithramycin, nitrogen
       mustard, pamidronate, Pegademase, pentostatin, porfimer sodium, prednisone, rituxan,
       streptozocin, STI-571, taxotere, temozolamide, VM-26, toremifene, tretinoin, ATRA,
  20   valrubicin, and velban. Other examples of oncology drugs that may be used according to the
       invention are ellipticin and ellipticin analogs or derivatives, epothilones, intracellular kinase
       inhibitors, and camptothecins.
       [0237]       Non-limiting examples of lipid-lowering agents for treating a lipid disease or
       disorder associated with elevated triglycerides, cholesterol, and/or glucose include statins,
  25   fibrates, ezetimibe, thiazolidinediones, niacin, beta-blockers, nitroglycerin, calcium
       antagonists, fish oil, and mixtures thereof.
       [0238]        Examples of anti-viral drugs include, but arc not limited to, abacavir, aciclovir,
       acyclovir, adefovir, amantadine, amprenavir, arbidol, atazanavir, atripla, cidofovir, cornbivir,
       darunavir, delavirdine, didanosine, docosanol, edoxudine, efavirenz, emtricitabine,
  30   enfuvirtide, entecavir, entry inhibitors, famciclovir, fixed dose combinations, fomivirsen,
       fosamprenavir, foscarnet, fosfonet, fusion inhibitors, ganciclovir, ibacitabine, imunovir,
        idoxuridine, imiquimod, indinavir, inosine, integrase inhibitors, interferon type III (e.g., IFN-
       'A, molecules such as IFN-'A,l, IFN-11,2, and IFN-11,3), interferon type II (e.g., IFN-y), interferon
       type I (e.g., IFN-a such as PEGylated IFN-a, IFN-~, IFN-K, IFN-8, IFN-s, IFN-T, IFN-m, and

                                                                         62




                                                                                                                  JA002189
                                                                                                                  GE NV-00005340
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 908 of 1274 PageID #: 9214



       IFN-1;;), interforon, lamivudine, lopinavir, loviride, MK-0518, maraviroc, moroxydine,
       nelfinavir, nevirapine, nexavir, nucleoside analogues, oseltamivir, penciclovir, peramivir,
       pleconaril, podophyllotoxin, protease inhibitors, reverse transcriptase inhibitors, ribavirin,
       rimantadine, ritonavir, saquinavir, stavudine, synergistic enhancers, tenofovir, tenofovir
   5   disoproxil, tipranavir, trifluridine, trizivir, tromantadine, truvada, valaciclovir, valganciclovir,
       vicriviroc, vidarabine, viramidine, zalcitabine, zanamivir, zidovudine, pharmaceutically
       acceptable salts thereof, stereoisomers thereof, derivatives thereof: analogs thereof, and
       mixtures thereof.

       V.       Lipid Particles

  10   [0239]    The lipid particles of the invention typically comprise an active agent or therapeutic
       agent, a cationic lipid, a non-cationic lipid, and a conjugated lipid that inhibits aggregation of
       particles. In some embodiments, the active agent or therapeutic agent is fully encapsulated
       within the lipid portion of the lipid particle such that the active agent or therapeutic agent in
       the lipid particle is resistant in aqueous solution to enzymatic degradation, e.g., by a nuclease
  15   or protease. In other embodiments, the lipid particles described herein are substantially non-
       toxic to mammals such as humans. The lipid particles of the invention typically have a mean
       diameter of from about 40 nm to about 150 nm, from about 50 nm to about 150 nm, from
       about 60 nm to about 130 nm, from about 70 nm to about 110 nm, or from about 70 to about
       90nm.
  20   (0240]     In preferred embodiments, the lipid particles of the invention are serum-stable
       nucleic acid-lipid particles (SNALP) which comprise an interfering RNA (e.g., siRNA,
       aiRNA, and/or miRNA), a cationic lipid (e.g., a cationic lipid of Formulas I, II, and/or lll), a
       non-cationic lipid (e.g., cholesterol alone or mixtures of one or more phospholipids and
       cholesterol), and a conjugated lipid that inhibits aggregation of the particles (e.g., one or more
  25   PEG-lipid conjugates). The SNALP may comprise at least 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, or more
       unmodified and/or modified interfering RNA molecules. Nucleic acid-lipid particles and
       their method of preparation are described in, e.g., U.S. Patent Nos. 5,753,613; 5,785,992;
       5,705,385; 5,976,567; 5,981,501; 6,110,745; and 6,320,017; and PCT Publication No. WO
       96/40964, the disclosures of which are each herein incorporated by reference in their entirety
  30   for all purposes.




                                                        63




                                                                                                   JA002190
                                                                                                   GENV-00005341
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 909 of 1274 PageID #: 9215



                A.        Cationic Lipids

       [0241]    Any of a variety of cationic lipids may be used in the lipid particles of the invention
       (e.g .. SN ALP), either alone or in combination with one or more other cationic lipid species or
       non-cationic lipid species.
   5   [0242]    Cationic lipids which are useful in the present invention can be any of a number of
       lipid species which carry a net positive charge at physiological pH. Such lipids include, but
       are not limited to, N,N-dioleyl-N,N-d imethylammonium chloride (DODAC), 1,2-dioleyloxy-
       N ,N-dimethylaminop ropane (DODMA), 1,2-distearyloxy-N ,N-dimethylaminop ropane
       (DSDMA), N-(1-(2,3-dioleylox y)propyl)-N,N,N-tr imethylammonium chloride (DOTMA),
  10   N,N-distearyl-N,N -dimethylammoniu rn bromide (DDAB), N-(l-(2,3-dioleoylo xy)propyl)-
       N,N,N-trimethylarn monium chloride (DOTAP), 3 -(N-(N' ,N'-dimethylamino ethane)-
       carbamoyl)cholcste rol (DC-Chol), N-( 1,2-dimyristyloxyp rop-3-yl)-N,N-dime thyl-N-
       hydroxyethyl ammonium bromide (DMRIE), 2,3-dioleyloxy-N-[ 2(spermine-
       carboxamido )ethyl]-N,N-dirneth yl-1-propanaminium trifluoroacetate (DOSPA),
  15   dioctadecylarnidog lycyl spermine (DOGS), 3-dimethylamino-2 -(cholest-5-en-3-be ta-
       oxybutan-4-oxy)-1-(cis,cis-9, 12-octadecadienoxy )propane (CLinDMA ), 2-[ 5 ' -( cholest-5-en-
       3 .bcta.-oxy)-3 '-oxapentoxy)-3-di methy-l-( cis,cis-9', 1-2' -octadecadienoxy)p ropane
       (CpLinDMA), N,N-dimethyl-3,4- dioleyloxybenzylam ine (DMOBA), 1,2-N,N'-
       dioleylcarbamyl-3- dimethylaminoprop ane (DOcarbDAP), 1,2-N,N'-Dilinoley lcarbamyl-3-
  20   dimethylaminoprop ane (DLincarbDAP), 1,2-Dilinoleoylcarb amyl-3-dimethylam inopropane
       (DLinCDAP), and mixtures thereof. A number of these lipids and related analogs have been
       described in U.S. Patent Publication Nos. 20060083780 and 20060240554; U.S. Patent Nos.
       5,208,036; 5,264,618; 5,279,833; 5,283,185; 5,753,613; and 5,785,992; and PCT Publication
       No. WO 96/10390, the disclosures of which are each herein incorporated by reference in their
  25   entirety for all purposes. Additionally, a number of commercial preparations of cationic
       lipids are available and can be used in the present invention. These include, e.g.,
       LIPOFECTIN® ( commercially available cationic liposomes comprising DOTMA and DOPE,
       from GIBCO/BRL, Grand Island, New York, USA); LIPOFECTAMINE ® (commercially
       available cationic liposomes comprising DOSPA and DOPE, from GIBCO/BRL); and
  30   TRANSFECTAM® (commercially available cationic liposomes comprising DOGS from
       Promega Corp., Madison, Wisconsin, USA).
       [0243]        Additionally, cationic lipids of Formula I having the following structures are useful
       in the present invention.



                                                          64




                                                                                                   JA002191
                                                                                                   GE NV-00005342
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 910 of 1274 PageID #: 9216



                                       R1

                                         "1~0R             OR 3
                                                                          4



                                              R2                              (I),
                  1       2                                                    3     4
       wherein R and R are independently selected and are Hor C 1-C 3 alkyls, R and R are
       independently selected and are alkyl groups having from about 10 to about 20 carbon atoms,
                                  4
       and at least one ofR3 and R comprises at least two sites ofunsaturation. In certain instances,
                                             3     4
   5   R 3 and R 4 are both the same, i.e., R and R are both linoleyl (C 18), etc. In certain other
                                                    3                                4
       instances, R 3 and R 4 are different, i.e., R is tetradectrienyl (C 14 ) and R is linoleyl (C 18 ). In a
                                                                                    3     4
       preferred embodiment, the cationic lipid of Formula I is symmetrical, i.e., R and R are both
                                                        3                 4
       the same. In another preferred embodiment, both R and R comprise at least two sites of
                                           3     4
       unsaturation. In some embodiments, R and R are independently selected from the group
  l0   consisting of dodecadienyl, tetradecadienyl, hexadecadienyl, linoleyl, and icosadienyl. In a
                              3     4                                         3
       preferred embodiment, R and R are both linoleyl. In some embodiments, R and
       R 4 comprise al least three sites ofunsaturation and are independently selected from, e.g.,
       dodecatrienyl, tetradectrienyl, hexadecatrienyl, linolenyl, and icosatrienyl. In particularly
       preferred embodiments, the cationic lipid of Formula I is l ,2-dilinoleyloxy-N,N-
  15   dimethylaminopropane (DLinDMA) or 1,2-dilinolenyloxy-N,N-dim ethylaminopropane
       (DLenDMA).
       [0244]    Furthermore, cationic lipids of Formula II having the following structures are useful
       in the present invention.
                                                       R2
                                                        I x-
                                                R1--N+--R3


                                                       R
                                                        14        (IT),
                                                                                   3     4
  20   wherein R 1 and R 2 are independently selected and are Hor C 1-C 3 alkyls, R and R are
       independently selected and arc alkyl groups having from about 10 to about 20 carbon atoms,
                                    4
       and at least one of R 3 and R comprises at least two sites ofunsaturation. In certain instances,
                                             3     4
       R 3 and R 4 are both the same, i.e., R and R are both linoleyl (Ct 8), etc. In certain other
                                                    3                                4
       instances, R 3 and R 4 are different, i.e., R is tetradectrienyl (C 14 ) and R is linolcyl (C 18 ). in a
                                                                                                           3
  25   preferred embodiment, the cationic lipids of the present invention are symmetrical, i.e., R
                                                                         3     4
       and R 4 are both the same. In another preferred embodiment, both R and R comprise at least
                                                       3     4
       two sites ofunsaturation. In some embodiments, R and R are independently selected from
       the group consisting of dodecadienyl, tetradecadienyl, hexadecadienyl, linoleyl, and
                                                3     4
       icosadienyl. In a preferred embodiment, R and R are both linoleyl. In some embodiments,


                                                             65




                                                                                                       JA002192
                                                                                                       GE NV-00005343
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 911 of 1274 PageID #: 9217



        3     4
       R and R comprise at least three sites of unsaturation and are independently selected from,
       e.g., dodecatrienyl, tetradectrienyl, hexadecatrienyl, linolenyl, and icosatrienyl.
       [0245]    Moreover, cationic lipids of Formula In having the following structures (or salts
       thereof) are useful in the present invention.




   5                                                                (III),
                1     2
       Wherein R and R arc either the same or different and independently optionally substituted
       C12-C24 alkyl, optionally substituted C1rC 24 alkenyl, optionallysubstitute d C 12 -C24 alkynyl, or
                                                3     4
       optionally substituted C 12 -C 24 acyl; R and R are either the same or different and
       independently optionally substituted C1-C6 alkyl, optionally substituted C1-C6 alkenyl, or
                                                  3     4
  10   optionally substituted C 1-C 6 alkynyl or R and R may join to form an optionally substituted
       heterocyclic ring of 4 to 6 carbon atoms and ] or 2 heteroatoms chosen from nitrogen and
       oxygen; R 5 is either absent or hydrogen or C 1-C 6 alkyl to provide a quaternary amine; m, 11,
       and pare either the same or different and independently either O or 1 with the proviso that m,
       n, and pare not simultaneously O; q is 0, ] , 2, 3, or 4; and Y and Z arc either the same or
  15   different and independently 0, S, or NH.
       [0246]    In some embodiments, the cationic lipid of Formula Ill is 2,2-dilinoleyl-4-(2-
       dimethylaminoethy l)-[l,31-dioxolane (DLin-K-C2-DMA ; "XTC2"), 2,2-dilinoleyl-4-(3-
       dimethylaminoprop yl)-[1,3]-dioxolane (DLin-K-C3-DMA ), 2,2-dilinolcyl-4-(4-
       dimethylaminobuty l)-[l,3]-dioxolane (DLin-K-C4-DMA ), 2,2-dilinoleyl-5-
  20   dimethylaminomct hyl-[1,3]-dioxane (DLin-K6-DMA), 2,2-dilinoleyl-4-N- methylpepiazino-
       [l,3]-dioxolane (DLin-K-MPZ), 2,2-dilinoleyl-4-dim ethylaminomethyl- [l,3]-dioxolane
       (DLin-K-DMA), l,2-dilinoleylcarbam oyloxy-3-dimethyl aminopropane (DLin-C-DAP), l,2-
       dilinoleyoxy-3-( dimethylamino )acetoxypropane (DLin-DAC), l ,2-dilinolcyoxy-3-
       morpholinopropane (DLin-MA), 1,2-dilinoleoyl-3-d imethylaminopropa ne (DLinDAP), 1,2-
  25   dilinoleylthio-3-dim ethylaminopropanc (DLin-S-DMA), 1-linoleoyl-2-linole yloxy-3-
       dimethylaminoprop ane (D Lin-2-DMAP), 1,2-dilinoley loxy-3-trimethylam inopropane
       chloride salt (DLin-TMA.Cl), l,2-dilinoleoyl-3-tr imethylaminopropa ne chloride salt (DLin-
       TAP.Cl), l,2-dilinoleyloxy-3 -(N-methylpiperazi no)propanc (DLin-MPZ), 3-(N,N-
       d i linoleylamino)-1,2-propancdiol (DLinAP), 3-(N,N-dioleylamin o)-1,2-propanedio (DOAP),
  30   1,2-dilinoleyloxo-3 -(2-N,N-dimethylam ino)ethoxypropane (DLin-EG-DMA), or mixtures


                                                        66




                                                                                                  JA002193
                                                                                                  GE NV-00005344
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 912 of 1274 PageID #: 9218



       thereof. In preferred embodiments, the cationic lipid of Formula III is DLin-K-C2-DMA
       (XTC2).
       [0247]    The cationic lipid typically comprises from about 50 mol % to about 90 mol %,
       from about 50 mol % to about 85 mol %, from about 50 mo! % to about 80 mol %, from
   5   about 50 mo! % to about 75 mo! %, from about 50 mol % to about 70 mol %, from about 50
       mo!% to about 65 mol %, or from about 55 mo!% to about 65 mol % of the total lipid
       present in the particle.
       [0248]    It will be readily apparent to one of skill in the art that depending on the intended
       use of the particles, the proportions of the components can be varied and the delivery
  10   efficiency of a particular formulation can be measured using, e.g., an endosomal release
       parameter (ERP) assay.

                B.     Non-Cationic Lipids

       l0249]    The non-cationic lipids used in the lipid particles of the invention (e.g., SNALP) can
       be any of a variety of neutral uncharged, zwitterionic, or anionic lipids capable of producing
  15   a stable complex.
       [0250]    Non-limiting examples of non-cationic lipids include phospholipids such as lecithin,
       phosphatidylethanolamine, lysolecithin, lysophosphatidylethanolamin e, phosphatidylserine,
       phosphatidylinositol, sphingomyelin, egg sphingomyelin (ESM), cephalin, cardiolipin,
       phosphatidic acid, cerebrosides, dicetylphosphate, distearoylphosphatidylcholin e (DSPC),
  20   dioleoylphosphatidylcholine (DOPC), dipalmitoylphosphatidylchol ine (DPPC),
       dioleoylphosphatidylglycero l (DOPG), dipalmitoylphosphatidylglyc erol (DPPG),
       dioleoylphosphatidylethanol amine (DOPE), palmitoyloleoyl-phosphatidy lcholine (POPC),
       palmitoyloleoyl-phosphatidy lethanolamine (POPE), palmitoyloleyol-phosphatidy lglycerol
       (POPG), dioleoylphosphatidylethanol amine 4-(N-maleimidomethyl)-cyc lohexane-1-
  25   carboxylate (DOPE-ma!), dipalmitoyl-phosphatidyleth anolamine (DPPE), dimyristoyl-
       phosphatidylethanolamine (DMPE), distearoyl-phosphatidylethan olamine (DSPE),
       monomethyl-phosphatidylet hanolamine, dimethyl-phosphatidylethano lamine, dielaidoyl-
       phosphatidylethanolamine (DEPE), stearoyloleoyl-phosphatidyle thanolamine (SOPE),
       lysophosphatidylcholine, dilinoleoylphosphatidylcholi ne, and mixtures thereof. Other
  30   diacylphosphatidylcholine and diacylphosphatidylethanolam ine phospholipids can also be
       used. The acyl groups in these lipids are preferably acyl groups derived from fatty acids
       having C 10 -C24 carbon chains, e.g., lauroyl, myristoyl, palmitoyl, stearoyl, or oleoyl.




                                                       67




                                                                                                   JA002194
                                                                                                   GE NV-00005345
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 913 of 1274 PageID #: 9219



       [0251]    Additional examples of non-cationic lipids include sterols such as cholesterol and
       derivatives thereof such as cholestanol, cholestanone, cholestenone, coprostanol, cholesteryl-
       2'-hydroxyethyl ether, cholcstcryl-4'-hydr oxybutyl ether, and mixtures thereof.
       [0252]   In some embodiments, the non-cationic lipid present in the lipid particles (e.g.,
  5    SN ALP) comprises or consists of cholesterol or a derivative thereof, e.g., a phospholipid-free
       lipid particle formulation. In other embodiments, the non-cationic lipid present in the lipid
       particles (e.g., SN ALP) comprises or consists of one or more phospholipids, e.g., a
       cholesterol-free lipid particle formulation. In further embodiments, the non-cationic lipid
       present in the lipid particles (e.g., SN ALP) comprises or consists of a mixture of one or more
  lO   phospholipids and cholesterol or a derivative thereof.
       [0253]    Other examples of non-cationic lipids suitable for use in the present invention
       include nonphosphorous containing lipids such as, e.g., stcarylaminc, dodecylamine,
       hexadecyiamine, acetyl palmitatc, glycerolricinoleate, hexadecyl stereate, isopropyl
       myristate, amphoteric acrylic polymers, triethanolamine-lau ryl sulfate, alkyl-aryl sulfate
  15   polyethyloxylated fatty acid amides, dioctadecyldimethy l ammonium bromide, ceramide,
       sphingomyelin, and the like.
       [0254]    In some embodiments, the non-cationic lipid comprises from about l 3 mo!% to
       about 49.5 mo!%, from about 20 mol % to about 45 mol %, from about 25 mol % to about 45
       mo! %, from about 30 mo! % to about 45 mo! %, from about 35 mo! % to about 45 mo! %,
  20   from about 20 mo! % to about 40 mo! %, from about 25 mol % to about 40 mo! %, or from
       about 30 mo! % to about 40 mo! % of the total lipid present in the particle.
       [0255]    In certain embodiments, the cholesterol present in phospholipid-free lipid particles
       comprises from about 30 mol % to about 45 mo!%, from about 30 mo! % to about 40 mo!%,
       from about 35 mol % to about 45 mol %, or from about 35 mol % to about 40 mo!% of the
  25   total lipid present in the particle. As a non-limiting example, a phosphoiipid-frec lipid
       particle may comprise cholesterol at about 37 mo!% of the total lipid present in the particle.
       [0256]    In certain other embodiments, the cholesterol present in lipid particles containing a
       mixture of phospholipid and cholesterol comprises from about 30 mo!% to about 40 mo!%,
       from about 30 mo!% to about 35 mo!%, or from about 35 mol % to about 40 mo!% of the
  30   total lipid present in the particle. As a non-limiting example, a lipid particle comprising a
       mixture of phospholipid and cholesterol may comprise cholesterol at about 34 mol % of the
       total lipid present in the particle.
       (0257]    In further embodiments, the cholesterol present in lipid particles containing a
       mixture of phospholipid and cholesterol comprises from about 10 mol % to about 30 mol %,

                                                      68




                                                                                                   JA002195
                                                                                                   GE NV-00005346
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 914 of 1274 PageID #: 9220



                                                                                                    of the
        from about 15 mo!% to about 25 mo!%, or from about 17 mo!% to about 23 mo!%
                                                                                                    ng a
        total lipid present in the particle. As a non-limi ting example , a lipid particle comprisi
                                                                                                    of the
        mixture of phospho lipid and choleste rol may comprise choleste rol at about 20 mo!%
        total lipid present in the particle.
   5    [0258]    In embodim ents where the lipid particles contain a mixture ofphosp holipid and
                                                                                                  50, 55,
        choleste rol or a choleste rol derivativ e, the mixture may compris e up to about 40, 45,
                                                                                                  lipid
        or 60 mo!% of the total lipid present in the particle. In certain instances , the phospho
                                                                                                    about
        compon ent in the mixture may compris e from about 2 mol % to about 12 mol %, from
                                                                                                      % to
        4 mol % to about IO mol %, from about 5 mo!% to about 10 mo!%, from about 5 mol
                                                                                             the
  10    about 9 mo!%, or from about 6 mol % to about 8 11101 % of the total lipid present in
                                                                                                 lipid
        particle. As a non-limi ting example , a lipid particle comprisi ng a mixture of phospho
                                                                                                % (e.g.,
        and choleste rol may compris e a phospho lipid such as DPPC or DSPC at about 7 mol
                                                                                                  In
        in a mixture with about 34 mo!% choleste rol) of the total lipid present in the particle.
                                                                                                   about
        certain other instances, the phospho lipid compone nt in the mixture may compris e from
                                                                                                  17 mo!
   15   10 mo! % to about 30 mol %, from about 15 mo! o/o to about 25 mo! %, or from about
        % to about 23 mol % of the total lipid present in the particle. As another non-limi ting
                                                                                               comprise
        example , a lipid particle compris ing a mixture of phospho lipid and cholester ol may
                                                                                                    20
        a phospho lipid such as DPPC or DSPC at about 20 mo! % (e.g., in a mixture with about
         mol % choleste rol) of the total lipid present in the particle.

   20             C.     Lipid Conjuga te

         [0259]   In addition to cationic and non-cati onic lipids, the lipid particles of the invention
                                                                                               it prevents
         (e.g., SNALP) compris e a lipid conjugat e. The conjugat ed lipid is useful in that
                                                                                                  to, PEG-
         the aggregat ion of particles . Suitable conjugat ed lipids include, but are not limited
                                                                                                    and
         lipid conjugat es, ATTA-l ipid conjugat es, cationic- polymer -lipid conjugat es (CPLs),
   25    mixtures thereof. In certain embodim ents, the particles compris e either a PEG-lip id
         conjugat e or an ATTA-l ipid conjugat e together with a CPL.
         ro260]    In a preferred embodim ent, the lipid conjugat e is a PEG-lip id. Example s of PEG-
                                                                                                 as
         lipids include, but are not limited to, PEG coupled to dialkylo xypropy ls (PEG-D AA)
         describe d in, e.g., PCT Publicat ion No. WO 05/02637 2, PEG coupled to diacylgly cerol
   30    (PEG-D AG) as describe d in, e.g., U.S. Patent Publicat ion Nos. 2003007 7829 and
                                                                                                         ),
         2005008 689, PEG coupled to phospho lipids such as phospha tidyletha nolamin e (PEG-PE
         PEG conjugat ed to ceramid es as describe d in, e.g., U.S. Patent No. 5,885,61 3, PEG
                                                                                                    res of
         conjugat ed to choleste rol or a derivativ e thereof, and mixtures thereof. The disclosu


                                                           69




                                                                                                     JA002196
                                                                                                    GE NV-00 00534 7
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 915 of 1274 PageID #: 9221



        these patent document s are herein incorpora ted by reference in their entirety for all purposes.
        Additiona l PEG-lipid s include, without limitation , PEG-C-D OMG, 2KPEG-D MG, and a
        mixture thereof.
        [0261]   PEG is a linear, water-solu ble polymer of ethylene PEG repeating units with two
   5    terminal hydroxyl groups. PEGs are classified by their molecular weights; for example, PEG
        2000 has an average molecular weight of about 2,000 daltons, and PEG 5000 has an average
        molecular weight of about 5,000 daltons. PEGs are commerci ally available from Sigma
        Chemical Co. and other companie s and include, for example, the following :
        monometh oxypolyet hylene glycol (MePEG- OH), monometh oxypolyet hylenc glycol-
  !0    succinate (MePEG- S), monometh oxypolyet hylene glycol-suc cinimidyl succinate (MePEG- S-
        NHS), monometh oxypolyet hylene glycol-am ine (MePEG- NH 2 ), monometh oxypolyet hylene
        glycol-tre sylate (MePRG- TRES), and monometh oxypolyet hylene glycol-im idazolyl-c arbonyl
        (MePEG- IM). Other PEGs such as those described in U.S. Patent Nos. 6,774,180 and
        7,053,150 (e.g., mPEG (20 KDa) amine) are also useful for preparing the PEG-lipid
   15   conjugate s of the present invention. The disclosure s of these patents are herein incorpora ted
        by reference in their entirety for all purposes. In addition, monometh oxypolyet hylenegly col-
        acetic acid (MePEG- ClhCOOH ) is particular ly useful for preparing PEG-lipid conjugate s
        including, e.g., PEG-DAA conjugate s.
         [0262} The PEG moiety of the PEG-lipid conjugate s described herein may comprise an
   20   average molecular weight ranging from about 550 daltons to about 10,000 daltons. In certain
         instances, the PEG moiety has an average molecular weight of from about 750 daltons to
         about 5,000 daltons (e.g., from about 1,000 daltons to about 5,000 daltons, from about 1,500
         daltons to about 3,000 daltons, from about 750 daltons to about 3,000 daltons, from about
         750 daltons to about 2,000 daltons, etc.). ln preferred embodime nts, the PEG moiety has an
   25    average molecular weight of about 2,000 daltons or about 750 daltons.
         [0263] In ce1tain instances, the PEG can be optionally substitute d by an alkyl, alkoxy, acyl,
         or aryl group. The PEG can be conjugate d directly to the lipid or may be linked to the lipid
         via a linker moiety. Any linker moiety suitable for coupling the PEG to a lipid can be used
         including, e.g., non-ester containin g linker moieties and ester-cont aining linker moieties. In a
   30    preferred embodime nt, the linker moiety is a non-ester containing linker moiety. As used
         herein, the term "non-este r containing linker moiety" refers to a linker moiety that does not
         contain a carboxyli c ester bond (-OC(O)-) . Suitable non-ester containing linker moieties
         include, but are not limited to, amido (-C(O)NH -), amino (-NR-), carbonyl (-C(O)-),
         carbamate (-NHC(O )O-), urea (-NHC(O) NH-), disulphide (-S-S-), ether (-0-), succinyl (-

                                                         70




                                                                                                  JA002197
                                                                                                 GE NV-000 05348
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 916 of 1274 PageID #: 9222



                                                                                    disulph ide, as well
        (O)CCH 2CH2C(O)-), succina midyl (-NHC( O)CH2 ClhC(O )NH-), ether,
                                                                                        moiety and an
        as combin ations thereof (such as a linker contain ing both a carbam ate linker
                                                                                     used to couple the
        amido linker moiety) . In a preferre d embodi ment, a carbam ate linker is
        PEG to the lipid.
                                                                                                   the PEG
   5    [0264]     In other embodi ments, an ester contain ing linker moiety is used to couple
                                                                                           te (-OC(O )O-),
        to the lipid. Suitabl e ester contain ing linker moietie s include , e.g., carbona
                                                                                         ations thereof.
        succino yl, phosph ate esters (-O-(O )POH-0 -), sulfona te esters, and combin
                                                                                          of varying chain
        [0265] Phosph atidylet hanolam ines having a variety of acyl chain groups
                                                                                      lipid conjuga te. Such
        lengths and degrees of saturati on can be conjuga ted to PEG to form the
                                                                                         or synthes ized
  10    phosph atidylet hanolam ines are comme rcially availab le, or can be isolated
                                                                                          atidyl-
        using conven tional techniq ues known to those of skilled in the art. Phosph
                                                                                         chain lengths in the
        ethanol amines contain ing saturate d or unsatur ated fatty acids with carbon
                                                                                         or diunsat urated
        range of C 10 to C 20 arc preferre d. Phosph atidylet hanolam ines with mono-
                                                                                        be used. Suitable
        fatty acids and mixture s of saturate d and unsatur ated fatty acids can also
  15     phosph atidylet hanolam ines include , but are not limited to, dimyris toyl-
                                                                                       e (DPPE) ,
         phosph atidylet hanolam ine (DMPE ), dipalmi toyl-ph osphati dyletha nolamin
                                                                                    lethano lamine
         dioleoy lphosph atidylet hanolam inc (DOPE) , and distearo yl-phos phatidy
         (DSPE) .
                                                                                             nds
         [0266]    The term "ATTA " or "polyam ide" refers to, without limitati on, compou
                                                                                       which are herein
   20    describ ed in U.S. Patent Nos. 6,320,0 17 and 6,586,5 59, the disclosu res of
                                                                                           nds include a
         incorpo rated by referen ce in their entirety for all purpose s. These compou
         compou nd having the formula :




                                                                                        (IV),
                                                                                                    1
                                                                                   alkyl and acyl; R is
         wherein Risa membe r selected from the group consisti ng of hydroge n,
                                                                                                      1
                                                                                          lly, Rand R
   25    a membe r selected from the group consisti ng of hydrog en and alkyl; or optiona
                                                                                2
                                                                                              r of the group
         and the nitroge n to which they are bound form an azido moiety; R is a membe
                                                                                       ted aryl and a side
         selecled from hydroge n, optiona lly substitu ted alkyl, optiona lly substitu
                                                                                       ng of hydroge n,
         chain of an amino acid; R is a membe r selected from the group consisti
                                    3

                                                                                                      5
                                                                             4  5
                                                                                            R4 and R are
         halogen , hydroxy , alkoxy, mercap to, hydrazi no, amino and NR R , wherein
                                                                                           q is 0 or 1. It will
   30     indepen dently hydrog en or alkyl; n is 4 to 80; m is 2 to 6; p is 1 to 4; and




                                                           71




                                                                                                       JA002198
                                                                                                       GENV-00005349
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 917 of 1274 PageID #: 9223



                                                                                  used in the compo unds of
        be appare nt to those of skill in the art that other polyam ides can be
        the presen t invention.
                                                                                                     1
                                                                                          chains, R and
        [0267]     The term "diacy lglyce rol" refers to a compo und having 2 fatty acyl
                                                                            bonded to the 1- and 2-
        R 2 , both of which have indepe ndentl y betwee n 2 and 30 carbon s
                                                                                 ed or have varyin g
   5    positio n of glycero l by ester linkages. The acyl groups can be saturat
                                                                              limited to, lauryl (C 12 ),
        degree s ofunsa turatio n. Suitab le acyl groups include, but are not
                                                                                                             1
                                                                                         ed embod iments , R
        myrist yl (C 14), palmit yl (C1 6), stearyl (C1S), and icosyl (C 20). ln preferr
                                                                                                  2
                                                2                                 styl), R 1 and R arc both
        and R are the same, i.e., R and R are both myrist yl (i.e., dimyri
              2                         1

                                                                                        l formula:
        stearyl (i.e., distearyl), etc. Diacyl glycer ols have the follow ing genera
                                                         0




                                                r~R'
                                                CH-O .,..~R2


                                                 I
                                                 CHzO -              (V).
  10
                                                                                                  1
                                                                                        chains, R and R\
         [0268]    The term "dialky loxypr opyl" refers to a compo und having 2 alkyl
                                                                               alkyl groups can be
         both of which have indepe ndentl y betwee n 2 and 30 carbon s. The
                                                                                   have the following
         saturat ed or have varyin g degree s of unsaturation. Dialky loxypr opyls
         genera l formula:




   15
                                                                                                having the
          [0269]    ln a preferr ed embod iment, the PEG-li pid is a PEG-D AA conjug ate
          follow ing formula:




                                                                             alkyl groups having         from
          wherei n R and R are indepe ndentl y selecte d and arc long-c hain
                    1      2

                                                                             and L is a non-es ter
   20     about IO to about 22 carbon atoms; PEG is a polycth yleneg lycol;


                                                             72




                                                                                                        JA002199
                                                                                                        GE NV-0 0005 350
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 918 of 1274 PageID #: 9224



                                                                                   ed above. The long-
        contain ing linker moiety or an ester contain ing linker moiety as describ
                                                                                     include , but are not
        chain alkyl groups can be saturate d or unsatur ated. Suitable alkyl groups
                                                                                            icosyl (C 20). In
        limited to, lauryl (C1 2 ), myristy l (C 14), palmity l (Cu,), stearyl (C 18 ), and
                                                                        1       2
                                               2                                             myristy l (i.e.,
        preferre d embodi ments, R and R are the same, i.e., R and R are both
                                      1

                             2
        dimyris tyl), R and R are both stearyl (i.e., disteary l), etc.
                       1
   5
                                                                               ranging from
        [0270] In Formul a VII above, the PEG has an average molecu lar weight
                                                                                    has an average
        about 550 daltons to about l 0,000 daltons . In certain instance s, the PEG
                                                                                    from about 1,000
        molecu lar weight of from about 750 daltons to about 5,000 daltons (e.g.,
                                                                                 daltons , from about
        daltons to about 5,000 daltons , from about 1,500 daltons to about 3,000
                                                                                   daltons , etc.). In
  10    750 daltons to about 3,000 daltons , from about 750 daltons to about 2,000
                                                                                     2,000 daltons or
        preferre d embodi ments, the PEG has an average molecu lar weight of about
                                                                                        acyl, or aryl.
        about 750 daltons . The PEG can be optiona lly substitu ted with alkyl, alkoxy,
                                                                                            a methox y or methyl
        In certain embodi ments, the termina l hydroxy l group is substitu ted with
        group.
                                                                                                  Suitable
  15     [0271]      ln a preferre d embodi ment, "L" is a non-est er contain ing linker moiety.
                                                                                                    an amino
         non-est   er contain ing linkers include , but are not limited to, an amido linker moiety,
                                                                                      linker moiety, an
         linker moiety, a carbony l linker moiety, a carbam ate linker moiety, a urea
                                                                                          and
         ether linker moiety, a disulph ide linker moiety, a succina midyl linker moiety,
                                                                                    ing linker moiety is a
         combin ations thereof. ln a preferre d embodi ment, the non-est er contain
                                                                                          d embodi ment,
  20     carbam ate linker moiety (i.e., a PEG-C -DAA conjuga te). In another preferre
                                                                                     PEG-A -DAA
         the non-est er contain ing linker moiety is an amido linker moiety (i.e., a
                                                                                     ing linker moiety is a
         conjuga te). In yet another preforre d embodi ment, the non-est er contain
         succina midyl linker moiety (i.e., a PEG-S- DAA conjuga te).
                                                                                   from:
         [0272] In particul ar embodi ments, the PEG-lip id conjuga te is selected




   25




                                                                                            (PEG-C -DOMG ).

                                                                                                reagent s
          [0273]  The PEG-D AA conjuga tes are synthes ized using standar d techniq ues and
                                                                                    AA conjuga tes will
          known to those of skill in the art. It will be recogni zed that the PEG-D



                                                               73




                                                                                                            JA002200
                                                                                                           GE NV-00005351
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 919 of 1274 PageID #: 9225



                                                                                            skill in the
        contain various amide, amine, ether, thio, carbama te, and urea linkages . Those of
                                                                                               and
        art will recogniz e that methods and reagents for forming these bonds are well known
                                                                                               1992);
        readily available . See, e.g., March, ADVAN CED ORGAN IC CHEMI STRY (Wiley
                                                                                               Furniss,
        Larock, COMPR EHENS IVE ORGAN IC TRANS FORMA TIONS (VCH 1989); and
                                                                                                  n
   5    VOGEL 'S TEXTB OOK OF PRACT ICAL ORGAN IC CHEMIS TRY, 5th ed. (Longma
                                                                                                      n
        1989). It will also be apprecia ted that any function al groups present may require protectio
                                                                                              Those of
        and deprotec tion at different points in the synthesi s of the PEG-DA A conjugat es.
                                                                                                and Wuts,
        skill in the art will recogniz e that such techniqu es are well known. See, e.g., Green
        PROTEC TIVE GROUP S IN ORGAN IC SYNTH ESIS (Wiley 1991).
        [0274] Preferab ly, the PEG-DA A conjugat e is a dilaurylo xypropy l (Cl2)-PE G
                                                                                        conjugat e,
  10
                                                                                                   e, or a
        dimyrist yloxypro pyl (C 14)-PEG conjugat e, a dipalmit yloxypro pyl (C16)-PEG conjugat
                                                                                                     te that
        distearyl oxyprop yl (C 18 )-PEG conjugat e. Those of skill in the art will readily apprecia
                                                                                                     n.
        other dialkylo xypropy ls can be used in the PEG-DA A conjugat es of the present inventio
        [0275] In addition to the foregoin g, it will be readily apparent to those of skill
                                                                                            in the art that
                                                                                                       s that
  15    other hydroph ilic polymer s can be used in place of PEG. Example s of suitable polymer
        can be used in place of PEG include, but are not limited to, polyviny lpyrrolid one,
        polymet hyloxazo line, polyethy loxazoli ne, polyhyd roxyprop yl methacry lamide,
                                                                                                 and
        polymet hacrylam ide and polydim cthylacr ylamide, polylacti c acid, polyglyc olic acid,
         derivatiz ed cellulose s such as hydroxy methylce llulose or hydroxy ethylccll ulose.
         [0276] In addition to the foregoin g compone nts, the particles (e.g., SNALP or
                                                                                               SPLP) of the
  20
                                                                                                  or CPLs
         present inventio n can further compris e cationic poly(cth ylene glycol) (PEG) lipids
                                                                                                        PLs
         (see, e.g., Chen et al., Bioconj. Chem., 11 :433-437 (2000)). Suitable SPLPs and SPLP-C
                                                                                                       Ls,
         for use in the present inventio n, and methods of making and using SPLPs and SPLP-CP
                                                                                                       3,,
         are disclosed , e.g., in U.S. Patent No. 6,852,33 4 and PCT Publicat ion No. WO 00/6281
                                                                                                    purposes .
   25    the disclosu res of which are herein incorpor ated by referenc e in their entirety for all
         [0277]    Suitable CPLs include compou nds of Formula VIII:
                                                   A-W-Y (VIII),

         wherein A, W, and Y arc as describe d below.
                                                                                                  thic lipid,
         [02781 With referenc e to Formula VIII, "A" is a lipid moiety such as an amphipa
                                                                                                       s
   30    a neutral lipid, or a hydroph obic lipid that acts as a lipid anchor. Suitable lipid example
                                                                                                     os, l ,2-
         include, but are not limited to, diacylgly ccrolyls, dialkylg lyceroly ls, N-N-dia lkylamin
         diacylox y-3-arni nopropa nes, and l ,2-dialky l-3-amin opropan es.
                                                                                            .
         [0279] "W" is a polymer or an oligome r such as a hydroph ilic polymer or oligomer
                                                                                                        c or
          Preferab ly, the hydroph ilic polymer is a biocomp atable polymer that is nonimm unogeni

                                                           74




                                                                                                     JA002201
                                                                                                    GE NV-00 00535 2
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 920 of 1274 PageID #: 9226



                                                                                           r can be
        possess es low inheren t immuno genicity . Alterna tively, the hydroph ilic polyme
                                                                                         ic polyme rs
        weakly antigen ic if used with appropr iate adjuvants. Suitabl e nonimm unogen
                                                                                           acid, polylactic
        include, but are not limited to, PEG, polyam ides, polylac tic acid, polygly colic
                                                                                        d embodi ment, the
        acid/po lyglyco lic acid copolym ers, and combin ations thereof . In a preferre
                                                                                       .
   5    polyme r has a molecu lar weight of from about 250 to about 7,000 daltons
        [0280] "Y" is a polycat ionic moiety. The term polycat ionic moiety
                                                                                   refers to a compou nd,
                                                                                         2 positive charges
        derivati ve, or function al group having a positive charge, prefora bly at least
                                                                                          s include basic
        at a selected pH, prefera bly physiol ogical pH. Suitabl e polycat ionic moietie
                                                                                       lysine, and
        amino acids and their derivati ves such as arginine , asparag ine, glutami ne,
                                                                                       ine sugars; and
  10    histidin e; spermin e; spermid ine; cationic dendrim ers; polyam ines; polyam
                                                                                    linear tetralysine,
        amino polysac charide s. The polycat ionic moietie s can be linear, such as
                                                                                      about 2 to about
        branche d or dendrim eric in structur e. Polycat ionic moietie s have between
                                                                                        , and more
        15 positive charges , prefera bly betwee n about 2 to about 12 positive charges
                                                                                           The selectio n
        prefera bly betwee n about 2 to about 8 positive charges at selected pH values.
                                                                                         particle
  15    of which polycat ionic moiety to employ may be determi ned by the type of
        applica tion which is desired .
                                                                                                 the entire
         [0281]    The charges on the polycat ionic moietie s can be either distributed around
                                                                                             density in one
         particle moiety, or alternat ively, they can be a discrete concen tration of charge
                                                                                             is distribu ted
         particul ar area of the particle moiety e.g., a charge spike. If the charge density
                                                                                       distributed. All
  20     on the particle, the charge density can be equally distribu ted or unequa lly
                                                                                           by the present
         variatio ns of charge distribu tion of the polycat ionic moiety arc encomp assed
         inventio n.
                                                                                                   various
         [0282]    The lipid "A" and the nonimm unogen ic polyme r "W" can be attached by
                                                                                         of skill in the art
         method s and prefera bly by covalen t attachm ent. Method s known to those
                                                                                         s include, but are
  25     can be used for the covalen t attachm ent of "A" and "W." Suitabl e linkage
                                                                                               ne linkages.
         not limited to, amide, amine, carboxy l, carbona te, carbam ate, ester, and hydrazo
                                                                                        comple mentary
         It will be apparen t to those skilled in the art that "A" and "W" must have
                                                                                             one on the lipid
         function al groups to effectua te the linkage. The reaction of these two groups,
                                                                                          e, when the lipid is
         and the other on the polyme r, will provide the desired linkage. For exampl
                                                                                              and DCC, to
   30    a diacylg lycerol and the termina l hydroxyl is activate d, for instanc e with NHS
                                                                                          amino group, such
         form an active ester, and is then reacted with a polyme r which contain s an
                                                                                        the disclosu res of
         as with a polyam ide (see, e.g., U.S. Patent Nos. 6,320,0 17 and 6,586,5 59,
                                                                                        s), an amide bond
         which are herein incorpo rated by referenc e in their entirety for all purpose
          will form betwee n the two groups.

                                                           75




                                                                                                     JA002202
                                                                                                     GE NV-00 00535 3
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 921 of 1274 PageID #: 9227



        [0283]    In certain instance s, the poiycatio nic moiety can have a ligand attached , such as a
                                                                                                  ligand is
        targeting ligand or a chelating moiety for complex ing calcium. Preferab ly, after the
                                                                                                ligand that
        attached , the cationic moiety maintain s a positive charge. In certain instances , the
                                                                                                 compoun d
        is attached has a positive charge. Suitable ligands include, but are not limited to, a
   5    or device with a reactive function al group and include lipids, amphipa thic lipids, carrier
        compoun ds, bioaffini ty compoun ds, biomater ials, biopolym ers, biomedi cal devices,
                                                                                                       ,
        analytica lly detectab le compoun ds, therapeu tically active compoun ds, enzymes , peptides
        proteins, antibodi es, immune stimulato rs, radiolab els, fluoroge ns, biotin, drugs, haptcns,
                                                                                                         l
        DNA, RNA, polysacc harides, liposome s, virosome s, micelles , immuno globulin s, functiona
  10    groups, other targeting moieties , or toxins.
        l0284]   The lipid conjugat e (e.g., PEG-lip id) typically compris es from about 0.1 mo!% to
                                                                                                2 mo!
        about 2 mo!%, from about 0.5 mol % to about 2 mol %, from about 1 mol % to about
        %, from about 0.6 mol % to about 1.9 mo!%, from about 0.7 mol % to about 1.8 mo!%,
                                                                                             from
        from about 0.8 mol % to about 1.7 mol %, from about 0.9 mol % to about 1.6 mol %,
                                                                                           about l
  15    about 0.9 mo!% to about 1.8 mo!%, from about 1 mol % to about 1.8 mo!%, from
                                                                                             mo! %
        mol % to about l. 7 mo!%, from about 1.2 mol % to about 1.8 mol %, from about 1.2
                                                                                             % to
        to about l. 7 mo 1 %, from about 1.3 mo! % to about 1.6 mo! %, or from about 1.4 mo!
        about 1.5 mol % of the total lipid present in the particle.
                                                                                                lipid
        [0285] One of ordinary skill in the art will apprecia te that the concentr ation of the
                                                                                                 which the
  20     conjugat e can be varied dependin g on the lipid conjugat e employe d and the rate at
         nucleic acid-lipi d particle is to become fusogenic.
         [0286]    By controlli ng the composi tion and concentr ation of the lipid conjugat e, one can
                                                                                                  particle
         control the rate at which the lipid conjugat e exchang es out of the nucleic acid-lipi d
                                                                                                  instance,
         and, in turn, the rate at which the nucleic acid-lipi d particle becomes fusogeni c. For
                                                                                                used as
  25     when a PEG-pho sphatidy lethanol aminc conjugat e or a PEG-cer amide conjugat e is
                                                                                                   c can be
         the lipid conjugat e, the rate at which the nucleic acid-lipi d particle becomes fusogeni
                                                                                                 the
         varied, for example , by varying the concentr ation of the lipid conjugat e, by varying
                                                                                               n of the
         molecul ar weight of the PEG, or by varying the chain length and degree of saturatio
         acyl chain groups on the phospha tidyletha nolamin c or the ceramide . In addition, other
                                                                                                    vary
   30    variable s including , for example , pH, temperat ure, ionic strength, etc. can be used to
         and/or control the rate at which the nucleic acid-lipi d particle becomes fusogenic. Other
         methods which can be used to control the rate at which the nucleic acid-lipi d particle
         becomes fusogeni c will become apparent to those of skill in the art upon reading this
         disclosu re.

                                                          76




                                                                                                    JA002203
                                                                                                    GE NV-00 00535 4
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 922 of 1274 PageID #: 9228



        VI.      Prepa ration of Lipid Partic les
                                                                                     which an active agent
        [0287]     The lipid partic les of the presen t invention, e.g., SNALP, in
                                                                             d in a lipid bilaye r and is
        or therap eutic agent such as an interfe ring RNA is encap sulate
                                                                          known in the art including, but not
        protec ted from degrad ation, can be forme d by any metho d
                                                                          proces s.
  5     limite d to, a contin uous mixin g metho d or a direct dilutio n
                                                                                           la I, II, and III, or
        [0288]     In prefer red embod iment s, the cation ic lipids are lipids of Formu
                                                                         non-c ationi c lipids are egg
        combi nation s thereof. In other prefer red embod iment s, the
                                                                           ), dioleo ylpho sphati dylcho line
        sphing omyel in (ESM ), distea roylph ospha tidylc holine (DSPC
                                                                        ), dipalm itoyl-p hosph atidyl cholin e
        (DOP C), 1-palm itoyl-2 -oleoy l-phos phatid ylchol ine (POPC
                                                                             ospha tidyle thanol arnine , 14:0
  lO    (DPPC ), monom ethyl- phosp hatidy lethan olami ne, dimet hyl-ph
                                                                        16:0 PE (1,2-d ipalm itoyl-
        PE ( 1,2-di rnyris toyl-p hosph atidyl ethano lamine (DMP E)),
                                                                                sphati dyleth anolam ine
        phosp hatidy lethan olami ne (DPPE )), 18:0 PE (1,2-d istearo yl-pho
                                                                         (DOP E)), 18:l trans PE (1,2-
        (DSPE )), 18:l PE (1,2-d ioleoy l-phos phatid yletha nolam ine
                                                                            (l-stea royl-2 -oleoy l-
         dielai doyl-p hosph atidyl ethano lamin e (DEPE )), 18:0-18: 1 PE
                                                                              -oleoy l-
  15     phosp hatidy lethan olami ne (SOPE )), 16:0-18: 1 PE (l-palm itoyl-2
                                                                             polym ers (e.g., PEG 2000,
         phosp hatidy lethan olami ne (POPE )), polyet hylene glycol -based
                                                                        d dialky loxyp ropyls ), cholesterol,
         PEG 5000, PEG-m odifie d diacyl glycer ols, or PEG-m odifie
         or combi nation s thereof.
                                                                                    SN ALP produ ced via a
         [0289]     In certain embod iment s, the presen t invent ion provid es for
                                                                             ing an aqueo us solutio n
  20     contin uous mixin g metho d, e.g., a proces s that includ es provid
                                                                              reserv oir, provid ing an
         compr ising a nuclei c acid such as an interfe ring RNA in a first
                                                                          aqueo us solutio n with the organic
         organ ic lipid solutio n in a secon d reservoir, and mixin g the
                                                                           the aqueo us solutio n so as to
         lipid solutio n such that the organ ic lipid solutio n mixes with
                                                                             g the nuclei c acid (e.g.,
         substa ntially instan taneou sly produ ce a liposo me encap sulatin
                                                                          ng this proces s are described in
   25    interfe ring RNA) . This proces s and the appara tus for carryi
                                                                            sure of which is herein
         detail in U.S. Patent Public ation No. 20040 14202 5, the disclo
          incorp orated by refere nce in its entire ty for all purpo ses.
          [0290] The action of contin uously introd ucing lipid
                                                                       and buffer solutio ns into a mixin g
                                                                            uous dilutio n of the lipid solution
          enviro nment , such as in a mixin g chamb er, causes a contin
                                                                               ntially instan taneou sly upon
   30     with the buffer solution, thereb y produ cing a liposo me substa
                                                                            a lipid solutio n with a buffer
          mixin g. As used herein, the phrase "conti nuous ly dilutin g
                                                                                  n is dilute d suffic iently rapidly
           soluti on" (and variat ions) genera lly means that the lipid solutio
                                                                                 e genera tion. By mixin g the
           in a hydra tion proces s with suffic ient force to effect uate vesicl


                                                              77




                                                                                                          JA002204
                                                                                                          GE NV-0 0005 355
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 923 of 1274 PageID #: 9229



                                                                                solution, the organi c lipid
        aqueou s solutio n compr ising a nucleic acid with the organi c lipid
                                                                                of the buffer solutio n (i.e.,
        solutio n underg oes a contin uous stepwi se dilutio n in the presen ce
        aqueou s solutio n) to produc e a nucleic acid-li pid particle.
                                                                              d typical ly have a size of
        [0291] The SNAL P formed using the contin uous mixing metho
                                                                                 nm, from about 60 nm to
   5    from about 40 nm to about 150 nm, from about 50 nm to about 150
                                                                              70 nm to about 90 nm. The
        about 130 nm, from about 70 nm to about 110 nm, or from about
                                                                               achiev e a uniform particle
        particl es thus formed do not aggreg ate and are option ally sized to
        size.
                                                                                           P produc ed via a
        (02921     In anothe r embod iment, the presen t inventi on provid es for SNAL
                                                                                and immed iately and
  10    direct dilutio n proces s that include s formin g a liposom e solutio n
                                                                                 contain ing a contro lled
        directl y introdu cing the liposom e solutio n into a collect ion vessel
                                                                                     include s one or more
        amoun t of dilution buffer. In preferr ed aspects , the collect ion vessel
                                                                                 facilitate dilution. In one
        elemen ts config ured to stir the conten ts of the collect ion vessel to
                                                                                    is substan tially equal to
        aspect, the amoun t of dilutio n buffer presen t in the collect ion vessel
                                                                                 iting examp le, a liposome
  15    the volum e oflipo some solutio n introdu ced thereto. As a non-lim
                                                                                   contain ing an equal
        solutio n in 45% ethano l when introdu ced into the collect ion vessel
                                                                                  es.
         volum e of dilutio n buffer will advant ageous ly yield smalle r particl
                                                                                 es for SNAL P produc ed via
         [0293] In yet anothe r embod iment, the presen t inventi on provid
                                                                                     n buffer is fluidly
         a direct dilutio n proces s in which a third reservo ir contain ing dilutio
                                                                                      e solutio n formed in a
  20     couple d to a second mixing region. In this embod iment, the liposom
                                                                                 n buffer in the second
         first mixing region is immed iately and directl y mixed with dilutio
                                                                                        s a T-conn ector
         mixing region. In preferr ed aspects , the second mixing region include
                                                                                     meet as opposi ng 180°
         arrang ed so that the liposom e solutio n and the dilutio n buffer flows
                                                                                    e.g., from about 27° to
         flows; howev er, connec tors provid ing shallow er angles can be used,
                                                                                      to the second mixing
   25    about 180°. A pump mecha nism deliver s a contro llable flow of buffer
                                                                                the second mixing region is
         region . In one aspect, the flow rate of dilution buffer provid ed to
                                                                                       n introdu ced thereto
         contro lled to be substan tially equal to the flow rate of liposom e solutio
                                                                                        for more control of
          from the first mixing region. This embod iment advant ageous ly allows
                                                                                   second mixing region,
         the tlow of dilutio n buffer mixing with the liposome solutio n in the
                                                                                  throug hout the second
   30     and therefo re also the concen tration of liposom e solutio n in buffer
                                                                                   ageous ly allows for small
          mixing proces s. Such contro l of the dilutio n buffer flow rate advant
          particl e size format ion at reduce d concen tration s.




                                                             78




                                                                                                        JA002205
                                                                                                        GE NV-0 0005 356
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 924 of 1274 PageID #: 9230



       [0294]   These processe s and the apparatu ses for carrying out these direct dilution processe s
                                                                                                 which is
       are describe d in detail in U.S. Patent Publicat ion No. 2007004 2031, the disclosu re of
       herein incorpor ated by referenc e in its entirety for all purposes .
       [02951 The SN ALP formed using the direct dilution process typically have a
                                                                                   size of from
                                                                                       to about
  5    about 40 nm to about 150 nm, from about 50 nm to about 150 nm, from about 60 nm
       130 nm, from about 70 nm to about 110 nm, or from about 70 nm to about 90 nm. The
                                                                                                  particle
       particles thus formed do not aggregat e and are optional ly sized to achieve a uniform
       size.
       [0296]   If needed, the lipid particles of the inventio n (e.g., SNALP) can be sized by any of
                                                                                               achieve
  lO   the methods available for sizing liposome s. The sizing may be conducte d in order to
       a desired size range and relativel y narrow distribut ion of particle sizes.
       [0297] Several techniqu es are available for sizing the particles to a desired size.
                                                                                            One sizing
                                                                                                  d in
       method, used for liposome s and equally applicab le to the present particles , is describe
                                                                                                e in its
       U.S. Patent No. 4,737,32 3, the disclosu re of which is herein incorpor ated by referenc
                                                                                                          n
  15   entirety for all purposes . Sonicati ng a particle suspensi on either by bath or probe sonicatio
                                                                                                size.
       produce s a progress ive size reductio n down to particles of less than about 50 nm in
       Homoge nization is another method which relies on shearing energy to fragmen t larger
                                                                                                     ted
       particles into smaller ones. In a typical homogen ization procedur e, particles are recircula
       through a standard emulsion homogen izer until selected particle sizes, typically between
                                                                                              ion can
  20   about 60 and about 80 nm, are observed . In both methods , the particle size distribut
        be monitore d by conventi onal laser-bea m particle size discrimi nation, or QELS.
                                                                                             an
        [0298] Extrusio n of the particles through a small-po re polycarb onate membra ne or
                                                                                                     to a
        asymme tric ceramic membra ne is also an effective method for reducing particle sizes
                                                                                                    the
        relativel y well-def ined size distribut ion. Typicall y, the suspensi on is cycled through
                                                                                                    The
  25    membra ne one or more times until the desired particle size distribut ion is achieved.
                                                                                                    a gradual
        particles may be extruded through successi vely smaller- pore membra nes, to achieve
        reductio n in size.
        [0299]    In some embodim ents, the nucleic acids in the SNALP are preconde nsed as
                                                                                                   herein
        describe d in, e.g., U.S. Patent Applicat ion No. 09/744,1 03, the disclosu re of which is
  30    incorpor ated by referenc e in its entirety for all purposes.
        [0300] In other embodim ents, the methods will further compris e adding non-lipid
                                                                                                    tions.
        polycati ons which arc useful to effect the lipofecti on of cells using the present composi
                                                                                                       the
        Example s of suitable non-lipid polycati ons include, hexadim ethrine bromide (sold under
                                                                                                      or
        brandna me POLYBRENEa:o, from Aldrich Chemica l Co., Milwauk ee, Wiscons in, USA)

                                                          79




                                                                                                     JA002206
                                                                                                    GENV-00005357
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 925 of 1274 PageID #: 9231



                                                                         includ e, for examp le, salts of poly-
        other salts ofhex adime thrine . Other suitab le polyca tions
                                                                           polyal lylam ine, and
        L-orni thine, poly-L -argin ine, poly-L -lysin e, poly-D -lysin e,
                                                                             the partic les have been formed.
        polyet hylene imine . Addit ion of these salts is prefer ably after
                                                                              (mass /mass ratios) in a forme d
        [0301] In some embod iment s, the nuclei c acid to lipid ratios
                                                                           0.02 to about 0.1, from about
  5     SNAL P will range from about 0.01 to about 0.2, from about
                                                                             of the startin g mater ials also
        0.03 to about 0.1, or from about 0.01 to about 0.08. The ratio
                                                                         prepar ation uses about 400 µg
        falls within this range. In other embod iment s, the SNAL P
                                                                        mass ratio of about 0.01 to about
        nuclei c acid per 10 mg total lipid or a nuclei c acid to lipid
                                                                        to 1.25 mg of total lipid per 50 µg
        0.08 and, more prefer ably, about 0.04, which corres ponds
                                                                         le has a nuclei c acid:li pid mass
  10    of nuclei c acid. In other prefer red embod iment s, the partic
        ratio of about 0.08.
                                                                                      /mass ratios) in a forme d
         [0302 ]     In other embod iment s, the lipid to nuclei c acid ratios (mass
                                                                         ), from about 5 (5: 1) to about 100
         SNA LP will range from about l (1: 1) to about 100 (100: 1
                                                                          2 (2: 1) to about 50 (50: l ), from
         (100: 1), from about 1 (1: 1) to about 50 (50: l ), from about
                                                                             50 (50: 1), from about 5 (5: 1) to
  15     about 3 (3: 1) to about 50 (50: 1), from about 4 ( 4: 1) to about
                                                                             about 2 (2: l) to about 25 (25: 1),
         about 50 (50: I), from about 1 (l: 1) to about 25 (25: 1), from
                                                                            about 25 (25:1) , from about 5
         from about 3 (3:1) to about 25 (25:1) , from about 4 (4:1) to
                                                                            1), from about 5 (5: l) to about 15
         (5: 1) to about 25 (25: I), from about 5 (5: l) to about 20 (20:
                                                                            6 (6:1), 7 (7:1), 8 (8:1), 9 (9:1),
          (15:1) , from about 5 (5:1) to about 10 (10:1), about 5 (5:1),
                                                                          (15:1). The ratio of the startin g
  20      IO (10:1) , 11 (11:1), 12 (12:1), 13 (13:1) , 14 (14:1) , or 15
         mater ials also falls within this range.
                                                                           further includ e a CPL. A variety
         [0303] As previo usly discus sed, the conjug ated lipid may
                                                                         ning SNAL P) are discus sed herein .
         of genera l metho ds for makin g SNAL P-CPL s (CPL- contai
                                                                           that is, inserti on of a CPL into,
         Two genera l techni ques includ e "post- insert ion" techni que,
                                                                             que, where in the CPL is
   25    for examp le, a pre-fo rmed SNAL P, and the "stand ard" techni
                                                                            P forma tion steps. The post-
         includ ed in the lipid mixtu re during , for examp le, the SNAL
                                                                          in the extern al face of the SNAL P
         inserti on techni que results in SN ALP having CPLs mainly
                                                                           ALP having CPLs on both
         bilaye r memb rane, where as standa rd techni ques provid e SN
                                                                            for vesicl es made from
          intern al and extern al faces. The metho d is especi ally useful
                                                                          vesicl es contai ning PEG-l ipids
   30     phosp holipi ds (whic h can contai n choles terol) and also for
                                                                          g SN ALP-C PL, are taught , for
          (such as PEG-D AAs and PEG-D AGs). Metho ds of makin
                                                                          501; 6,534, 484; and 6,852, 334;
          examp le, in U.S. Patent Nos. 5,705, 385; 6,586,41 O; 5,981,
                                                                           ation No. WO 00/628 13, the
           U.S. Paten t Public ation No. 20020 07212 1; and PCT Public
                                                                         in their entire ty for all purpo ses.
           disclo sures of which are herein incorp orated by refere nce

                                                             80




                                                                                                        JA002207
                                                                                                       GE NV-0 0005 358
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 926 of 1274 PageID #: 9232



        VII.      Kits
                                                                                            in kit form. The
        [0304]    The presen t inventi on also provid es lipid particl es (e,g,, SNAL P)
                                                                                    g the variou s elemen ts of
        kit may compr ise a contain er which is compa rtment alized for holdin
                                                                                   as nucleic acids and the
        the lipid particl es (e,g,, the active agents or therap eutic agents such
                                                                                    , the kit may further
  5     individ ual lipid compo nents of the particl es). In some embod iments
                                                                                     The kit typical ly
        compr ise an endoso mal membr ane destab ilizer (e.g., calcium ions).
                                                                                 prefera bly in dehydr ated
        contain s the lipid particl e compo sitions of the presen t inventi on,
        form, with instruc tions for their rehydr ation and admini stratio n.
        [0305] As explain ed herein, the lipid particl es of the inventi
                                                                                on (e.g,, SNALP) can be
                                                                                      of interes t. In certain
  10    tailore d to prefere ntially target particu lar tissues , organs , or tumors
                                                                                    may be carried out by
        instanc es, prefere ntial targeti ng of lipid particl es such as SNAL P
                                                                                    set forth in Examp le 11, it
        contro lling the compo sition of the particl e itself. For instanc e, as
                                                                                     be used to prefere ntially
        has been found that the 1:57 PEG-c DSA SN ALP formul ation can
                                                                                   SNALP formul ation can be
        target tumors outside of the liver, wherea s the l :57 PEG-c DMA
  15     used to prefere ntially target the liver (includ ing liver tumors ).
                                                                                           moiety attache d to
         [0306]    In certain other instanc es, it may be desirab le to have a targeti ng
                                                                                  the particl e. Metho ds of
         the surface of the lipid particl e to further enhanc e the targeti ng of
                                                                                          (such as those used in
         attachi ng targeti ng moieti es (e.g., antibod ies, protein s, etc.) to lipids
         the presen t particl es) are known to those of skill in the art.

  20     VII.      Admin istrati on of Lipid Partic les
                                                                                            useful for the
         [0307]    Once formed , the lipid particl es of the inventi on (e.g., SNAL P) are
                                                                               acids such as interfe ring
         introdu ction of active agents or therap eutic agents (e.g., nucleic
                                                                             es method s for introdu cing
         RNA) into cells. Accord ingly, the presen t inventi on also provid
                                                                             interfe ring RNA) into a cell.
         an active agent or therape utic agent such as a nucleic acid (e.g.,
                                                                                particl es as describ ed
   25    The method s are carried out in vitro or in vivo by first formin g the
                                                                               of time suffici ent for
         above and then contac ting the particl es with the cells for a period
          deliver y of the active agent or therap eutic agent to the cells to occur.
                                                                               be adsorb ed to almost any
          [0308] The lipid particl es of the inventi on (e,g., SNAL P) can
                                                                                   the particl es can either be
          cell type with which they are mixed or contac ted. Once adsorb ed,
                                                                                       anes, or fuse with the
   30     endocy tosed by a portion of the cells, exchan ge lipids with cell membr
                                                                                  agent (e.g., nucleic acid)
          cells. Transf er or incorp oration of the active agent or therap eutic
                                                                                 ys. In particu lar, when
          portion of the particl e can take place via any one of these pathwa



                                                               81




                                                                                                           JA002208
                                                                                                           GE NV-0 0005 359
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 927 of 1274 PageID #: 9233



                                                                                          ne and the
        fusion takes place, the particle membr ane is integrated into the cell membra
        content s of the particle combin e with the intracel lular fluid.
                                                                                                     alone
        [0309]    The lipid particle s of the inventio n (e.g., SN ALP) can be adminis tered either
                                                                                            saline or
        or in a mixture with a pharma ceutica lly-acce ptable carrier (e.g., physiol ogical
                                                                                     and standard
  5     phosph ate buffer) selected in accorda nce with the route of adminis tration
                                                                                      mM NaCl) will be
        pharma ceutica l practice. Genera lly, normal buffere d saline (e.g., 135-150
                                                                                             include, e.g.,
        employ ed as the pharma ceutica lly-acce ptable carrier. Other suitable carriers
                                                                                                oteins for
        water, buffered water, 0.4% saline, 0.3% glycine, and the like, includin g glycopr
                                                                                          suitable carriers
        enhanc ed stability, such as albumin , lipoprotein, globulin , etc. Additio nal
                                                                                            Mack Publish ing
  10    are describ ed in, e.g., REMIN GTON' S PHARM ACEUT ICAL SCIEN CES,
                                                                                               s any and all
        Compa ny, Philade lphia, PA, 17th ed. (1985). As used herein, "carrier " include
                                                                                                  al agents,
        solvent s, dispers ion media, vehicle s, coating s, diluents, antibac terial and antifung
                                                                                          ions, colloids, and
        isotonic and absorpt ion delayin g agents, buffers, carrier solution s, suspens
                                                                                                and
        the like. The phrase "pharm aceutic ally-acc eptable " refers to molecu lar entities
                                                                                          when adminis tered
  15    compos itions that do not produce an allergic or similar untowa rd reaction
        to a human.
         [0310]   The pharma ceutica lly-acce ptable carrier is general ly added followi ng particle
         formation. Thus, after the particle is formed, the particle can be diluted into
         pharma ceutica lly-acce ptable carriers such as normal buffere d saline.
                                                                                       can vary widely,
  20     [0311] The concen tration of particle s in the pharma ceutica l formula tions
                                                                                       much as about 10
         i.e., from less than about 0.05%, usually at or at least about 2 to 5%, to as
                                                                                        ies, etc., in
         to 90% by weight, and will be selected primari ly by fluid volume s, viscosit
                                                                                        e, the
         accorda nce with the particul ar mode of adminis tration selected . For exampl
                                                                                           nt. This may
         concen tration may be increase d to lower the fluid load associa ted with treatme
                                                                                              ive heart failure
  25     be particul arly desirab le in patients having atheros clerosis -associa ted congest
                                                                                             may be diluted
         or severe hyperte nsion. Alterna tively, particle s compos ed of irritatin g lipids
         to low concent rations to lessen inflamm ation at the site of adminis tration.
                                                                                         sterilized by
         [0312] The pharma ceutica l compos itions of the present inventio n may be
                                                                                        be package d for
         conven tional, well-kn own steriliza tion techniq ues. Aqueou s solution s can
                                                                                             tion being
   30    use or filtered under aseptic conditio ns and lyophilized, the lyophil ized prepara
                                                                                            itions can
         combin ed with a sterile aqueou s solution prior to adminis tration. The compos
                                                                                               mate
         contain pharma ceutica lly-acce ptable auxiliary substan ces as require d to approxi
                                                                                           adjustin g agents
         physiol ogical conditio ns, such as pH adjustin g and bufferin g agents, tonicity
                                                                                        , potassiu m
         and the like, for exampl e, sodium acetate, sodium lactate, sodium chloride

                                                            82




                                                                                                       JA002209
                                                                                                       GE NV-00 00536 0
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 928 of 1274 PageID #: 9234



                                                                         suspen sion may includ e lipid-
        chlori de, and calciu m chlori de. Additi onally , the partic le
                                                                         and lipid-p eroxid ative damag es on
        protec tive agents which protec t lipids agains t free-ra dical
                                                                         ocoph erol and water- solubl e iron-
        storag e. Lipop hilic free-ra dical quenc hers, such as alphat
        specif ic chelat ors, such as ferriox amine , are suitab le.

  5               A.      In vivo Admi nistra tion
                                                                                    therap eutic nuclei c acid to a
        [03131       System ic delive ry for in vivo therap y, e.g., delive ry of a
                                                                                      achiev ed using nuclei c
        distal   target cell via body system s such as the circul ation, has been
                                                                      ation Nos. WO 05/00 7196, WO
        acid-l ipid partic les such as those descri bed in PCT Public
                                                                        sures of which are herein
        05/12 1348, WO 05/12 0152, and WO 04/002 453, the disclo
                                                                           The presen t invent ion also
  10    incorp orated by refere nce in their entire ty for all purpo ses.
                                                                          nuclei c acid from nuclea se
        provid es fully encap sulate d lipid partic les that protec t the
                                                                          size, and are suitab le for repeat
         degrad ation in serum , are nonim muno genic, are small in
         dosing .
                                                                                             r known in the art,
         [0314]     For in vivo admin istrati on, admin istrati on can be in any manne
                                                                               sal or intratr acheal ), transd ermal
  15     e.g., by injecti on, oral admin istrati on, inhala tion (e.g., intran
                                                                            be accom plishe d via single or
         applic ation, or rectal admin istrati on. Admin istrati on can
                                                                           admin istered parent erally , i.e.,
         divide d doses. The pharm aceuti cal compo sition s can be
                                                                                 sly, or intram uscula rly. In some
         intraar ticular ly, intrav enous ly, intrap eriton eally, subcu taneou
                                                                             istered intrav enous ly or
         embod iment s, the pharm aceuti cal compo sition s are admin
                                                                               No. 5,286, 634). Intrac ellular
  20     intrap eriton eally by a bolus injecti on (see, e.g., U.S. Patent
                                                                                 et al., Metho ds Enzym ol.,
         nuclei c acid delive ry has also been discus sed in Straub ringer
                                                                                ); Nicol au et al., Crit. Rev. 1'her.
          101:5 12 (1983 ); Mann ino et al., Biotechniques, 6:682 (1988
                                                                                   26:27 4 (1993 ). Still other
          Drug Carrie r Syst., 6:239 (1989 ); and Behr, Acc. Chem. Res.,
                                                                                bed in, for examp le, U.S. Patent
          metho ds of admin isterin g lipid-b ased therap eutics are descri
                                                                            803; and 4,588, 578. The lipid
   25     Nos. 3,993, 754; 4,145, 410; 4,235, 871; 4,224, 179; 4,522,
                                                                              of diseas e or by injecti on at a site
          partic les can be admin istered by direct injecti on at the site
                                                                              GENE THER APY, Mary Ann
          distal from the site of diseas e (see, e.g., Culve r, HUM AN
                                                                             disclo sures of the above -
          Lieber t, Inc., Publis hers, New York. pp.70- 71(19 94)). The
                                                                           in their entire ty for all purpo ses.
          descri bed refere nces are herein incorp orated by refere nce
                                                                            alone or in combi nation with other
   30     [0315] The compo sition s of the presen t invent ion, either
                                                                            s (i.e., they can be "nebu lized" ) to
          suitab le compo nents, can be made into aeroso l formu lation
                                                                           acheal ly) (see, Brigh am et al., Am.
          be admin istered via inhala tion (e.g., intran asally or intratr




                                                                83




                                                                                                            JA002210
                                                                                                            GE NV-00005361
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 929 of 1274 PageID #: 9235



                                                                                  into pressu rized accept able
        J. Sci., 298:2 78 (1989) ). Aeros ol formu lation s can be placed
                                                                                  en, and the like.
        propel lants, such as dichlo rodiflu ororne thane, propan e, nitrog
                                                                                 sition s may be delive red by
        [0316 ] ln certai n embod iment s, the pharm aceuti cal compo
                                                                               vehicl es. Metho ds for delive ring
        intran asal sprays , inhala tion, and/or other aeroso l delive ry
                                                                                    l sprays have been descri bed,
  5     nuclei c acid compo sition s direct ly to the lungs via nasal aeroso
         e.g., in U.S. Patent Nos. 5,756, 353 and 5,804, 212.
                                                                      Likew ise, the delive ry of drugs using
                                                                                 l compo unds (U.S. Patent
         intran asal micro partic le resins and lysoph ospha tidyl-g lycero
                                                                                 Simila rly, transm ucosa l drug
         5,725, 871) are also well-k nown in the pharm aceuti cal aits.
                                                                               matrix is descri bed in U.S. Patent
         delive ry in the form of a polyte trafluo roethe ylene suppo rt
                                                                                   s are herein incorp orated by
  lO     No. 5,780, 045. The disclo sures of the above -descr ibed patent
         refere nce in their entire ty for all purpo ses.
                                                                               on, such as, for examp le, by
          [0317 ] Formu lation s suitab le for parent eral admin istrati
                                                                                    ermal, intrap eriton eal, and
          intraa rticula r (in the joints) , intrav enous , intram uscula r, intrad
                                                                                     ic sterile injecti on solutio ns,
          subcu taneou s routes , includ e aqueo us and non-aq ueous , isoton
                                                                                solute s that render the formu lation
  15      which can contai n antiox idants , buffer s, bacter iostats , and
                                                                                 us and non-a queou s sterile
          isoton ic with the blood of the intend ed recipi ent, and aqueo
                                                                                   thicke ning agents , stabili zers,
          suspen sions that can includ e suspen ding agents , solubi lizers,
                                                                                sition s are prefer ably admin istered ,
           and preser vative s. In the practi ce of this invent ion, compo
                                                                                   eriton eally, intrav esical ly, or
           for examp le, by intrav enous infusi on, orally, topica lly, intrap
  20      intrath ccally .
                                                                                      le formu lation s are
          l0318]      Gener ally, when admin istered intrav enous ly, the lipid pmtic
                                                                                aceuti cally accept able carrie rs
          formu   lated with a suitab le pharm aceuti cal carrier . Many pharm
                                                                            presen t invent ion. Suitab le
          may be emplo yed in the compo sition s and metho ds of the
                                                                              examp le, in REMI NGTO N'S
          formu lation s for use in the presen t invent ion are found, for
                                                                               any, Philad elphia , PA, 17th ed.
   25     PHAR MAC EUTI CAL SCIEN CES, Mack Publis hing Comp
                                                                                  le, water, buffer ed water, 0.4%
          (1985 ). A variet y of aqueo us carrie rs may be used, for examp
                                                                             rotein s for enhan ced stabili ty, such
          saline , 0.3% glycin e, and the like, and may includ e glycop
                                                                            buffer ed saline (135-1 50 mM NaCl)
          as album in, lipopr otein, globul in, etc. Gener ally, norma l
                                                                               , but other suitab le carrie rs will
          will be emplo yed as the pharm aceuti cally accept able carrier
                                                                                  l liposo mal sterili zation
   30      suffic e. These compo sition s can be sterili zed by conve ntiona
                                                                                n pharm aceuti cally accept able
           techni ques, such as filtration. The compo sition s may contai
                                                                                 l condit ions, such as pH
           auxili ary substa nces as requir ed to appro ximat e physio logica
                                                                                     g agents and the like, for
           adjust ing and buffer ing agents , tonici ty adjust ing agents , wettin
                                                                               potass ium chlori de, calciu m
           examp le, sodium acetat e, sodium lactate , sodium chlori de,

                                                                 84




                                                                                                               JA002211
                                                                                                              GE NV-0 0005 362
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 930 of 1274 PageID #: 9236



                                                                                                be
       chloride , sorbitan monolau rate, triethano lamine oleate, etc. These composi tions can
                                                                                                   under
       sterilized using the techniqu es referred to above or, alternati vely, they can be produced
                                                                                                   under
       sterile conditio ns. The resulting aqueous solutions may be package d for use or filtered
                                                                                                a sterile
       aseptic conditio ns and lyophiliz ed, the lyophiliz ed preparat ion being combine d with
  5    aqueous solution prior to administ ration.
       [0319]    In certain applicati ons, the lipid particles disclosed herein may be delivered via oral
                                                                                               and used
       administ ration to the individu al. The particles may be incorpor ated with excipien ts
       in the form of ingestibl e tablets, buccal tablets, troches, capsules , pills, lozenges , elixirs,
                                                                                                          Nos.
       mouthw ash, suspensi ons, oral sprays, syrups, wafers, and the like (see, e.g., U.S. Patent
                                                                                                  by
  10   5,641,51 5, 5,580,57 9, and 5,792,45 1, the disclosu res of which are herein incorpor ated
                                                                                                  the
       referenc e in their entirety for all purposes ). These oral dosage forms may also contain
                                                                                             the unit
       followin g: binders, gelatin; excipien ts, lubricant s, and/or flavoring agents. When
                                                                                                 a liquid
       dosage form is a capsule, it may contain, in addition to the material s describe d above,
                                                                                            the
       carrier. Various other material s may be present as coatings or to otherwis e modify
                                                                                              dosage
  15   physical form of the dosage unit. Of course, any material used in preparin g any unit
                                                                                                           d.
       form should be pharmac eutically pure and substant ially non-toxi c in the amounts employe
       (03201 Typicall y, these oral formulat ions may contain at least about 0.1 % of
                                                                                       the lipid
                                                                                              and may
       particles or more, although the percenta ge of the particles may, of course, be varied
                                                                                                  or
       convenie ntly be between about 1% or 2% and about 60% or 70% or more of the weight
                                                                                               tically
  20    volume of the total formulat ion. Naturall y, the amount of particles in each therapeu
                                                                                                      in
        useful composi tion may be prepared is such a way that a suitable dosage will be obtained
                                                                                                           al
        any given unit dose of the compoun d. Factors such as solubilit y, bioavaila bility, biologic
        half-life, route of administ ration, product shelf life, as well as other pharmac ological
        consider ations will be contemp lated by one skilled in the art of preparin g such
                                                                                                 may
  25    pharmac eutical formulat ions, and as such, a variety of dosages and treatmen t regimens
        be desirable .
        [0321]   Formula tions suitable for oral administ ration can consist of: (a) liquid solutions ,
        such as an effective amount of a package d therapeu tic agent such as nucleic acid (e.g.,
                                                                                                  ,
        interferi ng RNA) suspend ed in diluents such as water, saline, or PEG 400; (b) capsules
                                                                                              such as
  30    sachets, or tablets, each containi ng a predeter mined amount of a therapeu tic agent
                                                                                                       ons in
        nucleic acid (e.g., interferin g RNA), as liquids, solids, granules , or gelatin; (c) suspensi
                                                                                                  more of
        an appropri ate liquid; and (d) suitable emulsion s. Tablet forms can include one or
        lactose, sucrose, mannito l, sorbitol, calcium phospha tes, corn starch, potato starch,
                                                                                                     stearic
        microcry stalline cellulose , gelatin, colloidal silicon dioxide, talc, magnesi um stearate,

                                                           85




                                                                                                        JA002212
                                                                                                       GE NV-00 00536 3
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 931 of 1274 PageID #: 9237



                                                                            ts, buffer ing agents, moiste ning
        acid, and other excipi cnts, colora nts, fillers, binders, diluen
                                                                             agents , and pharm aceuti cally
        agents , preser vative s, flavor ing agents , dyes, disinte gratin g
                                                                            eutic agent such as nuclei c acid
        compa tible carriers. Lozen ge forms can compr ise a therap
        (e.g., interfe ring RNA) in a flavor, e.g., sucros e, as well
                                                                         as pastill es compr ising the
                                                                              in or sucros e and acacia
  5     therap eutic agent in an inert base, such as gelatin and glycer
                                                                            therap eutic agent, carrier s known
        emuls ions, gels, and the like contai ning, in additio n to the
        in the art.
                                                                                      orated into a broad
        [0322]      ln anothe r examp le of their use, lipid partic les can be incorp
                                                                                 ning nuclei c acid-li pid
        range   of topica l dosag e forms . For instan ce, a suspen sion contai
                                                                             as gels, oils, emuls ions, topical
  10    partic les such as SNAL P can be formu lated and admin istered
                                                                          like.
        cream s, pastes, ointm ents, lotions, foams , mouss es, and the
        [0323 ] When prepar ing pharm aceuti cal prepar ations of
                                                                        the lipid partic les of the invention,
                                                                          been purifie d to reduce or
        it is prefer able to use quanti ties of the particl es which have
                                                                            such as nuclei c acid associ ated
        elimin ate empty partic les or partic les with therap eutic agents
  15     with the extern al surfac e.
                                                                                     a variet y of hosts.
         [0324]    The metho ds of the presen t invent ion may be practi ced in
                                                                          tes (e.g., human s and chimp anzee s
         Prefor red hosts includ e mamm alian species, such as prima
                                                                              s, bovine s, ovines , caprin es,
         as well as other nonhu man prima tes), canine s, felines, equine
         rodent s (e.g., rats and mice), lagom orphs, and swine .
         [0325] The amoun t of partic les admin istered will depen
                                                                          d upon the ratio of therap eutic
  20
                                                                            agent (e.g., nuclei c acid) used, the
         agent (e.g., nuclei c acid) to lipid, the partic ular therap eutic
                                                                             ion of the patient, and the
         diseas e or disord er being treated , the age, weight, and condit
                                                                                 0.01 and about 50 mg per
         judgm ent of the clinici an, but will genera lly be betwe en about
                                                                             about 5 mg/kg of body weigh t, or
         kilogr am of body weigh t, prefer ably betwe en about 0.1 and
          about 10 -10 particl es per admin istrati on (e.g., injection).
                   8     10
   25

                   B.      In vitro Admi nistra tion
                                                                                       such as nucleic acids
          [0326]     For in vitro applic ations , the delive ry of therap eutic agents
          (e.g., interfe ring RNA) can be to any cell grown in cultur
                                                                           e, wheth er of plant or anima l origin,
                                                                                red embod iment s, the cells are
          verteb rate or invert ebrate , and of any tissue or type. In prefer
                                                                                  ably human cells.
   30     anima l cells, more prefer ably mamm alian cells, and most prefer
                                                                                         d out in vitro, takes
          [0327]     Conta ct betwe en the cells and the lipid particl es, when carrie
                                                                            n of partic les varies widely
          place in a biolog ically compa tible mediu m. The conce ntratio
                                                                              en about 1 µmol and about 10
          depen ding on the partic ular applic ation, but is genera lly betwe


                                                              86




                                                                                                          JA002213
                                                                                                         GE NV-0 0005 364
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 932 of 1274 PageID #: 9238



                                                                              carried out at physio logical
        mmol. Treatm ent of the cells with the lipid particl es is genera lly
                                                                              48 hours, prefera bly of from
        temper atures (about 37°C) for period s of time of from about l to
        about 2 to 4 hours.
                                                                                                 is added to 60-
        [0328]     In one group of preferr ed embod iments , a lipid particl e suspen sion
                                                                                  3                5
                                                                                     to about l 0 cells/m l, more
  5     80% conflu ent plated cells having a cell density of from about 10
                                                                                    sion added to the cells is
        prefera bly about 2 x 10 cells/m l. The concen tration of the suspen
                                  4


                                                                                     0.1 Fglml.
        prefera bly of from about 0.01 to 0.2 µg/ml, more prefera bly about
        [03291 Using an Endoso mal Releas e Param eter (ERP) assay,
                                                                               the deliver y eJTiciency of the
                                                                                    An ERP assay is describ ed
        SNAL P or other lipid particl e of the inventi on can be optimi zed.
                                                                                  ure of which is herein
  10    in detail in U.S. Patent Public ation No. 200300 77829, the disclos
                                                                                          larly, the purpos e of an
        incorp orated by referen ce in its entiret y for all purpos es. More particu
                                                                                       helper lipid compo nents
        ERP assay is to disting uish the effect of variou s cationi c lipids and
                                                                                        with/d estabil ization of
        of SN ALP based on their relativ e effect on bindin g/uptak e or fusion
                                                                                          atively how each
        the endoso rnal membr ane. This assay allows one to determ ine quantit
                                                                                  efficie ncy, thereb y
  15     compo nent of the SN ALP or other lipid particl e affects deliver y
                                                                                          measu res expres sion of
         optimi zing the SNAL P or other lipid particle. Usuall y, an ERP assay
                                                                                  cent protein (GFP), etc.), and
         a reporte r protein (e.g., lucifer ase, ~-galac tosidas e, green fluores
                                                                                    sion plasmi d will also be
         in some instanc es, a SNAL P formul ation optimi zed for an expres
                                                                                      es, an ERP assay can be
         approp riate for encaps ulating an interfe ring RNA. In other instanc
                                                                                      of a target sequen ce in the
  20     adapte d to measu re downr egulati on of transcr iption or transla tion
                                                                                         ring the ERPs for each
         presen ce or absenc e ofan interfe ring RNA (e.g., siRNA ). By compa
                                                                                         ine the optimi zed
          of the variou s SNAL P or other lipid particl es, one can readily determ
                                                                                      t uptake in the cell.
          system , e.g., the SNAL P or other lipid particl e that has the greates

                   C.     Cells for Delive ry of Lipid Partic les
                                                                                          to treat a wide
   25     [0330]   The compo sitions and method s of the presen t inventi on are used
          variety of cell types, in vivo and in vitro. Suitab le cells include,
                                                                                e.g., hemato poietic precur sor
                                                                                         skeleta l and smooth
          (stem) cells, fibrobl asts, keratin ocytes , hepato cytes, endoth elial cells,
                                                                                    ally differe ntiated cells,
          muscle cells, osteob lasts, neuron s, quiesc ent lympho cytes, termin
                                                                                         epithel ial cells, bone
          slow or noncyc ling primar y cells, parenc hymal cells, lympho id cells,
                                                                                   therape utic agent such as an
   30     cells, and the like. In preferr ed embod iments , an active agent or
                                                                                      e.g., lung cancer cells,
           interfe ring RNA (e.g., siRNA ) is deliver ed to cancer cells such as,
                                                                                    cancer cells, small intestine
           colon cancer cells, rectal cancer cells, anal cancer cells, bile duct
                                                                                        gallbla dder cancer cells,
           cancer cells, stomac h (gastri c) cancer cells, esopha geal cancer cells,


                                                              87




                                                                                                           JA002214
                                                                                                          GE NV-0 0005 365
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 933 of 1274 PageID #: 9239



                                                                               breast cancer cells, ovarian
        liver cancer cells, pancre atic cancer cells, append ix cancer cells,
                                                                                   cells, cancer cells of the
        cancer cells, cervica l cancer cells, prostat e cancer cells, renal cancer
                                                                                  lymph oma cells,
        central nervou s systern, gliobla stoma tumor cells, skin cancer cells,
                                                                                   sarcom a tumor cells,
        chorio carcino ma tumor cells, head and neck cancer cells, osteog enic
  5     and blood cancer cells.
                                                                                                 interfe ring RN A
        [0331]    In vivo deliver y of lipid particl es such as SN ALP encaps ulating an
                                                                                          s and compo sitions can
        (e.g., siRNA ) is suited for targeti ng cells of any cell type. The method
                                                                                    mamm als, such as, e.g,
        be employ ed with cells of a wide variety of vertebr ates, includi ng
                                                                                    mice, rats, and guinea pigs),
        canine s, felines , equine s, bovine s, ovines , caprine s, rodent s (e.g.,
                                                                                      human s).
  10    lagomo rphs, swine, and primat es (e.g. monke ys, chimpa nzees, and
        [0332] To the extent that tissue culture of cells may be require
                                                                                  d, it is well-k nown in the art.
                                                                                        Techni que, 3rd Ed.,
        For examp le, Freshn ey, Cultur e of Anima l Cells, a Manua l of Basic
                                                                                    ds in Cell Cultur e and
         Wiley- Liss, New York (1994) , Kuchle r et al., Bioche mical Metho
                                                                                          ces cited therein
         Virolo gy, Dowde n, Hutchi nson and Ross, Inc. (1977), and the referen
                                                                                       s often will be in the form
  15     provid e a genera l guide to the culture of cells. Cultur ed cell system
         of monol ayers of cells, althoug h cell suspen sions are also used.

                   D.    Detect ion of Lipid Partic les
                                                                                            (e.g., SNAL P) are
         [0333]    In some embod iments , the lipid particl es of the presen t inventi on
                                                                                     In other embod iments ,
         detecta ble in the subjec t at about 1, 2, 3, 4, 5, 6, 7, 8 or more hours.
                                                                                    ble in the subjec t at about
  20     the lipid paiticl es of the presen t inventi on (e.g., SNAL P) are detecta
         8, 12, 24, 48, 60, 72, or 96 hours, or about 6, 8, 10, 12, 14, 16, l
                                                                                8, 19, 22, 24, 25, or 28 days
                                                                                    can be detecte d in the cells,
         after admini stratio n of the particl es. The presen ce of the particl es
                                                                                 es may be detecte d, e.g., by
         tissues , or other biolog ical sample s from the subject. The particl
                                                                                    acid such as an interfe ring
         direct detecti on of the particl es, detecti on of a therape utic nucleic
                                                                                   interes t (i.e., by detecti ng
   25    RNA (e.g., siRNA ) sequen ce, detecti on of the target sequen ce of
                                                                                   a combin ation thereof .
          expres sion or reduce d expres sion of the sequen ce of interest), or

                           1.      Detect ion of Partic les
                                                                                                  any method
          [0334]    Lipid particl es of the inventi on such as SNAL P can be detecte d using
                                                                                  indirec tly to a compo nent
          known in the art. For examp le, a label can be couple d directl y or
                                                                                  variety of labels can be
   30     of the lipid particl e using method s well-k nown in the art. A wide
                                                                                 ease of conjug ation with the
          used, with the choice of label depend ing on sensiti vity require d,
                                                                                       entatio n and dispos al
          lipid particl e compo nent, stabilit y require ments, and availab le instrum


                                                              88




                                                                                                          JA002215
                                                                                                         GE NV-0 0005 366
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 934 of 1274 PageID #: 9240



                                                                                l labels such as fluores cent
        provisi ons. Suitab le labels include , but are not limited to, spectra
                                                                                 cyanat e (FITC) and Oregon
        dyes (e.g., tluores cein and derivat ives, such as fluores cein isothio
                                                                                  e isothio cynate (TRITC ),
        GreenTM; rhodam ine and derivat ives such Texas red, tetrarh odimin
                                                                                the like; radiola bels such as
        etc., digoxi genin, biotin, phycoc rythrin , AMCA , CyDye s™, and
        3
          H, 1, S, C, P, P, etc.; enzym es such as horse radish
             125  35   14  32   33                                         peroxi dase, alkalin e
  5
                                                                                    or colore d glass or
        phosph atase, etc.; spectra l colorim etric labels such as colloid al gold
                                                                                 label can be detecte d using
        plastic beads such as polysty rene, polypr opylen e, latex, etc. The
        any means known in the art.

                         2.      Detect ion of Nuclei c Acids
                                                                                       herein by any of a
  10    [0335]   Nuclei c acids (e.g., interfe ring RNA) are detecte d and quantif ied
                                                                               on of nucleic acids may
        numbe r of means well-k nown to those of skill in the arl. The detecti
                                                                                  rn analysi s, gel
        procee d by well-k nown metho ds such as Southe rn analys is, Northe
                                                                                       chroma tograp hy.
        electro phores is, PCR, radiola beling, scintill ation countin g, and affinity
                                                                                etry, radiog raphy,
         Additi onal analyti c bioche mical method s such as spectro photom
                                                                                   chrom atogra phy (HPLC ),
  15     electro phores is, capilla ry electro phores is, high perform ance liquid
                                                                                  phy may also be
         thin layer chrom atogra phy (TLC) , and hyperd iffusio n chrom atogra
         employ ed.
                                                                                         . A variety of
         [0336]   The selecti on of a nucleic acid hybrid ization format is not critical
                                                                            the art. For examp le,
         nucleic acid hybrid ization format s are known to those skilled in
                                                                                   ement assays.
  20     comm on format s include sandw ich assays and compe tition or displac
                                                                               ic Acid Hybrid ization , A
         Hybrid ization techniq ues are genera lly describ ed in, e.g., "Nucle
                                                                                .
         Practic al Appro ach," Eds. Hames and Higgin s, IRL Press (1985)
                                                                                   ed throug h use of a
         [0337] The sensiti vity of the hybrid ization assays may be enhanc
                                                                                      acid being detecte d. In
         nucleic acid amplif ication system which multip lies the target nucleic
                                                                                     use as molecu lar probes
   25    vitro amplif ication techniq ues suitabl e for amplif ying sequen ces for
                                                                                    are known . Examp les of
         or for genera ting nucleic acid fragme nts for subseq uent subclo ning
                                                                                    amplif ication method s,
         techniq ues suffici ent to direct person s of skill throug h such in vitro
                                                                                       n (T JCR), Q~-rep licase
         includ ing the polym erase chain reactio n (PCR) the ligase chain reactio
                                                                                      NASBATM) are found in
         amplif ication and other RNA polym erase mediat ed techniq ues (e.g.,
                                                                                   Spring Harbor
   30     Sambr ook et al., In Molecu lar Cloning: A Labora tory Manua l, Cold
                                                                               JN MOLECULAR BIOLOGY,
          Labora tory Press (2000) ; and Ausub el et al., SHORT PROTOCOLS
                                                                              John Wiley & Sons, Inc.
          eds., Curren t Protoc ols, Greene Publish ing Associ ates, Inc. and
                                                                              Guide to Metho ds and
          (2002) ; as well as U.S. Patent No. 4,683,2 02; PCR Protoc ols, A


                                                             89




                                                                                                        JA002216
                                                                                                       GE NV-0 0005 367
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 935 of 1274 PageID #: 9241



                                                                             , CA (1990 ); Arnhe im &
        Appli cation s (Innis et al. eds.) Acade mic Press Inc. San Diego
                                                                           Resea rch, 3:81 (] 991 ); Kwoh et
        Levin son (Octo ber 1, 1990), C&EN 36; The Journ al Of NIH
                                                                       et al., Proc. Natl. A cad. Sci. USA,
        al., Proc. Natl. Acad. Sci. USA, 86: 1173 (1989) ; Guate lli
                                                                           ); Landc gren et al., Scienc e,
        87: 1874 (1990 ); Lomel i et al., J Clin. Chem. , 35:182 6 (1989
                                                                        ; Wu and Walla ce, Gene, 4:560
  5     241: 1077 (1988 ); Van Brunt, Biotec hnolo gy, 8:291 (1990)
                                                                              and Malek , Biotec hnolog y,
        ( 1989); Barrin ger et al., Gene, 89: 11 7 ( 1990); and Sookn anan
                                                                           ied nuclei c acids are descri bed in
        13:563 (1995 ). Impro ved metho ds ofclon ing in vitro amplif
                                                                       art are the nuclei c acid sequen ce
        lJ.S. Pat. No. 5,426, 039. Other metho ds descri bed in the
                                                                               io) and Ql3-replicase system s.
        based amplif ication (NASBATM, Cange ne, Missis sauga, Ontar
                                                                              the PCR or LCR prime rs are
  10    These system s can be used to direct ly identif y mutan ts where
                                                                          nce is presen t. Altern atively , the
         design ed to be extend ed or ligated only when a select seque
                                                                            le, nonsp ecific PCR prime rs and
         select seque nces can be genera lly amplif ied using, for examp
                                                                          nce indica tive of a mutati on. The
         the amplif ied target region later probe d for a specif ic seque
                                                                                orated by refere nce in their
         disclo sures of the above -descr ibed refere nces are herein incorp
  15     entire ty for all purpo ses.
                                                                                      n metho ds, for use as
         [0338]    Nucle ic acids for use as probes , e.g., in in vitro ampli ficatio
                                                                           sized chemi cally accord ing to the
         gene probes , or as inhibi tor compo nents are typica lly synthe
                                                                         Beauc age et al., Tetrah edron
         solid phase phosp horam idite tricste r metho d descri bed by
                                                                           sizer, as descri bed in Needh am
         Letts., 22: 1859 1862 (1981 ), e.g., using an autom ated synthe
                                                                         Purifi cation ofploy nucleo tides,
  20     VanD evante r et al., Nucle ic Acids Res., 12:615 9 (1984).
                                                                               mide gel electro phores is or by
         where necess ary, is typica lly perfor med by either native acryla
                                                                               ., 255: 137 149 (1983) . The
         anion excha nge HPLC as descri bed in Pearso n et al., J. Chrom
                                                                         using the chemi cal degrad ation
         seque nce of the synthe tic poluy ucleot ides can be verifie d
                                                                              ve (eds.) Acade mic Press, New
          metho d of Maxa m and Gilber t ( 1980) in Gross man and Molda
   25     York, Metho ds in Enzym ology, 65:499 .
          [0339] An altern ative means for determ ining the level
                                                                         of transc ription is in situ
                                                                             and are genera lly descri bed in
          hybrid ization . In situ hybrid izatio n assays are well-k nown
                                                                          in situ hybrid ization assay, cells are
          Anger er et al., Metho ds Enzym ol., 152:64 9 (1987 ). In an
                                                                           to be probed , the cells are
          fixed to a solid suppo rt, typica lly a glass slide. If DNA is
                                                                             with a hybrid ization solutio n at a
   30     denatu red with heat or alkali. The cells are then contac ted
                                                                               that are labele d. The probes are
           moder ate tempe rature to permi t annea ling of specif ic probes
                                                                            ers.
           prefer ably labele d with radioi sotope s or fluore scent report




                                                             90




                                                                                                        JA002217
                                                                                                       GE NV-0 0005 368
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 936 of 1274 PageID #: 9242



       VIII.      Exampl es

       [0340]   The present invention will be describe d in greater detail by way of specific
                                                                                                intended
       example s. The followin g example s are offered for illustrati ve purposes , and are not
                                                                                                a variety
       to limit the inventio n in any manner. Those of skill in the art will readily recogniz e
                                                                                                same
  5    of noncritic al paramete rs which can be changed or modified to yield essential ly the
       results.

       Exampl e 1.      Materia ls and Method s.
       [0341]   siRNA: All siRNA molecule s used in these studies were chemica lly synthesi zed by
       the Universi ty of Calgary (Calgary , AB) or Dharmac on Inc. (Lafayet te, CO). The siRNAs
 10    were desalted and annealed using standard procedur es.
                                                                                     were
       [0342] Lipid Encapsu lation <~f siRNA: In some embodim ents, siRNA molecule s
                                                                                                  lipid
       encapsu lated into nucleic acid-lipi d particles compose d of the followin g lipids: the
       conjugat e PEG-cD MA (3-N-[(- Methoxy poly(eth ylene glyco1)2 000)carb amoyl]-l ,2-
                                                                                                  -
       dimyrist yloxypro pylamin e); the cationic lipid DLinDM A (l,2-Dili noleylox y-3-(N,N
  15   dimethy l)aminop ropane); the phospho lipid DPPC (l,2-Dip almitoyl -sn-glyc ero-3-
       phospho choline; Avanti Polar Lipids; Alabaste r, AL); and synthetic choleste rol (Sigma-
                                                                                                other
       Aldrich Corp.; St. Louis, MO) in the molar ratio 1.4:57. l :7.1 :34.3, respectiv ely. In
                                                                                            1.4%
       words, siRNAs were encapsul ated into SNALP of the followin g "l :57'' formulat ion:
                                                                                               ents,
       PEG-cD MA; 57.1 % DLinDM A; 7.1 % DPPC; and 34.3% choleste rol. In other embodim
  20    siRNA molecule s were encapsul ated into phospho lipid-fre e SNALP compose d of the
                                                                                            synthetic
        followin g lipids: the lipid conjugat e PEG-cD MA; the cationic lipid DLinDM A; and
        choleste rol in the molar ratio 1.5:61.5: 36.9, respectiv ely. In other words, siRNAs were
                                                                                              1.5%
        encapsu lated into phospho lipid-fre e SNALP of the followin g "I :62" formulat ion:
        PEG-cD MA; 61.5% DLinDM A; and 36.9% cholester ol. For vehicle controls, empty
                                                                                                should be
  25    particles with identical lipid composi tion were formed in the absence of siRNA. It
                                                                                                and that
        understo od that the l :57 formulat ion and 1:62 formulat ion are target formulat ions,
                                                                                               conjugat e
        the amount of lipid (both cationic and non-cati onic) present and the amount of lipid
                                                                                                of
        present in the formulat ion may vary. Typicall y, in the 1:57 formulat ion, the amount
                                                                                             1.5 mo!
        cationic lipid will be 57 mo!%± 5 mo! %, and the amounl of lipid conjugat e will be
                                                                                            onic lipid
  30    % ± 0.5 mol %, with the balance of the l :57 formulat ion being made up of non-cati
        (e.g., phospho lipid, choleste rol, or a mixture of the two). Similarly , in the
                                                                                         1:62 formulation,
                                                                                                          e
        the amount of cationic lipid will be 62 mo!%± 5 mol %, and the amount oflipid conjugat




                                                         91




                                                                                                      JA002218
                                                                                                      GE NV-00 00536 9
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 937 of 1274 PageID #: 9243



                                                                                               ation being made up of
        will be 1.5 mol % ± 0.5 mol %, with the balanc e of the 1:62 formul
        the non-ca tionic lipid (e.g., cholesterol).
                                                                                                                 of Cell
        Examp le 2.        Eg5 siRNA Formu lated as 1 :57 SN ALP Are Poten t Inhibi tors
        Growt h in vitro.
                                                                                       as the nucleic
   5    [0343]    SNAL P formul ations were prepar ed with an siRNA targeti ng Eg5
                                                                             are involv ed in functions
        acid compo nent. Eg5 is a membe r ofkine sin-rel ated protein s that
                                                                             s along microt ubules .
        related to movem ents of organe lles, microt ubules , or chrom osome
                                                                                nuclea r fusion or
        These functio ns include axonal transpo rt, microt ubule sliding during
                                                                                  . Eg5 plays a critical
        division, and chrom osome disjunc tion during meiosi s and early mitosis
                                                                            study is provid ed in Table l.
  10    role in mitosis of mamm alian cells. The Eg5 siRNA used in this
                                                                            d positio ns in the sense and
        The modifi cations involved introdu cing 2'OMe -uridin e at selecte
                                                                            siRNA duplex contain ed
        antisen se strands of the Eg5 2263 siRNA sequen ce, in which the
         less than about 20% 2'OMe -modif ied nucleotides.
                                                                                                polynu cleotid es.
        Table 1. siRNA duplex compr ising sense and antisen se Eg5 RNA

                                                                                             %2'0M c-           % Modifie d in
          Modific ation                   Eg5 2263 siRNA sequenc e
                                                                                             Modifie d           OS Region

                                                                      CAAUdT   dT·· 3'        6/42 = 14.3%         6/38 = 15.8%
               1.J/U                  5' -CUGAA
                                            --~
                                                   GACCU  - GAAGA         -
                               3'-dTdT GACQU CQGGA CQUCU GUUA-                5'
                                                      .-                                2: 2'0Me-m od1fied nucleoti des are
  15     Column !: "U/U" = 2'0Me-u ridine 111od1hcd s1RNA duplex; Column
                                                                                  vely  or addition ally compris e 2'-deox y-2'-
         indicate d in bold and underlin ed. The siRNA duplex can alternati
                                             y  nucleoti des,  2'-0-(2- mcthox yethyl)  (MOE) nucleoti des, and/or locked
         fluoro (2'F) nucleoti des, 2'-dcox
                                                                                     3: The  number and percenta ge of2'0M e-
         nucleic acid (LNA) nucleoti des. "dT" - deoxyth ymidine . Column
                                       siRNA     duplex  are  provided  . Column  4:  The  number    and percenta ge of modifie d
         modifie d nucleoti des in the
                                                                             duplex   are provided .
  20     nucleoti des in the double- stranded (DS) region of the siRNA
                                                                                        formul ations are
         [0344]    The lipid compo nents and physic al charac teristic s of the SN ALP
                                                                               of mg total lipid per mg
         summa rized in Table 2. The lipid:d rug ratio is describ ed in units
                                                                                 on a Malve rn Instrum ents
         nucleic acid. Mean particl e size and polydi spersit y were measu red
                                                                                    een assay essenti ally as
         Zetasiz er. Encaps ulation of nucleic acid was measu red using a Ribogr
                                                                                    (2005).
   25    describ ed in Heyes et al., Journa l of Contro lled Releas e, 107:27 6-287




   30

                                                                      92




                                                                                                                         JA002219
                                                                                                                         GENV-00005370
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 938 of 1274 PageID #: 9244



        Table 2. Charact eristics of the SNALP formula tions used in this study.
                                                                                             Finished Product Characteri zation
           Sample          Formulatio n Compositl on, Mole%             Lipid/Drug
                                                                           Ratio     Size (nm)         Polydisper sity   % Encapsula tion
            No.      PEG( 2000)-C-DM A I DLinDMA I DPPC I Cholesterol
                                                                                        57                  0.07                  90
                                      21401101 48                          12.4
             1
                                                                           14.0         72                  0.12                  89
             2                    1.8 136.4118.2 143.6
                                                                           16.5         70                  0.12                  92
             3
                                   1.4 I 27.0 16.8 I 64.9
                                                                           18.1         76                  0.07                  93
             4                    1.3 I 25.3 112.7 I 60.8
                                                                           13.5         53                  0.27                  86
             5                     3.9 I 39.2 I 9.8 I 47.1
                                                                           15.1         58                  0.18                  87
             6
                                   3.61 35.7117.91 42.9
                                                                           17.6         56                  0.17                  92
              7                    2.7126.7 16.7164.0
                                                                           19.2         61                  0.13                  92
              8                    2.5 I 25.0 I 12.5160.0
                                                                           17.8          84                  0.10                 88
                                   1.4157.117 .1134.3
              9
                                                                           19.5          83                  0.'10                89
             10                    1.3 I 53.3 113.3 I32.0
                                                                           22.0          80                  0.10                 93
                                    1.1142.615 .3151.1
             11
                                                                           23.6          78                  0.1·1                88
             12                    1.0 140.4110.1 148.5
                                                                            19.0         62                  0.14                 80
             13                     2 8 156.3 I 7.0 I 33.8
                                                                            20.6         66                  014                  82
                                   2.6 152.6 113.2 131.6
             14
                                                                            23.1         71                  0.16                 91
                                    2.1 I 42 1 I 5.3 I 50.5
              15
                                                                            24.7         67                  0.14                 92
                                       2 140 110 148
              16



                                                                                              is in
         [0345]  Silencin g of Eg5 by siRNA transfec tion causes mitotic arrest and apoptos
                                                                                       ing an siRNA
   5     mamma lian cells. Cell viabilit y followi ng transfoc tion with SNALP contain
                                                                                                tion
         targetin g Eg5 therefo re provide s a simple biologic al readout of in vitro transfec
                                                                                                 rcial reagent
         efficien cy. Cell viabilit y of in vitro cell cultures was assesse d using the comme
                                                                                                  by
         CellTiter-Blue® (Prome ga Corp.; Madiso n, WI), a resazur in dye that is reduced
                                                                                            colon cancer cell
         metabo lically active cells to the flourog enic product resorufi n. The human
                                                                                            after SNALP
  10      line I-IT29 was cultured using standar d tissue culture techniq ues. 72 hours
                                                                                          the metabo lic
          applica tion, Cel!Titer-Blue® reagent was added to the culture to quantify
                                                                                          ed as a percent of
          activity of the cells, which is a measur e of cell viability. Data are present
                                                                                            buffere d saline
          cell viability relative to ("untre ated") control cells that receive d phosph ate
         (PBS) vehicle only.
                                                                                               siRNA
   15    [0346] Figure 1 shows that the 1:57 SN ALP formula tion contain ing Eg5 2263 U/U
                                                                                 concent rations tested
         was among the most potent inhibito rs of tumor cell growth at all siRNA
         (see, Figure l B, Sample 9).
                                                                                                                                            y
          Examp le 3.           ApoB siRNA Formu lated as 1:57 SNALP Have Potent Silenci ng Activit
          in vivo.
                                                                                               B
   20     [0347]  SNALP formula tions were prepare d with an siRNA targetin g apolipo protein
                                                                                  of chylom icrons
          (ApoB) as the nucleic acid compon ent. ApoB is the main apolipo protein
          and low density lipopro teins (LDL). Mutatio ns in ApoB are associa ted with


                                                                             93




                                                                                                                                       JA002220
                                                                                                                                       GENV-00005371
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 939 of 1274 PageID #: 9245



                                                                                 ApoB4 8 and ApoB 100,
       hyperc holeste rolemi a. ApoB occurs in the plasma in 2 main forms,
                                                                              to an organ- specifi c stop
       which arc synthe sized in the intestin e and liver, respect ively, due
                                                                          3. The modifi cations
       codon. The ApoB siRNA used in this study is provid ed in Table
                                                                              d positio ns in the sense
       involv ed introdu cing 2'OMe -uridin e or 2'OMe -guano sine at selecte
                                                                           siRNA duplex contain ed
  5    and antisen se strands of the ApoB siRNA sequen ce, in which the
       less than about 20% 2'OMe -modif ied nucleo tides.
                                                                                                    polynu cleotid es.
       Table 3. siRNA duplex compr ising sense and antisen se ApoB RNA
                                                                                                                                        -




                                                  ApoB siRNA sequenc e                           %2'0M e-              /4, Modifie d in
                                                                                                                       0

       Position    Modific ation                                                                                          DS Region
                                                                                                 Modifie d

                                             5'-AGU GUCAU CACAC-UGAAU ACC-3'                     7/42 == 16.7%             7/38 = 18.4'¾,
         10048       U2/2 Gl/2                        -
                                         3 ' - GutrCACAGUAGU<:;U<:;ACQUAU - 5'
                                                               ..           5' base of the sense strand relative to the mouse
       Column l: The number reters to the nucleoti de position of the
                                                                   numbers    refer to the distribu tion of2'OM e chemica l
       ApoB mRNA sequenc e XM __ 137955. Column 2: The
                                      Column    3: 2'OMe-    modifie  d nucleoti des are indicate d in bold and underlin ed. The
  10   modific ations in each strand.
                                                                   e 2'-dcox   y-2'-flu oro (2'F) nucleoti des, 2'-deox y
       siRNA duplex can alternati vely or addition ally compris
                                      ethyl)  (MOE)   nucleoti  des, and/or  locked   nucleic acid (LNA) nucleoti des. Column 4:
       nucleoti des, 2'-O-(2- methoxy
                                                                     des in the  siRNA    duplex  are provided . Column 5: The
       The number and percenta ge of 2'OMe- modific d nucleoti
                              ge of modifie d nucleoti des in the double-  stranded   (DS)  region of the siRNA duplex are
       number and percenta
  15   provide d.

                                                                                             are
        [0348]    The lipid compo nents and physic al charac teristic s of the formul ations
                                                                              of mg total lipid per mg
        summa rized in Table 4. The lipid:d rug ratio is describ ed in units
                                                                                on a Malve rn Instrum ents
        nucleic acid. Mean particl e size and polydi spersit y were measu red
                                                                                   een assay essenti ally as
        Zetasiz er. Encaps ulation of nucleic acid was measu red using a Ribogr
                                                                                                        (2005) .
  20     describ ed in Heyes et al., Journa l of Contro lled Releas e, 107:27 6-287
                                                                                                 study.
         Table 4. Charac teristic s of the SNAL P formul ations used in this
                                                                                              Finished P1·oduct Characte rization
                              Formulat ion Composit ion                Lipid/Dru g
         Group                 Lipid Name & Mole %                        Ratio      Size (nm)       Polydispe rsity       % Encapsulation

                  PEG(2000 )-C-DMA I DLinDMA I DPPC I Cholester ol          12.4        59                0.15                    93
             2
                  2 I 40 I 10 I 48
        -·
                  PEG(2000 )-C-DMA I DLinDMA I Cholester ol                 10.7        55                0.17                    91
             3
                  2.2144.41 53.3
                  PEG(2000 )-C-DMA I DLinDMA I DOPC I Cholester ol          12.5        59                0.16                    92
             4
                  2 i 40 I 10 I 48
                  PEG(2000 )-C-DMA i DI .inDMA I DMPC I Cholester ol        12.2        56                0 11                    92
             5
                  2140110 148
                  PEG(2000 )-C-DMA I DLinDMA I DPPE I Cholester ol          l 3.8       66                0.16                    93
             6
                  1.8136.41 18.2143.6
                  PEG(2000 )-C-DMA I DLinDMA I DPPC I Cholestan ol          12.4        56                0.12                    92
             7
                  2 I 40 I IO I 48
                  PEG(2000 )-C-DMA I DLinDMA I DPPC I Cholester ol          l 6.5       60                0.10                    93
             8
                  1.412701 6.8164.9
                  PEG(2000 )-C-DMA I DLinDMA I DPPC i Cholester ol          i 8.1        74                0.13                   92
             9
                  1.3125.3 [ 12.7 I 60.8                                                                          -


                  PEG(2000 )-C-DMA I DLinDMA I DPPC I Cholester ol          19.2         60                0.13                   93
             10
                  2.5125.0 I 12.5160 0
                  PEG(2000 )-C-DMA I DLinDMA I DPPC I Cholester ol          17.8         79                0.09                   94
             11
                   1.4 l 57.1 17_:'I.J 34 3



                                                                       94




                                                                                                                                 JA002221
                                                                                                                                GENV-00005372
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 940 of 1274 PageID #: 9246



                   PEG(20 00)-C-D MA i DLinDM A I DPPC I Choleste
        ~~-.--
                                                                    rol               72             0.11               93
                                                                          23.6
          12
                   10140.4 110.1 \48.5
                                                                                                                        87
                   PEG(20 00)-C-D MA I DLinDM A I DPPC                    8.7         73             0.09
          13
                   2 [ 70 I 28
                                                                                                                        87
                   PEG(20 00)-C-D MA I DLinDM A I DPPC                    11.3        65              0.11
          14
                   l.6 [ 54.7 [ 43.8


                                                                                  ed from Harla n Labs. After
         [0349 ]   BALB /c mice (foma le, at least 4 week s old) were obtain
                                                                       admin istere d SN ALP by intrav enous
         an acclim ation period (of at least 7 days) , anima ls were
                                                                        Day O (l dose total per anima l).
         (IV) inject ion in the latera l tail vein once daily on Study
                                                                   weigh t, corre spond ing to 10 ml/kg
  5      Dosa ge was 1 mg encap sulate d siRN A per kg body
                                                                   l, one group of anima ls was given an 1V
         (roun ded to the neare st 10 Fl). As a negat ive contro
                                                                      On Study Day 2, anima ls were
         inject ion of phosp hate buffe red saline (PBS ) vehic le.
         eutha nized and liver tissue was collec ted in RNAl ater.
                                                                     A levels norm alized again st
          [0350 ] Liver tissue s were analy zed for ApoB mRN
                                                                       mRN A levels using the Quan tiGen e
  10      glyce raldeh yde-3 -phos phate dehyd rogen ase (GAP DH)
                                                                   ibed in Judge et al., Molec ular Therapy,
          assay (Pano mics; Frem ont, CA) essen tially as descr
          13 :494 (2006 ).
                                                                            ining ApoB 10048 U2/2
          [0351 ] Figur e 2 show s that the l :57 SN ALP formu lation conta
                                                             expre ssion in vivo (see, Group 11).
          Gl/2 siRN A was the most poten t at reduc ing ApoB
                                                                                                          t Silen cing Activ ity
  15      Exam ple 4.          ApoB siRN A Form ulate d as 1:57 SNAL P Have Poten
          in vivo.
                                                                              siRN A set forth in Table 3. The
          [0352 ]   SNAL P formu lation s were prepa red with the ApoB
                                                                    formu lation s are summ arized in Table 5.
          lipid comp onent s and physi cal chara cteris tics of the
                                                                    lipid per mg nucle ic acid. Mean partic le
          The lipid: drug ratio is descr ibed in units of mg total
                                                                     Instru ments Zetas izer. Encap sulati on of
   20     size and polyd ispers ity were measu red on a Malv ern
                                                                    essen tially as descr ibed in Heye s et al.,
          nucle ic acid was measu red using a Ribog reen assay
          Journ al of Contr olled Relea se, 107:2 76-28 7 (2005 ).
                                                                                 used in this study .
           Table 5. Chara cteris tics of the SNAL P formu lation s
                                                                                       Particl e Size            % Encaps ulation
                  SNAL P (L:D ratio)                  siRNA Payloa d                 (Polyd ispersi ly)
                                                                                      65 nm (0.16)                       88
                         2:30(1 3)                ApoB- 10048 U2/2 C 1/2
                                                                                      74 nm (0. 10)                      89
                          1:57 (9)                ApoB- 10048 U2/2 Gl/2


                                                                              comp ositio n 2:30: 20:48 as
   25                The 2:30 SNAL P formu lation used in this study is lipid
               l0353 ]
                                                                  DMA , DSPC , and chole sterol (in that
           descr ibed in molar perce ntage s of PEG- C-DM A, DLin



                                                                          95




                                                                                                                         JA002222
                                                                                                                         GENV-00005373
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 941 of 1274 PageID #: 9247



                                                                        at an input lipid to drug (L:D) ratio
           order ). This formu lation was prepa red by syring e press
           (mg:r ng) of 13: 1 .
                                                                                comp ositio n 1.5:57. l :7:34. 3
           [0354 ]   The l :57 SN ALP formu lation used in this study is lipid
                                                                 DLin DMA , DPPC , and chole sterol (in
           as descr ibed in molar perce ntage s of PEG- C-DM A,
                                                                   e press at an input lipid to drug (L:D)
  5        that order ). This formu lation was prepa red by syring
           ratio (mg:m g) of 9: 1.
                                                                              from Harla n Labs. After an
           [0355]    BALB /c mice (fema le, 4 week s old) were obtain ed
                                                                     admin istere d SNAL P by intrav enous
           acclim ation perio d (ofat least 7 days) , anima ls were
                                                                         Days 0, 1, 2, 3 & 4 for a total of 5
           (IV) inject ion in the latera l tail vein once daily on Study
                                                                    2:30 SN ALP) or 0.1 (for 1:57 SN ALP)
  l0       doses per anima l. Daily dosag e was either 1.0 (for
                                                                         ing to 10 ml/kg (roun ded to the
           mg encap sulate d siRN A per kg body weigh t, corre spond
                                                                    anima ls was given IV inject ions of
           neare st 10 µl). As a negat ive contr ol, one group of
                                                                     Day 7, 72 h after the last treatm ent,
           phosp hate buffe red saline (PBS ) vehic le. On Study
                                                                    ted in RNAl ater.
            anima ls were eutha nized and liver tissue was collec
                                                                      A levels norm alized again st
  15        [0356] Liver tissue s were analy zed for ApoB mRN
                                                                         mRN A levels_ using the Quan tiGen e
            glyce raldeh yde-3 -phos phatc dchyd rogen ase (GAP DH)
                                                                     ibed in Judge et al., Molec ular Therapy,
            assay (Pano mics; Frem ont, CA) essen tially as descr
            13 :494 (2006 ).
                                                                            10048 U2/2 G 1/2 siRN A
            [0357]  Figur e 3 show s that the 1:57 SN ALP conta ining ApoB
                                                                    P in media ting ApoB gene silenc ing
  20        was more than 10 times as effica cious as the 2:30 SNAL
             in mous e liver at a l 0-fold lower dose.
                                                                                      Have Poten t Silen cing
             Exam ple 5.       ApoB siRN A Form ulate d as 1:57 or 1:62 SNAL P
             Activ ity in vivo.
                                                                                  siRN A set forth in Table 3. The
             [0358]    SNAL P formu lation s were prepa red with the ApoB
                                                                       formu lation s are summ arized in Table 6.
   25        lipid comp onent s and physi cal chara cteris tics of the
                                                                       lipid per mg nucle ic acid. Mean partic le
             The lipid: drug ratio is descr ibed in units ofmg total
                                                                        Instru ments Zetas izer. Encap sulati on of
             size and polyd ispers ity were measu red on a Malv ern
                                                                       essen tially as descr ibed in Heye s et al.,
             nucle ic acid was measu red using a Ribog reen assay
             Journ al of Contr olled Release, 107:2 76-28 7 (2005 ).

      30




                                                               96




                                                                                                          JA002223
                                                                                                         GEN V-00 0053 7 4
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 942 of 1274 PageID #: 9248



                                                                           ns used in this study .
        Tabl e 6. Char acter istics of the SNA LP form ulatio
                                                                                              liinishe(I P.-oduct Characterization
                             Formu lation Compo sition                 Lipid/D rug
        Group                                                             Ratio      Size (nm)       Polydispersity     % Encapsulation
                              Lipid Name & Mole %
                                                                                                                                89
                PEC,(2 000)-C- DMA I DLinD MA \ DPPC I Cholest
                                                               erol        8.9          76                0.06
          2
                1.4157 117.11 34.3
                                                                                                                                86
                PEG(20 00)-C-D MA I DI .inDMA I Cholest erol               8.1          76                0.04
          3
                l.5161. 5 i 36.9
                                                                                                                                95
                PEG(20 00)-C-D MA I DODM A I DPPC I Cholest
                                                             erol          9.0          72                 0.05
          4
                14157. 117.11 34.3
                                                                                                                                89
                PEG('i0 00)-C-D MA I DLinD MA I DPPC I Cholest
                                                               erol        96           52                 0.16
          5
                14157. 1 [7 I [34.3
                                                                                                                                94
                PEG(20 00)-C-D MA I DLinD MA I DPPC I Cholcst
                                                                anol       8.9           68                0.10
          6
                 l.4 I 57. I I 7 1 l 34 3
                                                                                                                                95
                 PEG(20 00):C-D MA I DLinD MA I DPPE I Cholest
                                                                erol        8.9          72                0.07
          7
                 l 4 I 57 l I 7. l I 34.3
                                                                                                                                 86
                 PEG(20 00)-C-D MA I DLinD MA I DPPC                        8.6          74                0.13
           8
                 1.8170. 2 I 28.l


                                                                            obtai ned from Harla n Labs. After
         [0359]    BAL B/c mice (fema le, at least 4 week s old) were
                                                                  were admi niste red SNA LP by intrav enou s
         an accli matio n perio d (of at least 7 days) , anim als
                                                                   Study Day O ( l dose total per anim al).
   5     (IV) injec tion in the latera l tail vein once daily on
                                                                  body weig ht, corre spon ding to 10 ml/kg
         Dosa ge was 0.75 mg encap sulat ed siRN A per kg
                                                                    ol, one group of anim als was given an IV
         (roun ded to the neare st 10 µ!). As a negat ive contr
                                                                   le. On Study Day 2, anim als were
         injec tion of phos phate buffe red salin e (PBS ) vehic
                                                                 !ater.
         eutha nized and liver tissue was colle cted in RNA
                                                                       A level s norm alize d again st
  10      [0360 ] Liver tissue s were analy zed for ApoB mRN
                                                                   DH) mRN A level s using the Quan tiGen e
          glyce raldc hyde -3-ph osph ate dehy droge nasc (GAP
                                                                     ibed in Judg e et al., Mole cular Therapy,
          assay (Pano mics; Frem ont, CA) essen tially as descr
          13 :494 (2006 ).
                                                                                              ulatio ns had comp arabl e ApoB
          [0361]    Figur e 4 show s that the 1:57 and l :62 SN ALP form
   15     silen cing activ ity in vivo (see, e.g., Grou ps 2 & 3).
                                                                                                     Pote nt Silen cing Activ ity
          Exam ple 6.         ApoB siRN A Form ulate d as 1:62 SNA LP Have
          in vivo.
                                                                                siRN A set forth in Table 3. The
          [0362]     SNA LP form ulatio ns were prepa red with the ApoB
                                                                 the form ulatio ns are summ arize d in Table 7.
           lipid comp onen ts and physi cal chara cteris tics of
                                                                      lipid per mg nucle ic acid. Mean partic le
   20      The lipid: drug ratio is descr ibed in units of mg total
                                                                  ern Instru ment s Zetas izer. Enca psula tion of
           size and polyd isper sity were meas ured on a Malv
                                                                      essen tially as descr ibed in :Heyes et al.,
           nucle ic acid was meas ured using a Ribo green assay
                                                                   ).
           Journ al of Cont rolle d Relea se, 107:2 76-28 7 (2005




                                                                          97




                                                                                                                                 JA002224
                                                                                                                                 GENV-00005375
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 943 of 1274 PageID #: 9249



                                                                                 in this study.
        Table 7. Chara cterist ics of the SNAL P formu lation s used
                                                                                         Finished Product Characte rization
                           Formulat ion Composi tion, Mole -o;o    Lipid/Dru g
            Group                                                     Ratio      Size (nm)         Polydisp ersity   % Encapsu lation
                       PEG(200 0)-C.DMA I DLinDMA I Choleste rol
                                                                                    80                  0.07                  92
                                     1.5161.5 136.9                    6.1
              2
                                                                                    74                  0.05                  89
                                     1.4154.8 143.8                    6.6
              3
                                                                                    71                  0.11                  91
                                     2.0 161.2 I 36.7                  6.2
              4
                                                                                    67                  0.09                  91
                                      1.8 I 54.5 I 43.6                6.7
              5
                                                                                    91                  0.06                  89
                                      1.3 168.1 130.6                  7.4
              6
                                                                                    87                  0.10                  90
                                      1.2161.8 137.1                   8.0
              7
                                                                                    81                  0.07                  91
                                      1.7167.8 130.5                   7.6
              8
                                                                                     75                  0.11                 92
                                      1.4 156.3 142.3                  8.6
              9
                                                                                     72                  0.10                 91
                                      1.9161.3 136.8                    8.2
              10
                                                                                     70                  0.10                 90
                                      1.8 I 56.1 I 42.1                 8.8
              11
                                                                                     89                  0,09                 89
                                      1.3 166.7 I 32.0                  9.5
              12
                                                                                     87                  0.10                 91
                                      1.2161.7 I 37 0                  10.0
              13
                                                                                     82                  0.11                 90
                                      1.7166.4 131.9                    9.6
              14
                                                                                     79                  0,10                 91
                                      1.5161.5 136.9                    10.1
              15



                                                                                   from Harlan Labs. After
         [0363]    BALB /c mice (fema le, at least 4 weeks old) were obtain ed
                                                                            istered SNAL P by intrav enous
   5     an acclim ation period (of at least 7 days), anima ls were admin
                                                                           O (1 dose total per anima l).
         (IV) injecti on in the lateral tail vein once daily on Study Day
                                                                         t, corres pondi ng to l O ml/kg
         Dosag e was 0.1 mg encap sulate d siRNA per kg body weigh
                                                                        group of anima ls was given an IV
         (round ed to the neares t 10 µI). As a negati ve contro l, one
                                                                               Day 2, anima ls were
         injecti on of phosp hate buffer ed saline (PBS) vehicl e. On Study
  10     euthan ized and liver tissue was collec ted in RNAl ater.
                                                                             norma lized agains t
          [0364] Liver tissue s were analyz ed for ApoB mRNA levels
                                                                              levels using the Quant iGenc
          glycer aldehy de-3-p hosph ate dehyd rogcn ase (GAP DH) mRNA
                                                                         Judge et al., Molec ular Therapy,
          assay (Pano mics; Fremo nt, CA) essent ially as descri bed in
          13:494 (2006 ).
                                                                                       of the most potent
   15     [0365]       Figure 5 shows that the 1:62 SNAL P formu lation was one
                                                                                       6.1 & 10. 1) among the
          inhibi   tors of ApoB expres sion at two differe nt lipid:drug ratios (i.e.,
                                                                                    s 2 & 15).
          phosp holipi d-free SNAL P formu lation s tested (see, Group
                                                                                                                P Prepa red Via a
          Exam ple 7.         In vivo Silenc ing of ApoB Expre ssion Using 1 :57 SNAL
          Syrin ge Press or Gear Pump Proce ss.
                                                                            and effica cy of the 1:57
   20     [0366] This study illustr ates a compa rison of the tolera bility
                                                                       ed by variou s manuf acturi ng
          SNAL P formu lation with ApoB -targe ting siRNA as prepar
                                                                             e press or gear pump proces s
          proces ses. In particu lar, l :57 SN ALP was prepar ed by a syring




                                                                        98




                                                                                                                                   JA002225
                                                                                                                                   GENV-00005376
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 944 of 1274 PageID #: 9250



                                                                                    stered intrave nously in
        using either PBS or citrate buffer (post-b lend dilutio n) and admini
        mice.

        Exper imenta l Design
                                                                                              cage.
        [0367]        Anima l Model : Femal e BALB /c mice, 5 wks old, n=4 per group/
  5     [0368]        siRNA payloa d: ApoB 10048 U2/2 G 1/2 siRNA .

        Tolerability:
                                                                                       IV Injectio n
             Group                           Formul ation                   siRNA   mg/kg        Lipid mg/kg
                                               PBS vehicle                     Standa rd 10 mL/kg    volume
                 1
                                                                                  7                    77
                 2               1157 Citrate Direct Dil, Syringe Press
                                                                                  7                    96
                 3                1157 PBS Direct Dil, Syringe Press
                                                                                  7                    79
                 4                   I 157 PBS Direct Dil, Gear Pump
                                                                                  9                    99
                 5               1 \57 Citrate Direct Dil, Syringe Press
                                                                                  9                    123
                 6                 1157 PBS Direct Oil, Syringe Press
                                                                                  9                    102
                 7                   I 157 PBS Direct Dil, Gear Pump


        E'jficacy:
                                                                                        IV Injectio n
                Group                         Formul ation                   siRNA mg/kg          Lipid mg/kg
                  8                            PBS vehicle                      Standar d l O mL/kg volume
                                                                                 0.05                 0.68
                 9                 l j57 PBS Direct Dil, Syringe Press
                                                                                 0.05                 0.57
                 10                  1157 PBS Direct Dil, Gear Pump
                                                                                  0.1                 1.36
                 1I                1157 PBS Direct Dil, Syringe Press
                                                                                  O.l                 1.13
                 12                  I [57 PBS Direct Dil, Gear Pump


  10     Formu lation:
                                                                                                 filter steriliz ed in
         [0369]        Formu lations are provid ed at 0.005 to 0.9 mg siRNA /mL, 0.22 µm
         crimp top vials.
         [0370]            Formu lation Details:
                                                                                                      1:7.1:3 4.3
                      1.        Lipid compo sition "1l57 Citrate blend" used in this study is 1.4:57.
                                                                                                  DPPC, and
   15                           as describ ed in molar percen tages of PEG-C -DMA , DLinD MA,
                                                                                                        drug ratio of
                                choles terol (in that order). This formul ation has an input lipid to
                                 8.9.
                                                                                                      n speed.
                      2.         Gear pump set up include d 0.8 mm T-conn ector and 400 mL/mi
                      3.         siRNA used in this study is apoB-1 0048 U2/2 Gl/2 siRNA .
   20




                                                                   99




                                                                                                             JA002226
                                                                                                            GENV-00005377
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 945 of 1274 PageID #: 9251



        [0371]      Formu lation Summa ry:
                                                                     Particle Size             Final L:D
                                                         Zavg (nm)       Poly        % Encap   (rng:mg)
                              1 :57 (9:1) + DOW siRNA
                                                            79           0.12          92        13.6
             322-050 807-1        Syringe PBS Blend
                                                            86           0.11          91        11.0
             322-050 807-2       Syringe Citrate Blend
                                                                         0.09          93        11.3
        I    322-050 807-3         Gear PBS Blend           80



  5     Proced ures
                                                                                      d and dose amoun ts
        l0372]   Treatm ent: Just prior to the first treatm ent, animal s are weighe
                                                                           alent to 10 mL/kg , rounde d to
        are calcula ted based on the weight of individ ual animal s (equiv
                                                                                   h the tail vein once on
        the neares t 10 µI). Test article is admini stered by IV injecti on throug
                                                                              (every 24 h) for the duratio n
        Day O (l dose total per animal ). Body weight is measu red daily
                                                                             with body weight
  lO    of the study. Cage-s ide observ ations are taken daily in concer t
        measu rement s and additio nally as warran ted.
                                                                             l, 24 h after test article
        [0373] Group 1-7 Endpo int: Anima ls are sacrific ed on Day
                                                                                  e. Whole amoun t is
        admini stratio n. Blood is collect ed by cardiac punctu re upon sacrific
                                                                            min at room temp., centrif uge
        collect ed into a SST microt ainer for serum. Clot for 30 (to 60)
                                                                            is comple te, and store at 4°C.
  15    for 5 min at 16,000 xg & l6°C, invert to confirm centrif ugatio n
                                                                                 and SDH. Top priority
        Analyz e compl ete small-a nimal clinica l chemis try panel plus AST
                                                                                   CPK, Glucos e.
        list: ALT, AST, SDH, Bilirub in, Alkalin e Phosph atase, GGT, BUN,
                                                                                   .
         Second ary priority list: Creatin inc, Album in, Globul in, Total Protein
                                                                               2, 48 h after test article
         [0374) Group 8-12 Endpo int: Anima ls are sacrific ed on Day
                                                                                  sed for plasma .
  20        admini stratio n. Blood is collect ed by cardiac punctu re and proces
                                                                                 any observ ations of unusua l
            Immed iately centrif uge for 5 min at 16,000 xg (at l 6°C). Record
                                                                               clean microf uge tube and
            plasma appear ance. Pipette off clear plasma supern atant into a
                                                                                separat ely: liver and spleen.
            store at -80°C. The follow ing tissues are remove d and weighe d
                                                                                   subme rged in 2: 5 volume s
            The bottom (unatta ched) half of the left liver lobe is detach ed and
                                                                                  at least 16 hours at 4°C
  25        ofRNA later (< 0.3 gin 1.5 mL RNA!a ter in 2.0 mL tube), stored
                                                                                     l purpos es. Formu lations
            prior to analys is and long term storage at -20°C or -80°C for archiva
                                                                                       s associa ted with the
            are expect ed to be well tolerat ed. Mice which exhibit signs of distres
            treatm ent arc termin ated at the discret ion of the vivariu m staff.
                                                                                  of ketami ne/xyla zine; then
            [0375] Termi nation : Mice are anaesth etized with a lethal dose
   30       cardiac punctu re is perform ed follow ed by cervica l disloca tion.
                                                                                      red by animal appear ance
            [0376] Data Analys is: Tolera bility of treatm ent regime is monito
                                                                                 is measu red by automa ted
            and behavi or as well as body weight . Blood clinica l chemis try
                                                                                    via QG assay. ApoB
            analyz er. ApoB and GAPD H mRNA levels in liver are measu red


                                                               100




                                                                                                           JA002227
                                                                                                           GENV-00005378
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 946 of 1274 PageID #: 9252



                                                                                plasma is measu red via
       protein in plasma is measu red via ELISA . Total choles terol in
       standa rd enzym atic/co lorime tric assay.

       Result s
                                                                                    ehavio r upon
       [0377]    There was no body weight loss or change in animal appear ance/b
                                                                          that the tolerab ility of
  5    admini stratio n of the l :57 SNAL P formul ations. Figure 6 shows
                                                                              not differ signifi cantly in
       SNAL P prepar ed by citrate buffer versus PBS direct dilutio n did
                                                                               ility differe nce betwee n
       terms of blood clinica l chemis try parame ters. There was a tolerab
                                                                            that was likely an artifac t
       syringe citrate and syringe PBS at consta nt siRNA dosage , bul
                                                                             two prepar ations.
       depend ent on the differe nt final lipid:d rug (L:D) ratios of these
                                                                                   ed by gear pump was
  10   [0378] Figure 7 shows that the efficac y of the 1:57 SN ALP prepar
                                                                                 ility profile was improv ed
       similar to the same SNAL P prepar ed by syringe press. The tolerab
                                                                              ed initial encaps ulation rate
       with the gear pump proces s, which could be attribu ted to increas
       and decrea sed final L:D ratio.
                                                                                               red Via a
       Examp le 8.     In vivo Silenc ing of ApoB Expre ssion Using 1:57 SNAL P Prepa
  15    Direct Dilutio n or In-Lin e Dilutio n Proces s.
                                                                              efficac y of the 1:57
        [0379] This study illustra tes a compa rison of the tolerab ility and
                                                                            a direct dilutio n or in-line
        SNAL P formul ation with ApoB- targeti ng siRNA as prepar ed by
        dilutio n proces s at an input lipid to drug ratio of 6: 1 or 9: 1.

        Exper imenta l Design
  20    [0380]        Anima l Model : Female BALB /c mice, 7 wks old.
        [0381]        siRNA payloa d: ApoB1 0048 U2/2 Gl/2 siRNA .

        CBCID(ff:

                            #
                                                                                   IV Dosage
                Group                        Test Article               Encap. siRNA       Total Lipid
                           Mice
                            3                   PBS                              -                    -
                  l
                                          1157 SNALP (9:1)                    7 mg/kg            71 mg/kg
                  2         3
                                          1157 SNALP (9:1)                    11 mg/kg           112 mg/kg
                  3         3


         Clinic" / Chemi stry:

                             #
                                                                                         IV Dosage
                Group                         Test Article              Encap. siRNA          Total Lipid
                            Mice
                             4                    PBS                             -                   -
                  4
                                           l 157 SNALP (9:1)                  9 mg/kg             92 mg/kg
                  5          4
                             4             1l57 SNALP (9:1)                   11 mg/kg            I 12 mg!}~g_____
                  6
                                        (6:1) New I 157 SNALP                 11 mg/kg             78 mg/kg
                  7          4



                                                             101




                                                                                                            JA002228
                                                                                                            GENV-00005379
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 947 of 1274 PageID #: 9253



                                           (6:l)N ew 1J57 SNALP                      13 mg/kg                93 mg/kg
                8               4
                                           (6:1) New 1157 SNALP                      15 mg/kg                107 mg/kg
                9               4
                                           (6:1) New 1[57 SNALP                      17 mg/kg                121 mg/kg
                10              4
                                              1157 SNALP (9:1)                       11 mg/kg                112 mg/kg
                11              4


        Activit y:

                                #
                                                                                            IV Dosage
             Group                                Test Article                   Encap. siRNA       Total Lipid
                              Mice
                               4                     PBS                                 -                        -
                12
                                              1157 SNALP (9:1)                     0.05 mg/kg                0.51 mg/kg
                13             4
                                               1157 SNALP (9:1)                     0.1 mg/kg                1.02 mg/kg
                14             4
                                               1l57 SNALP (9:1)                     0.2 mg/kg                2.04 mg/kg
                15             4
                                           (6: l) New l l57 SNALP                  0.05 mg/kg                0.36 mg/kg __
                16             4
                                           (6:1) New 1157 SNALP                     0.1 mg/kg                0.71 mg/kg
                17             4
                                           (6:1) New l l57 SNALP                    0.2 mg/kg                1.42 mg/kg
                18             4
                                           (6:l)N ew IJ57 SNALP                     0.4 mg/kg                2.85 mg/kg
                19             4


        Formu lation:
                                                                                                              filter steriliz ed in
   5     [0382]       Formu lations are provid ed at 0.005 to 1.7 mg siRNA /mL, 0.22 ~Lm
         crimp top vials.
         [0383]           Formu lation Details:
                                                                                                     :34.3 as
                     1.        "1157 SNAL P" used in this study is lipid compo sition 1.4:57 .l :7.1
                                                                                                        and
                               describ ed in molar percen tages of PEG-C -DMA , DLinD MA, DPPC,
                                                                                                      pump at an
  10                            choles terol (in that order). This formul ation was prepar ed by gear
                                input lipid to drug ratio of9:l (28 mM lipids) or 6: I (14 mM lipids).
                     2.         siRNA used in this study is apoB-1 0048 U2/2 01/2 siRNA .
         [0384]           Formu lation Summ ary:
                                                                                 Particle Size                     Final L:D
                                         1157 SNALP
                                                                 Zava (nm)   I       Polv      I   % Encap         (ma:mg)
                                       Gear PBS In-Line
                                                                    78       I       0.07      I     93               10.2
         I   322-051 407-1                 Input 9:1
   15                                      Input 6:1                81       I       0.05      I     92                7.1
         I   322-051 407-2


          Proced ures
                                                                                            and dose amoun ts
          [0385]    Treatm ent: Just prior to the first treatme nt, animal s are weighe d
                                                                                    to 10 m L/kg, rounde d to
          are calcula ted based on the weight of individ ual animal s ( equiva lent
                                                                                     h the tail vein once on
   20     the neares t 10 µ!). Test article is admini stered by IV injectio n throug
                                                                                (every 24 h) for the duratio n
          Day 0 (1 dose total per animal ). Body weight is measu red daily
                                                                                    body weight
          of the study. Cage-s ide observ ations are taken daily in concer t with
          measu remen ts and additio nally as warran ted.



                                                                     102




                                                                                                                          JA002229
                                                                                                                          GE NV-0 0005 380
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 948 of 1274 PageID #: 9254



                                                                                                tration
       [0386]   Endpoi nt: Animal s are sacrific ed on Day 1, 24 h after test article adminis
       (Grps 1-10) or on Day 2, 48 h after test miicle adminis tration (Grps 11-19).
                                                                                                amount
       [0387]    Group s 1-3: Blood is collecte d by cardiac punctur e upon sacrific e. Whole
                                                                                        tion, and sent
       is collecte d into an EDTA microta iner, mixed immedi ately to prevent coagula
  5    for analysi s of CBC/D i ff profile. Perform brief necrops y.
                                                                                microta iner for
       [0388] Group s 4-11: Blood is collecte d by cardiac punctur e into a SST
                                                                                       g & 16°C,
       serum. Clot for 30 (to 60) min at room temp., centrifo ge for 5 min at 16,000x
                                                                                  comple te small-
       invert to confirm centrifu gation is comple te, and store at 4°C. Analyz e
                                                                                   AST, SDH,
       animal clinical chemis try panel plus AST and SDH. Top priority list: ALT,
                                                                               priority list:
 10    Bilirub in, Alkalin e Phosph atase, GGT, BUN, CPK, Glucose . Second ary
       Creatin ine, Albumi n, Globuli n, Total Protein . Perform brief necrops y.
                                                                                        ed for plasma:
       [0389] Group s 12-19: Blood is collecte d by cardiac punctur e and process
                                                                                        tions of unusual
       immedi ately centrifu ge for 5 min at 16,000x g (at l6°C). Record any observa
                                                                                         ge tube and
       plasma appeara nce. Pipette off clear plasma superna tant into a clean microfu
                                                                                     weighe d; the
  15   store at -80°C. The followi ng tissues are remove d: liver. The liver is not
                                                                                    in 2: 5 volume s of
       bottom (unatta ched) half of the left liver lobe is detache d and submer ged
                                                                                  16 hours at 4°C prior
       RNAla ter (< 0.3 gin 1.5 mL RNAlat er in 2.0 mL tube), stored at least
                                                                                  to he well tolerate d.
       to analysi s and long term storage at -80°C. Formul ations are expecte d
                                                                                          ted at the
       Mice which exhibit signs of distress associa ted with the treatme nt are termina
  20    discreti on of the vivariu m staff.
                                                                                                 ine; then
        [0390]   Termin ation: Mice are anaesth etized with a lethal dose of ketamin e/xylaz
        cardiac punctur e is perform ed followe d by cervica l dislocat ion.
                                                                                            appeara nce
        [0391]  Data Analys is: Tolerab ility of treatme nt regime is monitor ed by animal
                                                                                 profile is measur ed
        and behavio r, and body weight. Blood clinical chemist ry and CBC/D iff
                                                                                  ene Assay.
  25    by automa ted analyze r. Liver ApoB mRNA is measur ed using the QuantiG
                                                                             is measur ed using a
        Plasma ApoB-1 00 is measur ed using ELISA. Plasma total cholest erol
        standar d enzyma tic assay.

        Results

        Tolerab ility:
                                                                                          after 1:57
  30    [0392]   Figure 8 shows that there was very little effect on body weight 24 hours
                                                                                       d at the highest
        SNALP adminis tration. The maximu m weight loss of 3.6 ± 0.7% was observe
                                                                                     nce/beh avior at
        drug dose of 17 mg/kg. T'here was also no obvious change in animal appeara
         any of the dosages tested.

                                                       103




                                                                                                    JA002230
                                                                                                   GE NV-00005381
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 949 of 1274 PageID #: 9255



                                                                             platel et count . Redu ction of
        [0393]     Figur e 9 show s that there were no obvio us chang es in
                                                                  se as the body produ ces new platel ets in
        platel ets can cause the mean platel et volum e to increa
                                                                    r the condi tions of this study, the
        comp ensat ion for the treatm ent-re lated decre ase. Unde
                                                                 ted group s.
        mean platel et volum e did not chang e in SNAL P-trea
        [0394] Figur e 10 show s that clinic ally signif icant
                                                                liver enzym e eleva tions (3xUL N)
  5
                                                                  P at a lipid: drug (L:D) ratio of 10, and
        occur red at drug dosag es of 11 mg/k g for 1:57 SNAL
                                                                      upwa rds in plasm a total protei n and
        at 13 mg/kg at a L:D of 7. A slight dose respo nse trend
        globu lin was also obser ved.

        Effica cy:
                                                                             tiGen e analy sis, the poten cy of
  10    [0395]     Figur e 11 show s that based on the liver mRN A Quan
                                                                   r L:D SN ALP at the tested drug
        the lower L:D SN ALP was as good as that of the highe
                                                                     cal at the 0.05 and 0.1 mg/kg dosag es.
        dosag es. In fact, the ApoB silenc ing activi ty was identi
                                                                   L:D ratio (final ratio of 7: I) was
        As such, the poten cy of the ] :57 SN ALP at a 6: 1 input
                                                                      L: D ratio (final ratio of] 0: 1) at
        simila r to the poten cy of the l :57 SN ALP at a 9: 1 input
  15     reduc ing ApoB expre ssion.
         [0396] Figur e 12 show s that ApoB protei n and
                                                             total chole sterol levels were reduc ed to a
                                                                  ratio (final ratio of7:1 ) and the 1:57
         simila r exten t by the 1:57 SNAL P at a 6:1 input L:D
         SNAL P at a 9: 1 input L:D ratio (final ratio of 10: 1).

         Thera peuti c Index :
                                                                                 a 6: 1 input L:D ratio (final
  20     [0397]      This study demo nstrat es that both the I :57 SNAL P at
                                                                    ratio (final ratio of 10:1) cause d about
         ratio of7:1 ) and the 1:57 SNAL P at a 9:1 input L:D
                                                                           mg/kg . Interp olatin g from the
         60% ApoB liver mRN A silenc ing with a drug dose of0.l
                                                                         at l 0 mg/k g may cause a simila r
         availa ble data point s in Figur e I 0, a 10: 1 final L:D ratio
                                                                       13 mg/kg . Using these activi ty and
         degre e of enzym e eleva tion as a 7: 1 final L:D ratio at
                                                                     ALP at a 10: l final L:D ratio is (10
   25    toxici ty points , the therap eutic index for the 1:57 SN
                                                                      for the l :57 SN ALP at a 7: l final L:D
          mg/kg ) I (0.1 mg/k g)= 100 and the therap eutic index
                                                                           t, the therap eutic index for the l :57
          ratio is ( 13 mg/k g)/ (0.1 mg/kg ) = 130. Using this datase
                                                                        therap eutic index for the 1 :57 SN ALP
          SN ALP at a 7: l final L:D ratio is 30% greate r than the
          at a 10: 1 final L:D ratio.




                                                             104




                                                                                                         JA002231
                                                                                                        GE NV-0 0005 382
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 950 of 1274 PageID #: 9256



                                                                                                  SNA LP Incre ases
        Exam ple 9.       In vivo Silen cing of PLK -1 Expr essio n Usin g 1:57
        Surv ival of Hep3 B Tum or-B earin g Mice .
        [0398] SN ALP conta ining polo- like kinas e
                                                             1 (PLK -1) siRN A (1 :57 SNA LP formu lation :
                                                                    ; and 34.3% chole stero l) were tested for
        l .4% PEG- cDM A; 57.1 % DLin DMA ; 7 .1 % DPPC
                                                                beari ng Hep3 B liver tumo rs. PLK- 1 is a
  5     their effec ts on the survi val of CD 1 nu/nu mice
                                                                   doma ins: (1) a kinas e doma in; and (2) a
        serin e/thre onine kinas e conta ining two funct ional
        polo- box doma in (see, e.g., Barr et al., Nat. Rev.
                                                                  Mot. Cell Biol., 5:429 -440 (2004 )). The
                                                                 cruci al for the preci se regul ation of cell
         activ ity and cellu lar conce ntrati on of PLK- 1 are
                                                                  r types inclu ding hepa toma and colon
         divis ion. PLK- 1 is overe xpres sed in many cance
                                                               with poor patie nt progn osis. Over expre ssion
  10     cance r, and PLK-1 expre ssion often corre lates
                                                                in multi nuclc ation (gene tic instab ility) .
         of PLK- 1 (wild -type or kinas e inact ive) resul ts
                                                                 check point . Cons tituti ve PLK- 1 expre ssion
         Hype ractiv e PLK- 1 overr ides the DNA dama ge
                                                                  phosp horyl ates the p53 tumo r suppr essor ,
         cause s trans form ation of NIH 3T3 cells. PLK- 1
                                                                  3. The PLK- 1 siRN A used in this study are
          there by inhib iting the pro-a popto tic effec ts of p5
                                                                    intro ducin g 2 'OMe -urid ine or 2'OM e-
  15      provi ded in Table 8. The modi ficati ons invol ved
                                                                 antis ense stran ds of the PLK- 1 siRN A
          guan osine at selec ted posit ions in the sense and
                                                                   less than abou t 20% 2'OM e-mo difie d
          seque nce, in whic h the siRN A duple x conta ined
         nucle otide s.
                                                                           antis ense PLI(- 1 RNA polyn ucleo tides .
         Table 8. siRN A duple xes comp rising sense and
                                                                                                                    % Modif ied in
                 siRNA                                     PLK- 1 siRNA Seque nce
                                                                                                                     DS Regio n
                                                                                                                                  ------ -- -

                                                                AAAU  ANN- 3'              (SEQ ID NO. 57)            6/38 = 15.8%
           PLKl 424 U4/GU                         - CCCU---CCUU
                                         5'-AG AUCA           -    -
                                                                                           (SEQ ID NO. 54)
                                      3' -NNUCUAGU  GGGA   GGAA UUUA U-- 5'
                                                -           -
                                                                              ANN- 3'       (SEQ ID NO. 57)             7/38 = 18.4%
            PLK 1424 U4/G                5'-AG AUCA -
                                                       CCCU- CCUU   - AAAU -
                                                                                                   ID    NO.  56)
                                      3'-NN UCUA ~UG~ GA~G AAUU UAU -5'
                                                                                            (SEQ
                                                                                                                               relativ e to
                                                                 nucleo tide positio n of the 5' base of the sense strand
   20     Colum n 1: The numb er atler "PLK " refers to the                                   . Colum    n 2:  2'-O-m  ethyl (2'OM    e)
                                                                    seque nce NM_0 05030
          the start codon (ATG ) of the human PLK-1 mRNA                                can  altern atively  or additi onally compr ise 2'-
                                                                 The   siRNA   duplex
          nucleo tides are indica ted in bold and underl ined.                                                                and/or
                                                                   tides, 2' -O-(2- metho xyethy l) (MOE ) nucleo tides,
          deoxy -2'-flu oro (2' F) nucleo tides, 2' -deox y nucleo                   nucleo  tide, uridin  e (U)  ribonu cleotid e, or
                                                                   thymi  dinc (dT)
           locked nuclei c acid (LNA ) nucleo tides. N = deoxy                                                               Colum n 3:
                                                                     seque nce or the compl ement ary strand thereo t
   25      ribonu cleotid e having compl ement arity to the target                         ded  (DS)   region  of  the siRNA   duplex are
                                                              tides  in the  double -stran
           The numbe r and percen tage of modif ied nucleo
           provid ed.

           Expe rime ntal Grou ps
           [0399]      20 CDl nu/nu mice were seede d as follow s:
                                                                            SNAL P           SNAL P         Sacrif ice         Assay
                          #       Tumo r         SNAL P          #
            Grou p
                                                               Mice        dosin g JV          dose
                       Mice       seedin g



                                                                         105




                                                                                                                             JA002232
                                                                                                                            GE NV- 000 053 83
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 951 of 1274 PageID #: 9257



           A                    1.H.           Luc 1:57        9        Days 11, 14,                             Surviva l
                                                                                          10 X 2    When
                  20 to                 6                              17, 21, 25, 28,
                               l.5xl0          PLK 1424                                            moribun d
                                                               9                          mg/kg                Body Weights
           B      seed                                                 32,35,3 9,42
                               Hep3B              1:57




        Test Article s
                                                                                               tration . All
        [0400]    All sample s were filter-s terilize d prior to dilutio n to workin g concen
                                                                                and nucleic acid
        tubes were labeled with the formul ation date, lipid compo sition,
                                                                                     acid. A minim um of20
  5     concen tration . SNAL P sample s were provid ed at 0.2 mg/ml nucleic
                                                                                      for this study contain ed:
        ml of each SNAL P was require d to perform the study. Formu lations

                           Group                                   Test Article Descrip tion
                               A                            Luc U/U SNALP 1:57 (28mM lipid)
                                                              -·
                                                         PLK142 4 ll4/GU SNALP 1:57 (28mM lipid)
                          ~·
                               B
                                                          PLK 1424 U4/G SNALP 1:57 (28mM lipid)
                                                               -




        Proced ures
        DayO                                Mice will receive Anafen by SC injectio n (l 00 µg in 20 µI saline)
                                                                                                               by
  10                                        immed iately prior to surgery . Individ ual mice are anesth etized
                                                                                                                 ive
                                            isoflou rane gas inhalat ion and eye lube applied to preven t excess
                                                                                                                cone,
                                            eye drying . While mainta ined under gas anesth esia from a nose
                                                                                                                    the
                                            a single 1.5 cm incisio n across the midlin e will be made below
                                                                                                                an
                                            sternum , The left lateral hepatic lobe is then exterio rized using
                                                                                                                PBS is
  15                                        autocla ved cotton wool bud. 25 µI of tumor cells suspen ded in
                                            injecte d into the lobe at a shallow angle using a leur tip Hamilt on
                                            syring e (50 p.1) and 30G (3/8") needle . Cells will be injecte d slowly
                                                                                                              after
                                            (- 30 s) and a swab applied to the punctu re wound immed iately
                                            needle withdr awal. After any bleedin g has stoppe d (~ 1 min), the

   20                                       incisio n is closed with 5-6 sutures in the muscle wall and 3-4 skin
                                                                                                                  to
                                            clips. Cell suspen sions will be thorou ghly mixed immed iately prior
                                            each injectio n. Mice will recove r from anesth esia in a clean cage
                                                                                                                 ls
                                            lined with paper towel and monito red closely for 2-4 hours. Anima
                                             are then returne d to normal housin g.




                                                                          106




                                                                                                                    JA002233
                                                                                                                   GE NV-0 0005 384
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 952 of 1274 PageID #: 9258



                                                                                          gas and the
           Day 1                  All mice will be lightly anest hetiz ed by isoflo urane
                                                                                         en by SC injec tion
                                  sutur es exam ined. Anim als will then recei ve Anaf
                                  (l 00 µg in 20 µI saline ).
                                                                                           ent group s.
           Day 10                 Mice will be rando mize d into the appro priate treatm
                                                                                       niste red SN ALP at
  5        Day 11                 Grou ps A, B - Day 11: All Anim als will be admi
                                                                                      Mice will be dosed
                                  2 mg/k g by IV injection via the lateral tail vein.
                                                                                       be repea ted for 5
                                  accor ding to body weig ht (10 ml/kg ). Dosi ng will
                                   conse cutiv e days based on initial weig ht.
                                                                                      All Anim als will be
           Day 14-35               Grou ps A, B - Days 14, 17, 21, 25, 28, 32, 35:
                                                                                          via the lateral tail
  10                               re-ad minis tered SN ALP at 2 mg/k g by IV injec tion
                                                                                       ht (l O ml/kg).
                                   vein. Mice will be dosed accor ding to body weig
                                                                                        the day of dosin g
                                   Body weig hts Grou ps: Mice will be weig hed on
                                                                                       study .
                                   for 5 week s, then twice week ly until close of the
                                                                                        expec ted to be well
                                   Endp oint: Tum or burde n and form ulatio ns are
                                                                                           iated with the
  15                               tolera ted. Mice that exhib it signs of distre ss assoc
                                                                                              etion of the
                                   treatm ent or tumo r burde n are termi nated at the discr
                                    vivar ium staff.
                                                                                          ine/x ylazi ne
            Term inati on:          Mice arc anest hetiz ed with a lethal dose of ketam
                                    follo wed by cervi cal dislo catio n.

  20        Data Anal ysis:         Survi val and body weig hts are assay ed.

            Resu lts
                                                                             durin g thera peuti c dosin g of
            [0401 ]   Figur e 13 show s the mean body weig hts of mice
                                                                    tumo r mode l. The treatm ent regim en was
            PLK1 424 SNA LP in the Hep3 B intrah epati c (l.H.)
                                                                    elate d toxic ity.
            well tolera ted with no appa rent signs of treatm ent-r
                                                                    SNA LP-fo rmul ated PLK1 424 cause d a
   25       [0402] Figur e 14 show s that treatm ent with 1:57
                                                                   r-bea ring mice . This in vivo anti-t umor
            signi fican t incre ase in the survi val ofHe p3B tumo
                                                                     toxic ity or immu ne stimu lation .
            effec t was obser ved in the absen ce of any appar ent
                                                            essio n Usin g        1:57 SN ALP Indu ces Tum or
             Exam ple 10. In vivo Silen cing of PLK -1 Expr
                                                             .
             Cell Apop tosis in Hep3 B Tum or-B earin g Mice
      30     l0403 ]   The objec tives of this study were as follows:



                                                                107




                                                                                                           JA002234
                                                                                                           GE NV- 000 053 85
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 953 of 1274 PageID #: 9259



                                                                                         Hep3B liver tumor s
                 1.           To determ ine the level ofmR NA silenc ing in establ ished
                              follow ing a single IV admin istrati on of PLK 1424 SN ALP.
                                                                                                                 specif ic RNA
                 2.           To confir m the mecha nism ofmR NA silenc ing by detect ing
                              cleava ge produ cts using RACE -PCR.
                                                                                                                 gy.
  5              3.           To confir m induct ion of tumor cell apopto sis by histop atholo
                                                                                                    DLinD MA; 7.1 % DPPC ;
        [0404]  The 1:57 SNAL P formu lation (1.4% PEG-c DMA ; 57. l %
        and 34.3% choles terol) was used for this study.

        Exper iment al Group s
        [0405]        20 SCIO/ beige mice were seeded as follow s:
                                                                                                    --   ·-

                                                                   #         SNALP          Sacrifi ce             Assay
         Group         #         Tumor                SNALP

                      Mice       seeding                          Mice      dosing IV

                                                           PBS     6                                             Tumor QG
            A                      l.H.         1------·
                                                                                            24 h after
                      20 to                          Luc 1:57      7        1 x 2 mg/kg
                                           6                                                                  Tumor RACE- PCR
                                  l X 10         ------
                                                                                            treatme nt
                      seed                          PLK 1424                  Day 20
            B
                                  Hep3B                            7                                           Histopa thology
            C                                              1:57

  IO

        Test Articl es
                                                                                      ng conce ntratio n. All
         [0406]    All sampl es were filter- sterili zed prior to dilutio n to worki
                                                                          sition , and nuclei c acid
         tubes were labele d with the formu lation date, lipid compo
                                                                             l nuclei c acid. A minim um of2
         conce ntratio n. SNAL P sampl es were provid ed at 0.2 mg/m
                                                                                s for this study contai ned:
  15     ml of SNAL P was requir ed to perfor m the study. Formu lation

                                Group                                  Test Article Descrip tion

                                   A                                               PBS

                                   B                                     Luc U/U 1 :57 SN ALP

                                   C                               PLK14 24 U4/GU I :57 SNALP




         Proce dures
                                                                                                              saline )
         DayO                                  Mice will receiv e Anafe n by SC injecti on (100 µgin 20 µl
                                                                                                                  by
                                               immed iately prior to surger y. Indivi dual mice are anesth etized
                                                                                                               excess ive
   20                                          isoflo urane gas inhala tion and eye lube applie d to preven t
                                                                                                              a nose cone,
                                               eye drying . While maint ained under gas anesth esia from
                                                                                                                                  the
                                               a single 1.5 cm incisio n across the midlin e will be made below


                                                                             108




                                                                                                                                 JA002235
                                                                                                                                 GE NV-0 0005 386
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 954 of 1274 PageID #: 9260



                                                                                            using an
                             sternu m. The left lateral hepati c lobe is then exteri orized
                                                                                               in PBS is
                             autocl aved cotton wool bud. 25µ1 of tumor cells suspen ded
                                                                                                ton
                             injecte d into the lobe at a shallo w angle using a !cur tip Hamil
                                                                                             d slowly
                             syring e (50 ~ll) and 30G (3/8") needle . Cells will be injecte
                                                                                       iately after
  5                          (~30 s) and a swab applie d to the punctu re wound immed
                                                                                            the
                             needle withdr awal. After any bleedi ng has stopp ed(~ l min),
                                                                                          incisio n is
                             muscl e wall incisio n is closed with 5-6 suture s. The skin
                                                                                             be
                             then closed with 3-4 metal skin clips. Cell suspen sions will
                                                                                            will
                             thorou ghly mixed immed iately prior to each injecti on. Mice
                                                                                              and
 10                          rccov et from anesth esia in a clean cage lined with paper towel
                                                                                           ed to norma l
                             monit ored closel y for 2-4 hours. Anim als are then return
                              housin g.
                                                                                             the
           Day 1              All mice will be lightly anesth etized by isoflo urane gas and
                                                                                          SC injecti on
                              suture s exami ned. Anima ls will then receiv e Anafe n by

  15                          (100 µg in 20 µI saline ).
                                                                                                    .
           Day7               Mice will be rando mized into the appro priate treatm ent groups
                                                                                         either
           Day2 0             Grou ps A-C: Mice will be weigh ed and then admin istered
                                                                                            tail
                              PBS, Luc, or PLK1 424 SNAL P by IV injecti on via the lateral
                                                                                               e (10
                              vein. SNAL P will be dosed at 2 mg/kg or equiva lent volum

  20                          ml/kg ) accord ing to body weigh t.
                                                                                                 by lethal
           Day2 1              Group s A-C: All mice will be weigh ed and then euthan ized
                               anesth esia.
                                                                                               be
                               Tumo r bearin g liver lobes from all mice in each group will
                               weigh ed and collec ted into RNAL ater for RNA analys is.
                                                                                              to be well
  25                           Endp oint: Tumo r burden and formu lation s are expec ted
                                                                                                  the
                               tolera ted. Mice that exhibi t signs of distres s associ ated with
                                                                                               of the
                               treatm ent or tumor burden are termin ated at the discre tion
                               vivari um staff.

            Term inatio n:     Mice are anaest hetize d with a lethal dose of ketam ine/xy lazine

      30                        follow ed by cervic al disloc ation.




                                                        109




                                                                                                        JA002236
                                                                                                    GE NV-0 0005 387
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 955 of 1274 PageID #: 9261



                                                                                              and RACE -
        Data Analy sis:            mRN A analy sis of liver tumor s by bDNA (QG) assay
                                   PCR.

                                   Tumo r cell apopt osis by histop atholo gy.

        Resu lts
                                                                            to assess tumor progr ession .
  5     [0407 ]   Body weigh ts were monit ored from Day 14 onwa rds
                                                                  rando mized into each of the 3 group s
        On Day 20, 6 mice show ing greate st weigh t loss were
                                                                      s at sacrif ice (Day 21). Treat ment
        and treate d. All six mice had subst antial -large I.H. tumor
                                                                    Day 21 (sacri fice Day 22). 10/14
        of the remai ning 14 mice was theref ore initia ted on the
                                                                   able tumor s; and 2/14 mice had no
        mice had substa ntial tumor s; 2/14 mice had small /prob
  10    visibl e tumo r burde n.
                                                                            measu re huma n (tumo r)-
         [0408 ]    Figur e 15 show s data from Quan tigene assay s used to
         speci fic PLK-1 mRN A levels. A single 2 mg/kg dose
                                                                  01 l :57 SN ALP reduc ed PLK-1 mRN A
                                                                       ng in mice.
         levels by about 50% in intrah epatic Hep3 B tumor s growi
                                                                      ct of PLK- 1 mRN A was detec table in
         [0409 ] Figur e 16 show s that a specif ic cleav age produ
                                                                    . No speci fic PCR produ ct was
  15     mice treate d with PLK1 424 SNAL P by 5' RACE -PCR
                                                                  (Luc) SNAL P. Nucle otide seque ncing
         detec table in mice treate d with either PBS or contro l
                                                                   site by PLK1 424 siRNA -medi ated
         of the PCR produ ct confi rmed the predic ted cleav age
         RNA interf erenc e in the PLK-1 mRN A.
                                                               mice treate d with either Luc SNAL P
         [0410 ] Figur e 17 show s Hep3 B tumo r histol ogy in
                                                                ted mice displa yed norma l mitos es in
  20     (top) or PLK1 424 SNAL P (botto m). Luc SNAL P-trea
                                                                  exhib ited nume rous aberr ant mitos es
         Hep3 B tumor s, where as PLK1 424 SNAL P-trea ted mice
         and tumo r cell apopt osis in Hep3 B tumor s.

          Conc lusion
                                                                                 of PLK 1424 l :57 SN ALP to
          L0411]    This exam ple illustr ates that a single admin istrati on
                                                                         silenc ing of PLK-1 mRN A. This
   25     Hep3 B tumor -bear ing mice induc ed signif icant in vivo
                                                                        ted by RNA interf erenc e using 5'
          reduc tion in PLK-1 mRN A was confi rmed to be media
                                                                           ing by the 1:57 SNAL P formu lation
          RAC E-PC R analy sis. Impo rtantl y, PLK-1 mRN A silenc
                                                                          causi ng subse quent apopt osis of
          profo undly disrup ted tumo r cell prolif eratio n (mito sis),
                                                                          this anti-t umor effect transl ated into
          tumo r cells. As demo nstrat ed in the previo us exam ple,
   30     exten ded survival times in the tumor -bear ing mice.




                                                             110




                                                                                                         JA002237
                                                                                                         GE NV-0 0005 388
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 956 of 1274 PageID #: 9262



                                                                                Either PEG-c DMA or
        Examp le 11. Comp arison of 1:57 PLK-1 SNAL P Conta ining
        PEG-c DSA in a Subcu taneou s Hep3B Tumo r Model .
                                                                               PEG-c DSA (3-N-l( -
        [0412] This examp le demon strates the utility of the PEG-li pid
                                                                             ypropy lamine ) in the 1:57
        Metho xypoly ( ethylen e glycol )2000) carbam oyl]-1, 2-diste arylox
                                                                              ) tumors . In particu lar, this
  5     formul ation for system ically targeti ng distal (e.g., subcut aneous
                                                                                  Ps contain ing either PEG-
        examp le compa res the tumor targeti ng ability of 1:57 PLK-1 SNAL
                                                                     inhibit ion and PLKI mRNA
        cDMA (C 14 ) or PEG-c DSA (C 1s). Reado uts are tumor growth
                                                                     sequen ce of which is provid ed
        silenci ng. The PLK-1 siRNA used was PLK14 24 U4/GU , the
        in Table 8.
                                                                                   ige mice. Multid ose
  10    [0413]    Subcut aneous (S.C.) Hep3B tumors were establi shed in scid/be
                                                                           follow ing groups (n=5 for
        anti-tu mor efficac y of 1 :57 PLK-1 SN ALP was evalua ted for the
                                                                  "PLK- cDMA " - PEG-c DMA
        each group) : (1) "Luc-c DMA" - PEG-c DMA Luc SNAL P; (2)
                                                                    P. Admin istratio n of6 x
        PLK-1 SNAL P; and (3) "PLK- cDSA" - PEG-c DSA PLK-1 SNAL
                                                                     in diamet er (Day 10). Dosing
        2mg/k g siRNA was initiate d once tumors reache d about 5 mm
                                                                        measu redbyc aliper twice
  15    was perform ed on Days 10, 12, 14, 17, 19,and 21. Tumo rswere
         weekly .
                                                                                           ing PEG-c DSA
         [0414]    Figure 18 shows that multip le doses of 1:57 PLK-1 SNAL P contain
                                                                                 lar, 5/5 tumors in the
         induce d the regress ion of establi shed Hep3B S.C. tumors . In particu
                                                                                ration at the tumor site.
         PLK1- cDSA treated mice appear ed t1at, measu rable only by discolo
                                                                               P in S.C. Hep3B tumors
  20     [0415] Figure 19 shows the mRNA silenci ng of 1:57 PLK SNAL
                                                                               of silenci ng observ ed with
         follow ing a single intrave nous SN ALP admini stratio n. The extent
                                                                          y in the multi-d ose study
         the PLK 1-cDS A SN ALP correla ted with the anti-tu mor activit
         shown in Figure 18.
                                                                                  S.C. tumors at
         [0416]  The Luc-cD MA SNAL P-treat ed group, which had develo ped large
                                                                      26, 28, 31, 33, and 35.
  25     Day 24, were then admini stered PLK-c DSA SNAL P on Days 24,
                                                                               ed groups . The results
         There was no additio nal dosing of the origina l PLK-1 SNAL P-treat
                                                                          is provid ed in Figure 20,
         from this crosso ver dosing study with large establi shed tumors
                                                                          e S.C. Hep3B tumors .
          which shows that PLKl- cDSA SNAL P inhibit ed the growth oflarg
                                                                      DSA 1:57 SNAL Ps on PLK-1
          [0417] A compa rison of the effect of PEG-c DMA and PEG-c
                                                                          Hep3B tumors in scid/be ige
   30     mRNA silenci ng was perform ed using establi shed intrahe patic
                                                                           either PEG-c DMA or PEG-
          mice. A single 2 mg/kg dose of 1:57 PLK-l SN ALP contain ing
                                                                             collect ed at 24 and 96
          cDSA was admini stered intrave nously . Liver/t umor sample s were
                                                                         SNAL P at 24 hours.
          hours after SNAL P treatm ent. Contro l= 2 mg/kg Luc-cD MA



                                                           111




                                                                                                      JA002238
                                                                                                     GEN V-00 0053 89
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 957 of 1274 PageID #: 9263



                                                                                    P had similar
        [0418]     Figure 21 shows that PLK-c DMA SNAL P and PLK-c DSA SNAL
                                                                           P may increas e the duratio n
        silenci ng activiti es after 24 hours, but that the PLK-c DSA SNAL
        of mRNA silenci ng in intrahe patic tumors .
                                                                            SNAL P contain ing
        [04191 Figure 22 shows the blood clearan ce profile of I :57 PLK-1
                                                                          times observ ed for the
  5     either PEG-c DMA or PEG-c DSA. The extend ed blood circula tion
                                                                       activit y at distal (e.g.,
        PLK-c DSA SNAL P may enable the increas ed accum ulation and
        subcut aneous ) tumor sites.
                                                                                       ation can be used to
        [0420]      Thus, this study shows that the 1:57 PEG-c DSA SNAL P formul
                                                                                      DMA SN ALP can be
        prefere   ntially target tumors outside of the liver, wherea s the 1:57 PEG-c
  10    used to prefere ntially target the liver.

        Examp le 12. Synthe sis of Choles teryl-2 '-Hydr oxyeth yl Ether.
                                                                              terol (5.0 g, 12.9 mmol) and
        [0421] _S_t~Q.J_: A 250 ml round bottom flask contain ing choles
                                                                                chlorid e (5.0 g, 26.2
        a stir bar was sealed and flushed with nitroge n. Toluen esulph onyl
                                                                              also scaled and flushed with
        mmol) was weighe d into a separa te l 00-mL round bottom flask,
                                                                              flask. The toluene sulpho nyl
  15    nitroge n. Anhyd rous pyridin e (2 x 50 ml) was deliver ed to each
                                                                              ml flask, and the reactio n
        chlorid e solutio n was then transfe rred, via cannul a, into the 250
                                                                                   ol (80 ml) added to the
        stirred overni ght. The pyridin e was remove d by rotovap , and methan
                                                                                   sion was obtaine d. The
         residue . This was then stirred for l hour until a homog eneous suspen
                                                                                  under vacuum to yield
         suspen sion was filtered , washe d with aceton itrile (50 ml), and dried
  20     choles teryl tosylat e as a fluffy white solid (6.0 g, 86%).
                                                                                  (50 mL), and ethylen e
         [0422] Step 2: Choles teryl tosylat e (2.0 g, 3. 7 mmol) , 1,4-dio xane
                                                                             a stir bar. The f1ask was
         glycol (4.6 g, 74 mmol) were added to a 100 ml flask contain ing
                                                                              then remove d by rotovap ,
         fitted with a conden ser, and refluxe d overni ght. The dioxan e was
                                                                               n was transfe rred to a
         and the reactio n mixtur e suspen ded in water (l 00 ml). The solutio
                                                                                organi c phases were
  25     separa ting funnel and extract ed with chloro form (3 x 100 ml). The
                                                                           sulpha te, and the solven t
         combin ed, washed with water (2 x 150 ml), dried over magne sium
                                                                           phy (5% aceton e/hexa ne)
         remov ed. The crude produc t was purifie d by column chrom atogra
         to yield the produc t as a white solid (1.1 g, 69%).
                                                                                '-hydro xyethy l ether and
         [0423] The structu res of the choles terol derivat ives choles tcryl-2
   30     choles teryl-4 '-hydro xybuty l ether are as follows :




                                                            112




                                                                                                    JA002239
                                                                                                   GE NV-0 0005 390
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 958 of 1274 PageID #: 9264




                      HO,      ~
                           ~       'o
                                        Choles teryl-2' -hydrox yethyl ether




   5
                                        Choles teryl-4' -hydrox ybutyl ether


                                                                                                  tive and not
       10424]   It is to be unders tood that the above descrip tion is intend ed to be illustra
                                                                            in the arl upon reading the
  10   restrict ive. Many embod iments will be appare nt to those of skill
                                                                            be determ ined not with
       above descrip tion. The scope of the inventi on should , therefo re,
                                                                          ined with referen ce to the
       referen ce to the above descrip tion, but should instead be determ
                                                                             such claims are entitled .
       append ed claims , along with the full scope of equiva lents to which
                                                                                   tions, patents , PCT
       The disclos ures of all articles and referen ces, includi ng patent applica
                                                                                 by referen ce for all
  15   publica tions, and Genba nk Access ion Nos., are incorp orated herein
       purpos es.




                                                          113




                                                                                                       JA002240
                                                                                                      GE NV-00005391
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 959 of 1274 PageID #: 9265



              WHA T IS CLAI MED IS:

                               1.            A nuclei c acid-l ipid partic le compr ising:

  2                            (a) a nuclei c acid;
                                                                                                         85 mo!% of the
  3                            (b) a cation ic lipid compr ising from about 50 mol % to about
  4                                total lipid presen t in the partic le;
                               (c) a non-ca tionic lipid compr ising from about 13 mol
                                                                                                  % to about 49.5 mo!%
  5
  6                                 of the total lipid presen t in the partic le; and
                                                                                                  compr ising from
  7                            ( d) a conjug ated lipid that inhibi ts aggreg ation of particl es
                                                                                                          t in the particl e.
  8                                      about 0.5 mo! % to about 2 mo! % of the total lipid presen

                                                                                                                  c acid
                               2.            The nuclei c acid-l ipid partic le of claim 1, where in the nuclei

   2          compr ises a small interfe ring RNA (siRN A).

                                3.           The nuclei c acid-l ipid partic le ofclai m 2, where in the siRNA

   2          compr ises from about 15 to about 60 nucleo tides.

                                4.            The nuclei c acid-l ipid partic le of claim 2, where in the siRNA

      2        compr ises at least one modif ied nucleo tide.

                                5.            The nuclei c acid-l ipid partic le of claim 2, where in the siRNA

      2        compr ises at least one 2'-O-m ethyl (2'OM e) nucleo tide.

                                                                                                            ic Iipid
                                6.       The nuclei c acid-l ipid partic le of claim 1, where in the cation
                                                                                       DMA) , 1,2-di linole nyloxy -
      2        compr   ises 1,2-di linole yloxy- N,N-d imethy larnin oprop ane (DLin
                                                                                             f.
      3        N,N-d imeth ylami nopro pane (DLen DMA ), or a mixtu re thereo

                                                                                                          ic lipid
                                    7. The nuclei c acid-l ipid partic le of claim 1, where in the cation
                                                                                     olane (DLin -K-C2 -DMA ).
       2       compr ises 2,2-di linole yl-4-( 2-dim ethyla minoe thyl)-[ 1,3 ]-diox

                                                                                                           ic lipid
       1                            8.  The nuclei c acid-l ipid partic le of claim 1, where in the cation
                                                                                         lipid presen t in the
       2        compr   ises from about 56.5 mol % to about 66.5 mo!% of the total
       3        partic le.

                                                                                                                  ic lipid
                                    9.         The nuclei c acid-l ipid partic le of claim 1, where in the cation
                                                                                                         t in the particl e.
          2     compr ises from          about 52 mol % to about 62 mol % of the total lipid presen




                                                                         114




                                                                                                                      JA002241
                                                                                                                     GENV-00005392
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 960 of 1274 PageID #: 9266




                          10.        The nucleic acid-lipid particle of claim l, wherein the non-cationi c
  2       lipid comprises cholesterol or a derivative thereof.

                          11.   The nucleic acid-lipid particle of claim 10, wherein the cholesterol or
  2       derivative thereof comprises from about 31 .5 mo! % to about 42.5 mo! % of the total lipid
  3       present in the particle.

                          12.        The nucleic acid-lipid particle of claim 1, wherein the non-cationi c
  2       lipid comprises a phospholipi d.

                          13.        The nucleic acid-lipid particle of claim 1, wherein the non-cationi c
  2       lipid comprises a mixture of a phospholipi d and cholesterol or a derivative thereof.

                          14.        The nucleic acid-lipid particle of claim 13, wherein the phospholipi d
  2       comprises dipalmitoyl phosphatidy lcholine (DPPC), distearoylph osphatidylc holine (DSPC),
  3       or a mixture thereof.

                          15.  The nucleic acid-lipid particle of claim 13, wherein the phospholipi d
  2       comprises from about 4 mo!% to about 10 mo!% of the total lipid present in the particle and
  3       the cholesterol comprises from about 30 mo!% to about 40 mo! % of the total lipid present in
  4       the particle.

                           16. The nucleic acid-lipid particle of claim 13, wherein the phospholipi d
  2       comprises from about l 0 mo! % to about 30 mol % of the total lipid present in the particle
  3       and the cholesterol comprises from about 10 mo!% to about 30 mo!% of the total lipid
  4       present in the particle.

                           17.   The nucleic acid-lipid particle of claim 1, wherein the conjugated lipid
  2       that inhibits aggregation of particles comprises a polyethylen eglycol (PEG)-lipid conjugate.

                           18.  The nucleic acid-lipid particle of claim 17, wherein the PEG-lipid
   2       conjugate comprises a PEG-diacyl glycerol (PEG-DAG ) conjugate, a PEG-dialky loxypropyl
   3       (PEG-DAA ) conjugate, or a mixture thereof.

                           19.        The nucleic acid-lipid particle of claim 18, wherein the PEG-DAA
      2    conjugate comprises a PEG-dimyr istyloxypro pyl (PEG-DMA ) conjugate, a PEG-
      3    distearyloxy propyl (PEG-DSA) conjugate, or a mixture thereof.


                                                              115




                                                                                                        JA002242
                                                                                                        GENV-00 005393
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 961 of 1274 PageID #: 9267




                                                                                                     ein the PEG has an
                                  20.         The nucle ic acid- lipid partic le of claim 19, wher

  2            avera ge mole cular weig ht of abou t 2,000 dalto ns.

                                                                                                    the conju gated lipid
                                  21.       The nucle ic acid- lipid partic le of claim 1, wher ein
                                                                                            % to abou t 2 mo!% of the
  2            that inhib its aggre     gatio n of partic les comp rises from abou t 1 mol

  3            total lipid prese nt in the partic le.

                                                                                                     the nucle ic acid in
                                  22.     The nucle ic acid- lipid partic le of claim 1, wher ein
                                                                                           incub ation of the partic le in
  2            the nucle ic acid-   lipid paiiic le is not subst antia lly degra ded after
   3           serum at 37°C for 30 minu tes.

                                                                                                        the nucle ic acid is
   l                               23.     The nucle ic acid- lipid partic le of claim 1, wher ein

   2            fully   encap sulat ed in the nucle ic acid- lipid partic le.

                                                                                                      the nucle ic acid-
                                   24.        The nucle ic acid- lipid partic le of claim 1, wher ein
                                                                                              abou t 15.
      2         lipid partic le has     a lipid: nucle ic acid mass ratio of from abou t 5 to

                                                                                                  the nucle ic acid-
                                   25.    The nucle ic acid- lipid partic le of claim 1, wher ein
                                                                                         t 150 nm.
      2         lipid partic le   has a medi an diam eter of from abou t 40 nm to abou

                                                                                                         ic acid- lipid partic le
                                   26.    A pharm aceut ical comp ositio n comp rising a nucle

       2        of claim     I and a pharm aceut ically accep table carrie r.

       l                            27.         A nucle ic acid- lipid partic le comp rising :

       2                            (a) an siRN A;
                                                                                             mo!% to abou t 66.5 mo!% of
       3                            (b) a catio nic lipid comp rising from abou t 56.5
       4                                the total lipid prese nt in the partic le;
                                                                                            from abou t 31.5 mol % to
       5                            (c) chole stero l or a deriv ative there of comp rising
                                                                                                partic le; and
          6                             abou t 42.5 mo!% of the total lipid prese nt in the
                                                                                           t l mol % to abou t 2 mol % of
          7                         (d) a PEG- lipid conju gate comp rising from abou
          8                              the total lipid prese nt in the partic le.

                                                                                                        ein the catio nic lipid
                                      28.        The nucle ic acid- lipid partic le of claim 27, wher

           2      comp rises DLin DMA .

                                                                                                        ein the catio nic lipid
                                        29.      The nucle ic acid- lipid partic le of claim 27, wher

           2      comp rises DLin -K-C 2-DM A.


                                                                           116




                                                                                                                        JA002243
                                                                                                                        GE NV- 000 053 94
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 962 of 1274 PageID #: 9268




                                                                                                     the PEG- lipid
                                30.       The nucle ic acid-l ipid partic le of claim 27, where in

  2            conju gate comp rises a PEG- DAA conju gate.

                                                                                                 the nucle ic acid-
                                31.     The nucle ic acid-l ipid partic le of claim 27, where in
                                                                               about 36.9% chole sterol or a
  2            lipid partic le comp rises about 61.5 mol % cation ic lipid,
                                                                                 gate.
  3            deriv ative thereo f, and about 1.5 mol % PEG- lipid conju

                                                                                                        acid-l ipid partic le
                                32.    A pharm aceut ical comp ositio n comp rising a nucle ic

  2            of   claim 27 and a pharm aceut ically accep table carrie r.

                                33.        A nucle ic acid-l ipid partic le, comp rising :

   2                            (a) an siRNA ;
                                                                                             to about 62 mo!% of the
   3                            (b) a cation ic lipid comp rising from about 52 rnol %
   4                                total lipid prese nt in the partic le;
                                                                                          deriva tive there of
   5                             (c) a mixtu re of a phosp holip id and chole sterol or a
                                                                                               of the total lipid
      6                              comp rising from about 36 mol % to about 47 mol %
      7                                 prese nt in the partic le; and
                                                                                                 % to about 2 mol % of
      8                          (cl) a PEG- lipid conju gate comp rising from about 1 mol
      9                               the total lipid prese nt in the partic le.

                                                                                                        the cation ic lipid
                                 34.        The nucle ic acid-l ipid partic le of claim 33, where in

      2         comp rises DLin DMA .

                                                                                                        the cation ic lipid
       l                         35.        The nucle ic acid-l ipid partic le of claim 33, where in

      2         comp rises DLin -K-C2 -DMA .

                                                                                                        the phosp holip id
                                  36.        The nucle ic acid-l ipid partic le of claim 33, where in
       2         comp rises DPPC .

                                                                                                        the PEG- lipid
                                  37.        The nucle ic acid-l ipid partic le of claim 33, where in

       2         conju gate comp rises a PEG- DAA conju gate.

                                                                                                   the nucle ic acid-
                                  38.     The nucle ic acid-l ipid partic le ofcla im 33, where in
                                                                                about 7.1 mol % phosp holip id, about
          2      lipid partic le comp rises about 57.1 mo!% cation ic lipid,
                                                                                 1.4 mol % PEG- lipid conju gate.
           3     34.3 mol % chole sterol or a deriv ative thereo f, and about




                                                                         117




                                                                                                                      JA002244
                                                                                                                     GE NV-0 0005 395
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 963 of 1274 PageID #: 9269




                            39.     The nucleic acid-lip id particle of claim 33, wherein the nucleic acid-
                                                                                                olipid, about
  2       lipid   particle compri ses about 57. l mol % cationic lipid, about 20 mo!% phosph
                                                                                              id conjuga te.
  3       20 mo! % cholest erol or a derivati ve thereof: and about 1.4 mol % PEG-lip

                            40.       A pharma ceutica l compos ition compri sing a nucleic acid-lip id particle
  2       of claim 33 and a pharma ceutica lly accepta ble carrier.

                            41.       A method for introdu cing a nucleic acid into a cell, the method
  2       compris ing:
  3                         contact ing the cell with a nucleic acid-lip id particle of claim l, 27, or 33.

                            42.       The method of claim 41, wherein the cell is in a mamma l.

                            43.       A method for the in vivo delivery of a nucleic acid, the method
   2      compris ing:
                                                                                                                1,
   3                        adrn inisterin g to a mamma lian subject a nucleic acid-lip id particle of claim
   4      27, or 33.

                             44.      The method of claim 43, wherein the adminis tration is selected from
   2      the group consisti      ng of oral, intranas al, intraven ous, intraper itoneal, intramu scular, intra-
   3       articula r, intrales ional, intratra cheal, subcuta neous, and intrader mal.

                             45.       A method for treating a disease or disorde r in a mamma lian subject in
      2    need thereat: the method compris ing:
                                                                                                                of
      3                      adminis tering to the mamma lian subject a therape utically effectiv e amount
      4    a nucleic acid-lip id particle ofclaim l, 27, or 33.

                             46. The method of claim 45, wherein the disease or disorde r is selected
                                                                                        r, and cancer.
      2    from the group consisti ng of a viral infectio n, a liver disease or disorde




                                                                118




                                                                                                            JA002245
                                                                                                           GE NV-00 00539 6
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 964 of 1274 PageID #: 9270
                                                                                                  PATE NT
                                                                                 8639 9-007 730lJ S-87 949 l

                                    ABS TRA CT OF THE D1SC LOSU RE
                                                                               partic les comp rising one or
                       The prese nt inven tion provi des novel , stabl e lipid
                                                               of maki ng the lipid paitic les, and meth ods
      more activ e agen ts or thera peuti c agent s, meth ods
                                                              les. More partic ularly , the prese nt inven tion
      of deliv ering and/o r admi niste ring the lipid partic
                                                             LP) comp rising a nucle ic acid (such as one
      provi des stabl e nucle ic acid- lipid partic les (SNA
                                                                SN ALP, and meth ods of deliv ering and/o r
      or more interf ering RNA ), meth ods of maki ng the
      admi niste ring the SNA LP.




         65524 864




                                                            119




                                                                                                        JA002246
                                                                                                       GE NV- 000 053 97
                     Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 965 of 1274 PageID #: 9271


      _j__
       I




                                            Activity of SNALP on HT29 Cell Line

             -
             .!J.
              (l,)
                       1.2
             u           1                                                               --- Sample 1
             "'ti
                                                                                         -.- Sample 2
             2ca
                       0.8                                                               -¾- Sample 3
              Cl)
             .....
              I,,,
                                                                                         ~ Sample4
              i:::
             ::>

             -i
             -;fl.
                       0.6                                                               --- Sample 5
                                                                                         -+- Sample 6
                                                                                         -   Sample 7
                                                                                                                 -
                                                                                                                 ....i.

                                                                                                                 N
                                                                                                                 ~
                       0.4
                                                                                         -+- Sample 8
             .a        0.2
              ffl
             >           0
                             1                           10                            100

                                                    nM Total siRNA




G)                                                        FIG. 1A
m
z
<
I
0
0
0
0
a,
v)
                                                                                                                 -1-
(0
CX)
                                                                                                            JA002247
                    Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 966 of 1274 PageID #: 9272




     -t-


                                      Activity of SNALP on HT29 Cell Line
           -
           .!!).
            Cl)     1.2
           u
           "O
           $          1                                                              --1-   Sample 9
            t'U
            Cl>
                                                                                     -+- Sample 10
           ....C:
            I...
                    0.8                                                              ~      Sample 11
           ::>

           -
           rfl      0.6
                                                                                     -+-
                                                                                     _._
                                                                                     -+-
                                                                                            Sample 12
                                                                                            Sample13
                                                                                            Sample 14
                                                                                                               -
                                                                                                               N
                                                                                                               N
                                                                                                               ~
           ~        0.4                                                              -      Sample 15
           :E('l                                                                     -+-    Sample 16
                    0.2
           >
                      0
                          1                           10                          100

                                                 nM Total siRNA




G)                                                      FIG. 1B
m
z
<
I
0


                                                                                                               +
0
0
0
a,                                                                                                                 I
v)
(0
(0
                                                                                                           JA002248
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 967 of 1274 PageID #: 9273



                                             3/24                                        -t-



                      Activity of SNALP Upon Intravenous Administration in Mice
                                       group mean± SD (n=4)


       0
      :.;:::;   2.5
       ro
      a::
      <C
      z
      a:: 2.0
       E
      0
      0...
      <C        1.5
      (.9
      OJ

      z 1.0
       0

       '-
       (])
       >
      :.::i     0.5




 +
                                            FIG. 2

                                                                                  JA002249
                                                                                  GE NV-00005400
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 968 of 1274 PageID #: 9274



                                       4/24




              3.0


              2.5
       0
      :;:;
       ro
      0:::             ~



      <(      2.0
      z
      0:::
       E
      0
      a_      1.5,.
      <(                           -47% vs PBS Control
      (.'.)
      iri
       0
      ~ 1.0
                                           1
       ....
       (])
      -~
      _J
                                                         -77% vs PBS Control
              0.5 -                                              1
              0.0
                      PBS         2:30 SNALP 5x1 mg/kg 1 :57 SNALP 5x0.1 mg/kg




 +                                   FIG. 3

                                                                        JA002250
                                                                       GE NV-00005401
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 969 of 1274 PageID #: 9275



                                                     5/24                                        +

                            Activity of SNALP Upon Intraven ous Adminis tration in Mice
                                            group mean± Sb (n=4)


                 2.0    l
         0
        :;:::;
         ro
        0::
        <(       1.5
        z
        0::
         E
        0
        0...
        <(       1.0
                                                                                          l
        <..?
        6:i
         0
                                                              1
         c..
        <(
         .... 0.5
         (1)
                                                      l

         >
        ::J                                                             !



                                I   -   11
                                             l

                                                 I                           I   ~   I
                 0.0
                       PBS     Group 2 Group 3 Group 4 Group 5 Group 6 Group 7 Group 8




                                                     FIG. 4

 -+--                                                                                     JA002251
                                                                                          GE NV-000 05402
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 970 of 1274 PageID #: 9276



                                           6/24




                  Activity of SNALP Upon Intravenous Administration in Mice
                                 group mean± SD (n=4)


      ~ 2.0 Ii
      0:::
      <(
      z
      0:::
       E 1.5
      0
      CL
      <(
      (9
      ~ 1.0
       0..
      <(
       '-
       Cl.)
       >
      :.::J 0.5




 +-                                       FIG. 5

                                                                              JA002252
                                                                              GE NV-00005403
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 971 of 1274 PageID #: 9277



                                                                                                 7/24                                                                                                     +
                                                        Tolerability of IV 1 :57 SNALP in Female BALB/c Mice, n=4, SD error
                 140                                                                                                                       168 [;[;:                   205
                                            ~                Alanine Aminotransferase
                                                                                                                                                         ~~
                 120
                                            •
                                            ~
                                                             Aspartate Aminotransferase
                                                             Sorbital Dehydrogenase
                                                                                                                                                         /Y)
                                                                                                                                                         r~ '/
                                                                                                                                                          /2:
                                                                                                                                                         ~~
                              lncr'd SDH, ALT levels indicate hepatocyte damage. ~~
                 100                                                       96    P,;~
                                                                                     ~
                                                                                 ~'/;,,
                                                                                           81                                                            ~~                               79
            _J      80                                                                                                                                   (,;~
            3                                                                                                                69                          ~1/
                                                                                                                                                         _,;;:
                                                                                                                             ~
                                                                                                                                                         v_;r;,,      62
                                                                                                                   59                                    [/8:
                                                                                                                                                         v.::[/                 58
                   60                                             53
                                                                                                                             'A/
                                                                                                                                                         '/[;                  vv.::
                                     46
                                                                                5(
                                                                                                                             ~                           ~~
                                                                                                                                                         '/
                                                                                                                                                                               ../

                                                                                ~                        41                                 40                                 V'.'.,,'
                                                             4C                                                              ?d                                 r/
                                                                                                                                                                               ~::;             35
                                                                                                                        27 ~
                   40          37                                               ~I;::
                               ~
                                                     ~                          0
                                                                                                33       '/,~
                                                                                                            r,,-
                                                                                                                           ~                             %                     1%'./
                                                  23 ~:;;
                                                                       27                                                                                 '//
                                                                                                                                                                               ~
                                                     v~                                                                      ~                           -~
                                                                                                             '/
                                                                                //                           ,/.                                                               v'. '/
                    20         0
                               v/.                                                                       /                   -_,,.,,                                           '/

                                                             ~
                                                                                 '/
                                                                                                             '/
                                                                                                                             ~/                                                l/:'/
                                                                                                                                                                                -.,,,
                                                             ~                                           i/                  ~;                           ~
                                                                                      ,
                               0                                                                                             ;::'./
                                                                                                         ~
                                                                                 '/

                                                             ~                                                                                            0                    ~/
                               0                                                  /
                                                                                  /                                          //'.                                              v:%
                      0                                           ~0                       s         I
                                                                                                                         '             e         '              s          '
                                                                                                                                                                                                      I

                                                         '                  '



     FIG. 6A

                        Tolerability of IV 1 :57 SNALP in Female BALB/c Mice,
                                               n==4 SD error
             5-.---------------- ---'-'-----'-------- ------,,.,.,,------- --------,
                    !Zl   Alanine Aminotransferase                8.7 ~ 7.9
                                                                                                                                                           I;
                                   D                      Aspartate Aminotransferase
                                   ~                     Sorbital Dehydrogenase
             4
                                                                                                                                                     -     ,,
                                                                                                                                                           L,
                                                                                                                                                           L,



     ro                            2-fold increase ("3xULN") is considered clinically
                                                       significant
                                                                                                                                                           t
                                                                                                                                                           I/
     E
     '-
     0                                                                                                                                                     ~ v ---
    z
    4-
             3                                                                                                               ,------Yl:
                                                                                                                                                     .. 1,,



     0
    :=:'.
     E
    :.:.i 2
     '-
     (1)                                                                                                                                                                                   I?
     0..                                                                                                                                                                                   I/
     0..
    ::)
    "O          1-,,,--.,-,=r-1~        -   - -   _,,
                                     17           l,,
     0                               I; :
    LL
     X
      I
                                     v:
                                       ~:
                                       t,:


             O 1 2 3 "4 5 6 7 8 9 10 11 12 13 14 15 16 17 18 19 20 21 22 23 24 25 26 27 28
                             PBS                         Syringe            Syringe PBS                      Gear PBS        Syringe Citrate Syringe PBS                                  Gear PBS
                                                         Citrate
                     Lipid dose                                                           96                       79                      99                          123                      102
                                                             77
                     siRNA dose                                                 7 mg/kg                                                                              9 mg/kg




 --flG.               6B

                                                                                                                                                                                     JA002253
                                                                                                                                                                                     GE NV-00005404
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 972 of 1274 PageID #: 9278



                                                                8/24

                  0                    SNALP Activity From Different Manufacturing Processes
                 ~         2.0
      FIG. 7A    0:::
                                               IV, 48 h, ApoB-10048 U2/2 G1/2 (Dow),
                 <(                               female BALB/c mice, n=4, SD error
                 ~         1.5
                  E
                 0
                 o...      1.0
                 <(
                 (.9
                 cri       0.5
                  0
                  Cl.
                 <(

                                      PBS       1 :57  1 :57 1 :57  1 :57
                                              Syringe Gear Syringe Gear
                                              0.05mg 0.05mg 0.1mg/ 0.1mg/
                                                /kg    /kg    kg     kg


                                  SNALP Re-Formulation - Activity Assessment in BALB/c Mice
                           0.6              48 h time point, n=4, SD error bars
      FIG. 7B    0
                 0
                 ..-       0.5
                 OJ  '
                  0
                  Cl.      0.4
                 ~
                  cu       0.3
                  E
                  en
                  ro       0.2
                 0...
                  Cl)
                  >
                 :;::;     0.1
                  cu
                  Cl)
                           -0.1       PBS        1:57                                1 :57
                 0:::                          Syringe                             Syringe
                                                Press Pump                          Press Pump
                                                  0.05 mg/kg                           0.1 mg/kg

                                           Efficacy of SNALP Formulations
    FIG. 7C                 Fresh Terminal Plasma, n=4 female Balb/c mice, SD Error Bars
                 ::i'
                 32           70
                  0)

                 -S              60
                  0
                  '-             50
                   Cl)
                 .......
                  en
                  Cl)
                                 40
                  0
                 .c              30
                 u
                  ro             20
                 .......
                  0
                 1-              10
                  ro              Q µ_ _    ___J.~'LLL'.L.Lt.i.,..L:LL,::'.LL..d..,..lt:LLULLL,..L::'.LL'LL.,.'.ZJ...,
                  E
                  (/)                  PBS           1 :57          1:57
                  cu                               Syringe         Syringe
                 0...                               Press Pump Press Pump
                                                       0. 05 mg/kg   0. 1 mg/kg




+                                                                                                                        JA002254
                                                                                                                         GE NV-00005405
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 973 of 1274 PageID #: 9279



                                                                                    9/24
                                                                                                                                                                                   ----j~




                        Tolerab ility of 1157 SNALP IV in BALB/c Mice, n=4 (Grp1-3 n=3), SD error

               6%~-------------------------~
      wCJ)
       0
      o        4%
       ~'
      0...
       en
      2.,       2%
      """
      N
       '-
       ::J
      :i:                                                                                                                                                                "--,.U..,..~
                0% +r--t--,-,--,;r ,,-:¾-r;,-,--.- ,-,-,rh-,..,.-,-, ,-+--,-~-'-LL -'-.-'J.-J-.f--J ....!.L,-"-"-'< -Lw'-,---'<'-L -f---''-"J.....,- --'-LL-"-'C.d --,-IC.L"-4.-"
      ......
       (ij                                                                               9:1              9:1          6:1            6:1               6:1           6:1         9:1
       en
       Cl)                                                                             9mg/ 11 mg 11 mg 13mg/ 15mg/ 17mg/ 11 mg/
                                                                                      ··kg · /kg·                     /kg · kg                           kg · · · kg ·            kg
      .3
      ......
               -2%
      ..c              PBS              9:1
       C)
                                    ?mg/kg
      ~>,
               -4%                                       9: 1 ... PEfs -
      -0
       0                                            11 mg/kg
      OJ
               -6%~-------------------------~




                                                                                    FIG. 8

                                                                                                                                                               JA002255
                                                                                                                                                              GE NV-00 00540 6
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 974 of 1274 PageID #: 9280



                                                   10/24




                           Tolerability of IV 1 j57 SNALP Prepared at 9:1 Lipid:Drug Ratio

                  1, 4 0 0 - , - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ,

                                                                ~ Platelet Count
                  1,200

                  1,000

           -
           ...1
            00
            (J)
            (.)
                   800
           0)

           ~
           ...-    600

                   400

                   200




                                 PBS             Gear PBS lnline at       Gear PBS lnUne at
                                                   7 (71) mg/kg            11 (112) mg/kg




                                                  FIG. 9
 --+----                                                                                JA002256
                                                                                        GE NV-00005407
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 975 of 1274 PageID #: 9281



                                               11/24




                       Tolerability of IV 1:57 Gear PBS In-Line SNALP in Female BALB/c
                                                Mice, n=4, SD error

                         tZl Alanine Aminotransferase
              1,200      D Aspartate Aminotransferase
                         ~ Sorbital Dehydrogenase

              1,000    Samples taken at 24 h time point except
                                 for last grp (48 h).

     ~         800
     :::::>

               600
                                                                 456
               400


               200

                 o itzz±:ill:iii..,J'.½Ll~t2212£2U~~~2LiE&L~'.id~J½1;ia8&LJ:22L~
                                 9:1      9:1   6:1   6:1    6:1    6:1    9:1
                      PBS   SNALP SNALP SNALP SNALP SNALP SNALP SNALP
                             9mg/ 11 mg/ 11 mg/ 13mg/ 15mg/ 17mg/ 11 mg/kg
                              kg    kg     kg    kg    kg    kg      48h




                                             FIG. 10A


                                                                                 JA002257
                                                                                GE NV-00005408
                               Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 976 of 1274 PageID #: 9282



          -i-
                                        Tolerability of IV 1:57 Gear PBS In-Line SNALP in Female BALB/c Mice, n=4, SD error


                         50
                                                 ~  Alanine Aminotransferase
                                                 CJ Aspartate Aminotransferase
                                                 ~ Sorbital Dehydrogenase
                         40

                 (\j
                                       2-fold increase ("3xULN") is considered clinically significant
                 E
                 ...
                 0       30

                -
                z
                 0
                ......
                .E                                                                                                                                                                             -
                                                                                                                                                                                               _j.

                                                                                                                                                                                               N
                                                                                                                                                                                               N
                :J       20                                                                                                                                                                     ~
                 I,..
                 Q)
                 0.
                 0.
                ::)

                -o       10
                 0
                LL
                  I
                 X


                          0 pr:Bl<T.:1?1"80 rsl'.'1Yl ff.!3lr;::r.Rj~ RfR1f:TBN
                                  ~~~~~~•,                                    ~ :t>jf:;fRj~:J51~£rJJ1Mt~r::19t;:[MFJ:'.E~
                                                                                    ~r,,,,                 r,.          r:l>Ji:fRj
                                                                                                                           ~r      KflxlN:::k?j~[Rj~:J?l
                                                                                                                                     ~,           ~r     r::UclR:!Jslt·l:tSJ
                                                                                                                                                             ,       rr      ~:RJRH9N:hW
                                                                                                                                                                                ,,,    1




                              siRNA dose            9mg/kg I 11 mg/kg                     11mg/kg             13mg/kg        I
                                                                                                                         15mg/kg                    17mg/kg             11mg/kg
                               Lipid dose             92        112                         78                  93         107                        121                 112
G)                                PBS                 9:1 SNALP (10)                                              6:1 SNALP (7)                                          9:1 (10)
m
z
< I
                                                                                               FIG. 10B
0
0
0
0
a,
.i:::..
                                                                                                                                                                                                --+-
0
(0
                                                                                                                                                                                           JA002258
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 977 of 1274 PageID #: 9283




    FIG. 11A
                                                13/24                                       +
                    1157 Gear PBS In-Line SNALP Activity From Different Input Upid:Drug Ratios
             3.0    IV, 48 h, ApoB-10048 U2/2 G1/2 (Dow), female BALB/c mice, n=4, SD error

     0

    ~ 2.5
    <{
    z                            2-tailed T-test: p=0.078
    i 2.0
    0
    CL
    ~ 1.5
                                I                       i-35%
                                                                    n=3
    cri                                                            due to
     0                                                             health
     0.
    <l'.'. 1.0
     '-
     (l)
      >
    :..:J
             0.5                                                                    -84%




    FIG. 11B
                              SNALP Re-Formulation - Activity Assessment in BALB/c Mice
             0.40             DOW ApoB lead siRNA, 48 h time point, n=4, SD error bars
                                                      LLQ =9%
             0.35

    0
    0    0.30
    ..-I
    [(l                                                     -28%
     g_ 0.25
    ~
                                                                     -53%
     (lj                                                           1 excluded
     E 0.20
     (/)
                                                                    (health)
     (lj
    CL       0.15
     (l)
     >
    :;:::;
     (lj     0.10
     (l)
    0:::
             0.05

             0.00
                    PBS




 +--                                                                               JA002259
                                                                                  GENV-00005410
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 978 of 1274 PageID #: 9284



                                                14/24




                                       Efficacy of SNALP Reformulations
                         Fresh Terminal Plasma, n==4 female Balb/c mice, SD Error Bars


              60
     :.:;                                                 -1%
     32
      0)
          50
      E
     ..._,,
      e 40
      (1)
     ......
      (/)
      (1)
      0
     ..c 30
     0
      ro
     0
     !-       20
      ro
      E
      (/)
      ro      10
     CL


               0
                   PBS

                                                                New 1:57 SNALP (7:1)




+
                                               FIG. 12

                                                                                   JA002260
                                                                                   GENV-00005411
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 979 of 1274 PageID #: 9285



                                                        15/24




              120%~-----------------------~
                            -+- Luc      -.t.-PLK1424

              115%
     ......
    .s::::.
    .Ql 110%

     ~>,
    -a
    0
       105%
    QJ

              100%

              95%

              90%+----,--- ...-----,------ r-----r-----.- ---,-----,----- ---.----,-----r -------,.------ ---i
                     8    12     16     20     24     28     32   36      40     44     48     52     56    60
                                                           Study Day




 +
                                                       FIG. 13

                                                                                                     JA002261
                                                                                                    GE NV-000054 12
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 980 of 1274 PageID #: 9286



                                                  16/24




                                    -.ik-   Control SNALP    -<>- Active SNALP

               100%


                80%
         ro
     .;:::
       C:
       ::::,
     (.f)
                60%


                40%


                20%

                0%-1------ ,,--,--~---,- ---,--,---,-- ----,---r--,- ---,-------- .-.--r---,lll r:-1
                  15 20 25 30 35 40 45 50 55 60 65 70 75 80 85 90
                                                Days after seeding




                                                 FIG. 14
 -+---                                                                                   JA002262
                                                                                         GENV-00005413
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 981 of 1274 PageID #: 9287



                                         17/24                                 +


                          2.0•-
                   <(
                   ~      1.6,-
                                                  T
                   E              T
                   O      1.2,_
                   0...
                   <(
                   (!)
                   ..c    0.8-                              ,-
                   ~
                   _J

                   ~      0.4 -
                   C
                   ro
                   ~      0.0                         I
                                                                    '
                                  PBS         Luc         PLK1424




                                        FIG. 15

                                                                        JA002263
                                                                        GENV-000054 14
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 982 of 1274 PageID #: 9288



                                       18/24                                      +


                 1    2   3   4    5   6     7




       500--..                                             .....-PLK1424 5'RACE
       400--..                                                   product
       300--..
                                                                 476bp
       200-•
       100--..




                                           FIG. 16

                                                                       JA002264
                                                                      GENV-00005415
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 983 of 1274 PageID #: 9289



                                       19/24




          x200 mag                          x400 mag




          x200 mag                          x400 mag




                                      FIG. 17

                                                                       JA002265
                                                                      GENV-00005416
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 984 of 1274 PageID #: 9290



                                       20/24




                                  6x2mg/kg Mean tumor volume



                   -+-Luc-O MA
                   --11-PLK-DMA
                   -.-pLK-D SA

     (I)

     § 60
     0
     >
     ......
     0
     E
     ::::i
     I-
              40



              20



               0-+-----~--~---~--~--~---~--~-----l
                8   10  12  14  16  18   20  22  24
                                            Days




 +
                                      FIG. 18

                                                                       JA002266
                                                                      GENV-00005417
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 985 of 1274 PageID #: 9291



                                                         21/24




                            PLK mRNA silencing in scid /beige mice treated with 2mg/kg 1:57 SNALP against
                                                    subcutaneous Hep3B tumors
                 0.70

                 0.60         100%
         0

        ~                                                -15%
        :::c 0.50
        0
        0....
        <(
                 0.40                      -30%
        CJ                                                                          -37%
        ~
        ~                                                                                         -52%
        .....1
        Q_
                 0.30
        ..c:
         C
         co
                                                                       -65%
         (L\     0.20-
        ~

                 0.10

                 0.00

                   y Y>\J
                 ~"'




                                                        FIG. 19
 -+-·                                                                                            JA002267
                                                                                                 GENV-00005418
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 986 of 1274 PageID #: 9292



                                               22/24




                         6x2mg/kg Mean tumor volume
            2200-,------------------------------,
            2000                             Crossover dosing of Luc
                       -+- Luc-OMA           cDMA group with 6 x 2
            1800       --- PLK-DMA           mg/kg PLK cDSA SNALP
                       -.e.- PLK-DSA
    ©       1600
    E
    ::::i   1400
    0
    >
     0 1200            Initial 6 x 2 mg/kg
    ] 1000                  SNALP
            800
            600
            400
            200
              0 .J--!=--,---.----:=~~~ ;::.=:=~--,--~---,----,- -~L.,---.---,-_r--~--,- -~
                   8 10 12 14 16 18 20 22 24 26 28 30 32 34 36 38 40 42 44 46 48 50
                                                   Days




+
                                             FIG. 20

                                                                                  JA002268
                                                                                  GENV-00005419
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 987 of 1274 PageID #: 9293



                                                  23/24                                       --+-



                                  Mean hPLK (1 :4) : hGAPDH (1 :40) minus "backgro und"
               1.20
                           0.99

    ,......_
    0          1.00
                            T
    :I:
    ..-
    .___,
    I
    0          0.80                                                  0.61
    0..
    <(
    (9
    .c
                                                                      T            0.42
     .. 0.60

                                                                                    f
    ,,-...,
    :I:
    ..-
    ..__.,
    ~       0.40
    _j
    0..
    .c
                                          0.23          0.23
     C                                     T              T
     co        0.20
     <1)
    ~


               0.00
                      24h Luc 1 :57   24h PLK 1:57 24h PLK 1 :57 96h PLK 1 :57 96h PLK 1:57
                         cDMA            cDMA         cDSA          cDMA          cDSA




 +                                               FIG. 21

                                                                                    JA002269
                                                                                   GE NV-0000 5420
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 988 of 1274 PageID #: 9294



                                       24/24




              80

              70                      -+--- 1 :57 PEG-cDS A SNALP

                                      ---.tr-1 :57 PEG-cDM A SNALP
              60
        (1)
        (/)
        0
        -0
              50
        -0
         (1)
        ......
         (.)   40
        (1)
        ·2
        ~
        0
              30

              20

              10                                                     f
               0
                    0   1   2     3      4         5    6       7    8       9
                                             Time (h)




                                      FIG. 22
 -i__
   I
                                                                         JA002270
                                                                         GE NV-00005421
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 989 of 1274 PageID #: 9295



                                        SEQUENCE LISTING

  <llO> Yaworsk. i, Edward
        Lam, Kieu
        Jeffs, Lloyd
        PaJ.mer, Lorne
        MacLach lan, Ian

  <120> Novel Lipid Formula tions       for Nucleic
    Acid Delivery

  <l30> 020801-0 07710US

  <140> us 12/424,3 67
  <141> 2009-04- 15

  <150> us 61/045,2 28
  <151> 2008-04- }5

  <l60> 7

  <170> FastSEQ for Windows Version 4.0

  <210>   1
  <211>   21
  <212>   DNA
  <213>   Artifici al Sequence

  <220>
  c223> syntheti c ES kinesin- related protein 2263 U/U
        siRNA sense strand of siRNA duplex

  <220>
  <223> Descrip tion of Combined DNA/RNA Molecul e:synthe tic ES
        kinesin- related protein 2263 U/U siRNA sense strand of
        siRNA duplex

  <221> modified base
  <222> (2) . • . (19)
  <223> n = um

  <221> modified__base
  <222> (20) . . . (2l)
  <223> n = deoxythi midine      (dT)

  <400> l                                                          21
  cngaagac cn gaagacaa nn n

  <210>   2
  <211>   21.
  <212>   DNA
  <213>   Artifici al Sequence

   <220>
   <223> syntheti c E5 kinesin- related protein 2263 U/U
         siRNA antisens e strand of siRNA duplex




                                                                        JA002271
                                                                        GE NV-000 05422
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 990 of 1274 PageID #: 9296



  <220>
  <223> Descript.ion of Combined DNA/RNA Molecule;synthe tic E5
        kines.in-related protein 2263 U/U siRNA antisense strand
           of siRNA duplex

  <22l> modified_base
  <222> (8) . . . (l6)
  <223> n = um

  <22l> modified base
  <222> (20) . . . (2l)
  <223> n = deoxyth.im.idine     (dT)

  <400> 2
  auugucunca ggncuncagn n                                          21

  <210>    3
  <211>    21
  <212>    DNA
  <213>    Artificial Sequence

  <220>
  <223> synthetic apolipoprotein B    (ApoB) 10048 U2/2 GJ./2
           siRNA sense strand of siRNA duplex

  <22l> modified base
  <222> (4) . . . (4)
  <223> n = gm

  <221> modified_base
  <:222> (8) . . . (14)
  <:223> n = um

  <400>    3
  agunucanca cacngaauac c                                          21

  <:210>   4
  <2:ll>   21
  <212>    DNA
  <213>    Artificial Sequence

  <220>
  <223> synthetic apolipoprotein B     (ApoB) 1.0048 U2/2 Gl/2
           siRNA antisense strand or siRNA duplex

  <:221> modified base
  <222> (4) • . . (4)
  <223> n = um

  <221> modified_base
  <222> (7) . . . (9)
  <:223> n = gm

  <221> modified base
  <222> (19) . . . (l9)
  <223> n = um




                                                                        JA002272
                                                                        GE NV-00005423
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 991 of 1274 PageID #: 9297



  <400> 4
  uauncanunu gaugacacnu g                                       21

  <2l0>      5
  <21.J.>   21.
  <2l2>     DNA
  <2l3>     Artificial Sequence

  <220>
  <223> synthetic polo-J.ike kinase l (PLK-1) PLK1424 U4/GU
        and PLK1424 U4/G siRNA sense strand of siRNA
        duplex

  <220>
  <223> Description of combined DNA/RNA Molecule,synthe tic
        polo-like kinase 1 (PLK-l) PLK1424 U4/GU and PLK1424
        U4/G siRNA sense strand of siRNA duplex

  <221.> modified_base
  <222> (4) . . . (18)
  <223> n = um

  <22l> modified base
  <222> (20) ... (21)
  <223> n = deoxythimidine (dT), u or a ribonucleotide
        complementary to target complementary sequence

  <400> 5
  agancacccn ccunaaanan n                                       21
  <210> 6
  <211> 21
  <212> DNA
  <213> Artificial Sequence

  <220>
  <223> synthetic polo-like kinase 1 (PLK-1) PLK1424 U4/GU
        siRN"A antisense strand of siRNA duplex

  <220>
 <223> Description of Combined DNA/RNA Molecule,synthe tic
       polo-like kinase l (PLK-1) PLK1424 U4/GU siRNA
       antisense strand of siRNA duplex

 <221> modified base
 <222> (8) . . . (ar
 <223> n = gm

 <221> modified base
 <222> (17) . • . (17)
 <223> n         = um
 <22l> modified_base
 <222> (20) ... (21)
 <223> n = deoxythimidine       (dT), u or a ribonucleotide
            complementary to target sequence




                                                                       JA002273
                                                                      GE NV-00005424
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 992 of 1274 PageID #: 9298



  <400> 6
  uauuuaanga gggugancun n                                         21

  <2].0>   7
  c211>    21
  <2J.2> DNA
  <213> Artificial Sequence

  <220>
  <223>    synthetic polo-like kinase 1 (PLK-1) PLK1424 U4/G
           siRNA anti.sense strand of siRNA duplex

  <220>
  <223> Description of Combined DNA/RNA Molecule,synthetic
           polo-1.i.ke kinase J. (PLK-1.) PLK.J.424 U4/G si.RNA
           antisense strand of siRNA duplex

  <221> modified base
  <222> (9) . . . (15)
  <223> n = gm

  <221.> modified_base
  <222> (20) . . . (21)
  <223> n = deoxythimidine (dT), u or a r.ibonucleotide
         complementary to target sequence

  <400> '7
  uauuuaagna gngunaucun n                                         21




                                                                       JA002274
                                                                       GE NV-00005425
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 993 of 1274 PageID #: 9299




                   JOINT APPENDIX 64
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 994 of 1274 PageID #: 9300




   l hereby certify that this correspondence is being filed via                                                  PATENT
   EFS-Web with the United States Patent and Trademark Office                  Attorney Docket No.: 86399-007730US-879491
   on         November 6 20 l 3

   KILPATRICK TOWNSEND & STOCKTON LLP

   By: ______ JJudi=th~C=ot=ha=m-"--/_ _ _ _ _ _ _ _ __




                    IN THE UNITED STATES PATENT AND TRADEMAR K OFFICE



   In re application of:                                           Confirmation No. 1310

              MacLACHLAN et al.                                    Examiner:         Not yet assigned

   Application No.: 13/928,309                                     Art Unit:         1612

   Filed: June 26, 2013                                                   COMMUNICATION UNDER

   For: NOVEL LIPID FORMULATIONS                                                37 C.F.R. §§ 1.821-1.825
   FOR NUCLEIC ACID DELIVERY
                                                                                         AND
   Customer No.: 20350
                                                                        PRELIMINARY AMENDMENT



   Mail Stop Missing Parts
   Commissioner for Patents
   P.O. Box 1450
   Alexandria, VA 22313-1450

   Commissioner:

                         In response to the request to comply with Requirements for Patent Applications
   Containing Nucleotide Sequence and/or Amino Acid Sequence Disclosures, 37 C.F.R. §§ 1.821-
   1.825, that accompanied the Notice to File Missing Parts of Nonprovisional Application mailed
   August 8, 2013, Applicants submit herewith a computer readable copy of the Sequence Listing.
                         Amendments to the Specification begin on page 2 of this paper.
                         Amendments to the Claims are reflected in the listing of claims which begins on
   page 5 of this paper.
                         Remarks begin on page 8 of this paper.




                                                                  Page 1 of 9
                                                                                                                  JA002275
                                                                                                                 GENV-00005437
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 995 of 1274 PageID #: 9301




  Appl. No. 13/928,309                                                                     PATENT
  Arndt. dated November 6, 2013
  Reply to Notice of Missing Pmis of August 8, 2013



   Amendments to the Specification:

   Please replace paragraph [0004] beginning at page 1, line 11, with the following:

          REFERENCE TO A "SEQUENCE LISTING[["]]," A TABLE, OR A COMPUTER

                PROGRAM LISTING APPENDIX SUBMITTED AS AN ASCII TEXT FILE

   [0004] Not applicable. The Sequence Listing written in file -77-3.TXT, created on August 22,
   2013, 8,192 bytes, machine format IBM-PC, MS-Windows operating system, is hereby
   incorporated by reference in its entirety for all purposes.



   Please replace paragraph [0026] on page 5 with the following amended paragraph:

   [0026] Figure 1 iUustmres Figure 1A (Samples 1-8) and Figure 1B (Samples 9-16) illustrate
   data demonstrating the activity of l :57 SNALP containing Eg5 siRNA in a human colon cancer
   cell line.



   Please replace paragraph [0031] on page 5 with the following amended paragraph:

   [0031] Figure 6 illustrates Figure 6A (expressed as IU/L) and Figure 6B (expressed as x-Fold
   Upper Limit of Normal) illustrate data demonstrating that the tolerability of 1:57 SNALP
   containing ApoB siRNA prepared by citrate buffer versus PBS direct dilution did not differ
   significantly in terms of blood clinical chemistry parameters.



   Please replace paragraph [0032] on page 5 with the following amended paragraph:

   [0032] Figure 7 illustrates Figure 7A (expressed as liver ApoB:GAPD mRNA ratio), Figure 7B
   (expressed as relative plasma ApoB-100 concentration), and Figure 7C (expressed as plasma
   total cholesterol illustrate data demonstrating that the efficacy of l :57 SN ALP containing ApoB
   siRNA prepared by gear pump was similar to the same SNALP prepared by syringe press.




                                                      Page 2 of 9
                                                                                            JA002276
                                                                                            GE NV-000054 38
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 996 of 1274 PageID #: 9302




  Appl. No. 13/928,309                                                                                PATENT
  Arndt. dated November 6, 2013
  Reply to Notice of Missing Paits of August 8, 2013

   Please replace paragraph [0035] on page 6 with the following amended paragraph:
   [0035]        Figure rn illustrates Figure l0A (expressed as IU/L) and Figure 10B (expressed as x-
   Fold Upper Limit of Normal) illustrate data demonstrating that clinically significant liver
   enzyme elevations (3xULN) occurred at particular drug dosages of 1:57 SN ALP containing
   ApoB siRNA.



   Please replace paragraph [0036] on page 6 with the following amended paragraph:

   [0036]        Figure 11 illustrates Figure l lA (expressed as liver ApoB:GAPD mRNA ratio) and
   Figure 1 lB (expressed as relative plasma ApoB-100 concentration) illustrate data demonstrating
   that the potency of the lower lipid:drug (L:D) 1:57 SNALP containing ApoB siRNA was as good
   as that of the higher L:D SN ALP at the tested drug dosages.



   Please replace Table 1 beginning at page 92, line 14, with the following:

   Table 1. siRNA duplex comprising sense and antisense Eg5 RNA polynucleotides.

    Modification                EgS 2263 siRNA sequence              SEQ JD       % 2'0Me-        % Modified in
                                                                      NO:         Modified         DS Region

           U/U               5'-C~GAAGACC~GAAGACAA~dTdT-3'               l       6/42 = 14.3%     6/38 = 15.8%
                       3'-dTdTGACUU -·
                                       CUGGACUUCU
                                         -   -
                                                 GUUA-5'                 2
   Column I: "U/U" = 2'OMe-uridine modified siRNA duplex; Column 2: 2'OMe-modified nucleotides are indicated
   in bold and underlined. The siRNA duplex can alternatively or additionally comprise 2'-deoxy-2'-fluo ro (2'F)
   nucleotides, 2'-deoxy nucleotides, 2'-O-(2-methoxyethyl) (MOE) nucleotides, and/or locked nucleic acid (LNA)
   nucleotides. "dT" ,cc deoxythymidine. Column 3: The number and percentage of2'OMe-modif ied nucleotides in
   the siRNA duplex are provided. Column 4: The number and percentage of modified nucleotides in the double-
   stranded (DS) region of the siRNA duplex are provided.




   Please replace Table 3 beginning at page 94, line 7, with the following:

   Table 3. siRNA duplex comprising sense and antisense ApoB RNA polynucleotides.

  Position       Modification          ApoB siRNA sequence                SEQ       % 2'0Me-        % Modified in
                                                                         IDNO:      Modified         DS Region

   10048          U2/2 Gl/2            -  -- ACACUGAAUA
                                5'-AGUGUCAUC     -
                                                       CC-3'                 1     7/42 = 16.7%      7/38 = 18.4%




                                                       Page 3 of 9
                                                                                                       JA002277
                                                                                                      GENV-00005439
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 997 of 1274 PageID #: 9303




   Appl. No. 13/928,309                                                                                   PATENT
   Arndt. dated November 6, 2013
   Reply to Notice of Missing Parts of August 8, 2013

                            I 3'-GUP,CACAGUAGUQUQAC~UAU-5'                     1
 Column 1: The number refers to the nucleotide position of the 5' base of the sense strand relative to the mouse ApoB
 mRNA sequence XM_137955. Column 2: The numbers refer to the distribution of2'OMe chemical modifications in
 each strand. Column 3: 2'OMe-modified nucleotides are indicated in bold and underlined. The siRNA duplex can
 alternatively or additionally comprise 2'-deoxy-2'-fluoro (2'F) nucleotides, 2'-deoxy nucleotides, 2'-O-(2-
 methoxyethyl) (MOE) nucleotides, and/or locked nucleic acid (LNA) nucleotides. Column 4: The number and
 percentage of2'OMe-modified nucleotides in the siRNA duplex are provided. Column 5: The number and percentage
 of modified nucleotides in the double-stranded (DS) region of the siRNA duplex are provided.




   Please replace Table 8 on page 105, beginning at line 19, with the following:
   Table 8. siRNA duplexes comprising sense and antisense PLK-1 RNA polynucleotides.

         siRNA                              PLK-1 siRNA Sequence                           SEQ ID       % Modified
                                                                                             NO:       in DS Region

    PLK1424 U4/GU          5'-AGAUCACCCUCC
                                   -   -
                                           UUAAAUANN-3'               -~B-NG.--5-7+            2       6/38 = 15.8%
                        3'-NNUCUAGUGGGA  GGAAUUUAU-5'
                                          --                          (SEe IB NG.Sil)          Q
                                 -

    PU( 1424 U4/G          5'-AGAUCACCCUCC
                                  -        UUAAAUANN-3'
                                            -   -
                                                                      (sEe ±B Ne.s1+           2       7/38 = 18.4%
                        3'-NNUCUAGUGGGA
                                    -~ -
                                         GGAAUUUAU-5'
                                         -                            ~ I - B NG.56)           1
  Column 1: The number after "PLK" refers to the nucleotide position of the 5' base of the sense strand relative to the
  start codon (ATG) of the human PLK-1 mRNA sequence NM_005030. Column 2: 2'-O-methyl (2'OMe) nucleotides
  are indicated in bold and underlined. The siRNA duplex can alternatively or additionally comprise 2'-deoxy-2'-fluoro
  (2'F) nucleotides, 2'-deoxy nucleotides, 2'-O-(2-methoxyethyl ) (MOE) nucleotides, and/or locked nucleic acid (LNA)
  nucleotides. N = deoxythymidine (dT) nucleotide, uridine (U) ribonucleotide, or ribonucleotide having
  complementarity to the target sequence (antisense strand) or the complementary strand thereof (sense strand). Column
  3: The number and percentage of modified nucleotides in the double-stranded (DS) region ofthe siRNA duplex are
  provided.




   Please insert the accompanying paper copy of the Sequence Listing, page numbers 1 to 4, at the
   end of the application.




                                                        Page 4 of9
                                                                                                           JA002278
                                                                                                           GE NV-00005440
 Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 998 of 1274 PageID #: 9304




     Appl. No. 13/928,309                                                                         PATENT
     Amdt. dated November 6, 2013
     Reply to Notice of Missing Parts of August 8, 2013



     Amendments to the Claims:

     This listing of claims will replace all prior versions, and listings of claims in the application:

     Listing of Claims:

                      1-46.      (Canceled)

1                     47.        (New) A nucleic acid-lipid particle comprising:
2                     (a) a nucleic acid;
3                     (b) a cationic lipid comprising from 50 mol % to 65 mol % of the total lipid
4                            present in the particle;
5                     (c) a non-cationic lipid comprising up to 49.5 mol % of the total lipid present in
6                            the paiiicle and comprising a mixture of a phospholipid and cholesterol or a
7                            derivative thereof, wherein the cholesterol or derivative thereof comprises
 8                           from 30 mol % to 40 mol % of the total lipid present in the particle; and
9                     (d) a conjugated lipid that inhibits aggregation of particles comprising from 0.5
10                           mol % to 2 mol % of the total lipid present in the particle.

                      48.        (New) The nucleic acid-lipid particle of claim 47, wherein the nucleic
 2   acid comprises an interfering RNA.

                       49.       (New) The nucleic acid-lipid particle of claim 48, wherein the interfering
 2   RNA comprises a small interfering RNA (siRNA).

 1                     50.       (New) The nucleic acid-lipid particle of claim 49, wherein the siRNA
 2   comprises at least one modified nucleotide.

 1                     51.       (New) The nucleic acid-lipid particle of claim 49, wherein the siRNA
 2   comprises at least one 2'-O-methyl (2'OMe) nucleotide.




                                                          Page 5 of 9
                                                                                                   JA002279
                                                                                                   GENV-00005441
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 999 of 1274 PageID #: 9305




    Appl. No. 13/928,309                                                                        PATENT
    Arndt. dated November 6, 2013
    Reply to Notice of Missing Parts of August 8, 20 I 3



                      52.      (New) The nucleic acid-lipid particle of claim 49, wherein the siRNA is
2   about 19 to about 25 base pairs in length.

l                     53.      (New) The nucleic acid-lipid particle of claim 49, wherein the siRNA
2   comprises 3' overhangs.

1                     54.      (New) The nucleic acid-lipid particle of claim 47, wherein the cationic
2   lipid comprises from 50 mol % to 60 mol % of the total lipid present in the particle.

                      55.      (New) The nucleic acid-lipid particle of claim 47, wherein the
2   phospholipid comprises dipalmitoylphosphatidylcholine (DPPC), distearoylphosphatidylcholine
3   (DSPC), or a mixture thereof.

1                     56.      (New) The nucleic acid-lipid particle of claim 47, wherein the cholesterol
2   or derivative thereof comprises from 30 mol % to 35 mol % of the total lipid present in the
3   particle.

                      57.      (New) The nucleic acid-lipid particle of claim 47, wherein the conjugated
2   lipid that inhibits aggregation of particles comprises a polyethyleneglycol (PEG)-lipid conjugate.

1                     58.      (New) The nucleic acid-lipid particle of claim 57, wherein the PEG-lipid
2   conjugate comprises a PEG-diacylglycerol (PEG-DAG) conjugate, a PEG-dialkyloxypropyl
3   (PEG-DAA) conjugate, or a mixture thereof.

l                     59.      (New) The nucleic acid-lipid particle of claim 58, wherein the PEG-DAA
2   conjugate comprises a PEG-dimyristyloxypropyl (PEG-DMA) conjugate, a PEG-
3   distearyloxypropyl (PEG-DSA) conjugate, or a mixture thereof.

                      60.      (New) The nucleic acid-lipid particle of claim 59, wherein the PEG has an
2   average molecular weight of about 2,000 daltons.




                                                           Page6of9
                                                                                                JA002280
                                                                                                GE NV-00005442
    Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1000 of 1274 PageID #:
                                        9306



     Appl. No. 13/928,309                                                                       PATENT
     Amdt. dated November 6, 2013
     Reply to Notice of Missing Parts of August 8, 2013



                      61.       (New) The nucleic acid-lipid particle of claim 47, wherein the conjugated
2    lipid that inhibits aggregation of particles comprises from 1 mol % to 2 mol % of the total lipid
3    present in the particle.

                      62.       (New) The nucleic acid-lipid particle of claim 47, wherein the nucleic
2    acid is fully encapsulated in the nucleic acid-lipid particle.

                      63.       (New) A pharmaceutical composition comprising a nucleic acid-lipid
2    particle of claim 4 7 and a pharmaceutically acceptable carrier.

                      64.       (New) A method for introducing a nucleic acid into a cell, the method
2    comprising:
3                     contacting the cell with a nucleic acid-lipid particle of claim 4 7.

                      65.       (New) A method for the in vivo delivery of a nucleic acid, the method
2    comprising:
3                     administering to a mammalian subject a nucleic acid-lipid particle of claim 47.

                      66.       (New) A method for treating a disease or disorder in a mammalian subject
2    in need thereof, the method comprising:
3                     administering to the mammalian subject a therapeutically effective amount of a
4    nucleic acid-lipid particle of claim 47.

                      67.       (New) The method of claim 66, wherein the disease or disorder is selected
2    from the group consisting of a viral infection, a liver disease or disorder, and cancer.




                                                          Page 7 of 9
                                                                                                 JA002281
                                                                                                 GE NV-00005443
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1001 of 1274 PageID #:
                                    9307



 Appl. No. 13/928,309                                                                       PATENT
 Amdt. dated November 6, 2013
 Reply to Notice of Missing Parts of August 8, 2013



                                                  REMARKS
 I.      STATUS OF THE CLAIMS
                  After entry of this amendment, claims 4 7-67 are pending in this application and
 are presented for examination. Claims 1-46 have been canceled without prejudice to future
 prosecution. Claims 47-67 are newly added.
                  New claim 4 7 finds support, for example, in original claim l, in paragraph [O 116]
 on page 24, and in paragraph [0256] on page 68 of the instant specification. New claim 48 finds
 support, for example, in paragraph [0017] on page 4. New claim 49 finds support, for example,
 in original claim 2. New claim 50 finds support, for example, in original claim 4. New claim 51
 finds support, for example, in original claim 5. New claims 52 and 53 find support, for example,
 in paragraph [0054] on pages 8-9. New claim 54 finds support, for example, in paragraph [0116]
 on page 24. New claim 55 finds support, for example, in original claim 14. New claim 56 finds
 support, for example, in paragraph [0133] on pages 27-28. New claims 57-61 find support, for
 example, in original claims 17-21, respectively. New claim 62 finds support, for example, in
 original claim 23. New claim 63 finds suppmi, for example, in original claim 26. New claim 64
 finds support, for example, in original claim 41. New claim 65 finds support, for example, in
 original claim 43. New claim 66 finds support, for example, in original claim 45. New claim 67
 finds support, for example, in original claim 46.
                  As such, no new matter has been introduced with the foregoing amendments.

 II.      SEQUENCE LISTING
                  This amendment is accompanied by a computer readable form containing the
 above named sequences, SEQ ID NOS:1-7. The Sequence Listing in computer readable form
 was prepared through the use of the software program "FastSEQ" in accordance with 37 C.F.R.
 §§ 1.821 to 1.825. The Sequence Listing does not include new matter or matter that goes beyond
 the disclosure of the application as filed.
                  According to the Legal Framework for EFS-Web (September 2008), if a sequence
 listing text file submitted via EFS-Web complies with the requirements of 37 CFR l.824(a)(2)-
 (6) and (b ), the text file will serve as both the paper copy required by 37 CFR 1.821 (c) and the




                                                      Page 8 of9
                                                                                            JA002282
                                                                                            GE NV-00005444
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1002 of 1274 PageID #:
                                    9308



 Appl. No. 13/928,309                                                                     PATENT
 Arndt. dated November 6, 2013
 Reply to Notice of Missing Parts of August 8, 2013

 CRF required by 37 CFR l.821(e). Therefore, a paper copy of the referenced Sequence Listing
 is not included with this amendment.

 III.    DRAWINGS
                  The Notice to File Missing Parts states that replacement drawings are required as
 Figures 1, 6, 7, 10, and 1 1 are not labeled "Fig." with a consecutive Arabic numeral or an Arabic
 numeral and capital letter in the English alphabet. In response, Applicants respectfully point out
 that the submitted drawings are in compliance as Figures 1, 6, 7, 10, and 11 are indeed labeled as
 "Fig." with a consecutive Arabic numeral and capital letter in the English alphabet.
                  Applicants have amended the instant specification to incorporate amendments to
 the description of Figures 1, 6, 7, 10, and 11 which were entered in both the parent application
 (Appl. No. 12/424,367) and the continuation application (Appl. No. 13/253,917). Support for
 these amendments is found in the specification as filed. No new matter has been added.
                  If the Examiner believes a telephone conference would expedite prosecution of
 this application, please telephone the undersigned at 925-472-5000.

                                                              Respectfully submitted,




                                                              Joe C. Hao
                                                              Reg. No. 55,246

 KILPATRICK TOWNSEND & STOCKTON LLP
 Two Embarcadero Center, Eighth Floor
 San Francisco, California 94111-3834
 Tel: 925-472-5000
 Fax: 415-576-0300
 Attachments
 JCH:dmw
 KILPATRICK TOWNSEND 65643803 J




                                                      Page 9 of9
                                                                                           JA002283
                                                                                           GE NV-00005445
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1003 of 1274 PageID #:
                                    9309




                 JOINT APPENDIX 65
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1004 of 1274 PageID #:
                                    9310




                                                                 Paper No. ___
                                                      Filed: November 13, 2019


            UNITED STATES PATENT AND TRADEMARK OFFICE
                     _____________________________

             BEFORE THE PATENT TRIAL AND APPEAL BOARD

                       _____________________________


                      MODERNA THERAPEUTICS, INC.,
                               Petitioner,

                                       v.

                  ARBUTUS BIOPHARMA CORPORATION,
                             Patent Owner.

                       _____________________________

                             Case IPR2019-00554
                             Patent No. 8,058,069
                       _____________________________


                      PATENT OWNER’S RESPONSE
                      PURSUANT TO 37 C.F.R. § 42.107




                                                                     JA002284
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1005 of 1274 PageID #:
                                    9311



                                            TABLE OF CONTENTS

                                                                                                                    Page

 I.     Introduction...................................................................................................... 1

 II.    Overview of the ʼ069 Patent and the Prior Art ................................................ 7

 III.   Procedural History ........................................................................................... 8

 IV.    Claim Construction—Nucleic Acid-Lipid Particle ......................................... 9

 V.     Obviousness in view of Overlapping Ranges Fails (Grounds 1 & 3) ........... 11

        A.       No Affirmative Teaching of an Overlapping Phospholipid
                 Range Defeats Petitioner’s Obviousness Theory Based on
                 Overlapping Ranges ............................................................................ 12

                 i.        Ground 1 – The ’196 PCT and the ’189 Publication do
                           not disclose the recited phospholipid concentration range. ...... 14

                 ii.       Ground 3 – The ’554 Publication also does not disclose
                           or suggest the recited phospholipid concentration range. ......... 16

        B.       Formulating Nucleic Acid-Lipid Particles Was Not a Matter of
                 Routine Optimization .......................................................................... 19

        C.       The Broad Ranges of the Prior Art do not Support Routine
                 Optimization ........................................................................................ 25

        D.       Petitioner Does not Explain Selecting the Claimed Composition
                 from the Prior Art Ranges ................................................................... 27

                 i.        Claim as a Whole/Interaction of Components .......................... 28

                 ii.       Cationic Lipids Were Known to be Toxic ................................ 29

 VI.    Unexpected Results Further Rebut any Prima Facie Obviousness .............. 31

        A.       The ʼ069 Patent Reports Extensive Testing of Numerous
                 Formulations within the Claimed Range............................................. 33

        B.       Post-Filing Publications Provide Testing Data for a Broad
                 Range of Lipids and Cargo Molecules ................................................ 37

                                                           -i-

                                                                                                             JA002285
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1006 of 1274 PageID #:
                                    9312



         C.       Petitioner Fails to Present Any Meaningful Critique to Patent
                  Owner’s Evidence Supporting Patentability ....................................... 42

 VII. Additional Objective Indicia of Non-Obviousness Further Rebut any
      Prima Facie Obviousness............................................................................... 44

         A.       Long-Felt Need – the delivery problem was not solved for over
                  20 years................................................................................................ 45

         B.       Failure of Others – those in the art failed to formulate nucleic
                  acid-lipid particles suitable for systemic delivery............................... 47

         C.       Skepticism – those in the art questioned the safety of the
                  SNALP as a suitable delivery platform ............................................... 48

         D.       Commercial Success – the claimed nucleic acid-lipid particle is
                  the first FDA approved siRNA drug ................................................... 49

 VIII. Anticipation in View of Overlapping Ranges Fails (Grounds 1 and 3) ........ 50

         A.       No Affirmative Teaching of a Phospholipid Range Defeats
                  Petitioner’s Anticipation Theory ......................................................... 50

         B.       Ranges in the Art are Not Sufficiently Specific to Anticipate the
                  Claimed Ranges ................................................................................... 51

                  a.       Ground I—Neither the ’196 PCT nor the ’189
                           Publication Anticipate the Remaining Claimed Ranges ........... 52

                  b.       Ground 3—The ’554 Publication is Not Anticipatory ............. 54

 IX.     Ground 2 Fails ............................................................................................... 55

         A.       Lin and Ahmad Do Not Supply the Missing Motivation for
                  Ground 2 .............................................................................................. 57

         B.       Petitioner Ignores Content of Lin and Ahmad that Undermines
                  its Obviousness Assertions .................................................................. 59

 X.      The Dependent Claims are Neither Obvious Nor Anticipated ...................... 60

         A.       Claim 8 ................................................................................................ 60

         B.       Claim 14 .............................................................................................. 61

                                                           -ii-

                                                                                                              JA002286
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1007 of 1274 PageID #:
                                    9313



         C.       Claim 15 .............................................................................................. 61

         D.       Claim 16 .............................................................................................. 62

         E.       Claim 17 .............................................................................................. 62

         F.       Claim 18 .............................................................................................. 63

         G.       Claim 20 .............................................................................................. 63

         H.       Claim 21 .............................................................................................. 64

         I.       Claim 22 .............................................................................................. 64

 XI.     Conclusion ..................................................................................................... 65

 XII. Certificate of Compliance .............................................................................. 66

 XIII. Appendix – List of Exhibits........................................................................... 67




                                                          -iii-

                                                                                                             JA002287
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1008 of 1274 PageID #:
                                    9314



 I.    INTRODUCTION

       The nucleic acid-lipid particles claimed by the ’069 patent have achieved

 tremendous recognition in the field of genetic therapy. The ’069 patent is now

 listed in FDA’s Orange Book as protecting the patisiran—tradename “Onpattro”—

 commercial product. EX2025. Patisiran received regulatory approval in the U.S.

 and Europe and has been designated by the FDA as a “first-in-class” drug.

 EX2024. The therapeutic potential of genetic therapy has been appreciated for

 over 25 years, but effectively delivering nucleic acids to target cells without

 eliciting vehicle-related toxicity prevented realization of this potential. E.g.,

 EX2016, 38, 42; EX2018, 11. By 2008, the industry-wide failure to identify a

 solution to the delivery problem resulted in waning confidence. EX2019, 2, 10;

 EX2018, 11; EX2023, 291-292.

       The nucleic acid-lipid particle formulations of the ’069 patent met a long-felt

 need for compositions that could safely and effectively deliver nucleic acids to

 patient target cells. The combination of effectiveness and low toxicity that

 characterizes the claimed compositions surprised many in the field, and finally

 solved the delivery problem that hindered the field for decades.

       The petition is a poorly conceived challenge, relying on erroneous legal

 analysis in each of the under-developed obviousness (Grounds 1-3) and

 anticipation (Ground 1 and 3) challenges.



                                           -1-
                                                                               JA002288
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1009 of 1274 PageID #:
                                    9315



       Petitioner’s obviousness challenges are based solely on the theory that

 alleged overlapping ranges create a presumption or prima facie case of

 obviousness under the legal framework in In re Peterson, 315 F.3d 1325 (Fed. Cir.

 2003) and E.I. duPont de Nemours & Co. v. Synvina C.V. 904 F.3d 996 (Fed. Cir.

 2018). E.g., Pet. 31-32, 33, 39, 40, 49, 54, 56, 58, 59; Paper 8, Decision on

 Institution (“DI”), 25-27, 36-37. Petitioner’s theory fails for numerous reasons.

       First, Petitioner has failed to set forth evidence of prior art ranges that

 overlap with the claimed ranges, and therefore, the prior art and lack of evidence

 on which it relies cannot be the basis for establishing a prima facie case of

 obviousness. Peterson and duPont are inapposite here where the proposition is

 that “[a] prima facie case of obviousness typically exists when the ranges of a

 claimed composition overlap with ranges disclosed in the prior art.” Peterson,

 315 F.3d at 1329 (emphasis added). Neither case dictates nor even loosely implies

 the existence of such presumption when the prior art fails to actually disclose any

 ranges overlapping with those claimed. For example, the prior art presented by

 Petitioner fails to disclose any concentration range for a phospholipid

 component—much less one that overlaps with the claimed invention. As such,

 Petitioner has failed to provide any evidence supporting its arguments of prima

 facie obviousness under the framework of Peterson and duPont. To hold

 Petitioner’s lack of evidence sufficient to show a prima facie case of obviousness



                                           -2-
                                                                               JA002289
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1010 of 1274 PageID #:
                                    9316



 would require a series of unwarranted and unsupported assumptions—a marked

 departure from the framework of these cases. This is particularly pertinent here as

 Petitioner’s arguments rest solely on its putative “prima facie” case, as though that

 alone meets its ultimate burden of proof. This reliance underscores the

 deficiencies in the Petition, including not only its failure to address the claimed

 subject matter as a whole (i.e., the claimed particle formulation), as mandated by

 statute, but also the lack of any meaningful discussion of motivation to combine or

 reasonable expectation of success.

       Second, regardless of whether the framework of duPont and Peterson even

 applies as a threshold matter, Petitioner’s obviousness challenges still lack

 motivation to combine with reasonable expectation of success. As the Federal

 Circuit has explained, every obviousness challenge requires motivation to combine

 with an expectation of success. In re Stepan Co., 868 F.3d 1342, 1346 n.1 (Fed.

 Cir. 2017). The Federal Circuit has explained that even if prima facie obviousness

 is established, it is overcome with a showing that routine optimization does not

 apply. duPont, 904 F.3d at 1006 (“disclosure of very broad ranges may not invite

 routine optimization”)(citing Genetics Inst., LLC v. Novartis Vaccines &

 Diagnostics, Inc., 655 F.3d 1291, 1306 (Fed. Cir. 2011). The framework of

 duPont and Peterson is no exception and is predicated specifically on a routine

 optimization rationale.



                                           -3-
                                                                              JA002290
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1011 of 1274 PageID #:
                                    9317



       Here, routine optimization is not applicable—rebutting any argument of

 prima facie obviousness. This issue was previously litigated in Moderna, Inc. et

 al. v. Arbutus Biopharma Corp., IPR2018-00739 (“the ’739 IPR”) in the context of

 the same person of ordinary skill in the art (“POSITA”), at the same relevant time,

 viewing the same specification as the challenged ’069 patent. E.g., POPR, 23-29;

 EX2033, 36:5-13. Here, like in the ’739 IPR, Petitioner and its expert expressly

 embrace the complexity of the technology, emphasize unpredictability, and

 disavow the notion that arriving at the claimed subject matter would have been a

 matter of simple optimization. E.g., EX2033, 42:7-10 (“If the range is immense,

 there would be undue experimentation, I believe, to find a combination or a range

 that behaved in a desirable light.”), 60:5-16 (ranges narrower than those in the

 cited art are “immense” and “would require undue experimentation, not simple

 optimization.”), 19:25-20:15. Accordingly, routine optimization (and by

 extension, the framework of Peterson and duPont) is not a viable rationale in view

 of the broad ranges cited in the art, as well as expert testimony and extensive

 literature indicating that developing nucleic acid lipid at the time simply was not

 considered a routine matter of optimizing variables.

       Third, even if Petitioner is credited with some showing of obviousness,

 unexpected results overcome any such presumption. Extensive experimental

 testing demonstrates the claimed nucleic acid-lipid particles are surprisingly non-



                                          -4-
                                                                             JA002291
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1012 of 1274 PageID #:
                                    9318



 toxic, non-immunogenic, and more potent and efficacious than prior art

 compositions. These unexpected results are different in kind and are supported by

 data from both the ’069 patent and post-filing publications that test many different

 formulations, with many different combinations of lipid components, gene targets,

 nucleic acid payloads, and methods of production. The petition materials provide

 no meaningful analysis of the full scope of experimental data presented in the ’069

 patent and ignore the post-filing publications entirely.

       Fourth, additional objective indicia further rebut any case of obviousness.

 Indeed, the uncontested record demonstrates a long-felt need, failure of others,

 skepticism in the industry, and commercial success—each of which supports the

 non-obviousness of the claimed invention.

       In Ground 2, Petitioner relies on Lin and Ahmad for the conjured notion that

 it would be obvious “to increase the cationic lipid to the 50%-65% range in order

 to potentially increase the transfection.” Pet. 50. Lin and Ahmad are irrelevant for

 Petitioner’s purposes. Lin and Ahmad are directed to lipoplexes—a fundamentally

 different class of particles that are expressly differentiated by the ’069 patent from

 the claimed “nucleic acid-lipid particle.” EX1001, 2:12-18, 3:3-10. Even

 Petitioner’s own expert testified that lipoplexes are outside the scope of the

 challenged claims. EX2001, 122:1-24. Further, Petitioner never once articulates a

 motivation as to why a POSITA would increase the concentration of cationic



                                           -5-
                                                                              JA002292
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1013 of 1274 PageID #:
                                    9319



 lipids. All Petitioner offers is a series of assertions that such modification “could”

 increase transfection efficiency. See Pet. 49 (“may increase...”), 50 (“...potentially

 increase...”), (“...could impact...”). Such assertions have never been sufficient to

 demonstrate obviousness. Notwithstanding Petitioner’s misrepresentation of Lin

 and Ahmad, Ground 2 inherits all the defects of Ground 1 and thus also fails for

 those same reasons.

         Finally, Petitioner’s half-baked anticipation challenges are dead on arrival.

 The anticipation theory relies on the conclusory assertion that the prior art

 “disclosures are sufficiently specific to anticipate the claimed range.” Pet. 33.

 Missing from Petitioner’s analysis is any explanation as to how prior art

 disclosures can be “sufficiently specific” to anticipate the claimed phospholipid

 range, when, in fact, the prior art does not disclose any phospholipid range.1 As to

 the other lipid components, the cited ranges at best partially overlap with the

 claimed range. Missing again is any explanation as to how the disclosures are

 “sufficiently specific” to establish anticipation.




    1
        Even the Board’s Institution Decision acknowledges that the cited references

 lack express disclosure of a phospholipid range and require a series of

 assumptions. DI, 23-25, 36-37



                                           -6-
                                                                              JA002293
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1014 of 1274 PageID #:
                                    9320



       For these reasons, and those explained in further detail herein, Petitioner

 fails to meet its burden of demonstrating the unpatentability of the claims, and each

 Ground under the Petition should be rejected.

 II.   OVERVIEW OF THE ʼ069 PATENT AND THE PRIOR ART

       The ’069 patent is directed to the surprising discovery that nucleic acid-lipid

 particle formulations with high levels of cationic lipids and low levels of

 conjugated lipids exhibit favorable in vivo transfection efficiencies as well as

 “improved tolerability of the formulations in vivo, resulting in a significant

 increase in the therapeutic index [a measure of dosage relative to toxic effect] as

 compared to nucleic acid-lipid particle compositions previously described.”

 EX1001, 5:55-58; id., 5:58-6:3; 11:26-32 (defining the inventive formulations as

 “extremely useful for systemic applications”); see also EX2031, ¶¶25-28. The

 ’069 patent claims nucleic acid-lipid particle formulations with high levels of

 cationic lipids (50–65 mol%) and low levels of conjugated lipids (0.5–2 mol%)—

 as well as specific levels of cholesterol/derivative (30-40 mol%) and phospholipid

 (4-10 mol%).

       Prior art taught against the invention claimed by the ’069 patent. Largely

 ignored by the petition, prior art at the time of invention (including all references

 cited by Petitioner) instructed that formulations with a high level of cationic lipid

 were toxic and poorly tolerated in vivo and had little to no in vivo transfection



                                           -7-
                                                                               JA002294
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1015 of 1274 PageID #:
                                    9321



 efficiency. E.g., EX1003, ¶6; EX1006, 3315; EX2009, 30:34-41; EX2031, ¶¶80-

 88. Moreover, the prior art instructs that the level of cationic lipid should be

 minimized, as high levels were deemed unsuitable for in vivo transfection.

 EX1007, 745. Additionally, where conjugated lipids were utilized, the art

 instructed much higher levels as compared to those claimed. EX1009, 5; EX2031,

 ¶¶77-78.

        Yet, contrary to these teachings, the claimed formulations uniformly

 withstood rigorous in vivo tests that established stability following systemic (in

 vivo) administration, suitability for mammals with no considerable toxicity, and

 transfection efficiencies superior to conventional formulations. E.g., EX2031,

 ¶¶89-112.

 III.   PROCEDURAL HISTORY

        Petitioner challenges the ’069 patent in the instant proceeding and has

 previously challenged another patent from this patent family, U.S. Patent No.

 9,364,435 (“the ’435 patent”), a continuation of the ’069 patent, in the ’739 IPR.

 The independent claim in the ’069 patent contains a similar limitation to a range of

 phospholipids as claim 7 of the ’435 patent, and, is in fact, narrower. The Board

 issued a Final Written Decision in the ’739 IPR (’739 IPR, Paper 51, “FWD”) on

 September 11, 2019, after institution of the instant proceeding, in which it was

 determined that claim 7 was patentable. FWD, 51.



                                           -8-
                                                                              JA002295
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1016 of 1274 PageID #:
                                    9322



 IV.   CLAIM CONSTRUCTION—NUCLEIC ACID-LIPID PARTICLE

       No claim construction is necessary in order to determine that the Petition

 fails. Vivid Techs., Inc. v. American Science & Eng’g, Inc., 200 F.3d 795, 803

 (Fed. Cir. 1999)(“only those terms need be construed that are in controversy, and

 only to the extent necessary to resolve the controversy.”). That being said,

 Petitioner’s proffered construction of “nucleic acid-lipid particle” is incorrect.

       Claim terms are not construed in the abstract but are construed as to how

 they would be understood by a POSITA when read in light of the specification and

 the prosecution history. Fenner Investments, Ltd. V. Cellco Partnership, 778 F.3d

 1320, 1323 (Fed. Cir. 2015). As such, the term “nucleic acid-lipid particle” should

 be construed as necessarily including a nucleic acid encapsulated in the lipid

 portion of the particle, thereby protecting it from enzymatic degradation. This is

 consistent with the disclosure of the specification, wherein “nucleic acids, when

 present in the lipid particles of the present invention, are resistant in aqueous

 solution to degradation with a nuclease.” EX1001, 11:42-55; see also id., 11:10-12;

 EX2009, 4:15-19; EX2031, ¶¶32-33.

       Moreover, during prosecution of the underlying application of the ’069

 patent, applicants specifically touted encapsulation of the nucleic acid. EX1016,

 38; EX2031, ¶34. Encapsulation was also argued extensively in the ’739 IPR.

 Thus, prosecution history reinforces the teaching of the specification that the



                                           -9-
                                                                              JA002296
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1017 of 1274 PageID #:
                                    9323



 claimed nucleic acid-lipid particles necessarily require encapsulation of the nucleic

 acid. Microsoft Corp. v. Proxyconn, Inc., 789 F.3d 1292, 1298 (Fed. Cir. 2015);

 Aylus Networks, Inc. v. Apple Inc., 856 F.3d 1353, 1361 (Fed. Cir. 2017).

          Petitioner does not offer its own claim construction analysis, but merely

 adopts the Board’s preliminary interpretation, notably determined under a different

 claim construction standard, from the institution decision in the ʼ739 IPR. That

 construction, however, is unduly broad as it relies on an incomplete reading of the

 specification and would encompass an empty lipid particle. The portion of the

 specification relied upon by the Board in its construction of “nucleic acid-lipid

 particle” is directed at the term “lipid particle,” and not “nucleic acid-lipid particle”

 as required by the claims. ’739 IPR, Paper 15, 10-11. That is, as disclosed in the

 ’069 specification, a “lipid particle” “may [include a nucleic acid] encapsulated in

 the lipid portion of the particle, thereby protecting it from enzymatic degradation.”

 EX1001, 11:4–12. A “nucleic acid-lipid particle,” however, does include a nucleic

 acid encapsulated in the lipid portion of the particle, thereby protecting it from

 enzymatic degradation.2 EX1001, 11:22-32, 11:51-55; EX2031, ¶¶35-37.



 2
     During his deposition in the ’739 IPR, Dr. Janoff repeatedly testified that the

 claimed particle should be defined as a SNALP. EX2001, 118:19-119:4, 119:9-17,

 120:5-6, 121:14-25. Petitioner has never explained the contradiction between its


                                            -10-
                                                                               JA002297
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1018 of 1274 PageID #:
                                    9324



 V.    OBVIOUSNESS IN VIEW OF OVERLAPPING RANGES FAILS (GROUNDS 1 & 3)

       Petitioner’s obviousness challenge rises and falls on its mere alleged

 presumption of obviousness based only on the theory of overlapping ranges. E.g.,

 Pet., 31-32, 54; DI, 25-26, 37 (citing Peterson and duPont). This obviousness

 theory is both legally and factually wrong.

       The Federal Circuit has explained that overlapping ranges, without evidence

 to the contrary, may invoke a presumption of obviousness when “routine

 optimization” is applicable. Routine optimization, however, is not applicable when

 broad ranges need to be assessed. Peterson, 315 F.3d at 1330 n.1 (“[Overlapping]

 ranges that are not especially broad invite routine experimentation to discover

 optimum values, rather than require nonobvious invention”) (emphasis added);

 duPont, 904 F.3d at 1006. The legal paradigms of “overlapping ranges” and

 “routine experimentation” do not apply here. Genetics, 655 F.3d at 1306 (“Simply

 put, the typical desire of scientists to find an optimum value within a narrow

 disclosed range … does not apply to the facts in this case.”).

       First, there can be no presumption of obviousness in view of overlapping

 ranges when the cited art simply does not disclose an overlapping range for a



 expert’s testimony in the ’739 IPR and its conclusory statement that the Board’s

 construction in the ’739 IPR “is appropriate.” EX2003, ¶13.



                                         -11-
                                                                            JA002298
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1019 of 1274 PageID #:
                                    9325



 claimed component. Neither Peterson nor duPont supports a presumption of

 obviousness based on the hindsight-driven and selective picking and choosing of

 disclosures to contrive a range, as Petitioner attempts to do.

       Second, “routine optimization” is not a viable rationale for arriving at the

 claimed subject matter. The testimony of both experts, contemporaneous

 literature, and industry recognition all illustrate that developing lipid particle

 formulations for drug delivery was far from a simple or routine matter of

 optimizing variables.

       Furthermore, regardless of the obviousness theory, the petition fails to

 establish any motivation to combine and a reasonable expectation of success in

 doing so. It is clear that these requirements to prove a case of obviousness have

 not been met.

       A.     No Affirmative Teaching of an Overlapping Phospholipid Range
              Defeats Petitioner’s Obviousness Theory Based on Overlapping
              Ranges

       Under the relevant caselaw, a presumption of obviousness may apply when

 the prior art actually discloses overlapping ranges that are not especially broad.

 Peterson, 315 F.3d at 1329-30. When, as here, the prior art fails to disclose any

 range for a claimed component (let alone ranges that overlap), there can be no

 presumption of obviousness.




                                           -12-
                                                                               JA002299
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1020 of 1274 PageID #:
                                    9326



       The petition cites to Peterson and duPont, though neither case supports a

 presumption of obviousness when ranges are not disclosed but are instead

 contrived. In both those cases, the court found a prima facie case of obviousness

 based on very close prior art expressly disclosing component ranges that

 overlapped with ranges claimed. Peterson, 315 F.3d at 1329-32; duPont, 904 F.3d

 at 1011-13. In neither instance did the court find a presumption of obviousness by

 making a series of assumptions or inferences to arrive at a range not affirmatively

 disclosed. Peterson, 315 F.3d at 1329-32; duPont, 904 F.3d at 1011-13.

       In contrast to Peterson and duPont, independent claim 1 of the ’069 patent

 recites four components at different concentrations, including a range for

 phospholipid “from 4 mol % to 10 mol % of the total lipid.” Petitioner claims the

 cited prior art references explicitly disclose a 0-19% or a 0-19.5% phospholipid

 range, but it is indisputable that none of these references disclose any such range,

 nor any range for phospholipids specifically. E.g., EX1008, ¶118 (citing EX1003,

 ¶¶89, 91; EX1004, ¶¶152, 159) compare with FWD, 31-32, 35-37. The Board in

 its Institution Decision did not dispute that the cited refences lacked affirmative

 disclosure of a phospholipid range, but instead instituted on the basis that a

 phospholipid range could be contrived through “reasonable inferences.” DI, 23, 36;

 EX2031, ¶¶38-39.




                                          -13-
                                                                              JA002300
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1021 of 1274 PageID #:
                                    9327



       Petitioner cites no authority that the presumption of obviousness under

 Peterson and duPont would allow a “reasonable inference” to be satisfied by

 selective, hindsight-driven picking and choosing, and especially not when dealing

 with the broad ranges at issue. Peterson, 315 F.3d at 1330 n.1; duPont, F.3d at

 1011 n.15 (in distinguishing Genetics, noting that the “case [in duPont] presents

 ‘not especially broad’ ranges of temperature and pressure.”). Put simply,

 Petitioner attempts to shoehorn the present facts into a legal framework that simply

 does not apply and Petitioner has not shown the claims are obvious.

              i. Ground 1 – The ’196 PCT and the ’189 Publication do not
                 disclose the recited phospholipid concentration range.

       Neither the ’196 PCT nor the ’189 publication provide affirmative disclosure

 of any phospholipid range, let alone a phospholipid range that overlaps with the

 claimed range. See FWD, 31-32, 35-37. Petitioner relies on the disclosure of a

 range for non-cationic lipid from 20% to about 85% of the total lipid present in the

 particle. EX1008, ¶118 (citing EX1003, ¶¶89, 91; EX1004, ¶¶152, 159). The ’196

 PCT disclosure is not limited to phospholipids; rather, phospholipids are merely an

 example of a noncationic lipid component. EX2031, ¶¶40-41.

       Similarly, ’189 publication states that the non-cationic lipid “typically

 comprises from about 5 mol % to about 90 mol %, from about 10 mol % to about

 85 mol %, from about 20 mol % to about 80 mol %, from about 30 mol% to about

 70 mol %, from about 40 mol % to about 60 mol % or about 48 mol% of the total


                                         -14-
                                                                             JA002301
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1022 of 1274 PageID #:
                                    9328



 lipid present in the particle,” also failing to expressly teach a phospholipid range,

 or a range close to the claimed 4-10% range. EX1004, ¶152; EX2031, ¶42.

       Petitioner’s reliance on the ’618 patent does not cure the above deficiencies.

 It is also irrelevant in term of Petitioner’s overlapping ranges theory for

 obviousness. The ’618 patent discloses a nucleic acid lipid complex with 56%

 cationic lipid, 14% phospholipid, and 30% cholesterol. Pet. 38 (citing EX1017,

 34:54-35:23). The disclosure of 14% phospholipid does not result in any

 “reasonable inference” of a phospholipid range of 4-10%—it is indisputably

 outside of the claimed range and there is no teaching to lower the percent

 phospholipid in this formulation. EX2031, ¶43. Furthermore, claim 1 of the ’069

 has a clear limitation including a conjugated lipid that would make up 0.5-2 mol%

 of the formulation, not similarly present in the ’618 patent. To believe Petitioner’s

 theory in light of these apparent holes would require impermissible hindsight. In re

 Arkley, 455 F.2d 586, 587-88 (C.C.P.A. 1972); In re Ruschig, 379 F.2d 990, 995

 (C.C.P.A. 1967)) (“Working backward from [the invention], that is by hindsight, it

 is all very clear what route one would travel through the forest of the specification

 to arrive at it.”); Orexo AB v. Actavis Elizabeth LLC, 903 F.3d 1265, 1271 (Fed.

 Cir. 2018) (“It is inappropriate to use the template provided by the inventor, to

 render the inventor’s contribution obvious.”)




                                          -15-
                                                                               JA002302
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1023 of 1274 PageID #:
                                    9329



       Petitioner’s assumptions further illustrate impermissible hindsight.

 Petitioner sets the amount of cationic lipid at 60%, with the only provided reason

 being that it is at the high end of the disclosed range. Pet 39. Notably, Dr. Janoff

 does not provide a reason for its selection. This unexplained, unsupported

 assumption inappropriately serves as the linchpin for the remainder of Petitioner’s

 analysis. EX2031, ¶¶44-50.

       Accordingly, as the ’196 PCT and ’189 publication fail to disclose any range

 for phospholipid, much less an overlapping range, Ground 1 necessarily fails.

              ii. Ground 3 – The ’554 Publication also does not disclose or
                  suggest the recited phospholipid concentration range.

       As with Ground 1, the petition (Pet. 58) alleges “explicit disclosure of

 encompassing ranges” for the phospholipid concentration range recited in the

 challenged claims. The ’554 publication, however, does not discuss concentration

 ranges for phospholipids. See Pet. 57-58 (failing to identify any teaching in the

 asserted prior art regarding phospholipid concentrations); see also FWD, 35-37.

 As already discussed, there can be no presumption of obviousness under Peterson

 and duPont when there is no overlapping range in the cited reference, such as here,

 where a range is contrived through a series of assumptions. Certainly, there is no

 presumption of obviousness when those assumptions are illogical, unsupported by

 the references, and clearly driven by improper hindsight.




                                         -16-
                                                                              JA002303
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1024 of 1274 PageID #:
                                    9330



       Petitioner relies on the disclosure of a range for non-cationic lipid from

 about 20% to about 85% of the total lipid present in the particle. Pet. 57. Like the

 ’196 PCT and the ’189 publication, the disclosure of the ’554 publication is not

 limited to phospholipids; rather, phospholipids are merely an example of a

 noncationic lipid component that may be used. Specifically, the non-cationic lipid

 may be a neutral uncharged, zwitterionic, or anionic lipids that are capable of

 producing a stable complex. EX1008, ¶157 (citing EX1005, ¶¶313, 315, 455). In

 addition, the disclosed non-cationic lipid ranges are not close to the claimed 4-10%

 range. EX2031, ¶¶51-52.

       Petitioner’s reliance on the L106 formulation of Table 4 as including

 cholesterol at 30% does not cure the above deficiencies. Pet. 57. The L106

 formulation contains 67% DMOBA (cationic lipid), 30% cholesterol, and 3%

 2KPEG-Cholesterol, but does not contain any phospholipid. EX1005, Table 4.

 Petitioner does not explain why a POSITA would look to the L106 formulation in

 formulating particles containing a phospholipid. In addition, both cationic and

 conjugated lipid amounts are outside the claimed ranges, and Petitioner does not

 explain the relevance of such a formulation to the claimed particles. EX2031, ¶53.

       The Board in its Institution Decision also cites to L054, which “includes the

 cationic lipid DMOBA, cholesterol, the phospholipid DSPC, and the [] PEG-n-

 DMG in a molar ratio of 50/20/28/2.” DI, 36 (citing EX1005, Table 4). Again, a



                                         -17-
                                                                            JA002304
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1025 of 1274 PageID #:
                                    9331



 POSITA would not understand a single formulation as defining a range for the

 lipid components making up that formulation. Neither the Board or Dr. Janoff

 explain how a single formulation having 28% phospholipid suggests a

 phospholipid range of 0-20%. Moreover, the percentage of phospholipid is 28%,

 well above the claimed range of 4-10%. EX2031, ¶54.

       Similar to Ground 1, Petitioner attempts to contrive a range for the

 phospholipid from the ’554 publication, however its analysis is based on

 unwarranted and unreasonable assumptions. Petitioner sets the amount of cationic

 lipid at 60%, Pet. 39, that choice then inexplicably serves as the linchpin for the

 remainder of Petitioner’s analysis. EX2031, ¶¶55-56.

       Moreover, although the petition identifies a range for the conjugated lipid,

 Dr. Janoff again fails to account for the amount of conjugated lipid in his

 declaration. The range of conjugated lipid identified by the petition, however, is at

 the lower end of the range identified by the ’554 publication. Accommodating

 19% phospholipid is only mathematically possible if assuming the highest possible

 cationic lipid (60%) together with the lowest possible cholesterol (20%) and lowest

 possible conjugated lipid (1%). There is no explanation for any of these choices

 which appear driven by hindsight. Moreover, selecting the highest possible

 cationic lipid (60%) together with the lowest possible number in the ranges for




                                          -18-
                                                                               JA002305
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1026 of 1274 PageID #:
                                    9332



 conjugated lipid disclosed by the ’554 publication would have been viewed as

 counterintuitive. EX2031, ¶¶57-58.

        Accordingly, as the ’554 publication fail to disclose any range for

 phospholipid, much less an overlapping range, this challenge also necessarily fails

 on this basis alone.

        B.        Formulating Nucleic Acid-Lipid Particles Was Not a Matter of
                  Routine Optimization

        The legal paradigm based on overlapping ranges is not applicable here as

 evidenced by the lack of disclosure in the cited references of lipid ranges

 overlapping with the claimed ranges. See Section V.A. Even if considered further,

 obviousness under Peterson and duPont is a theory premised on the notion that

 routine optimization—not undue experimentation—is all that is required to arrive

 at the claimed subject matter. It is undisputed, however, that at the time of

 invention, formulating nucleic acid-lipid particles was not a matter of routine

 optimization. In other words, routine optimization simply does not apply here and

 presents another basis why the poorly conceived obviousness challenges in the

 petition fail.

        The undisputed fact that developing nucleic acid-lipid particles at the time

 was not a simple optimization matter was laid bare in the ʼ739 IPR. EX2006, 403:

 22-25 (“Q. In the 2008 timeframe, was developing nucleic acid-lipid particles

 considered a routine matter of optimizing variables? A. No.”); EX2004, ¶58 (“The


                                          -19-
                                                                               JA002306
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1027 of 1274 PageID #:
                                    9333



 effects of making changes to the proportion of other components in the lipid

 particle would be unpredictable...”), ¶60 (“Making safe and effective nucleic acid-

 lipid particle formulations was not simply a matter of ‘varying the proportion’ of

 cationic lipid in prior art formulations …”); see also EX2004, ¶¶57-59, 136;

 EX2005, 31:22-23 (“Change solvent, change additives, change lots of different

 variables”), 41:4-6 (“plenty of places to go wrong”), 178:17-18, 180:6-8; EX2006,

 404:11-18 (“As I stated multiple times in my deposition, these are multicomponent

 systems and varying one component at a time was not a viable strategy.”). Dr.

 Janoff repeatedly emphasized the complexity of the field of art at the time.

 EX2001, 144:18-145:1 (“We’re in deep waters, and what you think are simple

 questions belie — and I don’t mean to be pejorative — belie an ignorance of the

 field that you’re questioning me in”), 57:19 (“it’s a very technical area”), 58:22-

 59:1 (“we’re in deep water here talking about very technical issues), 61:9-11

 (“You’re asking me a very, very, very technical question...”), 63:5-11 (“we’re in

 technical deep waters”), 68:12 (“we’re in deep technical territory here”); see also

 EX2003, ¶25 (discussing “the complicated nature of what affects transfection

 efficiencies”).3 Petitioner should not be allowed to switch tact and argue that it



 3
     The Institution Decision distinguished between evidence pertinent to the ’739

 IPR and the present case. DI, 26. However, certain specific cited evidence,


                                          -20-
                                                                             JA002307
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1028 of 1274 PageID #:
                                    9334



 was obvious to arrive at the claimed ranges given the lack of any overlapping prior

 art disclosure, ample evidence teaching against certain claimed ranges, and their

 admissions on the complexity of the subject matter. EX2031, ¶¶59-60.

       Dr. Thompson explains that, as illustrated throughout the literature at the

 time, developing lipid carrier particles for nucleic acids was by no means

 considered a simple or routine matter of optimizing variables. EX2031, ¶61.

 Those in the field at the time had been struggling for years to find active

 formulations that were not toxic. Moreover, such lipid particles are multi-

 components systems. The interaction of the various components was not well

 understood at the time and there was little guidance available in the art. EX2031,

 ¶¶60, 76-81.

       Dr. Janoff’s declaration in this case includes only a single conclusory

 sentence regarding determining an “optimal proportion” of cationic lipid. EX1008,

 ¶112; see also 37 C.F.R. § 42.65(a). Dr. Janoff cites nothing to support this



 pertinent to the state of the art generally, and the issue of routine experimentation

 specifically, cannot be ignored here given the relation of the two patents. The ’435

 patent and ’069 patent share the same specification, the same effective filing date

 and have been addressed from the same POSITA perspective. EX2033, 35:13-

 36:15; compare EX1008, ¶¶29-32 with EX2028, ¶¶29-32.



                                          -21-
                                                                               JA002308
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1029 of 1274 PageID #:
                                    9335



 incorrect and conclusory statement. In fact, the remainder of his testimony

 unambiguously supports precisely the opposite conclusion. EX2031, ¶¶61-63.

       For example, Dr. Janoff emphasizes complexity in the technology and

 describes lipid ranges narrower than those in the cited art as “immense.” EX1008,

 ¶74; EX2028, ¶¶73, 112. Dr. Janoff further testified that, in view of such

 “immense” lipid ranges, “a POSITA would have no way of knowing if [a] lipid

 combinaton at any given proportion would have resulted in formulations of

 superior therapeutic index of other formulations.” EX1008, ¶74; EX2028, ¶73; see

 also EX2033, 42:3-42:10; EX2031, ¶62.

       During cross-examination, Dr. Janoff repeatedly testified that narrower lipid

 ranges than what is found in the art would be considered “immense” at the time

 and require “undue experimentation.” EX2033, 41:21-42:6 (“There is no way --

 there is no way a person of ordinary skill in the art would know what specific

 proportions might give results that are desired.”), 42:7-10 (“If the range is

 immense, there would be undue experimentation I believe to find a combination or

 a range that behaved in a desirable light.”), 60:5-60:16 (“Immense is big. And by

 immense maybe I can help a little bit more. By immense, I mean that in order to

 come up, in order for a person of ordinary skill in the art to find utility because of

 the immenseness of the range, this would require undue experimentation, not

 simple optimization”); EX2031, ¶64.



                                          -22-
                                                                              JA002309
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1030 of 1274 PageID #:
                                    9336



       The prior art cited in the petition is consistent with the testimony of both

 experts and corroborates that forming functioning lipid particles at the time was far

 from routine, but instead was a function of multiple parameters whose interactions

 were poorly understood, with limited guidance existing. EX2031, ¶¶65-66. For

 example, Ahmad emphasizes the lack of mechanistic understanding of lipid-based

 delivery systems at the time “due to the large number of parameters involved” and

 observes the lack of empirical investigation (“few investigations to date include a

 complete examination of lipid performance as a function of lipid-bilayer

 composition and lipid/DNA charge ratio (ρchg).” Id. (references omitted); see also

 EX2003, ¶25; EX1009, 8 (“[It is] essential for us to identify the critical parameters

 limiting gene delivery in the current systems.”).

       The evidence of record also demonstrates the recognition in the industry that

 developing lipid particle formulations for drug delivery was not a simple or routine

 matter, instead, the field struggled for years to identify effective solutions.

 EX2031, ¶¶65-66. For example, a MIT immunologist noted that “physical

 delivery of the [siRNA] to diseased cells is extremely challenging.” EX2016, 38;

 see also EX2017, 7248 (“The intrinsic complexity of any such gene delivery

 vehicle can be expected to present continued challenges ...”). Phillip Sharp, who

 shared the Nobel Prize in Physiology or Medicine for his earlier work on RNA

 splicing stated that “The major hurdle right now [for RNAi therapeutics] is


                                           -23-
                                                                               JA002310
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1031 of 1274 PageID #:
                                    9337



 delivery, delivery, delivery.” EX2018, 11; see also EX2020, 7 (“What’s

 interesting about what we do is that the drug isn’t the problem. It’s the delivery of

 it.”); EX2019, 2; EX2016, 42; EX2020, 1. Once the first lipid particle-based drug

 patisiran, was approved for use in humans, the development was hailed in the field

 with express discussion of the difficulties in overcoming the technical hurdles

 associated with effective delivery. EX2023, 291-292 (“[Delivery] proved to be a

 substantially harder problem than we anticipated...”), (“All of those tear-your-hair-

 out days were worth it to get to today”).

       In fact, Petitioner has never established that formulating nucleic acid-lipid

 particles as claimed would have been a matter of routine optimization (or any other

 obviousness rationale). Petitioner and its expert instead embrace the complexity of

 formulating nucleic acid-lipid particles, repeatedly arguing unpredictability in

 adjusting lipid proportions. The obviousness challenges fail for at least this reason

 alone. E.g., Stepan, 868 F.3d at 1346 (rejecting obviousness in view of

 overlapping ranges because “[m]issing from the Board’s analysis is an explanation

 as to why it would have been routine optimization to arrive at the claimed

 invention.”) (emphasis in original).

       Accordingly, “routine optimization” is not a viable rationale for arriving at

 the claimed subject matter. EX2031, ¶67; see also EX2007, 14-17.




                                          -24-
                                                                              JA002311
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1032 of 1274 PageID #:
                                    9338



       C.     The Broad Ranges of the Prior Art do not Support Routine
              Optimization

       The breadth of the ranges for other lipid components disclosed by the prior

 art relied upon in the petition further underscore that the presumption of Peterson

 does not apply under the facts of this case. That is, obviousness under Peterson

 and duPont does not apply when the disclosed range is so broad so as to

 encompass a large amount of distinct compositions. duPont, 904 F.3d at 1006

 (“we have reasoned that disclosure of very broad ranges may not invite routine

 optimization.”); Genetics, 655 F.3d at 1306 (explaining it is “the typical desire of

 scientists to find an optimum value [is] within a narrow disclosed range,” not

 ranges that are unduly broad) (emphasis added).

       The lipid ranges in the cited references are far broader than the ranges that

 Dr. Janoff describes as “immense” and requiring “undue experimentation, not

 simple optimization.” For example, the ’196 PCT teaches that “[t]he cationic lipid

 typically comprises from about 2% to about 60% of the total lipid present in said

 particle (EX1003, ¶88), and the ’554 publication teaches that the cationic lipid

 component can comprise from about 2% to about 60% of the total lipid (EX1005,

 ¶313). Those ranges are much broader than the claimed range of 50 mol% to 65

 mol% recited in the challenged claims. EX2031, ¶¶68-69.

       For the conjugated lipid, the range for the more expansive “bilayer

 stabilizing component” genus that is disclosed by the ’196 PCT is “from about


                                          -25-
                                                                             JA002312
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1033 of 1274 PageID #:
                                    9339



 0.5% to about 50% of the total lipid present in the particle” (EX1003, ¶93), and the

 broadest range disclosed by the ’554 publication is “from about 1% to about 20%”

 (EX1005, ¶313). EX2031, ¶70. Again, those ranges are much broader than the

 claimed range of 0.5mol% to 2mol% of the total lipid.

       And as discussed above in Sections V.A.i and V.A.ii, the prior art does not

 even disclose a range for the phospholipid. Importantly, other than characterizing

 the ranges as “overlapping,” Petitioner does not explain how the claimed ranges

 would be obtained by “optimization” and “routine experimentation.” See Stepan,

 868 F.3d at 1346 n.1; EX2033, 145:12-22 (Dr. Janoff testifying that a prima facie

 case of obviousness based on overlapping ranges is a legal construct, not a

 technical analysis).

       Not only are the ranges disclosed by the prior art broad, the teachings of

 prior art encompass an extremely large number of compositions. Specifically, the

 prior art is not limited to a formulation requiring a phospholipid, but instead

 disclose a large number of lipid components that may be used, one of which may

 be a phospholipid. EX2033, 52:9-18 (Dr. Janoff testifying that “a noncationic lipid

 could be cholesterol, it could be a zwitterionic phospholipid or could be an anionic

 lipid. The only requirement is that it’s not cationic. So, note immediately here, we

 are talking about an immense number of lipid types.”). For example, the ’554

 publication provides a broad definition for a neutral lipid, stating that it can be



                                           -26-
                                                                               JA002313
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1034 of 1274 PageID #:
                                    9340



 “any of a variety of neutral uncharged, zwitterionic or anionic lipids capable of

 producing a stable complex,” including phospholipid related materials, cholesterol,

 non-phosphorus containing lipids, and PEG-based polymers. EX1005, ¶455;

 EX2031, ¶¶71-72.

        Rather, Petitioner fails to address the claims as a whole, only addressing the

 individual lipid components (see Section V.D.i) and failing to account for the

 unpredictability in formulating nucleic acid-lipid particles (see Section V.B), as

 well as the interactions between the components (see Section V.D.i). EX2031,

 ¶73.

        D.    Petitioner Does not Explain Selecting the Claimed Composition
              from the Prior Art Ranges

        Regardless of whether the Peterson presumption applies here (it does not),

 Petitioner must provide articulated reasoning with some rational underpinning to

 support a conclusion of obviousness. KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398,

 418 (2007). The petition does not identify a reason to select the claimed

 composition from the prior art references, nor does it address why there would be a

 reasonable expectation of success of arriving at the claimed compositions.

 Intelligent BioSystems, Inc. v. Illumina Cambridge Ltd., 821 F.3d 1359, 1367 (Fed.

 Cir. 2016). Thus, again, the petition fails to demonstrate the unpatentability of the

 claims. EX2031, ¶74.




                                          -27-
                                                                             JA002314
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1035 of 1274 PageID #:
                                    9341



                  i. Claim as a Whole/Interaction of Components

       The petition separately parses the claimed amounts of cationic lipids,

 conjugated lipids, and non-cationic lipids from the references, without regard to

 one another. That is, the petition separately addresses the limitations of the claims,

 alleging that each limitation to the specific components of the nucleic acid-lipid

 particle in isolation are “prima facie obvious.” See, e.g., Pet. 33 (“this limitation is

 prima facie obvious”), 39 (same), 40 (same). Missing from the obviousness

 grounds is a showing that the challenged claims as a whole are obvious. In re

 Kahn, 441 F.3d 977, 986 (Fed. Cir. 2006) (“[M]ere identification in the prior art of

 each element is insufficient to defeat the patentability of the combined subject

 matter as a whole.”); In re NTP, Inc., 654 F.3d 1279, 1299 (Fed. Cir. 2011); see

 also FWD, 35-37. Indeed, as the statute itself states: “if the differences between

 the subject matter sought to be patented and the prior art are such that the subject

 matter as a whole would have been obvious.” 35 U.S.C. §103(a) (2012) (emphasis

 added); see generally Graham v. John Deere Co., 383 U.S. 1, 17-18 (1966);

 TriVascular, Inc. v. Samuels, 812 F.3d 1056, 1066 (Fed. Cir. 2016).

       The petition thus fails to address the fact that the concentrations of different

 lipid components are highly interdependent. See EX2004, ¶¶57-59. At best, the

 petition attempts to show that some prior art formulations had high concentrations




                                           -28-
                                                                               JA002315
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1036 of 1274 PageID #:
                                    9342



 of cationic lipid. However, these also use a high concentration of conjugated lipid,

 or are not nucleic acid-lipid particles. See also Section IX; EX2031, ¶¶74-79.

                 ii. Cationic Lipids Were Known to be Toxic

       The claimed invention is a nucleic acid-lipid particle comprised of relatively

 high levels of cationic lipids and low levels of conjugated lipids. This combination

 was counterintuitive to the then-existing state of the art, as cationic lipids were

 known to be cytotoxic, systemically toxic, to elicit an adverse complement-

 mediated immune response, and to cause particle aggregation that resulted in rapid

 clearance. E.g., EX1007, 745 (“Minimizing the amount of cationic lipid is

 desirable … fewer, more highly charged molecules should mean a smaller

 metabolic effort...”); EX1009, 5 (“the cationic lipid contributes significantly to the

 toxicity observed.”); EX2016, 42 (“I wouldn’t want anyone injecting cationic

 lipids into my bloodstream.”). The prior art taught that the cationic lipid

 component of lipid particles should be minimized, regardless of whether used for

 in vitro or in vivo purposes. EX2031, ¶¶80-88.

       In fact, Petitioner has published extensively about toxicity concerns due

 specifically to ionizable cationic lipids, including DLinDMA. For instance, one of

 Petitioner’s recent publications states the following:

       Ionizable cationic lipids, such as, but not limited to, DLinDMA, Dlin-
       KC2-DMA, and Dlin-MC3-DMA, have been shown to accumulate in



                                          -29-
                                                                               JA002316
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1037 of 1274 PageID #:
                                    9343



       plasma and tissues over time and may be a potential source of
       toxicity.
 EX2037, 21:10-12; EX2031, ¶86. Petitioner own publications explicitly attribute

 toxicity of ionizable cationic lipids (including DLinDMA) not to charge at

 physiologic pH — which by its own admission is neutral— but to accumulation

 and immunogenicity. These unrebutted facts are relevant because they 1) further

 undermine any motivation/expectation of success at the time; and 2) would have

 taught away from the claimed compositions.

       Moreover, compositions with low levels of conjugated lipid (i.e., 0.5 mol%

 to 2 mol%) would have been expected to result in unstable particles that aggregate

 and fail to effectively transfect cells. Conjugated lipids were used to shield the

 cationic lipids from interacting with negatively charged serum proteins and thereby

 diminish the adverse effects. Thus, when employing an increased amount of

 cationic lipid, a POSITA would have had every reason to correspondingly increase

 the amount of conjugated lipid. EX2004, ¶¶25-35. The inventors of the ’069

 patent did just the opposite. EX2031, ¶¶80-88.

       Making non-toxic and effective nucleic acid-lipid particle formulations was

 thus not simply a matter of “varying the proportion” of cationic lipid in prior art

 formulations. E.g., Pet. 33; Sections V.A. & V.B. As discussed in Sections VII.A

 and VII.B, the field was hindered by the lack of effective and safe nucleic acid

 delivery vehicles. That the field struggled for 20 years to find such a delivery

                                          -30-
                                                                             JA002317
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1038 of 1274 PageID #:
                                    9344



 vehicle speaks to the difficulty of the task. Had the solution been a matter of

 simply optimizing the cationic lipid proportion, it would not have taken such an

 enormous investment of money and time. EX2004, ¶60; EX2031, ¶¶80-88.

 VI.     UNEXPECTED RESULTS FURTHER REBUT ANY PRIMA FACIE OBVIOUSNESS

         To the extent any prima facie case of obviousness was ever established, it is

 rebutted by uncontroverted evidence that developing nucleic acid-lipid particles as

 claimed was not a matter of routine optimization of lipid variables. The Federal

 Circuit has explained in Peterson and elsewhere, one may also overcome a prima

 facie case of obviousness “by showing that the claimed range achieves unexpected

 results.” Peterson, 315 F.3d at 1330-1331. Any such prima facie case here is even

 further overcome by the extensive experimental data in the ’069 patent and post-

 filing publications showing unexpected results.4



 4
     As both Petitioner and Dr. Janoff were aware of Patent Owner’s evidence of

 secondary considerations, which were extensively developed throughout the

 proceeding of the ’739 IPR, but did not address any in the Petition or Dr. Janoff’s

 declaration. They should not be permitted to challenge this evidence in Reply

 here, as it should have been addressed in the petition in the first instance. E.g.,

 Praxair Distribution, Inc. v. Mallinckrodt Hospital Products, IPR2016-00777,

 Paper 10, 9.


                                          -31-
                                                                              JA002318
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1039 of 1274 PageID #:
                                    9345



       The extensive scope of the experimental testing conducted—and ignored by

 the petition—included many different formulations, with many different

 combinations of different lipid components, gene targets, nucleic acid payloads

 and methods of production. See EX2008 (summary of exemplary formulations

 tested and within the scope of the ’069 patent claims); EX2007, 18-20. Such

 testing is more than sufficient to rebut any prima facie case of obviousness. See

 Peterson, 315 F.3d at 1331 (unexpected results not commensurate where only two

 data points were tested, and only one data point produced unexpected results);

 duPont, 904 F.3d at 996 (only a single data point was tested); In re Greenfield, 571

 F.2d 1185, 1189 (Fed. Cir. 1978) (testing only one species in a large genus).

       The prior art instructs that high-level cationic lipid compositions were

 expected to have poor efficacy and increased cytotoxicity and immunogenicity

 relative to low-level cationic lipid formulations. See EX1006, 3315; EX1007, 745;

 EX1009, 5; EX2009, 30:34-41. As Dr. Thompson explains, the expectation for the

 claimed nucleic acid-lipid particle compositions would have been toxic

 compositions poorly suited for systemic use and little, if any, efficacy. EX2004,

 ¶¶66-67. Contrary to these expectations, the claimed formulations are well-

 tolerated and efficacious at far lower dosages than prior art compositions.

 EX2004, ¶68; e.g. EX1001, 74:1-4, Figure 3. These results are “an unexpected

 difference in kind that supports nonobviousness.” Allergan, Inc. v. Sandoz Inc.,



                                         -32-
                                                                               JA002319
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1040 of 1274 PageID #:
                                    9346



 796 F.3d 1293, 1306 (Fed. Cir. 2015). Petitioner ignores much of the experimental

 data presented in the ’069 patent, offers no meaningful critique to the data that is

 addressed, and fails to address that the claimed nucleic acid-lipid particle

 compositions are substantially non-toxic and non-immunogenic. See also EX2004,

 ¶¶69-71; EX2031, ¶¶89-93.

       A.     The ʼ069 Patent Reports Extensive Testing of Numerous
              Formulations within the Claimed Range

       Patent Owner found that the claimed formulations surprisingly impart

 increased activity of the encapsulated nucleic acid and improved tolerability of the

 formulations in vivo, resulting in a significant increase in the therapeutic index.

 EX1016, 38-39, 68-69. Moreover, the claimed formulations are stable in

 circulation and are substantially non-toxic when administered to mammals. The

 ’069 patent specification provides experimental data for numerous formulations

 within the scope of claim 1, supporting the unexpected tolerability and efficacy of

 the claimed compositions. EX2031, ¶¶89-95; see also EX2008.

       Example 2 of the ’069 patent demonstrates that Eg5 siRNA formulations

 formulated as 1:57 SNALP are potent inhibitors of cell growth in vitro. EX1001,

 68:51-70:22. Sample 9 (a 1:57 SNALP) was among the most potent inhibitors of

 tumor cell growth at all siRNA concentrations tested. Id., 70:19-22. As Dr. Janoff

 admits, the 1:57 SNALP outperforms the 2:40 admitted prior art at low siRNA

 amounts (EX1008, ¶83), demonstrating the potency of the 1:57 SNALP. And as


                                          -33-
                                                                                JA002320
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1041 of 1274 PageID #:
                                    9347



 Dr. Janoff testified, potency is a factor when discussing toxicity. EX2033, 68:11-

 16, 69:7-71:1 (relating potency to effectiveness); EX2029, 116 (defining efficacy),

 263 (defining potency); EX2031, ¶¶96-98.

       Additionally, Example 3 in

 the ’069 patent specification

 demonstrates that the 1:57

 formulations were substantially

 more effective at silencing the

 expression of a target gene as

 compared to all other nucleic acid-

 lipid particle formulations tested. See, e.g., EX1001, 72:21-24 (“FIG. 2 shows that

 the 1:57 SNALP formulation … was the most potent at reducing ApoB expression

 in vivo (see, Group 11)”) (emphasis added); see also id., Table 4 (showing Group

 11 as 1.4% conjugated lipid (PEG); 57.1% cationic lipid (DLinDMA); 7.4%

 phospholipid (DPPC); 34.3% cholesterol). Figure 2 (annotated) is shown.

 EX2031, ¶¶99-101.




                                         -34-
                                                                           JA002321
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1042 of 1274 PageID #:
                                    9348



       As Dr. Thompson explains,

 Example 4 demonstrates that 1:57

 formulations were 10 times more

 efficacious as compared to a nucleic

 acid-lipid particle formulation

 previously described (“2:30 SNALP”)

 in mediating target gene silencing in vivo at a 10-fold lower dose. EX1001, 73:64-

 67; EX1016, 39. Figure 3 (annotated) is shown. As explained during ex parte

 prosecution, the 2:30 SNALP formulation contains the greatest amount of cationic

 lipid of all the SNALP formulations prepared and tested in the MacLachlan et al.

 reference that was cited by the Examiner. EX1016, 39; EX2031, ¶¶101-103.

       Example 5 describes testing of

 five additional “1:57” formulations

 within the scope of claim 1.

 EX1001, 74:1-53, Table 6 (see

 Groups 2 and 4-7), Figure 4. Those

 formulations included combinations

 of different conjugated lipids (PEG2000 and PEG5000), cationic lipids (DLinDMA

 and DODMA), phospholipids (DPPC and DPPE), and cholesterol/derivative

 (cholesterol and cholestanol). As disclosed in Example 5 and illustrated in Fig. 4,



                                         -35-
                                                                           JA002322
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1043 of 1274 PageID #:
                                    9349



 each of those formulations demonstrated potent silencing activity in vivo. EX2031,

 ¶¶104-106.

       As Dr. Thompson explains, Examples 7 and 8 describe testing of tolerability

 and efficacy using “1:57” SNALPs prepared by different manufacturing processes.

 EX1001, 75:41-80:45. The tested SNALPs were well-tolerated and efficacious in

 mediating target gene silencing in vivo. E.g., id., 77:61-66 (“There was no body

 weight loss or change in animal appearance/behavior upon administration of the

 1:57 SNALP formulations.”), 80:5-8 (“There was also no obvious change in

 animal appearance/behavior at any of the dosages tested … there were no obvious

 changes in platelet count”); EX2031, ¶¶107-111.

       The examples presented in the ’069 patent demonstrate that nucleic acid-

 lipid particles were efficacious in silencing multiple different gene targets in vivo

 and discloses data demonstrating nucleic acid-lipid particle compositions across

 the claimed range are unexpectedly well-tolerated and efficacious. EX2007, 20-

 22. As indicated above, Examples 3-8 demonstrate potent silencing of ApoB

 expression in vivo. Examples 9-11 further demonstrate in vivo silencing of polo-

 like kinase 1 (PLK-1) expression using different 1:57 SNALP formulations.

 EX1001, 80:46-86:19. EX2031, ¶¶99-111.

       The claimed particles have not only been compared to prior 2:30 and 2:40

 formulations, but, as discussed below, post filing-date particles have been



                                          -36-
                                                                               JA002323
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1044 of 1274 PageID #:
                                    9350



 compared to other formulations having conjugated lipid levels above the claimed

 range. As discussed below in Section VI, particles encompassed by claim 1 were

 superior in silencing gene expression of Factor VII in vivo relative to formulations

 having conjugated lipid levels above the claimed range. EX2014, Figure 12.

 Thus, although ignored by Petitioner, other post-filing date evidence reinforces the

 unexpected properties discussed in the disclosure of the ’069 patent. EX2031,

 ¶¶99-112.

         B.    Post-Filing Publications Provide Testing Data for a Broad Range
               of Lipids and Cargo Molecules

         As Dr. Thompson explains, Publications following the ’069 patent

 (including Petitioner’s own publications) tested dozens more formulations within

 the scope of claim 1, finding those formulations efficacious and well-tolerated.5

 EX2031, ¶¶113-21; EX2008. The testing reported in post-filing publications

 (including those by Petitioner) cover different nucleic acid payloads (e.g., siRNA

 and mRNA), many different cationic lipids, numerous gene targets, various in vivo

 animal models, and humans. EX2031, ¶113.




    5
        Genetics, 655 F.3d at 1307 (“[W]e have held that evidence of unexpected

 results may be used to rebut a case of prima facie obviousness even if that

 evidence was obtained after the patent’s filing or issue date….”)



                                         -37-
                                                                            JA002324
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1045 of 1274 PageID #:
                                    9351



       U.S. Patent No. 8,236,943 (“the ’943 patent,” EX2010) discloses testing of

 several formulations within the scope of claim 1. For instance, the ’943 patent

 evaluated several 1:57 formulations comprising 1.4% PEG2000-cDMA, 57.1%

 cationic lipid, 7.1% DPPC, and 34.3% cholesterol. EX2010, 150:15-47; see also

 id., 151:Table 1 (describing the siRNA cargo). Examples 11 and 13 disclose such

 formulations comprising five different cationic lipids (i.e., DLin-K-C2 DMA,

 DLenDMA, γ-DLenDMA, γ-DLen-C2K-DMA, and DLen-C2K-DMA), which

 were tested for their capacity to silence the ApoB gene in animals following

 intravenous injection. Id., 150:59-151:55, 153:25-55, Figures 4, 7. Each of these

 formulations demonstrated potent gene silencing activity in vivo. EX2031, ¶114.

       U.S. Publication No. 2013/0116307 (“the ’307 publication,” EX2011)

 discloses testing of additional formulations within the scope of claim 1, including

 1:57 formulations comprising 1.4% PEG2000-cDMA, 57.1% cationic lipid, 7.1%

 DPPC, and 34.3% cholesterol. EX2011, ¶421; see also id., Table 1 (describing the

 siRNA cargo). Such formulations included seven different cationic lipids (i.e.,

 DLin-MC3-DMA, LenMC3, CP-LenMC3, CP-γ-DLen-C2K-DMA, CP-DLen-

 C2K-DMA, γ-Len-MC3, CP-γ-Len-MC3) that were tested for their capacity to

 silence gene expression in mice following intravenous injection. Id., Examples 17

 & 18, ¶¶430-439, Figures 4, 5. As illustrated in Figures 4 and 5, each of these nine




                                         -38-
                                                                            JA002325
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1046 of 1274 PageID #:
                                    9352



 formulations were efficacious in silencing target gene activity in vivo. EX2031,

 ¶115.

         Semple (EX2021) discloses testing of formulations within the scope of claim

 1 in multiple different in vivo animal models. For instance, Semple tested a 1:57

 formulation comprising 1.4% PEG2000-cDMA, 57.1% DLin-KC2-DMA, 7.1%

 DPPC, and 34.3% cholesterol. EX2021, 177 (“Preparation of KC2-SNALP”); see

 also id., (“siRNA synthesis”) (describing the TTR siRNA cargo). The formulation

 was tested for its capacity to silence the TTR gene in mice, rats, and non-human

 primates following a single intravenous injection. EX2021, 175, 178 (“In vivo

 nonhuman primate experiments”), Figure 3. As reported, the 1:57 formulation

 “was well-tolerated in both rodent and nonhuman primates and exhibited in vivo

 activity at siRNA doses as low as 0.01 mg/kg in rodents, as well as silencing of a

 therapeutically significant gene (TTR) in nonhuman primates.” Id., 175; see also

 id., Table 2; EX2022, Supplementary Table 4. The formulations were both

 efficacious and well-tolerated. EX2021, 175 (“toxicological analysis indicated that

 the treatment was well tolerated at the dose levels tested, with no treatment-related

 changes in animal appearance or behavior.”). EX2031, ¶116.

         U.S. Publication No. 2017/0307608 to Bettencourt (“the ’608 publication,”

 EX2012) discloses testing of the commercial product, Onpattro™ (i.e., patisiran).

 Patisiran includes 50% DLin-MC3-DMA, 1.5% PEG-cDMG, 10% DSPC, 38.5%



                                         -39-
                                                                            JA002326
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1047 of 1274 PageID #:
                                    9353



 cholesterol. EX2012, ¶46, Table 1; see also id., ¶43 (describing the TTR siRNA

 cargo). Testing demonstrated that patisiran is both efficacious and well-tolerated

 in human subjects. EX2012, ¶103. Patisiran effectively silenced expression of its

 target—the TTR gene—providing clinical benefit to patients. Id., ¶¶121, 132;

 EX2031, ¶¶117-18.

       International Publication No. WO2010/088537 to Akinc (“the ’537

 publication,” EX2014) discloses testing of even more formulations within the

 scope of claim 1. EX2014, 112, 120, 109 (Table 3) (describing the FVII siRNA

 cargo). Example 16 discloses 24 formulations, three of which (Groups 23-25) are

 within the scope of claim 1. Id., 120. As illustrated in Fig. 12 below (annotated),

 Groups 23-25 were superior in silencing gene expression of Factor VII (“FVII”) in

 vivo relative to formulations having conjugated lipid levels above the claimed

 range. Id., Figure 12; EX2031, ¶119.




                                         -40-
                                                                            JA002327
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1048 of 1274 PageID #:
                                    9354



         Remarkably, the petition and Dr. Janoff ignore that Petitioner has published

 extensively that the claimed formulations are efficacious and well-tolerated for

 various nucleic acid payloads, including mRNA. See EX2002, 70:18-73:4, 75:25-

 77:7 (confirming his opinions ignored Petitioner’s publications); EX2026;

 EX2015; EX2027. For example, Sedic tested mRNA therapeutic payloads in the

 LNPs using the same “off-the-shelf” formulation as patisiran (i.e., 50% DLin-

 MC3-DMA, 1.5% PEG-cDMG, 10% DSPC, 38.5% cholesterol). EX2026, 2

 (“850-nucleotide messenger RNA”), 3; EX2012, ¶46. Consistent with the various

 other reports in the literature, Petitioner reported that the LNPs were efficacious

 and well-tolerated. EX2026, Abstract (“Overall, these combined studies indicate

 that LNP-formulated modified mRNA can be administered by intravenous infusion

 in 2 toxicologically relevant test species and generate supratherapeutic levels of

 protein (hEPO) in vivo.”).6

         In sum, various post-filing publications, including Petitioner’s own

 publications, which were not addressed in the petition, have reported testing of

 numerous formulations within the scope of claim 1. This includes testing of many



 6
     EX2019, 4 (“[O]nce a delivery technology is found suitable for knocking down

 genes in a given cell/tissue type, any gene can be targeted.”); see also EX2006,

 404:20-406:7.



                                          -41-
                                                                                JA002328
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1049 of 1274 PageID #:
                                    9355



 different cationic lipids, numerous gene targets, and various in vivo animal models.

 Such publications provide additional evidence that the claimed formulations are

 surprisingly efficacious and remarkably non-toxic. See also EX2007, 23-27;

 EX2031, ¶¶120-21.

       C.     Petitioner Fails to Present Any Meaningful Critique to Patent
              Owner’s Evidence Supporting Patentability

       The burden is never on Patent Owner to demonstrate the patentability of the

 claims—it is up to Petitioner to demonstrate the unpatentability of the claims. E.g.

 In re Magnum Oil Tools Int’l, Ltd., 829 F.3d 1364, 1375 (Fed. Cir. 2016). Instead,

 Petitioner provides an incomplete and flawed analysis of the data, and its critique

 falls far short of carrying its burden of demonstrating the unpatentability of the

 claims. E.g., EX2033, 104:8-9 (Dr. Janoff testifying “I have no reason not to

 believe the data.”). As discussed above, Patent Owner has presented extensive

 unrebutted evidence showing that the claimed particles demonstrate unexpected

 results, as well as extensive unrebutted evidence as to other secondary

 considerations such as skepticism and commercial success (see Section VII), all of

 which support the patentability of the claims. Not only has that evidence been

 presented in the instant proceeding, it was made of record in the ’739 IPR before

 the instant petition was filed, and again, other than for Examples 2-5 of the instant

 disclosure, this evidence has never been rebutted. To be clear, Petitioner’s critique

 of Examples 2-5 is inapt.


                                          -42-
                                                                             JA002329
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1050 of 1274 PageID #:
                                    9356



       Turning first to Example 2, Dr. Janoff concedes that the 1:57 formulation

 (Sample 9) was highly potent in inhibiting cell viability, as well as outperforms

 Sample 10, which comprises a phospholipid component (13.3%) falling outside the

 scope of the challenged claims. EX1008, ¶83. Thus, Dr. Janoff has no meaningful

 criticism of this example. Furthermore, as to Example 3, Dr. Janoff offers only his

 erroneous speculation that the 1:57 SNALP (Group 11) is not statistically

 significantly efficacious over Group 12, containing 40.4% cationic lipid. EX1008,

 ¶85. Dr. Thomson’s review of Figure relied upon by Dr. Janoff in making that

 statement, however, determined that the error bars in fact did not overlap.

 EX2031, ¶100. Dr. Thompson’s review is also consistent with the express

 disclosure of the specification that the 1:57 composition was the most potent

 (EX1001, 72:21-24). Notably, Dr. Janoff failed to address this opinion, thus it

 remains unrebutted. See EX1008, ¶85.

       As to Example 4 (EX1001, 73:64-67), Dr. Janoff in fact concedes that the

 testing established that the 1:57 formulation outperformed the 2:30 SNALP by

 showing more than 10 times the efficacy but attacks the data on the basis that the

 2:30 formulation was formulated with the phospholipid DSPC, while the 1:57

 formulation was formulated with the phospholipid DPPC. EX1008, ¶86. That

 criticism, however, is belied by his testimony in the ’680 IPR, in which he stated

 that the’069 patent discloses that DSPC may be substituted for DPPC. EX2030,



                                         -43-
                                                                               JA002330
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1051 of 1274 PageID #:
                                    9357



 ¶85 (“A POSITA would understand from these disclosures that DSPC could be

 substituted for DPPC in the identified formulations.”). Finally, Dr. Janoff’s only

 critique of Example 5 is that the preferred proportion for one cationic lipid,

 DLinDMA, “does not necessarily apply” to all cationic lipids. EX1008, ¶116. But

 this again falls far short of Petitioner’s burden demonstrating the unpatentability of

 the claims.

         Petitioner also asserts that other formulations contain cationic lipids over

 50%, citing Lin and Ahmad. As discussed in Section IX, Lin and Ahmad are not

 drawn to nucleic acid-lipid particles, but are drawn to lipoplexes, which are a

 different type of particle compared to a “nucleic acid-lipid particle,” excluded from

 the scope of the challenged claims, and now recognized in the literature as

 unsuitable for use in vivo. In addition, as discussed in Section VI, particles

 encompassed by claim 1 were superior in silencing gene expression of Factor VII

 in vivo relative to formulations having conjugated lipid levels above the claimed

 range. EX2014, Figure 12; EX2031, ¶¶152-162.

 VII. ADDITIONAL OBJECTIVE INDICIA OF NON-OBVIOUSNESS FURTHER REBUT
                                  7
      ANY PRIMA FACIE OBVIOUSNESS

         Patent Owner also demonstrated long felt need, failure of others, skepticism


 7
     All of the above objective indicia were previously presented in the ’739 IPR. ʼ739

 IPR, Paper 24, 53-61. Despite being placed on notice of this issue, Petitioner has


                                           -44-
                                                                               JA002331
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1052 of 1274 PageID #:
                                    9358



 in the industry, and commercial success. E.g., ʼ739 IPR, Paper 24, 21-28, 53-61;

 EX2007, 34; Apple Inc. v. Samsung Elecs. Co., 839 F.3d 1034, 1052 (Fed. Cir.

 2016) (en banc).

       A.     Long-Felt Need – the delivery problem was not solved for over 20
              years

       “Evidence of a long-felt but unresolved need” weighs in favor of non-

 obviousness. Apple, 839 F.3d at 1056. The therapeutic potential of RNAi has

 been appreciated for over 25 years. However, effectively delivering RNA to target

 cells without eliciting vehicle-related toxicity prevented realization of this

 potential. See, e.g., EX2016, 38, 42; EX2018, 11; EX2004, ¶¶170-71. The mid-

 2000’s saw dramatic growth and investment in RNAi-based therapeutics. Yet,

 despite $2.5-3.5 billion in investment, no solution for the delivery problem had

 been found. EX2019, 1; EX2004, ¶¶171-73; EX2031, ¶¶122-30.

       By 2008, the industry-wide failure to identify a solution to the delivery

 challenge resulted in waning confidence that RNAi could deliver on its therapeutic

 promise. EX2019, 2, 10. Much of the delivery technologies identified around this


 not made any attempt to rebut or even address the evidence. Petitioner’s failure to

 address the evidence of objective indicia at the petition stage, as required by

 Graham, requires a conclusion that Petitioner has failed to demonstrate the

 unpatentability of the claims by a preponderance of the evidence.



                                          -45-
                                                                              JA002332
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1053 of 1274 PageID #:
                                    9359



 time are inferior to the claimed invention. EX2019, 10 (“Roche’s Factor VII

 patent application (WO 2010/055041) features Alnylam’s ‘lipidoid’ technology for

 the rodent studies, but then switched to [Patent Owner’s] SNALP liposomes for the

 nonhuman primate part of the patent application.”); see also EX2004, ¶174;

 EX2031, ¶126.

       Prior to the first publication of the ’435 patent disclosure, Alan Sachs, leader

 of RNA Therapeutics at Merck, identified delivery as the challenge to successfully

 developing RNAi drugs.

       What’s interesting about what we do is that the drug isn’t the problem.

       It’s the delivery of it.

 EX2020, 7 (emphasis added). As explanation for the lack of viable delivery

 chemistries, Dr. Sachs elaborated on the nature of the challenge.

       If it were so easy [with targeted therapeutics], one would have to
       describe why so few examples exist. The same is true in the RNAi
       delivery process. You can write down the steps. You can write down
       what you think will happen. But then you have to put it in a 50-
       nanometer particle that’s safe and potent to deliver.

 EX2020, 4; see also EX2004, ¶¶175-176. The long-felt need for a siRNA delivery

 vehicle and the difficulty in finding a solution is further exemplified by the 500

 person-years and $200M that Patent Owner invested into SNALP technology.

 EX2019, 8; see also EX2004, ¶177. Prior to the serum-stable nucleic acid-lipid



                                          -46-
                                                                             JA002333
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1054 of 1274 PageID #:
                                    9360



 particles disclosed in the ’069 patent, there were no proven solutions to the

 delivery problem that had long plagued the industry. EX2004, ¶178; EX2031,

 ¶¶123-30. The over 20-year long-felt need in the industry supports a finding of

 nonobviousness.

       B.     Failure of Others – those in the art failed to formulate nucleic
              acid-lipid particles suitable for systemic delivery

       “Evidence that others tried but failed to develop a claimed invention may

 carry significant weight in an obviousness inquiry.” Eurand, Inc. v. Mylan

 Pharms., Inc., 676 F.3d 1063, 1081 (Fed. Cir. 2012); see also Boehringer

 Ingelheim Vetmedica, Inc. v. Schering-Plough Corp., 320 F.3d 1339, 1354 (Fed.

 Cir. 2003). The obviousness grounds in the petition demonstrate that there is long-

 term evidence of a failure of others to achieve the claimed invention. The petition

 argues that there is a general motivation to obtain efficacious nucleic acid-lipid

 particles formulated or suitable for systemic delivery. Yet, no prior art publication

 teaches achievement of the serum-stable nucleic acid-lipid particles of the

 invention. Indeed, due to toxicity and other concerns, the cited references would

 have led a POSITA to formulate particles having low cationic lipid and relatively

 higher conjugated lipid to shield the particles from toxicities. E.g., EX2004, ¶¶25-

 35, 62, 174; EX2031, ¶¶123-30.

       Those in the art failed to achieve nucleic acid-lipid particles suitable for

 systemic delivery for decades, and instead suffered through 25 years of industry-


                                          -47-
                                                                              JA002334
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1055 of 1274 PageID #:
                                    9361



 wide failure to identify a solution to the delivery problem. The failure of others in

 the industry supports the non-obviousness of the ’069 patent. See EX2004, ¶174.

       C.     Skepticism – those in the art questioned the safety of the SNALP
              as a suitable delivery platform

       “Doubt or disbelief by skilled artisans regarding the likely success of a

 combination or solution weighs against the notion that one would combine

 elements in references to achieve the claimed invention.” WBIP, LLC v. Kohler

 Co., 829 F.3d 1317, 1335 (Fed. Cir. 2016). Whether the skepticism is before or

 after the invention matters not. Transocean Offshore Deepwater Drilling, Inc. v.

 Maersk Drilling USA, Inc., 699 F.3d 1340, 1352-53 (Fed. Cir. 2012) (skepticism

 even after invention is probative of non-obviousness).

       The art widely believed that cationic lipid content should be minimized to

 avoid cytotoxicity, aggregation, and unwanted interactions with non-targeted cells.

 See EX2004, ¶¶31, 32, 179. For example, Dr. Zamore of Alnylam, acknowledged

 in 2003 that various cationic lipid formulations could successfully deliver siRNA

 to cells in vitro but stated that “I wouldn’t want anyone injecting cationic lipids

 into my bloodstream.” EX2016, 42; see EX2004, ¶180; EX2031, ¶¶131-32.

       Dr. Sachs of Merck also expressed skepticism, in 2010, as to the safety of

 the SNALP platform for delivery of siRNA.

       First are lipid-based delivery systems. At the time of our acquisition
       of Sirna, they had successfully shown lipid-based delivery to the liver.


                                          -48-
                                                                              JA002335
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1056 of 1274 PageID #:
                                    9362



       Initially, it was through a collaboration with what is now called
       [Patent Owner]. That was really the leading standard for the area.
       Several [applications to begin clinical trials] have been filed with the
       FDA. We spent a lot of internal research money and time on novel
       lipids. The liability of that platform is absolutely its safety.

 EX2020, 5 (emphasis added); see EX2004, ¶181.

       These facts rebut the hindsight-driven analysis and assertions of the petition

 that the nucleic acid-lipid particle compositions of the invention would have been

 obvious to a POSITA in April 2008. See EX2004, ¶179-81; EX2031, ¶133.

       D.    Commercial Success – the claimed nucleic acid-lipid particle is the
             first FDA approved siRNA drug

       Independent claim 1 of the ’069 patent encompasses the first nucleic acid-

 lipid particle approved by the FDA for gene therapy. The ’069 patent is now listed

 in the Orange Book as protecting the patisiran—tradename “Onpattro”—

 commercial product. EX2025. Patisiran was developed by Alnylam

 Pharmaceuticals under license from Patent Owner. EX2004, ¶¶191-193; EX2031,

 ¶¶134-36.

       Patisiran has received tremendous recognition in the field and gained

 regulatory approval in the U.S. and Europe and has been designated by the FDA as

 a “first-in-class” drug. EX2024. According to James Cardia, head of business

 development at RXi Pharmaceuticals, which is developing RNAi treatments: “This

 approval is key for the RNAi field” and “is transformational.” EX2023, 291; see


                                          -49-
                                                                             JA002336
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1057 of 1274 PageID #:
                                    9363



 also EX2004, ¶190. The literature explicitly credits the nucleic acid-particle

 delivery technology for the success of patisiran. EX2023, 291-292 (crediting the

 groundbreaking nature of patisiran to its delivery vehicle); EX2002, 77:8-86:23;

 EX2031, ¶¶134-36. PPC Broadband, Inc. v. Corning Optical Communs. RF, LLC,

 815 F.3d 734, 747 (Fed. Cir. 2016) (explaining that there is a presumption of nexus

 when the commercial product falls within the scope of the claimed invention)

 (citing Ecolochem, Inc. v. S. Cal. Edison Co., 227 F.3d 1361, 1378 (Fed. Cir.

 2000)).

 VIII. ANTICIPATION IN VIEW OF OVERLAPPING RANGES FAILS (GROUNDS 1
       AND 3)

       The petition also fails to demonstrate anticipation of the claimed ranges.

       A.     No Affirmative Teaching of a Phospholipid Range Defeats
              Petitioner’s Anticipation Theory

       It is axiomatic that to anticipate, every element and limitation of the claimed

 invention must be found in a single prior art reference, arranged as in the claim.

 Karsten Mfg. Corp. v. Cleveland Golf Co., 242 F.3d 1376, 1383 (Fed. Cir. 2001).

 As explained above in Section V.A, the prior art does not provide a phospholipid

 range, much less the range reported by Petitioner in its Tables. E.g. Pet. 39. As

 the prior art fails to disclose every element of the claim, Petitioner’s anticipation

 theories in both Grounds 1 and 3 fail on this basis alone.




                                          -50-
                                                                              JA002337
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1058 of 1274 PageID #:
                                    9364



       B.     Ranges in the Art are Not Sufficiently Specific to Anticipate the
              Claimed Ranges

       Petitioner cites to various ranges in the ’196 PCT and the ’189 and’554

 publications in addressing the remaining claimed ranges of the cationic lipid,

 cholesterol, and conjugated lipid. To the extent that such citations are intended to

 advance an anticipation theory, that theory also fails. EX2004, ¶¶124-25. Initially,

 Dr. Janoff considers the claimed phospholipid range of 0.5 to 2 mol% to be broad

 and immense (EX2033, 60:25-61:24), which directly contradicts his declaration

 that the ranges of the prior art are sufficiently specific to anticipate the claimed

 ranges.

       Anticipation requires that a reference clearly and unequivocally disclose the

 claimed invention without any need for picking, choosing, and combining various

 disclosures not directly related to each other in the cited reference. Net MoneyIN,

 Inc. v. Verisign, Inc., 545 F.3d 1359, 1371 (Fed. Cir. 2008); Arkley, 455 F.2d at

 587. For example, in Atofina, although the prior art fully encompassed the claimed

 range, the Federal Circuit explained that “[g]iven the considerable difference

 between the claimed range and the range in the prior art, no reasonable fact finder

 could conclude that the prior art describes the claimed range with sufficient

 specificity to anticipate th[e] limitation.” Atofina v. Great Lakes Chem. Corp., 441

 F.3d 991, 999 (Fed. Cir. 2006); see also EX2004, ¶¶130-32. The fact pattern and

 holding of Atofina is applicable to Petitioner’s assertions of anticipation here.


                                           -51-
                                                                               JA002338
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1059 of 1274 PageID #:
                                    9365



       a.    Ground I—Neither the ’196 PCT nor the ’189 Publication
       Anticipate the Remaining Claimed Ranges

       Claim 1 recites a cationic lipid range of 50mol% to 85mol%, a cholesterol or

 derivative thereof of 30mol% to 40mol%, a phospholipid range of 4-10% and a

 conjugated lipid of 0.5 mol% to 2mol%. EX2031, ¶137.

       For the cationic lipid, Petitioner relies on the disclosure of the ’196 PCT and

 the ’189 publication that “[t]he cationic lipid typically comprises from about 2% to

 about 60% of the total lipid present in said particles … [i]n other preferred

 embodiments, the cationic lipid comprises from about 40% to about 50% of the of

 the total lipid present in said particle.” Pet. 32-33 (quoting EX1003, ¶88; EX1004,

 ¶152). Petitioner relies also on the ’618 patent as disclosing a formulation of 56%

 cationic lipid, 14% phospholipid, and 30% cholesterol, as well as other

 formulations containing over 50% cationic lipid. Pet. 33 (citing EX1017, 34:54-

 35:23). Petitioner asserts that “[g]iven the breadth of the claimed range, these

 disclosures are sufficiently specific to anticipate the claimed range.” Pet. 33

 (citing EX1008, ¶112); EX2031, ¶¶138-40.

       Petitioner does not explain, however, how a range of about 2% to about 60%

 cationic lipid is sufficiently specific to anticipate the claimed cationic lipid range

 of 50 mol% to 65 mol%. As in Atofina, the claimed range overlaps, but does not

 fall within the disclosed range. Moreover, a range of 2% to 60% is much broader

 than the claimed range of 50 mol% to 65 mol%. EX2031, ¶140.


                                           -52-
                                                                               JA002339
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1060 of 1274 PageID #:
                                    9366



        As stated in Section V.A.i, Petitioner’s reliance on the ’618 patent is

 ineffectual. The particle containing 56% cationic lipid does not contain any

 conjugated lipid, and the amount of phospholipid (14%) is outside of the claimed

 range of 4mol% to 10mol%. EX1017, 35:17. Other formulations containing

 higher amounts of phospholipid are missing other components, such as the

 phospholipid and conjugated lipids. Id., 35:20. Such formulations clearly do not

 anticipate the claims. Petitioner wholly fails to demonstrate how the formulations

 of the ’618 patent relate to its anticipation analysis. EX2031, ¶¶141-42.

       As for cholesterol, Petitioner asserts that the prior art teaches that, if present,

 the cholesterol comprises from about 20 % to about 45%. Pet. 38 (citing EX1003,

 ¶91; EX1004, ¶152). Petitioner also relies on the ’618 patent for disclosing a

 formulation of 56% cationic lipid, 14% phospholipid, and 30% cholesterol. Pet. 38

 (citing EX1017, 34:54-35:23). Again, although the disclosed range of about 20%

 to about 45% encompasses the claimed range of 30 mol% to 40 mol%, the

 presence of cholesterol is optional, and the about 20% to about 45% range of the

 ’196 PCT and the ’189 publication of an optional component is not sufficiently

 specific to anticipate. EX2031, ¶143.

       Finally, Petitioner relies on the disclosure of a bilayer stabilizing component

 of about 0.5% to about 25% of the total lipid, asserting that disclosure is

 sufficiently specific to anticipate. Pet. 40 (citing EX1003, ¶¶92-93; EX1004, ¶152;



                                           -53-
                                                                                JA002340
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1061 of 1274 PageID #:
                                    9367



 EX1008, ¶120). As an initial threshold, a bilayer stabilizing components is not

 sufficiently specific to a conjugated lipid. Further, the disclosed range is much

 broader than the claimed range of 0.5 mol% to 2 mol%. Thus, the disclosure of

 about 0.5% to about 25% is not sufficiently specific to be anticipatory. EX2031,

 ¶¶144-45.

       b.     Ground 3—The ’554 Publication is Not Anticipatory

       For the cationic component limitation, Petitioner relies on the prior art

 ranges of “about 2% to about 60%” and “about 40% to about 50%.” Pet. 55 (citing

 EX1005, ¶116). Neither range is representative of the cationic lipid range of

 50mol% to 65mol% required by claim 1, and a POSITA would not consider the

 ranges in the ’554 publication as describing the claimed range with sufficient

 specificity. EX2004, ¶¶130-32. Petitioner further relies on the L054, L097, and

 L109 formulations of Table 4, which include 50% cationic lipid, as well as L060,

 L061, L098-103, L114, L116, and L117 as containing 52% cationic lipid. Pet. 55-

 56 (citing EX1008, ¶155). Petitioner does not explain, however, how the

 formulations containing those amounts of cationic lipids relate to the claimed

 particles. For example, L054, contains 50% DMOBA (cationic lipid), 20% DSPC

 (phospholipid), 28% cholesterol, and 2% PEG-n-DMG. EX1005, Table 4. The

 L054 formulation is not anticipatory as both the phospholipid and cholesterol fall




                                          -54-
                                                                             JA002341
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1062 of 1274 PageID #:
                                    9368



 outside of the ranges for those components required by the claims. EX2031,

 ¶¶146-49.

       As for cholesterol, Petitioner relies on the ’554 publication, which teaches

 that cholesterol may comprises 20% of 45% of the total lipid. Pet. 57 (citing

 EX1005, ¶313). And as discussed above (Section V.A.ii), Petitioner relies on

 L106 as an example of a formulation having 30% cholesterol. Pet. 57. L106

 contains 67% DMOBA (cationic lipid), 30% cholesterol, and 3% 2KPEG-

 cholesterol, but no phospholipid, and thus cannot anticipate claim 1. EX1005,

 Table 4. Petitioner fails to explain the relevance of the L106 formulation to

 the’554 publication, much less the claimed particles. EX2031, ¶150.

       For the conjugated lipid, Petitioner notes that the ’554 publication teaches

 that a PEG-conjugate comprises about 1% to 20% of the total lipid, which it asserts

 is sufficiently specific to anticipate the claimed range. Pet. 58-59 (citing EX1005,

 ¶118; EX1008, ¶159). But again, the claimed range and the prior art range are

 considerably different. As in Atofina, this small overlap does not describe the

 entire claimed range with sufficient specificity to anticipate the limitation.

 EX1007 ¶¶148, 150, 151; see also EX2004, ¶¶130-32; EX2031, ¶151.

 IX.   GROUND 2 FAILS

       Petitioner contends that claims 1-22 of the ’069 patent are obvious in view

 of “patent owner’s prior disclosures” in light of Lin and/or Ahmad. The petition,



                                          -55-
                                                                              JA002342
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1063 of 1274 PageID #:
                                    9369



 however, only addresses the cationic lipid limitations of claims 1 and 8. Pet. 49-

 53; EX1008, ¶¶145-149.

       At best, Ground 2 is little more than an attempt to backfill Ground 1 by

 adding “Lin and/or Ahmad.” Thus, Ground 2 inherits all the defects of Ground 1.

 See Sections V, VIII. For example, Ground 2 fails at least because neither the ’196

 PCT nor the ’189 publication discloses phospholipid from 4mol% to 10mol%, as

 recited in claim 1. See also Sections VI-VII (unexpected results and objective

 indicia further support nonobviousness).

       As a threshold matter, “lipoplexes” as in Lin and Ahmad are a

 fundamentally different type of particle compared to a “nucleic acid-lipid particle,”

 excluded from the scope of the challenged claims, and are expressly differentiated

 both in the challenged patent and the cited art. E.g., EX2004, ¶¶89, 95-99;

 EX2031, ¶¶152-54; Sections I-II.

       Moreover, Petitioner’s argument that increasing cationic lipid “could”

 increase transfection efficiency is insufficient to establish obviousness. See Pet. 49

 (“may increase...”), 50 (“...potentially increase...”), and EX1008, ¶¶146-149

 (parroting the same language). It is well established, however, that such assertions

 of what one “might” do or what “could” be done have never been sufficient in

 establishing obviousness. InTouch Techs. Inc. v. VGo Communs., Inc., 751 F.3d

 1327,1351-52 (Fed. Cir. 2014) (obviousness analysis failed for stating “that one of



                                          -56-
                                                                             JA002343
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1064 of 1274 PageID #:
                                    9370



 ordinary skill in the art could combine these references, not that they would have

 been motivated to do so.”) (original emphasis); PersonalWeb Techs., LLC v. Apple,

 Inc., 848 F.3d 987, 993-4 (Fed. Cir. 2017) (same); Belden Inc. v. Berk-Tek LLC,

 805 F.3d 1064, 1073 (Fed. Cir. 2015) (same).

       Ground 2 also fails because it provides only unsupported and conclusory

 remarks regarding motivation to combine and expectation of success. See

 EX2004, ¶94; EX2031, ¶152.

       A.     Lin and Ahmad Do Not Supply the Missing Motivation for
              Ground 2

       The petition fails to establish that one would have been motivated to

 combine the disclosures of the ’196 PCT or the ’189 publication with those of

 Lin/Ahmad, or that there would have been any reasonable expectation of success in

 doing so. As a threshold matter, Lin and Ahmad are directed to “lipoplexes”—a

 fundamentally different type of particle compared to a “nucleic acid-lipid particle”

 and outside the scope of the claimed invention. E.g., EX2004, ¶¶95-100

 (“Lipoplexes are not nucleic acid-lipid particles.”); EX2001, 122:1-24 (Dr. Janoff

 identifying lipoplexes as outside the scope of the challenged claims); EX2009,

 2:26-40, 2:52-65 (identifying lipoplexes as structurally and functionally distinct);

 EX1001, 2:12-18, 3:3-10 (differentiating nucleic acid-lipid particles from

 lipoplexes); EX2031, ¶¶153-57.




                                          -57-
                                                                              JA002344
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1065 of 1274 PageID #:
                                    9371



       Despite being placed on notice of the above evidence in the ’739 IPR,

 Petitioner does not explain why one would have looked to this fundamentally

 different technology to modify a SNALP of the cited ’196 PCT (or ’189

 publication) or that they would have had a reasonable expectation of success in

 doing so. See EX2003, ¶25 (acknowledging Lin

 and Ahmad as lipoplexes); see also e.g. Sections

 II, V.B (establishing the complicated nature of

 the technology.).

       Although Lin/Ahmad tested different

 lipoplex formulations to compare saturation

 dynamics relative to control, neither reference

 instructs the use of any particular cationic lipid concentration in a formulation. In

 fact, Ahmad’s experiment shows reaching saturation around 40 mol%, after which

 point the rate of enhanced metabolic burden far exceeds any further minimal TE

 gain. EX1007, Fig. 3A (annotated – shown), 739 (“...at intermediate σM, TE

 exhibits saturated behavior...”), 745 (“This means that much more cationic lipid is

 required to achieve optimal TE at large lipid/DNA charge ratios.”), (“Minimizing

 the amount of cationic lipid is desirable to reduce cost as well as potential toxic

 effects of the cationic lipid.”); see also EX2007, 31-34; EX2031, ¶¶158-6.




                                          -58-
                                                                              JA002345
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1066 of 1274 PageID #:
                                    9372



       B.     Petitioner Ignores Content of Lin and Ahmad that Undermines its
              Obviousness Assertions

       According to Petitioner, a cationic lipid variable that may impact

 transfection efficacy the use of cationic lipids that result in a net neutral charge at

 physiological pH. Pet. 10. Petitioner’s own publications attribute toxicity to

 bioaccumulation and immunogenicity—not net charge. EX2031, ¶161. Ahmad

 expressly advocates for multivalent cationic lipids so as to maintain charge with a

 lower amount of molecules, identifying bioaccumulation and metabolic burden as

 toxicity mechanisms. EX1007, 745.

       Although it is not Patent Owner’s burden to prove no motivation or

 reasonable expectation of success, that is the only reasonable conclusion in view of

 the evidence. Both Lin and Ahmad expressly acknowledge the complicated nature

 of what affects transfection efficiencies. EX1006, 3315; EX1007, 740. And

 Dr. Thompson explained during the ʼ739 IPR and explains here that neither Lin

 nor Ahmad would reasonably be viewed as advocating cationic lipid above 50

 mol% in a formulation. EX2004, ¶¶100, 101; EX2031, ¶162. Rather, the central

 point of Lin and Ahmad was to reduce cationic lipid (and the corresponding

 metabolic burden/toxicity) through use of multivalent lipids (MVLs)—that is,

 lipids that have more positive charge per individual molecule. EX2006, 409:3-19

 (“the bottom line message of Lin and Ahmad is how to reduce cationic lipid

 concentration in a formulation...”), 251:3-22, 252:11-19. Petitioner’s expert


                                           -59-
                                                                               JA002346
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1067 of 1274 PageID #:
                                    9373



 acknowledges that Ahmad advocates the use of MVLs as a means for reducing the

 amount of cationic lipid. EX2002, 31:7-39:9.

       Thus, the teaching in Lin and Ahmad actually undermine Petitioner’s

 obviousness assertion. EX2031, ¶162.

 X.    THE DEPENDENT CLAIMS ARE NEITHER OBVIOUS NOR ANTICIPATED

       Claims 2-22 are not obvious for the same reasons identified above with

 respect to claim 1 for each of the grounds of challenge. Additional discussion for

 some of claims 2-20 is provided below which illustrates further reasons why each

 of the grounds of challenge to these claims fail. EX2031, ¶163.

       A.     Claim 8

       Claim 8 specifies that the cationic lipid comprises from 52 mol% to 62

 mol% of the total lipid present in the particle. Given the breadth of the disclosed

 cationic lipid ranges (e.g., Section V.C), the prior art does not anticipate this

 narrower range. In addition, those broad ranges do not invite routine

 experimentation, and as Petitioner provides no reason as to why the prior art

 suggests this narrower range, much less discussing a reasonable expectation of

 success, the petition fails to demonstrate that claim 8 is anticipated or rendered

 obvious by the prior art. EX2031, ¶164.




                                           -60-
                                                                               JA002347
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1068 of 1274 PageID #:
                                    9374



       B.     Claim 14

       Claim 14 is drawn to the nucleic acid-lipid particle of claim 10, wherein the

 nucleic acid-lipid particle comprises about 57.1 mol% cationic lipid, about 7.1

 mol% phospholipid, about 34.3 mol% cholesterol or a derivative thereof, and about

 1.4 mol% PEG-lipid conjugate.

       Petitioner asserts that as construed by the examiner, comprising about

 encompasses ±10, 20, or 30 mol% of each lipid component, and thus this claim is

 unpatentable for the same reasons set forth as to claim 1. Pet. 45 (citing EX1008,

 ¶134). Petitioner does not address claim construction using a Phillips standard. In

 addition, the unexpected results reported in the specification, as well as the other

 objective indicia of nonobviousness, are directly on point, as this claim is drawn to

 a 1:57 particle. As Petitioner fails to provide a reason to arrive at the claimed lipid

 amounts, or a reasonable expectation of success of achieving the claimed particle,

 Petitioner’s challenge necessarily fails. EX2031, ¶¶165-66.

       C.     Claim 15

       Claim 15 that the conjugated lipid comprises from 1 mol% to 2 mol% of the

 total lipid present in the particle. As discussed for claim 8, the breadth of the

 disclosed ranges of the conjugated lipid do not anticipate the claimed range, nor

 does the breadth invite routine optimization. E.g., Section V.C. Given no reason

 to arrive at the claimed range, nor any discussion of a reasonable expectation of



                                          -61-
                                                                              JA002348
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1069 of 1274 PageID #:
                                    9375



 success, the petition fails to demonstrate that claim 15 is anticipated or rendered

 obvious by the prior art. EX2031, ¶167.

       D.     Claim 16

       Claim 16 is drawn to the nucleic acid-lipid particle of claim 1, wherein the

 nucleic acid in the nucleic acid-lipid particle is not substantially degraded after

 incubation of the particle in serum at 37°C for 30 minutes. No explanation is given

 for why a POSITA would have had a reasonable expectation of success generating

 serum stable nucleic acid-lipid particles having a high level of cationic lipid and a

 low level of conjugated lipid. E.g., FWD, 33-34. Moreover, Petitioner is merely

 engaging in claim mapping, and does not relate serum stability to the teachings of

 the lipid components. And even assuming arguendo it may have been obvious to

 test for serum stability, the ability to test does not provide a motivation or

 reasonable expectation of success of achieving such particles. EX2031, ¶168.

       E.     Claim 17

       Claim 17 is drawn to the nucleic acid-lipid particle of claim 1, wherein the

 nucleic acid is fully encapsulated in the nucleic acid-lipid particle. No explanation

 is given for why a POSITA would have had a reasonable expectation of success

 generating fully encapsulated nucleic acid-lipid particles having a high level of

 cationic lipid and a low level of conjugated lipid. FWD, 33-34. Moreover, as

 noted in a patent in which Dr. Janoff is listed as an author, encapsulation may not



                                           -62-
                                                                                  JA002349
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1070 of 1274 PageID #:
                                    9376



 be inferred from the composition or production method, but need be determined by

 testing. EX2009, 4:15-19; EX2031, ¶¶169-71.

       F.     Claim 18

       Claim 18 is drawn to the nucleic acid-lipid particle of claim 1, wherein the

 nucleic acid-lipid particle has a lipid:nucleic acid mass ratio of from about 5 to

 about 15. The petition (Pet. 47) asserts a ratio of 12.5 to 100, which is much

 broader than the claimed range, and thus the disclosed range does not support

 anticipation, nor does it invite routine experimentation to arrive at the claimed

 range. EX2031, ¶172; e.g., Section V.C.

       G.     Claim 20

       Claim 20 is drawn to the nucleic acid-lipid particle of claim 1, wherein the

 phospholipid comprises from 5 mol% to 9 mol% of the total lipid present in the

 particle.” As discussed in Section V.A, the prior art does not provide a specific

 phospholipid range. And as discussed for claim 8, the breadth of the disclosed

 ranges of the neutral lipid do not anticipate the claimed range, nor does the breadth

 invite routine optimization. E.g., Section V.C. Given no reason to arrive at the

 claimed range, nor any discussion of a reasonable expectation of success, the

 petition fails to demonstrate that claim 20 is anticipated or rendered obvious by the

 prior art. EX2031, ¶173.




                                          -63-
                                                                             JA002350
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1071 of 1274 PageID #:
                                    9377



       H.     Claim 21

       Claim 21 is drawn to the nucleic acid-lipid particle of claim 1, wherein the

 cholesterol or derivative thereof comprises from 32 mol% to 36 mol% of the total

 lipid present in the particle. As discussed for claim 8, the breadth of the disclosed

 ranges of cholesterol do not anticipate the claimed range, nor does the breadth

 invite routine optimization. E.g., Section V.C. Given no reason to arrive at the

 claimed range, nor any discussion of a reasonable expectation of success, the

 petition fails to demonstrate that claim 21 is anticipated or rendered obvious by the

 prior art. EX2031, ¶174.

       I.     Claim 22

       Claim 22 is drawn to a “pharmaceutical composition comprising a nucleic

 acid-lipid particle of claim 1 and a pharmaceutically acceptable carrier.” The

 petition does not explain why a POSITA would have had a reasonable expectation

 of success generating a pharmaceutical composition of nucleic acid-lipid particles

 that have a high level of cationic lipid and a low level of conjugated lipid. A

 POSITA would have expected the claimed particles to be prone to aggregation and

 unstable due to a high cationic lipid and low conjugated lipid. EX2004, ¶92;

 EX2031, ¶175.




                                          -64-
                                                                             JA002351
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1072 of 1274 PageID #:
                                    9378



 XI.   CONCLUSION

       For the reasons set forth above, the petition fails to meet its burden of

 establishing the unpatentability of the claims, and Patent Owner respectfully

 submits that the challenged claims should be found to be not unpatentable.

                                        Respectfully submitted,

 Dated: November 13, 2019               / Michael T. Rosato /
                                        Michael T. Rosato, Lead Counsel
                                        Reg. No. 52,182




                                         -65-
                                                                             JA002352
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1073 of 1274 PageID #:
                                    9379



 XII. CERTIFICATE OF COMPLIANCE

       Pursuant to 37 C.F.R. §42.24(d), the undersigned certifies that this paper

 contains no more than 14,000 words, not including the portions of the paper

 exempted by §42.24(b). According to the word-processing system used to prepare

 this paper, the paper contains 13,879 words.



                                       Respectfully submitted,

 Dated: November 13, 2019                       / Michael T. Rosato /
                                                Michael T. Rosato, Lead Counsel
                                                Reg. No. 52,182




                                        -66-
                                                                           JA002353
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1074 of 1274 PageID #:
                                    9380



 XIII. APPENDIX – LIST OF EXHIBITS

    Exhibit
                                          Description
      No.

              Deposition Transcript of Andrew S. Janoff in IPR2018-00739,
     2001
              December 4, 2018

              Deposition Transcript of Andrew S. Janoff in IPR2018-00739,
     2002
              April 5, 2019

              Reply Declaration of Dr. Andrew S. Janoff in IPR2018-00739,
     2003
              December 4, 2018

     2004     Declaration of David H. Thompson, Ph.D. in IPR2018-00739

              Deposition Transcript of David H. Thompson in IPR2018-00739,
     2005
              February 4, 2019 (Volume I)

              Deposition Transcript of David H. Thompson in IPR2018-00739,
     2006
              February 5, 2019 (Volume II)

     2007     Patent Owner's Sur-Reply in IPR2018-00739

              Listing of Example Formulations Falling Within the Scope of the
     2008
              ’069 Patent Claims

     2009     U.S. Patent No. 7,491,409

     2010     U.S. Patent No. 8,236,943

     2011     U.S. Publication No. 2013/0116307

     2012     U.S. Publication No 2017/0307608

     2013     U.S. Patent No. 9,404,127

     2014     International Publication No. WO 2010/088537

     2015     International Publication No. WO 2013/090648




                                      -67-
                                                                       JA002354
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1075 of 1274 PageID #:
                                    9381



              Charles W. Schmidt, Therapeutic Interference: Small RNA
     2016     Molecules Act as Blockers of Disease Metabolism AM. CHEM.
              SOC’Y 37 (2003)

              C. Russell Middaugh & Joshua D. Ramsey, Analysis of Cationic-
     2017     Lipid-Plasmid-DNA Complexes, ANALYTICAL CHEMISTRY 7240
              (2007)

     2018     Erika Check, RNA to the Rescue? 425 NATURE 10 (2003)

              Dirk Hausseker, The Business of RNAi Therapeutics in 2012, 2 AM.
     2019
              SOC’Y OF GENE & CELL THERAPY (2012)

              Luke Timmerman, Merck’s Alan Sachs, on RNAi’s Big Challenge:
              Delivery, Delivery, Delivery, XCONOMY (Jan. 21, 2010),
     2020
              https://xconomy.com/national/2010/01/21/mercks-alan-sachs-on-
              rnais-big-challenge-delivery-delivery-delivery/

              Sean C. Semple, et al., Rational Design of Cationic Lipids for
     2021
              siRNA Delivery, 28 NATURE BIOTECH. 172 (2010)

              Supplementary Figures to Sean C. Semple, et al., Rational Design
     2022     of Cationic Lipids for siRNA Delivery, 28 NATURE BIOTECH. 172
              (2010)

              Heidi Ledford, Gene-Silencing Drug Approved: US Government
     2023     Okays First RNA-Interference Drug — After a 20-Year Wait 560
              NATURE 291 (2018)

              FDA Approves First-of-its Kind Targeted RNA-based Therapy to
              Treat a Rare Disease, FOOD AND DRUG ADMIN. (2018), https://
     2024
              www.fda.gov/newsevents/newsroom/pressannouncements
              /ucm616518.htm

              Orange Book: Approved Drug Products with Therapeutic
              Equivalence Evaluations, Patent and Exclusivity for: N210922,
     2025     FOOD AND DRUG ADMIN. available at https://www.accessdata.fda.
              gov/scripts/cder/ob/patent_info.cfm?Product_No=001&
              Appl_No=210922&Appl_type=N (last visited Dec. 19, 2018)




                                       -68-
                                                                         JA002355
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1076 of 1274 PageID #:
                                    9382



              Maja Sedic et al., Safety Evaluation of Lipid Nanoparticle-
     2026     Formulated Modified mRNA in the Sprague-Dawley Rat and
              Cynomolgus Monkey, VETERINARY PATHOLOGY (2017)

              Kapil Bahl et al., Preclinical and Clinical Demonstration of
     2027     Immunogenicity by mRNA Vaccines against H10N8 and H7N9
              Influenza Viruses, MOLECULAR THERAPY (2017)

     2028     Declaration of Andrew S. Janoff in IPR2018-00739

     2029     DICTIONARY OF PHARMACY (2004)

     2030     Declaration of Andrew S. Janoff in IPR2018-00680

     2031     Declaration of David H. Thompson, Ph.D.

     2032     Curriculum Vitae of David H. Thompson, Ph.D.

     2033     Deposition Transcript of Andrew S. Janoff, October 25, 2019
              Doxil Label – FDA (Revised May, 2007), https://www.
     2034
              accessdata.fda.gov/drugsatfda_docs/label/2007/050718s029lbl.pdf
              Ian MacLachlan & Pieter Cullis, Diffusible-PEG-Lipid Stabilized
     2035
              Pasmid Lipid Particles, 53 ADVANCES IN GENETICS 157 (2005)

              Sean C. Semple et al., Immunogenicity and Rapid Blood Clearance
              of Liposomes Containing Polyethylene Glycol-Lipid Conjugates
     2036
              and Nucleic Acid, 312 THE JOURNAL OF PHARMACOLOGY
              AND EXPERIMENTAL THERAPEUTICS 1020 (2005)

     2037     International Publication No. WO 2017/223135

              New Medicine for Hereditary Rare Disease, EUROPEAN MED.
     2038     AGENCY (2018), https://www.ema.europa.eu/en/news/new
              medicine-hereditary-rare-disease

              Arbutus’ LNP Licensee Alnylam Announces FDA Approval of
              ONPATTRO™ (patisiran), for the Treatment of ATTR Amyloidosis,
     2039     ARBUTUS BIOPHARMA (2018), https://investor.
              arbutusbio.com/news-releases/news-release-details/arbutus-lnp
              licensee-alnylam-announces-fda-approval-onpattrotm



                                      -69-
                                                                       JA002356
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1077 of 1274 PageID #:
                                    9383



                              CERTIFICATE OF SERVICE

       This is to certify that I caused to be served a true and correct copies of the

 foregoing Patent Owner’s Response Pursuant to 37 C.F.R. § 42.107 and

 corresponding Exhibits 2028 through 2039 on this 13th day of November 2019, on

 the Petitioner at the correspondence address of the Petitioner as follows:


       Michael Fleming
       C. Maclain Wells
       IRELL & MANELLA LLP
       mfleming@irell.com
       mwells@irell.com
       ModernaIPR@irell.com


                                        Respectfully submitted,

 Dated: November 13, 2019               / Michael T. Rosato /
                                        Michael T. Rosato, Lead Counsel
                                        Reg. No. 52,182




                                          -70-
                                                                              JA002357
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1078 of 1274 PageID #:
                                    9384




                 JOINT APPENDIX 66
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1079 of 1274 PageID #:
                                    9385



                                                                 Paper No. ___
                                                         Filed: March 31, 2020



            UNITED STATES PATENT AND TRADEMARK OFFICE
                     _____________________________

             BEFORE THE PATENT TRIAL AND APPEAL BOARD
                     _____________________________

                      MODERNA THERAPEUTICS, INC.,
                               Petitioner,

                                       v.

                  ARBUTUS BIOPHARMA CORPORATION,
                              Patent Owner.
                     _____________________________

                             Case IPR2019-00554
                             Patent No. 8,058,069
                       _____________________________

                      PATENT OWNER’S SUR-REPLY




                                                                     JA002358
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1080 of 1274 PageID #:
                                    9386



                                      TABLE OF CONTENTS

                                                                                                           Page

 I.     INTRODUCTION .......................................................................................... 1
 II.    CLAIM CONSTRUCTION ........................................................................... 4
 III.   DR. ANCHORDOQUY IS NOT A QUALIFIED EXPERT ......................... 6
 IV.    PETITIONER ABANDONS ANTICIPATION ............................................ 8
 V.     THE PETITION FAILS TO DEMONSTRATE THE
        OBVIOUSNESSS OF THE CLAIMS ........................................................... 9
 VI.    PETITIONER’S NEWLY ADVANCED OBVIOUSNESS
        THEORIES ALSO FAIL................................................................................ 9
        A.      An Overlapping Phospholipid Range is NOT Disclosed ................... 10
        B.      Petitioner’s Belated Assertions of Routine Optimization .................. 12
                1.       Petitioner Invalid Assumption of Four Lipid
                         Component Systems................................................................. 13
                2.       Petitioner’s Spurious Assertion of a “Trend”
                         Toward Increased Cationic Lipid ............................................ 15
                3.       Petitioner’s New N/P Ratio Argument is an
                         Irrelevant Distraction ............................................................... 16
                4.       The Conjugated Lipid Range was Not Obvious ...................... 19
                5.       The Claimed Cholesterol Range Was Not Obvious ................ 20
                6.       Petitioner fails to establish the claimed
                         phospholipid concentration was obvious ................................. 20
 VII. EXPERIMENTAL TESTING FURTHER CONFIRMS THE
      PATENTABILITY OF THE CLAIMS ........................................................ 21
 VIII. BELATED ATTACKS ON OBJECTIVE INDICIA ARE
       UNFOUNDED AND UNAVAILING ......................................................... 24
 IX.    CONCLUSION............................................................................................. 26
 X.     APPENDIX – LIST OF EXHIBITS............................................................. 28




                                                      -i-
                                                                                                    JA002359
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1081 of 1274 PageID #:
                                    9387



 I.    INTRODUCTION

       The Reply is largely an untimely attempt to cure deficiencies identified in

 the Patent Owner Response (POR). Consolidated Trial Practice Guide, 73

 (“Petitioner may not submit new evidence in reply that it could have presented

 earlier, e.g. to make out a prima facie case of unpatentability.”s); Intelligent Bio-

 Sys., Inc. v. Illumina Cambridge Ltd., 821 F.3d 1359, 1369 (Fed. Cir. 2016)

 (“Unlike district court litigation… the expedited nature of IPRs bring with it an

 obligation for petitioners to make their case in their petition to institute.”).

       Much of the Reply relies on attacking arguments Patent Owner (“PO”) never

 made, mischaracterizing the deposition testimony of PO’s expert, and blatantly

 ignoring detrimental testimony from Petitioner’s first expert. Beyond that, the

 Reply newly attempts to overstate the importance of irrelevant parameters (e.g.,

 N/P ratio), fabricate “trends,” and falsely argue non-toxic cationic lipids. These

 arguments not only lack any supporting evidence, but are contradicted by the

 references of record, including Petitioner’s own publications.

       First, Petitioner’s anticipation charge is unaddressed in the Reply, and now

 appears abandoned.

       As to Petitioner’s obviousness assertions, PO’s Response (“POR”) (e.g., 2-4,

 11-31) laid out in detail how Petitioner failed to substantiate the “routine

 optimization” rationale at the heart of the cited Peterson and du Pont cases—i.e.,



                                           -1-
                                                                                JA002360
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1082 of 1274 PageID #:
                                    9388



 the only obviousness theory identified in the petition and instituted by the Board

 under SAS. E.g., Pet. 31-33, 38-40, 54, 56-59; Decision on Institution (“DI”), 24-

 27, 35-37. In fact, up until the Reply, Petitioner and its expert, Dr. Janoff, agreed

 on the inapplicability of routine optimization. The petition materials, presumably

 concerned by extensive experimental testing reported in the ’069 patent, embraced

 the complexity of the technology and argued wild unpredictability. During cross-

 examination, Petitioner’s expert witness repeatedly testified the prior art lipid

 ranges are “immense” and “would require undue experimentation, not simple

 optimization.” EX2033, 60:5-16; 42:7-10; 19:25-20:15; POR 4, 19-27. As

 explained in the POR, Dr. Janoff was correct in this regard, undermining the ill-

 conceived obviousness case in the petition.

         With the deficiencies in the petition case laid bare, Petitioner belatedly

 attempts to cure them—ignoring the evidence and testimony of its own witness

 entirely and now asserting “routine optimization.”1 Even if this untimely argument

 is entertained, it can be rejected on the merits for at least the reasons set forth


    1
        Even in Reply, Petitioner continues its erratic oscillation on this point. While

 now arguing routine optimization, Petitioner returns to embracing complexity and

 unpredictability when attacking the extensive experimental testing. E.g., Reply 24-

 25; compare EX2006, 405:5-12.



                                            -2-
                                                                                JA002361
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1083 of 1274 PageID #:
                                    9389



 below. The evidence is overwhelming — achieving the nucleic acid-lipid particles

 of the ’069 patent was not a matter of routine optimization.

       To the extent any prima facie case of obviousness was established by

 identification of overlapping lipid ranges in the art, that case is rebutted by the

 extensive experimental data in the ’069 patent and numerous post-filing

 publications showing unexpected results, including Petitioner’s own publications.

 As corroborated in the literature (and unrebutted by Petitioner), high-level cationic

 lipid formulations (e.g., 50-65% cationic lipid) would have been expected to have

 relatively poor in vivo activity and elicit increased toxicity and immunogenicity

 compared to lower-level cationic lipid formulations. EX1006, 3315; EX1007, 745;

 EX1009, E96; EX2009, 30:34-41.

       PO, however, found that the claimed formulations surprisingly impart

 increased activity of the nucleic acid payload and improved tolerability of the

 formulations in vivo, resulting in a significant increase in the therapeutic index.

 POR, 31-42. Moreover, the claimed formulations are stable in circulation and are

 substantially non-toxic when administered to mammals. These surprising results

 are different in kind, and the Reply fails to demonstrate otherwise.

       As such, when all the evidence of record is weighed and considered,

 Petitioner fails to meet its burden of demonstrating the unpatentability of the




                                           -3-
                                                                               JA002362
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1084 of 1274 PageID #:
                                    9390



 claims by a preponderance of the evidence, and the patentability of the claims

 should be affirmed.

 II.   CLAIM CONSTRUCTION

       No claim construction is necessary in order to determine that the Petition

 fails. The petition (23) offered no claim construction analysis, just the conclusory

 assertion that the claims should be construed as in the DI in IPR2018-00739 under

 a different claim construction standard—that is, “a particle that comprises a nucleic

 acid and lipids, in which the nucleic acid may be encapsulated in the lipid portion

 of the particle.” See also EX1008, ¶88 (same). It ignored the specification and the

 prosecution history (including in IPR2018-00739) entirely, which is particularly

 pertinent under the different Phillips standard. The petition materials failed to

 satisfy the basic requirements of petition content. See 37 C.F.R. §42.104 (requiring

 analysis of how the claims are to be construed); 35 U.S.C. §312(a)(3).

       To the extent that the Board is inclined to reach claim construction,

 Petitioner’s proffered construction of “nucleic acid lipid particle” is not only

 inconsistent with the specification, but it is unreasonably broad at least in that it

 encompasses empty particles. POR, 10. Dr. Anchordoquy concedes as much,

 testifying the term “nucleic acid lipid particle” could not encompass an empty

 particle because such a reading is excluded by the language of the claim itself.




                                           -4-
                                                                               JA002363
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1085 of 1274 PageID #:
                                    9391



 EX1020, ¶30. Indeed, the claimed term is not “lipid particle” but “nucleic acid

 lipid particle.” POR, 10; EX2031, ¶¶32-33.

       Moreover, Petitioner’s construction is inconsistent with the prosecution

 history, which includes the record in IPR2018-00739. See Patent Owner

 Preliminary Response (“POPR”), 15-17; POR, 9-10; see also IPR2018-00739,

 Paper 12, 16-17 (same); IPR2018-00739, Paper 24, 11-13 (same). Kakun Pharm.

 Co. v. Iancu, No. 18-2232, slip. op. at (Fed. Cir. March 23, 2020) (noting that

 statements by applicant to induce patent grant are particularly helpful); Aylus

 Networks, Inc. v. Apple Inc., 856 F.3d 1353, 1358 (Fed. Cir. 2017) (holding that

 statements made during an IPR can be relied on to support prosecution disclaimer).

 During prosecution, applicants specifically discussed encapsulation as a feature of

 the claimed particles. EX1016, 38; EX2031, ¶34; POR, 9-10. And as discussed

 above, encapsulation was extensively argued during IPR2018-00739, with PO

 expressly arguing that the claims require encapsulation. POR, 9-10. That history

 clearly reflects the inventors understanding the claims to require encapsulation of

 the nucleic acid and cannot be ignored.

       Even if the Board were to consider Petitioner’s argument in Reply after

 review of the intrinsic record, it would not find in Petitioner’s favor. Petitioner’s

 new argument in reply is inconsistent with Dr. Janoff’s testimony, which also

 contradicts testimony from Petitioner’s second witness, Dr. Anchordoquy. Dr.



                                           -5-
                                                                               JA002364
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1086 of 1274 PageID #:
                                    9392



 Janoff repeatedly testified that the same term “nucleic acid lipid particle”, in view

 of the same specification as the ’069 patent, should be limited to SNALP, a

 definition narrower than any construction previously or currently proffered.

 EX2001, 118:19-119:4, 119:9-17, 120:5-6, 121:14-25. Dr. Janoff additionally

 testified that lipoplex particles were fundamentally different than those described

 in the current specification, and outside the scope of the patent. EX2001, 122:1-24.

 In this regard, his testimony is consistent with the evidence of record. EX1001,

 2:8-18, 2:50-54 (contrasting lipoplexes); EX2031, ¶¶152-58; EX1025, 13:15-22;

 EX2009, 2:54-67 (contrasting liposomes and lipoplexes); see also POR, 5, 44.

 Instead of addressing Dr. Janoff’s testimony and the evidence he cited, Petitioner

 ignores the evidence and advances, through Dr. Anchordoquy, arguments that rely

 heavily on lipoplexes. To the extent the new argument in Reply is considered, it

 can be rejected as contradicted by the evidence of record.

 III.   DR. ANCHORDOQUY IS NOT A QUALIFIED EXPERT

        Dr. Anchordoquy is not a qualified expert in the relevant field and his

 testimony should be given little, if any, weight. Dr. Anchordoquy is a zoologist,

 not a lipid chemist with formal training in the subject matter at hand. EX1020, ¶9.

        Clearly concerned by this new witness’ thin resume, Petitioner staged

 unprompted and rehearsed questioning during redirect during Dr. Anchordoquy’s

 recent deposition. EX2043, 77:4-79:25. But that testimony is hardly reassuring.



                                          -6-
                                                                             JA002365
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1087 of 1274 PageID #:
                                    9393



 See e.g., EX2043, 77:22-23 (describing his zoology training as broadly

 encompassing “everything related to animals”); 78:6-14 (testifying he was not in

 the offered biophysics program);78:13-21; 79:10-11 (identifying other individuals

 and lab equipment unrelated to the technology at hand in this proceeding). His

 prepared remarks during redirect may shed further light on his lack of

 qualifications but offer no reassurance his declaration testimony should be afforded

 any meaningful weight.

       Moreover, Dr. Anchordoquy fails to meet Petitioner’s own definition of the

 ordinary artisan. EX1020, ¶25; DI, 11-12 (discussing the level of ordinary skill in

 the art). Dr. Anchordoquy cites, as support for his expertise in the field, U.S. Patent

 No. 7,914,714. EX1020, ¶14. That patent, however, is neither the same nor similar

 to the technology at issue. Dr. Anchordoquy himself admitted that he has no

 experience with SNALPs. EX2043, 70:13-14; see also id., 9:24-25 (noting he is an

 expert in lyophilization). Indeed, it does not seem that Dr. Anchordoquy has any

 relevant patents or publications at all.

       In attempt to distract from the short-comings of its own expert, Petitioner

 spuriously attacks Dr. Thompson as lacking experience with cationic lipids

 because his current research involves developing polymer lipid carrier particles.

 Reply, 2-3. This illogical argument is akin to attacking a climate scientist as

 ignorant of greenhouse gases on the basis she is developing technology to reduce



                                            -7-
                                                                             JA002366
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1088 of 1274 PageID #:
                                    9394



 them. Dr. Thompson is currently developing lipid carriers using polymers as a

 replacement of the more toxic cationic lipids, which he routinely uses as

 benchmarks in his research. EX1025, 8:19-9:10. Unlike Petitioner's expert, Dr.

 Thompson has published extensively and has decades of experience with lipid

 particles (including cationic lipids) and their in vivo delivery. EX1025, 7:19-25:6.

       The Reply (2-3) attacks Dr. Thompson for citing a 2014 patent (EX2012) in

 discussing the formulation patisiran (trade name, Onpattro), widely reported in the

 literature and by the manufacturer (and described by Dr. Janoff) as having “50%

 cationic lipid, 38.5% cholesterol, 10% DSPC and 1.5% PEG.” EX2003, ¶33. But,

 the evidence of record is clear, and each of Dr. Thompson (EX2031, ¶¶117-118,

 134-136), Dr. Janoff (EX2003, ¶33), and Dr. Anchordoquy (EX2043, 71:19-24,

 72:24-73:3) each agree that the challenged claims encompass patisiran.

 IV.   PETITIONER ABANDONS ANTICIPATION

       The petition (5) asserted that claims 1-22 were anticipated by or obvious

 over the ’196 PCT, the ’189 publication, or the ’554 publication. The POR (50-55)

 provided extensive argument as to why the petition failed to demonstrate

 anticipation of the claimed ranges. The Reply offers no rebuttal evidence or

 argument, thus PO maintains Petitioner has not shown anticipation of claims 1-22.




                                         -8-
                                                                             JA002367
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1089 of 1274 PageID #:
                                    9395



 V.        THE PETITION FAILS TO DEMONSTRATE THE OBVIOUSNESSS
           OF THE CLAIMS

           As discussed in the POR, the Petition did not address whether the POSITA

 would consider formulating nucleic acid-lipid particles a matter of routine

 optimization, and the unrefuted evidence of record demonstrated that it was not.

 POR, 19-24. In addition, the Petition never explained how the broad ranges for

 lipid components disclosed by the prior art were sufficient under the caselaw as

 being the conditions required by the claims. POR, 25-27. Accordingly, the petition

 failed to meet its burden of demonstrating the obviousness of the claims under

 Peterson and du Pont by a preponderance of the evidence.

 VI.       PETITIONER’S NEWLY ADVANCED OBVIOUSNESS THEORIES
           ALSO FAIL

           The Reply now attempts to back-fill the identified holes in its petition case,2

 belatedly arguing motivation and a reasonable expectation of success of achieving

 the claimed particles through routine experimentation. Such arguments should not

 be presented for the first time on reply and should be disregarded. However, as

 explained below, even if considered, they fall far short of establishing obviousness

 by a preponderance of the evidence.



      2
          Petitioner also improperly attempted such gap-filling in contravention of

 proper scope for re-direct during Dr. Janoff’s deposition. EX2033, 147:18-166:9.



                                             -9-
                                                                                 JA002368
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1090 of 1274 PageID #:
                                    9396



       In addition, Petitioner argues mere possibilities in asserting what “could” or

 can” be done. E.g., Reply, 4 (“structures existed at the time of the ’069 patent that

 can meet the claim limitations”), 13 (“POSITA would have understood …

 potential cationic lipid concentration ranges”), 22 (“could embrace”), 28 (“could

 be attributable”). Such assertions have never been sufficient to support

 obviousness. PersonalWeb Techs., LLC v. Apple, Inc., 848 F.3d 987, 944-95 (Fed.

 Cir. 2017) (“reasoning...that [references] could be combined...is not enough: it

 does not imply a motivation”).

       At best, the allegations of unpatentability in the petition amount to little

 more than notice pleading. Such challenges, therefore, are insufficient and do not

 meet the statutory requirement of “particularity,” and cannot be remedied on reply.

       A.     An Overlapping Phospholipid Range is NOT Disclosed
       Petitioner’s obviousness case asserted a presumption of obviousness based

 on alleged disclosure of overlapping ranges in the cited prior art where no such

 phospholipid range is disclosed. E.g., POR, 12-19. Petitioner (Pet., 39, 58)

 contrived a phospholipid range of 0-19% or 0-19.5% through a series of

 assumptions. That was acknowledged by the Board in the DI, crediting a

 phospholipid range on the basis one could be manufactured through “reasonable

 inferences.” DI, 23, 36.




                                         - 10 -
                                                                              JA002369
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1091 of 1274 PageID #:
                                    9397



       The POR (12-19), however, explains the disconnect between the proffered

 legal theory (i.e., presumption of obviousness under Peterson and du Pont) and the

 facts (i.e., content of the prior art). Neither of those cases, or any other identified

 overlapping range case, supports an overlapping range presumption where there is

 no overlapping range. Petitioner disputes none of this in reply.

       The Reply (5) does not dispute the cited art fails to expressly disclose a

 phospholipid range, it simply asserts that fact “is irrelevant.” Not so. Petitioner

 cites to IXI IP, LLC v. Samsung Elecs. Co., LTD., 903 F.3d 1257, 1264-1265 (Fed.

 Cir. 2018); it is inapposite. IXI is not an overlapping range case at all, and certainly

 does not support a presumption of obviousness under Peterson and du Pont by

 making a series of inferences to arrive at a range not affirmatively disclosed.

 Petitioner’s attempt to shoehorn the present facts into an inapplicable legal

 framework must be rejected.

       The Reply (5-6) also does not contest that its contrived phospholipid range

 of 0-19% or 0-19.5% is not at all reasonable. POR (14-19). Instead, Petitioner

 (Reply 5-6) abandons its original argument in favor of arguing a much broader

 phospholipid range of 5-90mol%. This too must be inferred from a more generic

 discussion of “non-cationic/neutral lipid”., The Reply falsely claiming Dr.

 Thompson agreed during deposition. Dr. Thompson expressly rejected it. E.g.,

 EX1025, 169:9-13 (“That’s not the way I read this….”).



                                           - 11 -
                                                                                JA002370
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1092 of 1274 PageID #:
                                    9398



       Furthermore, Reply (5) also attempts to pivot to a new reference—Protiva’s

 ’910 publication (EX1015) that was cited by the Examiner during ex parte

 prosecution. Prosecution counsel’s representation of the Examiner’s Office Action

 rejection (which was overcome) is hardly an admission or evidence probative of

 the perspective of a POSITA. If Petitioner wanted to rely on the ’910 publication

 as a ground reference it should have done so in its petition. See also 35 U.S.C.

 §325(d).

       Accordingly, Petitioner’s challenge based on a presumption of obviousness

 in view of overlapping ranges at least fails due to the lack of identified overlapping

 ranges.

       B.     Petitioner’s Belated Assertions of Routine Optimization
       As discussed in the POR (19-24), obviousness based on routine optimization

 was never substantiated in the petition materials. In fact, until the Reply, it was

 undisputed that developing nucleic acid-lipid particles was not a simple matter of

 routine optimization. That is supported by the scientific literature, testimony of Dr.

 Thompson, and testimony of Petitioner’s first expert, Dr. Janoff. E.g., EX2006,

 403:22-25 (“Q. In the 2008 timeframe, was developing nucleic acid-lipid particles

 considered a routine matter of optimizing variables? A. No.”); EX2001, 144:18-

 145:1; see also EX2014, Fig. 12 (demonstrating that even small changes in the

 amount of conjugated lipid concentration can impact the efficacy of the particles).



                                         - 12 -
                                                                             JA002371
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1093 of 1274 PageID #:
                                    9399



 Moreover, Dr. Janoff repeatedly testified that he considered lipid ranges even

 narrower than those in the prior art to be immense. E.g., EX1008, ¶74; EX2028,

 ¶¶73, 112; EX2033, 42:7-10 (“[i]f the range is immense, there would be undue

 experimentation I believe to find a combination or a range that behaved in a

 desirable light.”). The petition (e.g., 36) is littered with arguments of complexity

 and unpredictability, acknowledging that “even minor variations in lipid

 percentages appeared to impact efficacy.”

       The Reply ignores the extensive evidence to the contrary, its own prior

 arguments, and testimony of its previous expert, and attempts a 180º turn. To the

 extent the new routine optimization argument is considered, it fails on the merits

 for at least the reasons set forth below.

              1.     Petitioner Invalid Assumption of Four Lipid Component
                     Systems
       The Reply (6-7), without explanation or analysis, erroneously presumes a

 four-lipid component starting point. This assumption acts as a lynchpin for its new

 optimization argument. This reasoning is wholly circular (assuming a four-

 component system to arrive at the conclusion of a four-component system) is

 driven by nothing but impermissible hindsight, not any logical underpinnings to an

 obviousness assertion. In re Kahn, 441 F.3d 977, 988 (2006). Moreover, this

 hindsight is contradicted by the very references cited by Petitioner, none of which

 identify the four lipid components claimed as being required in a formulation.


                                             - 13 -
                                                                             JA002372
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1094 of 1274 PageID #:
                                    9400



       Lin, Ahmad, and the ’618 and ’613 patents disclose two-component lipid

 particles, lacking both cholesterol and conjugated lipid. EX1006, 3308 (describing

 particles comprising cationic and phospholipid); EX007, 740-41 (same); EX1017,

 Fig. 2 (same); EX1012, 1:54-57, 1:66-67 (same). Bennett and the ’618 and ’505

 patents disclose three-component lipid particles which lack conjugated lipid.

 EX1010, 51 (Figures 1 & 2) (describing particles comprising cationic,

 phospholipid, and cholesterol); EX1017, 34:65-35:25 (same); EX1013, 5:21-24

 (same).

       The ’554, ’196, and ’189 publications describe phospholipid, cholesterol,

 and conjugated lipid as optional components. EX1005, ¶¶12, 120 (conjugated lipid

 optional), ¶¶97-115 (cholesterol optional), ¶92 (neutral lipid is optionally a

 phospholipid); EX1004, ¶150 (conjugated lipid optional), ¶152 (cholesterol

 optional), ¶79 (non-cationic lipid is optionally a phospholipid); see also EX1025,

 205:7-16 (possible to have particles without phospholipid, cholesterol, or

 conjugated lipid). The ’196 publication describes phospholipid and cholesterol are

 optional components. EX1003, ¶89 (describing that cholesterol and phospholipids

 are optional), ¶216 (exemplifying three-component particle). Furthermore, most of

 the formulations disclosed in the ’554 publication are not four-component lipid

 particles — most lack a phospholipid entirely. EX1005, Table IV. Other




                                         - 14 -
                                                                              JA002373
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1095 of 1274 PageID #:
                                    9401



 formulations of the ’554 publication lack both phospholipid and cholesterol (e.g.,

 L100) and yet others are five-component systems (e.g., L086, L104). Id.

       Moreover, some lipid particle delivery platforms lack cationic lipid entirely.

 For example, Dr. Thompson explains that his research developing polymer-based

 particles as one of the efforts to “advance the field [] beyond cationic lipid

 particles.” EX1025, 7:12-18.

       Petitioner’s optimization argument can be rejected at least for being based

 on this faulty premise.

              2.     Petitioner’s Spurious Assertion of a “Trend” Toward Increased
                     Cationic Lipid
       Another cornerstone of the belated Reply (13-14) optimization argument is

 the false assertion of a “trend” in the prior art towards higher cationic lipid

 concentrations. There was no such trend in the art.

       As Dr. Anchordoquy confirmed, there was no scientific analysis here—

 rather, Petitioner’s counsel conjured this “trend” by cherry-picking only three data

 points from a very limited time frame—2003 to late 2004. EX2043, 52:9-16

 (confirming he did not construct the “trend”), 61:20-22 (confirming only 3

 datapoints), 61:13-25 (confirming no statistical fit or regression analysis). As Dr.

 Anchordoquy conceded, there were “hundreds, if not thousands” publications

 existing before the time of invention (filed in 2008). EX2043, 29:25-30:4, 30:25-

 31:7 (more than 30 patent publications by PO by 2008).


                                          - 15 -
                                                                               JA002374
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1096 of 1274 PageID #:
                                    9402



       Curiously, the Reply (14) points to PO’s ’910 publication (citing Example

 12, Figure 23) as somehow confirming this fabricated trend when it does just the

 opposite. Dr. Anchordoquy conceded during cross-examination the ’910

 publication expressly identifies the 30mol% cationic lipid concentration (not the

 40mol% that serves as the basis of Petitioner’s optimization argument) as best

 performing in this in vitro screen. EX2043, 12:18-20, 16:6-11, EX1015 ¶335

 (“SNALP comprising 30% DLinDMA was more effective in reducing luciferase

 expression in the Neuro2A cells than SNALP comprising DODAC or DODMA

 were.”). Dr. Anchordoquy further acknowledged that all subsequent in vivo testing

 (EX1015 ¶¶337-354) was limited to formulations having 30% or less cationic lipid,

 which admittedly illustrates the lack of interest in higher cationic lipid

 concentrations. EX2043, 16:6-11; 17:24-19:24; EX1025, 184:4-186:14. Finally,

 Dr. Anchordoquy conceded that plotting even one of the datapoints from the ’910

 publication (none were plotted in the reply materials) would destroy the fabricated

 “trend.” EX2043, 59:7-61:7.

              3.     Petitioner’s New N/P Ratio Argument is an Irrelevant
                     Distraction
       The Reply (11-13, 16-17) argues that a newly introduced parameter, N/P

 ratio, would somehow drive a POSITA’s optimization efforts to arrive at the

 claimed composition. E.g., EX1020, ¶¶72-75, EX2043, 33:17-35:15. Even if




                                          - 16 -
                                                                              JA002375
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1097 of 1274 PageID #:
                                    9403



 considered, there is no explanation how this admittedly irrelevant parameter would

 render challenged claims obvious.

       As an initial matter, argument based on N/P ratio should be given little

 weight due to the fact that neither Petitioner nor Dr. Anchordoquy provide any of

 their underlying calculations. 37 C.F.R. §42.65. This is especially important given

 Dr. Anchordoquy conceded during cross-examination, that there are a number of

 variables involved, some of which he did not know, requiring him to make certain

 (unexplained) assumptions. EX2043, 36:8-40:17, 44:20-45:16. He further

 conceded he actually made “approximations” rather than any precise calculation.

 Id., 44:24-45:13. As a result, both PO and the Board are denied to ability to

 critically evaluate the accuracy of Dr. Anchordoquy’s assumptions.

       Beyond that, Petitioner’s assertion that an N/P ratio of 6 was recognized as

 “optimized,” while a lower ratio (e.g., “approximately 3”) is suboptimal, lacks a

 shred of supporting evidence. Reply, 11-12. The evidence of record states the

 contrary. For example, the Reply ignores the fact that the N/P ratio for the

 optimized commercial product, patisiran, is 3.4 (EX2041). When probed during

 deposition, Dr. Anchordoquy conceded that he had calculated the N/P ratio but

 chose to exclude it from his declaration. EX2043, 65:13-66:2; 66:19-67:13. Such

 information is clearly probative as to the lack of credibility to this argument and

 should not have been withheld.



                                         - 17 -
                                                                             JA002376
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1098 of 1274 PageID #:
                                    9404



       The Reply (17) points to Lin and Ahmad but similarly fails to inform the

 Board that these references describe maintaining a constant N/P ratio of 2.8—i.e.,

 contrary to the new optimization argument. See, e.g., (Lin) EX1006, 3314;

 (Ahmad) EX1007, 743. The ’196 and ’189 publications identify its most narrow

 preferred charge ratio expansively—anywhere from 2:1 to 6:1. EX1003, ¶126;

 EX1004, ¶197 (same).

       Finally, as Dr. Anchordoquy admitted during deposition, the N/P ratio is

 ultimately irrelevant to the claimed composition, as N/P ratio is neither recited nor

 dependent on any of the concentrations of the lipid component concentrations that

 are recited. That is, Dr. Anchordoquy conceded that the amount of conjugated

 lipid, cholesterol, and conjugated lipid all have no impact on the N/P ratio.

 EX2043, 35:16-36:2. In fact, Dr. Anchordoquy conceded that the N/P ratio is

 ultimately irrelevant to the concentration of the cationic lipid.

       Q. (By Mr. Rosato) Okay. It is possible for two different lipid particle
       formulations to have different cationic lipid concentrations but have
       the same N-to-P ratio?
       A. Yeah.
 EX2043, 40:18-22.

       Accordingly, N/P ratio argument is an irrelevant distraction, unsupported by

 any credible evidence.




                                          - 18 -
                                                                             JA002377
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1099 of 1274 PageID #:
                                    9405


              4.     The Conjugated Lipid Range was Not Obvious

       The Reply (18-19) newly offers a motivation for adding a conjugated lipid,

 but as pointed out in the POR (3, 27) such arguments were never made in the

 petition, neither was necessary corresponding argument demonstration a

 reasonable expectation of success of arriving at the claimed range.

       Even if considered, Petitioner’s reply arguments are still unavailing. The

 Reply ignores the fact that, even if this optional component were included, much

 higher amounts of conjugated lipid were considered optimal at the time of

 invention. That was especially pertinent if the amount of cationic lipid was

 hypothetically increased. As Dr. Thompson has testified, both in his declaration

 (EX2031, ¶¶48-49) and his deposition (EX1025, 57:1-7, 62:3-6, 132:9-133:23,

 175:3-13), amounts such as 5-10% were more typically used. See also, the newly

 cited MacLachlan chapter (EX1024, 258), citing Judge (EX2042) as providing

 evaluation of preferred conjugated lipid concentration. EX2042, 335 (describing

 10% conjugated lipid); EX2043, 31:15-32:16.

       Neither the petition nor the Reply provide any meaningful rebuttal to PO’s

 evidence and argument that higher cationic lipid together with lowering conjugated

 lipid would have been counterintuitive at the time. Petitioner’s entire analysis

 reduces to the legally deficient argument that one “could” have included

 conjugated lipid.



                                         - 19 -
                                                                             JA002378
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1100 of 1274 PageID #:
                                    9406


              5.     The Claimed Cholesterol Range Was Not Obvious

       The Reply (20) newly argues motivation to include cholesterol on the basis

 of adding rigidity to the particle, but never explains why this necessitates

 cholesterol in a formation at all, let alone the specific concentrations claimed.

       The cited art all describe cholesterol as an optional component. EX1003, ¶91

 (“If present, the cholesterol…..”); EX1004, ¶152 (same); EX1005, ¶98. The

 particles of Lin (EX1006) and Ahmad (EX1007) contain no cholesterol at all. See

 also EX1025, 205:12-14. The petition and Reply never provide any evidence based

 analysis of why a POSITA would have included cholesterol at the claimed

 concentration. E.g., EX1020, ¶106 (Dr. Anchordoquy failing to cite evidence for

 the proposition that the “claimed range of 30-48mol% is squarely within the

 generally acceptable ranges in the field.”). At best, Petitioner’s argument amount

 to no more than a POSTA “could” have included cholesterol.

              6.     Petitioner fails to establish the claimed phospholipid
                     concentration was obvious

       The Reply (21) argument of including a phospholipid as a “bilayer

 stabilizing component” is untimely and insufficient.

       The cited art provides a broad list of optional bilayer stabilizing components

 far more expansive than just a phospholipid. EX1004, ¶88. Petitioner does not

 explain why one would specifically select a phospholipid as opposed to any other

 compound. Moreover, Petitioner advances the same argument presented for



                                         - 20 -
                                                                                JA002379
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1101 of 1274 PageID #:
                                    9407



 cholesterol with only slightly different verbiage, but does not explain why both

 phospholipid and cholesterol would be added for particle rigidity/stability. The

 prior art cited by Petitioner discusses phospholipid as optional. EX1003, ¶89;

 EX1004, ¶79; EX1005, ¶455; see also EX1025, 205:7-9 (phospholipid not

 necessary). Again, Petitioner’s arguments distill down to little more than a

 phospholipid “could” be present.

       Finally, the independent claim at issue here has a similar limitation to a

 range of phospholipids as claim 7 of the ’435 patent. The Board issued a Final

 Written Decision (“FWD”) in IPR2018-00739 on September 11, 2019, after

 institution of the instant proceeding, in which it was determined that claim 7 was

 not shown to be obvious. FWD, 51. And as was discussed in the POPR (4), both

 the instant petition and the petition in IPR2018-00739 asserts essentially the same

 grounds over the same refences.

 VII. EXPERIMENTAL TESTING FURTHER CONFIRMS THE
      PATENTABILITY OF THE CLAIMS

       Incredibly, while first disregarding its own claims of unpredictability and

 undue experimentation to now belatedly argue routine optimization, the Reply (24-

 25) inexplicably reverts back to unpredictability to argue the test data is not

 commensurate with the challenged claim scope. Petitioner’s oscillation on this

 point is dizzying. If the art is as complex and unpredictable as asserted in the




                                         - 21 -
                                                                              JA002380
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1102 of 1274 PageID #:
                                    9408



 petition, by Dr. Janoff, and now here at Reply, there is no prima facie case

 remaining.

           If the testing data is reached, it is far more than “a single data point” as the

 Reply (25) falsely states. The POR (33-42) explains in detail testing of various

 different cationic, conjugated and phospholipids, as well as different cholesterols,

 and various different formulation methods tested against various gene targets,

 which were found surprisingly well-tolerated, potently efficacious in vivo. E.g.,

 EX2008. The evidence summarized there identifies at least fifty-five different

 formulations in this regard—not “a single data point” as Petitioner incredibly

 states.

           As to Example 2, the Reply (26) mischaracterizes the potency of the 1:57

 SNALP (Sample 9 in Fig. 1) as unfounded argument by PO. But the reference

 itself expressly states as much. E.g., EX1001, 70:19-22 (identifying the 1:57

 SNALP (Sample 9) as “among the most potent”). In fact, Dr. Janoff agreed,

 testifying that the 1:57 formulation (Sample 9) was the most potent at low siRNA.

 EX1008, ¶83; POR, 33-34; EX2033, 68:11-16, 69:7-71:1.

           The Reply (26) argument on Example 3 fails at least for relying on the new

 and irrelevant N/P ratio parameter. Moreover, Petitioner’s argument of

 insubstantial difference between Sample 11 (1:57 formulation) and Sample 12 (one

 of the tested 2:40 formulations) is at odds with the express disclosure of the ’069



                                             - 22 -
                                                                                   JA002381
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1103 of 1274 PageID #:
                                    9409



 patent (EX1001, 72:20-23), which states “that the 1:57 SNALP...was the most

 potent at reducing ApoB expression in vivo (see Group 11).” Unfounded attorney

 argument does not displace the express disclosure of the reference.

       Finally, as to Example 4, Petitioner does not dispute that the tested claimed

 formulation was “10 times as efficacious…at a 10-fold lower dose” compared to

 2:30 formulation. See EX1001, 73:63-66. Instead, Petitioner (Reply, 26) argues

 this should be disregarded on the unsubstantiated basis that the 2:40 formulation

 represented the closest prior art. This argument is unsupported and contrary to the

 evidence, and was further rejected by Dr. Thompson during deposition. EX1025,

 179:9-181:3, 181:7-183:9. Moreover, as noted above, the ‘910 publication

 confirms prior focus was actually on formulations having 30mol% cationic lipid or

 less. EX2043, 16:6-19:24. Regardless of Petitioner’s unfounded assertions of what

 is “closer,” the striking data and superior performance reported in Example 4

 would not be ignored by a POSITA.

       The Reply (27) attacks arguments that PO never made. PO never argued that

 unexpected results may be demonstrated by any apparent efficacy. As correctly

 argued in the POR (32-33), Petitioner’s proffered standard of only “superior”

 efficacy qualifying as unexpected is not the law. Here, extensive testing data

 demonstrates well-tolerated and high in vivo potency of formulations as claimed.

 Petitioner fails to present any meaningful rebuttal on that point.



                                         - 23 -
                                                                            JA002382
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1104 of 1274 PageID #:
                                    9410



       As to the extensive post-filing date publications further illustrating

 surprising tolerance and efficacy (POR, 37-42), Petitioner’s only response (Reply,

 27) is to cherry pick a single formulation, from one experiment in one reference

 and falsely assert inoperability. EX2006, 411:14-412:25. The extensive testing

 reported in the ’069 patent and other publications is more than sufficient to rebut

 any prima facie case of obviousness, and the Reply fails to demonstrate otherwise.

 VIII. BELATED ATTACKS ON OBJECTIVE INDICIA ARE
       UNFOUNDED AND UNAVAILING

       As to long-felt need, the Reply (28) speculates that the investments

 discussed in the prior art “could” be attributable to SNALPs other than PO’s. But

 Dr. Janoff previously confirmed he conducted no meaningful evaluation, he simply

 didn’t know the facts. EX2002, 82:20-84:7. Similarly, for the evidence that Roche

 adopted Patent Owner’s SNALP technology for non-human primate studies,

 Petitioner offers only unfounded speculation. Id., 85:9-86:4. Speculation is neither

 evidence nor meaningful rebuttal. Rambus Inc. v. Rea, 731 F.3d 1248, 1257 (Fed.

 Cir. 2013) (finding no substantial evidence where Board’s conclusion of no nexus

 rested solely on conjecture).

       The Reply (28) also argues as to failure of others and skepticism that

 ionizable cationic lipids were known to be substantially nontoxic. This false

 narrative was extensively addressed in PO’s sur-reply in IPR2018-00739. Paper

 34, 27-31. Petitioner’s own publications criticize ionizable cationic lipids,


                                         - 24 -
                                                                                JA002383
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1105 of 1274 PageID #:
                                    9411



 including DLinDMA, as toxic. EX2037, 21:10-12 (noting that ionizable cationic

 lipids have been shown to accumulate in plasma and tissues over time are thus a

 potential source of toxicity); EX2031, ¶86; see also POR, 29-30. In addition, the

 record is replete with evidence illustrating a concern with the toxicity of cationic

 lipids, without differentiating between types of cationic lipids. E.g., EX1007, 745

 (“Minimizing the amount of cationic lipid is desirable....fewer, more highly

 charged molecules should mean a smaller metabolic effort...”); EX1009, 5 (“the

 cationic lipid contributes significantly to the toxicity observed.”); EX2016, 42 (“I

 wouldn’t want anyone injecting cationic lipids into my bloodstream.”).

       The Reply (28-29) now falsely argues patisiran does not use the claimed

 ranges. This is another remarkable and unexplained departure from the testimony

 of Dr. Janoff who, like Dr. Thompson, characterized patisiran as “50% cationic

 lipid, 38.5% cholesterol, 10% DSPC, and 1.5% PEG.” EX2003, ¶33. Petitioner

 also ignores the fact that the manufacturer of patisiran lists it in the orange book as

 being covered by the ’069 patent. EX2025.

       Even if the average nominal concentrations purportedly calculated (but not

 shown) are considered, patisiran would still fall within the scope of the claims

 because, at a minimum, a large portion of a population of particles would meet the

 claimed lipid concentrations. Dr. Anchordoquy conceded this would be true due to

 reasonably expected variation of lipid concentration in a particle population.



                                          - 25 -
                                                                              JA002384
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1106 of 1274 PageID #:
                                    9412



 EX2043, 71:19-24, 72:8-73:3 (confirming variation of 45-55mol% cationic lipid);

 see also 73:4-76:15; EX2040 (Petitioner previously arguing variation in a particle

 population cannot be ignored).

       The Reply (28-29) also tries to downplay commercial success by newly

 arguing that the success of patisiran is due to the specific DLinKC2DMA cationic

 lipid. This is yet another concocted litigation argument and unexplained departure

 Petitioner’s previous argument. In IPR2018-00739, Petitioner asserted that

 patisiran’s success was due to the siRNA “drug,” not the formulation. Presumably

 Petitioner now changes tack because PO identified scientific literature expressly

 credited PO’s delivery formulation for patisiran’s success. EX2023. Regardless,

 the specifically identified cationic lipid is still a “cationic lipid” as claimed.

 IX.   CONCLUSION

       For at least the reasons set forth in the POR and above, the challenged

 claims should be found not unpatentable.



                                               Respectfully submitted,


 Date: March 31, 2020                          / Michael T. Rosato /
                                               Michael T. Rosato, Lead Counsel
                                               Reg. No. 52,182




                                           - 26 -
                                                                                 JA002385
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1107 of 1274 PageID #:
                                    9413



                       CERTIFICATE OF COMPLIANCE

       Pursuant to § 42.24(d), the undersigned certifies that this paper contains no

 more than 5,600 words, not including the portions of the paper exempted by §

 42.24(b). According to the word-processing system used to prepare this paper, the

 paper contains 5,428 words.

                                                 Respectfully,

 Dated: March 31, 2020                           / Michael T. Rosato /
                                                 Michael T. Rosato, Lead Counsel
                                                 Reg. No. 52,182




                                        - 27 -
                                                                            JA002386
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1108 of 1274 PageID #:
                                    9414



 X.      APPENDIX – LIST OF EXHIBITS

      Exhibit
        No.                                 Description

                Deposition Transcript of Andrew S. Janoff in IPR2018-00739,
       2001
                  December 4, 2018
                Deposition Transcript of Andrew S. Janoff in IPR2018-00739, April
       2002
                  5, 2019
                Reply Declaration of Dr. Andrew S. Janoff in IPR2018-00739,
       2003       December 4, 2018
       2004     Declaration of David H. Thompson, Ph.D. in IPR2018-00739
                Deposition Transcript of David H. Thompson in IPR2018-00739,
       2005
                  February 4, 2019 (Volume I)
                Deposition Transcript of David H. Thompson in IPR2018-00739,
       2006
                  February 5, 2019 (Volume II)
       2007     Patent Owner's Sur-Reply in IPR2018-00739
                Listing of Example Formulations Falling Within the Scope of
       2008       the ’069 Patent Claims
       2009     U.S. Patent No. 7,491,409
       2010     U.S. Patent No. 8,236,943
       2011     U.S. Publication No. 2013/0116307
       2012     U.S. Publication No 2017/0307608
       2013     U.S. Patent No. 9,404,127
       2014     International Publication No. WO 2010/088537
       2015     International Publication No. WO 2013/090648




                                       - 28 -
                                                                         JA002387
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1109 of 1274 PageID #:
                                    9415



              Charles W. Schmidt, Therapeutic Interference: Small RNA
     2016       Molecules Act as Blockers of Disease Metabolism AM. CHEM.
                SOC’Y 37 (2003)
              C. Russell Middaugh & Joshua D. Ramsey, Analysis of Cationic-
     2017       Lipid-Plasmid-DNA Complexes, ANALYTICAL CHEMISTRY 7240
                (2007)
     2018     Erika Check, RNA to the Rescue? 425 NATURE 10 (2003)
              Dirk Hausseker, The Business of RNAi Therapeutics in 2012, 2 AM.
     2019
                SOC’Y OF GENE & CELL THERAPY (2012)
              Luke Timmerman, Merck’s Alan Sachs, on RNAi’s Big Challenge:
                Delivery, Delivery, Delivery, XCONOMY (Jan. 21,
     2020       2010), https://xconomy.com/national/2010/01/21/mercks-alan-
                sachs-on-rnais-big-challenge-delivery-delivery-delivery/
              Sean C. Semple, et al., Rational Design of Cationic Lipids for
     2021
                siRNA Delivery, 28 NATURE BIOTECH. 172 (2010)
              Supplementary Figures to Sean C. Semple, et al., Rational Design
     2022       of Cationic Lipids for siRNA Delivery, 28 NATURE BIOTECH. 172
                (2010)
              Heidi Ledford, Gene-Silencing Drug Approved: US Government
     2023       Okays First RNA-Interference Drug — After a 20-Year Wait 560
                NATURE 291 (2018)
              FDA Approves First-of-its Kind Targeted RNA-based Therapy to
     2024       Treat a Rare Disease, FOOD AND DRUG ADMIN. (2018), https://
                www.fda.gov/newsevents/newsroom/pressannouncements
                /ucm616518.htm
              Orange Book: Approved Drug Products with Therapeutic
                Equivalence Evaluations, Patent and Exclusivity for: N210922,
     2025       FOOD AND DRUG ADMIN. available at https://www.accessdata.
                fda.gov/scripts/cder/ob/patent_info.cfm?Product_No=001&
                Appl_No=210922&Appl_type=N (last visited Dec. 19, 2018)




                                       - 29 -
                                                                         JA002388
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1110 of 1274 PageID #:
                                    9416



              Maja Sedic et al., Safety Evaluation of Lipid Nanoparticle-
     2026      Formulated Modified mRNA in the Sprague-Dawley Rat and
               Cynomolgus Monkey, VETERINARY PATHOLOGY (2017)
              Kapil Bahl et al., Preclinical and Clinical Demonstration of
     2027       Immunogenicity by mRNA Vaccines against H10N8 and H7N9
                Influenza Viruses, MOLECULAR THERAPY (2017)
     2028     Declaration of Andrew S. Janoff in IPR2018-00739
     2029     DICTIONARY OF PHARMACY (2004)
     2030     Declaration of Andrew S. Janoff in IPR2018-00680
     2031     Declaration of David H. Thompson, Ph.D.
     2032     Curriculum Vitae of David H. Thompson, Ph.D.
     2033     Deposition Transcript of Andrew S. Janoff, October 25, 2019
              Doxil Label – FDA (Revised May, 2007), https://www.
     2034
                accessdata.fda.gov/drugsatfda_docs/label/2007/050718s029lbl.pdf
              Ian MacLachlan & Pieter Cullis, Diffusible-PEG-Lipid Stabilized
     2035        Pasmid Lipid Particles, 53 ADVANCES IN GENETICS 157
                 (2005)
              Sean C. Semple et al., Immunogenicity and Rapid Blood Clearance
     2036       of Liposomes Containing Polyethylene Glycol-Lipid Conjugates
                and Nucleic Acid, 312 THE JOURNAL OF PHARMACOLOGY
                AND EXPERIMENTAL THERAPEUTICS 1020 (2005)
     2037     International Publication No. WO 2017/223135
              New Medicine for Hereditary Rare Disease, EUROPEAN MED.
     2038       AGENCY (2018), https://www.ema.europa.eu/en/news/new
                medicine-hereditary-rare-disease
              Arbutus’ LNP Licensee Alnylam Announces FDA Approval of
                 ONPATTRO™ (patisiran), for the Treatment of ATTR
     2039        Amyloidosis, ARBUTUS BIOPHARMA (2018), https://investor.
                 arbutusbio.com/news-releases/news-release-details/arbutus-lnp
                 licensee-alnylam-announces-fda-approval-onpattrotm
              “Patent Owner: One Way Particle Variation,” Slide 27 from
     2040        Petitioner’s Demonstrative Exhibits, Case Nos. IPR2018-00739,
                 -00680, June 6, 2019


                                      - 30 -
                                                                       JA002389
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1111 of 1274 PageID #:
                                    9417



     2041     Patisiran N/P Ratio
              Adam Judge et al., Hypersensitivity and Loss of Disease Site
     2042       Targeting Caused by Antibody Responses to PEGylated
                Liposomes, 13 MOLECULAR THERAPY (February 2006)
              Deposition Transcript of Thomas J. Anchordoquy, Ph.D., March 24,
     2043
                 2020




                                     - 31 -
                                                                      JA002390
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1112 of 1274 PageID #:
                                    9418



                          CERTIFICATE OF SERVICE

       This is to certify that I caused to be served a true and correct copies of the

 foregoing Patent Owner’s Sur-Reply and Exhibits 2040-2043, on this 31st day of

 March, 2019, on the Petitioner at the correspondence address of the Petitioner as

 follows:

       Michael Fleming
       C. Maclain Wells
       IRELL & MANELLA LLP
       mfleming@irell.com
       mwells@irell.com
       ModernaIPR@irell.com

                                             Respectfully submitted,


 Date: March 31, 2020                        / Michael T. Rosato /
                                             Michael T. Rosato, Lead Counsel
                                             Reg. No. 52,182




                                         - 32 -
                                                                              JA002391
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1113 of 1274 PageID #:
                                    9419




                 JOINT APPENDIX 67
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1114 of 1274 PageID #:
                                    9420




            UNITED STATES PATENT AND TRADEMARK OFFICE
                     _____________________________

             BEFORE THE PATENT TRIAL AND APPEAL BOARD
                     _____________________________

                      MODERNA THERAPEUTICS, INC.,
                               Petitioner,

                                       v.

                     PROTIVA BIOTHERAPEUTICS, INC.,
                                Patent Owner.
                       _____________________________

                             Case IPR2018-00739
                             Patent No. 9,364,435
                       _____________________________

             DECLARATION OF DAVID H. THOMPSON, PH. D.




                                                          ARBUTUS - EXHIBIT 2004
                          Moderna Therapeutics, Inc. v. Arbutus Biopharma Corporation
                                                                      JA002392
                                                                       IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1115 of 1274 PageID #:
                                    9421




                                        TABLE OF CONTENTS
 I.      QUALIFICATIONS ........................................................................................ 1

 II.     SCOPE OF WORK.......................................................................................... 2

 III.    LEGAL STANDARDS ................................................................................... 3

 IV.     LEVEL OF ORDINARY SKILL IN THE ART ............................................. 6

 V.      BACKGROUND ............................................................................................. 7

 VI.     CLAIM CONSTRUCTION .......................................................................... 12

 VII. GROUND 1 – CLAIMS 1-20 ARE NOT OBVIOUS IN VIEW OF
      PATENT OWNER’S DISCLOSURES IN THE ’196 PCT AND ’189
      PUBLICATION ............................................................................................. 16

         A.       Claim 1 ................................................................................................ 16

         B.       Unexpected Results ............................................................................. 22

         C.       Claims 2-20 ......................................................................................... 31

 VIII. GROUND 2 – CLAIMS 1-20 ARE NOT OBVIOUS IN VIEW OF
       PATENT OWNER’S PRIOR DISCLOSURES IN LIGHT OF LIN
       AND/OR AHMAD ........................................................................................ 38

 IX.     GROUND 3 – CLAIMS 1-20 ARE NEITHER ANTICIPATED BY
         NOR OBVIOUS IN VIEW OF THE ’554 PUBLICATION ........................ 45

         A.       Claim 1 ................................................................................................ 45

                  1.       Anticipation by L054 ................................................................ 45

                  2.       Anticipation by ranges .............................................................. 52

                  3.       Obvious over ranges ................................................................. 56

         B.       Claims 2-20 ......................................................................................... 58

 X.      OBJECTIVE INDICIA OF NONOBVIOUSNESS ...................................... 71

         A.       Long-felt need ..................................................................................... 72

                                                           -i-

                                                                                                              JA002393
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1116 of 1274 PageID #:
                                    9422




       B.     Skepticism ........................................................................................... 76

       C.     Unexpected Results ............................................................................. 77

       D.     Commercial Success............................................................................ 83

 XI.   CONCLUDING STATEMENTS .................................................................. 84




                                                      -ii-

                                                                                                        JA002394
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1117 of 1274 PageID #:
                                    9423



       I, David H. Thompson, declare as follows:

 I.    QUALIFICATIONS
       1.     I am a Professor of Chemistry at Purdue University and Director of

 the Medicinal Chemistry Group in the Purdue Center for Cancer Research. My

 primary research interests include development of transiently-stable carrier

 systems for drug and nucleic acid delivery.

       2.     I received my Ph.D. in Organic Chemistry from Colorado State

 University in 1984. I also hold a Bachelor of the Arts in Biology and a Bachelor of

 Science in Chemistry from the University of Missouri, Columbia.

       3.     I have been a visiting professor at numerous institutions including,

 Chulalongkorn University, Department of Pharmaceutics; Technical University of

 Denmark, Department of Micro & Nanotechnology; Japan Advanced Institute of

 Science & Technology, Department of Biomaterials; Osaka University,

 Department of Applied Chemistry; University of Florida, Department of

 Pharmaceutics; and University of British Columbia, Department of Biochemistry.

       4.     I am listed as a co-inventor on 7 United States patents. I have also

 published more than 140 peer reviewed scientific papers.

       5.     I have studied, taught, practiced, and conducted research involving the

 formulation, use, characterization, and delivery of lipid particles. I have expertise

 with the delivery of therapeutic agents using lipid particles.



                                            1
                                                                              JA002395
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1118 of 1274 PageID #:
                                    9424



       6.     A copy of my Curriculum Vitae, attached as EX2010, contains further

 details on my education, experience, publications, and other qualifications to

 render an expert opinion in this matter.

 II.   SCOPE OF WORK
       7.     I understand that a petition was filed with the United States Patent and

 Trademark Office for inter partes review of U.S. Patent No. 9,364,435 (“the ’435

 patent,” EX1001).

       8.     I further understand that the Patent Trial and Appeal Board (“PTAB”

 or the “Board”) has decided to institute inter partes review of claims 1-20 of the

 ’435 patent under 35 U.S.C. §§ 102 and 103 based on the disclosures of

 WO2005/007196 (“the ’196 PCT,” EX1002), US 2006/134189 (“the ’189 PCT,”

 EX1003), Lin, et al, “Three-Dimensional Imaging of Lipid Gene-Carriers:

 Membrane Charge Density Controls Universal Transfection Behavior in Lamellar

 Cationic Liposome-DNA Complexes,” (“Lin,” EX1005), Ahmad, et al, “New

 multivalent cationic lipids reveal bell curve for transfection efficiency versus

 membrane charge density: lipid–DNA complexes for gene delivery,” (“Ahmad,”

 EX1006), and US 2006/0240554 (“the ’554 publication,” EX1004).

       9.     I have been specifically asked to provide my expert opinions on the

 patentability of the claims of the ’435 patent in view of the asserted grounds in the

 petition. In connection with this analysis, I have reviewed the ’435 patent and the



                                            -2-
                                                                             JA002396
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1119 of 1274 PageID #:
                                    9425



 prior art cited against the patentability of claims 1-20. I have also reviewed and

 considered the petition, Dr. Janoff’s declaration and deposition transcript, and the

 Board’s Decision on Institution of Inter Partes Review, and may cite these

 documents in this declaration.

        10.      I am being compensated at a rate of $600 per hour for my work in this

 matter. I am also being reimbursed for reasonable and customary expenses

 associated with my work in this investigation. My compensation is not contingent

 on the outcome of this matter or the specifics of my testimony.

 III.   LEGAL STANDARDS
        11.      I have been advised that a claimed invention is not patentable under

 an anticipation theory (35 U.S.C. § 102) if all claim elements are found in a single

 prior art reference. I further understand that anticipation is about prior invention

 and therefore the single prior art reference must be found to disclose all elements

 of the claimed invention arranged as in the claim. I also understand that picking,

 choosing, and combining various embodiments disclosed within a single reference

 is not proper under an anticipation theory.

        12.      I understand that differences between the prior art reference and a

 claimed invention, however slight, invoke the question of obviousness, not

 anticipation.




                                            -3-
                                                                               JA002397
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1120 of 1274 PageID #:
                                    9426



       13.    I have been advised that a claimed invention is not patentable under

 35 U.S.C. § 103 if it is obvious. A patent claim is unpatentable if the claimed

 invention would have been obvious to a person of ordinary skill in the field at the

 time the claimed invention was made. This means that even if all of the

 requirements of the claim cannot be found in a single prior art reference that would

 anticipate the claim, a person of ordinary skill in the relevant field who knew about

 all this prior art would have come up with the claimed invention.

       14.    I have further been advised that the ultimate conclusion of whether a

 claim is obvious should be based upon several factual determinations. That is, a

 determination of obviousness requires inquiries into: (1) the level of ordinary skill

 in the field; (2) the scope and content of the prior art; (3) what difference, if any,

 existed between the claimed invention and the prior art; and (4) any objective

 indicia of nonobviousness.

       15.    I have been advised that, in determining the level of ordinary skill in

 the field that someone would have had at the time the claimed invention was made,

 I should consider: (1) the levels of education and experience of persons working in

 the field; (2) the types of problems encountered in the field; and (3) the

 sophistication of the technology.

       16.    I have been advised that a patent claim composed of several elements

 is not proved obvious merely by demonstrating that each of its elements was



                                            -4-
                                                                               JA002398
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1121 of 1274 PageID #:
                                    9427



 independently known in the prior art. In evaluating whether such a claim would

 have been obvious, I may consider whether there is a reason that would have

 prompted a person of ordinary skill in the field to combine the elements or

 concepts from the prior art in the same way as in the claimed invention.

       17.    I have also been advised, however, that I must be careful not to

 determine obviousness using the benefit of hindsight; many true inventions might

 seem obvious after the fact. I should put myself in the position of a person of

 ordinary skill in the field at the time the claimed invention was made and I should

 not consider what is known today or what is learned from the teaching of the

 patent.

       18.    Finally, I have been advised that any obviousness rationale for

 modifying or combining prior art must include a showing that a person of ordinary

 skill would have had a reasonable expectation of success.

       19.    With regard to objective indicia of nonobviousness, I have been

 advised that any objective evidence may be considered as an indication that the

 claimed invention would not have been obvious at the time the claimed invention

 was made. I understand that the purpose of objective indicia is to prevent a

 hindsight analysis of the obviousness of the claims.




                                          -5-
                                                                            JA002399
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1122 of 1274 PageID #:
                                    9428



        20.    I have been advised that there are several factors that may be

 considered as objective indicia. These factors include the long-felt need,

 skepticism, unexpected results and commercial success of the invention.

        21.    I have been further advised that in order for objective indicia to be

 significant, there must be a sufficient nexus between the claimed invention and the

 evidence of objective indicia. I understand that this nexus serves to provide a link

 between the merits of the claimed invention and the evidence of objective indicia

 provided.

 IV.    LEVEL OF ORDINARY SKILL IN THE ART
        22.    I have been advised that, in determining the level of ordinary skill in

 the art that someone would have had at the time the claimed invention was made, I

 should consider: (1) the levels of education and experience of persons working in

 the field; (2) the types of problems encountered in the field; and (3) the

 sophistication of the technology. I have been advised that an invention must be

 evaluated not through the eyes of the inventor, who may have been of exceptional

 skill, but as by one of ordinary skill in the art.

        23.    I understand that Dr. Janoff defined a person of ordinary skill as one

 that “would have specific experience with lipid particle formation and use in the

 context of delivering therapeutic payloads, and would have a Ph.D., an M.D., or

 similar advanced degree in an allied field (e.g., biophysics, microbiology,



                                             -6-
                                                                                JA002400
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1123 of 1274 PageID #:
                                    9429



 biochemistry) or an equivalent combination of education and experience.” EX1007

 ¶31. I understand this was adopted by the Board. Paper 15 at 5-7.

       24.    In my opinion, the level of ordinary skill defined by Dr. Janoff and the

 Board is inappropriate. With regard to the “specific experience,” Dr. Janoff states

 that the “level of skill is representative of the inventors on the ʼ435 patent and

 authors/inventors of prior art cited herein.” EX1007 ¶31. The inventors of the ʼ435

 patent, however, are artisans of exceptional skill in the subject matter of the ʼ435

 patent. Thus, in my view, Dr. Janoff has not simply applied a slightly higher level

 of skill in the art in setting forth his opinions in his declaration, but has assumed a

 much higher level of skill than that of a person of ordinary skill in the art.

 V.    BACKGROUND

       25.    An objective of genetic therapy at the time, and to this day, is the

 development of drugs — that is, nucleic acids — to treat systemic diseases such as

 cancer, inflammation, virus infection, and cardiovascular disease. While genetic

 therapy holds the promise of highly specific targeting of disease pathways, it was

 known that this promise would only be realized through the development of

 appropriate delivery vehicles. Delivery is critical because a therapeutic agent is

 useless if it does not reach its target. This is particularly true with nucleic acids —

 large, negatively charged molecules — that cannot simply be given to a patient

 systemically (e.g., intravenously) and allowed to passively enter cells, as would be



                                           -7-
                                                                                  JA002401
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1124 of 1274 PageID #:
                                    9430



 the case with many small molecule drugs. Therapeutic nucleic acids require an

 effective delivery vehicle, which historically has proved to present a considerable

 technical obstacle. See, e.g., EX2016 (“You can write down the steps. You can

 write down what you think will happen. But then you have to put it in a 50-

 nanometer particle that’s safe and potent to deliver.”); EX2014 at 11 (“The major

 hurdle right now is delivery, delivery, delivery,” says Sharp), (“Khvorova believes

 that the medical benefits of RNAi will be huge if the delivery issues can be

 resolved.”).

       26.      The first generation of nucleic acid delivery systems that were

 developed included cationic liposome nucleic acid complexes (also known as

 liposomes). See EX1002 ¶8 (defining “cationic liposome complex” as lipoplex);

 EX2007, 2:27-28 (same). Lipoplexes were found to be unsuitable for many

 applications, particularly systemic uses, due in large part to the toxic nature of the

 cationic lipids. See, e.g., EX1008 at 5.

       27.      The toxicity of cationic lipids is observed both at the systemic level

 and at the cellular level. Cationic lipids cause clustering of membrane

 glycoproteins on cell surfaces, thereby disrupting normal cellular protein

 trafficking and receptor recycling, and thus are cytotoxic to cells themselves.

 Toxicity also occurs at the organ level, as these lipids are often not readily

 biodegradable, such that they accumulate to cytotoxic concentrations in the liver



                                            -8-
                                                                               JA002402
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1125 of 1274 PageID #:
                                    9431



 and spleen. Cationic lipids also have immunostimulatory capacity and have been

 associated with immunogenic and inflammatory responses. The presence of

 cationic lipids also results in these complexes being rapidly cleared from the body,

 further limiting their therapeutic utility. Furthermore, it was understood that the

 cationic lipid component can cause aggregation of lipid particles.

       28.    These technical obstacles of toxicity, immunogenicity, and

 aggregation due to use of cationic lipids in a delivery vehicle for nucleic acids was

 well known in 2008 and thus those in the field at the time sought to minimize the

 cationic lipid component of a lipid delivery vehicle. This is evidenced in the

 references cited in the petition.

       29.    For example, Ahmad teaches that the cationic lipid component should

 be minimized to reduce cytotoxicity and metabolic effort associated with

 elimination of cationic lipids.

       Minimizing the amount of cationic lipid is desirable to reduce cost as
       well as potential toxic effects of the cationic lipid. In addition,
       achieving a given σM with fewer, more highly charged molecules
       should mean a smaller metabolic effort for the elimination of the
       lipids from the cell.
 EX1006 at 7.

       30.    Gao discusses toxicity caused by the cationic lipid component.

       Detailed toxicological studies … revealed that the cationic lipid
       contributes significantly to the toxicity observed. Similar toxic effects

                                           -9-
                                                                              JA002403
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1126 of 1274 PageID #:
                                    9432



       are also noticeable in systemic gene delivery via the tail vein with
       other types of cationic lipids. Symptoms include acute pulmonary
       hypotension, induction of inflammatory cytokines, tissue infiltration
       of neutrophils in lungs, decrease in white cell counts, and in some
       cases tissue injury in liver and spleen. In humans, various degrees of
       adverse inflammatory reactions, including flulike symptoms with
       fever and airway inflammation, ….
 EX1008 at 5.

       31.   Gao further discloses that the cationic lipid component caused

 unwanted interactions with serum proteins, including complement.

       Another factor related to the severity of transfection-related side
       effects is complement activation and adsorption of serum proteins
       onto their surface, which in turn act as opsonins to trigger the uptake
       of opsonized particles by macrophages and other immune cells.
       Various strategies have been considered to deal with the toxic
       responses.
 EX1008 at 5-6; see also Table 1.

       32.   Gao also describes that the cationic lipid component of lipoplexes

 caused unwanted interactions with non-target cells.

       Once administered in vivo, lipoplexes tend to interact with negatively
       charged blood components and form large aggregates that could be
       absorbed onto the surface of circulating red blood cells, trapped in a
       thick mucus layer, or embolized in microvasculatures, preventing
       them from reaching the intended target cells in the distal location.
 EX1008 at 5.

                                         -10-
                                                                              JA002404
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1127 of 1274 PageID #:
                                    9433



       33.    Additionally, it was appreciated that the cationic lipid component of

 lipoplexes caused aggregation of lipid particles. EX1008 at 9 (“[T]he polycations

 in either lipoplexes or polyplexes have the intrinsic property of causing significant

 aggregation in biological matrices full of negatively charged molecules ….”); see

 also EX1004 ¶136.

       34.    Therefore, it was well established at the time of filing of the patent

 that cationic lipids used in a delivery vehicle for nucleic acids were toxic,

 immunogenic, and caused aggregation. As Dr. Zamore of Alnylam stated, “I

 wouldn’t want anyone injecting cationic lipids into my bloodstream.” EX2011 at

 42.

       35.    At the filing date of the patent, the aim of those working in the field

 sought lipid particles that were substantially non-toxic and therefore suitable for

 systemic applications. However, at that time, the development of nucleic acid-lipid

 particles that were suitable for systemic applications had not been achieved.

 Furthermore, it was widely understood at that time that in order to design nucleic

 acid-lipid particles suitable for systemic use the amount of cationic lipid in the

 formulation should be kept as low as possible, because of concerns over the known

 toxic effects of cationic lipids.




                                          -11-
                                                                                 JA002405
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1128 of 1274 PageID #:
                                    9434



 VI.   CLAIM CONSTRUCTION
       36.    The petition materials provided an unreasonably broad construction of

 “nucleic acid-lipid particle,” stating that it should be construed as “a composition

 of lipids and a nucleic acid for delivering a nucleic acid to a target site on interest.”

 Pet. 24.

       37.    I have been apprised that the Board, in its Institution Decision,

 rejected the construction in the petition and offered a different one. That is, the

 Board construed “nucleic acid-lipid particle” as “a particle that comprises a nucleic

 acid and lipids, in which the nucleic acid may be encapsulated in the lipid portion

 of the particle.” Paper 15 at 10-11 (citing EX1001, 11:14–22).

       38.    In my opinion, both constructions of “nucleic acid-lipid particle” in

 the petition materials and in the Institution Decision are incorrect and unreasonably

 broad at least to the extent they encompass lipid particles lacking any encapsulated

 nucleic acid. The petition materials and the Board focused on a different term —

 i.e., the term “lipid particle” — and only incompletely address the corresponding

 discussion in the ’435 patent specification. But the claimed term is not “lipid

 particle,” the claimed term is “nucleic acid-lipid particle.”

       39.    A “nucleic acid-lipid particle” expressly includes a nucleic acid.

 According to the ʼ435 patent, “nucleic acids, when present in the lipid particles of

 the present invention, are resistant in aqueous solution to degradation with a



                                           -12-
                                                                                JA002406
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1129 of 1274 PageID #:
                                    9435



 nuclease.” EX1001, 11:51-54. The ’435 patent describes nucleic acid

 encapsulation in the lipid particle as conferring resistance to such enzymatic

 degradation. EX1001, 11:20-22 (“[T]he active agent or therapeutic agent may be

 encapsulated in the lipid, thereby protecting the agent from enzymatic

 degradation.”); see also EX2007 4:15-19; 22:40-47; 23:1-3; 23:27-29; 26:35-37

 (describing resistance to nuclease enzymatic degradation as indicating nucleic

 encapsulation in the liposomes).

       40.    A “lipid particle” “may [include a nucleic acid] encapsulated in the

 lipid portion of the particle, thereby protecting it from enzymatic degradation.”

 EX1001, 11:14–22. A “nucleic acid-lipid particle,” however, does include a

 nucleic acid encapsulated in the lipid portion of the particle, thereby protecting it

 from enzymatic degradation. EX1001, 11:23-31, 11:51-54.

       41.    I understand that, during cross-examination, Dr. Janoff testified

 multiple times that the lipid particles as claimed are defined as SNALPs. See, e.g.,

 EX2028, 118:18-119:4, 119:9-17, 120:5-6, 121:14-25. Dr. Janoff cited to a

 provision of U.S. Patent No. 9,404,127 (“the ’127 patent,” EX2029) at 5:15-22 that

 is identically recited in the ’435 patent. Compare EX2029, 5:15-22 with EX1001,

 19:19-26.

       42.    Dr. Janoff is correct in that the specification repeatedly identifies

 SNALPs as the invention of the patent for delivering a nucleic acid payload. See



                                          -13-
                                                                              JA002407
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1130 of 1274 PageID #:
                                    9436



 e.g., EX1001, 3:9-13 (“The present invention provides novel, serum-stable lipid

 particles ….”), 47:23-24 (“[T]he lipid particles of the invention are serum-stable

 nucleic acid-lipid particles (SNALP)…”), 3:32-37, 14:20-25.

       43.    In my opinion, a fair and reasonable reading of the ’435 patent

 specification supports Dr. Janoff’s position in that there is no meaningful

 distinction between the ’435 patent specification’s descriptions of a “lipid particle”

 containing a nucleic acid (i.e., a nucleic acid-lipid particle) and particle

 characteristics that confer serum stability. Compare EX1001, 11:14-22, 11:51-54

 (“[N]ucleic acids, when present in the lipid particles of the invention, are resistant

 in aqueous solution to degradation with a nuclease.”) with 13:32-37 (“‘Serum-

 stable’ in relation to nucleic acid-lipid particles such as SNALP means that the

 particle is not significantly degraded after exposure to a serum or nuclease assay

 that would significantly degrade free DNA or RNA”).

       44.    In my opinion, a narrow focus on a linguistic difference between a

 nucleic acid-lipid particle and the term “SNALP” is misguided and risks

 overlooking pertinent disclosure and context provided in the ’435 patent. The ’435

 patent specification states that “nucleic acids, when present in the lipid particles of

 the invention, are resistant in aqueous solution to degradation with a nuclease.” Id.,

 11:51-54. Such physical properties of the particles providing nuclease degradation

 resistance, or encapsulation of the nucleic acid, are also as described in the ’435



                                           -14-
                                                                                JA002408
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1131 of 1274 PageID #:
                                    9437



 patent specification as conferring the identified serum stability. Id., 13:32-37. This

 is certainly true if the claimed particles are SNALP, as supported not only by the

 specification of the ’435 but as affirmed by petitioner’s expert Dr. Janoff.

       45.    I disagree with the Board’s analysis presented at pages 9-10 of the

 Institution Decision at least for the reasons explained above. As explained above,

 there is no meaningful distinction between a nucleic acid-lipid particle and a

 SNALP in the context of the ’435 patent. None of the provisions of the ’435 patent

 specification identified by the Board indicate otherwise. Paper 15 at 9-10. The

 Board’s discussion of whether particles are “limited to in vivo use,” is confusing

 and loses sight of both the context of the ’435 patent specification and a reasonable

 perspective of a person of ordinary skill in the art. For example, the Board cites to

 an example of SNALP being tested for transfection activity in vitro as indicating

 the same composition is not a SNALP. Paper 15 at 10 (citing Example 2 at 69:6–

 70:52 (“Eg5 siRNA Formulated as 1:57 SNALP are Potent Inhibitors of Cell

 Growth In Vitro”)). The composition in Example 2 is expressly described as “1:57

 SNALP.” A person of ordinary skill in the art would understand that composition

 can be both 1) formulated such that the nucleic acid is encapsulated in the lipid

 particle, rendering the composition extremely useful for systemic applications; and

 2) tested for in vitro transfection activity. It is not uncommon for compositions to

 be assessed for in vitro transfection activity and then subject to testing in vivo.



                                          -15-
                                                                                JA002409
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1132 of 1274 PageID #:
                                    9438



        46.   Regardless of whether the Board construes “nucleic acid-lipid

 particle” as a SNALP as indicated by Dr. Janoff; as a lipid particle with an

 encapsulated nucleic acid (thereby protecting it from enzymatic degradation); or

 under the broad construction presented in the Institution Decision, the petition

 materials fail to establish the unpatentability of claims 1-20.

 VII. GROUND 1 – CLAIMS 1-20 ARE NOT OBVIOUS IN VIEW OF
      PATENT OWNER’S DISCLOSURES IN THE ’196 PCT AND ’189
      PUBLICATION
        47.   It is my opinion that the petition fails to demonstrate that claims 1-20

 of the ’435 patent are obvious in view of the ’196 PCT and the ’189 publication.

 Since the petition materials provide no meaningful discussion of the ’189

 publication, the below arguments focus on lack of obviousness in view of the ’196

 PCT.

        48.   Although I understand that it is not Patent Owner’s burden to prove, it

 is my opinion that claims 1-20 of the ’435 patent are not obvious.

        A.    Claim 1
        49.   First, the petition materials fail to address all the lipid components of

 the claimed nucleic acid-lipid particle composition. Second, the petition materials

 fail to address the combination of the lipid components of the claimed nucleic acid-

 lipid particle composition. Third, the petition materials fail to explain why a person

 of ordinary skill in the art would have wanted to combine the individual lipid



                                          -16-
                                                                              JA002410
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1133 of 1274 PageID #:
                                    9439



 components disclosed in the ’196 PCT. Fourth, the petition materials fail to

 address that a skilled artisan would have had no reasonable expectation of success

 that the claimed nucleic acid-lipid particle composition would be well-tolerated

 and efficacious. Finally, much of the evidence of unexpected results within the

 patent is disregarded, and what is considered is mischaracterized in view of the

 prior art.

        50.   As an initial observation, the assertion of obviousness in the petition

 materials is based on alleged overlapping ranges between the ’196 PCT and the

 challenged claims. But the petition materials fail to identify ranges that overlap for

 each of the claim components.

        51.   For example, claim 1 recites “a conjugated lipid that inhibits

 aggregation of particles.” Rather than identifying disclosure in the ’196 PCT that

 is specific for a conjugated lipid range, the petition materials cite to a range

 provided for “a bilayer stabilizing component.” Pet. 39; EX1007 ¶117.

        52.   The ’196 PCT makes clear that a “bilayer stabilizing component” is

 not the same as a “conjugated lipid that inhibits aggregation of particles.” See, e.g.,

 EX1002 ¶92 (“Suitable BSCs include, but are not limited to, polyamide oligomers,

 peptides, proteins, detergents, lipid-derivatives, PEG-lipids, …”). Bilayer

 stabilizing components include a broad class of structurally and chemically diverse

 molecules. Numerous bilayer stabilizing components (e.g., polyamide oligomers,



                                           -17-
                                                                               JA002411
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1134 of 1274 PageID #:
                                    9440



 peptides, proteins, detergents, and lipid-derivatives) would not be considered a

 conjugated lipid by a person of ordinary skill in the art.

       53.    While the ’196 PCT lists a general range for the bilayer stabilizing

 component category, a person of ordinary skill in the art would not have

 interpreted the stated range (e.g., 0.5% to 25%) as being applicable to each listed

 bilayer stabilizing component example. For example, a skilled artisan would have

 appreciated that if the bilayer stabilizing component were a detergent, 25% would

 have been an unreasonably high level. This is because at this concentration of

 detergent the lipids would be solubilized and no longer form a lipid particle.

       54.    The ’196 PCT discloses seven nucleic acid-lipid particle compositions

 — all of which have either 7.5 or 15 mol % cationic lipid and 10 mol % conjugated

 lipid. EX1002 ¶¶216, 223, 228, 232.

       55.    Therefore, the petition materials fail to identify in ’196 PCT “a

 conjugated lipid that inhibits aggregation of particles” as required by claim 1.

       56.    In my opinion, as explained in further detail below, there would have

 been no good reason why a person of ordinary skill in the art would combine the

 different range disclosures for different lipid components from the ’196 PCT so as

 to arrive at the claimed nucleic acid-lipid particle. Nor would one would

 reasonably expect such formulations to work. The petition materials fail to

 demonstrate otherwise.



                                          -18-
                                                                             JA002412
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1135 of 1274 PageID #:
                                    9441



       57.    Those in the field at the time recognized that the properties of any

 lipid particle are conferred not by the amount of any individual component but by

 the interaction of the combined components as a whole. Furthermore, if the skilled

 person were to vary one component (by taking the amount of that component

 specified for a particular formulation), it would then be necessary to decide which

 of the other components would need to be varied in order to accommodate the

 change in proportions of the overall composition.

       58.    The effects of making changes to the proportion of other components

 in the lipid particle would be unpredictable. Such changes, even if apparently

 minor in nature, would have little assurance of producing a functional lipid particle

 suitable for systemic use. The idea of simply “cherry-picking” specific amounts of

 individual components from different formulations, or the different ranges in the

 ’196 PCT, when designing lipid particles is therefore something which would have

 made no technical sense to the skilled person.

       59.    Dr. Janoff states that “determining the optimal proportion of cationic

 lipid for a given lipid combination would be a simple matter of varying the

 proportion using prior art methodologies.” EX1007 ¶110. I disagree. As explained

 above, the properties of a formulation are not conferred by the amount of one

 single component. Properties such as safety and efficacy are conferred by the

 combination of components in the entire formulation.



                                         -19-
                                                                            JA002413
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1136 of 1274 PageID #:
                                    9442



       60.    Moreover, Dr. Janoff’s stated reason disregards the state of the art at

 the time of the invention. Making safe and effective nucleic acid-lipid particle

 formulations was not simply a matter of “varying the proportion” of cationic lipid

 in prior art formulations. As discussed above, the field of genetic medicine was

 hindered by the lack of effective and safe nucleic acid delivery vehicles. That the

 field struggled for 20 years to find such a delivery vehicle speaks to the difficulty

 of the task. See generally EX2015. Had the solution been a matter of simply

 optimizing the cationic lipid proportion, it would not have taken such an enormous

 investment of money and time.

       61.    As discussed elsewhere herein, the high cationic lipid levels claimed

 would have been disfavored in view of well-established toxicity concerns.

 Moreover, inclusion of a conjugated lipid in a formulation with high cationic lipid

 would have been expected to occur at much higher levels than claimed.

       62.    Conjugated lipid had been incorporated into lipid particles to help

 shield positive charge and reduce nonspecific interactions with blood components,

 leading to enhanced systemic clearance. Lipid particle compositions at the time

 typically used much higher levels of conjugated lipid than is claimed by the ’435

 patent, such as 10% PEG (i.e., 5- to 20-times more than the claimed formulations).

 For example, Doxil, the first FDA approved liposome formulation contained 5%

 PEG-conjugated lipid. EX2034. Likewise lipid particles for the delivery of nucleic



                                          -20-
                                                                              JA002414
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1137 of 1274 PageID #:
                                    9443



 acids commonly used 10% PEG. EX2032 at 174; EX2033 at 1021; EX1002 ¶¶216,

 223, 228, 232.

       63.    The petition materials fail to provide a reasonable expectation of

 success for the claimed nucleic acid-lipid particle in view of the ’196 PCT and the

 state of the art at the date of the patent filing. In my opinion, a person of ordinary

 skill in the art would not have expected a nucleic acid-lipid particle composition

 with a high level of cationic lipid and a low level of conjugated lipid to be safe and

 effective.

       64.    As discussed above, the prior art taught that the cationic lipid

 component of lipid particles should be minimized, regardless of whether used for

 in vitro or in vivo purposes. For example, it was appreciated that cationic lipids are

 directly cytotoxic. Cationic lipids, in addition, elicit unwanted immune reactions

 (e.g., inflammation), off-target cellular interactions (e.g., blood cells), and

 aggregation. Furthermore compositions with low levels of conjugated lipid (i.e.,

 0.5 mol % to 2 mol %) would have been expected to result in unstable particles

 that aggregate and fail to effectively transfect cells. Hence the claimed nucleic

 acid-lipid particle would have been expected to be cytotoxic and ineffective.

       65.    Accordingly, claim 1 is not obvious in view of the ’196 PCT at least

 because there would have been no expectation of success that the claimed nucleic

 acid-lipid particle would be safe and effective.



                                           -21-
                                                                               JA002415
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1138 of 1274 PageID #:
                                    9444



       B.     Unexpected Results
       66.    I reviewed the experimental data in the ’435 patent. In my opinion,

 the results of the experimental data would have been quite surprising to a POSITA.

 As explained in further detail below, those in the art at the time would have

 expected formulations as claimed to result in significantly lower activity and

 higher levels of toxicity compared to what is reported in the experimental results.

       67.    The prior art expressly instructs that high-level cationic lipid

 formulations were expected to have poor in vivo activity and display increased

 toxicity and immunogenicity relative to low-level cationic lipid formulations. See

 EX1005 at 3315; EX1006 at 745; EX1008 at E96; EX2007, 30:34:41 (Issued

 patent naming Dr. Janoff as an inventor and explaining that “[t]here may be a limit

 to the use of cationic lipoplexes [in vivo] because of their toxicity.”). As such, the

 expectation for the claimed formulations would have been toxic formulations

 unsuitable for systemic use and little, if any, efficacy.

       68.    Contrary to these expectations, the claimed formulations are well-

 tolerated and possess favorable in vivo efficacy at far lower dosages than prior art

 formulations. Data for numerous formulations within the scope of claim 1 are

 found in the ’435 patent and support the unexpected degree of tolerability and

 efficacy. See also Section XI.




                                           -22-
                                                                                 JA002416
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1139 of 1274 PageID #:
                                    9445



       69.    The petition materials present an incomplete and flawed analysis of

 the data within the ’435 patent. First, the petition materials fail to consider that,

 unexpectedly, the claimed formulations are not toxic nor do they cause unwanted

 immune responses. Second, although the petition materials purport to address the

 data supporting unexpected efficacy, these data are analyzed without consideration

 of what a person of ordinary skill in the art would have expected.

       70.    Dr. Janoff says “the sole basis for alleged novelty of the ’435 patent

 claims is that a nucleic acid-lipid particle comprising component lipids in the

 claimed proportions achieves unexpected efficacy making the claims patentably

 distinct from the prior art.” EX1007 ¶75 (emphases added). Not so. The ’435

 patent also discloses that the claimed formulations “are substantially non-toxic to

 mammals such as humans.” EX1001, 6:2-5; see also EX1001, 6:26-30, 11:51,

 14:40-42, 23:2-3, 47:9-18.

       71.    For example, the ’435 patent used various measurements (e.g., body

 weight, appearance and behavior, and platelet count) to assess the toxicity of the

 claimed compositions following systemic administration to mice. Unexpectedly,

 no significant toxicity was detected by any measure.

       72.    Body weight was monitored after systemic administration of a 1:57

 formulation. EX1001, 79:33-37. A sharp decline was considered indicative of

 toxicity and would have been the expected result. However, “there was very little



                                           -23-
                                                                                JA002417
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1140 of 1274 PageID #:
                                    9446



 effect on body weight 24 hours” even at the highest dosages. EX1001, 79:33-34;

 see also id., 79:34-36 (“The maximum weight loss of 3.6±0.7% was observed at

 the highest drug dose of 17 mg/kg.”), Figure 8. Moreover, the ’435 patent explains

 that “[t]here was also no obvious change in animal appearance/behavior at any of

 the dosages tested.” EX1001, 79:36-37.

       73.    Platelet count was also measured after systemic administration of a

 1:57 nucleic acid-lipid particle composition. An increase or decrease in platelet

 count is indicative of toxicity and would have been the expected result. See

 EX1001, 79:38-41. However, “the mean platelet volume did not change in

 SNALP-treated groups.” EX1001, 79:44; see also Figure 9.

       74.    No significant toxicity was observed even after multiple systemic

 doses of the 1:57 nucleic acid-lipid particle composition. Mice were dosed

 intravenously multiple times per week for a total of 5 weeks. EX1001, 81:20-

 82:25. Similar to the single dose of 1:57, no treatment-related toxicity was

 observed. EX1001, 82:30-36 (“The treatment regimen was well tolerated with no

 apparent signs of treatment-related toxicity.”), (“[T]reatment with 1:57 SNALP-

 formulated PLK1424 caused a significant increase in the survival of Hep3B tumor-

 bearing mice. This in vivo anti-tumor effect was observed in the absence of any

 apparent toxicity or immune stimulation.”).




                                          -24-
                                                                            JA002418
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1141 of 1274 PageID #:
                                    9447



       75.    For example, the claimed nucleic acid-lipid particle compositions

 effectively induced silencing of the targeted gene (i.e., ApoB) when administered

 systemically to mice. Table 4 lists the nucleic acid-lipid particle compositions

 tested as part of Example 3.




 EX1001, Table 4. Amongst those tested were nucleic acid-lipid particle

 compositions within the scope (i.e., Groups 11, 13, and 14) and outside the scope

 of claim 1. The expectation for nucleic acid-lipid particle compositions of Groups

 11, 13, and 14 would have been little, if any, gene silencing. That is, based on what

 was known in the art at the time, Groups 11, 13, and 14 would have been expected



                                         -25-
                                                                            JA002419
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1142 of 1274 PageID #:
                                    9448



 to yield reductions in gene expression similar to the “untreated” control group (i.e.,

 PBS). However, each of the nucleic acid-lipid particle compositions within the

 scope of claim 1 (Groups 11, 13, and 14) showed significant gene silencing relative

 to the control group (i.e., PBS). EX1001, FIG 2. Even more surprisingly, these

 nucleic acid-lipid particle compositions yielded gene silencing levels which were

 at least comparable and in many cases superior to prior art compositions that have

 a much lower cationic lipid level (e.g., 25 mol % to 40 mol % cationic lipid).

 EX1001, FIG 2 (red and green highlighting added).




 For instance, the 1:57 nucleic acid-lipid particle composition, “was substantially

 more effective at silencing the expression of a target gene as compared to prior art

 nucleic acid-lipid particles (‘2:40 SNALP’).” EX1001, 6:10-14. Furthermore, the




                                          -26-
                                                                             JA002420
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1143 of 1274 PageID #:
                                    9449



 1:57 nucleic acid-lipid particle composition “was the most potent at reducing” gene

 expression in vivo. EX1001, 72:25-27.

       76.    The 1:57 nucleic acid-lipid particle composition was also compared to

 the prior art 2:30 composition. Surprisingly, the 1:57 nucleic acid-lipid particle

 composition was “more than 10 times as efficacious as the 2:30 SNALP”

 composition in silencing gene expression in mouse liver when administered

 systemically. EX1001, Figure 3 (reproduced below). Remarkably, the 1:57 nucleic

 acid-lipid particle composition achieved these results at “a 10-fold lower dose”

 than the 2:30 composition. That is, even at a 10-fold lower dose, the claimed

 nucleic acid-lipid particle composition produced more gene silencing in vivo than

 the prior art composition.




 EX1001, FIG 3 (green highlighting added).

       77.    Dr. Janoff states that “[a]t most, [Example 4] established that the 1:57

 SNALP comprised of the specific species of lipid components and nucleic acid to


                                          -27-
                                                                             JA002421
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1144 of 1274 PageID #:
                                    9450



 lipid ratio disclosed, dosed as disclosed, outperformed the 2:30 SNALP comprised

 of the lipid species disclosed and dosed as disclosed.” EX1007 ¶85. Dr. Janoff

 further states that “given the disclosures in the ’435 patent, a POSITA would not

 expect all alternative data points falling within the recited numeric range to

 perform like the 1:57 SNALP.” EX1007 ¶112. These comments disregard the

 breadth of formulations tested. As discussed below, Examples 5 and 6 describe

 testing of additional formulations within the scope of claim 1 which also yield

 considerable levels of gene silencing in vivo. EX1001, 74:5-58. I discuss those

 results in further detail below.

       78.    Example 5 discloses the testing of seven formulations within the

 scope of claim 1. EX1001, 74:11-58, Table 6.




                                          -28-
                                                                             JA002422
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1145 of 1274 PageID #:
                                    9451



 EX1001, Table 6. Figure 4 displays the level of gene silencing following systemic

 administration of each of the seven formulations as compared to the performance

 of a control (i.e., PBS). A person of ordinary skill in the art would have expected

 these formulations to be ineffective — that is, produce levels of gene silencing

 similar to that of the control. EX1001, FIG. 4. Contrary to expectations, these

 formulations produce significant reductions in gene expression.




 EX1001, FIG 4.

       79.    Dr. Janoff states “Example 5 in the ’435 patent shows variation of the

 cationic lipid apparently impacts efficacy” and concludes that “[a] POSITA would

 understand these results to suggest that a preferred proportion for one cationic lipid

 (e.g., DLinDMA) does not necessarily apply to all other cationic lipids (e.g.,

 DODMA).” While there is some variation in the efficiency of formulations

 depending on which cationic lipid is used, (compare Group 4 (DODMA) with


                                          -29-
                                                                             JA002423
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1146 of 1274 PageID #:
                                    9452



 Group 2 (DLinDMA)), this does not take away from the conclusion that both

 DODMA and DLinDMA are unexpectedly efficacious.

       80.   Example 6 discloses the testing of 14 formulations within the scope of

 claim1 (i.e., 54 mol % to 68 mol % cationic lipid). EX1001, 74:11-58, Table 7.




 EX1001, Table 7. Figure 5 depicts the level of gene silencing activity achieved

 with the 14 formulations and compares this activity to the expected result — the

 performance of the PBS control.




                                        -30-
                                                                          JA002424
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1147 of 1274 PageID #:
                                    9453




 EX1001, FIG 5. Surprisingly, each of the nucleic acid-lipid particle compositions

 demonstrated significant levels of gene silencing. The ’435 patent notes “that the

 1:62 SNALP formulation was one of the most potent inhibitors of ApoB

 expression at two different lipid:drug ratios (i.e., 6.1 & 10.1) among the

 phospholipid-free SNALP formulations tested (see Groups 2 & 15).” EX1001,

 75:45-48.

       81.      In sum, the ’435 patent discloses data demonstrating nucleic acid-lipid

 particle compositions across the claimed range are unexpectedly well-tolerated and

 efficacious.

       C.       Claims 2-20
       82.      As an initial matter, the analysis of the dependent claims in the

 petition and Dr. Janoff’s declaration is often difficult to follow. For instance,


                                           -31-
                                                                               JA002425
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1148 of 1274 PageID #:
                                    9454



 Ground 1 alleges obviousness of claims 1-20, but many of the dependent claims

 include language that appears to invoke an unspecified anticipation theory. See,

 e.g., EX1007 ¶124 (“Given the breadth of the claimed range for the phospholipid,

 these disclosures are sufficiently specific to disclose the claimed range. In addition,

 given the explicit disclosure of encompassing ranges, this limitation is prima facie

 obvious.”). Additionally, most of the claims simply map disclosure without any

 explanation as to its significance. See, e.g., EX1007 ¶124. Finally, the dependency

 of claims is largely ignored therefore it is challenging to determine what theory of

 unpatentability is actually being advanced. See, e.g., EX1007 ¶125 (discussing

 claim 8 which depends from claims 1 and 5). I have done my best to respond to

 what seems to be the theory of unpatentability for each of the dependent claims.

       83.    It is my opinion that claims 2-20 are not obvious for the same reasons

 identified above with respect to claim 1. Additional discussion for some of claims

 2-20 is provided below.

              Claim 4. The nucleic acid-lipid particle of claim 1, wherein the
              cationic lipid comprises from 50 mol % to 65 mol % of the total
              lipid present in the particle.

       84.    Dr. Janoff merely refers to his discussion of the cationic lipid level

 recited and claim 1 and concludes:

       Given the breadth of the claimed range, the disclosures above are
       sufficiently specific to disclose the claimed range. Not only does the
       disclosed broader range substantially overlap with the claimed range,


                                          -32-
                                                                             JA002426
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1149 of 1274 PageID #:
                                    9455



       a preferred embodiment in the reference recites a narrower range that
       also partially overlaps. In addition, given the explicit disclosure of
       overlapping ranges, this limitation is prima facie obvious.
 EX1007 ¶121. I do not know what range Dr. Janoff asserts belongs to a “preferred

 embodiment.” Moreover, claim 4 recites a narrower range of cationic lipid than

 claim 1 — a range that is well represented by the tested range of cationic lipid

 and, in particular, a nucleic acid-lipid particle composition with 57 mol % cationic

 lipid was found unexpectedly well-tolerated and efficacious. See Section VIII.B.

 Thus, the nexus of the unexpected results and claim 4 is even stronger than it is for

 claim 1.

              Claim 5. The nucleic acid-lipid particle of claim 1, wherein the
              non-cationic lipid comprises a mixture of a phospholipid and
              cholesterol or a derivative thereof.

       85.    Neither the petition nor Dr. Janoff points to disclosure of nucleic acid-

 lipid particles with a mixture of phospholipid and cholesterol. Instead, reliance is

 placed on long lists of non-cationic lipids including phospholipids, sterols, and

 non-phosphorous containing lipids and generic ranges for non-cationic lipid and

 cholesterol. EX1007 ¶122 (citing EX1002 ¶¶89, 91). These paragraphs do not

 disclose nucleic acid-lipid particle compositions that contain a mixture of

 phospholipid and cholesterol. To the extent it is argued that a skilled artisan might

 select both lipid components for inclusion in a nucleic acid-lipid particle, I




                                          -33-
                                                                                JA002427
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1150 of 1274 PageID #:
                                    9456



 understand that an obviousness theory requires a reason to make such a

 combination and a reasonable expectation of success — both of which are absent.

       86.    Moreover, claim 5 requires a mixture of phospholipid and cholesterol

 such as that found in 1:57 nucleic acid-lipid particle compositions which are

 unexpectedly well-tolerated and efficacious. See Section VIII.B. Thus, the nexus of

 the unexpected results and claim 5 is even stronger than it is for claim 1.

              Claim 6. The nucleic acid-lipid particle of claim 5, wherein the
              phospholipid comprises dipalmitoylphosphatidylcholine (DPPC),
              distearoylphosphatidylcholine (DSPC), or a mixture thereof.
       87.    Dr. Janoff relies on a long list of non-cationic lipids for disclosure of

 DPPC and DSPC. EX1007 ¶123 (citing EX1002 ¶¶89, 128). It is unclear how the

 cited disclosure relates to the disclosure cited in the context of claims 1 and 5, from

 which claim 6 depends. To the extent that Dr. Janoff is arguing that a skilled

 artisan might select DPPC or DSPC from a long list of non-cationic lipids and

 incorporate one or both into a nucleic acid-lipid particle composition that includes

 cholesterol, I understand that such a theory requires a reason to make the

 formulation and a reasonable expectation of success — both of which are absent.

              Claim 7. The nucleic acid-lipid particle of claim 5, wherein the
              phospholipid comprises from 3 mol % to 15 mol % of the total
              lipid present in the particle.

       88.    As an initial matter, the ’196 PCT does not disclose a range for a

 phospholipid component, much less a range for a phospholipid component in a



                                          -34-
                                                                               JA002428
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1151 of 1274 PageID #:
                                    9457



 nucleic acid-lipid particle composition that includes cholesterol. Instead, Dr. Janoff

 arrives at the limitation through arithmetical manipulations of ranges of non-

 cationic lipid and cholesterol two different patent documents. EX1007 ¶124.

 Specifically, Dr. Janoff selects the 20% to 85% range of non-cationic lipid from

 the ’196 PCT and subtracts from this range the 20% to 45 % range of cholesterol

 disclosed in the ’618 patent. A person of ordinary skill in the art would not

 consider these calculations to amount to disclosure of a range of phospholipid.

 There is no basis to conclude that the ’196 PCT provides an “explicit disclosure”

 of a range of 0% to 20% phospholipid. EX1007 ¶124. Moreover, the 1:57 nucleic

 acid-lipid particle composition is encompassed by claim 7 and is unexpectedly

 well-tolerated and efficacious. See Section VIII.B. Thus, the nexus of the

 unexpected results and claim 7 is even stronger than it is for claim 1.

              Claim 8. The nucleic acid-lipid particle of claim 5, wherein the
              cholesterol or derivative thereof comprises from 30 mol % to 40
              mol % of the total lipid present in the particle.
       89.    As an initial matter, the ’196 PCT does not disclose a range for

 cholesterol in a formulation that includes phospholipid. Dr. Janoff relies on

 disclosure in the ’196 PCT of a range of 20 mol % to 45 mol % cholesterol.

 However, this is insufficient to make claim 8, which depends from claims 1 and 5,

 obvious. Dr. Janoff also relies on a lipoplex composition in the ’618 patent that

 contains 30% cholesterol. A person of ordinary skill in the art would not look to



                                          -35-
                                                                              JA002429
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1152 of 1274 PageID #:
                                    9458



 lipoplex compositions for guidance in making nucleic acid-lipid particle

 compositions. Moreover, the 1:57 nucleic acid-lipid particle composition is

 encompassed by claim 8 and is unexpectedly well-tolerated and efficacious. See

 Section VIII.B. Thus, the nexus of the unexpected results and claim 8 is even

 stronger than it is for claim 1.

              Claim 12. The nucleic acid-lipid particle of claim 1, wherein the
              conjugated lipid that inhibits aggregation of particles comprises
              from 1 mol % to 2 mol % of the total lipid present in the particle.
       90.    Neither the petition nor Dr. Janoff provides any reason to use the

 range of conjugated lipid of claim 12 in a nucleic acid-lipid particle composition

 with the claimed ranges of cationic and non-cationic lipid components. See

 EX1007 ¶¶119, 120. Any discussion of reasonable expectation of success is

 similarly missing. Moreover, claim 12 recites a narrower range of cationic lipid

 than claim 1 — a range that is well represented by the tested range of cationic lipid

 and, in particular, nucleic acid-lipid particle compositions with 57 mol % cationic

 lipid are unexpectedly well-tolerated and efficacious. See Section VIII.B. Thus, the

 nexus of the unexpected results and claim 12 is even stronger than it is for claim 1.

              Claim 13. The nucleic acid-lipid particle of claim 1, wherein the
              nucleic acid is fully encapsulated in the nucleic acid-lipid particle.
       91.    The petition and Dr. Janoff rely solely on one paragraph of the ’196

 PCT, which states “[i]n some embodiments, the siRNA molecule is fully

 encapsulated within the lipid bilayer of the nucleic acid-lipid particle such that the


                                          -36-
                                                                              JA002430
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1153 of 1274 PageID #:
                                    9459



 nucleic acid in the nucleic acid-lipid particle is resistant in aqueous solution to

 degradation by a nuclease.” EX1002 ¶11. Dr. Janoff provides no explanation for

 why a person of ordinary skill in the art would have had a reasonable expectation

 of success generating fully encapsulated nucleic acid-lipid particles that have a

 high level of cationic lipid and a low level of conjugated lipid. Among other issues,

 a person of ordinary skill in the art would have expected the claimed nucleic acid-

 lipid particle to be unstable and thus incapable of encapsulating nucleic acids.

              Claim 14. A pharmaceutical composition comprising a nucleic
              acid-lipid particle of claim 1 and a pharmaceutically acceptable
              carrier.
       92.    Dr. Janoff provides no explanation for why a person of ordinary skill

 in the art would have had a reasonable expectation of success generating a

 pharmaceutical composition of nucleic acid-lipid particles that have a high level of

 cationic lipid and a low level of conjugated lipid. As discussed above, a person of

 ordinary skill in the art would have expected the claimed particles to be prone to

 aggregation and to be unstable due to the combination of a high level of cationic

 lipid and a low level of conjugated lipid. Consequently, a person of ordinary skill

 in the art would not have expected to successfully generate a pharmaceutical

 composition.

              Claim 16. A method for the in vivo delivery of a nucleic acid, the
              method comprising: administering to a mammalian subject a
              nucleic acid-lipid particle of claim 1.



                                           -37-
                                                                               JA002431
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1154 of 1274 PageID #:
                                    9460



              Claim 17. A method for treating a disease or disorder in a
              mammalian subject in need thereof, the method comprising:
              administering to the mammalian subject a therapeutically
              effective amount of a nucleic acid-lipid particle of claim 1.

              Claim 18. The method of claim 17, wherein the disease or disorder
              is a viral infection.

              Claim 19. The method of claim 17, wherein the disease or disorder
              is a liver disease or disorder.

              Claim 20. The method of claim 17, wherein the disease or disorder
              is cancer.
       93.    Dr. Janoff does not include any discussion of reasonable expectation

 of success. However, the ’196 PCT teaches that nucleic acid-lipid particles for

 systemic use should have cationic lipid in the range of 5 mol % to 15 mol % —

 that is, much lower than the claimed range. As I discuss in detail above, a skilled

 artisan would have expected the claimed nucleic acid-lipid particles to be too toxic

 for in vivo administration. Thus, a person of ordinary skill in the art would not

 have had a reasonable expectation of success of obtaining nucleic acid-lipid

 particles suitable for administration to mammalian subjects.

 VIII. GROUND 2 – CLAIMS 1-20 ARE NOT OBVIOUS IN VIEW OF
       PATENT OWNER’S PRIOR DISCLOSURES IN LIGHT OF LIN
       AND/OR AHMAD
       94.    The petition alleges that Lin and Ahmad provide additional support,

 over “patent owner’s prior disclosures.” Although Ground 2 alleges that claims 1-

 20 are obvious, the petition materials only address the cationic lipid limitations of

 claims 1 and 4. Ground 2 lacks a plausible explanation as to why a person of


                                          -38-
                                                                             JA002432
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1155 of 1274 PageID #:
                                    9461



 ordinary skill in the art would want to combine disclosure regarding “lipoplexes”

 with nucleic acid-lipid particle technology as described in the ’196 PCT.

 Moreover, the statement in the petition materials that a skilled artisan would have

 had a reasonable expectation of success is conclusory, nonsensical, and appears to

 be based on a misapprehension of the prior art.

        95.    The petition materials state that “the Lin and Ahmad systems tested

 helper lipids and cationic lipids to create carrier particles for nucleic acids, i.e.,

 ‘nucleic acid-lipid particles,’ the same general carrier particles described in the

 Patent Owner’s prior disclosures.” Pet. 50. Lin and Ahmad are directed to

 lipoplexes. EX1002 ¶8 (defining “cationic liposome complex” as lipoplex);

 EX2007, 2:27-28 (same). Lipoplexes are not nucleic acid-lipid particles.

        96.    Lipoplexes are distinct from the claimed nucleic acid-lipid particles.

 Lipoplexes and nucleic acid-lipid particles have different lipid compositions. See,

 e.g., EX1002, ¶85 (explaining that nucleic acid-lipid particles “comprise a nucleic

 acid …, a cationic lipid, a noncationic lipid and a bilayer stabilizing component”);

 EX1005 at 2 (describing lipoplexes that comprise DNA and cationic and neutral

 lipids); EX1006 at 2-3 (same); EX1002 ¶¶6, 8 (contrasting lipoplexes and nucleic

 acid-lipid particle).

        97.    Lipoplexes and nucleic acid-lipid particles have different structures.




                                            -39-
                                                                                 JA002433
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1156 of 1274 PageID #:
                                    9462



       For example, liposomal bilayers form around encapsulated nucleic
       acids, thereby protecting the nucleic acids from degradation by
       environmental nucleases; lipoplexes, by contrast, do not encapsulate
       nucleic acids, and hence, cannot completely sequester them away
       from environmental nucleases. Moreover, liposomes can encapsulate,
       in their aqueous compartments, other bioactive agents in addition to
       nucleic acids; lipoplexes, by contrast, cannot because they do not
       encapsulate aqueous volume.
 EX2007, 2:54-62; see also EX2028, 122:1-24 (acknowledging distinction between

 lipoplexes and nucleic acid-lipid particles).

       98.    Lipoplexes are also functionally distinct and were known to be

 unsuitable for many applications. EX2007, 2:26-40 (explaining that “lipoplexes

 suffer from several major drawbacks when used in gene therapy, including low

 stability, high cytotoxicity, non-biodegradability, poor condensation and protection

 of DNA, serum sensitivity, large size and lack of tissue specificity.”); EX1002, ¶6;

 EX1005 at 3315; EX1008 at 5-6.

       99.    The ’196 PCT explicitly distinguishes lipoplexes from the nucleic

 acid-lipid particles described therein. Compare EX1002, ¶6 (“Cationic liposome

 complexes, however, are large, poorly defined systems that are not suited for

 systemic applications and can elicit considerable toxic side effects.”) with id., ¶2

 (“[T]he present invention is directed to using a small interfering RNA (siRNA)




                                          -40-
                                                                             JA002434
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1157 of 1274 PageID #:
                                    9463



 encapsulated in a serum-stable lipid particle having a small diameter suitable for

 systemic delivery.”).

       100. Dr. Janoff asserts that a person of ordinary skill in the art “a POSITA

 would have found it obvious to use the insights of Lin regarding increasing the

 cationic mole fraction of nucleic acid lipid particles to increase transfection

 efficiency and the disclosures of the Patent Owner’s prior disclosures regarding

 nucleic acid-lipid particles with a cationic lipid proportion greater than 50%.”

 EX1007 ¶142. I disagree. Because of the differences between lipoplexes and the

 claimed nucleic acid-lipid particles, a person of ordinary skill in the art would not

 have found teachings regarding lipoplexes to be relevant for the development of

 nucleic acid-lipid particle compositions.

       101. Moreover, the petition materials falsely assert that “[a] POSITA

 would understand the testing of Ahmad to support the proposition that for certain

 formulations, cationic lipids can increase transfection efficiency when they are

 incorporated above 50 mol%.” Pet. 49; EX1007 ¶139. But Ahmad discloses that

 transfection efficiencies for most lipoplexes are insensitive to cationic lipid

 increases over the range of 40 mol % to 80 mol % cationic lipid content. EX1006,

 Figure 3A. Similarly, Lin discloses that transfection efficiency for lipoplexes

 varies dramatically depending on which cationic lipid and non-cationic lipid are

 used. For example, the transfection efficiency of DOSPA/DOPC lipoplexes is



                                          -41-
                                                                              JA002435
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1158 of 1274 PageID #:
                                    9464



 insensitive over the range of 20 mol % to 100 mol % cationic lipid, EX1005,

 Figure 4A, and DOTAP/DOPE lipoplexes are insensitive to cationic lipid increases

 over the entire tested range (0 mol % to 70 mol %), EX1005 Figure 4D. If

 anything, Lin supports the unpredictability of lipid particle chemistries.

 Consequently, there is no teaching or suggestion in Lin or Ahmad to increase the

 cationic lipid component above 50% is beneficial.

       102. Lin and Ahmad further provide that the cationic lipid component of

 lipid particles should be minimized, regardless of whether used for in vitro or in

 vivo purposes. For example, Ahmad specifically teaches that the cationic lipid

 component should be minimized.

       A relatively low lipid/DNA charge ratio, therefore, can be considered
       optimal since it allows for achievement of maximum TE with the least
       amount of cationic lipid. This is due to the unexpected increase of σM∗
       with ρchg. Minimizing the amount of cationic lipid is desirable to
       reduce cost as well as potential toxic effects of the cationic lipid. In
       addition, achieving a given σM with fewer, more highly charged
       molecules should mean a smaller metabolic effort for the elimination
       of the lipids from the cell.
 EX1006 at 7 (emphasis added). This teaching is unequivocal and would not have

 been ignored by a person of ordinary skill in the art.

       103. The Board in its institution decision stated that:




                                          -42-
                                                                              JA002436
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1159 of 1274 PageID #:
                                    9465



       We do recognize that Ahmad is concerned with the toxicity of
       cationic lipids, but Ahmad noted that “with the amounts of cationic
       lipid employed in our in vitro experiments, we find no toxic effects on
       the cells as judged by cell morphology and the amount of total cellular
       protein.” Ex. 1006, 746. Because claim 1 is not limited to in vivo use
       of the claimed nucleic acid-lipid particle, the statement in Ahmad to
       which Patent Owner directs us concerning minimizing the amount of
       cationic lipid to avoid cost and toxicity, is not necessarily persuasive
       that Ahmad does not encourage increased amounts of cationic lipid in
       certain circumstances.
 Paper 15 at 31-32. I disagree. Ahmad states without qualification that cationic lipid

 should be minimized to avoid toxicity. EX1006 at 7, 9. Moreover, Ahmad does not

 qualify the conclusion that cationic lipid should be minimized even though no

 toxicity was observed in a single particular set of her experiments.

       104. Furthermore, the toxicity assay is not described in sufficient detail to

 meaningfully assess the results, and in any event, that in a single set of experiments

 “toxic effects” were not observed does not take away from Ahmad’s unequivocal

 teaching or the teaching of other prior art references consistent with Ahmad. E.g.,

 EX1008 at 5. Among other things, persons of ordinary skill in the art appreciated

 that in vitro toxicity is dependent on how and when it is measured. For example, if

 toxicity is measured too long after treatment with a toxic formulation, growth of

 the surviving cells will give the false impression that the formulation is not toxic.

 This is because surviving cells will continue to grow and, in time, replace those

                                          -43-
                                                                              JA002437
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1160 of 1274 PageID #:
                                    9466



 cells killed by the toxic formulation. A person of ordinary skill in the art would not

 ignore the problem of cytotoxicity based on a single unspecified observation to the

 contrary.

           105. In my opinion, as explained in further detail below, there would have

 been no good reason why a person of ordinary skill in the art would combine the

 different range disclosures for different lipid components from the ’196 PCT so as

 to arrive at the claimed nucleic acid-lipid particle. Nor would one reasonably

 expect such formulations to work. The petition materials fail to demonstrate

 otherwise.

           106. The petition materials state that “given the success of generating

 nucleic acid-lipid particles with a cationic lipid proportion greater than 50% as

 described in the Patent Owner’s prior disclosures, a POSITA would have

 appreciated a reasonable expectation of doing so.” EX1007 ¶141. However, this

 statement is confusing to me because neither the ’196 PCT nor the ’189 publication

 disclose nucleic acid-lipid particles with cationic lipid proportion greater than 50%.

 EX1002 ¶¶ 216, 223, 228, 232 (disclosing formulations of 7.5 mol % and 15 mol

 % cationic lipid); EX1003 ¶¶289, 291-293, 295, 303, 311, 319, 327, 335, 343, 351,

 361, 369, 377, 385 (disclosing formulations of 30 mol % and 40 mol % cationic

 lipid).




                                            -44-
                                                                              JA002438
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1161 of 1274 PageID #:
                                    9467



       107. Moreover, if anything, Lin and Ahmad strengthen the conclusion I

 arrived at in Ground 1 that a person of ordinary skill in the art would not have a

 reasonable expectation of success. For example, Ahmad expressly states that

 cationic lipid should be minimize to avoid toxicity and cost. EX1006 at 7.

 IX.   GROUND 3 – CLAIMS 1-20 ARE NEITHER ANTICIPATED BY
       NOR OBVIOUS IN VIEW OF THE ’554 PUBLICATION
       108. It is my opinion that the petition fails to demonstrate that claims 1-20

 of the ’435 patent are unpatenable in view of the ’554 publication.

       A.     Claim 1

              1.     Anticipation by L054
       109. The ’554 publication does not disclose the claimed nucleic acid-lipid

 particle composition, as claimed. First, L054 formulation of Table 4 is a lipid

 mixture for making particles, not a particle. Second, the petition fails to establish

 that L054-derived lipid particles would qualify as a nucleic-acid lipid particle as

 claimed, as there is no evidence that the L054-derived lipid particles encapsulate

 nucleic acid. Separately, the petition fails to establish that a L054-derived lipid

 particle of the ’554 publication is suitable for systemic delivery as required by

 claim 1.

       110. The challenged claims are directed to a nucleic acid-lipid particle.

 The L054 lipid formulation identified in Table 4 of the ’554 publication is a listing

 of lipid components or mixture of lipids used to form particles, not a nucleic acid-


                                          -45-
                                                                              JA002439
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1162 of 1274 PageID #:
                                    9468



 lipid particle as claimed. The petition materials confuse the composition of the

 input formulation (i.e., lipids of Table 4) with something different—i.e., the output

 formulation (i.e. lipid particles). There is no disclosure in the ’554 publication

 regarding the composition of particles generated using the L054 formulation. This

 is an important distinction because a person of ordinary skill in the art would not

 assume that the composition of a lipid particle will be exactly the same as the

 composition of the lipid formulation utilized as a mixture of lipids to make the

 particles. Testing of the finished particle composition is necessary to account for

 variations in the molar fractions of the lipid components in the starting lipid

 formulation compared to the molar fractions of the lipid components in the

 resulting particles. EX2012 at 7242 (“Perhaps surprisingly, however, the

 composition of CLDCs is not usually determined at all—rather, the composition is

 simply assumed to be defined by the identity and amounts of the components

 originally introduced. In the future, however, as gene therapy agents approach

 pharmaceutical reality, more rigorous criteria likely will be required.”); EX2013

 (FDA guidance) at 3 (recommending labeling with the “amount of each lipid

 component used in the formulation based on the final form of the product” and

 “[a]n expression of the molar ratio of each individual lipid to the drug substance is

 also recommended for each individual lipid in the finished formulation), 8

 (recommending reporting of “characteristics or attributes specific to the liposome



                                          -46-
                                                                             JA002440
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1163 of 1274 PageID #:
                                    9469



 formulation” including “[l]ipid content (to demonstrate consistency with the

 intended formulation).”).

       111. Experimental data presented in the ’435 patent illustrates that the

 input and output formulations are not identical. For example, the ’435 patent

 discloses that the lipid to drug ratio (i.e., lipid to nucleic acid ratio) calculated from

 the input components is not identical to that of the finished product. See, e.g.,

 EX1001, 79:50-80:9 (reporting different input and final lipid to drug ratios for

 SNALP formulations). I understand that Dr. Janoff agrees with this assessment.

 See EX2028, 155:2-25 (indicating that there could be a difference between input

 and output lipid-to-drug ratio).

       112. The ’554 publication further evidences that the input molar ratio of

 lipids is not identical to that of the finished product. For example, the ’554

 publication discloses that lipid particles made from the lipid mixtures in Table IV

 (e.g., L054) are “characterized in term of particle size, Zeta potential, alcohol

 content, total lipid content, nucleic acid encapsulated, and total nucleic acid

 concentration.” EX1004 ¶634. That is, lipid and nucleic acid content and Zeta

 potential (i.e., a measure of surface charge which relates to the amount of cationic

 lipid present in the particle) must be empirically determined and is not identical to

 the starting materials used to make the particles. See generally EX2013.




                                            -47-
                                                                                JA002441
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1164 of 1274 PageID #:
                                    9470



       113. The methods disclosed in the ’554 publication, including the

 identified detergent dialysis methods, would be expected to skew the molar ratio of

 lipids in the finished particles relative to the starting materials. For example,

 cholesterol-based detergents (e.g., BIGCHAP and deoxy-BIGCHAP) are biased

 toward extracting cholesterol. See EX1004 ¶165 (listing BIGCHAP and deoxy-

 BIGCHAP as examples of suitable detergents for use with the detergent dialysis

 method of particle formation). The predictable result of using cholesterol-based

 detergents is less cholesterol in the finished particles than in the starting materials.

 When less cholesterol is incorporated into nanoparticles, the molar ratio of the

 remaining components (i.e., cationic lipid, phospholipid, and conjugated lipid) is

 increased. I understand that Dr. Janoff agrees that cholesterol in the starting lipid

 mixture may not be quantitatively incorporated into finished particles. EX2028,

 157:12-158:16 (explaining how failure to recover cholesterol in a particle would

 change the amount of the remaining components).

       114. A similar situation would apply to organic solvent-based methods.

 That is, differences in solubility in organic solvent amongst the lipid components

 of the mixture will result in differential incorporation of components into

 nanoparticles.

       115. In the L054 example, while the lipid formulation is listed as

 50/20/28/2, the molar fractions of the same lipids in the resulting particle would be



                                           -48-
                                                                               JA002442
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1165 of 1274 PageID #:
                                    9471



 expected be different and presumably outside the scope of the challenged claims.

 The L054 lipid mixture has cationic lipid content and conjugated lipid content that

 are at the edge of the claimed ranges. Because L054 has cationic lipid content and

 conjugated lipid content on the edge of the claimed range, even small differences

 in incorporation of components will result in lipid particles that are outside the

 claimed range of cationic lipid content and conjugated lipid content. For example,

 if cholesterol is not quantitatively incorporated, see above, particles derived from

 the L054 lipid mixture would have more than 2 mol % conjugated lipid.

       116. Accordingly, the ’554 publication fails to disclose a lipid particle

 composition produced by the L054 lipid mixture that is within the scope of claim

 1.

       117. The petition materials fail to establish that the L054-derived

 nanoparticles encapsulate nucleic acid, as is required by claim 1. As discussed

 above, the term “nucleic acid-lipid particles” excludes particles that do not

 encapsulate nucleic acid. The encapsulation state of the nucleic acids in

 nanoparticles made with the L054 lipid mixture is unknown.

       118. To the extent that the ’554 publication discusses structure, it suggests

 that only serum-stable lamellar embodiments encapsulate nucleic acids.

       In one embodiment, the present invention provides a serum-stable
       formulated molecular composition … in which the biologically active
       molecule is encapsulated in a lipid bilayer and is protected from

                                          -49-
                                                                              JA002443
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1166 of 1274 PageID #:
                                    9472



       degradation (for example, where the composition adopts a lamellar
       structure).
 EX1004 ¶136; see also ¶316. As discussed above, the L054 embodiment has not

 been tested for serum stability and whether it adopts a lamellar structure that

 encapsulates the nucleic acid is similarly unknown.

       119. Encapsulation of nucleic acids cannot be assumed based on the

 composition and formulation method. I understand that Dr. Janoff agrees with me.

       However, neither of [the prior art] preparations were dialyzed against
       high salt buffers subsequent to liposome formation, the reported
       amounts of encapsulated DNA actually may include a significant
       percentage of unencapsulated DNA. Since [the prior art] liposomal
       formulations were not exposed to DNAase degradation to determine
       the percentage of DNA actually sequestered in the liposomes, the high
       reported amounts probably do not reflect actually encapsulated DNA.
 EX2007, 4:11-19. The ’554 publication does not disclose dialyzing nanoparticles

 made from the L054 lipid mixture against high salt buffers or exposing the

 preparation to DNAse degradation. Moreover, the ’554 publication does not

 disclose methods for determining encapsulation of nucleic acids.

       120. Moreover, as indicated above, Dr. Janoff opined that the lipid

 particles of the ’435 patent are SNALP. That is, the inventive lipid particles are

 serum stable nucleic acid-lipid particle that are “extremely useful for systemic




                                          -50-
                                                                             JA002444
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1167 of 1274 PageID #:
                                    9473



 applications” and “can exhibit extended circulation lifetimes following intravenous

 (i.v.) injection.” EX1001, 11:36-38.

       121. However, the petition and Dr. Janoff fail to address whether L054-

 derived nanoparticles are formulated for systemic administration. The ’554

 publication distinguishes between embodiments formulated for in vitro use and

 those formulated for in vivo use. See, e.g., EX1004 ¶¶136, 462. Furthermore, the

 ’554 publication stresses that serum-stability is a critical property of in vivo

 formulations. See, e.g., EX1004 ¶¶14, 15, 158. However, L054 was only tested in

 vitro. See EX1004 ¶395 (“FIG. 16 shows a non-limiting example of in vitro

 efficacy of siNA nanoparticles …”) (emphasis added). Specifically, the L054

 formulation was not evaluated for serum stability — a property identified as

 critical for embodiments formulated for systemic (in vivo) use. See EX1004 ¶¶158

 (providing a serum stability test “for determining whether a formulated molecular

 composition will be effective for delivery of a biologically active molecule into a

 biological system, …”), ¶592 (Example 7 Evaluation of Serum Stability of

 Formulated siNA Compositions). Furthermore, while another exemplary

 formulation (outside the scope of the ’435 claims) was tested in vivo, the L054

 formulation was not. EX1004 ¶596.

       122. Furthermore, a person of ordinary skill in the art would have expected

 particles derived from L054 to be too toxic for systemic use. Such a skilled artisan



                                           -51-
                                                                               JA002445
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1168 of 1274 PageID #:
                                    9474



 would have expected DMOBA, the cationic lipid used in the L054 lipid mixture

 (see Table IV), to be toxic. A person of ordinary skill in the art would have

 appreciated that the dimethylamino group on the aryl ring is a good leaving group

 upon protonation and, as such, has the potential to alkylate cysteines and lysines on

 cellular proteins. See EX1004, Table IV (DMOBA structure). Additionally,

 DMOBA would have been expected to accumulate in liver and spleen because the

 arylether groups make elimination through mammalian detoxification pathways

 more difficult. The resulting accumulation and protein modifications would result

 in organ toxicity rendering lipid particles using DMOBA inappropriate for

 systemic use.

       123. Accordingly, the petition materials fail to identify a nucleic acid-lipid

 particle within the scope of claim 1.

              2.    Anticipation by ranges

       124. The petition and Dr. Janoff assert that claim 1 is anticipated by ranges

 disclosed in the ’554 publication However, the petition and Dr. Janoff fail to

 demonstrate that a person of ordinary skill in the art would have understood the

 separate disclosures of ranges for the various components to represent a single

 formulation. Moreover, I understand that anticipation by ranges requires a factual

 inquiry into whether the ranges are disclosed with “sufficient specificity.” Such an

 inquiry is wholly absent from the petition and Dr. Janoff’s declaration.



                                         -52-
                                                                            JA002446
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1169 of 1274 PageID #:
                                    9475



       125. To the extent that these ranges are discussed, there is no explanation

 in the ’554 publication or Dr. Janoff’s declaration to indicate how the disclosed

 ranges for the three different components would represent or be combined into a

 single embodiment.

       126. For example, Dr. Janoff points to three paragraphs in the ’554

 publication for disclosure of ranges of lipid components. See EX1007 ¶¶146, 150,

 151. These paragraphs are reproduced in relevant part below.

       In one embodiment, the cationic lipid component …of a composition
       of invention comprises from about 2% to about 60%, from about 5%
       to about 45%, from about 5% to about 15%, or from about 40% to
       about 50% of the total lipid present in the formulation.
 EX1004 ¶116 (emphasis added).

       In one embodiment, the neutral lipid component of a composition of
       the invention comprises from about 5% to about 90%, or from about
       20% to about 85% of the total lipid present in the formulation.
 EX1004 ¶313 (emphasis added).

       In one embodiment, the PEG conjugate … of a composition of the
       invention comprises from about 1% to about 20%, or from about 4%
       to about 15% of the total lipid present in the formulation.
 EX1004 ¶118 (emphasis added).

       127. These paragraphs state that “in one embodiment” the cationic lipid

 component can span four different ranges. Further, “in one embodiment” the

 neutral lipid component can span two different ranges. Still further, “in one

                                         -53-
                                                                            JA002447
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1170 of 1274 PageID #:
                                    9476



 embodiment” the PEG conjugate can span two different ranges. There is no

 explanation in the ’554 publication or Dr. Janoff’s declaration to indicate how

 these eight different ranges for three different components would represent or be

 combined into a single embodiment. Moreover, as with L054-derived particles, the

 petition and Dr. Janoff fail to address whether any of the embodiments relied upon

 are suitable for systemic administration.

       128. Also absent is sufficient demonstration that ranges or examples relied

 upon in ’554 publication disclose the claimed range for “a conjugated lipid that

 inhibits aggregation of particles” (i.e., claim element 1(d)). The petition relies on

 paragraph ¶504 of the ’554 publication to support that it is “desirable to include

 other components” that serve to prevent aggregation. Pet. 55. The petition

 materials, however, fail to demonstrate or explain which, if any, specific

 embodiments in the ’554 publication includes conjugated lipid such that

 aggregation of particles is inhibited as claimed.

       129. Moreover, as with L054-derived particles, the petition and Dr. Janoff

 fail to address whether any of the embodiments relied upon are suitable for

 systemic administration.

       130. Furthermore, the petition and Dr. Janoff fail to demonstrate that a

 person of ordinary skill in the art would have understood the separate disclosures

 of ranges for the various components to represent a single formulation. For



                                          -54-
                                                                              JA002448
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1171 of 1274 PageID #:
                                    9477



 example, relevant to such an inquiry is an analysis as to the size of the prior art

 ranges and the differences between the prior art ranges and the claimed ranges. No

 such analysis was provided by Dr. Janoff — he merely asserts “[g]iven the breadth

 of the claimed range, these disclosures are sufficiently specific to anticipate the

 claimed range.” EX1007 ¶¶148, 150, 151.

       131. Based on my review of the size of the prior art ranges and the extent

 of the differences between the prior art ranges and the claimed ranges, it is my

 opinion that there are considerable differences between the prior art and claimed

 ranges. The ranges disclosed by the ’554 publication which Dr. Janoff cites are

 very broad, and thus the ’554 publication fails to provide the required sufficient

 specificity to anticipate the lipid component ranges of claim 1.

       132. Therefore, in my opinion, the lipid component ranges of the ’554

 publication do not anticipate the lipid component ranges of the claimed nucleic

 acid-lipid particle composition at least because the ranges disclosed by the ’554

 publication which Dr. Janoff cites are very broad, the ’554 publication and Dr.

 Janoff fail to indicate how these broad ranges arrive at the specific ranges recited

 in claim 1, and a person of ordinary skill in the art would not have understood the

 separate disclosures of ranges for the various components to represent a single

 formulation.




                                          -55-
                                                                              JA002449
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1172 of 1274 PageID #:
                                    9478



              3.     Obvious over ranges
       133. The claimed nucleic acid-lipid particle composition is not obvious in

 view the lipid component ranges of the ’554 publication. First, the ’554 publication

 fails to disclose the combination of the lipid components of the claimed nucleic

 acid-liposome particle. Second, a skilled artisan would have had no reason to

 combine individualized lipid components in the ’554 publication to arrive at the

 claimed nucleic acid-lipid particle. Third, the petition materials fail to address that

 a skilled artisan would have had no reasonable expectation of success that the

 claimed nucleic acid-lipid particle composition would be well-tolerated and

 efficacious. Finally, unexpected results further demonstrate the nonobvious nature

 of the claimed nucleic acid-lipid particle composition.

       134. To the extent that the petition and Dr. Janoff argue that the claims are

 obvious over the disclosed ranges of lipids in the ’554 publication, this argument

 fails for the same reasons as discussed in Ground 1. That is, the petition materials

 rely on generic disclosure of ranges for individual lipid components that may be

 used in lipid particle compositions. But a person of ordinary skill in the art knew

 that the properties of lipid particle compositions (e.g., cytotoxicity and efficacy)

 derive from the entire composition (i.e., cationic, non-cationic, and conjugated

 lipids), rather than the individual lipid components. Given the interdependent

 nature of the components of the claimed nucleic acid-lipid particle composition,



                                          -56-
                                                                               JA002450
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1173 of 1274 PageID #:
                                    9479



 the petition’s per-limitation approach to addressing the levels of cationic, non-

 cationic, and conjugated lipids is inadequate.

       135. Moreover, “a conjugated lipid that inhibits aggregation of particles” is

 required by the challenged claims (i.e., claim element 1(d)). The petition materials,

 however, rely on paragraph ¶504 of the ’554 publication for the proposition that it

 is “desirable to include other components” that serve to prevent particle

 aggregation. EX1007 ¶151. The petition materials, however, fail to demonstrate or

 explain which, if any, specific embodiments in the ’554 publication includes a

 conjugated lipid such that aggregation of particles is inhibited as claimed.

       136. Lastly, it is my understanding that a claim is only obvious if a person

 of ordinary skill in the art would have had some motivation to modify the cited

 reference, and a reasonable expectation of success in doing so. Dr. Janoff does not

 discuss these aspects. However, it is my opinion that there would not have been

 any motivation to modify the cited disclosures of the ’554 publication. As already

 discussed, the state of the art was unequivocal that a high level of cationic lipid

 should be avoided, and that much higher levels of conjugated lipids should be

 used. To the extent that Dr. Janoff is suggesting that a person of ordinary skill in

 the art could simply vary the concentrations of each component until they arrived

 at the claimed invention, I disagree. The field of art is unpredictable. Furthermore,




                                          -57-
                                                                                JA002451
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1174 of 1274 PageID #:
                                    9480



 there was no guidance whatsoever that would suggest to a skilled artisan to

 increase the cationic lipid levels while decreasing the conjugate lipid levels.

        137. It is also my opinion that there would not have been any reasonable

 expectation of success. As discussed, a person of ordinary skill in the art would not

 have expected lipid particle formulations that departed so drastically from the

 instructions in the prior art to successfully exhibit any efficacy (e.g., gene

 silencing). The expected result of using the claimed lipid particle formulations

 would have been little to no efficacy, accompanied by a host of unwanted side

 effects — e.g., toxicity, in vivo aggregation, and immunogenicity

        B.     Claims 2-20
        138. According to the petition, claims 1-20 are being challenged under

 anticipation and obviousness theories. However, only a handful of claims

 unambiguously identify both an anticipation and obvious theory.

     Claim                                    Theory

 2, 3, 5, 6,   From these disclosures, a POSITA would appreciate that the claim

 9, 13-20      limitation is expressly disclosed. EX1007 ¶¶153, 154, 156, 157, 161,

               165-172.

 4             [G]iven the explicit disclosure of overlapping ranges, this limitation

               is prima facie obvious. EX1007 ¶155.




                                           -58-
                                                                                  JA002452
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1175 of 1274 PageID #:
                                    9481



     Claim                                    Theory

 7           Given the breadth of the claimed range for the phospholipid, these

             disclosures are sufficiently specific to anticipate the claimed range.

             EX1007 ¶158. This limitation is prima facie obvious. EX1007 ¶159.

 8           Given the breadth of the claimed range, these disclosures are

             sufficiently specific to anticipate the claimed range. Moreover, given

             the explicit disclosure of an encompassing range, this limitation is

             prima facie obvious. EX1007 ¶160.

 10          Because one of the listed species of PEG-lipid conjugates is

             disclosed, this element is anticipated. EX1007 ¶162.

 11          This limitation would have been obvious in view of the ’554

             publication in light of the knowledge of a POSITA. EX1007 ¶163.

 12          For the reasons stated above, the ’554 publication discloses this

             range with sufficient specificity to anticipate. In the alternative, this

             range is prima facie obvious given the overlapping range in the ’554

             publication. EX1007 ¶164.


        139. Additionally, most of the claims simply map disclosure without any

 explanation as to its significance. See, e.g., EX1007 ¶160. Finally, the dependency

 of claims is largely ignored therefore it is challenging to determine what theory of

 unpatentability is actually being advanced. See, e.g., EX1007 ¶160 (discussing

                                          -59-
                                                                               JA002453
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1176 of 1274 PageID #:
                                    9482



 claim 8 which depends from claims 1 and 5). I have done my best to respond to

 what seems to be the theory of unpatentability for each of the dependent claims.

              Claim 4. The nucleic acid-lipid particle of claim 1, wherein the
              cationic lipid comprises from 50 mol % to 65 mol % of the total
              lipid present in the particle.
       140. Dr. Janoff presents no independent argument for claim 4, but rather

 refers back to his discussion of claim 1. For the same reasons as claim 1, the

 petition and Dr. Janoff fail to demonstrate the unpatentability of claim 4. Moreover,

 claim 4 recites a narrower range of cationic lipid than claim 1 — a range that is

 well represented by the tested range of cationic lipid and, in particular, nucleic

 acid-lipid particle compositions with 57 mol % cationic lipid which are

 unexpectedly well-tolerated and efficacious. See Section VIII.B. Thus, the nexus of

 the unexpected results and claim 4 is even stronger than it is for claim 1.

       141. Accordingly, the ’554 publication neither anticipates nor makes

 obvious claim 4.

              Claim 5. The nucleic acid-lipid particle of claim 1, wherein the
              non-cationic lipid comprises a mixture of a phospholipid and
              cholesterol or a derivative thereof.
       142. Dr. Janoff appears to suggest that claim 5 is anticipated by the L054

 formulation. EX1007 ¶156 (citing EX1004 Table IV). As I discussed above, L054

 does not anticipate claim 1 and therefore cannot anticipate claim 5.




                                          -60-
                                                                               JA002454
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1177 of 1274 PageID #:
                                    9483



       143. To the extent that Dr. Janoff is asserting an anticipation theory based

 on disclosure in paragraphs 85 and 455, he provides no guidance for why a person

 of ordinary skill in the art would select a mixture of cholesterol and phospholipid

 from long lists of non-cationic lipids which include phospholipids,

 nonphosphorous containing lipids, and sterols.

       144. To the extent that Dr. Janoff is presenting an obviousness theory, I

 understand that to require a reason to combine these disclosures and a reasonable

 expectation of success — both of which are absent. Moreover, claim 5 requires a

 mixture of phospholipid and cholesterol such as that found in 1:57 formulations

 which are unexpectedly well-tolerated and efficacious. See Section VIII.B. Thus,

 the nexus of the unexpected results and claim 5 is even stronger than it is for claim

 1.

       145. Accordingly, the ’554 publication neither anticipates nor makes

 obvious claim 5.

              Claim 6. The nucleic acid-lipid particle of claim 5, wherein the
              phospholipid comprises dipalmitoylphosphatidylcholine (DPPC),
              distearoylphosphatidylcholine (DSPC), or a mixture thereof.

       146. Dr. Janoff states that “a POSITA would appreciate that the claim

 limitation is expressly disclosed” in paragraph 85 of the ’554 publication.

       Suitable neutral lipids include those comprising any of a variety of
       neutral uncharged, zwitterionic or anionic lipids capable of
       producing a stable complex. They are preferably neutral, although


                                         -61-
                                                                               JA002455
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1178 of 1274 PageID #:
                                    9484



       they can alternatively be positively or negatively charged. … [list of
       neutral lipids].
 EX1004 ¶85. To the extent that Dr. Janoff is expressing an anticipation theory, I

 understand that picking and choosing claim elements from a prior art disclosure is

 not proper. To the extent that he is arguing that the claim is obvious, I understand

 that such a theory requires a reason to combine and reasonable expectation of

 success — both of which are absent.

       147. Accordingly, the ’554 publication neither anticipates nor makes

 obvious claim 6.

              Claim 7. The nucleic acid-lipid particle of claim 5, wherein the
              phospholipid comprises from 3 mol % to 15 mol % of the total
              lipid present in the particle.
       148. Dr. Janoff appears to be alleging that claim 7 is anticipated or obvious

 over paragraph 455, which is a long list of neutral lipid components and generic

 ranges for neutral lipids and cholesterol disclosed in paragraphs 117-119 of the

 ’554 publication. Dr. Janoff arrives at the “disclosure” of 3 mol % to 15 mol %

 phospholipid through a series of unexplained assumptions and mathematical

 manipulations. Dr. Janoff selects the 20% to 85% range of neutral lipid and the

 20% to 45 % range of cholesterol from the paragraphs below.

       In one embodiment, the neutral lipid component of a composition of
       the invention comprises from about 5% to about 90%, or from about
       20% to about 85% of the total lipid present in the formulation.



                                         -62-
                                                                             JA002456
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1179 of 1274 PageID #:
                                    9485



       In one embodiment, the PEG conjugate (i.e., PEG-DAG, PEG-
       cholesterol, PEG-DMB) of a composition of the invention comprises
       from about 1% to about 20%, or from about 4% to about 15% of the
       total lipid present in the formulation.
       In one embodiment, the cholesterol component of a composition of
       the invention comprises from about 10% to about 60%, or from about
       20% to about 45% of the total lipid present in the formulation.
 EX1004 ¶¶117-119. Dr. Janoff then concludes:

       When cholesterol is present, the range for a phospholipid is thus 0-
       40%. Not only does the disclosed range encompass the claimed range,
       when combined with a cationic lipid proportion in the 60% range and
       cholesterol in the 20-40% range, the range for the phospholipid is
       decreased to 0%-20%. Given the breadth of the claimed range for the
       phospholipid, these disclosures are sufficiently specific to anticipate
       the claimed range.
 EX1007 ¶158. I do not understand this argument. There is just no basis to conclude

 that the ’554 publication “discloses” a range of 0% to 40% or 0% to 20%

 phospholipid.

       149. Moreover, 1:57 nucleic acid-lipid particle compositions are

 encompassed by claim 7 and are unexpectedly well-tolerated and efficacious. See

 Section VIII.B. Thus, the nexus of the unexpected results and claim 7 is even

 stronger than it is for claim 1.

       150. Accordingly, the ’554 publication neither anticipates nor makes

 obvious claim 7.

                                          -63-
                                                                              JA002457
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1180 of 1274 PageID #:
                                    9486



              Claim 8. The nucleic acid-lipid particle of claim 5, wherein the
              cholesterol or derivative thereof comprises from 30 mol % to 40
              mol % of the total lipid present in the particle.
       151. As an initial matter, claim 8 depends from claims 1 and 5. One of the

 anticipation theories presented in claim 5 was based on the L054 lipid mixture,

 which has 28 mol % cholesterol and therefore cannot be used to make particles

 with 30 mol % to 40 mol % cholesterol as recited in claim 8. The other anticipation

 theory in claim 5 was based on disclosure in paragraphs 85 and 455 which recite

 long lists of non-cationic lipids. I do not understand the relevance of paragraph

 119, which recites ranges of cholesterol, to an anticipation theory. Among other

 reasons, this paragraph does not address the phospholipid content required by

 claim 5.

       152. Dr. Janoff also argues that paragraph 119 represents “an

 encompassing range” and therefore the claim is prima facie obvious. But again,

 claim 8 depends from claim 5 which requires a mixture of phospholipid and

 cholesterol. This “encompassing range” for cholesterol does not make any mention

 of phospholipid. Furthermore, a reason to combine these disclosures and

 reasonable expectation of success are absent from Dr. Janoff’s analysis.

       153. Dr. Janoff also argues that “the ’554 publication also includes various

 specific formulations which include cholesterol at a 30% proportion. Id., Table 4

 (e.g., L106).” First, L106 is a lipid mixture and not a nucleic acid-lipid particle.



                                          -64-
                                                                              JA002458
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1181 of 1274 PageID #:
                                    9487



 Second, even if particles were made from L106, these particles would not meet the

 limitations of claim 8 which depends from claims 1 and 5. L106 has 3%

 conjugated lipid, which is well above the range of claim 1 (i.e., 0.5% to 2%).

 Further L106 does not “comprise[] a mixture of a phospholipid and cholesterol or a

 derivative thereof” as required by claim 5. L106, as with the other examples from

 the ’554 publication with 30% cholesterol, do not meet the limitations of claim 8.

       154. Moreover, 1:57 nucleic acid-lipid particle compositions are

 encompassed by claim 8 and are unexpectedly well-tolerated and efficacious. See

 Section VIII.B. Thus, the nexus of the unexpected results and claim 8 is even

 stronger than it is for claim 1.

       155. Accordingly, the ’554 publication neither anticipates nor makes

 obvious claim 8.

              Claim 11. The nucleic acid-lipid particle of claim 10, wherein the
              PEG-DAA conjugate comprises a PEG-dimyristyloxypropyl
              (PEG-DMA) conjugate, a PEG-distearyloxypropyl (PEG-DSA)
              conjugate, or a mixture thereof.

       156. Dr. Janoff admits, that the ’554 publication does not disclose a PEG-

 dialkyloxypropyl (PEG-DAA) conjugates as required in claim 11 and thus the ’554

 publication does not anticipate claim 11.

       157. Dr. Janoff alleges that “[a] POSITA would have been aware that PEG-

 dialkyloxypropyl (PEG-DAA) conjugates could be used in lieu of PEG-

 diacylglycerol (PEG-DAG) conjugates.” EX1007 ¶163. Dr. Janoff points to


                                         -65-
                                                                           JA002459
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1182 of 1274 PageID #:
                                    9488



 EX1014 as the “’910 publication” and states that it discloses PEG-DAA

 conjugates. I do not know what EX1014 is, but it is not the ’910 publication.

 Regardless, Dr. Janoff’s argument is based on the false assumption that PEG-DAG

 and PEG-DAA conjugates are interchangeable. This is not the case. PEG-DAG

 conjugates have an ester moiety linking the acyl chains (R1 and R2 in the figure) to

 the backbone whereas PEG-DAA conjugates have an ether moiety linking the acyl

 chains to the backbone. See EX1001, 53:53-54:14 (inset). As compared to PEG-

 DAA conjugates, PEG-DAG conjugates are more hydrophilic which directly

 impacts the physical properties of the particles. Moreover, PEG-DAG conjugates

 are more easily metabolized by cells. A skilled artisan would not consider PEG-

 DAG and PEG-DAA conjugates to be equivalent or interchangeable.




                           PEG-DAG                PEG-DAA

       158. Accordingly, the ’554 publication neither anticipates nor makes

 obvious claim 11.




                                         -66-
                                                                            JA002460
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1183 of 1274 PageID #:
                                    9489



              Claim 12. The nucleic acid-lipid particle of claim 1, wherein the
              conjugated lipid that inhibits aggregation of particles comprises
              from 1 mol % to 2 mol % of the total lipid present in the particle.
       159. Dr. Janoff presents no independent argument for claim 12, but rather

 refers back to his discussion of claim 1. For the same reasons as claim 1, the

 petition and Dr. Janoff fail to demonstrate the unpatentability of claim 12.

 Moreover, claim 12 recites a narrower range of cationic lipid than claim 1 — a

 range that is well represented by the tested range of cationic lipid and, in

 particular, nucleic acid-lipid particle composition with 57 mol % cationic lipid are

 unexpectedly well-tolerated and efficacious. See Section VIII.B. Thus, the nexus of

 the unexpected results and claim 12 is even stronger than it is for claim 1.

              Claim 13. The nucleic acid-lipid particle of claim 1, wherein the
              nucleic acid is fully encapsulated in the nucleic acid-lipid particle.
       160. Dr. Janoff alleges that “a POSITA would understand that full

 encapsulation requires only an excess of cationic lipid with regard to the nucleic

 acid for electrostatic interaction.” EX1007 ¶165. I disagree. Encapsulation is only

 determined by testing and cannot be inferred from the composition or production

 method. I understand that Dr. Janoff’s shares my views. As he disclosed in one of

 his own patents:

       Additionally, [two prior art references] report encapsulation of 1-4
       micrograms per micromole of spermine-condensed SV40 plasmid
       DNA in liposomes. However, neither of their preparations were
       dialyzed against high salt buffers subsequent to liposome formation,

                                          -67-
                                                                                JA002461
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1184 of 1274 PageID #:
                                    9490



       the reported amounts of encapsulated DNA actually may include a
       significant percentage of unencapsulated DNA. Since these liposomal
       formulations were not exposed to DNAase degradation to determine
       the percentage of DNA actually sequestered in the liposomes, the high
       reported amounts probably do not reflect actually encapsulated DNA.
 EX2007 (Janoff) 4:15-19. Dr. Janoff’s statements about full encapsulation are

 remarkably similar to how the term is defined in the ’435 patent.

       The term “fully encapsulated” indicates that the active agent or
       therapeutic agent in the lipid particle is not significantly degraded
       after exposure to serum or a nuclease or protease assay that would
       significantly degrade free DNA, RNA, or protein. In a fully
       encapsulated system, preferably less than about 25% of the active
       agent or therapeutic agent in the particle is degraded in a treatment
       that would normally degrade 100% of free active agent or therapeutic
       agent, more preferably less than about 10%, and most preferably less
       than about 5% of the active agent or therapeutic agent in the particle is
       degraded.
 EX1001, 23:5-15. That is, full encapsulation requires a determination that the

 nucleic acid is protected from nuclease degradation.

       161. Dr. Janoff does not point to a nuclease degradation assay in the ’554

 publication — because there is no such disclosure. Instead he alleges that

 encapsulation finds support in paragraph 11.

       The encapsulation of anionic compounds using cationic lipids is
       essentially quantitative due to electrostatic interaction. In addition, it



                                          -68-
                                                                               JA002462
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1185 of 1274 PageID #:
                                    9491



       is believed that the cationic lipids interact with the negatively charged
       cell membranes initiating cellular membrane transport (Akhtar et al.,
       1992, Trends Cell Bio., 2, 139; Xu et al., 1996, Biochemistry 35,
       5616).
 EX1004 ¶11. This paragraph is describing prior art formulations and not

 embodiments of the ’554 publication. Additionally, paragraph 11 is describing

 prior art cationic liposome-DNA complexes (i.e., lipoplexes). I understand that Dr.

 Janoff asserts that lipoplexes do not encapsulate nucleic acids. EX2007, 2:54-59.

 (“[L]iposomal bilayers form around encapsulated nucleic acids, thereby protecting

 the nucleic acids from degradation by environmental nucleases; lipoplexes, by

 contrast, do not encapsulate nucleic acids, and hence, cannot completely sequester

 them away from environmental nucleases.”). I do not understand why Dr. Janoff

 suggests paragraph 11 is relevant to the limitation of claim 13.

       162. Accordingly, the ’554 publication neither anticipates nor makes

 obvious claim 13.

              Claim 14. A pharmaceutical composition comprising a nucleic
              acid-lipid particle of claim 1 and a pharmaceutically acceptable
              carrier.

       163. With respect to claim 14, Dr. Janoff points to disclosure of a

 pharmaceutical carrier and summarily concludes that this limitation is “expressly

 disclosed.” EX1007 ¶162. As I discussed above, claim 1 is not anticipated under

 any theory nor are any claims depending from claim 1.



                                         -69-
                                                                             JA002463
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1186 of 1274 PageID #:
                                    9492



       164. To the extent that Dr. Janoff is presenting an obviousness theory, I

 understand that it requires a reason to combine and reasonable expectation of

 success — both of which are absent.

              Claim 16. A method for the in vivo delivery of a nucleic acid, the
              method comprising: administering to a mammalian subject a
              nucleic acid-lipid particle of claim 1.

              Claim 17. A method for treating a disease or disorder in a
              mammalian subject in need thereof, the method comprising:
              administering to the mammalian subject a therapeutically
              effective amount of a nucleic acid-lipid particle of claim 1.

              Claim 18. The method of claim 17, wherein the disease or disorder
              is a viral infection.

              Claim 19. The method of claim 17, wherein the disease or disorder
              is a liver disease or disorder.

              Claim 20. The method of claim 17, wherein the disease or disorder
              is cancer.
       165. As I discussed above, the ’554 publication neither anticipates nor

 makes obvious the nucleic acid-lipid particles of claim 1. Therefore, any method

 that claims the in vivo delivery of the nucleic acid-lipid particles of claim 1 is

 similarly not anticipated and not obvious over the ’554 publication.

       166. A person of ordinary skill in the art would not find it obvious to

 administer the nanoparticles of the ’554 publication to mammalian subjects in

 vivo. This is because a skilled artisan would have expected the disclosed

 nanoparticles to be too toxic for in vivo administration. More particularly, a skilled

 artisan would have expected DMOBA and DMLBA (see Table IV) to be toxic. A


                                          -70-
                                                                              JA002464
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1187 of 1274 PageID #:
                                    9493



 person of ordinary skill in the art would have appreciated that the dimethylamino

 group on the aryl ring is a good leaving group upon protonation and, as such, has

 potential to alkylate cysteines and lysines on cellular proteins. Additionally,

 DMOBA and DMLBA would have been expected to accumulate in liver and

 spleen because the arylether groups make elimination through mammalian

 detoxification pathways more difficult. The resulting accumulation and protein

 modifications would result in organ toxicity rendering lipid particles using

 DMOBA and DMLBA inappropriate for systemic use.

       167. In sum, a person of ordinary skill in the art would not have been

 motivated to administer the nanoparticles of the ’554 publication to mammalian

 subjects. And, consequently, claims 16-20 are not obvious.

 X.    OBJECTIVE INDICIA OF NONOBVIOUSNESS
       168. The nucleic acid-lipid particle formulations of the ’435 patent solved a

 long-felt need for compositions that could safely and effectively deliver nucleic

 acids to target cells of patients. Skilled artisans were skeptical that compositions

 having high levels of cationic lipid (i.e., 50 mol % to 85 mol %) and low levels of

 conjugated lipid (i.e., 0.5 mol % to 2 mol %) would be effective and well-tolerated

 when administered in vivo. The combination of effectiveness and low toxicity that

 characterizes the claimed compositions surprised many in the field, including me.

 Finally, the unique properties of the claimed nucleic acid-lipid particle



                                          -71-
                                                                              JA002465
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1188 of 1274 PageID #:
                                    9494



 formulations solved the delivery problem that hindered the field of siRNA drugs.

 Onpattro™, a first in class siRNA drug was recently approved for use in the United

 States and Europe and is a nucleic acid-lipid particle composition within the scope

 of claim 1.

       169. My opinion that the challenged claims of the ’435 patent are not

 obvious in view of the prior art, as set forth above, is not dependent on objective

 indicia of nonobviousness. However, such objective indicia further support the

 conclusion that the challenged claims would not have been obvious to a person of

 ordinary skill in the art at the time of the invention.

       A.      Long-felt need
       170. In 1998, it was discovered that double-stranded RNA molecules could

 mediate a sequence-specific destruction of mRNA in the model organism, C.

 elegans. EX2011 (ACS) at 41. This phenomenon was dubbed RNA interference or

 RNAi. A few years later, RNAi was shown to work in mammalian cells but only if

 the size of the double-stranded RNA was limited to 21-23 nucleotides. The

 biomedical potential of targeted destruction mammalian mRNAs was immediately

 appreciated. Fire and Mello were awarded the Nobel Prize in Physiology in 2006

 for their discovery of RNAi. EX2011 at 41.

       171. RNAi can be used to selectively disable mRNAs in mammalian cells

 and thereby silence expression of a protein (e.g., an aberrant protein causing



                                           -72-
                                                                             JA002466
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1189 of 1274 PageID #:
                                    9495



 disease). However, a major challenge in bringing RNAi to the clinic was delivery

 of the small interfering (“siRNA”) to cells. EX2011 at 38 (“[P]hysical delivery of

 the drugs to diseased cells is extremely challenging.”). In 2003, for example, Dr.

 Phillip Sharp, Nobel Laureate and co-founder of Alnylam Pharmaceuticals, was

 asked about the challenges that lie ahead for RNAi drugs he answered “Delivery,

 delivery, delivery.” EX2014 at 11. Dr. Phillip Zamore, co-Founder of Alnylam

 Pharmaceuticals, shared Dr. Sharp’s concern about delivery. EX2011 at 42.

       172. Delivery of RNAi to cells in vivo was widely regarded as a major

 challenge in the field. For instance, Dr. Anastasia Khvorova, Director of Biology at

 Dharmacon, acknowledged that the delivery systems developed prior to 2003 for

 antisense-based nucleic acid drugs were not promising for delivery of RNA drugs.

       Khvorova believes that the medical benefits of RNAi will be huge if
       the delivery issues can be resolved. “But we’ve looked at a lot of the
       delivery methods that have been used for antisense, and so far I
       haven’t been impressed,” she says.
 EX2014 at 11.

       173. The mid-2000’s (i.e., 2005-2008) saw dramatic growth and

 investment in RNAi-based therapeutics. A number of large pharmaceutical

 companies entered the RNAi space through acquisition of biotechnology

 companies that owned the intellectual property rights to various siRNA molecules,

 such as Merck’s acquisition of Sirna Therapeutics. Yet, despite $2.5-3.5 billion in



                                         -73-
                                                                            JA002467
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1190 of 1274 PageID #:
                                    9496



 investment, no solution for the delivery problem had been found. EX2015 at 1. In

 fact, all four RNAi drugs in clinical trials at this time were naked RNA — that is,

 the siRNA was administered without a delivery vehicle. None of those four RNAi

 drugs in clinical trial were ultimately successful.

       174. By 2008, the industry-wide failure to identify a solution to the

 delivery challenge resulted in waning confidence that RNAi could deliver on its

 therapeutic promise. The large pharmaceutical companies that had entered the

 RNAi space just a few years prior, began searching for delivery solutions by

 acquiring nascent delivery technologies and developing in-house delivery

 programs. EX2015 at 2 (“Big Pharma quickly realized the mistake of putting IP

 before enablement as they scrambled to scout for delivery technologies and found

 the majority of them not to live up to their claims.”), 10 (“Big Pharma may also

 have relied too much on assurances by pure-play companies that delivery

 technologies were more mature than they really were.”). Much of the delivery

 technologies identified around this time were inferior to Patent Owner’s SNALP

 technology. EX2015 at 10 (“It is interesting for example that Roche’s Factor VII

 patent application (WO 2010/055041) features Alnylam’s ‘lipidoid’ technology for

 the rodent studies, but then switched to Tekmira’s SNALP liposomes for the

 nonhuman primate part of the patent application.”).




                                          -74-
                                                                            JA002468
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1191 of 1274 PageID #:
                                    9497



       175. Prior to the first publication of the ’435 patent disclosure, Alan Sachs,

 leader of RNA Therapeutics at Merck, identified delivery as the challenge to

 successfully developing RNAi drugs.

       I have no doubt that RNAi, if it hasn’t already, will absolutely
       demonstrate efficacy. It’s an incredible drug. What’s interesting about
       what we do is that the drug isn’t the problem. It’s the delivery of it.
 EX2016 at 7.

       176. Dr. Sachs indicated that while there were a large number of delivery

 technologies available in mid-2009, few had been tested systemically in a relevant

 animal model.

       We have a graph we’ve disclosed which represents the number of
       opportunities we have looked at to do exactly what you describe,
       which is collaborate, particularly in the delivery space to advance this
       field. We are fully funded to do that, not just the evaluation, but the
       actual work. And what’s really disappointing is that when you look at
       that graph, which is current as of mid-2009, there were 250-260
       interesting opportunities, and there are really only two or three which
       have data that’s valuable—meaning they have data from non-human
       primates.
 EX2016 at 4. As explanation for the lack of viable delivery chemistries, Dr. Sachs

 elaborated on the nature of the challenge.

       There’s a lot of hype, and there’s a lot of ideas. But it’s not a
       straightforward problem. Injecting something in the bloodstream,
       leading to something appearing in the cytoplasm in the RNA-silencing

                                          -75-
                                                                                 JA002469
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1192 of 1274 PageID #:
                                    9498



       complex, there are a lot of black boxes between those two steps.
       People who are entering the field start with a white paper. It’s much
       like people who started on targeted therapeutics years ago started with
       a white paper. If it were so easy, one would have to describe why so
       few examples exist. The same is true in the RNAi delivery process.
       You can write down the steps. You can write down what you think
       will happen. But then you have to put it in a 50-nanometer particle
       that’s safe and potent to deliver.
 Id.

       177. The long-felt need for a siRNA delivery vehicle and the difficulty in

 finding a solution is further exemplified by the effort and money that Patent Owner

 invested into SNALP technology.

       [I]t took Tekmira 500 person-years and over US$200M to turn a
       single technology, SNALP, into the prolific drug development engine
       it is today.
 EX2015 at 8.

       178. Prior to the nucleic acid-lipid particles disclosed in the ’435 patent,

 there were no proven solutions to the delivery problem.

       B.     Skepticism

       179. It was widely believed that cationic lipid content should be minimized

 to avoid cytotoxicity, aggregation, and unwanted interactions with the immune

 system and non-target cells.




                                            -76-
                                                                             JA002470
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1193 of 1274 PageID #:
                                    9499



       180. For example, Dr. Zamore of Alnylam, acknowledged that various

 cationic lipid formulations could successfully deliver siRNA to cells in vitro but

 stated that “I wouldn’t want anyone injecting cationic lipids into my bloodstream.”

 EX2011 at 42.

       181. Dr. Sachs of Merck also expressed skepticism as to the safety of the

 SNALP platform for delivery of siRNA.

       First are lipid-based delivery systems. At the time of our acquisition
       of Sirna, they had successfully shown lipid-based delivery to the liver.
       Initially, it was through a collaboration with what is now called
       [Vancouver, BC-based] Tekmira. That was really the leading standard
       for the area. Several [applications to begin clinical trials] have been
       filed with the FDA. We spent a lot of internal research money and
       time on novel lipids. The liability of that platform is absolutely its
       safety.
 EX2016 at 5.

       C.     Unexpected Results
       182. It is surprising and entirely unexpected that the first FDA approved

 RNAi drug to meet the long-felt need for a delivery vehicle for RNAi drugs was

 one that does not minimize the cationic lipid component. Even more surprisingly

 the claimed formulations have a low level of conjugated lipid.




                                         -77-
                                                                                JA002471
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1194 of 1274 PageID #:
                                    9500



       183. Patent Owner’s patents and publications that were published after the

 filing date of the ’435 patent provide data for additional formulations within the

 scope of claim 1.

       184. For example, in U.S. Patent No. 8,236,943 (the “’943 patent,”

 EX2017) tested several 1:57 formulations. Specifically, the ’943 patent tested 1:57

 formulations that used C2K, g-DLen-C2K-DMA, or DLen-C2K-DMA as the

 cationic lipid. Figure 7 depicts levels of gene silencing obtained after systemic

 administration of 0.010, 0.033, or 0.100 mg/kg of the various nucleic acid-lipid

 particle formulations. EX2017, 153:45-47.




                                         -78-
                                                                             JA002472
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1195 of 1274 PageID #:
                                    9501



 EX2017, Figure 7. Each formulation exhibited gene silencing activity far superior

 to that of the control PBS group. Further, the “SNALP formulation containing g-

 DLen-C2K-DMA displayed similar ApoB silencing activity at all three doses” and

 “the SNALP formulation containing DLen-C2K-DMA displayed considerable

 potency in silencing ApoB mRNA expression.” EX2017, 153:45-55.

       185. U.S. Publication No. 2013/0116307 (“’307 publication,” EX2018)

 also tested 1:57 formulations. Specifically, the ’307 publication tested 1:57

 formulations that used MC3, C2K, g-Len-MC3, CP-g-Len-MC3, Len-MC3, and

 CP-Len-MC3 as the cationic lipid.




 EX2018, Figure 5. Figure 5 depicts levels of gene silencing obtained after systemic

 administration of 0.010, 0.033, or 0.100 mg/kg of the various nucleic acid-lipid



                                         -79-
                                                                            JA002473
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1196 of 1274 PageID #:
                                    9502



 particle formulations. EX2018 ¶439. Each formulation exhibited gene silencing

 activity far superior to that of the control PBS group. Further, the ’307 publication

 explains that “a SNALP formulation containing either CP-γ-LenMC3 or CP-

 LenMC3 displayed similar ApoB silencing activity compared to a SNALP

 formulation containing the C2K benchmark cationic lipid at all three doses.”

 EX2018 ¶439.

       186. Yet more 1:57 formulations were disclosed in Semple et al., Rational

 Design of Cationic Lipids for siRNA Delivery, 28 Nature Biotechnology 172-178

 (2010) (“Semple,” EX2021). Specifically, Semple tested 1:57 formulations that

 used KC2 as the cationic lipid. EX2021 at 177. Semple measured gene silencing

 following systemic administration in non-human primates. EX2021 at 174.




                                          -80-
                                                                             JA002474
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1197 of 1274 PageID #:
                                    9503



 EX2021, Figure 3b. Semple explains that “[a] clear dose response was obtained

 with an apparent ED50 of ~0.3 mg/kg.” EX2021 at 175. Further, “toxicological

 analysis indicated that the treatment was well tolerated at the dose levels tested,

 with no treatment-related changes in animal appearance or behavior.” EX2021 at

 175; see also id. (“Clinical signs were observed daily and body weights, serum

 chemistry and hematology parameters were measured 72 h after dosing. KC2-

 SNALP was very well tolerated at the high dose levels examined (relative to the

 observed ED50 dose) with no dose-dependent, clinically significant changes in key

 serum chemistry or hematology parameters.”); EX2022 [Supplementary Materials

 Doc], Table 4.

       187. U.S. Publication No. 2017/0307608 to Bettencourt (“’608

 publication,” EX2019) discloses testing of a 1:50 formulation. The ’608

 publication is directed to the commercial product, Onpattro™ (i.e., patisiran). The

 patisiran formulation is disclosed in Table 1. EX2019 ¶46, Table 1. Converting to

 mol % yields the following:


                   DLin-MC3-         PEG-c-DMG         DSPC              Cholesterol
                   DMA

 mg                12.7              1.5               3.1               5.9

 mol %             50                1.5               10                38.5

 That is, patisiran is encompassed by claim 1.




                                           -81-
                                                                               JA002475
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1198 of 1274 PageID #:
                                    9504



       188. The ’608 publication discloses the testing of patisiran in human

 subjects. As with the testing of 1:57 formulations in mice and non-human primates,

 patisiran was well tolerated in humans. EX2019 ¶103 (“The use of patisiran did not

 result in any significant changes in hematologic, liver, or renal measurements or in

 thyroid function, and there were no drug-related serious adverse events or any

 study-drug discontinuations because of adverse events.”). Patisiran effectively

 silenced expression of its target — the TTR protein. EX2019 ¶121. (“[T]reatment

 of patients with FAP with patisiran led to robust, dose-dependent, and statistically

 significant knockdown of serum TTR protein levels.”). The disclosed study found

 clinical benefit to treatment of patients with patisiran. EX2019 ¶132.

       189. A person of ordinary skill in the art would understand that the

 unexpected results of the ’435 patent are not limited to formulations comprising

 specific ratios of components or comprising a specific type of cationic lipid.

 Specifically, between the ’435 patent and subsequent publications, nucleic acid-

 lipid particle formulations with cationic lipid in the range of 50 mol % to 70 mol %

 and conjugated lipid in the range of 1.2 mol % to 2 mol % were tested and found to

 be efficacious and well tolerated. Additionally, nucleic acid-lipid particle

 formulations with eight different cationic lipids were tested and found to be

 efficacious and well tolerated. Finally, nucleic acid-lipid particle formulations

 within the scope of the claims were found efficacious and well tolerated in non-



                                          -82-
                                                                                JA002476
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1199 of 1274 PageID #:
                                    9505



 human primates and humans. These data span nearly the entire claimed ranges of

 cationic and conjugated lipid and are entirely unexpected.

       D.     Commercial Success
       190. The nucleic acid-lipid particles claimed by the ’435 patent have

 achieved tremendous commercial success. Patisiran — tradename “Onpattro” — is

 a first in class siRNA drug. See, e.g., EX2023 (Patisiran Nature News)at 291 (“US

 regulators have approved the first therapy based on RNA interference (RNAi), a

 technique that can be used to silence specific genes linked to disease.”), (“‘This

 approval is key for the RNAi field,’ says James Cardia, head of business

 development at RXi Pharmaceuticals in Marlborough, Massachusetts, which is

 developing RNAi treatments. ‘This is transformational.’”); EX2024 (FDA Release)

 (“FDA approves first-of-its kind targeted RNA-based therapy to treat a rare

 disease.”); EX2025 (EMA Release) (“The European Medicines Agency's (EMA)

 Committee for Medicinal Products for Human Use (CHMP) has recommended

 granting a marketing authorisation for Onpattro (patisiran), …”). . Patisiran

 received regulatory approval in Europe on July 28, 2018 and the United States on

 August 10, 2018. Id.

       191. Patisiran was developed by Alnylam Pharmaceuticals under license

 from Arbutus. Specifically, Alnylam licenses the nucleic acid-lipid particle

 technology claimed in the ’435 patent from Arbutus. EX2026 (Arbutus press



                                         -83-
                                                                             JA002477
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1200 of 1274 PageID #:
                                    9506



 release). Under the license, Alnylam owes Arbutus royalties on the patisiran

 product. Id.

       192. Patisiran is encompassed by claim 1 of the ’435 patent. EX2019,

 Table 1.


            Nucleic      Cationic lipid      Non-cationic lipid     Conjugated
            acid                                                    lipid

            siRNA-       DLin-MC3-           Cholesterol DSPC PEG-c-DMG
            TTR          DMA

 mg         2.0          12.7                5.9           3.1      1.5

 mol %                   50                  38.5          10       1.5

       193. The ’435 patent is one of the patents that encompasses the patisiran

 commercial product. EX2027.

 XI.   CONCLUDING STATEMENTS
       194. In signing this declaration, I understand that the declaration will be

 filed as evidence in a contested case before the Patent Trial and Appeal Board of

 the United States Patent and Trademark Office. I acknowledge that I may be

 subject to cross-examination in this case and that cross-examination will take place

 within the United States. If cross-examination is required of me, I will appear for

 cross-examination within the United States during the time allotted for cross-

 examination.




                                          -84-
                                                                            JA002478
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1201 of 1274 PageID #:
                                    9507



       195. I declare that all statements made herein of my knowledge are true,

 and that all statements made on information and belief are believed to be true, and

 that these statements were made with the knowledge that willful false statements

 and the like so made are punishable by fine or imprisonment, or both, under

 Section 1001 of Title 18 of the United States Code.


 Dated: December 21, 2018              By:
                                             David H. Thompson, Ph.D.




                                         -85-
                                                                           JA002479
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1202 of 1274 PageID #:
                                    9508




                 JOINT APPENDIX 68
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1203 of 1274 PageID #:
                                    9509
                                                                 Paper No. ___
                                                      Filed: December 21, 2018




            UNITED STATES PATENT AND TRADEMARK OFFICE
                     _____________________________

             BEFORE THE PATENT TRIAL AND APPEAL BOARD
                     _____________________________

                      MODERNA THERAPEUTICS, INC.,
                               Petitioner,

                                       v.

                     PROTIVA BIOTHERAPEUTICS, INC.,
                                Patent Owner.
                       _____________________________

                             Case IPR2018-00739
                             Patent No. 9,364,435
                       _____________________________

                      PATENT OWNER’S RESPONSE
                      PURSUANT TO 37 C.F.R. § 42.120




                                                                     JA002480
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1204 of 1274 PageID #:
                                    9510



                                         TABLE OF CONTENTS
 I.STATEMENT OF PRECISE RELIEF REQUESTED ........................................... 1
 II.INTRODUCTION .................................................................................................. 1
 III.DR. JANOFF’S DECLARATION IS ENTITLED NO WEIGHT....................... 4
 IV.STATE OF THE ART .......................................................................................... 8
 V.PERSON OF ORDINARY SKILL IN THE ART................................................. 9
 VI.CLAIM CONSTRUCTION................................................................................ 11
 VII.RESPONSE TO GROUND 1............................................................................ 14
         A.       The petition fails to address the claims as a whole ............................. 14
         B.       The prior art does not teach each and every claim element ................ 15
                  1. The petition fails to identify a range for conjugated lipid ............... 15
                  2. The petition’s reliance on broad ranges and non-grounds
                     references is misplaced .................................................................... 17
         C.       The petition fails to articulate a reason to combine the prior art
                  disclosures ........................................................................................... 18
         D.       The petition fails to show any reasonable expectation of success ...... 20
         E.       The petition mischaracterizes and fails to address the full scope
                  of unexpected results ........................................................................... 21
         F.       The petition fails to address prior art teachings contrary to the
                  proffered obviousness theory .............................................................. 28
         G.       Dependent Claims 2-20 ....................................................................... 29
                  1. Claim 5 ............................................................................................. 30
                  2. Claim 6 ............................................................................................. 31
                  3. Claim 7 ............................................................................................. 31
                  4. Claim 8 ............................................................................................. 31
                  5. Claim 13 ........................................................................................... 32
                  6. Claim 14 ........................................................................................... 32
                  7. Claims 16-20 .................................................................................... 32
 VIII.RESPONSE TO GROUND 2 .......................................................................... 33
         A.       The petition fails to assess the full scope and content of Lin and

                                                             i

                                                                                                              JA002481
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1205 of 1274 PageID #:
                                    9511



                   Ahmad ................................................................................................. 33
          B.       The petition fails to demonstrate motivation to combine ................... 36
          C.       The petition fails to show any reasonable expectation of success ...... 37
 IX.RESPONSE TO GROUND 3 ............................................................................. 39
          A.       The prior art does not disclose each and every element of the
                   challenged claims ................................................................................ 39
                   1. L054 is not a nucleic acid-lipid particle .......................................... 39
                   2. The prior art ranges are not sufficiently specific ............................. 44
          B.       The challenged claims are not obvious over the ’554 publication
                   ............................................................................................................. 46
          C.       Dependent Claims 2-20 ....................................................................... 48
                   1. Claim 5 ............................................................................................. 48
                   2. Claim 6 ............................................................................................. 49
                   3. Claim 7 ............................................................................................. 49
                   4. Claim 8 ............................................................................................. 49
                   5. Claim 11 ........................................................................................... 50
                   6. Claim 13 ........................................................................................... 51
                   7. Claims 14, 16-20 .............................................................................. 52
 X.OBJECTIVE INDICIA OF NONOBVIOUSNESS ............................................ 53
          A.       Long-felt need ..................................................................................... 55
          B.       Failure of Others .................................................................................. 57
          C.       Skepticism ........................................................................................... 58
          D.       Unexpected Results ............................................................................. 59
          E.       Commercial Success............................................................................ 61
 XI.THE PETITION DOES NOT COMPORT WITH STATUTORY
      REQUIREMENTS ........................................................................................ 62
 XII.CONCLUSION ................................................................................................. 63
 XIII.APPENDIX ...................................................................................................... 65




                                                               ii

                                                                                                                   JA002482
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1206 of 1274 PageID #:
                                    9512



    I. STATEMENT OF PRECISE RELIEF REQUESTED
       Moderna Therapeutics, Inc. (“Petitioner”) filed a petition for inter partes

 review of claims 1-20 of U.S. Patent No. 9,364,435 (the “’435 patent,” EX1001).

 The Board issued its decision instituting trial (Paper 15) on all grounds set forth in

 the petition. Protiva Biotherapeutics, Inc. (“Patent Owner”) hereby requests that the

 Board now issue a final written decision confirming that claims 1-20 are not

 unpatentable.

    II. INTRODUCTION
       The nucleic acid-lipid particles claimed by the ’435 patent have achieved

 tremendous recognition in the field of genetic therapy. The ’435 patent is now listed

 in FDA’s Orange Book as protecting the patisiran—tradename “Onpattro”—

 commercial product. EX2027. Patisiran received regulatory approval in the U.S. and

 Europe and has been designated by the FDA as a “first-in-class” drug. EX2024.

       The therapeutic potential of genetic therapy has been appreciated for over 25

 years, but effectively delivering nucleic acids to target cells without eliciting

 vehicle-related toxicity has prevented realization of this potential. See e.g., EX2011

 at 38, 42; EX2014 at 11. By 2008, the industry-wide failure to identify a solution to

 the delivery problem resulted in waning confidence. EX2015 at 2, 10. Dr. Phillip

 Sharp, Nobel Laureate and co-founder of Alnylam Pharmaceuticals, was asked

 about the challenges that lie ahead for RNAi drugs he answered “Delivery, delivery,


                                            1

                                                                               JA002483
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1207 of 1274 PageID #:
                                    9513



 delivery.” EX2014 at 11; see also EX2016, Title of Article (“Merck’s Alan Sachs,

 on RNAi’s Big Challenge: Delivery, Delivery, Delivery”); EX2011 at 42

 (“Delivery, delivery, delivery.”).

       The nucleic acid-lipid particle formulations of the ’435 patent solved a

 long-felt need for compositions that could safely and effectively deliver nucleic

 acids to target cells of patients. Skilled artisans were skeptical that compositions

 having high levels of cationic lipid (i.e., 50 mol % to 85 mol %) and low levels of

 conjugated lipid (i.e., 0.5 mol % to 2 mol %) would be effective, let alone

 well-tolerated when administered in vivo. The combination of effectiveness and low

 toxicity that characterizes the claimed compositions surprised many in the field, and

 finally solved the delivery problem that hindered the field for decades.

       Given the innovation protected by the ’435 patent, the petition is a poorly

 conceived challenge. It seeks troubling shortcuts rather than providing any bona fide

 obviousness analysis addressing motivation to combine and reasonable expectation

 of success in view of the state of the art at the time. In numerous instances, the

 petition fails to coherently identify the specific invalidity theories on which its

 challenge is based.

       The obviousness challenges of Grounds 1 and 3 argue for a prima facie case

 of obviousness on a per-limitation basis for what it contends are overlapping ranges

 of individual claim elements. Petitioner then rests on its putative “prima facie” case


                                            2

                                                                               JA002484
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1208 of 1274 PageID #:
                                    9514



 as though that alone meets its ultimate burden of proof. But Petitioner fails to

 address the claimed subject matter as a whole (i.e., the claimed particle formulation),

 as mandated by statute, instead repeatedly arguing only that each “limitation is

 prima facie obvious.” Analysis of whether there would have been a motivation to

 combine or any reasonable expectation of success is wholly absent from the petition.

       Moreover, the petition provides no meaningful analysis of the full scope of

 experimental data presented in the ’435 patent itself. Instead, Petitioner

 incompletely addresses a subset, never explains what would be

 expected/unexpected, and operates on the erroneous assumption that comprehensive

 superiority relative to the prior art is necessary. Patent Owner’s expert, Dr. David

 Thompson, explains that the experimental results reported in the ’435 patent (as well

 as numerous post-filing publications) demonstrate that the claimed formulations are

 surprisingly well-tolerated and efficacious at far lower dosages than prior art

 compositions.

       Ground 3 does not work any better as an anticipation argument. While the

 challenged claims are directed to a nucleic acid-lipid particle, the petition relies on

 disclosure in the reference of a lipid mixture used to make particles. As confirmed

 by Petitioner’s own expert, the petition has wrongly assumed that the lipid mixture

 in a starting solution would have the same molar ratio of components as the resulting




                                            3

                                                                              JA002485
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1209 of 1274 PageID #:
                                    9515



 particle. See e.g., 2028, 155:2-25; 156:1-158:16; see also EX2012 at 7242; EX2013

 at 3.

         Ground 2 is an undeveloped attempt to backfill Ground 1. The petition

 incompletely addresses the challenged claims (addressing only claim element “1(b)”

 and claim 4), ignores the claimed subject matter as a whole, and lacks explanation as

 to whether there would be any reasonable expectation of success. The later point is

 particularly pertinent in this instance, as Petitioner cites to the references of “Lin

 and/or Ahmad”—both of which are addressing “lipoplex” formulations, a

 fundamentally different type of lipid delivery system. Petitioner’s own expert has

 characterized lipoplexes as fundamentally distinct, both during cross-examination

 and in his previous publications. EX2028, 122:18-24; EX2007, 2:27-40.

         For these reasons, and those explained in further detail herein, the petition

 challenges should be rejected.

    III.       DR. JANOFF’S DECLARATION IS ENTITLED NO WEIGHT
         The Declaration of Dr. Janoff submitted with the petition (EX1007) should be

 accorded no weight for at least the reasons set forth below.

         First, Dr. Janoff’s declaration merely adopts the attorney arguments set forth

 in the petition and should be weighted accordingly. The direct testimony itself

 characterizes the declaration as such, where Dr. Janoff repeatedly states his opinions

 “are based on the petition.” EX1007, ¶27 (“My opinion[s] expressed in this


                                             4

                                                                               JA002486
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1210 of 1274 PageID #:
                                    9516



 declaration are based on the Petition ....”), ¶¶5-7. During cross-examination, Dr.

 Janoff confirmed that his direct testimony was based on the petition. EX2028,

 93:10-11 (“There is a petition. I based my opinions on the petition”), 91:18-92:20,

 92:21-93:11, 26:12-27:5.1

         Attorney argument is not elevated to testimonial evidence simply by virtue of

 being parroted by a witness. E.g. InfoBionic, Inc. v. Braemar Manufacturing, LLC,

 IPR2015-01704, Paper 11; Elbit Sys. of Am., LLC v. Thales Visionix, Inc., 881 F.3d

 1354, 1359 (Fed. Cir. 2018)(“‘Attorney argument is not evidence’”)(quoting Icon

 Health & Fitness, Inc. v. Strava, Inc., 849F.3d 1034, 1043 (Fed. Cir. 2017)); Estee

 Lauder Inc. v. L’Oreal, S.A., 129 F.3d 588, 595 (Fed. Cir. 1997).

         Second, conduct by both the witness and counsel during cross-examination of

 Dr. Janoff should give the Board considerable pause in crediting any direct

 testimony of the witness. Petitioner’s counsel, for instance, interjected to accuse the

 questioning lawyer of misstating the witness’ testimony over 20 times. E.g.,

 EX2028, 32:11-2, 35:1-2, 43:13-14, 49:11-12, 119:5-17, 148:18-149:5, 170:11-12.

 Petitioner’s counsel repeatedly interrupted questioning by instructing the witness to

 review certain documents prior to answering the question pending. E.g., id., 42:7-17,

    1
        Dr. Janoff demonstrated a general unfamiliarity with the petition materials

 throughout the deposition. E.g. EX2028, 31:9-32:25 (unable to recall using the term

 “lipid particle”); 90:3-91:8 (seemingly unable to recognize the petition).
                                            5

                                                                              JA002487
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1211 of 1274 PageID #:
                                    9517



 50:23-51:1, 101:4-15, 151:8-9. Improper witness coaching was discussed multiple

 times. E.g., id., 41:9-42:17, 48:13-25, 101:15, 138:20-139:25. Questions were

 objected to as allegedly “vague” more than 40 times. E.g., id., 28:5, 32:11, 35:9,

 36:22, 45:19, 57:1, 58:4, 76:15, 85:11, 104:17, 126:22-23, 138:12-18, 146:6-18,

 157:18-19; Trial Practice Guide, 77 Fed. Reg. 78755, 48772 (Aug. 14, 2012)

 (identifying “Objection, vague” as an improper objection).

       Such conduct was disruptive and prejudicial as it often prompted recalcitrance

 from the witness and, in some instances, refusal to answer straightforward questions

 about terms or statements in Dr. Janoff’s own documents. For example, taking cue

 from the defending lawyer, Dr. Janoff repeatedly protested about questions being

 “vague” or lacking context. EX2028, 35:7-19, 45:5-22, 29:19-30:11 (“it’s a vague,

 vague, vague question.”), 56:21-57:25, 62:17-65:17 (refusing to answer questions

 about experience working with liposomes at “The Liposome Company, Inc.” as too

 vague to understand).

       Dr. Janoff refused to clarify terms and statements made in his declaration. Id.,

 33:6-14 (“lipid particle” is too vague to understand without context); cf.

 EX1007¶¶32, 75; EX2028, 34:7-35:25 (“therapeutic payload” is too vague),

 36:1-37:5; cf. EX1007, ¶32; EX2028, 86:6-87:1 (when asked “what a PEG is, the

 abbreviation P-E-G,” testifying that “a peg is something that I could hammer into a

 piece of wood.”).


                                           6

                                                                              JA002488
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1212 of 1274 PageID #:
                                    9518



       Dr. Janoff refused to answer simple questions regarding statements in his own

 patent (U.S. Patent No. 7,491,409 – “the ’409 patent,” EX2007). E.g., EX2028,

 138:12-139-23 (refusing to answer whether he is familiar with the concept of nucleic

 acids being encapsulated in a liposome); cf. EX2007, 3:1-2 (“the concept of

 encapsulating bioactive agents in liposomes is not new”); EX2028, 136:5-138:11;

 145:15-147:17; see generally id., 133:9-151:20.

       The impropriety of the conduct was not lost on the witness. EX2028, 36:24-25

 (“I’m not trying to be rebarbative here.”), 57:11-13, 123:19-20, 144:19-20,

 143:23-145:5 (testifying that questions demonstrate “ignorance” on the part of

 Patent Owner’s lawyer).

       Such conduct is particularly prejudicial in the context of the present

 proceeding, as Patent Owner has repeatedly raised issues as to the lack of clarity in

 the petition materials. E.g., POPR at 5, 9-10, 24, 26; EX2008, 7:9-9:8. Accordingly,

 giving no weight to Dr. Janoff’s direct testimony is appropriate under the present

 circumstances where the petitioner and the witness have frustrated the discovery

 process and declined to provide clarity when asked. Furthermore, given the

 extraordinary actions to frustrate the discovery process and preclude a fair

 examination of the witness in the present case, any disputed issue of material fact

 should be resolved in favor of Patent Owner. See e.g., 37 C.F.R. §42.12(a)(5) and

 (b)(1); Office Trial Practice Guide at 48772; California Institute of Technology v.


                                           7

                                                                            JA002489
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1213 of 1274 PageID #:
                                    9519



 Enzo Life Sciences, Inc., Patent Interference No. 105,496, Paper 117, 5-6 (March 30,

 2010) (giving no weight to the expert’s direct testimony and resolving issues of fact

 in favor of the non-offending party an appropriate remedy for violating

 cross-examination guidelines).

    IV.       STATE OF THE ART

       An objective of genetic therapy was the development of drugs — that is,

 nucleic acids — to treat systemic diseases such as cancer, inflammation, virus

 infection, and cardiovascular disease. Delivery of nucleic acids has been particularly

 challenging because they are large, negatively charged molecules that cannot simply

 be given to a patient systemically (e.g., intravenously) and allowed to passively enter

 cells, as would be the case with many small molecule drugs. Therapeutic nucleic

 acids require an effective delivery vehicle, which has proved to present considerable

 technical obstacles. See, e.g., EX2014 (“The major hurdle right now is delivery,

 delivery, delivery,” said Sharp in 2003); EX2014 at 11 (stating in 2003, “Khvorova

 believes that the medical benefits of RNAi will be huge if the delivery issues can be

 resolved.”); see also EX2009 ¶25.

       The first generation of nucleic acid delivery systems that were developed

 included cationic liposome nucleic acid complexes (also known as liposomes). See

 EX1002 ¶8; EX2007, 2:27-40, 2:57-67. Lipoplexes were found to be unsuitable for




                                           8

                                                                             JA002490
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1214 of 1274 PageID #:
                                    9520



 many applications, particularly systemic uses, due in large part to the toxic nature of

 the cationic lipids. See, e.g., EX1008 at 5; see also EX2009 ¶26.

       The toxicity of cationic lipids occurs at the cellular and organ levels, as these

 lipids are often not readily biodegradable and accumulate to cytotoxic

 concentrations in the liver and spleen. Cationic lipids also have immunostimulatory

 capacity and are associated with immunogenic and inflammatory responses. The

 obstacles to using cationic lipids as a nucleic acid delivery vehicle posed by, e.g.,

 toxicity, immunogenicity, and aggregation, were well known prior to 2008. As one

 industry executive stated, “I wouldn’t want anyone injecting cationic lipids into my

 bloodstream.” EX1004 ¶136; EX1006 at 7; EX1008 at 5-6, 9; EX2011 at 42; see

 also EX2009 ¶¶28-35.

    V. PERSON OF ORDINARY SKILL IN THE ART
        It is well-settled that an “invention must be evaluated not through the eyes of

 the inventor, who may have been of exceptional skill, but as by one of ‘ordinary

 skill.’” Interconnect Planning Corp. v. Feil, 774 F.2d 1132, 1138 (Fed. Cir. 1985).

       The level of skill of the ordinary artisan upon which the petition materials are

 based is incorrect for a number of reasons. First, the petition equates the level of skill

 of the ordinary artisan with the level of skill of the inventors of the ʼ435 patent. This

 is indicative of impermissible hindsight. EX1007, ¶31; EX2028, 44:9-12 (putting

 level of ordinary skill as that of the inventors of the patent). Thus, the petition has


                                             9

                                                                                JA002491
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1215 of 1274 PageID #:
                                    9521



 improperly assumed a much higher level of skill than that of a person of ordinary

 skill in the art (“POSITA”). See also EX2009, ¶¶22-24.

       Second, Petitioner’s definition of a POSITA is ultimately indeterminable. The

 petition defines a POSITA as someone that “would have specific experience with

 lipid particle formation and use in the context of delivering therapeutic payloads.”

 Pet. 5-6; EX1007, ¶31. During cross-examination, Dr. Janoff was unable (or

 unwilling) to clarify what this means, repeatedly indicating that Petitioner’s own

 definition is “too vague” to understand. EX2028, 33:6-11, 34:7-35:25, 38:20-39:9;

 see also id., 36:1-37:5; see generally EX2028, 27:6-43:8.

       Petitioner’s definition of a POSITA, at a minimum, taints the obviousness

 arguments in the petition as using an incorrect and erroneous perspective.

 Obviousness must be assessed from the perspective of “a person having ordinary

 skill in the art” at the time the invention was made. 35 U.S.C. §103(a) (2012); see

 generally Graham v. John Deere Co., 383 U.S. 1, 17-18 (1966). Because the petition

 sets the level much higher, to that of the inventors, Petitioner has failed to conduct an

 appropriate analysis. It is axiomatic that Petitioner has not met its burden of

 demonstrating obviousness where the threshold question of how a person of skill is

 defined—a fundamental factual basis for any corresponding analysis—is, by its

 expert’s own admission, indeterminable. Id. at 17; see also EX2009 ¶¶23-24.




                                            10

                                                                               JA002492
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1216 of 1274 PageID #:
                                    9522



 VI.   CLAIM CONSTRUCTION
       A claim subject to inter partes review receives the broadest reasonable

 construction or interpretation in light of the specification of the patent in which it

 appears (“BRI”). See 37 C.F.R. § 42.100(b). However, the Board may not construe a

 term “so broadly that its constructions are unreasonable under general claim

 construction principles.” Microsoft Corp. v. Proxyconn, Inc., 789 F.3d 1292, 1298

 (Fed. Cir. 2015).

       The petition was based on an overbroad construction of “nucleic acid-lipid

 particle.” Pet. 24. The Board rejected Petitioner’s construction and offered one of its

 own — that is, “nucleic acid-lipid particle” is “a particle that comprises a nucleic

 acid and lipids, in which the nucleic acid may be encapsulated in the lipid portion of

 the particle.” Paper 15 at 10-11 (citing EX1001, 11:14–22). According to Dr.

 Thompson, both of these constructions are unreasonably broad, at least to the extent

 they encompass lipid particles lacking any encapsulated nucleic acid. See also

 EX2009 ¶¶39-40.

       A “nucleic acid-lipid particle” expressly includes a nucleic acid. According to

 the ʼ435 patent, “nucleic acids, when present in the lipid particles of the present

 invention, are resistant in aqueous solution to degradation with a nuclease.”

 EX1001, 11:51-54. The ’435 patent describes nucleic acid encapsulation in the lipid

 particle as conferring resistance to such enzymatic degradation. EX1001, 11:20-22;


                                           11

                                                                               JA002493
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1217 of 1274 PageID #:
                                    9523



 see also EX2007, 4:15-19; 22:40-47; 23:1-3; 23:27-29; 26:35-37. A “lipid particle”

 “may [include a nucleic acid] encapsulated in the lipid portion of the particle,

 thereby protecting it from enzymatic degradation.” EX1001, 11:14–22. A “nucleic

 acid-lipid particle,” however, does include a nucleic acid encapsulated in the lipid

 portion of the particle, thereby protecting it from enzymatic degradation. EX1001,

 11:23-31, 11:51-54; see also EX2009 ¶39.

       Petitioner’s expert testified multiple times that the lipid particles as claimed

 are defined as SNALPs. See, e.g., EX2028, 118:18-119:4, 119:9-17, 120:5-6,

 121:14-25. He cited to a provision of U.S. Patent No. 9,404,127 (“the ’127 patent,”

 EX2029) at 5:15-22 that is identically recited in the ’435 patent. Compare EX2029,

 5:15-22 with EX1001, 19:19-26. Indeed, the ’435 patent specification repeatedly

 identifies SNALPs as the invention for delivering a nucleic acid payload. See e.g.,

 EX1001, 3:9-13 (“The present invention provides novel, serum-stable lipid

 particles ….”), 47:23-24 (“[T]he lipid particles of the invention are serum-stable

 nucleic acid-lipid particles (SNALP)…”), 3:32-37, 14:20-25; see also EX2009

 ¶¶41-42.

       According to Dr. Thompson, a fair and reasonable reading of the ’435 patent

 specification supports Dr. Janoff’s position in that there is no meaningful distinction

 between the ’435 patent specification’s descriptions of a “lipid particle” containing a

 nucleic acid (i.e., a nucleic acid-lipid particle) and particle characteristics that confer


                                             12

                                                                                 JA002494
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1218 of 1274 PageID #:
                                    9524



 serum stability. Compare EX1001, 11:14-22, 11:51-54 with 13:32-37.

 (“‘Serum-stable’ in relation to nucleic acid-lipid particles such as SNALP means

 that the particle is not significantly degraded after exposure to a serum or nuclease

 assay that would significantly degrade free DNA or RNA”); see also EX2009 ¶43.

       It is Dr. Thompson’s opinion that a narrow focus on a linguistic difference

 between a nucleic acid-lipid particle and the term “SNALP” is misguided and risks

 overlooking pertinent disclosure and context provided in the ’435 patent. For

 example, the ’435 patent specification states that “nucleic acids, when present in the

 lipid particles of the invention, are resistant in aqueous solution to degradation with

 a nuclease.” Id., 11:51-54 (emphasis added). Such physical properties of the

 particles providing nuclease degradation resistance, or encapsulation of the nucleic

 acid, are also as described in the ’435 patent specification as conferring the

 identified serum stability. Id., 13:32-37. This is certainly true if the claimed particles

 are SNALP, as supported not only by the specification of the ’435 but as affirmed by

 petitioner’s expert. EX2009 ¶44.

       Regardless of whether the Board construes “nucleic acid-lipid particle” as a

 SNALP as indicated by Petitioner’s expert; as a lipid particle with an encapsulated

 nucleic acid (thereby protecting it from enzymatic degradation); or under the broad

 construction presented in the Institution Decision, the petition fails to establish the

 unpatentability of claims 1-20. EX2009 ¶¶45-46.


                                            13

                                                                                JA002495
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1219 of 1274 PageID #:
                                    9525



    VII.      RESPONSE TO GROUND 1
       The claimed invention is a nucleic acid-lipid particle comprised of relatively

 high levels of cationic lipids and low levels of conjugated lipids. This combination

 was counter-intuitive to the then-existing state of the art, as cationic lipids were

 known to be cytotoxic, systemically toxic, to elicit an adverse complement-mediated

 immune response, and to cause particle aggregation that resulted in rapid clearance.

 Conjugated lipids were used to shield the cationic lipids from interacting with

 negatively charged serum proteins and thereby diminish the adverse effects. Thus,

 when employing an increased amount of cationic lipid, a POSITA would have had

 every reason to correspondingly increase the amount of conjugated lipid. EX2009,

 ¶¶25-35. The inventors of the ’435 patent did just the opposite.

        A.     The petition fails to address the claims as a whole

        The petition separately parses the claimed amounts of cationic lipids,

 conjugated lipids, and non-cationic lipids from the references without regard to one

 another. The petition even states that individual limitations are allegedly “prima

 facie obvious.” See, e.g., Pet. 34 (“this limitation is prima facie obvious”), 39

 (same), 40 (same). Missing from Ground 1 is a showing that the challenged claims

 as a whole are obvious. In re Kahn, 441 F.3d 977, 986 (Fed. Cir. 2006) (“[M]ere

 identification in the prior art of each element is insufficient to defeat the patentability

 of the combined subject matter as a whole.”); In re NTP, Inc., 654 F.3d 1279, 1299


                                             14

                                                                                 JA002496
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1220 of 1274 PageID #:
                                    9526



 (Fed. Cir. 2011). Indeed, as the statute itself states: “if the differences between the

 subject matter sought to be patented and the prior art are such that the subject matter

 as a whole would have been obvious.” 35 U.S.C. § 103(a) (2012) (emphasis added);

 see generally Graham, 383 U.S. at 17-18; TriVascular, Inc. v. Samuels, 812 F.3d

 1056, 1066 (Fed. Cir. 2016).

       The petition fails to address the fact that the concentrations of different lipid

 components are highly interdependent. See EX2009, ¶¶57-59. At best, the petition

 attempts to show that some prior art formulations had high concentrations of

 cationic lipid. However, these also use a high concentration of conjugated lipid, or

 are not nucleic acid-lipid particles. See also Section VII.C.,D..

       B.     The prior art does not teach each and every claim element
       The disclosure and ranges relied upon in the petition do not actually overlap

 with what is claimed. Based on this, the petition fails to show that the prior art taught

 each and every claim element, and for this reason alone, Ground 1 fails. E.g., In re

 Royka, 490 F.2d 981, 983-85 (CCPA 1974); see also EX2009, ¶¶50-55.

              1.     The petition fails to identify a range for conjugated lipid
       Claim 1 recites in part, “a conjugated lipid that inhibits aggregation of

 particles comprising from 0.5 mol % to 2 mol % of the total lipid present in the

 particle.” The petition represents that the ’196 PCT teaches conjugated lipids at

 concentrations of 0.5% to 25%. Pet. 39. Rather than identifying disclosure in the


                                            15

                                                                               JA002497
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1221 of 1274 PageID #:
                                    9527



 ’196 PCT disclosing a conjugated lipid range, the petition cites to a range provided

 for “a bilayer stabilizing component.” Pet. 392; EX1007 ¶117; see also EX2009,

 ¶¶51-54.

         The ’196 PCT makes clear that a “bilayer stabilizing component” is not the

 same as a “conjugated lipid that inhibits aggregation of particles.” See EX1002 ¶92.

 Bilayer stabilizing components include a broad class of structurally and chemically

 diverse molecules. As Dr. Thompson explains, numerous bilayer stabilizing

 components (e.g., polyamide oligomers, peptides, proteins, detergents, and

 lipid-derivatives) would not be considered a conjugated lipid. EX2009, ¶¶52-53.

         While the ’196 PCT lists a general range for the bilayer stabilizing component

 category, according to Dr. Thompson, a POSITA would not have interpreted the

 stated range (e.g., 0.5% to 25%) as being applicable to each listed bilayer stabilizing

 component example. For example, a POSITA would have appreciated that if the

 bilayer stabilizing component were a detergent, 25% would have been an

 unreasonably high level. At this concentration of detergent, the lipids would be

 solubilized and would no longer be in particle form. EX2009, ¶¶52-53.



 2
     The petition seemingly acknowledges the lack of disclosure by arriving at the

 “teaching” in the ’196 PCT through splicing together isolated phrases from two

 paragraphs. Compare Pet. 39 with EX1002 ¶¶92-93.

                                           16

                                                                             JA002498
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1222 of 1274 PageID #:
                                    9528



       Moreover, while the ’196 PCT discloses exemplary compositions with

 conjugated lipid, all have much higher levels of conjugated lipid than is claimed.

 EX1002 ¶¶216, 223, 228, 232 (disclosing nucleic acid-lipid particle compositions

 with 10 mol % conjugated lipid); see also EX2009, ¶¶54-55.

       Accordingly, the petition fails to identify in ’196 PCT “a conjugated lipid that

 inhibits aggregation of particles” as required by claim 1. EX2009, ¶55.

              2.     The petition’s reliance on broad ranges and non-grounds
                     references is misplaced
       Petitioner fails to demonstrate that the recited concentration of cationic lipid

 is taught by the asserted prior art. Specifically, claim 1 recites, “a cationic lipid

 comprising from 50 mol % to 85 mol % of the total lipid present in the particle.”

       Petitioner cited the ’196 PCT’s disclosure of “about 2% to about 60%” and

 “about 40% to about 50%” for the cationic lipid component. Pet. 33 (citing EX1002

 ¶88). The ’196 PCT, however, emphasizes that “for systemic delivery, the cationic

 lipid may comprise from about 5% to about 15% of the total lipid.” EX1002, ¶88.

 This range does not overlap with the recited range in claim 1, and was not addressed.

       The petition also cites to the ’618 patent, a non-Grounds document, solely for

 the contention that prior art taught formulations “containing over 50% cationic

 lipid.” Id. This contention highlights the petition’s legally-deficient approach of

 identifying individual components without regard to the claimed invention as a

 whole. The ’618 patent does not disclose any compositions that include a conjugated

                                            17

                                                                                JA002499
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1223 of 1274 PageID #:
                                    9529



 lipid. Id. According to Dr. Thompson, a POSITA would not find the cited

 formulation of the ʼ618 instructive for the development of the claimed invention.

 EX2009, ¶89.

       C.     The petition fails to articulate a reason to combine the prior art
              disclosures
       As explained by Dr. Thompson, there would have been no reason for a

 POSITA to combine the different range disclosures parsed for different lipid

 components from the ’196 PCT so as to arrive at the claimed nucleic acid-lipid

 particle. The petition fails to demonstrate otherwise. EX2009, ¶18.

       Those in the field at the time recognized that the properties of any lipid

 particle are conferred not by the amount of any individual component but by the

 interaction of the combined components as a whole. More specifically, Dr.

 Thompson explained that if a POSITA were to vary one component it would then be

 necessary to decide which of the other components would need to be varied in order

 to accommodate the change in proportions of the overall composition. EX2009,

 ¶¶57-58; see also Section VII.A.

       The effects of making changes to the proportion of other components in the

 lipid particle would be unpredictable. Such changes, even if apparently minor in

 nature, would not be expected to produce a functional lipid particle suitable for

 systemic use. According to Dr. Thompson, the idea of simply “cherry-picking”

 specific amounts of individual components from different formulations, or the

                                          18

                                                                             JA002500
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1224 of 1274 PageID #:
                                    9530



 different ranges in the ’196 PCT, when designing lipid particles is therefore

 something which would have made no technical sense to a POSITA. EX2009, ¶58.

       The petition states that “determining the optimal proportion of cationic lipid

 for a given lipid combination would be a simple matter of varying the proportion

 using prior art methodologies.” EX1007 ¶110. This is wrong. As Dr. Thompson

 explains, the properties of a formulation are not conferred by the amount of one

 single component. Properties such as lack of toxicity and efficacy are conferred by

 the combination of components in the entire formulation. EX2009, ¶59.

       Moreover, the petition’s stated reason disregards the state of the art at the time

 of the invention. Making non-toxic and effective nucleic acid-lipid particle

 formulations was not simply a matter of “varying the proportion” of cationic lipid in

 prior art formulations. As discussed above, the field was hindered by the lack of

 effective and safe nucleic acid delivery vehicles. That the field struggled for 20 years

 to find such a delivery vehicle speaks to the difficulty of the task. Had the solution

 been a matter of simply optimizing the cationic lipid proportion, it would not have

 taken such an enormous investment of money and time. EX2009, ¶60.

       As discussed elsewhere herein, the high cationic lipid levels claimed would

 have been disfavored in view of well-established toxicity concerns. Moreover, Dr.

 Thompson explains that inclusion of a conjugated lipid in a formulation with high

 cationic lipid would have been expected to occur at much higher levels than claimed.


                                           19

                                                                              JA002501
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1225 of 1274 PageID #:
                                    9531



 For example, conjugated lipid had been incorporated into lipid particles to help

 shield positive charge and reduce nonspecific interactions with blood components.

 Lipid particle compositions at the time typically used much higher levels of

 conjugated lipid than is claimed by the ’435 patent, such as 10% PEG (i.e., 5- to

 20-times more than the claimed formulations). For example, Doxil, the first FDA

 approved liposome formulation contained 5% PEG-conjugated lipid. EX2034.

 Likewise lipid particles for the delivery of nucleic acids commonly used 10% PEG.

 EX2032 at 174; EX2033 at 1021; EX1002 ¶¶216, 223, 228, 232; see also EX2009,

 ¶¶61-62.

       Accordingly, a POSITA would not have been motivated based on the ’196

 PCT to make the claimed composition.

       D.     The petition fails to show any reasonable expectation of success
       The petition lacks any showing of an expectation of success in making the

 proposed modifications to arrive at the claimed nucleic acid-lipid particle

 composition. For this reason alone, the petition fails to demonstrate obviousness of

 the challenged claims. In re Stepan Co., 868 F.3d 1342, 1346 n.1 (Fed. Cir. 2017)

 (“Whether a rejection is based on combining disclosures from multiple references,

 combining multiple embodiments from a single reference, or selecting from large

 lists of elements in a single reference, there must be a motivation to make the

 combination and a reasonable expectation that such a combination would be


                                          20

                                                                               JA002502
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1226 of 1274 PageID #:
                                    9532



 successful, otherwise a skilled artisan would not arrive at the claimed

 combination.”).

       According to Dr. Thompson, a POSITA would not have expected a nucleic

 acid-lipid particle composition with a high level of cationic lipid and a low level of

 conjugated lipid to be non-toxic and effective. This is because, as discussed above,

 the prior art taught that the cationic lipid component of lipid particles should be

 minimized, regardless of whether used for in vitro or in vivo purposes. For example,

 it was appreciated that cationic lipids are directly cytotoxic. Cationic lipids, in

 addition, elicit unwanted immune reactions (e.g., inflammation), off-target cellular

 interactions (e.g., blood cells), and aggregation. Furthermore compositions with low

 levels of conjugated lipid (i.e., 0.5 mol % to 2 mol %) would have been expected to

 result in unstable particles that aggregate and fail to effectively transfect cells. Hence

 the claimed nucleic acid-lipid particle would have been expected to be cytotoxic and

 ineffective. See Section VII.A; EX2009, ¶¶63-65.

       Accordingly, claim 1 is not obvious in view of the ’196 PCT at least because

 there was no expectation of success that the claimed nucleic acid-lipid particle

 would be non-toxic and effective. EX2009, ¶¶63-65.

       E.     The petition mischaracterizes and fails to address the full scope of
              unexpected results
       Relying on repeated citations to Peterson, Petitioner erroneously claims that

 its “prima facie” showing shifts the burden to Patent Owner to demonstrate

                                            21

                                                                                JA002503
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1227 of 1274 PageID #:
                                    9533



 unexpected results. Pet. 34. Petitioner then argues that the data in the ’435 patent is

 “insufficient” as rebuttal because not all tested compositions were superior. Id. But

 Petitioner applies the wrong legal standard and, moreover, fails to justify its

 (unstated) assumption that claimed formulations were expected to work as well as

 those in the prior art.

        A prima facie case of obviousness may be rebutted by showing a POSITA

 would have found the properties of the claimed invention “surprising or

 unexpected.” In re Geisler, 116 F.3d 1465, 1469 (Fed. Cir. 1997). It is unnecessary

 to demonstrate that the claimed compositions are superior to those of the prior art.

 Ryco, Inc. v. Ag-Bag Corp., 857 F.2d 1418, 1424 (Fed. Cir. 1988) (“Nothing in the

 patent statute requires that an invention be superior to the prior art to be

 patentable.”). Rebuttal does not require a showing of superiority to the prior art.

        Petitioner operates on the assumption that superiority of the claimed range

 relative to the prior art is necessary and never explains what would be “unexpected”

 from the perspective of a POSITA at the time. But as discussed above (see Section

 IV), the prior art expressly instructs that high-level cationic lipid compositions were

 expected to have poor efficacy and increased cytotoxicity and immunogenicity

 relative to low-level cationic lipid formulations. See EX1005 at 3315; EX1006 at

 745; EX1008 at E96; EX2007, 30:34:41. As Dr. Thompson explains, the expectation

 for the claimed nucleic acid-lipid particle compositions would have been toxic


                                           22

                                                                                JA002504
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1228 of 1274 PageID #:
                                    9534



 compositions unsuitable for systemic use and little, if any, efficacy. EX2009,

 ¶¶66-67.

       Contrary to these expectations, the claimed formulations are well-tolerated

 and efficacious at far lower dosages than prior art compositions. EX2009, ¶68; e.g.

 EX1001, 74:1-4, Figure 3. These results are “an unexpected difference in kind that

 supports nonobviousness.” Allergan, Inc. v. Sandoz Inc., 796 F.3d 1293, 1306 (Fed.

 Cir. 2015).

       The petition states that “[t]he sole basis for alleged novelty of the ’435 patent

 claims is that a nucleic acid-lipid particle comprising component lipids in the

 claimed proportions achieves unexpected efficacy.” Pet. 14 (emphasis added). Not

 so. The ’435 patent emphasizes that the claimed formulations “are substantially

 non-toxic to mammals such as humans.” EX1001, 6:2-5; see also EX1001, 6:26-30,

 11:51, 14:40-42, 23:2-3, 47:9-18. Petitioner fails to address that the claimed nucleic

 acid-lipid particle compositions are substantially non-toxic and non-immunogenic.

 See also EX2009, ¶¶69-71.

       Nucleic acid-lipid particle compositions of claim 1 are well-tolerated at

 dosages sufficient to produce a therapeutic effect. EX2009, ¶68. For example,

 animals administered a single systemic dose of a 1:57 composition displayed no

 outward signs of toxicity as measured by body weight, appearance/behavior, and

 platelet count. EX1001, 79:33-41, Figures 8, 9. Additional experiments


                                          23

                                                                             JA002505
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1229 of 1274 PageID #:
                                    9535



 demonstrated that multiple systemic doses of a 1:57 composition produced a

 therapeutic effect, but no treatment related toxicity and no immune stimulation.

 EX1001, 81:20-82:25, 82:30-36; see also EX2009, ¶¶71-74.

        According to Dr. Thompson, a POSITA would have expected that

 administering lipid particles with a high level of cationic lipid (i.e., 57 mol %) and

 low shielding (i.e., 1.4 mol % conjugated lipid) would have been toxic. Surprisingly,

 these particles are substantially non-toxic and do not cause unwanted immune

 reactions. E.g. EX2009, ¶67.

        As discussed, a POSITA would have expected little to no efficacy (e.g., gene

 silencing) following systemic administration of the claimed nucleic acid-lipid

 particle compositions. However, compositions across the scope of claim 1 were

 tested and all induce gene silencing to levels similar to, and in some cases far

 superior to, prior art formulations with much lower cationic lipid levels. EX2009,

 ¶67.

        For example, the ’435 patent tested nucleic acid-lipid particle compositions of

 claim 1 (i.e., Groups 11, 13, and 14) and prior art compositions. The expectation for

 compositions of claim 1 would have been little, if any, gene silencing. That is, these

 formulations would have been expected to yield reductions in gene expression

 similar to the PBS control group. Unexpectedly, each of these formulations showed

 significant gene silencing when compared to the control group. EX1001, FIG 2.


                                           24

                                                                              JA002506
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1230 of 1274 PageID #:
                                    9536



 Even more surprisingly, according to Dr. Thompson, these formulations induced

 gene silencing levels which were at least comparable and in many cases superior to

 prior art formulations that have a much lower cationic lipid level (e.g., 25 mol % to

 40 mol % cationic lipid). See EX1001, Table 4; see also EX2009, ¶75.




 EX1001, FIG 2 (red and green highlighting added). For instance, the 1:57

 composition (i.e., group 11), “was substantially more effective at silencing the

 expression of a target gene as compared to prior art nucleic acid-lipid particles (‘2:40

 SNALP’)” (i.e., Groups 2, 4-8). EX1001, 6:10-14, Figure 2. Furthermore, the 1:57

 formulation “was the most potent at reducing” gene expression in vivo. EX1001,

 72:25-27; see also EX2009, ¶75.




                                           25

                                                                              JA002507
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1231 of 1274 PageID #:
                                    9537



       A 1:57 composition was further compared to a prior art 2:30 composition in

 Example 4. Surprisingly, a 1:57 composition was “more than 10 times as efficacious

 as the 2:30 SNALP” composition in silencing gene expression in vivo. EX1001,

 Figure 3. Remarkably, the 1:57 formulation achieved these results at “a 10-fold

 lower dose” than the conventional 2:30 SNALP formulation. EX1001, 6:10

 (emphasis added); see also EX2009, ¶76.

       Petitioner states that “[a]t most, [Example 4] established that the 1:57 SNALP

 comprised of the specific species of lipid components and nucleic acid to lipid ratio

 disclosed, dosed as disclosed, outperformed the 2:30 SNALP comprised of the lipid

 species disclosed and dosed as disclosed.” Pet. 22. “[A] POSITA would not expect

 all alternative data points falling within the recited numeric range to perform like the

 1:57 SNALP.” Pet. 36. These remarks ignore the breadth of compositions tested. See

 also EX2009, ¶77.

       For instance, Examples 5 and 6 describe testing of additional compositions of

 claim 1 which also yield considerable levels of gene silencing following systemic

 administration. EX1001, 74:5-58. Example 5 discloses the testing of seven

 compositions of claim 1 (e.g., 1:57, 1:62 and 2:70). EX1001, 74:11-58, Table 6,

 Figure 4. Each composition within Example 5 induced significant levels of gene

 silencing. Example 6 discloses the testing of 14 compositions of claim 1 (i.e., 54 mol

 % to 68 mol % cationic lipid). EX1001, 74:11-58, Table 7. Each composition within


                                           26

                                                                              JA002508
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1232 of 1274 PageID #:
                                    9538



 Example 6 induced significant levels of gene silencing. Moreover, the ’435 patent

 notes “that the 1:62 SNALP formulation was one of the most potent inhibitors of

 ApoB expression at two different lipid:drug ratios (i.e., 6.1 & 10.1) among the

 phospholipid-free SNALP formulations tested (see Groups 2 & 15).” EX1001,

 75:45-48; see also EX2009, ¶¶78-81.

       According to Dr. Thompson, a POSITA would have expected these

 formulations to be ineffective — that is, produce levels of gene silencing similar to

 that of the control. EX1001, FIG. 4. Surprisingly, these formulations exhibited

 significant in vivo gene silencing activity. See also EX2009, ¶¶78-81.

       The petition does not address the breadth of compositions tested (i.e., cationic

 lipid level ranging from 54 mol % to 70 mol %), rather it argues that the data can be

 dismissed because “variation of the cationic lipid apparently impacts efficacy” and

 that a POSITA “would understand these results to suggest that a preferred

 proportion for one cationic lipid (e.g., DLinDMA) does not necessarily apply to all

 other cationic lipids (e.g., DODMA).” Pet. 37-38. As explained by Dr. Thompson,

 while there is some variation in the efficiency of formulations depending on which

 cationic lipid is used, this does not take away from the conclusion that both

 DODMA and DLinDMA are unexpectedly efficacious. EX2009, ¶79. Moreover, as

 will be discussed in Section X, several additional cationic lipids were tested after the

 filing of the ’435 patent and provide further support for the conclusion that the


                                           27

                                                                              JA002509
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1233 of 1274 PageID #:
                                    9539



 compositions across the claimed ranges are surprisingly efficacious and

 well-tolerated.

       F.     The petition fails to address prior art teachings contrary to the
              proffered obviousness theory
       At the time the ’435 patent was filed, a POSITA understood that lipid particles

 containing cationic lipids could be used to deliver nucleic acids to cells in vitro,

 however such lipid particles were too toxic for in vivo applications. EX2011 at 42 (“I

 wouldn’t want anyone injecting cationic lipids into my bloodstream.”); EX2009,

 ¶¶25-35. The petition does not even mention toxicity, much less provide a reason to

 disregard the plain teachings of the prior art.

       In determining whether a POSITA would have been motivated to make a

 particular modification or combination, “the full field of the invention must be

 considered.” In re Dow Chem. Co., 837 F.2d 469, 473 (Fed. Cir. 1988). A reference

 is said to “teach away” if a POSITA upon reading the reference “would be

 discouraged from following the path set out in the reference, or would be led in a

 direction divergent from the path that was taken by the applicant.” Monarch Knitting

 Mach. Corp. v. Sulzer Morat GmbH, 139 F.3d 877, 885 (Fed. Cir. 1998).

 “[R]eferences that teach away cannot serve to create a prima facie case of

 obviousness.” McGinley v. Franklin Sports, Inc., 262 F.3d 1339, 1354.

       As discussed above, the prior art unequivocally taught away from using a

 level of cationic lipid such as those claimed in the ’435 patent. For example, it was

                                           28

                                                                              JA002510
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1234 of 1274 PageID #:
                                    9540



 known that “cationic lipid contributes significantly to the toxicity observed” in prior

 art lipid particles. EX1008 at E96. It was also appreciated that cationic lipid interacts

 with serum proteins which leads to aggregation and rapid clearance from the body.

 EX1008 at 9. That is, cationic lipid was known to make lipid particles toxic and

 ineffective when administered systemically. Consequently, the prior art expressly

 taught minimization of the cationic lipid component. E.g., EX1006 at 745

 (“Minimizing the amount of cationic lipid is desirable”). Consistent with the state of

 the art, the ’196 PCT teaches that the cationic lipid component should be minimized.

 EX1002 ¶88 (“[F]or systemic delivery, the cationic lipid may comprise about 5% to

 about 15% of the total lipid present in said particle.”) (emphasis added); see also

 Sections IV, VII.C.; EX2009, ¶¶25-35, 66-68.

       Accordingly, the prior art taught away from the proposed modifications, and a

 POSITA would not have found the claimed invention obvious in view of the ’196

 PCT and the ’189 publication. See EX2009, ¶¶47-49.

       G.     Dependent Claims 2-20

       Dependent claims 2-20 are not rendered obvious at least for the reasons

 discussed above, and by virtue of their dependency from claim 1—which the

 petition fails to demonstrate as unpatentable. Furthermore, claims 4, 5, 7, and 12

 recite additional limitations that provide for an even more coextensive nexus with

 the unexpected results disclosed in the ’435 patent. See EX2009, ¶¶82-86, 88, 90.


                                            29

                                                                               JA002511
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1235 of 1274 PageID #:
                                    9541



       The challenges to claims 2-20 are also not presented with the requisite degree

 of particularity. 35 U.S.C. § 312(a)(3); 37 C.F.R. § 42.104(b). The petition cites to

 disclosure in the ’196 PCT, and patents incorporated by reference into the ’196 PCT,

 but fails to account for any dependencies of the challenged claims — these

 challenges appear to be nothing more than a claim mapping exercise. See 10X

 Genomics, Inc. v. Bio-Rad Lab. Inc., IPR2018-01206, Paper 7 at 15 (“Petitioner’s

 alternatively and inconsistently defined combination of elements is not sufficient to

 allow for a reasoned analysis”). Furthermore, while the petition indicates that claims

 1-20 are being challenged as obvious, see Pet. 32, the discussion for some invokes

 an unexplained anticipation theory. See, e.g. Pet. 41 (claim 4), 42-43 (claim 7); see

 also EX2009, ¶¶82-84.

       Additional discussion for some of claims 2-20 is provided below.

              1.    Claim 5
       The petition relies on long lists of non-cationic lipids including

 phospholipids, sterols, and non-phosphorous containing lipids and generic ranges

 for non-cationic lipid and cholesterol. EX1007 ¶122 (citing EX1002 ¶¶89, 91).

 These paragraphs do not disclose nucleic acid-lipid particle compositions that

 contain a mixture of phospholipid and cholesterol. To the extent it is argued that a

 POSITA might select phospholipid and cholesterol for inclusion in a nucleic




                                          30

                                                                             JA002512
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1236 of 1274 PageID #:
                                    9542



 acid-lipid particle, the petition does not provide a motivation, nor any reasonable

 expectation of success. EX2009 ¶¶85-86.

              2.     Claim 6
       The challenge to claim 6 is nothing more than a bare claim mapping that pays

 no regard to the dependencies of the claim. To the extent that it is argued that a

 POSITA might incorporate DPPC or DSPC into a nucleic acid-lipid particle

 composition that includes cholesterol, the petition provides neither a motivation nor

 any reasonable expectation of success. EX2009 ¶87.

              3.     Claim 7

       The ’196 PCT does not disclose a range for a phospholipid component, much

 less one in a nucleic acid-lipid particle that includes cholesterol. Instead, the petition

 uses arithmetical manipulations of ranges of non-cationic lipid and cholesterol in

 two different patent documents. EX1007 ¶124. A POSITA would not consider these

 calculations to disclose a range of phospholipid in the ’196 PCT. EX2009 ¶88.

              4.     Claim 8
       The challenge to claim 8 is a bare claim mapping. The ’196 PCT does not

 disclose a range for cholesterol in a formulation that includes phospholipid, as

 required by claim 5, from which claim 8 depends. The relevance of a composition in

 the ’618 patent that does not contain conjugated lipid, as required by claim 1, is

 unexplained. EX2009 ¶89.


                                            31

                                                                                JA002513
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1237 of 1274 PageID #:
                                    9543



              5.     Claim 13
       No explanation is given for why a POSITA would have had a reasonable

 expectation of success generating fully encapsulated nucleic acid-lipid particles

 having a high level of cationic lipid and a low level of conjugated lipid. As explained

 by Dr. Thompson, a POSITA would have expected the claimed nucleic acid-lipid

 particle to be unstable and incapable of encapsulating nucleic acids. EX2009 ¶91.

              6.     Claim 14
       The petition does not explain why a POSITA would have had a reasonable

 expectation of success generating a pharmaceutical composition of nucleic

 acid-lipid particles that have a high level of cationic lipid and a low level of

 conjugated lipid. A person of ordinary skill in the art would have expected the

 claimed particles to be prone to aggregation and unstable due to a high cationic lipid

 and low conjugated lipid. EX2009, ¶92.

              7.     Claims 16-20
       Whether there was a reasonable expectation of success for these claims is not

 discussed. The ’196 PCT teaches nucleic acid-lipid particles for systemic use at a

 much lower cationic lipid range, 5 mol % to 15 mol %. A PHOSITA would have

 expected the claimed nucleic acid-lipid particles to be too toxic for in vivo

 administration, and thus not suitable for administration to mammalian subjects.

 EX2009, ¶93. Additionally, as will be discussed in detail below, objective indicia of

 nonobviousness further support the patentability of claims 1-20. Section X.
                                           32

                                                                               JA002514
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1238 of 1274 PageID #:
                                    9544



    VIII.     RESPONSE TO GROUND 2
        Petitioner contends that claims 1-20 of the ’435 patent are obvious in view of

 “patent owner’s prior disclosures” in light of Lin and/or Ahmad. It is unclear what

 exactly constitutes “patent owner’s prior disclosures,” or even, precisely, what

 claims are being challenged. For example, although Ground 2 alleges that claims

 1-20 are obvious, the petition only addresses the cationic lipid limitations of claims 1

 and 4. Pet. 48-51; EX1007 ¶¶138-142.

        At best, Ground 2 is little more than an attempt to backfill Ground 1 by adding

 “Lin and/or Ahmad.” Thus, Ground 2 inherits all the defects discussed above with

 respect to Ground 1. Ground 2 is further deficient because the petition misrepresents

 the disclosures of Lin and Ahmad, and provides only unsupported and conclusory

 remarks regarding motivation to combine and expectation of success. See EX2009

 ¶94.

        A.    The petition fails to assess the full scope and content of Lin and
              Ahmad
        Petitioner cites to Lin and Ahmad solely to address the claimed range of

 cationic lipid in claims 1 and 4. Pet. 49. However, Ground 2 fails because the

 petition presents a misleading and incomplete assessment of the prior art, and never

 addresses the prior art’s express instruction to minimize the level of cationic lipid.

 See also EX2009 ¶¶94-102.



                                           33

                                                                              JA002515
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1239 of 1274 PageID #:
                                    9545



        Lin and Ahmad are directed to lipoplexes — fundamentally different lipid

 particles than the claimed nucleic acid-lipid particles. The ’196 PCT, among other

 publications including a patent to Dr. Janoff, explicitly distinguishes lipoplexes

 from the claimed nucleic acid-lipid particle. EX1002 ¶8 (defining “cationic

 liposome complex” as lipoplex); EX2007, 2:27-28 (same); compare EX1002, ¶6

 (“Cationic liposome complexes, however, are large, poorly defined systems that are

 not suited for systemic applications and can elicit considerable toxic side effects.”)

 with id., ¶2 (“[T]he present invention is directed to using a small interfering RNA

 (siRNA) encapsulated in a serum-stable lipid particle having a small diameter

 suitable for systemic delivery.”); compare EX2007, 2:26-40 (patent to Janoff

 explaining that “lipoplexes suffer from several major drawbacks when used in gene

 therapy, including low stability, high cytotoxicity, non-biodegradability, poor

 condensation and protection of DNA, serum sensitivity, large size and lack of tissue

 specificity.”) with id., 2:52-67 (explaining that liposomes, unlike lipoplexes, can

 encapsulate nucleic acids and are not cytotoxic); EX2028, 122:1-24 (explaining that

 the inventors did not define the term SNALP as inclusive of lipoplex); see also

 EX2009, ¶¶94-99.

        The petition brushes aside the distinctions between lipolexes and nucleic

 acid-lipid particles by stating that “the Lin and Ahmad systems tested helper lipids

 and cationic lipids to create carrier particles for nucleic acids, i.e., ‘nucleic acid-lipid


                                             34

                                                                                  JA002516
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1240 of 1274 PageID #:
                                    9546



 particles,’ the same general carrier particles described in the Patent Owner’s prior

 disclosures.” Pet. 50. Not so. As explained by Dr. Thompson, and confirmed by Dr.

 Janoff, a POSITA would have recognized that the lipoplexes disclosed by Lin and

 Ahmad are distinct from the claimed nucleic acid-lipid particles. EX2007, 2:26-40.

 Among other differences, lipoplexes have different compositions than nucleic

 acid-lipid particles. See e.g., EX1005 at 2 (describing lipoplexes that comprise DNA

 and cationic and neutral lipids); EX1006 at 2-3 (same); EX1002 ¶¶6, 8 (contrasting

 lipoplex and nucleic acid-lipid particle compositions); see also EX2009, ¶¶100-101.

         Given the fundamental differences between lipoplexes and the claimed

 nucleic acid-lipid particles, a POSITA would not have found teachings regarding

 lipoplexes to be instructive for the development of the claimed invention. EX2009,

 ¶100.

         As explained by Dr. Thompson, even if considered relevant, neither reference

 teaches or suggests increasing the cationic lipid content above 50 mol %. For

 example, the transfection efficiency of DOSPA/DOPC lipoplexes is insensitive over

 the range of 20 mol % to 100 mol % cationic lipid and DOTAP/DOPE lipoplexes are

 insensitive to cationic lipid increases over the entire tested range (0 mol % to 70 mol

 %). EX1005, FIG. 4A, 4D. Similarly, Ahmad discloses that transfection efficiencies

 for most lipoplexes are insensitive to cationic lipid increases over the range of 40

 mol % to 80 mol % cationic lipid content. EX1006, Figure 3A. Consequently, there


                                           35

                                                                             JA002517
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1241 of 1274 PageID #:
                                    9547



 is no teaching or suggestion in Lin or Ahmad to increase the cationic lipid

 component above 50%. See EX2009 ¶101.

        Moreover, Ahmad expressly teaches that cationic lipid content should be

 minimized. EX1006 at 7 (“Minimizing the amount of cationic lipid is desirable to

 reduce cost as well as potential toxic effects of the cationic lipid.”). In the Institution

 Decision, the Board commented that this teaching from Ahmad is not necessarily

 persuasive that Ahmad does not encourage increased amounts of cationic lipid in

 certain circumstances.” Paper 15 at 31-32. Dr. Thompson respectfully disagrees and

 notes that Ahmad’s statement of minimizing the amount of cationic lipid is without

 qualification and is consistent with the literature at the time. See Section IV. A

 POSITA would recognize that the aversion for high levels of cationic lipid is well

 documented in the literature, and would not dismiss the problems of cytotoxicity

 associated with cationic lipids as limited only to particular circumstances. See

 EX2009, ¶102-4.

        B.     The petition fails to demonstrate motivation to combine
        With respect to a motivation to combine Lin and Ahmad with “Patent

 Owner’s prior disclosures,” the petition offers only conclusory and inaccurate

 statements. See EX2009 ¶105.

        The petition states that a POSITA “would have been aware that the lipid

 proportions used could impact transfection efficiency.” Pet. 50. The petition in


                                             36

                                                                                 JA002518
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1242 of 1274 PageID #:
                                    9548



 essence, suggests that the prior art provided an invitation to conduct further

 experimentation and research, but such invitation does not amount to a motivation to

 combine. Eurand, Inc. v. Mylan Pharms., Inc., 676 F.3d 1063, 1072 (Fed. Cir. 2012)

 (“Evidence of obviousness, …, is insufficient unless it indicates that the possible

 options skilled artisans would have encountered were ‘finite,’ ‘small,’ or ‘easily

 traversed,’ and that skilled artisans would have had a reason to select the route that

 produced the claimed invention.”); see also EX2009, ¶¶106-7. Furthermore, a

 POSITA would have also been aware that lipid proportions affect, inter alia,

 stability, aggregation, toxicity, and immune stimulation in addition to transfection

 efficiency. EX2009, ¶¶25-35. The invention is not simply a nucleic acid-lipid

 particle that is capable of transfecting cells, but one which avoids the known and

 well-documented problems associated with cationic lipid-containing particles.

 Petitioner fails to indicate how—or even which—“lipid proportions” should be

 manipulated to impact transfection efficiency. As explained above, the properties of

 nucleic acid-lipid particles do not depend on any single component. See id., ¶¶57-59

       Accordingly, any motivation to combine expressed in the petition is based on

 a misguided understanding of the art. See EX2009 ¶¶105-7.

       C.     The petition fails to show any reasonable expectation of success
       The petition states that “given the success of generating nucleic acid-lipid

 particles with a cationic lipid proportion greater than 50% … a POSITA would have


                                           37

                                                                             JA002519
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1243 of 1274 PageID #:
                                    9549



 appreciated a reasonable expectation of doing so.” Pet. 50-51. Petitioner does not

 identify what disclosures it relies upon, or where such “given” success can be

 located in the references. First, Lin and Ahmad do not teach or suggest generating

 nucleic acid-lipid particles at all. Second, none of the nucleic acid-lipid particle

 compositions disclosed in the ’196 PCT and the ’189 publication have cationic lipid

 content greater than 50 mol %. EX1002 ¶¶ 216, 223, 228, 232 (disclosing

 formulations of 7.5 mol % and 15 mol % cationic lipid); EX1003 ¶¶289, 291-293,

 295, 303, 311, 319, 327, 335, 343, 351, 361, 369, 377, 385 (disclosing compositions

 of 30 mol % and 40 mol % cationic lipid). Accordingly, the petition’s basis for

 reasonable expectation of success is unsupported in the prior art. See EX2009 ¶107.

       Petitioner’s stated expectation of success becomes little more than circular

 and conclusory reasoning. Petitioner assumes that success is a “given,” and then

 uses this assumption as a basis for concluding that success would be expected. The

 combination of references of Ground 2 does not support the requisite expectation of

 success.

       Claims 1-20 are not obvious over “Patent Owner’s prior disclosures” in view

 of Lin and/or Ahmad for the reasons stated above. Additionally, as will be discussed

 in detail below, objective indicia of nonobviousness further support the patentability

 of claims 1-20. See Section X.




                                           38

                                                                               JA002520
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1244 of 1274 PageID #:
                                    9550



    IX.       RESPONSE TO GROUND 3
       The petition impermissibly conflates alternate theories of anticipation and

 obviousness into a singular discussion such that it is impossible to discern which of

 the various portions of the ’554 publication cited to are meant to support which

 alternate theory. See Wasica Fin. GmbH v. Cont’l Auto. Sys., 853 F.3d 1272, 1286

 (Fed. Cir. 2017) (affirming patentability determination where “[Petitioner] offered

 only a conclusory and sweeping allegation that ‘to the extent that any of the

 variances in claim scope are not necessarily shown in the above [anticipation

 analysis], such variances would have been obvious to a [POSITA].’”). However,

 regardless of which theory is being asserted, the ’554 publication neither anticipates

 nor renders obvious the claimed invention. See also EX2009 ¶108.

       A.     The prior art does not disclose each and every element of the
              challenged claims
       Petitioner appears to advance both anticipation by the L054 lipid mixture, and

 anticipation by ranges of components of lipid particles. Both theories fall far short of

 what the law requires.

              1.     L054 is not a nucleic acid-lipid particle
       The petition asserts that claim 1 is anticipated by the L054 lipid mixture. Pet.

 52. A claim is anticipated only if each and every limitation recited in the challenged

 claim is found in a single prior art reference. Net MoneyIN, Inc. v. VeriSign,

 Inc., 545 F.3d 1359, 1371 (Fed. Cir. 2008). Claim 1 recites a nucleic acid-lipid

                                           39

                                                                              JA002521
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1245 of 1274 PageID #:
                                    9551



 particle with specific concentration ranges of a cationic lipid (50 mol% to 85 mol%),

 non-cationic lipid (13 mol% to 49.5 mol%), conjugated lipid (0.5 mol% to 2 mol%)

 in a nucleic acid-lipid particle. The L054 lipid mixture is not a particle and fails to

 meet at least these limitations. See EX2009 ¶109-10.

       L054 is not a lipid particle, but rather a mixture, i.e., the lipid solution that

 may be used to make particles. The petition wrongly assumes that the solution and

 any resulting particle would have the same molar ratio of components. Quite the

 contrary, the input formulation (i.e., nucleic acid and lipid mixture) and the output

 formulation (i.e. lipid particles) are not identical. EX2028, 155:2-25, 156:1-157:11

 (explaining that input versus final lipid-to-drug ratio may be different),

 157:15-158:16 (explaining that, for instance, cholesterol may not be recovered in the

 lipid particle). Even the ’435 patent explains that the lipid-to-drug ratio (i.e., lipid to

 nucleic acid ratio) calculated from the input components is not identical to that of the

 finished product. See, e.g., EX1001, 79:50-80:9 (reporting different input and final

 lipid to drug ratios for SNALP formulations); see also EX2009 ¶109-10.

       It was widely documented in the art that a finished lipid particle must be tested

 to determine its composition. EX2012 at 7242; see also EX1004 ¶634. It was known

 that the method of lipid particle formation effects the incorporation of lipids and

 nucleic acids into finished particles. EX1004 ¶¶165, 463; see also EX2009, ¶109-14.




                                             40

                                                                                 JA002522
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1246 of 1274 PageID #:
                                    9552



       The significance of the difference between the starting lipid ratio and that of

 the final lipid particle is one the reasons why FDA Guidance specifies identifying

 the lipid ratio of the finished formulation. EX2013 at 3 (recommending labeling with

 the “amount of each lipid component used in the formulation based on the final form

 of the product” and “[a]n expression of the molar ratio of each individual lipid to the

 drug substance is also recommended for each individual lipid in the finished

 formulation), 8 (recommending reporting of “characteristics or attributes specific to

 the liposome formulation” including “[l]ipid content (to demonstrate consistency

 with the intended formulation).”); see also EX2009, ¶109-15.

       The ’554 publication is entirely silent as to the composition of the particle

 formed from the L054 mixture. The L054 lipid mixture cannot meet each and every

 limitation recited in independent claim 1. EX2028, 157:15-158:16; see also EX2009

 ¶¶115-16.

       Claim 1 also recites “[a] nucleic acid-lipid particle.” As discussed above, the

 term “nucleic acid-lipid particle” excludes particles that do not encapsulate nucleic

 acid. The encapsulation state of the nucleic acids in lipid particles made with the

 L054 lipid mixture is entirely unaddressed. Encapsulation of nucleic acids cannot be

 assumed based on the composition and formulation method. See EX2007, 4:11-19;

 see also EX2009 ¶117-18.




                                           41

                                                                             JA002523
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1247 of 1274 PageID #:
                                    9553



       Moreover, the ’554 publication does not define “encapsulate,” disclose

 encapsulation level for any nanoparticle composition, nor disclose an assay for

 determining whether or not a nucleic acid is encapsulated in a lipid particle.

 Petitioner’s expert testified that context is needed in order to know what is meant by

 the term “encapsulate” — that is, it has more than one meaning. See, e.g., EX2028,

 137:16-138:16, 146:22-147:1 (“I don’t know what we really mean by encapsulated

 DNA, and I don’t know what the method is, ….”), 147:18-22 (“Q. You don't know

 what encapsulation means? A. It’s a fungible term. It means different things to

 different people in different contexts.”). Petitioner’s expert has also asserted, in the

 context of one of his own patents, that testing is needed to determine encapsulation.

 EX2007, 4:11-19; see also EX2009 ¶¶118-19.

       In contrast to the ’554 publication, the ’435 patent provides a definition, an

 assay for encapsulation, and reports encapsulation values. See, e.g., EX1001,

 22:55-62 (“In preferred embodiments, a SNALP comprising a nucleic acid such as

 an interfering RNA (e.g., siRNA) is fully encapsulated within the lipid portion of the

 particle, thereby protecting the nucleic acid from nuclease degradation. In certain

 instances, the nucleic acid in the SNALP is not substantially degraded after exposure

 of the particle to a nuclease at 37°C. for at least about 20, 30, 45, or 60 minutes.”),

 Tables 2-6. Petitioner’s expert agrees that the ’435 patent provides the necessary

 context for “encapsulation.” EX2028, 198:4-17, 199:5-9 (“Q. So it’s encapsulated in


                                           42

                                                                               JA002524
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1248 of 1274 PageID #:
                                    9554



 some way? You're just giving a specific way? A. Encapsulated in the lipid

 portion.”). That is, a nucleic acid is encapsulated when it is inside the lipid particle

 and protected from nuclease degradation. See also EX2009 ¶¶117-19.

       Separately, both experts agree that there is no meaningful difference between

 the inventive lipid particles of the ’435 patent and SNALP. Id., ¶120. That is, the

 inventive lipid particles are serum-stable nucleic acid-lipid particles that are

 “extremely useful for systemic applications” which “can exhibit extended

 circulation lifetimes following intravenous (i.v.) injection.” EX1001, 11:36-38. The

 ’554 publication distinguishes between embodiments formulated for in vitro use and

 those formulated for in vivo use. See, e.g., EX1004 ¶¶136, 462. Having emphasized

 this distinction, the ’554 publication then proceeded to only test L054 in vitro. See

 Id., ¶395. Nor were L054-derived particles evaluated for serum stability. See Id.,

 ¶¶158, 592, 596. A POSITA would have expected the L054-dervied lipid particles to

 be too toxic and inappropriate for systemic use based on the structure of the cationic

 lipid (i.e. DMOBA). EX2009, ¶¶121-22.

       In sum, an anticipation theory based on L054 is deficient in many aspects,

 including not expressly or inherently meeting each of the recited claim limitations.

 See EX2009 ¶123.




                                            43

                                                                               JA002525
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1249 of 1274 PageID #:
                                    9555



              2.     The prior art ranges are not sufficiently specific
       Petitioner also cites to various ranges in the ’554 publication. To the extent

 that such citations are intended to advance an anticipation theory, such theory also

 fails. See EX2009 ¶¶124-25.

       Anticipation requires that a reference clearly and unequivocally disclose the

 claimed invention without any need for picking, choosing, and combining various

 disclosures not directly related to each other in the cited reference. In re Arkley, 455

 F.2d 586, 587-88 (CCPA 1972); see also Net MoneyIN, 545 F.3d at 1371. Here,

 Petitioner fails to demonstrate that the disparate ranges of various components in the

 ’554 publication represent a single lipid particle formulation. The Petition cites to

 three different paragraphs in the ’554 publication for the ranges of the different lipid

 components. Pet. 53-56 (citing to EX1004 ¶¶116, 118, 313). Yet, each of these

 paragraphs states that the disclosed ranges are applicable to one embodiment. There

 is no indication that those embodiments are to be combined or are related to one

 another. These paragraphs state that “in one embodiment” the cationic lipid

 component can span four different ranges. Further, “in one embodiment” the neutral

 lipid component can span two different ranges. Still further, “in one embodiment”

 the PEG conjugate can span two different ranges. No explanation is provided as to

 how these eight different ranges for three different components might be combined.

 See EX2009, ¶¶125-29.


                                           44

                                                                              JA002526
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1250 of 1274 PageID #:
                                    9556



       Contrary to Petitioner’s representation, considerable differences exist

 between the prior art ranges and the claimed ranges. See also Atofina v. Great Lakes

 Chem. Corp., 441 F.3d 991, 999 (Fed. Cir. 2006) (“Considerable difference”

 between the claimed range and the prior art weighed against a finding of sufficient

 specificity). In Atofina, the claim at issue required that a “process be conducted in

 the presence of 0.1 to 5 moles of oxygen per 100 moles of methylene chloride, at a

 temperature of between 330 and 450 [degrees] C.” With respect to the oxygen ratio,

 the prior art disclosed a range of “0.001 to 1.0 percent” Id. at 1000. However, the

 Federal Circuit reasoned that the prior art range “overlaps but does not fall within the

 range of ratios claimed” and that “the disclosure of a 0.001 to 1.0 percent range in

 [the prior art] does not constitute a specific disclosure of 0.1 percent to 5.0 percent.”

 Id. “No reasonable fact finder could determine that this overlap describes the entire

 claimed range with sufficient specificity to anticipate this limitation of the claim.”

 Id. With respect to the temperature range, the prior art disclosed a much broader

 range of 100 to 500 °C. Even though the prior art fully encompassed the claimed

 range, the Federal Circuit explained that “[g]iven the considerable difference

 between the claimed range and the range in the prior art, no reasonable fact finder

 could conclude that the prior art describes the claimed range with sufficient

 specificity to anticipate th[e] limitation.” Id. at 999; see also EX2009, ¶¶130-32.




                                            45

                                                                               JA002527
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1251 of 1274 PageID #:
                                    9557



       The fact pattern and holding of Atofina is applicable here. Claim 1 recites a

 cationic lipid range of 50 mol % to 85 mol %. For this limitation, Petitioner relies on

 the prior art ranges of “about 2% to about 60%” and “about 40% to about 50%.” Pet.

 53 (citing EX1004 ¶116). Neither range is representative of the cationic lipid range

 of claim 1. Further, a POSITA would not consider the ranges in the ’554 publication

 as describing the claimed range with sufficient specificity. EX2009, ¶¶130-32.

       Similarly, independent claim 1 recites a conjugated lipid range of 0.5 mol %

 to 2 mol%. Here, Petitioner relies on the disclosed range of “about 1% to about

 20%.” Again, the claimed range and the prior art range are considerably different.

 The prior art broadly suggests any concentration from 1% up to about 20%. In

 contrast, the claimed range is limited to 0.5 mol% to 2 mol%. As in Atofina, the

 small overlap does not describe the entire claimed range with sufficient specificity to

 anticipate the limitation. EX1007 ¶¶148, 150, 151; see also EX2009, ¶¶130-32.

       B.     The challenged claims are not obvious over the ’554 publication
       With respect to an obviousness theory in Ground 3, this fails for many of the

 same reasons discussed in Ground 1: 1) It considers each component in a piecemeal

 fashion without addressing the claims as a whole, 2) fails to articulate any reason to

 combine the prior art disclosures, and 3) does not articulate any reasonable

 expectation of success in making the proposed modifications. See EX2009

 ¶¶133-34.


                                           46

                                                                             JA002528
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1252 of 1274 PageID #:
                                    9558



        As discussed in responding to Ground 1, the Petitioner fails to address the

 claims as a whole. Supra, Section VII. The claimed invention is a nucleic acid-lipid

 particle that simultaneously has both a high level of cationic lipids and a low level of

 conjugated lipids. Petitioner does not provide any showing that the ’554 publication

 would have taught or suggested the use of nucleic acid-lipid particles with high

 levels of cationic lipids and low levels of conjugated lipids. EX2009 ¶135. Given the

 highly interdependent nature of the components claimed, Petitioner’s per-limitation

 approach to addressing the concentrations of cationic lipid, non-cationic lipid, and

 conjugated lipid is inadequate to address the claimed invention as a whole. See id.,

 ¶¶57-59.

        A conclusion of obviousness requires articulating reason to combine or

 modify the prior art — Petitioner provides none. See EX2009, ¶¶136-37.

        The petition also injects a single sentence “obvious to try” rationale at page

 56. Under “obvious to try” the petition must at least analyze “the characteristics of

 the science or technology, its state of advance, the nature of the known choices, the

 specificity or generality of the prior art, and the predictability of results in the area of

 interest.” Abbott Labs. V. Sandoz, Inc., 544 F.3d 1341, 1352 (Fed. Cir. 2008).

 Petitioner does not address any of those factors.

        The requisite discussion of whether there was a reasonable expectation of

 success is also nonexistent in Ground 3. Petitioner never once addresses whether a


                                             47

                                                                                  JA002529
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1253 of 1274 PageID #:
                                    9559



 POSITA would have reasonably expected any modification to be successful. See

 EX2009, ¶¶136-37.

       C.     Dependent Claims 2-20
       Dependent claims 2-20 are neither anticipated nor rendered obvious at least

 for the reasons discussed above, and by virtue of their dependency from claim

 1—which the petition fails to demonstrate as unpatentable. Furthermore, claims 4, 5,

 7, and 12 recite additional limitations that provide for an even more coextensive

 nexus with the unexpected results disclosed in the ’435 patent. See EX2009

 ¶¶140-45, 148-50, 159. The challenges to claims 2-20 are also not presented with the

 requisite degree of particularity. 35 U.S.C. § 312(a)(3); 37 C.F.R. § 42.104(b); see

 also POPR, 19-22. The petition cites to disclosure in the ’554 publication, but often

 fail to indicate how the cited disclosure relates to the previous discussion of claim 1

 or whether the assertion is one of anticipation or obviousness. For a vast majority of

 the claims, it is entirely unclear what the specific basis of challenge is being

 advanced. For example, the petition does not state whether claims 2, 3, 5, 6, 9, and

 13-20 are being challenged as allegedly anticipated or obvious. EX2009 ¶¶138-39.

       Additional discussion for some of claims 2-20 is provided below.

              1.     Claim 5
       The L054 mixture does not anticipate claim 1 and therefore cannot anticipate

 claim 5. Paragraphs 85 and 455 do not disclose nucleic acid-lipid particle


                                           48

                                                                              JA002530
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1254 of 1274 PageID #:
                                    9560



 compositions that contain a mixture of phospholipid and cholesterol. To the extent it

 is argued that a POSITA might select phospholipid and cholesterol for inclusion in a

 nucleic acid-lipid particle, the petition does not provide a reason to do so, nor any

 reasonable expectation of success. EX2009 ¶¶142-45.

              2.     Claim 6

       Picking and choosing claim elements from a long list of neutral lipids in

 paragraph 85, randomly combined with other unspecified components, is not

 sufficient under an anticipation theory. To the extent it is argued that paragraph 85

 makes obvious claim 6, the petition does not provide a reason to select DPPC and

 DSPC from this long list for incorporation into a lipid particle, nor a reasonable

 expectation of success. EX2009 ¶¶146-47.

              3.     Claim 7
       If anticipation is being argued, the challenge fails because the ’554

 publication does not disclose any ranges for phospholipids. If obviousness is being

 argued, it fails because it is based on a series of unexplained assumptions (e.g.,

 “when cholesterol is present,” “when combined with a cationic lipid proportion in

 the 60% range”) and calculations using unrelated disclosures. EX2009 ¶¶148-50.

              4.     Claim 8
       Claim 8 depends from claims 1 and 5. If anticipation is argued there is no

 relationship between the disclosure mapped for claim 8 to that mapped for claims 1

 and 5. If obviousness is argued, this challenge fails because claim 8 depends from
                                           49

                                                                               JA002531
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1255 of 1274 PageID #:
                                    9561



 claim 5 which requires a mixture of phospholipid and cholesterol. This

 “encompassing range” for cholesterol does not make any mention of phospholipid

 and thus is missing a claim element. Additionally, neither a reason to combine these

 disclosures nor a reasonable expectation of success are addressed.

       The petition refers to a formulation which includes cholesterol at a 30%

 proportion, citing Table 4 (e.g., L106).” EX1007 ¶160. First, L106 is simply a lipid

 mixture—not a particle. Second, if particles were made from L106, they would not

 meet the limitations of claim 8. L106 has 3% conjugated lipid, which is well above

 the range of claim 1 (i.e., 0.5% to 2%). Further L106 does not “comprise[] a mixture

 of a phospholipid and cholesterol or a derivative thereof” as required by claim 5.

 L106, as with the other examples from the ’554 publication with 30% cholesterol,

 does not meet the limitations of claim 8. EX2009 ¶¶151-55.

              5.    Claim 11
       The ’554 publication does not disclose PEG-dialkyloxypropyl (PEG-DAA)

 conjugates as required in claim 11, as admitted in the petition, and thus does not

 anticipate claim 11. See EX2009 ¶156.

       The petition alleges that “PEG-dialkyloxypropyl (PEG-DAA) conjugates

 could be used in lieu of PEG-diacylglycerol (PEG-DAG) conjugates” as disclosed in

 Patent Owner’s “’910 publication.” Pet. 61 (citing EX1014). EX1014 is not the ’910

 publication. Regardless, this argument is based on the false assumption that


                                          50

                                                                            JA002532
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1256 of 1274 PageID #:
                                    9562



 PEG-DAG and PEG-DAA conjugates are interchangeable. PEG-DAG conjugates

 have an ester moiety linking the acyl chains (R1 and R2 in the figure below) to the

 backbone whereas PEG-DAA conjugates have an ether moiety linking the acyl

 chains to the backbone. See EX1001, 53:53-54:14. As compared to PEG-DAA

 conjugates, PEG-DAG conjugates are more hydrophilic which directly impacts the

 physical properties of the particles. Moreover, PEG-DAG conjugates are more

 easily metabolized by cells. A POSITA would not consider PEG-DAG and

 PEG-DAA conjugates to be equivalent or interchangeable and would not have

 reason to substitute them as alleged in the petition. EX2009 ¶¶156-58.




              PEG-DAG                 PEG-DAA

              6.     Claim 13
       The petition alleges that “a POSITA would understand that full encapsulation

 requires only an excess of cationic lipid with regard to the nucleic acid for

 electrostatic interaction.” EX1007 ¶165. But both experts agree that encapsulation



                                           51

                                                                             JA002533
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1257 of 1274 PageID #:
                                    9563



 cannot be inferred from the composition or production method and must be

 determined by testing. EX2007, 4:15-19; EX2009 ¶¶160-62.

              7.     Claims 14, 16-20
       If anticipation is argued, these challenges fail because there is no relationship

 between the disclosure mapped for claims 16-20 to the disclosure asserted in claim

 1. EX2009 ¶¶163-67.

       If asserting obviousness, a POSITA would not find it obvious to administer

 the nanoparticles of the ’554 publication to mammalian subjects in vivo. This is

 because, inter alia, a POSITA would have expected the disclosed nanoparticles to be

 too toxic for in vivo administration. As explained by Dr. Thompson, a POSITA

 would have expected DMOBA and DMLBA (see Table IV) to be too toxic for in

 vivo administration, including organ toxicity. Lipid particles using DMOBA and

 DMLBA were considered inappropriate for systemic use. Consequently, claims

 16-20 are not obvious. EX2009 ¶¶163-67.

       Claims 1-20 are not anticipated and not obvious over the ’554 publication for

 the reasons stated above. Additionally, as will be discussed in detail below, objective

 indicia of nonobviousness further support the patentability of claims 1-20. See

 Section X.




                                           52

                                                                             JA002534
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1258 of 1274 PageID #:
                                    9564



    X. OBJECTIVE INDICIA OF NONOBVIOUSNESS
       Objective indicia of non-obviousness “guard against slipping into the use of

 hindsight, and the temptation to read into the prior art the teachings of the invention

 in issue.” Graham, 383 US at 17-18, 36. They may include the existence of a

 long-felt but unsatisfied need for the invention, failure of others, unexpected results,

 and others. Id.; Apple Inc. v. Samsung Elecs. Co., 839 F.3d 1034, 1052 (Fed. Cir.

 2016) (en banc). Objective evidence of non-obviousness “may often be the most

 probative and cogent evidence in the record.” Id. (quoting Stratoflex, Inc. v.

 Aeroquip Corp., 713 F.2d 1530, 1538-39 (Fed. Cir. 1983)). “Objective indicia of

 nonobviousness must be considered in every case” where presented and “it is error

 to reach a conclusion of obviousness until all [Graham] factors [including objective

 indicia] are considered.” Id. at 1048.

       There is a presumption of nexus for objective considerations when a patentee

 shows that the asserted objective evidence is tied to a specific product and that

 product “is the invention disclosed and claimed in the patent.” WBIP, LLC v. Kohler

 Co., 829 F.3d 1317, 1339 (Fed. Cir. 2016)(quoting J.T. Eaton & Co. v. Atl. Paste &

 Glue Co., 106 F.3d 1563, 1571 (Fed. Cir. 1997)). In the present case, the ʼ435 patent

 is listed in the Orange Book for patisiran and independent claim 1 and several

 dependent claims cover the product. This nexus supports the objective evidence

 discussed.


                                           53

                                                                              JA002535
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1259 of 1274 PageID #:
                                    9565



         The nucleic acid-lipid particles claimed by the ’435 patent have achieved

 tremendous recognition in the field as embodied by a first-in-class siRNA drug.

 EX2024 (“FDA approves first-of-its kind targeted RNA-based therapy to treat a rare

 disease.”). The drug, patisiran — tradename “Onpattro” — is encompassed by claim

 1. EX2019, Table 1. The ’435 patent is listed in FDA’s Orange Book as protecting

 patisiran. EX2027. Patisiran received regulatory approval in the United States, and

 was recommended for approval in Europe. EX2024; EX2025; see also EX2009

 ¶168.

         Patisiran is the first therapy based on RNA interference (RNAi), to silence

 specific genes linked to disease. See, e.g., EX2023 at 291. FDA approval was hailed

 in the industry: “This approval is key for the RNAi field,” stated James Cardia, head

 of business development at RXi Pharmaceuticals, which is developing RNAi

 treatments. “This is transformational.” See EX2009 ¶190.

         The nucleic acid-lipid particle formulations of the ’435 patent solved a

 long-felt need for compositions that could safely and effectively deliver nucleic

 acids to target cells of patients. Skilled artisans were skeptical that compositions

 having high levels of cationic lipid (i.e., 50 mol % to 85 mol %) and low levels of

 conjugated lipid (i.e., 0.5 mol % to 2 mol %) would be effective and well-tolerated

 when administered in vivo. The combination of effectiveness and low toxicity that




                                           54

                                                                              JA002536
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1260 of 1274 PageID #:
                                    9566



 characterizes the claimed compositions surprised many in the field, and finally

 solved the delivery problem that hindered the field of siRNA drugs. See id., ¶168-69.

       A.     Long-felt need
       “Evidence of a long-felt but unresolved need can weigh in favor of the

 non-obviousness of an invention because it is reasonable to infer the need would not

 have persisted had the solution been obvious.” Apple, 839 F.3d at 1056.

       The therapeutic potential of RNAi has been appreciated for over 25 years,

 however effectively delivering short-interfering RNA to target cells without

 eliciting vehicle-related toxicity has prevented realization of this potential. See, e.g.,

 EX2011 at 38, 42; EX2014 at 11; see EX2009 ¶¶170-71.

       The mid-2000’s saw dramatic growth and investment in RNAi-based

 therapeutics. Yet, despite $2.5-3.5 billion in investment, no solution for the delivery

 problem had been found. EX2015 at 1; EX2009 ¶¶171-73.

       By 2008, the industry-wide failure to identify a solution to the delivery

 challenge resulted in waning confidence that RNAi could deliver on its therapeutic

 promise. EX2015 at 2, 10. Much of the delivery technologies identified around this

 time are inferior to Patent Owner’s claimed technology. EX2015 at 10 (“Roche’s

 Factor VII patent application (WO 2010/055041) features Alnylam’s ‘lipidoid’

 technology for the rodent studies, but then switched to [Patent Owner’s] SNALP




                                            55

                                                                                JA002537
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1261 of 1274 PageID #:
                                    9567



 liposomes for the nonhuman primate part of the patent application.”). See EX2009

 ¶174.

         Prior to the first publication of the ’435 patent disclosure, Alan Sachs, leader

 of RNA Therapeutics at Merck, identified delivery as the challenge to successfully

 developing RNAi drugs.

         What’s interesting about what we do is that the drug isn’t the problem.

         It’s the delivery of it.

 EX2016. As explanation for the lack of viable delivery chemistries, Dr. Sachs

 elaborated on the nature of the challenge. See EX2009 ¶175.

         If it were so easy [with targeted therapeutics], one would have to
         describe why so few examples exist. The same is true in the RNAi
         delivery process. You can write down the steps. You can write down
         what you think will happen. But then you have to put it in a
         50-nanometer particle that’s safe and potent to deliver.

 EX2016 at 4; see also EX2009 ¶176.

         The long-felt need for a siRNA delivery vehicle and the difficulty in finding a

 solution is further exemplified by the 500 person-years and $200M that Patent

 Owner invested into SNALP technology. EX2015 at 8; see also EX2009 ¶177.

         Prior to the serum-stable nucleic acid-lipid particles disclosed in the ’435

 patent, there were no proven solutions to the delivery problem that had long plagued

 the industry. EX2009 ¶178.


                                            56

                                                                               JA002538
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1262 of 1274 PageID #:
                                    9568



       B.     Failure of Others
       “Evidence that others tried but failed to develop a claimed invention may

 carry significant weight in an obviousness inquiry.” Eurand, 676 F.3d at 1081.

 “[L]ittle better evidence negating an expectation of success than actual reports of

 failure.” Boehringer Ingelheim Vetmedica, Inc. v. Schering-Plough Corp., 320 F.3d

 1339, 1354 (Fed. Cir. 2003).

       The obviousness grounds in the petition demonstrate that there is long-term

 evidence of a failure of others to achieve the claimed invention. The petition is based

 on the argument that there is a general motivation to obtain efficacious nucleic

 acid-lipid particles formulated or suitable for systemic delivery, yet the fact remains

 that, despite any general motivation, no prior art publication teaches achievement of

 the serum-stable nucleic acid-lipid particles of the invention. Indeed, due to toxicity

 and other concerns the cited references would have led a POSITA to formulate

 particles having low cationic lipid and relatively higher conjugated lipid to shield the

 particles from toxicities. E.g. EX2009 ¶¶25-35, 62, 174.

       Despite the motivation alleged in the petition, those in the art failed to achieve

 a nucleic acid-lipid particles suitable for systemic delivery for decades, and instead

 suffered through 25 years of industry-wide failure to identify a solution to the

 delivery problem. The failure of others in the industry supports the non-obviousness

 of the ’435 patent. See EX2009 ¶174.


                                           57

                                                                              JA002539
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1263 of 1274 PageID #:
                                    9569



       C.     Skepticism
       “Doubt or disbelief by skilled artisans regarding the likely success of a

 combination or solution weighs against the notion that one would combine elements

 in references to achieve the claimed invention.” WBIP, LLC v. Kohler Co., 829 F.3d

 1317, 1335 (Fed. Cir. 2016). Whether the skepticism is before or after the invention

 matters not. See, e.g., Transocean Offshore Deepwater Drilling, Inc. v. Maersk

 Drilling USA, Inc., 699 F.3d 1340, 1353 (Fed. Cir. 2012) (skepticism even after

 invention is probative of non-obviousness).

       So it was here. The art widely believed that cationic lipid content should be

 minimized to avoid cytotoxicity, aggregation, and unwanted interactions with the

 immune system and non-targeted cells. See EX2009 ¶¶31, 32, 179.

       For example, Dr. Zamore of Alnylam, acknowledged in 2003 that various

 cationic lipid formulations could successfully deliver siRNA to cells in vitro but

 stated that “I wouldn’t want anyone injecting cationic lipids into my bloodstream.”

 EX2011 at 42; see EX2009 ¶180.

       Dr. Sachs of Merck also expressed skepticism, in 2010, as to the safety of the

 SNALP platform for delivery of siRNA.

       First are lipid-based delivery systems. At the time of our acquisition of
       Sirna, they had successfully shown lipid-based delivery to the liver.
       Initially, it was through a collaboration with what is now called [Patent
       Owner]. That was really the leading standard for the area. Several

                                          58

                                                                            JA002540
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1264 of 1274 PageID #:
                                    9570



       [applications to begin clinical trials] have been filed with the FDA. We
       spent a lot of internal research money and time on novel lipids. The
       liability of that platform is absolutely its safety.
 EX2016; see EX2009 ¶181.

       These facts rebut the hindsight-driven analysis and assertions of the petition

 that the nucleic acid-lipid particle compositions of the invention would have been

 obvious to a POSITA in April 2008. See EX2009 ¶179-81.

       D.     Unexpected Results
       Completely absent from the petition is any discussion of the real-world facts

 that the nucleic acid-lipid particle composition for systemic administration was met

 with skepticism before it was employed in clinical trials, and its results found

 surprising after the data were released and FDA approval granted. See EX2028,

 54:21-55:4 (Dr. Janoff is unfamiliar with Onpattro™ (patisiran)). Indeed, it was

 surprising and entirely unexpected that the first FDA approved RNAi drug to meet

 the long-felt need for a delivery vehicle for RNAi drugs was one that does not

 minimize the cationic lipid component. Even more surprisingly the claimed

 formulation has a low level of conjugated lipid. EX2009 ¶¶182.

       Patent Owner’s patents and publications published after the filing date of the

 ’435 patent provide data regarding additional compositions of claim 1. For example,

 in U.S. Patent No. 8,236,943 (EX2017) and U.S. Publication No. 2013/0116307

 (EX2018), eight different cationic lipids were tested within 1:57 formulations.

                                           59

                                                                             JA002541
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1265 of 1274 PageID #:
                                    9571



 EX2017, Figure 7; EX2018, Figure 5. Each formulation exhibited gene silencing

 activity far superior to that of the control PBS group. EX2009 ¶¶183-85.

       Yet other 1:57 formulations were disclosed in Semple et al., Rational Design

 of Cationic Lipids for siRNA Delivery, 28 Nature Biotechnology 172-178 (2010)

 (“Semple,” EX2021). Specifically, Semple tested 1:57 formulations that used KC2

 as the cationic lipid. EX2021 at 177. Importantly, Semple measured gene silencing

 following systemic administration in non-human primates. EX2021 at 174. Semple

 found the formulations to be well-tolerated and effective. EX2021 at 175; EX2022,

 Table 4; see also EX2009 ¶186.

       U.S. Publication No. 2017/0307608 to Bettencourt (“’608 publication,”

 EX2019) discloses testing a 1:50 formulation. The ’608 publication is directed to the

 commercial product, Onpattro™ (i.e., patisiran). The patisiran formulation is

 disclosed in Table 1. EX2019 ¶46, Table 1, and converting from milligrams to mol

 % confirms the 1:50 formulation and that patisiran is encompassed by claim 1. See

 EX2009 ¶187.

       The ’608 publication discloses the testing of patisiran in human subjects. As

 with the testing of 1:57 formulations in other animals, patisiran was well tolerated in

 humans. EX2019 ¶103. Patisiran effectively silenced expression of its target — the

 TTR protein. EX2019 ¶121. The disclosed study found clinical benefit to treatment

 of patients with patisiran. EX2019 ¶132; see EX2009 ¶188.


                                           60

                                                                             JA002542
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1266 of 1274 PageID #:
                                    9572



       As explained by Dr. Thompson, a POSITA would understand that the

 surprising and unexpected results of the ’435 patent as exemplified above are not

 limited to formulations comprising specific ratios of components or comprising a

 specific type of cationic lipid. Specifically, between the ’435 patent and subsequent

 publications, nucleic acid-lipid particle compositions of claim 1 were tested and

 found efficacious and well tolerated. Nucleic acid-lipid particle formulations with

 eight different cationic lipids were tested and found efficacious and well tolerated.

 Finally, nucleic acid-lipid particle formulations within the scope of the claims were

 found efficacious and well tolerated in non-human primates and humans. These data

 span nearly the entire claimed ranges of cationic and conjugated lipid and are

 surprising and entirely unexpected in view of the state of the art as of April 2008. See

 EX2009 ¶189.

       E.     Commercial Success
       Patisiran was developed by Alnylam Pharmaceuticals under license from

 Patent Owner. Specifically, Alnylam licenses the nucleic acid-lipid particle

 technology claimed in the ’435 patent from Patent Owner. EX2026. Under the

 license, Alnylam owes Patent Owner royalties on the patisiran product. Id.; see also

 EX2009 ¶¶191-93.




                                           61

                                                                              JA002543
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1267 of 1274 PageID #:
                                    9573



    XI.    THE PETITION DOES NOT COMPORT WITH STATUTORY
       REQUIREMENTS
       The statute governing inter partes review requires that any ground for

 unpatentability be presented “with particularity.” 53 USC §312(b); see also 37 CFR

 §42.104(b). Moreover, in SAS, the Supreme Court noted that §311(a) of the statute

 does not contemplate that the Director may “depart from the petition and institute a

 different inter partes review of his design.” SAS Inst., Inc. v. Iancu, 138 S. Ct. 1348,

 1356 (2018).

       All three grounds presented in the petition include various alternate legal

 theories and/or different permutations or combinations of the “Patent Owner’s prior

 disclosures.” In some instances, the stated grounds are so convoluted that it is

 unclear what basis of review Petitioner is requesting. Ground 3 is particularly

 egregious. Ground 3 is presented as alternate legal theories of anticipation or

 obviousness, none of which are sufficiently explained, and no single theory

 comprehensively addresses the entire set. The petition renders it impossible to

 institute a trial in compliance with SAS.

       While raised earlier, these issues were not addressed in the Institution

 Decision. See POPR at 19-22; EX2008 at X. In fact, the Institution Decision

 compounded these issues when it rejected the petition’s overbroad construction of

 “nucleic acid-lipid particle,” Paper 15 at X, thereby instituting trial of the Board’s

 own design. SAS, 138 S. Ct. at 1356.

                                             62

                                                                              JA002544
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1268 of 1274 PageID #:
                                    9574



 XII. CONCLUSION
       For at least the reasons set forth above, petitioner has failed to meet its burden

 and the challenged claims should be found not unpatentable.

                                         Respectfully submitted,


 Date: December 21, 2018                 / Michael T. Rosato /
                                         Michael T. Rosato, Lead Counsel
                                         Reg. No. 52,182




                                           63

                                                                              JA002545
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1269 of 1274 PageID #:
                                    9575




                      CERTIFICATE OF COMPLIANCE

       Pursuant to §42.24(d), the undersigned certifies that this paper contains no

 more than 14,000 words, not including the portions of the paper exempted by

 §42.24(b). According to the word-processing system used to prepare this paper, the

 paper contains 13,826 words.


                                       Respectfully submitted,


 Date: December 21, 2018               / Michael T. Rosato /
                                       Michael T. Rosato, Lead Counsel
                                       Reg. No. 52,182




                                         64

                                                                           JA002546
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1270 of 1274 PageID #:
                                    9576




       XIII. APPENDIX

  EXHIBIT NO.                             DESCRIPTION

       2001       Declaration of Edward R. Reines in Support of Patent Owner’s
                  Motion for Pro Hac Vice Admission

       2002       In re Reines, No. 14-MA004 (14-4) (Fed. Cir. Nov. 5, 2014)

       2003       Personal Statement of Edward R. Reines

       2004       Tam P. et al., Stabilized Plasmid-Lipid Particles for Systemic
                  Gene Therapy 7 GENE THERAPY 1867-1874 (2000)

       2005       Huang L. et al., Liposomal Gene Delivery: A Complex Package
                  15 NATURE BIOTECHNOLOGY 620-621 (1997)

       2006       Pak C.C., Erukulla R.K., Ahl, P.L., Janoff, A.S. and Meers, P.,
                  Elastase-Activated Liposomal Delivery to Nucleated Cells. 1419
                  BIOCHIM. BIOPHY. ACTA 111-126 (1999)

       2007       U.S. Patent No. 7,491,409

       2008       Transcript of October 2, 2018 Conference Call

       2009       Declaration of David H. Thompson, Ph.D.

       2010       Curriculum Vitae of David H. Thompson, Ph.D.

                  Charles W. Schmidt, Therapeutic Interference: Small RNA
       2011       Molecules Act as Blockers of Disease Metabolism AM. CHEM.
                  SOC’Y 37 (2003)



                                        65

                                                                         JA002547
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1271 of 1274 PageID #:
                                    9577



                  C. Russell Middaugh & Joshua D. Ramsey, Analysis of
       2012       Cationic-Lipid-Plasmid-DNA Complexes, ANALYTICAL
                  CHEMISTRY 7240 (2007)

                  Liposome Drug Products: Chemistry, Manufacturing, and
                  Controls; Human Pharmacokinetics and Bioavailability; and
       2013
                  Labeling Documentation, Guidance for Industry, FOOD AND
                  DRUG ADMINISTRATION (2018)

       2014       Erika Check, RNA to the Rescue? 425 NATURE 10 (2003)

                  Dirk Hausseker, The Business of RNAi Therapeutics in 2012 2
       2015
                  AM. SOC’Y OF GENE & CELL THERAPY (2012)

                  Luke Timmerman, Merck’s Alan Sachs, on RNAi’s Big
       2016       Challenge: Delivery, Delivery, Delivery, XCONOMY (Jan. 21,
                  2010), https://xconomy.com/national/2010/01/21/mercks-alan-
                  sachs-on-rnais-big-challenge-delivery-delivery-delivery/

       2017       U.S. Patent No. 8,236,943

       2018       U.S. Publication No. 2013/0116307

       2019       U.S. Publication No 2017/0307608

                  Combined Declaration for Patent Application and Power of
       2020
                  Attorney in U.S. Patent Application No. 90/914,615.

                  Sean C. Semple, et al., Rational Design of Cationic Lipids for
       2021
                  siRNA Delivery, 28 NATURE BIOTECH. 172 (2010)

                  Supplementary Figures to Sean C. Semple, et al., Rational Design
       2022       of Cationic Lipids for siRNA Delivery, 28 NATURE BIOTECH. 172
                  (2010)

                  Heidi Ledford, Gene-Silencing Drug Approved: US Government
       2023       Okays First RNA-Interference Drug — After a 20-Year Wait 560
                  NATURE 291 (2018)




                                       66

                                                                         JA002548
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1272 of 1274 PageID #:
                                    9578



                  FDA Approves First-of-its Kind Targeted RNA-based Therapy to
                  Treat a Rare Disease, FOOD AND DRUG ADMIN. (2018), https://
       2024
                  www.fda.gov/newsevents/newsroom/pressannouncements
                  /ucm616518.htm

                  New Medicine for Hereditary Rare Disease, EUROPEAN MED.
       2025       AGENCY (2018), https://www.ema.europa.eu/en/news
                  /new-medicine-hereditary-rare-disease

                  Arbutus’ LNP Licensee Alnylam Announces FDA Approval of
                  ONPATTRO™ (patisiran), for the Treatment of ATTR
       2026       Amyloidosis, ARBUTUS BIOPHARMA (2018), https://investor.
                  arbutusbio.com/news-releases/news-release-details/arbutus-lnp-l
                  icensee-alnylam-announces-fda-approval-onpattrotm

                  Orange Book: Approved Drug Products with Therapeutic
                  Equivalence Evaluations, Patent and Exclusivity for: N210922,
       2027       FOOD AND DRUG ADMIN. available at https://www.accessdata.
                  fda.gov/scripts/cder/ob/patent_info.cfm?Product_No=001&
                  Appl_No=210922&Appl_type=N (last visited Dec. 19, 2018)

       2028       Deposition Transcript of Andrew S. Janoff, December 4, 2018

       2029       U.S. Patent No. 9,404,127

       2030       Intentionally Left Blank

       2031       Intentionally Left Blank

                  Ian MacLachlan & Pieter Cullis, Diffusible-PEG-Lipid Stabilized
       2032
                  Pasmid Lipid Particles, 53 ADVANCES IN GENETICS 157 (2005)

                  Sean C. Semple et al., Immunogenicity and Rapid Blood
                  Clearance of Liposomes Containing Polyethylene Glycol-Lipid
       2033       Conjugates and Nucleic Acid, 312 THE JOURNAL OF
                  PHARMACOLOGY AND EXPERIMENTAL THERAPEUTICS 1020
                  (2005)

                  Doxil Label – FDA (Revised May, 2007), https://www.
       2034       accessdata.fda.gov/drugsatfda_docs/label/2007/
                  050718s029lbl.pdf

                                       67

                                                                       JA002549
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1273 of 1274 PageID #:
                                    9579



    2035-2039     Intentionally Left Blank

                  Declaration of David H. Thompson, Ph.D. in Support of Patent
       2040
                  Owner’s Contingent Motion to Amend

       2041       U.S. Provisional Patent Application Number 61/045,228

       2042       U.S. Patent Application Number 12/424,367

       2043       U.S. Patent Application Number 13/253,917

       2044       U.S. Patent Application Number 13/928,309

       2045       U.S. Patent Application Number 14/462,441




                                       68

                                                                      JA002550
Case 1:22-cv-00252-MSG Document 181-3 Filed 01/03/24 Page 1274 of 1274 PageID #:
                                    9580




                           CERTIFICATE OF SERVICE

       I certify that the foregoing Patent Owner’s Response Pursuant to 37 C.F.R. §

 42.120 and Exhibits 2009-2045 were served on this 21st day of December, 2018, on

 the Petitioner at the following electronic service addresses:


       Michael Fleming
       C. Maclain Wells
       IRELL & MANELLA LLP
       mfleming@irell.com
       mwells@irell.com
       ModernaIPR@irell.com


                                            Respectfully submitted,


 Date: December 21, 2018                    / Michael T. Rosato /
                                            Michael T. Rosato, Lead Counsel
                                            Reg. No. 52,182




                                          69

                                                                         JA002551
